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                                             No. 18-587

                                                IN THE
                    Supreme Court of the United States
                                               ————
                               UNITED STATES DEPARTMENT OF
                                HOMELAND SECURITY, et al.,
                                                                Petitioners,
                                                    v.

                  REGENTS OF THE UNIVERSITY OF CALIFORNIA, et al.,
                                                             Respondents.
                                               ————
                              On Writ of Certiorari to the
                             United States Court of Appeals
                                  for the Ninth Circuit
                                               ————
                          BRIEF OF PROFESSORS—
                           DEAN RONALD A. CASS,
                     CHRISTOPHER C. DEMUTH, SR., AND
                    JAMES L. HUFFMAN—AS AMICI CURIAE
                      IN SUPPORT OF NEITHER PARTY
                                               ————

                                                    RONALD A. CASS
                                                      Counsel of Record
                                                    CASS & ASSOCIATES, PC
                                                    10560 Fox Forest Drive
                                                    Great Falls, VA 22066-1743
                                                    (703) 438-7590
                                                    roncass@cassassociates.net
                                                    Counsel for Amici Curiae
                August 23, 2019

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                                              IN THE
                       Supreme Court of the United States
                                        ————
                                       No. 18-587
                                        ————
                              UNITED STATES DEPARTMENT OF
                               HOMELAND SECURITY, et al.,
                                                  Petitioners,
                                           v.
                   REGENTS OF THE UNIVERSITY OF CALIFORNIA, et al.,
                                               Respondents.
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                           On Writ of Certiorari to the
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                                      ————
                           BRIEF OF PROFESSORS—
                            DEAN RONALD A. CASS,
                     CHRISTOPHER C. DEMUTH, SR., AND
                    JAMES L. HUFFMAN—AS AMICI CURIAE
                       IN SUPPORT OF NEITHER PARTY
                                      ————
                            INTEREST OF AMICI CURIAE1
                   Amici are teachers, scholars, and former govern-
                 ment officials who each have had extensive engagement
                 with administrative law over a period of more than 40
                 years. Amici have served in a variety of positions in

                   1
                     The parties have consented in writing to the filing of this
                 brief, and their letters of consent have been filed with the Clerk.
                 No party’s counsel authored this brief in whole or in part, and no
                 person or entity other than amici or their counsel made a mone-
                 tary contribution intended to fund its preparation or submission.




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                 the United States government, including positions in
                 the Executive Office of the President, executive depart-
                 ments, independent agencies, and the judicial branch.
                 Amici have been responsible for making decisions in
                 official capacities and for reviewing agency decisions.
                 They also have been deeply involved with organiza-
                 tions devoted to administrative law and have taught
                 classes and written numerous articles and books on
                 matters implicated in the questions presented in this
                 case. This brief reflects amici’s long-standing interests
                 in the subject of administrative law and particularly
                 in standards for judicial review of administrative action.
                             SUMMARY OF ARGUMENT
                   The questions presented in this case address
                 (1) whether the particular decision at issue is “commit-
                 ted to agency discretion by law,” and (2) and whether
                 the particular decision was lawful.
                    The critical inquiry in the second question is the
                 manner in which courts decide whether an adminis-
                 trative action is “arbitrary” or “capricious” or “an
                 abuse of discretion.” See Administrative Procedure Act
                 (APA), 5 U.S.C. §706(2)(A). That inquiry also impli-
                 cates two subsidiary questions: the extent to which an
                 administrative action that changes a prior agency
                 action bears a higher burden of justification than an
                 action taken on a matter of first impression for the
                 agency, and the degree to which courts are permitted
                 to inquire into the particular considerations in the
                 mind of an administrator in assessing the lawfulness
                 of an agency action.
                   Amici address only the considerations respecting the
                 second question presented, elaborating considerations
                 relevant to the manner in which courts decide whether
                 an administrative action is “arbitrary, capricious, [or]




                                                                              AR4412
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                                            3
                 an abuse of discretion.” APA, 5 U.S.C. §706(2)(A). In
                 doing so, however, we also address the dividing line
                 between the determination necessary to resolving
                 question (1) (whether a matter is committed to agency
                 discretion by law) and the central part of question
                 (2) (whether a decision is arbitrary, capricious, or an
                 abuse of discretion). Although our analysis generally
                 accords with arguments favorable to petitioners, our
                 goal is not to support one party but to clarify analysis
                 of issues respecting the nature of review that are
                 before the Court in the instant case.
                    Distinguishing Reviewable from Unreviewable
                 Discretion. The APA distinguishes two sorts of analy-
                 sis. One is whether a matter is “committed to agency
                 discretion by law” in such a manner as to preclude
                 review. See, e.g., Heckler v. Chaney, 470 U.S. 821,
                 831–35 (1985) (Chaney). The other is how courts review
                 matters on which agencies enjoy discretion that remains
                 subject to judicial review. See, e.g., Federal Commu-
                 nications Commission v. Fox Television Stations, Inc.,
                 556 U.S. 502, 511–14 (2009) (Fox Television Stations);
                 National Cable & Telecommunications Association v.
                 Brand X Internet Services, 545 U.S. 967, 981, 989
                 (2005) (Brand X). The APA both excludes agency actions
                 from judicial review “to the extent that . . . agency
                 action is committed to agency discretion by law,” APA,
                 5 U.S.C. §701(a)(2), and provides for review, among
                 other things, for “an abuse of discretion.” APA, 5
                 U.S.C. §706(2)(A). While the APA does not insulate all
                 discretionary action from review—a reading that
                 would make providing review for “abuse of discretion”
                 incongruous—the text of the APA plainly commands
                 respect from courts for the exercise of delegated discre-
                 tion by agencies.




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                                            4
                    Scope of Review for Ordinary Discretion. When stat-
                 utes provide limiting directives, exercises of discretion
                 can be reviewed to assure that the administrator has
                 not acted contrary to those directives. See APA, 5
                 U.S.C. §706(2)(A), §706(2)(C), §706(2)(D); Chaney, 470
                 U.S. at 831–35. Apart from specific constraints on the
                 scope of delegated discretion, the exercise of discretion
                 is checked only to assure consistency with basic
                 principles for reasoned decision-making. See, e.g., Fox
                 Television Stations, 556 U.S. at 513–14; Bowman
                 Transp., Inc. v. Arkansas-Best Freight System, Inc.,
                 419 U. S. 281, 286 (1974) (Bowman Transp.). As this
                 Court has emphasized, the scope of review is “narrow,”
                 an observation frequently coupled with the caution
                 that “a court is not to substitute its judgment [on
                 questions of policy] for that of the agency.” Motor
                 Vehicle Mfrs. Assn. of United States, Inc. v. State Farm
                 Mut. Automobile Ins. Co., 463 U. S. 29, 43 (1983) (State
                 Farm). Similarly, the Court stated that “a reviewing
                 court may not set aside an agency rule that is rational,
                 based on consideration of the relevant factors, and
                 within the scope of the authority delegated to the
                 agency by the statute.” Id., at 42. That narrow review
                 standard is consistent with an appreciation that even
                 reviewable discretionary action is still discretionary
                 action—and the fact that a range of discretionary
                 actions is made expressly unreviewable indicates the
                 law’s antipathy to intrusive judicial review of admin-
                 istrative discretion.
                   Concern over judicial intrusion into discretionary
                 policy-based judgments is most evident in the narrow-
                 ness of the terms used to authorize reviewing courts
                 to set the agency action aside. See APA, 5 U.S.C.
                 §706(2)(A). The terms respecting review of discretion-
                 ary decisions contrast sharply with those respecting
                 review of interpretations of law. See APA, 5 U.S.C.




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                 §706, §706(2)(B), §706(2)(C). Despite confusion on this
                 score, deference to administrative exercises of discre-
                 tion for policy matters—as opposed to interpretation
                 of the scope of discretion committed to executive
                 officers—is the cornerstone of decisions, such as the
                 Chevron decision, interpreting those commands, and
                 informs demands to clarify the meaning of Chevron
                 (or to abandon the test associated with it). See, e.g.,
                 Chevron U.S.A. Inc. v. Natural Resources Defense Council,
                 Inc., 467 U.S. 837, 843–46, 859, 862–66 (1984) (Chevron);
                 Cuozzo Speed Technologies, LLC v. Lee, 136 S. Ct.
                 2131, 2142–44 (2016) (Cuozzo); id. at 2148 (Thomas, J.
                 concurring); Gutierrez-Brizuela v. Lynch, 834 F.3d
                 1142, 1149, 1152–58 (10th Cir. 2016) (Gorsuch, J.,
                 concurring).
                   Scope of review for policy changes. The APA and
                 the precedents of this Court do not support different
                 degrees of scrutiny—in particular, they do not support
                 heightened scrutiny—for use of discretionary authority
                 to make changes in agency policies. See, e.g., State
                 Farm, 463 U.S. at 41. The text of the APA plainly does
                 not require different review standards for agency
                 exercises of discretion that alter the policies guiding
                 prior exercises of agency discretion. As this Court has
                 said: “[t]he statute makes no distinction . . . between
                 initial agency action and subsequent agency action
                 undoing or revising that action.” Fox Television Stations,
                 556 U.S. at 515; see also State Farm, 463 U.S. at 41.
                 Nor would it be reasonable to infer from the APA a
                 general intention to make successive exercises of policy
                 discretion increasingly difficult. Those who wrote and
                 voted for the APA were acutely aware of the compli-
                 cated nature of administrative decision-making, including
                 the forces that promote—and also those that oppose—
                 changes in policy over time. See, e.g., George B. Shepherd,
                 Fierce Compromise: The Administrative Procedure Act




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                 Emerges from New Deal Politics, 90 Nw. U. L. Rev.
                 1557, 1560–61, 1583–1623, 1655–68 (1996).
                   As former government officials, amici attest that
                 there are many impediments to making policy changes,
                 from the procedural rigors of some policymaking modes
                 to the resistance of individuals and groups advantaged
                 by or invested in the existing policy. See also Merrick
                 Garland, Deregulation and Judicial Review, 98 Harv.
                 L. Rev. 507, 508 (1985); Thomas O. McGarity, Some
                 Thoughts on “Deossifying” the Rulemaking Process,
                 41 Duke L.J. 1385, 1385–88, 1396–98 (1992). It is
                 important to note as well that groups that may resist
                 policy changes frequently include agency staff, a set of
                 government officials who tend to turn over less often
                 than politically-appointed officials with policy-making
                 authority. Their relative longevity in office and fre-
                 quent association with the adoption of earlier policy
                 initiatives can reduce their enthusiasm about making
                 changes supported by politically-appointed officials
                 who have different views and shorter time horizons on
                 getting policies implemented. See, e.g., Glen O. Robinson,
                 The Federal Communications Commission: An Essay
                 on Regulatory Watchdogs, 64 Va. L. Rev. 169, 185–87,
                 216–19 (1978); James Q. Wilson, The Dead Hand of
                 Regulation, 25 Pub. Int. (Fall 1971) at 39, 48.
                   Given these considerations, courts reviewing agency
                 actions should be particularly careful not to give undue
                 weight to disputes between staff resisting change and
                 policy-making officials supporting change. See, e.g.,
                 Department of Commerce v. New York, 588 U.S. ___,
                 ___–___ (2019) (slip op. at 17–20) (Department of Com-
                 merce). The existence of multiple sources of resistance
                 to changing policies that are already built into the
                 decision-making process also supports the conclusion
                 reached by this Court in State Farm that rescission of




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                 a rule is subject to the same review standard as
                 adoption of the rule, not a higher or lower standard,
                 State Farm, 463 U.S. at 41.
                    This Court has, however, identified settings in which
                 changes in policy require explanation to satisfy the
                 modest tests set out in APA §706(2)(A). For example,
                 Fox Television Stations observed that changes in policy
                 based on fact-findings at odds with earlier findings
                 may call for explanation or at least recognition of that
                 circumstance. Id., 556 U.S. at 514. This instruction
                 should not be read as a directive to ignore the limita-
                 tions on judicial review written into law and emphasized
                 repeatedly by this Court. See Department of Com-
                 merce, 588 U. S. (slip op., at 18–20); FERC v. Electric
                 Power Supply Assn., 577 U. S. ___, ___ (2016) (slip op.,
                 at 30); Fox Television Stations, 556 U.S. at 515–16.
                 Amici believe it is critical for this Court to clarify the
                 limitations on review in this context to avoid misun-
                 derstanding by lower courts.
                    Looking into administrators’ motives. This Court
                 has made clear that, in general, for a court reviewing
                 agency action, it is “not the function of the court to
                 probe the mental processes” of the administrator. Morgan
                 v. United States, 304 U.S. 1, 18 (1938) (Morgan II). The
                 Court has warned that delving into the motives and
                 thought processes of a decision-maker in a co-equal
                 branch of government—like looking into the motives
                 of a judge rather than what is written in the judge’s
                 opinion—would be “destructive” of the responsibility
                 of administrators and would undermine “the integrity
                 of the administrative process.” United States v.
                 Morgan, 313 U.S. 409, 422 (1941) (Morgan IV). Similar
                 cautions have been expressed by other judges over
                 many years. See, e.g., Gregoire v. Biddle, 177 F.2d 579,




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                 580–81 (2d Cir. 1949) (op. for the court by Learned
                 Hand, C.J.) (Gregoire).
                    Despite concerns over the adverse effects of endeav-
                 oring to divine the motives behind official acts, this
                 Court has identified a small number of instances in
                 which these inquiries will be permitted. It recently
                 described these exceptional cases as those in which a
                 challenged policy cannot plausibly rest on any sus-
                 tainable ground, so that “it is impossible to ‘discern a
                 relationship to legitimate state interests,’ or that the
                 policy is inexplicable by anything but [legally imper-
                 missible] animus.’” Trump v. Hawaii, 585 U. S. ___
                 (2018) (Trump v. Hawaii) (slip op. at 33) (quoting Romer
                 v. Evans, 517 U.S. 620, 632, 635 (1996) (Romer)).
                 Those are cases involving actions that this Court said
                 “lack any purpose other than a ‘bare . . . desire to harm
                 a politically unpopular group.’” Trump v. Hawaii, 585
                 U.S. (slip op. at 33) (quoting Department of Agriculture
                 v. Moreno, 413 U.S. 528, 534 (1973) (Moreno)). In essence,
                 the conclusion followed from finding no rational basis
                 for the challenged actions. Last term, in Department
                 of Commerce, this Court offered other, strongly-worded
                 cautions against judicial inquiries into reasons for offi-
                 cial action beyond those offered in support of a course
                 of action, including considerations tied to changes in
                 political priorities. 588 U. S. (slip op. at 24).
                   Nevertheless, the Department of Commerce majority
                 found that, as part of a “premature” inquiry into the
                 basis for the Secretary of Commerce’s decision, evi-
                 dence was produced demonstrating that the Secretary’s
                 proffered explanation was “pretextual,” further con-
                 cluding that this finding excused the premature demand
                 for such evidence. See id., (slip op. at 24–28). In contrast
                 to decisions such as Romer and Moreno, Department of
                 Commerce supported setting aside a decision as




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                 improperly motivated after determining that it was
                 justified on the grounds stated by the administrator,
                 see id., (slip op., at 19–20), making reference to the
                 administrator’s motive a separate inquiry rather than
                 an extrapolation from the absence of a rational basis
                 for his action. The peculiar ground for decision in
                 Department of Commerce creates tension with the
                 Court’s decision in SEC v. Chenery, 318 U.S. 80, 87
                 (1943) (Chenery), which limited review to the stated
                 rationale for administrative action.
                    Problems of inquiry into official motives. More
                 important, this approach threatens to greatly expand
                 the occasions for inquiry into the motives of admin-
                 istrators, a change that would invite challenges that
                 almost certainly would enmesh courts in the very sort
                 of inquiries that this Court warned against in Morgan
                 II and Morgan IV and that Judge Hand criticized in
                 Gregoire—inquiries that are at odds with the under-
                 stood division of responsibilities between courts and
                 coordinate branches of government. See, e.g., Department
                 of Commerce, 588 U.S. (slip op., at 2, 7–8, 13–15)
                 (Thomas, J., dissenting).
                    Amici strongly support the Court’s traditional
                 reluctance to examine the motives of administrative
                 decision-makers exercising legally granted authority.
                 Having been government decision-makers as well as
                 academic critics of government decisions, amici under-
                 score the threat to constitutionally separated powers
                 if reviewing judges seek to plumb the motives of offi-
                 cials in co-equal branches of government. The general
                 points on this threat were eloquently stated by Justice
                 Frankfurter in Morgan IV and Judge Hand in Gregoire,
                 observing the risk inquiries into motive present to
                 ordinary official conduct. See Morgan IV, 313 U.S. at
                 422; Gregoire, 177 F.2d at 580–81.




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                    In addition, changing the traditional, APA-based
                 standard of review to accommodate inquiries into
                 official motives encourages use of judicial review not
                 strictly as a means for keeping official actions within
                 legal bounds, but as means for extending political
                 disputes into the judicial domain. This undermines the
                 perceived legitimacy of the courts and intrudes on
                 decisions committed to other branches. See, e.g.,
                 Trump v. Hawaii, 585 U.S. (slip op. at 5–10) (Thomas,
                 J., dissenting); Ronald A. Cass, Nationwide Injunctions’
                 Governance Problems: Forum-Shopping, Politicizing
                 Courts, and Eroding Constitutional Structure, 27 Geo.
                 Mason L. Rev. (issue no. 1, 2019) (forthcoming), at 35–
                 40, available at https://papers.ssrn.com/sol3/papers.cf
                 m?abstract_id=3390064 (Nationwide Injunctions); see
                 also Elbert Lin, States Suing the Federal Government:
                 Protecting Liberty or Playing Politics?, 52 U. Rich. L.
                 Rev. 633 (2018).
                   The degree to which the approach taken in Depart-
                 ment of Commerce will produce the adverse consequences
                 identified by amici and by Justice Thomas’ dissenting
                 opinion depends critically on whether this Court views
                 that decision as setting a pattern for a broad set of
                 cases or as addressing a truly exceptional situation.
                 The opinion in Department of Commerce suggests that
                 the decision’s acceptance of a judicial inquiry into, and
                 determination based on, official motives is limited to a
                 very small category of disputes. 588 U.S. (slip op. at
                 24–28). Certainly, the approach taken by the Court in
                 Trump v. Hawaii, 585 U. S. (slip op. at 32–37), just a
                 short time prior to Department of Commerce, indicates
                 an appreciation of the highly unusual circumstances
                 in which the Court has considered arguments respect-
                 ing the motives of other federal officers. Amici urge
                 the Court to clarify that the decision in Department
                 of Commerce responded to an extraordinary set of




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                 circumstances and did not change the long-accepted
                 understanding of the APA.
                                     ARGUMENT
                    I. Judicial Review Should Not Intrude on
                       Discretion Granted to Administrators by
                       Law.
                       A. Courts’ Review of Discretionary Agency
                          Action under the APA Is Strictly
                          Limited.
                    At the outset, it is important to emphasize that the
                 second question presented (the lawfulness of the
                 actions being reviewed) necessarily concerns the scope
                 of review of agency actions that embody “ordinary
                 discretion”—discretionary judgments assigned to
                 administrators but not excepted from judicial review.
                 The first question presented in this case (reviewabil-
                 ity) turns on identifying the line between ordinary
                 (reviewable) discretionary judgment and discretionary
                 judgment that lies entirely outside the purview of
                 judicial review. Amici do not address the question of
                 reviewability.
                          1. The APA Provides Limited Review
                             of Discretionary Actions for which
                             Review Is Not Excluded.
                   However, understanding the proper scope of review
                 does require initial attention to the APA’s distinction
                 between asking whether a matter is “committed to
                 agency discretion by law” in such a manner as to
                 preclude review, see, e.g., Chaney, 470 U.S. at 831–35,
                 and asking how courts review matters on which agen-
                 cies enjoy discretion that remains subject to judicial
                 review, see, e.g., Fox Television Stations, 556 U.S. at
                 511–14; Brand X, 545 U.S. at 981, 989.




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                   The APA excludes agency actions from judicial review
                 “to the extent that . . . agency action is committed to
                 agency discretion by law,” APA, 5 U.S.C. §701(a)(2),
                 and provides for review, among other things, for
                 “an abuse of discretion.” APA, 5 U.S.C. §706(2)(A).
                 Obviously, the APA cannot be read to insulate all
                 discretionary action from review. That would be
                 wholly at odds with the “abuse of discretion” provision.
                 At the same time, the text of the APA plainly com-
                 mands respect from courts for the exercise of delegated
                 discretion by agencies. See, e.g., Fox Television Stations,
                 556 U.S. at 511–14; Smiley v. Citibank (South Dakota),
                 N.A., 517 U.S. 735, 740–47 (1996) (Smiley); Webster v.
                 Doe, 486 U.S. 592, 600–601 (1988) (Webster); Chaney,
                 470 U.S. at 831–35; Federal Communications Com-
                 mission v. National Citizens Committee for Broadcasting,
                 436 U.S. 775, 813–14 (1978) (Citizens Committee);
                 American Trucking Associations v. United States, 344
                 U.S. 298, 314–15 (1953) (Trucking Associations).
                    The distinction between discretion at odds with review
                 and “ordinary discretion” that remains subject to lim-
                 ited review looks to the particular legal authority for
                 agency action. See, e.g., Webster v. Doe, 486 U.S. 592,
                 599–601 (1988) (Webster); id., at 605–06 (O’Connor, J.,
                 concurring in part and dissenting in part); id. at 606–
                 10 (Scalia, J., dissenting). See also Ronald A. Cass,
                 Auer Deference: Doubling Down on Delegation’s Defects,
                 87 Fordham L. Rev. 531, 537–44 (2018) (explaining
                 the relation between ordinary discretion, unreviewable
                 discretion, and judicial review). Review is precluded
                 so far as an action is subject to discretion that is
                 not limited by statutory directives, as, for example, is
                 generally true for the choices prosecutors and similar
                 officials make in deciding which cases to pursue. See
                 Chaney, 470 U.S. at 831–35. If this Court determines
                 that the actions at issue here embody judgments that




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                 are framed and limited by statutory directives but are
                 lawfully committed to administrative decision-making,
                 the scope of review is that appropriate to exercises of
                 ordinary discretion. Amici’s primary concern is with
                 the terms of review for such decisions.
                            2. Discretionary Actions Based on Pol-
                               icy Considerations Are Subject to
                               Narrow Review for Specific Decision-
                               Making Failures.
                    When statutes provide limiting directives, exercises
                 of discretion can be reviewed to assure that the admin-
                 istrator has not acted contrary to those directives.
                 See APA, 5 U.S.C. §706(2)(A), §706(2)(C), §706(2)(D);
                 Chaney, 470 U.S. at 831–35. Apart from specific con-
                 straints on the scope of delegated discretion, courts
                 check the exercise of discretion to assure consistency
                 with basic principles for reasoned decision-making.
                 See, e.g., Fox Television Stations, 556 U.S. at 513–14;
                 Bowman Transp., 419 U. S. at 286. The scope of such
                 review is “narrow,” and this Court has admonished
                 other courts “not to substitute [their] judgment [on
                 questions of policy] for that of the agency.” State Farm,
                 463 U. S. at, 43. Similarly, the Court stated that “a
                 reviewing court may not set aside an agency rule that
                 is rational, based on consideration of the relevant
                 factors, and within the scope of the authority dele-
                 gated to the agency by the statute.” Id., at 42. The
                 narrow review standard reflects understanding that
                 reviewable discretionary action is still discretionary
                 action. The law’s insulation of other discretionary action
                 from review signals concern over intrusive judicial
                 review of administrative discretion.2

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                      Limited scope of review for discretionary administrative
                 action does not prejudge whether statutorily authorized discretion




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                    The narrow terms chosen to authorize reviewing
                 courts to set aside discretionary agency action empha-
                 size the limited nature of such review. Taking these
                 terms at their common meanings, bases for overturn-
                 ing an action are limited to its being “arbitrary” (not
                 guided by any rational choice principle), “capricious”
                 (following a choice principle that seems chosen by
                 mere whim—such as what color someone wore to a
                 hearing or what letters begin or end a person’s last
                 name), or “an abuse of discretion” (such as conferring
                 an advantage on individuals related to the decision-
                 maker or sharing the same political or religious affilia-
                 tion as the decision-maker). APA, 5 U.S.C. §706(2)(A).
                 That language stands in sharp contrast to the APA’s
                 declaration that “the reviewing court shall decide all
                 relevant questions of law, interpret constitutional and
                 statutory provisions, and determine the meaning or
                 applicability of the terms of an agency action.” APA, 5
                 U.S.C. §706 (emphasis added). See also Clark Byse,
                 Judicial Review of Administrative Interpretation of
                 Statutes: An Analysis of Chevron Step Two, 2 Admin.
                 L.J. 255, 262–63, 266–67 (1988); Ronald A. Cass, Vive
                 La Deference?: Rethinking the Balance Between
                 Administrative and Judicial Discretion, 83 Geo. Wash.
                 L. Rev. 1294, 1311–19 (2015) (Rethinking); John F.


                 is consistent with constitutional constraints on delegation of
                 legislative power. See, e.g., Gundy v. United States, 588 U.S. ____
                 (2019) (slip op. at 4–6); id., (slip op. at 1, 3, 5–9) (Gorsuch, J.,
                 dissenting); Loving v. United States, 517 U.S. 748, 757–58 (1996);
                 Wayman v. Southard, 23 U.S. (10 Wheat.) 1, 42–43 (1825); Larry
                 Alexander & Saikrishna Prakash, Delegation Really Running
                 Riot, 93 Va. L. Rev. 1035, 1042–43 (2007); Ronald A. Cass,
                 Delegation Reconsidered: A Delegation Doctrine for the Modern
                 Administrative State, 40 Harv. J.L. & Pub. Pol’y 147, 151–61, 177
                 (2016); Gary Lawson, Delegation and Original Meaning, 88 Va.
                 L. Rev. 327, 335–53 (2002).




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                 Duffy, Administrative Common Law in Judicial
                 Review, 77 Tex. L. Rev. 113, 115, 120 (1998); William
                 N. Eskridge, Jr. & Lauren E. Baer, The Continuum
                 of Deference: Supreme Court Treatment of Agency
                 Statutory Interpretation from Chevron to Hamdan,
                 96 Geo. L.J. 1083, 1087–89 (2008); Cynthia R. Farina,
                 Statutory Interpretation and the Balance of Power in
                 the Administrative State, 89 Colum. L. Rev. 452, 453–
                 56, 472–75 (1989).
                    Statutory commands such as APA §706 recognize
                 the difference between the scope of judicial review
                 appropriate for exercises of administrative discretion
                 for policy matters and the review appropriate for
                 interpretation of the scope of discretion committed to
                 executive officers. Even though this has been a source
                 of confusion, the Chevron decision, interpreting com-
                 mands congruent with the APA, and other decisions of
                 this Court have appreciated the distinction between
                 those roles. See Chevron, 467 U.S. at 843–46, 859,
                 862–66; see also Cuozzo, 136 S. Ct. at 2142–44; Michigan
                 v. Environmental Protection Agency, 135 S. Ct. 2600,
                 2706–97 (2015); Smiley, 517 U.S. at 740–47. Scholarly
                 commentary on both the Chevron doctrine and related
                 decisions has recognized the importance of this dis-
                 tinction. See, e.g., Stephen G. Breyer, Judicial Review
                 of Questions of Law and Policy, 38 Admin. L. Rev. 363,
                 370 (1986); Gary Lawson & Stephen Kam, Making
                 Law out of Nothing at All: The Origins of the Chevron
                 Doctrine, 65 Admin. L. Rev. 1, 3–5 (2013); Thomas W.
                 Merrill & Kristin E. Hickman, Chevron’s Domain, 89
                 Geo. L.J. 833, 863–64, 870–72 (2001); Antonin Scalia,
                 Judicial Deference to Administrative Interpretations of
                 Law, 1989 Duke L.J. 511, 516 (1989).
                   This distinction is even more emphatically the basis
                 for calls to make clear that Chevron does not require




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                 deference to administrative interpretations of law as
                 distinct from policy judgments made in implementing
                 the law. See, e.g., Cuozzo, 136 S. Ct. at 2148 (Thomas,
                 J. concurring); Gutierrez-Brizuela v. Lynch, 834 F.3d
                 1142, 1149, 1152–58 (10th Cir. 2016) (Gorsuch, J., con-
                 curring); Jack M. Beermann, End the Failed Chevron
                 Experiment Now: How Chevron Has Failed and Why
                 It Can and Should Be Overruled, 42 Conn. L. Rev. 779,
                 781–87 (2010); Ronald A. Cass, Is Chevron’s Game
                 Worth the Candle? Burning Interpretation at Both Ends,
                 in Liberty’s Nemesis: The Unchecked Expansion of the
                 State 57, 57–58 (Dean Reuter & John Yoo eds., 2016);
                 Michael Herz, Deference Running Riot: Separating
                 Interpretation and Lawmaking Under Chevron, 6
                 Admin. L.J. Am. U. 187, 198–200 (1992). The distinction
                 between the scope of review apposite to administrative
                 exercises of policy discretion and to interpretation of
                 legal commands also informed this Court’s recently
                 articulated understanding of the Auer doctrine’s proper
                 scope (or the proper scope of a doctrine that would
                 replace Auer). See Kisor v. Wilkie, 588 U.S. ___ (2019)
                 (slip op. at 15–18); id. (slip op. at 13–18, 20–21) (Gorsuch,
                 J., dissenting); id. (slip op. at 1–2) (Kavanaugh, J.,
                 dissenting). This Court’s rejection of a distinction between
                 judicial deference to administrative determinations
                 respecting an agency’s jurisdiction and determina-
                 tions related to an agency’s exercise of authority is not
                 at odds with the recognition that interpretation of law
                 should be distinguished from exercises of policy discre-
                 tion in its implementation. See City of Arlington v.
                 Federal Communications Commission, 133 S. Ct. 1863,
                 1868–73 (2013).
                   Many statutes commit some measure of discretion
                 to administrators while setting boundaries around
                 that discretion. The law’s directives may tightly con-
                 strain the administrative decision or may give




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                 considerable leeway. Indeed, a single statute may do
                 both with respect to different exercises of discretion.
                 See, e.g., MCI Telecommunications Corp. v. American
                 Tel. & Tel., 512 U.S. 218, 220, 234 (1994); National
                 Broadcasting Co. v. United States, 319 U.S. 190, 216
                 (1943). The reviewing court’s tasks are to interpret
                 the limits set by law—a question on which courts owe
                 agencies no deference—and otherwise to review exer-
                 cises of discretion only for the sorts of unreasonable
                 discretionary action that the APA proscribes: action
                 that is arbitrary, capricious, or an abuse of discretion.
                 See APA, 5 U.S.C. §706(2)(A).
                   This does not include review to determine if an
                 action is less well-reasoned than a judge would like, or
                 weighs evidence and considerations differently than
                 the judge would have, or is associated with political
                 considerations that the judge would not embrace. See,
                 e.g., Department of Commerce, 588 U.S. (slip op. at 16–
                 20); Baltimore Gas & Electric Co. v. Natural Resources
                 Defense Council, Inc., 462 U.S. 87, 103 (1983). Those
                 inquiries would overstep the bounds even of the sort of
                 internal evaluation typically done by executive branch
                 officials reviewing major decisions of other officials—
                 despite recognition that executive branch review,
                 which takes place within the same branch authorized
                 to implement the law, is compatible with a more
                 searching inquiry into the grounds for decision. See,
                 e.g., Christopher DeMuth, OIRA at Thirty, 63 Admin.
                 L. Rev. 101, 106 (2011). (One of this brief’s amici
                 oversaw this process as Administrator of the Office of
                 Information and Regulatory Affairs. See id.)
                   Amici urge that, in elaborating the test used to
                 review discretionary agency actions, this Court address
                 the language in Citizens to Preserve Overton Park v.
                 Volpe, 401 U.S. 402, 416 (1971) (Overton Park),




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                 respecting the need for an inquiry that is “searching
                 and careful.” In particular, the Court should make
                 clear that this language does not support review that
                 goes beyond assuring that exercises of discretionary
                 authority are not arbitrary or capricious or an abuse
                 of discretion. Despite its association with the notion of
                 taking a “hard look” at exercises of discretion, Overton
                 Park also cautioned that the “standard of review is a
                 narrow one.” Overton Park, 401 U.S. at 416. Unlike
                 review of discretionary policy decisions, judicial deci-
                 sion respecting the consistency of agency action with
                 legal requirements based on statutory interpretation
                 takes a super-hard look at the issue—courts assess
                 statutory meaning de novo, even though their assess-
                 ment also may read the statute as providing scope for
                 discretionary agency choices, often justified by the
                 agency as resting on a reasonable interpretation of
                 statutory language. See, e.g., Byse, supra, at 262–63,
                 266–67; Cass, Rethinking, supra, at 1311–19; Herz,
                 supra, at 198–200. Non-deferential judicial determi-
                 nations of statutory meaning coexist with deference on
                 agency choices implementing statutory terms only so
                 far as courts read the law as granting agencies that
                 discretion. See, e.g., Barnhart v. Walton, 535 U.S. 212,
                 218–22 (2002); Smiley, 517 U.S. at 740–47. Overton
                 Park should not be read as changing the standard of
                 review for arbitrariness, capriciousness, or abuse of
                 discretion spelled out in APA §706(2)(A).
                       B. The Scope of Review for Discretionary
                          Agency Actions Is Identical for Initial
                          Decisions on an Issue or Changes in
                          Agency Policy Respecting an Issue.
                   The APA does not support different degrees of
                 scrutiny—specifically, not increased scrutiny—for use
                 of discretionary authority to make changes in agency




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                 policies, as compared to using that authority to set
                 policies initially. See, e.g., State Farm, 463 U.S. at 41.
                 As this Court has said: “[t]he statute makes no distinc-
                 tion . . . between initial agency action and subsequent
                 agency action undoing or revising that action.” Fox
                 Television Stations, 556 U.S. at 515; see also State
                 Farm, 463 U.S. at 41. It would not be reasonable to
                 infer from the APA a general intention to make succes-
                 sive exercises of policy discretion increasingly difficult.
                 Reading such a requirement into the APA would both
                 strain the language of the statute and hinder the
                 responsiveness of the executive branch to the public.
                    Moreover, heightened scrutiny for actions that
                 change policies would reinforce factors that already
                 restrain policy changes. Amici, as former government
                 officials, are well aware that there are many impedi-
                 ments to making policy changes, from the procedural
                 rigors of some policymaking modes to the resistance of
                 individuals and groups advantaged by or invested in
                 the existing policy. See, e.g., Garland, supra, at 508;
                 McGarity, supra, at 1385–88, 1396–98; Robinson, supra,
                 at 189–97, 216–19. Those who wrote and voted for the
                 APA were acutely aware of the nature of administra-
                 tive decision-making, including the forces that promote—
                 and also those that oppose—changes in policy over
                 time. See, e.g., McNollgast, The Political Origins of the
                 Administrative Procedure Act, 15 J.L. Econ. & Org.
                 180, 181, 199–206 (1999); Shepherd, supra, at 1560–
                 61, 1583–1623, 1655–68. Recognition that the admin-
                 istrative process is part of a complicated set of processes
                 shaping policy-making and implementation—processes
                 that plainly do not produce a simple transmission
                 belt from presidential election to policy adoption and
                 application—underscores reasons for concern over doc-
                 trines that would erect additional barriers to change.
                 That recognition supports the conclusion reached by




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                 this Court in State Farm that rescission of a rule is
                 subject to the same review standard as adoption of the
                 rule, not a higher or lower standard, State Farm, 463
                 U.S. at 41.
                    Agency staff frequently are among those who
                 may resist policy changes. These government officials
                 generally remain at particular agencies longer than
                 politically-appointed officials with policy-making author-
                 ity. That, along with their frequent association with the
                 adoption of earlier policy initiatives, can reduce enthu-
                 siasm about making changes supported by politically-
                 appointed officials who have different views and shorter
                 time horizons on getting policies implemented. See,
                 e.g., Robinson, supra, at 185–87, 216–19; Wilson, supra,
                 at 48. Staff-level officials’ entrenchment in particular
                 agencies, association with existing policies, and ability
                 to impede change strongly counsels against over-
                 weighting disputes between staff resisting change and
                 policy-making officials supporting change. See, e.g.,
                 Department of Commerce, 588 U. S. (slip op. at 17–20).
                   In offering that caution, amici do not overlook the
                 important insights that long-term official connection
                 with a set of issues or with institutional considerations
                 respecting their resolution may provide.
                   We do, however, note the potential conflict between
                 political accountability provided by election of the
                 Chief Executive—who is charged under Article II of
                 the Constitution with faithfully implementing the law,
                 U.S. Const., Art. II, §3—and legal doctrines that
                 increase opportunities for bureaucratic resistance to
                 initiatives from officers reporting more directly to the
                 President. That concern is reflected in this Court’s
                 statement in Free Enterprise Fund v. Public Company
                 Accountability Oversight Board, 561 U.S. 477 (2010)
                 (Free Enterprise Fund), that “[o]ne can have a




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                 government that functions without being ruled by
                 functionaries, and a government that benefits from
                 expertise without being ruled by experts.” Id., at 499.
                    This same concern about preserving Presidential
                 authority and public accountability was central to the
                 Court’s decision in Free Enterprise that limitations on
                 presidential (and presidentially directed) removal of
                 officers unconstitutionally impair the President’s obli-
                 gation to take care that the laws are faithfully executed.
                 Id., at 495–98. Whether one applauds or disagrees
                 with the particular application of that concern in Free
                 Enterprise Fund, there should be recognition of the
                 importance of concern over excessive interference
                 with control of executive action by the President and
                 “the chain of dependence” between the elected officer
                 and those under him—“the lowest officers, the middle
                 grade, and the highest,” id., at 498 (quoting James
                 Madison, 1 Annals of Congress 499 (1789).
                    This Court’s reading of the tests set out in APA
                 §706(2)(A) also should be informed by appreciation
                 that the act struck a balance between making admin-
                 istrators accountable for staying within the limits
                 of the law and preventing undue interference with
                 implementation of tasks assigned to administrators.
                 See generally McNollgast, supra; Shepherd, supra. The
                 modesty of the tests set out in §706(2)(A) is consistent
                 with limiting intrusion into decision-making that is
                 constitutionally and statutorily assigned to the execu-
                 tive branch.
                   Applying the same modest tests to all reviewable
                 exercises of discretion—whether the agency action
                 consists of adopting a policy respecting matters not
                 previously addressed by the agency, changing a recently
                 adopted policy, or altering a long-standing policy—also
                 is consistent with preserving public accountability.




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                                           22
                 Simply put, restricting impediments to changing past
                 government decisions facilitates responsiveness to the
                 broad interests expressed in presidential elections.
                    Justice Rehnquist said this explicitly in his dissent
                 (joined by three other justices) in State Farm:
                        The agency's changed view of the standard
                     seems to be related to the election of a new
                     President of a different political party. . . . A
                     change in administration brought about by
                     the people casting their votes is a perfectly
                     reasonable basis for an executive agency's
                     reappraisal of the costs and benefits of its
                     programs and regulations. As long as the
                     agency remains within the bounds estab-
                     lished by Congress, it is entitled to assess
                     administrative records and evaluate priorities
                     in light of the philosophy of the administra-
                     tion.
                 State Farm, 463 U.S. at 59 (Rehnquist, J., dissenting)
                 (footnote omitted). While the four justices dissenting
                 agreed with the majority that the same tests govern
                 initial adoptions, revisions, and revocations of rules,
                 they stated that the tests should be applied with
                 greater sensitivity to the policy discretion enjoyed by
                 administrators and to the connection between that
                 discretion and public accountability through elections.
                   The application of the tests contained in APA
                 §706(2)(A), of course, depends on particular facts respect-
                 ing the exercise of discretion, and, as stated above, the
                 tests for reviewing exercises of discretion are separate
                 from the tests for determining the extent to which law
                 confers discretion. Judges should be clear that the bur-
                 den in challenging exercises of discretion is significant—
                 that is what a narrow standard of review necessarily




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                 means. See, e.g., Department of Commerce, 588 U. S.
                 (slip op. at 19–20); Fox Television Stations, 556 U.S. at
                 514–21; State Farm, 463 U.S. at 42–43; Bowman
                 Transp., 419 U. S. at 286.
                   This Court at times has compressed the different
                 standards of §706(2)(A) into a single requirement of
                 reasonableness in the agency’s exercise of discretion,
                 including the associated requirement of a reasonable
                 explanation. But that requirement is not altered because
                 an agency changes course:
                       [T]he requirement that an agency provide
                     reasoned explanation for its action would
                     ordinarily demand that it display awareness
                     that it is changing position. . . . And, of course,
                     the agency must show that there are good
                     reasons for the new policy. But it need not
                     demonstrate to a court’s satisfaction that the
                     reasons for the new policy are better than the
                     reasons for the old one; it suffices that the
                     new policy is permissible under the statute,
                     that there are good reasons for it, and that the
                     agency believes it to be better, which the con-
                     scious change of course adequately indicates.
                 Fox Television Stations, 556 U.S. at 515. The general
                 application of this same standard of review to both
                 initial and changed policy prescriptions responds to
                 the Court’s and the APA’s understanding that the
                 exercise of policy discretion is purposely subject to
                 variation over time. See, e.g., State Farm, 463 U.S. at
                 42 (“an agency must be given ample latitude to ‘adapt
                 their rules and policies to the demands of changing
                 circumstances.’ Permian Basin Area Rate Cases, 390
                 U. S. 747, 390 U. S. 784 (1968)”); American Trucking
                 Assns., Inc. v. Atchison, T. & S. F. R. Co., 387 U. S.




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                 397, 416 (1967) (“[r]egulatory agencies do not establish
                 rules of conduct to last forever”).
                   However, this Court has identified particular set-
                 tings in which changes in policy require explanation
                 to meet the requirements of APA §706(2)(A). For
                 example, Fox Television Stations declared:
                     [W]hen, for example, its new policy rests upon
                     factual findings that contradict those which
                     underlay its prior policy; or when its prior
                     policy has engendered serious reliance interests
                     that must be taken into account[,] . . . [i]t
                     would be arbitrary or capricious to ignore
                     such matters. In such cases it is not that
                     further justification is demanded by the mere
                     fact of policy change; but that a reasoned
                     explanation is needed for disregarding facts
                     and circumstances that underlay or were
                     engendered by the prior policy.
                 Id., 556 U.S. at 514. While this requirement is an
                 important one, it should not be read as a directive to
                 ignore the limitations on judicial review written into
                 law and emphasized repeatedly by this Court. In other
                 words, the explanation required in such circumstances
                 is one that recognizes the issues to be addressed and
                 provides guidance as to the reasons behind the agency’s
                 resolution of them. See also Encino Motorcars, LLC v.
                 Navarro, 136 S. Ct. 2117, 2126–27 (2016). The reasons
                 must be sufficient to withstand challenge under
                 the various “arbitrary, capricious” headings in APA
                 §706(2)(A), but the agency’s explanation need not
                 satisfy judges of the correctness and cogency of the
                 answers an agency gives. See Department of Commerce,
                 588 U. S. (slip op., at 18–20); FERC v. Electric Power
                 Supply Assn., 577 U. S. ___, ___ (2016) (slip op., at 30);
                 Fox Television Stations, 556 U.S. at 515–16. Amici




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                 believe it is critical for this Court to clarify the
                 limitations on review in this context.
                    II. Courts Should Not Inquire into, or Base
                        Decisions on, Administrators’ Motives for
                        Actions Challenged under the APA.
                        A. Review of Agency Action under the
                           APA Focuses on Lawfulness Judged by
                           the Reasons Given, Not Motives.
                    As a rule, for a court reviewing agency action, as
                 this Court has emphatically said, it is “not the function
                 of the court to probe the mental processes” of the
                 administrator. Morgan II, 304 U.S. at 18. Justice
                 Frankfurter, writing for the Court in Morgan IV
                 explained the reasons to avoid inquiries into the
                 motives and thought processes of a decision-maker in
                 a co-equal branch of government. He compared looking
                 at the motives of an administrator to looking into the
                 motives of a judge rather than what is written in the
                 judge’s opinion, concluding that this sort of inquiry
                 would be “destructive” of the responsibility of admin-
                 istrators and would undermine “the integrity of the
                 administrative process.” Morgan IV, 313 U.S. at 422.
                 Other noted judges have sounded similar warnings,
                 including Judge Learned Hand’s thoughtful opinion in
                 Gregoire. See 177 F.2d at 580–81.
                   While repeating these warnings, this Court has
                 stated that inquiries into motive may be permitted in
                 cases in which a challenged policy cannot plausibly
                 rest on any sustainable ground—cases where “it is
                 impossible to ‘discern a relationship to legitimate state
                 interests,’ or . . . the policy is inexplicable by anything
                 but [legally impermissible] animus.’” Trump v. Hawaii,
                 585 U. S. (slip op. at 33) (quoting Romer v. Evans,
                 517 U.S. at 632, 635). The Court also described the




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                 exceptional cases as involving actions that “lack any
                 purpose other than a ‘bare . . . desire to harm a politi-
                 cally unpopular group.’” Trump v. Hawaii, (slip op. at
                 33) (quoting Moreno, 413 U.S. at 534). In other words,
                 the Court concluded that the rationales advanced in
                 support of the actions being reviewed were insufficient
                 to justify those actions under prevailing constitutional
                 standards of review. See Romer, 517 U.S. at 631–33
                 (challenged actions did not pass rational basis review);3
                 Moreno, 413 U.S. at 534–38. Finding no rational
                 connection between the stated goals of the challenged
                 actions and the classifications embedded in the actions
                 themselves fit the Court’s conclusions that other, uncon-
                 stitutional, grounds motivated the actions. See Romer,
                 517 U.S. at 634–35; Moreno, 413 U.S. at 534–35
                 (relying also on statements in legislative history).
                   Last term, in Department of Commerce, this Court
                 arguably expanded the set of cases in which inquiries
                 into motive are permitted, finding the argument
                 advanced in support of a discretionary policy decision
                 to have been “pretextual” even though the majority
                 found that the stated ground for the decision was
                 reasonable and, taken at face value, was within legal
                 bounds. See Department of Commerce, 588 U. S. (slip
                 op., at 19–20). The majority opinion stated:



                   3
                       While Justice Scalia’s dissent denies that the majority
                 engaged in rational basis review, Romer, 517 U.S. at 640 (Scalia,
                 J., dissenting), the majority does declare that the Court “will
                 uphold the legislative classification so long as it bears a rational
                 relation to some legitimate end” before stating “Amendment 2
                 fails . . . even this conventional inquiry.” Id., at 631–32 (citation
                 omitted). The critique by Justice Scalia concerns more the charac-
                 ter of the Court’s arguments indicating a lack of rational basis
                 than their absence. See id., at 640–53 (Scalia, J., dissenting).




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                     The Secretary was required to consider the
                     evidence and give reasons for his chosen
                     course of action. He did so. It is not for us to
                     ask whether his decision was “the best one
                     possible” or even whether it was “better than
                     the alternatives.”
                 Department of Commerce, 588 U.S. (slip op., at 20)
                 (citation omitted).
                   Not only did the Court accept the sufficiency of
                 the Secretary’s rationale, it instructed that “a court
                 may not reject an agency’s stated reasons for acting
                 simply because the agency might also have had other
                 unstated reasons.” Id., (slip op. at 24). The Court also
                 underscored that a policy decision may not be set aside
                 simply “because it might have been influenced by polit-
                 ical considerations or prompted by an Administration’s
                 priorities.” Id. The Court further stated that, although
                 “a strong showing of bad faith or improper behavior”
                 could justify an inquiry into “the mental processes of
                 administrative decisionmakers,” id., the court below
                 had erred in ordering such an inquiry in the case at
                 bar because it entered that order when evidence before
                 the lower court did not satisfy that high standard. See
                 id., (slip op. at 24–25).
                    Nevertheless, the Court found that, as part of the
                 inquiry into the basis for the Secretary of Commerce’s
                 decision, evidence was produced demonstrating that
                 the Secretary’s proffered explanation was “pretextual,”
                 further concluding that this justified and excused the
                 “premature” demand for such evidence. See id., (slip
                 op. at 24–28). In contrast to decisions such as Romer
                 and Moreno, Department of Commerce supported setting
                 aside a decision as improperly motivated after finding
                 it justified on the grounds stated by the administrator,
                 making reference to the administrator’s motive a




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                 separate inquiry rather than an extrapolation from
                 the absence of a rational basis for his action.
                   Because it holds an administrative decision unlawful
                 on grounds of motive after finding it adequately
                 supported in law on the basis of its stated rationale
                 and supporting record, Department of Commerce is at
                 odds with the Court’s decision in SEC v. Chenery, 318
                 U.S. at 87. Chenery stands for the proposition that
                 courts will not look beyond the stated rationale for
                 administrative action. Chenery rejected government
                 efforts to shift judicial review from that initial
                 rationale to later explanations that might have proved
                 more in keeping with standards for agency action.
                   Resistance to considering reasons other than those
                 given initially by the agency equally applies in this
                 setting. Courts should take the agency at its word and
                 test its stated reasons against the APA’s standards for
                 review, neither asking what other reasons might have
                 been given nor what hidden motives might be divined.
                 See, e.g., Camp v. Pitts, 411 U.S. 138, 142–43 (1973).
                       B. Inquiries into Officials’ Motives Intrude
                          on Spheres of Action Committed to Co-
                          Equal Branches of Government and
                          Invite Litigation Based on Political or
                          Personal Predilections.
                    Justice Frankfurter’s analogy to probing the actual
                 motivation behind a judicial decision is apt. See
                 Morgan IV, 313 U.S. at 422. Disappointed litigants
                 and other critics of judicial decisions may be so certain
                 of the correctness of their position that they greet any
                 contrary decision with suspicion. Every judge is famil-
                 iar with speculation that something in the judge’s
                 background, personal life, religion, or past political
                 associations explains the real basis for a decision. Yet




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                 appellate courts routinely review lower court decisions
                 for consistency with the law and do not permit counsel
                 directly to question a judge about his or her thought
                 processes leading to a decision or to subpoena law
                 clerks for similar inquiries.
                    This Court has stated that the role of a court review-
                 ing administrative actions is comparably circumscribed.
                 Courts properly look at the administrative record and
                 base a judgment on that record; they do not hold
                 hearings on the decision-maker’s thinking about the
                 action taken or try to divine that from other extrinsic
                 evidence. See, e.g., Trump v. Hawaii, 585 U.S. (slip op.
                 at 32–33); Camp v. Pitts, 411 U.S. at 142–43; Morgan
                 IV, 313 U.S. at 422; Morgan II, 304 U.S. at 18. Nor do
                 courts look at a record—not of lower court proceedings
                 or of administrative proceedings—to divine decision-
                 makers’ true motives, as opposed to evaluating whether
                 the decision was legally justified on the grounds
                 asserted. Motives are complex, difficult to ascertain,
                 and seldom matters that courts are well-equipped to
                 assess. That is why rules intended to prevent bias in
                 particular contexts, notably individuated adjudica-
                 tions of rights, address specific types of relationships
                 (principally financial) that can be ascertained from
                 facts, making the objectively established relationship—
                 rather than subjective determinations of motive—
                 decisive. See, e.g., Caperton v. A.T. Massey Coal Co.,
                 Inc., 556 U.S. 868 (2009); Gibson v. Berryhill, 411 U.S.
                 564 (1973); Ward v. Village of Monroeville, 409 U.S. 57
                 (1972); Tumey v. Ohio, 273 U.S. 510 (1927). Further,
                 even those rules are not applied to broad policy
                 decisions.4

                   4
                     Gibson v. Berryhill, 411 U.S. 564 (1973), concerns a rule-
                 based determination on licensing and turns on the question of the
                 administrators’ financial self-interest in adopting the rule. The




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                    Because Department of Commerce threatens to greatly
                 expand the occasions for inquiry into the motives of
                 administrators, this Court should clearly specify the
                 limits on such inquiries. While amici are skeptical of
                 any such inquiries, permitting inquiries into motive
                 even when administrators have articulated cogent,
                 legally sufficient reasons for their actions invites chal-
                 lenges that almost certainly would enmesh courts in
                 the very sort of difficulties this Court warned against
                 in Morgan II and Morgan IV and that Judge Hand
                 criticized in Gregoire—inquiries that are at odds with
                 the understood division of responsibilities between
                 courts and coordinate branches of government. See,
                 e.g., Department of Commerce, 588 U.S. (slip op., at 2,
                 7–8, 13–15) (Thomas, J., dissenting). In Justice Thomas’
                 words: “[T]he Court’s decision enables partisans to use
                 the courts to harangue executive officers through depo-
                 sitions, discovery, delay, and distraction.” Id., (slip op.
                 at 15) (Thomas, J., dissenting). This “implicate[s]
                 separation-of-powers concerns insofar as it enables
                 judicial interference with the enforcement of the
                 laws.” Id.
                   Amici strongly endorse the Court’s long-standing
                 resistance to examining the motives of administrative
                 decision-makers exercising legally granted authority.
                 Amici have been government decision-makers as well
                 as academic critics of government decisions, and have
                 studied taught, and written about government decision-
                 making. Drawing on our experience, amici stress the
                 threat to constitutionally separated powers if reviewing

                 rule’s effect was to make individuals working for one specific firm
                 ineligible to practice optometry. Those specific individuals chal-
                 lenged the rule excluding them from practice. The action at issue
                 in Gibson, thus, is tantamount to the sort of individual deter-
                 mination in other cases.




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                 judges seek to plumb the motives of officials in co-
                 equal branches of government. Permitting inquiries
                 into official motives encourages use of judicial review
                 not strictly as a means for keeping official actions
                 within legal bounds but as extensions of political
                 disputes into the judicial domain. This undermines the
                 perceived legitimacy of the courts and intrudes on
                 decisions committed to other branches. See, e.g.,
                 Trump v. Hawaii, 585 U.S. (slip op. at 5–10) (Thomas,
                 J., dissenting); Cass, Nationwide Injunctions, supra,
                 at 35–40; see also Lin, supra, at 634–46 (describing
                 coordination among politically-allied state attorneys
                 general and other groups in legal challenges).
                    Whether and how much the approach taken in
                 Department of Commerce produces the harms identi-
                 fied by amici, by Justice Thomas’ dissenting opinion,
                 and others depends critically on the way this Court
                 views that decision. It can be seen as setting a pattern
                 for a broad set of future cases or as addressing a truly
                 exceptional situation, not likely to be repeated often
                 if at all. Fortunately, the opinion in Department of
                 Commerce emphasizes the Court’s understanding of
                 the extraordinary circumstances of that case. The
                 decision describes the instances in which inquiry into
                 motive is appropriate as constituting a “narrow excep-
                 tion to the general rule against” such inquiries, 588
                 U.S. (slip op. at 24); it characterizes the extent of the
                 record available as “rare” for such cases, id., (slip op.
                 at 28); and shortly after that, it again states that the
                 case involves “unusual circumstances,” id. These state-
                 ments suggest a view of the decision as limited to a
                 very small category of disputes, perhaps even, in the
                 dissenting justices’ words, the case may come to be
                 seen as “an aberration—a ticket good for this day and
                 this train only.” Id., (slip op. at 15) (Thomas, J.,
                 dissenting).




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                    Certainly, the approach taken by the Court in
                 Trump v. Hawaii, 585 U. S. (slip op. at 32–37), just a
                 short time prior to Department of Commerce, indicates
                 an appreciation of the highly unusual circumstances
                 in which the Court has considered arguments respect-
                 ing the motives of other federal officers. In Trump v.
                 Hawaii, the Court rejected entreaties to look into
                 motive, instead reviewing the challenged action to see
                 if it was supported by a merely rational basis, see id.
                 (slip op. at 33–37), as has been the rule.
                   The Court should clarify that the decision in Depart-
                 ment of Commerce responded to an extraordinary set
                 of circumstances and did not constitute either a
                 change to the accepted understanding of the APA or,
                 worse yet, an open invitation to courts to consider
                 challenges based on the assumption that one political
                 party’s or one national administration’s motives are at
                 odds with judges’ views of shared ideals.
                   Based on our collective experience in government,
                 studying government, and teaching and writing about
                 government, amici firmly believe that permitting
                 judicial inquiries into matters of official motive would
                 be far more likely to damage effective government
                 than to promote it. Such a change would be contrary
                 to the text of the APA, contrary to the weight of prece-
                 dent, and contrary to underlying governance structures.




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                                    CONCLUSION
                   The scope of review applied to discretionary actions,
                 when subject to judicial review, should be narrow,
                 should assess specific forms of unlawful decision-
                 making, and should assess the rationale for action, not
                 the motives attributed to those taking the action. The
                 judgment of the court below should be evaluated in
                 accord with these considerations and should be reversed
                 and remanded to the court below if not consistent with
                 these considerations.

                                           Respectfully submitted,

                                           RONALD A. CASS
                                             Counsel of Record
                                           CASS & ASSOCIATES, PC
                                           10560 Fox Forest Drive
                                           Great Falls, VA 22066-1743
                                           (703) 438-7590
                                           roncass@cassassociates.net
                                           Counsel for Amici Curiae
                 August 23, 2019




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                              Nos. 18-587, 18-588, 18-589

                                         IN THE

                    Supreme Court of the United States
                     DEP’T OF H OMELAND SECURITY, et al., Petitioners
                                              v.
                 REGENTS OF THE UNIV. OF CALIFORNIA, et al., Respondents
                                            ------
                  DONALD J. TRUMP, PRESIDENT OF THE UNITED STATES,
                                    et al., Petitioners
                                              v.
                    NATIONAL ASSOCIATION FOR THE ADVANCEMENT OF
                          COLORED PEOPLE, et al., Respondents
                                            ------
                 KEVIN K. MC ALEENAN, ACTING SECRETARY OF H OMELAND
                               SECURITY, et al., Petitioners
                                              v.
                  MARTIN JONATHAN BATALLA VIDAL, et al., Respondents

                               ON WRIT OF CERTIORARI
                      TO THE UNITED STATES COURTS OF APPEALS
                      FOR THE NINTH, D.C., AND SECOND CIRCUITS

                     BRIEF OF AMICUS CURIAE CENTER FOR
                      CONSTITUTIONAL JURISPRUDENCE
                         IN SUPPORT OF PETITIONERS


                                         JOHN C. EASTMAN
                                           Counsel of Record
                                         ANTHONY T. CASO
                                         The Claremont Institute’s
                                             Center for Constitutional
                                             Jurisprudence
                                         c/o Dale E. Fowler School of Law
                                         Chapman University
                                         One University Drive
                                         Orange, CA 92866
                                         (877) 855-3330
                                         jeastman@chapman.edu

                               Counsel for Amicus Curiae
                         Center for Constitutional Jurisprudence




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                             QUESTIONS PRESENTED
                     This dispute concerns the policy of immigration en-
                 forcement discretion known as Deferred Action for
                 Childhood Arrivals (DACA). In 2016, this Court af-
                 firmed, by an equally divided vote, a decision of the
                 Fifth Circuit holding that two related Department of
                 Homeland Security (DHS) discretionary enforcement
                 policies, including an expansion of the DACA policy,
                 were likely unlawful and should be enjoined. See
                 United States v. Texas, 136 S. Ct. 2271 (2016) (per cu-
                 riam). In September 2017, DHS determined that the
                 original DACA policy was unlawful and would likely
                 be struck down by the courts on the same grounds as
                 the related policies. DHS thus instituted an orderly
                 wind-down of the DACA policy. The questions pre-
                 sented are as follows:
                    1. Whether DHS’s decision to wind down the
                       DACA policy is judicially reviewable.

                    2. Whether DHS’s decision to wind down the
                       DACA policy is lawful.
                 This amicus curiae brief addresses the second ques-
                 tion presented.




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                          INTEREST OF AMICUS CURIAE1
                    The Center for Constitutional Jurisprudence is the
                 public interest law arm of the Claremont Institute,
                 whose stated mission is to restore the principles of the
                 American founding to their rightful and preeminent
                 authority in our national life, including the funda-
                 mental separation of powers principles implicated by
                 these cases. The Center has previously appeared be-
                 fore this Court as amicus curiae in several cases ad-
                 dressing similar separation of powers issues, includ-
                 ing Trump v. Hawaii, 138 S. Ct. 2392 (2018); United
                 States v. Texas, 136 S.Ct. 2271 (2016); and Perez v.
                 Mortgage Bankers Ass’n, 135 S.Ct. 1199, 1213 (2015).
                             SUMMARY OF ARGUMENT
                     Janet Napolitano, the former Secretary of Home-
                 land Security who issued the DACA Memo at issue in
                 these cases, brought suit against her successor in of-
                 fice alleging, primarily, that her prior handiwork
                 could not be undone without going through the Notice
                 and Comment rulemaking procedures that she herself
                 had not followed. Complaint ¶ 15, Joint Appendix Vol.
                 2:561. These cases thus have a bizarre, through-the-
                 looking-glass aspect to them. Cf. Lewis Carrol,
                 Through the Looking Glass (1871). To understand the
                 full scope of the incongruity, a review of the prior ac-



                 1 Pursuant to this Court’s Rule 37.3(a), this amicus brief is

                 filed with the consent of the parties. Pursuant to Rule 37.6,
                 Amicus Curiae affirms that no counsel for any party au-
                 thored this brief, and no person other than Amicus Curiae,
                 its members, or its counsel made a monetary contribution
                 to the preparation or submission of this brief.




                                                                                 AR4453
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                 tions, both of former Secretary Napolitano and her im-
                 mediate successor, former Secretary Jeh Johnson
                 (who issued the parallel DAPA Memo), is necessary.
                     That assessment reveals that the prior DACA and
                 DAPA memos were both illegal and even unconstitu-
                 tional. They both pushed the idea of prosecutorial dis-
                 cretion beyond the point where discretion becomes
                 suspension of the law, in violation of the President’s
                 duty to “take Care that the Laws be faithfully exe-
                 cuted,” U.S. Const. art. II, § 3. And even were such a
                 categorial refusal to enforce the law within the bounds
                 of prosecutorial discretion (or, more to the point, not
                 susceptible to judicially-manageable criteria), the ad-
                 ditional benefits conveyed on DACA and DAPA recip-
                 ients by the memos—including a “lawful presence” in
                 the United States and eligibility for work authoriza-
                 tion—cannot plausibly be subsumed under a prosecu-
                 torial discretion umbrella.
                     Given the patent infirmities of the DACA and
                 DAPA programs, the notion that the current admin-
                 istration could not exercise its own prosecutorial dis-
                 cretion to actually enforce the laws on the books is,
                 well, rather bizarre. The lower court decisions so
                 holding simply must be reversed.

                                     ARGUMENT
                 I.   The DACA Program That President
                      Trump’s Administration Seeks to Rescind
                      Was Itself Legally and Even Constitution-
                      ally Infirm.
                      A. The Immigration and Nationality Act
                         mandates removal of unauthorized al-
                         iens.




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                     Several provisions of the Immigration and Nation-
                 ality Act mandate specific enforcement actions by im-
                 migration officials. Section 1225(a)(3), for example,
                 specifies that “All aliens (including alien crewmen)
                 who are applicants for admission [defined as any alien
                 who has not been admitted] or otherwise seeking ad-
                 mission or readmission to or transit through the
                 United States shall be inspected by immigration offic-
                 ers.” 8 U.S.C. § 1225(a)(3) (emphasis added).2 Absent
                 a credible claim for asylum, stowaways are not eligible
                 for admission at all, and “shall be ordered removed
                 upon inspection by an immigration officer.”
                 § 1225(a)(2) (emphasis added). And apart from a few
                 exceptions not at issue here, once an immigration of-
                 ficer “determines that an alien … is inadmissible un-
                 der section 1182(a)(6)(C) or 1182(a)(7) of this title, the
                 officer shall order the alien removed from the United
                 States without further hearing or review….”
                 § 1225(b)(1)(A)(i) (emphasis added). In other cases, “if
                 the examining immigration officer determines that an
                 alien seeking admission is not clearly and beyond a
                 doubt entitled to be admitted, the alien shall be de-
                 tained for a [removal] proceeding under section 1229a
                 ….” § 1225(b)(2)(A) (emphasis added).
                     Once an alien has been detained under that statu-
                 tory mandate, “[a]n immigration judge shall conduct
                 proceedings for deciding the inadmissibility or deport-
                 ability of an alien. § 1229a(a)(1) (emphasis added). An
                 alien who fails to appear “shall be ordered removed in
                 absentia” if the Immigration Service establishes that
                 the alien was provided written notice of the hearing


                 2 All code section references are to Title 8 of the U.S. Code

                 unless otherwise noted.




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                 and that the alien is removable. § 1229a(b)(5)(A) (em-
                 phasis added). Finally, applying the burdens of proof
                 set out in the statute, “[a]t the conclusion of the pro-
                 ceeding the immigration judge shall decide whether
                 an alien is removable from the United States.”
                 § 1229a(c)(1)(A) (emphasis added); §§ 1229a(c)(2), (3).
                    In other words, the statutory scheme uses the
                 mandatory “shall” rather than a discretionary “may”
                 throughout, indicating Congress’s intent to treat
                 these duties as ministerial mandates rather than dis-
                 cretionary enforcement options.
                     To be sure, this Court has recognized that a “well
                 established tradition of police discretion has long co-
                 existed with apparently mandatory arrest statutes.”
                 Town of Castle Rock, Colo. v. Gonzales, 545 U.S. 748,
                 760 (2005) (citing 1 ABA Standards for Criminal Jus-
                 tice 1–4.5, commentary, pp. 1–124 to 1–125 (2d
                 ed.1980). But removal proceedings are civil proceed-
                 ings, not criminal ones, and as at least one prominent
                 legal treatise has noted: “In contrast to criminal pros-
                 ecution, the government has no free rein to refuse to
                 enforce civil actions.” R. Rotunda and J. Nowak, 1
                 Treatise on Const. Law § 7.6 (March 2016).
                    Moreover, Congress’s statutory scheme here pro-
                 vides the “stronger indication” of a true mandate that
                 this Court found lacking in Gonzales. 545 U.S. at 761-
                 62. Beyond the repeated use of the mandatory lan-
                 guage, Congress specified that removal proceedings
                 “shall be the sole and exclusive procedure for determin-
                 ing whether an alien may be admitted to the United
                 States or, if the alien has been so admitted, removed
                 from the United States.” § 1229a(a)(3) (emphasis
                 added). The claim that a President has discretion not




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                 to commence removal proceedings against unauthor-
                 ized aliens and thereby afford to them a “lawful pres-
                 ence” in the United States cannot be squared with
                 Congress’s language that a determination of admissi-
                 bility by an immigration judge in a removal proceed-
                 ing is the “sole and exclusive” means for determining
                 whether an alien may be admitted.
                     The U.S. District Court for the Northern District
                 of Texas in Crane v. Napolitano, 3:12-CV-03247-O,
                 2013 WL 1744422 (N.D. Tex. Apr. 23, 2013), reached
                 precisely that conclusion. Although that action by bor-
                 der patrol agents was ultimately dismissed for lack of
                 subject matter jurisdiction because the Merit Systems
                 Protection Board was the exclusive venue for their
                 claims,3 the District Court’s analysis of the relevant
                 statutory language was thorough and persuasive:
                 “Congress’s use of the word ‘shall’ in Section
                 1255(b)(2)(A) imposes a mandatory obligation on im-
                 migration officers to initiate removal proceedings
                 against aliens they encounter who are not ‘clearly and
                 beyond a doubt entitled to be admitted.’” Id. at *17.
                    The court found compelling this Court’s decisions
                 in Fed. Express Corp. v. Holowecki, 552 U.S. 389
                 (2008), and Lopez v. Davis, 531 U.S. 230 (2001).
                 Holowecki held that the EEOC’s “duty to initiate in-
                 formal dispute resolution processes upon receipt of a
                 charge is mandatory in the ADEA context” because of
                 statutory language in 29 U.S.C. § 626(d) providing
                 that the EEOC “shall promptly seek to eliminate any


                 3 Crane, No. 3:12-cv-03247-O, Order (N.D. Tex., July 31,

                 2013), available at http://www.crs.gov/analysis/legalside-
                 bar/Documents /Crane_DenialofMotionforReconsidera-
                 tion.pdf.




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                 alleged unlawful practice by informal methods of con-
                 ciliation, conference, and persuasion.” 552 U.S. at 399
                 (emphasis added). Similarly, Lopez noted that Con-
                 gress’s “use of a mandatory ‘shall’ . . . impose[s] dis-
                 cretionless obligations.” 531 U.S. at 241. The court
                 also found this Court’s decision in, e.g., Heckler v.
                 Chaney, 470 U.S. 821, 835 (1985), and the Board of
                 Immigration Appeals decision in In re E-R-M & L-R-
                 M, 25 I. & N. Dec. 520, 520 (BIA 2011), to be distin-
                 guishable. The discretion recognized in the latter—
                 an immigration case—was simply whether to refer an
                 unauthorized alien to regular or expedited removal
                 proceedings, the court noted, not “to refrain from ini-
                 tiating removal proceedings at all.” Crane, 2013 WL
                 1744422, at *10. And the court found the statutory
                 language in the Food, Drug, and Cosmetic Act at issue
                 in Chaney, which this Court held committed “complete
                 discretion to the Secretary to decide how and when
                 they should be exercised,” 470 U.S. at 835, to be in
                 contrast with the Immigration and Nationalization
                 Act, which “is not structured in such a way that DHS
                 and ICE have complete discretion to decide when to
                 initiate removal proceedings.” Crane, 2013 WL
                 1744422, at *10.
                     B. DACA and DAPA are both categorical,
                        and therefore unconstitutional, suspen-
                        sions of the law.
                     Even if Congress’s use of the mandatory term
                 “shall” is deemed not to foreclose prosecutorial discre-
                 tion in individual cases, the DACA and DAPA pro-
                 grams went much further than authorizing case by
                 case discretion. Instead, they amounted to a categor-
                 ical and therefore unconstitutional suspension of the
                 law.




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                     This Court’s decision in Chaney is instructive. Af-
                 ter concluding “that an agency’s decision not to take
                 enforcement action should be presumed immune from
                 judicial review under § 701(a)(2)” of the Administra-
                 tive Procedures Act, this Court “emphasize[d] that the
                 decision is only presumptively unreviewable; the pre-
                 sumption may be rebutted where the substantive stat-
                 ute has provided guidelines for the agency to follow in
                 exercising its enforcement powers.” Chaney, 470 U.S.
                 at 832-33. This Court then cited, with apparent ap-
                 proval, the D.C. Circuit’s en banc decision in Adams
                 v. Richardson, 480 F.2d 1159 (1973) (en banc). The
                 Court of Appeals in that case rejected the Govern-
                 ment’s claim of discretion over how or even whether
                 to enforce Title VI of the Civil Rights Act of 1964. “Ti-
                 tle VI not only require[d] the agency to enforce the
                 Act, but also set[] forth specific enforcement proce-
                 dures,” id. at 1162, just as the Immigration and Nat-
                 uralization Act does here. More significantly, the
                 Court of Appeals recognized—in language cited by
                 this Court—that prosecutorial discretion does not ap-
                 ply when an agency “has consciously and expressly
                 adopted a general policy which is in effect an abdica-
                 tion of its statutory duty.” Id.; see also Chaney, 470
                 U.S. at 833 n.4.
                    Both DACA and DAPA fall on the “categorical sus-
                 pension of the law” side of the Chaney line. In her
                 June 15, 2012 memo establishing the DACA program,
                 former Homeland Security Secretary Janet Napoli-
                 tano set out specific, categorical criteria for DACA
                 program eligibility. Memo from Janet Napolitano,
                 Secretary of Homeland Security, to David V. Aguilar,
                 Acting Commissioner, U.S. Customs and Border Pro-
                 tection, et al., Exercising Prosecutorial Discretion with
                 Respect to Individuals Who Came to the United States




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                 as Children, p. 1 (June 15, 2012). Although the memo
                 repeatedly asserts that eligibility decisions are to be
                 made “on a case by case basis,” it is actually a directive
                 to immigration officials to grant deferred action to an-
                 yone meeting the criteria. “With respect to individu-
                 als who meet the above criteria” and are not yet in re-
                 moval proceedings, the memo orders that “ICE and
                 CBP should immediately exercise their discretion, on
                 an individual basis, in order to prevent low priority
                 individuals from being placed into removal proceed-
                 ings or removed from the United States.” Id. at 2 (em-
                 phasis added). And “[w]ith respect to individuals who
                 are in removal proceedings but not yet subject to a fi-
                 nal order of removal, and who meet the above crite-
                 ria,” “ICE should exercise prosecutorial discretion, on
                 an individual basis, for individuals who meet the
                 above criteria by deferring action for a period of two
                 years, subject to renewal, in order to prevent low pri-
                 ority individuals from being removed from the United
                 States.” Id. (emphasis added). USCIS and ICE are
                 directed to “establish a clear and efficient process” for
                 implementing the directive, and that process “shall
                 also be available to individuals subject to a final order
                 of removal regardless of their age.” Id. (emphasis
                 added).
                     Homeland Security Secretary Jeh Johnson’s No-
                 vember 2014 memo establishing the DAPA program
                 did the same thing. Although sprinkled with the
                 phrase, “case-by-case basis,” it also established eligi-
                 bility criteria for the new program and directed immi-
                 gration officials “to immediately begin identifying per-
                 sons” who met the eligibility criteria, in order “to pre-
                 vent the further expenditure of enforcement resources
                 with regard to these individuals.” Jeh Charles John-




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                 son, Memorandum for Leon Rodriguez, et al., Exercis-
                 ing Prosecutorial Discretion with Respect to Individu-
                 als Who Came to the United States as Children and
                 with Respect to Certain Individuals Who Are the Par-
                 ents of U.S. Citizens or Permanent Residents, p. 2
                 (Nov. 20, 2014). The memo even announced that the
                 process for terminating removal of eligible aliens
                 “shall also be available to individuals” already “sub-
                 ject to final orders of removal.” Id. (emphasis added).
                     The notion that either memo allowed for a true in-
                 dividualized determination rather than providing a
                 categorical suspension of the law is simply not credi-
                 ble. There is nothing in either memo to suggest that
                 immigration officials could do anything other than
                 grant deferred action to those meeting the defined el-
                 igibility criteria. Indeed, the overpowering tone of the
                 memos is one of woe to line immigration officers who
                 did not act as the memo told them they “should,” a
                 point that was admitted by Department of Homeland
                 Security officials in testimony before the House of
                 Representatives. See Transcript, Hearing on Presi-
                 dent Obama’s Executive Overreach on Immigration,
                 House of Representatives Judiciary Committee (Dec.
                 2, 2014) (Represenative Goodblatt noting: “DHS has
                 admitted to the Judiciary Committee that, if an alien
                 applies and meets the DACA eligibility criteria, they
                 will receive deferred action. In reality, immigration
                 officials do not have discretion to deny DACA applica-
                 tions if applicants fulfill the criteria.”).
                     Nevertheless, by repeatedly regurgitating the
                 phrase, “on a case by case basis,” Secretaries Napoli-
                 tano and Johnson seemed to have recognized that
                 prosecutorial discretion cannot be exercised categori-
                 cally without crossing the line drawn in Chaney into




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                 unconstitutional suspension of the law—without, that
                 is, violating the President’s constitutional obligation
                 to “take care that the laws be faithfully executed.”
                 U.S. Const. art. II, § 3; Chaney, 470 U.S. at 833 n.4.
                 But the memos’ directives to the immigration services
                 not to enforce the immigration laws against anyone
                 meeting the eligibility criteria set out in the memos,
                 “in order to prevent low priority individuals from be-
                 ing removed from the United States,” clearly falls on
                 the unconstitutional side of the Chaney line. As this
                 Court recognized nearly 180 years ago, “To contend
                 that the obligation imposed on the President to see the
                 laws faithfully executed, implies a power to forbid
                 their execution, is a novel construction of the consti-
                 tution, and entirely inadmissible.” Kendall, v. United
                 States ex rel. Stokes, 37 U.S. (12 Pet.) 524, 613 (1838).
                     The Office of Legal Counsel at the Department of
                 Justice has likewise recognized the need for individu-
                 alized determinations for exercises of prosecutorial
                 discretion to be constitutional. “[T]he Executive
                 Branch ordinarily cannot … consciously and expressly
                 adopt[] a general policy that is so extreme as to
                 amount to an abdication of its statutory responsibili-
                 ties,” it noted in the memo purporting to validate the
                 DAPA program. Karl R. Thompson, Office of Legal
                 Counsel, The Department of Homeland Security’s Au-
                 thority to Prioritize Removal of Certain Aliens Un-law-
                 fully Present in the United States and to Defer Re-
                 moval of Others, p. 7 (Nov. 19, 2014) (quoting Chaney,
                 470 U.S. at 833 n.4, internal quotation marks omit-
                 ted). “[A] general policy of non-enforcement that fore-
                 closes the exercise of case-by-case discretion poses
                 ‘special risks’ that the agency has exceeded the
                 bounds of its enforcement discretion.” Id. (quoting
                 Crowley Caribbean Transp., Inc. v. Pena, 37 F.3d 671,




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                 677 (D.C. Cir. 1994)). Yet that is exactly what DACA
                 and DAPA did. As the district court for the Eastern
                 District of Pennsylvania correctly recognized, the ex-
                 ecutive actions at issue in those programs, establish-
                 ing threshold eligibility criteria for aliens unlawfully
                 present in the United States to obtain “deferred ac-
                 tion,” constituted “legislation” rather than prosecuto-
                 rial discretion, “and effectively change[d] the United
                 States’ immigration policy.” U.S. v. Juarez-Escobar,
                 25 F. Supp. 3d 774, 786 (W.D. Pa. 2014).
                    Neither were the executive actions implemented in
                 the DACA and DAPA programs simply an exercise of
                 the kind of prosecutorial discretion that had been ex-
                 ercised by previous administrations. Much was made
                 at the time of the Family Fairness Program imple-
                 mented by President George H.W. Bush’s administra-
                 tion in February 1990. But that program, which dealt
                 with delayed voluntary departure rather than DACA
                 and DAPA’s deferred action, was specifically author-
                 ized by statute. Section 242(b) of the Immigration and
                 National Act at the time provided, in pertinent part:
                    In the discretion of the Attorney General and un-
                    der such regulations as he may prescribe, de-
                    portation proceedings, including issuance of a
                    warrant of arrest, and a finding of deportability
                    under this section need not be required in the
                    case of any alien who admits to belonging to a
                    class of aliens who are deportable under section
                    1251 of this title if such alien voluntarily de-
                    parts from the United States at his own ex-
                    pense, or is removed at Government expense as
                    hereinafter authorized, unless the Attorney
                    General has reason to believe that such alien is
                    deportable under paragraphs (4) to (7), (11),




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                    (12), (14) to (17), (18), or (19) of section 1251(a)
                    of this title.
                 8 U.S.C. § 1252(b), cited in Perales v. Casillas, 903
                 F.2d 1043, 1048 (5th Cir. 1990) (emphasis added).
                     That specific statutory authority was largely su-
                 perseded by the Temporary Protected Status program
                 established by the Immigration Act of 1990, which is
                 available to nationals of designated foreign states af-
                 fected by armed conflicts, environmental disasters,
                 and other extraordinary conditions, 8 U.S.C. § 1254a,
                 and subsequently limited to 120 days by the 1996 Il-
                 legal Immigration Reform and Immigrant Responsi-
                 bility Act (“IIRIRI”), see 8 U.S.C. § 1229c. In contrast,
                 as even the OLC opinion defending DAPA acknowl-
                 edged, “deferred action,” which is the asserted basis
                 for the DACA and DAPA executive actions, “developed
                 without statutory authorization.” OLC Memo, at 13;
                 see also Reno v. Am.-Arab Anti-Discrimination
                 Comm., 525 U.S. 471, 484 (1999) (noting that deferred
                 action “developed without express statutory authori-
                 zation,” apparently in the exercise of discretionary re-
                 sponse to international humanitarian crises that trig-
                 ger the President’s separate foreign affairs authority
                 of the sort now covered by the Temporary Protected
                 Status Program).
                     There are now specific statutes that authorize de-
                 ferred action. See, e.g., 8 U.S.C. § 1154(a)(1)(D)(i)(II),
                 (IV) (providing that certain individuals are “eligible
                 for deferred action”); USA PATRIOT ACT of 2001,
                 Pub. L. No. 107-56, § 423(b), 115 Stat. 272, 361 (prov-
                 ing that certain immediate family members of Lawful
                 Permanent Residents who were killed on 9/11 should
                 be made “eligible for deferred action.”); National De-
                 fense Authorization Act for Fiscal Year 2004, Pub. L.




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                 No. 108-136, § 1703(c)-(d), 117 Stat. 1392, 1694, and
                 other statutes that delegate to the Attorney General
                 discretion to waive other provisions of the INA in spe-
                 cific circumstances, e.g., 8 U.S.C. § 1182(a)(6)(E)(iii),
                 (d)(11) (authorizing discretionary waiver of smuggler
                 ineligibility for admission rule for smugglers who only
                 assisted their own spouses, parents, or children); 8
                 U.S.C. § 1182(d)(13), (14) (authorizing, in certain
                 specified circumstances, discretionary waiver of inad-
                 missibility rules for recipients of “T” and “U” visas); cf.
                 8 U.S.C. § 1229b (authorizing the Attorney General to
                 “cancel removal” and “adjust status” for up to four
                 thousand aliens annually who are admitted for lawful
                 permanent residence and who meet certain specific
                 statutory criteria). But none of these statutes author-
                 ize the broad use of deferred action for domestic pur-
                 poses asserted by the June 2012 DACA program or the
                 expanded November 2014 DAPA program. Indeed, the
                 fact that Congress deemed it necessary to include
                 such statutory authorization for these specific domes-
                 tic uses of deferred action is compelling evidence that
                 the Executive does not have unfettered discretion to
                 give out deferred action whenever it chooses, and cer-
                 tainly not to deem such individuals as “lawfully pre-
                 sent in the country for a period of time,” as Secretary
                 Johnson claimed in his November 20, 2014 memo.
                 Johnson Memo, supra, at 2.
                     C. The provision of benefits and a “lawful”
                        status are beyond the scope of prosecuto-
                        rial discretion.
                     Even if DACA’s categorical suspension of deporta-
                 tion requirements could be viewed as a valid exercise
                 of prosecutorial discretion, the granting of affirmative




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                 benefits such as work authorization and “lawful pres-
                 ence” cannot be.
                     “The doctrine of prosecutorial discretion applies to
                 enforcement decisions, not benefit decisions,” noted
                 Bo Cooper, General Counsel for the Immigration and
                 Naturalization Service at the end of the Clinton Ad-
                 ministration. Bo Cooper, General Counsel, INS, INS
                 Exercise of Prosecutorial Discretion, at 4 (July 11,
                 2000).4 Although Cooper was of the opinion that the
                 INS had “prosecutorial discretion to place a removable
                 alien in proceedings, or not to do so,” he acknowledged
                 that it did “not have prosecutorial discretion to admit
                 an alien into the United States who is inadmissible
                 under the immigration laws, or to provide any immi-
                 gration benefit to any alien ineligible to receive it.” Id.
                 at 1. “[T]he grant of an immigration benefit, such as
                 naturalization or adjustment of status, is a benefit de-
                 cision that is not a subject for prosecutorial discre-
                 tion.” Id. at 4.
                    Yet in implementing DACA, the Immigration ser-
                 vices contended that an unauthorized alien “who has
                 received deferred action is authorized by DHS to be
                 present in the United States, and is therefore consid-
                 ered by DHS to be lawfully present during the period
                 of deferred action is in effect.” U.S. Citizenship and
                 Immigration Services, Frequently Asked Questions




                 4 Available at http://niwaplibrary.wcl.american.edu/refer-

                 ence/dditional-materials/immigration/enforcement-deten-
                 tion-and-criminaljustice/government-documents/Bo-
                 Cooper-memo%20pros%20discretion7.11.2000.pdf




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                 (June 15, 2015).5 And Secretaries Napolitano and
                 Johnson both directed the immigration services to ex-
                 tend work authorization to individuals they placed in
                 deferred action who were otherwise ineligible to work
                 in the United States. Secretary Napolitano’s memo es-
                 tablishing the DACA program cited no provision of
                 law authorizing her to grant work authorization, but
                 Secretary Johnson purported to find such authority in
                 five words of the work authorization definitional stat-
                 ute. “Each person who applies for deferred action pur-
                 suant to the criteria above shall also be eligible to ap-
                 ply for work authorization for the period of deferred
                 action, pursuant to my authority to grant such author-
                 ization reflected in section 274A(h)(3) of the Immigra-
                 tion and Nationality Act,” he wrote. Johnson Memo,
                 at 4-5 (citing 8 U.S.C. § 1324a(h)(3)).
                     Section 1324a establishes the general rule that
                 employing an unauthorized alien is illegal. Subsection
                 (a)(1) specifically makes it unlawful to hire “an unau-
                 thorized alien (as defined in subsection (h)(3) of this
                 section).” Subsection (h)(3) in turn defines “unauthor-
                 ized alien” as any alien who is not “lawfully admitted
                 for permanent residence” (that is, someone who qual-
                 ifies under one of the carefully wrought exemptions to
                 inadmissibility contained in Section 1101(a)(15) of the
                 Immigration Code, such as the “T” visa) or an alien
                 “authorized to be so employed by this chapter or by the
                 Attorney General.” 8 U.S.C. § 1324a(h)(3) (emphasis
                 added).


                 5 Available at https://web.archive.org/web/20150626103

                 508/https://www.uscis.gov/humanitarian/consideration-de-
                 ferred-action-childhood-arrivals-process/frequently-asked-
                 questions.




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                     That last phrase, “or by the Attorney General”
                 (and by extension the Secretary of Homeland Secu-
                 rity), was the statutory hook that Secretary Johnson
                 claimed to have provided him unfettered discretion to
                 grant work authorization to any unauthorized alien
                 he wished. It was, to say the least, a pretty slim reed.
                     For one thing, such a broad interpretation of that
                 brief statutory reference would render superfluous
                 several other statutory provisions that give specific
                 authority to the Attorney General to confer both law-
                 ful status and work authorization and other benefits
                 on certain unauthorized aliens in carefully circum-
                 scribed circumstances. Section 1101(a)(15)(V), for ex-
                 ample, allows the Attorney General to confer tempo-
                 rary lawful status on the close family members of law-
                 ful permanent residents who have petitioned the At-
                 torney General for a nonimmigrant visa while an ap-
                 plication for an immigrant visa is pending. Section
                 1158(c)(1)(B) authorizes the Secretary to grant work
                 authorization to aliens who have been granted asy-
                 lum). Section 1226(a)(3) allows the Secretary to grant
                 work authorization to otherwise work-eligible aliens
                 pending a removal decision, and Section 1231(a)(7)
                 permits the Secretary to grant work authorization un-
                 der certain narrow circumstances to aliens who have
                 received final orders of removal. Much more likely,
                 therefore, that the phrase, “or by the Attorney Gen-
                 eral,” simply refers to the specific grants of authority
                 given to the Attorney General in other pro-visions of
                 the Immigration Code.
                    For another, nothing in the legislative history sug-
                 gests that Congress intended to give the Attorney
                 General the kind of unfettered discretion that Secre-
                 tary Johnson claimed. The section of the immigration




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                 law that includes the brief phrase on which this entire
                 edifice of authority was erected was added in 1986 as
                 part of the Immigration Reform and Control Act. The
                 legislative record leading to the adoption of that mon-
                 umental piece of legislation is extensive, but there
                 does not appear to be any discussion whatsoever of the
                 clause, much less any claim that by including that
                 clause, Congress was conferring unfettered discretion
                 on the Attorney General to issue “lawful presence”
                 and work authorization to anyone illegally present in
                 the United States he chose. Indeed, such a position
                 makes a mockery out of the finely wrought (and hotly
                 contested) provisions elsewhere in the Immigration
                 code providing for such lawful status only upon meet-
                 ing very strict criteria.
                     The more limited view of Section 1324a(h)(3),
                 namely, that it simply refers to other provisions of fed-
                 eral law conferring such authority on the Attorney
                 General in specific circumstances, was implicitly es-
                 poused by a plurality of this Court when, in Chamber
                 of Commerce of U.S. v. Whiting, it summarized Sec-
                 tion 1324a(h)(3) as defining an “unauthorized alien”
                 to be “an alien not ‘lawfully admitted for permanent
                 residence’ or not otherwise authorized by federal law
                 to be employed.” 131 S. Ct. 1968, 1981 (2011) (empha-
                 sis added); see also Hoffman Plastic Compounds, Inc.
                 v. N.L.R.B., 535 U.S. 137, 147 (2002) (federal immi-
                 gration law denies “employment to aliens who (a) are
                 not lawfully present in the United States, or (b) are
                 not lawfully authorized to work in the United States,”
                 citing Section 1324a(h)(3)); Lozano v. City of Hazleton,
                 496 F. Supp. 2d 477, 518-19 (M.D. Pa. 2007), aff’d in
                 part, vacated in part, 620 F.3d 170 (3d Cir. 2010),
                 judgment vacated sub nom. City of Hazleton, Pa. v.




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                 Lozano, 131 S. Ct. 2958 (2011), and aff’d in part, rev’d
                 in part, 724 F.3d 297 (3d Cir. 2013).
                     Moreover, if the clause did provide the Attorney
                 General (now Homeland Security Secretary) with
                 such unfettered discretion, Congress had been wast-
                 ing its time trying to put just such an authority into
                 law. For more than a decade illegal immigration ad-
                 vocates had been pushing for Congress to enact the
                 DREAM Act, the acronym for the Development, Re-
                 lief, and Education for Alien Minors Act first intro-
                 duced by Senators Dick Durbin and Orin Hatch as
                 Senate Bill 1291 back in 2001. The bill would give law-
                 ful permanent residence status and work authoriza-
                 tion to anyone who arrived in this country illegally as
                 a minor, had been in the country illegally for at least
                 five years, was in school or had graduated from high
                 school or served in the military, and was not yet 35
                 years old (although that age requirement could be
                 waived). The bill or some version of it has been rein-
                 troduced in each Congress since, but has usually faced
                 such stiff opposition by those who view its principal
                 provisions as an “amnesty” for illegal immigrants that
                 even its high-level bipartisan support has proved in-
                 sufficient to get the bill adopted. It is hard to imagine
                 the expenditure of so much political capital to provide
                 an authority to the Secretary that he claimed had
                 been in the existing statutes all along. As Judge Smith
                 noted in the Fifth Circuit’s decision enjoining DAPA,
                 such an interpretation is “exceedingly unlikely.”
                 Texas v. United States, 809 F.3d 134, 183 (5th Cir.
                 2015), as revised (Nov. 25, 2015). “Congress … does
                 not alter the fundamental details of a regulatory
                 scheme in vague terms or ancillary provisions—it
                 does not, one might say, hide elephants in mouse-




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                 holes.” Id., n. 186 (quoting Whitman v. Am. Trucking
                 Ass’ns, 531 U.S. 457, 468 (2001)).
                    Indeed, even if this Court were to accept that the
                 general phrase, “or by the Attorney General,” could be
                 interpreted to support Secretary Johnson’s claimed
                 authority to extend work authorization without reli-
                 ance on other specific grants of authority, such an in-
                 terpretation would render the clause unconstitu-
                 tional, a violation of a core aspect of separation of pow-
                 ers.
                     Article I, Section I of the Constitution requires that
                 “[a]ll legislative Powers” granted by the Constitution
                 must be exercised by Congress and cannot be dele-
                 gated away. U.S. Const. art. I, § 1. This Court has
                 held that Congress can delegate a large amount of
                 rule-making authority to executive branch agencies,
                 but only if it “lay[s] down by legislative act an intelli-
                 gible principle to which the person or body authorized
                 to [act] is directed to con-form.” J.W. Hampton, Jr., &
                 Co. v. United States, 276 U.S. 394, 409 (1928); Mis-
                 tretta v. U.S., 488 U.S. 361, 372 (1989).
                    To be sure, this Court has, over the decades, been
                 rather generous in determining what qualifies as an
                 “intelligible principle.” See, e.g., Tagg Bros. & Moor-
                 head v. United States, 280 U.S. 420 (1930) (“just and
                 reasonable”); New York Central Securities Corp. v.
                 United States, 287 U.S. 12 (1932) (“public interest”);
                 Federal Radio Comm. v. Nelson Bros. Bond & Mort-
                 gage Co., 289 U.S. 266, 285 (1933) (“public conven-
                 ience, interest, or necessity”); and FTC v. Gratz, 253
                 U.S. 421 (1920) (“unfair methods of competition”). But
                 even though the treatment of such amorphous lan-
                 guage as an “intelligible” principle might rightly cause
                 one to wonder whether the word “intelligible” is really




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                 intelligible at all, this Court has always insisted that
                 there at least be something in the statute adopted by
                 Congress to constrain the agency’s discretion.
                    If Secretary Johnson’s interpretation of Section
                 1324a(h)(3) were to be accepted, there is absolutely
                 nothing. The phrase, “or by the Attorney General,” is
                 not constrained by any requirement that the Attorney
                 General’s decision be in the “public interest,” or for the
                 “public convenience, interest, or necessity,” or be “just
                 and reasonable,” or even be in the public interest as
                 the Attorney General determines it to be. Rather, it
                 stands entirely on its own, unadorned and unencum-
                 bered by any lawmaking judgment by Congress.
                     Because such an interpretation as that offered by
                 Secretary Johnson would be manifestly unconstitu-
                 tional, a violation of the non-delegation doctrine even
                 in its current, largely moribund state, it should only
                 be adopted, under the doctrine of constitutional avoid-
                 ance, if no other reasonable interpretation exists that
                 would render the statute constitutional. See, e.g.,
                 Blodgett v. Holden, 275 U.S. 142, 148 (1927) (opinion
                 of Holmes, J.). Because the constitutionally valid al-
                 ternative interpretation set out above is not only rea-
                 sonable, but much more consistent with the Immigra-
                 tion code in its entirety, Secretary Johnson’s interpre-
                 tation simply cannot stand.
                    This should be particularly true in the immigra-
                 tion law context, over which Congress’s power has re-
                 peatedly been described by this Court as “plenary.”
                 See, e.g., Sale v. Haitian Centers Council, Inc., 509
                 U.S. 155, 201 (1993); INS v. Chadha, 462 U.S. 919,
                 940-41 (1983); Kleindienst v. Mandel, 408 U.S. 753,
                 766 (1972). Indeed, this Court declared over a century
                 ago that “over no conceivable subject is the legislative




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                 power of Congress more complete” than immigration.
                 Oceanic Steam Navigation Co. v. Stranahan, 214 U.S.
                 320, 339 (1909) (emphasis added); Fiallo v. Bell, 430
                 U.S. 787, 792 (1977). “[T]hat the formulation of [im-
                 migration] policies is entrusted exclusively to Con-
                 gress has become about as firmly embedded in the leg-
                 islative and judicial tissues of our body politic as any
                 aspect of our government.” Galvin v. Press, 347 U.S.
                 522, 531 (1954) (emphasis added).
                     There is yet another constitutional problem with
                 the interpretation that had been offered by Secretary
                 Johnson. The granting of “lawful presence” and work
                 authorization by the Executive branch alone made
                 DACA and DAPA recipients eligible for other finan-
                 cial benefits without specific authorization from Con-
                 gress. That violates Article I, Section 9 of the Consti-
                 tution, which provides: “No Money shall be drawn
                 from the Treasury, but in Consequence of Appropria-
                 tions made by Law.” U.S. Const. art. I, § 9, cl. 7. Only
                 Congress, in compliance with the bicameralism and
                 presentment requirements of the Constitution, U.S.
                 Const. art. I, § 7, could authorize such appropriations;
                 a President (much less a Secretary of Homeland Secu-
                 rity) cannot do it unilaterally. See Clinton v. New
                 York, 524 U.S. 417, 438 (1998).
                     In sum, by frequent use of the word “shall,” the Im-
                 migration and Nationality Act itself mandates re-
                 moval in a number of circumstances, thus overriding
                 whatever prosecutorial discretion might normally ex-
                 ist. Even if otherwise, the DACA and DAPA programs
                 were categorical suspensions of the law rather than
                 the exercise of true case-by-case discretion, and there-
                 fore ran afoul of the President’s constitutional duty to
                 take care that the laws be faithfully executed. And




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                 even if the line between permissible discretion and im-
                 permissible suspension is deemed to be too difficult a
                 line to be judicially enforceable, the provision of a
                 “lawful presence” status and other benefits such as
                 work authorization is simply beyond the scope of what
                 can be accomplished through the use of prosecutorial
                 discretion. Former President Obama was therefore
                 correct when, on more than a dozen occasions, he an-
                 nounced he had no constitutional authority to “just
                 suspend deportation through executive order.” See,
                 e.g., Remarks by the President at Univision Town Hall
                 (March 28, 2011).6 “There are enough laws on the
                 books by Congress that are very clear in terms of how
                 we have to enforce our immigration system that for
                 me to simply through executive order ignore those
                 congressional mandates would not conform with my
                 appropriate role as President.” Id.
                    The notion, accepted by the lower courts, that the
                 current administration cannot rescind a discretionary
                 policy of a prior administration that was itself of such
                 dubious legality simply cannot be countenanced.
                II.   A Discretionary Decision Not To Enforce
                      The Law Cannot Give Rise To A Reliance In-
                      terest In Continued (And Certainly Not In
                      Perpetual) Non-Enforcement.
                    A second argument advanced by plaintiffs and ac-
                 cepted by the courts below, namely, that DACA cannot
                 be rescinded because DACA recipients have reliance
                 and Due Process interests in retaining their deferred


                 6 Available at https://obamawhitehouse.archives.gov/the-

                 press-office/2011/03/28/remarks-president-univision-town-
                 hall.




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                 action “lawful presence” status, is equally without
                 merit, for several reasons.
                     First, if the DACA program was a valid exercise of
                 prosecutorial discretion not to enforce the law, it is
                 necessarily the case that a successor administration
                 (or even the same administration, should it decide to
                 exercise its discretion in a different direction) could
                 choose once again to exercise that same prosecutorial
                 discretion in favor of enforcing the law. Indeed, the
                 exercise of discretion to enforce is necessarily more
                 valid than the exercise of discretion not to enforce, be-
                 cause the former carries with it no risk of crossing the
                 line into an unconstitutional suspension of the law.
                     Second, the DACA program on its own terms ex-
                 plicitly disclaimed any reliance interest. The policy,
                 as articulated by Secretary Napolitano, “confer[ed] no
                 substantive right, immigration status or pathway to
                 citizenship.” Regents Pet. App. 101a. “Only the Con-
                 gress, acting through its legislative authority, can
                 confer these rights,” she added. Id. And applicants
                 for the DACA program were separately notified, on
                 the application form itself, that “Deferred action does
                 not confer lawful status upon an individual.” USCIS
                 Form I-821D (06/25/13).7
                     Such caveats are not surprising. Law enforcement
                 officers exercise prosecutorial discretion every day,
                 most often without such express caveats. When a
                 highway patrol officer chooses not to stop someone
                 driving a few miles over the speed limit, that is an ex-


                 7 Available at https://web.archive.org/web/2014010707

                 4823/http://www.uscis.gov/sites/default/files/files/form/
                 i-821d.pdf.




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                 ercise of prosecutorial discretion. When the Drug En-
                 forcement Agency decides not to arrest someone for
                 small amounts of marijuana possession, that, too, is
                 an exercise of prosecutorial discretion. But in none of
                 those routine cases does an entitlement to future ex-
                 ercises of prosecutorial discretion arise, should one
                 choose to continue to violate the law. And this is true
                 even if the law enforcement officer does not spell out
                 in writing or explicitly state that his decision not to
                 make an arrest this time is not an immunity from ar-
                 rest next time. The notion that there can possibly be
                 a reliance interest in continued, even perpetual, pros-
                 ecutorial discretion not to have the law enforced would
                 turn the “discretion” into an entitlement, a “grant of
                 an immigration benefit, such as naturalization or ad-
                 justment of status, … that is not a subject for prose-
                 cutorial discretion,” as former Clinton administration
                 INS General Counsel Bo Cooper acknowledged more
                 than two decades ago. Bo Cooper, INS Exercise of
                 Prosecutorial Discretion, at 4, supra at 14.
                    Finally, had the DACA program actually created
                 an entitlement in which there could be a reliance in-
                 terest, it would even more clearly have amounted to
                 an unconstitutional suspension of the law. See supra,
                 I.B.
                     The claim of “reliance interest” in a prosecutor’s
                 “discretion” is therefore an oxymoron that should be
                 rejected by this Court.
                                    CONCLUSION
                     Because the DACA program adopted in 2012 is it-
                 self constitutionally infirm, the decision by the cur-
                 rent administration to rescind it is well within the
                 bounds of its own executive authority. But even were




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                 it perfectly valid as a legitimate exercise of prosecuto-
                 rial discretion, the discretion exercised by one presi-
                 dential administration cannot possible bind a future
                 presidential administration that chooses to exercise
                 its prosecutorial discretion in a different manner.
                 That would convert a discretionary decision not to
                 prosecute into an entitlement to be exempt from the
                 operation of the law entire, which is a legislative ra-
                 ther than executive function, assigned under our Con-
                 stitution to the Congress, not to the President. The de-
                 cisions of the courts below to the contrary should
                 therefore be reversed.


                                        Respectfully submitted,

                                        JOHN C. EASTMAN
                                          Counsel of Record
                                        ANTHONY T. CASO
                                        The Claremont Institute’s
                                            Center for Constitutional
                                            Jurisprudence
                                        c/o Dale E. Fowler School of
                                            Law at Chapman Univ.
                                        One University Drive
                                        Orange, CA 92866
                                        (877) 855-3330
                                        jeastman@chapman.edu

                              Counsel for Amicus Curiae
                        Center for Constitutional Jurisprudence

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         Nos. 18-587, 18-588, and 18-589

                       IN THE


                        ___________


   DEPARTMENT OF HOMELAND SECURITY, ET AL.,
                              PETITIONERS,
                   V.

REGENTS OF THE UNIVERSITY OF CALIFORNIA, ET AL.,
                                  RESPONDENTS.


            On Writ of Certiorari to the
United States Court of Appeals for the Ninth Circuit
                        __________



  BRIEF FOR THE CATO INSTITUTE AND
     PROFESSOR JEREMY RABKIN
AS AMICI CURIAE SUPPORTING DACA AS A
MATTER OF POLICY BUT PETITIONERS AS A
           MATTER OF LAW
                        __________



Josh Blackman                   Ilya Shapiro
1303 San Jacinto St.              Counsel of Record
Houston, TX 77079               CATO INSTITUTE
(713) 646-1829                  1000 Mass. Ave. N.W.
jblackman@stcl.edu              Washington, D.C. 20001
                                (202) 842-0200
                                ishapiro@cato.org
August 26, 2019



     Additional Captions Listed on Inside Cover




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DONALD J. TRUMP, PRESIDENT OF THE UNITED STATES,
                          ii
               ET AL., PETITIONERS
                         v.
 NATIONAL ASSOCIATION FOR THE ADVANCEMENT OF
             COLORED PEOPLE, ET AL.
                   __________
  ON WRIT OF CERTIORARI BEFORE JUDGMENT TO THE
UNITED STATES COURT OF APPEALS FOR THE DISTRICT OF
                COLUMBIA CIRCUIT
                   __________

   KEVIN K. MCALEENAN, ACTING SECRETARY OF
    HOMELAND SECURITY, ET AL., PETITIONERS
                      v.
    MARTIN JONATHAN BATALLA VIDAL, ET AL.
                  __________

  ON WRIT OF CERTIORARI BEFORE JUDGMENT TO THE
  UNITED STATES COURT OF APPEALS FOR THE SECOND
                     CIRCUIT
                   __________




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            QUESTIONS PRESENTED
    This dispute concerns the policy of immigration en-
forcement discretion known as Deferred Action for
Childhood Arrivals (DACA). In 2016, this Court af-
firmed, by an equally divided vote, a Fifth Circuit rul-
ing that two related Department of Homeland Security
(DHS) discretionary enforcement policies, including
an expansion of the DACA policy, were likely unlawful
and should be enjoined. See United States v. Texas,
136 S. Ct. 2271 (per curiam). In September 2017, DHS
determined that the original DACA policy was unlaw-
ful and would likely be struck down by the courts on
the same grounds as the related policies. DHS thus in-
stituted an orderly wind-down of the DACA policy. The
questions presented are as follows:
   1. Whether DHS’s decision to wind down the
      DACA policy is judicially reviewable.
   2. Whether DHS’s decision to wind down the
      DACA policy is lawful.




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         NOT—IMPLICITLY AUTHORIZE DACA
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           INTEREST OF AMICI CURIAE1
   The Cato Institute is a nonpartisan think tank ded-
icated to individual liberty, free markets, and limited
government. Cato’s Robert A. Levy Center for Consti-
tutional Studies promotes the principles of constitu-
tionalism that are the foundation of liberty. To those
ends, Cato conducts conferences and publishes books,
studies, and the annual Cato Supreme Court Review.
   Jeremy A. Rabkin is a law professor at George Ma-
son University’s Antonin Scalia Law School. Prof. Rab-
kin’s fields of expertise include administrative law,
constitutional history, and statutory interpretation.
    The interest of amici here lies in preserving the
separation of powers that maintains the rule of law at
the heart of the Constitution’s protections for individ-
ual liberty. Amici generally support DACA-type poli-
cies that would normalize the immigration status of
individuals who were brought to this country as chil-
dren and have no criminal records. But the president
cannot unilaterally make fundamental changes to im-
migration law—in conflict with the laws passed by
Congress and in ways that go beyond constitutionally-
authorized executive power. Nor does the president ac-
quire more powers when Congress refuses to act, no
matter how unjustified the congressional inaction is.
The separation of powers prevents the president from
expanding his own authority. Those same dynamics
ensure that a subsequent president can reverse his
predecessor’s unlawful executive actions.



   1 Rule 37 statement: All parties issued blanket consents to the

filing of amicus briefs. Nobody but amici and their counsel au-
thored any of this brief or funded its preparation and submission.




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              INTRODUCTION AND
            SUMMARY OF ARGUMENT
    Through the Deferred Action for Childhood Arri-
vals program (DACA), the previous administration
took the position that the Immigration and Nationality
Act (INA) authorized the secretary of homeland secu-
rity to confer lawful presence on roughly 1.5 million
aliens. The current administration reversed course.
The attorney general concluded that this reading of
federal law had “constitutional defects.” He reached
this decision in light of the Fifth Circuit’s injunction of
the similar Deferred Action for Parents of Americans
and Lawful Permanent Residents program (DAPA),
which this Court affirmed by an equally divided vote.
   Several lower courts blocked the president from
winding down DACA, however, holding that the exec-
utive branch failed to justify the rescission. These rul-
ings are wrong because DACA goes beyond executive
power under the INA. But even if the Court declines to
reach that holding, the attorney general offered rea-
sonable constitutional objections such that if DACA
somehow complies with the INA, then the INA itself
violates the nondelegation doctrine as applied here.
    First, DACA, which lacks “express statutory au-
thorization,” Reno v. Am.-Arab Anti-Discrim. Comm.,
525 U.S. 471, 484 (1999), cannot be supported by any
“implicit” congressional acquiescence. Two general
provisions within the INA cannot bear the weight of
this foundational transformation of immigration pol-
icy. Moreover, it should not matter if Congress has
stood by idly when previous presidents exercised ma-
terially different deferred-action policies. The presi-




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dent cannot acquire new powers simply because Con-
gress acquiesced to similar accretions in the past. In
any event, DACA is not consonant with past practice.
   These arguments are sufficient to confirm the at-
torney general’s conclusion that DACA is unlawful.
But even if the Court disagrees—or declines to reach
that issue—the executive branch has still provided ad-
equate grounds to justify the rescission of DACA.
    That is, second, the attorney general reasonably de-
termined that DACA is inconsistent with the presi-
dent’s duty of faithful execution. Admittedly, the attor-
ney general’s letter justifying the rescission is not a
model of clarity. But it need not be. This executive-
branch communication provides, at a minimum, a rea-
sonable constitutional objection to justify DACA re-
scission. Specifically, it invokes the “major questions”
doctrine, which is used “in service of the constitutional
rule” that Congress cannot delegate legislative power
to the executive branch. Gundy v. United States, 139
S. Ct. 2116, 2142 (2019) (Gorsuch, J., dissenting). In
other words, if federal law in fact supported DACA,
then important provisions of the INA would run afoul
of the nondelegation doctrine. The attorney general, as
well as the Fifth Circuit, rejected this reading of the
INA. Here, the court should accept the executive’s de-
termination of how to avoid a nondelegation problem:
by winding down a discretionary policy.
   Amici support comprehensive immigration reform,
of which a DACA-type policy is only one part. But the
president can’t make the requisite legal changes by
himself. Such unlawful executive actions both set back
prospects for long-term reform and, more importantly
here, weaken the rule of law. See, e.g., Ilya Shapiro,
I’m an Immigrant and a Reform Advocate. Obama’s




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Executive Actions Are a Disaster for the Cause, Wash.
Post, Feb. 24, 2015, https://wapo.st/30rnq5m. Revers-
ing the courts below would restore the immigration de-
bate to the political process—exactly where it belongs.

                    ARGUMENT
I. DACA, WHICH LACKS “EXPRESS
   STATUTORY AUTHORIZATION,” CANNOT
   BE SUPPORTED BY “IMPLICIT”
   CONGRESSIONAL ACQUIESCENCE TO
   PREVIOUS USES OF DEFERRED ACTION
    This Court has recognized that deferred action is a
“regular practice” in the enforcement of immigration
law. Reno, 525 U.S. at 484 (1999). However, it devel-
oped “without express statutory authorization.” Id. (ci-
tations omitted). In 2016, the government argued that
three statutes vested the secretary of homeland secu-
rity with the “broad statutory authority” necessary for
DAPA—and by extension, DACA. Brief for the Peti-
tioners at 42, United States v. Texas, 136 S. Ct. 2271
(2016) (No. 15-674) [“Brief for DAPA Petitioners”].
    First, the government cited 6 U.S.C. § 202(5), which
authorizes the secretary of homeland security to
“[e]stablish[] national immigration enforcement poli-
cies and priorities.” Second, the government invoked 8
U.S.C § 1103(a), which charges the secretary “with the
administration and enforcement of this chapter and all
other laws relating to the immigration and naturaliza-
tion of aliens.” Third, the government relied on the in-
teraction between 8 U.S.C. § 1324a(h)(3) and 8 C.F.R.
274a.12(c)(14). The former statute excludes from the
definition of “unauthorized alien” an alien who is “au-
thorized to be so employed by this chapter or by the
Attorney General.” The latter regulation states that an




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alien who has been granted deferred action “must ap-
ply for work authorization” if she “establishes an eco-
nomic necessity for employment.” The solicitor general
conceded that “Section 1324a(h)(3) did not create the
Secretary’s authority to authorize work; that authority
already existed in Section 1103(a), the vesting clause
that gives the Secretary sweeping authority to admin-
ister the INA and to exercise discretion in numerous
respects.” Brief for DAPA Petitioners, at 63.
   In short, the case for DACA’s statutory legality
hangs on only two provisions of the U.S. Code: 6 U.S.C.
§ 202(5) and 8 U.S.C § 1103(a). Can the authority for
DACA be found within the four corners of these stat-
utes? No. Instead, the executive branch defended
DACA on a broader understanding of delegation.
   A. CONGRESS DID NOT—AND COULD
      NOT—IMPLICITLY AUTHORIZE DACA
      BY ACQUIESCING TO PAST EXERCISES
      OF DEFERRED ACTION
     In 2014, the Office of Legal Counsel (OLC) opined
that DAPA and DACA were lawful. Karl R. Thompson,
OLC Memorandum Opinion, DHS’s Authority to Prior-
itize Removal of Certain Aliens Unlawfully Present in
the United States and to Defer Removal of Others at 29
(Nov. 19, 2014) [hereinafter OLC Opinion]. OLC con-
tended that these policies were legal, in part, because
Congress “implicitly approved” past “permissible uses
of deferred action.” Id. at 24.
   The Court has, at times, endorsed this sort of “ad-
verse possession” approach to the separation of pow-
ers. NLRB v. Noel Canning, 573 U.S. 513, 526 (2014)
(quoting Youngstown Sheet & Tube Co. v. Sawyer, 343
U.S. 579, 610 (1952) (Frankfurter, J., concurring); id.




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at 613 (Scalia, J., concurring). That is, the president
can accumulate new constitutional powers “by engag-
ing in a consistent and unchallenged practice over a
long period of time.” Id. at 613–14. But see Medellin v.
Texas, 552 U.S. 491, 532 (2008) (quoting Dames &
Moore v. Regan, 453 U.S. 654, 686 (1981)) (“Past prac-
tice does not, by itself, create power.”); Josh Blackman,
Defiance and Surrender, 59 S. Tex. L. Rev. 157, 164
(2018) (noting that “courts favor purported defiance
over voluntary surrender”) (citing McPherson v.
Blacker, 146 U.S. 1, 35–36 (1892)).
    But the Court has never sanctioned the extension
of a Frankfurterian gloss to the statutory context. The
president cannot accrete new legislation-based powers
because Congress has acquiesced to similar accretions
in the past. The legality of DACA must stand or fall by
virtue of the authority delegated by 6 U.S.C. § 202(5)
and 8 U.S.C § 1103(a), not based on whether Congress
has acquiesced to past invocations of those authorities.
   B. DACA IS NOT CONSONANT WITH PAST
      EXECUTIVE PRACTICE
    Even accepting OLC’s framework, DACA is not
“consonant with” past executive policy. See OLC Opin-
ion at 24. OLC identified only “five occasions since the
late 1990s” where the government “made discretionary
relief available to certain classes of aliens through the
use of deferred action”: deferred action for (1) “[b]at-
tered [a]liens [u]nder the Violence Against Women
Act”; (2) “T and U Visa [a]pplicants”; (3) “[f]oreign
[s]tudents [a]ffected by Hurricane Katrina”; (4)
“[w]idows and [w]idowers of U.S. [c]itizens”; and, as
relevant here, (5) the 2012 “Deferred Action for Child-
hood Arrivals” (DACA) policy. Id. at 15–20.




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    The scope of Congress’s acquiescence for the first
four policies was far more constrained than OLC sug-
gested. Each instance of deferred action was sanc-
tioned by Congress, and one of two qualifications ex-
isted: (1) the alien already had an existing lawful pres-
ence in the U.S., or (2) the alien had the immediate
prospect of lawful residence or presence in the U.S. In
either case, “deferred action acted as a temporary
bridge from one status to another, where benefits were
construed as arising immediately post-deferred ac-
tion.” Josh Blackman, The Constitutionality of DAPA
Part I: Congressional Acquiescence to Deferred Action,
3 Geo. L.J. Online 96, 112 (2015) (emphasis in origi-
nal). See also Texas v. United States, 809 F.3d 134, 184
(5th Cir. 2015) (“[M]any of the previous programs were
bridges from one legal status to another, whereas
DAPA awards lawful presence to persons who have
never had a legal status and may never receive one.”)
(emphasis added).
   The solicitor general makes this same point now:
these past practices “used deferred action to provide
certain aliens temporary relief while the aliens sought
or awaited permanent status afforded by Congress.”
Brief for the Petitioners at 47, Dep’t of Homeland Se-
curity v. Regents of the Univ. of California (2019) (Nos.
18-587, 18-588, and 18-589) [SG Brief]. Unlike previ-
ous recipients of deferred action, DACA beneficiaries
have no prospect of a formal status adjustment unless
they become eligible for some other statutory relief.
   Nor does President George H.W. Bush’s 1990
“Family Fairness” policy, which OLC also cited, sup-
port DACA’s legality. First, the Family Fairness policy
served as a bridge to adjustment of status because it
was “interstitial to a statutory legalization scheme.”




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Texas v. United States, 809 F.3d at 185; see also Peter
Margulies, The Boundaries of Executive Discretion:
Deferred Action, Unlawful Presence, and Immigration
Law, 64 Am. U. L. Rev. 1183, 1217 (2015) (“Family
Fairness was ancillary to Congress’s grant of legal sta-
tus to millions of undocumented persons in IRCA.”).
Second, the actual size of the program is significantly
smaller than DACA. See SG Brief at 49; see also Glenn
Kessler, Obama’s Claim that George H.W. Bush Gave
Relief to ‘40 Percent’ of Undocumented Immigrants,
Wash. Post (Nov. 24, 2014), https://perma.cc/J92E-
C6M9. Third, the Family Fairness policy was premised
on a different statutory authority, known as extended
voluntary departure, 8 U.S.C. § 1254(e), which was se-
verely curtailed in 1996. 8 U.S.C. § 1229c(a)(2)(A). The
solicitor general now seems to endorse this argument.
See SG Brief at 49 n. 10.2 As a result, all exercises of
deferred action prior to 1996 are of limited relevance.
   Finally, OLC admitted that DACA stands on a
more tenuous footing than did DAPA. A cryptic foot-
note explained that OLC “orally advised” that DACA
was still “permissible,” even though it “was predicated


    2 One of the courts below suggested that DACA rescission was

“arbitrary and capricious” because the attorney general “fail[ed]
to even consider OLC’s thorough analysis.” NAACP v. Trump, 298
F. Supp. 3d 209, 240 n.23 (D.D.C. 2018). But one president cannot
“choose to bind his successors by diminishing their powers.” Free
Enter. Fund v. PCAOB, 561 U.S. 477, 497 (2010). Nor can one
administration’s OLC bind a subsequent OLC. The attorney gen-
eral’s decision to reverse course should be seen as an implicit re-
pudiation of the 2014 OLC opinion. Moreover, declining to explain
internal agency deliberations was in no sense “arbitrary and ca-
pricious.” In any case, the solicitor general maintains that the
OLC memo on DAPA “does not undermine the Secretary’s conclu-
sion that DACA is unlawful.” SG Brief at 47.




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on humanitarian concerns that appeared less particu-
larized and acute than those underlying certain prior
class-wide deferred action programs.” OLC Opinion at
18 n.8. In other words, DACA was less “consonant”
with past executive practice than was DAPA. Even if
this legal framework were correct, OLC once again
erred with respect to the facts. “[T]he concerns animat-
ing DACA were” not “consistent with the types of con-
cerns that have customarily guided the exercise of im-
migration enforcement discretion.” See id. Generally,
the “humanitarian concern” behind past deferred ac-
tion policies concerned family reunification. DAPA, at
least, had this attribute: beneficiaries were required to
have a close kinship with a citizen or lawful perma-
nent resident child. In contrast, DACA beneficiaries
need not have any familial relationship with any citi-
zen or lawful resident. See Blackman, The Constitu-
tionality of DAPA Part I, supra at 116–19. Amici agree
with OLC that the legal basis for DAPA was stronger
than the legal basis for DACA. Neither policy, how-
ever, can be squared with federal immigration law.
    In sum, DACA lacks “express statutory authoriza-
tion,” and is not supported by “implicit” congressional
acquiescence. This conclusion provides adequate
grounds to reverse the judgments below. The Admin-
istrative Procedure Act (APA) cannot be read to force
the executive branch to continue implementing a pol-
icy that is contrary to law, regardless of how it chooses
to rescind the policy. SG Brief at 51 (“[I]f DACA is un-
lawful, even an inadequate explanation could not pro-
vide a basis to overturn the agency’s decision to rescind
the unlawful policy.”). But even if the Court disagrees
on that point, or declines to resolve that question, the
executive branch has still provided adequate grounds
to justify the rescission of DACA.




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II. IF FEDERAL LAW AUTHORIZES DACA,
    IMPORTANT PROVISIONS OF THE INA
    IMPERMISSIBLY DELEGATE
    LEGISLATIVE POWER TO THE EXECUTIVE
    The executive doesn’t need the judiciary’s permis-
sion to stop enforcing a law it sees as unconstitutional.
Presidential Authority to Decline to Execute Unconsti-
tutional Statutes, 18 Op. Off. Legal Counsel 199 (Nov.
2, 1994). For example, in 2002, President George W.
Bush construed an obviously “mandatory” statute as
“advisory,” so as not to “impermissibly interfere with
[his] constitutional authority” concerning diplomatic
recognition. Zivotofsky v. Kerry, 135 S. Ct. 2076, 2082
(2015). This decision was compelled by his duty to take
care that the laws be faithfully executed. Const., art.
II, § 3. Ultimately, the Court endorsed this exercise of
departmentalism. See Zivotofsky, 135 S. Ct. at 2096.
    Likewise, the executive branch does not need the
judiciary’s permission to cease enforcing a regulation
it determines to be unconstitutional. Indeed, the APA
would be unconstitutional, as applied, whenever its
regulatory manacles required the executive to con-
tinue enforcing an unconstitutional policy.
   Here, the attorney general determined that DACA
had “constitutional defects,” in light of the Fifth Cir-
cuit’s decision in Texas v. U.S, and the major questions
doctrine. The Court should defer to this reasonable in-
terpretation of the president’s duty to faithfully exe-
cute the law because it avoids nondelegation problems.
In other words, courts should allow reversals of novel
execution actions that expand presidential power.




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   A. COURTS DO NOT DEFER TO
      EXECUTIVE ACTIONS THAT IMPLICATE
      “MAJOR QUESTIONS” OF “DEEP
      ‘ECONOMIC AND POLITICAL
      SIGNIFICANCE’”
    Under the familiar rule established in Chevron
U.S.A. Inc. v. Natural Res. Def. Council, Inc., courts
will defer to an agency’s interpretation of an ambigu-
ous statute so long as the interpretation is reasonable.
467 U.S. 837, 845 (1984). In four cases from the past
quarter-century, however, the Court carved out an im-
portant exception to Chevron: when a regulation im-
plicates a “major question,” the agency is owed no def-
erence. See Josh Blackman, Gridlock, 130 Harv. L.Rev.
241, 260-265 (discussing doctrinal development).
    First, FDA v. Brown & Williamson Tobacco Corp.,
held that the FDA could not expand its jurisdiction to
regulate tobacco as a “drug.” 529 U.S. 120, 131–33
(2000). This case introduced the concept of the “major
questions” doctrine. The phrase came from a 1986 ar-
ticle authored by then-Judge Stephen Breyer: “‘Con-
gress is more likely to have focused upon, and an-
swered, major questions,’” he wrote, “‘while leaving in-
terstitial matters to answer themselves in the course
of the statute’s daily administration.’” Id. at 159 (em-
phasis added) (quoting Stephen Breyer, Judicial Re-
view of Questions of Law and Policy, 38 Admin. L.Rev.
363, 370 (1986)). Regulations that resolve such “major
questions” in “extraordinary cases,” give courts “rea-
son to hesitate before concluding that Congress has in-
tended such an implicit delegation.” Id. As a result, the
Court was “obliged to defer not to the agency’s expan-
sive construction of the statute, but to Congress’ con-
sistent judgment to deny the FDA” the authority to




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regulate tobacco as a drug. Id. at 160. The Court was
“confident that Congress could not have intended to
delegate a decision of such economic and political sig-
nificance to an agency in so cryptic a fashion.” Id.
   Second, Whitman v. American Trucking Ass’ns, 531
U.S. 457 (2001) elaborated on the Brown & Williamson
framework. The Court recognized that Congress “does
not alter the fundamental details of a regulatory
scheme in vague terms or ancillary provisions.” Id. at
468. Justice Scalia explained in a memorable line that
Congress “does not, one might say, hide elephants in
mouseholes.” Id. (citations omitted).
    Third, in Util. Air Reg. Group v. EPA (UARG), the
Court added a skeptical gloss to Brown & Williamson:
“When an agency claims to discover in a long-extant
statute an unheralded power to regulate ‘a significant
portion of the American economy,’ we typically greet
its announcement with a measure of skepticism.” 573
U.S. 302, 324 (2014) (quoting Brown & Williamson,
529 U.S. at 159). Congress will “speak clearly if it
wishes to assign to an agency decisions of vast ‘eco-
nomic and political significance.’” Id. ((quoting Brown
& Williamson, 529 U.S. at 159).
   Fourth, the Court revisited the major questions
doctrine in King v. Burwell. 135 S. Ct. 2480 (2015).
This case considered whether the Affordable Care Act
(ACA) permitted the payment of subsidies on ex-
changes established by the federal government. Id. at
2488. The Court declined to defer to the government’s
reading of the ACA: “In extraordinary cases . . . there
may be reason to hesitate before concluding that Con-
gress has intended such an implicit delegation.” Id. at
2488–89 (quoting Brown & Williamson, 529 U.S. at




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159). Instead, it recognized that the payment of bil-
lions of dollars of credits on the federal exchanges was
a major question of “deep ‘economic and political sig-
nificance’ that is central to this statutory scheme.” Id.
at 2489 (quoting UARG, 573 U.S. at 324)) (emphasis
added, to signal that the modifier “deep” was grafted
onto the Brown & Williamson test). If Congress had
intended for the IRS to have this authority to grant tax
credits, “it surely would have done so expressly.” Id.
   A recent opinion from this Court sheds further light
on the major questions doctrine and its constitutional
foundation, the nondelegation doctrine.
   B. “THE HYDRAULIC PRESSURE OF OUR
      CONSTITUTIONAL SYSTEM . . .
      SHIFT[ED] THE RESPONSIBILITY” FOR
      REVIEWING LEGISLATIVE
      DELEGATIONS FROM THE
      NONDELEGATION DOCTRINE TO THE
      MAJOR QUESTIONS DOCTRINE
    Gundy v. United States considered the constitution-
ality of a provision of the Sex Offender Registration
and Notification Act (SORNA). 139 S. Ct. 2116 (2019).
SORNA § 20913(d) gave the attorney general “the au-
thority to specify the applicability of the requirements
of this subchapter to sex offenders convicted before the
enactment of this chapter . . . and to prescribe rules for
the registration of any such sex offender.” A plurality
of the short-handed Court held that Section 20913(d)
did not violate the “nondelegation doctrine[, which]
bars Congress from transferring its legislative power
to another branch of Government.” Id. at 2121.
   At least three justices disagree. The SORNA provi-
sion, Justice Gorsuch wrote, “purports to endow the




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nation’s chief prosecutor with the power to write his
own criminal code governing the lives of a half-million
citizens.” Id. at 2131 (Gorsuch, J., dissenting).
Through this statute, he observed, Congress “gave the
Attorney General free rein to write the rules for virtu-
ally the entire existing sex offender population in this
country.” Id. at 2132. Justice Gorsuch acknowledged
that the Court “last held that a statute improperly del-
egated the legislative power to another branch” more
than eight decades ago. Id. at 2141. Yet “the Court has
hardly abandoned the business of policing improper
legislative delegations.” Id. The judiciary has contin-
ued to perform that function with a different label, no-
tably “the ‘major questions’ doctrine.” Id.
    Generally, “an agency can fill in statutory gaps
where ‘statutory circumstances’ indicate that Con-
gress meant to grant it such powers.” Id. The major
questions doctrine is as an exception to that rule.
Chevron deference does not apply “[w]hen the ‘statu-
tory gap’ concerns ‘a question of deep economic and po-
litical significance’ that is central to the statutory
scheme.’” Id. (quoting Burwell, 135 S. Ct. at 2488–89).
What are examples of such “major questions?” Justice
Gorsuch cited each case in the modern nondelegation
trilogy: (1) Brown & Williamson (regulations “to ban
cigarettes”); (2) UARG (regulations to “assume control
over millions of small greenhouse gas sources”); and
(3) King v. Burwell (regulations “to rewrite rules for
billions of dollars in healthcare tax credits”). Id. at
2141–42. In each case, deference was not warranted
because Congress “did not hide elephants in mouse-
holes.” Whitman, 531 U.S. at 468.
   The major questions doctrine is not a mere “canon
of statutory construction.” See Gundy, 139 S. Ct. at




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2142 (Gorsuch, J., dissenting). Instead, courts “apply
the major questions doctrine in service of the constitu-
tional rule that Congress may not divest itself of its
legislative power by transferring that power to an ex-
ecutive agency,” id.3 “When one legal doctrine becomes
unavailable to do its intended work, the hydraulic
pressures of our constitutional system sometimes shift
the responsibility to different doctrines.” Id. (citing
McDonald v. Chicago, 561 U.S. 742, 758 (2010)). In
this way, the major questions doctrine is a corollary to
the nondelegation doctrine.
    C. THE FIFTH CIRCUIT USED THE MAJOR
       QUESTIONS DOCTRINE “IN SERVICE
       OF THE CONSTITUTIONAL RULE” THAT
       CONGRESS CANNOT DELEGATE ITS
       LEGISLATIVE POWER
    In Texas v. United States, the Fifth Circuit pur-
ported to decide the legality of DAPA “without resolv-
ing the constitutional claim.” 809 F.3d. at 154. Specif-
ically, the panel expressly declined to “decide the chal-
lenge based on the Take Care Clause.” Id. at 146 n. 3.4
The panel observed that “[w]e merely apply the ordi-
nary tools of statutory construction to conclude that


    3 Although the Gundy plurality rejected Justice Gorsuch’s ap-

plication of the nondelegation doctrine in that case, no justice dis-
putes that the major questions doctrine reflects long-established
constitutional concerns.
    4Amici previously explained how DAPA runs afoul of the
Take Care Clause. See Brief for the Cato Institute et al. as Amici
Curiae Supporting Respondents at 20-30, United States v. Texas,
136 S. Ct. 2271 (2016) (No. 15-674) [“Cato DAPA Brief”]. These
arguments apply with equal force to DACA. See also Josh Black-
man, The Constitutionality of DAPA Part II: Faithfully Executing
The Law, 19 Tex. Rev. L. & Pol. 215 (2015).




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Congress directly addressed, yet did not authorize,
DAPA.” Id. at 183 n 191. Although the major questions
doctrine, again, is not a mere “canon of statutory con-
struction,” Gundy, 139 S. Ct. at 2142 (Gorsuch, J., dis-
senting), part VII of Texas faithfully considered the
modern nondelegation trilogy:
   DAPA would make 4.3 million otherwise re-
   movable aliens eligible for lawful presence, em-
   ployment authorization, and associated bene-
   fits, and “we must be guided to a degree by com-
   mon sense as to the manner in which Congress
   is likely to delegate a policy decision of such eco-
   nomic and political magnitude to an adminis-
   trative agency.” DAPA undoubtedly implicates
   “question[s] of deep ‘economic and political sig-
   nificance’ that [are] central to this statutory
   scheme; had Congress wished to assign that de-
   cision to an agency, it surely would have done
   so expressly.”
Texas, 809 F.3d at 181 (citing Brown & Williamson,
529 U.S. 120, UARG, 573 U.S. 302, and King v. Bur-
well, 135 S. Ct. 2480).
    Next, the Fifth Circuit considered the three stat-
utes that OLC claimed supported DAPA, as well as
DACA: “the broad grants of authority” in 6 U.S.C. §
202(5) and 8 U.S.C. § 1103(a)(3) “cannot reasonably be
construed as assigning ‘decisions of vast ‘economic and
political significance,’ such as DAPA, to an agency.” Id.
at 183 (quoting UARG, 573 U.S. at 324). What about 8
U.S.C. § 1324a(h)(3), which purportedly empowers the
secretary to provide DACA recipients with work au-
thorization? The court observed that the statute “does
not mention lawful presence or deferred action” and “is




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listed as a ‘[m]iscellaneous’ definitional provision ex-
pressly limited to § 1324a.” Id. This section, which
“concern[s] the ‘Unlawful employment of aliens’” was
“an exceedingly unlikely place to find authorization for
DAPA.” Id. (citing Whitman, 531 U.S. at 468 (“Con-
gress, we have held, does not alter the fundamental
details of a regulatory scheme in vague terms or ancil-
lary provisions—it does not, one might say, hide ele-
phants in mouseholes.”). At bottom, the Fifth Circuit’s
decision is best understood to reflect an application of
the major questions doctrine, a corollary to the non-
delegation doctrine.
   D. THE ATTORNEY GENERAL’S LETTER
      MADE A REASONABLE
      CONSTITUTIONAL OBJECTION TO
      DACA
    In September 2017, the attorney general wrote a
one-page letter to the acting secretary of homeland se-
curity. A careful parsing of this executive-branch com-
munication, read in conjunction with Texas and Jus-
tice Gorsuch’s Gundy dissent, establishes a reasonable
constitutional objection to DACA premised on the non-
delegation doctrine. Indeed, this reading was apparent
even before Gundy.5

5 NAACP v. Trump, 298 F. Supp. 3d 209, 240 n.21 (D.D.C. 2018)

(“At least one commentator has identified a second possible con-
stitutional argument in the Sessions Letter: ‘The Obama admin-
istration’s open-ended reading of certain definitional provisions
of the Immigration and Nationality Act (INA) would run afoul of
the nondelegation doctrine.’ See Josh Blackman, Understanding
Sessions's Justification to Rescind DACA, Lawfare (Jan. 16,
2018), https://perma.cc/B28T-2DRJ; see also Texas, 809 F.3d at
150 (noting that the plaintiffs there had asserted “constitutional
claims under the Take Care Clause” and the “separation of pow-
ers doctrine”)).




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   The letter recognized that under DACA, “certain
individuals who are without lawful status in the
United States [can] request . . . benefits such as work
authorization.” Letter from Attorney General Jeff Ses-
sions to Acting Secretary Duke (Sept. 5, 2017). The at-
torney general explained that the work-authorization
grants were “effectuated by the previous administra-
tion through executive action, without proper statu-
tory authority and with no established end-date, after
Congress’ repeated rejection of proposed legislation
that would have accomplished a similar result.” Id. He
added that “[s]uch an open-ended circumvention of im-
migration laws was an unconstitutional exercise of au-
thority by the Executive Branch.” Id.
    Why was the provision of work benefits “effectu-
ated . . . without proper statutory authority”? Why was
it “an unconstitutional exercise of authority by the Ex-
ecutive Branch”? Why was it “an open-ended circum-
vention of immigration laws”? Admittedly, the attor-
ney general’s letter is not a model of constitutional
clarity. But it need not be. It provides, at a minimum,
a reasonable constitutional objection to justify the re-
scission of DACA.
    First, consider the regulation that authorizes the
secretary to grant DACA recipients with work author-
ization, with which we can presume the attorney gen-
eral was familiar.6 8 C.F.R. 274a.12(c)(14) provides a
crystalline illustration of the elephant-in-mousehole
framework. In 1987, the Immigration and Naturaliza-
tion Service denied a petition for rulemaking to re-
strict the issuance of work authorization to certain al-
iens. See Dep’t of Justice, Immig. & Naturalization,


6 See infra n.8.




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Employment Authorization; Classes of Aliens Eligible,
52 Fed. Reg. 46,092 (Dec. 4, 1987). The government
justified the denial, in part, because the number of
such work authorizations would be “quite small”—so
small, that the number was “not worth recording sta-
tistically.” Id. at 46,092-93. Moreover, such authoriza-
tions would “normally [be] of very limited duration,”
and would be very rare. Id. at 46,092.
    DACA operates in a very different fashion. The pol-
icy could provide roughly 1.5 million aliens with work
authorization, and those authorizations could be re-
newed for years to come.7 This elephantine-sized grant
of work authorizations—limited in neither size and
“with no established end-date”—cannot conceivably be
jammed into a not-statistically-significant mousehole.
In every sense, this provision of benefits relies on a
reading of federal immigration law that amounts to
“an unconstitutional exercise of authority by the Exec-
utive Branch”—that is, the exercise of legislative pow-
ers. The attorney general’s conclusion is consistent
with the Court’s admonition in Brown & Williamson:
“Congress could not have intended to delegate a deci-
sion of such economic and political significance”—the
ability to provide work authorization to 1.5 million al-
iens—“in so cryptic a fashion.”8

7 Texas v. United States, 328 F. Supp. 3d 662, 676 (S.D. Tex. 2018)

(“An estimated population of 1.5 million people—greater than the
populations of at least ten states—potentially qualify for these
benefits.”). As a matter of first principle, people should not need
government permission to work. But federal (and state) law often
imposes onerous and even irrational requirements on the right to
earn an honest living, which the president is powerless to alter.
8 In 2016, a group of 43 senators explained that “it strains credu-

lity that Congress would grant the Executive such unfettered dis-
cretion” to grant so many work authorizations. See Brief of Senate




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   Second, the attorney general’s analysis echoed an-
other important attribute of modern nondelegation
doctrine: the provision of work authorization to 1.5
million aliens was a major question of “deep ‘economic
and political significance’ that is central to this statu-
tory scheme.” King v. Burwell, 135 S. Ct. at 2489 (quot-
ing UARG, 573 U.S. at 324)). Indeed, the attorney gen-
eral stressed that DACA sidestepped Congress “after
Congress’ repeated rejection of proposed legislation
that would have accomplished a similar result.”
    Secretary of Homeland Security Kristjen Nielsen
echoed this reading of Texas. Her June 2018 memoran-
dum noted that the Fifth Circuit’s decision “turned on
the incompatibility of such a major nonenforcement
policy with the INA’s comprehensive scheme.” (empha-
sis added). That is, DACA resolved a “major question.”
The status of the Dreamers has divided our polity for
more than a decade. This question is of far deeper “eco-
nomic and political significance” than the payment of
healthcare subsidies on the federal exchange.
    Third, the letter cited part VII of the Fifth Circuit’s
panel decision. The attorney general reasoned that
“[b]ecause the DACA policy has the same legal and
constitutional defects that the courts recognized as to
DAPA, it is likely that potentially imminent litigation
would yield similar results with respect to DACA.”
Letter from Attorney General Sessions, supra (empha-
sis added). Admittedly, the Fifth Circuit purported to


Majority Leader Mitch McConnell and 42 Other Members of the
U.S. Senate as Amici Curiae Supporting Respondents at 22–23,
United States v. Texas, 136 S. Ct. 2271 (2016) (No. 15-674). That
brief should provide some insight into the current administra-
tion’s thinking: it was authored by the current head of OLC and
joined by the attorney general who authorized DACA rescission.




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decide the case “without resolving the constitutional
claim.” Texas, 809 F.3d. at 154. But that framing was
inapt. Justice Gorsuch’s Gundy dissent clarifies that
the application of the major question doctrine was a
constitutional decision. The attorney general’s refer-
ence to DAPA’s “constitutional defects” is most natu-
rally understood as a rejection of the prior administra-
tion’s unbounded reading of federal law.
   E. THE SOLICITOR GENERAL’S BRIEF
      REAFFIRMS THE ATTORNEY
      GENERAL’S REASONABLE
      CONSTITUTIONAL OBJECTION
    To be sure, the solicitor general stopped short of re-
ferring to the major questions doctrine, as well as the
nondelegation doctrine. He did not expressly reference
what the “constitutional defects” in DACA were. With
good reason. Generally, the federal government is hes-
itant to support doctrines that could result in the in-
validation of federal law. But it is difficult to read the
government’s brief—especially after Gundy—without
seeing its constitutional overtones.
    First, the solicitor general touches all the bases of
the Court’s modern nondelegation doctrine jurispru-
dence. He observes that “DHS retains authority to ad-
dress ‘interstitial matters’ of immigration enforce-
ment.” SG Brief at 44 (citing Brown & Williamson, 529
U.S. at 159). However, DACA “is hardly interstitial.”
Id. Next, he explains that “longstanding regulations”
concerning “work authorization” are inconsistent with
DACA, which “is not a gap-filling measure in any
meaningful sense.” Id. Instead, DACA is “an agency
decision[] of vast ‘economic and political significance’ ”
without any warrant from Congress.” Id. at 44–45
(quoting UARG, 573 U.S. at 324). “When an agency




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claims to discover in a long-extant statute an unher-
alded power over important national affairs, this
Court typically greets its announcement with a meas-
ure of skepticism.” Id. at 45 (cleaned up).
    Second, the solicitor general explains that the prior
administration’s broad reading of federal immigration
laws cannot be reconciled with Congress’s “finely retic-
ulated regulatory scheme” over immigration. See
Trump v. Hawaii, 138 S. Ct. 2392, 2406–07 (2018) (ci-
tations omitted). The government argues that “neither
the INA’s general grants of authority in 6 U.S.C.
202(5) and 8 U.S.C. 1103(a)(3), nor the other scattered
references to deferred action throughout the U.S.
Code, can be fairly interpreted as authorizing DHS to
maintain a categorical deferred-action policy affirma-
tively sanctioning the ongoing violation of federal law
by up to 1.7 million aliens to whom Congress has re-
peatedly declined to extend immigration relief.” SG
Brief at 43–44 (emphasis added). The brief adds that 6
U.S.C. § 202(5) and 8 U.S.C. § 1103(a)(3) “simply do
not provide the clarity that is required to authorize a
nonenforcement policy of the nature and scope of
DACA.” SG Brief at 45-46 (emphasis added). Finally,
the brief observes that the lower courts did not “iden-
tify any specific delegation on which DHS could rely”
to enact a policy of DACA’s magnitude. SG Brief at 46
(emphasis added). The emphasized language—fairly
interpreted, clarity, and specific delegation—is about
as close as any solicitor general will ever get to conced-
ing that his predecessor espoused a reading of federal
law that would violate the nondelegation doctrine.
   Third, and most important, the solicitor general
frames the attorney general’s decision in expressly de-
partmentalist terms: he was not merely interpreting a




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statute, but was advising on the executive’s duty of
faithful execution. His brief explains that “as a coordi-
nate Branch, the Executive has an independent duty
to determine whether it lacks authority to act.” SG
Brief at 50. What is an example of such a determina-
tion? The quintessential exercise of executive power:
“the Attorney General may direct United States Attor-
neys not to bring prosecutions that, in his view, would
be unconstitutional.” Id. at 51. Does the government
need to persuade the courts about the validity of that
action? Absolutely not. “[I]n the unique context of its
decision whether or not to enforce the law, the Execu-
tive is entitled to act on its view of the bounds of its
enforcement discretion even if the courts might disa-
gree.” Id. at 50–51 (emphasis added). The solicitor gen-
eral explains that “[t]here is nothing arbitrary and ca-
pricious about making such an enforcement decision
based on the Executive’s own view of what the law per-
mits. So too here, DHS was entitled to stand on its
view that DACA is an invalid exercise of prosecutorial
discretion even if the courts would uphold it.” Id. It is
difficult to read this conclusion, which follows a
lengthy discussion of the major questions doctrine, as
anything but an endorsement of the constitutional the-
ory underlying the nondelegation doctrine.
    Here, the executive branch is on the same page: the
previous administration’s reading of federal law that
supports DACA would render parts of the INA uncon-
stitutional. For that reason, the attorney general rec-
ommended, and the secretary decided, to rescind
DACA. The Court should hesitate before reaching an
alternate holding, in which the attorney general and
the secretary of homeland security, as well as the so-
licitor general, were simply mistaken about the execu-
tive’s faithful execution. The better understanding is




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that the reference to DACA’s “constitutional defects”
was framed in terms of the major questions and non-
delegation doctrines, as Justice Gorsuch recognized in
Gundy.9 But if there is any doubt about this important
question, the government should be asked to represent
its position about DACA’s “constitutional defects.”
   F. TO ELIMINATE NONDELEGATION
      CONCERNS, COURTS SHOULD DEFER
      TO REVERSALS OF NOVEL EXECUTIVE
      ACTIONS THAT EXPANDED EXECUTIVE
      POWER
    Admittedly, amici’s reading of the attorney gen-
eral’s letter is charitable. Indeed, one of the court be-
low took exception to this approach: “Some academic
commentators have offered interesting arguments as
to why courts should review deferentially Defendants’
decision to end the DACA program.” Vidal v. Nielsen,
279 F. Supp. 3d 401, 421 (E.D.N.Y. 2018) (citing Josh
Blackman on Lawfare Blog and Zachary Price on Take
Care Blog). The court observed that the government
has not sought such deference, “arguing instead that,
if their decision is indeed subject to judicial review, it
should be reviewed under the ordinary arbitrary-and-
capricious standard of APA § 706(2)(A).” 279 F. Supp.
at 421, n. 9 (emphasis added). If the government still
maintains this position, amici respectfully posit that a
different standard should be applied.




9 One of the courts below contended that because the government

did “not raise” arguments premised on the nondelegation doc-
trine, it would “not consider them.” NAACP, 298 F. Supp. 3d at
240 n. 21 (D.D.C. 2018). Amici contend that these constitutional
defenses were not—and indeed cannot be—waived.




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    The attorney general’s letter is not akin to mun-
dane guidance documents in which an agency inter-
prets its own regulations. See Kisor v. Wilkie, 139 S.
Ct. 2400 (2019). This case isn’t about the “regulatory
definition of active moiety,” whatever that is. Id. at
2410 n.1. Rather, the letter explains that continuing to
enforce DACA would be unconstitutional. And it con-
cludes: “As Attorney General of the United States, I
have a duty to defend the Constitution and to faith-
fully execute the laws passed by Congress.” This invo-
cation of the constitutional standard takes this letter
out of the realm of normal administrative law. See SG
Brief at 50 (“DHS was interpreting the scope of its own
authority to maintain a discretionary policy of nonen-
forcement that no one claims was required by law.”).
    For example, the Court has recognized that the ma-
jor questions doctrine takes a regulation out of Chev-
ron’s domain. Such a “presidential discovery” of new
power should not be entitled to deference. See Josh
Blackman, Presidential Maladministration, 2018 Ill.
L. Rev. 397, 423 (2018) (“[W]hen the President’s insti-
gation leads to an agency asserting some new power,
Article III spider senses should start tingling. This
caution should be even more pronounced when the dis-
covery of the new power occurs after Congress refused
to vest a similar power through bicameralism.”). This
cramped approach restores the “major question” back
to the democratic process.
   A similar dynamic should apply for the major ques-
tions doctrine, but in reverse: deference should be af-
forded to the rescission. Stated differently, the “presi-
dential discovery” of a novel power should be viewed
with skepticism, while the “presidential reversal” of
that action should be viewed with deference. See id. at




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405, 483-84. The “ordinary arbitrary-and-capricious
standard of APA § 706(2)(A),” Vidal, 279 F. Supp. at
421 (emphasis added), is not applicable in this context.
   Both approaches lead to the same destination:
“while Congress can enlist considerable assistance
from the executive branch in filling up details and
finding facts,” Congress cannot “endow the nation’s
chief prosecutor with the power to write his own [im-
migration] code governing the lives of [one-and-a-]half-
million” aliens. See Gundy, 139 S. Ct at 2131, 2148
(Gorsuch, J., dissenting).
                     *     *       *
    If the previous administration’s boundless reading
of immigration law was correct, Congress would have
unconstitutionally delegated legislative authority to
the executive branch. Indeed, leading immigration
scholars—whom the government cited—endorse such
an expansive conception of statutory delegation. See
Adam B. Cox & Cristina M. Rodríguez, The President
and Immigration Law, 119 Yale L.J. 458, 511 (2009)
(noting that the president now enjoys a “de facto dele-
gation of power that serves as the functional equiva-
lent to standard-setting authority.”); Adam B. Cox &
Cristina M. Rodríguez, The President and Immigra-
tion Law Redux, 125 Yale L.J. 104, 155 (2015) (con-
cluding that “the structure of modern immigration law
simply leaves us with no discernable congressional en-
forcement priorities.”); Josh Blackman, Immigration
Inside the Law, 55 Washburn L.J. 31 (2016) (recalling
that according to some immigration scholars, “Con-
gress and the INA impose absolutely no constraints on
the prosecutorial discretion of the President, so long as
the President does not entirely stop deportations”).




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    But a de facto delegation of statutory authority
with no discernable congressional enforcement priori-
ties would “constitute an invalid delegation of legisla-
tive power to the executive.” See Cato DAPA Brief at
24–25. In a conflict between a novel executive action
based on a theory that would render vast swaths of im-
migration law unconstitutional, and a more con-
strained reading of those laws that allows Congress to
resolve “major questions,” the latter must prevail.
    The Court need not treat this case as a vehicle “to
revisit” the nondelegation doctrine, writ large. Gundy,
139 S. Ct. at 2131 (Gorsuch, J., dissenting). Instead, it
can be resolved on the narrower “hydraulic” principle
afforded by the major questions doctrine. Indeed, this
modified approach is especially appropriate here be-
cause the executive seeks to reverse a discretionary
policy endorsed by his predecessor. Here, we have the
rare situation where the federal government seeks to
contract, rather than expand, its own powers. SG Brief
at 39 (“Nothing in our system of separated powers pro-
hibits executive officials from seeking legislative ap-
proval for particularly significant executive actions.”).
Courts enforcing constitutional checks and balances
should encourage these kinds of decisions.

                   CONCLUSION
    Presidents with different priorities come and go.
But under our constitutional separation of powers,
Congress’s “painstaking[ly] detail[ed]” and “finely re-
ticulated regulatory scheme” over immigration must
prevail. See Trump v. Hawaii, 138 S. Ct. at 2444 (So-
tomayor, J., dissenting). Congress, not the president,
is empowered to resolve the status of the Dreamers, a
major question that has divided our polity for more




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than a decade. Three years ago, amici explained that
rejecting this novel discovery of executive power
“would return the ball of change to the court where it
belongs: Congress.” Cato DAPA Brief at 34. The same
principle controls here.
                       Respectfully submitted,
Josh Blackman                 Ilya Shapiro
1303 San Jacinto St.            Counsel of Record
Houston, TX 77079             CATO INSTITUTE
(713) 646-1829                1000 Mass. Ave. N.W.
jblackman@stcl.edu            Washington, D.C. 20001
                              (202) 842-0200
                              ishapiro@cato.org
August 26, 2019




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                                                                                                       Petitioners,
                                                                   v.
 REGENTS OF THE UNIVERSITY OF CALIFORNIA, et al.,
                                                                                                      Respondents.
                                  ------------------------------------------------------------------
                       DONALD J. TRUMP, PRESIDENT
                        OF THE UNITED STATES, et al.,
                                                                                                       Petitioners,
                                                                   v.
                   NATIONAL ASSOCIATION FOR THE
         ADVANCEMENT OF COLORED PEOPLE, et al.,
                                                                                                      Respondents.
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        SECRETARY OF HOMELAND SECURITY, et al.,
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                                                                                                      Respondents.
                                  ------------------------------------------------------------------
         On Writs Of Certiorari To The United States
   Courts Of Appeals For The Ninth Circuit, District
            Of Columbia Circuit, And Second Circuit
                                  ------------------------------------------------------------------
      AMICUS BRIEF OF SAVE JOBS USA AND THE
       WASHINGTON ALLIANCE OF TECHNOLOGY
         WORKERS IN SUPPORT OF PETITIONERS
                                  ------------------------------------------------------------------
JOHN M. MIANO
Counsel of Record
IMMIGRATION REFORM LAW INSTITUTE
25 Massachusetts Ave., NW, Suite 315
Washington DC 20001
(202) 232-5590
miano@colosseumbuilders.com
================================================================================================================
                                  COCKLE LEGAL BRIEFS (800) 225-6964
                                   WWW.COCKLELEGALBRIEFS.COM




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            INTEREST OF AMICI CURIAE1
     Amici submits this brief in support of their own
interests as plaintiffs in ongoing federal court cases.
The central issue in Amici’s cases is whether the U.S.
Department of Homeland Security (DHS) shares dual
authority with Congress to define classes of aliens eli-
gible for employment.
     Amicus Save Jobs USA is a group of American
computer professionals who worked at Southern Cali-
fornia Edison until they were replaced by foreign
guestworkers possessing H-1B visas. Save Jobs USA v.
United States Dep’t of Homeland Security, No. 16-5287
(D.C. Cir.) is an Administrative Procedure Act (APA)
challenge to DHS regulations granting work authori-
zation to the spouses of certain H-1B guestworkers.
Employment Authorization for Certain H-4 Dependent
Spouses, 80 Fed. Reg. 10,284 (Feb. 25, 2015).
     Amicus the Washington Alliance of Technology
Workers, Local 37083 of the Communication Workers
of America, the AFL-CIO (Washtech), is a union that
represents American technology workers throughout
the United States. Wash. Alliance of Technology Work-
ers v. United States Dep’t of Homeland Security, No.
16-1170 (D.D.C) is an APA challenge to the regulation
Improving and Expanding Training Opportunities for
    1
       The parties have given blanket consent to the filing of ami-
cus curiae briefs in this case. No counsel for any party in this case
authored this brief in whole or in part. No person or entity aside
from Amici, their respective members, or their respective counsel
made a monetary contribution to the preparation or submission
of this brief. Amici do not have parent corporations or issue stock.




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F-1 Nonimmigrant Students With STEM Degrees and
Cap-Gap Relief for All Eligible F-1 Students, 81 Fed.
Reg. 13,040 (Mar. 11, 2016). This regulation authorizes
aliens holding F-1 student visas to work in the United
States for over three years after the aliens graduate.
     Amici’s cases share a key common issue with this
case: whether DHS shares dual authority with Con-
gress to define classes of aliens eligible for employ-
ment. This is because the Deferred Action for
Childhood Arrivals (DACA) program at issue here is
yet another example of DHS using its claim of dual au-
thority to permit alien employment administratively.
E.g., Regents of the Univ. of Cal. v. United States Dep’t
of Homeland Sec., 908 F.3d 476, 490 (9th Cir. 2018).

     The question of whether DHS shares dual author-
ity with Congress was not contested in the courts be-
low in this case because no party had any incentive to
raise this key issue regarding the lawfulness of DACA.
Because no party raised the issue, courts below that
have blocked the DHS from rescinding the DACA pro-
gram rely on the erroneous conclusion that the pro-
gram is substantively lawful.

    As Amici’s cases illustrate, this question of DHS
authority over alien employment has broad implica-
tions that extend beyond DACA. DACA is just one of
several recent DHS actions that have been made pur-
suant to the agency’s claim that it has unlimited au-
thority to grant alien employment. This Court cannot
find that the DACA program is substantively lawful




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without validating DHS’s claim that it has such unlim-
ited authority. Should this Court take that path, DHS
can continue its use of regulations to wipe out protec-
tions for American workers that Congress has enacted
as part of the immigration system. Consequently,
Amici’s interests are aligned with the government’s in-
terests in this case in regard to outcome but diverge
from the government’s interests on the important
question of whether DHS has the general authority to
issue work authorizations to aliens.

                ------------------------------------------------------------------

        SUMMARY OF THE ARGUMENT
     The Deferred Action for Childhood Arrivals
(DACA) program is substantively unlawful because
the Department of Homeland Security (DHS) has no
authority to permit illegal aliens to be employed
through regulation. In recent years, DHS has claimed
that Congress implicitly established dual authority to
extend employment to aliens. Under this claimed sys-
tem, alien employment can be authorized either by
Congress through statute or by DHS through regula-
tion.
    Congress has never attempted to create such a
system. Because neither Petitioners nor Respondents
had any incentive to question whether DHS had the
vast power over alien employment that it claims, the
issue was uncontested in the courts below. The courts
below stated that DHS’s authority to issue employ-
ment authorization documents to DACA participants




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comes from the definition of the term unauthorized al-
ien in 8 U.S.C. § 1324a(h)(3), a definition that is limited
in scope to its own section and does not authorize DHS
to do anything. By concluding that this provision con-
fers on DHS equal authority with Congress to extend
employment to aliens, the courts below have found an
“elephant[ ] in [a] mousehole[ ].” Whitman v. Am. Truck-
ing Ass’ns, 531 U.S. 457, 468 (2001).
    Even under the implausible assumption that Con-
gress intended to confer on DHS the alien employment
authority necessary to implement DACA, that would
make § 1324a(h)(3) unconstitutional under the non-
delegation doctrine because Congress has provided no
guidance whatsoever on how DHS is to use that al-
leged authority. Because a contrary reading of
§ 1324a(h)(3)—that it provides no such sweeping au-
thority to DHS—is possible, and indeed preferable, the
doctrine of constitutional avoidance mandates its
adoption.
                 ------------------------------------------------------------------

                           ARGUMENT
I.    DACA is unlawful because DHS has no au-
      thority to permit alien employment through
      administrative actions not authorized by
      Congress.
     Petitioners assert that the DACA program is un-
lawful, but they focus solely on the issue of whether
such a blanket action truly represents agency discre-
tion. Pet. Br. 43–50. The question of whether DACA is




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substantively lawful, however, goes beyond whether it
is a valid exercise of discretion not to prosecute; DACA
also incorporates the “affirmative agency action” of
“issu[ing] . . . employment authorization.” Texas v.
United States, 809 F.3d 134, 168 (5th Cir. 2015) (ob-
serving the operation of the closely-related Deferred
Action for Parents of Americans and Lawful Perma-
nent Residents (DAPA) program). Furthermore, “al-
lowing for the issuance of employment authorizations
to any class of illegal aliens whom DHS declines to re-
move [ ] is beyond the scope of what the [Immigration
and Nationality Act] can reasonably be interpreted to
authorize. . . .” Id. at 169. Despite the glaring unlaw-
fulness of DACA’s work authorizations, Petitioners
completely neglect to address that issue where a deci-
sion by this Court would impact labor protections in
the entire immigration system. Pet. Br. 43–50, Pet. 27–
30 (No. 18-587), Pet. 14–15 (No. 18-588).


     A. Section 1324a(h)(3) cannot confer on
        DHS the authority to authorize alien em-
        ployment because it is a term definition,
        limited in scope to its own section.
    The courts below brushed off the question of where
Congress has authorized DHS to grant employment to
DACA participants. In NAACP v. Trump, the district
court made no mention at all of the employment issue
in its analysis of whether DACA was lawful. 298
F. Supp. 3d 209, 238–40 (D.D.C. 2018). In Vidal v. Niel-
sen, the district court simply stated in dicta within
a parenthetical that 8 U.S.C. § 1324a(h)(3) conferred




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that authority. 279 F. Supp. 3d 401, 412 (E.D.N.Y.
2018). In Regents of the Univ. of Cal. v. U.S. Dep’t of
Homeland Sec., the district court also stated § 1324a
was the source of the employment authority. 279
F. Supp. 3d 1011, 1020 (N.D. Cal. 2018) (citing Arizona
Dream Act Coal. v. Brewer, 757 F.3d 1053, 1062 (9th
Cir. 2014)); but see Guevara v. Holder, 649 F.3d 1086
(9th Cir. 2011) (holding that there was “nothing in the
statute [8 U.S.C. § 1324a] or administrative regulation
to provide for more” than “merely allow[ing] an em-
ployer to legally hire an alien (whether admitted or
not) while his [adjustment of status] application is
pending.”).
     In the earlier litigation over the similar Deferred
Action for Parents of Americans and Lawful Perma-
nent Residents (DAPA) program, the employment
question was addressed in an adversarial context. See
Texas v. United States, No. 15-40238, Reply Brief (5th
Cir. May 18, 2016). In finding the DAPA program un-
lawful, the U.S. Court of Appeals for the Fifth Circuit
rejected the argument that § 1324a conferred the au-
thority to authorize alien employment. Texas v. United
States, 809 F.3d 134, 182–83 (5th Cir. 2015), aff ’d by an
equally divided court, 136 S. Ct. 2271 (2015). The Fifth
Circuit observed that 8 U.S.C. § 1324a(h)(3) is a “ ‘mis-
cellaneous’ definitional provision expressly limited to
§ 1324a, a section concerning the ‘Unlawful employ-
ment of aliens’ ” and that it “cannot reasonably be con-
strued as assigning ‘decisions of vast economic and
political significance.’ ” Id. at 183 (quoting Util. Air




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Regulatory Grp. v. Envtl. Prot. Agency, 573 U.S. 302,
323–24 (2014)).
    Claiming 8 U.S.C. § 1324a(h)(3) confers on DHS
the authority to define classes of aliens eligible for em-
ployment administratively requires taking that provi-
sion out of context. Congress created § 1324a in the
Immigration Reform and Control Act of 1986, Pub. L.
No. 99-603, § 101, 100 Stat. 3445. This Act, for the first
time, imposed civil and criminal sanctions on employ-
ers who employed aliens that were not authorized to
work under the immigration system. Id. Section
1324a(h)(3) defined such aliens as:
    (3)   Definition of unauthorized alien
         As used in this section, the term “unau-
    thorized alien” means, with respect to the em-
    ployment of an alien at a particular time, that
    the alien is not at that time either (A) an alien
    lawfully admitted for permanent residence, or
    (B) authorized to be so employed by this chap-
    ter or by the Attorney General.
     That Act also contains seven provisions directing
the Attorney General to extend alien employment out-
side of the scheme of the Immigration and Nationality
Act. § 101, 100 Stat. at 3368; § 201 (“Legalization”) 100
Stat. at 3397 & 3399 (two), § 301 (“Lawful Residence
for Certain Special Agriculture Workers”) 100 Stat. at
3418 & 3421 (two), 3428. Had Congress omitted the
clause “or by the Attorney General” in § 1324a(h)(3)(B),
it would have created the absurd situation in which the




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Act authorized certain aliens be employed, but at the
same time made hiring these aliens unlawful.
    Yet, because this issue was uncontested, the courts
below allowed an innocuous clause in a term definition,
limited in scope to its own section, and necessary for
other provisions of the Act to function properly, to be
transformed into unlimited authority for DHS to per-
mit alien employment. See Vidal, 279 F. Supp. 3d at
412; Regents of the Univ. of Cal., 279 F. Supp. 3d at
1020; but see Texas v. United States, 809 F.3d 134, 183
(5th Cir. 2015) (holding § 1324a(h)(3) did not confer
such authority). Such an interpretation flouts the in-
structions of this Court: “Congress . . . does not alter
the fundamental details of a regulatory scheme in
vague terms or ancillary provisions—it does not, one
might say, hide elephants in mouseholes.” Whitman v.
Am. Trucking Ass’ns, 531 U.S. 457, 468 (2001).


     B. Congress did not confer on DHS dual au-
        thority to define classes of aliens eligible
        for employment in the agency’s general
        authority to promulgate regulations.
     Given the obvious problem with the claim that
§ 1324a(h)(3)—a definition, limited in scope to its own
section—conferred on DHS unlimited authority to per-
mit alien employment, DHS had a brand new theory
when the employment issue was raised before this
Court in Texas: “Section 1324a(h)(3) did not create the
Secretary’s authority to authorize work; that authority
already existed in Section 1103(a). . . .” United States




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v. Texas, No. 15-674, Br. for the Pet’rs at 63 (U.S. Mar.
1, 2016). Nonetheless, that line of reasoning is just as
problematic as asserting such authority comes from a
term definition.
     Section 1103(a) defines the general powers of the
Secretary of Homeland Security. This provision was
created in the Immigration and Nationality Act of
1952, Pub. L. No. 82-414, 66 Stat. 163 (INA).2 That act
was a “complete revision” of our immigration laws. S.
Rep. No. 82-1072, at 2 (1952). Yet there is no provision
anywhere in the act that authorizes the secretary to
permit alien employment through regulation. INA,
passim. Furthermore, the legislative history of the act
shows there was no implicit intent to confer on the sec-
retary such authority. Both the House and Senate re-
ports on the INA state that it “provides strong
safeguards for American labor” and that all aliens
(with three exceptions not applicable here) seeking to
perform labor are excluded if the Secretary of Labor
determines that American workers are available or
that the foreign labor would adversely affect American
workers. S. Rep. No. 82-1137 at 11; H.R. Rep. No. 82-
1365 at 50–51 (identical text). If Congress had in-
tended to confer on an agency the ability to authorize
alien employment outside the statutory scheme, surely
this would have been listed as one of the exceptions to
the labor protections of the act—but it was not. Id. In

    2
      The Consolidated Appropriations Resolution, 2003, trans-
ferred to the Secretary of Homeland Security authority originally
granted to the attorney general. Pub. L. No. 108-7, Div. L, § 105,
117 Stat. 11, 531.




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                             10

any event, the claim that DHS’s general authority
gives it authority equal to that of Congress to define
classes of aliens eligible for employment runs into the
same problem as before: “Congress [ ] does not alter the
fundamental details of a regulatory scheme in vague
terms or ancillary provisions—it does not, one might
say, hide elephants in mouseholes.” Whitman v. Am.
Trucking Ass’ns, 531 U.S. 457, 468 (2001).
     There now exists the absurd situation where DHS
claims that alien “employment may be authorized by
statute or by the Secretary.” Employment Authoriza-
tion for Certain H-4 Dependent Spouses, 80 Fed. Reg.
10,284, 10,294 (Feb. 25, 2015).3 Yet there is no provi-
sion that explicitly creates that authority and DHS has
been inconsistent about where the authority was cre-
ated.
     Worse yet, DACA and DAPA are not the only ex-
amples where DHS has authorized large amounts of
foreign labor to enter the U.S. job market. In recent
years DHS has authorized massive increases in foreign
labor through administrative action as it has re-
sponded to business interests seeking to undermine
the protections for American workers that Congress
has enacted in the immigration system. E.g., 80
Fed. Reg. at 10,294; Enhancing Opportunities for
H-1B1, CW-1, and E-3 Nonimmigrants and EB-1
Immigrants, 81 Fed. Reg. 2,068 (Jan. 15, 2016); Improv-
ing and Expanding Training Opportunities for F-1

    3
     This was the very first regulation to claim alien employ-
ment could be authorized either by statute or by regulation.




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                             11

Nonimmigrant Students With STEM Degrees and
Cap-Gap Relief for All Eligible F-1 Students, 81 Fed.
Reg. 13,040 (Mar. 11, 2016); International Entrepre-
neur Rule, 82 Fed. Reg. 5,238, 5,239 (Jan. 17, 2017).
The Optional Practical Training program, created en-
tirely through regulation, is now the largest guest-
worker program in the entire immigration system
measured by the number of aliens entering the work-
force each year. Neil G. Ruiz and Abby Budiman, Num-
ber of Foreign College Students Staying and Working
in the U.S. After Graduation Surges, Pew Research
Center, May 10, 20184 at 4 (stating the number of ap-
provals for Optional Practical Training exceed initial
approvals for H-1B).


        C. Even if Congress had attempted to con-
           fer on DHS the power to define classes
           of aliens eligible for employment, such
           a delegation of power would be uncon-
           stitutional.
     Defining classes of aliens who are eligible for em-
ployment is a basic lawmaking function in the field of
immigration, and Congress has defined such classes of
aliens in every major immigration act. E.g., INA, § 101,
66 Stat. at 166–69; Immigration and Nationality Act
of 1965, Pub. L. No. 89-236, § 9, 79 Stat. 911, 917; Im-
migration Act of 1990, Pub. L. No. 101-649, §§ 204–21,
104 Stat. 4978, 5019–28. If one makes the baseless
    4
      Available at https://assets.pewresearch.org/wp-content/
uploads/sites/2/2018/05/10110621/Pew-Research-Center_Foreign-
Student-Graduate-Workers-on-OPT_2018.05.10.pdf




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                           12

assumption that Congress intended to confer on DHS
(in either § 1103 or § 1324a) the alien employment au-
thority necessary for DACA, Congress would have cre-
ated a system that runs afoul of the Constitution.
America would have a dual system of immigration law-
making in which Congress (by statute) and DHS (by
regulation) can independently define classes of aliens
eligible for employment to cross-purposes. In fact, be-
cause any subsequent restriction Congress may enact
to restrict this otherwise unlimited power conferred on
DHS is subject to a veto (as are Congress’s own em-
ployment authorizations), the executive’s power to de-
fine alien employment in the immigration system
would be greater than that of Congress. U.S. Const.,
Art. I, § 7. Such a system of dual lawmaking authority
would be unconstitutional. “The lawmaking function
belongs to Congress, U.S. Const., Art. I, § 1, and may
not be conveyed to another branch or entity.” Loving v.
United States, 517 U.S. 748, 758 (1996); see also Clinton
v. City of N.Y., 524 U.S. 417, 481 (1998) (holding the
statutory creation of a line-item veto was an unconsti-
tutional delegation of power to the executive branch).
     Such an arrangement also runs headlong into the
non-delegation doctrine. “[The Supreme Court] repeat-
edly [has] said that when Congress confers deci-
sionmaking authority upon agencies Congress must
‘lay down by legislative act an intelligible principle to
which the person or body authorized to act’ is directed
to conform.” Whitman v. Am. Trucking Ass’ns, 531 U.S.
457, 472 (2001) (quoting J. W. Hampton, Jr., & Co. v.
United States, 276 U.S. 394, 409 (1928).




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     Assuming that Congress implicitly intended to
confer on the executive “dual authority” to define
classes of aliens eligible for employment in 1952 in
§ 1103 or in 1990 in § 1324a(h)(3), it was not through
a legislative act that provides an “intelligible principle”
to which the executive must conform. Section 1103
makes no mention of alien employment at all and
§ 1324a(h)(3) is a term definition that does not direct
DHS to do anything. Neither provision includes any
parameters whatsoever on how the claimed delegated
authority is supposed to be used. Id. Thus, making the
completely unsupported assumption that Congress in-
tended to confer on DHS authority to define classes of
aliens eligible for employment results in an unconsti-
tutional reading of these provisions. Whitman v. Am.
Trucking Ass’ns, 531 U.S. 457, 472 (2001). Because an-
other, constitutionally compliant reading—namely,
that Congress conferred no general power to authorize
employment in these provisions—is possible, and in-
deed far preferable, the doctrine of constitutional
avoidance requires that it be adopted. Arizona v. Inter
Tribal Council of Ariz., Inc., 133 S. Ct. 2247, 2258–59
(2013) (explaining that this Court must adopt a fairly
possible interpretation of a statute if doing so is neces-
sary to avoid an interpretation that would make that
statute unconstitutional).




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II.    Whether § 1324a(h)(3) confers on DHS co-
       equal authority with Congress to authorize
       any class of aliens it chooses to work will
       have major implications throughout the
       immigration system and is not an issue to
       be lightly considered.
     Should this Court adopt DHS’s novel interpreta-
tion that the definition of the term unauthorized alien
in § 1324a(h)(3) (and limited in scope to that section)
is a legislative grant to the agency of co-equal author-
ity with Congress to permit any alien it chooses to
work in the United States, the decision would have
widespread ramifications throughout the immigration
system. To affirm the courts below would be an affir-
mation that DHS has unlimited authority to define
classes of aliens, because the lawfulness of this author-
ity is a prerequisite for DACA’s substantive lawfulness.
See, § I, supra. An affirmation by this Court of such
sweeping authority would enable DHS, through regu-
lation, to continue to dismantle administratively the
protections for American workers that Congress has
enacted in the INA since 1952.
      Such concern is not based on mere speculation or
unsubstantiated fears. History demonstrates that
Amici’s concerns are well founded. DHS’s predecessor
has previously attempted to subvert Congress’s intri-
cate statutory protections for American workers. See,
e.g., Int’l Union of Bricklayers & Allied Craftsmen v.
Meese, 761 F.2d 798 (D.C. Cir. 1985); Int’l Longshore-
men’s & Warehousemen’s Union v. Meese, 891 F.2d 1374
(9th Cir. 1989). When challenges could be mounted




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against such agency abuse, the courts could be counted
on to intervene. Id.
     This Court should take note of the facts of Wash-
ington Alliance of Technology Workers to better under-
stand the consequences for American workers,
including Amici, should this Court adopt the lower
courts’ overbroad gloss on § 1324a(h)(3). The H-1B visa
program is routinely used to replace American workers
in technology fields with lower-paid foreign workers.
E.g., Julia Preston, Pink Slips at Disney. But First,
Training Foreign Replacements, New York Times, June
3, 2015. To protect American workers, Congress has
put in place limits on the number of H-1B visas that in
turn limit the number of Americans that can be re-
placed by such workers. § 1184(g).
     In 2007 Microsoft Corporation concocted a scheme
to get around the H-1B quota by using student visas
as a substitute. Extending Period of Optional Practical
Training by 17 Months for F-1 Nonimmigrant Stu-
dents With STEM Degrees and Expanding Cap-Gap
Relief for All F-1 Students, 73 Fed. Reg. 18,944 (Apr. 8,
2008), Administrative Record (A.R.) at 120–23. Mi-
crosoft proposed that DHS allow aliens to work on
student visas for 29 months after graduation. Id. Mi-
crosoft presented its proposal to the DHS secretary at
a dinner party. Id. DHS then worked in secret with in-
dustry lobbyists to prepare regulations implementing
Microsoft’s scheme. A.R. 124–27, 130–34. The first no-
tice to the public that such regulations were even being
considered was when DHS put them in place as a fait




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accompli, without notice and comment. 73 Fed. Reg.
18,950.
     The nondelegation doctrine is supposed to ensure
“that important choices of social policy are made by
Congress, the branch of our Government most respon-
sive to the popular will.” Indus. Union Dep’t, AFL-CIO
v. Am. Petroleum Inst., 448 U.S. 607, 685 (1980)
(Rehnquist, J., concurring). Affirming the holdings of
the courts below that DACA is substantively lawful
would keep open the door to the creation of guest-
worker programs by Washington insiders at dinner
parties, and their enactment in secret rulemaking pro-
cesses from which the public is excluded. As Amici’s
cases demonstrate, this dark scenario is fact, not hy-
perbole.
                ------------------------------------------------------------------

                       CONCLUSION
     For the foregoing reasons, this Court should rule
in favor of petitioners, and hold that DACA is unlawful
because DHS has no general authority to define classes
of aliens eligible for employment.
  Respectfully submitted,
  JOHN M. MIANO
  Counsel of Record
  IMMIGRATION REFORM LAW INSTITUTE
  25 Massachusetts Ave., NW, Suite 315
  Washington DC 20001
  (202) 232-5590
  miano@colosseumbuilders.com




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                        Nos. 18-587, 18-588, and 18-589
================================================================================================================
                                                       In The
  Supreme Court of the United States
                                 ------------------------------------------------------------------

                             DEPARTMENT OF
                         HOMELAND SECURITY, et al.,
                                                                                                        Petitioners,
                                                               v.

                          REGENTS OF THE
                    UNIVERSITY OF CALIFORNIA, et al.,
                                                                                                       Respondents.

                                 ------------------------------------------------------------------

                       On Writ Of Certiorari To The
                      United States Court Of Appeals
                          For The Ninth Circuit

                                 ------------------------------------------------------------------

                 BRIEF OF AMICUS CURIAE
            SOUTHEASTERN LEGAL FOUNDATION
               IN SUPPORT OF PETITIONERS

                                 ------------------------------------------------------------------

KIMBERLY S. HERMANN                                                         KURT R. HILBERT
SOUTHEASTERN LEGAL                                                            Counsel of Record
  FOUNDATION                                                                KELLY H. BROLLY
560 W. Crossville Rd.,                                                      THE HILBERT
  Ste. 104                                                                    LAW FIRM, LLC
Roswell, GA 30075                                                           205 Norcross St.
                                                                            Roswell, GA 30075
                                                                            (770) 551-9310
                                                                            khilbert@hilbertlaw.com
August 26, 2019                                                             Counsel for Amicus Curiae

            [Additional Captions Listed On Inside Cover]

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                                                                                                                       AR4537
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             DONALD J. TRUMP,
      President of the United States, et al.,
                                       Petitioners,
                        v.
     NATIONAL ASSOCIATION FOR THE
 ADVANCEMENT OF COLORED PEOPLE, et al.,
                            Respondents.
             ------------------------------------------------------------------

   On Writ Of Certiorari Before Judgment
   To The United States Court Of Appeals
    For The District Of Columbia Circuit
             ------------------------------------------------------------------

           KEVIN K. McALEENAN,
  Acting Secretary of Homeland Security, et al.,
                                     Petitioners,
                       v.
 MARTIN JONATHAN BATALLA VIDAL, et al.,
                           Respondents.
             ------------------------------------------------------------------

   On Writ Of Certiorari Before Judgment
   To The United States Court Of Appeals
          For The Second Circuit




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                           i

            QUESTIONS PRESENTED

     This dispute concerns the policy of immigration
enforcement discretion known as Deferred Action for
Childhood Arrivals (DACA). In 2016, this Court af-
firmed, by an equally divided vote, a decision of the
Fifth Circuit holding that two related Department of
Homeland Security (DHS) discretionary enforcement
policies, including an expansion of the DACA policy,
were likely unlawful and should be enjoined. See
United States v. Texas, 136 S. Ct. 2271 (per curiam). In
September 2017, DHS determined that the original
DACA policy was unlawful and would likely be struck
down by the courts on the same grounds as the related
policies. DHS thus instituted an orderly wind-down of
the DACA policy. The questions presented are as fol-
lows:
        1. Whether DHS’s decision to wind down
    the DACA policy is judicially reviewable.
        2. Whether DHS’s decision to wind down
    the DACA policy is lawful.




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                                                   1

         INTEREST OF AMICUS CURIAE1
     Amicus Southeastern Legal Foundation (SLF),
founded in 1976, is a national nonprofit, public interest
law firm and policy center that advocates for constitu-
tional individual liberties, limited government, and
free enterprise. SLF drafts legislative models, educates
the public on key policy issues, and litigates often be-
fore both state and federal courts. As an organization
interested in federalism, agency powers, and separa-
tion of powers, SLF has a particular interest in sweep-
ing non-statutory imposition of policies and programs
that violate agency procedure, conflict with existing
federal laws, and improperly seek to expand laws ab-
sent congressional or constitutional authority.
                    ------------------------------------------------------------------

             SUMMARY OF ARGUMENT
     It is no secret that “[t]he administrative state
‘wields vast power and touches almost every aspect of
daily life.’ ” City of Arlington, Tex. v. FCC, 133 S. Ct.
1863, 1878 (2013) (Roberts, C.J., dissenting) (quoting
Free Enter. Fund v. Pub. Co. Accounting Oversight Bd.,
130 S. Ct. 3138, 3156 (2010)). “[T]he authority admin-
istrative agencies now hold over our economic, social,
and political activities[,]” id., contradicts the govern-
ment of enumerated powers the Framers envisioned.
    1
       Rule 37 statement: Amicus notified the parties to the filing
of this brief and parties have consented by blanket consent on file
with the Court. See Sup. Ct. R. 37.3(a). No party’s counsel au-
thored any of this brief; amicus alone funded its preparation and
submission. See Sup. Ct. R. 37.6.




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                             2

Our Founding Fathers sought to create a limited gov-
ernment structure. Addressing concerns that the pro-
posed national government would usurp the people’s
power to govern themselves, James Madison ex-
plained: “The powers delegated by the proposed Con-
stitution to the federal government are few and
defined . . . [and] will be exercised principally on exter-
nal objects, as war, peace, negotiation, and foreign
commerce. . . .” The Federalist No. 45, at 292 (James
Madison) (Clinton Rossiter ed., Signet Classics 2003).
      Despite the dangers posed by the growing admin-
istrative state, it is within the province of the federal
government to oversee immigration and to imple-
ment congressional purposes and objectives. See U.S.
Const. art. I, § 8, cl. 4; U.S. Const. art. II, § 3; Hines v.
Davidowitz, 312 U.S. 52, 67 (1941); see also Arizona v.
United States, 567 U.S. 387, 394 (2012) (“The Govern-
ment of the United States has broad, undoubted power
over the subject of immigration and the status of al-
iens.”); Plyler v. Doe, 457 U.S. 202, 225 (1982) (the
Constitution commits the power to classify aliens to
the political branches of government). But that power
is not without limits—both procedural and substan-
tive.
     The Department of Homeland Security’s (DHS)
decision to wind down and ultimately rescind the De-
ferred Action for Childhood Arrivals program (DACA)
is lawful because DACA is both procedurally and sub-
stantively unlawful. Procedurally, DACA violates the
Administrative Procedure Act (APA) because the pub-
lic received neither notice nor a chance to comment




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prior to the substantive rule’s announcement and en-
forcement. And substantively, DACA conflicts with fed-
eral law, the U.S. Constitution, and international
treaty law. Because DACA is unlawful, no further judi-
cial inquiry should be required, and thus its rescission
is not arbitrary and capricious.
     Amicus writes to discuss not only the unlawful-
ness of DACA, but to highlight confusion in the lower
courts about when they should use the APA arbitrary
and capricious standard and the tests about discretion.
Amicus suggests that a bright line rule could clarify
that if an agency’s discretionary enforcement policy is
unlawful, then no secondary inquiry is needed to de-
termine whether that agency’s discretionary decision
to rescind is arbitrary and capricious. Alternatively, if
a reviewing court finds such a challenged policy lawful
in the first instance, then it should apply the arbitrary
and capricious standard to determine whether rescis-
sion was proper and otherwise lawful.
                 ------------------------------------------------------------------

                           ARGUMENT
I.    DACA’s rescission was not arbitrary and
      capricious because DACA is unlawful.
     Amicus agrees with Petitioners that the lower courts
erred in finding that rescission was arbitrary and ca-
pricious. Pet’r. Br. at 32-57. An agency’s rescission of a
prior administration’s discretionary enforcement pol-
icy is not an arbitrary and capricious decision when,
like here: 1) the policy violated the notice-and-comment




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requirements of the APA, and 2) the policy is not re-
quired by existing law, conflicts with both the Consti-
tution and federal laws, and is a counterpart to a law
already found to be unconstitutional (i.e., Deferred Ac-
tion for Parents of Americans (DAPA)).2 The APA pro-
vides that courts may “hold unlawful and set aside
agency action, findings, and conclusions found to be ar-
bitrary, capricious, an abuse of discretion, or otherwise
not in accordance with law . . . or without observance
of procedure required by law.” 5 U.S.C. §§ 706(2)(A), (D)
(emphasis added). These standards are disjunctive and
not mutually exclusive.
      From its inception, DACA was unlawful. And be-
cause DACA is unlawful, DHS’s discretionary agency
decision to rescind it was not arbitrary and capricious.
Declaring DACA’s rescission arbitrary and capricious
is illogical, cuts against the plain meaning of the APA
and this Court’s precedent, and undermines the foun-
dational pillars of our system of justice. Just as a bind-
ing contract that is illegal at inception is judicially
unenforceable, a court must find an unlawful policy in-
valid and void.
     This Court has opined that it is imperative “that
Congress be able to legislate against a background of
clear interpretive rules, so that it may know the effect
of the language it adopts.” Finley v. United States, 490
U.S. 545, 556 (1989). Justice Oliver Wendell Holmes in

    2
        Texas v. United States, 809 F.3d 134, 184-86 (5th Cir. 2015),
aff ’d by an equally divided court, 136 S. Ct. 2271 (2016) (per cu-
riam) (Texas I ) (holding DAPA unlawful and unconstitutional).




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an oft-quoted aphorism stated as well: “We do not in-
quire what the legislature meant; we ask only what the
statute means.” Oliver Wendell Holmes, The Theory of
Legal Interpretation, 12 Harv. L. Rev. 417, 419 (1899).
For these reasons, 5 U.S.C. §§ 706(2)(A) and (D) set
forth separate and distinct legal standards, any one of
which can declare the policy at issue void. The lower
courts here wrongfully focused on and errantly inter-
preted the arbitrary and capricious standard while giv-
ing no moment to the fundamental concern of whether
DACA was lawful at inception. Although this issue
may be a matter of first impression in the context of
rescission of a prior administration’s discretionary en-
forcement policy in the immigration context, Amicus
urges the Court to consider all standards, the entirety
of the APA, and other applicable laws.
     It may also be helpful for this Court to clarify that
when reviewing rescission of an agency’s discretionary
enforcement policy, courts should use a two-step pro-
cess: first considering the policy’s lawfulness and then
scrutinizing the discretionary rescission. This would
protect agency action from the improper imposition of
both a higher standard and different levels of judicial
scrutiny. A threshold analysis of whether the policy is
lawful in the first instance would also be in the inter-
ests of judicial economy and would preserve a true
notion of constitutional separation of powers. This
analysis is particularly important when an agency de-
cision concerns an agency policy that not only directly
violates the APA, but also conflicts with an existing




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comprehensive congressionally approved statutory
scheme, as well as other laws.
     When an agency concludes, based on the evidence
before it that one of its discretionary policies is likely
unlawful, it is improper for lower courts to impose a
heightened standard to determine whether rescission
of that policy was arbitrary and capricious. Perez v.
Mortgage Bankers Ass’n, 135 S. Ct. 1199, 1207 (2015)
(finding courts have no authority to impose procedural
requirements beyond those stated in the APA). And it
is certainly judicial overreach to create new standards
such as policy differences or reliance interests that
have no foundation in the APA. Id. at 1209. Indeed, this
Court already foreclosed applying such a heightened
searching review standard to rescission. See FCC v. Fox
Television Stations, Inc., 556 U.S. 502, 513-14 (2009)
(holding there is “no basis . . . for a requirement that
all agency change for a new policy be subjected to more
searching review”).
     That said, if this Court finds that its prior opinions
leave room for policy difference and reliance interests
as a higher level of scrutiny of agency discretion, Ami-
cus urges the Court to provide clarity on when courts
should employ these added tests. In any case, the
lower courts here avoid any real analysis of the ques-
tion of lawfulness in the first instance, and fail to
follow this Court’s precedent and limited judicial re-
view standards.




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     A. DACA violates the APA because it did
        not go through notice-and-comment.
     Congress and the people are entitled to the bene-
fits of the APA notice-and-comment procedures. The
APA requires both notice and a chance to comment be-
fore enforcement of any substantive rule or regulation.
5 U.S.C. §§ 553(b)-(c); see Chrysler Corp. v. Brown, 441
U.S. 281 (1979). In passing the APA, Congress recog-
nized the hazards that agencies pose to the democratic
process, separation of powers, and liberty. The APA re-
quires that agencies issue substantive rules through
the notice-and-comment procedure, while “general
statement[s] of policy” do not. Texas I, 809 F.3d at 214.
Ignoring these requirements, in 2012 DHS wrote and
implemented DACA, a substantive rule, without giving
the public notice or a chance to comment on the sub-
stantive rule. This disregard of the APA’s requirements
led to the very abuse of power and usurpation of con-
gressional authority that Congress sought to curtail
with the APA.
     As this Court is aware, federal agencies issue, in-
terpret, and enforce rules that govern our lives. “[A]s a
practical matter they exercise legislative power, by
promulgating regulations with the force of law; execu-
tive power, by policing compliance with those regula-
tions; and judicial power, by adjudicating enforcement
actions and imposing sanctions on those found to have
violated their rules.” City of Arlington, 133 S. Ct. at
1877-78 (Roberts, C.J., dissenting).




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     The APA’s chief procedural safeguard, Section 553,
requires administrative agencies to provide “notice of
proposed rulemaking” and “give interested persons an
opportunity to participate in the rule making through
submission of written verified data, views, or argu-
ments with or without opportunity for oral presenta-
tion.” 5 U.S.C. §§ 553(b)-(c). Congress understood that
if agencies were going to wield quasi-legislative power,
their procedures must “giv[e] adequate opportunity to
all persons affected to present their views, the facts
within their knowledge, and the dangers and benefits
of alternative courses.” S. Doc. No. 77-8, Final Report
of the Attorney General’s Committee on Administra-
tive Procedure in Government Agencies, at 102 (1941).
Public notice-and-comment is “essential in order to
permit administrative agencies to inform themselves
and to afford adequate safeguards in private interests.”
Id. at 103.
     The APA must remain “a ‘working compromise, in
which broad delegations of discretion were tolerated as
long as they were checked by extensive procedural
safeguards.’” Fox Television Stations, Inc., 556 U.S. at 537
(Kennedy, J., concurring in part and concurring in the
judgment) (quoting Richard B. Stewart & Cass R. Sun-
stein, Public Programs and Private Rights, 95 Harv. L.
Rev. 1193, 1248 (1982)). The authority agencies have
accumulated is startling. They have combined the once
inviolate and separate characteristics of legislative, ex-
ecutive, and judicial powers. If courts do not uphold
and enforce required procedures such as APA notice-
and-comment, bureaucracy as an independent force




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will swallow the very framework and intent of checks
and balances enshrined in our Constitution.
     Against this backdrop, neither agencies nor courts
can ignore the APA’s notice-and-comment. Politics can
shape policy, but politics must not overrun law and
when it does, it is not harmless error. DACA can, has,
and will continue to profoundly affect our nation’s im-
migration landscape. Interested persons on both sides
of the issue should have had a chance to present writ-
ten verified data, differing views, and the dangers and
benefits of alternative courses before DHS instituted
DACA. Both the APA and our nation’s democratic pro-
cess require that DACA, as a substantive rule for APA
purposes, be subjected to notice-and-comment. 5 U.S.C.
§ 551(5); Chrysler Corp., 441 U.S. at 302 (substantive
rules can be legally binding, policy statements cannot);
Morton v. Ruiz, 415 U.S. 199, 232 (1974) (finding a sub-
stantive rule exists where benefits eligibility merely
“affect[ed] individual rights and obligations”). This is
especially true given the legally binding impact the
policy will have on immigration law.
     DACA, as pleaded by plaintiffs in the consolidated
and other related cases, provides that the grantees
are granted substantive benefits. The California Plain-
tiffs have pleaded, among other things, that they are
“granted the right not to be arrested or detained
based solely on their immigration status”; “granted el-
igibility to receive employment authorization”; “al-
low[ed] travel”; “not disqualified on the basis of their
immigration status from receiving certain public ben-
efits . . . includ[ing] federal Social Security, retirement,




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and disability benefits”; and “other benefits and oppor-
tunities.” Compl. at 17-18 ¶¶ 82-86, California v. U.S.
Dep’t of Homeland Sec., No. 3:17-cv-05235-WHA (N.D.
Cal. Sept. 11, 2017), ECF No. 1 (citations omitted). The
Garcia Plaintiffs have also pleaded that “DACA con-
fers numerous important benefits on those who apply
for and are granted DACA status.” Compl. at 9 ¶ 27,
Garcia v. United States, No. 3:17-cv-5380-WHA (N.D.
Cal. Sept. 18, 2017), ECF No. 1.
     Likewise, the plaintiffs in the Second and D.C.
Circuits challenging the memorandum winding-down
DACA pleaded in substance that DACA conferred
substantive rights but was wound-down without fol-
lowing the notice-and-comment procedures of the
APA. Compl., NAACP v. Trump, No. 1:17-cv-1907-CRC
(D.D.C. Sept. 18, 2017), ECF No. 1; 3d Am. Compl.,
Batalla Vidal v. Nielsen, No. 1:16-cv-4756-NGG-JO
(E.D.N.Y. Dec. 11, 2017), ECF No. 113. And the New
York Plaintiffs pleaded: “DACA confers numerous ben-
efits on DACA grantees”; “DACA grantees are granted
the right not to be arrested or detained based solely on
their immigration status”; and “DACA grantees are el-
igible to receive certain public benefits . . . includ[ing]
Social Security, retirement, and disability benefits,
and, in certain states, benefits such as driver’s licenses
or unemployment insurance.” Compl. at 41 ¶¶ 218,
220, New York v. Trump, No. 1:17-cv-5228-NGG-JO
(E.D.N.Y. Sept. 6, 2017), ECF No. 1. The New York
Plaintiffs further stated:
    In implementing the DHS Memorandum, fed-
    eral agencies have changed the substantive




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    criteria by which individual DACA grantees
    work, live, attend school, obtain credit, and
    travel in the United States. Federal agencies
    did not follow the procedures required by the
    APA before taking action impacting these sub-
    stantive rights.
Id. at 54 ¶ 289 (emphasis added). Thus, to the extent
that DACA’s rescission “affect[ed] substantial individ-
ual rights and obligations” as a substantive rule, then
DACA’s creation must also have “affect[ed] individual
rights and obligations[.]” Ruiz, 415 U.S. at 232. For
these reasons, notice-and-comment was required at
DACA’s inception.
     While the lower court decisions here confront the
consolidated DACA cases from different procedural
angles, one must return to the nub of the case—the
threshold question of the legality of DACA as a sub-
stantive rule at inception. If unlawful at inception, this
finding is dispositive, and rescission was not arbitrary
and capricious.
     However, in general, the lower courts wrongly
overlooked the central issue of whether DACA is sub-
ject to the APA’s notice-and-comment requirement as a
substantive rule. For example, the Ninth Circuit’s reli-
ance on policy ignored the APA’s definition of “rule” as
“an agency statement of general or particular applica-
bility and future effect designed to implement, inter-
pret, or prescribe law or policy or describing the
organization, procedure, or practice requirements of an
agency. . . .” 5 U.S.C. § 551(4). Further, even if a court




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found that DACA contains mere policy language, such
a finding would not preclude categorizing DACA as a
substantive rule under the APA definition requiring
notice-and-comment. Any reliance on the purported
discretion in DACA is more theoretical than based in
reality. If statistics are to govern, there is a slippery
slope that emerges. How is a court to draw any conceiv-
able or meaningful line to preserve the voice of Con-
gress and the people, against a president imposing
legally binding “policy” rules through an unchecked
fourth branch of government?


     B. DACA violates the INA, the Constitution,
        and international treaty law.
     On top of its procedural flaws, DACA violates the
APA because it violates the Immigration and Nation-
ality Act (INA), 8 U.S.C. § 1101 et seq., the Constitu-
tion, and international treaty law. See 5 U.S.C.
§ 706(2)(A) (agency action must be “otherwise not in
accordance with law”).
     Before DACA’s announcement in 2012, Congress
enacted a comprehensive legal scheme under the INA
which neither requires DACA, contemplates DACA,
nor gives DHS the authority to implement DACA or
any other deferred action plan. DACA, like DAPA, is
“foreclosed by Congress’s careful plan.” Texas I, 809
F.3d at 186. It violates the congressionally approved
immigration scheme because it is a discretionary en-
forcement policy at its core, not part of any existing
law. Thus, it involves agency decision, discretion, and




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action to make substantive judgments about non-
enforcement of a comprehensive congressional scheme
already mandated by the INA to require deportation of
illegal aliens. Id. at 186 n.202. In Texas I, the Fifth Cir-
cuit held that similar DAPA and expanded DACA pol-
icies were “manifestly contrary” to the INA. Id. at 186.
     As the DHS Secretaries concluded after consider-
able analysis and reliance on well-reasoned decisions
involving DAPA including analysis from the Attorney
General, they lacked “sufficient confidence in the DACA
policy’s legality to continue this non-enforcement pol-
icy, whether the courts would ultimately uphold it or
not.” Memorandum from Elaine C. Duke, Acting Sec’y
on Rescission of Deferred Action For Childhood Arri-
vals (DACA) (Sept. 5, 2017); see also Memorandum from
Sec’y Kirstjen M. Nielsen (June 22, 2018). The Duke
and Nielsen Memorandums further provided multiple
reasons of “enforcement policy” to rescind DACA, includ-
ing that Congress has “repeatedly considered but de-
clined to protect” illegal aliens.3 Id. The analysis,
before rescission, was enough to satisfy the APA.
    Their analysis shows that the INA does not give
DHS the authority to implement or to enact DACA.
This is because Congress did not give DHS authority
to grant, through executive policy, lawful presence to
large classes of people outside the INA (including
visa requirements under 8 U.S.C. § 1201 et seq.), the
    3
       A reason may also exist in the Privileges and Immunities
Clause which only identifies “citizens” as having a right to such
privileges and immunities as opposed to illegal aliens. U.S. Const.
art. IV, § 2, cl. 1.




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Constitution, or applicable international treaty law.
As the Fifth Circuit held in Texas I: “In specific and
detailed provisions, the INA expressly and carefully
provides legal designations allowing defined classes
of aliens to be lawfully present.” 809 F.3d at 179. The
INA also specifies classes of aliens eligible and ineligi-
ble for work authorization and visa issuance, requiring
extensive inquiry and satisfaction of mandatory re-
quirements. Id. at 180-81. Because the congressional
scheme is comprehensive, DHS should not be allowed
to sidestep or undermine it through unchecked poli-
cies.
     The INA is also silent about the group of around
4.3 million aliens identified under DACA and makes
no mention or reference regarding deferred action with
respect to this large group of otherwise removable al-
iens. Deferred action under DACA amounts to much
more than a mere decision not to pursue removal of an
alien. Indeed, it is equivalent to declaring and confer-
ring extra-constitutional and extra-statutory rights of
lawful presence. The INA statutorily mandates bars
for reentry based on unlawful presence, eligibility for
advance parole, and eligibility for federal benefits.
DACA disregards the statutory scheme. An agency
cannot be left to legislate or create categories not con-
templated by the legislation, especially when it fails to
adhere to the required notice-and-comment proce-
dures. United States v. Mead, 533 U.S. 218, 230 (2001)
(“Congress contemplates administrative action with
the effect of law when it provides for a relatively formal
administrative procedure. . . .”).




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      Our Constitution also requires adherence to inter-
national treaties and congressional approval of same
as the “supreme Law of the Land.” U.S. Const. art. VI,
cl. 2. DACA provides a clear mechanism to circumvent,
obstruct, or inhibit removal and extradition under ap-
plicable international treaties.4 DACA gives lawful
status to illegal aliens and thus impedes statutorily
mandated removal, extradition, and deportation. As
found by the Fifth Circuit, “DACA prevents removal of
its recipients—whom Congress has deemed remova-
ble.” Texas v. United States, 328 F. Supp. 3d 662, 714
(Texas II).
    Although not involving the APA, there is at least
one example of a court invalidating an executive policy
that conflicted with an existing comprehensive federal
legal scheme. In 1995, President Bill Clinton issued
Executive Order 12954 which prohibited the federal
government from contracting with organizations that
had strike-breakers on the payroll. 60 Fed. Reg. 13,023
(Mar. 10, 1995). But because the policy conflicted with
the express provisions of the National Labor Rela-
tions Act, the reviewing court invalidated the policy.
    4
       See, e.g., Extradition Treaty, Mexico-U.S., Jan. 25, 1980, 31
U.S.T. 5059, art. 2; art. 9; art. 13 (“Extradition shall take place,
subject to this Treaty, for willful acts which fall within any of the
clauses of the Appendix and are punishable in accordance with
the laws of both Contracting Parties. . . . Neither Contracting
Party shall be bound to deliver up its own nationals, but the ex-
ecutive authority of the requested Party shall, if not prevented by
the laws of that Party, have the power to deliver them up if, in its
discretion, it be deemed proper to do so. . . . The request for extra-
dition shall be processed in accordance with the legislation of the
requested Party. . . .”).




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Chamber of Commerce of the United States v. Reich, 74
F.3d 1322 (D.C. Cir. 1996). Similarly, DACA’s rescission
is proper because DACA conflicts with the INA, the
Constitution, and treaty law.
     Of course, if the agency discretionary action is
“otherwise not in accordance with law” in the first in-
stance, the rational test and so-called agency discretion
inquiry should be unnecessary. 5 U.S.C. § 706(2)(A).
Courts typically review agency actions and factual
findings made during formal proceedings under a sub-
stantial evidence test, 5 U.S.C. § 706(2)(E), and uphold
the agency’s findings if they are supported by “such
relevant evidence as a reasonable mind might accept
as adequate to support a conclusion.” Universal Camera
Corp. v. NLRB, 340 U.S. 474, 477 (1951) (quoting Con-
sol. Edison Co. v. NLRB, 305 U.S. 197, 229 (1938)). In
formal proceedings, the agency must support its action
with evidence in the record. But in informal proceed-
ings, the agency can point to any evidence it possessed
when it made its determination. Safe Extensions, Inc.
v. FAA, 509 F.3d 593, 604 (D.C. Cir. 2007). In Motor
Vehicle Manufacturers Ass’n v. State Farm Mutual
Automobile Insurance Co., 463 U.S. 29 (1983), the
Court clarified that an agency decision may be unlaw-
ful
    [i]f the agency has relied on factors which
    Congress has not intended it to consider, en-
    tirely failed to consider an important aspect of
    the problem, offered an explanation for its de-
    cision that runs counter to the evidence before
    the agency, or is so implausible that it could




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          not be ascribed to a difference in view or the
          product of agency expertise.
Id. at 43.5 Here, however, in rescinding DACA, DHS
considered exactly what Congress intended it to con-
sider.


II.       Courts cannot unilaterally expand the APA’s
          standard of review.
     Judicial review of discretionary enforcement poli-
cies should not expand procedurally beyond the stan-
dard set forth in the APA or substantively beyond
constitutional muster. Heckler v. Chaney, 470 U.S. 821,
830 (1985) (finding that when an agency acts, the
action itself provides a focus for judicial review to de-
termine whether the agency exceeded its statutory
powers). Here, the inquiry should be narrowly con-
strained to the threshold issue of whether DHS’s dis-
cretionary enforcement policy—DACA—is unlawful. If
so, then, DHS’s rescission based, in part, on such ra-
tional inquiry into the lawfulness of DACA cannot be
arbitrary and capricious.
    Here, for example, the Ninth Circuit de-emphasizes
the unlawfulness of DACA in the first instance and




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      Thomas J. Miles & Cass R. Sunstein, The Real World of
Arbitrariness Review, 75 U. Chi. L. Rev. 761, 763 (2008) (“In its
seminal decision in Motor Vehicle Manufacturers Association v.
State Farm Auto Mutual Insurance Co., the Court entrenched
hard look review and clarified its foundations.”).




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instead focuses on the degree of inquiry to be applied
to an agency decision. Regents of the Univ. of Cal. v.
U.S. Dep’t of Homeland Sec., 908 F.3d 476 (9th Cir.
2018). Focus on enlarging the APA review standards
ignores this Court’s explanation that the arbitrary and
capricious standard becomes neither heightened nor
more stringent just because an agency’s action alters
or changes its prior policy. Fox Television Stations, Inc.,
556 U.S. 502. Indeed, there is a complete lack of prece-
dent supporting application of a different heightened
standard to review of a rescission of a discretionary en-
forcement policy than to review of the original policy.
Yet at least one of the lower courts imposes an im-
proper heightened substantial evidence standard, and
likewise a heightened judicial scrutiny including fac-
tors far beyond the plain language of the APA—so-
called policy differences or reliance interests. Perez,
135 S. Ct. at 1209.
     The APA establishes plain language standards
governing judicial review of decisions and actions made
by federal administrative agencies. Dickinson v. Zurko,
527 U.S. 150, 152 (1999). The APA’s discretion standard
is limited and, regarding the agency action here, does
not permit courts to engage in heightened searching
review. The APA instructs reviewing courts to decide
“all relevant questions of law . . . and determine the
meaning or applicability of the terms of an agency ac-
tion . . . and set aside agency action . . . found to be . . .
arbitrary, capricious, or . . . without observance of proce-
dure required by law. . . .” 5 U.S.C. §§ 706, 706(2)(A),
(D). Agency “action” is defined as “the whole or a part




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of an agency rule, order, license, sanction, relief, or the
equivalent or denial thereof, or failure to act.” Id. at
§ 551(13); Hearst Radio v. FCC, 167 F.2d 225, 227
(D.C. Cir. 1948) (APA covers only those activities in-
cluded within the statutory definition of “agency ac-
tion”). Judicial review may also be limited because it
would contravene congressional intent, such as dis-
rupting or impeding the intended and prompt imple-
mentation of complex congressionally approved
regulatory frameworks. Block v. Cmty. Nutrition Inst.,
467 U.S. 340, 345 (1984). Thus, a reasoned and rational
explanation to justify the agency’s change in course re-
lated to a discretionary enforcement policy is found
sufficient. Id. Reasons for a change in a discretionary
enforcement policy do not require justification exceed-
ing the reasons to adopt the rulemaking policy in
the first instance. Motor Vehicles Mfrs. Ass’n, 463 U.S.
at 29. Interpretation should be logical from a com-
monsense reading. If an agency action from inception
is otherwise not in accordance with law, the threshold
judicial inquiry should end there. Whether the agency
action met the evidentiary standards applicable to the
arbitrary and capricious standard should be a second-
ary analysis.
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                   CONCLUSION
     The judgments of the Ninth Circuit and the Dis-
trict Court for the District of Columbia, as well as the
orders of the Eastern District of New York, should be
reversed.
Respectfully submitted,
KIMBERLY S. HERMANN            KURT R. HILBERT
SOUTHEASTERN LEGAL               Counsel of Record
  FOUNDATION                   KELLY H. BROLLY
560 W. Crossville Rd.,         THE HILBERT
  Ste. 104                       LAW FIRM, LLC
Roswell, GA 30075              205 Norcross St.
                               Roswell, GA 30075
                               (770) 551-9310
                               khilbert@hilbertlaw.com
August 26, 2019                Counsel for Amicus Curiae




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                                Nos. 18-587, 18-588, 18-589


                In the Supreme Court of the United States
                             __________________
                 DEPARTMENT OF HOMELAND SECURITY, et al., Petitioners,
                                        v.
                   REGENTS OF THE UNIVERSITY OF CALIFORNIA, et al.,
                                   Respondents.
                                __________________
                 DONALD J. TRUMP, PRESIDENT OF THE UNITED STATES, et
                                   al., Petitioners,
                                           v.
                   NATIONAL ASSOCIATION FOR THE ADVANCEMENT OF
                         COLORED PEOPLE, et al., Respondents
                                __________________
                 KEVIN K. MCALEENAN, ACTING SECRETARY OF HOMELAND
                             SECURITY, et al., Petitioners,
                                          v.
                  MARTIN JONATHAN BATALLA VIDAL, et al., Respondents.
                                __________________
                On Writs of Certiorari to the United States Courts of
                 Appeals for the Ninth, District of Columbia, and
                                  Second Circuits
                                     __________________
                   BRIEF FOR AMICUS CURIAE IMMIGRATION
                  REFORM LAW INSTITUTE IN SUPPORT OF THE
                               PETITIONERS
                                     __________________
                                      CHRISTOPHER J. HAJEC*
                                      IMMIGRATION REFORM LAW INSTITUTE
                                      25 Massachusetts Ave., NW, Suite 335
                                      Washington, DC 20001
                                      (202) 232-5590
                                      chajec@irli.org
                                      *Counsel of Record
                August 26, 2019       Counsel for Amicus Curiae

                Becker Gallagher · Cincinnati, OH · Washington, D.C. · 800.890.5001




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                  Exercising Prosecutorial Discretion with Respect
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                  Individuals Who are Parents of U.S. Citizens or
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                                                1

                          INTEREST OF AMICUS CURIAE1
                    The Immigration Reform Law Institute (“IRLI”) is
                a not for profit 501(c)(3) public interest law firm
                incorporated in the District of Columbia. IRLI is
                dedicated to litigating immigration-related cases on
                behalf of United States citizens, as well as
                organizations and communities seeking to control
                illegal immigration and reduce lawful immigration to
                sustainable levels. IRLI has litigated or filed amicus
                curiae briefs in many immigration-related cases before
                federal courts (including this Court) and administrative
                bodies, including Trump v. Hawaii, 138 S. Ct. 2392
                (2018); United States v. Texas, 136 S. Ct. 2271 (2016);
                Arizona Dream Act Coal. v. Brewer, 818 F.3d 101 (9th
                Cir. 2016); Washington All. of Tech. Workers v. U.S.
                Dep’t of Homeland Sec., 74 F. Supp. 3d 247 (D.D.C.
                2014); Save Jobs USA v. U.S. Dep’t of Homeland Sec.,
                No. 16-5287 (D.C. Cir., filed Sept. 28, 2016); Matter of
                Silva-Trevino, 26 I. & N. Dec. 826 (B.I.A. 2016); and
                Matter of C-T-L-, 25 I. & N. Dec. 341 (B.I.A. 2010).
                          SUMMARY OF THE ARGUMENT
                   The decisions of the courts below depended on the
                assumption that the program known as Deferred
                Action for Childhood Arrivals (“DACA”) both is
                substantively lawful and was implemented in a

                1
                 The parties have given blanket consent to the filing of amicus
                curiae briefs in this case. No counsel for a party in this case
                authored this brief in whole or in part, and no such counsel or
                party made a monetary contribution intended to fund the
                preparation of this brief. No person other than amicus curiae, its
                members, or its counsel made a monetary contribution to its
                preparation or submission.




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                procedurally lawful manner. If either assumption is
                untrue, an injunction of DACA’s rescission should
                restore not DACA, but the last lawful regulatory state
                of affairs—to wit, the status quo pre-DACA.
                    In fact, neither of the above assumptions is true:
                DACA is both substantively and procedurally invalid.
                It is substantively invalid because it exceeds agency
                authority. It is procedurally invalid because it restricts
                agency discretion but did not go through the requisite
                notice and comment process. Thus, Respondents’
                requested relief should only result in the restoration of
                the status quo pre-DACA. Since the status quo pre-
                DACA would not benefit Respondents, their claims
                cannot be redressed by an injunction of DACA’s
                rescission. Accordingly, Respondents lack standing to
                maintain these actions, and the federal courts lack
                jurisdiction to hear them.
                   This Court has an obligation to assure itself of its
                own jurisdiction, and that of lower courts. In fulfilling
                this obligation, this Court should find DACA both
                substantively and procedurally invalid, and dismiss
                these cases for lack of jurisdiction.
                                     ARGUMENT
                I. Because DACA Was Invalid, The Courts Below
                   Could Not Reinstate It, And Respondents Lack
                   Standing.
                   As explained below, the DACA program is invalid.
                Courts must hold unlawful, rather than give effect to,
                invalid regulations. 5 U.S.C. § 706(2)(A), (C) (“The
                reviewing courts shall . . . hold unlawful and set aside
                agency action, findings and conclusions found to be . . .




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                arbitrary, capricious, an abuse of discretion, or
                otherwise not in accordance with the law . . . [or] in
                excess of statutory jurisdiction, authority, or
                limitations, or short of statutory right . . . “); Transohio
                Sav. Bank v. Dir., Office of Thrift Supervision, 967 F.2d
                598, 621 (D.C. Cir. 1992) (“Agency actions beyond
                delegated authority are ultra vires, and courts must
                invalidate them.”) (internal citation and quotation
                marks omitted).
                    The effect of the invalidation of the rescission of
                DACA would be to reinstate the rule previously in
                force—but only if that previous rule were valid. See,
                e.g., Action on Smoking & Health v. Civil Aeronautics
                Bd., 713 F.2d 795, 797 (D.C. Cir. 1983) (holding that
                the effect of invalidating an agency rule is to reinstate
                the rule previously in force); Paulsen v. Daniels, 413
                F.3d 999, 1008 (9th Cir. 2005) (refusing to reinstate a
                previous rule under that standard because it was itself
                invalid). Thus, because DACA is invalid, the
                invalidation of its rescission cannot revive it.
                    Indeed, because DACA is invalid, and because the
                effect of invalidating its rescission would be to reinstate
                the last lawful state of applicable regulations,
                Respondents’ requested remedy would only result in
                the restoration of the status quo pre-DACA. For this
                reason, at the minimum, Respondents’ claimed injuries
                are non-redressable, and their claims should be
                dismissed for lack of standing under Federal Rule of
                Civil Procedure 12(b)(1). See Lujan v. Defs. of Wildlife,
                504 U.S. 555, 561 (1992).




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                   As this Court has explained:
                   The question of standing is not subject to waiver
                   . . . We are required to address the issue even if
                   the courts below have not passed on it, and even
                   if the parties fail to raise the issue before us.
                   The federal courts are under an independent
                   obligation to examine their own jurisdiction, and
                   standing is perhaps the most important of the
                   jurisdictional doctrines.
                United States v. Hays, 515 U.S. 737, 742 (1995)
                (internal quotation marks, citations, and brackets
                omitted). Thus, courts’ hesitation to consider
                arguments raised solely by an amicus curiae does not
                apply to jurisdictional arguments. Kamen v. Kemper
                Fin. Servs., 500 U.S. 90, 97 n.4 (1991).
                   This Court, in the course of assuring itself of its
                jurisdiction, should examine both the substantive and
                procedural lawfulness of DACA, and, finding it
                unlawful, hold that Respondents’ claims should be
                dismissed for lack of standing.
                II. DACA Is Invalid.
                    DACA is invalid both because it was ultra vires and
                because the Department of Homeland Security (“DHS”)
                failed to follow the notice and comment requirement of
                the Administrative Procedure Act.
                A. The Immigration and Nationality Act does not
                   authorize DACA.
                   In reviewing an ultra vires claim, courts examine
                statutory language to determine whether Congress




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                intended the agency to have the power that it exercised
                when it acted. Univ. of the D.C. Faculty Ass’n/NEA v.
                D.C. Fin. Responsibility & Mgmt. Assistance Auth., 163
                F.3d 616, 620 (D.C. Cir. 1998). A reviewing court must
                reasonably be able to conclude that the regulations
                issued were contemplated in Congress’s grant of
                authority. Chrysler Corp. v. Brown, 441 U.S. 281, 308
                (1979).
                   Analyzing DACA by this standard reveals that it
                has no statutory foundation, and therefore is ultra vires
                and a nullity. See Manhattan Gen. Equip. Co. v.
                Comm’r of Internal Revenue, 297 U.S. 129, 134 (1936)
                (“A regulation which . . . operates to create a rule out of
                harmony with the statute[] is a mere nullity”).
                   First, the Immigration and Nationality Act (“INA”)
                does not provide a statutory foundation for the DACA
                program. Quite to the contrary: DACA is a
                programmatic refusal by DHS to enforce Congress’s
                clear statutory mandate. Under the INA, any alien who
                entered the country illegally is an applicant for
                admission. 8 U.S.C. § 1225(a)(1). And 8 U.S.C.
                § 1225(b)(2)(A) mandates that if an applicant for
                admission “is not clearly and beyond a doubt entitled to
                be admitted, the alien shall be detained” for removal
                proceedings under 8 U.S.C. § 1229a (emphasis added).
                “Congress did not place the decision as to which
                applicants for admission are placed in removal
                proceedings into the discretion of the Attorney General,
                but created mandatory criteria.” Succar v. Ashcroft,
                394 F.3d 8, 10 (1st Cir. 2005). “[W]hile the President
                has broad authority in foreign affairs, that authority
                does not extend to the refusal to execute domestic
                laws.” Massachusetts v. EPA, 549 U.S. 497, 534 (2007).




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                    True, two provisions of the INA provide broad,
                general grants of authority to DHS: 8 U.S.C.
                § 1103(a)(3) (“[The Secretary] . . . shall establish such
                regulations; prescribe such forms of bond, reports,
                entries, and other papers; issue such instructions; and
                perform such other acts as he deems necessary for
                carrying out his authority under the provisions of this
                chapter.”); and 6 U.S.C. § 202(5) (“The Secretary . . .
                shall be responsible for . . . [e]stablishing national
                immigration enforcement policies and priorities.”). The
                first of these, 8 U.S.C. § 1103(a)(3), clearly fails to
                authorize DACA, which is not “necessary for carrying
                out” any part of the INA. In any event, only if the
                authority of DHS to “deem[]” that an action is so
                “necessary” were unlimited and unreviewable could
                these provisions grant authority for DACA, but in that
                case, they would grant DHS a limitless authority over
                how it carries out its duties, making the innumerable
                other provisions of the INA that detail how DHS is to
                carry out its duties meaningless. See, e.g.,
                8 U.S.C. §§ 1158(d)(5) (providing requirements for
                asylum procedure), 1228(a)(3) (providing that expedited
                proceedings “shall be” initiated for aliens incarcerated
                for aggravated felonies), 1229a (providing procedural
                requirements for removal proceedings).
                    Title 6 U.S.C. § 202(5)’s grant of authority to
                “[e]stablish[] national immigration enforcement policies
                and priorities” also fails to authorize DACA. Its
                authorization to DHS to set “priorities” does not
                authorize DACA, which, as explained below, goes far
                beyond making removable aliens that meet its criteria
                low priorities for removal. Thus, this provision could
                only authorize DACA based on its apparently open-




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                ended authorization to DHS to establish enforcement
                “policies.” But if the meaning of this language were as
                open-ended as that, it would allow DHS to establish a
                policy, for example, of removing only removable aliens
                who were violent felons, or only those who had been in
                the country less than two months, or only those who
                lacked a high school education—and it would be
                patently unreasonable to suppose that Congress
                intended DHS to have authority to set policies so at
                odds with the INA.
                    Second, DACA is not a valid form of “deferred
                action.” True, faced with limited resources, an agency
                has discretion to implement the mandate of Congress
                as best it can, by setting priorities for action. See City
                of Los Angeles v. Adams, 556 F.2d 40, 50 (D.C. Cir.
                1977) (holding that when a statutory mandate is not
                fully funded, “the agency administering the statute is
                required to effectuate the original statutory scheme as
                much as possible, within the limits of the added
                constraint.”).
                   With DACA, however, DHS did not “effectuate the
                original statutory scheme as much as possible” within
                the limits set by underfunding. DACA was not created
                because of lack of resources; the aliens protected by it
                were already rarely removed. Memorandum from Jeh
                Charles Johnson, Exercising Prosecutorial Discretion
                with Respect to Individuals Who Came to the United
                States as Children and with Respect to Certain
                Individuals Who are Parents of U.S. Citizens or
                Permanent Residents 3 (Nov. 20, 2014) (explaining that
                DACA applies to individuals who “are extremely
                unlikely to be deported given [the] Department’s




                                                                             AR4578
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                limited enforcement resources”).2 Rather, the program
                reflects a policy judgment that these aliens should be
                free to live and work in the United States without fear
                of deportation. Far from “effectuat[ing] the original
                statutory scheme as much as possible,” this policy
                judgment is at odds with the INA and congressional
                intent. Not only has Congress rejected a legislative
                version of DACA repeatedly, it has found that
                “immigration law enforcement is as high a priority as
                other aspects of Federal law enforcement, and illegal
                aliens do not have the right to remain in the United
                States undetected and unapprehended.” H.R. Rep. No.
                104-725, at 383 (1996) (Conf. Rep.). Congress has also
                passed laws designed to reduce the incentives for
                illegal entry, and to incentivize self-deportation where
                enforcement is lacking. Texas v. United States, 86
                F. Supp. 3d 591, 634-35 (S.D. Tex. 2015), aff’d Texas v.
                United States, 809 F.3d 134 (5th Cir. 2015) (arguing
                that the Deferred Action for Parents of Americans
                program (“DAPA”) would disincentivize illegal aliens
                from self-deporting); Michael X. Marinelli, INS
                Enforcement of the Immigration Reform and Control
                Act of 1986: Employer Sanctions During the Citation
                Period, 37 Cath. U. L.R. 829, 833-34 (1988) (“Congress

                2
                 This statement is scarcely consistent with Secretary Napolitano’s
                bald assertion that “additional measures are necessary to ensure
                that our enforcement resources are not expended on these low
                priority cases but are instead appropriately focused on people who
                meet our enforcement priorities.” Memorandum from Janet
                Napolitano, Exercising Prosecutorial Discretion with Respect to
                Individuals Who Came to the United States as Children 1 (June 15,
                2012) (“DACA Memo”). Admissions against interest are admissible
                evidence, but self-serving statements are not. Woodall v.
                Commissioner, 964 F.2d 361, 364-65 (5th Cir. 1992).




                                                                                     AR4579
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                postulated that unauthorized aliens currently in the
                United States would be encouraged to depart”) (citing
                H.R. Rep. No. 99-682, at 46 (1986)).
                    In any event, the deferred-action justification, even
                if accepted initially for a portion of DACA, cannot help
                Respondents. DACA is not only deferred action; as an
                integral part of the DACA program, DHS has granted
                work authorization to its beneficiaries. DACA Memo 3.
                No provision of the INA grants DHS such wide-ranging
                power to authorize aliens to work.
                    8 U.S.C. § 1324a(h)(3) (defining an “unauthorized
                alien,” that is, an alien ineligible for employment, as an
                “alien [that] is not at that time either (A) an alien
                lawfully admitted for permanent residence, or
                (B) authorized to be so employed by this Act or by the
                Attorney General”) certainly does not grant DHS the
                needed authority. That provision, which does not
                address deferred action at all, is an “exceedingly
                unlikely” grant of power from Congress to authorize
                work, because what the provision does address is the
                unlawful employment of aliens. Texas v. United States,
                809 F.3d 134, 172-73 (5th Cir. 2015). Indeed, as the
                U.S. Court of Appeals for the Ninth Circuit has held,
                “[8 U.S.C. § 1324a] merely allows an employer to
                legally hire an alien (whether admitted or not) while
                his application [for adjustment of status] is pending.”
                Guevara v. Holder, 649 F.3d 1086, 1095 (9th Cir. 2011).
                And if § 1324a(h)(3) permitted DHS to give work
                authorization to DACA beneficiaries, it could only be
                because that provision allowed DHS to authorize work
                for any class of alien it chose; the provision contains no
                limiting language. If Congress had granted the




                                                                             AR4580
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                executive branch such vast discretion, it would have
                done so clearly, not through “vague terms or ancillary
                provisions—it does not, one might say, hide elephants
                in mouseholes.” Whitman v. Am. Trucking Ass’ns, 531
                U.S. 457, 468 (2001). It is not reasonable to suppose
                that Congress, without any clear statement that it was
                doing so, granted to DHS the unrestricted power to
                overthrow Congress’s own grants of employment
                protection to American workers. See, e.g., 8 U.S.C.
                §§ 1182(n), 1184(g), 1188 (protecting American workers
                from competition from aliens); Sure-Tan, Inc. v. Nat’l
                Labor Relations Bd., 467 U.S. 883, 893 (1984) (“A
                primary purpose in restricting immigration is to
                preserve jobs for American workers.”).
                    Indeed, any interpretation of § 1324a(h)(3) that is
                broad enough to permit DACA’s work authorizations
                makes § 1324a(h)(3) a glaring violation of the
                nondelegation doctrine. That doctrine requires “an
                intelligible principle to which the person or body
                authorized to exercise the delegated authority is
                directed to conform.” Mistretta v. United States, 488
                U.S. 361, 372 (1989). No principle governing the grant
                of work authorizations by the Attorney General or his
                successor DHS can be discerned in § 1324a(h)(3);
                rather, as DHS appears to acknowledge, if
                § 1324a(h)(3) gives DHS the authority to authorize
                work for aliens in the DACA program, that is because
                it gives DHS general authority to authorize work for
                any alien, or class of aliens, as it sees fit. See, e.g.,
                80 Fed. Reg. at 10,294 (“8 U.S.C. 1324a(h)(3)(B)[]
                recognizes that employment may be authorized by
                statute or by the Secretary”). Such an interpretation
                makes § 1324a(h)(3) unconstitutional, and for that




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                reason should be avoided. Crowell v. Benson, 285 U.S.
                22, 62 (1932) (“When the validity of an act of the
                Congress is drawn in question, and even if a serious
                doubt of constitutionality is raised, it is a cardinal
                principle that this Court will first ascertain whether a
                construction of the statute is fairly possible by which
                the question may be avoided.”), quoted in Arizona v.
                Inter Tribal Council of Ariz., Inc., 133 S. Ct. 2247, 2259
                (2013).
                    Nor is there a constitutional delegation of power to
                DHS in 8 U.S.C. § 1103(a)(3) to issue DACA’s work
                authorizations. If DHS’s power to issue regulations
                “deem[ed] necessary for carrying out [its] authority
                under the provisions of this chapter” is broad enough to
                cover the wholesale work authorizations in DACA, then
                it is broad enough to give DHS limitless power to
                authorize work for aliens.
                   B. The DACA program is a substantive rule
                      that did not go through the procedural
                      requirements of 5 U.S.C. § 553.
                   Even if this Court determines that DACA is not
                ultra vires on its face, it did not go through the proper
                procedural requirements for enacting a substantive
                rule. Substantive rules issued by an agency that did
                not go through the notice and comment process are
                invalid. NRDC v. United States Forest Serv., 421 F.3d
                797, 810 n.27 (9th Cir. 2005); Nat’l Ass’n of Mfrs. v.
                United States Dep’t of Labor, no. 95-0715, 1996 U.S.
                Dist. LEXIS 10478, *55 (D.D.C. July 22, 1996) (“Under
                section 706(2), this court must hold unlawful and set
                aside regulations promulgated without adequate notice




                                                                             AR4582
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                and comment.”) (citation and internal quotation marks
                omitted).
                   As the U.S. Court of Appeals for the District of
                Columbia Circuit has explained:
                   The critical distinction between a substantive
                   rule and a general statement of policy is the
                   different practical effect that these two types of
                   pronouncements have in subsequent
                   administrative proceedings. A properly adopted
                   substantive rule establishes a standard of
                   conduct that has the force of law. In subsequent
                   administrative proceedings involving a
                   substantive rule, the issues are whether the
                   adjudicated facts conform to the rule and
                   whether the rule should be waived or applied in
                   that particular instance. The underlying policy
                   embodied in the rule is not generally subject to
                   challenge before the agency.
                Pacific Gas & Electric Co. v. Federal Power Com., 506
                F.2d 33, 38 (D.C. Cir. 1974) (internal citation omitted).
                Thus, “[t]he critical factor to determine whether a
                directive announcing a new policy constitutes a rule . . .
                is the extent to which the challenged directive leaves
                the agency, or its implementing official, free to exercise
                discretion to follow, or not to follow, the announced
                policy in an individual case.” Mada-Luna v. Fitzpatrick,
                813 F.2d 1006, 1013 (9th Cir. 1987) (internal citations
                and quotation marks omitted) (emphasis in original)
                (finding that an agency directive concerning the
                application of a deferred action policy in the
                immigration context left ample discretion to agency
                officials and thus did not constitute a substantive rule).




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                    By this standard, DACA is clearly a substantive
                rule. The DACA Memo directs U.S. Immigration and
                Customs Enforcement agents to “exercise prosecutorial
                discretion, on an individual basis,” to grant deferred
                action for two years, subject to renewal, to aliens who
                meet the criteria set forth therein, for the purpose of
                “preventing low priority individuals from being placed
                into removal proceedings or removed from the United
                States,” and to accept work authorization applications
                from those granted deferred action. DACA Memo 2, 3.
                It is difficult to see how any agent so charged would
                feel free not to grant deferred action in any given case,
                especially since the only purpose the agents are
                supposed to be fulfilling in implementing the DACA
                Memo is to prevent the removal of those meeting the
                criteria. Compare Mada-Luna, 813 F.2d at 1017
                (finding discretion where officials were permitted to
                grant deferred action based on “appealing
                humanitarian factors”). Thus, though couched in terms
                of agents’ discretion, the DACA Memo actually removes
                that discretion. Indeed, the form of words chosen
                verges on the comical; to order agents to “exercise their
                discretion” only in a particular way, as the DACA
                Memo does, is to deny them the very discretion the
                order presupposes.
                   Indeed, based on a thorough evidentiary hearing,
                the U.S. Court of Appeals for the Fifth Circuit held that
                DACA was a substantive rule because it withdrew
                discretion from agents:
                   [T]he DACA Memo instructed agencies to review
                   applications on a case-by-case basis and exercise
                   discretion, but the district court found that those




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                   statements were “merely pretext” because only
                   about 5% of the 723,000 applications accepted
                   for evaluation had been denied, and “[d]espite a
                   request by the [district] [c]ourt, the
                   [g]overnment’s counsel did not provide the
                   number, if any, of requests that were denied [for
                   discretionary reasons] even though the applicant
                   met the DACA criteria . . . .” The finding of
                   pretext was also based on a declaration by
                   Kenneth Palinkas, the president of the union
                   representing the USCIS employees processing
                   the DACA applications, that “DHS management
                   has taken multiple steps to ensure that DACA
                   applications are simply rubberstamped if the
                   applicants meet the necessary criteria”; [and on]
                   DACA’s Operating Procedures, which “contain[]
                   nearly 150 pages of specific instructions for
                   granting or denying deferred action . . . .”
                Texas v. United States, 809 F.3d at 172-73. Surveying
                the above and other evidence relied on by the district
                court in that case, the Fifth Circuit roundly held that
                the district court’s finding that DACA “severely
                restricts” agency discretion, “[f]ar from being clear
                error, . . . was no error whatsoever.” Id. at n.133
                (internal quotation marks and brackets omitted).
                   As a substantive rule, DACA was required to go
                through notice and comment; it never did. It therefore
                is an invalid rule; at most, a court, exercising its
                equitable powers, could allow it to remain in effect
                while notice and comment was accomplished. But
                DACA will not, now, go through the notice and




                                                                           AR4585
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                comment process, so there would be no occasion for a
                court to allow it to remain in effect for that purpose.
                                        * * *
                    Because DACA is invalid, an injunction of its
                rescission can avail Respondents nothing. Respondents’
                claimed injuries, therefore, are not redressable, and
                these cases should be dismissed for lack of jurisdiction.
                                   CONCLUSION
                   For the foregoing reasons, the judgments of the
                courts below should be reversed.
                                 Respectfully submitted,
                                 CHRISTOPHER J. HAJEC*
                                 IMMIGRATION REFORM LAW INSTITUTE
                                 25 Massachusetts Ave., NW, Suite 335
                                 Washington, DC 20001
                                 (202) 232-5590
                                 chajec@irli.org
                                 *Counsel of Record
                                 Counsel for Amicus Curiae




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                             Nos. 18-587, 18-588, 18-589


                In the Supreme Court of the United States
                             __________________
                 DEPARTMENT OF HOMELAND SECURITY, et al., Petitioners,
                                           v.
                   REGENTS OF THE UNIVERSITY OF CALIFORNIA, et al.,
                                    Respondents.
                                 __________________
                 DONALD J. TRUMP, PRESIDENT OF THE UNITED STATES, et
                                   al., Petitioners,
                                           v.
                   NATIONAL ASSOCIATION FOR THE ADVANCEMENT OF
                          COLORED PEOPLE, et al., Respondents
                                 __________________
                 KEVIN K. MCALEENAN, ACTING SECRETARY OF HOMELAND
                              SECURITY, et al., Petitioners,
                                           v.
                  MARTIN JONATHAN BATALLA VIDAL, et al., Respondents.
                                 __________________
                On Writs of Certiorari to the United States Courts of
                  Appeals for the Ninth, District of Columbia, and
                                  Second Circuits
                                   __________________
                  BRIEF AMICUS CURIAE OF CITIZENS UNITED,
                     CITIZENS UNITED FOUNDATION, AND
                     THE PRESIDENTIAL COALITION, LLC
                         IN SUPPORT OF PETITIONERS
                                   __________________
                                          ROBERT J. OLSON*
                                          JEREMIAH L. MORGAN
                                          HERBERT W. TITUS
                                          WILLIAM J. OLSON
                                          WILLIAM J. OLSON, P.C.
                                          370 Maple Ave. W., Ste. 4
                                          Vienna, VA 22180
                                          (703) 356-5070
                                          wjo@mindspring.com
                                          *Counsel of Record
                 August 26, 2019          Attorneys for Amici Curiae




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                        INTEREST OF THE AMICI CURIAE1

                     Citizens United is a nonprofit social welfare
                organization exempt from federal income tax under
                Internal Revenue Code (“IRC”) section 501(c)(4).
                Citizens United Foundation is a nonprofit educational
                and legal organization exempt from federal income tax
                under IRC section 501(c)(3). These organizations were
                established, inter alia, for purposes related to
                participation in the public policy process, including
                conducting research, and informing and educating the
                public on the proper construction of state and federal
                constitutions, as well as statutes related to the rights
                of citizens, and questions related to human and civil
                rights secured by law.

                    The Presidential Coalition, LLC is an IRC section
                527 political organization that was founded to educate
                the American public on the value of having principled
                conservative Republican leadership at all levels of
                government, and to support the election of
                conservative candidates to state and local government
                and the appointment of conservatives to leadership
                positions at the federal and state level in order to
                advance conservative public policy initiatives.

                   These amici, along with several others, filed three
                amicus briefs in two of these consolidated cases last
                year:



                1
                  It is hereby certified that counsel for the parties have consented
                to the filing of this brief; that no counsel for a party authored this
                brief in whole or in part; and that no person other than these
                amici curiae, their members, or their counsel made a monetary
                contribution to its preparation or submission.




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                    •   U.S. Department of Homeland Security v.
                        Regents of the University of California, Brief
                        Amicus Curiae of Citizens United, et al., U.S.
                        Supreme Court, on petition for certiorari
                        before judgment (Feb. 2, 2018);

                    •   Vidal v. Nielsen, Brief Amicus Curiae of
                        Citizens United, et al., U.S. Court of Appeals
                        for the Second Circuit (Mar. 14, 2018); and

                    •   U.S. Department of Homeland Security v.
                        Regents of the University of California, Brief
                        Amicus Curiae of Citizens United, et al., U.S.
                        Supreme Court, on petition for certiorari (Dec.
                        6, 2018).

                                    STATEMENT

                    The Brief for the Petitioners (“Pet. Br.”) addresses
                the need for a rescission of the Deferred Action for
                Childhood Arrivals (“DACA”) policy based on the
                findings made by Secretary Nielsen in her statement
                of July 22, 2018. Pet. Br. at 10, 40-41. These findings
                supplemented the reasons given by Acting Secretary
                Elaine C. Duke in her September 5, 2017
                memorandum determining that DACA was unlawful
                and would be wound down. In addition to agreeing
                that DACA was contrary to law, Secretary Nielsen
                asserted that “‘tens of thousands of minor aliens’ ...
                have made the dangerous trek — with or without their
                families — to and across our southern border without
                legitimate claims to lawfully enter the country.” Id. at
                40. Secretary Nielsen determined it necessary “that
                DHS should send a strong message that children who




                                                                           AR4594
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                are sent or taken on this perilous and illegal journey
                will not be accorded preferential treatment.” Id. at 41.

                     The lack of enforcement of our nation’s
                immigration laws mandated by the courts below sends
                exactly the wrong signal — that the United States
                Government has lost the will to enforce its borders,
                and that anyone who enters the country illegally
                stands an excellent chance of being rewarded with
                permanent status as a lawful resident, and likely
                citizenship as well.

                    Multiple nationwide federal court injunctions that
                have been in place for nearly two years send the
                message that federal judges are in charge of our
                borders — not Congress or the President of the United
                States — and judges are welcoming of illegal
                immigrants. Indeed, the Ninth Circuit did not try to
                hide its policy preferences, praising DACA as a
                response to “the cruelty and wastefulness of deporting
                productive young people to countries with which they
                have no ties.” Regents of the Univ. of Cal. v. U.S.
                Dep’t of Homeland Security, 908 F.3d 476, 486 (9th
                Cir. 2018) (“Regents”).2

                   In their briefs urging that the injunctions be
                maintained, Respondents are unlikely to concede that


                2
                  Pairing lax and deferred enforcement with the range of welfare-
                type benefits, the lower court injunctions have exacerbated the
                current crisis at the border. Almost two-thirds of illegal aliens
                reportedly are receiving welfare benefits. See S.A. Camarota and
                K. Zeigler, “63% of Non-Citizen Households Access Welfare
                Programs,” Center for Immigration Studies (Nov. 20, 2018).




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                                           4

                there is a crisis at the border as Secretary Nielsen
                contended — although the mainstream media, which
                has supported Respondents’ litigation throughout, has
                changed its collective view on that point. On February
                14, 2019, CNN Anchor Don Lemon opposed President
                Trump’s attempt to declare a national emergency to
                secure border funding:

                    Here is a really, really disgraceful thing. OK?
                    You listening? All of this, this whole mess, is
                    manufactured. It’s a manufactured crisis. A
                    noncrisis at the border that’s really not fooling
                    anybody. People go, ‘Oh, it’s a crisis, it’s a
                    crisis.’ They know it’s not a crisis. That’s all
                    for political expediency. [B. Adams, “Late to
                    the party: CNN and MSNBC anchors discover
                    there’s a crisis at the border,” Washington
                    Examiner (June 26, 2019).]

                More recently, Lemon reversed ground, stating:

                    “For anybody who doesn’t think that
                    immigration is a crisis, a deadly serious crisis,
                    a humanitarian crisis....” [Id.]

                CNN’s Chris Cuomo and MSNBC’s Brian Williams
                showed the same pattern and have agreed there is a
                crisis at the border. See id.

                     Some years ago, this Court recognized the scope of
                the problems that border states face as a result of
                illegal immigration. In Arizona v. United States, 567
                U.S. 387 (2012), the Court noted that, in 2010, the
                federal government “apprehended almost half a




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                million” unlawful aliens. Arizona at 397. The Court
                added that “[s]tatistics alone do not capture the full
                extent of Arizona’s concerns” about illegal
                immigration, adding that the record in that case
                demonstrates “an ‘epidemic of crime, safety risks,
                serious property damage, and environmental problems’
                associated with the influx of illegal migration across
                private land near the Mexican border.” Id. at 398.
                Since last addressed by this Court, conditions have
                only worsened, and the nation’s border remains in
                crisis. Each year, from FY 2014 through FY 2018,
                Customs and Border Patrol has continued to
                apprehend an average of over half a million
                “inadmissibles.”

                     Broad deferred enforcement programs such as
                DACA and Deferred Action for Parents of Americas
                (“DAPA”) create an incentive for migrants to enter the
                United States illegally, not waiting for proper
                immigration processes. This year has seen an
                explosion of illegal border crossings and
                apprehensions, with over 144,000 apprehensions in
                May 2019 alone.3 Through the first 10 months of FY
                2019, there have been 862,785 apprehensions on the
                Southwest border, but this number does not include
                illegal crossings, making it impossible to know how
                many total illegal immigrants are entering the United
                States each month. The Constitution did not invest in
                the federal judiciary the authority to protect the
                nation’s borders, and it should not continue to impede

                3
                    See Customs and Border Protection, Southwest Border
                Migration FY 2019, https://www.cbp.gov/newsroom/
                stats/sw-border-migration.




                                                                           AR4597
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                                            6

                the President of the United States in his effort to do
                just that.

                    It is in this context — the existence of a true crisis
                at the border — a border that the President of the
                United States has the duty to protect — that these
                cases come to this Court.

                           STATEMENT OF THE CASE

                     The original DACA policy, implemented by the
                Obama Administration in 2012, was a decision not to
                enforce existing law against a broad class of persons.
                The later and lawfully indistinguishable DAPA policy,
                which also expanded DACA, was determined to violate
                the notice-and-comment provision of the
                Administrative Procedure Act (“APA”) (5 U.S.C. § 701,
                et seq.) by the U.S. District Court for the Southern
                District of Texas. Texas v. United States, 86 F. Supp.
                3d 591 (S.D. Tex. 2015). That decision was affirmed by
                the U.S. Court of Appeals for the Fifth Circuit. The
                Fifth Circuit took the position that DAPA (and its
                expansion of DACA) judgment likely violated both the
                APA and the Immigration and Nationality Act. Texas
                v. United States, 809 F.3d 134, 136, 170-196 (5th Cir.
                2015). Lastly, the judgment of the Fifth Circuit was
                affirmed by this Court on an equally divided vote.
                United States v. Texas, 136 S.Ct. 2271, 2272 (2016)
                (per curiam).

                    Once the Trump Administration’s Department of
                Homeland Security announced its decision to rescind
                the DACA policy on September 5, 2017, it was
                subjected to multiple challenges: (i) in the U.S.




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                District Court for the Northern District of California
                (by the Regents of the University of California, et al.);
                (ii) in the District of Columbia (by the National
                Association for the Advancement of Colored People, et
                al.); and (iii) in the Eastern District of New York (by
                Batalla Vidal). These three cases led to the issuance
                of three nationwide injunctions against DHS that
                remain in effect to this day, nearly two years later.

                           SUMMARY OF ARGUMENT

                    The Trump Administration’s decision to end the
                DACA non-enforcement policy — which has applied to
                a broad class of persons illegally in the United States
                — merely returns to the Department of Homeland
                Security (“DHS”) the ability to begin to enforce
                immigration law as it had been enforced prior to 2012.
                The decision to end DACA and begin enforcement itself
                did not constitute an adverse action against any
                person illegally in the country, and therefore, no one
                should have had standing even to challenge its
                rescission.

                    The decision to end DACA was not a non-
                enforcement decision and should not have been
                evaluated as such. Rather, it was the opposite — a
                decision to revoke a non-enforcement policy. That
                decision to begin enforcement was unreviewable by the
                judiciary because it could have been made by DHS for
                any policy reason whatsoever. This Court’s decision in
                SEC v. Chenery presents no bar to rescission of the
                DACA non-enforcement decision. The decision to
                enforce the law was not just presumptively




                                                                            AR4599
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                unreviewable by federal courts, it was also completely
                unreviewable.

                     The courts below have made the legality and
                constitutionality of DACA an issue in this case. The
                justification for the injunctions against the rescission
                of DACA was that it was predicated, in part, on an
                opinion by the Attorney General and Secretary of DHS
                that DACA was unlawful. Because the judges involved
                disagreed, believing that DACA was lawful, the courts
                felt empowered to enjoin DACA’s rescission on the
                theory that the government had made a mistake of law
                in viewing DACA to be unlawful, thereby rendering
                the rescission illegitimate.

                    Actually, the courts had no basis to enjoin DHS,
                irrespective of whether DACA was lawful or unlawful.
                First, the judges were wrong in concluding that the
                original DACA policy was lawful, and if the Court
                agrees, the injunctions must be dissolved. However,
                even if this Court were to believe that the original
                DACA policy was lawful, the injunctions should still be
                dissolved. This case does not present a situation
                where there is a dispute of law between an agency and
                the courts, and the court must have the final say.
                There is no doctrine of judicial supremacy which
                requires the Executive to consult with and then bow to
                the opinion of the courts before determining and
                carrying out its executive functions. Nor are the
                Petitioners asking the courts to stand down from any
                role in reviewing individual immigration decisions.
                Rather, the courts have no role at this time in
                mandating what the nation’s immigration policies will
                be.




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                                               9

                                       ARGUMENT

                I.   DHS’ DECISION TO END DACA AND
                     ENFORCE IMMIGRATION LAW IS NOT
                     JUDICIALLY REVIEWABLE.

                    Former Attorney General Sessions and the
                Secretary of the Department of Homeland Security
                determined that DACA should be phased out, inter
                alia, because “the Department lacked statutory
                authority to have created DACA in the first place,”
                having been “‘an unconstitutional exercise of
                authority’” with “the same legal and constitutional
                defects that the courts recognized as to DAPA.”4
                Regents at 491-92.5 The Ninth Circuit did not dispute
                — and indeed no one appears to have disputed — that
                the Trump Administration has the absolute discretion
                to end the DACA program based on a change in policy.6
                See Pet. Br. at 19-20; see also Regents at 510. And no
                one in this case has alleged that the executive branch
                has improperly enforced any immigration law that
                Congress enacted. See Pet. Br. at 19. Indeed,


                4
                  The legality of the DACA program is discussed in Section III,
                infra.
                5
                  The government argues that it also had provided additional
                reasons for reversing the DACA program, and that those reasons
                independently support its decision. Pet. Br. at 37.
                6
                  Presumably, President Trump could simply declare “I have
                chosen to end DACA because I believe it necessary to protect the
                border,” and that would moot this case, as APA does not apply to
                the President, absent express statement by Congress. See
                Franklin v. Massachusetts, 505 U.S. 768, 801 (1992).




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                revocation of DACA only signals an intent to enforce
                federal immigration law as it was enforced prior to
                2012. The only sticking point for the courts has been
                the reasons given for the decision to end DACA and to
                begin to enforce immigration law. In other words,
                DHS made a permissible decision               for an
                impermissible reason.7 Due to this perceived error in
                reasoning (but not in judgment), the Ninth Circuit
                panel below claimed that the decision to end DACA is
                judicially reviewable.

                    A. Revising Reviewability Precedents:
                       From “No Opinion” to “May Be” to “Is.”

                    On its way to determining that the DHS decision
                to revoke DACA was judicially reviewable, the panel
                below first cited Heckler v. Chaney, 470 U.S. 821, 832
                (1985), where this Court held that nonenforcement


                7
                  This is not the first time that the lower courts have invalidated
                this President’s policy agenda based on allegations of improper
                reasons for otherwise legitimate decisions. See, e.g., IRAP v.
                Trump, 857 F.3d 554, 572 (4th Cir. 2017) (claiming President
                Trump’s order “drips with religious intolerance, animus, and
                discrimination”). The lower courts have repeated these ad
                hominem attacks ad nauseam, claiming that hidden, secret
                motivations override the legality of otherwise perfectly acceptable
                policy choices with which federal judges personally disagree. In
                this case, the judges of the Ninth Circuit have made no secret of
                how they wanted the case to turn out. Claiming that President
                Obama’s policies “[r]ecogniz[ed] the cruelty and wastefulness of
                deporting productive young people,” the allegedly neutral and
                detached magistrates below decried the current administration’s
                decision to end this so-called “‘commendable exercise’” and to
                disappoint DACA recipients who were “trusting the government
                to honor its promises.” Regents at 486-87.




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                decisions by the executive branch are presumed to be
                nonreviewable by the judiciary. Regents at 495.
                However, as the Ninth Circuit noted, this Court had
                “express[ed] no opinion” as to whether an agency’s
                nonenforcement decision is judicially reviewable if
                based upon the belief that the agency lacked
                jurisdiction to institute proceedings. Chaney at 833
                n.4.8

                    Undeterred, the Ninth Circuit filled in the alleged
                gap in Chaney with its own prior opinion in Montana
                Air Chapter No. 29 v. Federal Labor Relations
                Authority, 898 F.2d 753, 754 (9th Cir. 1990), finding
                that “the Supreme Court had nevertheless ‘suggested
                that’” such decisions “‘may be reviewable.’” Regents at
                496. Thus, the Ninth Circuit understood Montana Air
                as having established that the “presumption of
                nonreviewability ‘may be overcome if the refusal is
                based solely on the erroneous belief that the agency
                lacks jurisdiction.’” Id. (emphasis added).

                    A page later, however, the Ninth Circuit took yet
                another leap, converting Montana Air’s “may be
                overcome” language into a hard-and-fast rule that “a
                nonenforcement decision is reviewable ... if the
                decision was based solely on the agency’s belief that it
                lacked jurisdiction to act.” Regents at 497 (emphasis




                8
                   This Court also discussed a situation where “the statute
                conferring authority on the agency might indicate that such
                decisions were not ‘committed to agency discretion’” (id.), but that
                situation is not present here.




                                                                                       AR4603
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                                                12

                added).9 Of course, by the Ninth Circuit’s own
                admission, this Court has never reached that
                conclusion and neither had the Ninth Circuit — until
                its decision in this case.

                     Then, as the icing on its cake, the Ninth Circuit
                relied on City of Arlington v. FCC, 569 U.S. 290 (2013),
                for the proposition that “there is no difference between
                an agency that lacks jurisdiction to take a certain
                action, and one that is barred by the substantive law
                from doing the same....” Id. at 497. But the facts in
                this case have nothing to do with the City of Arlington
                distinction between an agency “exceeding the scope
                of its authority ... and its exceeding authorized
                application of authority that it unquestionably has,”10
                or between agencies which “‘act improperly’” versus
                ones that act “‘beyond their jurisdiction.’” Regents at
                496 (emphasis added). Rather, in this case, DHS
                clearly has not acted in excess of or beyond its
                jurisdiction — but rather, it is the Ninth Circuit’s
                opinion that, in implementing DACA, the agency has
                acted well within any limit on its authority. Here, the
                Ninth Circuit takes the position that DHS has far
                more authority than the agency itself believes it has.
                City of Arlington has no application here.

                9
                  In Montana Air, the Ninth Circuit separately concluded that an
                agency’s nonenforcement decision might be reviewable if based
                “upon adoption of a general policy so extreme as to amount to an
                abdication of the agency’s statutory responsibilities.” Id. at 754.
                Unsurprisingly, the Ninth Circuit never mentioned this rule when
                it opined that the original DACA program — adopting a general
                policy not to enforce the law — was lawful.
                10
                     City of Arlington at 299 (emphasis added).




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                                          13

                    B. The Decision to End DACA Is Not a
                       “Nonenforcement Decision.”

                    As discussed above, neither this Court’s decisions
                nor the Ninth Circuit’s own precedents support its
                conclusion that the decision to end DACA is judicially
                reviewable. But there is an even more fundamental
                weakness in the Ninth Circuit’s decision. The decision
                to revoke DACA is not a “nonenforcement decision.”
                Regents at 497. Rather, it is the opposite — an
                enforcement decision — a “decision to rescind a
                nonenforcement policy....” Pet. Br. at 21. Therefore,
                this is not a case like Chaney where an agency decides
                not to enforce because it does not have the jurisdiction
                to bring enforcement proceedings. Rather, here an
                agency is deciding to enforce the statute as it is
                written, based on the court below’s theory that it does
                not have the authority to abdicate its responsibility
                to enforce the law.

                    This means that none of the factors weighing in
                favor of judicial reviewability of nonenforcement
                decisions is applicable here. See Pet. Br. at 31-32.
                Certainly when, as here, an agency states its intent to
                enforce the law, there is no “danger that [the] agenc[y]
                may not carry out [its] delegated powers with
                sufficient vigor....” Chaney at 834. Indeed, unlike
                actual nonenforcement decisions, an enforcement
                decision presents no conflict between the legislature
                and the Executive. Rather, with the DHS decision to
                revoke DACA and enforce immigration law, Congress
                and the executive branch are once again in lockstep.
                Congress has determined that certain persons are
                unlawfully present in the United States, and the




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                                               14

                Trump Administration has announced its intent to
                enforce that law. It is only the lower federal courts —
                part of the allegedly “weakest of the three departments
                of power”11 — which have stood in the way, forcing
                both other branches of government to bend to the
                judiciary’s will through the liberal application of
                nationwide injunctions.12

                    Both Respondents and the courts below try to give
                the impression that the revocation of DACA will end
                all exercises of prosecutorial discretion, and that all
                DACA recipients immediately will be deported. On the
                contrary, there is no indication that the executive
                branch now will move generally to deport persons who
                are part of the DACA program. With DACA repealed,
                enforcement will simply revert to the way it was before
                — with real prosecutorial discretion being applied
                based on the facts and circumstances of actual
                individual cases. True prosecutorial discretion will
                replace the policy discretion, on a categorical basis,
                engaged in by the prior administration.




                11
                  A. Hamilton, Federalist No. 78, reprinted in G. Carey & J.
                McClellan, The Federalist at 402 (Liberty Fund: 2001).
                12
                   This Court has held that when the Executive and Congress act
                arm-in-arm on a matter, the President’s authority is at its
                maximum. Thus, a decision to enforce federal law, when
                “executed by the President pursuant to an Act of Congress would
                be supported by the strongest of presumptions and the widest
                latitude of judicial interpretation, and the burden of persuasion
                would rest heavily upon any who might attack it.” Youngstown
                Sheet & Tube Co. v. Sawyer, 343 U.S. 579, 637 (1952).




                                                                                    AR4606
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                    Respondents here are attempting to convince this
                Court to do on a wholesale level what instead should
                be done at the retail level. But as Petitioners note, “an
                alien subjected to removal proceedings may challenge
                the substantive validity of an adverse final order, but
                he may not raise a procedural claim that the
                government was arbitrary and capricious for
                commencing enforcement.” Pet. Br. at 23.

                    In upholding the district court’s issuance of a
                nationwide injunction, the Ninth Circuit has declared
                that a duly enacted statute may not be enforced by the
                Executive.13 In other words, the judiciary has created
                a requirement that the federal government must
                continue to permit our immigration laws to be broken
                by hundreds of thousands of persons for a period now
                going on two years — unless permitted to do otherwise
                by the judicial branch. See Pet. Br. at 16. The
                injunction below was not issued because the decision
                to revoke DACA is unconstitutional, or because it
                conflicts with a statute or an international agreement

                13
                    The Ninth Circuit credits itself with “empowering the
                Executive” in this case by informing DHS that it has greater
                authority than it believes. Regents at 490. Of course, this is just
                whitewash, as the Ninth Circuit’s opinion upheld the district
                court’s injunction preventing the administration from
                implementing its policy agenda and forcing the DACA program on
                the American people for nearly an additional two years. Later,
                the Ninth Circuit outrageously claims that its opinion in this case
                “prevents [an] anti-democratic and untoward outcome,” allegedly
                because an accurate description of the law permits voters to
                properly allocate blame. Regents at 499. Of course, there is
                nothing democratic about four unelected and unaccountable
                judges below, all appointed by Democratic presidents, unilaterally
                impeding the political agenda of an elected Republican president.




                                                                                      AR4607
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                or treaty. Rather, it was issued solely because an
                executive branch agency has taken the position that a
                law Congress enacted should be enforced, and that the
                prior administration’s political abdication of its
                responsibility to enforce the law was wrong.

                II. DHS’ DECISION TO END DACA                     WAS
                    LAWFUL UNDER SEC V. CHENERY.

                    Having determined that neither the APA nor the
                Immigration and Nationality Act imposes any bar to
                judicial review of the rescission of DACA, the Ninth
                Circuit examined the merits of the decision to end
                DACA, based on the “likelihood of success on the
                merits” prong of the preliminary injunction standard.
                Regents at 505, et seq.

                     The court below relied on this Court’s decision in
                SEC v. Chenery Corp., 318 U.S. 80 (1943). There, the
                Court determined that it could not uphold an “order”
                by the Securities and Exchange Commission based on
                the record before the Court. The Court likened review
                of agency action to appellate review of lower court
                decisions: if a lower court reaches the right result but
                for the wrong reason, the appellate court nevertheless
                can sustain the decision if there is an alternative
                ground on which the lower court could have relied.
                However, in cases where a required showing, or factual
                or jury determination, was not made, the appellate
                court must remand the case to make that
                determination. Chenery at 88.

                    In rejecting the Commission’s order in Chenery,
                the Court likened that case to the latter scenario — a




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                situation where “[t]he record is utterly barren of any
                such showing,” and where “findings might have been
                made and considerations disclosed which would justify
                its order,” but were not. Id. at 93-94. Specifically, the
                Court noted that the Commission had applied the
                wrong standard to the case but that, since “the
                Commission is not bound by settled judicial
                precedents,” it was impossible for the Court to weigh
                in on the issue, and thus remanded the case for further
                findings. Id. at 89, 95.

                    This case involves precisely the opposite situation,
                and implicates the first scenario from Chenery —
                where a decision “must be affirmed if the result is
                correct ‘although the lower court relied upon a wrong
                ground or gave a wrong reason.’” Id. at 88. Here, the
                decision to end DACA was said to have been made
                because the program was believed to have been
                unlawful and unconstitutional at its inception. And
                even if the Ninth Circuit is correct that such a
                justification was incorrect, the court admits that the
                decision to end DACA may have been justified for any
                number of other reasons, presumably including one as
                simple as “because we can.” Unlike in Chenery, there
                is no need to send the decision back to DHS for
                additional fact finding or required showings, since the
                agency was not required to find any facts or make any
                showing before ending an entirely discretionary
                program.

                    In Chenery, the Commission’s decision could have
                been justified only by a determination that was not
                made. Here, however, the decision to end DACA
                presumably could have been justified by just about




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                any reason, allegedly except the one that was given.
                Thus, like the other cases relied on by the panel below,
                Chenery provides no support for the Ninth Circuit’s
                decision, but actually demonstrates that the DHS
                decision to end DACA should have been upheld.

                III.      DACA HAS BEEN UNLAWFUL SINCE ITS
                          INCEPTION, BUT EVEN IF FOUND
                          LAWFUL, WAS LAWFULLY RESCINDED.

                       A. The Ninth Circuit Clearly Erred by
                          Failing to Consider the Constitutionality
                          of DACA.

                    Although the questions presented to this Court do
                not directly raise the legality or constitutionality of
                DACA, that question is subsumed in the second
                question presented — whether the Trump
                Administration’s decision to wind down the Obama
                Administration’s DACA policy is lawful. Indeed, these
                amici argued at the petition stage that, in order to
                evaluate properly the rescission of DACA, it would be
                essential to evaluate the legality and constitutionality
                of the original policy. See Brief Amicus Curiae of
                Citizens United, et al. (Dec. 6, 2018) at 14.14

                14
                  The government’s brief on the merits extensively addresses the
                legality of the original DACA policy. See Pet. Br. at 43-52. So too
                did the Ninth Circuit’s opinion below, as the legality of DACA was
                necessary for the courts below to conclude as to the illegality of
                the decision to end DACA. Regents at 506-510. See also Vidal v.
                Nielsen, 279 F. Supp. 3d 401, 420-27 (E.D. NY 2018). Thus, the
                lawfulness of the original DACA policy is before the Court, should
                the Court first find the rescission of DACA to be judicially
                reviewable. If this Court finds that DACA was unlawful to begin




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                    Interestingly enough, the Ninth Circuit
                acknowledged that the Attorney General’s (and DHS’s)
                decision to end DACA was based in part on its
                perceived unconstitutionality. Regents at 492, 506.
                Yet, even though it purportedly rejected that
                argument, the Ninth Circuit actually did not address
                it. Rather, the court washed its hands of any
                constitutional strictures on the theory that “no court
                has ever held that DAPA is unconstitutional” and “the
                government makes no attempt in this appeal to defend
                the Attorney General’s assertion that the DACA
                program is unconstitutional.” Id. at 506.

                     That is quite an interesting conclusion. Certainly,
                it is axiomatic that, in a typical case, a criminal
                defendant can waive many constitutional challenges.15
                And an individual plaintiff certainly can waive
                constitutional claims, such as in Section 1983
                litigation. But this is anything but a typical case.
                Here, with the Sessions16 and Duke memoranda, it was
                the government arguing that its own ongoing action
                is unconstitutional.

                    In the typical cases discussed above, a waiver of
                constitutional claims or arguments means only that a
                court must overlook past possible constitutional


                with, then the nationwide injunctions against the Trump
                Administration’s rescission of the program are even more clearly
                unlawful.
                15
                  See Criminal Resource Manual 626: Plea Agreements and
                Sentencing Appeal Waivers — Discussion of the Law.
                16
                     See Joint Appendix 877-878.




                                                                                   AR4611
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                violations. Here, however, multiple federal courts,
                including the Ninth Circuit, mandated future
                government action, yet the Ninth Circuit expressly
                refused to analyze whether that action is
                constitutional or not. It was error for the court below
                to fail to consider DACA’s constitutionality before
                ordering that the program continue unabated.

                    In fact, once the district courts issued their
                injunctions, DACA which originated as an executive
                action, became DACA perpetuated by judicial action.
                And it seems evident that courts have an obligation to
                sua sponte consider the constitutionality of their own
                orders. Indeed, had the Ninth Circuit examined the
                issue, it would have found that the DACA policy
                violated several constitutional provisions.

                     B. DACA Is an Unconstitutional Exercise of
                        Legislative Power.

                    The Immigration and Nationality Act did not
                delegate to the Executive the power to invalidate
                immigration laws, either permanently or temporarily.
                Although the DACA policy advised beneficiaries that
                their status (or lack thereof) could be revoked at any
                time, DACA nevertheless granted a renewable two-
                year deferred action status, and the benefits that go
                with that status, to more than 700,000 aliens who are
                present in the United States in defiance of the
                immigration laws enacted by Congress.17 DACA thus
                changed the nation’s immigration law in a

                17
                  See U.S. Citizenship and Immigration Services, Approximate
                Active DACA Recipients: Country of Birth (July 31, 2018).




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                fundamental way — a change that began in 2012 and
                continues to this day.

                     Any notion that the Obama Administration
                implemented DACA pursuant to congressional
                authority is not plausible.          President Obama
                repeatedly failed to persuade Congress to enact the
                Development, Relief, and Education for Alien Minors
                Act (“DREAM”) Act, which would have gone a long way
                towards eviscerating many of the nation’s immigration
                laws. Thrice, Congress has made known its position
                with respect to the provisions of DACA. First,
                Congress explicitly legislated with regard to the
                legality of aliens’ presence and the grounds for their
                removal. See Arizona v. United States, 567 U.S. 387,
                396-97 (2012). As the U.S. Department of Justice
                Office of Legal Counsel’s own Memorandum (“OLC
                Memo”) notes, “[i]n the INA, Congress established a
                comprehensive scheme governing immigration and
                naturalization.” Id. at 3.18 Second, Congress implicitly
                rejected President Obama’s DACA scheme, in refusing
                to take any steps toward enacting the DREAM Act and
                thus ratifying the program. Third, the President has
                only narrow, statutorily defined circumstances
                whereby he may grant deferred-action status for
                certain specified illegal aliens.




                18
                  See K.R. Thompson, “The Department of Homeland Security’s
                Authority to Prioritize Removal of Certain Aliens Unlawfully
                Present in the United States and to Defer Removal of Others,”
                U.S. Department of Justice, Office of Legal Counsel (Nov. 19,
                2014).




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                    Even the Ninth Circuit admits that “[u]nlike most
                other forms of relief from deportation, deferred action
                is not expressly grounded in statute.” Regents at 487.
                In fact, President Obama publicly announced that he
                did not believe he had the power to implement a
                DACA-type policy.19 Nevertheless, he implemented
                DACA anyway. President Obama’s assumption of a
                broad general power (a power he acknowledged he did
                not have) to waive the nation’s immigration laws for
                large numbers of persons is simply incompatible with
                the narrow and detailed statutory scheme. With
                DACA, President Obama not only established new
                national immigration policy outside of the legislative
                process, but also he acted contrary to Congress’ clear
                desires, where his power is clearly “at its lowest ebb”20
                and, indeed, its exercise is unconstitutional.

                     C. DACA Violates Separation of Powers
                        Principles.

                    The Ninth Circuit, as well as the parties before it,
                acknowledged that “DACA’s adoption was a general
                statement of policy.” Regents at 513. But such a
                policy is not the equivalent of legislation adopted
                pursuant to the bicameral approval and presentment
                process in Article I, Section 7 that govern the exercise
                of legislative power. See Dept. of Transportation v.


                19
                   K. Pavlich, “His Own Words: Obama Said He Doesn't Have
                Authority For Executive Amnesty 22 Times,” TownHall.com (Nov.
                19, 2014).
                20
                  Youngstown Sheet & Tube Co. at 637 (Jackson, J., concurring).
                See discussion in Section II.B, infra.




                                                                                  AR4614
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                                               23

                Ass’n. of American R.R., 135 S. Ct. 1225, 1237 (2015)
                (“DOT”) (Thomas, J., concurring).

                    Legislative power is vested by Article I, Section 1
                of the Constitution in Congress alone, and Congress
                “cannot delegate its ‘exclusively legislative’ authority
                at all.” Id. The question, then, is whether DACA is an
                exercise of legislative power to create immigration
                policy or, as the Ninth Circuit alleges, stems from “the
                Executive’s inherent authority to allocate resources
                and prioritize cases.” Regents at 487.21

                     Although DACA is a rule governing the Secretary
                and DHS agents in the administration and
                enforcement of INA, it is also a rule governing private
                conduct. First, DACA requires an alien to apply for
                lawful presence status. Second, DACA requires the
                alien to affirmatively demonstrate that he is entitled
                to the deferred action status including, but not limited
                to, “not fall[ing] within the Secretary’s enforcement
                priorities.”22 And third, presumably if an applicant

                21
                   The Ninth Circuit initially claims that DACA involves a system
                whereby “each application is ... evaluated for approval by DHS
                personnel on a case-by-case basis.” Regents at 490. Later,
                however, the court lets the truth slip, acknowledging that this
                alleged “case-by-case” review involves no “prosecutorial
                discretion,” but rather that “DACA obviously allows (and indeed
                requires) DHS officials to exercise discretion in making deferred
                action decisions as to individual cases....” Id. at 507. In other
                words, DACA allows/requires voluntary/mandatory “decisions” by
                DHS rubber stampers. The Ninth Circuit’s statements are
                doublespeak.
                22
                   “Frequently Asked Questions: Rescission of Memorandum
                Providing for Deferred Action for Parents of Americans and




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                fails to stay outside of those enforcement priorities, he
                would be outside of the DACA qualifications, and
                subject to priority removal. In sum, DACA established
                a law — a generally applicable rule of private conduct
                that applies generally to all aliens, but benefits only
                certain of those aliens who “have no lawful
                immigration status on th[e] date” of application. Id.
                That action violated the separation of powers.

                     D. DACA Violates the Take Care Clause.

                    After a bill becomes law, other constitutional
                provisions govern. The Take Care Clause of Article II,
                Section 3 requires the President to “take Care that the
                Laws be faithfully executed,” and the President’s Oath
                of Office requires him to “preserve, protect and defend
                the Constitution of the United States.” So long as a
                law was duly enacted, and so long as it comports with
                the Constitution, the President has a duty to
                implement or enforce the law.23 The reason that all
                persons illegally in the United States are not deported
                immediately is regularly described as being due to
                inadequate enforcement resources — not due to a
                decision by the President that the law was unworthy
                of being enforced. See Pet. Br. at 4.



                Lawful Permanent Residents (“DAPA”),”          Department     of
                Homeland Security (June 15, 2017).
                23
                   On the other hand, if a law was not duly enacted, or if it is
                “repugnant” to the Constitution, then the President could argue
                that he is duty-bound by his oath not to implement and enforce
                it. See Article II, Section 1, Clause 8. However, the Obama
                Administration never made such claims about the INA.




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                                            25

                    This Court has noted that, “[a]lthough the
                Constitution expressly authorizes the President to play
                a role in the process of enacting statutes, it is silent on
                the subject of unilateral Presidential action that either
                repeals or amends parts of duly enacted statutes.”
                Clinton v. New York, 524 U.S. 417, 439 (1998).
                However, the Court did not view this silence as
                authorizing executive action, but rather viewed it as
                “equivalent to an express prohibition” on the post-
                enactment executive meddling with enacted statutes.
                Id. Whenever a President acts to “effect the repeal of
                laws ... without observing the procedures set out in
                Article I, § 7 ... he is rejecting the policy judgment
                made by Congress and relying on his own policy
                judgment.” Id. at 444-45.

                    Indeed, in the debates on the Constitution,
                Hamilton and other advocates of a strong executive
                proposed that “[t]he Executive ought to have an
                absolute negative” over laws passed by Congress.
                Records of the Federal Convention, June 4, 1787,
                reprinted in P. Kurland & R. Lerner, The Founders’
                Constitution (“Founders”) (Univ. of Chicago Press:
                1987), vol. 2, p. 389. However, other delegates thought
                that “[t]his was a mischievous sort of check,” that “[t]o
                give such a prerogative would certainly be obnoxious
                to the temper of this country,” and the proposal was
                unanimously rejected by a vote of the state
                delegations. Id. at 390. Since the framers specifically
                rejected the idea that the President should have an
                absolute veto, it certainly could not be argued that
                they would have favored absolute executive power to
                dispense with a law for policy reasons after it has been
                enacted. This “threat of nonenforcement gives the




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                                          26

                President improper leverage over Congress by
                providing a second, postenactment veto.”        R.
                Delahunty & J. Yoo, “Dream On: The Obama
                Administration’s Nonenforcement of Immigration
                Laws, the DREAM Act, and the Take Care Clause,” 91
                TEX. L. REV. 781, 795 (2013).

                    Because DACA is a “‘law’ in the Blackstonian
                sense of [a] generally applicable rule[] of private
                conduct” (see Dep’t of Transportation v. Ass’n of
                American R.R., 135 S.Ct. 1225, 1245 (2015), it is
                outside the authority of the DHS, because Article I,
                Section 1 vests legislative power exclusively in
                Congress. Id.

                    The [Constitution] itself and the writings
                    surrounding it reflect a conviction that the
                    power to make the law and the power to
                    enforce it must be kept separate, particularly
                    with respect to the regulation of private
                    conduct. [Id. at 1244.]

                    Thus, contrary to the lower courts’ conclusions that
                DACA was a lawful exercise of authority under the
                INA, for the reasons set forth above, and for the
                reasons set forth by Petitioners, DACA was an
                unlawful and unconstitutional action, and it was
                appropriate for the Secretary to rescind it.

                    E. Even if DACA Was Lawful, It Can Be
                       Lawfully Rescinded.

                   Although these amici contend that DACA was
                unlawful when implemented, the case does not turn on




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                                            27

                that issue. If DACA was lawful when implemented, as
                the courts below have contended, it nevertheless was
                certainly possible for the Secretary of DHS and the
                Attorney General to have a different view, and take
                action based on that view, without first seeking
                judicial approval.        Indeed, judges have no
                constitutional authority to decide constitutional issues
                not properly before them. Any belief that no President
                may have a view of the Constitution at odds with a
                judge is an extreme and unsupportable view of judicial
                supremacy.

                    Legal scholars may differ as to whether Congress
                and the President have a role to play in interpreting
                the law and the Constitution, or whether the Supreme
                Court’s decisions become part of the supreme law of
                the land. That is an extreme view — advanced only on
                one known occasion by this Court in Cooper v. Aaron,
                358 U.S. 1, 18 (1958), but at odds with a great deal of
                history. Famously, William Blackstone wrote that a
                judge’s “opinion” represents merely “evidence” of what
                the law is. W. Blackstone, I Commentaries on the
                Laws of England (Univ. Chi. Facsimile ed.: 1765) at ¶
                71. In Marbury v. Madison, this Court likewise held
                that it is the role of judges “to say what the law is.” 5
                U.S. 137, 177 (1803). And just as “a legislative act
                contrary to the constitution is not law,” (id.), a judicial
                opinion that “is manifestly absurd or unjust” is not
                simply “bad law” but rather “not law” at all.
                Blackstone at ¶ 70; see also Harper v. Va. Dep’t of
                Taxation, 509 U.S. 86, 107 (1993) (Scalia, J.,
                concurring). It does not matter which branch of
                government is responsible for the act, action, or




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                opinion — if it violates the law or the Constitution, all
                are equally “not law.”

                     Indeed, although Marbury established judicial
                review, it did not adopt judicial supremacy, “the idea
                that the Supreme Court should be viewed as the
                authoritative interpreter of the Constitution and that
                we should deem its decisions as binding on the other
                branches and levels of government....”                E.
                Chemerinsky, In Defense of Judicial Supremacy, 58
                WM. & MARY L. REV. 1459 (2017). The natural
                corollary to this view is that any opinion from any
                judge in any court in the country issued on any topic
                is the supreme law of the land, at least until overruled
                by a higher court.

                     Although judicial supremacy is viewed by some as
                “desirable because we want to have an authoritative
                interpreter of the Constitution,”24 it has no basis in the
                structure of the Constitution, which divides federal
                power — including the power to opine on the law —
                among the branches. Chemerinsky at 1459. And, as
                amici argued in their brief at the petition stage,
                officers of the executive and judicial branches are
                “each independently bound by oath to support the
                Constitution in the exercise of [their] respective


                24
                    This school of thought would require that, if this Court in
                District of Columbia v. Heller, 554 U.S. 570 (2008) had
                determined that “the right of the people” only referred to a right
                of the states to maintain the National Guard, overriding the
                Second Amendment’s clear text, the Court’s edict must be followed
                nationwide. History, however, teaches us that even this Court is
                not infallible.




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                powers.” Brief Amicus Curiae of Citizens United, et al.
                in Support of Petitioners (Dec. 6, 2018) at 8. These
                oaths are to follow the Constitution and the law as the
                oath taker understands it to be, not as the Ninth
                Circuit would advise it should be. This understanding
                stands in contrast to the Ninth Circuit’s view of “the
                judiciary [being] the branch ultimately responsible for
                interpreting the law....” Regents at 499.

                    President Andrew Jackson, in vetoing the national
                bank bill enacted by Congress, wrote that “[t]he
                Congress, the Executive, and the Court must each for
                itself be guided by its own opinion of the
                Constitution.... The opinion of the judges has no more
                authority over Congress than the opinion of Congress
                has over the judges, and on that point the President is
                independent of both.” Veto Message of the Bill on the
                Bank of the United States, reprinted in 50 Core
                American Documents at 166-67 (C. Burkett, ed.:
                Ashbrook Press: 2016). Likewise, in Federalist 49,
                Madison wrote that “[t]he several departments being
                perfectly co-ordinate by the terms of their common
                commission, neither of them, it is evident, can pretend
                to an exclusive or superior right of settling the
                boundaries between their respective powers....”25
                Finally, Thomas Jefferson wrote that “to consider the
                judges as the ultimate arbiters of all constitutional
                questions” is “a very dangerous doctrine indeed and
                one which would place us under the despotism of an




                25
                     J. Madison, Federalist No. 49, reprinted in The Federalist.




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                Oligarchy.”26 Petitioners agree, arguing that “as a
                coordinate Branch, the Executive has an independent
                duty to determine whether it lacks authority to act.”
                Pet. Br. at 50.

                    Thankfully, this Court need not resolve any such
                thorny and enduring constitutional disputes in this
                case. This case does not involve a disagreement
                between the branches as to what the law or
                Constitution requires the President to do (or not to
                do), but what the law permits him to do. As the
                Ninth Circuit has admitted, this case is not a situation
                where the agency has actually done anything unlawful
                or unconstitutional. Rather, this case involves a
                matter of executive discretion.

                    In forming the nation’s immigration policy, former
                Attorney General Sessions and DHS officials have
                relied upon their own opinions as to what the law and
                Constitution requires of them. They may be right, or
                they may be wrong, but it is not within the purview of
                the courts to weigh in every time another branch of
                government takes a position on a law or the
                Constitution, and then acts on that position.

                    The Ninth Circuit disagreed, claiming that “[t]he
                government may not simultaneously both assert that
                its actions are legally compelled, based on its
                interpretation of the law, and avoid review of that
                assertion by the judicial branch....” Regents at 486.
                But courts are not roving tribunals open to anyone

                26
                  Letter from Thomas Jefferson to William Charles Jarvis (Sept.
                28, 1820).




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                who might dispute the legality of government action or
                inaction. See Exodus 18:16. As Petitioners note, “the
                Executive is entitled to act on its view of the bounds of
                its enforcement discretion even if the courts might
                disagree.” Pet. Br. at 50-51.

                     Ironically, the Ninth Circuit does not accuse DHS
                officials of taking too expansive a view of the scope of
                executive authority, but rather too narrow a view. The
                Ninth Circuit may disagree with the assessment that
                DACA was wrongly implemented, but that does not
                consequently give rise to a power to have its say on the
                matter to set the record straight. In a case such as
                this, it is perfectly acceptable for President Trump and
                the Ninth Circuit to have different interpretations of
                the law. And, unlike many other times in our history,
                no constitutional crisis is created by DHS’s decision to
                end DACA contrary to the wishes of the Ninth Circuit.

                                   CONCLUSION

                    For the foregoing reasons, the decisions issued by
                the U.S. Court of Appeals for the Ninth Circuit and the
                U.S. District Court for the District of Columbia, and
                the order issued by the U.S. District Court for the
                Eastern District of New York granting an injunction,
                should be reversed.




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                                            Respectfully submitted,

                                            ROBERT J. OLSON*
                                            JEREMIAH L. MORGAN
                                            HERBERT W. TITUS
                                            WILLIAM J. OLSON
                                             WILLIAM J. OLSON, P.C.
                                             370 Maple Ave. W., Ste. 4
                                             Vienna, VA 22180
                                             (703) 356-5070
                                             wjo@mindspring.com
                                            Attorneys for Amici Curiae
                August 26, 2019             *Counsel of Record




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                             Nos. 18-587, 18-588, & 18-589

                  In the Supreme Court of the United States
                     U NITED S TATES D EPARTMENT OF H OMELAND
                           S ECURITY , ET AL ., PETITIONERS
                                           v.
                 R EGENTS OF THE U NIVERSITY OF C ALIFORNIA , ET AL .
                    ON WRIT OF CERTIORARI TO THE UNITED STATES
                      COURT OF APPEALS FOR THE NINTH CIRCUIT

                     D ONALD J. T RUMP , P RESIDENT OF THE U NITED
                             S TATES , ET AL ., PETITIONERS
                                            v.
                  N ATIONAL A SSOCIATION FOR THE A DVANCEMENT OF
                               C OLORED P EOPLE , ET AL .
                      ON WRIT OF CERTIORARI BEFORE JUDGMENT
                       TO THE UNITED STATES COURT OF APPEALS
                                FOR THE D . C . CIRCUIT

                 K EVIN K. M C A LEENAN , A CTING S ECRETARY OF H OME-
                         LAND S ECURITY , ET AL ., PETITIONERS
                                             v.
                      M ARTIN J ONATHAN B ATALLA V IDAL , ET AL .
                      ON WRIT OF CERTIORARI BEFORE JUDGMENT
                       TO THE UNITED STATES COURT OF APPEALS
                               FOR THE SECOND CIRCUIT

                 BRIEF FOR THE STATES OF TEXAS, ALABAMA,
                   ALASKA, ARIZONA, ARKANSAS, FLORIDA,
                   KANSAS, LOUISIANA, NEBRASKA, SOUTH
                    CAROLINA, SOUTH DAKOTA AND WEST
                 VIRGINIA, AND GOVERNOR PHIL BRYANT OF
                 MISSISSIPPI AS AMICI CURIAE IN SUPPORT OF
                                PETITIONERS

                             Counsel Listed on Inside Cover




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                 KEN PAXTON                  KYLE D. HAWKINS
                 Attorney General of Texas   Solicitor General
                                              Counsel of Record
                 JEFFREY C. MATEER
                 First Assistant
                                             MATTHEW H. FREDERICK
                  Attorney General
                                             Deputy Solicitor General
                                             ARI CUENIN
                                             LANORA C. PETTIT
                                             Assistant Solicitors General
                                             OFFICE OF THE
                                               ATTORNEY GENERAL
                                             P.O. Box 12548 (MC 059)
                                             Austin, Texas 78711-2548
                                             kyle.hawkins@oag.texas.gov
                                             (512) 936-1700




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                             QUE STIONS P RESENTED
                     1. Whether the Department of Homeland Security
                (DHS)’s decision to wind down the DACA policy is judi-
                cially reviewable.
                     2. Whether the DHS’s decision to wind down the
                DACA policy is lawful.




                                         (I)




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                             INTEREST OF AMIC I CURIAE
                     Amici curiae are the States of Texas, Alabama,
                Alaska, Arizona, Arkansas, Florida, Kansas, Louisiana,
                Nebraska, South Carolina, South Dakota, and West Vir-
                ginia, and Governor Phil Bryant of Mississippi.1
                     The present lawsuits have forced the Executive to
                retain an unlawful “deferred action” program known as
                DACA. The administration is correct that DACA is un-
                lawful: DACA operates contrary to substantive immigra-
                tion law by affirmatively conferring “lawful presence”
                status and work-authorization eligibility on over 1.7 mil-
                lion unlawfully present aliens. DACA is thus materially
                identical to two programs (Expanded DACA and DAPA,
                see infra n.5) that were invalidated by the Fifth Circuit
                in a ruling affirmed by an equally divided vote of this
                Court. See Texas v. United States, 809 F.3d 134, 172, 184-
                86 (5th Cir. 2015), aff’d by an equally divided court, 136
                S. Ct. 2271 (2016) (per curiam) (Texas I).
                     DACA, like the programs held unlawful in Texas I,
                inflicts ongoing irreparable harm on the States. For ex-
                ample, amici “bear the costs of providing . . . social ser-
                vices required by federal law,” including healthcare, ed-
                ucation, and law-enforcement. Texas v. United States,
                328 F. Supp. 3d 662, 700 (S.D. Tex. 2018) (Texas II).
                “[B]ecause DACA increases the total number of aliens in

                1
                  Pursuant to Supreme Court Rule 37.6, amici state that no
                counsel for any party authored this brief, in whole or in part,
                and no person or entity other than amici contributed monetar-
                ily to its preparation or submission. The parties consent to the
                filing of this brief.


                                              (1)




                                                                                   AR4638
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                the States by disincentivizing those already present from
                leaving, the States must provide more . . . social services,
                which cost more.” Id. According to an expert retained by
                DACA’s defenders in Texas II, Texas alone “incurs more
                than $250,000,000 in total direct costs from DACA recip-
                ients per year.” Id. at 700-01.
                     To seek redress for these injuries, a group of States,
                led by Texas, notified the federal government that it
                would challenge DACA on the same bases that suc-
                ceeded as to DAPA and Expanded DACA unless the fed-
                eral government rescinded DACA. AR 238-40.2 In re-
                sponse, the Executive issued the September 2017 memo-
                randum at issue here announcing DACA’s rescission.
                Based on the memorandum, Texas and the other States
                agreed to dismiss their pending lawsuit. Pls.’ Stip. of Vol-
                untary Dismissal at 1, Texas v. United States, No. 1:14-
                cv-254 (S.D. Tex. Sept. 12, 2017), ECF No. 473. But DACA
                was not wound down. DACA’s rescission was enjoined,
                and the Texas-led coalition ultimately filed suit seeking a
                declaration that DACA was unlawful. Texas II, 328 F.
                Supp. 3d 662.
                     This case thus directly implicates the States’ effort
                to bring about an orderly end to DACA and threatens to
                continue the numerous harms inflicted on the States by
                this lawless program.
                              S UM MA RY O F A RGU ME N T
                  I. The courts below erred by concluding that
                DACA was lawful. The Executive decided to wind down

                2
                 AR cites the Administrative Record, filed as Notice of Filing
                Administrative Record, Regents of the University of Califor-
                nia v. United States Department of Homeland Security, No.
                3:17-cv-5211-WHA (N.D. Cal. Oct. 6, 2017), ECF No. 64-1.




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                DACA after a new administration concluded that DACA
                was unlawful for the reasons affirmed by the Court in
                Texas I, or at least that DACA would likely be held
                unlawful, creating significant litigation risk if the
                program continued. Pet. App. 114a-18a.3
                     Respondents in these consolidated cases argue that
                rescinding DACA was arbitrary and capricious because
                the Executive’s conclusion that DACA was unlawful was
                incorrect or insufficiently explained. The courts below
                and the Fourth Circuit have agreed. E.g., Regents of the
                Univ. of Cal. v. U.S. Dep’t of Homeland Sec., 908 F.3d
                476, 494-504 (9th Cir. 2018) (Regents); CASA de Md. v.
                U.S. Dep’t of Homeland Sec., 924 F.3d 684, 697-701 (4th
                Cir. 2019).4 As the multistate coalition litigating Texas II
                has demonstrated, the Executive was correct for several
                reasons. Amici will focus on two that demonstrate the
                fundamental misunderstandings of law underlying the
                decisions under review.
                     A. DACA is substantively unlawful because it
                exceeds the scope of authority delegated to the
                Executive by the INA. As the Court has repeatedly
                recognized, the power to establish when aliens are law-
                fully present is “entrusted exclusively to Congress,”
                which has enacted “extensive and complex” statutes gov-
                erning (among other things) lawful presence. Arizona v.
                United States, 567 U.S. 387, 395, 409 (2012) (quotation

                3
                 Pet. App. cites the Appendix to the Petition for a Writ of Cer-
                tiorari Before Judgment in United States Department of
                Homeland Security v. Regents of the University of California,
                No. 18-587 (S. Ct. filed Nov. 5, 2018).
                4
                 Although CASA de Maryland has not been consolidated with
                this case, it presents the same threshold legal issues.




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                marks omitted). Congress delegated limited rule-making
                authority to the Executive, which DACA exceeds.
                    Congress has never given the Executive carte
                blanche to grant lawful presence to any alien it chooses
                not to remove, let alone benefits including work
                authorization, health care, unemployment, and a
                pathway to citizenship. To the contrary, Congress en-
                acted the Immigration Reform and Control Act (IRCA)
                in 1986 “as a comprehensive framework for combating
                the employment of illegal aliens.” Id. at 404 (quotation
                marks omitted). Congress has defined numerous catego-
                ries of aliens entitled to or eligible for work authoriza-
                tion. Entirely absent are the aliens covered by DACA.
                DACA contradicts those mandates and would render
                Congress’s detailed provisions surplusage.
                    B. Even if the Court were to conclude that DACA is
                substantively lawful, DACA is procedurally invalid be-
                cause it seeks to change this nation’s immigration law
                without following the APA’s notice-and-comment proce-
                dure. For forty years, this Court has held that any “sub-
                stantive” agency rule that “affect[s] individual rights and
                obligations” must go through the notice-and-comment
                procedures established by the APA. Chrysler Corp. v.
                Brown, 441 U.S. 281, 302 (1979). DACA falls within this
                category of “substantive” rules because it sets criteria by
                which more than a million unlawfully present aliens may
                seek access to numerous benefits. Morton v. Ruiz, 415
                U.S. 199, 231 (1974). Moreover, DACA imposes extensive
                obligations on States to provide social services to an
                entire class of people. Assuming such changes could be
                adopted without congressional action, they could not be
                adopted without APA notice and comment.




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                    Plaintiffs cannot avoid this commonsense conclusion
                by asserting that DACA is merely a “general policy
                statement,” which leaves signficant discretion to the
                Executive. As the Fifth Circuit noted in Texas I, DACA
                and its Operating Procedures “contain nearly 150 pages
                of specific instructions for granting or denying deferred
                action.” 809 F.3d at 173 (alterations omitted). Such a
                system affords line-level employees at the Department
                of Homeland Security (DHS) little practical discretion,
                belying the notion that DACA is a “general policy
                statement” without binding effect.
                    II. Three circuit courts have now examined the
                sweeping changes to American immigration law effected
                by the creation of DACA (or the closely related
                Expanded DACA and DAPA programs5), and two of
                them have considered DACA’s rescission. Texas I, 809
                F.3d at 163-70; Regents, 908 F.3d at 494-504; CASA de
                Md., 924 F.3d at 697-701. These courts agree that these
                Executive actions were rules subject to judicial review.
                This conclusion follows the text of the Immigration and
                Nationality Act (INA), the Administrative Procedure
                Act (APA), and this Court’s precedent.
                    III. Because DACA exceeded DHS’s authority
                under the INA and was promulgated without notice and
                comment, it was never a valid legislative rule. It cannot

                5
                  DHS announced DACA in 2012 to grant lawful presence to
                aliens who arrived in this country as children. In 2014, DHS
                expanded DACA to cover additional aliens and lengthen the
                lawful-presence period for aliens awarded relief. At the same
                time, DHS created the DAPA program to provide lawful pres-
                ence for unlawfully present aliens with children who were ei-
                ther U.S. citizens or lawful permanent residents. See Texas I,
                809 F.3d at 147-49.




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                be arbitrary or capricious for the Executive to rescind a
                program that was both substantively and procedurally
                unlawful. Indeed, such a rule is incompatible with our
                constitutional system, which imposes on the President an
                obligation “that the Laws be faithfully executed.” U.S.
                Const. art. II, § 3.
                                      A R GU MEN T
                I.   DACA Is Unlawful.
                    DACA effected one of the largest shifts in immigra-
                tion policy in American history, granting “lawful pres-
                ence” to hundreds of thousands of unlawfully present al-
                iens. That policy shift occurred without public input be-
                cause the Executive bypassed APA notice-and-comment
                procedures. And it violated substantive immigration
                laws duly enacted by Congress.
                    On June 29, 2017, an 11-state coalition, led by Texas,
                sent a letter to the federal government proposing a
                DACA wind-down to end the Texas I litigation challeng-
                ing the Executive’s ability to unilaterally confer lawful
                presence and work authorization. AR 238-40. At that
                time, Texas I challenged only DAPA and Expanded
                DACA, but the coalition informed the Attorney General
                that it would expand the case if DACA were not wound
                down. AR 239-40. This letter explained how the legal ar-
                guments that the Fifth Circuit, and ultimately this
                Court, sustained against DAPA applied equally to
                DACA. AR 238-39.6

                6
                  Also available to the Attorney General was an amicus brief
                filed before this Court, Br. for the States of Texas et al.,
                Brewer v. Ariz. Dream Act Coal., No. 16-1180, 2017 WL
                1629324 (U.S. May 1, 2017), which explained that DACA was
                unlawful for the same substantive and procedural infirmities




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                     The letter persuaded DHS that DACA is unlawful.
                DHS effectively acceded to Texas’s request “after con-
                sulting with the Attorney General, and considering the
                likelihood of success on the merits of the ongoing litiga-
                tion.” AR 254. On September 5, 2017, Acting DHS Sec-
                retary Elaine C. Duke issued a memorandum stating
                that the “DACA program should be terminated” in light
                of the “rulings in the ongoing litigation.” AR 255. In par-
                ticular, Secretary Duke invoked the Fifth Circuit’s deci-
                sion in Texas I, which concluded that DAPA “conflicted
                with the discretion authorized by Congress” because the
                INA “‘flatly does not permit the reclassification of mil-
                lions of illegal aliens as lawfully present,’” and that “im-
                plementation of the program did not comply with the
                [APA] because the Department did not implement it
                through notice-and-comment rulemaking.” AR 253-54
                (quoting Texas I, 809 F.3d at 184). Secretary Kristjen M.
                Nielsen issued a separate memorandum on June 22, 2018
                further explaining the Agency’s conclusion that DACA
                was unlawful and should be discontinued for policy rea-
                sons. Pet. App. 120a-126a.
                     DHS’s conclusion was correct. For the reasons
                Texas presented in the letter and successfully litigated
                in the Southern District of Texas, DACA is substantively
                and procedurally unlawful.




                found in Texas I regarding Expanded DACA and DAPA, see
                Br. for State Respondents at 44-70, United States v. Texas,
                136 S. Ct. 2271 (2016) (No. 15-674), 2016 WL 1213267.




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                    A. DACA contravenes Congress’s extensive
                       immigration-enforcement scheme.
                    DACA is substantively unlawful for the same rea-
                sons the Fifth Circuit held Expanded DACA and DAPA
                unlawful. The Fifth Circuit assumed without deciding
                that the standard set forth in Chevron, U.S.A., Inc. v.
                NRDC, 467 U.S. 837 (1984), controlled the review of
                DAPA. Texas I, 809 F.3d at 178-79 & n.159. Under Chev-
                ron’s familiar two-part test, a court must defer to an
                agency’s interpretation of its own statute if the text of
                the statute is ambiguous and the agency’s interpretation
                is reasonable. Chevron, 467 U.S. at 844. DACA, like
                DAPA, fails Chevron at either step: Congress has unam-
                biguously spoken to the precise questions at issue, id. at
                842-43; Texas I, 809 F.3d at 185-86. And a program that
                is “manifestly contrary” to Congress’s statutory scheme
                is necessarily unreasonable. United States v. Mead
                Corp., 533 U.S. 218, 227 (2001); Texas I, 809 F.3d at 186.
                        1.   DACA contravenes Congress’s extensive
                             statutory framework for lawful presence.
                    DACA violates Congress’s extensive statutory
                framework defining when aliens are lawfully present in
                the country. Beneficiaries under DACA receive so-called
                “[d]eferred action,” which in this context “means that,
                for a specified period of time, an individual is permitted
                to be lawfully present in the United States.” Texas I, 809
                F.3d at 168 & n.107 (quoting executive memo extending
                DACA’s deferred-action period from two to three
                years).7

                7
                 The Executive has repeatedly explained that under DACA,
                “while [an applicant’s] deferred action is in effect,” the alien is




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                     DACA’s purported grant of lawful presence violates
                the INA. As the Fifth Circuit explained in Texas I, the
                “INA flatly does not permit the [Executive to deem] al-
                iens as lawfully present and thereby make them newly
                eligible for a host of federal and state benefits.” 809 F.3d
                at 184. The Executive has no power to unilaterally create
                immigration classifications that authorize aliens’ pres-
                ence in this country because “the INA expressly and
                carefully provides legal designations allowing defined
                classes of aliens to be lawfully present.” Id. at 179.8
                     a. “Policies pertaining to the entry of aliens and their
                right to remain here are . . . entrusted exclusively to Con-
                gress”—not the Executive. Arizona, 567 U.S. at 409; see
                U.S. Const. art. I, § 8, cl. 4. Congress has accordingly en-
                acted “extensive and complex” statutory provisions gov-
                erning when aliens may be lawfully present in the coun-
                try. Arizona, 567 U.S. at 395; accord Texas I, 809 F.3d at
                179.
                     Congress has delineated over 40 classes of lawfully
                present aliens. See Texas I, 809 F.3d at 179. The INA

                “considered to be lawfully present in the United States.”
                USCIS,            Frequently         Asked          Questions,
                https://www.uscis.gov/humanitarian/consideration-deferred-
                action-childhood-arrivals-process/frequently-asked-questions
                (last visited July 20, 2019). The Executive has even described
                DACA recipients as having “lawful status.” U.S. Br. as Amicus
                Curiae in Opp. to Reh’g En Banc 16, Ariz. Dream Act Coal. v.
                Brewer, 757 F.3d 1053 (9th Cir. 2014) (No. 13-16248).
                8
                 DACA also violates the Take Care Clause, U.S. Const. art.
                II, § 3, because DACA “dispens[es]” with certain immigration
                statutes. Kendall v. United States, 37 U.S. 524, 613 (1838); See
                Zachary Price, Enforcement Discretion and Executive Duty,
                67 V AND . L. R EV . 671, 676, 690-91 (2014).




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                creates two primary categories of aliens permitted to be
                present in the country:
                      Aliens admitted as “nonimmigrant” aliens, who
                       receive temporary permission to be lawfully pre-
                       sent according to one of several visa categories, 8
                       U.S.C. § 1101(a)(15)(A)-(V); and
                      Aliens admitted under “immigrant” visas, who
                       have lawful permanent residence (LPR) status,
                       commonly known as possessing “green cards,” id.
                       §§ 1101(a)(20), 1151, 1153, 1181.
                Congress also created other avenues to lawful presence,
                such as admission as a refugee, id. §§ 1157, 1159, asylum,
                id. § 1158, and humanitarian “parole” into the country,
                id. § 1182(d)(5)(A).
                     By contrast, “unlawful presence” is defined as an al-
                ien’s presence in the United States “after the expiration
                of the period of stay authorized by the [Executive] or
                presen[ce] in the United States without being admitted
                or paroled.” Id. § 1182(a)(9)(B)(ii) (emphasis added). Of
                course, an alien’s unlawful presence does not automati-
                cally mean that he will be removed. Congress has im-
                posed several statutory limitations on removal. E.g., id.
                §§ 1229b (cancellation of removal), 1231(b)(3) (withhold-
                ing of removal). And, due to limited enforcement re-
                sources, the Executive generally has “discretion to aban-
                don” removal proceedings on a “case-by-case basis”—
                forbearance rooted in prosecutorial discretion and tradi-
                tionally called “deferred action.” Reno v. Am.-Arab Anti-
                Discrimination Comm., 525 U.S. 471, 483-84 & n.8
                (1999) (AADC). But this traditional conception of de-
                ferred action is far removed from “deferred-action sta-
                tus” as DACA defines it: granting lawful presence on a




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                systematic basis to potentially over one million otherwise
                unlawfully present aliens.
                     To be sure, there are four narrow contexts in which
                Congress has decided to grant lawful presence to certain
                categories of unlawfully present aliens. These include
                (1) certain aliens seeking relief under the Violence
                Against Women Act, (2) immediate family members of
                LPRs killed by terrorism or (3) in combat, and (4) appli-
                cants for T- and U- visas denied an administrative stay.
                See Texas II, 328 F. Supp.3d at 717 n.78 (collecting stat-
                utes). But no such legislation covers unlawfully present
                aliens who entered the country as minors. Indeed, as dis-
                cussed further below (at 25 & n.17), such legislation has
                been repeatedly proposed and rejected.
                     b. DACA also flouts four statutory mechanisms that
                Congress enacted to discourage aliens from being unlaw-
                fully present in the country.
                     First, the lawful presence granted by DACA negates
                Congress’s determination that an alien is removable as
                either “present in the United States in violation of [fed-
                eral law],” 8 U.S.C. § 1227(a)(1)(B); or present “without
                being admitted or paroled,” id. § 1182(a)(6)(A)(i). That is
                because once an alien has enrolled in the DACA pro-
                gram, the Executive treats him as though he were not
                “present in the United States without being admitted or
                paroled.” See Pet. Br. at 9 n.3, Texas, 136 S. Ct. 2271 (No.
                15-674), 2016 WL 836758.
                     Second, DACA vitiates the INA’s reentry bar. Con-
                gress directed that, depending on the total time that an
                alien is “unlawfully present” in the country, an alien may
                not reenter the country legally for three or ten years af-
                ter departure. 8 U.S.C. § 1182(a)(9)(B)(i). But DACA
                stops the reentry-bar clock by granting lawful presence




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                to unlawfully present aliens. Texas I, 809 F.3d at 166
                n.99.
                     Ordinarily the reentry-bar clock starts when an alien
                crosses the border “without being admitted or paroled.”
                8 U.S.C. § 1182(a)(9)(B)(ii). The INA allows the Presi-
                dent to stop that clock by granting humanitarian “pa-
                role,” but only in very limited circumstances. Id.
                § 1182(d)(5)(A). The INA does not authorize the Execu-
                tive to stop this clock for any alien of its choosing based
                on the Executive’s priorities for removal proceedings—
                yet that is what DACA seeks to effect.
                     Third, DACA gives unlawfully-present aliens a path-
                way to citizenship that Congress has disallowed. For an
                alien to be eligible to adjust to permanent-resident sta-
                tus (and ultimately citizenship), the alien must be law-
                fully “admitted or paroled into the United States.” Id.
                § 1255(a). Unlawfully present aliens who depart the
                country, however, are generally inadmissible upon re-
                turn. See id. § 1182(a)(9)(B).
                     DACA status gives aliens access to “advance pa-
                role,” an Executive practice that allows them to leave and
                reenter the country lawfully.9 Cf. id. § 1182(d)(5)(A). Ad-
                vanced parole allows an otherwise inadmissible alien to
                be “admitted” into the country, removing a significant

                9
                 See Letter from León Rodríguez, Dir., USCIS, to Sen. Grass-
                ley 1 (June 29, 2016), available at https://www.judiciary.sen-
                ate.gov/imo/media/doc/2016-06-29 USCIS to CEG - DACA Ad-
                vance Parole Program.pdf; Deferred Action for Childhood Ar-
                rivals (DACA) Toolkit 23-24, Texas v. United States, 86 F.
                Supp. 3d 591 (S.D. Tex. 2015) (No. 1:14-cv-254), ECF No. 38-
                6; Letter from León Rodríguez, Dir., USCIS, to Sen. Grassley
                3-4 (Oct. 9, 2014), Texas, 86 F. Supp. 3d 591 (No. 1:14-cv-254),
                ECF No. 64-48.




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                barrier to seeking LPR status. DACA thereby “enable[s]
                certain individuals to change their inadmissible status
                (due to unlawful entry) into an admitted/paroled cate-
                gory.” Texas I, 809 F.3d at 720. Having been paroled into
                the country, the alien can seek LPR status.10
                     As of August 2017, approximately 1,056 DACA re-
                cipients had been given citizenship and approximately
                39,514 DACA recipients had been given green cards, the
                first step on the pathway to citizenship. See Motion for
                Preliminary Injunction, App. 12, Texas v. United States
                (S.D. Tex. May 2, 2018) (1:18-cv-68), ECF No. 6, Exh. 3.
                DACA thus “directly undermines the intent and deter-
                rent effect intended by Congress, and contradicts the ex-
                press wording of the DACA program’s instituting mem-
                orandum.” Texas II, 328 F. Supp. 3d at 720.
                     Fourth, DACA makes otherwise unlawfully present
                aliens eligible for Social Security, Medicare, and the
                Earned Income Tax Credit. But in 1996, Congress elim-
                inated most federal benefits for unlawfully present al-
                iens. As part of welfare-reform legislation, Congress de-
                clared that only those with “lawful presence” are eligible
                for specified benefits. As relevant here, Congress re-
                quired aliens to be “lawfully present in the United




                10
                  Under DACA’s detailed procedures, officials were to inter-
                pret access to this benefit very broadly. See U.S. Dep’t of
                Homeland Sec., DACA Nat’l Standard Operating Procedures
                139-42 (2013). Under these procedures, work-related confer-
                ences, semester-abroad programs and job interviews would all
                count as “urgent humanitarian” reasons to travel abroad,
                which would provide “significant public benefit.” Id. at 135.




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                States” to obtain Social Security, Medicare, and another
                retirement benefit. 8 U.S.C. § 1611(b)(2)-(4).11
                      DACA purports to re-enable access to those bene-
                fits. See 8 C.F.R. § 1.3(a)(4)(vi); 45 C.F.R. § 152.2(4)(vi).12
                Yet extensive statutory criteria define when an alien’s
                presence is lawful, and these provisions do not mention
                discretion to deem any alien in the country lawfully pre-
                sent. See supra pp. 8-11. DACA thus does what Congress
                prohibited in 1996: It authorizes benefits for aliens, not
                because their presence is authorized by Congress, but
                simply because the Executive is forbearing from re-
                moval.
                       2.   DACA contravenes statutes defining which
                            aliens are authorized to work in this
                            country.
                    Likewise, DACA’s conferral of work authorization
                violates substantive immigration law.

                11
                   The legislative history confirms that those whom the Exec-
                utive granted deferred removal, previously eligible for such
                benefits as “[p]ersons residing under color of law,” would no
                longer be eligible for those benefits because they were to “be
                considered to be aliens unlawfully present in the United
                States.” H.R. Rep. No. 104-725, at 383 (1996) (Conf. Rep.), re-
                printed in 1996 U.S.C.C.A.N. 2649, 2771. Congress recognized
                “approved deferred action status,” i.e., the four programs that
                it had approved, as a lawful status when it passed the Real ID
                Act of 2005 without returning to the status quo ante. See Pub.
                L. No. 109-13 § 202(c)(2)(B)(viii), 119 Stat. 231, 313.
                12
                  In addition to these federal benefits, lawful presence under
                DACA also makes aliens eligible under some state laws for
                benefits, such as driver’s licenses, e.g., Tex. Transp. Code
                § 521.142(a), and unemployment insurance, e.g., Tex. Lab.
                Code § 207.043(a)(3).




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                     a. Congress has imposed numerous restrictions to
                discourage the employment of unauthorized aliens. In
                1986, IRCA created “a comprehensive framework for
                ‘combating the employment of illegal aliens.’” Arizona,
                567 U.S. at 404 (quoting Hoffman Plastic Compounds,
                Inc. v. NLRB, 535 U.S. 137, 147 (2002)). Breaking with
                previous law, Congress created penalties for employers
                who hire “unauthorized aliens.”13 8 U.S.C. § 1324a(a), (f);
                see Texas I, 809 F.3d at 181 & n.174. Unauthorized em-
                ployment also generally makes aliens ineligible to adjust
                to LPR status, 8 U.S.C. § 1255(c)(2), or to toll the unlaw-
                ful-presence clock under the INA’s reentry bar, id.
                § 1182(a)(9)(B)(iv).
                     b. As with lawful presence, Congress has not given
                the Executive free rein to grant work authorization. In-
                stead, Congress has intricately defined which aliens are
                authorized for employment in the country.
                     In particular, Congress has chosen to authorize em-
                ployment as to about 20 nonimmigrant-visa categories.
                E.g., id. § 1101(a)(15)(H) (temporary employment for de-
                fined specialty occupations), (P) (entertainment work).14

                13
                  The INA defines “unauthorized alien” to include aliens who
                are neither LPRs nor “authorized to be so employed by [the
                INA] or by the [Executive].” 8 U.S.C. § 1324a(h)(3)(B). The
                section does not address the scope of the Executive’s dele-
                gated work-authorization power. Texas I, 809 F.3d at 183 &
                n.185. It merely tells employers that they can rely on work
                authorization conferred by statute or by the Executive without
                fear of liability for hiring “unauthorized aliens.” 8 U.S.C.
                § 1324a(a).
                14
                  See also USCIS, How Do I Change to Another Nonimmi-
                grant Status? 2 (Jan. 2016), https://www.uscis.gov/sites/de-
                fault/files/USCIS/Resources/C2en.pdf.




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                In addition, Congress has required the Executive to au-
                thorize employment of other categories of aliens, includ-
                ing:
                      Asylum holders, id. § 1158(c)(1)(B);
                      Aliens granted temporary protected status, id.
                        § 1254a(a)(1)(B);
                      Aliens granted and applying for relief under
                        IRCA, id. § 1255a(b)(3), (e)(1)-(2);
                      Aliens granted “Family Unity” under the Immi-
                        gration Act of 1990, Pub. L. No. 101-649, tit. III,
                        § 301, 104 Stat. 4978, 5029 (codified as amended
                        at 8 U.S.C. § 1255a note).
                     Congress has further provided that aliens in certain
                categories are “eligible” for or “may” receive work au-
                thorization from the Executive. Those categories in-
                clude:
                      Asylum applicants, 8 U.S.C. § 1158(d)(2);
                      Certain battered spouses of nonimmigrants, id.
                        § 1105a(a);
                      Certain agricultural worker preliminary appli-
                        cants, id. § 1160(d)(3)(A);
                      Certain nationals applying for status adjust-
                        ment, Haitian Refugee Immigration Fairness
                        Act of 1998, Pub. L. No. 105-277, div. A, § 101(h),
                        tit. IX, § 902(c)(3), 112 Stat. 2681-538, 2681-539;
                        Nicaraguan Adjustment and Central American
                        Relief Act, Pub. L. No. 105-100, tit. II, § 202(c)(3),
                        111 Stat. 2160, 2193, 2195 (1997);
                      Deferred-action U-visa applicants, 8 U.S.C.
                        § 1184(p)(6); id. § 1227(d)(1)-(2);
                      Deferred-action family members of LPRs killed
                        on September 11, 2001, USA PATRIOT Act of




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                         2001, Pub. L. No. 107-56, tit. IV, § 423(b)(1)-(2),
                         115 Stat. 272, 361;
                       Deferred-action family members of U.S. citizens
                         killed in combat, National Defense Authorization
                         Act for Fiscal Year 2004, Pub. L. No. 108-136, tit.
                         XVII, § 1703(c)(2), 117 Stat. 1392, 1694-95; and
                       Deferred-action Violence Against Women Act
                         self-petitioners and family members, 8 U.S.C.
                         § 1154(a)(1)(D)(i)(II), (IV), (a)(1)(K).
                     Congress, in short, has carefully set out which aliens
                are eligible to work. And it has likewise prohibited em-
                ployment of aliens who “either entered the country ille-
                gally, or are in an immigration status which does not per-
                mit employment.” H.R. Rep. No. 99-682(I), at 46, 51-52
                (1986), reprinted in 1986 U.S.C.C.A.N. 5649, 5650, 5655-
                56.15
                     Except as set out above, Congress has not granted
                the Executive the power to unilaterally grant work au-
                thorization. And in light of Congress’s “comprehensive
                framework,” Arizona, 567 U.S. at 404, there is no basis
                to infer such a grant of power to the Executive. If there
                were, then Congress’s detailed work-authorization pro-
                visions would be surplusage. See Bd. of Trs. of Leland
                Stanford Jr. Univ. v. Roche Molecular Sys., Inc., 563
                U.S. 776, 788 (2011).



                15
                  A regulation, 8 C.F.R. § 274a.12(c)(14), makes work author-
                ization available on a case-by-case basis to aliens granted “de-
                ferred action” who “establish[] an economic necessity.” To the
                extent this provision would cover aliens outside the four cate-
                gories of deferred-action recipients that Congress made eligi-
                ble for work authorization, it too is invalid.




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                    It makes good sense that Congress would keep tight
                control over alien work authorization, because work au-
                thorization brings a host of other benefits. For example,
                aliens’ receipt of work authorization connotes that their
                “status is so changed as to make it lawful for them to en-
                gage in such employment,” thus allowing a Social Secu-
                rity number to issue. 42 U.S.C. § 405(c)(2)(B)(i)(I); ac-
                cord 20 C.F.R. § 422.104(a)(2). And with a Social Security
                number comes eligibility for Social Security benefits and
                the valuable Earned Income Tax Credit. Texas I, 809
                F.3d at 149 & n.18; see 26 U.S.C. § 32(c)(1)(E), (m); 42
                U.S.C. §§ 402(a)-(h), 414(a). IRCA made clear that these
                generous benefits should be available only to a discrete
                category of aliens. In overriding that determination,
                DACA grants those benefits far more broadly than Con-
                gress permitted.
                       3.   Neither historical practice nor other
                            Executive programs can cure DACA’s
                            unlawfulness.
                     Unable to point to any statutory language or legisla-
                tive history authorizing DACA, its defenders try to jus-
                tify the program based on past executive actions. In par-
                ticular, they point to opinion letters and legal briefs as-
                serting the legality of classic deferred action, Principal
                and Response Brief of Appellees the Regents of the Uni-
                versity of California, Janet Napolitano, and City San
                Jose at 46-47, Regents, 908 F.3d 476 (9th Cir. 2018) (No.
                18-15068), 2018 WL 1414352, and instances when the “ex-
                ecutive branch has provided blanket or categorical defer-
                rals of deportation.” Regents, 908 F.3d at 488 (quotation
                marks omitted). The Court should reject that argument
                for four reasons.




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                     First, “historical practice . . . ‘does not, by itself, cre-
                ate power.’” Texas I, 809 F.3d at 184 & n.193 (quoting
                Medellin v. Texas, 552 U.S. 491, 532 (2008)). This alone
                forecloses any attempt to justify DACA based on past
                practice.
                     Second, the leading historical example on which the
                Ninth Circuit relied, the 1990 Family Fairness program,
                is inapposite. Regents, 908 F.3d at 489. That program of-
                fered “extended voluntary departure,” see 8 U.S.C.
                §§ 1252(b), 1254(e) (1988), to about 1% of the country’s
                unlawfully present aliens (about 47,000 people), David
                Hancock, Few Immigrants Use Family Aid Program,
                MIAMI HERALD, Oct. 1, 1990, at 1B. But it did so through
                a form of Executive forbearance specifically authorized
                by Congress at the time, which the Executive inter-
                preted to allow it to grant removable aliens an indefinite
                period to “depart voluntarily” from the United States.
                Congress took that power away in 1996. 8 U.S.C.
                § 1229c(a)(2)(A).
                     Likewise, other historical programs preceding
                DACA where the Executive forbore from removing clas-
                ses of aliens were supported by statutory authorization
                that Congress has either curtailed or declined to extend
                to DACA recipients. These include forms of “parole,”
                which previously had been left to the “discretion” of the
                Executive. Id. § 1182(d)(5)(A) (1952). Congress limited
                the Executive’s statutory parole authority in 1996 to hu-
                manitarian parole, which may be granted only “on a case-
                by-case basis,” and only “for urgent humanitarian rea-
                sons or significant public benefit.” See id.
                § 1182(d)(5)(A).
                     Third, no relevant historical practice supports
                DACA’s work authorization. No practice preceding




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                IRCA in 1986 is relevant because there was no general
                federal ban on hiring unauthorized aliens.
                     Post-1986, Congress has never amended IRCA’s
                definition of “unauthorized alien” in 8 U.S.C.
                § 1324a(h)(3). Congress has thus consistently maintained
                its general prohibition against “employment of aliens”
                who “entered the country illegally.” H.R. Rep. No. 99-
                682(I), at 46, 1986 U.S.C.C.A.N. at 5650. Congress rein-
                forced that position in 1996 by eliminating the basis for
                work authorization provided under programs like the
                1990 Family Fairness program.
                     The Executive did promulgate a post-IRCA work-
                authorization regulation that covered a few categories of
                aliens. E.g., 8 C.F.R. § 274a.12(c)(9)-(10), (c)(14), (c)(16).
                But most aliens who received work authorization under
                that regulation already had lawfully present status via,
                for example, a nonimmigrant visa. E.g., id. § 274a.12(a).
                While the regulation did grant work-authorization eligi-
                bility to some deferred-action recipients who fell outside
                the four narrow contexts in which IRCA deemed de-
                ferred-action recipients eligible for work authorization,
                see supra p. 11, that eligibility applied to an exceedingly
                small number of aliens. See 52 Fed. Reg. 46,092, 46,092-
                93 (Dec. 4, 1987) (number of aliens covered was so small
                as “to be not worth recording statistically” and “the im-
                pact on the labor market is minimal”); see also Texas, 86
                F. Supp. 3d 591, 639 n.46 (only 500-1,000 aliens received
                deferred action annually from 2005-2010, before DACA).
                The amici States doubt the validity of that action, but
                even if it were lawful, it cannot show congressional acqui-
                escence to a massive new program like DACA.
                     Fourth, previous grants of deferred action outside
                the categories authorized by Congress “are not




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                analogous to [DACA].” Texas I, 809 F.3d at 184. In par-
                ticular, “many of the previous programs were bridges
                from one legal status to another, whereas [DACA]
                awards lawful presence to persons who have never had a
                legal status and may never receive one.” Id. (footnotes
                omitted); see Josh Blackman, The Constitutionality of
                DAPA Part I: Congressional Acquiescence to Deferred
                Action, 103 GEO. L.J. ONLINE 96, 119-25 (2015) (histori-
                cal overview); see also Pet. Br. at 46-49 (discussing prior
                executive actions). Unlike earlier stop-gap measures de-
                signed to facilitate congressional policies see Texas I, 809
                F.3d at 184-85 & nn.195, 197, DACA flouts Congress’s
                scheme for conferring lawful presence. See Br. for State
                Respondents at 59 n.47, Texas, supra (listing lawful-sta-
                tus paths for past deferred-action programs).16
                     B. DACA is procedurally unlawful because it was
                        promulgated contrary to the APA’s
                        requirements.
                    Even if DACA were consistent with the INA, it
                would still be invalid because it was promulgated without
                notice-and-comment rulemaking. DACA is indisputably
                a “rule” for APA purposes. 5 U.S.C. § 551(4). If DACA
                created a “substantive” or “legislative” rule, it had to go

                16
                  The courts below have also upheld DACA on the grounds
                that (1) DACA affects fewer people than DAPA, and (2) DACA
                creates a pathway to citizenship rather than simply making it
                easier as DAPA did. E.g., Regents, 908 F.3d at 507-09. This too
                was in error. Util. Air Regulatory Grp. v. EPA, 573 U.S. 302,
                325-28 (2014) (holding that limitations on unlawful regulatory
                overreach cannot be justified as interpretive rules); see also
                Pet. Br. at 35-37 (explaining why those distinctions do not sup-
                port DACA’s legality).




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                through the notice-and-comment procedure unless it was
                subject to an exception. Id. § 553(b); Texas I, 809 F.3d at
                171. DACA’s defenders have argued that DACA is ex-
                empt from notice-and-comment rule making because
                DACA is a “general policy statement” rather than a
                “substantive rule.” But settled law confirms the opposite.
                     A rule is “substantive” if it either (1) “affect[s] indi-
                vidual rights and obligations,” Morton, 415 U.S. at 232;
                or (2) does not “genuinely leave[] the agency and its de-
                cisionmakers free to exercise discretion,” Am. Bus.
                Ass’n v. United States, 627 F.2d 525, 529 (D.C. Cir. 1980).
                Based on “the language of the purported statement and
                the circumstances of its promulgation,” id. at 530, both
                tests confirm that DACA is a substantive rule, not a gen-
                eral policy statement.
                       1.   DACA required notice and comment
                            because it affected the substantive rights of
                            individuals and obligations of States.
                    DACA is a substantive rule, not—as respondents im-
                agine—a mere policy statement. Courts have routinely
                held that an “important touchstone for distinguishing”
                substantive rules from policy statements is that “a sub-
                stantive rule . . . [i]s one ‘affecting individual rights and
                obligations.’” Chrysler, 441 U.S. at 302 (quoting Morton,
                415 U.S. at 232); see also, e.g., Nat’l Mining Ass’n v.
                McCarthy, 758 F.3d 243, 251-52 (D.C. Cir. 2014) (Ka-
                vanaugh, J.) (describing impact on private parties as
                “most important factor” in determining substantive
                rule). Policy statements and interpretive rules, by con-
                trast, do ‘“not have the force and effect of law and are not
                accorded that weight in the adjudicatory process.’” Perez
                v. Mortg. Bankers Ass’n, 135 S. Ct. 1199, 1204 (2015)




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                (quoting Shalala v. Guernsey Mem’l Hosp., 514 U.S. 87,
                99 (1995)).
                     Amici do not challenge the Executive’s well-estab-
                lished authority to defer removal action on a case-by-
                case basis. Deferred action under DACA, however, “is
                far from any program conducted in the past.” Texas II,
                328 F. Supp. 3d at 721. DACA is “not just an announce-
                ment of [DHS’s] refusal to enforce the statutory . . . re-
                quirements; it purports to alter those requirements” for
                over a million unlawfully present aliens. Util. Air Regu-
                latory Grp., 573 U.S. at 326. In so doing, DACA both al-
                ters individual rights and imposes obligations on States.
                It therefore is procedurally unlawful because it never un-
                derwent the mandatory notice-and-comment process.
                Nat’l Mining Ass’n, 758 F.3d at 251-52 (summarizing the
                law).
                     a. The plain language of the memorandum creating
                DACA has a significant impact on individual rights. As
                discussed above, when a DHS field office grants a DACA
                permit, that act changes the immigrant’s status to “law-
                ful presence,” which triggers numerous benefits, includ-
                ing creating a defense to removability, allowing the alien
                to work in the United States, tolling the reentry bar, and
                making the alien eligible for numerous social services at
                the state and federal levels. See supra pp. 8-14.
                     This Court has required notice-and-comment proce-
                dures for far less significant administrative acts. In Mor-
                ton v. Ruiz, for example, the Court examined whether
                notice-and-comment rulemaking was required before the
                Bureau of Indian Affairs could exclude “full-blooded, un-
                assimilated Indians living in an Indian community near
                their native reservation,” 415 U.S. at 211, from benefits
                provided by Congress to Indians living “on a




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                reservation,” id. at 208. The Court concluded that such a
                regulation was “substantive” because it “affect[ed] indi-
                vidual rights and obligations.” Id. at 231-37. DACA, of
                course, does that and far more. See supra pp. 11-14.
                There is no serious argument that DACA does not “af-
                fect individual rights and obligations.” See Morton, 415
                U.S. at 232.
                    b. As the Fifth Circuit recognized in Texas I, DACA
                also obligates individual States to increase their spend-
                ing on various social services. 809 F.3d at 155-56 (dis-
                cussing impact on Texas). These services include
                healthcare, education, and law-enforcement, as well as
                social services required by federal law. Texas II, 328 F.
                Supp. 3d at 700-04. According to an expert retained by
                DACA’s defenders, Texas alone “incurs more than
                $250,000,000 in total direct costs from DACA recipients
                per year.” Id. at 700-701. If the administrative state
                wishes to impose that significant burden on States, it
                must at a minimum initiate notice-and-comment review.
                Nat’l Mining Ass’n, 758 F.3d at 252 (finding rule to be
                interpretive where “State permitting authorities ‘are
                free to ignore it’”); cf. Chrysler, 441 U.S. at 302.
                    This Court should reject any argument that a DACA
                permit merely triggers benefits that flow from other reg-
                ulations. As discussed above (at 13-14), DACA recipients
                would be ineligible for these benefits under existing stat-
                utes. But DACA makes eligible those whom Congress
                has deemed ineligible. It thus must be considered a sub-
                stantive rule because “in the absence of the rule there
                would not be an adequate legislative basis” for DHS ei-
                ther “to confer benefits” relating to lawful status on this
                class of individuals or impose the accompanying obliga-
                tions on States. Am. Mining Cong. v. Mine Safety &




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                Health Admin., 995 F.2d 1106, 1112 (D.C. Cir. 1993); cf.
                Shalala, 514 U.S. at 99-100 (holding policy manual was
                interpretive rule because it was consistent with regula-
                tions).
                     c. The “circumstances of its promulgation” further
                confirm that DACA creates substantive rights. Am. Bus.
                Ass’n, 627 F.2d at 530. After all, DACA arose as Presi-
                dent Obama’s attempted workaround to Congress’s fail-
                ure to pass the Development, Relief, and Education for
                Alien Minors (DREAM) Act.17 The DREAM Act, if
                adopted, would have shared many features with DACA,
                including allowing unlawfully present aliens who arrived
                before they were 16 to apply for lawful presence.
                     But the DREAM Act never reached President
                Obama’s desk. When the DREAM Act failed in Congress
                for the third time, the President set out to do what Con-
                gress refused to do: confer lawful presence, and associ-
                ated benefits, on hundreds of thousands of aliens. The
                President did so even though “nothing in the statute,
                prior regulations, or case law” authorized the benefits in
                question. Nat. Res. Def. Council v. EPA, 643 F.3d 311,
                320-21 (D.C. Cir. 2011). That effort to “change[] the law”
                cannot be described as anything other than substantive.
                Id.; see also Texas I, 809 F.3d at 176-78.
                     d. Respondents’ own pleadings further confirm that
                DACA was a “substantive rule” requiring notice and
                comment.
                     The University of California respondents contend
                that the DACA-wind-down memorandum “constitutes a

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                  See also Pet. Br. at 5 & n.2 (discussing failed history of
                DREAM Act); id. at 38 (quoting concessions of need for Con-
                gressional action to provide this relief).




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                substantive rule subject to APA’s notice-and-comment
                requirements.” Complaint at 14 ¶ 61, Regents of Univ. of
                Cal. v. U.S. Dep’t of Homeland Sec., No. 3:17-cv-5211-
                WHA (N.D. Cal. Sept. 8, 2017), ECF No. 1. In support of
                this legal conclusion, respondents allege that DACA pur-
                ports to unilaterally confer lawful presence. Id. at 8 ¶ 31
                (“Individuals with DACA status were ‘not considered to
                be unlawfully present during the period in which de-
                ferred action [was] in effect.’” (alteration in original) (cit-
                ing USCIS FAQs)). Furthermore, these respondents ad-
                mit that aliens with DACA status would not have been
                able—but for DACA—lawfully to “obtain jobs and access
                to certain Social Security and Medicare benefits.” Id. at
                2 ¶ 3.
                     The State of California respondents likewise plead
                that DACA’s attributes meet the test for a substantive
                rule requiring APA notice-and-comment procedure. For
                instance, these respondents plead that “DACA Provides
                Numerous Benefits,” including (1) “the right not to be
                arrested or detained based solely on their immigration
                status,” (2) “eligibility to receive employment authoriza-
                tion,” (3) the ability to “travel,” specifically the ability “to
                briefly depart the U.S. and legally return,” (4) eligibility
                for “federal Social Security, retirement, and disability
                benefits” not available to other undocumented immi-
                grants, and (5) “equal access to other benefits and oppor-
                tunities” with other individuals who are lawfully present
                in this country. Complaint at 17-18 ¶¶ 82-86, California
                v. U.S. Dep’t of Homeland Sec., No. 3:17-cv-5235 (N.D.
                Cal. Sept. 11, 2017), ECF No.1.
                     Indeed, DACA’s defenders insist over and over
                again that “DACA confers numerous important benefits
                on those who apply for and are granted DACA status.”




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                Complaint at 9 ¶ 27, Garcia v. United States, No. 3:17-
                cv-5380 (N.D. Cal. Sept. 18, 2017), ECF No. 1 (emphases
                added). They have done so in multiple courts. See, e.g.,
                Complaint, Trs. of Princeton Univ. v. United States, No.
                1:17-cv-2325 (D.D.C. Nov. 3, 2017), ECF No. 1; Com-
                plaint, NAACP v. Trump, No. 1:17-cv-1907 (D.D.C. Sept.
                18, 2017), ECF No. 1; 3d Am. Complaint, Vidal v. Niel-
                sen, No. 1:16-cv-4756 (E.D.N.Y. Dec. 11, 2017), ECF No.
                113; Complaint, New York v. Trump, No. 1:17-cv-5228
                (E.D.N.Y. Sept. 6, 2017), ECF No. 1.
                     Respondents list these benefits to support their as-
                sertion that by rescinding DACA “federal agencies have
                changed the substantive criteria by which individual[]
                DACA grantees” are permitted to “work, live, attend
                school, obtain credit, and travel in the United States.”
                Complaint at 54 ¶ 289, New York v. Trump, No. 1:17-cv-
                5228 (E.D.N.Y. Sept. 6, 2017), ECF No. 1. But that could
                be true only if DACA’s creation was itself a substantive
                rule—one “affect[ing] individual rights and obligations.”
                Morton, 415 U.S. at 232. If DACA did not create substan-
                tive criteria by which these immigrants gained the bene-
                fits listed in their complaints, id., winding down this pro-
                gram could not have changed any substantive criteria.
                     The necessary implication of these allegations is that
                DACA was a substantive rule that was never validly im-
                plemented. If DACA’s rescission “affect[ed] individual
                rights and obligations,” id. at 232, so too did DACA’s cre-
                ation.




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                       2.   DACA, as implemented, did not leave
                            immigration officials with discretion to
                            deny relief.
                     Unable to deny that DACA altered substantive
                rights, its defenders claim that notice-and-comment
                rulemaking was unnecessary because it is worded as a
                “general policy statement” regarding how DHS will ex-
                ercise prosecutorial discretion. While the APA exempts
                policy statements from notice and comment, see 5 U.S.C.
                § 553(d)(2), that exemption has no application here for at
                least two independent reasons.
                     First, “a general statement of policy” is a statement
                that, by definition, does not alter statutory law or exist-
                ing regulation. Stated differently, in contrast to a “sub-
                stantive rule,” a “general policy statement,” cannot “im-
                pose any rights and obligations.” Prof’ls & Patients for
                Customized Care v. Shalala, 56 F.3d 592, 595 (5th Cir.
                1995). Such a statement may only lay out the factors that
                the agency may consider in applying discretion going
                forward. Id.; accord Azar v. Alina Health Servs., 139 S.
                Ct. 1804, 1811-12 (2019) (distinguishing “policy state-
                ments” under Medicare, which can create “substantive
                rules,” from “policy statements” under APA, which can-
                not). Because DACA “affect[s] individual rights and ob-
                ligations,” it is a “legislative” rule whose promulgation
                “must conform with any procedural requirements im-
                posed by Congress.” Chrysler Corp., 441 U.S. at 302-03.
                There is no support in either the APA or this Court’s
                precedent for the notion that an agency action that
                changes substantive immigration law may be adopted
                without notice-and-comment rulemaking merely because
                it provides the agency with some level of discretion in its




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                application. Nor would such a rule be consistent with the
                purpose of notice-and-comment rulemaking, which is to
                ensure that those agencies making binding rules do so in
                a way that is open, fair, and accountable. Cf. Perez, 135
                S. Ct. at 1206.
                     Second, DACA does not genuinely give DHS officials
                discretion; it removes discretion where it previously ex-
                isted. While DHS’s label of this policy as “discretionary”
                is relevant, the true test is how the program is actually
                administered. Azar, 139 S. Ct. at 1812 (“Agencies have
                never been able to avoid notice and comment simply by
                mislabeling their substantive pronouncements.”) (citing
                inter alia Guardian Fed. Sav. & Loan Ass’n v. Fed. Sav.
                & Loan Ins. Corp., 589 F.2d 658, 666-67 (D.C. Cir. 1978)).
                When a rule purports to allow discretion “is in purpose
                or likely effect . . . a binding rule of substantive law,”
                courts uniformly look past the label and take the rule “for
                what it is.” Guardian, 589 F.2d at 666-67; see also, e.g.,
                Iowa League of Cities v. EPA, 711 F.3d 844, 862-63 (8th
                Cir. 2013); Phillips Petro. Co. v. Johnson, 22 F.3d 616,
                619-20 (5th Cir. 1994).
                     In Texas I, the Fifth Circuit acknowledged that (like
                DAPA) the language in the original memo creating
                DACA purported to “instruct[] agencies to review appli-
                cations on a case-by-case basis and exercise discretion.”
                809 F.3d at 172. But, the court correctly gave more
                weight to three facts in the record: (1) DACA is imple-
                mented through a 150-page manual of associated operat-
                ing procedures that leaves little actual discretion, (2) of
                the 723,000 applications accepted for evaluation under
                DACA, only 5% had been rejected, and (3) “[d]espite a
                request by the [district c]ourt, the Government’s counsel
                did not provide the number, if any, of requests that were




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                denied” for discretionary reasons once the agency con-
                cluded that “the applicant met the DACA criteria.” Id. at
                172-73 (cleaned up). In the presence of those circum-
                stances, the Fifth Circuit concluded that regulatory re-
                ality trumps labels in the original DACA memo. Id.
                      Despite extensive discovery in Texas II, DACA’s de-
                fenders still have not established that DHS field offices
                exercise meaningful discretion in implementing DACA.
                To the contrary, one reason the Executive decided to re-
                scind DACA was that it could not find a single individual
                who qualified for DACA but was nonetheless denied re-
                lief for discretionary reasons. Pet. App. 112a-13a n.1; see
                also Pet. Br. at 39 & n.7 (explaining less than 10% of ap-
                plications were denied, most of were denied because ap-
                plicants were ineligible). Even if some de minimis num-
                ber of applications were denied for discretionary rea-
                sons, the Court should still consider the policy binding
                and subject to the notice-and-comment rulemaking pro-
                cedures established by Congress. McLouth Steel Prods.
                Corp. v. Thomas, 838 F.2d 1317, 1321 (D.C. Cir. 1988)
                (where model was used to resolve 96 out of 100 applica-
                tions it was a substantive rule).
                II. The Executive’s Decisions Both to Create and to
                    Rescind DACA Are Subject to Judicial Review.
                    DACA is substantively and procedurally unlawful—
                and the federal courts are empowered to say so. The Ex-
                ecutive’s decisions to create and, later, to wind down
                DACA are reviewable agency actions under the APA.
                Courts have “long applied a strong presumption favoring
                judicial review of administrative action.” Weyerhaeuser
                Co. v U.S. Fish & Wildlife Serv., 139 S. Ct. 361, 370
                (2018). This presumption can be rebutted in only two




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                ways: (1) if the challenged action is “committed to agency
                discretion by law,” or (2) if the relevant statute “pre-
                clude[s] review.” 5 U.S.C. §§ 701(a)(1), (a)(2). These
                “very narrow” exceptions, Heckler v. Chaney, 470 U.S.
                821, 830 (1985), do not apply here.
                     First, DACA cannot be considered an “agency action
                committed to agency discretion by law.” 5 U.S.C.
                § 701(a)(2). This exception is limited to “certain catego-
                ries” that have been “traditionally committed to agency
                discretion,” including “a decision not to institute enforce-
                ment proceedings” or allocation of lump-sum appropria-
                tions. Lincoln v. Vigil, 508 U.S. 182, 191 (1993); see also
                Weyerhaeuser Co., 139 S. Ct. at 370. Rulemaking is not
                an area left to agency discretion.
                     DACA cannot be defended as simply an announce-
                ment of enforcement priorities or an exercise of prosecu-
                torial discretion. DACA, like DAPA and Expanded
                DACA, “is much more than nonenforcement” because it
                “affirmatively confer[s] ‘lawful presence’ and associated
                benefits on a class of unlawfully present aliens.” Texas I,
                809 F.3d at 166. That plainly distinguishes DACA from
                the form of immigration-enforcement forbearance
                known as “deferred action.” AADC, 525 U.S. at 482-84.
                DACA also creates a massive bureaucracy to grant ap-
                plicants that status. As every court to consider the ques-
                tion has concluded, the creation and subsequent disman-
                tling of such a bureaucracy is not a question committed
                to one branch of government’s unilateral discretion. E.g.,
                CASA de Md. v. U.S. Dep’t of Homeland Sec., 284 F.
                Supp. 3d 758, 765 (D. Md. 2018) (“[J]udicial decisions
                throughout the DAPA litigation illustrate” that “chal-
                lenges to DAPA or analogous immigration programs




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                promulgated by DHS without approval by Congress are
                justiciable.”), aff’d, 924 F.3d 684, 698-700 (4th Cir. 2019).
                    Second, no INA provision precludes judicial review
                of the Executive’s decision to grant lawful presence to
                entire classes of aliens. DACA’s rescission is not made
                unreviewable by 8 U.S.C. § 1252(g), which shields final
                deportation orders from review, because DACA reflects
                no claim “by or on behalf of any alien” challenging re-
                moval-proceeding determinations. Indeed, the idea that
                section 1252(g) “precludes judicial review has been re-
                jected repeatedly.” CASA de Md., 284 F. Supp. 3d at 769.
                III. The Executive’s Rescission of DACA Was Neither
                     Arbitrary Nor Capricious.
                     The arguments against DACA’s rescission are prem-
                ised on the notion (rebutted above) that DACA was law-
                ful. They also reflect a fundamental misunderstanding of
                the scope of arbitrary-and-capricious review under the
                APA. Tellingly, no court has found that rescinding an un-
                lawful executive policy is arbitrary and capricious. In-
                stead, respondents maintain that a court may block an
                agency from rescinding its own policy merely because
                the court disagrees with the agency that the policy is un-
                lawful. That is not the law.
                     The standard of review under the APA is “narrow.”
                Motor Vehicles Mfrs. Ass’n v. State Farm Mut. Auto.
                Ins. Co., 463 U.S. 29, 43 (1983). As this Court has repeat-
                edly stated, a court may only look to whether the Execu-
                tive examined “the relevant data” and articulated “a sat-
                isfactory explanation for its action including a ‘rational
                connection between the facts found and the choice




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                made.’” Id. (quoting Burlington Truck Lines v. United
                States, 371 U.S. 156, 168 (1962)).18
                     The Executive here did precisely that. Secretary
                Duke’s memorandum winding down DACA summarized
                DHS’s conclusion that DACA was illegal “after consult-
                ing with the Attorney General and considering the like-
                lihood of success on the merits of the ongoing litigation”
                in Texas I. Specifically, the memo recited the Attorney
                General’s “legal determination[s]” that (1) “DACA ‘was
                effectuated by the previous administration through ex-
                ecutive action, without proper statutory authority,”
                (2) “[s]uch an open-ended circumvention of immigration
                laws was an unconstitutional exercise of authority by the
                Executive Branch,” and (3) “because DACA has the
                same legal and constitutional defects that the courts rec-
                ognized as to DAPA, it is likely that potentially imminent
                litigation would yield similar results with respect to
                DACA.” Pet. App. 116a (quotation marks omitted); see
                also id. 122a-23a (explaining how Secretary Nielsen
                reached similar conclusion).
                     As discussed above, the Executive’s conclusion that
                DACA is illegal was correct. But, at the very least, it met
                this Court’s requirement that “the [Executive] examine
                the relevant data,’”—here, the legal opinions of the Fifth
                Circuit as affirmed by this Court and the highest-rank-
                ing lawyer in the United States—and explained why she

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                  As Amici have previously explained, this standard does not
                change simply because the new administration has different
                policy goals or reaches a different conclusion about the legal-
                ity of DACA. See Brief for the States of Texas, et al., as Amici
                Curiae in Support of Petitioners, U.S. Dep’t of Homeland Sec.
                v. Regents of the Univ. of Cal., No. 18-587, at 5-8 (U.S. Dec. 6,
                2018).




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                thought the program was unlawful. Motor Vehicles Mfrs.
                Ass’n, 463 U.S. at 43 (quotation marks omitted). That is
                all the APA requires.
                     The courts below held to the contrary only by impos-
                ing additional standards not required by the APA. Each
                court to consider the question has recognized that
                “DACA was rescinded based on [DHS’] view that the pol-
                icy was unlawful.” CASA de Md., 924 F.3d at 704; see also
                Regents, 908 F.3d at 500; NAACP v. Trump, 298 F.
                Supp. 3d 209, 249 (D.D.C. 2018). The courts concluded
                that the Executive action was nonetheless arbitrary be-
                cause they disagreed with either the Fifth Circuit analy-
                sis the Executive invoked or its applicability to DACA.
                See Regents, 908 F.3d at 508-10; CASA de Md., 924 F.3d
                at 705; NAACP, 298 F. Supp. 3d at 239-40. For example,
                the Ninth Circuit concluded that Secretary Duke erred
                in deciding that DACA was illegal under the Fifth Cir-
                cuit’s opinion in Texas I because she failed to expressly
                address the differences in size between the DACA and
                DAPA populations. Regents, 908 F.3d at 509 (“As the dis-
                trict court laconically put it, ‘there is a difference be-
                tween 4.3 million and 689,800.’”).
                     That is not arbitrary-and-capricious review. An
                agency is not required to explain the reasons behind its
                policy changes in minute detail. See FCC v. Fox Televi-
                sion Stations, Inc., 556 U.S. 502, 513-14 (2009). Moreo-
                ver, courts are to “uphold a decision of less than ideal
                clarity if the agency’s path may reasonably be dis-
                cerned.” Bowman Transp., Inc. v. Ark.-Best Freight
                Sys., Inc., 419 U.S. 281, 286 (1974); see also, e.g., Morgan
                Stanley Capital Grp. Inc. v. Pub. Util. Dist. No. 1 of
                Snohomish Cty., 554 U.S. 527, 544-45 (2008) (upholding
                action that was legally required even if agency cited




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                different rationale for decision). There is no basis in this
                Court’s jurisprudence to require an agency to anticipate
                and discuss every legal distinction that a district court
                might later deem relevant. Such searching review is the
                definition of substituting the judgment of judges for that
                of the Executive, which the APA and this Court’s prece-
                dent foreclose.
                      Applying the APA otherwise would intrude on the
                President’s Article II obligation to “take Care that the
                Laws be faithfully executed.” U.S. Const. art. II, § 3. The
                “executive department[] of the Federal Government, no
                less than the judicial department, ha[s] a duty to defend
                the Constitution.” Ariz. Christian Sch. Tuition Org. v.
                Winn, 563 U.S. 125, 133 (2011). Absent a ruling by this
                Court, “subordinate executive agencies supervised and
                directed by the President” may “decline to follow [even
                a] statutory mandate” that the President concludes is un-
                constitutional. In re Aiken Cty., 725 F.3d 255, 261 (D.C.
                Cir. 2013) (Kavanaugh, J.). This Court should hold that
                it is not arbitrary and capricious for the Executive to dis-
                continue a prior unilateral executive action that it deter-
                mines is unlawful.




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                                       C O NCL USI O N
                     The decisions enjoining the Executive’s rescission
                 of DACA should be reversed.

                 STEVE MARSHALL                  Respectfully submitted.
                 Attorney General of
                   Alabama
                                                 KEN PAXTON
                                                 Attorney General of
                 KEVIN G. CLARKSON                Texas
                 Attorney General of             JEFFREY C. MATEER
                   Alaska                        First Assistant
                                                   Attorney General
                 MARK BRNOVICH
                 Attorney General of             KYLE D. HAWKINS
                  Arizona                        Solicitor General
                                                  Counsel of Record
                 LESLIE RUTLEDGE
                                                 MATTHEW H. FREDERICK
                 Attorney General of
                                                 Deputy Solicitor General
                  Arkansas
                                                 ARI CUENIN
                 ASHLEY MOODY                    LANORA C. PETTIT
                 Attorney General of             Assistant Solicitors General
                   Florida
                                                 OFFICE OF THE
                 DEREK SCHMIDT                     ATTORNEY GENERAL
                 Attorney General of             P.O. Box 12548 (MC 059)
                   Kansas                        Austin, Texas 78711-2548
                                                 kyle.hawkins@oag.texas.gov
                 JEFF LANDRY                     (512) 936-1700
                 Attorney General of
                   Louisiana




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                 PHIL BRYANT
                 Governor of
                   Mississippi

                 DOUG PETERSON
                 Attorney General of
                   Nebraska

                 ALAN WILSON
                 Attorney General of
                   South Carolina

                 JASON R. RAVNSBORG
                 Attorney General of
                   South Dakota

                 PATRICK MORRISEY
                 Attorney General of
                   West Virginia

                AUGUST 2019




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                               Nos. 18-587, 18-588, 18-589

                  In the Supreme Court of the United States
                      DEPARTMENT OF HOMELAND SECURITY, ET AL.,
                                         PETITIONERS
                                        v.
                   REGENTS OF THE UNIVERSITY OF CALIFORNIA, ET AL.

                 DONALD J. TRUMP, PRESIDENT OF THE UNITED STATES, ET
                                   AL., PETITIONERS
                                           v.
                    NATIONAL ASSOCIATION FOR THE ADVANCEMENT
                              OF COLORED PEOPLE, ET AL.

                      KEVIN K. MCALEENAN, ACTING SECRETARY OF
                       HOMELAND SECURITY, ET AL., PETITIONERS
                                        v.
                       MARTIN JONATHAN BATALLA VIDAL, ET AL.

                 ON WRITS OF CERTIORARI TO THE UNITED STATES COURTS OF
                    APPEALS FOR THE D.C., NINTH, AND SECOND CIRCUITS

                            BRIEF FOR TEXAS V. UNITED STATES
                  DEFENDANT- INTERVENORS DACA RECIPIENTS AND STATE
                                        OF
                         NEW JERSEY IN SUPPORT OF RESPONDENTS


                GURBIR S. GREWAL            NINA PERALES
                ATTORNEY GENERAL               Counsel of Record
                STATE OF NEW JERSEY         MEXICAN AMERICAN LEGAL
                                               DEFENSE AND
                JEREMY M. FEIGENBAUM           EDUCATIONAL FUND
                ASST. ATTORNEY GENERAL      110 Broadway, Ste. 3000
                25 Market Street            San Antonio, TX 78205
                Trenton, NJ 08625           (210) 224-5476
                                            nperales@MALDEF.org
                Counsel for New Jersey
                                            DOUGLAS HALLWARD-DRIEMEIER
                                            ROPES & GRAY LLP
                                            2099 Pennsylvania Avenue NW
                                            Washington, DC 20006

                                            Counsel for DACA Recipients

                             Additional counsel on inside cover




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                GLENN J. MORAMARCO       EMERSON SIEGLE
                ASST. ATTORNEY GENERAL   RAISHAY LIN
                25 Market Street         PAUL BENNETCH
                Trenton, NJ 08625        ROPES & GRAY LLP
                                         2099 Pennsylvania Avenue NW
                Counsel for New Jersey   Washington, DC 20006

                                         MARK CIANCI
                                         ROPES & GRAY LLP
                                         800 Boylston Street
                                         Boston, MA 02199

                                         PHILIP EHRLICH
                                         ROPES & GRAY LLP
                                         191 North Wacker Drive
                                         Chicago, IL 60606

                                         Counsel for DACA Recipients




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                            INTEREST OF AMICI CURIAE1
                     Amici are defendant-intervenors in Texas v. United
                States, No. 1:18-cv-00068, a case in the United States
                District Court for the Southern District of Texas, in
                which several States brought direct challenges to the le-
                gality of the Deferred Action for Childhood Arrivals
                (DACA) memorandum (Texas DACA litigation).2 Be-
                cause the Department of Homeland Security (DHS) de-
                clined to defend DACA in the Texas litigation, amici
                stepped in to defend DACA.3 The question of DACA’s
                lawfulness is also a central issue, albeit indirectly and in


                  1
                    All parties have provided blanket consent to the filing of amicus
                curiae briefs. No counsel for any party authored this brief in whole
                or in part, and no person or entity, other than amici curiae or their
                counsel made a monetary contribution intended to fund the prepa-
                ration or submission of this brief.
                  2
                      The Texas DACA litigation is distinct from Texas v. United
                States, 809 F.3d 134 (5th Cir. 2015), aff’d by an equally divided court,
                136 S. Ct. 2271 (2016) (per curiam), an earlier case that concerned
                the legality of Deferred Action for Parents of Americans and Law-
                ful Permanent Residents (DAPA) (Texas DAPA litigation). Nota-
                bly, in the earlier Texas DAPA litigation, the government “did not
                seek an evidentiary hearing,” 809 F.3d at 175-176, and the eviden-
                tiary record was underdeveloped, Texas v. United States, 86 F.
                Supp. 3d 591, 677 (S.D. Tex. 2015). The DHS rescission of DACA at
                issue in this case mistakenly equated DAPA and DACA, and as-
                sumed that certain findings in the Texas DAPA litigation meant
                that DACA itself was unlawful. This brief explains the key factual
                errors underlying that assumption.
                  3
                    Twenty-two individual DACA recipients intervened to defend
                DACA’s lawfulness. These individual defendant-intervenors are
                listed in Appendix A hereto. The State of New Jersey also inter-
                vened to defend DACA in light of the many benefits the State has
                enjoyed on account of DACA, including through the many contribu-
                tions within New Jersey that have been made by DACA recipients.

                                                  (1)




                                                                                           AR4680
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                a different procedural posture, in the present consoli-
                dated cases concerning the purported rescission of
                DACA.
                     While the present consolidated cases and the Texas
                DACA litigation concern certain overlapping issues, the
                Texas DACA litigation, unlike the cases at bar, has in-
                volved discovery at both the preliminary injunction and
                merits phases. Through this ongoing discovery, amici
                have compiled a substantial evidentiary record demon-
                strating that immigration officers’ evaluation of DACA
                applications involves considerable discretion on the part
                of the officers. The discovery that amici have compiled
                to date—including official governmental documents,
                such as DHS internal guidelines and leadership corre-
                spondence regarding the decision to defer action for cer-
                tain childhood arrivals, which are subject to judicial no-
                tice by this Court—is directly relevant to the questions
                before the Court in these consolidated proceedings. As
                the DHS materials show—and as testimonial evidence
                from depositions and declarations filed in the Texas
                DACA litigation confirms—the DACA Memorandum, as
                applied, leaves United States Citizenship and Immigra-
                tion Services (USCIS) officers free to exercise discretion
                when deciding whether to defer action in the case of a
                particular DACA applicant.
                    Amici respectfully submit that the evidence devel-
                oped through discovery in the Texas DACA litigation
                shows that the reasoning in the DHS memorandum re-
                scinding DACA (the Rescission Memorandum)—to the
                effect that the initial issuance of the DACA Memoran-
                dum was unlawful because the operation of DACA was
                categorical, rather than on an individualized basis—was




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                                                   3

                based on a flawed premise, as the decisions below cor-
                rectly recognized.
                             SUMMARY OF THE ARGUMENT
                     A key issue in this case is whether DACA “grant[s]
                deferred action * * * on a class-wide basis” or as a matter
                of individualized discretion. Pet. Br. 11; Texas v. United
                States, 809 F.3d 134, 184 n.197 (5th Cir. 2015), aff’d by an
                equally divided court, 136 S. Ct. 2271 (2016) (per curiam)
                (Texas DAPA litigation) (quoting 38 Op. O.L.C. at 18 n.8
                (Nov. 19, 2014)4); Dkt. 9,5 Ex. 19 at App. 1192 n.8 (OLC
                Memorandum Opinion, Nov. 19, 2014), (contrasting
                forms of deferred action that are “automatic[]” and
                “class-wide” with those that “evaluate each application
                * * * on a case-by-case basis”).
                    But in rescinding DACA, DHS did not actually con-
                sider any evidence regarding whether, and to what ex-
                tent, officers are making discretionary decisions, as op-
                posed to merely implementing a class-wide rule, when
                they evaluate DACA applications. To the contrary,
                DHS simply assumed that the Fifth Circuit’s holding
                and rationale regarding Deferred Action for Parents of
                Americans (DAPA) in Texas, 809 F.3d 134, applied
                equally to the original DACA Memorandum.6

                     4
                       The Department of Homeland Security’s Authority to Prior-
                itize Removal of Certain Aliens Unlawfully Present in the United
                States and to Defer Removal of Others, 38 Op. O.L.C. 1 (2014).
                     5
                       App. in Supp. of Pls.’ Mot. for Prelim. Inj. (Pls.’ PI App.) Vol.
                4 (May 2, 2018). Throughout this brief, references to the docket or
                citations to “Dkt.” refer to the docket in amici’s case, Texas v.
                United States, No. 1:18-cv-00068 (S.D. Tex. May 1, 2018).
                     6
                      See Pet. Br. 52 (“DHS made clear that it agrees with the ro-
                bust analysis in the Fifth Circuit’s [DAPA] decision and that it sees




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                    Subsequent discovery in the Texas DACA litigation
                has demonstrated plainly that this premise underlying
                DHS’s reliance on the Fifth Circuit’s decision in the ear-
                lier DAPA litigation and its characterization of the ex-
                tent of officers’ discretion in considering DACA applica-
                tions was in error. Indeed, the very district court that
                previously enjoined DAPA has found—based on evi-
                dence developed through discovery with respect to
                DACA—that the record in fact may be “indicative of a
                discretionary standard” and that the States challenging
                DACA “have not made a ‘clear showing’ that those pro-
                cessing DACA applications are not free to exercise dis-
                cretion.” Texas v. United States, 328 F. Supp. 3d 662,
                733-734 (S.D. Tex. 2018).
                    There were good reasons for that conclusion. In the
                Texas DACA litigation, amici have compiled substantial
                evidence demonstrating that DACA is, and has always
                been, administered as an exercise of prosecutorial dis-
                cretion by immigration officers, and that the final deci-
                sion on whether to defer action continues to involve the
                application of discretion by individual adjudicators, on a
                case-by-case basis. Of course, it is no surprise that the
                evidence would confirm the exercise of discretion by im-
                migration officers in individual cases. On its face, the
                memorandum in which then-Secretary of DHS Janet
                Napolitano explained DACA (the DACA Memorandum)

                no meaningful distinctions between the lawfulness of those policies
                and the lawfulness of the original DACA policy.”); id. at 56 (“the
                Attorney General informed the Acting Secretary that he had con-
                cluded that the policy was unlawful based in significant part on the
                Texas litigation invalidating the DAPA and expanded DACA poli-
                cies”).




                                                                                       AR4683
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                requires USCIS adjudicators to exercise discretion
                when evaluating DACA applications.
                     Further official documentation confirms that indi-
                vidual officers were informed of their continued author-
                ity and discretion. DHS’s own training materials, guid-
                ance documents, operating procedures, and internal
                communications produced in discovery in the Texas
                DACA litigation consistently describe DACA as setting
                forth discretionary criteria for a favorable exercise of
                discretion through deferred action, rather than estab-
                lishing any binding standards or conferring any substan-
                tive rights.
                     Discovery in the Texas DACA litigation also shows
                that USCIS adjudicators actually exercise the discretion
                required by the DACA Memorandum. During the first
                two quarters of fiscal year 2018, adjudicators denied
                about 20% of requests for initial grants of deferred ac-
                tion under DACA, including denying applications where
                the criteria indicative of a favorable exercise of discre-
                tion were satisfied. Moreover, testimonial evidence
                from the Texas litigation confirms that USCIS adjudica-
                tors understand that the DACA guidelines empower
                them to make discretionary, case-by-case decisions that
                are informed, but not bound, by the stated DACA crite-
                ria.
                    Accordingly, the premise underlying the Rescission
                Memorandum is belied by the evidence—evidence avail-
                able to DHS, but that it did not consider. This Court
                should thus reject the premise of petitioners’ chal-
                lenge—that DACA unlawfully established a categorical
                rule.




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                                           6

                                     ARGUMENT
                    DACA, AS WRITTEN AND IMPLEMENTED, RE-
                    QUIRES T HE E XERCISE O F P ROSECUTORIAL D IS-
                    CRETION, A ND I S T HUS E NTIRELY L AWFUL

                     Contrary to petitioners’ argument that DHS cor-
                rectly concluded DACA is unlawful, Pet. Br. 43-50,
                DACA is not a class-wide grant of deferred action and in
                fact requires DACA adjudicators to exercise individual-
                ized discretion. Discovery from the Texas DACA litiga-
                tion shows both that DHS materials, like the DACA
                Memorandum itself, require USCIS adjudicators to ex-
                ercise discretion and that adjudicators in practice actu-
                ally do engage in discretionary, case-by-case review
                when deciding whether to defer action with respect to
                individual requestors. The same district court that pre-
                viously enjoined DAPA, when reviewing this evidence
                in the Texas DACA litigation, concluded it may be “in-
                dicative of a discretionary standard” and that the States
                challenging DACA “have not made a ‘clear showing’ that
                those processing DACA applications are not free to ex-
                ercise discretion.” Texas v. United States, 328 F. Supp.
                3d 662, 733-734 (S.D. Tex. 2018).
                    A. The DACA Memorandum Itself Makes Clear
                       That USCIS Adjudicators Should Exercise
                       Case-By-Case Discretion When Deciding
                       Whether To Grant Deferred Action
                    The DACA Memorandum, by its plain language, dis-
                claims any intent to bind DHS. The memorandum re-
                quires adjudicators considering whether to grant de-
                ferred action to exercise discretion on an individualized




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                basis for requestors who meet certain preliminary crite-
                ria. Dkt. 6,7 Ex. 1 at App. 0002-0004. The memorandum
                makes clear that the specified criteria “should be satis-
                fied before an individual is considered for an exercise of
                prosecutorial discretion pursuant to this memorandum.”
                Id. at App. 0002 (emphasis added). In other words, the
                criteria do not preclude discretion, but instead precede
                the exercise of discretion. The criteria listed are:
                             came to the United States under the
                              age of sixteen;
                             has continuously resided in the United
                              States for [at] least five years preced-
                              ing the date of this memorandum and is
                              present in the United States on the
                              date of this memorandum;
                             is currently in school, has graduated
                              from high school, has obtained a gen-
                              eral education development certificate,
                              or is an honorably discharged veteran
                              of the Coast Guard or Armed Forces of
                              the United States;
                             has not been convicted of a felony of-
                              fense, a significant misdemeanor of-
                              fense, multiple misdemeanor offenses,
                              or otherwise poses a threat to national
                              security or public safety; and
                             is not above the age of thirty.
                Ibid.
                    In addition to the discretion to be applied after as-
                certaining that the criteria have been satisfied, deciding

                    7
                        Pls.’ PI App. Vol. 1 (May 2, 2018).




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                whether certain of the above criteria are met inherently
                requires the adjudicator to exercise individual discre-
                tion. For example, determining whether a person “oth-
                erwise poses a threat to national security,” or whether a
                prior misdemeanor conviction is a “significant” one, in-
                volves the exercise of discretionary judgment by indi-
                vidual USCIS adjudicators. See Dkt. 6, Ex. 7 at App.
                0586-0587 (emphasis added). Furthermore, the DACA
                Memorandum requires that, even once these criteria are
                satisfied, requestors must undergo a complete back-
                ground check and, in some cases, a personal interview.
                Id., Ex. 1 at App. 0003; id., Ex. 7 at App. 0585, App. 0589.
                As a result, adjudicators have a substantial body of in-
                formation upon which to base their individualized deci-
                sion whether to defer action in a particular case.
                    The DACA Memorandum further emphasizes that
                “requests for relief pursuant to this memorandum are to
                be decided on a case by case basis,” Dkt. 6, Ex. 1 at App.
                0003, and concludes:
                       This memorandum confers no substantive
                       right, immigration status or pathway to
                       citizenship. Only the Congress, acting
                       through its legislative authority, can con-
                       fer these rights. It remains for the execu-
                       tive branch, however, to set forth policy for
                       the exercise of discretion within the frame-
                       work of the existing law. I have done so
                       here.
                Id. at App. 0004 (emphasis added).
                   As a result, no person has any substantive entitle-
                ment to have action deferred under the DACA Memo-




                                                                               AR4687
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                randum, and the Executive retains discretion to termi-
                nate deferred action at any time. See Texas v. United
                States, 809 F.3d 134, 148 (5th Cir. 2015) (recognizing that
                “ ‘[l]awful presence’ is not an enforceable right to remain
                in the United States and can be revoked at any time”).
                Indeed, despite historical efforts by applicants to sue af-
                ter being denied deferred action under prior frame-
                works, this Court recognized that Congress sought to
                limit “judicial constraints upon [this] prosecutorial dis-
                cretion.”     Reno v. Am.-Arab Anti-Discrimination
                Comm., 525 U.S. 471, 485 & n.9 (1999).
                     The DACA Memorandum therefore both clarifies
                how an agency vested with discretion plans to use that
                power and confirms that agents still have the authority
                to decide each case on an individual basis. The DACA
                Memorandum sets forth relevant criteria and considera-
                tions, and adjudicators consider these criteria and more,
                on an individualized basis, when rendering a decision to
                grant or deny deferred action. See also Crane v. John-
                son, 783 F.3d 244, 254-255 (5th Cir. 2015) (“The [DACA
                Memorandum] makes it clear that the Agents shall ex-
                ercise their discretion in deciding to grant deferred ac-
                tion, and this judgment should be exercised on a case-by-
                case basis.”).
                    B. Evidence Developed In The Texas DACA
                       Litigation Confirms That DACA Adjudica-
                       tors Are Informed Of, And Exercise, Their
                       Discretion
                     In contrast to the cases presently before the Court,
                the Texas DACA litigation is developing a full record re-
                garding the legality of DACA. Cf. Regents Br. in Opp.
                18 (“[M]ultiple courts have held that the administrative




                                                                              AR4688
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                record is likely incomplete.”). The record developed
                thus far in the Texas litigation—largely comprised of
                DHS’s internal materials and communications—includes
                ample evidence demonstrating that adjudicators, in
                practice, exercise the discretion required by the DACA
                Memorandum. Testimonial evidence from the Texas lit-
                igation provides further confirmation of individual offic-
                ers’ exercise of discretion. Together, this new evidence
                undercuts the assumptions regarding discretion upon
                which petitioners now rely (and which were the basis of
                the Fifth Circuit ruling upon the legality of DAPA). See
                note 6, supra.
                            1.    DHS materials and internal communica-
                                  tions consistently describe DACA as setting
                                  forth discretionary criteria for individual-
                                  ized, rather than class-wide, grants of de-
                                  ferred action
                    Internal DHS documents produced by the United
                States in the Texas DACA litigation confirm that DACA
                does not confer any class-wide deferred action but ra-
                ther provides for temporary deferral of action against in-
                dividual undocumented immigrants. DHS’s national
                standard operating procedures (SOPs) have consistently
                stated that DACA “does not confer any lawful status.”
                See Dkt. 225-6,8 Ex. 153 at 8 (2013 DACA Nat’l SOP);
                see also Dkt. 226-2,9 Ex. 183 at 6 (2012 DACA Training
                Presentation) (“[DACA] does not confer any status,” nor
                does it “lead to any status”; it “simply means that action


                     8
                      App. in Supp. of Def.-Ints.’ Opp. to Pls.’ Mot. for Prelim. Inj.
                (Def.-Ints.’ PI App.) Vol. 7 (July 21, 2018).
                     9
                         Def.-Ints.’ PI App. Vol. 9 (July 22, 2018).




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                to remove someone is deferred until a certain date and
                that the decision to pursue removal may be revisited at
                some point in the future”).
                     DHS guidance documents require USCIS adjudica-
                tors to exercise discretion and do not bind adjudicators
                to defer action in the case of any given DACA applica-
                tion. See, e.g., Dkt. 226-1,10 Ex. 167 at 4 (USCIS Field
                Manual) (“As in all deferred action determinations,
                USCIS will make case-by-case, discretionary judgments
                based on the totality of the evidence. In doing so, USCIS
                will weigh and balance all relevant considerations, both
                positive and negative.”).
                     Adjudicators’ trainings, including refresher train-
                ing, also emphasize the need to exercise discretion when
                reviewing DACA applications:
                           As we prepare to attend DACA refresher
                           training on Thursday, I just want to be
                           sure everyone is clear on a couple things.
                           First, DACA can be denied if we deter-
                           mine that the person doesn’t merit a favor-
                           able exercise of discretion. One of the rea-
                           sons we would determine that they don’t
                           merit a favorable exercise of discretion is
                           based on possible public safety concerns or
                           the totality of the circumstances.
                Dkt. 215-1,11 Ex. 38 at NJAPP0401 (DACA Email Guid-
                ance, Apr. 7, 2015) (emphasis added).


                     10
                          Def.-Ints.’ PI App. Vol. 8 (July 22, 2018).
                    11
                       App. to N.J. Br. in Opp. to Pls.’ Mot. for Prelim. Inj. (N.J. PI
                App.) (July 21, 2018).




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                     Other internal documents similarly indicate that
                USCIS supervisors require adjudicators to evaluate
                DACA applications on a case-by-case basis. For exam-
                ple, in USCIS DACA team meetings, officers were en-
                couraged to “[t]ake the time and adjudicate correctly”
                and prioritize “quality over quantity.” Dkt. 226-2, Ex.
                194 at DEF00000228 (DACA Meeting Minutes, June 1,
                2015); id., Ex. 195 at DEF00000476 (DACA Meeting
                Minutes, June 30, 2015); see also Dkt. 227-1,12 Ex. 234 at
                DEF00001730 (DACA Email Guidance, June 28, 2013)
                (“Every case has a different set of facts involved and all
                of the facts must be considered.”).
                     Evidence produced in the Texas DACA litigation
                thus amply demonstrates that DHS training materials
                and internal guidance documents consistently and re-
                peatedly urge USCIS adjudicators to exercise individu-
                alized, case-by-case discretionary judgment when con-
                sidering whether to grant deferred action.
                            2.   USCIS adjudicators exercise individual-
                                 ized discretion by interpreting and some-
                                 times deviating from the criteria set forth in
                                 the DACA Memorandum
                     USCIS adjudicators in practice exercise discretion
                in interpreting the meaning of the criteria set forth in
                the DACA Memorandum. Adjudicators exercise partic-
                ularly broad discretion in determining whether a reques-
                tor represents a threat to “public safety” or “national se-
                curity.” See Dkt. 225-6, Ex. 153 at 82, 90 (2013 DACA
                Nat’l SOP); see also Dkt. 215-1, Ex. 38 at NJAPP0401
                (DACA Email Guidance, Apr. 7, 2015) (“[S]omeone could

                    12
                         Def.-Ints.’ PI App. Vol. 11 (July 22, 2018).




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                                                  13

                not meet the definition of [Egregious Public Safety] for
                a referral to ICE but still be considered a public safety
                concern for DACA.”). Broadly, as one officer put it,
                when determining whether a requestor represents a
                threat to public safety, “[the] standard is whether or not
                you would want to live next door to the person.” Dkt.
                227-1, Ex. 233 at 1 (DACA Email Guidance, June 2,
                2015). Of note, the district court presiding over the
                Texas litigation—which is the same court that previ-
                ously concluded, in connection with DAPA, that USCIS
                officers did not genuinely exercise discretion—recog-
                nized that this guideline “would certainly be indicative
                of a discretionary standard” in the application of DACA.
                See Texas, 328 F. Supp. 3d at 733.13
                     Similarly, although the SOPs provide that reques-
                tors with a history of “significant misdemeanors” do not
                merit consideration for deferred action, the SOPs do not
                exhaustively define which misdemeanors qualify as “sig-
                nificant,” requiring adjudicators to exercise discretion in
                determining whether applicants have committed a sig-
                nificant crime (and, therefore, do not merit a favorable
                exercise of discretion). See, e.g., Dkt. 225-6, Ex. 154 at
                DEF00001779-DEF00001780 (2012 DACA FAQs)
                (“[T]he absence of the criminal history outlined above, or

                     13
                        The district court in the Texas litigation observed: “Defend-
                ant-Intervenors produced a post­Texas I email from one instructor
                that, while talking about the established criteria, said that she liked
                to ‘jokingly say our standard is whether or not you would want to
                live next door to the person.’ While this Court will not opine on
                whether the ‘neighbor’ standard is one capable of refined precision
                or even whether it would be legally enforceable, if it were routinely
                being used, it would certainly be indicative of a discretionary stand-
                ard.” Texas, 328 F. Supp. 3d at 733 (citation omitted).




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                                                  14

                its presence, is not necessarily determinative, but is a
                factor to be considered in the unreviewable exercise of
                discretion.”).14 Officers thus determine, using their dis-
                cretion, whether, inter alia, minor traffic violations, mul-
                tiple non-significant misdemeanors, juvenile convictions,
                marriage fraud, expunged convictions, or deferred pros-
                ecution indicate that a requestor does not merit discre-
                tionary relief based on the totality of the evidence. See
                id., Ex. 153 at 83-85 (2013 DACA Nat’l SOP).15 In other
                cases, officers are required to go beyond the information
                conveyed by a RAP sheet or criminal record to exercise
                their discretion. See id. at 89.16



                     14
                        See also Dkt. 226-2, Ex. 198 (DHS Email Chain – “204(c) and
                DACA,” Aug. 19, 2015); Dkt. 226-3, Def.-Ints.’ PI App. Vol. 10 (July
                22, 2018), Ex. 208 (Meeting Minutes – “DACA Roundtable Notes,”
                Sept. 9, 2015); id., Ex. 220 (Meeting Minutes – “Rap Session Notes,”
                Feb. 27 & 28, 2013); Dkt. 227-1, Exs. 231-235 (DACA Email Guid-
                ance); id., Dkt. 227-3, Def.-Ints.’ PI App. Vol. 13 (July 22, 2018), Ex.
                252 (2015 Training Presentation – “How to Deconflict DACA”).
                     15
                       See also Dkt. 227-1, Ex. 236 at 4-5 (DACA BCU Picnic Rap
                Session Agenda and Notes, May 16, 2018); id., Ex. 242 (DACA
                Email Guidance – “Guidance on legal terminology,” May 4, 2017);
                Dkt. 225-6, Ex. 153 at 90 (2013 DACA Nat’l SOP) (providing exam-
                ples of types of conduct that might rise to a public safety threat
                without resulting in a criminal conviction).
                     16
                        See also Dkt. 227-1, Ex. 236 at 2 (DACA BCU Picnic Rap
                Session Agenda and Notes, May 16, 2018); Dkt. 227-2, Def.-Ints.’ PI
                App. Vol. 12 (July 22, 2018), Ex. 244 (DACA Email Guidance – “Do-
                mestic Violence for DACA Purposes,” Sept. 15, 2014); Dkt. 225-6,
                Ex. 155 at DEF00003638 (DACA Internal Adjudicator FAQs); Dkt.
                227-1, Ex. 241 at 1 (Internal FAQ – “Wobbler Offenses”); Dkt. 227-
                3, Ex. 262 at DEF00004597 (Newsletter – “DACA Matters”).




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                                            15

                      Even where there is no conviction, an officer may
                still consider the underlying factors of the criminal activ-
                ity when determining whether favorable discretion is
                warranted. See Dkt. 227-1, Ex. 239 at 30 (DACA BCU
                Criminality Training, Feb. 2017) (“DACA is a discretion-
                ary program and does not necessarily require a convic-
                tion for the adjudicator to consider the underlying fac-
                tors of the criminal activity when determining whether
                or not favorable discretion is warranted.”).
                    Additionally, in looking at the totality of the circum-
                stances, USCIS adjudicators can deny DACA applica-
                tions not only based on the conduct of the applicant, but
                also because of the applicant’s questionable affiliations.
                See, e.g., Dkt. 215-1, Ex. 37 at NJAPP0398 (DACA
                Email Guidance, Mar. 12, 2015) (Background Check Unit
                denies DACA requests “as a matter of discretion using
                the discretionary checkbox” when there are concerns of
                possible drug cartel affiliation).
                     As in the public safety context, USCIS adjudicators
                also exercise broad discretion in determining whether an
                applicant has met DACA’s educational criteria, based on
                inquiries such as the following:
                       (i) Whether an applicant has graduated from or
                           is enrolled in an educational establishment,
                           Dkt. 225-6, Ex. 153 at 60-70 (2013 DACA
                           Nat’l SOP);
                       (ii) Whether an applicant’s privately funded
                            training or vocational programs have been
                            sufficient, id. at 66; and




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                          (iii) Whether submitted institutions, homeschool-
                                ing programs, or other programs are “di-
                                ploma mills” or otherwise “suspect,” see Dkt.
                                226-3,17  Ex.     214   at    DEF00000405-
                                DEF00000408 (DACA Guidance on Diploma
                                Mills); Dkt. 225-6, Ex. 153 at 60-70 (2013
                                DACA Nat’l SOP); Dkt. 226-3, Exs. 212-213
                                at DEF00000198-DEF00000199 (DACA
                                Guidance – “Homeschooling”).
                     Finally, USCIS adjudicators have the discretion to
                deny applications notwithstanding the applicants’ meet-
                ing the criteria set forth in the DACA Memorandum.
                For instance, DHS’s SOPs on DACA state clearly that
                “[n]otwithstanding whether [an applicant’s] offense is
                categorized as a significant or non-significant misde-
                meanor, the decision whether to defer action in a partic-
                ular case is an individualized, discretionary one that is
                made taking into account the totality of the circum-
                stances.” Dkt. 225-6, Ex. 153 at 83-84 (2013 DACA Nat’l
                SOP) (emphasis added). As such, USCIS adjudicators
                can and do grant or deny deferred action to applicants
                regardless of whether they have or have not strictly sat-
                isfied the criteria in the DACA Memorandum.
                            3.   The significant and increasing denial rate
                                 for deferred action likewise confirms this
                                 use of case-by-case, individualized discre-
                                 tion
                     Through the first two quarters of fiscal year 2018,
                USCIS adjudicators denied about 20% of requests for in-
                itial grants of deferred action under DACA. Dkt. 224-

                    17
                         Def.-Ints.’ PI App. Vol. 10 (July 22, 2018).




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                                                    17

                2,18 Ex. 25 at 1 (USCIS Data on Number of Form I-821D,
                Consideration of DACA). This denial rate is “consistent
                with other discretionary applications such as adjustment
                of status,” and a high acceptance rate is based on “the
                high caliber of the DACA applications submitted to
                USCIS.” Dkt. 225-3,19 Ex. 69 at 7 (Decl. of Barbara
                Hines). Moreover, USCIS management has emphasized
                that discretionary denials are increasing, and even
                DACA renewals should not be automatic:
                           I wanted to be sure to reiterate what I pre-
                           viously stated which is that TSC now de-
                           nies significantly more DACA cases based
                           on our view of discretionary denials shift-
                           ing to be more in line with HQ. * * * Every
                           case is different so we have to review the
                           totality of the circumstances of each case.
                           * * * If we wouldn’t approve it now as an
                           initial, we shouldn’t approve it now just be-
                           cause it’s a renewal.
                Dkt. 215-1, Ex. 38 at NJAPP0400 (DACA Email Guid-
                ance, June 2, 2015) (emphasis added).
                   Lower initial rates of DACA rejections and denials20
                were not indicative of a lack of adjudicator discretion,

                     18
                          Def.-Ints.’ PI App. Vol. 1 (July 21, 2018).
                     19
                          Def.-Ints.’ PI App. Vol. 4 (July 21, 2018).
                     20
                        Rejections and denials are distinct. Rejections occur when it
                appears on the face of the application that the applicant is not eligi-
                ble for the discretionary initiative (e.g., she does not meet the age
                requirement), or when the application is missing required materials
                (e.g., the required fee, component forms, or a signature). Denials
                occur when an application is sent to an adjudicator, and the adjudi-
                cator exercises his or her discretion not to grant deferred action to




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                but were instead indicative of the quality of the appli-
                cants. As the Fifth Circuit recognized in the DAPA liti-
                gation, even where adjudicators are exercising discre-
                tion, a low initial denial rate for DACA would not be sur-
                prising because (1) “DACA involved issuing benefits to
                self-selecting applicants, and persons who expected to
                be denied relief would seem unlikely to apply,” and
                (2) “[e]ligibility for DACA was restricted to a younger
                and less numerous population, which suggests that
                DACA applicants are less likely to have backgrounds
                that would warrant a discretionary denial.” Texas, 809
                F.3d at 173-174 (footnote omitted).
                      Additionally, early DACA applications had a better
                chance of being approved, because “[w]hen DACA was
                announced, non-profit organizations, immigration clin-
                ics, immigrant advocacy organizations and private attor-
                neys mobilized to provide free or low cost legal advice to
                DACA eligible individuals, using workshops and clinic
                models,” and “[t]hese efforts screened out individuals
                whose applications were likely to be denied by USCIS if
                they had applied.” Dkt. 225-3, Ex. 69 at 6 (Decl. of Bar-
                bara Hines).
                    Denial rates have since consistently risen, and were
                at approximately 13.4% in 2014, 17.4% in 2015, 17.8% in
                2016, 16.4% in 2017, and 20.1% through the first two
                quarters of fiscal year 2018 for initial applications.21


                the applicant. Dkt. 6, Ex. 7 at App. 0586 (Decl. of Donald W.
                Neufeld).
                    21
                       The percentages are based on USCIS data for fiscal years
                2012-2018. See Dkt. 224-2, Ex. 25 at 1 (USCIS Data on Number of
                Form I-821D, Consideration of DACA). These calculations are
                based on applications that were either approved or denied in the




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                These denial rates simply do not support any contention
                that DACA applications have been “rubberstamped.”
                     In sum, the evidence adduced in the Texas DACA
                litigation demonstrates that USCIS adjudicators exer-
                cise individualized discretion when determining
                whether to grant deferred action. This evidence demon-
                strates the use of individualized, case-by-case discretion
                and proves inaccurate the presumption in the Rescission
                Memorandum that DACA conferred a class-wide grant
                of deferred action and eliminated officers’ discretion in
                individual cases.
                          4.   Testimonial evidence further confirms that
                               USCIS adjudicators understand DACA to
                               empower them to make discretionary deci-
                               sions
                    Testimonial evidence from the Texas DACA litiga-
                tion—and the predecessor DAPA case—confirms that
                USCIS adjudicators consider themselves to be exercis-
                ing discretion when deciding whether to grant or deny
                applications for deferred action.



                given year, and do not include requests that were rejected ab initio.
                Nor do they include requests that were submitted but were still
                awaiting decision at the end of the given year (labelled as “pending”
                on the chart). For 2014, there were 20,987 denials and 136,101 ap-
                provals. For 2015, there were 19,070 denials and 90,629 approvals.
                For 2016, there were 11,396 denials and 52,708 approvals. For 2017,
                there were 9,250 denials and 47,298 approvals. And through the
                first two quarters of fiscal year 2018, there were 3,839 denials and
                15,294 approvals. The percentage of denials noted above was calcu-
                lated by dividing the number of denials by the total of approvals
                plus denials.




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                     In particular, Donald Neufeld, the Associate Direc-
                tor for USCIS Service Center Operations, testified that
                USCIS officers adjudicate DACA applications using
                their discretion, on a case-by-case basis, informed—but
                not bound—by the stated DACA eligibility criteria.
                Neufeld was personally in charge of all four USCIS Ser-
                vice Centers that adjudicated DACA requests, which
                encompassed responsibility for all policy, planning, man-
                agement, and execution at the Service Centers. Dkt. 6,
                Ex. 7 at App. 0578-0595 (Decl. of Donald W. Neufeld).
                Neufeld stated that requestors who meet the guidelines
                in the DACA Memorandum “are not automatically
                granted deferred action under DACA. Rather, each ini-
                tial DACA request is individually considered, wherein
                an adjudicator must determine whether a requestor
                meets the guidelines and whether there are other fac-
                tors that might adversely impact the favorable exercise
                of discretion.” Id. at App. 0584-0585. Requestors must
                pay for and submit to a background check, and “[i]nfor-
                mation discovered in the background check process is
                also considered in the overall discretionary analysis.”
                Id. at App. 0585. Adjudicators also may submit a “Re-
                quest for Evidence” seeking additional information from
                an applicant, as well as contacting employers, educa-
                tional institutions, or other government agencies to ver-
                ify information submitted on an application. Id. at App.
                0588-0589. Likewise, in-person interviews are some-
                times scheduled for the requestor. Ibid. Due to the
                breadth of information available for consideration, adju-
                dicators exercise discretion in determining what infor-
                mation to credit and prioritize.
                    Adjudicators deny requests not only when the
                guidelines are not met, but also when the adjudicator




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                herself determines that deferred action is not appropri-
                ate for other reasons. Dkt. 6, Ex. 7 at App. 0586-0591
                (Decl. of Donald W. Neufeld). These discretionary deni-
                als have been made “on the basis that deferred action
                was not appropriate for other reasons not expressly set
                forth in [the] 2012 DACA Memorandum.” Id. at
                App. 0591. Neufeld provided examples of denials of de-
                ferred action under DACA “even when all the DACA
                guidelines, including public safety considerations, have
                been met.” Id. at App. 0587. For example, USCIS has
                denied deferred action when a requestor is suspected of
                gang affiliation. Id. at App. 0591. Discretionary denials
                have also been made for requestors who submitted false
                statements as part of the application process, even
                though the requestors actually satisfied all of the guide-
                lines, including public safety considerations. Id. at
                App. 0587. Likewise, USCIS issued a discretionary de-
                nial when a requestor had prior removals and had previ-
                ously falsely claimed to be a United States citizen. Id. at
                App. 0587-0588.
                     Deposition testimony from former USCIS union
                president Michael Knowles further confirms that
                USCIS adjudicators perceive themselves to be engaging
                in a highly discretionary analysis when handling DACA
                applications. Knowles testified that USCIS adjudicators
                “bristled at the thought” that anyone would think they
                “rubber-stamped” DACA requests. See Dkt. 291-1,22
                Ex. 151 at 24:19-21, 25:24-26:3 (Tr. of Depo. of Michael
                Knowles); see also id. at 23:9-24, 24:9-26:10, 32:11-25,


                      22
                         Def.-Ints.’ Supp. App. in Supp. of Opp. to Pls.’ Mot. for Pre-
                lim. Inj. (Aug. 4, 2018).




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                67:10-68:24. Indeed, USCIS adjudicators use their dis-
                cretion to assess fraud, continuous presence, educational
                qualifications, and criminal records. Id. at 26:11-27:16,
                79:4-79:22. Per one USCIS adjudicator, of all the re-
                quests he had processed at Service Centers, DACA was
                “the one that required the most discretion.” Id. at 25:24-
                26:3.
                    C. Evidence From The Texas DACA Litigation
                       Thoroughly Discredits Petitioners’ Reliance
                       On The Fifth Circuit’s Conclusions Regard-
                       ing Discretion In The DAPA Litigation
                     Although a district court years ago concluded, in the
                context of ruling on DAPA—a separate initiative from
                DACA—that the DACA Memorandum’s promise of dis-
                cretion was “mere[] pretext,” Texas v. United States, 86
                F. Supp. 3d 591, 669 n.101 (S.D. Tex. 2015), and the Fifth
                Circuit found no clear error therewith, Texas, 809 F.3d
                at 172-176, that conclusion is no longer tenable in light of
                subsequent factual development and discovery de-
                scribed above. Contra Pet. C.A. Br. 29-30, Regents of the
                Univ. of Cal. v. U.S. Dep’t of Homeland Sec., 908 F.3d
                476 (9th Cir. 2018) (No. 18-15068).
                     At the time of the DAPA litigation, the district court
                relied on (i) the “declaration by Kenneth Palinkas, the
                president of the union representing the USCIS employ-
                ees processing the DACA applications, that * * * DACA
                applications are simply rubberstamped”; (ii) the volume
                of DACA guidelines; and (iii) the denial rate of accepted
                DACA applications at the time. See Texas, 809 F.3d at
                172-173 (summarizing district court findings) (internal
                quotations omitted). However, as detailed above, DHS’s




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                own materials overwhelmingly point to case-by-case ad-
                judicator discretion in connection with DACA applica-
                tions, and the Fifth Circuit itself discussed reasons inde-
                pendent of discretion why DACA denial rates—now at
                much higher levels—might initially have been lower. Id.
                at 174.
                     Moreover, Palinkas’s declaration has been shown by
                his recent testimony in the current Texas DACA litiga-
                tion to have been unreliable, biased, and wrong. In the
                earlier DAPA litigation, Palinkas submitted a declara-
                tion stating that DACA applications were “rub-
                berstamped.” Texas, 809 F.3d at 172-173. In Palinkas’s
                more recent deposition in the Texas DACA litigation,
                however, it became apparent that Palinkas did not have
                any firsthand knowledge of how DACA requests are ad-
                judicated. Palinkas did not know anything about the
                training USCIS adjudicators receive or the procedures
                USCIS adjudicators follow. Dkt. 215-1, Ex. 16 at 88:4-16
                (Tr. of Depo. of Kenneth Palinkas), (“I have no idea
                about a lot of details pertaining to it”); id. at 58-59 (no
                knowledge of the time required for continuous pres-
                ence); id. at 60:7-13 (no knowledge about the use of bio-
                metrics); id. at 91-92 (no knowledge regarding detection
                of fraud in applications). Indeed, on the crucial question
                of whether adjudicators exercise discretion on a case-by-
                case basis, Palinkas flatly admitted that he was “not
                aware of the extent to which discretion is exercised.” Id.
                at 95:3-9.
                    The deposition revealed not only that Palinkas
                lacked essential knowledge about how DACA applica-
                tions are adjudicated, but also that he was extremely
                hostile to DACA. He repeatedly emphasized his belief
                that DACA applicants had broken the law and that they




                                                                              AR4702
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                should not receive a “reward” for their purportedly ille-
                gal conduct. See, e.g., Dkt. 215-1, Ex. 16 at 43:20-21
                (“DACA applicants broke the law.”); id. at 51:14-16 (“I
                don’t think that anybody should be given any preferen-
                tial treatment after breaking the law. I have an inherent
                problem [with] that * * * .”); id. at 53:4-6 (“I don’t think
                it’s equitable to have them demand and be entitled to a
                path to citizenship * * * .”); id. at 55:20-24 (“DACA, it ap-
                pears to me that, you know, it’s a reward system for do-
                ing something you shouldn’t have done. I mean, when
                are the parents going to take the responsibility for their
                children?”).
                    In the Texas DACA litigation, the district court, in
                denying the motion for preliminary injunction, declined
                to rely on Palinkas’s declaration and testimony, even
                though the same district court relied on Palinkas’s testi-
                mony in the DAPA litigation. This time, the district
                court noted that Palinkas has never processed a DACA
                application, and that his declaration and testimony was
                either opinion or based upon hearsay. See 328 F. Supp.
                3d at 733 n.105. The district court concluded that Texas
                had not demonstrated that adjudicators fail to use case-
                by-case prosecutorial discretion when deciding whether
                to grant or deny deferred action. See id. at 734.
                    That is plainly correct in light of the newly devel-
                oped record, which shows, to the contrary, that USCIS
                adjudicators exercise case-by-case discretion when de-
                termining whether to grant or deny individual DACA
                applications. As such, DACA is lawful agency guidance
                regarding individualized, rather than class-wide, discre-
                tionary grants of deferred action. The Rescission Mem-
                orandum’s reliance on a contrary conclusion was errone-
                ous, and this Court should reject petitioners’ invitation




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                to rule on the basis of a finding that is directly contrary
                to the available evidence.
                                    CONCLUSION
                    For the foregoing reasons, the judgments of the
                United States District Court for the District of Columbia
                and the Court of Appeals for the Ninth Circuit, as well
                as the orders of the United States District Court for the
                Eastern District of New York, should be affirmed.

                                    Respectfully submitted,

                                    NINA PERALES
                                    MEXICAN AMERICAN LEGAL DEFENSE
                                    AND EDUCATIONAL FUND

                                    DOUGLAS HALLWARD-DRIEMEIER
                                    MARK CIANCI
                                    EMERSON SIEGLE
                                    RAISHAY LIN
                                    PAUL BENNETCH
                                    PHILIP EHRLICH
                                    ROPES & GRAY LLP

                                    COUNSEL FOR DACA RECIPIENTS

                                    GURBIR S. GREWAL
                                    ATTORNEY GENERAL
                                    STATE OF NEW JERSEY

                                    JEREMY M. FEIGENBAUM
                                    GLENN J. MORAMARCO
                                    ASST. ATTORNEYS GENERAL

                                    COUNSEL FOR NEW JERSEY
                SEPTEMBER 2019




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                                            1a

                                   APPENDIX A
                              LIST OF INDIVIDUAL
                           DEFENDANT-INTERVENORS


                Karla Perez

                Maria Rocha

                Jose Magaña-Salgado

                Nanci J. Palacios Godinez

                Elly Marisol Estrada

                Karina Ruiz De Diaz

                Carlos Aguilar Gonzalez

                Karla Lopez

                Luis A. Rafael

                Darwin Velasquez

                Jin Park

                Oscar Alvarez

                Nancy Adossi

                Denise Romero

                Pratishtha Khanna




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                                       2a


                Jung Woo Kim

                Angel Silva

                Moses Kamau Chege

                Hyo-Won Jeon

                Elizabeth Diaz

                Maria Diaz

                Blanca Gonzalez




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                                                 IN THE
                    Supreme Court of the United States
                                               ————
                 DEPARTMENT OF HOMELAND SECURITY, et al., Petitioners,
                                          v.
                REGENTS OF THE UNIVERSITY OF CALIFORNIA, Respondents.
                                       ————
                DONALD J. TRUMP, PRESIDENT OF THE UNITED STATES, et al.,
                                                          Petitioners,
                                          v.
                   NATIONAL ASSOCIATION FOR THE ADVANCEMENT OF
                         COLORED PEOPLE, et al., Respondents.
                                       ————
                     KEVIN K. MCALEENAN, ACTING SECRETARY OF
                        HOMELAND SECURITY, et al., Petitioners,
                                          v.
                  MARTIN JONATHAN BATALLA VIDAL, et al., Respondents.
                                       ————
                            On Writs of Certiorari to the
                      United States Courts of Appeals for the
                  Ninth, District of Columbia, and Second Circuits
                                       ————
                    BRIEF OF THE NATIONAL QUEER ASIAN
                       PACIFIC ISLANDER ALLIANCE AND
                            OTHERS AS AMICI CURIAE
                         IN SUPPORT OF RESPONDENTS
                                               ————
                GLENN D. MAGPANTAY            SUSAN M. FINEGAN
                  Executive Director             Counsel of Record
                     and Counsel              MEREDITH M. LEARY
                NATIONAL QUEER ASIAN          KAITLYN A. CROWE
                  PACIFIC ISLANDER            ANGEL FENG
                  ALLIANCE, INC.              GEOFFREY A. FRIEDMAN
                P.O. Box 1277                 RITHIKA KULATHILA
                Old Chelsea Station           MARGUERITE MCCONIHE
                New York, NY 10113            MINTZ, LEVIN, COHN,
                                                 FERRIS, GLOVSKY
                217 West 18th Street, #1277
                                                 AND POPEO, P.C.
                New York, NY 10011
                                              One Financial Center
                (917) 439-3158
                                              Boston, MA 02111
                                              (617) 542-6000
                                              SMFinegan@Mintz.com
                               Counsel for Amici Curiae
                 WILSON-EPES PRINTING CO., INC. – (202) 789-0096 – WASHINGTON, D. C. 20002




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                            INTEREST OF AMICI CURIAE1
                  The National Queer Asian Pacific Islander Alliance
                (“NQAPIA”) is a federation of lesbian, gay, bisexual,
                transgender and queer or questioning (“LGBTQ”)2
                Asian and Pacific Islander (“API”) organizations.
                NQAPIA unites local groups, develops leadership, pro-
                motes visibility, educates the community, invigorates
                grassroots organizing, encourages collaboration, and
                challenges anti-LGBTQ bias and racism. NQAPIA
                spearheads educational and advocacy campaigns in
                support of LGBTQ immigrants’ rights.
                   NQAPIA member groups and ally LGBTQ organiza-
                tions are deeply troubled by the Trump Administration’s
                attempt to rescind DACA and the significant risk that
                LGBTQ undocumented immigrants will face removal
                to countries that criminalize homosexuality, discrimi-
                nate and marginalize LGBTQ individuals, and put
                them at undue risk of violence because of their LGBTQ
                status.
                  The following NQAPIA member groups and ally
                LGBTQ organizations join this brief as amici curiae
                and a statement of interest from each organization is
                attached as an Appendix to this brief:


                  1
                    Pursuant to Supreme Court Rule 37.6, counsel for amici
                certify that they authored this brief in its entirety and that no
                party or its counsel, nor any other person or entity other than
                amici or their counsel, made a monetary contribution to this
                brief’s preparation or submission. The parties have consented to
                the filing of this brief.
                  2
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                and queer or questioning. These terms are used to describe a
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                                        2
                   • API Equality – Northern California (APIENC);
                   • API Rainbow Parents of PFLAG NYC;
                   • APICHA Community Health Center –
                     New York City;
                   • Asian and Pacific Islander Queers
                     United for Action (AQUA);
                   • Asian Pacific American Labor Alliance
                     (AFL-CIO);
                   • Asian Pacific Islander Queer Women and
                     Transgender Community – San Francisco;
                   • ATL Q+A – Atlanta;
                   • Equality Federation;
                   • Gay Asian and Pacific Islander Men of
                     New York (GAPIMNY);
                   • Gay Asian Pacific Alliance (GAPA) –
                     San Francisco;
                   • GLBT Fund of America, Philadelphia;
                   • GLBTQ Legal Advocates & Defenders (GLAD);
                   • Immigration Equality;
                   • Invisible to Invincible Asian Pacific Pride of
                     Chicago (i2i);
                   • KhushATX;
                   • Korean American Rainbow Parents (KARP) –
                     Washington D.C.;
                   • Korean Queer and Transgender Organization
                     of Washington D.C.;
                   • Lambda Legal Defense and Education Fund;
                   • Los Angeles LGBT Center;




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                                        3
                   • National Black Justice Coalition;
                   • National LGBTQ Task Force;
                   • Our Space LGBT Youth Center;
                   • OutRight Action International;
                   • Philadelphia Asian & Queer (PAQ);
                   • PFLAG;
                   • PFLAG – San Gabriel Valley Chapter Asian
                     Pacific Islander;
                   • Queer South Asian Collective Community –
                     Boston;
                   • Q-WAVE;
                   • SAGE NYC;
                   • SALGA NYC;
                   • San Francisco LGBT Center;
                   • Satrang Los Angeles;
                   • Transgender Legal Defense and
                     Education Fund;
                   • Trikone; and
                   • UTOPIA Seattle.
                           SUMMARY OF ARGUMENT
                  There are tens of thousands of individuals who
                identify as LGBTQ and received protection under the
                Deferred Action for Childhood arrivals (“DACA”) policy,
                many of whom were born in API nations. Without the
                protection afforded by DACA, those children, many of
                whom have now grown to be young adults who have
                only ever known the United States as home, will be
                subject to removal proceedings to their countries of
                birth. These children often have no memory of their




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                birth countries nor have they visited their countries of
                birth since they arrived in the United States in their
                infancy or young childhood. Many have no connections
                to their country of birth; indeed they may not know
                anyone there. Should they be removed, it is likely that
                they would have no shelter, no resources, no ability to
                earn income, nor even an ability to speak the local
                language. In sum, should DACA be rescinded, these
                children and young adults will be unceremoniously
                dispatched with no safety net to a country wholly
                unknown to them.
                  Moreover, if DACA is rescinded, many LGBTQ API
                DACA recipients are almost certain to face harass-
                ment, discrimination, criminal prosecution, violence
                and even death by virtue of their sexual orientation
                and/or gender identity. LGBTQ API DACA recipients
                from these nations will also lose substantial civil pro-
                tections afforded them in the United States, including
                the right to marry, the ability to seek medical care, and/or
                the ability to earn a living without discrimination.
                   Many LGBTQ DACA recipients have been open
                and transparent about their sexual orientation and/or
                gender identity while living in the United States, have
                engaged in LGBTQ activism, and have publicly dis-
                closed their LGBTQ status in their communities,
                through their online identities and otherwise. In this
                digital age, if these openly LGBTQ DACA recipients
                are removed, there is no realistic way to put this “genie
                back in the bottle.” The rescission of DACA will un-
                avoidably put these individuals in danger of criminal
                prosecution, discrimination, violence and even death
                in their country of birth because of their sexual orien-
                tation and/or gender identity. The great promise of
                DACA was the freedom from fear of removal, and the
                liberating sense of security that permitted DACA re-




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                cipients to build their lives in America authentically,
                including being open about their sexual orientation
                and/or gender identity, without shame of being
                “undocumented.” Rescinding DACA not only revokes
                that promise but, even more cruelly, puts some of the
                most vulnerable DACA recipients in even greater
                danger than they may have been in had DACA never
                been in place.
                                      ARGUMENT
                      I. LGBTQ API DACA recipients will face
                         criminal penalties, imprisonment, dis-
                         crimination, and violence (including death)
                         if they are removed to their countries of
                         birth
                  For LGBTQ children and young adults who (1) have
                been prevented from applying for DACA as a result of
                the government halting the policy, or (2) are current
                DACA recipients who may lose their ability to renew
                their status if the policy is ended, the rescission of DACA
                means the risk of immediate removal to a detention
                facility followed by removal to their country of birth.3
                   Many undocumented immigrants who qualify for
                or have received DACA share a tangible, and real-
                istic, fear of what being removed to their birth
                countries—countries that their families fled for fear of
                persecution, poverty, and/or violence—would mean.
                In a recent survey of DACA recipients, approximately
                80% of surveyed respondents indicated concern for
                their physical safety, and the physical safety of their

                  3
                    See U.S. CITIZENSHIP & IMMIGRATION SERVS., Deferred Action
                for Childhood Arrivals: Response to January 2018 Preliminary
                Injunction (July 17, 2019). Further, many of these individuals
                have been in the United States for over 1 year, making them
                ineligible for asylum protections. 8 U.S.C. § 1158 (2)(B).




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                families, if they were to return to their countries of
                birth.4
                   For LGBTQ DACA recipients, that concern is even
                more acute. Approximately seventy countries worldwide
                still criminalize and punish same-sex relationships
                and same-sex sexual activity and impose extensive
                penalties, including life in prison.5 Numerous countries
                sentence people engaged in consensual same-sex rela-
                tionships to death as punishment.6 Further, and as
                discussed below, the circumstances can be dire even
                in the absence of the criminalization of sexual
                orientation and/or gender identity due to rampant
                discrimination, bias, and significantly increased rates
                of violence by private actors against LGBTQ individ-
                uals. In such countries, rescinding DACA can be
                tantamount to a death sentence.
                  The cruelty of reversing DACA for this vulnerable
                population is evident from the laws and customs in the
                API nations where DACA recipients may be forced to
                return if the rescission of DACA is upheld.



                  4
                    Tom K. Wong et al., 2019 National DACA Study, at 7 (Sept.
                19, 2019), https://cdn.americanprogress.org/content/uploads/2019/
                09/18122133/New-DACA-Survey-2019-Final-1.pdf [hereinafter Wong
                et al.].
                  5
                    Lucas Ramón Mendos, State-Sponsored Homophobia 2019,
                INTERNATIONAL LESBIAN, GAY, BISEXUAL, TRANS AND INTERSEX
                ASSOCIATION (ILGA), at 15 (March 2019), https://ilga.org/down
                loads/ILGA_State_Sponsored_Homophobia_2019.pdf [hereinafter
                State-Sponsored Homophobia (2019)]; #Outlawed the Love That
                Dare Not Speak its Name, HUMAN RIGHTS WATCH, http://
                internap.hrw.org/features/ features/lgbt_laws/.
                  6
                   State-Sponsored Homophobia (2019), supra note 5, at 15-16;
                #Outlawed the Love That Dare Not Speak its Name, Human
                Rights Watch, http://internap.hrw.org/features/features/lgbt_laws/.




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                                       7
                Criminal Prohibitions and the Death Penalty:
                  Many API countries still criminalize same-sex sexual
                activity and relationships, posing a grave threat to the
                LGBTQ DACA recipients from these countries if they
                are forced to return, especially where they are not
                closeted. The mere fact that such laws exist signifi-
                cantly impairs the liberty and “autonomy of self that
                includes freedom of thought, belief, expression, and
                certain intimate conduct” for LGBTQ individuals in
                these countries. Lawrence v. Texas, 539 U.S. 558, 562
                (2003).
                  For example, Bangladesh—a country of over 150
                million people—criminalizes all sexual activity between
                men, with a punishment of ten years and up to life
                in prison.7 Pakistan criminalizes a broadly-worded
                category of “obscene acts” and same-sex activity.8
                Punishment is severe: two to ten years imprisonment9
                and possible penalty by death.10 In Afghanistan, United



                  7
                   BANGL. PENAL CODE, Act No. XLV of 1860, § 377 (Oct. 6,
                1860).
                  8
                    PAKISTAN PENAL CODE, Act No. XLV of 1860, § 294 (Oct. 6,
                1860); see also Aengus Carroll & Lucas Ramón Mendos, State-
                Sponsored Homophobia: A world survey of sexual orientation
                laws: criminalization, protection and recognition, INTERNATIONAL
                LESBIAN, GAY, BISEXUAL, TRANS AND INTERSEX ASSOCIATION
                (ILGA), at 133 (May 2017), https://ilga.org/downloads/2017/ILGA
                _State_Sponsored _Homophobia_2017_WEB.pdf [hereinafter State-
                Sponsored Homophobia (2017)].
                  9
                    PAKISTAN PENAL CODE, Act No. XLV of 1860, §§ 294, 377 (Oct.
                6, 1860).
                  10
                    Id.; State-Sponsored Homophobia (2019), supra note 5, at
                15–16; LGBTI Rights, AMNESTY INTERNATIONAL, https://www.
                amnesty.org/en/what-we-do/discrimination/lgbt-rights/ (last visited
                Sept. 24, 2019).




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                Arab Emirates, Yemen, Iran, Brunei, and Saudi
                Arabia, homosexuality is also punishable by death.11
                  Malaysia criminalizes certain same-sex sexual activity
                with punishment of up to twenty years in prison,
                and punishes consensual same-sex intercourse with
                lashings.12 In September of 2018, two women were
                sentenced to caning in Malaysia after allegedly
                attempting to engage in same-sex relations.13 There
                are also many reports of state-sanctioned violence
                and discrimination against LGBTQ individuals who
                are found to violate Malaysian law. The 2018
                U.S. State Department Malaysia 2018 Human Rights
                Report includes reports from local advocates stating
                that “imprisoned transgender women served their sen-
                tences in prisons designated for men and that police
                and inmates often abused them verbally and sex-
                ually.”14 LGBTQ Cambodians also face documented
                discrimination as a result of laws giving police broad
                authority to enforce security and public order.15
                  Bhutan criminalizes same-sex sexual activity as
                “unnatural” and punishes by imprisonment, as does



                  11
                     State-Sponsored Homophobia (2019), supra note 5, at 15–16;
                see also BRUNEI SYARIAH PENAL CODE ORDER, Part IV, Ch. 1
                §§ 69, 82 (2013).
                  12
                       MALAYSIA PENAL CODE, Act No. 574, §§ 377A, 377B (2015).
                  13
                     State-Sponsored Homophobia (2017), supra note 8, at 131;
                Malaysia: Two Women Face Caning for Same-Sex Conduct,
                HUMAN RIGHTS WATCH (Aug. 21, 2018), https://www.hrw.org/new
                s/2018/08/21/malaysia-two-women-face-caning-same-sex-conduct.
                  14
                   U.S. DEP’T OF STATE, BUREAU OF DEMOCRACY, H.R. AND LAB.,
                Malaysia 2018 Human Rights Report, at 29 (2018).
                  15
                   U.N. DEV. PROGRAMME & U.S. AGENCY FOR INT’L DEV., Being
                LGBT in Asia: Cambodia Country Report, at 8, 21, 31-32 (2014).




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                                         9
                Singapore and the Maldives.16 Myanmar punishes
                same-sex relations with imprisonment for up to ten
                years, as does Sri Lanka.17 Brunei’s penal code also
                provides for imprisonment for up to ten years.18
                Moreover, in April 2019, the government of Brunei
                fully implemented the Syariah Penal Code.19 Now,
                individuals in Brunei may also face death by stoning
                and/or whipping.20
                  In Indonesia, recent changes to national law
                appeared to ostensibly protect the rights of LGBTQ
                individuals at the national level, but the 2019 proposed
                revisions to the Indonesian criminal code include a
                number of changes that, if passed, could be used to
                violate the rights of LGBTQ individuals.21 Indonesia
                also has local provinces and cities that already crimi-
                nalize homosexuality.22 In one such province in May

                  16
                     BHUTAN PENAL CODE, Act of 2004, §§ 213–14; SINGAPORE
                PENAL CODE, No. 2 of 2008 (Revised Ed.), §§ 295, 354, 377a (Jan.
                28, 2008); MALDIVES PENAL CODE, Law No. 6/2014, § 411.
                  17
                    MYANMAR PENAL CODE, Act 45/1850, Revised Edition, § 377;
                State-Sponsored Homophobia (2019), at 531–32; SRI LANKA
                PENAL CODE, Act No. 22 of 1995, §§ 365, 365A.
                  18
                    BRUNEI PENAL CODE, Ch. 22 of 1951 (Revised Ed. 2001),
                § 377 (Oct. 1, 2001).
                  19
                    Brunei Prime Minister’s Office, Press Statement (March 30,
                2019).
                  20
                     BRUNEI SYARIAH PENAL CODE ORDER, Part IV, Ch. 1, §§ 69,
                82 (2013); Yvette Tan, Brunei implements stoning to death under
                anti-LGBT laws, BBC (Apr. 3, 2019), https://www.bbc.com/
                news/world-asia-47769964.
                  21
                    Indonesia: Draft Criminal Code Disastrous for Rights,
                HUMAN RIGHTS WATCH (Sept. 18, 2019), https://www.hrw.org/
                news/2019/09/18/indonesia-draft-criminal-code-disastrous-rights.
                  22
                     M.V. Lee Badgett et al., LGBT Exclusion in Indonesia and
                Its Economic Effects, THE WILLIAMS INSTITUTE, at 5 (2017).




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                2017, two men were sentenced to eighty-five lashes
                in a public caning after being accused of having sex
                with each other.23 State-sanctioned discrimination
                and violence against LGBTQ individuals in Indonesia
                is also prevalent. According to a 2014 report, police
                often fail to protect or intervene on behalf of LGBTQ
                individuals and commonplace police roundups often
                target, and potentially abuse, the population.24 Law
                enforcement and militant groups in the country some-
                times even work together to achieve these ends. For
                example, in late 2016, the Indonesian militant group
                Islamic Defenders Front, tipped off local police about
                an alleged sex party at a private home in Jakarta.
                Police on the scene detained the individuals who were
                present.25 Just a few months later in May 2017, a
                similar raid also took place in Jakarta and almost 150
                men were arrested.26
                   Criminalizing same-sex relations effectively makes
                it illegal to be LGBTQ in these countries. Unlike in the
                United States, these countries can and do “demea[n]
                the lives of homosexual persons” and “demean their


                  23
                     Jon Emont, 2 Men in Indonesia Sentenced to Caning for
                Having Gay Sex, N.Y. TIMES, May 18, 2018, § A at 7; Indonesia’s
                Aceh Resumes Public Caning Despite Pledge to Curb Access,
                REUTERS (July 13, 2018, 7:58 AM), https://www.reuters.com/
                article/us-indonesia-aceh-caning/indonesias-aceh-resumes-public-
                caning-despite-pledge-to-curb-access-idUSKBN1K31N1.
                  24
                   U.N. DEV. PROGRAMME & U.S. AGENCY FOR INT’L DEV., Being
                LGBT in Asia: Indonesia Country Report, at 8, 10, 27 (2014).
                  25
                     Kyle Knight, Indonesian Militant Islamists, Police Raid Gay
                Gathering, HUMAN RIGHTS WATCH (Nov. 29, 2016), https://www.
                hrw.org/news/2016/11/29/indonesian-militant-islamists-police-ra
                id-gay-gathering.
                  26
                    Jon Emont, Indonesia Police Arrest 141 Men Accused of
                Having Gay Sex Party, N.Y. TIMES, May 23, 2017, § A at 7.




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                                            11
                existence or control their destiny by making their
                private sexual conduct a crime.” Lawrence, 539 U.S. at
                575, 578.27 Beyond the significant threat of criminal
                detention or even death, such laws have a dramatic
                chilling effect on the “autonomy of self” to which all
                individuals should be entitled in a free society; as the
                Court has recognized, the “stigma” of such criminal
                statutes is “not trivial.” Lawrence, 539 U.S. at 575.
                Discrimination and Hate Crimes:
                   Discrimination against LGBTQ individuals in API
                nations is deeply-rooted and pervasive, and there can
                be no question that LGBTQ API DACA recipients
                would face discrimination in their personal and profes-
                sional lives if they were expelled from this country.
                Just as was the case in America for many years,
                LGBTQ persons in many API countries are “barred
                from military service, excluded under immigration
                laws, targeted by police, and burdened in their rights
                to associate.” Obergefell, 135 S. Ct. at 2596. Rampant
                discrimination in these countries denies LGBTQ indi-
                viduals “dignity in their own distinct identity.” Id. It
                remains true in many countries that “the argument
                that gays and lesbians [have] a just claim to dignity
                [is] in conflict with both law and widespread social
                conventions.” Id.
                  In country after country outside of the United States,
                LGBTQ API individuals are marginalized or repressed.
                In China, LGBTQ discrimination and stigma is omni-


                  27
                     This Court has recognized how in this country as well,
                “[u]ntil the mid-20th century, same-sex intimacy long had been
                condemned as immoral by the state itself . . ., a belief often
                embodied in the criminal law.” Obergefell v. Hodges, 135 S. Ct.
                2584, 2596 (2015).




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                present, including from one’s family and friends.28 In
                a 2012 poll of residents of the Beijing, Shanghai, and
                Guangzhou provinces, only 31% of participants said
                they accepted people who identify as gay, and only
                27% said that there should be legal protections for
                sexual minorities.29 Likewise, in India, there remains
                immense cultural prejudice against LGBTQ individ-
                uals, and not surprisingly so, given that the Supreme
                Court of India only recently decriminalized same-sex
                sexual activities.30
                  In Indonesia, public acceptance of LGBTQ individu-
                als remains very low and has changed little over
                the past decade; media coverage remains generally
                negative.31 LGBTQ individuals are denied educational
                opportunities,32 employment opportunities,33 and face
                physical, psychological, cultural and sexual violence.34

                  28
                   U.N. DEV. PROGRAMME & U.S. AGENCY FOR INT’L DEV., Being
                LGBT in Asia: China Country Report, at 27 (2014).
                  29
                       Id.
                  30
                     Jeffrey Gettleman et al., India Gay Sex Ban Is Struck Down.
                ‘Indefensible,’ Court Says, N.Y. TIMES, Sept. 7, 2018, § A at 1; see
                also Sushmita Pathak & Furkan Latif Khan, India’s Anti-Gay
                Law Is History. Next Challenge: Treat LGBTQ Patients with
                Respect, NPR (Sept. 17, 2018, 1:26 PM), https://www.npr.org/
                sections/goatsandsoda/2018/09/17/645279722/indias-anti-gay-law-
                is-history-next-challenge-treat-lgbtq-patients-with-respect; Annie
                Banerji, Mind your own business: Small firms opt out as India
                Inc races to be LGBT-friendly, REUTERS (Feb. 12, 2019, 5:16 AM),
                https://www.reuters.com/article/us-india-lgbt-business/mind-you
                r-own-business-small-firms-opt-out-as-india-inc-races-to-be-lgbt-
                friendly-idUSKCN1Q113D.
                  31
                       Badgett et al., supra note 22, at 5-7.
                  32
                       Id., at 8–12.
                  33
                       Id., at 13–16.
                  34
                       Id., at 16–22.




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                                          13
                Even in an advanced democracy like South Korea,
                there are no antidiscrimination laws in place to protect
                LGBTQ individuals, and efforts to implement such
                protections have repeatedly failed.35
                   As a result of discrimination and marginalization,
                numerous API nations report increased rates of hate
                crimes and/or interpersonal violence against individu-
                als identifying as LGBTQ—even where the govern-
                ment decriminalized same-sex relationships or sexual
                activity. In 2018, when India decriminalized same-sex
                sexual activity, the country reported 218 hate crimes,
                with eight attacks on individuals identifying as trans-
                gender, and the majority of attacks on women of
                marginalized groups (sexual orientation was not speci-
                fied).36 In Fiji, a 2011 community-based survey funded
                by the United Nations Development Programme and
                conducted by the AIDS Task Force of Fiji found that
                LGBTQ individuals experience high rates of discrim-
                ination and violence. Over 65% individuals surveyed
                reported feeling unsafe expressing their sexuality,
                30.3% of respondents reported being physically hurt
                in the prior six months, and 26.8% of respondents
                reported being sexually abused or assaulted.37 These

                  35
                     Timothy Rich & Isabel Eliassen, What’s Behind South
                Korea’s Persistent LGBT Intolerance?, THE DIPLOMAT (March 19,
                2019), https://thediplomat.com/2019/03/whats-behind-south-koreas-
                persistent-lgbt-intolerance/; South Korea: Military ‘Sodomy’ Law
                Violates Rights, HUMAN RIGHTS WATCH (March 7, 2019, 1:00 AM),
                https://www.hrw.org/news/2019/03/07/south-korea-military-sodomy-
                law-violates-rights.
                  36
                    Halt the Hate, AMNESTY INTERNATIONAL INDIA (Mar. 5 2019,
                10:49 AM), https://amnesty.org.in/news-update/over-200-alleged-
                hate-crimes-in-2018-reveals-halt-the-hate-website/.
                  37
                    Ben Bavinton et al., Secret Lives, Other Voices: A community-
                based study exploring male-to-male sex, gender identity and HIV
                transmission risk in Fiji, AIDS TASK FORCE OF FIJI, at 9 (2011),




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                statistics are corroborated by media reports of LGBTQ
                individuals in Fiji who have been victims of physical
                violence on the island. In 2017 and 2018, there were
                a number of violent murders of LGBTQ individuals
                that were classified as hate crimes.38 Activist groups
                in Fiji consistently report high levels of violence
                and discrimination against members of the LGBTQ
                community.39 In 2017, two gay men were physically
                assaulted in Fiji by teenagers, but did not report the
                assault to the police because they had “fear of reprisals
                from the people who allegedly attacked them.”40 The
                two men also refused to reveal their identities to the
                media because “they feared for their lives.”41 Similar




                https://www.aidsdatahub.org/sites/default/files/documents/secret
                _lives_other_voices_research-report33.pdf.
                  38
                     State-Sponsored Homophobia (2019), supra note 5, at 168-
                169; see also, e.g., Liam Fox, Murdered on International day
                against Transphobia: fears Fiji killing is a hate crime, ABC NEWS
                (July 23, 2018, 5:06 AM), https://www.abc.net.au/news/2018-07-
                23/trans-woman-murdered-in-fiji-in-suspected-hate-crime/10026
                188 (murder by blunt force trauma of individual identifying as
                transgender); Tokada Rainima, No arrest yet on Vesida murder,
                FBC NEWS (Oct. 12, 2017, 1:20 AM), https://www.fbcnews.com.fj/
                news/no-arrests-yet-on-vesida-murder/ (mutilation and murder
                of student who identified as gay).
                  39
                     Anamika Singh, More LGBT people are expressing their love
                openly, however they are also being targeted, FIJIVILLAGE (Nov.
                20, 2017), https://fijivillage.com/news-feature/More-LGBT-people-
                are-expressing-their-love-openly-however-they-are-also-being-tar
                geted-k9s25r/.
                  40
                    Suva Shahani Mala, Attack On Gay Men Condemned, FIJI
                SUN (Feb. 7, 2017), http://fijisun.com.fj/2017/02/07/attack-on-gay-
                men-condemned/.
                  41
                       Id.




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                                         15
                hate crimes have been reported against individuals
                identifying as transgender in Malaysia as well.42
                  In the Philippines, in the first half of 2011 alone, at
                least twenty-eight people were killed on the basis of
                identifying as LGBTQ.43 Moreover, LGBTQ individu-
                als in the Philippines report physical violence within
                their own family. A 2012 report highlighting different
                manifestations of violence against women in the
                LGBTQ community in the Philippines points to family-
                based violence as a form of physical abuse against this
                community:
                       Most of those interviewed said family mem-
                       bers within a nuclear family unit, predominantly
                       male members of family or clan, including
                       fathers, brothers, uncles and stepfathers, had
                       inflicted most of the physical violence. Most
                       incidents of violence occurred immediately
                       after a person voluntarily disclosed her sexual
                       orientation and/or gender identity, was “outed”
                       (a person’s sexual orientation or gender iden-
                       tity is revealed without the person’s know-
                       ledge or permission), or was suspected of
                       being non-heteronormative.44
                The reported acts of violence in these API nations
                are not isolated incidents, and violence against

                  42
                    Neela Ghosal & Thilaga Sulathireh, “The Deceased Can’t
                Speak for Herself:” Violence Against LGBT People in Malaysia,
                GEO. J. OF INT’L AFF. (2019).
                  43
                   U.N. DEV. PROGRAMME & U.S. AGENCY INT’L DEV., Being
                LGBT in Asia: The Philippines Country Report, at 8 (2014).
                  44
                     Kwentong Bebot: Lived Experiences of Lesbians, Bisexual
                and Transgender Women in the Philippines, RAINBOW RIGHTS
                PROJECT, at 14 (2013), https://www.outrightinternational.org/
                sites/default/files/phillipinescc.pdf.




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                LGBTQ individuals remains a real risk across API
                nations. The serious repercussions also decrease
                reporting—suggesting even higher rates of such vio-
                lence actually occur.45 The situation is exacerbated by
                the fact that only two out of over forty API nations (East
                Timor and Mongolia) have enacted legislation aimed at
                curbing violence motivated by sexual orientation.46
                  Despite what appears to be some modest increase in
                legal protections in some API nations, scholars have
                noted that the continued “discrimination, marginal-
                isation and violence experienced by LGBTQ people in
                the countries of Southeast Asia, point to the reality
                that, in practice, recognition of LGBTQ people’s human
                rights is uneven, incomplete and frequently contradic-
                tory and arbitrary, reflecting national, regional and
                international politics, as well as multiple intersecting
                dynamics of privilege and marginalisation.”47



                  45
                     U.S. State Department reports on human rights in Laos and
                the Maldives both highlight the fact that even where “there were
                no reports of discrimination . . . observers believed societal stigma
                and concern about repercussions led some to withhold reporting
                incidents of abuse.” U.S. DEP’T OF STATE, BUREAU OF DEMOCRACY,
                H.R. AND LAB., Laos 2018 Human Rights Report, at § 6 (2018);
                U.S. DEP’T OF STATE, BUREAU OF DEMOCRACY, H.R. AND LAB.,
                Maldives 2018 Human Rights Report, at § 6 (2018) (“There were
                no reports of officials complicit in abuses against LGBTI persons,
                although societal stigma likely discouraged individuals from
                reporting such problems. Local citizens who expressed support
                for LGBTI rights on social media reportedly were targeted for
                online harassment . . .”)
                  46
                       State-Sponsored Homophobia (2019), supra note 5, at 257–
                59.
                  47
                    Cai Wilkinson et al., LGBT Rights in Southeast Asia: One
                Step Forward, Two Steps Back?, IAFOR J. OF ASIAN STUD, at 7
                (2017).




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                                           17
                   And, as was formerly the case in the United States,
                homosexuality is still “treated as an illness” in many
                API countries. Obergefell, 135 S. Ct. at 2596. While
                psychiatrists and others in the United States now
                recognize that “sexual orientation is both a normal
                expression of human sexuality and immutable,” id.,
                the governments of many API nations do not. In
                Indonesia, for example, Government Regulation 61/2014
                on Reproductive Health defines a healthy sexual
                life as free from “sexual orientation dysfunction or
                deviance.”48 The country has become increasingly
                intolerant in the last several years, with increasing
                prosecutions of LGBTQ people under its Pornography
                Law, which refers to same-sex conduct as “deviant
                behavior.”49 In Thailand, until 2011, LGBTQ individu-
                als were banned from serving in the military, branded
                as individuals of “permanent mental disorder.”50 The
                Supreme Court in Singapore has declared that there
                is “no definitive conclusion” on the “supposed immuta-
                bility” of homosexuality and upheld antiquated,
                discriminatory laws from legal challenge.51 For LGBTQ
                DACA recipients, a return to the numerous API
                countries that embrace these harmful and hurtful
                ideologies would deny them the “lawful realm, to


                  48
                       State-Sponsored Homophobia (2017), supra note 8, at 125.
                  49
                     Kyle Knight, Indonesia’s anti-LGBT drive should concern all
                Asia, HUMAN RIGHTS WATCH (Feb. 20, 2018, 1:42 PM), https://
                www.hrw.org/news/2018/02/20/indonesias-anti-lgbt-drive-should-
                concern-all-asia; Badgett et al., supra note 22, at 5.
                  50
                   U.N. DEV. PROGRAMME & U.S. AGENCY INT’L DEV., Being
                LGBT in Asia: Thailand Country Report, at 23 (2014).
                  51
                    Lim Meng Suang et al. v. Attorney General, Court of Appeal
                of Republic of Singapore (decided October 29, 2014), https://
                www.supremecourt.gov.sg/docs/default-source/module-document/
                judgement/-2014-sgca-53-pdf.pdf




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                                          18
                define and express their identity” that they enjoy in
                this country. Obergefell, 135 S. Ct. at 2593.
                The Fundamental Right to Marry:
                  Unlike in the United States, same-sex individuals
                have little to no access to the fundamental right to
                marry in nearly every API country. Thus, despite the
                “utmost importance” of the “fundamental right” to
                marry, LGBTQ API DACA recipients would be denied
                this right entirely if forced to return to their country
                of birth. Obergefell, 135 S. Ct. at 2589, 2605. Only
                in May of this year did Taiwan become the very first—
                and only—country in Asia to recognize same-sex
                marriage.52 Thus, countries that collectively have
                billions of citizens deny this fundamental right to
                same-sex couples, including China, India, Indonesia
                and South Korea. In all of the many countries that do
                not recognize same-sex marriage, DACA recipients
                would be “demean[ed] or stigmatize[ed]” by laws that
                would, if they are removed to one of these many
                countries, “disparage their choices and diminish their
                personhood.” Obergefell, 135 S.Ct. at 2602. Marriages
                recognized in the United States would not be recog-
                nized in their countries of birth, a pernicious and cruel
                result and insult to personhood.
                Public Expression and Freedom of Association:
                  In addition to criminalization and discrimination
                in society at large, the right to free expression and
                association is severely reduced in many API countries.
                In Indonesia, for example, broadcasting standards
                limit LGBTQ expression on TV, with the logic of


                  52
                      Chris Horton, After a Long Fight, Taiwan’s Same-Sex
                Couples Celebrate New Marriages, N.Y. TIMES, May 25, 2019, § A
                at 7; State-Sponsored Homophobia (2019), supra note 5, at 27.




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                                            19
                protecting children, and factions in the country are
                seeking bans on LGBTQ-focused apps and websites.53
                In Pakistan, the media has depicted an admitted serial
                killer of gay men as the “epitome of righteousness.”54
                In the countries that still criminalize same-sex sexual
                activities, freedom of expression and association for
                LGBTQ individuals is often curtailed, if not eliminated
                altogether. Social scientists have described how actors
                in various Southeast Asian countries have used
                “political homophobia”—that is, “overt claims to
                political legitimacy through homophobia”—to advance
                their political goals in culturally and religiously-
                conservative countries.55 For LGBTQ people, such
                political opportunism has, as its devastating side-
                effect, “the perpetuation of a ‘chilly’ socio-political
                climate in which there is little or no protection from
                scapegoating, exclusion, marginalisation, discrimination
                and violence, even in the absence of criminalization.”56
                  In short, LGBTQ individuals would be denied basic
                freedoms that they have obtained and relied on in
                America if the rescission of DACA is upheld and
                LGBTQ API DACA recipients are forced to return to
                their countries of birth. Worse, they would be subject
                to physical, psychological, cultural and sexual violence
                simply for being who they are, and living authentically
                in the United States.




                  53
                    State-Sponsored Homophobia (2017), supra note 8, at 41;
                Badgett et al., supra note 22, at 8.
                  54
                        State-Sponsored Homophobia (2017), supra note 8, at 134.
                  55
                        Wilkinson, supra note 47, at 13 (internal quotations omit-
                ted).
                  56
                        Id., at 14.




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                                         20
                   II. The tens of thousands of LGBTQ DACA
                       recipients, especially those who publically
                       identified themselves as such, will be at
                       increased risk for discrimination and
                       mistreatment if DACA is rescinded
                   Over 800,000 young people have received protection
                from removal through DACA since the policy’s
                inception.57 The Williams Institute at the UCLA School
                of Law estimates that, as of March 2016, “over 36,000”
                of these recipients identify as LGBTQ “including
                24,000 who renewed” based on a “conservative estimate
                of the percentage of LGBTQ individuals among 15 to
                34 year olds eligible for or participating in DACA.”58
                Surveys of LGBTQ DACA recipients indicate the rates
                of self-identification as LGBTQ are actually higher
                than the national average. In a 2015 survey conducted
                by United We Dream, 8.6% of respondents “identified
                as LGBTQ, a rate higher than the national average
                and higher for the 18 to 29 age group.”59 Similarly, the
                authors of a 2017 survey of DACA recipients reported
                that up to 10 percent of all DACA recipients who


                  57
                     U.S. CITIZENSHIP & IMMIGRATION SERVS., Number of Form I-
                821D, Consideration of Deferred Action for Childhood Arrivals,
                by Fiscal Year, Quarter, Intake and Case Status Fiscal Year 2012-
                2019 (June 30, 2019).
                  58
                    Kerith Conron & Taylor N.T. Brown, There are Over 75,000
                LGBT DREAMers; 36,000 Have Participated in DACA, THE
                WILLIAMS INST., UCLA School of Law, at n.3 (Feb. 2017),
                https://williamsinstitute.law.ucla.edu/wp-content/uploads/LGBT
                -DREAMers-and-DACA-February-2017.pdf.
                  59
                      Zenén Jaimes Pérez, A Portrait of Deferred Action for
                Childhood Arrivals Recipients: Challenges and Opportunities
                Three-Years Later, UNITED WE DREAM, at 7 (Oct. 2015), https://
                unitedwedream.org/wp-content/uploads/2015/10/DACA-report-final-
                1.pdf.




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                participated in the survey identified as LGBTQ.60 In
                the 2019 update, 6.3% of respondents identified as gay
                or lesbian, 7.6% identified as bisexual, and 0.3%
                identified as transgender or gender non-conforming—
                indicating the rate of DACA recipients who identify as
                LGBTQ may be substantially higher than in the
                general population, and amount to over 100,000
                individuals.61
                  In order to be eligible for DACA, an undocumented
                immigrant must have entered the United States
                before turning sixteen years old.62 Many DACA
                recipients arrived in the United States at very young
                ages, and have spent their formative years here.
                Surveys of DACA recipients have suggested that the
                average age of entry to this country is just six years
                old.63 Importantly, LGBTQ DACA recipients have
                grown up in a country that provides significant rights

                  60
                     Sharita Gruberg, What Ending DACA Means for LGBTQ
                Dreamers, CTR. FOR AMERICAN PROGRESS (Oct. 11, 2017 11:08
                AM), https://www.americanprogress.org/issues/lgbt/news/2017/10/
                11/440450/ending-daca-means-lgbtq-dreamers/.
                  61
                       Wong et al., supra note 4, at 16.
                  62
                    U.S. DEP’T OF HOMELAND SECURITY, Exercising Prosecutorial
                Discretion with Respect to Individuals Who Came to the United
                States as Children, at 1 (June 12, 2012).
                  63
                     Tom K. Wong et al., 2017 National DACA Study, at 13 (Nov.
                2, 2017), https://cdn.americanprogress.org/content/uploads/2017/11
                /02125251/2017_DACA_study_economic_report_updated.pdf; Wong
                et al., supra note 4, at 15; see also Nicole Svajlenka & Audrey
                Singer, Immigration Facts: Deferred Action for Childhood
                Arrivals (DACA), BROOKINGS METRO. POL’Y PROGRAM (Aug. 14,
                2013), https://www.brookings.edu/research/immigration-facts-def
                erred-action-for-childhood-arrivals-daca/ (“The most common age
                at arrival was eight, however almost one-third (31 percent) were
                five or younger and more than two-thirds (69 percent) were 10 or
                younger when they arrived.”).




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                                            22
                and protections to LGBTQ individuals and where
                opportunities for LGBTQ activism and community are
                ample.64 In building their lives here, especially in
                reliance on the expectation of DACA continuing,
                LGBTQ DACA recipients have often elected to live
                publicly “out” lives on social media and otherwise.
                Those expressions of identity, made in reliance on the
                continued expectation of DACA, cannot be undone and
                could result in serious repercussions in their countries
                of birth, as outlined infra, Section I.
                  Tony Choi is one such individual. Mr. Choi is a
                twenty-eight year old DACA recipient who lives in
                Bergen County, New Jersey. Tony was born in Korea,
                but his family moved to the United States after the
                Asian financial crisis in 1996 when he was eight years
                old.65 Tony identifies as gay, and has become an

                  64
                      See, e.g., Obergefell v. Hodges, 135 S. Ct. 2584 (2015)
                (recognizing same-sex marriage); Lawrence v. Texas, 539 U.S. 558
                (2003) (decriminalizing sodomy); Hively v. Ivy Tech Cmty. College
                of Ind., 853 F.3d 339 (7th Cir. 2017) (extending the protections of
                Title VII of the Civil Rights Act of 1964 to discrimination based
                on sexual orientation); Zarda v. Altitude Express, Inc., 855 F.3d
                76 (2d Cir. 2017) (same); see also 18 U.S.C. § 249 et seq.
                (criminalizing hate crimes on the basis of actual or perceived
                sexual orientation); Executive Order No. 13087, 63 Fed. Reg.
                30097 (May 28, 1998) (prohibiting discrimination in the federal
                government on the basis of sexual orientation); N.Y. Exec. Law
                § 296 (Consol. 2019) (prohibiting discrimination on the basis
                of sexual orientation in many forums in New York); N.J. Stat.
                § 18A:35-4.36 (2019) (requiring New Jersey public schools to teach
                LGBTQ-inclusive materials); Cal Health & Saf Code Div. 104,
                Pt. 5, Art. 5 (2016) (requiring that single-occupancy restrooms in
                California businesses, government buildings, and places of public
                accommodation be universally accessible to all genders).
                  65
                     Uncovering Our Stories: Tony Choi, National Queer Asian
                Pacific Islander Alliance (Oct. 11, 2013), https://www.nqapia.org
                /wpp/uncovering-our-stories-tony-choi/.




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                                          23
                outspoken advocate for undocumented and LGBTQ
                individuals. In Mr. Choi’s own words:
                       In 2010, after the failure of the DREAM Act
                       and my mother’s cancer diagnosis, I had lost
                       hope. The choices ahead of me were to live a
                       closeted life taking care of my mother or to
                       return to Korea where my LGBTQ identity
                       would subject me to harsh hazing for two
                       years in the mandatory military service in an
                       unfamiliar cultural environment echoes away
                       from my home here in New Jersey. Instead, I
                       chose to speak out and find my community.
                       Finding my voice in advocating for, and then
                       in receiving, DACA protection has given me
                       the ability to live a fuller life out of the closet,
                       and allowed me to find a community both
                       online and in New Jersey.
                Mr. Choi has a prominent online presence as an
                LGBTQ activist and organizer. In 2012, Mr. Choi
                appeared on the cover of TIME Magazine alongside
                Jose Antonio Vargas, a nationally recognized immigrant
                rights activist and journalist who is undocumented.66
                   Bupendra Ram is another such individual. Mr. Ram
                is a thirty-two year old DACA recipient who lives and
                works in Los Angeles, California, and identifies as
                queer.67 He was born in Fiji, but is ethnically Indian,
                and came to the United States when he was two years



                  66
                   Feifei Sun, Behind the Cover: America’s Undocumented
                Immigrants, TIME (June 14, 2012).
                  67
                    “Queer” is typically used to denote “people, particularly
                younger people, whose sexual orientation is not exclusively
                heterosexual.” What is LGBTQ?, supra note 2.




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                old.    His family fled Fiji as a result of a political
                     69
                coup. While his family was granted political asylum
                in the United States, Mr. Ram’s name was never
                included on the application through an error of the
                family’s counsel. As a result, he remains undocu-
                mented. In recent years, Mr. Ram has been “‘out’ on
                social media and online.” He has “become more public
                about his identity” as a queer, undocumented South
                Asian immigrant, more involved in activism, and more
                involved in the LGBTQ community. Mr. Ram is a
                vocal advocate for immigration reform.70 In short,
                DACA has allowed Mr. Ram to be more open about his
                identity as both undocumented and queer.
                  Like Mr. Ram and Mr. Choi, many young people
                who identify as LGBTQ are open about their sexual
                orientation and/or gender identity in ways that are
                publicly accessible, such as through activism and social
                media. On average, DACA recipients are 24 years old,
                29% of recipients are between the ages of 16 and 20
                years old, and 37% are between the ages of 21 and 25
                years old.71 Social media use is almost ubiquitous
                within this age group: 90% of people between the ages
                of 18 and 29 years old report they use at least one


                  68
                    Uncovering Our Stories: Bupendra Ram, National Queer
                Asian Pacific Islander Alliance (Aug. 24, 2013), https://www.
                nqapia.org/wpp/uncovering-our-stories-bupendra/.
                  69
                     DACA Stories, Bupendra (Bupen) Ram, SAALT, http://
                saalt.org/policy-change/immigrant-rights/daca-stories/bupendra-
                bupen-ram/ (last visited Sept. 27, 2019).
                  70
                       Id.
                  71
                     Gustavo López & Jens Krogstad, Key facts about unauthor-
                ized immigrants enrolled in DACA, PEW RES. CTR. (Sep. 25, 2017),
                http://www.pewresearch.org/fact-tank/2017/09/25/key-facts-abou
                t-unauthorized-immigrants-enrolled-in-daca/.




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                                         72
                social media platform. These social media platforms
                are widely used amongst young people who identify
                as LGBTQ to convey their unique stories and to build
                community. In a survey of LGBTQ adults, 55% say
                they “have met new LGBTQ friends online” and 43%
                “have revealed their sexual and/or gender identity on
                a social networking site.”73 Both Mr. Ram and Mr.
                Choi use social media in order to convey their stories
                about being undocumented and identifying as LGBTQ.
                They also use social media to connect with similarly
                situated individuals and organizations like NQAPIA,
                and to provide support to other undocumented Asians
                who self-identify as LGBTQ.
                   This use of social media, or more generally being
                identified as “out” online, is significant. It means that
                information regarding DACA recipients’ sexual orien-
                tation and/or gender identity is publically and readily
                available. This information is not limited to individu-
                als residing in the United States but is readily avail-
                able to both governmental and private actors here
                and abroad, putting LGBTQ DACA recipients at
                increased risk for discrimination and mistreatment,
                for the reasons set forth supra. Even without social
                media, it is not unreasonable to expect that the news
                of being “out,” especially in countries that criminalize
                sexual orientation and/or gender identity, will follow
                DACA recipients to their countries of birth.



                  72
                    Social Media Fact Sheet, PEW RES. CTR., INTERNET & TECH.,
                (June 12, 2019), https://www.pewinternet.org/fact-sheet/social-
                media/.
                  73
                    A Survey of LGBT Americans, PEW RES. CTR. SOC. &
                DEMOGRAPHIC TRENDS (June 13, 2013), https://www.pewsocial
                trends.org/2013/06/13/a-survey-of-lgbt-americans/.




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                                           26
                   There is no question that many LGBTQ API DACA
                recipients will face harassment, persecution, violence
                and possible criminal prosecution by virtue of their
                sexual orientation and/or gender identity if DACA
                is rescinded and they are removed to their country
                of birth. This risk is compounded to the extent
                that among the tens of thousands of LGBTQ DACA
                recipients, there are individuals who are “out”—a
                decision undoubtedly guided and informed in reliance
                on the continued expectation of DACA and the protec-
                tions of this country—who will be at higher risk of
                danger if and when removed to their countries of birth.
                This creates a serious risk for Mr. Choi, Mr. Ram and
                those similarly situated if detained and/or removed.
                   If DACA is terminated, many LGBTQ undocu-
                mented immigrants would be subject to removal
                proceedings under United States immigration law.
                Unless individuals are able to apply for another type
                of protection, or agree to voluntarily return to their
                country of birth, such undocumented immigrants
                could be sent to an immigration detention center for
                days or even months during these proceedings. For
                LGBTQ undocumented immigrants, immigration deten-
                tion centers in the United States are particularly violent.
                According to an analysis by the Center for American
                Progress, the Immigration, Customs and Enforcement
                (“ICE”) sexual assault reporting data released pursu-
                ant to the Prison Rape Elimination Act demonstrates
                that, in 2017, “although LGBT people were 0.14
                percent of the people ICE detained in FY2017, they
                accounted for 12 percent of victims of sexual abuse and
                assault in ICE detention that year.”74 This means that

                  74
                   Sharita Gruberg, ICE’s Rejection of Its Own Rules Is Placing
                LGBT Immigrants at Severe Risk of Sexual Abuse, CTR. FOR
                AMERICAN PROGRESS (May 30, 2018, 12:00 PM), https://www.




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                “assuming each report of sexual violence is substanti-
                ated and involves a separate victim, LGBTQ people in
                ICE custody are 97 times more likely to be sexually
                victimized than non-LGBTQ people in detention.”75
                Further, the “ICE data show[s] that 1 in 8 transgender
                people detained in FY 2017 were placed in solitary
                confinement” which is “considered a form of torture by
                the United Nations.”76
                  The risks and violence continue if an individual is
                removed. As Mr. Choi has stated:
                       For many of us, going back to our home
                       countries is a scary proposition because of
                       our queerness. I worry about my safety, and
                       the safety of my fellow undocumented DACA
                       recipients. I have serious concerns about
                       being forced to return to Korea as a gay man,
                       including forced conscription to a military
                       that openly criminalizes, and punishes, homo-
                       sexual acts. Further, I am deeply concerned
                       that I will be unable to adjust to an unfamil-
                       iar culture after two decades of life here in the
                       United States.
                As Mr. Choi has recognized, removal to Korea would
                have a severe impact on his life. Korea’s mandatory
                conscription mandates that he serve in a military

                americanprogress.org/issues/lgbt/news/2018/05/30/451294/ices-rej
                ection-rules-placing-lgbt-immigrants-severe-risk-sexual-abuse/.
                  75
                       Id.
                  76
                    Sam Hananel, Release: LGBT Immigrants in Detention
                Centers at Severe Risk of Sexual Abuse, CAP Analysis Says, CTR.
                FOR AMERICAN PROGRESS (May 30, 2018), https://www.amer
                icanprogress.org/press/release/2018/05/30/451380/release-lgbt-im
                migrants-detention-centers-severe-risk-sexual-abuse-cap-analysis-
                says/.




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                which outlaws and could prosecute him for “sodomy
                or other disgraceful conduct”77 (a provision that was
                upheld as constitutional as recently as July 2016).78
                  Mr. Ram would also be put at risk for societal
                discrimination and violence on the basis of his sexual
                orientation.79 In fact, he reports hearing even “close
                family members make anti-LGBTQ comments about
                how they would hurt members of my community.”
                Further, Mr. Ram’s family left Fiji because of the
                political climate, which was severe enough and dan-
                gerous enough for his family members as ethnic
                Indians to be granted asylum in the United States.80
                That danger and discrimination would be compounded
                by his LGBTQ status.
                  Both men would lose these civil protections afforded
                to them in the United States, including the fundamen-
                tal right to marry.81 Neither man could engage in any

                  77
                       MILITARY CRIMINAL ACT (SOUTH KOREA) Article 92-6.
                  78
                       State-Sponsored Homophobia (2019), supra note 5, at 132.
                  79
                       See supra text accompanying note 38.
                  80
                     To be eligible for asylum in the U.S., Mr. Ram’s family
                must have faced demonstrated “persecution” in Fiji. See 8 U.S.C.
                § 101(a)(42). “[P]ersecution must rise above unpleasantness,
                harassment and even basic suffering.” Nelson v. INS, 232 F.3d
                258, 263 (1st Cir. 2000). Rather, persecution in asylum jurispru-
                dence is “an extreme concept”, marked by “the infliction of suffer-
                ing or harm . . . in a way regarded as offensive.” Li v. Ashcroft,
                356 F.3d 1153, 1158 (9th Cir. 2004) (quoting Ghaly v INS, 58 F.3d
                1481 (9th Cir. 1995)).
                  81
                      In fact, in Fiji, the prime minister has explicitly stated that
                his government would “never” allow same-sex marriage in his
                lifetime, and called same-sex marriage “rubbish.” Fiji PM’s gay
                marriage comments shock, RNZ (Jan. 6, 2016, 7:31 PM), https:
                //www.rnz.co.nz/international/pacific-news/293597/fiji-pm’s-gay-
                marriage-comments-shock.




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                                         29
                LGBTQ advocacy without real risk of repercussions
                and possible violence.82
                   LGBTQ API DACA recipients who have built their
                lives in this country should not be arbitrarily forced to
                return to face near-certain discrimination and mistreat-
                ment in countries that for many recipients, will be
                entirely foreign. As Mr. Ram stated:
                       Receiving DACA allowed me for the first time
                       to breathe easier. I can live, I can take care
                       of myself, and I have some stability. Removal
                       would take all that I have worked for away,
                       and place me without any support in a
                       country I do not even remember. I would also
                       be separated from my family and friends who
                       live in America.
                  Rescinding DACA for Mr. Choi, Mr. Ram and other
                LGBTQ recipients would be the perfect embodiment of
                what the Court of Appeals deemed “the cruelty and
                wastefulness of deporting productive young people to
                countries with which they have no ties.” Regents of the
                Univ. of Calif. v. U.S. Dep’t Homeland Sec., 908 F.3d
                476, 486 (9th Cir. 2018). Removal to countries of
                birth is exceptionally cruel for LGBTQ API DACA
                recipients, who not only have no ties to their countries
                of birth, but would also face discrimination, criminal
                prosecution violence upon their return.




                  82
                     Further, both Mr. Ram and Mr. Choi are very active in the
                Asian LGBTQ community, and if DACA is rescinded, their removal
                will be an irreparable loss to the community and NQAPIA.




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                                         30
                                     CONCLUSION
                  For the foregoing reasons and those in the briefs of
                Respondents and other amici curiae supporting them,
                the National Queer Asian Pacific Islander Alliance,
                Inc., and the other amici curiae on this brief urge the
                Court to affirm the judgments of the Court of Appeals
                for the Ninth Circuit and the United States District
                Court for the District of Columbia, as well as the
                orders of the United States District Court for the
                Eastern District of New York.
                                              Respectfully submitted,

                GLENN D. MAGPANTAY            SUSAN M. FINEGAN
                  Executive Director            Counsel of Record
                     and Counsel              MEREDITH M. LEARY
                NATIONAL QUEER ASIAN          KAITLYN A. CROWE
                  PACIFIC ISLANDER            ANGEL FENG
                  ALLIANCE, INC.              GEOFFREY A. FRIEDMAN
                P.O. Box 1277                 RITHIKA KULATHILA
                Old Chelsea Station           MARGUERITE MCCONIHE
                New York, NY 10113            MINTZ, LEVIN, COHN,
                                                FERRIS, GLOVSKY AND
                217 West 18th Street, #1277
                                                POPEO, P.C.
                New York, NY 10011
                                              One Financial Center
                (917) 439-3158
                                              Boston, MA 02111
                                              (617) 542-6000
                                              SMFinegan@Mintz.com
                               Counsel for Amici Curiae

                September 30, 2019




                                                                           AR4750
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                                  APPENDIX




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                                        1a
                                     APPENDIX
                                List of Amici Curiae
                   API Equality – Northern California (APIENC)
                builds queer and transgender Asian and Pacific
                Islander power to amplify their voices and increase the
                visibility of their communities. Through organizing,
                the organization inspires and trains leaders, estab-
                lishes intergenerational connections, and documents
                and disseminates queer and transgender Asian and
                Pacific Islander histories.
                  API Rainbow Parents of PFLAG NYC provides
                information and support to Asian Pacific Islander
                families with LGBTQ family members.
                  The mission of the APICHA Community Health
                Center – New York City is to improve the health of
                the community and to increase access to comprehen-
                sive primary care, preventive health services, mental
                health, and supportive services for underserved and vul-
                nerable people, especially Asians and Pacific Islanders,
                the LGBT Community and individuals living with and
                affected by HIV/AIDS.
                  Asian and Pacific Islander Queers United for
                Action (AQUA) promotes the positive identity and
                general welfare of the LGBTQ+ members of the Asian
                and Pacific Islander communities in the DC metro
                area, through advocacy, coalition building, education,
                networking, outreach, and support.
                   Founded in 1992, Asian Pacific American Labor
                Alliance (AFL-CIO), is the first and only national
                organization of Asian American and Pacific Islander
                (AAPI) workers, most of who are union members, and
                allies advancing worker, immigrant and civil rights.




                                                                           AR4752
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                                            2a
                   The Asian Pacific Islander Queer Women and
                Transgender Community – San Francisco is a
                fun, welcoming, multi-generational group of Asian &
                Pacific islander queer women and transgender people
                in the Bay Area, who are building community together.
                It is the legacy of queer A&PI activism, stemming from
                earlier-founded organizations going back to 1987. It is
                a wholly volunteer-based organization.
                  ATL Q+A – Atlanta supports and respects Queer/
                Trans Asian folx living in the Atlanta area.
                  Equality Federation is the movement builder and
                strategic partner to state-based organizations advo-
                cating for LGBTQ people.
                  The Gay Asian and Pacific Islander Men of
                New York (“GAPIMNY”) was founded on 1990 and
                is an all-volunteer, membership-based community
                organization that provides a range of political, social,
                educational, and cultural programming. GAPIMNY
                works in coalition with other community organizations
                to help educate its communities on issues of race,
                sexuality, gender, and health. Its mission is to
                empower LGBT Asian and Pacific Islander people to
                create positive change.
                  The Gay Asian Pacific Alliance (GAPA) in San
                Francisco Bay Area is an organization dedicated to
                furthering the interests of LGBT Asian and Pacific
                Islanders by creating awareness, developing a positive
                collective identity, and establishing a supportive
                community. GAPA envisions a powerful Queer Trans
                Asian and Pacific Islander community that is seen,
                heard, and celebrated.
                  The GLBT Fund of America, Philadelphia was
                established in 2007 to support its community in the
                areas of social justice, health needs and civil rights.




                                                                           AR4753
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                                            3a
                  Through strategic litigation, public policy advocacy,
                and education, GLBTQ Legal Advocates & Defenders
                (GLAD) works in New England and nationally to
                create a just society free of discrimination based on
                gender identity and expression, HIV status, and
                sexual orientation. GLAD has litigated widely in both
                state and federal courts in all areas of the law in order
                to protect and advance the rights of lesbians, gay men,
                bisexuals, transgender individuals and people living
                with HIV and AIDS. GLAD has an enduring interest
                in affirming the right of all LGBTQ individuals to live
                in a free and just society.
                  Immigration Equality is a leading national non-
                profit organization that provides legal services and
                advocacy for lesbian, gay, bisexual, transgender, queer
                (“LGBTQ”) and HIV-positive immigrants.
                  Invisible to Invincible Asian Pacific Pride of
                Chicago (i2i) is a community-based organization
                that celebrates and affirms Asians & Pacific Islanders
                who identify as Lesbian, Gay, Bisexual, Transgender,
                Questioning, and Queer in the Chicago area.
                  KhushATX, is an active South Asian gay, lesbian,
                bisexual, and transgender group based in Austin, Texas.
                  Korean American Rainbow Parents (KARP) –
                Washington D.C., aims to build compassion on queer
                issues within the Korean American community, on
                behalf of LBGTQ loved ones.
                  Korean Queer and Transgender Organization
                of Washington, DC is comprised of LGBTQ individ-
                uals, parents, and allies of Korean descent committed
                to promote a welcoming space and advocating for
                LGBTQ rights.




                                                                            AR4754
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                                           4a
                   Lambda Legal Defense and Education Fund,
                Inc. is the nation’s oldest and largest non-profit legal
                organization committed to achieving full recognition
                of the civil rights of lesbians, gay men, bisexuals,
                transgender, and queer (“LGBTQ”) people and every-
                one living with HIV through impact litigation, educa-
                tion, and public policy work. Lambda Legal’s advocacy
                on behalf of youth and adult immigrants includes,
                in addition to direct representation to secure legal
                protections, educating the public and courts regarding
                the emotional and physical harm and state-sponsored,
                government-sanctioned discrimination faced by LGBTQ
                people and people living with HIV, or those perceived
                to be, in countries around the world and the life or
                death consequences if forced to return to their home
                countries.
                  Since 1969, the Los Angeles LGBT Center has
                cared for, championed, and celebrated LGBT indi-
                viduals and families in Los Angeles and around the
                world. Today, the organization’s nearly 750 employees
                provide services for more LGBT people than any other
                organization in the world, offering programs, services,
                and global advocacy that span four broad categories:
                health, social services and housing, culture and
                education, and leadership and advocacy.
                  National Black Justice Coalition is a civil rights
                organization dedicated to empowering Black lesbian,
                gay, bisexual, and transgender people.
                  Founded in 1973, the National LGBTQ Task
                Force is a progressive social justice organization that
                works to build power, take action, and create change
                to achieve freedom and justice for LGBTQ people and
                their families. The Task Force works toward a society
                that values and respects the diversity of human
                expression and identity and achieves equity for all.




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                                            5a
                   Our Space LGBT Youth Center is a vibrant safe
                space for LGBTQ youth ages 11-23 in Alameda County
                which served over 500 queer and trans youth each
                year. LGBTQ young people experience significantly
                higher rates of harassment and abuse—as well as
                poverty, homelessness, and involvement in the child
                welfare and juvenile justice systems—than their
                straight peers. Our Space provides the much-needed
                safe space where LGBTQ youth can express their
                authentic selves and feel seen, accepted, and celebrated.
                Comprehensive services for youth include: peer support
                groups in schools, community-based mental health
                and case management, intergenerational community
                building activities, paid youth leadership opportuni-
                ties, as well as a community center with drop-in hours
                and a gender affirming clothing closet and food pantry.
                Our Space also offers specialized support services for
                adult caregivers and families, as well as trainings for
                staff from schools, clinics, and other service providers
                working with LGBTQ youth. At its heart, Our Space
                is working to create a world where LGBTQ youth are
                empowered to show fierce love for themselves and
                their community.
                  OutRight Action International seeks to advance
                human rights and opportunities for LGBTIQ people
                around the world by developing partnerships at global,
                regional, and national levels to build capacity, docu-
                ment human rights violations, advocate for inclusion
                and equality, and hold leaders accountable for protect-
                ing the rights of LGBTIQ people.
                  Philadelphia Asian & Queer (PAQ) is a volun-
                teer, social organization that strives to engage queer
                (LGBTQIA+), Asian Pacific Islander (API) folx within
                the greater Philadelphia area. Through a range of
                advocacy, social and supportive programming, PAQ




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                                        6a
                commits to building and uniting the collective voices
                of the queer, API community.
                   PFLAG is the first and largest organization for
                lesbian, gay, bisexual, transgender, and queer (LGBTQ+)
                people, their parents and families, and allies. With
                over 400 chapters and 200,000 members and support-
                ers crossing multiple generations of families in major
                urban centers, small cities, and rural areas across
                America, PFLAG is committed to creating a world
                where diversity is celebrated and all people are
                respected, valued, and affirmed. PFLAG’s mission is
                to build on a foundation of loving families united with
                LGBTQ people and allies who support one another,
                and to educate ourselves and our communities to
                speak up as advocates until all hearts and minds
                respect, value and affirm LGBTQ people.
                  The PFLAG – San Gabriel Valley Asian Pacific
                Islander accomplishes the vision and mission of
                PFLAG National in promoting the health and well-
                being of LGBT individuals, their families, and friends
                through: support, education and advocacy. The organ-
                ization addresses the culture-specific needs of the
                Asian-American, Pacific-Islander, East Asian, and South
                Asian people and fosters inter-generational dialogue.
                  Queer South Asian Collective Community –
                Boston is a collective community of LGBTQIA folx,
                residing in the Greater Boston Area of API descent.
                  Q-WAVE is a community organization based in
                New York City, founded in 2004. It is dedicated to
                strengthening the voices of lesbian / bisexual / queer
                women and transgender / gender variant people of
                Asian & Pacific Islander descent.
                  SAGE NYC leads in addressing issues related to
                lesbian, gay, bisexual and transgender (LGBT) aging.




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                                          7a
                In partnership with its constituents and allies, SAGE
                works to achieve a high quality of life for LGBT older
                people, supports and advocates for their rights, fosters
                a greater understanding of aging in all communities,
                and promotes positive images of LGBT life in later
                years.
                   SALGA NYC serves to promote awareness,
                acceptance, empowerment, and safe inclusive spaces
                for people of all sexual orientation and/or gender
                identity, who trace their heritage to South Asia or who
                identify as South Asian. SALGA-NYC is a not-for-
                profit, all-volunteer organization, serving the South
                Asian LGBT community. Its mission is to enable
                community members to establish cultural visibility
                and take a stand against oppression and discrimina-
                tion in all its forms.
                  San Francisco LGBT Center is San Francisco’s
                only organization serving the full spectrum of LGBT
                communities. The Center innovates powerful human
                service programs to meet changing community needs,
                to address problems that have been neglected, and to
                shine light on LGBT culture and community in new
                ways. The Center’s major program areas are economic
                development, youth programming, community pro-
                gramming and building services.
                  Satrang Los Angeles, serves the South Asian LGBTQ
                community by promoting awareness, acceptance, and
                empowerment through social, educational, and advocacy-
                related events. It envisions and works towards an
                inclusive and visible community in which South Asian
                LGBTQ-identified people feel whole and heard.
                 Transgender Legal Defense and Education
                Fund is an American civil rights organization that




                                                                           AR4758
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                                          8a
                focuses on transgender equality through impact litiga-
                tion and public policy work.
                  Trikone offers a supportive, empowering and non-
                judgmental environment where LGBTQ South Asians
                and their allies can meet, make connections, and
                proudly promote awareness and acceptance of their
                sexual identity.
                  UTOPIA Seattle’s mission is to provide sacred
                spaces to strengthen the minds and bodies of QTPIs
                (Queer and Trans Pacific Islanders) through commu-
                nity organizing, community care, civic engagement,
                and cultural stewardship.




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                           Nos. 18-587, 18-588, and 18-589
                                                      IN THE

                 Supreme Court of the United States
                                 ___________________________________________________________________



                                  DEPARTMENT OF
                             HOMELAND SECURITY, ET AL., Petitioners,
                                         v.
                             REGENTS OF THE UNIVERSITY
                               OF CALIFORNIA, ET AL.,  Respondents.
                                 ___________________________________________________________________



                        DONALD J. TRUMP, PRESIDENT OF THE
                               UNITED STATES, ET AL.,   Petitioners,
                                        v.
                   NATIONAL ASSOCIATION FOR THE ADVANCEMENT OF
                              COLORED PEOPLE, ET AL., Respondents.
                                 ___________________________________________________________________



                     KEVIN K. MCALEENAN, ACTING SECRETARY OF
                            HOMELAND SECURITY, ET AL., Petitioners,
                                       v.
                 MARTIN JONATHAN BATALLA VIDAL, ET AL., Respondents.
                                 ___________________________________________________________________



                           ON WRITS OF CERTIORARI TO THE
                      UNITED STATES COURTS OF APPEALS FOR THE
                          NINTH, D.C., AND SECOND CIRCUITS
                                 ___________________________________________________________________



                  BRIEF OF TIM COOK, DEIRDRE O’BRIEN, AND
                           APPLE AS AMICI CURIAE
                        IN SUPPORT OF RESPONDENTS
                                 ___________________________________________________________________



                 Mark S. Davies              E. Joshua Rosenkranz
                 Thomas M. Bondy                Counsel of Record
                 Jeremy R. Peterman          ORRICK, HERRINGTON &
                 Upnit K. Bhatti                SUTCLIFFE LLP
                 Aaron Brecher               51 West 52nd Street
                 ORRICK, HERRINGTON &        New York, NY 10019
                    SUTCLIFFE LLP            (212) 506-5000
                 1152 15th Street, N.W.      jrosenkranz@orrick.com
                 Washington, D.C. 20005
                                Counsel for Amici Curiae




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                          INTEREST OF AMICI CURIAE 1

                     Apple is a company rooted in innovation that aims
                to make the world a better place. Tim Cook is its CEO,
                and Deirdre O’Brien is its Senior Vice President of Re-
                tail and People. Mr. Cook joined Apple in 1998, and
                Ms. O’Brien in 1988. In this submission, Mr. Cook and
                Ms. O’Brien speak for Apple and, importantly, for
                themselves. Apple has filed numerous briefs before
                this Court, but this is the first time we lend our own
                names as well. We do so here to stress that not only
                does Apple care as a company, but we care as leaders,
                colleagues, and human beings. This is an issue we feel
                to our core.

                    Since 1976, Apple has made its name by design-
                ing, developing, selling, and maintaining cutting-edge
                consumer electronics including mobile communica-
                tions devices, personal computers, and related soft-
                ware and services. Apple’s success stems from its
                people. They shape and embody Apple’s culture of in-
                novation. Apple employs a diverse workforce of over
                90,000 employees in the United States alone.

                    Among those people are hundreds of DACA recip-
                ients who had no say in the decision to travel to this
                country and have known no other home. Apple em-
                ploys DACA recipients who embody Apple’s commit-
                ment to innovation in a wide variety of positions. As


                     1 The parties have consented to the filing of this brief. No

                counsel for a party authored the brief in whole or in part. No
                party, counsel for a party, or any person other than amici and
                their counsel made a monetary contribution intended to fund the
                preparation or submission of the brief.




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                                          2

                we explain below, they, and immigrants like them,
                are vital to Apple’s success. They spark creativity and
                help drive innovation. They are among our most
                driven and selfless colleagues.

                    Our interest in this case is simple: We are dis-
                tressed at the prospect of ripping our DACA col-
                leagues from the fabric of our company. This issue is
                a moral one: Our country made a deal with a highly
                vulnerable population interested in a bright future,
                and we should keep that deal.

                             INTRODUCTION AND
                           SUMMARY OF ARGUMENT

                    We are often asked, “How does Apple do it?” How
                has Apple devised a parade of revolutionary new
                products and services that no one ever imagined? How
                has Apple achieved one technological breakthrough
                after another? How has Apple made its products so
                consistently innovative and appealing that people all
                across the world, from all walks of life, enjoy them?

                     The answer is our people. Our recipe for success
                is simple: Hire the best people, from the most diverse
                backgrounds. They will solve the most challenging
                technological problems. They will find new ways to
                connect to the broadest population and new ways to
                provide the best customer experience. This is Apple’s
                innovation strategy. It is all about the people—and
                their rich diversity.

                    After the DACA program was created, Apple ea-
                gerly sought out and hired Dreamers—relying on the
                commitment our government made to them. Today,




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                                          3

                Apple employs 443 Dreamers who come from more
                than 25 different countries on four continents. We did
                not hire them out of kindness or charity. We did it be-
                cause Dreamers embody Apple’s innovation strategy.
                They come from diverse backgrounds and display a
                wide range of skills and experiences that equip them
                to tackle problems from different perspectives. Be-
                cause they thrived in the face of adversity, they often
                exhibit extraordinary levels of grit and drive.

                    We can say from experience that DACA promotes
                innovation—for us at Apple and for companies all
                across the United States. This brief features the sto-
                ries of five of our DACA colleagues who play vital
                roles throughout Apple. They help shape our culture.
                Their personal stories, work ethic, and success inspire
                us. Apple and companies like it would be weaker and
                less competitive without these extraordinary individ-
                uals in our workforce. They have earned the right to
                continue to contribute to our company and to our so-
                ciety.

                    Which brings us to a broader—and more funda-
                mental—point. One of Apple’s core values is the belief
                that equal opportunities should be available for all,
                regardless of background. The United States is at its
                best when all people are free to pursue their dreams.
                Our country has enjoyed unparalleled success by wel-
                coming people from around the world who seek to
                make a better life for themselves and their families,
                no matter their backgrounds.

                    DACA is an embodiment of those ideals. The
                Dreamers were brought to this country at a young
                age, typically through no choice of their own. When




                                                                           AR4766
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                                          4

                they were old enough to make their own choices, our
                country offered them a deal, which they accepted at
                great personal peril. They fulfilled their end of the
                bargain. They have done everything right. In their
                patriotism, dedication to their families and communi-
                ties, and commitment to making their country a bet-
                ter place, they are as American as any of us. They
                simply want the opportunity to continue to work,
                meet their obligations to society, raise and support
                their families, and pursue the American dream. We
                collectively have a moral obligation to uphold our end
                of the bargain. When we do, our country will be richer
                for it.

                                    ARGUMENT

                    1. Apple did not become one of the most successful
                companies in the history of the world by doing things
                conventionally. Apple’s success story is a story of in-
                novation. We have succeeded by disrupting the mar-
                ketplace with revolutionary products, novel strategies
                to engage the public, and new approaches to customer
                interactions. None of this would have happened with-
                out our diverse workforce.

                    For Apple, diversity is a technological and busi-
                ness imperative. Suppose you need to solve a compli-
                cated, multifaceted problem. It could be a
                technological problem that no one else has ever fig-
                ured out, such as how to make a transparent
                touchscreen that can respond to multiple touches;
                how to make a watch provide life-saving assistance;
                or how to fulfill the promise of augmented reality. It
                could be a customer-relations challenge, such as how




                                                                           AR4767
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                                           5

                to teach the latest technology to someone who is buy-
                ing her first smartphone; or how to ensure Apple cus-
                tomers receive the very best service when they are
                ready to purchase a new device. It could be a problem
                across hundreds of dimensions.

                    One approach is to gather a group of problem solv-
                ers with the same upbringing, experiences, and edu-
                cations. That is a recipe for group think. Apple strives
                to gather together a diverse group, with wildly differ-
                ent perspectives, educations, and life experiences.
                When you do that magical things happen. You find
                better solutions. You intuit things about customers
                who are not the same as you. That is how you inno-
                vate.

                     2. It is this culture of innovation—this technolog-
                ical imperative—that first attracted us to Dreamers.
                Apple’s investment in Dreamers has paid huge divi-
                dends. Dreamers fuel creativity, broaden knowledge,
                and help drive innovation. They inspire all of us. They
                make Apple better. They make our country better.

                     Apple employs Dreamers across 36 states and in
                all regions of the country. Dreamers at Apple run the
                gamut of roles within the company. They are Hard-
                ware Development Engineers, Software Engineers
                and Technicians, Retail Store Geniuses, and Support
                and Operations Specialists. With their diverse expe-
                riences and educational backgrounds, they bring dif-
                ferent technological solutions to the table. Speaking
                numerous languages, they also educate customers on
                the latest technology and help repair broken devices
                in Apple’s stores. Having grown up in families from




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                                               6

                different cultures, they display different sensibilities
                about customer interactions.

                    Each brings his or her own story of adversity,
                achievement, and commitment to excellence. Each
                contributes to Apple’s success in his or her own way—
                and in ways that would not be replicated by plugging
                just any cog into the wheel. As a group, they tend to
                display levels of determination and resolve that would
                be the pride of any business. We could tell you 443
                stories to illustrate these attributes. Instead, we will
                focus on an illustrative five. 2

                    D.O. came from Mexico as an eight-year-old when
                his mother sacrificed everything to reunite with her
                family in the United States. He saw his mother strug-
                gle to find a steady job and then ultimately “work in
                the fields. It [wa]s really hard, manual labor. It is so
                tough on her body and I see how it wears her out. So
                seeing my mom have to work like that, I knew I
                needed to do everything I could, work as hard as I
                could, to get a job that would allow her to stop working
                in the fields. You know, working in the fields, you
                don’t get benefits, you don’t get a retirement plan. I’m
                my mom’s retirement plan.” Growing up, D.O.’s main
                goal was to own a computer. “I always had to work
                just to get my hands on a device.” He focused his in-
                terest and passion for computers toward helping his
                community. He helped students learn how to code and
                worked as a program coordinator, teaching students

                     2 All Dreamers are highly vulnerable and fear retribution.

                The Dreamers in the stories below have authorized us to use
                their initials, except for “A.B.,” who requested complete anonym-
                ity.




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                the skills they needed to succeed in software engineer-
                ing. “These jobs focused on giving back to my commu-
                nity, and the reason why I give back is because I’ve
                seen what can happen to kids like me if they don’t get
                opportunities to be on a laptop and get their hands on
                the programs that they want to write. Due to the way
                I grew up and what I wanted to do, it was hard to get
                the opportunities that I had.”

                     D.O. explains how his background affects his pro-
                fessional endeavors. “I think the adversity I faced led
                me to develop a really strong work ethic that allowed
                me to succeed. I attended a college program where you
                could graduate with your bachelor’s in three years in-
                stead of four—but that meant no breaks, no summers
                off. All school all the time. It was an intense schedule
                but because of my drive to get my mom out of her
                manual labor job, I was able to stay committed to the
                program.”

                     That drive has contributed to D.O.’s success at
                Apple, which hired him out of college as a software
                development engineer in Sunnyvale, California. Rec-
                ognizing his work ethic and skills, D.O.’s supervisors
                have commented, “He was learning so fast that we
                couldn’t even keep up with him!” D.O. was hired about
                four weeks ago and is already known for his research
                skills and for his ability “to come up with his own
                ideas.” It was an “easy decision to hire him. He was as
                brilliant as anybody we could get. He is of the highest
                caliber for any new college hire.” Given his “determi-
                nation, ability to learn, and keenness to provide new
                ideas, he [has become a] well-respected team mem-
                ber.”




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                    W.V.’s father faced struggles in Peru and moved
                to the United States, leaving his family behind for
                several years. W.V. was eight years old when his fa-
                ther brought him here. W.V. says he is motivated by
                “the sacrifices my mom and dad made. My dad never
                saw his family again.” At first, he says, “I didn’t have
                a drive. Because there was no DACA back then, I
                knew I wouldn’t be able to get a job so I didn’t have
                the drive to do well. But when my dad passed away, I
                knew I had to work hard.” He simply had to support
                his mother and sister. The obstacles W.V. faced
                helped him learn how to think outside the box. “I’ve
                been in some [difficult situations]. But just like my
                dad, I’m going to go with it. Just going with the flow
                and finding the best solution that I can find.”

                    Apple originally hired W.V. as a contractor. But
                managers quickly noticed his unique abilities and he
                was offered a full-time position as a Maps Analyst.
                His supervisor emphasizes that W.V. has always been
                “a top performer and takes initiative and runs with
                anything we give him.” He is “one of the best people
                I’ve had working for me. He’s become an indispensa-
                ble part of my group.” If W.V. had to leave the country,
                his supervisor worries, “I don’t know if his replace-
                ment would be able to do what he can do.”

                                         ***

                     A.B. was born and raised in a small town in Mex-
                ico. She was brought to the United States at the age
                of eight. Her sister was born in the United States.
                Growing up, she says, “I knew I would not have the




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                same opportunity to continue my education after high
                school or even have a standard career like my sister
                due to my legal status.” So she “had to get creative
                and find a different path to success.” A.B. gets her mo-
                tivation from her mother who cleans houses for a liv-
                ing. She says, “Her work ethic drives me. I learned to
                give it 110% because of her.” A.B. started working at
                a very young age. She explains, “I had to make sure
                what my family went through wasn’t for nothing.”
                DACA gave her hope and opportunity. She made it to
                Apple, where she now works in an Apple store in Lou-
                isville. She explains how her background prepared
                her for her current job at Apple. “I’m not above any-
                thing. My mom is a cleaning lady. I can do anything.
                I can tackle anything. She doesn’t even know the lan-
                guage, but she’s out there. So what’s stopping me?”
                Her struggles have taught her to “be more patient and
                put my energy in my work, even if it’s the energy
                that’s fueled by people hating on me or misunder-
                standing me.”

                    A.B.’s supervisor also describes her as “a super-
                star!” “She’s one of the most positive team members
                that I’m lucky enough to lead.” A.B. started out as a
                part-time employee, but “I sat her down and asked
                her to come on full-time because she was so positive.
                She offers to stay late or work in another area of the
                store every day just to support the store.” She re-
                counts that “we just recognized her two days ago. I
                talked to my leaders about how great she is. She’s
                quick, accurate, and knows how to engage with cus-
                tomers. She’s very personable. She’s one of my favor-
                ites!”

                                         ***




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                     K.G.’s parents arranged for him to come to the
                United States from Mexico when he was eight years
                old to join his father, who had moved earlier. “Living
                without my dad for a good long time was difficult,” he
                recounts. “Financially, we were not very stable. For
                us to come here to the U.S., mom had to sell her car.
                We had to travel from Central Mexico.” K.G.’s empa-
                thy and work ethic were driven by tough circum-
                stances that have fostered a sense of gratitude for his
                chances here. He explains, “These tough circum-
                stances changed how I see things in life. I matured
                faster because of that. Changed [because of] my hav-
                ing to learn a whole new language.” Because of these
                hardships, “I’ve been able to push myself more to look
                for the things that I want and work harder.” Within a
                year of coming to the United States, “I was already
                speaking English fairly fluently. I now speak three
                languages.”

                    K.G. now works as a part of our AppleCare team
                in Austin. Though he’s been with Apple less than a
                year, he is already impressing supervisors with his
                ability to pick up details of Apple’s procedures. He ex-
                plains what drives him: “I want to be more successful
                than what my parents were able to be. They brought
                me here to become a better person and have better
                luck than they had. [So] I appreciate every oppor-
                tunity I’m presented, and I always try to do my best.”

                                         ***

                    L.D. was five when she moved to the United
                States from Brazil with her parents. At such a young
                age, she didn’t realize how her life would change and
                what obstacles she would face, but growing up she




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                learned this fact very quickly. “I saw how difficult it
                was for my parents and how it may be for me and my
                sister. We couldn’t visit our family. When my grand-
                parents passed away, my parents couldn’t go back.
                People always judge us and ask why we’re here. It’s
                uncomfortable because we can’t share our story be-
                cause we don’t know how someone will take it.” But
                “DACA helped me and my sister not feel different
                from everyone else.”

                    L.D. is now working as a Retail Specialist at Ap-
                ple. Her supervisors have asked her to train new em-
                ployees even though that function was not initially
                part of her official job description. She attributes her
                success to her ability to “educat[e herself] about eve-
                rything that’s going on.” She’s also “able to relate with
                everyone and care about everyone. Even if I don’t
                speak their language, I’m able to relate and be patient
                with them because I saw that with my parents who
                didn’t speak English.”

                    Her supervisors “appreciate [her] diversity and
                [her] customer focus, and [she] gets opportunities oth-
                ers don’t” because of her unique skills. “We can lean
                on her for a lot of things,” her supervisors stress. “One
                thing that sticks out is her ability to connect with peo-
                ple and embody our values.” L.D. is “one out of 2
                among 100 of our employees who has been chosen to
                train new employees on Apple’s values, products, and
                how to connect with our customers.” We “want her to
                be the first impression [our new employees] have with
                Apple.” “Others can also speak multiple languages,
                but they cannot relate to customers like her.” Coming
                from another country, “she can connect with custom-
                ers in a unique way—other employees can’t provide




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                that exceptional experience.” In our customer re-
                views, she is rated “one of the highest consistently.”

                                         ***

                    As different as these stories are, they all have a
                few things in common. First, they display how unique
                backgrounds have translated into tangible skills and
                capabilities that set Apple apart in every arena. Sec-
                ond, they display the grit that inevitably translates
                into personal and collective success.

                     Third, they inspire us—all of us, at every level of
                the company. Apple would quite literally not exist
                without a brilliant and driven population of immi-
                grants. Apple founder Steve Jobs’s father immigrated
                from Syria. Dreamers form a pipeline from which fu-
                ture managers and leaders will be drawn. Each is an
                innovator with promotion potential, and we would be
                thrilled if they spent their careers at Apple. Infusions
                of talent like the Dreamers from around the globe sus-
                tain and help drive Apple’s ability to thrive. Every one
                of these talented Dreamers should have the same op-
                portunities as Steve did to create, work hard, and help
                change the world for the better.

                    Fourth, these are all quintessentially American
                stories—stories about the American Dream: Come
                from nothing, follow the rules, work hard, contribute,
                and then prosper and make us all more prosperous.

                    3. Apple is not the only company that subscribes
                to the view that diversity drives innovation—and that
                has found huge value in hiring DACA recipients. This
                Court will hear from many tech companies—run by




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                executives across the ideological spectrum—who will
                confirm that they subscribe to the same philosophy. 3
                That is why we say (as we have published with
                Charles Koch): “For our nation to maximize progress
                and prosperity, we need more, not fewer, talented peo-
                ple at the table.” 4 The path to our country’s continued
                success is to bring in the best and most diverse team
                of problem-solvers.

                    Several studies have shown that organizations
                with diverse employees are significantly more likely
                to experience growth and success. 5 For example, a
                study based on “a nationally representative survey of
                1,800 professionals, 40 case studies, and numerous fo-
                cus groups and interviews” found that companies
                with managers who have diverse traits and varied life
                experiences “are 45% likelier to report a growth in
                market share over the previous year and 70% likelier
                to report that the firm captured a new market.” 6 An-
                other study by the Boston Consulting Group found



                    3 Apple fully endorses the Coalition for the American

                Dream’s amicus brief.
                    4  Tim Cook & Charles Koch, Congress must act on the
                ‘dreamers’, Wash. Post (Dec. 14, 2017), https://ti-
                nyurl.com/y4rkuzdl.
                     5 Sylvia Ann Hewlett et al., How Diversity Can Drive Inno-

                vation, Harv. Bus. Rev. (Dec. 2013), https://tinyurl.com/j8nyu8k;
                see also Ellyn Shook & Julie Sweet, Getting to Equal 2019: Cre-
                ating a Culture That Drives Innovation, Accenture (2019),
                https://tinyurl.com/y6alhclq.
                    6 Hewlett et al., supra.




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                that “diversity increases the bottom line for compa-
                nies.” 7

                    Companies have recognized how diversity fuels
                success. 8 That is why hundreds of America’s most im-
                portant business leaders wrote to the Administration
                emphasizing DACA’s benefits and urging it to pre-
                serve the program, explaining that “Dreamers are vi-
                tal to the future of our companies and our economy”
                and part of America’s “global competitive ad-
                vantage.” 9

                    4. Most of the Dreamers had no say in the decision
                to travel to this country and have known no other
                home. By adopting the DACA program, this country

                    7 Anna Powers, A Study Finds That Diverse Companies Pro-

                duce 19% More Revenue, Forbes (June 27, 2018), https://ti-
                nyurl.com/y5tk7lsn.
                    8 See generally Global Diversity & Inclusion: Fostering In-

                novation Through a Diverse Workforce, Forbes Insights (July
                2011), https://tinyurl.com/y7plo7qh (“Diversity fosters creativ-
                ity. We need to generate the best ideas from our people in all
                levels of the company and incorporate them into our business
                practices.” –Frédéric Rozé, President and CEO, L’Oréal USA);
                id. (“We are in 75 countries and we want to hire the best talent
                in each locale. Diverse teams and companies make better deci-
                sions.” –Eileen Taylor, global head of diversity until 2013,
                Deutsche Bank); id. (“We couldn’t have gone through all of the
                mergers and acquisitions and continue to be successful without
                having a diverse workforce. It’s important to our business strat-
                egy and it makes us more innovative and competitive.” –Debbie
                Storey, senior vice president of talent development and chief di-
                versity officer until 2015, AT&T).
                    9 Letter from Tim Cook et al. to Donald J. Trump, Paul

                Ryan, Nancy Pelosi, Mitch McConnell, and Charles Schumer
                (Aug. 31, 2017), https://tinyurl.com/y6byjda9.




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                acknowledged their sacrifice and offered them a path
                to continuing the lives they loved and formalizing
                their contributions to American society. With the
                promise of deferred action and permission to seek
                work and stay long term, 800,000 young people
                stepped forward, shared highly sensitive personal in-
                formation, passed a background check, and played by
                the rules. Their decision to do so was quite literally
                life-altering, and irreversible. DACA status affected
                Dreamers’ decisions about whether and where to ap-
                ply to college, seek jobs, and travel. The Dreamers
                took us at our word. They held up their end of the bar-
                gain. They have worked hard, paid taxes, and contrib-
                uted to our society and to their communities.

                    This Court has recognized that “serious reliance
                interests” like these carry significant legal weight. Pe-
                rez v. Mortg. Bankers Ass’n, 135 S. Ct. 1199, 1209
                (2015); Smiley v. Citibank (S.D.), N.A., 517 U.S. 735,
                742 (1996); see also NLRB v. Bell Aerospace Co., 416
                U.S. 267, 295 (1974) (warning against agency actions
                “impos[ing]” “new liability … on individuals for past
                actions which were taken in good-faith reliance on
                [agency] pronouncements”); United States v. Penn. In-
                dus. Chem. Corp., 411 U.S. 655, 670-75 (1973) (requir-
                ing consideration of reliance interests).

                    This is an issue where one’s head and heart lead
                to the same conclusion. We collectively owe it to the
                Dreamers to hold up our end of the bargain. It is not
                just a legal requirement. It is the moral thing to do.
                Who are we as a country if we renege? What does it
                say about us as a people to turn our backs on the
                Dreamers now?




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                                  CONCLUSION

                    This Court should affirm the judgments below.

                                           Respectfully submitted,


                 Mark S. Davies            E. Joshua Rosenkranz
                 Thomas M. Bondy              Counsel of Record
                 Jeremy R. Peterman        ORRICK, HERRINGTON &
                 Upnit K. Bhatti              SUTCLIFFE LLP
                 Aaron Brecher             51 West 52nd Street
                 ORRICK, HERRINGTON &      New York, NY 10019
                   SUTCLIFFE LLP           (212) 506-5000
                 1152 15th Street, N.W.    jrosenkranz@orrick.com
                 Washington, D.C. 20005

                October 2, 2019




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                          Nos. 18-587, 18-588, and 18-589

                   In the Supreme Court of the United
                                States
                                   _________________

                    DEPARTMENT OF HOMELAND SECURITY, et al.,
                                                  Petitioners,
                                     v.
                  REGENTS OF THE UNIVERSITY OF CALIFORNIA, et al.,
                                                    Respondents.
                                 ________________

                 On Writ of Certiorari to the United States Court of
                           Appeals for the Ninth Circuit
                                 ________________

                      BRIEF OF UNITED WE DREAM AND 50
                       ORGANIZATIONS AS AMICI CURIAE
                        IN SUPPORT OF RESPONDENTS
                                   ________________
                GEOFFREY BROUNELL             PETER KARANJIA*
                DAVIS WRIGHT TREMAINE         MELISSA L. TURCIOS
                 LLP                          DLA PIPER LLP (US)
                1251 Avenue of the Americas   500 Eighth Street, NW
                21st Floor                    Washington, D.C. 20004
                New York, N.Y. 10020          Tel. (202) 799-4000
                Tel. (212) 489-8230           peter.karanjia@dlapiper.com
                geoffreybrounell@dwt.com      *Counsel of Record


                                Counsel for Amici Curiae
                 October 2, 2019


                     Additional Captions Listed on Inside Cover




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                                                     Petitioners,
                                       v.
                  NATIONAL ASSOCIATION FOR THE ADVANCEMENT OF
                             COLORED PEOPLE, et al.,
                                                     Respondents.
                                ________________

                  On Writ of Certiorari to the United States Court of
                     Appeals for the District of Columbia Circuit
                                  ________________

                    KEVIN K. MCALEENAN, ACTING SECRETARY OF
                           HOMELAND SECURITY, et al.,
                                                      Petitioners,
                                      v.
                      MARTIN JONATHAN BATALLA VIDAL, et al.,
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                                ________________

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                           Appeals for the Second Circuit




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                           INTEREST OF AMICI CURIAE1
                    Amicus curiae United We Dream (“UWD”) is
                the largest immigrant youth-led community in the
                United States. UWD is a national non-profit, non-
                partisan,     membership-based         organization
                comprising more than 500,000 immigrant youth
                and their allies, with more than 100 affiliate
                organizations located in 28 States. UWD’s primary
                purpose is to advocate for the dignity and fair
                treatment of immigrant youth and their families,
                regardless of their immigration status. Among
                UWD’s members are recipients of deferred action
                under the Deferred Action for Childhood Arrivals
                (“DACA”) initiative announced on June 15, 2012.
                Because the government action in this case seeks
                to undo DACA’s protections—protections that
                have formed the basis for the most consequential
                life decisions of hundreds of thousands of
                immigrant youth—UWD has a substantial interest
                in the proper resolution of the issues presented in
                this case.
                    UWD is joined by fifty organizations, including
                social service and advocacy organizations that
                work with DACA applicants and beneficiaries,
                across the United States. A full listing of amici—


                  1 The parties have consented to the filing of this brief, and

                their letters of consent have been filed with the Clerk. Pursuant
                to Supreme Court Rule 37.6, amici state that no counsel for a
                party authored this brief in whole or in part, and no counsel or
                party made a monetary contribution intended to fund the
                preparation or submission of this brief. No person other than
                amici or their counsel made a monetary contribution to its
                preparation or submission.




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                including the organizational plaintiffs in CASA de
                Maryland v. U.S. Dep’t of Homeland Security, 924
                F.3d 684 (4th Cir. 2019) (concluding that the
                government’s decision to rescind the DACA
                program was arbitrary and capricious)—appears
                in the Appendix.




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                     INTRODUCTION AND SUMMARY OF
                              ARGUMENT
                    In this brief, United We Dream and fifty other
                organizations offer a glimpse into the lives of the more
                than 825,000 young people who have placed their
                trust in, and organized their lives around, the
                government’s promise in the DACA program.
                     DACA has accomplished far more than affording
                deferred prosecutorial action. It has created life-
                changing opportunities for hundreds of thousands of
                promising young people. DACA has allowed them to
                lead fuller and more vibrant lives, including by
                seizing opportunities to advance their education,
                furthering their careers, providing critical help to
                their families, and giving back to their communities.
                Able to make use of the basic building blocks of a
                productive life—a Social Security number, work
                authorization, or driver’s license, for example—DACA
                recipients have thrived. They are students, teachers,
                health care workers, first responders, community
                leaders, and small business owners. They are also
                spouses, neighbors, classmates, friends, and co-
                workers. Collectively, they are parents of over a
                quarter-million U.S. citizens, and 70% of DACA
                recipients have an immediate family member who is
                a U.S. citizen. They pay taxes, contribute to their local
                economies in myriad ways, and spur a virtuous cycle
                of further opportunity for many Americans.
                    The sample stories below include, among many
                others, an Oregon schoolteacher and community
                volunteer from Mexico; a Rhodes scholar from South
                Korea with a bright future in health science; the first




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                transgender immigrant appointed as a Commissioner
                for the Mayor’s Office of Latino Affairs in the District
                of Columbia; a Maryland small-business owner and
                musician, born in Nigeria; a critically-acclaimed,
                Mexican chef in Missouri; a Michigan-based
                community organizer from Poland; and an
                entrepreneur and mother of five who, after serving at
                the Chamber of Commerce, launched her own
                translation and interpreter business in Oklahoma.
                Amici hope to illustrate how, from their diverse
                backgrounds spanning the globe, DACA recipients
                are now fully part of their communities and the
                broader fabric of America.
                    Their stories of resilience, generosity, and
                accomplishment epitomize the American dream. Yet,
                the government’s effort to rescind DACA, which has
                given hope to so many, would put these young people
                in grave danger of deportation and threatens to cause
                massive disruption to their lives, tearing apart
                families and uprooting productive members of society
                from the networks that rely on them. If allowed to
                stand, the cancellation of DACA will have devastating
                ripple effects that extend well beyond the DACA
                recipients into every community in the United States.




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                                    ARGUMENT
                   The Stories of a Cross-Section of DACA
                   Recipients Illustrate the Program’s Critical
                   Role in Improving the Lives of Promising
                   Young Individuals, Their Families, Local
                   Communities, and the Nation
                     DACA has enabled hundreds of thousands of
                young individuals to live their lives in the open, fully
                realizing their potential and contributing to their
                local communities. Most DACA recipients arrived in
                the United States when they were just six years old
                or younger—indeed, nearly a quarter of DACA
                recipients were under the age of three—and two-
                thirds of DACA recipients no longer have any close
                family members in the country of their birth. Tom K.
                Wong et al., Results from 2019 National DACA Study
                7, 15 (Sept. 2019), https://ampr.gs/2noR7pv (“Wong et
                al.”). For these promising young people, the United
                States is the only home they have ever known.
                They’ve grown up here, gone to school here, played
                sports here, and built families here. They play critical
                roles in their communities—as entrepreneurs who
                create jobs, as family members who support hundreds
                of thousands of U.S. citizens, as public servants who
                teach our children and care for us, and as volunteers
                who improve their communities. In short, they have
                become fully integrated into the fabric of American
                society.
                    Despite these deep and longstanding ties to the
                United States, before DACA, many of these young
                immigrants who arrived in the country as children
                struggled to survive due to their undocumented




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                status—often living in constant fear of deportation.2
                DACA was life-changing. For the first time, these
                individuals could obtain work authorizations,
                healthcare, a Social Security number, a driver’s
                license, and, in many States, in-state tuition,
                scholarships, and financial aid. DACA recipients can
                also board planes, open bank accounts, apply for
                credit for their businesses, and access other resources
                so that they can support their families, communities,
                and local economies. As Lidia D., a 23-year-old
                Dreamer, explains, “DACA gave me a sense of
                liberty.” Thanks to her deferred action, Lidia was able
                to relocate from her home in Nebraska to accept job
                opportunities      in   California    and    Nevada—
                opportunities that would have been out-of-reach for
                her without a four-year college degree, a work
                authorization, or the ability to board a plane.
                  With these essential keys to survival and success,
                DACA recipients have drawn on their remarkable

                     2 Deportation orders have been entered against DACA

                recipients who arrived in the country as babies and toddlers, and
                these young people—many of whom only later discovered their
                immigration status—have good reason to fear they will be first
                in line for deportation if the government’s attempted rescission
                stands. Under a 2017 Executive Order, anyone who is subject to
                a final order of removal is an enforcement priority. See Exec.
                Order No. 13,768, 82 Fed. Reg. 8800 (Jan. 25, 2017);
                Memorandum from Sec’y of U.S. Dep’t Homeland Sec. to Kevin
                McAleenan et al., Enforcement of the Immigration Laws to Serve
                the National Interest (Feb. 20, 2017), https://bit.ly/2miirQd
                (“DHS Memorandum”) (providing limited discretion to make
                exceptions to enforcement priorities). Although a subsequent
                DHS Memorandum guidance excepted DACA recipients,
                DACA’s rescission removes these protections.




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                talents, ingenuity, and dedication to make ever
                greater contributions to this nation. According to one
                survey, after receiving deferred action, nearly 60% of
                DACA          recipients—approximately         400,000
                individuals—entered the American workforce for the
                first time. Wong et al., supra, at 2. And about 71% of
                DACA      recipients    also    pursued    educational
                opportunities previously foreclosed to them. Id. at 5.
                Altogether, 96% of DACA recipients are employed or
                enrolled in an educational program. Tom K. Wong et
                al., DACA Recipients’ Livelihoods, Families, and
                Sense of Security Are at Stake This November, Ctr. for
                Am.         Progress       (Sept.      19,      2019),
                https://ampr.gs/2mnO8N6.
                    Their greater educational attainment and better
                jobs have translated into increased financial
                independence—which has been crucial not only for
                supporting their families and social networks, but
                also for contributing to broader economic growth. One
                2019 study found that DACA recipients and their
                households hold a combined annual spending power
                of $24.1 billion. Nicole Prchal Svajlenka, What We
                Know About DACA Recipients in the United States,
                Ctr.    for    Am.     Progress    (Sep.   5,  2019),
                https://ampr.gs/2kvp0DE (“CAP Report”). Seventy-
                nine percent reported that their increased earnings
                have helped them become financially independent.
                Wong et al., supra, at 2. Approximately 60% of DACA
                recipients bought a car. Id. at 3. Almost 14% became
                homeowners. Id. Collectively, DACA recipients own
                59,000 homes and make $613.8 million in annual
                mortgage payments. CAP Report, supra. Two-thirds
                of DACA recipients have applied for and received




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                their first credit card, while more than half have
                opened a bank account. Wong et al., supra, at 3. In
                short, DACA has opened a world of financial
                independence and opportunity that was once
                inaccessible.
                     These higher wages also increase tax revenues at
                all levels of government. Employers automatically
                deduct payroll taxes from DACA recipients’
                paychecks—even though those individuals are
                ineligible for many of the social programs supported
                by these taxes. One report estimated that DACA
                recipients and their households pay a combined $8.8
                billion in federal, state, and local taxes annually. CAP
                Report, supra; see also Democrats of the Comm. on
                Small Bus., Report: Economic Impact of DACA:
                Spotlight on Small Business 5 (Feb. 2018),
                https://bit.ly/2JQKpRZ (“House Report”) (estimating
                $5.87 billion in taxes from DACA-eligible
                individuals). Another study estimates that tax
                revenue for Social Security and Medicare alone would
                decrease by $39.3 billion over a decade if the
                contributions of DACA-eligible individuals were lost.
                Jose Magaña-Salgado & Tom K. Wong, Draining the
                Trust Funds: Ending DACA and the Consequences to
                Social Security and Medicare, Immigrant Legal Res.
                Ctr. (Oct. 2017), https://bit.ly/2mTN9F7. And, even
                under a conservative estimate, the combined
                economic costs and fiscal impact of deporting DACA
                recipients amount to an eye-popping $283 billion over
                a decade. Ike Brannon & Logan Albright, The
                Economic and Fiscal Impact of Repealing DACA, Cato
                Inst. (Jan. 18, 2017), https://bit.ly/2k1hn1R. Other
                estimates are even higher. See, e.g., Nicole Prchal




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                Svajlenka et al., A New Threat to DACA Could Cost
                States Billions of Dollars, Ctr. for Am. Progress (July
                21, 2017), https://ampr.gs/2uI9Deh (estimating
                $460.3 billion impact). This substantial body of
                empirical data is borne out by the representative
                stories of the DACA recipients described below. Not
                only would the rescission of DACA be devastating for
                the program’s recipients and their families, it would
                also have negative repercussions for our nation’s
                economy, and the impacts on some local economies
                could be severe.
                    DACA was a promise made by our government to
                eligible young people. The realization of that promise
                unleashed tremendous personal, social, and economic
                opportunities for DACA recipients, and it established
                a foundation upon which many American
                communities now rely. The government’s efforts to
                break faith with those young individuals now would
                destroy a program that works for millions of people—
                DACA recipients and U.S. citizens alike—and deal a
                staggering blow to American progress.
                    A. DACA Has Allowed Recipients to
                       Maximize     Their  Potential,  While
                       Enriching    American   Schools  and
                       Universities
                    By design, DACA opens a world of educational
                opportunities for young immigrants. A key
                prerequisite for obtaining DACA’s protection is that
                the applicant is pursuing a high school diploma or
                GED certificate, or is enrolled in a qualifying
                educational program. See JA-387. As a result, many




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                undocumented young people who may otherwise have
                dropped out are motivated to stay in school.
                    Moreover, DACA makes it easier for young
                immigrants to invest in their education. First, many
                undocumented students are forced to drop out
                because they are unable to both work to cover tuition
                fees and study at the same time, but DACA allows its
                recipients to obtain better-paying jobs, so they can
                more easily bear the costs of school. Caitlin Patler &
                Jorje A. Cabrera, From Undocumented to
                DACAmented: Impacts of the Deferred Action for
                Childhood Arrivals (DACA) Program Three Years
                Following its Announcement 18 (June 2015),
                http://bit.ly/1R7Sz1c (“Patler Report”). Indeed, 80% of
                DACA recipients say they are better able to fund their
                educations by earning more. Wong et al., supra, at 2;
                accord Patler Report, supra, at 5. As a result, young
                immigrants are better equipped to maximize their
                career potential, and their investments in education
                have helped many DACA recipients serve as role
                models for their families and communities.
                     Second, DACA offers a pathway to higher
                education. DACA recipients can enroll in public
                colleges and universities in States (such as Alabama
                and South Carolina) where undocumented students
                are otherwise barred from attending. See Ala. Code §
                31-13-8; S.C. Code Ann. § 59-101-430. A number of
                States—including Texas, Oregon, New Jersey, and
                New York—allow DACA recipients to attend public
                colleges and universities at in-state or reduced tuition
                rates, just like their U.S. citizen peers. See Tex. Educ.




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                Code Ann. §§ 54.051-057; Or. Rev. Stat. § 352.287;
                N.J. Stat. Ann. 18A:3B-79; N.Y. Educ. Law §§ 355(8),
                6206(7)(a). Other States, like California, Illinois, and
                Minnesota, even allow certain DACA recipients to
                receive state and institutional financial assistance.
                See Cal. Educ. Code § 66021.6; H.B. 2691, § 15(a),
                101st Gen. Assem., Reg. Sess. (Ill. 2019) (Pub. Act No.
                101-0021), https://bit.ly/2mFIQ08; 2013 Minn. Laws
                31, https://bit.ly/2noUYCQ; see also Univ. Leaders for
                Educ. Access & Diversity Network, Policy
                Environment—Select a State to See the Policies,
                https://bit.ly/2ocRK5q. Despite being ineligible for all
                federal and most state financial aid programs, DACA
                recipients can fill out the Free Application for Federal
                Student Aid form, which helps schools determine
                students’ financial need and eligibility for
                scholarships and institutional financial aid. Zenén
                Jaimes Pérez, How DACA Has Improved the Lives of
                Undocumented Young People, Ctr. for Am. Progress 5
                (Nov. 19, 2014), http://ampr.gs/1O7iTHA. As a result
                of these enhanced opportunities, 31% of respondents
                in one survey by amicus United We Dream reported
                that they had qualified for additional financial aid.
                Zenén Jaimes Pérez, A Portrait of Deferred Action for
                Childhood Arrivals Recipients: Challenges and
                Opportunities Three-Years Later 21, UWD (Oct.
                2015), https://bit.ly/2osP9Vl (“UWD Survey”).
                    With barriers to opportunity removed, it is not
                surprising that thousands of DACA recipients have
                pursued greater educational opportunities. In 2018,
                the National Bureau of Economic Research (“NBER”)
                found that DACA eligibility correlated with greater




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                high school attainment and college attendance. Elira
                Kuka et al., Do Human Capital Decisions Respond to
                the Returns to Education? Evidence from DACA,
                NBER (Feb. 2018), https://bit.ly/2mTVOY7. In United
                We Dream’s survey, 30% of respondents credited
                DACA for bringing them back into the classroom.
                UWD Survey, supra, at 25. Of the nearly two-thirds
                of survey respondents currently in school, 83% were
                pursuing a bachelor’s degree or higher. Id. Over half
                of DACA recipients twenty-five or older have
                completed a bachelor’s degree or higher, compared to
                just one-third of Americans in the same age bracket.
                Compare Wong et al., supra, at 7, with Press Release,
                U.S. Census Bureau, Highest Educational Levels
                Reached by Adults in the U.S. Since 1940 (Mar. 2017),
                https://bit.ly/2nFBkSb.
                    Many young immigrants have seized the
                opportunity to further their education and pursue
                advanced degrees. For example, right after receiving
                DACA’s protection, Luke H. submitted his
                applications for doctoral programs in chemistry. Now
                in his sixth year at the University of Chicago, he
                worries that—if allowed to stand—DACA’s rescission
                could prevent him from completing his dissertation,
                jeopardizing years of hard work, and leaving his
                future uncertain.
                    Like hundreds of thousands of other immigrant
                youth, Jin Park used DACA as a springboard to
                greater educational opportunities. The first DACA
                recipient to receive the prestigious Rhodes
                Scholarship, Jin arrived in New York from South




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                Korea when he was just seven years old.3 For years,
                his father worked in restaurants and his mother
                worked in beauty salons to build a life for their family
                in Flushing, Queens. A brilliant student, Jin
                nonetheless applied to 34 colleges, out of fear that his
                immigration status would limit his opportunities. He
                took his insights into the college admissions process
                to found Higher Dreams, a non-profit that partners
                with the Boston Public School system to help
                undocumented students gain access to higher
                education. He volunteered with a Boston non-profit to
                provide naturalization assistance, and currently
                serves as a chapter leader for Define American (a non-
                profit media and culture organization that advocates
                for fair representation of immigrants in the media).
                Jin has even testified before Congress about how
                DACA has fundamentally changed his life.4
                    Now a 23-year-old Harvard graduate with
                degrees in Molecular and Cellular Biology, Jin hopes
                to pursue master’s degrees at the University of Oxford
                in Global Health Science and Epidemiology, as well as
                Migration Studies. With this foundation, Jin is

                    3 Jin Park, Opinion: I’m a Dreamer and Rhodes Scholar.

                Where Do I Belong?, N.Y. Times (Jan. 11, 2009),
                https://nyti.ms/2FuPTiW; see also Alexandra A. Chaidez &
                Sanjana L. Narayanan, Harvard Senior Becomes First DACA
                Recipient to Win Rhodes Scholarship, Harv. Crimson (Nov. 19,
                2018), https://bit.ly/2QTJz7H.
                     4 Protecting Dreamers and TPS Recipients: Hearing Before

                the Committee on the Judiciary of the House of Representatives,
                116 Cong. 5 (Mar. 6, 2019) (statement of Jin K. Park),
                https://bit.ly/2mWoIGZ.




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                interested in working on improving health policy for
                immigrants and underserved communities. Although
                his family and community have celebrated his
                accomplishments—New York City declared April
                16th “Jin Park Day”5—obtaining the Rhodes
                Scholarship has been bittersweet. If Jin leaves the
                country to continue his graduate studies abroad, he
                risks being barred from returning to his family and
                the only home he has ever known: “No matter how
                hard I work or what I achieve, I will never know if I
                have a place in America, my home.”6
                     Just seven years old when she arrived in the
                United States in 2002, Monica C.—who was born in
                Mexico—obtained DACA’s protection in 2013.
                Currently, Monica works full-time as a paraeducator
                at William Paca Elementary School in Baltimore,
                Maryland, while she also studies for her associate’s
                degree at Baltimore City Community College. As she
                focuses on the next generation—teaching students
                whose native language is not English—Monica knows
                that becoming a classroom instructor is her true
                calling: “Every day I see the light in the eyes of my
                students, the excitement it gives them to learn
                English and dream about their futures.” Yet, DACA’s
                rescission is never far from her mind: “It would break


                    5 Kimberly Yam, NYC Celebrated First Undocumented
                Rhodes Scholar With ‘Jin Park Day’, Huffington Post (Apr. 17,
                2019), https://bit.ly/2nNpUfO. See also Associated Press,
                ‘Dreamer,’ Rhodes scholar Jin Park to attend State of the Union,
                NBC News (Jan. 31, 2019), https://nbcnews.to/2Bkbzvg.
                    6 Statement of Jin K. Park 11.




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                my heart if I wasn’t able to be there for them in the
                classroom.”
                     Yazmin I.’s mother left behind a career as a
                physician in Mexico to give her three daughters better
                opportunities in the United States. An excellent
                student who dreamed of following in her mother’s
                footsteps, Yazmin discovered at sixteen that she was
                undocumented when she tried to find work to support
                her family following her mother’s stroke. Her status
                as an undocumented immigrant in Arizona (and later
                New Mexico) was a serious obstacle to continuing her
                education and accessing scholarships and financial
                aid. Thanks to DACA, Yazmin is now a fourth-year
                student at the University of New Mexico School of
                Medicine. She recently finished her sub-internship in
                surgical oncology and is currently completing a
                trauma-surgery and critical-care rotation as a visiting
                student at Washington University in St. Louis.
                Yazmin is also proud to give back to her community.
                She mentors young people through the New Mexico
                Dream Team and provides free health check-ups for
                immigrant families released from border detention
                facilities. But Yazmin needs a Social Security number
                to continue towards her residency, and her
                professional aspirations depend on DACA’s
                continuation.
                    By authorizing undocumented individuals to
                work, DACA has broadened the diversity and skill set
                of our nation’s workforce. Deferred action is thus
                especially important when it comes to the education,
                science, technology, engineering, mathematics, and




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                healthcare sectors, where maintaining U.S.
                leadership in an increasingly global economy is
                critical. As the stories of young men and women like
                Jin Park (Rhodes Scholar studying global health
                science and epidemiology), Monica C. (paraeducator),
                Yazmin I. (medical student applying to general
                surgery residency), and Luke H. (sixth-year
                University of Chicago Ph.D. candidate in chemistry)
                demonstrate, undocumented immigrants represent a
                pool of highly skilled talent that is in fierce demand.
                    Despite their hard work and accomplishments,
                the futures of Jin, Monica, Yazmin, and Luke are
                precarious. Forcing these exceptional young people—
                with a wealth of opportunities ahead of them—to live
                in fear of deportation would not only destroy their
                educational and professional prospects, but also
                deprive their communities and the nation of their
                current and future economic and societal
                contributions.
                    B. DACA Has Empowered Recipients to
                       Found Start-up Businesses, Create Jobs,
                       and Otherwise Realize Their Career
                       Potential
                       1. DACA Increases Job Opportunity and
                          Earning Power
                    Before DACA, even highly educated and skilled
                undocumented immigrants often had no option but to
                accept very low-paying jobs with bleak prospects for
                advancement. Without a Social Security number,
                driver’s license, and work authorization, jobs better
                suited to their talents were simply unobtainable.
                DACA, however, suddenly enabled these young




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                people to obtain work authorizations for the first time.
                As a result, just sixteen months into the program,
                59% of respondents in one survey reported having
                found a new or different job. Roberto G. Gonzales &
                Angie M. Bautista-Chavez, Two Years and Counting:
                Assessing the Growing Power of DACA, Am.
                Immigration          Council        (June        2014),
                https://bit.ly/2mTP5xe (“Gonzales & Bautista-
                Chavez”). In another survey—conducted from August
                to September 2019—two-thirds of respondents over
                twenty-five reported that DACA had allowed them to
                get a job that either made the best use of their
                qualifications or paid better. And for DACA recipients
                who pursued higher education, the opportunities for
                professional development are particularly striking.
                While employment rates increased by 114% for DACA
                recipients across the board (from 42% of respondents
                employed to 90%), those who obtained degrees from
                four-year colleges were more than 1.5 times as likely
                to obtain new jobs and increase their earnings as
                DACA beneficiaries who never went to college. See
                Wong et al., supra, at 2-3.
                    DACA’s benefits are also mutually reinforcing.
                When freed from the fear of looming deportation and
                able to work legally, DACA recipients work harder,
                are more productive, and earn more. See Misha E. Hill
                & Meg Wiehe, Inst. Tax’n & Econ. Pol’y, State & Local
                Tax Contributions of Young Undocumented
                Immigrants (Apr. 2018), https://bit.ly/2mWzYTL;
                Wong et al., supra, at 3. Overall, DACA recipients’
                salaries doubled on average—from an annual salary
                of $21,012 (pre-DACA) to $42,132 (post-DACA). Wong
                et al., supra, at 4. For DACA beneficiaries who




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                completed licensing programs—in fields such as
                nursing, dentistry, and construction—the earnings
                boost is even more profound. Gonzales & Bautista-
                Chavez, supra, at 4. For 68% of individuals in these
                programs, their salaries more than doubled from as
                little as $5 to more than $14 an hour. Id. As a result,
                one of the most dramatic effects of DACA is to
                catapult low-income individuals with great potential
                into higher-skilled, higher-earning jobs. In short,
                DACA facilitates the American Dream.
                    Chirayu P. is particularly emblematic of this
                path to increased opportunity. Despite graduating in
                2006 from the University of Illinois with degrees in
                Economics and Political Science, Chirayu was “just
                barely surviving” before DACA. Chirayu and his
                family had attempted to adjust their status when they
                arrived in the United States from India in 1994, but
                they later discovered that an unscrupulous
                middleman had taken their savings and left them
                with nothing. Now, thanks to DACA, Chirayu makes
                enough money as an Asset Manager for a real estate
                company in Chicago, that he is able to support his
                family while he studies to be a Certified Public
                Accountant.
                    Sana A.—born in Pakistan and raised in Saudi
                Arabia—used her DACA protections to become a Lead
                Innovation Designer at a major multinational
                company. Now working at the cutting edge of
                technology and design, Sana explains, “I make more
                money than my parents have ever made in their life.”
                    But she is acutely aware of how vulnerable her
                situation is. After a problem with her DACA




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                paperwork caused Sana to temporarily lose her
                deferred-action status, her company was forced to
                place her on a three-month leave of absence and, then,
                let her go. The instant her status was restored, she
                was re-hired. (Sana shares her story in a video
                available at: http://www.uwdamicusbrief.com.) As
                Sana’s story illustrates, rescinding DACA not only
                hurts its recipients, it also hurts U.S. employers, who
                will lose an estimated $6 billion in worker turnover
                costs (including hiring and training) if talented young
                people, like Sana, are forced out of the country’s
                workforce. House Report 8.
                       2. DACA Has Jump-Started a Wave of
                          Entrepreneurialism
                    Immigrants are among our nation’s most prolific
                small business originators and entrepreneurs, and
                DACA recipients are no exception. See, e.g., Sari
                Pekkala Kerr & William R. Kerr, Immigrants Play a
                Disproportionate Role in American Entrepreneurship,
                Harv. Bus. Rev. (Oct. 3, 2016) (reporting that 40% of
                startup firms are affiliated with an immigrant).
                Indeed, 6% of DACA recipients have started their own
                business—double the rate of entrepreneurship for
                native-born Americans. See Wong et al., supra, at 2,
                4. This is the equivalent of approximately 41,000 new
                businesses in total. See id. Nearly half of those
                businesses report hiring employees, each providing
                jobs to an average of four to five employees,
                amounting to some 86,000 employees who work for
                DACA recipient-owned firms. Id. Again, the benefits
                of DACA have extended far beyond DACA recipients
                themselves.




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                     Darit A. was limited to a low-wage job at a travel
                agency before DACA. Under recent revisions to New
                Jersey law, Darit’s DACA protection enables her to
                attend community college at in-county reduced
                tuition rates, and she is currently completing a
                program on small business management. Darit and
                her partner now run a landscaping company in New
                Jersey with several employees. The company’s
                success has enabled Darit to purchase vehicles and
                equipment to serve her growing client base and
                members of the elder community to whom she
                provides free lawn care services as her way of giving
                back. As Darit works to expand her business and
                support her growing family under the cloud of DACA’s
                potential repeal, she has to live with the fear that she
                could someday be detained—and worse—face
                deportation, losing everything she has worked so hard
                for.
                     Emmanuel A. is another example of the
                inspiring entrepreneurialism of DACA recipients.
                Now twenty-five years old, Emmanuel was only nine
                years old when his family migrated from Nigeria and
                settled in Maryland. Although he was a talented
                athlete, his undocumented status made him ineligible
                for many college scholarships, and Emmanuel was
                forced to leave college because his family could not
                afford his tuition. Now, as a full-time musician,
                producer, and small business owner, Emmanuel
                enjoys a substantial national and international
                following—videos of his performances on YouTube




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                have received hundreds of thousands of views.7 DACA
                allows him the freedom to travel to perform for his
                fans in concerts across the nation. Ever-grateful for
                the opportunities DACA has given him, Emmanuel is
                proud to give back: Proceeds from his merchandise
                sales go to support other DACA recipients, and he
                mentors youth through his church to spread words of
                love and acceptance. His single, “American Dream,”
                has become a major success, and he aims to deliver a
                message of hope to all people that they too can thrive
                amidst adversity. (Emmanuel shares his story in the
                video available at: http://www.uwdamicusbrief.com.)
                     Maricruz A. immigrated from Mexico in 2002 at
                the age of fifteen to reunite with her mother. For
                years, Maricruz worked odd jobs to make ends meet
                and support her family—including a thirteen-year-old
                son and twin five-year-old daughters, all U.S. citizens.
                When Maricruz received DACA protection in 2016,
                her life drastically changed. She was able to study at
                Baltimore City Community College, where she
                founded the first Latinx affinity organization and was
                the first Latina in history to be appointed to the
                Baltimore City Community College Board of
                Trustees. Now, Maricruz owns a business buying and
                selling used cars, and she and her partner run an auto
                repair shop with two employees. While managing two
                businesses, Maricruz is pursuing a bachelor’s degree
                in Philosophy, Law, and Ethics at the University of
                Baltimore, and she hopes to become an attorney. For


                    7 See, e.g., Sofar Sounds, Mannywellz - Alright Rendition |

                Sofar NYC, YouTube (Jan. 23, 2017), https://bit.ly/2man6ct.




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                Maricruz, “DACA is not just a legal status, it’s an
                opportunity for this country.”
                    Zaid C. is another young immigrant who seized
                this opportunity. One of four children raised by a
                single mother, Zaid is the co-founder and executive
                chef of a critically-acclaimed restaurant in Missouri.
                The recipient of numerous local and national culinary
                accolades, he actively promotes healthy and
                sustainable eating through his plant-based
                restaurant and by spearheading community
                education initiatives in partnership with the Kansas-
                Missouri Dream Act Alliance.
                    As the businesses of these talented young
                individuals continue to grow and prosper, their
                successes and impact on the community will be closely
                entwined with the continuation of DACA.
                    C. DACA Has Enabled Recipients to
                       Support Their Families and Social
                       Networks, Which Include Many United
                       States Citizens
                    With the greater job, salary, and financial-
                planning opportunities that come with work
                authorizations and Social Security numbers, DACA
                recipients are better able to support themselves and
                their families. A 2016 study found that DACA-eligible
                households were 38% less likely than non-eligible
                undocumented immigrant households to live in
                poverty. Catalina Amuedo-Dorantes & Francisca
                Antman, Can Authorization Reduce Poverty among
                Undocumented Immigrants? Evidence from the
                Deferred Action for Childhood Arrivals Program, 147
                Econ. Letters 1-4 (2016). Nearly 80% of surveyed




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                DACA recipients reported that they could make
                enough money to financially support their family.
                Wong et al., supra, at 2. And many family members of
                DACA recipients are U.S. citizens. Nearly 1.5 million
                Americans live with someone who is a DACA
                recipient. CAP Report, supra. Seventy percent of
                individuals granted deferred action under DACA
                have an immediate family member who is a U.S.
                citizen. Wong et al., supra, at 9; Patler Report, supra,
                at 26. According to another survey, 13% have a U.S.
                citizen spouse, and 19% have a U.S. citizen child.
                Wong et al., supra, at 9. Altogether, 256,000 U.S.
                citizen children have a parent who is a DACA
                recipient. Id.
                    As the mother of five children—all U.S. citizens—
                Angelica V. worked long hours at a fast food
                restaurant to help support her family. A work
                authorization she obtained through DACA provided
                tremendous opportunity, allowing Angelica to accept
                a higher-paying position at the Chamber of
                Commerce as a program coordinator for disabled
                persons in Oklahoma. This, in turn, helped her realize
                her dreams as an entrepreneur and become the owner
                of a successful and growing translation and
                interpretation business. Angelica also volunteers to
                support entrepreneurs in the area and empower the
                local immigrant community.
                    In addition, DACA has helped Angelica become
                more engaged in her children’s extra-curricular
                activities. She is now able to coach her children’s
                soccer teams—which required Angelica to have a
                Social Security number as part of a routine
                background check. The prospect of DACA’s rescission




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                has left her deeply fearful for her family, however.
                Preparing her young children for the worst has been
                a traumatic and painful process, and Angelica worries
                daily about how they will cope if she or her husband,
                also a DACA recipient, is deported. (Angelica shares
                her     story   in    a     video     available   at:
                http://www.uwdamicusbrief.com.)
                    For Ritu P., a 25-year-old native of India, DACA
                gave her “a purpose to live.” One of the program’s first
                applicants, Ritu knew that DACA would open doors
                to her. It allowed her to apply to college and, later,
                land her “dream job” as a manager at MAC Cosmetics
                in Tampa Bay, Florida. Ritu is now deeply invested in
                using that experience to build her own business as a
                make-up artist and beauty influencer with a growing
                online following. The stakes are also high for Ritu, her
                partner, and their families. As the only adult in the
                household with a work authorization, Ritu is the
                primary breadwinner: “If I’m not employed, I don’t get
                paid, and there’s no one to take care of the bills.”
                    For families like Angelica’s and Ritu’s, DACA has
                been a critical lifeline. DACA recipients have been
                able to secure better jobs that take full advantage of
                their skills, translating into greater pay and financial
                support for their loved ones. Without DACA, many of
                these families would become more isolated and less
                secure—and would face the devastating possibility of
                separation due to deportation. In these and other
                ways, DACA strengthens the families of
                undocumented immigrants and U.S. citizens alike.




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                    D. DACA Has Made It Possible for
                       Recipients to Obtain Careers that Serve
                       the American Public
                    DACA recipients also dedicate their lives to public
                service—further enriching their local communities
                and the country in a manner that will no longer be
                possible if DACA is unwound. Some 25,000 DACA
                recipients work for nonprofit organizations, while
                22,000 work in the public sector. CAP Report, supra.
                Moreover, 16,000 DACA recipients (including many of
                the above) are educators and 27,000 are healthcare
                professionals. Id.
                     Maricruz R. is just one example. At just seven
                years old, Maricruz, along with her mother and
                siblings, escaped an abusive father in Mexico to build
                a life in the United States. Before DACA, Maricruz’s
                life was difficult: She cycled through jobs at a fast food
                restaurant, a fishery, and a waste disposal facility,
                struggling to earn a living to support herself and her
                family. As an undocumented immigrant, finding
                consistent work was impossible, and—lacking a
                driver’s license—it was often difficult to get to
                interviews with potential employers and, even if lucky
                to find a job, commute to work. With DACA’s
                protection, Maricruz was able to go back to school and
                obtain an associate’s degree in Early Childhood
                Education and, later, a bachelor’s degree.
                    Now a schoolteacher in Salem, Oregon, Maricruz
                has taught children ranging from pre-kindergarten to
                elementary school. She is able to drive to work, build
                a credit history, and support her family. As a member
                of the Oregon DACA Coalition, she has been a




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                powerful voice for immigrants’ rights. She finds deep
                fulfillment in her teaching and volunteering: “I want
                to be able to give back. We are part of this
                community.” (Maricruz shares her story in a video
                available at: http://www.uwdamicusbrief.com.)
                    Like Maricruz, many other DACA recipients have
                devoted themselves to teaching. Itzel A., for example,
                came to the United States from Mexico when she was
                nine years old and grew up on a dairy farm, where her
                mother worked. She worked hard in school, and
                eventually obtained a degree in education from
                Western Michigan University. Unable to work legally
                in the United States, however, Itzel had little choice
                but to return to the dairy farm where she grew up. It
                was only after Itzel was granted DACA protection in
                2012 that she was able to get a job as a full-time
                Spanish teacher at Kalamazoo Central High School.

                    Other DACA recipients help meet the urgent
                health-care needs of their communities. For instance,
                Luis A., who came to the United States from Mexico
                at the age of seven, has been working as an intensive
                care nurse since receiving DACA’s protection in 2013.
                In 2010, Arkansas passed a law prohibiting anyone
                without a Social Security card from obtaining a
                nursing license. Luis, then a nursing student, was
                devastated. But, through DACA, Luis was able to get
                a Social Security number, obtain his nursing license,
                and begin work as a nurse in a cardiovascular
                Intensive Care Unit (“ICU”). He has since been
                certified to work in the Neuroscience, Trauma, and
                Surgical ICUs. Luis also fills a critical need during the
                country’s current shortage of qualified nurses. As a




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                travel nurse, Luis frequently relocates to hospitals
                that are understaffed or lack staff with appropriate
                training to meet the health needs of their local
                communities.
                    Unable to volunteer at his local hospital, work, or
                drive without lawful immigration status, Daniel C.—
                an undocumented native of South Korea who arrived
                in the United States as a child—wrestled with clinical
                depression before DACA: “I felt like I was in a prison
                without bars,” but DACA “gave me a new beginning.”
                Now thirty-one, Daniel works as a registered nurse in
                New Jersey, while he attends graduate school at
                William Patterson University to become a nurse
                practitioner. If DACA continues, Daniel hopes to
                obtain his doctoral degree and become an educator to
                help address the nationwide shortage in qualified
                nurses—particularly for nursing faculty. Daniel is
                grateful for the enormous opportunities DACA has
                brought him, and he is committed to helping
                underserved communities.
                    DACA recipients who have devoted their careers
                to serving the public are not only teachers and nurses.
                Juan S. left Oaxaca, Mexico as an eleven-year-old
                boy to pick grapes in the Central Valley of California.
                Arriving with only a third-grade education and
                unable to speak English, Juan was a diligent student.
                In May 2015, he became the first in his family to
                obtain a four-year college degree.
                    Once Juan received DACA protection and his
                work authorization—and while still in college—he
                began serving federal and state courts as the nation’s
                only court interpreter for his native tongue, Zapotec,




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                an indigenous dialect of Oaxaca. Juan was also able
                to pursue a competitive internship opportunity at the
                U.S. Congress. Advance parole (another benefit that
                DACA recipients could apply for before the
                government’s attempt to rescind the program)
                enabled Juan to travel abroad to present his research
                findings about the civic engagement of indigenous
                young people in the San Joaquin Valley. At the
                invitation of the University of California, he also
                participated in seminars in his native Oaxaca
                regarding migrant education.
                     Now thirty years old, Juan operates an
                interpreting company, while working full-time as a
                business development specialist for a regional non-
                profit. As a Zapotec-speaking court interpreter, Juan
                travels across the U.S. southwest border region to
                help immigrants understand the proceedings they are
                involved in. As a business development specialist,
                Juan assists farmers and entrepreneurs in the food
                industry in underserved and low-resourced rural
                communities. In addition to allocating micro-loans on
                behalf of a regional non-profit, Juan provides local
                business owners with technical assistance, business
                development, and connections with resources and
                markets. Juan feels empowered by DACA and the
                knowledge that his actions have had a positive impact
                on his community in California’s Central Valley—but
                he still worries daily that, with DACA’s fate in peril,
                all of his hard work could be undone in an instant.




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                   E. DACA Has Enabled Recipients to Serve
                      Their Communities as Volunteers and
                      Organizers
                    Many DACA recipients understand deeply the
                challenges faced by those who lack resources and
                opportunities, and they aspire to serve their local and
                national communities as a result. Deferred action
                under DACA has helped to make those ideals a
                reality.
                    On the day that the DACA program was
                announced, Karen C. came home from high school to
                find her mother crying tears of happiness. DACA gave
                Karen new hope, motivating her to pursue a degree in
                Political Science at the University of Central Florida
                (“UCF”). While at UCF, she has worked with local
                organizations to persuade Florida to pass the Orlando
                Trust Act, a resolution that prohibits the city of
                Orlando from discriminating against people based on
                their immigration status. See City of Orlando, Exec.
                & Admin. Offices, Fair Treatment of All (Trust Act
                Policy) § 100.3 (adopted July 23, 2018),
                https://bit.ly/2p05O2N. A community organizer with
                a passion for environmental justice and immigrant
                rights, Karen hopes to eventually seek political office.
                Her writing was recently published in a collection of
                essays from young and established public figures
                regarding the importance of civic participation in
                making a better world.
                    Tasneem A., now twenty, learned that he was
                undocumented at the age of fifteen, when his parents
                decided that his performing at Carnegie Hall would
                put him in too much danger of being deported. Born




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                with a weak immune system, Tasneem was brought
                to the United States from Bangladesh when he was
                just nine months old. While a full-time student at
                University of Oklahoma, Tasneem works tirelessly to
                financially support his family. He founded a business
                that provides fundraising, communications, and
                graphic design for local, state, and federal campaigns,
                and he works part-time for a community education
                non-profit. DACA has given Tasneem a voice: As an
                activist, he has helped to elect his town mayor; as a
                professional community organizer, he has mobilized
                survivors of violence; and as a performer, he has
                empowered others to express themselves through the
                arts. (Tasneem shares his story in a video available
                at: http://www.uwdamicusbrief.com.)
                     Bartosz K. immigrated to the United States from
                Poland when he was ten years old. After receiving
                DACA       protection    in  2012,    he     completed
                undergraduate studies in Michigan before getting his
                juris doctor from Wayne State University Law School.
                Along the way, Bartosz became a professional
                organizer. He has been involved in electoral
                campaigns at all levels—from door-knocker to
                campaign manager—and believes that his work
                strengthens American political discourse. Now,
                Bartosz works as the political director of an advocacy
                group, Michigan United, using his talents to help
                make life better for his community. “For me,” Bartosz
                explains, “the U.S. has always felt like home, but
                prior to DACA I worried every day about what would
                happen to me. . . . Ultimately, I would like to become
                a U.S. citizen, so that I can vote and maybe run for
                office one day.”




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                    Ju H. is an active volunteer and organizer on
                behalf of immigrants and refugees in California. A
                graduate of University of California, Berkeley, Ju
                serves on the board of a local organization that
                supports immigrant families. He also regularly
                devotes his time to the National Korean American
                Service & Education Consortium, a national non-
                profit that strives for social, economic, and racial
                justice for Asian Americans. But Ju suffers from
                Crohn’s Disease, a chronic inflammation of the
                gastrointestinal system that, if untreated, could lead
                to colon cancer. Although DACA recipients are
                excluded from federal insurance programs (such as
                the Patient Protection and Affordable Care Act),
                DACA allows Ju to access private insurance to receive
                the treatment he needs to manage his condition. For
                Ju, “DACA is literally a matter of life and death.”
                    Cinthia P. was only one year old when her family
                entered the United States. Experiencing her father’s
                traumatic detention and deportation—coupled with
                the anxiety of living as an undocumented immigrant
                in Louisiana—led Cinthia into a downward spiral of
                depression and even thoughts of suicide. Despite her
                4.0 GPA, Cinthia’s undergraduate options were
                limited due to her undocumented status: She was
                excluded from most scholarships, and her parents had
                to work multiple full-time jobs to pay for college.
                DACA, however, allowed her to take a summer job as
                a law clerk for a nonprofit legal-services organization.
                This job, in turn, helped Cinthia afford to pursue a
                law degree at the Loyola University New Orleans
                College of Law. “[W]ith DACA,” she says, “I was
                somebody. . . . I existed.” After graduating, Cinthia




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                hopes to become a criminal defense attorney or a staff
                attorney for an immigrants’ and workers’ rights
                group.
                     Growing up in Macon, Georgia, Raymond P.,
                twenty-six, knew no other undocumented children.
                Always conscious of his “outsider” status, Raymond
                struggled with depression and even attempted suicide
                in 2009. A Filipino immigrant who came to the United
                States as a one-year-old infant, Raymond lived in the
                United States for almost his entire life, but it was only
                after receiving DACA’s protection that Raymond was
                able to accept an exciting opportunity with a non-
                profit group assisting Asian immigrants and refugees.
                Deferred action also made it possible for Raymond to
                travel freely within the United States, and even board
                a plane to attend the G92 Fellowship for Christian
                Leaders in 2014. Since graduating summa cum laude
                from Mercer University, Raymond works as a political
                consultant and paralegal, spending his free time
                volunteering     with     Freedom     University,     an
                organization that helps undocumented students in
                Georgia. Without DACA, Raymond’s ability to openly
                involve himself in his community would be
                dramatically     limited.    Raymond       knows      his
                educational future is uncertain as the DACA program
                is threatened, but he dreams of one day going to law
                school.




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                   F. DACA Has Empowered Many Young
                      Immigrants to Live their Lives in the
                      Open Without Fear of Persecution or
                      Harassment
                    For undocumented youth of all backgrounds,
                deferred action can be a source of enormous
                psychological and emotional relief. For undocumented
                youth who have reason to fear persecution or
                harassment in their countries of origin—for example,
                based on their race, religion, or sexual orientation or
                identity—that effect can be particularly profound.
                    Amicus United We Dream has extensive
                experience helping LGBTQ communities who have
                enormously benefited from DACA, and the examples
                below illustrate DACA’s broader impact in
                empowering various marginalized communities to
                live their lives in the open.
                    Catalina V. is a thirty-one-year-old transgender
                woman and Ph.D. student at the University of
                Washington, where she teaches undergraduates.
                Catalina’s family came to the United States to escape
                political persecution in their native Colombia, and she
                fears further persecution on the basis of her gender
                identity if she is deported.8 A graduate of the
                Georgetown University School of Foreign Service,

                     8 This is unfortunately common. According to a recent

                survey, almost 80% of LGBT DACA recipients expressed concern
                about their physical safety if they were deported as a result of
                the government’s attempt to rescind the program. Tom K. Wong
                et al., Findings from 2019 National Survey of DACA Recipients
                (Sept. 2019) (forthcoming, Suppl. to 2019 National DACA
                Study).




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                Catalina serves as a Partner and Senior Adviser for
                Megaphone Strategies, a strategic communication
                non-profit organization.
                    A trailblazer and inspiration to many around her,
                Catalina is a 2007 recipient of the President’s
                Volunteer Award from the President’s Council on
                Service and Civic Participation. In 2008, she was
                named an Ambassador for Peace by the Universal
                Peace Federation and the Inter-religious and
                International Federation for World Peace. Catalina
                was also the first transgender immigrant Latina
                appointed as a Commissioner for the D.C. Office of
                Latino Affairs (from December 2013 to June 2017).
                Recently, Catalina was named one of Rolling Stone
                magazine’s “16 Young Americans Shaping the 2016
                Election” and one of Mitu’s “Young Latinos that are
                Leaving a Footprint in Politics.”
                    Luis G., thirty, has lived over half of his life in
                the United States. During his teen years, Luis learned
                that he was undocumented around the same time as
                he first understood his sexual orientation. Luis’s
                newfound identities as a gay man and an
                undocumented immigrant were destabilizing, and
                made him deeply fearful of deportation to Mexico
                (where he feared persecution for his sexual
                orientation). Obstacles continued to mount when Luis
                was forced to drop out of college because it was
                unaffordable.
                    But DACA offered Luis new hope. It enabled him
                to apply for state and institutional financial aid,
                allowing Luis leave his low-paying jobs and return to
                school. After making the Dean’s List every quarter,




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                Luis graduated from the University of California,
                Irvine in June 2015. For the last several years, Luis
                has worked as an immigration resource specialist at
                a non-profit organization. At the LGBT Center of
                Orange County, Luis supervises a team that conducts
                advocacy and provides immigration resources to local
                LGBTQ individuals (including, for example,
                citizenship    classes,  immigration     consultation
                services, and detention visitation programs).
                     Moises R., now twenty-two, was just five years
                old when his family left Mexico and relocated to
                Tennessee in search of a better life. Before DACA,
                “every single day was a gamble” and Moises reports
                that “we had to plan our entire day around
                checkpoints.” With the assistance of a non-profit to
                help pay for his initial $465 DACA application fee,
                DACA was a worthwhile investment that has already
                unlocked tremendous opportunities for Moises. The
                proud recipient of a $500,000 scholarship, Moises
                currently attends the University of Chicago, with
                dreams of going to law school and becoming the first
                gay, Mexican U.S. Senator for Tennessee. “[A]fter I
                got DACA,” he observed, “I was able to . . . start
                living.”
                    For now, Moises has taken advantage of
                internship opportunities with UWD and other
                immigrant rights organizations. As a co-founder of
                Tennessee United and various other organizations,
                Moises works to support the rights of immigrant,
                LGBTQ, and homeless populations in his hometown
                of Chattanooga. He has mobilized hundreds of
                community members.




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                    The experience of undocumented youth in this
                country is undeniably difficult, and those difficulties
                compound for LGBTQ individuals. As Moises R.
                observed, “[t]he pressure of being in two closets can
                be too much.” Despite this, many undocumented
                LGBTQ individuals have been able to turn their
                struggles into remarkable strengths, as they emerge
                as strong voices at the local and national levels.
                                         ***
                     As the stories discussed above illustrate, DACA
                has had a profound and positive impact on the lives of
                hundreds of thousands of young individuals with deep
                ties to this country—and for the even larger numbers
                of family members, friends, classmates, colleagues,
                neighbors, and community members whose lives are
                enriched by their contributions and fellowship. By
                any measure, DACA has been an unqualified success.
                The lives of both DACA recipients and American
                citizens are inextricably interwoven.
                    DACA’s beneficiaries have come from all over the
                world and live across every State in the nation. They
                have brought with them their exceptional talents,
                drive, entrepreneurial spirit, and commitment to
                their local communities and the country. They call
                the United States their home—and, for the countless
                DACA recipients who arrived as babies or young
                children, it is the only country they know.
                “[P]articularly given the significant reliance interests
                involved,” CASA de Maryland v. U.S. Dep’t of
                Homeland Sec., 924 F.3d 684, 704 (4th Cir. 2019), this
                Court should not allow the government to renege on
                the promise it made to these inspiring young people




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                when granting them deferred action. Doing so would
                not only upend their lives—as well as the lives of their
                friends, families, and communities, all of whom have
                relied on DACA’s promise—but also diminish the
                United States and harm the broader social fabric and
                economy.
                                   CONCLUSION
                     For the foregoing reasons, this Court should
                affirm (1) the judgments of the Court of Appeals for
                the Ninth Circuit and the District Court for the
                District of Columbia, and (2) the orders of the District
                Court for the Eastern District of New York.

                               Respectfully submitted,

                GEOFFREY BROUNELL                  PETER KARANJIA*
                DAVIS WRIGHT TREMAINE              MELISSA L. TURCIOS
                 LLP                               DLA PIPER LLP (US)
                1251 Avenue of the Americas        500 Eighth Street, NW
                21st Floor                         Washington, D.C. 20004
                New York, N.Y. 10020               Tel. (202) 799-4000
                Tel. (212) 489-8230                peter.karanjia@dlapiper.co
                geoffreybrounell@dwt.com           m
                                                   *Counsel of Record


                                Counsel for Amici Curiae

                 October 2, 2019




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                1.    Alabama Coalition for Immigrant Justice

                2.    Alliance San Diego

                3.    Arkansas United Community Coalition

                4.    Arizona Dream Act Coalition

                5.    Asian Americans Advancing Justice | AAJC

                6.    Asian Americans Advancing Justice – Los
                      Angeles

                7.    Asian Law Alliance

                8.    Asian Pacific American Labor Alliance, AFL-
                      CIO

                9.    Association of Farmworker Opportunity
                      Programs

                10.   Casa de Maryland

                11.   CARECEN SF

                12.   Caring Across Generations

                13.   Center for American Progress

                14.   The Coalition for Humane Immigrant Rights




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                15.   Connecticut Students for a Dream

                16.   Fair Immigration Reform Movement

                17.   FWD.us

                18.   HOLA Ohio

                19.   ImmSchools

                20.   Junta for Progressive Action, Inc.

                21.   Latin America Working Group

                22.   Make the Road Pennsylvania

                23.   Michigan United

                24.   Migrant and Immigrant Community Action
                      Project

                25.   Migrant Justice

                26.   National Domestic Workers Alliance

                27.   National Equality Action Team

                28.   National Korean American Service &
                      Education Consortium

                29.   National Partnership for New Americans

                30.   Next Up

                31.   Next100

                32.   One America




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                33.   Opening Doors International Services

                34.   Pennsylvania Immigration and Citizenship
                      Coalition

                35.   Project South

                36.   Promise Arizona

                37.   UFW Foundation

                38.   United Farm Workers of America

                39.   UPLIFT

                40.   The Resurrection Project

                41.   The Revolutionary Love Project

                42.   The Rhode Island Bible Society

                43.   The Rhode Island State Council of Churches

                44.   Rio Grande Valley Equal Voice Network

                45.   South Asian Americans Leading Together

                46.   South Carolina Appleseed Legal Justice
                      Center

                47.   Southeast Asia Resource Action Center

                48.   Tennessee Immigrant and Refugee Rights
                      Coalition

                49.   US Fund for UNICEF




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                50.   Young Center for Immigrant Children’s
                      Rights




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                     DEPARTMENT OF HOMELAND SECURITY, et al.,
                                                   Petitioners,
                                        v.
                   REGENTS OF THE UNIVERSITY OF CALIFORNIA, et al.,
                                                  Respondents.
                 DONALD J. TRUMP, President of the United States, et al.,
                                                     Petitioners,
                                         v.
                    NATIONAL ASSOCIATION FOR THE ADVANCEMENT
                             OF COLORED PEOPLE, et al.,
                                                    Respondents.
                                 KEVIN K. MCALEENAN,
                      Acting Secretary of Homeland Security, et al.,
                                                      Petitioners,
                                            v.
                       MARTIN JONATHAN BATALLA VIDAL, et al.,
                                                    Respondents.
                 On Writs of Certiorari to the United States Courts of Appeals
                   for the Ninth, District of Columbia, and Second Circuits
                   BRIEF OF AMICI CURIAE CURRENT AND FORMER
                  PROSECUTORS AND LAW ENFORCEMENT LEADERS IN
                            SUPPORT OF RESPONDENTS
                MATTHEW J. PIERS              MARY B. MCCORD
                CHIRAG G. BADLANI               Counsel of Record
                CARYN C. LEDERER              JOSHUA A. GELTZER
                HUGHES SOCOL PIERS            ANNIE L. OWENS
                RESNICK & DYM, LTD.           DANIEL B. RICE
                70 West Madison St.           INSTITUTE FOR CONSTITUTIONAL
                Suite 4000                    ADVOCACY AND PROTECTION
                Chicago, IL 60602             GEORGETOWN UNIVERSITY
                (312) 580-0100                LAW CENTER
                                              600 New Jersey Ave., NW
                                              Washington, DC 20001
                                              (202) 661-6607
                                              mbm7@georgetown.edu




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                           INTEREST OF AMICI CURIAE1
                    Amici are current and former prosecutors and law
                enforcement leaders who have extensive expertise in
                law enforcement, prosecution, and cooperative fed-
                eral-state law enforcement activities. They are inti-
                mately familiar with the challenges of performing
                critical law enforcement and governance functions in
                communities where immigrants fear the police and
                are vulnerable to exploitation and crime. Amici rep-
                resent jurisdictions from across the country that un-
                derstand the challenges of protecting local community
                needs and public safety.
                    Amici’s experience in keeping their communities
                safe has underscored the critical importance of bring-
                ing immigrants and their families “out of the shad-
                ows.” Community trust and cooperation are essential
                to public safety, and sound police work as well as suc-
                cessful prosecutorial efforts are undermined when un-
                documented immigrants and their communities fear
                interacting with law enforcement and the justice sys-
                tem. This dynamic leaves undocumented immigrants
                more vulnerable to crime and exploitation—and un-
                documented immigrant victims less likely to come for-
                ward or cooperate with investigations and prosecu-
                tions—leading to more violence in the communities

                    1
                      Pursuant to Supreme Court Rule 37.6, counsel for amici cer-
                tifies that no counsel for a party authored this brief in whole or
                in part and that no person or entity, other than amici and their
                counsel, made a monetary contribution intended to fund this
                brief’s preparation or submission. Counsel of record for all par-
                ties received timely notice of the filing of this brief and consented
                to its filing.




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                                             2

                amici are and have been charged with protecting. In
                the State of California, where more than a quarter of
                the population are immigrants,2 these problems have
                a particularly profound impact.
                    The Deferred Action for Childhood Arrivals
                (“DACA”) program has protected from removal nearly
                800,000 individuals brought to this country as chil-
                dren. Under DACA, these individuals—who have un-
                dergone background checks and lived continuously in
                the United States since 2007—have been permitted to
                live, work, and study in this country without fear of
                removal. Amici are aware that the DACA program
                has helped law enforcement officers and prosecutors
                keep their communities safe by reducing the fear of
                removal for these nearly 800,000 individuals who are
                active members of their communities.




                   2 Hans Johnson & Sergio Sanchez, Immigrants in California,

                Public     Policy   Institute    of     California, 1 (2019),
                https://perma.cc/W5RL-7ZZA (in 2017, immigrants constituted
                27 percent of California’s population).




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                                           3

                           SUMMARY OF ARGUMENT

                    The lessons amici have learned in protecting their
                communities shed important light on the issues
                raised in this case. When community residents live
                in constant fear that interactions with local law en-
                forcement officials could result in removal, that fun-
                damental breakdown in trust threatens public safety
                and impedes justice system leaders from doing their
                jobs. Extensive evidence shows that, in such circum-
                stances, undocumented immigrants—and their law-
                fully present family and neighbors—fear that turning
                to the police and cooperating with prosecutors could
                bring adverse immigration consequences. As a result,
                immigrant communities are less willing to report
                crimes and cooperate with criminal investigations
                and prosecutions. This dynamic poses a major chal-
                lenge to the investigation and prosecution of individ-
                ual crimes and to the proper allocation of public safety
                resources.
                   DACA ameliorates these problems by addressing
                an important reason that many individuals fear coop-
                erating with law enforcement. As experience with
                DACA has shown, when immigrants are permitted to
                step out of the shadows, they are much more willing
                to work cooperatively with police and prosecutors. As
                explained below, nearly two-thirds of DACA recipi-
                ents reported being less afraid of law enforcement,
                and 59 percent indicated that they were more likely
                to report crimes after having entered the program.
                DACA further aids law enforcement by facilitating ac-
                cess to identification, such as federal employment au-
                thorization documents. Lack of identification in im-
                migrant communities often leads to undue burdens on




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                                           4

                police, potentially turning a simple traffic stop into an
                hours-long detour to fingerprint someone at the police
                station. When police are able to identify victims, wit-
                nesses, and potential suspects without those sorts of
                delays, valuable law enforcement resources are
                spared. Knowing the identity of individuals with
                whom law enforcement officers come into contact aids
                in the safety of law enforcement officers as well.
                    DACA also promotes public safety by helping law
                enforcement to protect a population uniquely vulner-
                able to exploitation and violent crime. Numerous
                studies have shown that undocumented individuals’
                fear of interacting with law enforcement makes them
                attractive targets for many forms of crime and abuse.
                With limited access to bank accounts (in substantial
                part because of their lack of identification), they have
                been dubbed “walking ATMs” and are frequent tar-
                gets for robbery. Undocumented individuals are also
                especially vulnerable to domestic abuse because they
                often fear turning to law enforcement for help. And
                they face increased wage theft and other forms of ex-
                ploitation in the workplace.
                    By eliminating an important reason to fear law en-
                forcement, enabling access to work authorization and
                to identification, and building trust between law en-
                forcement and immigrants with longstanding ties to
                the United States, DACA aids community policing
                and makes recipients less vulnerable to crime and ex-
                ploitation. In doing so, DACA provides vital support
                to police and prosecutors charged with protecting all
                members of their communities.




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                                           5

                                    ARGUMENT

                I. DACA FOSTERS EFFECTIVE LAW ENFORCEMENT

                   A. “Community Policing” Is Essential To Ef-
                      fective Law Enforcement

                    The experience of policing cities across the country
                has taught law enforcement officers that doing their
                jobs well requires “the trust and respect of the com-
                munities [they] serve.” Hearing Before the S. Comm.
                on the Judiciary, 114th Cong. 2 (2015) (statement of
                Tom Manger, Chief, Montgomery Cty., Md., Police
                Dep’t & President, Major Cities Chiefs Ass’n),
                https://perma.cc/SKM2-QKV9 [hereinafter Statement
                of Tom Manger]. To combat crime, police officers
                “need the full cooperation of victims and witnesses.”
                Id. This common-sense philosophy is sometimes
                called “community policing”—an approach to policing
                whereby local law enforcement organizations partner
                with communities to reduce crime and promote public
                safety. See Anita Khashu, The Role of Local Police:
                Striking a Balance Between Immigration Enforce-
                ment and Civil Liberties, Police Found. (2009),
                https://perma.cc/KL5A-EQWR.
                   Community policing requires police to interact
                with neighborhood residents in a manner that builds
                trust and encourages cooperation. Id. at xiii. When
                that trust is missing—as it is when people believe
                that contacting police or cooperating with prosecutors
                could lead to removal for themselves or others—com-
                munity policing breaks down and the entire commu-
                nity suffers.




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                   B. Trust And Respect Between Communities
                      And Law Enforcement Officials Are
                      Thwarted When Individuals Fear Re-
                      moval Consequences Of Cooperation

                     The reality of everyday life for millions of undoc-
                umented immigrants living in the United States
                poses significant challenges to effective community
                policing. According to a recent Pew survey, 66 percent
                of Hispanic immigrants and 43 percent of all Hispanic
                adults in the United States worry about removal—of
                themselves, family members, or close friends. Mark
                Hugo Lopez et al., More Latinos Have Serious Con-
                cerns About Their Place in America Under Trump,
                Pew Res. Ctr.: Hispanic Trends (Oct. 25, 2018),
                https://perma.cc/R3TE-DMAD. This fear predictably
                hinders cooperation and communication with police
                and prosecutors. Immigrants often assume that in-
                teraction with law enforcement officials could have
                adverse consequences for themselves or a loved one.
                   As a result, immigrant communities—and undoc-
                umented immigrants in particular—are less likely to
                trust and cooperate with local police and prosecutors.
                One recent study found that individuals living in com-
                munities of recent immigrants are less likely to report
                violent crime: in neighborhoods where 65 percent of
                residents are immigrants, there is only a 5-percent
                chance that a victim will report a violent crime, com-
                pared with a 48-percent chance in a neighborhood
                where only 10 percent of residents are born outside
                the United States. Min Xie & Eric P. Baumer, Neigh-
                borhood Immigrant Concentration and Violent Crime
                Reporting to the Police: A Multilevel Analysis of Data
                from the National Crime Victimization Survey, 57




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                Criminology 237, 249 (2019), https://perma.cc/QS5R-
                K867. The authors of the study specifically noted that
                “the development of trusting relationships between
                citizens and the police is often challenged by the pres-
                ence and application of local and federal immigration
                enforcement programs . . . that may dissuade resi-
                dents from calling on the police to help address crime
                problems.” Id. at 254.
                     In addition, one survey of Latinos in four major cit-
                ies found that 70 percent of undocumented immi-
                grants and 44 percent of all Latinos would be less
                likely to contact law enforcement authorities if they
                were victims of a crime for fear that the police would
                ask them or people they know about their immigra-
                tion status; and 67 percent of undocumented immi-
                grants and 45 percent of all Latinos would be less
                likely to provide information about, or report, crimes
                because of the same fear. Nik Theodore, Insecure
                Communities: Latino Perceptions of Police Involve-
                ment in Immigration Enforcement 5-6 (2013),
                https://perma.cc/XEE8-P42V; see also id. at 1 (“Sur-
                vey results indicate that increased involvement of po-
                lice in immigration enforcement has significantly
                heightened the fears many Latinos have of the police,
                . . . exacerbating their mistrust of law enforcement
                authorities.”). And a recent survey of undocumented
                individuals in San Diego County found that if local
                law enforcement officials were working together with
                ICE, 60 percent of survey respondents would be less
                likely to report a crime they witnessed, while 43 per-
                cent would be less likely to report being a victim of a
                crime. Tom K. Wong, Sanctuary Cities Don’t ‘Breed
                Crime.’ They Encourage People to Report Crime.,
                Wash. Post (Apr. 24, 2018), https://perma.cc/EDW3-




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                9SEQ. These studies (among others) highlight that
                fears of immigration enforcement result in damage to
                law enforcement cooperation from not only undocu-
                mented community members, but also individuals
                with citizenship or lawful status, particularly in
                “mixed-status” households.3
                    This problematic atmosphere of mistrust poses a
                fundamental challenge for community policing. Po-
                lice cannot prevent or solve crimes if victims or wit-
                nesses are unwilling to talk to them or prosecutors be-
                cause of concerns that they, their loved ones, or their
                neighbors will face adverse immigration conse-
                quences. Law enforcement officers participating in
                one recent national survey reported seeing an across-
                the-board decline in immigrant communities’ willing-
                ness to cooperate with law enforcement. Nat’l Immi-
                grant Women’s Advocacy Project, Promoting Access to
                Justice for Immigrant and Limited English Proficient
                Crime Victims in an Age of Increased Immigration
                Enforcement: Initial Report from a 2017 National
                Survey 101 (2018), https://perma.cc/52MV-X8TG
                [hereinafter NIWAP Report]. Roughly one-fifth of po-
                lice officers surveyed reported that, in 2017, immi-
                grants were less willing than they were in 2016 to
                make police reports, less likely to help police when


                   3 An estimated 85 percent of immigrants live in mixed-status

                families. See Khashu, supra, at 24; see also Jill Theresa Messing
                et al., Latinas’ Perceptions of Law Enforcement: Fear of Deporta-
                tion, Crime Reporting, and Trust in the System, 30 J. Women &
                Soc. Work 328, 334 (2015) (“The results indicate that for each 1-
                point increase in fear of deportation [e.g., from ‘not much’ to
                ‘some’ worry, or from ‘some’ to ‘a lot’], Latina participants were
                [15 percent] less willing to report being [a] victim of a violent
                crime to police.”).




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                they arrived at the scene of the crime, less likely to
                assist with subsequent investigations, and less will-
                ing to work with prosecutors. Id. at 42. As a result,
                more than half of the law enforcement officials sur-
                veyed reported that crimes such as domestic violence,
                human trafficking, and sexual assault became more
                difficult to investigate. Id. at 51.
                    These trends have continued to worsen in recent
                years. See Cora Engelbrecht, Fewer Immigrants Are
                Reporting Domestic Abuse. Police Blame Fear of De-
                portation.,     N.Y.      Times      (June    3,    2018),
                https://perma.cc/Q4HN-N5BX. According to the Hou-
                ston Police Department, rape reporting by members
                of the Hispanic community fell over 40 percent from
                the first quarter of 2016 to the same period in 2017,
                despite an overall increase in city-wide crime reports.
                Michael Morris & Lauren Renee Sepulveda, A New
                ICE Age, Texas Dist. & Cty. Attorneys Ass’n, The
                Texas Prosecutor, Vol. 47, No. 4 (July/Aug. 2017),
                https://perma.cc/J2QH-AWV7.            Los Angeles, San
                Francisco, and San Diego also witnessed lagging sex-
                ual assault and domestic violence reporting by Latino
                persons—but not other ethnic groups—in the first
                half of 2017. James Queally, Fearing Deportation,
                Many Domestic Violence Victims Are Steering Clear of
                Police and Courts, L.A. Times (Oct. 9, 2017),
                https://perma.cc/QR2S-FKX7. According to Los Ange-
                les County Sheriff’s Deputy Marino Gonzalez,
                “[t]hey’re afraid of us. And the reason they’re afraid
                of us is because they think we’re going to deport
                them.” Id.; see also NIWAP Report, supra, at 99 (find-
                ing that, in 2016 and 2017, fear of removal was the
                principal reason that immigrant victims did not call
                the police for help or file or follow through with a court




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                case). Law enforcement officials across the country
                have echoed that sentiment. See, e.g., Hannah Rap-
                pleye et al., Immigration Crackdown Makes Women
                Afraid to Testify Against Abusers, Experts Warn, NBC
                News (Sept. 22, 2018), https://perma.cc/UB6S-RTE7
                (“‘We rely very heavily at the local level on coopera-
                tion from our witnesses and from our victims to en-
                sure that cases can be prosecuted,’ said Denver City
                Attorney Kristin Bronson. ‘What we’ve found in Den-
                ver is people are not showing up because they’re
                afraid that they might get apprehended in the hall-
                ways.’”); see also City of Philadelphia v. Sessions, 309
                F. Supp. 3d 289, 341 (E.D. Pa. 2018) (“[Philadelphia]
                Police Commissioner Ross reiterated his earlier testi-
                mony that the City’s ability to fight crime is impaired
                when victims and witnesses are afraid to report
                crimes for fear of immigration consequences.”); Bret
                Hauff, ICE Targets Immigrants at La Plata County
                Courthouse, Durango Herald (Mar. 23, 2019),
                https://perma.cc/8RFS-3YMW (explaining that the
                tactic of courthouse arrests “deters people from mak-
                ing reports; it deters people from coming in” (quoting
                Colorado 6th Judicial District Chief Judge Jeffery
                Wilson)).
                   Immigrants’ fear of interacting with law enforce-
                ment and prosecutors in light of potential removal
                consequences is not merely theoretical. In February
                2017, for example, an immigrant woman living in
                Texas arrived at a courthouse seeking a protective or-
                der against her abusive boyfriend, only to leave under
                arrest—likely due to a tip from her abuser. Katie
                Mettler, ‘This Is Really Unprecedented’: ICE Detains
                Woman Seeking Domestic Abuse Protection at Texas
                Courthouse,     Wash.    Post   (Feb.     16,    2017),




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                https://perma.cc/33UE-WC85. In August 2017, fed-
                eral agents detained an undocumented immigrant
                who had provided key testimony in two homicide
                cases. James Fanelli, Father of Two Who Testified in
                Brooklyn Homicide Cases and Is Married to a U.S.
                Citizen Detained by ICE, N.Y. Daily News (Aug. 2,
                2017), https://perma.cc/SBH8-BUGH. Weeks later,
                ICE agents arrested a victim of domestic violence as
                he left a county courthouse. Steve Coll, When a Day
                in Court Is a Trap for Immigrants, New Yorker (Nov.
                8, 2017), https://perma.cc/VMT5-75M5. And in Feb-
                ruary 2019, ICE detained a 38-year-old mother of
                three who was cooperating with police in an open in-
                vestigation—and almost removed her to her native
                Nicaragua. Asked upon her release if she would think
                twice before interacting with law enforcement in the
                future, she answered without hesitation: “Sí.” Jessica
                Lipscomb, Miami Crime Victim Detained by ICE
                Warns Others About Calling Police for Help, Miami
                New Times (Apr. 23, 2019), https://perma.cc/9GG5-
                BKQQ.
                    The underreporting of crimes by recent immi-
                grants is a problem for the entire criminal justice sys-
                tem. Precisely because victims and witnesses fear re-
                moval, violent crimes have gone unreported, and
                pending prosecutions have disappeared from courts’
                dockets. For example, a Texas district attorney con-
                firmed that a victim of domestic violence had become
                uncooperative because she feared removal. Philip
                Jankowski, Deportation Fears Keep Victim from Co-
                operating in Domestic Violence Case, Travis DA Says,
                Statesman        (Austin)     (Mar.      8,      2017),
                https://perma.cc/9AYX-5FQP.       Denver prosecutors
                have been forced to drop 30 domestic violence cases




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                for similar reasons, Rappleye et al., supra, and in
                2017, more than a dozen Latina women in Denver
                dropped their own civil cases against domestic abus-
                ers, citing fear of removal. Sarah Stillman, When De-
                portation Is a Death Sentence, New Yorker (Jan. 15,
                2018), https://perma.cc/TK4U-FKMY. An immigrant
                mother in New Jersey, fearing that interaction with
                the court system could trigger removal, declined to re-
                port that her son had been assaulted on his way to
                school. S.P. Sullivan, Advocates Say ICE Courthouse
                Arrests in N.J. Are Hurting Immigrant Crime Vic-
                tims, NJ (June 5, 2017), https://perma.cc/8VQW-
                TYD7. And a victim of domestic violence in New York
                City “did not think it was in her best interest” to pur-
                sue a protective order. Emma Whitford, Courthouse
                ICE Arrests Are Making Immigrants ‘Sitting Ducks,’
                Lawyers Warn, Gothamist (June 22, 2017),
                https://perma.cc/XJT4-YQ4D. In addition to their
                particular removal concerns, undocumented immi-
                grant victims and witnesses may understandably re-
                coil more generally from a system that allows partici-
                pants to walk into a courthouse to fulfill a civic re-
                sponsibility to testify, only to be detained by immigra-
                tion authorities and prevented from walking freely
                out of that same courthouse.
                    In response to these types of incidents, the chief
                justices of three state supreme courts—including the
                Supreme Court of California—wrote to federal au-
                thorities to emphasize that preserving trust with im-
                migrant communities is essential to the administra-
                tion of justice. Letter from Tani G. Cantil-Sakauye,
                Chief Justice of California, to Jeff Sessions, Att’y Gen.
                of the U.S., and John F. Kelly, Sec’y of Dep’t of Home-
                land Sec. (Mar. 16, 2017), https://perma.cc/9C8T-




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                QVET; Letter from Mary E. Fairhurst, Chief Justice
                of the Supreme Court of Washington, to John F. Kelly,
                Sec’y of Dep’t of Homeland Sec. (Mar. 22, 2017),
                https://perma.cc/6358-7Z3H; Letter from Stuart Rab-
                ner, Chief Justice of the Supreme Court of New Jer-
                sey, to John F. Kelly, Sec’y of Dep’t of Homeland Sec.
                (Apr. 19, 2017), https://perma.cc/M2QA-FJYD. In ad-
                dition, 75 former state and federal judges wrote to
                ICE’s Acting Director to explain that “our justice sys-
                tem cannot function effectively . . . if victims, defend-
                ants, witnesses, and family members do not feel se-
                cure in accessing the courthouse.” Letter from Sev-
                enty-Five Former State and Federal Judges to Ronald
                D. Vitiello, Acting Director of ICE (Dec. 12, 2018),
                https://perma.cc/LJE2-94P7. Three district attorneys
                in New York asked ICE to stop making courthouse ar-
                rests because of the “chilling effect” this practice has
                on witnesses. Rappleye et al., supra. And other lead-
                ers around the country have asserted that using local
                court systems as levers for federal immigration en-
                forcement “undercuts local law enforcement’s ability
                to develop the critical trust needed to keep communi-
                ties safe.” Maria Cramer, ICE Courthouse Arrests
                Worry Attorneys, Prosecutors, Boston Globe (June 16,
                2017), https://perma.cc/VZZ9-J7WE (quoting Massa-
                chusetts Attorney General Maura Healey).
                    C. DACA Promotes Cooperation With Law
                       Enforcement

                    DACA has improved public safety by helping to
                build trust between immigrant communities and law
                enforcement. Nearly eight in ten recipients of DACA
                relief reported that they are now less afraid of re-




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                moval, Zenén Jaimes Pérez, United We Dream, A Por-
                trait of Deferred Action for Childhood Arrivals Recip-
                ients: Challenges and Opportunities Three-Years
                Later 23 (2015), https://perma.cc/AGE7-X5UH. Two-
                thirds reported being less afraid of law enforcement,
                and 59 percent said that they would report a crime
                now in a situation in which they would not have re-
                ported it before. Roberto G. Gonzales & Angie M.
                Bautista-Chavez, Am. Immigration Council, Two
                Years and Counting: Assessing the Growing Power of
                DACA 9 (June 16, 2014), https://perma.cc/6UBE-
                Z9AK; Roberto G. Gonzales, Here’s How DACA
                Changed the Lives of Young Immigrants, According to
                Research, Vox Media (Feb. 16, 2018                   ),
                https://perma.cc/PB6B-9S9L. If the DACA program
                continues, those who qualify for the program would
                not need to fear ordinary encounters with law enforce-
                ment. Instead, they would retain greater freedom to
                cooperate for the protection of their communities—
                and indeed all communities—without worrying that
                their good deed might be punished with separation
                from their family members, siblings, or loved ones.
                    Lessons learned from the implementation of the
                Violence Against Women Act, Pub. L. No. 106-386,
                114 Stat. 1491 (2000), are instructive. With that Act,
                Congress created the U visa to provide immigration
                relief to undocumented victims of certain crimes. See
                Victims of Criminal Activity: U Nonimmigrant Sta-
                tus,    U.S.    Citizenship    &    Immigr.    Servs.,
                https://perma.cc/P3AC-XTHG (last updated June 12,
                2018). A U visa allows recipients to identify them-
                selves, receive temporary relief from removal, and ob-
                tain verified government identification. See id. The
                benefits for law enforcement have been striking. A




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                recent study indicated that U visa applicants and re-
                cipients, freed of the need to remain in the shadows,
                became far more likely to cooperate with law enforce-
                ment in the detection, investigation, and prosecution
                of crimes. See Leslye Orloff et al., Nat’l Immigrant
                Women’s Advocacy Project, U-Visa Victims and Law-
                ful      Permanent        Residency      5-6      (2012),
                https://perma.cc/53NZ-LCPF. Indeed, more than 99
                percent stated that they were willing to cooperate
                with the police, and 70 percent were in fact asked to—
                and did—provide assistance related to crimes com-
                mitted against them. See id. That U visa holders who
                seek lawful permanent residency are expected to pro-
                vide “reasonably requested information and assis-
                tance” to law enforcement in connection with the
                crimes that qualify them for immigration relief un-
                doubtedly helps to explain the especially high level of
                cooperation. Id. at 5 (internal quotation marks omit-
                ted) (quoting New Classification for Victims of Crimi-
                nal Activity; Eligibility for ‘‘U’’ Nonimmigrant Status;
                Interim Rule, 72 Fed. Reg. 53,014 (Sept. 17, 2007) (to
                be codified in scattered sections of 8 C.F.R.)). But it is
                the protection offered by the U visa that enables that
                cooperation in the first place.4 See id. Another study
                revealed that three-quarters of law enforcement offic-
                ers view U visas as beneficial in encouraging victims
                to come forward and report crimes. Natalia Lee et al.,
                Nat’l Immigrant Women’s Advocacy Project, National




                   4 As set forth supra, the DACA program has yielded similar

                results, despite entailing no explicit expectation of law enforce-
                ment cooperation.




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                Survey of Service Providers on Police Response to Im-
                migrant Crime Victims, U Visa Certification and Lan-
                guage Access 21 (2013), https://perma.cc/5SR9-VTWA.
                   D. DACA Aids Law Enforcement By Facili-
                      tating Access To Identification

                    DACA further benefits effective policing because it
                provides an easy method of identification for DACA
                recipients. Because most states do not issue driver’s
                licenses or other identification to undocumented im-
                migrants, law enforcement officials often face serious
                difficulties in reliably identifying undocumented com-
                munity members. Ready access to identification aids
                law enforcement in the most basic of ways: if the po-
                lice cannot verify who someone is, it becomes much
                harder to identify witnesses and victims, investigate
                potential suspects, and perform critical tasks like
                searching for a criminal history, investigating out-
                standing warrants, and determining whether some-
                one poses a threat. See, e.g., Police Exec. Research
                Forum, Voices from Across the Country: Local Law
                Enforcement Officials Discuss the Challenges of Immi-
                gration           Enforcement          15       (2012),
                https://perma.cc/QKN8-QFJK; see also Michael Cork-
                ery & Jessica Silver-Greenberg, Banks Reject New
                York City IDs, Leaving ‘Unbanked’ on Sidelines, N.Y.
                Times (Dec. 23, 2015), https://perma.cc/A5B7-X32D
                (describing municipal identification and stating, “The
                mayor emphasized that the cards were developed
                with input from the New York City Police Department
                and said the department had been one of the biggest
                backers of the program. ‘They want every New Yorker
                on the street to have an ID card; it greatly improves
                the work of the NYPD,’ Mr. de Blasio said.”).




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                    Even the simplest traffic stop can lead to an un-
                necessary waste of valuable law enforcement re-
                sources if an individual cannot be identified. Police
                Exec. Research Forum, supra, at 15-16. As one police
                chief has explained, “[w]hen we stop cars and the
                driver doesn’t have a driver’s license, there are very
                few options for the officers and troopers.” Id. at 16
                (quoting Chief Harry Dolan, N.C. Police). The only
                reliable method of identification—fingerprinting—re-
                quires a detour to “jail so we can find out who they
                are.” Id. (same). Another former police chief lamented
                the “manpower” required and time lost—“up to two to
                three hours to determine who an arrestee is”—which
                could be devoted to more-pressing law enforcement
                concerns. Id. at 15 (quoting Art Venegas, Founder,
                Law Enf’t Engagement Initiative).
                    Recipients of DACA are eligible to apply for a fed-
                eral employment authorization document (“EAD”).
                The EAD comes in the form of a card issued by U.S.
                Citizenship and Immigration Services, and includes
                the recipient’s photograph.          See 8 U.S.C.
                § 1324a(h)(3); 8 C.F.R. § 274a.12(c)(14); see also U.S.
                Citizenship & Immigration Servs., U.S. Dep’t of
                Homeland Sec., OMB No. 1615-0040, Instructions for
                I-765 Application for Employment Authorization (last
                updated May 31, 2018) (describing EAD as a “card”
                and     requiring    two    passport-style      photos)
                https://perma.cc/JW66-XQCG . Individuals who re-
                ceive employment authorization also are eligible to
                obtain a Social Security number and card. See Soc.
                Sec. Admin., SSA Publ’n No. 05-10096, Social Secu-
                rity     Numbers       for    Noncitizens       (2017),
                https://perma.cc/9RGJ-X8Y2. Because DACA has ex-




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                panded the availability of identification, it has en-
                hanced law enforcement officers’ ability to identify
                those whom they encounter. More than 90 percent of
                recipients of relief under DACA report that they have
                acquired a driver’s license or other identification. Pé-
                rez, supra, at 20. Freed from time-consuming, waste-
                ful, and potentially antagonistic encounters with in-
                dividuals who pose no public safety concern, police
                have more time to focus on higher priorities in keep-
                ing their communities safe.
                II. DACA HELPS LAW ENFORCEMENT PROTECT VUL-
                    NERABLE INDIVIDUALS FROM CRIME AND EXPLOI-
                   TATION

                    DACA has yielded another vital public safety ben-
                efit: protecting individuals who are particularly vul-
                nerable to crime and thus attractive targets for crim-
                inals.
                    As discussed above, undocumented immigrants
                and their families are reluctant to report crimes for
                fear of removal. Predators who seek to take ad-
                vantage of the vulnerabilities of immigrant communi-
                ties also know this. These communities face a range
                of unlawful conduct, including domestic and gang vi-
                olence, as well as abuse by unscrupulous employers.
                See Office of Cmty. Oriented Policing Servs., U.S.
                Dep’t of Justice, Enhancing Community Policing with
                Immigrant Populations: Recommendations from a
                Roundtable Meeting of Immigrant Advocates and Law
                Enforcement          Leaders         16        (2010),
                https://perma.cc/62JX-99KK.
                   When immigrants distrust their local police, “it
                creates conditions that encourage criminals to prey
                upon victims and witnesses alike.” Statement of Tom




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                Manger, supra, at 2. This phenomenon has been
                termed the “deportation threat dynamic,” whereby in-
                dividuals who fear removal from the United States do
                not report the crimes they suffer. Elizabeth Fussell,
                The Deportation Threat Dynamic and Victimization of
                Latino Migrants: Wage Theft and Robbery, 52 Soc. Q.
                593, 610 (2011). Nearly two-thirds of undocumented
                migrant workers participating in a study in Memphis,
                Tennessee, reported being the victim of at least one
                crime, with the most common being theft and robbery.
                Jacob Bucher et al., Undocumented Victims: An Ex-
                amination of Crimes Against Undocumented Male Mi-
                grant Workers, 7 Sw. J. Crim. Just. 159, 164, 166 tbl.2
                (2010). Respondents indicated that fewer than a
                quarter of these crimes were reported to the police,
                and only one was reported by the victim himself. Id.
                at 165. In one especially horrific incident, a four-year-
                old girl in Texas suffered repeated sexual abuse at the
                hands of someone who threatened to cause her mother
                to be removed if the mother reported her daughter’s
                exploitation. See Matthew Haag, Texas Deputy Ac-
                cused of Molesting 4-Year-Old and Threatening to De-
                port Her Mother, N.Y. Times (June 18, 2018),
                https://perma.cc/682K-2ZR3.
                   Robbery and similar crimes pose a particular
                threat to undocumented individuals, who often do not
                have bank accounts, in part because of their inability
                to obtain government-issued identification. Fussell,
                supra, at 604 & tbl.2, 605; S. Poverty Law Ctr., Under
                Siege: Life for Low-Income Latinos in the South 6, 25
                (2009), https://perma.cc/7GCY-V25L. In addition,
                many of these immigrants live in group apartments
                and are unable to store valuables in a safe place at




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                home. Khashu, supra, at 25. As a result, undocu-
                mented immigrants are known to carry large
                amounts of cash, making them especially vulnerable
                to robbery. The risk to the perpetrators, meanwhile,
                is minimal because the victims are often too afraid of
                adverse immigration consequences to report the
                crimes to the police.
                    The targeting of undocumented immigrants for
                robbery has become so widespread that these individ-
                uals have been labeled “walking ATMs”—or the sub-
                jects of “amigo shopping.” See Fussell, supra, at 604-
                05 (internal quotation marks omitted); S. Poverty
                Law Ctr., supra, at 25 (same); Khashu, supra, at 25.
                In a study of largely undocumented immigrants help-
                ing to rebuild New Orleans in the wake of Hurricane
                Katrina, the immigrants reported robbery and physi-
                cal assault at more than ten times the rate experi-
                enced by the general population. See Fussell, supra,
                at 604 & tbl.2, 605. In another survey, 53 percent of
                law enforcement officers held the view that undocu-
                mented immigrants were especially likely to be vic-
                tims of robbery and theft. See Khashu, supra, at 25.
                    Undocumented immigrants also are particularly
                vulnerable to domestic violence. Numerous studies
                have shown that abusive partners may exploit the
                threat of removal to maintain power and control. See,
                e.g., Messing et al., supra, at 330 (citing several stud-
                ies); Angelica S. Reina et al., “He Said They’d Deport
                Me”: Factors Influencing Domestic Violence Help-
                Seeking Practices Among Latina Immigrants, 29 J.




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                Interpersonal Violence 593, 601 (2014).5 Financial
                dependence on an abusive partner with stable immi-
                gration status may facilitate violence in this way. See,
                e.g., Messing et al., supra, at 330. Seventy percent of
                participants in one study of domestic violence victims
                said that immigration status was a major factor keep-
                ing them from seeking help or reporting their abuse
                to the authorities—thereby permitting the violence to
                continue. Reina et al., supra, at 600. In another
                study, immigration status was identified as the single
                largest factor independently affecting the rate at
                which battered Latina immigrants called the police.
                Nawal H. Ammar et al., Calls to Police and Police Re-
                sponse: A Case Study of Latina Immigrant Women in
                the USA, 7 Int’l J. Police Sci. & Mgmt. 230, 237 (2005).
                    Undocumented immigrants are vulnerable in the
                workplace, as well. In a number of studies, between
                40 and 80 percent of mostly undocumented immi-
                grants reported being victims of wage theft. See
                Fussell, supra, at 604 & tbl.2 (finding that 40 percent
                of respondents reported wage theft since arriving in
                New Orleans); id. (citing Nik Theodore, Abel Valen-
                zuela, Jr. & Edwin Meléndez, La Esquina (The Cor-
                ner): Day Laborers on the Margins of New York’s For-
                mal Economy, 9 WorkingUSA: J. Lab. & Soc’y 407


                   5 One study cited a participant who explained that a partner

                “beat me up and I could have called the police because that was
                what I thought to do . . . but he threatened me . . . . [H]e told me
                that if I called the police I was going to lose out . . . because [po-
                lice officers] would . . . take me, because I didn’t have legal docu-
                ments.” Reina et al., supra, at 601; see also NIWAP Report, su-
                pra, at 103 (noting that 69 percent of law enforcement officers
                surveyed had observed a decrease in domestic violence repor-
                ting).




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                (2006) (finding a wage theft rate of approximately 50
                percent in New York)); S. Poverty Law Ctr., supra, at
                6 (finding that 41 percent of those surveyed across the
                South and 80 percent surveyed in New Orleans had
                experienced wage theft). Many immigrants also re-
                ported other types of worksite abuse. Fussell, supra,
                at 604 & tbl.2. In one study, 32 percent of respond-
                ents said that they had suffered on-the-job injuries—
                and most of these individuals, after being injured,
                were either fired, not paid lost wages, or denied med-
                ical care by their employers. S. Poverty Law Ctr., su-
                pra, at 6. The “deportation threat dynamic” fuels not
                only workplace exploitation but also outright vio-
                lence. An advocate reported that, when one worker
                attempted to collect wages his employer owed him,
                “[t]he contractor raised his shirt and showed he had a
                gun—and that was enough . . . . He didn’t have to say
                any more. The worker left.” Id. at 7 (internal quota-
                tion marks omitted).
                   Unlike undocumented immigrants, DACA recipi-
                ents are currently eligible to apply to receive work au-
                thorization. Many are currently working or pursuing
                higher educational opportunities. Should they lose
                their work authorization and once again fear removal
                from the United States, exploitative employers and
                criminals alike would be emboldened, thus diminish-
                ing the safety of entire communities. By permitting
                these young individuals to live and work openly,
                DACA eliminates a significant barrier to developing
                trusting relationships with law enforcement that are
                essential to public safety. Continuing the DACA pro-
                gram will enable police and prosecutors to fight crime
                more effectively and to serve all of those whom they
                are charged with protecting.




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                                   CONCLUSION

                    For the foregoing reasons, the judgments of the
                United States District Court for the District of Colum-
                bia and the Court of Appeals for the Ninth Circuit, as
                well as the orders of the United States District Court
                for the Eastern District of New York, should be af-
                firmed.

                                          Respectfully submitted.

                                          MARY B. MCCORD
                                          JOSHUA A. GELTZER
                                          ANNIE L. OWENS
                                          DANIEL B. RICE
                                          INSTITUTE FOR
                                          CONSTITUTIONAL ADVOCACY
                                          AND PROTECTION
                                          GEORGETOWN UNIVERSITY
                                          LAW CENTER
                                          600 New Jersey Ave., NW
                                          Washington, DC 20001
                                          (202) 661-6607
                                          mbm7@georgetown.edu

                                          MATTHEW J. PIERS
                                          CHIRAG G. BADLANI
                                          CARYN C. LEDERER
                                          HUGHES SOCOL PIERS
                                          RESNICK & DYM, LTD.
                                          70 West Madison St.
                                          Suite 4000
                                          Chicago, IL 60602
                                          (312) 580-0100
                OCTOBER 2019




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                      APPENDIX: LIST OF AMICI CURIAE

                Art Acevedo, Chief, Houston Police Department,
                Texas.

                Roy L. Austin, Jr., former Deputy Assistant to the
                President for the Office of Urban Affairs, Justice, and
                Opportunity; former Deputy Assistant Attorney Gen-
                eral for the Civil Rights Division; former Assistant
                U.S. Attorney, U.S. Attorney’s Office for the District of
                Columbia.

                Chiraag Bains, former Senior Counsel to the Assis-
                tant Attorney General, Civil Rights Division, U.S. De-
                partment of Justice; former Trial Attorney, Civil
                Rights Division, Criminal Section, U.S. Department of
                Justice.

                Ramon Batista, Chief, Mesa Police Department, Ar-
                izona.

                Diana Becton, District Attorney, Contra Costa
                County, California.

                Wesley Bell, Prosecuting Attorney, St. Louis County,
                Missouri.

                Thomas Berg, former U.S. Attorney for the District
                of Minnesota.

                Carmen Best, Chief, Seattle Police Department,
                Washington.

                Christopher C. Blue, Chief, Chapel Hill Police De-
                partment, North Carolina.




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                William Bones, Chief, Boise Police Department,
                Idaho.

                Mike Brown, Chief, Salt Lake City Police Depart-
                ment, Utah.

                Chris Burbank, former Chief, Salt Lake City Police
                Department, Utah.

                A. Bates Butler III, former U.S. Attorney for the Dis-
                trict of Arizona.

                John Choi, County Attorney, Ramsey County, Min-
                nesota.

                Jerry L. Clayton, Sheriff, Washtenaw County, Mich-
                igan.

                Jorge Colina, Chief, Miami Police Department, Flor-
                ida.

                Brendan Cox, former Chief, Albany Police Depart-
                ment, New York.

                John Creuzot, District Attorney, Dallas County,
                Texas.

                Satana Deberry, District Attorney, Durham County,
                North Carolina.

                Maggie Deboard, Chief, Herndon Police Depart-
                ment, Virginia.

                Michael Dougherty, District Attorney, 20th Judicial
                District (Boulder County), Colorado.

                Mark Dupree, District Attorney, Wyandotte County,
                Kansas.




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                Jenny Durkan, former U.S. Attorney for the Western
                District of Washington.

                Tony Estrada, Sheriff, Santa Cruz County, Arizona.

                Paul H. Fitzgerald, Sheriff, Story County, Iowa.

                Kim Gardner, Circuit Attorney, City of St. Louis,
                Missouri.

                George Gascón, District Attorney, City and County
                of San Francisco, California.

                Sarah F. George, State’s Attorney, Chittenden
                County, Vermont.

                Sim Gill, District Attorney, Salt Lake County, Utah.

                Joe Gonzales, District Attorney, Bexar County,
                Texas.

                Eric Gonzalez, District Attorney, Kings County, New
                York.

                Mark Gonzalez, District Attorney, Nueces County,
                Texas.

                Ronald Haddad, Chief, Dearborn Police Depart-
                ment, Michigan.

                Andrea Harrington, District Attorney, Berkshire
                County, Massachusetts.

                Michael S. Harrison, Commissioner, Baltimore Po-
                lice Department, Maryland.

                Andy Harvey, Chief, Palestine Police Department,
                Texas.




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                Dwight Henninger, Chief, Vail Police Department,
                Colorado.

                Sally Hernandez, Sheriff, Travis County, Texas.

                Peter Holmes, City Attorney, Seattle, Washington.

                John Hummel, District Attorney, Deschutes County,
                Oregon.

                Wayne Jerman, Chief, Cedar Rapids Police Depart-
                ment, Iowa.

                Mitzi G. Johanknecht, Sheriff, King County, Wash-
                ington.

                Craig S. Kingsbury, Chief, Twin Falls Police Depart-
                ment, Idaho.

                Michael C. Koval, former Chief, Madison Police De-
                partment, Wisconsin.

                Lawrence S. Krasner, District Attorney, Philadel-
                phia, Pennsylvania.

                Miriam Aroni Krinsky, former Chief, Criminal Ap-
                peals Section, U.S. Attorney’s Office for the Central
                District of California; former Assistant U.S. Attorney,
                U.S. Attorney’s Office for the Central District of Cali-
                fornia; former Chair, Solicitor General’s Advisory
                Group on Appellate Issues.

                Brian Kyes, Chief, Chelsea Police Department, Mas-
                sachusetts.




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                William Lansdowne, former Chief, San Diego Police
                Department, California; former Chief, San Jose Police
                Department, California; former Chief, Richmond Po-
                lice Department, California.

                Chris Magnus, Chief, Tucson Police Department, Ar-
                izona.

                David Mahoney, Sheriff, Dane County, Wisconsin.

                Beth McCann, District Attorney, 2nd Judicial Dis-
                trict (City and County of Denver), Colorado.

                Mary B. McCord, former Acting Assistant Attorney
                General and Principal Deputy Assistant Attorney
                General for National Security, U.S. Department of
                Justice; former Assistant U.S. Attorney and Chief,
                Criminal Division, U.S. Attorney’s Office for the Dis-
                trict of Columbia.

                Brian M. Middleton, District Attorney, Fort Bend
                County, Texas.

                Kenneth Mighell, Former U.S. Attorney for the
                Northern District of Texas.

                Sylvia Moir, Chief, Tempe Police Department, Ari-
                zona.

                Marilyn Mosby, State’s Attorney, Baltimore City,
                Maryland.

                Peter Newsham, Chief, Metropolitan Police Depart-
                ment of Washington, D.C.

                Andy Norris, former Lieutenant, Tuscaloosa County
                Sheriff's Office, Alabama.




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                Steven M. Pare, Commissioner of Public Safety,
                Providence, Rhode Island.

                Joseph Pelle, Sheriff, Boulder County, Colorado.

                Joseph Platania, Commonwealth’s Attorney, City of
                Charlottesville, Virginia.

                Abdul Pridgen, Chief, Seaside Police Department,
                California.

                Mark Prosser, Director, Department of Public
                Safety, Storm Lake, Iowa.

                Lonny Pulkrabek, Sheriff, Johnson County, Iowa.

                Ira Reiner, former District Attorney, Los Angeles
                County, California; former City Attorney, Los Ange-
                les, California.

                Rachael Rollins, District Attorney, Suffolk County,
                Massachusetts.

                Orlando Rolón, Chief, Orlando Police Department,
                Florida.

                Marian Ryan, District Attorney, Middlesex County,
                Massachusetts.

                Daniel Satterberg, Prosecuting Attorney, King
                County, Washington.

                Carol A. Siemon, Prosecuting Attorney, Ingham
                County, Michigan.

                Steve Stahl, Chief, Maricopa Police Department, Ar-
                izona.




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                Norm Stamper, former Chief, Seattle Police Depart-
                ment, Washington.

                David E. Sullivan, District Attorney, Northwestern
                District, Massachusetts.

                Thomas P. Sullivan, former U.S. Attorney for the
                Northern District of Illinois.

                Raúl Torrez, District Attorney, Bernalillo County,
                New Mexico.

                Michael Tupper, Chief, Marshalltown Police De-
                partment, Iowa.

                Cyrus R. Vance, District Attorney, New York
                County, New York.

                John Walsh, former U.S. Attorney for the District of
                Colorado.

                Andrew H. Warren, State Attorney, Thirteenth Ju-
                dicial Circuit (Tampa), Florida.

                William D. Wilmoth, former U.S. Attorney for the
                Northern District of West Virginia.




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                            In the
                Supreme Court of the United States
             DEPARTMENT OF HOMELAND SECURITY, ET. AL.,
                            Petitioners,
                                –v–
          REGENTS OF THE UNIVERSITY OF CALIFORNIA, ET AL.,
                           Respondents.
                                 
       DONALD J. TRUMP, PRESIDENT OF THE UNITED STATES, ET AL.,
                              Petitioners,
                                  –v–
            NATIONAL ASSOCIATION FOR THE ADVANCEMENT
                 OF COLORED PEOPLE, ET AL., Respondents.
                                    
        KEVIN K. MCALEENAN, ACTING SECRETARY OF HOMELAND
                     SECURITY, ET AL., Petitioners,
                                –v–
              MARTIN JONATHAN BATALLA VIDAL, ET AL.,
                            Respondents.
                                   
          On Writs of Certiorari to the United States Court of Appeals
             for District of Columbia, Ninth and Second Circuits
                                         

                  BRIEF OF AMICUS CURIAE
          GOVERNMENT OF THE UNITED MEXICAN STATES
                IN SUPPORT OF RESPONDENTS


          ADELA ELVIA RUTH MCCHESNEY
            COUNSEL OF RECORD
          FAYE MAGDALENA KOLLY
          DE MOTT, MCCHESNEY, CURTRIGHT & ARMENDARIZ, LLP
          8023 VANTAGE DRIVE, SUITE 800
          SAN ANTONIO, TX 78230
          (210) 590-1844
          RUTH@DMCAUSA.COM

  OCTOBER 3, 2019                                  COUNSEL FOR AMICUS CURIAE
   
                                                                           AR4872
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                              INTEREST OF AMICUS CURIAE1
                 The Government of the United Mexican States
            (“Mexico”) has a vital interest in the treatment of its
            nationals by other countries and is entitled to protect
            their rights in foreign states within the limits of
            international law and under the Vienna Convention
            on Consular Relations (“VCCR”), to which both Mexico
            and the United States are signatories. VCCR, art. 5,
            Apr. 24, 1963, 21 U.S.T. 77, 596 U.N.T.S. 261.
                 Mexico acknowledges the sovereign right of the
            United States to decide on the public policies that
            should apply in its territory. However, Mexico is
            gravely concerned that, as the lower courts have ruled
            in these cases, the decision to rescind the DACA
            program was “arbitrary and capricious,”2 as it did
            not take into account the wellbeing and contributions
            of DACA recipients and their families to the U.S.
            Mexico is equally concerned that if DACA is ultimately
            rescinded, the resources of Mexico’s consular network
            in the U.S. will be strained due to the projected
            increased demand for consular services. At 80 percent,
            
            1 It is hereby certified that counsel for the parties have consented
            to the filing of this brief that no counsel for a party authored
            this brief in whole or in part and that no person other than this
            amicus curiae, their members, or their counsel made a monetary
            contribution to its preparation.
            2 See Regents of the University of California v. U.S. Dep’t of
            Homeland Sec., No. 1815068 (9th Cir. 2018), cert granted, No.
            18589 (docketed Nov. 5, 2019) Casa de Maryland v. U.S. Dep’t
            of Homeland Sec., No. 181521 (4th Cir. 2019) cert granted, No.
            18589 (docketed Nov. 5, 2019).



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            Mexico has the largest population of active DACA
            recipients.3 In that regard, Mexico respectfully asserts
            its legitimate, substantial and compelling interest to
            protect the rights of its citizens. Mexican nationals
            have relied upon the commitments made by the U.S.
            government in relationship to DACA for work and
            travel authorization, and relief from deportation. DACA
            recipients would be forced to return to the shadows
            and subjected to increased vulnerability as a result of
            the termination of a program that allows them to
            live, work, contribute and thrive in a country they have
            known since their young age.
                 This Court has routinely considered the interests
            of foreign governments as amici curiae to protect the
            rights of their citizens. E.g., Morrison v. Nat’l Austl.
            Bank, 561 U.S. 247, 267–271 (2010) Medellin v. Texas,
            552 U.S. 491 (2008), and has reaffirmed that “[o]ne of
            the most important and delicate of all international
            relationships . . . has to do with the protection of the
            just rights of a country’s own nationals when those
            nationals are in another country.” Arizona v. United
            States, 567 U.S. 387, 395 (2012) citing Hines v.
            Davidowitz, 312 U.S. 52, 64 (1941).
               The economic, cultural and political ties between
            Mexico and the United States are deeply rooted in
            
            3 See United States Citizenship and Immigration Services,
            Data Set: Form I-821D Deferred Action for Childhood Arrivals
            (June 30, 2019) https//www.uscis.gov/sites/default/files/USCIS/
            Resources/Reports%20and%20Studies/Immigration%20Forms%
            20Data/Static_files/DACA_Population_Receipts_since_Injunction_
            Jun_30_2019.pdf (lastvisited Sept. 25, 2019) (Approximate Active
            DACA Recipients chart reflects that as of June 30, 2019, those with
            an approved DACA application, 529,760 of the total 660,880
            DACA recipients are nationals of Mexico)



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            the proximity of the two nations and the sharing of a
            common border. Immigration is a priority for both
            countries, but it is by no means the only critical foreign
            policy concern. The roots of cooperation between Mexico
            and the United States run deep, and manifest in
            multiple areas including economic trade, tourism,
            law enforcement and security, use of natural res
            ources, emergency management, and global and regio
            nal issues.4 This productive relationship between
            Mexico and the U.S. has flourished throughout many
            decades and has covered matters of national and inter
            national interests, including treatment of nationals
            residing in each other’s respective countries.5
                 In that regard, the fate of the DACA program is
            no exception. DACA has had a wide range of positive
            direct impacts, not only for its recipients and their
            families, but it has also benefited the U.S. economy
            and society, which in turn strengthens the economic,
            educational, security, and cultural ties between our
            two countries. Allowing DACA to continue will serve
            our mutual national interests.6
            
            4 U.S. Dep’t of State, U.S. Relations with Mexico (Apr. 1, 2019)
            https//www.state.gov/usrelationswithmexico/.
            5 See e.g., UN General Assembly, International Covenant on Civil
            and Political Rights, Dec. 16, 1966, 999 U.N.T.S. 171 (ratified
            by the United States on 8 June 1992 with entry into force 8 Sep
            tember 1992) see also North American Free Trade Agreement,
            Can.±Mex.±U.S., Dec. 17, 1992, 32 I.L.M. 289.
            6 Nicole Prchal Svajlenka, What We Know About DACA
            Recipients in the United States, CTR. FOR AMER. PROGRESS (Sept. 5,
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            unitedstates/ (discussing the positive impact the social and eco
            nomic contributions of DACA recipients on their own lives as well



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                The Government of Mexico has submitted a prior
            amicus curiae in the consolidated case of McAleenan v.
            Batalla Vidal, No. 18589.7




                                                     ARGUMENT

            I.       PROTECTION OF DACA RECIPIENTS’ WELLBEING
                     IS AN INTEGRAL PART OF MEXICO’S FOREIGN POLICY
                 The protection of the rights of Mexican nationals
            abroad has been one of the core principles of Mexico’s
            foreign policy and an essential part of the work its
            consulates perform. That is reflected in the largest
            consular network any country has in the U.S., with
            50 consulates located across the continental U.S. and
            its territories.8 As a result, Mexico is committed to a
            focused policy, which includes the interests of
            Mexican nationals living in the United States and,
            indeed, the wellbeing of DACA recipients, of which
            an approximate 80% were born in Mexico.9 In fact,
            
            as the country).
            7 McAleenan v. Batalla Vidal, No. 18589 (consolidated with 18587,
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            8 Rodrigo DominguezVillegas, Protection and Reintegration:
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            Era, MIGRATION POLICY INSTITUTE (Mar. 7, 2019) available at
            https//www.migrationpolicy.org/article/protectionand
            reintegrationmexicoreformsmigrationagenda.
            9 See U.S. CITIZENSHIP AND IMMIGRATION SERVICES, Data Set:
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            the current President of Mexico has called on Mex
            ican consulates to strengthen their efforts by referring
            to the consulates as “migrant legal defense agencies”
            (procuradurias de defensa para los migrantes).10 It is
            the position of the Mexican government that DACA
            recipients embody bicultural, bilingual and bina
            tional values our countries share. Mexico continued
            protection of DACA beneficiaries will elevate the
            mutual understanding between our countries and
            benefit our shared economic prosperity.
                 To this end, Mexico’s government has supported
            DACA beneficiaries and Mexican nationals living in
            the United States by holding clinics, providing funding
            and access to competent legal counsel in connection
            to the application process under DACA.11 Since the
            program’s inception Mexico has held 17,978 informative
            workshops and benefited 1,035,890 people.12 Among the
            attendees of workshops, the consular network has
            identified 28,526 cases meriting consular protection,
            for which the consulates have assisted in obtaining
            the necessary documents and, in some cases, providing
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            Static_files/DACA_Population_Receipts_since_Injunction_Jun_
            30_2019.pdf) (last visited Sept. 25, 2019) (providing statistics
            indicating approximately 80% of DACA recipients are nationals
            of Mexico).
            10 DominguezVillegas, supra note 8.
            11 See Press Release, Embassy of Mexico in the United States,
            Impact of the DACA Rescission Among the Mexican Community
            in the United States of America (Sept. 27, 2019) available at
            https//embamex.sre.gob.mx/eua/index.php/en/pressreleases/61
            pressreleases2019 (describing Mexico’s allocation of “significant
            financial and human resources in helping Dreamers”).
            12 Id.




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            economic assistance to apply for DACA.13 From June
            2012 to August 2019, the Government of Mexico has
            invested $2.175 million dollars for Mexican DACA
            recipients.14
                 When the cancellation of the program was announ
            ced in 2017, the Government of Mexico increased its
            consular services and reinforced its commitment to
            provide information and assistance to DACA recipi
            ents. Additionally, the Government of Mexico displayed
            important diplomatic efforts to convey to members of
            Congress the value and contributions of Mexican
            DACA beneficiaries to the U.S., stressing the impor
            tance of a permanent solution that provides legal
            certainty.15 The interest of the Government of Mexico
            in providing this assistance is to better protect the
            rights of a young population whose nationality is
            Mexican, but who were raised and live in the U.S.16
            Mexico has invested in supporting the continued
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            13 Id.
            14 Id.

            15 See Secretaría de Relaciones Exteriores, El Gobierno de México
            Lamenta Profundamente la Cancelación del Programa de Acción
            Diferida para los Llegados en la Infancia (DACA), GOBIERNO DE
            MÉXICO (Sept. 5, 2017) available at https//www.gob.mx/sre/prensa/
            elgobiernodemexicolamentaprofundamentelacancelaciondel
            programadeacciondiferidaparalosllegadosenlainfanciadaca.
            (stating Mexico’s continued support for the DACA program and
            recognizing the positive social, economic, and cultural impact of
            Dreamers).
            16 Ann M. Simmons, the End of DACA Would Be ‘A Big Win for
            Mexico,’ Foreign Secretary Says, L.A. TIMES (Sept. 14, 2017, 1115
            AM) available at https//www.latimes.com/world/mexicoamericas/
            lafgglobalmexicoforeignsecyqa20170909story.html.



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            positive and impactful contributions that this same
            group makes to the U.S. economy, education and
            culture.

            II.   BENEFICIARIES OF THE DEFERRED ACTION FOR
                  CHILDHOOD ARRIVALS PROGRAM CONTRIBUTE
                  SIGNIFICANTLY TO THE U.S. ECONOMY
                 Individuals eligible under the DACA program are
            temporarily allowed to stay in the United States and
            receive employment authorization for a period com
            mensurate with their DACA grant, which is typically
            two years. It should be noted that DACA does not
            permanently protect a beneficiary from the possibility
            of removal. Rather, as a matter of prosecutorial dis
            cretion, it merely temporarily defers deportation for
            any DACA recipient who has been vetted by the gov
            ernment and met its strict requirements.17 As a
            direct consequence of the DACA program and the gov
            ernment’s pointed efforts,18 recipients are thoroughly
            vetted and documented. The process effectively
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            17 See 2 J.A., Dep’t of Homeland Security v. Regents of the U.
            of Cal., Nos. 18587, 18588, and 18589 at 594–596 (detailing
            the inspection process for the government before an individual
            may become a DACA recipient) See also Memorandum from
            Sec’y of Homeland Sec., Janet Napolitano to Acting Commis
            sioner, U.S. Customs and Border Protection, David V. Aguilar,
            Director of U.S. Citizenship and Immigration Services, and
            Director of U.S. Immigration and Customs Enforcement, John
            Morton (June 15, 2012) (establishing the eligibility criteria and
            discretionary guidelines for DACA).
            18 See, e.g., U.S. Dep’t of Educ., RESOURCE GUIDE SUPPORTING
            UNDOCUMENTED YOUTH (Oct. 20, 2015) (“[DACA] allows youth
            who were brought to the United States as children and who meet
            certain criteria to requires consideration for deferred action, which
            constitutes a casebycase determination by DHS.”).



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            brought DACA recipients out of the shadows of the
            U.S. society, allowing them to fully participate and
            contribute to the country’s communities, educational
            system and the economy.19
                 Under the DACA program, nearly 800,000 eligible
            individuals have applied for and been granted work
            authorization since the program was announced in
            2012.20 From those, currently 660,880 youth have an
            active DACA status.21 An estimated 55% of DACA
            recipients are currently employed.22 As a result of the
            ability of DACA recipients to work with authorization
            in the United States, the beneficiaries have been able

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            19 See Patrick Oakford, Administrative Action on Immigration
            Reform, The Fiscal Benefits of Temporary Work Permits, CTR.
            FOR AMER. PROGRESS at 6 (2014) available at https//ampr.gs/
            1vw27HZ (exploring the fiscal benefits of allowing “lowpriority
            individuals” to contribute to the economy through educational
            and professional opportunity).
            20 Nicole Prchal Svajlenka, What We Know About DACA
            Recipients in the United States, CTR. FOR AMER. PROGRESS
            (Sept. 5, 2019, 900 AM), https//www.americanprogress.org/
            issues/immigration/news/2019/09/05/474177/knowdacarecipients
            unitedstates/.
            21 United States Citizenship and Immigration Services, Data
            Set: Form I-821D Deferred Action for Childhood Arrivals (June
            30, 2019) available at https//www.uscis.gov/sites/default/files/
            USCIS/Resources/Reports%20and%20Studies/Immigration%20
            Forms%20Data/Static_files/DACA_Population_Receipts_since_
            Injunction_Jun_30_2019.pdf. (last visited Sept. 25, 2019)
            22 Jie Zong, Ariel G. Ruiz Soto, Jeanne Batalova, Julia Gelatt,
            Randy Capps, A Profile of Current DACA Recipients by Educa-
            tion, Industry, and Occupation, MIGRATION POLICY INSTITUTE, Nov.
            2017, https//www.migrationpolicy.org/research/profilecurrentdaca
            recipientseducationindustryandoccupation.



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            to make positive and significant contributions to the
            U.S. economy through the ability to earn wages and
            pay taxes.23 DACA recipients pay state and local
            taxes, are able to purchase homes, cars, and be
            employed in some of the most successful businesses
            in the United States. DACA recipient, Ovier Alvarez
            explained that after he was able to receive DACA,
            acquire a social security number, obtain a driver’s
            license, and open a bank account he started a sole
            proprietorship as a professional photographer.24 “Now
            I’m able to do business and pay business taxes to the
            state.” DACA recipients are entrepreneurs and create
            businesses that employ U.S. citizens.25 Combined,
            97% of DACA recipients are currently employed or
            attending high school or higher levels of education.26
                 It is estimated that DACA recipients make major
            financial contributions to the U.S. economy via payment
            of $5.7 billion in federal taxes and $3.1 billion in
            state and local taxes annually. Additionally, DACA
            recipients pay into Social Security and Medicare
            through payroll taxes. These young immigrants and

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            23 Svajlenka, supra note 20.
            24 New Economy America, California Student Uses DACA Status
            to Start a Business (Sept. 17, 2017).
            25 Id.

            26 Tom K. Wong, Greisa Martinez Rosas, Adam Luna, Henry
            Manning, Adrian Reyna, Patrick O’Shea, Tom Jawetz, and
            Philip E. Wolgin, DACA Recipients’ Economic and Educational
            Gains Continue to Grow, CTR. FOR AMER. PROGRESS (Aug. 28,
            2017, 901 AM) available at https//www.americanprogress.
            org/issues/immigration/news/2017/08/28/437956/dacarecipients
            economiceducationalgainscontinuegrow/.



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            their households have a combined $24.1 billion of
            income remaining after taxes.27
                 The Chief Actuary of the Social Security Admin
            istration (SSA), Stephen C. Goss, has testified as to
            the positive impact the DACA program will have on
            the SSA Trust Funds. He reported to the Senate
            Committee on Homeland Security and Governmental
            Affairs that as the U.S. population ages combined
            with lower birth rates, immigration in general has a
            net positive impact on funds set for the retirement of
            millions of individuals.28 It is estimated that elimina
            ting DACA will reduce funding for Social Security
            and Medicare by $39.3 billion over a tenyear period.29


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            27 Svajlenka, supra note 20.
            28 See Financial Implications for the Social Security Trust
            Funds of the President’s Executive Actions on Immigration,
            Announced November 20, 2014: Hearing Before S. Comm on
            Homeland Sec. and Gov. Affairs, Feb. 4, 2015 (testimony of
            Stephen C. Goss, Chief Actuary, SSA) (“Immigration has played
            a fundamental role in the growth and evolution of the U.S. popula
            tion and will continue to do so in the future . . . . Without . . . net
            immigration, the effects of the drop in birth rates after 1965
            would be much more severe for the finances of Social Security,
            Medicare, and for retirement plans in general. Because immigrants
            into the U.S. are generally young, they increase the ration of
            working age population to retirement age population in much
            the same way as do births.”).
            29 See Jose MagañaSalgado & Tom K. Wong, Draining the
            Trust Funds: Ending DACA and the Consequences to Social
            Security and Medicare, IMMIGRANT LEGAL RESOURCE CTR., at 9
            (Oct. 2017) available at https//www.ilrc.org/sites/default/files/
            resources/20170929_draining_the_trust_funds_final.pdf. (last
            visited Sept. 27, 2019)



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                 DACA recipients outpace the population of native
            born Americans in terms of starting their own busi
            nesses. DACA has allowed the entrepreneurial drive
            of the recipients to add to the local economies through
            job creation and revenue building.30 Recipients are able
            to pursue the education and professional experiences
            necessary to fulfill not only their own entrepre
            neurial potential but provide opportunities for others
            to join the entrepreneurial community as well. For
            example, Dr. Iliana G. Perez—a Mexican DACA
            recipient, author, and academic who was able to
            conduct research as she completed her Ph.D.—ulti
            mately published a comprehensive guide to entre
            preneurship for immigrants, supporting further eco
            nomic achievement within the immigrant comm
            unity.31 Dr. Perez’s story is one of many. Another
            Mexican Dreamer, Juan Martinez, he is building an
            artificial intelligence company.32 “In the tech space,
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            30 Wong et. al., supra note 26.
            31 Fernanda Uriegas, Undocumented Entrepreneurs Rise Above
            Policy Making, Forbes (May 12, 2018, 231 PM) available at https
            //www.forbes.com/sites/fernandafabian/2018/05/12/undocumented
            entrepreneursriseabovepolicymaking/#49389b4b4ee4.       This
            article also details the story of Cris Mercado, who migrated
            from the Philippines and became a social entrepreneur. After
            high school, Cris was unable to accept NYU’s offer to join its
            engineering program when he was unable to receive sufficient
            financial aid due to his undocumented status. After having an
            offer to complete a Ph.D. fellowship revoked due to his undocu
            mented status, Cris started his own business that “focuses on
            college and scholarship access and careers.” Id.
            32 Julia Horowitz, These Dreamers Started Businesses. Will
            They Have to Leave Them Behind?, CNN (Oct. 5, 2017, 1207
            PM) available at https//money.cnn.com/2017/10/04/news/daca
            dreamersentrepreneurs/index.html.



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            [the resources DACA provides, like the ability to get
            a social security number] is a must.” Without his
            status as a DACA recipient, he will not be able to
            fund his developing company.
                 In addition to the economic entrepreneurial
            contributions that DACA recipients make to the U.S.
            economy, entry to the authorized workforce into the
            United States has allowed recipients to obtain jobs
            with better pay with long term career possibilities
            across various labor sectors. After receiving DACA,
            many recipients moved to a job with better working
            conditions and aligned with their education and career
            goals.33 The professional growth allowed through DACA
            is not only beneficial for the recipient, but also for the
            community. Plaintiff Saul Jimenez Suarez is a DACA
            recipient who was raised in the United States and
            eventually earned his college degree at Oklahoma
            Panhandle State University where he played football.34
            After college he took lowpaying jobs to support his
            parents and himself. Once DACA became available, Mr.
            Jimenez was able to apply and receive DACA benefits.
            Like many DACA recipients, he was able to use his
            degree to obtain a professional position. He has
            embraced his newfound career as a special education
            teacher, coach and mentor, and has positively affected
            the lives of young people and the community in which
            he lives.
                U.S. business owners and other employees have
            benefited greatly from hiring young immigrants who
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            33 Wong, et. al., supra note 26.
            34 2 J.A., Dep’t of Homeland Security v. Regents of the U. of
            Cal., Nos. 18587, 18588, and 18589 at 447–449.



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            have benefited under DACA. Apple CEO Tim Cook
            joined over 400 leading U.S. companies to write a
            letter to Congress explaining that DACA recipients
            are “vital” to their businesses and “are part of why
            we will continue to have a global competitive
            advantage.”35 The repeal of the DACA program would
            result in a hardship to employers and the local and
            national economy. An end to the DACA program would
            result in an estimated loss of $60.3 billion from the
            national GDP of the United States over the next decade.
            Additionally, an estimated 685,000 workers would be
            removed from the formal economy of the United States.
            It is expected to cost employers upwards of $3.4 billion
            in turnover costs.36
                DACA recipients stimulate the U.S. economy
            through the direct provision of labor, payment of
            taxes, creation of jobs for U.S. workers, and
            participation as consumers of goods and services. If
            DACA were rescinded or struck down, the economic
            contributions of its recipients to the United States
            would cease or be greatly diminished.




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            35 Joseph Hincks, CEOs From More Than 400 Leading U.S.
            Companies Urge Trump to Keep DACA, Sep. 5, 2017, https//
            fortune.com/2017/09/05/dacatrumpdreamersbusinessleaders/.
            36 U.S. Senator Martin Heinrich, Ending DACA Means Widespread
            Economic Harm, JOINT ECON. COMM. DEMOCRATS (Sept. 6, 2017)
            available at https//www.jec.senate.gov/public/index.cfm/democrats/
            2017/9/endingdacameanswidespreadeconomicharm.



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            III. MILLIONS OF UNITED STATES CITIZENS AND
                 LAWFUL PERMANENT RESIDENTS ARE POSITIVELY
                 IMPACTED BY DACA

                 It is estimated that over a quarter of a million
            U.S. citizen children have at least one parent that is
            part of the DACA program.37 Across the country, 1.5
            million individuals live with a person who is a DACA
            recipient.38 These individuals include parents, siblings,
            spouses, and children living in mixed status
            households.39 It is important to consider the broader
            impact of DACA recipients in their communities.
                 Dr. Omolara T. Uwemedimo and her colleagues
            found that, “[i]mmigration status, including DACA,
            is a social determinant of health that intersects with
            other determinants, including access to care, mental
            health, educational attainment, and poverty.”40 The
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            37 Julia Cusick, New Data Highlight DACA Recipients’
            Contributions to Families and Communities, CTR. FOR AMER.
            PROGRESS (Sept. 5, 2019) available at https//www.american
            progress.org/press/release/2019/09/05/474185/releasenewdata
            highlightdacarecipientscontributionsfamiliescommunities/.
            38 Nicole Prchal Svajlenka, What We Know About DACA
            Recipients in the United States, CTR. FOR AMER. PROGRESS
            (Sept. 5, 2019, 900 AM) available at https//www.american
            progress.org/issues/immigration/news/2019/09/05/474177/know
            dacarecipientsunitedstates/.
            39 See Nat’l Immigration Law Center, Frequently Asked Ques-
            tions (Dec. 2014) available at https//www.nilc.org/issues/health
            care/aca_mixedstatusfams/ (“A ‘mixedstatus family’ is a family
            whose members include people with different citizenship or
            immigration statuses.”).
            40 Omolara T. Uwemedimo, Ana C. Monterrey, Julie M. Linton,
            A Dream Deferred: Ending DACA Threatens Children, Families,
            and Communities, 140 AM. ACAD. OF PEDIATRICS, No. 6 (Dec.


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            lack of legal status of parents in the United States
            impacts the physical and mental health of young
            children.41 Educators provide insight into the trauma
            of even their youngest students. Amie BacaOehlert,
            Colorado Education Association Vice President,
            recounted the devastating example of one kinder
            gartener who, when asked why he was bringing a
            suitcase to school, responded, “I want to make sure I
            have my special things when they come to get me.”42
            The DACA program has provided the ability for its
            recipients to become economically stable and contribute
            to their families’ wellbeing. The economic stability
            and deferment from deportation decreases familial
            stress, which in turn lessens the chances of impairment
            due to early childhood adversity that is present for
            many children of undocumented parents.
                 In a study published by Science Magazine,
            researchers found adverse consequences to U.S. citizen
            children whose parent(s) may be stripped of DACA
            benefits as one that goes beyond the impacts for
            recipients alone and takes into account the inter
            generational consequences of deferred action for the
            health of unauthorized immigrants’ children, most of
            whom are U.S. citizens. Early childhood exposure to
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            2017), available at https//pediatrics.aappublications.org/content/
            140/6/e20173089.
            41 Jens Hainmueller et al., Protecting Unauthorized Immigrant
            Mothers Improves Their Children’s Mental Health, 357 SCIENCE
            955, 1043 (Sept. 8, 2017).
            42 Mary Ellen Flannery, Fear and Longing: Life for Students
            with Undocumented Parents, NAT’L EDUC. ASS’N (July 10, 2017)
            available   at   http//neatoday.org/2017/07/10/studentswith
            undocumentedparents/.



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            stress and adversity does not only cause poor health
            and impaired development in the short term the issues
            can also persist into adulthood. Anxiety and
            psychosocial stress are identified as risk factors for
            depression, substance abuse, cardiovascular diseases,
            and obesity.43
                 It is estimated that the nearly 382,000 beneficiaries
            of DACA who are currently employed and contributing
            to the U.S. workforce and providing for the livelihood
            of their families would be stripped of their ability to
            work lawfully in the U.S. should the program be
            terminated.44 The ability of DACA recipients to work
            and complete their secondary education and higher
            education has been demonstrated to have a positive
            impact on first generation U.S. citizen children.45
            Parents who are DACA recipients are more willing to
            access critical social services to which their U.S.
            citizen children are entitled by law. They are also
            more likely to live in more stable circumstances dimin
            ishing the external stresses caused by the uncertainty
            related to lack of immigration status and an unstable
            income and private health insurance.46 For example,
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            43 Hainmueller, supra note 41.
            44 Jie Zong, Ariel G. Ruiz Soto, Jeanne Batalova, Julia Gelatt,
            Randy Capps, A Profile of Current DACA Recipients by Educa-
            tion, Industry, and Occupation, MIGRATION POLICY INSTITUTE,
            Nov. 2017, https//www.migrationpolicy.org/research/profilecurrent
            dacarecipientseducationindustryandoccupation.
            45 Amy Hsin & Francesc Ortega, IZA Institute of Labor Econ.,
            The Effects of Deferred Action for Childhood Arrivals on the
            Educational Outcomes of Undocumented Students (Oct. 2017).
            46 Rebecka Rosenquist, The ‘Warming Effect’ of DACA on
            American Children, PENN LEONARD DAVIS INSTITUTE OF HEALTH


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            it is important to note that DACA recipients are over
            12% more likely to ensure that their U.S. citizen
            children access resources to which U.S. citizens are
            entitled, such as the Special Supplemental Nutrition
            Program for Women, Infants, and Children (WIC),
            than parents without DACA protections.47 WIC is
            considered one of the most successful antipoverty
            programs for children in the United States.48 Treat
            ment of the mental disorders caused by the external
            stressors of having an undocumented parent result in
            high health care expenditures and longterm outcomes
            including diminished school performance and welfare
            reliance.49 In the long run these issues can continue
            into adulthood.50 Ultimately, the DACA program has
            been associated with the mental health and well
            being of its recipients and has ultimately acted as a



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            ECONOMICS (June 4, 2018) (quoting study author Atheendar
            Venkataramani who stated, “Our findings demonstrate that
            favorable immigration policies can have a ‘warming effect’ on
            vulnerable children’s access of critical social services. The
            results suggest that rolling back DACA or instituting policies
            which raise the threat of deportation could result in a ‘chilling
            effect’ that could adversely affect child health.”).
            47 Johns Hopkins, WIC Participation Better Among Vulnerable,
            U.S. Citizen Children Whose Mothers are Eligible for DACA
            (May 29, 2018).
            48 Rosenquist, supra, note 46.
            49 Jens Hainmueller et al., Protecting Unauthorized Immigrant
            Mothers Improves Their Children’s Mental Health, 357 SCIENCE
            955, 1043 (Sept. 8, 2017).
            50 Id.




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            “multiplier” improving the educational and health
            future of their U.S. citizen children and families.51
                 In a study conducted on the impact of people with
            protection under DACA and those immigrants without
            the same benefits, the researchers concluded, “We
            know that a lack of legal status impacts multiple
            aspects of immigrants’ lives, including health and
            wellbeing, and we also know that communities do not
            benefit when individuals are unhealthy. We have shown
            that changes to immigrant legal status can directly
            improve psychological wellbeing.”52 The individual
            wellbeing of DACA recipients is linked to increased
            community health and the lack of any immigration
            status is linked to poorer outcomes for individual
            immigrants reflecting on a decrease of health within
            communities. The preservation of DACA for its
            recipients will lead to more positive outcomes for
            families and communities within the U.S., including
            increased prosperity of U.S. citizen children and a
            decrease in the costs associated with the adverse
            physical repercussions of living a life as an immi
            grant without protected status.

                     A. The DACA Program Strengthens Cultural Ties
                        between Mexico and the United States
                Beneficiaries of DACA, while citizens of other
            countries, including Mexico, are in effect vital members

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            51 Id.
            52 Caitlin Patler & Whitney Laster Pirtle, From Undocumented to
            Lawfully Present: Do Changes to Legal Status Impact Psycho-
            logical Well being Among Latino Immigrant Young Adults?, 199
            SOC. SCI. & MED. at 3948 (Feb. 2018).



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            of U.S. society. The average age that most DACA
            recipients arrived in the U.S. is seven years old.53
            These young people have attended elementary and
            secondary schools in the United States. They work
            and contribute to the U.S. economy and their
            communities. DACA has allowed its beneficiaries to
            be lawfully employed, obtain driver’s licenses, open
            bank accounts, purchase homes and vehicles, and
            ultimately integrate their lives into the U.S. society.54
            DACA recipients comprise an important part of the
            population, with eightysix metropolitan areas home
            to at least 1,000 DACA recipients.55
                 The citizenship of Mexican DACA recipients often
            belies their cultural identity as Mexican and Ameri
            can as they have been educated and raised in the
            United States. The uncertainties that possible
            rescission has created for DACA recipients puts the
            cultural, educational, and entrepreneurial gains of
            these young immigrants at a crossroads. The ending of
            the program will lead to a lack of incentive and
            disenfranchisement from the gained economic and
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            53 Nicole Prchal Svajlenka, What We Know About DACA
            Recipients in the United States, CTR. FOR AMER. PROGRESS
            (Sept. 5, 2019, 900 AM) available at https//www.americanprogress.
            org/issues/immigration/news/2019/09/05/474177/knowdaca
            recipientsunitedstates/.
            54 Grace Tatter, Why DACA Works, Harvard Ed. (Winter 2019),
            available at https//www.gse.harvard.edu/news/ed/19/01/whydaca
            works.
            55 Nicole Prchal Svajlenka, What We Know About DACA Recip-
            ients, by Metropolitan Area, CTR. FOR AMER. PROGRESS (Sept.
            23, 2019, 900 AM), https//www.americanprogress.org/issues/
            immigration/news/2019/09/23/474653/knowdacarecipients
            metropolitanarea/.



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            cultural ties, with which DACA recipients identify.
            This will adversely affect the continued productivity,
            education     and     entrepreneurship     of   DACA
            recipients.56 As one DACA student at American Uni
            versity explained, “[I]t’s like feeling that perpetual
            falling feeling. I just want to be able to know if I’m
            going to be able to keep what I built here.”57 Contin
            uance of the DACA program will more permanently
            align the values of DACA recipients to the culture and
            society with which they most closely identify.
                 DACA recipients have had a unique opportunity
            to contribute their bicultural and multilingual abilities
            in order to bridge the shared cultures and strengthen
            cultural ties between Mexico and the United States
            and the many countries from which DACA recipients
            hail.58 The failure to extend the program will deprive
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            56 See generally Roberto G. Gonzales, Investing in the Ameri-
            can Dream, IMMIGRATION POL’Y CTR. (Dec. 2010) available at
            https//exchange.americanimmigrationcouncil.org/sites/default/
            files/research/Gonzales__Investing_in_the_American_DREAM_
            120210.pdf (discussing the professional potential of DACA
            recipients who have been educated in the U.S. and now seek to
            continue into higher education and the American labor market)
            (last visited Sept. 25, 2019).
            57 Michel Martin, DACA, A Student’s Story: ‘They Are the
            Types of Immigrants You Want in Your Country’ (Sep. 16, 2017
            744 PM) available at https//www.npr.org/2017/09/16/551544757/
            dacaastudentsstorytheyarethetypesofimmigrantsyou
            wantinyourcountry.
            58 See United States Citizenship and Immigration Services,
            Data Set: Form I-821D Deferred Action for Childhood Arrivals
            (June 30, 2019) available at https//www.uscis.gov/sites/default/
            files/USCIS/Resources/Reports%20and%20Studies/Immigration
            %20Forms%20Data/Static_files/DACA_Population_Receipts_since
            _Injunction_Jun_30_2019.pdf (providing the birth countries of



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            a population of immigrant youth the ability to
            contribute and fully participate in a society that has
            given them an opportunity to demonstrate their
            intrinsic value as members of U.S. society.59

                     B. The DACA Program Strengthens Educational
                        Ties between Mexico and the United States
                 Academic ties and exchanges have been an
            important part of U.S.Mexico diplomatic relations.60
            There have been several policies and initiatives in
            order to focus resources and collaborations to enhance
            crossborder educational engagement.61 A concerted
            and binational effort has been made via the 100,000
            Strong in the Americas supported by the U.S. govern
            ment and Proyecta 100,000 with the aim of having
            100,000 students from each country studying in each
            respective country. These projects have established
            relationships between government entities, institutions
            of higher learning, industry and nonprofit organiza
            tions.62 As part of the concerted binational effort,
            U.S. and Mexican Universities have administered the
            Dreamers Without Borders program, which brings
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            DACA recipients and approximate number of recipients from
            each) (last visited Sept. 25, 2019).
            59 Gonzales, supra note 56.
            60 U.S.-Mexico Higher Education Engagement: Current Activi-
            ties, Future Directions, CIGE INSIGHTS AMERICAN COUNCIL ON
            EDUCATION, 5 (2017) available at https//www.acenet.edu/Docu
            ments/USMexicoHigherEducationEngagement.pdf (last visited
            Sept. 25, 2019).
            61 Id. at 7.

            62 Id.




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            groups of Deferred Action for Childhood Arrivals
            (DACA) recipients living in the U.S. to Mexico for
            shortterm study and networking visits.63 Continu
            ation of the DACA program is an important facet to
            preserve the bilateral educational collaboration estab
            lished between our two countries, both through estab
            lished programs and the continued effort to educate
            youth in Mexico and the United States.
                 The DACA program has also served to buttress
            the U.S. education system. Over 40 percent of current
            DACA recipients are enrolled in school with 83%
            pursuing a bachelor’s degree or higher.64 “The majors
            and specializations that respondents report include
            accounting, biochemistry, business administration,
            chemical engineering, civil engineering, computer
            science, early childhood education, economics, environ
            mental science, history, law, mathematics, mechanical



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            63 Id. at 34 (“USMF is partnering with UCLA, Tec de Monterrey,
            Instituto de los Mexicanos en el Exterior (IME), and the govern
            ments of a number of Mexican states to administer the
            Dreamers Without Borders program, which brings groups of
            Deferred Action for Childhood Arrivals (DACA) recipients living
            in the U.S. to Mexico for shortterm study and networking
            visits.”)
            64 Tom K. Wong, Sanaa Abrar, Claudia Flores, Tom Jawetz,
            Ignacia Rodriguez Kmec, Greisa Martinez Rosas, Holly Straut
            Eppsteiner, and Philip E. Wolgin, DACA Recipients’ Livelihoods,
            Families, and Sense of Security Are at Stake This November,
            CTR. FOR AMER. PROGRESS (Sept. 19, 2019, 500 AM) available at
            https//www.americanprogress.org/issues/immigration/news/2019/
            09/19/474636/dacarecipientslivelihoodsfamiliessensesecurity
            stakenovember/.



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            engineering, neuroscience, physics, psychology, and
            social work, to name a few.”65
                 A sizeable number of DACA recipients have
            dedicated themselves to the profession of teaching.
            Nationwide there are an estimated 20,000 teachers
            who are workauthorized under the DACA program.66
            Many of these teachers possess the ability to speak a
            foreign language and the bicultural skills that are in
            high demand within their profession.67 The removal
            of teachers from the classroom who are DACA
            recipients would undercut the bicultural diversity
            that DACA teachers bring to their schools and lead to
            a further shortage of teachers.68

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            65 Tom K. Wong, Greisa Martinez Rosas, Adam Luna, Henry
            Manning, Adrian Reyna, Patrick O’Shea, Tom Jawetz, and
            Philip E. Wolgin, DACA Recipients’ Economic and Educational
            Gains Continue to Grow, CTR. FOR AMER. PROGRESS (Aug. 28,
            2017, 901 AM) available at https//www.americanprogress.
            org/issues/immigration/news/2017/08/28/437956/dacarecipients
            economiceducationalgainscontinuegrow/.
            66 Greg Toppo, 20,000 DACA Teachers at Risk—and Your Kids
            Could Feel the Fallout, Too, USA TODAY, Oct. 11, 2017, https//
            www.usatoday.com/story/news/2017/10/11/thousandsdacateachers
            risk/752082001/.
            67 See Aliyya Swaby, Texas School Districts Struggle to Recruit
            Bilingual Certified Teachers, THE TEXAS TRIBUNE, Feb. 21,
            2017, https//www.texastribune.org/2017/02/21/texasschooldis
            trictsstrugglebilingualcertifiedteachers/ (reporting on Texas
            school districts that are struggling to recruit bilingual educators).
            68 See Jie Zong, Ariel G. Ruiz Soto, Jeanne Batalova, Julia
            Gelatt, Randy Capps, A Profile of Current DACA Recipients by
            Education, Industry, and Occupation, MIGRATION POLICY INSTI
            TUTE, Nov. 2017, https//www.migrationpolicy.org/research/profile
            currentdacarecipientseducationindustryandoccupation



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            IV. DACA HAS STRENGTHENED CROSS                          BORDER
                EXCHANGES IN MULTIPLE AREAS
                 The U.S. and Mexico have historically engaged in
            reciprocal and beneficial treaties that strengthen cross
            border exchanges. These agreements have promoted
            increased investment, trade and the ability of well
            trained and educated foreign nationals to contribute
            talent, skills and education to the economies of both
            countries.69 DACA recipients possess many of the
            same talents, skills, education and experience that
            these treaties promote and envision.
                  Through no fault of their own, DACA recipients
            are generally barred under U.S. immigration law
            from either changing status to a nonimmigrant visa
            or adjusting status to that of a lawful permanent
            resident of the United States.70 Many have accumu
            lated over 1 year of unlawful presence, and are sub
            ject to a “10 year bar of inadmissibility”.71 They cannot
            obtain a visa or return to the U.S. for a 10 year
            period or otherwise meet the nonimmigrant intent
            requirements.72 These visa requirements render
            DACA recipients ineligible to obtain a student visa or
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            (“There are about 9,000 DACA recipients employed as teachers
            or similar education professionals [in the United States] . . . .”).
            69 See e.g., North American Free Trade Agreement, Can.Mex.
            U.S., Dec. 17, 1992, 32 I.L.M. 289.
            70 Press Release, President Barack Obama, Remarks from the
            President on Immigration (June 15, 2012) (“This is not a path to
            citizenship. It’s not a permanent fix. This is a temporary
            stopgap measure . . . .”).
            71 INA Sec. 212(a)(9)(B).

            72 8 C.F.R. § 214(b)




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            other temporary work visa in order to attend school,
            work, and lawfully reside in the United States.73 For
            this otherwise vulnerable group, DACA has provided
            an avenue of relief, albeit temporarily, from this situ
            ation. Like their foreign national counterparts who
            obtain visas, DACA recipients are able to fulfill the
            promise of international agreements and are able to
            invest, study, and contribute their expertise to the
            U.S. economy.
                 In furtherance of our bilateral effort, many
            Mexican DACA holders were permitted to attend
            academic and cultural exchange programs in Mexico.74
            In partnership with prestigious Mexican academic
            and cultural institutions, the Government of Mexico
            has supported these exchanges as part of its foreign
            policy priorities to engage Mexicans abroad.75 These
            cross border exchanges have forged bicultural leaders
            for both Mexico and the U.S.
                While DACA recipients are not eligible for tem
            porary work visas as a matter of law, their ability to
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            73 Id. Based on the discussed requirements, DACA recipients
            are ineligible because they do not maintain a residence in their
            “home country” and do not commit to return there.
            74 See e.g., Gardenia Mendoza, 22 “Dreamers,” Invitados de Honor
            en México, THE CALIFORNIAMEXICO STUDIES CENTER, INC. (July
            16, 2015, 510 PM), https//www.californiamexicocenter.org/22
            dreamersinvitadosdehonorenmexico/ (describing exchange
            program hosted in Mexico emphasizing and cultivating the
            strength and achievements of Dreamers).
            75 Secretaría de Relaciones Exteriores, Canciller Ruiz Massieu
            Se Reúne con Jóvenes Dreamers, GOBIERNO DE MEXICO (JULY 4,
            2016), https//www.gob.mx/sre/prensa/cancillerruizmassieuse
            reuneconjovenesdreamers.



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            work in the United States strengthens the binational
            and multinational commitment to foster stronger
            economic ties, ensure border security and protect em
            ployment and labor standards in conformity with our
            bilateral and international agreements.76

            V.       THE U.S. HAS UNDERTAKEN TO PROTECT DACA
                     RECIPIENTS AS PART OF ITS INTERNATIONAL OBLIGA
                     TIONS UNDER THE ICCPR

                 Central to the modern human rights framework
            is the International Covenant on Civil and Political
            rights (“ICCPR”).77 This treaty embodies the funda
            mental civil and political rights contained in the
            Universal Declaration of Human Rights (“Universal
            Declaration”),78 agreed upon at the United Nations
            General Assembly on December 10, 1948. With over
            150 State Parties, the ICCPR is the most widely
            accepted human rights treaty in existence. Among
            other protections, the ICCPR guarantees that family
            is “entitled to protection by society and the State (art.
            23).”79 The United States ratified the ICCPR on Sep
            tember 8, 1992 and is therefore bound by its terms.
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            76 NAFTA Implementation Act, Pub. L No 103182 (1993).

            77 UN General Assembly, International Covenant on Civil and
            Political Rights, Dec. 16, 1966, 999 U.N.T.S. 171 (“The family is
            the natural and fundamental group unit of society and is
            entitled to protection by society and the State.”)
            78 Universal Declaration of Human Rights, Dec. 10, 1948, G.A.
            Res. 217A, 3 U.N. GAOR, U.N. Doc. A/810.
            79 UN General Assembly, International Covenant on Civil and
            Political Rights, Dec. 16, 1966, 999 U.N.T.S. 171 (“The family is
            the natural and fundamental group unit of society and is
            entitled to protection by society and the State.”)



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                 When ratifying the ICCPR, the United States
            appended a “declaration” to the effect that the
            operative provisions of the Covenant are “not self
            executing”.80 The basis for this declaration (the effect
            of which is that the ICCPR does not, of itself, create
            private rights directly enforceable in U.S. courts) was
            that “the fundamental rights and freedoms protected
            by the Covenant are already guaranteed as a matter
            of U.S. law, either by virtue of constitutional protec
            tions or enacted statutes, and can be effectively
            asserted and enforced by individuals in the judicial
            system on those bases.”81
                 This declaration does not relieve the United
            States of its obligations on the international legal
            plane. Rather, it operates as a representation to the
            international community that the United States’ inter
            national legal obligation to confer the fundamental
            rights and protections enshrined in the ICCPR will be
            discharged through the medium of U.S. domestic law,
            including the U.S. Constitution, because individuals
            whose human rights may be infringed are entitled to
            effective equivalent remedies under that law. The
            declaration amounts to an undertaking to the other
            States Parties to the ICCPR that the United States
            will secure the protections set forth in the ICCPR
            through domestic law as applicable to “all individuals
            within its territory and subject to its jurisdiction”.82

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            80 138 Cong. Rec. S4784 (daily ed. Apr. 2, 1992).
            81 Report submitted by the United States of America under art. 40
            of the ICCPR, U.N. Doc. CCPR/C/81/Add 4(1994), at 8 (empha
            sis added).
            82 See UN General Assembly, International Covenant on Civil



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                 The enactment of DACA by the U.S. government
            is a discretionary and unique protection made avail
            able to immigrant youth who are undocumented in
            the United States. The protection from deportation
            and the ability of DACA recipients to work and care
            for their families comports with the U.S. govern
            ment’s obligations under the ICCPR. The Department
            of Homeland Security (DHS) Secretary has announced
            that DACA participants will not be a deportation
            priority unless they commit crimes.83 This directive
            along with the protections afforded by DACA would
            ensure that the international obligations that the
            United States has committed to with regard to the
            preservation of the family unit are not undermined.
                 The United States has a long history of granting
            deferred action or relief from deportation to vulnerable
            populations of immigrants which include recipients
            of Temporary Protected Status (TPS),84 Deferred
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            and Political Rights, Dec. 16, 1966, 999 U.N.T.S. 171 art. 2(1).
            83 See 2 J.A., Dep’t of Homeland Security v. Regents of the U.
            of Cal. Nos. 18587, 18588, and 18589 at 594–596 (discussing
            inspection and vetting process for the government before an
            individual may become a DACA recipient); See also Memoran
            dum from Sec’y of Homeland Sec., Janet Napolitano to Acting
            Commissioner, U.S. Customs and Border Protection, David V.
            Aguilar, Director of U.S. Citizenship and Immigration Services,
            and Director of U.S. Immigration and Customs Enforcement,
            John Morton (June 15, 2012) (establishing the limitations and
            standards for the exercise of discretion).
            84 See Ben Harrington, An Overview of Discretionary Reprieves
            from Removal: Deferred Action, DACA, TPS, and Others, CONG.
            RESEARCH SERV. REP. No. 75700 (Apr. 10, 2018) (reviewing dis
            cretionary temporary reprieves from removal granted by the
            U.S. in the last half century).



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            Enforced Departure (DED),85 Parole,86 Administra
            tive Closure in removal proceedings,87 Voluntary
            Departure,88 Stays of Removal,89 selfpetitioners
            under the Violence Against Women Act (VAWA),90
            student visa holders who due to natural disasters
            were unable to return home,91 Widows and widowers
            of U.S. Citizens,92 Victims of Trafficking,93 and victims
            of serious crimes.94 Current regulations permit an
            individual beneficiary of deferred action to obtain em
            ployment authorization due to economic necessity.95
            These deferred action programs, like DACA, recognize
            the unique circumstances of vulnerable immigrants
            and give priority to ensure basic protections for
            vetted individuals.
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            85 DED includes cases for humanitarian basis including serious
            mental or physical illness, primary caretaker of minor or elderly
            person, primary caretaker of ill person, present in the U.S. since
            childhood. Nat’l Immigration forum, Deferred Action Basics
            (Apr. 15, 2016) available at https//immigrationforum.org/
            article/deferredactionbasics/.
            86 Id.
            87 Harrington, supra note 84 at 18.
            88 Id. at 19.
            89 Id.
            90 Nat’l Immigration Forum, supra note 85.

            91 Id.

            92 Id.
            93 Id.

            94 Id.
            95 8 C.F.R. § 274a.12(c)(14).




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                 In their 2015 report to the Human Rights
            Council for the United Nations, the United States
            reiterated their commitment to human rights,
                     Human rights are embedded in our Constitu
                     tion, laws, and policies at every level, and
                     governmental action is subject to review by
                     an independent judiciary and debated by a
                     free press and engaged civil society. Not
                     only do individuals within the United States
                     have effective legal means to seek policy,
                     administrative, and judicial remedies for
                     human violations and abuses, the govern
                     ment itself pursues extensive and compre
                     hensive enforcement actions to create system
                     atic reform. Our federal system enables our
                     nation to test new methods and strategies
                     for promoting human rights at the state and
                     local levels. While recognizing that there is
                     more work to be done, we are constantly
                     striving to create a fairer and more just
                     society, as reflected in the programs and
                     policies discussed in this report.96
            Further showing their commitment to the ICCPR,
            the United States specifically addressed immigration
            policies in this report and specifically mentioned
            DACA as an indicator of compliance.97 The report
            reiterates their enforcement policy that indicates
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            96 Rep. of the United States of Amer. Submitted to the U.N. in
            Accordance with paragraph 5 of the Annex to the Human
            Rights Council Resolution 16/21, 22nd Sess., Feb. 13, 2015, UN
            Doc. A/HRC/WG.6/22/USA/1 (4–15 May 2015).
            97 Id. Sec. E. at 12–14.




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            DACA recipients are not an enforcement priority.98
            DACA recipients have grown up in this country—
            their families, friends, communities are in the United
            States, so it is highly improbable they would depart
            the country on their own if DACA was terminated.
            DACA recipients would return to living under the
            radar in a vulnerable state. In effect, they would be
            at risk and unable or unwilling to seek the legal pro
            tections from predatory or criminal practices,
            rendering the United States’ human rights protec
            tions ineffective for the very populations they seek to
            protect.99




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            98 Id. at 12 (“Consistent with these actions, we are implementing
            a new enforcement and removal policy that continues to place
            top priority on threats to national security, public safety, and
            border security.”).
            99 Id.




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                                CONCLUSION
                It is undisputed that the decision to rescind
            DACA by the Federal Government has placed an
            extraordinary level of uncertainty and anxiety on
            young DACA beneficiaries who greatly contribute to
            the prosperity and wellbeing of a country they
            embrace, respect, and honor.
                 If DACA protections are rescinded, this young
            bicultural generation will be forced to live without
            certain rights and protections, substantially increa
            sing their vulnerability and hampering the opportu
            nities to continue contributing as vital members of
            U.S. society. The rescission of DACA will augment
            uncertainty in the workplace, at school, and the daily
            lives for recipients, their families and the community
            as a whole, potentially leading to the separation of
            family members.
                 For the foregoing reasons, the Government of
            Mexico submits the present amicus curiae, acting
            under international law, to protect the interests and
            rights of its nationals in potentially vulnerable situa
            tions, and respectfully requests that this Court
            affirm the injunctions ordered by the courts below.
            




            

                                                                           AR4919
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                            Respectfully submitted,

                            ADELA ELVIA RUTH MCCHESNEY
                                COUNSEL OF RECORD
                            FAYE MAGDALENA KOLLY
                            DE MOTT, MCCHESNEY,
                            CURTRIGHT & ARMENDARIZ, LLP
                            8023 VANTAGE DRIVE, SUITE 800
                            SAN ANTONIO, TX 78230
                            (210) 5901844
                            RUTH@DMCAUSA.COM

                            COUNSEL FOR AMICUS CURIAE

            OCTOBER 3, 2019




            

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                           Nos. 18-587, 18-588, and 18-589


                                       IN THE
                   Supreme Court of the United States
                               ____________________
                    DEPARTMENT OF HOMELAND SECURITY, ET AL.,
                                                Petitioners,
                                        v.
                  REGENTS OF THE UNIVERSITY OF CALIFORNIA, ET AL.,
                                               Respondents.
                               ____________________
                          On Writ of Certiorari to the
                         United States Court of Appeals
                              for the Ninth Circuit
                               ____________________
                     BRIEF FOR AMICI CURIAE NINETEEN
                       COLLEGES AND UNIVERSITIES
                       IN SUPPORT OF RESPONDENTS
                             ____________________
                                          ANTON METLITSKY
                                           (Counsel of Record)
                                          JENNIFER B. SOKOLER
                                          CHARLES J. MAHONEY
                                          DAVID Z. COHEN
                                          O’MELVENY & MYERS LLP
                                          Times Square Tower
                                          7 Times Square
                                          New York, N.Y. 10036
                                          (212) 326-2000
                                          ametlitsky@omm.com


                     Additional Captions Listed on Inside Cover




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                                      ET AL.,
                                                Petitioners,
                                        v.
                  NATIONAL ASSOCIATION FOR THE ADVANCEMENT OF
                             COLORED PEOPLE, ET AL.,
                                               Respondents.
                              ____________________
                     On Writ of Certiorari Before Judgment
                      to the United States Court of Appeals
                       for the District of Columbia Circuit
                               ____________________


                 KEVIN K. MCALEENAN, ACTING SECRETARY OF HOME-
                             LAND SECURITY, ET AL.,
                                               Petitioners,
                                       v.
                     MARTIN JONATHAN BATALLA VIDAL, ET AL.,
                                              Respondents.
                              ____________________
                     On Writ of Certiorari Before Judgment
                      to the United States Court of Appeals
                              for the Second Circuit
                                ____________________




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                   Education, In the Shadows of the Ivory
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                                                1
                                INTEREST OF AMICI1
                   Amici are nineteen distinguished American insti-
                tutions of higher education. 2 Though important dif-
                ferences exist among them, amici share a common
                mission to educate the next generation of leaders with
                the talent, creativity and drive to solve society’s most
                pressing problems. In furtherance of that objective,
                amici have admitted undocumented students who
                benefitted from the protections and opportunities pro-
                vided by the Deferred Action for Childhood Arrival
                (“DACA”) program. Like their classmates, the DACA
                students on amici’s campuses make enormous contri-
                butions to our educational institutions and our coun-
                try.
                    The colleges and universities that are signatories
                to this brief have an interest in each of their undocu-
                mented students’ welfare and ability to obtain a full
                and complete higher education. Amici also have an

                    1  Pursuant to Supreme Court Rule 37.6, counsel for amici
                state that no counsel for a party authored this brief in whole or
                in part, and no person other than amici or their counsel made
                any monetary contribution intended to fund the preparation or
                submission of this brief. Pursuant to Supreme Court Rule
                37.3(a), all parties have provided blanket consent to the filing of
                amicus curiae briefs.
                    2 They include Brown University, California Institute of

                Technology (“Caltech”), Columbia University, Cornell Univer-
                sity, Dartmouth College, Duke University, Emory University,
                Georgetown University, George Washington University, Har-
                vard University, Massachusetts Institute of Technology (“MIT”),
                New York University, Northwestern University, Stanford Uni-
                versity, the University of Chicago, the University of Pennsylva-
                nia, Vanderbilt University, Washington University in St. Louis,
                and Yale University.




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                                           2
                interest in ensuring that when these students gradu-
                ate, they are able to put their education to its highest
                use. The Department of Homeland Security’s Sep-
                tember 5, 2017 Memorandum jeopardizes amici’s in-
                terests by harming their students.
                     INTRODUCTION AND SUMMARY OF
                               ARGUMENT
                   Amici institutions have educated and helped
                launch the careers of many celebrated leaders and in-
                novators in all fields, including more than 200 Nobel
                Prize recipients, half of the astronauts who have
                walked on the moon, dozens of Fortune 500 CEOs,
                and numerous Academy Award and Pulitzer Prize-
                winning artists and authors. Every day, amici’s
                alumni can be found teaching in our schools, perform-
                ing cutting-edge research, discovering ground-break-
                ing technology, healing patients in our hospitals,
                starting businesses, leading our armed forces, and re-
                porting on current events for local and global news
                outlets. This is no coincidence, but a reflection of
                amici’s principal objective: To improve the human
                condition by educating the next generation of people
                with the talent, drive, and heart needed to identify
                and solve society’s most pressing problems.
                    To further this mission, all amici institutions have
                admitted students who have applied for and been
                granted relief from removal under the DACA pro-
                gram. “[L]ike their peers,” the DACA students on
                amici’s campuses “are extraordinarily talented young
                people who . . . aspire to be leaders in public service,
                science, business, medicine, and the arts. They em-
                body the drive and determination that has made the
                United States the most prosperous and innovative




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                                                3
                country in the world.” 3 And by virtue of DACA—
                which protects certain undocumented immigrants
                from near-term deportation, allows them to work law-
                fully, and enables them to travel abroad—these stu-
                dents have been able for the first time to access edu-
                cational and life opportunities on nearly equal terms
                with their peers.
                   If permitted to enter into effect, the memorandum
                rescinding the DACA program will preclude the re-
                markable students enrolled at amici institutions from
                obtaining the full benefit of their time on our cam-
                puses. It would also undermine amici’s educational
                missions by threatening their ability to attract and
                educate the most talented young people. 4 Indeed,
                ending DACA would force future scholars, innovators,

                    3 Letter  from Harvard University President Drew Gilpin
                Faust to President Donald J. Trump Regarding DACA (Aug. 28,
                2017), https://www.harvard.edu/president/news/2017/letter-to-
                president-trump-regarding-daca. See also, e.g., Letter from Cor-
                nell University President Martha E. Pollack to President Donald
                J. Trump (Aug. 31, 2017), https://tinyurl.com/y4ufuhod (“I be-
                lieve that our DACA students are ‘incredible kids.’ . . . It would
                be more than a shame if you . . . extinguish so many bright and
                productive futures just as they are getting started.”); Letter from
                Washington University in St. Louis Chancellor Mark S.
                Wrighton to President Donald J. Trump (Sept. 1, 2017),
                https://tinyurl.com/y48e7tof (“I believe that abandoning DACA
                would not be in our national interest.”).
                    4 Letter from Caltech President Thomas F. Rosenbaum to

                The Caltech Community (Sept. 5, 2017), https://ti-
                nyurl.com/y3u5meyq (ending DACA “cuts to the core of what we
                stand for as an educational institution: to identify, attract, and
                support talented individuals, and to create a community where
                students, staff, and faculty alike can learn from each other and
                thrive”).




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                                              4
                and leaders to choose between withdrawing to the
                margins of our society and national economy or re-
                turning to countries that they have never called
                home. Whatever they choose, their gifts and educa-
                tion will be lost to this nation. Amici therefore urge
                this Court to affirm the decisions below.
                    Amici submit this brief to inform the Court about
                their experiences with the DACA students on their
                campuses and to warn of the consequences—to the
                students, amici, and the country—of rescinding
                DACA. At this time of profound challenges—from
                global pandemics and insoluble conflicts, to climate
                change and income inequality—the importance of
                amici’s shared mission of advancing and improving
                the human condition through teaching and research
                comes into sharper focus. To achieve their ambitious
                goals of advancing knowledge and improving our so-
                ciety, schools must be able to identify and educate the
                very best students, and those students must be able
                to work after graduation. Ending DACA would un-
                justly sideline a discrete group of students. As one of
                amici’s Presidents put it, no student—amici’s or oth-
                erwise—should be forced to live in constant fear of
                “losing the opportunities they earned, the communi-
                ties they think of as home, and the nation they love.”5
                Nor should the nation lose the benefits of any stu-
                dent’s full participation in our society.




                   5 L. Rafael Reif, President of MIT, Trump Should Not Repeal

                DACA, BOSTON GLOBE (Aug. 31, 2017), https://ti-
                nyurl.com/y6wyq239.




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                                                 5
                                        ARGUMENT
                I. DACA STUDENTS ENROLLED AT AMICI IN-
                   STITUTIONS ARE SOME OF THE MOST
                   GIFTED AND MOTIVATED YOUNG PEOPLE
                   IN THE WORLD
                    Amici are united in a core mission: to educate ex-
                traordinary students from diverse backgrounds and
                prepare them for leadership, active citizenship, and
                achievement in every field of human endeavor. Each
                of amici’s schools, to borrow from one, “educates the
                most promising students and prepares them for a life-
                time of learning and of responsible leadership.” 6
                From their founding charters 7 to their
                current websites,8 these clearly stated educational ob-
                jectives govern how amici “determine for [themselves]

                    6 Dartmouth College, Dartmouth College Mission Statement,

                https://tinyurl.com/y5mku5ul (last visited Oct. 1, 2019).
                    7 See, e.g., Duke University, Indenture of James B. Duke Es-

                tablishing the Duke Endowment, at 24 (1924), https://ti-
                nyurl.com/y4dzoeq2 (calling for courses of instruction in areas
                that “can do most to uplift mankind” and “help to develop our
                resources, increase our wisdom and promote human happiness”);
                Stanford University, The Founding Grant with Amendments,
                Legislation, and Court Decrees, at 24 (1885), https://ti-
                nyurl.com/y69s9ph7 (Stanford University’s “chief object is the
                instruction of students with a view to producing leaders and ed-
                ucators in every field of science and industry”); Harvard Univer-
                sity, The Charter of the President and Fellows of Harvard Col-
                lege, Under the Seal of the Colony of Massachusetts Bay, and
                Bearing the Date May 31st A.D. 1650, https://ti-
                nyurl.com/yxduz56t (Harvard’s mission includes “the advance-
                ment of all good literature arts and sciences”).
                    8 See, e.g., Cornell University, University Mission, https://ti-

                nyurl.com/yymdtgxk (last visited Oct. 1, 2019) (Cornell Univer-
                sity’s “mission is to discover, preserve and disseminate




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                on academic grounds who may teach, what may be
                taught, how it shall be taught, and who may be ad-
                mitted to study.” Sweezy v. New Hampshire, 354 U.S.
                234, 263 (1957) (Frankfurter, J., concurring) (quota-
                tion omitted).
                    To fulfill their missions, amici devote substantial
                resources to identifying, recruiting, and retaining ex-
                ceptional young people from around the globe. Of
                course, amici seek students with the scholarship rec-
                ord to excel in their classrooms, but given the great
                number of applications that amici receive—well in ex-
                cess of the number of students they can admit—aca-
                demic merit alone is insufficient for admission. Amici
                therefore undertake an intensive application review
                process to identify those students “who w[ill] make
                the most of the extraordinary resources” they have to
                offer, “those with a zest to stretch the limits of their
                talents, and those with an outstanding public motiva-
                tion—in other words, applicants with a concern for
                something larger than themselves.” 9 Additionally,

                knowledge, to educate the next generation of global citizens, and
                to promote a culture of broad inquiry throughout and beyond the
                Cornell community”); MIT, MIT Mission, https://ti-
                nyurl.com/yglcbj (last visited Oct. 1, 2019) (MIT’s goal “is to ad-
                vance knowledge and educate students in science, technology,
                and other areas of scholarship that will best serve the nation and
                the world in the 21st century”).
                    9  Yale Admissions, What Yale Looks For, https://ti-
                nyurl.com/y2cxrqht (last visited Oct. 1, 2019); see also Harvard
                College Admissions, What We Look For, https://ti-
                nyurl.com/y86n5rv7 (last visited Oct. 1, 2019) (“We seek to iden-
                tify students who will be the best educators of one another and
                their professors—individuals who will inspire those around
                them during their College years and beyond.”); Brown Univer-
                sity, Undergraduate Admission, https://tinyurl.com/y7syjs2m




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                amici have worked to ensure that the most qualified
                students can enroll in their institutions, irrespective
                of their socioeconomic and immigration status.10
                    The DACA students at amici institutions were se-
                lected because they are outstanding students. Like
                their classmates, these young people were valedicto-
                rians, student government leaders, varsity athletes,
                inventors, academic award winners, accomplished

                (last visited Oct. 1, 2019) (“We will consider how your unique
                talents, accomplishments, energy, curiosity, perspective and
                identity might weave into the ever-changing tapestry that is
                Brown University.”); George Washington University, Apply to
                GW, https://tinyurl.com/y53qu2cn (last visited Oct. 1, 2019) (“We
                are looking to enroll a bright, talented and diverse body of stu-
                dents who will take advantage of the many unique opportunities
                that the university and Washington, D.C., have to offer.”).
                    10 Indeed, many of amici provide at least their undergradu-

                ate students complete, need-based financial aid. See, e.g., Har-
                vard College Financial Aid Office, How Aid Works, https://ti-
                nyurl.com/y3zylrq5 (last visited Oct. 1, 2019) (Harvard “meet[s]
                100 percent of [the] students’ demonstrated financial need” of
                undergraduate education irrespective of citizenship status); MIT
                Student Financial Services, Making MIT Affordable, https://ti-
                nyurl.com/y523kn2e (last visited Oct. 1, 2019) (MIT promises its
                undergraduate applicants that once they are admitted, the uni-
                versity is “committed to meeting 100% of demonstrated financial
                need with our aid.”); Columbia Undergraduate Admissions, Un-
                documented Students and DACA, https://tinyurl.com/yyf2p7e5
                (last visited Oct. 1, 2019) (Columbia is “committed to meeting
                100% of the demonstrated financial need of all students admit-
                ted as first-years or transfer students pursuing their first degree,
                regardless of citizenship status”); New York University Admis-
                sions, Undocumented Students, https://tinyurl.com/y3v8zmg3
                (last visited Oct. 1, 2019) (“NYU will not draw a distinction be-
                tween applicants who are US citizens, and those who maintain
                DACA status—or are otherwise undocumented—while deter-
                mining institutional scholarship awards.”).




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                                              8
                artists, and role models for younger children in their
                communities. And like many of their classmates, they
                are the pride of the neighborhoods in which they grew
                up—“local kids who made good.” To take just a few
                examples:
                   •    Santiago Tobar Potes, a rising senior at Colum-
                        bia University, was a straight-A student in
                        high school, scored at the highest levels on
                        state and national academic tests, speaks six
                        languages and is an accomplished violinist who
                        gave free lessons to impoverished youth in his
                        hometown of Miami, Florida. 11 While at Co-
                        lumbia, Santiago has been on the Dean’s List
                        every semester. Also, because of DACA, Santi-
                        ago has been able to work as a research assis-
                        tant in a neuroscience lab and intern for a New
                        York State Supreme Court Justice.
                   •    Anahi Figueroa-Flores is a rising junior major-
                        ing in Computer Science at Georgetown. While
                        in high school in Colorado, Anahi was a mem-
                        ber of the Marine Corps ROTC and served as
                        Executive Battalion Commander her senior
                        year. When she graduates, Anahi “want[s] to
                        pursue a career in software engineering and
                        advocacy,” but her “goals remain uncertain as
                        they depend on what happens with DACA.”12



                    11 Santiago Tobar Potes, DACA Student: Deporting Me and

                800,000 Dreamers Is a Man-Made Disaster That Will Be Terrible
                for US, FOX NEWS (Sept. 5, 2017), https://tinyurl.com/y6sdxvsr.
                   12 This anecdote, along with those discussed infra about Jo-
                han Villanueva, Barbara Olachea Lopez Portillo, Jose Martinez




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                   •   Luke Hwang, a current PhD candidate in
                       chemistry at the University of Chicago, gradu-
                       ated from a competitive math and sciences
                       magnet high school in Bergen County, New
                       Jersey, where he won a number of awards at
                       regional science fairs and volunteered as an
                       Emergency Medical Technician in his local am-
                       bulance corps. Luke was next accepted as a
                       University Scholar in the Macaulay Honors
                       College at the City College of New York, from
                       which he received a Bachelor’s of Science in
                       Chemistry. In addition to graduating summa
                       cum laude, Luke received an award for obtain-
                       ing the highest grade point average of any
                       chemistry major.13
                   •   Johan Villanueva, a rising senior at MIT ma-
                       joring in chemical engineering, graduated sec-
                       ond in his class from the largest public high
                       school in Chicago. In addition to being the co-
                       captain of his high school’s Math Team, Johan
                       was involved in Homeland Helpers, a student
                       group dedicated to assisting the city’s homeless
                       population, the Environmental Club, and the
                       National Honor Society.
                    DACA students’ presence on amici’s campuses is
                all the more notable given the enormous challenges
                that undocumented youth face in order to obtain a

                Guevara, Paul Gastello, Dalia Larios, and Stella Linardi, were
                provided by amici for this brief.
                   13 Gabe Ortiz, Luke: DACA “Gave Me a New Faith, and

                Brought Out a New Me to Reject Fear”, AMERICA’S VOICE (Dec. 9,
                2016), https://tinyurl.com/y57e944q.




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                                               10
                higher education. To start, the vast majority of these
                students have grown up in households that survive on
                incomes far below the federal poverty line, and most
                are the first persons in their families to attend col-
                lege.14 Additionally, these students often cope with
                family instability and anxiety relating to their undoc-
                umented status.15 As one DACA student at Yale ex-
                plained:
                       [The] challenges . . . start in high school—
                       when many undocumented students, see-
                       ing no way out of their limbo status, lose
                       motivation. Others pick up jobs on the
                       side to financially help their families,
                       slowly drifting away from their classwork.
                       Even for those who remain dedicated to
                       their classes, studies show a lack of infor-
                       mation regarding university options and
                       an inability to obtain financial aid ob-
                       structs the path to higher education.16

                   Given the significant adversity that DACA stu-
                dents have surmounted prior to even applying to
                amici institutions, it is no surprise that they have also
                    14 See Institute for Immigration, Globalization, & Education,

                In the Shadows of the Ivory Tower: Undocumented Undergrad-
                uates and the Liminal State of Immigration Reform 7 (2015),
                https://tinyurl.com/y6kvtafm (reporting on a survey of undocu-
                mented students that found “61.3% . . . had an annual household
                income below $30,000” and 67.6% were first-generation college
                students).
                   15 Id. at 2 (“[Undocumented youth] are disproportionately
                more likely to grow up in poverty, crowded housing, lacking
                health care, and residing in households where families have
                trouble paying rent and affording food.”).
                    16 Stephanie Leutert, Undocumented in the Ivy League, AM.

                Q. (May 5, 2015), https://tinyurl.com/y36yanvr.




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                                             11
                excelled on amici’s campuses. Jin Park was born in
                South Korea and came to New York City at age 7.17
                Growing up, Park understood that his family was dif-
                ferent: “I knew that my family couldn’t get a car, that
                we didn’t have health care, and that we should avoid
                busy streets, where immigration raids often take
                place[,] . . . but I didn’t quite understand it.”18 In high
                school, a Manhattan hospital rejected him from an in-
                ternship program on that basis. Jin credits DACA
                with giving him the confidence to apply to college to
                pursue his dream of becoming a “doctor to work on
                policies to help the most vulnerable.”19 Indeed, his
                professional goals are an outgrowth of his experience
                growing up undocumented: “When I was 11, I had to
                search online how to treat a burn at home because my
                father had been burned at work and couldn’t go to the
                hospital.”20 A 2018 Harvard graduate and Class Day
                speaker, Jin is the first DACA recipient of a Rhodes
                Scholarship.21 Without DACA, Jin will not be able to
                travel to the United Kingdom to participate in this
                prestigious program.



                    17 Jin Park is a signatory on the amicus brief “Texas V.

                United States Defendant-Intervenors DACA Recipients And State
                Of New Jersey,” submitted in support of respondents.
                   18 Liz Mineo, Ask the Undocumented, HARVARD GAZETTE
                (May 4, 2017), https://tinyurl.com/y5ufmbms.
                   19 Id.

                   20 Id.

                   21 Jin Park, I’m a Dreamer and a Rhodes Scholar. Where Do

                I Belong?, THE N.Y. TIMES (Jan. 11, 2019), https://ti-
                nyurl.com/y76482pd.




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                                           12
                II. RESCINDING DACA WOULD HARM AMICI’S
                    STUDENTS AND ALUMNI, AND DEPRIVE
                    BOTH AMICI INSTITUTIONS AND THE
                    COUNTRY OF THEIR PROMISE
                   A. Ending DACA Would Have a Devastating
                      Impact on DACA Students
                    DACA students are American in everything except
                immigration status. They came of age in this country,
                excelling in our elementary, middle and high schools.
                Still more, an amazing number of these young people
                have demonstrated their dedication to this country’s
                ideals by actively engaging in its civic life to the full
                extent permitted by law. Even before their arrival on
                our campuses, many of amici’s students and alumni
                led voter registration drives, carried petitions, testi-
                fied before state and federal legislative bodies, wrote
                letters to the editor, and participated in documentary
                film projects. And they continue to do so today—de-
                spite the potential consequences for themselves, their
                friends, and their loved ones. In short, many of these
                young people have engaged in precisely the kind of
                courageous civic activities that are crucial to the con-
                tinued vitality of our democracy.
                   While DACA does not provide our students and
                alumni a path to citizenship, it does offer them a
                measure of security and access to opportunities for ed-
                ucational and professional development. As Juan
                Jose Martinez Guevara, a rising senior at
                Georgetown, whose goal is someday to “work for the
                government—to help achieve what is best for America
                in the world and to help make the world a safer
                place”—put it:




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                                         13
                      Thanks to DACA, I now have a part-time
                      job on campus and can help ease the cost
                      of college on my parents. Thanks to DACA
                      I can feel safe and confident while travel-
                      ing, whether it be to attend school or to
                      visit my family. Thanks to DACA I can fo-
                      cus on my studies without worrying that it
                      may all be taken away from me at any sec-
                      ond. I have always thought of myself as an
                      American, but it is thanks to DACA that I
                      can begin to truly feel like one, too.
                    The same goes for Barbara Olachea Lopez Portillo,
                who graduated last spring from Dartmouth, where
                she double-majored in film and media studies and so-
                ciology. Barbara was the valedictorian of her high
                school class in Phoenix, Arizona, the secretary of her
                school’s student government, and an active partici-
                pant in various other extracurricular activities, in-
                cluding Inspire Arizona, an organization that pro-
                motes civic engagement. Relying on her DACA sta-
                tus, Barbara is now pursuing a career in documentary
                filmmaking in Los Angeles.
                   Rescinding DACA would wrest from Juan, Bar-
                bara, and hundreds of thousands of strivers like them
                the sense of safety and possibility that they deserve
                and have come to rely on. Regents of Univ. of Cal. v.
                U.S. Dep't of Homeland Sec., 908 F.3d 476, 486 (9th
                Cir. 2018) (“DACA also allows recipients to apply for
                authorization to work in this country legally, paying
                taxes and operating in the above-ground economy. ...
                [H]undreds of thousands of … young people, trusting
                the government to honor its promises, leapt at the op-
                portunity.”); Nat’l Ass’n for the Advancement of Col-
                ored People v. Trump, 298 F. Supp. 3d 209, 240
                (D.D.C. 2018) (“Because DHS failed to even




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                                          14
                acknowledge how heavily DACA beneficiaries had
                come to rely on the expectation that they would be
                able to renew their DACA benefits, its barebones legal
                interpretation was doubly insufficient and cannot
                support DACA’s rescission.”); Batalla Vidal v. Niel-
                sen, 279 F. Supp. 3d 401, 431 (E.D.N.Y. 2018)
                (“[E]ducational institutions have enrolled DACA re-
                cipients who, if they lose their DACA benefits, may be
                forced to leave the United States or may see little
                need to continue pursuing educational opportuni-
                ties.”); Regents of Univ. of Cal. v. U.S. Dep’t of Home-
                land Sec., 279 F. Supp. 3d 1011, 1046 (N.D. Cal. 2018)
                (“DACA recipients, their employers, their colleges,
                and their communities all developed expectations
                based on the possibility that DACA recipients could
                renew their deferred action and work authorizations
                for additional two-year periods.”). Through no fault
                of their own, these young people would face the terri-
                fying prospect of having to return to a life in which
                they have little chance of making the best use of their
                hard-earned skills and knowledge, or, worse still, be-
                ing removed altogether and forced to make their way
                in a country that is wholly foreign to them.
                    Ending the DACA program also would send a clear
                message to the more than one million undocumented
                children in the United States that the trails amici’s
                students and alumni have blazed lead nowhere and
                are not worth following. That message is antithetical
                to the commitment to equal opportunity on which this
                country was founded, raising “the specter of a perma-
                nent caste of undocumented [immigrants] . . . denied
                the benefits that our society makes available to citi-
                zens and lawful residents.” Plyler v. Doe, 457 U.S.




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                                               15
                202, 218–19 (1982). Rather than serving our coun-
                try’s interests, rescinding DACA will deprive our so-
                ciety of the many contributions these young people
                are prepared and eager to make.
                    B. Rescinding DACA Would Prevent Undoc-
                       umented Students From Fully Benefitting
                       From and Contributing To Amici’s Insti-
                       tutions
                    Consistent with their missions, amici are commit-
                ted to providing a full and complete education to all of
                their enrolled students—anything less is insufficient
                to prepare them to identify and solve the consequen-
                tial problems that amici expect their alumni to ad-
                dress over the course of their careers. DACA helps
                amici achieve this objective by making it possible for
                undocumented students to participate fully in educa-
                tional work opportunities, such as off-campus intern-
                ships and on-campus research with university fac-
                ulty. It also allows them to conduct field work outside
                of the United States and participate in amici’s varied
                study abroad programs.22 By participating in these
                experiences, students generate questions for further

                     22 Indeed, amici have emphasized the importance of study

                abroad programs to better prepare students to build “global com-
                petence” and navigate careers in an interconnected world. See,
                e.g., Northwestern University, About the Global Learning Office,
                https://tinyurl.com/y335nlrj (last visited Oct. 1, 2019); Vander-
                bilt University, About the Global Education Office, https://ti-
                nyurl.com/yyyzxvf3 (last visited Oct. 1, 2019) (Vanderbilt “is
                committed to preparing global citizens. . . .”); Emory University,
                Study Abroad at Emory, https://tinyurl.com/y5xm7uod (last vis-
                ited Oct. 1, 2019) (“Education abroad experiences are essential
                to the development and preparation of students for future schol-
                arship and careers.”).




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                                          16
                exploration during their time on campus and begin to
                chart their course for after graduation.
                    For instance, during his time at MIT, Jose Gomez,
                who came to the United States from northern Mexico
                when he was five years old, participated in MIT’s Un-
                dergraduate Research Opportunity Program at the
                MIT Space Systems Laboratory, where, among other
                things, he participated as a flyer in a NASA reduced
                gravity flight. This work in turn resulted in Jose co-
                authoring a paper that was presented at an interna-
                tional conference in Vienna, Austria. Separately, due
                to DACA, Jose was eligible to participate in an extern-
                ship at a startup company that develops robots to im-
                prove the efficiency of e-commerce order fulfillment.
                During this externship, Jose led the development of a
                tactile sensor kit for a robotic hand and designed and
                prototyped robotic finger mechanical components us-
                ing 3D printed parts and rubber casting. Given this
                achievement, it is no surprise that the startup asked
                Jose to return as an applications engineer after he
                graduated with a Bachelor’s of Aerospace Engineer-
                ing in June 2017. Jose is now the primary software
                engineer for that company on a new barcode scanning
                technology that is being used by a large American re-
                tailer. His work is also integrated into products used
                by customers in North America, Europe, and Japan.
                Without DACA, Jose’s story would not have been pos-
                sible.
                    Paul Gastello has a similar story. Paul grew up in
                New York and was the first person in his family to go
                to college. He studied government at Dartmouth, but
                was unable to find a job through the on-campus re-




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                cruiting process his senior year because of his immi-
                gration status. For Paul, DACA changed every-
                thing. When DACA was announced, Paul decided to
                take a year off from college to gain the work experi-
                ence that he needed to pursue a career in fi-
                nance. During that year, Paul interned with a private
                investment management company and subsequently
                accepted an offer to return as a full-time employee af-
                ter he graduated in 2014. Paul stayed with that com-
                pany for four years before taking a job analyzing stra-
                tegic financing opportunities for a startup company
                that operates an online marketplace for the sale of
                new and used clothing. Last spring, Paul was pro-
                moted to the position of strategic finance man-
                ager. Looking to the future, Paul’s primary goal is to
                take care of his aging parents, who endured many
                hardships to give him access to freedom and economic
                security. DACA is vital to his ability to do so.
                    Dr. Dalia Larios was the first DACA recipient ac-
                cepted to Harvard Medical School, where she pursued
                her passion: curing cancer. Indeed, remained in med-
                ical school for an extra year to study novel therapies
                for mesothelioma and lung cancer and has presented
                her research at numerous conferences and published
                several manuscripts. Today, Dr. Larios is a practicing
                physician at both Brigham and Women’s Hospital and
                Massachusetts General Hospital, where she is com-
                pleting a medical residency specializing in radiation
                oncology. Without DACA, Dalia would not be able to
                complete her training as a physician or treat the
                many patients who rely on her.
                   In addition to unlocking the full array of enriching




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                activities that comprise a world-class higher educa-
                tion, deferred action under DACA empowers undocu-
                mented students to talk about their lived experiences
                without fear of retribution, adding meaningfully to
                the robust exchange of ideas that amici seek to culti-
                vate on their campuses. For instance, while attending
                the University of Pennsylvania’s Wharton School of
                Business, class of 2014 graduate and DACA recipient
                Tania Chairez founded Penn for Immigrant Rights
                (“PIR”), an organization intended to “debunk miscon-
                ceptions and connect immigration to current
                events.”23 Under her leadership, PIR conducted “un-
                docu-trainings . . . [to] mak[e] sure as many student
                leaders as possible know what it even means to be an
                undocumented person.”24
                    True, numerous DACA students have continued to
                speak publicly about their immigration status despite
                the rescission memorandum—including the many
                students who agreed to the use of their name in this
                brief. But the policy reversal places these students,
                and the many more whom these threats to DACA
                have silenced, in a position wholly at odds with the
                principles of academic freedom to which amici are fer-
                vently committed. These students should not have to
                risk their own physical liberty—and that of their fam-
                ilies—in order to tell their stories.



                   23   Penn for Immigrant Rights, Founders Statement,
                https://tinyurl.com/y3gltspb (last visited Oct. 1, 2019).
                   24 Laura Anthony, Two Years Later, Tania Chairez Still ‘Un-

                documented and Unapologetic’, DAILY PENNSYLVANIAN (Apr. 17,
                2014), https://tinyurl.com/y46uchbl.




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                   C. Rescinding DACA Would Deprive the Na-
                      tion of Invaluable Resources
                   The DACA students at amici institutions—and
                the many thousands more enrolled at other colleges
                and universities—are by definition the product of this
                nation’s education system and the communities that
                support it. Through the opportunities provided by
                American institutions of higher education all over
                this country, including amici’s, these young people
                now have the skills to give back—in ways big and
                small—to the country that raised them. And they
                want nothing more than the opportunity to do so.
                “[D]riving them out” now “would be throwing away a
                tremendous national investment” for no discernible
                benefit.25
                    Take Cristina Velasquez, whose mother brought
                her to Madison, Wisconsin, when she was six years
                old. In a letter to Senator Richard Durbin of Illinois,
                Cristina wrote that her values and attitude were
                shaped by the people surrounding her during her
                childhood, especially their “compassion, patience and
                hard work.” During middle school, Cristina’s family
                relocated to Florida, where she went on to graduate
                from high school with impeccable grades and a track
                record of community engagement, but she could not
                afford to attend college. After taking a gap year to
                focus on saving money, Cristina enrolled at Miami-
                Dade Community College before transferring to the
                Georgetown School of Foreign Service from which she
                graduated in 2017. While at Georgetown, Cristina


                   25 Reif, supra, note 5.




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                spent both of her summers working with high-achiev-
                ing, low-income middle school students, and received
                several awards for her academic achievement and
                commitment to public service. After graduation, Cris-
                tina returned to the classroom, where she is currently
                one of 240 DACA recipients teaching some of our na-
                tion’s most marginalized and vulnerable youth
                through Teach for America.26
                   Consider, too, Alfredo Muniz, who arrived with his
                parents in Houston, Texas when he was only a year
                old and went on to earn a full scholarship to attend
                the University of Pennsylvania, from which he grad-
                uated in 2016 with undergraduate and graduate de-
                grees in mechanical engineering and robotics. 27
                While at Penn, Alfredo and a classmate developed
                XEED, a sensor-based system that collects and trans-
                mits data about limb movement in individuals with
                Parkinson’s disease.28 Healthcare professionals and
                patients can use this information to better assess the
                disease’s progress and the effectiveness of treatment.
                The project, which has the potential to help hundreds
                of thousands of patients around the world, was
                awarded the 2016 University of Pennsylvania Presi-
                dent’s Innovation Prize, which was accompanied by


                    26 Durbin: Let’s Show The American Dream Is Still Alive By

                Passing The Dream Act (Sept. 12, 2017), https://ti-
                nyurl.com/y69m6nmd; Teach for America, DACA Recipients,
                https://tinyurl.com/yxkxbq75 (last visited Oct. 1, 2019).
                   27  Amanda Mott, Inaugural President’s Innovation Prize
                Winners Announced at Penn, PENNNEWS (Apr. 20, 2016),
                https://tinyurl.com/y5juheqm.
                   28 Id.




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                $100,000 to support its further development.29
                   Stella Linardi is a rising sophomore at Cornell
                University, where she is majoring in industrial and
                labor relations. Because of DACA, Stella was able to
                intern for the California Labor Commissioner. This
                semester, she is putting that real-world experience to
                work while serving as a research assistant to a pro-
                fessor studying the gig-economy and digital hiring
                platforms. She aspires to someday become a lawyer.
                   And as a final example, take Blanca Morales.
                Blanca arrived in the United States when she was five
                years old. She “believed [her] teachers when they said
                that if [she] just worked hard enough, [she] could
                achieve great things.”30 Heeding their advice, Blanca
                graduated as the valedictorian of her community col-
                lege class and with Latin honors from the University
                of California, Irvine, before receiving a full scholar-
                ship to attend Harvard Medical School. 31 Blanca’s ul-
                timate goal is to return to Santa Ana, California, the
                town where she grew up, to give back to its current
                residents the “opportunities” and “encouragement”
                that they gave her.32 Without DACA, Blanca would

                   29 Roberto Torres, These 3 Companies Are Coming to the Pen-

                novation Center, TECHNICAL.LY (June 30, 2016), https://ti-
                nyurl.com/y2sa6sl6.
                    30 Troy Parks, Med Student ‘Dreamers’ Speak Out on Main-

                taining DACA Protections, AMA WIRE (Feb. 13, 2017), https://ti-
                nyurl.com/zg8p8vd.
                   31 Id.

                   32 Greg Lee, Undocumented Santa Ana Scholar Accepted to

                Harvard Medical School, ABC NEWS (June 16, 2016), https://ti-
                nyurl.com/y5lcbqj7.




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                                              22
                be “left to wonder if [she] will be deported” before she
                has the opportunity to do so.33 “When I received this
                white coat, I took an oath to act whenever there are
                injustices and to embrace my duty to advocate for pa-
                tients,” Blanca said. “The end of DACA is an injustice
                to my future patients, because it threatens my ability
                to treat diabetes, to perform heart surgery or perhaps
                even cure cancer as a future physician.”34
                    Cristina, Alfredo, Stella, Blanca, and countless
                others like them have “bound” themselves to this na-
                tion through their “hard work, perseverance, grit and
                determination to succeed.”35 And this nation, in turn,
                has bound itself to them. The United States now
                stands to benefit greatly by permitting the young peo-
                ple that it has raised “to put their skills to their high-
                est use.”36 “[F]orcing them to return to the shadows
                of our society” by ending the DACA program would be
                a tragic mistake.37
                                      CONCLUSION
                      For the foregoing reasons, rescinding the
                DACA program would impede amici’s ability to ad-
                vance their missions, impose a direct harm on their
                current students and alumni, and deprive the United
                States of the benefit of DACA students’ considerable

                   33 Jake Miller, White Coats for DACA, HARVARD MED. SCH.

                NEWS (Sept. 14, 2017), https://tinyurl.com/y6rudqxv.
                   34 Id.

                   35 Brown President Urges Trump to Continue DACA, BROWN

                UNIV. NEWS (Aug. 30, 2017), https://tinyurl.com/yxcceope.
                   36 Faust, supra, note 3.

                   37 Id.




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                talents. Accordingly, the Court should affirm the de-
                cisions below.
                                   Respectfully submitted,

                                          ANTON METLITSKY
                                           (Counsel of Record)
                                          JENNIFER B. SOKOLER
                                          CHARLES J. MAHONEY
                                          DAVID Z. COHEN
                                          O’MELVENY & MYERS LLP
                                          Times Square Tower
                                          7 Times Square
                                          New York, N.Y. 10036
                                          (212) 326-2000
                                          ametlitsky@omm.com

                October 3, 2019




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                          Nos. 18-587, 18-588, and 18-589

                   In the Supreme Court of the United States
                    DEPARTMENT OF HOMELAND SECURITY, ET AL.,
                                                          Petitioners,
                                         v.
                  REGENTS OF THE UNIVERSITY OF CALIFORNIA, ET AL.,
                                                         Respondents.

                          On Writ of Certiorari to the
                         United States Court of Appeals
                              for the Ninth Circuit

                         BRIEF OF 143 U.S. BUSINESS
                       ASSOCIATIONS AND COMPANIES
                             AS AMICI CURIAE
                       IN SUPPORT OF RESPONDENTS

                                         ANDREW J. PINCUS
                                          Counsel of Record
                                          Mayer Brown LLP
                                          1999 K Street, NW
                                          Washington, DC 20006
                                          (202) 263-3000
                                          apincus@mayerbrown.com

                                         KAREN W. LIN
                                          Mayer Brown LLP
                                          1221 Avenue of the
                                             Americas
                                          New York, NY 10020
                                          (212) 506-2500
                              Counsel for Amici Curiae

                     Additional Captions Listed On Inside Cover




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                DONALD J. TRUMP, PRESIDENT OF THE UNITED STATES,
                                     ET AL.,
                                                      Petitioners,
                                        v.
                  NATIONAL ASSOCIATION FOR THE ADVANCEMENT OF
                            COLORED PEOPLE, ET AL.,
                                                    Respondents.

                           On Writ of Certiorari to the
                        United States Court of Appeals
                      for the District of Columbia Circuit

                 KEVIN K. MCALEENAN, ACTING SECRETARY OF HOME-
                             LAND SECURITY, ET AL.,
                                                    Petitioners,
                                        v.
                      MARTIN JONATHAN BATALLA VIDAL, ET AL.,
                                                     Respondents.

                          On Writ of Certiorari to the
                         United States Court of Appeals
                             for the Second Circuit




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                       INTEREST OF THE AMICI CURIAE1
                    Amici include 143 individual companies that col-
                lectively contribute trillions of dollars in annual reve-
                nue to the American economy and have millions of em-
                ployees.
                    Some amici are business associations that to-
                gether represent millions of companies that fuel the
                American economy—including the National Associa-
                tion of Manufacturers, the National Retail Federa-
                tion, the Chamber of Commerce of the United States
                of America, the Retail Industry Leaders Association,
                the American Hotel & Lodging Association, BSA|The
                Software Alliance, the Information Technology Indus-
                try Council, TechNet, the National Association of
                State Latino Chambers of Commerce, the Software &
                Information Industry Association, the Semiconductor
                Industry Association, and the HR Policy Association.
                    The list of the amici is set forth in Appendix A.
                    Many amici and their members employ individu-
                als who participate in the Deferred Action for Child-
                hood Arrivals (DACA) program—young people who
                are now able to live and work in the country that has
                been their home for most of their lives. In addition,
                amici’s customers and end users are DACA recipients;
                and amici’s businesses benefit from DACA recipients’
                contributions to the overall economy through their tax
                payments, spending, and investments. Accordingly,


                1  No party or counsel for a party authored this brief in whole or
                in part, and no one other than amici, their members, or their
                counsel funded the preparation or submission of this brief. See
                Sup. Ct. R. 37.6. Counsel for petitioners and respondents have
                filed blanket consents to the filing of amicus briefs.




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                amici have a strong interest in DACA recipients’ con-
                tinued ability to work and participate in our country’s
                economy and in our society generally.
                                INTRODUCTION AND
                              SUMMARY OF ARGUMENT
                    Since its inception, DACA has had an enormous
                impact on the lives of over 825,000 young people who
                “were brought to this country as children and know
                only this country as home.”2 DACA enabled those
                young individuals to participate fully for the first time
                in all aspects of our society without the constant and
                crippling fear of deportation.3 And, based on
                longstanding federal regulations ratified by Congress,
                the deferral of removal granted to DACA recipients
                made them eligible to apply for work authorization,
                thereby enabling them to obtain jobs commensurate
                with their skills and education.
                    But the beneficial effects of DACA have not been
                limited to those individuals. By expanding the oppor-
                tunities available to DACA recipients, this program
                has benefitted America’s companies, our Nation’s
                economy, and all Americans. Indeed, employment of
                DACA recipients expands work opportunities for eve-
                ryone, because employment is not a zero-sum game.
                DACA recipients are filling vacancies at companies
                that otherwise would not be able to attract workers for


                2  Mem. from Janet Napolitano to David V. Aguilar (June 15,
                2012), https://tinyurl.com/zzxfoue; U.S. Citizenship & Immigra-
                tion Serv., Number of Form I-821D, Consideration of Deferred
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                3   Mem. from Janet Napolitano, supra n.2.




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                open positions. They are creating businesses that em-
                ploy other Americans. And their increased wages lead
                to higher tax revenues and expansion of our national
                GDP—producing new jobs and benefits for all Ameri-
                cans.
                    Eliminating DACA will inflict serious harm on
                U.S. companies, all workers, and the American econ-
                omy as a whole. Companies will lose valued employ-
                ees. Workers will lose employers and co-workers. Our
                national GDP will lose up to $460.3 billion, and tax
                revenues will be reduced by approximately $90 billion,
                over the next decade.
                    Those harms should not occur, however, because
                the rescission of DACA must be set aside under the
                Administrative Procedure Act (APA). The Depart-
                ment of Homeland Security (DHS) rescinded DACA
                based entirely on its legal conclusion that DACA ex-
                ceeds the agency’s authority. That legal determina-
                tion is subject to judicial review. Courts consistently
                review agencies’ broadly-applicable policies that rest
                on such legal determinations.
                    And DHS’s legal determination is wrong. DACA
                closely resembles deferred action programs adopted in
                the past, and—given Congress’s express recognition of
                this deferred action authority and the Executive
                Branch’s substantial authority with respect to immi-
                gration matters—it does not exceed the Department’s
                statutory authority.
                                    ARGUMENT
                I.   RESCINDING DACA WILL HARM U.S. COM-
                     PANIES AND THE ENTIRE ECONOMY.
                    Immigrants have long been essential to our Na-
                tion’s growth and prosperity. They have contributed




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                to important breakthroughs in science and innova-
                tion4; they have created businesses—including many
                Fortune 500 companies—that generate over $775 bil-
                lion in sales and provide numerous jobs to others5; and
                they pay over $300 billion in yearly state, local, and
                federal taxes.6
                    Even though DACA is relatively new, DACA re-
                cipients—often referred to as “Dreamers”—have con-
                tributed significantly to America’s prosperity.
                    DACA enabled more than 825,000 individuals7 to
                come out of the shadows, participate in the economy,
                and contribute to U.S. companies and the economy,
                which benefits us all. Rescinding DACA will harm not
                only individual recipients and their families, friends,
                and co-workers, but also the many U.S. businesses



                4 Matthew Denhart, George W. Bush Institute, America’s Ad-

                vantage: A Handbook on Immigration and Economic Growth 70,
                76 (3d ed., Sept. 2017), https://tinyurl.com/y4ykokn9.
                5 P’ship for a New Am. Econ., Open for Business: How Immi-
                grants Are Driving Business Creation in the United States 12, 14
                (Aug. 2012), https://goo.gl/3mFkVz; Denhart, supra n.4, at 84-
                100.
                6 Dan Kosten, Nat’l Immigration Forum, Immigrants as Eco-

                nomic Contributors: Immigrant Tax Contributions and Spending
                Power (Sept. 6, 2018), https://tinyurl.com/ycohpups.
                7  The number of DACA recipients has declined from over
                800,000 in 2017 to approximately 661,000 today because eligible
                individuals who never had DACA are no longer able to apply for
                it, and many of those who did have it have either adjusted to
                permanent resident status or another status or did not renew or
                otherwise lost their DACA status. Nicole Prchal Svajlenka, With-
                out Action, More Dreamers Than Ever Before Could See Their
                DACA Expire in October, Ctr. for Am. Progress, Aug. 15, 2019,
                https://tinyurl.com/y38uvt4s.




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                that count on them to help fuel continued innovation
                and economic growth.
                    A. Dreamers Contribute To The Success Of
                       U.S. Companies And The Economy As A
                       Whole.
                    Dreamers have become essential contributors to
                American companies and the American economy.
                Prior to DACA, these young people—who have ob-
                tained at least a high school degree and, in many
                cases, have finished college and graduate school—
                would have been unable to obtain work authorization,
                and therefore unable to put their education and skills
                to productive use.
                    DACA changed that and, as a result, over 90 per-
                cent of Dreamers are employed in virtually every sec-
                tor of the economy—from construction workers to
                nurses to cooks to computer scientists.8 Their employ-
                ment supports the growth of U.S. companies and the
                economy in a number of ways.
                        1. Dreamers Are Valued Employees.
                    First, Dreamers contribute directly to the success
                of U.S. companies, including many amici. At least 72
                percent of the top 25 Fortune 500 companies employ
                DACA recipients—including IBM, Walmart, Apple,
                General Motors, Amazon, JPMorgan Chase, Home
                Depot, and Wells Fargo, among others—as do many
                others, including Uber and Lyft.9 Those companies


                8  New Am. Economy, Spotlight on the DACA-Eligible Popula-
                tion (Feb. 8, 2018), https://tinyurl.com/y2fyhf9a.
                9 Tom K. Wong et al., Ctr. for Am. Progress, DACA Recipients’
                Economic and Educational Gains Continue to Grow (Aug. 28,
                2017), https://tinyurl.com/y7dqgwd4.




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                represent every major sector of the U.S. economy and
                generate almost $3 trillion in annual revenue.
                    Dreamers’ contributions are not limited to their
                work product alone. Immigrants like Dreamers bring
                diverse backgrounds and experiences to their work-
                places, which bolster their colleagues’ creativity and
                innovation.10 People with different backgrounds offer
                different perspectives when confronted with a prob-
                lem, and their different opinions and perspectives en-
                able colleagues to anticipate alternative possibilities
                and work harder to evaluate those possibilities.11
                         2. Dreamers Are Business Owners.
                     Second, many Dreamers are entrepreneurs, who
                have created companies themselves. Six percent of
                Dreamers (and nearly nine percent of Dreamers 25
                years and older) started their own businesses after re-
                ceiving DACA.12 Those businesses create jobs for
                other U.S. residents: Each DACA business owner with
                full-time employees employs on average 4.5 other
                workers.13 That is nearly 86,000 additional jobs that
                otherwise would not exist.



                10 See Katherine W. Phillips, How Diversity Makes Us Smarter,
                Scientific American, Oct. 1, 2014, https://tinyurl.com/y4vrn8q2.
                11 Ibid.; see also Deloitte, Waiter, Is That Inclusion in My Soup?

                A New Recipe to Improve Business Performance 8 (2013),
                https://tinyurl.com/jnnszk4.
                12 Tom K. Wong, et al., Ctr. for Am. Progress, DACA Recipients’

                Livelihoods, Families, and Sense of Security Are at Stake This
                November (Sept. 19, 2019), https://tinyurl.com/y3c742re; see also
                New Am. Economy, Spotlight, supra n.8 (4.5 percent of DACA-
                eligible individuals are entrepreneurs).
                13 Wong, Livelihoods, supra n.12.




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                    The businesses started by Dreamers also generate
                revenue: In 2015, DACA-eligible entrepreneurs had a
                total business income of $658.7 million.14 Those funds
                are spent on wages, or goods and services from other
                companies, or reinvested, producing more overall
                growth.
                    This entrepreneurial activity is particularly fo-
                cused on the local, small business level. Immigrants
                make up an outsized proportion of Main Street busi-
                ness owners.15 Those businesses attract others in the
                community, which often helps to revitalize declining
                neighborhoods and reverse declining population
                trends.16 Immigrant-owned businesses have revived
                communities from Philadelphia to Lexington, Ne-
                braska to Minneapolis-St. Paul to Nashville.17
                          3. Dreamers Are Consumers.
                    Third, Dreamers also consume the goods pro-
                duced and services provided by U.S. companies—con-
                tributing to the growth of those companies and the
                economy as a whole.
                    Not surprisingly, receiving a grant of deferred ac-
                tion under DACA—and the resulting eligibility to ap-



                14 New Am. Economy, Spotlight, supra n. 8.

                15 David Dyssegaard Kalick, Americas Soc’y/Council of the Amer-

                icas, Bringing Vitality to Main Street: How Immigrant Small
                Businesses Help Local Economies Grow at 2, 5, 8-9, Jan. 2015,
                https://tinyurl.com/lzuglue.
                16 Id. at 12.

                17 Id. at 14-34; Sara McElmurry, Ctr. for Am. Progress, Proactive

                and Patient: Managing Immigration and Demographic Change
                in 2 Rural Nebraska Communities, Nov. 14, 2018, https://ti-
                nyurl.com/y4lu3etx.




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                ply for work authorization—increases Dreamers’ in-
                comes. Fifty-eight percent of recently-surveyed
                Dreamers were able to obtain better-paying jobs; 53
                percent were able to move to a job that “better fits
                [their] education and training.”18 That, in turn, re-
                sulted in average wage increases for Dreamers of 86
                percent—128 percent for those 25 years and older—
                after receiving DACA.19 In total, Dreamers and their
                households exercise $24.1 billion in spending power
                (income remaining after paying taxes) each year.20
                    This increased purchasing power—combined with
                the increased stability and security resulting from re-
                ceiving a grant of deferred action—has enabled
                Dreamers to make purchases and investments that
                grow our Nation’s economy.
                     Consumer spending accounts for nearly 70 per-
                cent of all economic growth.21 Sixty percent of Dream-
                ers reported buying their first car after receiving
                DACA; fourteen percent reported purchasing their
                first home.22 Dreamers are responsible for $613.8 mil-
                lion in annual mortgage payments, on top of $2.3 bil-
                lion in rental payments to landlords.23



                18 Wong, Livelihoods, supra n.12.

                19 Id.

                20 Nicole Prchal Svajlenka, Ctr. for Am. Progress, What We Know

                About DACA Recipients in the United States (Sept. 5, 2019),
                https://tinyurl.com/y4xc6sf4.
                21 Martin Crutsinger, Thanks to Consumers, the US Economy Is

                Still Rising Steadily, USA Today (Aug. 29, 2019), https://ti-
                nyurl.com/y2ngbkch.
                22 Wong, Livelihoods, supra n.12.

                23 Svajlenka, supra n.20.




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                    Dreamers’ higher wages also result in increased
                fiscal contributions in the form of taxes. Dreamers and
                their households pay $5.7 billion in federal taxes and
                $3.1 billion in state and local taxes annually.24 In 41
                states and the District of Columbia, the state and local
                tax contributions of Dreamers’ households total more
                than $1 million annually; in 35 states, their contribu-
                tions are more than $10 million; and in 12 states, they
                are more than $50 million.25 These taxes support
                American communities and the people and companies
                in those communities—funding local schools, infra-
                structure investments, and services and programs
                like police, fire protection, and economic development.
                DACA recipients’ payroll taxes also support Social Se-
                curity and Medicare.
                    Through these myriad contributions, Dreamers
                post-DACA have supported the growth and success of
                the U.S. economy.
                    B. Dreamers Help Grow The Economy By
                       Filling Jobs That Otherwise Would Re-
                       main Vacant Due To An Insufficient Sup-
                       ply Of Workers.
                    These benefits to the U.S. economy do not come at
                the expense of U.S.-born workers. Studies have con-
                sistently found that immigrants do not displace U.S.-
                born workers. They instead help grow the economy
                and create more opportunities for U.S.-born workers
                by filling positions that otherwise would remain va-
                cant because of a shortage of qualified workers.


                24 Svajlenka, supra n.20.

                25 Nicole Prchal Svajlenka, Ctr. for Am. Progress, What We Know

                About DACA Recipients, By State (Sept. 12, 2019), https://ti-
                nyurl.com/yxttwcm9.




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                         1. DACA Recipients’ Participation In The
                            Workforce Expands The Number Of Jobs
                            Available To Everyone.
                    “[O]ne of the best-known fallacies in economics” is
                the “lump of labor fallacy.”26 Economists from across
                the policy and political spectrum have discredited the
                notion that “there is a fixed amount of work to be
                done—a lump of labour”—such that an increase in the
                number of workers reduces the number of available
                jobs.27 Rather, the indisputable reality is that jobs be-
                get more jobs. “When people work for a living, they
                earn money. They spend that money on goods and ser-
                vices that are produced by other people.”28 That
                greater demand for goods and services in turn creates
                more jobs.
                   That has long been America’s experience. “From
                1970 to 2017, the U.S. labor force doubled. Rather
                than ending up with a 50 percent unemployment rate,
                U.S. employment doubled.”29 Studies demonstrate

                26 Economics    A-Z Terms Beginning with L, The Economist,
                https://goo.gl/BvRwKU.
                27 Id.; see also Paul Krugman, Opinion, Lumps of Labor, N.Y.

                Times (Oct. 7, 2003), https://goo.gl/GyYTG5.
                28 Buttonwood, Keep on Trucking, The Economist (Feb. 11, 2012),

                https://goo.gl/x8vqaL; see also Kenneth Megan, Bipartisan Policy
                Ctr., Immigration and the Labor Force (Aug. 25, 2015),
                https://goo.gl/8p3SP8 (“[A] breadth of research indicates that im-
                migration can be complementary to native born employment, as
                it spurs demand for goods and services”); Giovanni Peri, The Ef-
                fect of Immigrants on U.S. Employment and Productivity, Fed.
                Reserve Bank of San Francisco Econ. Letter (Aug. 30, 2010),
                https://goo.gl/jK17fc.
                29 David Bier, Cato Inst., Five Myths About DACA (Sept. 7, 2017),

                https://tinyurl.com/ydy2qx3q.




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                that increased immigration levels into the U.S. have
                had largely positive impacts on the employment levels
                and incomes of U.S.-born workers.30
                    These findings hold true today. The unemploy-
                ment rate has more than halved since 2012, when
                DACA was first implemented.31 The number of total
                job openings has increased.32 And studies have found
                that DACA has not had any significant effect on the
                wages of U.S.-born workers.33
                         2. Dreamers Fill Critical Labor Shortages.
                    Studies repeatedly show that immigrants comple-
                ment, rather than compete with, U.S.-born workers in
                the workforce.34 The same holds true for Dreamers,



                30 See Jacqueline Varas, Am. Action Forum, How Immigration

                Helps U.S. Workers and the Economy (Mar. 20, 2017),
                https://goo.gl/ovHQEh; U.S. Chamber of Commerce, Immigration
                Myths and Facts (Apr. 14, 2016), https://tinyurl.com/yay4xjm9.
                31 U.S. Dep’t of Labor, Bureau of Labor Statistics, Labor Force

                Statistics from the Current Population Survey, https://ti-
                nyurl.com/zyq5xlx (last visited Oct. 2, 2019).
                32 U.S. Dep’t of Labor, Bureau of Labor Statistics, Job Openings

                and Labor Turnover Survey (Sept. 10, 2019) https://ti-
                nyurl.com/y57pxqrb.
                33 Francesc Ortega et al., The Economic Effects of Providing Le-

                gal Status to DREAMers 18, IZA Discussion Paper No. 11281
                (Jan. 2018), https://tinyurl.com/y9kx52bz.
                34 Denhart, supra n.4, at 118; Gretchen Frazee, 4 Myths About

                How Immigrants Affect the U.S. Economy, PBS NewsHour (Nov.
                2, 2018), https://tinyurl.com/yxlwzkth; Maria E. Enchautegui,
                Immigrant and Native Workers Compete for Different Low-
                Skilled Jobs, The Urban Institute: Urban Wire (Oct. 13, 2015),
                https://tinyurl.com/ycayp6ky; U.S. Chamber of Commerce, supra
                n.30.




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                who are helping to fill holes in the workforce that are
                not being filled by U.S.-born workers.
                     U.S. job creation has been outpacing supply. As a
                result, the U.S. unemployment rate is currently quite
                low, and the number of job openings is high. In June
                2019, the U.S. had 7.4 million job openings, but only 6
                million people looking for work.35 Sixty-four percent of
                small business owners reported hiring or trying to
                hire workers, but of those, 89 percent reported having
                “few or no ‘qualified’ applicants.”36 This gap in de-
                mand and supply has led commentators to state that
                “[i]f the widely discussed slowdown occurs, a signifi-
                cant contributor will be the unavailability of labor.”37
                Moreover, that gap is likely to be exacerbated as the
                “baby boom” generation retires.38
                     U.S. employers have reported particular difficulty
                filling skilled labor positions, such as teachers, ac-
                counting and finance staff, nurses, and engineers.39




                35 U.S. Dep’t of Labor, supra n.32..

                36 Nat’l Fed’n of Indep. Bus., Small Business Optimism Index

                (Aug. 2019), https://tinyurl.com/y72v3t69.
                37 Nat’l Fed’n of Indep. Bus., supra n.36.

                38 Denhart, supra n.4, at 60.

                39 Nat’l Fed’n of Indep. Bus., Small Business Jobs Report: Small

                Business Owners’ Difficulty Finding Qualified Workers Reaches
                Survey High in August (Aug. 2019), https://tinyurl.com/y4l4kn9w
                (Thirty-three percent of small business owners have job openings
                for skilled workers); See ManpowerGroup, 2018 Talent Shortage
                Survey: Solving the Talent Shortage (ManpowerGroup 2018),
                https://tinyurl.com/y8vxvvf7; see also Rachel Unruh & Amanda
                Bergson-Shilcock, Nat’l Skills Coalition, Missing in Action 3-4
                (Feb. 2015), https://goo.gl/gokfJW.




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                And the U.S. faces a shortfall of millions of profession-
                als in the science, technology, engineering, and math-
                ematics (STEM) fields in the next few years.40
                    Dreamers help to fill these unfilled positions.
                Dreamers have at least a high school degree or equiv-
                alent—and 46 percent have obtained a bachelor’s de-
                gree or higher.41 Twenty percent have received profes-
                sional licenses since receiving DACA.42 In other
                words, they are qualified for the skilled labor jobs for
                which there is a severe shortage of workers.
                    Reality reflects Dreamers’ paper qualifications. A
                significant number of Dreamers are employed in the
                education and health services industries, as well as in
                management and business occupations.43 Many oth-
                ers work in technology, science, and finance.44
                   Amici’s experiences are illustrative. For example,
                IBM has at least 31 Dreamers within the company
                who work in areas such as software development and



                40 New Am. Economy, Sizing Up the Gap in our Supply of STEM

                Workers: Data & Analysis (Mar. 29, 2017), https://ti-
                nyurl.com/y6275mgb; see also President’s Council of Advisors on
                Science and Technology, Report to the President: Engage to Excel:
                Producing One Million Additional College Graduates with De-
                grees in Science, Technology, Engineering, and Mathematics 1
                (Feb. 2012), https://goo.gl/v2YRVD.
                41 Wong, Livelihoods, supra n.12.

                42 Wong, Livelihoods, supra n.12.

                43 Svajlenka, supra n.20; Ctr. for Am. Progress, Results of Tom

                K. Wong, United We Dream, National Immigration Law Center,
                and Center for American Progress National Survey 4 (2016),
                https://goo.gl/pe2i17.
                44 Ctr. for Am. Progress, Results, supra n.43.




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                client support.45 One IBM Dreamer provided critical
                remote technical support to ensure continuity of
                IBM’s Cloud services when Hurricane Harvey flooded
                Houston.46 Lyft employs at least one Dreamer as a
                software engineer, who serves as one of the tech leads
                of the team driving critical data projects.47
                     And Dreamers’ contributions to these fields will
                likely only increase. By making it possible for Dream-
                ers to apply for work authorization, DACA has made
                pursuing higher education both possible and worth-
                while for Dreamers. Forty percent are currently in
                school—almost all of whom are working toward a
                bachelor’s or post-graduate degree.48 And a substan-
                tial portion of those individuals are pursuing studies
                in STEM fields—acquiring the knowledge and skills
                that U.S. companies so desperately need to continue
                to innovate and stay competitive.49
                   Dreamers in occupations that do not require ad-
                vanced degrees are similarly filling under-met labor
                needs. Sixty-eight percent of small business owners

                45 See Tony Romm, IBM CEO Ginni Rometty Is in D.C. Urging

                Congress to Save DACA, Recode.net (Sept. 19, 2017),
                https://goo.gl/NQeJUc; My American Dream, Minus the Paper-
                work, THINKPolicy Blog (Oct. 3, 2017), https://goo.gl/876JDm; I
                Felt Like a Normal American Kid . . . Then Everything Changed,
                THINKPolicy Blog (Oct. 9, 2017), https://goo.gl/oV9P7h.
                46 SeeDavid Kenny, Kenny: One Dreamer, Weathering Two
                Storms, Houston Chronicle (Dec. 3, 2017), https://goo.gl/562Pme.
                47 See Decl. of Emily Nishi ¶ 4, JA1099, Doc. 54, Batalla Vidal v.

                Nielsen, No. 18-485 (2d Cir. Mar. 7, 2018).
                48 Wong, Livelihoods, supra n.12.

                49 The UndocuScholars Project, In the Shadows of the Ivory
                Tower: Undocumented Undergraduates and the Liminal State of
                Immigration Reform 8 (2015), https://tinyurl.com/y7svqsxr.




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                reported having “few or no qualified applicants” for
                construction jobs.50 Construction, meanwhile, is the
                second largest industry employing DACA-eligible in-
                dividuals.51 Additionally, there are significant labor
                shortages in food preparation and serving-related oc-
                cupations and personal care and services occupa-
                tions.52 But “[a]mong less-educated workers, those
                born in the United States tend to have jobs in manu-
                facturing or mining, while immigrants tend to have
                jobs in personal services and agriculture.”53 And a
                substantial proportion of Dreamers have jobs in food
                preparation.54
                    In sum, DACA has enabled thousands of young
                people who grew up in the United States to obtain jobs
                that fill critical gaps in the economy and that produce
                benefits for United States’ workers, companies, and
                economy.
                    C. Rescinding DACA Will Inflict Enormous
                       Harm On Individuals, Companies, And
                       The Economy.
                    All of the above benefits—and more—will be lost
                if DACA’s rescission is permitted to stand. Over the
                next decade, our country’s GDP would lose between
                $215 and $460.3 billion; and federal tax revenue will


                50 Nat’l Fed’n of Indep. Bus., supra n.39.

                51 New Am. Economy, Spotlight, supra n.8; cf. Ryan Nunn, et al.,

                A Dozen Facts about Immigration (Oct. 2018), https://ti-
                nyurl.com/y5ra3r8l.
                52 U.S. Dep’t of Labor, Bureau of Labor Statistics, Employment

                Projections, https://tinyurl.com/y4lzn72u.
                53 Peri, supra n.28.

                54 Svajlenka, supra n.20.




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                drop by approximately $60 to 90 billion.55 Texas alone
                would lose $6.3 billion in GDP; California would expe-
                rience a $11.6 billion decline in GDP.56 And Social Se-
                curity and Medicare contributions would lose out on
                $40.9 billion over 10 years.57
                    This economic contraction would result directly
                from Dreamers’ loss of work authorization. Under fed-
                eral law, employers are prohibited from employing in-
                dividuals who do not have a valid work authorization
                document. Accordingly, all of the hundreds of thou-
                sands of employed Dreamers would lose their jobs. In
                addition to the obvious harm to Dreamers themselves,
                the loss of so many workers will have severe repercus-
                sions for U.S. companies and workers.
                    Already, the possibility that DACA’s rescission
                might go into effect is impacting Dreamers and, by ex-
                tension, the companies for which they work. Dream-




                55 See Decl. of Ike Brannon & Logan Albright ¶ 11, Doc. 45-3 at

                359, Regents of the Univ. of Calif. v. U.S. Dep’t of Homeland Sec’y,
                No. 18-18056 (9th Cir. Mar. 13, 2018); Nicole Prchal Svajlenka
                et al., Ctr. for Am. Progress, A New Threat to DACA Could Cost
                States Billions of Dollars (July 21, 2017), https://goo.gl/7udtFu;
                Jose Magaña-Salgado, Immigrant Legal Res. Ctr., Money on the
                Table: The Economic Cost of Ending DACA 4, 6-7 (2016),
                https://goo.gl/3ZwGVJ; see also Ike Brannon & Logan Albright,
                The Cato Inst., The Economic and Fiscal Impact of Repealing
                DACA 1 (Jan. 18, 2017), https://goo.gl/jFXw4g; Jacqueline Varas,
                Am. Action Forum, The Fiscal Implications of the DACA Pro-
                gram (Jan. 18, 2018), https://tinyurl.com/y36tlgh9.
                56 Svajlenka et al., supra n.55.

                57 Jose Magaña-Salgado & Tom K. Wong, Immigration Legal
                Res. Cntr., Draining the Trust Funds (Oct. 2017), https://ti-
                nyurl.com/y6y65jvy.




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                ers now live with the constant threat of job loss, with-
                drawal from society, and forced removal from the only
                country they have ever known.
                    Seventy-six percent of Dreamers reported living
                with the daily worry of being separated from their
                children.58 The fear for the future that is now a daily
                part of life for Dreamers and their families affects
                both physical and mental health.59 That, in turn, neg-
                atively affects employee productivity and perfor-
                mance, illness and absenteeism, accidents, and turn-
                over.60
                    If this Court permits the DACA rescission to take
                effect and thereby end Dreamers’ work authorization,
                companies will face an estimated $6.3 billion in costs
                to replace Dreamers—if they can even find new em-
                ployees to fill the empty positions.61 Companies will
                forfeit the funds invested in training Dreamers, and
                will incur costs recruiting and training new employ-
                ees, who will be less experienced and therefore less


                58 Tom K. Wong et al., United We Dream, Ending DACA Would

                Have Wide-Ranging Effects but Immigrant Youth are Fired Up
                and Politically Engaged (Aus. 23, 2018), https://ti-
                nyurl.com/y49stg87.
                59 See Tiziana Rinaldi & Angilee Shah, Immigration Limbo Is a

                ‘Tug of Emotions.’ It’s Also a Mental Health Issue, PRI’s The
                World (Aug. 22, 2017), https://goo.gl/WLXMZ4; Sarah Elizabeth
                Richards, How Fear of Deportation Puts Stress on Families, The
                Atlantic (Mar. 22, 2017), https://goo.gl/qDgeRf.
                60 See World Health Org. & Int’l Labour Org., Mental Health And

                Work: Impact, Issues and Good Practices               1   (2000),
                https://goo.gl/ecH1Ut; Ortega, supra n.33, at 9-10.
                61 See David Bier, Ending DACA Will Impose Billions in Em-

                ployer Compliance Costs, Cato Institute (Sept. 1, 2017),
                https://goo.gl/1FMidk; see also Magaña-Salgado, supra n.55, at 4.




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                productive.62 These costs are particularly burdensome
                for small businesses.
                    But numbers alone do not come close to capturing
                Dreamers’ contributions and the tremendous harm
                that will result from their loss. People are the heart of
                every business; and every company’s goal is to create
                teams that work seamlessly together—teams in which
                colleagues support one another both within and out-
                side the workplace. Ripping Dreamers out of their jobs
                hurts not only Dreamers, but other employees who
                lose friends and colleagues, and companies that lose
                trusted members of their teams.
                    History confirms that forcing Dreamers out of the
                workforce will reduce job growth and harm the U.S.
                economy. After Arizona passed the Legal Arizona
                Workers Act (LAWA) in 2007, which targeted the use
                of unauthorized workers, economic growth fell, reduc-
                ing job opportunities. The State’s total employment
                was 2.5 percent less than what it would have been
                without the law, and its GDP was reduced by an aver-
                age of 2 percent a year between 2008 and 2015.63
                    Similarly, in 1964, the U.S. expelled Mexican
                braceros, who were previously permitted to work tem-
                porarily in the U.S., mostly on farms. One study re-
                vealed that excluding the Mexican braceros “did not

                62 Heather Boushey & Sarah Jane Glynn, Ctr. for Am. Progress,

                There Are Significant Business Costs to Replacing Employees
                (Nov. 16, 2012), https://goo.gl/ZSmRLq.
                63 See Bob Davis, The Thorny Economics of Illegal Immigration,

                Wall St. J. (Feb. 9, 2016), https://goo.gl/j4dd7J; see also Sarah
                Bohn et al., Do E-Verify Mandates Improve Labor Market Out-
                comes of Low-Skilled Native and Legal Immigrant Workers? 17-
                18, 21, 24-25 (May 2014), https://goo.gl/7UihSE (finding that em-
                ployment rates of U.S.-born men dropped post-LAWA).




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                affect the wages or employment of U.S. farmwork-
                ers.”64 Instead, farms responded by eliminating the
                jobs—often by moving production abroad or going out
                of business.65
                    Removing Dreamers from the workforce is likely
                to have the very same negative effect on U.S. employ-
                ment. As documented above, companies are already
                struggling to fill job openings; additional labor short-
                ages will further hamper productivity and growth.
                The resulting drag on the economy will be exacerbated
                as Dreamers are forced to shutter businesses—put-
                ting the jobs of nearly 86,000 other U.S. workers at
                risk—and companies lose the income from Dreamers
                and Dreamers’ employees that has helped drive de-
                mand and production of goods and services provided
                by U.S.-born workers.66
                    More fundamentally, just as DACA sent a power-
                ful message of inclusion, its rescission tells the immi-
                grants who have been integral to the growth and de-
                velopment of our society and economy for decades that
                they are no longer welcome here. As a result, DACA’s



                64 Michael A. Clemens, Does Kicking Out Mexicans Create Jobs?,

                Politico Magazine (Feb. 15, 2017), https://goo.gl/XwLj1x.
                65 Id.

                66 Cf. Ben Gitis & Jacqueline Varas, Am. Action Forum, The La-

                bor and Output Declines From Removing All Undocumented Im-
                migrants (May 5, 2016), https://goo.gl/UAt3dJ (concluding that
                removing undocumented immigrants from the workforce would
                cause private sector employment to decline by 4 to 6.8 million
                workers, would reduce real private sector output by $381.5 to
                $623.2 billion, and would have further negative economic im-
                pacts through the loss of consumption, investments, and entre-
                preneurship).




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                rescission will reduce the future ability of U.S. compa-
                nies to attract individuals from around the world to
                support America’s continued economic growth and
                prosperity.
                II. THE DACA RECISSION IS INVALID.
                     DHS’s decision to rescind DACA did not rest on a
                change in immigration enforcement priorities, or a re-
                assessment of the policy’s costs and benefits, or the fi-
                nancial cost to the federal government of administer-
                ing DACA. Rather, as the Ninth Circuit and the Dis-
                trict Courts for the District of Columbia and Eastern
                District of New York correctly recognized,67 DHS
                rested its decision on the legal conclusion that DACA
                “was effectuated * * * without proper statutory au-
                thority” and therefore “was an unconstitutional exer-
                cise of authority by the Executive Branch.”68
                    Because of the across-the-board nature of the re-
                scission determination and the particular justification
                given by DHS, that decision is subject to judicial re-
                view. And because of the Executive Branch’s broad au-
                thority with respect to the relevant immigration mat-
                ters, the long history of administrative grants of de-
                ferred action and work authorization, and Congress’s




                67 18-587 Pet. Supp. Br. App. 35a-43a; 18-588 Pet. App. 39a-42a,

                97a; 18-589 Pet. App. 26a-27a, 94a.
                68 Mem. from Elaine C. Duke, Acting Secretary, Dep’t of Home-

                land Security, on Rescission of the June 15, 2012 Memorandum
                Entitled “Exercising Prosecutorial Discretion With Respect to In-
                dividuals Who Came to the United States as Children” (Sept. 5,
                2017).




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                express recognition of that authority, the agency’s re-
                scission decision must be vacated.69
                    A. The Rescission Decision Is Subject To Ju-
                       dicial Review Under The APA.
                    The rescission of DACA—like all agency action—
                is subject to review under the APA unless it falls
                within one of two narrow exceptions: “(1) statutes pre-
                clude judicial review; or (2) agency action is commit-
                ted to agency discretion by law.” 5 U.S.C. § 701(a).
                    Pointing to this Court’s decision in Heckler v.
                Chaney, 470 U.S. 821 (1985), the government argues
                that its rescission of DACA is a “decision not to prose-
                cute or enforce” that is “generally committed to an
                agency’s absolute discretion” and “unsuitab[le] for ju-
                dicial review.” U.S. Br. at 18 (quoting Chaney, 470
                U.S. at 831).
                    Chaney stated that an agency’s decision not to en-
                force the law is “generally” unreviewable, but care-
                fully refrained from holding that all refusals to en-
                force are unreviewable. And the Court expressly de-
                clined to hold unreviewable a refusal to enforce based
                on the belief that the agency lacked jurisdiction, ob-
                serving that such decisions might not be “committed
                to agency discretion.” 470 U.S. at 833 n.4.
                   Judicial review is available here, because three
                aspects of the agency decision combine to render the
                general Chaney rule inapplicable.

                69 For  the reasons explained by Judge Bates (see 18-588 Pet.
                App. 103a-108a), the June 2018 memorandum issued by Secre-
                tary of Homeland Security Nielsen did not provide a justification
                for the rescission decision other than that set forth in the initial
                rescission memorandum—that the DACA program is unlawful
                because it exceeds the Department’s authority.




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                    First, the decision to rescind DACA is a broad pol-
                icy determination, not an individualized exercise of
                enforcement discretion. And that policy determina-
                tion directly affects the lives of close to two million
                people—current DACA recipients and individuals
                who would be entitled to apply for DACA status.70 It
                is therefore fundamentally different from the arche-
                typal decision not to prosecute an individual or not to
                enforce a statute with respect to a particular set of
                facts.
                    Second, the rescission decision rested on a purely
                legal determination. There accordingly is no risk that
                judicial review would require assessment of the policy
                considerations or fact-based exercises of discretion
                that frequently underlie such decisions.
                     Courts are fully qualified to review an agency’s in-
                terpretation of a statute or the Constitution. See, e.g,
                Epic Sys. Corp. v. Lewis, 138 S. Ct. 1612, 1629-30
                (2018). Indeed, “[i]t is emphatically the province and
                duty of the judicial department to say what the law
                is.” Marbury v. Madison, 5 U.S. 137, 177 (1803).
                    A long line of lower court decisions apply this prin-
                ciple, holding that agency actions that are generally
                unreviewable—if based on the agency’s evaluation of
                factual and policy factors—nonetheless are reviewa-
                ble when based on a legal interpretation, including a
                legal determination regarding the agency’s jurisdic-
                tion or authority.71


                70 See Julia Gelatt, Migration Pol’y Inst., All Eyes Turn to Con-

                gress, Following Trump Decision to Terminate DACA Program
                (Sept. 2017), https://tinyurl.com/yyv89mjb.
                71 See, e.g., Bonilla v. Lynch, 840 F.3d 575, 587 (9th Cir. 2016)

                (holding reviewable BIA’s decision not to exercise its sua sponte




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                    The government is wrong in asserting (U.S. Br.
                23-25) that I.C.C. v. Brotherhood of Locomotive Engi-
                neers, 482 U.S. 270 (1987), supports its contention
                that the DACA rescission is not reviewable. That case
                involved a decision not to reconsider a prior decision
                interpreting a statute. The legal question resolved in
                the initial determination “could have been brought
                [before the court] by appeal from the original order.”
                Id. at 279. In that very different context, the fact that
                the Commission based its refusal to reconsider the un-


                authority to open the petitioner’s motion to reopen his order of
                removal where the BIA did not deny the motion “as an exercise
                of discretion,” but rather based on the “conclu[sion] that it lacked
                the authority to reopen”); Montana Air Chapter No. 29 v. Fed.
                Labor Relations Auth., 898 F.2d 753, 756 (9th Cir. 1990) (holding
                that Chaney does not apply to decisions “based on a belief that
                the agency lacks jurisdiction” or “an agency’s statutory interpre-
                tations made in the course of nonenforcement decisions”);
                Sharkey v. Quarantillo, 541 F.3d 75, 85, 91 (2d Cir. 2008) (hold-
                ing reviewable USCIS’s rescission of plaintiffs’ lawful permanent
                resident (LPR) status where decision was based on agency’s
                “nondiscretionary decision[]” that plaintiff did not have LPR sta-
                tus within meaning of rescission statute and regulation); Edison
                Elec. Inst. v. EPA, 996 F.2d 326, 333 (D.C. Cir. 1993) (“[I]nter-
                pretation [of] the substantive requirements of the law * * * is not
                the type of discretionary judgment concerning the allocation of
                enforcement resources that [Chaney] shields from review.”); Nat’l
                Wildlife Fed’n v. EPA, 980 F.2d 765, 773 (D.C. Cir. 1992) (holding
                reviewable EPA’s nonenforcement decision where plaintiff chal-
                lenged agency’s “statutory interpretation embodied in [the regu-
                lation], * * * and does not contest a particular enforcement deci-
                sion”); see also Chaney, 470 U.S. at 833 n.4 (suggesting exception
                would not apply if case involved “a refusal by the agency to insti-
                tute proceedings based solely on the belief that it lacks jurisdic-
                tion”); Kenney v. Glickman, 96 F.3d 1118, 1123 (8th Cir. 1996)
                (interpreting Chaney as applying “to individual, case-by-case de-
                terminations of when to enforce existing regulations rather than
                permanent policies or standards”).




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                derlying order on a legal interpretation did not pro-
                vide a cogent reason for making the refusal to recon-
                sider reviewable. Ibid.
                    Judicial review of agency decisions based entirely
                on legal determinations also serves the important
                purpose of promoting accountability. When an agency
                rests a broad non-enforcement decision on policy-
                based discretion, citizens who support or oppose the
                decision know that the agency bears responsibility for
                the determination. That makes clear that any efforts
                to either overturn or support the decision should be
                directed to agency decisionmakers.
                     Allowing an agency to rest its decision on purely
                legal grounds and yet avoid judicial review has the op-
                posite effect: insulating the agency decisionmaker
                from accountability—and responsibility. Even if the
                agency’s legal justification is patently incorrect, the
                agency would be able to shift responsibility to Con-
                gress by asserting a lack of legal authority. And citi-
                zens who oppose the decision would blame Congress
                for failing to act rather than the agency decisionmak-
                ers.
                    Third, a statute relating to judicial review in the
                immigration context provides additional support for
                this conclusion.
                    That provision, 8 U.S.C. § 1252(g), states that,
                subject to certain exceptions, “no court shall have ju-
                risdiction to hear any cause or claim by or on behalf of
                any alien arising from the decision or action by the
                Attorney General to commence proceedings, adjudi-
                cate cases, or execute removal orders against any al-
                ien under this chapter.”
                   The government contended below that Section
                1252(g) precluded judicial review here—but it has




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                abandoned that argument. U.S. Br. 20. In fact, the
                provision bolsters the argument in favor of judicial re-
                view.
                    This Court explained in Reno v. American Arab
                Anti-Discrimination Committee, 525 U.S. 471 (1999)
                (AAADC), that Section 1252(g) “applies only to three
                discrete actions that the Attorney General may take:
                her ‘decision or action’ to ‘commence proceedings, ad-
                judicate cases, or execute removal orders.’” Id. at 482;
                see also id. at 485 (stating that § 1252(g) was “de-
                signed to give some measure of protection to ‘no de-
                ferred action’ decisions and similar discretionary de-
                terminations” (emphasis added)); Jennings v. Rodri-
                guez, 138 S. Ct. 830, 841 (2018) (plurality op.).
                     Section 1252(g) thus reflects the distinction be-
                tween fact-specific exercises of discretion in the con-
                text of an individual proceeding and other types of de-
                cisions, as this Court and the lower courts have recog-
                nized.72 Congress focused specifically on enforcement-
                related exercises of discretion in the immigration con-
                text and specifically did not exclude from judicial re-
                view broad policy pronouncements based entirely on


                72 See, e.g., INS v. St. Cyr, 533 U.S. 289, 293 & 311 n.34 (2001)

                (§ 1252(g) did not apply to challenge to “Attorney General[’s] in-
                terpret[ation]” of statutes); Texas v. United States, 809 F.3d 134,
                165 (5th Cir. 2015) (§ 1252(g) did not apply to challenge to
                DAPA); Barahona-Gomez v. Reno, 236 F.3d 1115, 1118-19 (9th
                Cir. 2001) (§ 1252(g) did not apply to challenge to directives is-
                sued by the BIA Chairman and the Chief Immigration Judge
                that were based on legal interpretations); Bowrin v. INS, 194
                F.3d 483, 488 (4th Cir. 1999) (“§ 1252(g) does not apply to agency
                interpretations of statutes”); Fornalik v. Perryman, 223 F.3d 523,
                532 (7th Cir. 2000) (habeas petition filed before INS filed initial
                filing in removal case was not request for “relief from a decision
                to commence proceedings”).




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                an agency’s legal determination. That congressional
                determination supports review here.
                    In sum, the particular characteristics of this deci-
                sion combine to place it clearly within the category of
                agency actions subject to judicial review.
                    In this unusual context, there is no basis for dis-
                regarding the “strong” and “well-settled” presumption
                favoring review of executive determinations. Mach
                Mining, LLC v. EEOC, 135 S. Ct. 1645, 1651 (2015);
                Kucana v. Holder, 558 U.S. 233, 241 (2010).
                    B. The Rescission Decision Must Be Set
                       Aside.
                    The decision to rescind DACA rested on a legal de-
                termination: DHS’s conclusion that the program ex-
                ceeded the agency’s statutory authority. Because that
                conclusion constituted a change in position—the gov-
                ernment had previously stated that DACA was law-
                ful—DHS was required to provide “a reasoned expla-
                nation for the change” in position. Encino Motorcars,
                LLC v. Navarro, 136 S. Ct. 2117, 2125 (2016). Failure
                to explain a change in agency policy “‘is a reason for
                holding an interpretation to be an arbitrary and capri-
                cious change.’” Id. at 2126 (citation omitted).
                     Even if the explanation were adequate, the rescis-
                sion must be set aside if the agency’s legal analysis is
                wrong. SEC v. Chenery Corp., 318 U.S. 80, 94 (1943)
                (“[I]f the [agency] action is based upon a determina-
                tion of law * * *, an order may not stand if the agency
                has misconceived the law.”); Yale-New Haven Hosp. v.
                Leavitt, 470 F.3d 71, 86 (2d Cir. 2006); Safe Air For
                Everyone v. EPA, 488 F.3d 1088, 1101 (9th Cir. 2007);
                Transitional Hosps. Corp. of La. v. Shalala, 222 F.3d
                1019, 1029 (D.C. Cir. 2000).




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                    The rescission decision must be vacated for both
                reasons: DHS failed to provide an adequate explana-
                tion for its change in policy and it erred in determin-
                ing that DACA is beyond the Executive Branch’s legal
                authority.
                    To begin with, as Judge Bates explained in detail
                in two opinions (see 18-588 Pet. App 1a-74a & 80a-
                109a), the “scant legal reasoning” set forth by DHS
                “was insufficient to satisfy the Department’s obliga-
                tion to explain its departure from its prior stated view
                that DACA was lawful.” Id. at 51a.
                    Moreover, “[t]he Department’s failure to give an
                adequate explanation * * * was particularly egregious
                here in light of the reliance interests involved”—be-
                cause the program had been in place for five years
                “and had engendered the reliance of hundreds of thou-
                sands of beneficiaries, many of whom had structured
                their education, employment, and other life activities
                on the assumption that they would be able to renew
                their DACA benefits.” Id. at 54a. Citing Encino Motor-
                cars, Judge Bates stated that “[t]he Supreme Court
                has set aside changes in agency policy for failure to
                consider reliance interests that pale in comparison to
                the ones at stake here.” Id. at 54a-55a.
                   Even if DHS’s explanation could be deemed ade-
                quate, the Department’s legal analysis is wrong: the
                DACA program falls well within the Executive
                Branch’s particular legal authority with respect to im-
                migration for several related reasons.
                    First, Congress has broadly authorized the De-
                partment of Homeland Security to exercise discretion,
                including to “[e]stablish[] national immigration en-
                forcement policies and priorities”—which is precisely
                what the DACA program does. 6 U.S.C. § 202(5); see




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                also 8 U.S.C. § 1103(a)(1) (charging the Secretary
                with the “administration and enforcement” of the im-
                migration laws); id. § 1103(a)(3) (authority to “per-
                form such other acts as he deems necessary for carry-
                ing out his authority” under the immigration laws);
                H.R. Rep. No. 111-157, at 8 (2009) (“rather than
                simply rounding up as many illegal immigrants as
                possible, which is sometimes achieved by targeting
                the easiest and least threatening among the undocu-
                mented population, DHS must ensure that the gov-
                ernment’s huge investments in immigration enforce-
                ment are producing the maximum return in actually
                making our country safer”).
                    Second, granting “deferred action” is a long-estab-
                lished administrative practice expressly recognized by
                this Court and by Congress.
                    The government recognizes that “[a]s a practical
                matter, * * * the Executive Branch lacks the resources
                to remove every removable alien,” and “[f]or any alien
                subject to removal, DHS officials must first ‘decide
                whether it makes sense to pursue removal at all.’”
                U.S. Br. 4 (quoting Arizona v. United States, 567 U.S.
                387, 396 (2012)). For that reason, Presidents since
                1956 have implemented formal programs deferring
                government action to remove individuals present in
                the United States—thereby enabling over two million
                otherwise-removable aliens to remain temporarily in
                the country.
                    In the 1950s, President Eisenhower authorized
                the admission of (“paroled”) almost 1,000 foreign-born
                children into the United States; and he and Presi-




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                dents Kennedy, Johnson, and Nixon later paroled an-
                other 600,000 Cubans.73 In the 1970s and 1980s, the
                Ford and Carter Administrations granted “extended
                voluntary departure,” which “temporarily sus-
                pend[ed] enforcement” of deportation, to “particular
                group[s]” of immigrants.74
                     The Reagan Administration introduced the “Fam-
                ily Fairness” program, which deferred removal actions
                against minor children whose parents were in the pro-
                cess of obtaining legal status but who did not them-
                selves qualify for legal status.75 President George
                H.W. Bush then extended the program in 1990 to
                cover qualified spouses.76 And on at least four addi-
                tional occasions, immigration officials have extended
                deferred action to specified classes of individuals.77


                73 See President Dwight Eisenhower, Statement Concerning the

                Entry Into the United States of Adopted Foreign-Born Orphans
                (Oct. 26, 1956), https://goo.gl/BkztnZ; American Immigration
                Council, Executive Grants of Temporary Immigration Relief,
                1956-Present (Oct. 2014), https://goo.gl/Q87gqn.
                74 Hotel & Rest. Emps. Union, Local 25 v. Smith, 846 F.2d 1499,

                1510 (D.C. Cir. 1988) (en banc); Andorra Bruno et al., CRS, Anal-
                ysis of June 15, 2012 DHS Memorandum, Exercising Prosecuto-
                rial Discretion with Respect to Individuals Who Came to the
                United States as Children App’x (July 13, 2012),
                https://goo.gl/deiGYz.
                75 Alan Nelson, Legalization and Family Fairness: An Analysis

                (Oct. 21, 1987), in 64 No. 41 Interpreter Releases 1191 app. I.
                76 Mem.   from Gene McNary, Comm’r, INS, to Reg’l Comm’rs,
                Family Fairness: Guidelines for Voluntary Departure under 8
                CFR 242.5 for the Ineligible Spouses and Children of Legalized
                Aliens (Feb. 2, 1990), in 67 No. 6 Interpreter Releases 153, app.
                I, at 164-65 (Feb. 5, 1990).
                77 See, e.g., Mem. from Paul Virtue, INS, Supplemental Guidance

                on Battered Alien Self-Petitioning Process and Related Issues at




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                    In view of that long history, it is not surprising
                that this Court itself has recognized the “regular prac-
                tice” of “deferred action.” AAADC, 525 U.S. at 483-85.
                    Most importantly, Congress has enacted statutes
                expressly recognizing that authority. As the govern-
                ment itself recognizes (U.S. Br. 43), Congress has on
                several occasions recognized the legal authority to
                grant deferred action by expressly expanding deferred
                action to certain categories of individuals and by au-
                thorizing States to issue driver’s licenses to immi-
                grants with “approved deferred action status.” 49
                U.S.C. § 30301 note.
                    Given this long historical practice and express
                congressional recognition, it is plain that the Execu-
                tive Branch has broad authority to grant deferred ac-
                tion.
                    Third, permitting deferred action recipients to ob-
                tain work authorization has a similarly lengthy pedi-
                gree.
                    A regulation promulgated in the 1980s provides
                that individuals who receive deferred action are eligi-
                ble to apply for work authorization. See 8 C.F.R.
                § 274a.12(c)(14). That regulation codified the already-


                3 (May 6, 1997), 74 No. 41 Interpreter Releases 962 app. I; U.S.
                Citizenship & Immigration Servs. (USCIS), Interim Relief for
                Certain Foreign Academic Students Adversely Affected by Hurri-
                cane Katrina: Frequently Asked Questions (FAQ) 1, 7 (Nov. 25,
                2005), https://tinyurl.com/y68s86cy; Mem. from Michael D.
                Croning, INS, for Michael A. Pearson, INS, VTVPA Policy Mem-
                orandum #2—“T” and “U” Nonimmigrant Visas (Aug. 30, 2001),
                https://tinyurl.com/yxpztydf; Mem. from Donald Neufeld,
                USCIS, Guidance Regarding Surviving Spouses of Deceased U.S.
                Citizens     and    Their    Children    (June    15,    2009),
                https://goo.gl/SHaCVZ.




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                existing practice and procedure of granting employ-
                ment authorization to such individuals. See Proposed
                Rules for Employment Authorization for Certain Al-
                iens, 44 Fed. Reg. 43,480 (July 25, 1979). And in the
                almost forty years since, Congress has declined to
                limit this practice in any way.
                    To the contrary, in the face of a challenge to the
                Attorney General’s authority to grant work authoriza-
                tions to individuals who have been granted deferred
                action (see Employment Authorization, 51 Fed. Reg.
                39,385 (Oct. 28, 1986)), Congress ratified the Attorney
                General’s authority, enacting a law prohibiting em-
                ployers from hiring unauthorized aliens, but expressly
                excluded from that category individuals “authorized
                to be so employed by * * * the Attorney General.” 8
                U.S.C. § 1324a(h)(3).
                    In sum, the broad discretionary authority con-
                ferred on the Executive Branch in this immigration
                context, the long history of administrative grants of
                both deferred action and work authorization, and
                Congress’s express recognition of that practice estab-
                lish that DACA falls within the legal authority avail-
                able to the Executive Branch.
                                   CONCLUSION
                   The judgments of the Court of Appeals for the
                Ninth Circuit and the District Court for the District of




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                Columbia, and orders of the District Court for the
                Eastern District of New York should be affirmed.
                    Respectfully submitted.
                                        ANDREW J. PINCUS
                                         Counsel of Record
                                         Mayer Brown LLP
                                         1999 K Street, NW
                                         Washington, DC 20006
                                         (202) 263-3000
                                         apincus@mayerbrown.com

                                        KAREN W. LIN
                                         Mayer Brown LLP
                                         1221 Avenue of the
                                            Americas
                                         New York, NY 10020
                                         (212) 506-2500

                                        Counsel for Amici Curiae



                 OCTOBER 2019




                                                                           AR5002
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                                       1a
                                  APPENDIX A
                            LIST OF AMICI CURIAE
                 Business Associations

                 1.    American Hotel & Lodging Association

                 2.    BSA | The Software Alliance

                 3.    Chamber of Commerce of the United

                       States of America

                 4.    HR Policy Association

                 5.    Information Technology Industry

                       Council

                 6.    National Association of Manufacturers

                 7.    National Association of State Latino

                       Chambers of Commerce

                 8.    National Retail Federation

                 9.    North Texas Commission

                 10.   Philadelphia Area Cooperative Alliance




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                                       2a
                 11.   Retail Industry Leaders Association

                 12.   Semiconductor Industry Association

                 13.   Software and Information Industry

                       Association

                 14.   Sustainable Business Network of

                       Greater Philadelphia

                 15.   Tech:NYC

                 16.   TechNet

                 17.   Texas Association of Business

                 18.   Vail Valley Partnership




                                                                           AR5004
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                                       3a


                Individual Companies

                1.    A Medium Corporation

                2.    Adobe Systems Incorporated

                3.    Affirm, Inc.

                4.    Airbnb, Inc.

                5.    Akamai Technologies, Inc.

                6.    Amazon.com, Inc.

                7.    Ampush LLC

                8.    Asana, Inc.

                9.    Aspen Skiing Company, LLC

                10.   Atlassian Corp. Plc

                11.   Autodesk, Inc.

                12.   Azavea Inc.

                13.   Ben & Jerry's Homemade, Inc.

                14.   Berry Appleman & Leiden LLP




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                                         4a
                15.   Best Buy, Inc.

                16.   Box, Inc.

                17.   Braze, Inc.

                18.   Brightcove Inc.

                19.   CareZone Inc.

                20.   Checkr, Inc.

                21.   Chegg, Inc.

                22.   Chobani, LLC

                23.   Cisco Systems Inc.

                24.   Citrix Systems, Inc.

                25.   Civis Analytics, Inc.

                26.   Cloudera, Inc.

                27.   Cloudflare, Inc.

                28.   Codecademy

                29.   Color Genomics, Inc.




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                                       5a
                30.   Columbia Group LLP

                31.   Cummins Inc.

                32.   DoorDash

                33.   Driscoll's

                34.   Dropbox, Inc.

                35.   eBay Inc.

                36.   Ernst & Young LLP

                37.   Exelon Corp.

                38.   Facebook, Inc.

                39.   Fastly, Inc.

                40.   Foossa

                41.   Foursquare Labs, Inc.

                42.   Gap Inc.

                43.   General Assembly Space, Inc. DBA

                      General Assembly




                                                                           AR5007
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                                        6a
                44.   Golden Door Scholars

                45.   Google LLC

                46.   Graham Holdings Company

                47.   Greenough Consulting Group

                48.   Hewlett Packard Enterprise

                49.   Hilton Worldwide Holdings Inc.

                50.   HMS Holdings Corp.

                51.   Host Hotels and Resorts, Inc.

                52.   HP Inc.

                53.   IBC Bank

                54.   IBM Corporation

                55.   IKEA North American Services, LLC

                56.   Imgur, Inc.

                57.   Indiegogo, Inc.

                58.   Intel Corporation




                                                                           AR5008
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                                       7a
                59.   JAND, Inc. d/b/a Warby Parker

                60.   Kickstarter, PBC

                61.   Knotel

                62.   Lam Research Corporation

                63.   Levi Strauss & Co.

                64.   Linden Research, Inc. d/b/a Linden Lab

                65.   Lydecker Diaz

                66.   Lyft, Inc.

                67.   Mapbox

                68.   Marriott International, Inc.

                69.   Medidata Solutions, Inc.

                70.   Molecule Software, Inc.

                71.   MongoDB, Inc.

                72.   MPOWERD Inc.

                73.   Netflix, Inc.




                                                                           AR5009
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                                         8a
                74.   NETGEAR, Inc.

                75.   NewsCred, Inc.

                76.   Niskanen Center

                77.   Okta, Inc.

                78.   OpenAI, LLC

                79.   Patreon, Inc.

                80.   PayPal Holdings, Inc.

                81.   Pinterest, Inc.

                82.   Planet Labs Inc.

                83.   Postmates

                84.   RealNetworks, Inc.

                85.   Red Ventures

                86.   Rippling

                87.   Salesforce.com, Inc.

                88.   Scopely, Inc.




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                                         9a
                89.   ServiceNow

                90.   Shutterstock, Inc.

                91.   Space Exploration Technologies Corp.

                92.   Spokeo, Inc.

                93.   SpotHero, Inc.

                94.   Spotify USA Inc.

                95.   Square, Inc.

                96.   Squarespace, Inc.

                97.   Starbucks Coffee Company

                98.   Strava, Inc.

                99.   SurveyMonkey Inc.

                100. Tampa Bay Tech

                101. Target

                102. TaskRabbit, Inc.

                103. Tesla, Inc.




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                                      10a
                104. The Nielsen Company

                105. Thumbtack, Inc.

                106. TNTP, Inc.

                107. TPG Capital

                108. TransferWise Inc.

                109. TripAdvisor LLC

                110. Turner Morris, Inc.

                111. Turo Inc.

                112. Twitter Inc.

                113. Uber Technologies, Inc.

                114. Univision Communications Inc.

                115. Upwork Inc.

                116. Verizon Communications Inc.

                117. Via Transportation, Inc.

                118. Western Union




                                                                           AR5012
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                                      11a
                119. Work & Co.

                120. Workday, Inc.

                121. Y Combinator Management, LLC

                122. Year Up

                123. Yelp Inc.

                124. Zendesk, Inc.

                125. ZenPayroll, Inc. d/b/a Gusto




                                                                           AR5013
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                             Nos. 18-587, 18-588, and 18-589

                                           IN THE
                         Supreme Court of the United States
                                    ___________
                        DEPARTMENT OF HOMELAND SECURITY, ET AL.,
                                                                 Petitioners,
                                           v.
                      REGENTS OF THE UNIVERSITY OF CALIFORNIA, ET AL.,
                                                               Respondents.
                                          ___________
                          On Writ of Certiorari to the United States
                           Court of Appeals for the Ninth Circuit
                                          ___________
                  DONALD J. TRUMP, PRESIDENT OF THE UNITED STATES, ET AL.,
                                                                Petitioners,
                                            v.
                  NATIONAL ASSOCIATION FOR THE ADVANCEMENT OF COLORED
                                      PEOPLE, ET AL.,
                                                              Respondents.
                                          ___________
                  On Writ of Certiorari Before Judgment to the United States
                     Court of Appeals for the District of Columbia Circuit
                                          ___________
                   KEVIN K. MCALEENAN, ACTING SECRETARY OF HOMELAND
                                   SECURITY, ET AL.,
                                                                Petitioners,
                                           v.
                         MARTIN JONATHAN BATALLA VIDAL, ET AL.,
                                                             Respondents.
                                          ___________
                  On Writ of Certiorari Before Judgment to the United States
                            Court of Appeals for the Second Circuit
                                          ___________
                  BRIEF OF CURRENT MEMBERS OF CONGRESS AND
                  BIPARTISAN FORMER MEMBERS OF CONGRESS AS
                    AMICI CURIAE IN SUPPORT OF RESPONDENTS
                                          ___________
                                         ELIZABETH B. WYDRA
                                         BRIANNE J. GOROD*
                                         BRIAN R. FRAZELLE
                                         DAYNA J. ZOLLE**
                                         CONSTITUTIONAL
                                           ACCOUNTABILITY CENTER
                                         1200 18th Street NW
                                           Suite 501
                                         Washington, D.C. 20036
                                         (202) 296-6889
                                         brianne@theusconstitution.org
                                  Counsel for Amici Curiae
                October 4, 2019      * Counsel of Record
                                     ** Not admitted in D.C.; supervised by
                                     principals of the firm




                                                                                AR5014
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                                                1
                           INTEREST OF AMICI CURIAE1
                  Amici are a bipartisan group of current and former
                members of the U.S. Senate and House of Representa-
                tives, many of whom served when key components of
                the nation’s immigration laws, including provisions
                pertinent to these cases, were drafted, debated, and
                passed. Based on their experience serving in Con-
                gress, amici understand that the nation’s immigration
                laws, including the Immigration and Nationality Act
                (INA), 8 U.S.C. § 1101 et seq., delegate significant dis-
                cretion to the executive branch to interpret and admin-
                ister those laws, including by setting rational
                enforcement priorities and providing guidance to field
                officials to implement those priorities. Moreover,
                amici know that administrations of both major politi-
                cal parties have for decades exercised that discretion
                to grant undocumented immigrants deferred action,
                on both an ad hoc basis and by establishing categorical
                threshold criteria for deferral, and Congress has con-
                sistently approved of these exercises of executive dis-
                cretion. Where Congress has chosen to vest the
                executive with authority to determine how a law
                should be enforced, and the executive has acted pursu-
                ant to that authority—as was the case with the De-
                ferred Action for Childhood Arrivals (DACA) policy—
                amici have an interest in ensuring that courts honor
                Congress’s deliberate choice. Amici therefore have a
                substantial interest in ensuring that this Court

                    1 The parties have consented to the filing of this brief, and

                their letters of consent have been filed with the Clerk. Under
                Rule 37.6 of the Rules of this Court, amici state that no counsel
                for a party authored this brief in whole or in part, and no counsel
                or party made a monetary contribution intended to fund the prep-
                aration or submission of this brief. No person other than amici
                or their counsel made a monetary contribution to its preparation
                or submission.




                                                                                      AR5024
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                                           2
                recognize that DACA was a permissible exercise of the
                broad discretion that Congress has accorded the exec-
                utive branch, and that the rescission of DACA on the
                ground that it was unlawful therefore violated the Ad-
                ministrative Procedure Act (APA), 5 U.S.C. § 551 et
                seq.
                             INTRODUCTION AND
                           SUMMARY OF ARGUMENT
                    Because immigration is a complex and dynamic
                field, Congress has long conferred significant discre-
                tion on the executive branch to implement the nation’s
                immigration laws. Effectuating that discretion, ad-
                ministrations of both major political parties have for
                decades granted undocumented immigrants deferred
                action, both on an ad hoc basis and by establishing cat-
                egorical threshold criteria for deferral. This Court has
                recognized that such grants of deferred action are “a
                regular practice” that the executive branch engages in
                “for humanitarian reasons or simply for its own con-
                venience.” Reno v. Am.-Arab Anti-Discrimination
                Comm., 525 U.S. 471, 483-84 (1999) (AADC). Moreo-
                ver, Congress has repeatedly taken affirmative steps
                that demonstrate its ratification of, and reliance on,
                these exercises of executive discretion, including pass-
                ing legislation that presumes that the executive will
                continue to grant deferred action or that expressly di-
                rects the executive to continue doing so.
                    Consistent with these past exercises of discretion,
                the Department of Homeland Security in 2012 estab-
                lished DACA, which authorized the temporary de-
                ferred removal of “certain young people who were
                brought to this country as children and know only this




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                country as home.” Pet. App. 97a-98a.2 In 2017, the
                current Administration ended DACA, citing its sup-
                posed “legal and constitutional defects.” J.A. 878.
                    Contrary to the Administration’s contentions when
                it rescinded the policy, DACA was a permissible exer-
                cise of the broad discretion that Congress conferred on
                the executive branch to implement the federal immi-
                gration laws. See, e.g., 8 U.S.C. § 1103(a)(3) (authoriz-
                ing the Secretary of Homeland Security to “establish
                such regulations; . . . issue such instructions; and per-
                form such other acts as he deems necessary for carry-
                ing out his authority” under the INA); 6 U.S.C.
                § 202(5) (directing the Secretary to “[e]stablish[] na-
                tional immigration enforcement policies and priori-
                ties”). DACA was also consistent with the immigration
                enforcement priorities that the executive branch had
                established, and the Department of Justice’s Office of
                Legal Counsel (OLC) advised before DACA’s imple-
                mentation that it would be lawful, provided that it re-
                quired review on a case-by-case basis, J.A. 827 n.8—
                which it expressly did, Pet. App. 99a.
                   DACA was also a sensible response to the impera-
                tives and realities of law enforcement: the immigration
                laws make a substantial number of noncitizens remov-
                able, but Congress has not provided sufficient re-
                sources to effectuate the removal of more than a small
                fraction of the nation’s undocumented immigrants. In-
                stead, Congress has reasonably permitted the execu-
                tive branch to determine the nation’s immigration
                enforcement priorities.
                   Indeed, many members of Congress specifically

                   2 “Pet. App.” and “Supp. Pet. App.” refer to the appendices ac-

                companying the original and supplemental petitions for certio-
                rari, respectively, in DHS v. Regents of the University of
                California, No. 18-587.




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                called for the executive to exercise discretion regarding
                certain young people who were brought to the United
                States as children, and many members of Congress
                subsequently praised DACA’s implementation. And
                although bipartisan efforts to enact new legislation ex-
                tending broader rights and protections to certain im-
                migrants who were brought to the United States as
                children have thus far failed, see Pet’rs Br. 5 & n.2, as
                have numerous congressional efforts to defund or ter-
                minate DACA, these facts have no bearing on the le-
                gality of DACA itself. The legislative proposals that
                Congress has considered were not remotely coexten-
                sive with DACA: Under DACA, grants of deferred ac-
                tion may be terminated at any time and confer no
                substantive rights or immigration status, J.A. 827,
                whereas the legislative proposals that Congress has
                considered would have provided more permanent and
                wide-ranging protections and benefits, and they would
                have extended these protections to a broader class of
                individuals. DACA was a valid exercise of the broad
                discretion that Congress has delegated to the execu-
                tive branch, regardless of whether Congress chooses to
                provide greater long-term protections for DACA recip-
                ients (or others) through new legislation.
                    Accordingly, the Administration’s decision to re-
                scind DACA on the ground that it was unlawful was
                “arbitrary, capricious, an abuse of discretion, or other-
                wise not in accordance with law,” in violation of the
                APA. 5 U.S.C. § 706(2)(A). Although Petitioners now
                offer multiple explanations for DACA’s rescission, see,
                e.g., Pet’rs Br. 15, those post hoc explanations are ir-
                relevant. At the time that it terminated DACA, the
                Administration made clear that it was doing so be-
                cause it had concluded that the policy was unlawful.
                See J.A. 877. The Administration also asserted that,
                if challenged in court, DACA would meet the same fate




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                as the Deferred Action for Parents of Americans and
                Lawful Permanent Residents (DAPA) policy, which
                the Fifth Circuit enjoined in a decision this Court af-
                firmed by an equally divided vote. Id. at 878; see Texas
                v. United States, 809 F.3d 134 (5th Cir. 2015), aff’d by
                an equally divided Court, 136 S. Ct. 2271 (2016) (per
                curiam). The Administration reached this conclusion
                even though DACA is materially distinguishable from
                DAPA. Accordingly, this Court should hold that the
                decision to terminate DACA—a policy that lawfully
                and laudably deferred removal on a case-by-case basis
                of certain persons who were brought to the United
                States as children and who met other qualifications—
                on the ground that this effort was unlawful and con-
                travened the APA.
                                    ARGUMENT
                DACA WAS A LAWFUL EXERCISE OF EXECU-
                TIVE DISCRETION, AND ITS RESCISSION ON
                THE GROUND THAT IT WAS UNLAWFUL
                THEREFORE VIOLATED THE APA.
                I.   DACA WAS A VALID EXERCISE OF EXECU-
                     TIVE AUTHORITY.
                     A. Congress Has Long Conferred Significant
                        Discretion on the Executive Branch.
                    As amici know from their time serving in Congress,
                it is impossible for Congress to anticipate every situa-
                tion to which legislation must apply. This fact is par-
                ticularly true in a complex and dynamic context like
                immigration, as demographic, social, and political
                changes at home and abroad can cause abrupt and
                substantial changes in immigration patterns. This
                Court has recognized that the field of immigration is
                “vitally and intricately interwoven with . . . the con-
                duct of foreign relations,” Harisiades v. Shaughnessy,
                342 U.S. 580, 588-89 (1952), a sphere that falls largely




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                within the executive branch’s purview. See INS v.
                Chadha, 462 U.S. 919, 954 (1983); Arizona v. United
                States, 567 U.S. 387, 394-95 (2012) (noting that the
                federal government’s authority over immigration
                “rests, in part, on the National Government’s . . . in-
                herent power as sovereign to control and conduct rela-
                tions with foreign nations”); Medellin v. Texas, 554
                U.S. 759, 765 (2008) (Breyer, J., dissenting) (acknowl-
                edging the “President’s responsibility for foreign af-
                fairs”).
                    Reflecting these considerations, Congress has long
                recognized that the executive branch must have dis-
                cretion to determine how best to enforce the nation’s
                immigration laws by “balancing . . . factors which are
                peculiarly within its expertise,” Heckler v. Chaney, 470
                U.S. 821, 831 (1985), including foreign relations, hu-
                manitarian considerations, and national security con-
                cerns. Accordingly, Congress has repeatedly conferred
                authority on executive branch officials to exercise dis-
                cretion in enforcing the federal immigration laws. See
                Pet’rs Br. 16 (“Decisions about how the government
                will exercise enforcement discretion within the bounds
                of the law are uniquely entrusted to the Executive
                Branch.”). Indeed, as far back as 1959, a key immigra-
                tion law textbook reported that “Congress tradition-
                ally has entrusted the enforcement of its deportation
                policies to executive officers, and this arrangement has
                been approved by the courts.” Charles Gordon &
                Harry N. Rosenfield, Immigration Law and Procedure
                406 (1959); see Andorra Bruno et al., Cong. Research
                Serv., Analysis of June 15, 2012 DHS Memorandum,
                Exercising Prosecutorial Discretion with Respect to
                Individuals Who Came to the United States as Chil-
                dren 5 & n.18 (July 13, 2012) [hereinafter CRS Analy-
                sis of DHS Memorandum].




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                    In particular, Congress has, for more than sixty
                years, authorized the Secretary of Homeland Security
                (previously the Attorney General) to “establish such
                regulations; . . . issue such instructions; and perform
                such other acts as he deems necessary for carrying out
                his authority” under the INA, 8 U.S.C. § 1103(a)(3),
                which charges him “with the administration and en-
                forcement” of the nation’s immigration laws, id.
                § 1103(a)(1). Moreover, in recognizing a growing gap
                between the size of the unauthorized immigrant popu-
                lation and the resources reasonably available for en-
                forcement, Congress directed the Secretary of
                Homeland Security in the Homeland Security Act of
                2002 to “[e]stablish[] national immigration enforce-
                ment policies and priorities.” 6 U.S.C. § 202(5). These
                and other provisions in our federal immigration laws
                “delegat[e] tremendous authority to the President to
                set immigration screening policy.” Adam B. Cox &
                Cristina M. Rodríguez, The President and Immigra-
                tion Law, 119 Yale L.J. 458, 463 (2009). At a mini-
                mum, these provisions of federal immigration law
                authorize the executive to define enforcement and re-
                moval priorities. See J.A. 831 (“The practice of grant-
                ing deferred action, like the practice of setting
                enforcement priorities, is an exercise of enforcement
                discretion rooted in DHS’s authority to enforce the im-
                migration laws and the President’s duty to take care
                that the laws are faithfully executed.”).
                    Indeed, this Court has repeatedly recognized that
                Congress has conferred broad discretion on the execu-
                tive branch in the immigration context, observing that
                “[a] principal feature of the removal system is the
                broad discretion exercised by immigration officials”
                and that “[f]ederal officials, as an initial matter, must
                decide whether it makes sense to pursue removal at
                all.” Arizona, 567 U.S. at 396; see AADC, 525 U.S. at




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                483 (“At each stage” of removal, “the Executive has dis-
                cretion to abandon the endeavor.”). This Court has
                also recognized that the executive branch’s broad dis-
                cretion allows its officers to consider many factors in
                deciding when removal is appropriate, including both
                “immediate human concerns” and “foreign policy” mat-
                ters. Arizona, 567 U.S. at 396-97; Jama v. ICE, 543
                U.S. 335, 348 (2005) (“Removal decisions . . . ‘may im-
                plicate our relations with foreign powers’ and require
                consideration of ‘changing political and economic cir-
                cumstances.’” (quoting Mathews v. Diaz, 426 U.S. 67,
                81 (1976))). And this Court has noted that executive
                grants of deferred action in particular have become “a
                regular practice” and a “commendable exercise in ad-
                ministrative discretion.” AADC, 525 U.S. at 483-84 (ci-
                tation and internal quotation marks omitted).
                    Congress’s delegation of this discretion to the exec-
                utive branch is, in fact, essential: while the immigra-
                tion laws make a substantial number of noncitizens
                removable, Congress has not appropriated the funds
                necessary to effectuate such a mass removal—indeed,
                it has never come close to providing such vast re-
                sources. See Cox & Rodríguez, supra, at 463 (explain-
                ing that Congress has made a “huge fraction of
                noncitizens deportable at the option of the Executive”);
                Memorandum from John Morton, Dir., Immigration &
                Customs Enforcement (ICE), to All ICE Employees,
                Civil Immigration Enforcement: Priorities for the Ap-
                prehension, Detention, and Removal of Aliens 1 (Mar.
                2, 2011) [hereinafter Morton Prioritization Memoran-
                dum] (estimating that ICE has enough resources to de-
                port less than 4 percent of the undocumented-
                immigrant population each year). In other words,
                given the large population of undocumented immi-
                grants in the United States and the limited resources
                available to enforce the nation’s immigration laws—




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                even as appropriations for enforcement have reached
                particularly high levels, see Doris Meissner & Julia
                Gelatt, Migration Policy Inst., Eight Key U.S. Immi-
                gration Policy Issues: State of Play and Unanswered
                Questions 1 (May 2019) (“[T]he United States is spend-
                ing 34 percent more on immigration enforcement than
                on all other principal federal criminal law enforcement
                agencies combined.”)—the government cannot possi-
                bly remove everyone who is eligible for removal.
                     Accordingly, the executive branch necessarily must
                exercise substantial discretion in determining who
                should be removed consistent with the nation’s “immi-
                gration enforcement policies and priorities.” 6 U.S.C.
                § 202(5); see Mistretta v. United States, 488 U.S. 361,
                372 (1989) (“[I]n our increasingly complex society,
                . . . Congress simply cannot do its job absent an ability
                to delegate power under broad general directives.”).
                Even Petitioners recognize that, “[a]s a practical mat-
                ter, . . . the Executive Branch lacks the resources to re-
                move every removable alien, and a ‘principal feature of
                the removal system is the broad discretion exercised
                by immigration officials.’” Pet’rs Br. 4 (quoting Ari-
                zona, 567 U.S. at 396).
                    Moreover, the discretion Congress has conferred on
                the executive branch to implement the immigration
                laws is not limited to decisions related to removal. To
                the contrary, Congress has also specifically given the
                executive branch significant authority over which per-
                sons are entitled to work in the United States. For ex-
                ample, the Immigration Reform and Control Act of
                1986 (IRCA) defines an “unauthorized alien” not enti-
                tled to work in the United States as an alien who is
                neither a lawful permanent resident nor “authorized
                to be . . . employed by [the INA] or by the Attorney Gen-
                eral [now the Secretary of Homeland Security].” 8
                U.S.C. § 1324a(h)(3) (emphasis added); see Pub. L. No.




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                99-603, 100 Stat. 3359, 3368 (1986). Thus, whether
                deferred action recipients can apply for work authori-
                zation “depend[s] on independent and more specific
                statutory authority rooted in the text of the INA,” J.A.
                833, and falls within the executive’s discretion.
                    To be sure, executive discretion in the immigration
                context is not unlimited, and Congress remains free to
                “limit an agency’s exercise of enforcement power if it
                wishes, either by setting substantive priorities, or by
                otherwise circumscribing an agency’s power to dis-
                criminate among issues or cases it will pursue.”
                Chaney, 470 U.S. at 833. Congress has, for instance,
                directed the Secretary of Homeland Security to “prior-
                itize the identification and removal of aliens convicted
                of a crime by the severity of that crime.” Department
                of Homeland Security Appropriations Act, Pub. L. No.
                114-4, 129 Stat. 39, 43 (2015). But Congress has never
                sought to define enforcement priorities in such detail
                that the executive could not exercise its own judgment
                at all, nor has it sought to enumerate all the circum-
                stances in which a noncitizen may receive a given ac-
                commodation. Accordingly, this Court has observed
                that, when it comes to immigration, “[i]t is not neces-
                sary that Congress supply administrative officials
                with a specific formula for their guidance in a field
                where flexibility and the adaptation of the congres-
                sional policy to infinitely variable conditions constitute
                the essence of the program.” United States ex rel.
                Knauff v. Shaughnessy, 338 U.S. 537, 543 (1950) (quot-
                ing Lichter v. United States, 334 U.S. 742, 785 (1948)).
                   In short, through the INA and other legislation,
                Congress has intentionally given the executive branch
                broad discretion to rationally decide how best to imple-
                ment the nation’s immigration laws. See Supp. Pet.
                App. 8a-9a.




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                   B. The Executive Branch Has Long Exercised
                      This Broad Discretion with Congress’s
                      Affirmative Approval.
                    The executive has long exercised its broad discre-
                tion in the immigration context by implementing poli-
                cies involving deferred action and similar forms of
                discretionary relief, and Congress has affirmatively
                approved of, and relied on, those practices. “Since at
                least the 1970s, immigration authorities in the United
                States have sometimes exercised their discretion to
                grant temporary reprieves from removal to non-U.S.
                nationals . . . .” Ben Harrington, Cong. Research
                Serv., R45158, An Overview of Discretionary Reprieves
                from Removal: Deferred Action, DACA, TPS, and Oth-
                ers, at i (Apr. 10, 2018) [hereinafter CRS Overview].
                As this Court has recognized, “[t]his commendable ex-
                ercise in administrative discretion, developed without
                express statutory authorization, originally was known
                as nonpriority and is now designated as deferred ac-
                tion.” AADC, 525 U.S. at 484 (citation and internal
                quotation marks omitted); see CRS Overview at 15
                (noting that “[p]rior to 1975, immigration authorities
                used the term ‘nonpriority status’ to describe the type
                of reprieve now labeled deferred action”); Supp. Pet.
                App. 10a (tracing the practice of granting “nonpriority
                status” to at least the 1950s).
                    In 1975, the Immigration and Naturalization Ser-
                vice (INS) issued its first formal guidance on deferred
                action. CRS Analysis of DHS Memorandum at 8. Fed-
                eral agencies have also promulgated regulations rec-
                ognizing deferred action since the 1980s. E.g., 8 C.F.R.
                § 109.1(b)(7) (1984) (providing that recipients of de-
                ferred action are eligible to apply for work authoriza-
                tion) (reserved by 52 F.R. 16222 (1987)); id.
                § 274a.12(c)(14) (1989) (describing deferred action as
                “an act of administrative convenience to the




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                government which gives some cases lower priority”);
                id. § 245a.2(a)(2)(iv)(5) (1989) (providing that immi-
                grants granted deferred action before January 1, 1982,
                and meeting other criteria could apply for adjustment
                to temporary residence status).
                    Thus, for decades, administrations of both major
                political parties have granted discretionary relief from
                removal, both on an ad hoc basis and by establishing
                categorical threshold criteria for deferral. See CRS
                Analysis of DHS Memorandum at 20-23; Am. Immi-
                gration Council, Executive Grants of Temporary Immi-
                gration Relief, 1956-Present, at 1 (Oct. 2014),
                https://www.americanimmigrationcouncil.org/sites/
                default/files/research/executive_grants_of_temporary
                _immigration_relief_1956-present_final_0.pdf (“Since
                at least 1956, every U.S. president has granted tempo-
                rary immigration relief to one or more groups in need
                of assistance.”); id. at 3-10 (collecting 39 examples). In
                1987, for instance, after IRCA gave lawful status to
                some undocumented immigrants, the Reagan Admin-
                istration created the Family Fairness Program, which
                allowed INS district directors to choose not to remove
                some children and spouses of immigrants whose status
                had recently changed under the Act. The program pro-
                vided that those district directors could “exercise the
                Attorney General’s authority to indefinitely defer de-
                portation of anyone for specific humanitarian rea-
                sons.” Alan C. Nelson, Comm’r, INS, Legalization and
                Family Fairness—An Analysis (Oct. 21, 1987), in 64
                No. 41 Interpreter Releases 1191, app. I, at 1203 (Oct.
                26, 1987).
                   That program was then expanded in 1990 under
                President George H.W. Bush to allow more people to
                qualify for deferral of deportation and also to receive
                work authorization.        Memorandum from Gene
                McNary, Comm’r, INS, to Reg’l Comm’rs, Family




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                Fairness: Guidelines for Voluntary Departure Under 8
                C.F.R. 242.5 for the Ineligible Spouses and Children of
                Legalized Aliens (Feb. 2, 1990), in 67 No. 6 Interpreter
                Releases 153, app. I, at 164-65 (Feb. 5, 1990). The INS
                published guidelines “to assure uniformity in the
                granting of voluntary departure and work authoriza-
                tion for the ineligible spouses and children of legalized
                aliens.” Id. at 164.
                    And in 2006, during the administration of Presi-
                dent George W. Bush, ICE published a field manual
                that included guidelines for when deferred action
                could be granted. Memorandum from John P. Torres,
                Acting Dir., ICE Office of Detention & Removal Oper-
                ations, to Field Office Dirs., Detention and Deportation
                Officer’s Field Manual Update (Mar. 27, 2006),
                https://www.ice.gov/doclib/foia/dro_policy_memos/
                09684drofieldpolicymanual.pdf. As was the case with
                DACA, the manual specified that “deferred action is
                not an immigration status,” and it enumerated “[f]ac-
                tors to be [c]onsidered . . . as part of a deferred action
                determination.” Id. § 20.8(a)-(b). The manual ex-
                plained that, although deferred action “may, on [its]
                face look like a benefit grant,” it “really [is] just [a]
                mechanism[] for formalizing an exercise of prosecuto-
                rial discretion.” Id. § 20.9(a).
                    Congress has consistently affirmatively approved
                of these exercises of executive discretion. As OLC has
                recognized, “Congress has long been aware of the prac-
                tice of granting deferred action, including in its cate-
                gorical variety, and of its salient features,” and yet
                instead of acting “to disapprove or limit the practice,”
                Congress “has enacted several pieces of legislation
                that have either assumed that deferred action would
                be available in certain circumstances, or expressly di-
                rected that deferred action be extended to certain cat-
                egories of aliens.” J.A. 828-29; cf. Dames & Moore v.




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                Regan, 453 U.S. 654, 680, 686 (1981) (holding that the
                president had authority to settle international claims
                by executive agreement and explaining that “crucial to
                [this] decision” was the fact that Congress had “placed
                its stamp of approval on such agreements” by passing
                legislation “creating a procedure to implement future
                settlement agreements”); United States v. Rutherford,
                442 U.S. 544, 554 n.10 (1979) (“[O]nce an agency’s stat-
                utory construction has been ‘fully brought to the atten-
                tion of the public and the Congress,’ and the latter has
                not sought to alter that interpretation although it has
                amended the statute in other respects, then presuma-
                bly the legislative intent has been correctly discerned.”
                (quoting Apex Hosiery Co. v. Leader, 310 U.S. 469, 489
                (1940))); Tex. Dep’t of Hous. & Cmty. Affairs v. Inclu-
                sive Cmtys. Project, Inc., 135 S. Ct. 2507, 2519-20
                (2015) (similar). In this manner, Congress has repeat-
                edly ratified the executive branch’s interpretation of
                the federal immigration laws as authorizing the exec-
                utive to grant discretionary relief from removal.
                    For example, in making certain victims of traffick-
                ing and abuse eligible for immigration-status adjust-
                ments, Congress authorized the Secretary of
                Homeland Security to stay final orders of removal
                while applications for such adjustments are pending.
                8 U.S.C. § 1227(d)(1). In so doing, Congress took care
                to ensure that this new authority would not impair the
                forms of relief already available under existing law—
                including deferred action—by clarifying that the de-
                nial of an administrative stay under the new provision
                “shall not preclude the alien from applying for a stay
                of removal, deferred action, or a continuance or abey-
                ance of removal proceedings under any other provision
                of the immigration laws.” Id. § 1227(d)(2) (emphasis
                added). This provision is a clear indication that Con-
                gress understood deferred action as a preexisting and




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                permissible form of relief available under the immigra-
                tion laws. See, e.g., Emergency Supplemental Appro-
                priations Act for Defense, the Global War on Terror,
                and Tsunami Relief, Pub. L. No. 109-13,
                § 202(c)(2)(B)(viii), 119 Stat. 231, 313 (2005) (codified
                at 49 U.S.C. § 30301 note) (listing “approved deferred
                action status” as a basis for issuing driver’s licenses).
                    In addition to endorsing the executive’s use of de-
                ferred action as a general matter, Congress has at
                times required the executive to consider whether indi-
                viduals who satisfy certain categorical threshold crite-
                ria should be granted deferred action. For instance,
                Congress has provided that certain victims of domestic
                violence with pending petitions for preference status
                are “eligible for deferred action and work authoriza-
                tion.” 8 U.S.C. § 1154(a)(1)(D)(i)(II) & (IV). As legisla-
                tors considered reauthorizing the Violence Against
                Women Act (VAWA) in 2000, INS officials testified
                that “[a]pproved [VAWA] self-petitioners are placed in
                deferred action status,” with the result that “[n]o bat-
                tered alien who has filed a[n approved] self petition . . .
                has been deported.” J.A. 829 (alterations in original)
                (quoting Battered Immigrant Women Protection Act of
                1999: Hearing on H.R. 3083 Before the Subcomm. on
                Immigration & Claims of the H. Comm. on the Judici-
                ary, 106th Cong. 43 (2000) (statement of Barbara
                Strack, Acting Exec. Assoc. Comm’r for Pol’y & Plan-
                ning, INS)). In response to this testimony, Congress
                “not only acknowledg[ed] but also expand[ed] the de-
                ferred action program in the 2000 VAWA reauthoriza-
                tion legislation, providing that children who could no
                longer self-petition under VAWA because they were
                over the age of 21 would nonetheless be ‘eligible for de-
                ferred action and work authorization.’” Id. (quoting
                Victims of Trafficking and Violence Protection Act of




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                2000, Pub. L. No. 106-386, § 1503(d)(2), 114 Stat. 1464,
                1522 (codified at 8 U.S.C. § 1154(a)(1)(D)(i)(II), (IV))).
                    Congress has similarly ensured that eligibility for
                both deferred action and work authorization remains
                available to people affected by other prominent trage-
                dies or hardships. See, e.g., Uniting and Strengthen-
                ing America by Providing Appropriate Tools Required
                to Intercept and Obstruct Terrorism Act of 2001 (USA
                PATRIOT Act), Pub. L. No. 107-56, § 423(b)(1)-(2), 115
                Stat. 272, 361 (specifying that certain relatives of indi-
                viduals killed in the September 11 terrorist attacks
                with pending petitions for preference status “may be
                eligible for deferred action and work authorization”);
                National Defense Authorization Act for Fiscal Year
                2004, Pub. L. No. 108-136, § 1703(c)-(d), 117 Stat.
                1392, 1694-95 (2003) (specifying that certain relatives
                of individuals killed in combat with pending petitions
                for classification “shall be eligible for deferred action,
                advance parole, and work authorization”).
                    Congress has also demonstrated its reliance on the
                executive’s practice of granting deferred action in
                other ways. For decades, the congressional commit-
                tees that are responsible for immigration have rou-
                tinely asked the executive to grant unauthorized
                immigrants deferred action or stays of removal while
                the committees considered private bills for relief from
                enforcement of the immigration laws. See, e.g., Berna-
                dette Maguire, Immigration: Public Legislation and
                Private Bills 23-25, 253-55 (1997); Subcomm. on Immi-
                gration, Citizenship, Refugees, Border Security, &
                Int’l L., H. Comm. on the Judiciary, 111th Cong., Rules
                of Procedure and Statement of Policy for Private Immi-
                gration Bills, R. 5 (“In the past, the Department of
                Homeland Security has honored requests for depart-
                mental reports by staying deportation until final ac-
                tion is taken on the private bill.”); see also 8 C.F.R.




                                                                             AR5039
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                § 274a.12(c)(14) (allowing recipients of deferred action
                to apply for work authorization).
                    In sum, Congress has not simply declined to amend
                the law after the executive has announced certain
                grants of deferred action, but rather it has “affirma-
                tively manifested its acquiescence” in that practice.
                Bob Jones Univ. v. United States, 461 U.S. 574, 601
                (1983). As OLC has explained, “[t]he history of immi-
                gration policy illustrates” that “[w]hen Congress has
                been dissatisfied with Executive action, it has re-
                sponded . . . by enacting legislation to limit the Execu-
                tive’s discretion in enforcing the immigration laws.”
                J.A. 806. With respect to executive grants of deferred
                action, however, Congress has repeatedly enacted leg-
                islation affirming the executive branch’s broad author-
                ity to grant this relief and relying on the continuation
                of this practice. There can therefore be no doubt that
                deferred action is a valid form of discretionary forbear-
                ance available to the Secretary of Homeland Security
                in cases or classes of cases that he rationally deems
                appropriate.
                   C. DACA Was a Valid Exercise of Executive
                      Discretion.
                   The Secretary’s establishment of DACA fell well
                within the broad discretion that Congress has long
                conferred on the executive and repeatedly reaffirmed.
                Although deferred action policies originated “without
                express statutory authorization,” AADC, 525 U.S. at
                484 (citation and internal quotation marks omitted),
                they are now “a regular practice,” id. at 483-84, and
                are part and parcel of the Secretary’s congressionally
                conferred authority both to “[e]stablish[] national im-
                migration enforcement policies and priorities,” 6
                U.S.C. § 202(5), and to “establish such regulations; . . .
                issue such instructions; and perform such other acts as
                he deems necessary for carrying out his authority”




                                                                             AR5040
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                under the INA, 8 U.S.C. § 1103(a)(3). DACA was no
                exception to this rule.
                    DACA enabled “certain young people who were
                brought to this country as children and know only this
                country as home” to apply for deferred action from re-
                moval. Pet. App. 97a-98a. Those whose applications
                were approved were protected from removal for renew-
                able two-year periods and were eligible for work au-
                thorization.      Id. at 11a-12a.        The executive
                memorandum announcing DACA recognized that
                “[o]ur Nation’s immigration laws must be enforced in
                a strong and sensible manner” and that these laws are
                not “designed to remove productive young people to
                countries where they may not have lived or even speak
                the language.” Id. at 98a-99a. The memorandum also
                established specific eligibility criteria and provided
                that qualified applicants must pass a background
                check and undergo a case-by-case review process to re-
                ceive the requested deferral from removal. Id. More-
                over, the memorandum emphasized that DACA was
                an exercise of “[p]rosecutorial discretion, which is used
                in so many other areas, [and] is especially justified
                here.” Id. at 99a.
                    DACA was also fully consistent with the reasonable
                immigration enforcement priorities that the executive
                branch had announced pursuant to 6 U.S.C. § 202(5),
                which authorizes the executive to “[e]stablish[] na-
                tional immigration enforcement policies and priori-
                ties.” In a 2011 memorandum, the director of ICE
                declared that “[a]liens who pose a danger to national
                security or a risk to public safety” were the highest pri-
                ority for civil immigration enforcement. Morton Prior-
                itization Memorandum at 1. The director deemed
                other undocumented immigrants, including “[r]ecent
                illegal entrants” and “[a]liens who are fugitives or oth-
                erwise obstruct immigration controls” to be lower




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                enforcement priorities. Id. at 2. The director ex-
                plained that “[t]he rapidly increasing number of crim-
                inal aliens who may come to ICE’s attention heightens
                the need for ICE employees to exercise sound judg-
                ment and discretion consistent with these priorities
                when conducting enforcement operations.” Id. at 4.
                He also noted that “[p]articular care should be given
                when dealing with . . . juveniles.” Id. By establishing
                DACA to advance these carefully constructed priori-
                ties, the Secretary acted within his congressionally
                conferred discretion to, among other things, “establish
                such regulations; . . . issue such instructions; and per-
                form such other acts as he deems necessary for carry-
                ing out his authority” under the INA, 8 U.S.C.
                § 1103(a)(3).
                     OLC’s 2014 memorandum further confirms
                DACA’s validity. The memorandum noted that prior
                to DACA’s implementation, OLC had concluded that a
                deferred action policy like DACA “would be permissi-
                ble, provided that immigration officials retained dis-
                cretion to evaluate each application on an
                individualized basis.” J.A. 827 n.8. Significantly,
                DACA expressly guarantees that “requests for relief
                . . . are to be decided on a case by case basis. DHS can-
                not provide assurance that relief will be granted in all
                cases.” Pet. App. 99a. OLC also observed that “the
                concerns animating [DACA] were consistent with the
                types of concerns that have customarily guided the ex-
                ercise of immigration enforcement discretion.” Id. at
                42a. Thus, OLC recognized that DACA would be a
                lawful exercise of the executive’s discretionary author-
                ity in immigration enforcement.
                    Moreover, in addition to Congress’s longstanding
                general practice of sanctioning executive grants of de-
                ferred action, members of Congress affirmatively
                called for the executive to exercise discretion regarding




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                certain individuals who were brought to the country as
                children. In a 1999 letter to the attorney general and
                the INS commissioner, 28 bipartisan members of Con-
                gress noted the “well-grounded” principle that the
                “INS has prosecutorial discretion in the initiation or
                termination of removal proceedings” and specifically
                called on the executive to issue written guidelines and
                “exercise . . . such discretion” in “[t]rue hardship
                cases,” including those involving people “who came to
                the United States when they were very young.” Letter
                from Rep. Lamar Smith et al., to Hon. Janet Reno,
                Att’y Gen., DOJ, and Hon. Doris M. Meissner, Comm’r,
                INS (Nov. 4, 1999), in 76 Interpreter Releases, app. I,
                at 1730-32 (Dec. 3, 1999). In sending this letter, mem-
                bers of Congress on both sides of the aisle recognized
                that Congress had deliberately given the executive
                broad discretion to grant deferred action, and this bi-
                partisan group expressly encouraged the executive to
                exercise that discretion with respect to the category of
                individuals later covered by DACA.
                    In the period surrounding DACA’s establishment,
                members of Congress on a bipartisan basis continued
                to recognize the executive’s prerogative to establish el-
                igibility criteria for deferred action. In 2010, Senator
                Richard J. Durbin, then Assistant Majority Leader of
                the Senate, and then-Senator Richard G. Lugar, Rank-
                ing Member of the Senate Foreign Relations Commit-
                tee, wrote to the executive branch requesting deferred
                action for young immigrants known as Dreamers. See
                Press Release, Durbin, Lugar Ask Secretary Napoli-
                tano to Stop Deportations of Dream Act Students (Apr.
                21,     2010),      https://www.durbin.senate.gov/news-
                room/press-releases/durbin-lugar-ask-secretary-napo-
                litano-to-stop-deportations-of-dream-act-students.
                Shortly after the 2012 memorandum implementing
                DACA was released, a group of 104 members of




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                Congress sent a follow-up letter to President Obama
                praising the use of prosecutorial discretion in DACA,
                which they noted deferred the removal of certain “out-
                standing young Americans.” 158 Cong. Rec. 11764
                (daily ed. July 19, 2012) (statement of Rep. Gutiérrez).
                These members of Congress emphasized that the “con-
                sensus legal opinion among experts” was that DACA
                rested “on solid moral and legal ground,” and they
                vowed to defend “the authority that [President
                Obama], like past Presidents, can exercise to set [im-
                migration] enforcement priorities and better protect
                our neighborhoods and our nation.” Id.
                    Although bipartisan efforts to provide broader and
                more permanent protections to Dreamers through new
                legislation have thus far failed, see Pet’rs Br. 5 & n.2,
                that fact has no bearing on DACA’s legality as an ex-
                ercise of the discretion Congress has already conferred
                on the executive in existing legislation. See United
                States v. Craft, 535 U.S. 274, 287 (2002) (“[C]ongres-
                sional inaction lacks persuasive significance because
                several equally tenable inferences may be drawn from
                such inaction, including the inference that the existing
                legislation already incorporated the offered change.”
                (citation and internal quotation marks omitted)). As
                this Court’s precedents confirm, and as Congress has
                consistently reaffirmed through the legislation it has
                passed, the executive branch’s authority to set rational
                immigration enforcement priorities is well estab-
                lished. See Arizona, 567 U.S. at 394-95 (noting that
                the federal government’s authority over immigration
                “rests, in part, on the National Government’s . . . in-
                herent power as sovereign to control and conduct rela-
                tions with foreign nations”); Medellin, 554 U.S. at 765
                (Breyer, J., dissenting) (acknowledging the “Presi-
                dent’s responsibility for foreign affairs”); 6 U.S.C.
                § 202(5) (authorizing the executive to “[e]stablish[]




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                national immigration enforcement policies and priori-
                ties”).
                    As noted, moreover, the proposals for new legisla-
                tion that Congress has considered would provide more
                permanent and wide-ranging protections for Dreamers
                than DACA afforded its recipients, and they would
                have extended these protections to a broader class of
                Dreamers. See, e.g., S. 1615, 115th Cong. (2017). The
                fact that these proposals are not coextensive with
                DACA further underscores why Congress’s failure to
                pass them has no bearing on DACA’s legality. Indeed,
                even if congressional inaction were a permissible con-
                sideration when assessing the legality of executive pol-
                icies, no inference could be drawn here in either
                direction, given that Congress has also repeatedly re-
                jected efforts to terminate or defund DACA, see, e.g.,
                H.R. 5160, 113th Cong. (2014); S. 2631, 113th Cong.
                (2014). In short, Congress’s decision not to pass new
                legislation that might affect DACA recipients (and oth-
                ers) is irrelevant to the legality of DACA itself. “The
                search for significance in the silence of Congress is too
                often the pursuit of a mirage.” Scripps-Howard Radio
                v. F.C.C., 316 U.S. 4, 11 (1942).
                    Likewise, even though President Obama stated
                that he intended for DACA to be a short-term measure
                until Congress passed legislation to more fully protect
                DACA recipients, see Pet’rs Br. 38; Pres. Barack
                Obama, Remarks by the President on Immigration
                (June 15, 2012) (“This is not a path to citizenship. It’s
                not a permanent fix. This is a temporary stopgap
                measure . . . .”), this subjective expectation did not al-
                ter the legal authority underpinning DACA, much less
                set an expiration date on that legal authority. Presi-
                dent Obama merely recognized that DACA did not con-
                fer a legal immigration status on recipients—an action
                that would have fallen within Congress’s domain, see




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                Pet. App. 101a—and he encouraged Congress to legis-
                late to more completely protect DACA recipients from
                removal, even as the executive was providing available
                legal protections through DACA in the meantime. Cf.
                ICYMI: Speaker Ryan, Senator Hatch Urge Trump to
                Keep      DACA,      fwd.us     (Sept.    1,    2017),
                https://www.fwd.us/news/speaker-ryan-senator-hatch
                -urge-trump-keep-daca/ (quoting statement by then-
                Senator Orrin Hatch that he has “urged [President
                Trump] not to rescind DACA” while recognizing that
                “we also need a workable, permanent solution for indi-
                viduals who entered our country unlawfully as chil-
                dren through no fault of their own” and that “that
                solution must come from Congress”).
                   DACA therefore did what Congress legally author-
                ized the executive to do: grant deferred action to cer-
                tain qualified and “outstanding young Americans,” 158
                Cong. Rec. 11764 (daily ed. July 19, 2012), so that im-
                migration officers could instead focus their enforce-
                ment efforts and limited resources on higher priority
                cases. See Supp. Pet. App. 56a (“In a world where the
                government can remove only a small percentage of the
                undocumented noncitizens present in this country in
                any year, deferred action programs like DACA enable
                DHS to devote much-needed resources to enforcement
                priorities such as threats to national security, rather
                than blameless and economically productive young
                people with clean criminal records.”). Accordingly,
                DACA was a lawful exercise of executive discretion.
                II. THE TERMINATION OF DACA ON THE
                    GROUND THAT IT WAS UNLAWFUL
                    VIOLATED THE APA.
                    Despite the many explanations that Petitioners
                now offer for DACA’s rescission, see, e.g., Pet’rs Br. 15,
                what matters is the explanation the executive branch
                offered at the time it terminated DACA—namely, that




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                it had concluded that DACA was unlawful, J.A. 877.
                See Burlington Truck Lines, Inc. v. United States, 371
                U.S. 156, 168-69 (1962) (“The courts may not accept
                appellate counsel’s post hoc rationalizations for agency
                action; [SEC v. Chenery Corp., 332 U.S. 194 (1947),]
                requires that an agency’s discretionary order be up-
                held, if at all, on the same basis articulated in the or-
                der by the agency itself.”); Motor Vehicle Mfrs. Ass’n v.
                State Farm Mut. Auto. Ins. Co., 463 U.S. 29, 50 (1983)
                (same). In his September 2017 letter advising then–
                Acting Secretary of Homeland Security Elaine C. Duke
                to end DACA, then–Attorney General Jefferson B. Ses-
                sions, III, asserted that “DACA was effectuated . . .
                without proper statutory authority” and that “[s]uch
                an open-ended circumvention of immigration laws was
                an unconstitutional exercise of authority by the Exec-
                utive Branch.” J.A. 877. He also referenced the DAPA
                policy, which the Fifth Circuit had concluded was un-
                lawful in a decision this Court affirmed by an equally
                divided vote, and suggested that “it is likely that po-
                tentially imminent litigation would yield similar re-
                sults with respect to DACA.” Id. at 878. Acting
                Secretary Duke’s memorandum formally rescinding
                DACA the next day echoed and incorporated these rea-
                sons for the rescission. See Pet. App. 112a. It stated,
                “Taking into consideration the Supreme Court’s and
                the Fifth Circuit’s rulings in the ongoing [DAPA] liti-
                gation, and the September 4, 2017 letter from the At-
                torney General, it is clear that the June 15, 2012
                DACA program should be terminated.” Id. at 117a.
                Thus, the Administration ended DACA because it con-
                cluded that it was unlawful and would likely be en-
                joined if challenged in court.
                   For the reasons discussed above, however, DACA
                was fully consistent with the nation’s immigration
                laws and was a permissible—and, indeed, sensible—




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                exercise of the discretion Congress conferred on the ex-
                ecutive to implement those laws. Accordingly, the de-
                cision to terminate DACA on the ground that it was
                unlawful was itself “arbitrary, capricious, an abuse of
                discretion, or otherwise not in accordance with law,” in
                violation of the APA. 5 U.S.C. § 706(2)(A).
                    Contrary to the executive officials’ assertions,
                DACA is also materially distinguishable from DAPA,
                which the Fifth Circuit addressed in Texas v. United
                States, 809 F.3d 134. The Fifth Circuit there upheld a
                preliminary injunction against DAPA on the ground
                that DHS likely lacked the authority to implement it,
                and the Department therefore likely violated the APA
                in doing so. See id. at 146, 178-86. Although the Fifth
                Circuit noted in its decision some “important similari-
                ties” between DACA and DAPA, it also emphasized
                that “DACA and DAPA are not identical,” id. at 174,
                and that “any extrapolation from DACA must be done
                carefully,” id. at 173.
                    Illustrating one such distinction, the Fifth Circuit
                based its DAPA decision in part on its determination
                that “Congress has enacted an intricate process for il-
                legal aliens to derive a lawful immigration classifica-
                tion from their children’s immigration status.” Id. at
                179; see id. at 180 n.167 (citing 8 U.S.C.
                §§ 1151(b)(2)(A)(i), 1182(a)(9)(B)(i)(II), 1201(a), 1255).
                The Fifth Circuit noted with disapproval that “DAPA
                would allow illegal aliens to receive the benefits of law-
                ful presence solely on account of their children’s immi-
                gration status without complying with any of the
                [enumerated] requirements . . . that Congress has de-
                liberately imposed.” Id. at 180. This analysis of DAPA




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                was flawed,3 but it is also inapposite here because
                DACA is markedly different from DAPA in this regard.
                No legislation provides a framework for young people
                who were brought to the United States as children
                without documentation to receive lawful status or to
                be considered lawfully present in the country, and
                therefore DACA does not even plausibly circumvent
                any established legislative scheme.
                    Another important difference the court identified
                between the policies was that “[e]ligibility for DACA
                was restricted to a younger and less numerous popula-
                tion” than was the case for DAPA. Id. at 174. Accord-
                ing to the Fifth Circuit, approximately “1.2 million
                persons qualif[ied] for DACA” and only “approximately
                636,000 applications were approved through 2014.”
                Id. at 147; see id. at 174 n.138. By 2018, that number
                was still only 823,815. See U.S. Citizenship and Im-
                migration Services, Number of Form I-821D, Consid-
                eration of Deferred Action for Childhood Arrivals, at 1

                    3 The Fifth Circuit erred by conflating two distinct concepts:

                “lawful immigration classification” and “lawful presence.” Texas,
                809 F.3d at 179-80. While the former confers significant rights
                and benefits, the latter simply means that one’s physical presence
                no longer exposes him or her to immigration enforcement conse-
                quences that escalate over time. See, e.g., 8 U.S.C. § 1182(a)(9)(B)
                (making admissibility determinations depend on how long an al-
                ien has been unlawfully present in the United States). Although
                the Fifth Circuit acknowledged the existence of this distinction,
                Texas, 809 F.3d at 180 (“DAPA does not confer the full panoply of
                benefits that a visa gives . . . .”); id. (“LPR status is more substan-
                tial than is lawful presence . . . .”); id. at 184 (“DAPA awards law-
                ful presence to persons who have never had a legal status and
                may never receive one.” (footnote omitted)), it nevertheless
                brushed it aside—declaring with little explanation that Con-
                gress’s decision to make lawful immigration classifications avail-
                able in certain defined situations precluded the executive from
                allowing other individuals to be lawfully present through a grant
                of deferred action, see id. at 179-82, 186.




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                (Nov. 30, 2018), https://www.uscis.gov/sites/de-
                fault/files/USCIS/Resources/Reports%20and%20Stud-
                ies/Immigration%20Forms%20Data/All%20Form%20
                Types/DACA/DACA_FY19_Q1_Data.pdf. By contrast,
                “4.3 million [persons] would [have] be[en] eligible for
                lawful presence pursuant to DAPA.” Texas, 809 F.3d
                at 148; see id. at 174 n.138.
                    Regardless, the Fifth Circuit’s conclusion about
                DAPA’s legality was wrong, undermining any persua-
                sive value the decision might have in assessing the le-
                gality of DACA (and the attendant illegality of its
                rescission). Although the court purported to disclaim
                reliance on the expressio unius est exclusio alterius
                canon of statutory construction, id. at 182, it reasoned
                that congressional acknowledgement of deferred ac-
                tion’s appropriateness in some circumstances pre-
                cludes the executive branch from granting deferred
                action in other circumstances, as it did in DAPA, see
                id. at 179-81. See generally Marx v. Gen. Revenue
                Corp., 568 U.S. 371, 392 (2013) (explaining that the ex-
                pressio unius canon “instructs that when Congress in-
                cludes one possibility in a statute, it excludes another
                by implication”). In other words, the court reasoned
                that because “the INA expressly and carefully provides
                legal designations allowing defined classes of aliens to
                be lawfully present and confers eligibility for ‘discre-
                tionary relief allowing [aliens in deportation proceed-
                ings] to remain in the country,’” the INA deliberately
                does not authorize grants of deferred action to others,
                including those eligible for DAPA. Texas, 809 F.3d at
                179 (alterations in original) (quoting Arizona, 567 U.S.
                at 396); see id. (“Entirely absent from those specific
                classes is the group of 4.3 million illegal aliens who
                would be eligible for lawful presence under DAPA were
                it not enjoined.”).




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                    This Court, however, has repeatedly held that “the
                canon expressio unius est exclusio alterius does not ap-
                ply to every statutory listing or grouping; it has force
                only when the items expressed are members of an ‘as-
                sociated group or series,’ justifying the inference that
                items not mentioned were excluded by deliberate
                choice, not inadvertence.” Barnhart v. Peabody Coal
                Co., 537 U.S. 149, 168 (2003) (quoting United States v.
                Vonn, 535 U.S. 55, 65 (2002)). As the court of appeals
                explained in one of the decisions below, the INA provi-
                sions allowing for deferred action were not collectively
                included in the original statute. See Supp. Pet. App.
                53a. Rather, Congress has added them piecemeal over
                time in separate amendments to the INA as different
                situations arose. See id. Accordingly, as many amici
                well know from serving in Congress while those
                amendments were drafted, debated, and passed, Con-
                gress did not intend to preclude the executive from
                granting deferred action in other situations besides
                those expressly mentioned in the amendments. And,
                as explained above, the fact that Congress has not yet
                enacted such an amendment permanently protecting
                DACA recipients and others from removal does not al-
                ter the fact that Congress has given the executive
                broad discretion to provide some relief in the mean-
                time.
                   In short, because DACA was a lawful exercise of ex-
                ecutive discretion, the decision to terminate it on the
                ground that it was unlawful was itself in violation of
                the APA.




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                                   CONCLUSION
                   For the foregoing reasons, the judgments of the
                Ninth Circuit and the District Court for the District of
                Columbia, as well as the orders of the Eastern District
                of New York, should be affirmed.
                                    Respectfully submitted,

                                    ELIZABETH B. WYDRA
                                    BRIANNE J. GOROD*
                                    BRIAN R. FRAZELLE
                                    DAYNA J. ZOLLE**
                                    CONSTITUTIONAL
                                      ACCOUNTABILITY CENTER
                                    1200 18th Street NW
                                      Suite 501
                                    Washington, D.C. 20036
                                    (202) 296-6889
                                    brianne@theusconstitution.org
                              Counsel for Amici Curiae
                October 4, 2019                  * Counsel of Record
                                                 ** Not admitted in
                                                 D.C.; supervised by
                                                 principals of the firm




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                                          1A

                                    APPENDIX:
                                  LIST OF AMICI

                U.S. Senate

                   Durbin, Richard J.
                    Senator of Illinois

                   Schumer, Charles E.
                    Senator of New York

                   Leahy, Patrick J.
                    Senator of Vermont

                   Feinstein, Dianne
                    Senator of California

                   Murray, Patty
                    Senator of Washington

                   Wyden, Ron
                    Senator of Oregon

                   Reed, Jack
                    Senator of Rhode Island

                   Carper, Thomas R.
                    Senator of Delaware

                   Stabenow, Debbie
                    Senator of Michigan

                   Cantwell, Maria
                    Senator of Washington




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                             LIST OF AMICI - cont’d

                   Menendez, Robert
                    Senator of New Jersey

                   Cardin, Benjamin L.
                    Senator of Maryland

                   Sanders, Bernard
                    Senator of Vermont

                   Brown, Sherrod
                    Senator of Ohio

                   Casey, Robert P., Jr.
                    Senator of Pennsylvania

                   Klobuchar, Amy
                    Senator of Minnesota

                   Whitehouse, Sheldon
                    Senator of Rhode Island

                   Tester, Jon
                    Senator of Montana

                   Udall, Tom
                    Senator of New Mexico

                   Shaheen, Jeanne
                    Senator of New Hampshire

                   Warner, Mark R.
                    Senator of Virginia




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                              LIST OF AMICI - cont’d

                   Merkley, Jeff
                    Senator of Oregon

                   Bennet, Michael F.
                    Senator of Colorado

                   Gillibrand, Kirsten E.
                    Senator of New York

                   Manchin, Joe, III
                    Senator of West Virginia

                   Coons, Christopher A.
                    Senator of Delaware

                   Blumenthal, Richard
                    Senator of Connecticut

                   Schatz, Brian
                    Senator of Hawai‘i

                   Baldwin, Tammy
                    Senator of Wisconsin

                   Murphy, Christopher
                    Senator of Connecticut

                   Hirono, Mazie K.
                    Senator of Hawaiʻi

                   Heinrich, Martin
                    Senator of New Mexico




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                              LIST OF AMICI - cont’d

                   King, Angus S., Jr.
                    Senator of Maine

                   Kaine, Tim
                    Senator of Virginia

                   Warren, Elizabeth
                    Senator of Massachusetts

                   Markey, Edward J.
                    Senator of Massachusetts

                   Booker, Cory A.
                    Senator of New Jersey

                   Peters, Gary C.
                    Senator of Michigan

                   Van Hollen, Chris
                    Senator of Maryland

                   Duckworth, Tammy
                    Senator of Illinois

                   Hassan, Margaret Wood
                    Senator of New Hampshire

                   Harris, Kamala D.
                    Senator of California

                   Cortez Masto, Catherine
                    Senator of Nevada




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                             LIST OF AMICI - cont’d

                   Smith, Tina
                    Senator of Minnesota

                   Rosen, Jacky
                    Senator of Nevada

                   Hart, Gary
                    Former Senator of Colorado

                   Levin, Carl
                    Former Senator of Michigan

                   Reid, Harry
                    Former Senator of Nevada

                   Udall, Mark
                    Former Senator of Colorado

                U.S. House of Representatives

                   Lofgren, Zoe
                    Representative of California

                   Nadler, Jerrold
                    Representative of New York

                   Castro, Joaquin
                    Representative of Texas

                   Pelosi, Nancy
                    Representative of California

                   Hoyer, Steny H.
                    Representative of Maryland




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                             LIST OF AMICI - cont’d

                   Clyburn, James E.
                    Representative of South Carolina

                   Aguilar, Pete
                    Representative of California

                   Allred, Colin Z.
                    Representative of Texas

                   Barragán, Nanette Diaz
                    Representative of California

                   Bass, Karen
                    Representative of California

                   Beyer, Donald S., Jr.
                    Representative of Virginia

                   Blumenauer, Earl
                    Representative of Oregon

                   Brown, Anthony
                    Representative of Maryland

                   Brownley, Julia
                    Representative of California

                   Carbajal, Salud O.
                    Representative of California

                   Cárdenas, Tony
                    Representative of California




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                              LIST OF AMICI - cont’d

                   Carson, André
                    Representative of Indiana

                   Casten, Sean
                    Representative of Illinois

                   Castor, Kathy
                    Representative of Florida

                   Chu, Judy
                    Representative of California

                   Cicilline, David N.
                    Representative of Rhode Island

                   Cisneros, Gilbert R., Jr.
                    Representative of California

                   Clarke, Yvette D.
                    Representative of New York

                   Cohen, Steve
                    Representative of Tennessee

                   Correa, J. Luis
                    Representative of California

                   Costa, Jim
                    Representative of California

                   Cox, TJ
                    Representative of California




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                              LIST OF AMICI - cont’d

                   Crow, Jason
                    Representative of Colorado

                   Cummings, Elijah E.
                    Representative of Maryland

                   Davis, Danny K.
                    Representative of Illinois

                   Davis, Susan A.
                    Representative of California

                   DeFazio, Peter A.
                    Representative of Oregon

                   DeGette, Diana
                    Representative of Colorado

                   DeLauro, Rosa L.
                    Representative of Connecticut

                   DelBene, Suzan K.
                    Representative of Washington

                   Demings, Val Butler
                    Representative of Florida

                   DeSaulnier, Mark
                    Representative of California

                   Deutch, Theodore E.
                    Representative of Florida




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                              LIST OF AMICI - cont’d

                   Engel, Eliot L.
                    Representative of New York

                   Escobar, Veronica
                    Representative of Texas

                   Eshoo, Anna G.
                    Representative of California

                   Espaillat, Adriano
                    Representative of New York

                   Evans, Dwight
                    Representative of Pennsylvania

                   Foster, Bill
                    Representative of Illinois

                   Gabbard, Tulsi
                    Representative of Hawai‘i

                   Gallego, Ruben
                    Representative of Arizona

                   Garamendi, John
                    Representative of California

                   García, Jesús G. “Chuy”
                    Representative of Illinois

                   Garcia, Sylvia R.
                    Representative of Texas




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                             LIST OF AMICI - cont’d

                   Gomez, Jimmy
                    Representative of California

                   Green, Al
                    Representative of Texas

                   Grijalva, Raúl M.
                    Representative of Arizona

                   Haaland, Debra A.
                    Representative of New Mexico

                   Harder, Josh
                    Representative of California

                   Hayes, Jahana
                    Representative of Connecticut

                   Hill, Katie
                    Representative of California

                   Huffman, Jared
                    Representative of California

                   Jackson Lee, Sheila
                    Representative of Texas

                   Jayapal, Pramila
                    Representative of Washington

                   Jeffries, Hakeem
                    Representative of New York




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                             LIST OF AMICI - cont’d

                   Johnson, Henry C. “Hank,” Jr.
                    Representative of Georgia

                   Keating, William R.
                    Representative of Massachusetts

                   Khanna, Ro
                    Representative of California

                   Kildee, Daniel T.
                    Representative of Michigan

                   Lawrence, Brenda L.
                    Representative of Michigan

                   Lee, Barbara
                    Representative of California

                   Levin, Andy
                    Representative of Michigan

                   Lewis, John
                    Representative of Georgia

                   Lieu, Ted W.
                    Representative of California

                   Lowenthal, Alan S.
                    Representative of California

                   Lowey, Nita M.
                    Representative of New York




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                              LIST OF AMICI - cont’d

                   Matsui, Doris O.
                    Representative of California

                   McCollum, Betty
                    Representative of Minnesota

                   McEachin, A. Donald
                    Representative of Virginia

                   McGovern, James P.
                    Representative of Massachusetts

                   McNerney, Jerry
                    Representative of California

                   Meeks, Gregory W.
                    Representative of New York

                   Meng, Grace
                    Representative of New York

                   Moore, Gwen
                    Representative of Wisconsin

                   Napolitano, Grace F.
                    Representative of California

                   Neguse, Joe
                    Representative of Colorado

                   Norton, Eleanor Holmes
                    Delegate of District of Columbia




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                              LIST OF AMICI - cont’d

                   Ocasio-Cortez, Alexandria
                    Representative of New York

                   Panetta, Jimmy
                    Representative of California

                   Peters, Scott H.
                    Representative of California

                   Pocan, Mark
                    Representative of Wisconsin

                   Porter, Katie
                    Representative of California

                   Pressley, Ayanna
                    Representative of Massachusetts

                   Quigley, Mike
                    Representative of Illinois

                   Raskin, Jamie
                    Representative of Maryland

                   Rice, Kathleen M.
                    Representative of New York

                   Richmond, Cedric L.
                    Representative of Louisiana

                   Rouda, Harley
                    Representative of California




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                              LIST OF AMICI - cont’d

                   Roybal-Allard, Lucille
                    Representative of California

                   Rush, Bobby L.
                    Representative of Illinois

                   Sánchez, Linda T.
                    Representative of California

                   Schakowsky, Janice D.
                    Representative of Illinois

                   Schiff, Adam B.
                    Representative of California

                   Schneider, Bradley Scott
                    Representative of Illinois

                   Serrano, José E.
                    Representative of New York

                   Sires, Albio
                    Representative of New Jersey

                   Smith, Adam
                    Representative of Washington

                   Soto, Darren
                    Representative of Florida

                   Stanton, Greg
                    Representative of Arizona




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                             LIST OF AMICI - cont’d

                   Swalwell, Eric
                    Representative of California

                   Takano, Mark
                    Representative of California

                   Thompson, Bennie G.
                    Representative of Mississippi

                   Titus, Dina
                    Representative of Nevada

                   Tlaib, Rashida
                    Representative of Michigan

                   Torres, Norma J.
                    Representative of California

                   Vargas, Juan
                    Representative of California

                   Vela, Filemon
                    Representative of Texas

                   Velázquez, Nydia M.
                    Representative of New York

                   Welch, Peter
                    Representative of Vermont

                   Yarmuth, John A.
                    Representative of Kentucky




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                             LIST OF AMICI - cont’d

                   Gonzalez, Charles
                    Former Representative of Texas

                   Holtzman, Elizabeth
                    Former Representative of New York

                   LaHood, Ray
                    Former Representative of Illinois

                   Morella, Constance
                    Former Representative of Maryland

                   Schneider, Claudine
                    Former Representative of Rhode Island

                   Skaggs, David E.
                    Former Representative of Colorado

                   Smith, Peter
                    Former Representative of Vermont

                   Waxman, Henry A.
                    Former Representative of California




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                               Nos. 18-587, 18-588 and 18-589
                                          In the
                    Supreme Court of the United States
                  DEPARTMENT OF HOMELAND SECURITY, et al.,
                                                            Petitioners,
                                          v.
                         REGENTS OF THE UNIVERSITY
                              OF CALIFORNIA, et al.,
                                                          Respondents.
                         DONALD J. TRUMP, PRESIDENT
                          OF THE UNITED STATES, et al.,
                                                            Petitioners,
                                          v.
                       NATIONAL ASSOCIATION FOR THE
                   ADVANCEMENT OF COLORED PEOPLE, et al.,
                                                          Respondents.
                    (For Continuation of Caption See Inside Cover)

                 On Writs of Certiorari to the United States Courts
                  of A ppeal for the Ninth, DC and Second Circuits

                          BRIEF OF FORMER HOMELAND SECURITY
                        AND IMMIGRATION OFFICIALS AS AMICI CURIAE
                               IN SUPPORT OF RESPONDENTS

              Jeh C. Johnson                    K aren L. Dunn
              Liza M. Velazquez                 Joshua Riley
              David C. Kimball-Stanley          Menno Goedman
              Paul, Weiss, Rifkind, Wharton     A ndrea R. Flores
                & Garrison LLP                  Boies Schiller Flexner LLP
              1285 Avenue of the Americas       1401 New York Avenue, NW
              New York, NY 10019                Washington, DC 20005
              (212) 373-3000                    (202) 237-2727
              Masha G. Hansford                 A lbert Giang
              Paul, Weiss, Rifkind, Wharton       Counsel of Record
                & Garrison LLP                  Boies Schiller Flexner LLP
              2001 K Street, NW                 725 South Figueroa Street
              Washington, DC 20006              Los Angeles, CA 90017
              (202) 223-7300                    (213) 629-9040
                                                agiang@bsfllp.com
                                 Counsel for Amici Curiae
               291551




                                                                             AR5069
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KEVIN K. MCALEENAN, ACTING SECRETARY
     OF HOMELAND SECURITY, et al.,
                                 Petitioners,
                 v.
 MARTIN JONATHAN BATALLA VIDAL, et al.,
                              Respondents.




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                           INTEREST OF AMICI CURIAE1
                    Amici are former leaders of the U.S. Department
                of Homeland Security (“DHS”) and its component or
                predecessor agencies. Amici had direct involvement
                in the creation and administration of Deferred Action
                for Childhood Arrivals (“DACA”) specifically and/or
                responsibility for administering and enforcing our
                nation’s immigrations laws generally.
                    Jeh C. Johnson served as Secretary of DHS from
                December 2013 to January 2017, where he was re-
                sponsible for enforcement and administration of the
                nation’s immigration laws. Previously, Secretary
                Johnson served as General Counsel of the U.S. De-
                partment of Defense (2009–2012), General Counsel
                of the U.S. Air Force (1998–2001), and as an Assis-
                tant U.S. Attorney in the Southern District of New
                York (1989–1991).
                    Alejandro Mayorkas served as Deputy Secretary
                of DHS from December 2013 to October 2016. Prior
                to that, Deputy Secretary Mayorkas was Director of
                U.S.    Citizenship and Immigration Services
                (“USCIS”) from August 2009 to December 2013; in

                    1 The parties have consented to the filing of this brief. Pur-

                suant to Rule 37.3(a), written consents to the filing of this brief
                are on file with the Clerk of the Court. No counsel for a party
                authored this brief in whole or in part, and no such counsel or
                party made a monetary contribution intended to fund the prep-
                aration or submission of this brief. No person other than the
                amici curiae, or their counsel, made a monetary contribution to
                the preparation or submission of this brief.




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                that role, he was directly responsible for the launch,
                implementation, and subsequent administration of
                DACA. Earlier in his career, Deputy Secretary
                Mayorkas was United States Attorney for the Cen-
                tral District of California (1998–2001).
                    Leon Rodriguez served as Director of USCIS from
                2014 to 2017, where he was also directly responsible
                for the administration of DACA. From 2007 to 2011,
                Mr. Rodriguez served in leadership positions at the
                Department of Health and Human Services and the
                Department of Justice.
                    Gil Kerlikowske served as Commissioner of U.S.
                Customs and Border Protection from March 2014 to
                January 2017. Previously, Commissioner Kerlikow-
                ske was Director of the Office of National Drug Con-
                trol Policy (2009–2014) and served as the Commis-
                sioner or Chief of Police in four different cities, in-
                cluding an eight-year term in Seattle, Washington
                (2001–2009).
                    John T. Morton served as Director of Immigration
                and Customs Enforcement (“ICE”) from May 2009 to
                August 2013. Previously, Mr. Morton served in lead-
                ership positions at the Department of Justice and
                was an Assistant U.S. Attorney in the Eastern Dis-
                trict of Virginia (1999–2006).
                   Stevan E. Bunnell served as General Counsel of
                DHS from December 2013 to January 2017. Prior to
                that, he held various positions in law enforcement,




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                including Chief of the Criminal Division in the U.S.
                Attorney’s Office for the District of Columbia.
                    Russell C. Deyo served as Acting Deputy Secre-
                tary of DHS from November 2016 to January 2017.
                Previously, Mr. Deyo served as Under Secretary for
                Management at DHS from May 2015 to November
                2016. He also served as an Assistant U.S. Attorney
                for the District of New Jersey (1978–1985).
                   Bo Cooper served as General Counsel of the Im-
                migration and Naturalization Service (“INS”) from
                1999 until 2003.2
                    T. Alexander Aleinikoff served as General Coun-
                sel and then as Executive Associate Commissioner
                for Programs of the INS from 1994 to 1997.
                   Roxana Bacon served as Chief Counsel of USCIS
                from 2009 to 2011.
                   Seth Grossman served as Chief of Staff to the
                General Counsel of DHS from 2010 to 2011, Deputy
                General Counsel of DHS from 2011 to 2013, and as
                Counselor to the Secretary at the same agency in
                2013.
                   Stephen H. Legomsky served as Chief Counsel of


                   2 The INS is the predecessor agency to  the federal offices
                within DHS that now have responsibility for enforcing the na-
                tion’s immigration laws.




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                USCIS from 2011 to 2013 and as Senior Counselor to
                the Secretary of DHS on immigration from July to
                October 2015.
                   Jonathan E. Meyer served as Deputy General
                Counsel of DHS from 2014 to 2016 and as Senior
                Counselor to the General Counsel from 2011 to 2014.
                Previously, he served as Deputy Assistant Attorney
                General at the Department of Justice (2000–2001,
                2009–2011).
                   John R. Sandweg served as Acting Director of
                ICE from 2013 to 2014, as Acting General Counsel of
                DHS from 2012 to 2013, as Senior Counselor to the
                Secretary of DHS from 2010 to 2012, and as Chief of
                Staff to the General Counsel of the same agency from
                2009 to 2010.
                   David A. Martin served as Principal Deputy Gen-
                eral Counsel of DHS from January 2009 through De-
                cember 2010 (including four months as Acting Gen-
                eral Counsel) and as General Counsel of the INS
                from August 1995 to January 1998.
                   Paul Virtue served as General Counsel of the INS
                from 1998 to 1999. He also served as Executive Asso-
                ciate Commissioner of the INS from 1997 to 1998
                and as Deputy General Counsel from 1988 to 1997.
                   Paul M. Rosen served as Chief of Staff to the Sec-
                retary of DHS from 2015 to 2017. Previously, Mr.
                Rosen served in various positions at DHS from 2013
                to 2015. Earlier in his career, Mr. Rosen served at




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                the U.S. Department of Justice (2009–2013) and as
                Counsel to the U.S. Senate Judiciary Committee for
                then-Senator Joseph R. Biden, Jr. (2006–2009).
                   Amici submit this brief to offer their first-hand
                perspective on the virtue, historical pedigree, and
                lawfulness of deferred action in the enforcement of
                federal immigration law and to provide context as to
                why a decision to rescind DACA as unlawful cannot
                and should not stand.




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                           SUMMARY OF ARGUMENT
                    DACA is not government benevolence, inaction,
                or—as some have derisively labeled it—“amnesty.”
                Rather, as the amici can personally attest, DACA is
                sound, smart policy given the inherent limitations of
                government resources. It confers no legal status and
                it serves important government interests (including
                public safety and national security) by encouraging
                young people who are the lowest priorities for re-
                moval, but who live in the shadows of American life,
                to come forward, engage in their communities, and
                contribute to the economy.
                   Discretionary relief policies have existed within
                the landscape of executive branch authority for dec-
                ades and have been used by administrations of both
                political parties. DACA is thus neither novel nor un-
                precedented. The authority to adopt DACA and the
                accompanying authority to issue work authorization
                both derive from the prosecutorial discretion routine-
                ly exercised by the executive branch and from Con-
                gress’ broad delegations of authority in the immigra-
                tion context. Further statutory authority expressly
                endorsing the manner in which that prosecutorial
                discretion is exercised is not necessary.




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                            STATEMENT OF THE CASE
                   There are an estimated 11 million people present
                in this country without documentation. Another
                300,000 to 450,000 immigrants are apprehended try-
                ing to enter the country illegally each year. This
                year, the figure likely will approach 850,000—the
                highest in over a decade.3
                   Historically, the executive branch has lacked the
                resources required to take action against every per-
                son residing in the United States who may be re-
                movable. The institutions and personnel of immigra-
                tion enforcement—including immigration courts,
                judges, federal attorneys, asylum officers, and DHS
                enforcement and removal personnel—can remove on-
                ly a small fraction of those who are removable. Re-




                   3 Jens Manuel Krogstad et al., 5 Facts About Illegal Immi-

                gration in the U.S., Pew Res. Ctr. (June 12, 2019),
                https://pewrsr.ch/2lpzIfn; U.S. Customs & Border Protection,
                CBP Enforcement Statistics FY 2019, http://bit.ly/2lhBbo7; Ste-
                ven Kopits, Apprehensions, Illegal Entries Forecast for 2019
                (August), Princeton Pol’y Advisors (Sept. 10, 2019),
                http://bit.ly/2mqdY36; U.S. Customs & Border Patrol, United
                States Border Patrol Nationwide Illegal Alien Apprehensions
                Fiscal Years 1925 – 2018, http://bit.ly/2mQqMzV.




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                cently, the government has removed 220,000 to
                260,000 people per year from the country’s interior.4
                    Inevitably, then, choices must be made. Priorities
                for removal must be developed. Prosecutorial discre-
                tion must be exercised.
                   For more than fifty years, presidents and their
                administrations have done just that: exercising pros-
                ecutorial discretion to prioritize enforcement against
                those individuals who pose threats to public safety or
                national security, while deferring action against and
                authorizing the right to work (where economically
                necessary) for those who do not.
                    The Obama Administration was no exception.
                Just as seven of his predecessors had done, including
                nearly every president since Eisenhower, President
                Obama implemented deferred action, whereby immi-
                gration officials exercised discretion to defer the re-
                moval of young people who otherwise were in the
                United States unlawfully. See generally Hearing Be-
                fore the H. Comm. on the Judiciary, 114th Cong.
                (Feb. 25, 2015) (Written Testimony of Stephen H.
                Legomsky at 2–26), http://bit.ly/2lFGM7I (explaining
                the legality of such policies, including DACA).


                   4 U.S. Immigr. & Customs Enforcement,  Fiscal Year 2018
                ICE Enforcement and      Removal   Operations Report 10,
                http://bit.ly/2mwAVl3.




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                   Established on June 15, 2012, DACA authorizes
                the deferral of removal and other proceedings on a
                case-by-case basis for young people who were under
                the age of sixteen when they entered the United
                States, under the age of thirty-one as of June 15,
                2012, and who meet specific educational and public-
                safety criteria. See Memorandum from Janet Napoli-
                tano to David V. Aguilar et al., Sec’y of Homeland
                Sec., Exercising Prosecutorial Discretion with Respect
                to Individuals Who Came to the United States as
                Children 1–2 (June 15, 2012), http://bit.ly/2mVOUkJ
                (“Napolitano Memorandum”). Importantly, however,
                satisfying these criteria is a necessary, but not suffi-
                cient, condition to receiving deferred action under
                DACA; immigration officials retain authority to deny
                deferred action even to those individuals who satisfy
                these criteria. See Br. for Amici DACA Recipients &
                State of New Jersey at 9–25.
                   Deferred action for DACA recipients is “especially
                justified,” because they “were brought to this country
                as children” and many “know only this country as
                home.” Napolitano Memorandum at 1–2. President
                Obama recognized that it would cause irreparable
                harm to remove these individuals to countries where
                they lacked familial or economic ties. There is thus a
                compelling humanitarian interest in affording DACA
                recipients some explicit protection against removal.




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                    Like deferred action and similar policies before it,
                DACA is not available to anyone who has been con-
                victed of certain offenses or to anyone who poses a
                threat to national security. Id. at 1. DACA’s empha-
                sis on public safety and national security is con-
                sistent with historical practice—immigration en-
                forcement generally has prioritized dangerous crimi-
                nals and those apprehended at the border. See gen-
                erally Arizona v. United States, 567 U.S. 387, 396–97
                (2012).
                   DACA’s authorizing memorandum provides that
                USCIS “shall accept applications to determine
                whether these individuals qualify for work authori-
                zation during this period of deferred action.” Napoli-
                tano Memorandum at 3. Significantly, however, the
                authorizing memorandum confers neither a right to
                work nor a right to petition DHS for approval to
                work. Rather, a DACA recipient is eligible to apply
                for work authorization under a federal regulation
                that predates DACA and has been available for dec-
                ades to qualifying recipients of discretionary relief.
                   Since its adoption, DACA has been an over-
                whelming success. As of 2017, before the Trump Ad-
                ministration attempted to rescind DACA on the in-
                correct assertion that its hands were tied legally,
                nearly fifty-five percent of DACA recipients were
                employed, while sixty-two percent of those not in the




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                labor force were enrolled in school.5 The DACA popu-
                lation includes students, teachers,6 licensed physi-
                cians,7 members of the U.S. military,8 students at top
                law schools,9 and those admitted to practice law in
                various states.10 In short, today’s DACA population
                is by-and-large either full-time employed or other-
                wise in school. In the course of their duties, amici

                    5 Jie Zong et al., A Profile of Current DACA Recipients by

                Education, Industry, and Occupation, Migration Pol’y Inst.
                (Nov. 2017), http://bit.ly/2lrezS1; see also Tom Wong et al., Re-
                sults from 2019 National DACA Study, Ctr. Am. Progress 2, 6
                (2019), https://ampr.gs/2lWJyWp (explaining that, since their
                applications were approved, seventy percent of DACA recipients
                have enrolled in educational programs that were previously un-
                available to them and almost sixty percent became employed for
                the first time).
                   6 See Roberto G. Gonzalez et al., Taking Giant Leaps For-

                ward: Experiences of a Range of DACA Beneficiaries at the 5-
                Year Mark, Ctr. Am. Progress 5 (June 22, 2017),
                https://ampr.gs/2lu5tDU.
                   7 Ibid.

                   8 Kathryn Watson, Pentagon Says DACA Recipients in Mili-

                tary Number Fewer than 900, CBS News (Sept. 6, 2017),
                https://cbsn.ws/2kTFlSR.
                   9 Statement from Dean Manning on the End of the DACA

                Program, Harv. L. Sch. (Sept. 5, 2017), http://bit.ly/2kWugjZ.
                   10  Raquel Muñiz et al., DACAmented Law Students and
                Lawyers in the Trump Era, Ctr. Am. Progress (June 7, 2018),
                https://ampr.gs/2lrqFKM.




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                personally met a number of these outstanding young
                people who, after years of living in this country, have
                become de facto Americans.
                    Amici know from personal experience that DACA
                is sound, smart policy, and firmly rooted in prece-
                dent. Now, after more than seven years, rescinding
                DACA is neither compelled by law nor warranted in
                fact. President Trump himself has observed that
                DACA recipients should “rest easy” because the “pol-
                icy of [his] administration [is] to allow the dreamers
                to stay.” J.A. 435. The human cost of now rescinding
                DACA on the erroneous assertion that the law com-
                pels it would be enormous; it is no overstatement to
                say that if DACA perishes, many of the 700,000
                young people who placed their faith in the U.S. gov-
                ernment would be gravely harmed.
                                    ARGUMENT
              I. Deferred Action Is Firmly Rooted in Historical
                 Practice.
                    Deferred action, including discretionary, system-
                atic relief granted on a case-by-case basis to large
                numbers of people otherwise removable, has in vari-
                ous forms occupied the landscape of executive au-




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                thority for decades.11 Federal law long has recog-
                nized this reality, codifying and sanctioning deferred
                action as “an act of administrative convenience to the
                government which gives some cases lower priority.” 8
                C.F.R. § 274a.12(c)(14) (2019); see also 6 U.S.C.
                § 202(5) (2018) (making the Secretary of Homeland
                Security “responsible” for “establishing national im-
                migration enforcement policies and priorities”).
                   Below are a handful of salient examples, all of
                which involve executive action that occurred absent,
                or in excess of, statutory authority granted by Con-
                gress.
                   Eisenhower Administration. In 1956, Presi-
                dent Eisenhower “paroled” approximately one thou-
                sand foreign-born children who had been adopted by
                American citizens overseas but who were barred en-
                try into the United States by statutory quotas. Pres-
                ident Dwight D. Eisenhower, Statement by the Presi-
                dent Concerning the Entry into the United States of
                Adopted Foreign-Born Orphans (Oct. 26, 1956),




                   11 See, e.g., Memorandum from Andorra Bruno et al., Analy-

                sis of June 15, 2012 DHS Memorandum, Exercising Prosecuto-
                rial Discretion with Respect to Individuals Who Came to the
                United States as Children 20–23, Cong. Res. Serv. (July 13,
                2012), http://bit.ly/2liwPNz (“CRS Analysis”).




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                http://bit.ly/2mtocQe (“Eisenhower Statement”).12
                With this authority, President Eisenhower was em-
                powered to permit the physical presence in the coun-
                try of individuals who otherwise were inadmissible
                under the governing statutes.13 The President ex-
                plained that he had been “particularly concerned
                over the hardship” the quotas imposed, especially on
                members of the Armed Forces who were “forced to
                leave their adopted children behind” after completing
                tours of duty. Eisenhower Statement at 1. The Presi-
                dent adopted the parole policy in the face of Congres-
                sional inaction. Ibid.
                   As the Cold War entered its second decade, the
                Eisenhower Administration began to use the parole
                power as an instrument of foreign policy.14 For ex-
                ample, President Eisenhower ordered the parole of

                    12 See Executive Grants of Temporary Immigration Relief,

                1956–Present, Am. Immigr. Counsel 3 (Oct. 2014),
                http://bit.ly/2lstw6k (“AIC Report”).
                    13 See Immigration and Nationality Act, Pub. L. No. 82-414,
                § 212(d)(5), 66 Stat. 163, 188 (1952); see also Revision of Immi-
                gration, Naturalization, and Nationality Laws: Joint Hearing
                Before the S. & H. Subcomms. on the Judiciary, 82d Cong. 713
                (1951) (Statement of Peyton Ford, Deputy Att’y Gen.) (recogniz-
                ing a long history of executive parole “under emergent and hu-
                manitarian circumstances” absent any authorizing “provision in
                existing law” before 1952).
                   14 See AIC Report at 3.




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                Cubans fleeing their country’s oppressive communist
                regime.15 The Kennedy, Johnson, and Nixon Admin-
                istrations continued this parole program, which ul-
                timately allowed over 600,000 otherwise inadmissi-
                ble persons to enter the United States.16
                   Ford & Carter Administrations. The Ford and
                Carter Administrations each granted “Extended Vol-
                untary Departure”17 to certain classes of immigrants,
                many of whom came from war-torn or communist
                countries, including individuals of Lebanese and




                   15 Ibid.

                   16 Ibid.

                   17 Since 1990 and continuing through today, Extended Vol-

                untary Departure has been known as Deferred Enforced Depar-
                ture. USCIS Policy Manual § 38.2, https://bit.ly/2mnY09H.
                These terms refer to “a temporary, discretionary, administra-
                tive stay of removal granted to aliens from designated coun-
                tries.” Ibid.




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                Ethiopian descent.18 Under these deferred action pol-
                icies, immigration officials “temporarily suspend[ed]
                enforcement” of the immigration laws for “particular
                group[s] of aliens.” Hotel & Rest. Emps. Union, Local
                25 v. Smith, 846 F.2d 1499, 1510 (D.C. Cir. 1988) (en
                banc) (per curiam) (separate opinion of Mikva, J.).19
                    Reagan Administration. The Reagan Admin-
                istration made two significant contributions to the
                history of deferred action. First, it continued and
                broadened the use of deferred action, in particular by
                implementing the Family Fairness Program.20 Sec-
                ond, and of equal importance, President Reagan’s
                INS promulgated a regulation enabling deferred ac-

                    18 See AIC Report at 4. Petitioners suggest that this policy

                “had a plausible basis” in the Immigration and Nationality Act.
                Pet. Br. at 49. But as the United States previously recognized,
                Extended Voluntary Departure was distinct from the statutori-
                ly authorized policy. See id. at 49 n.10; see also Hotel & Rest.
                Emps. Union, Local 25 v. Smith, 846 F.2d 1499, 1519 (D.C. Cir.
                1988) (en banc) (per curiam) (separate opinion of Silberman, J.)
                (affirming Extended Voluntary Departure as the President’s
                “extrastatutory decision to withhold enforcement”). In our view,
                informed by decades of collective work administering our na-
                tion’s immigration laws, Extended Voluntary Departure was
                clearly distinct from the policy authorized by statute. Because it
                did not in fact have express statutory authorization, the policy
                is indistinguishable from DACA.
                    19 See also AIC Report at 3–5; CRS Analysis at 20–21.

                    20 CRS Analysis at 21–22.




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                tion recipients to apply for work authorization. See
                46 Fed. Reg. 25,079, 25,081 (May 5, 1981). This regu-
                lation remains in effect and applies to present-day
                deferred action recipients, including those covered by
                DACA. 8 C.F.R. § 274a.12(c)(14).
                    At the start of President Reagan’s term, Congress
                expressly approved the Administration’s continued
                use of Extended Voluntary Departure as a means of
                prosecutorial discretion for certain citizens of El Sal-
                vador who claimed a risk of persecution in their
                homeland. See International Security and Develop-
                ment Cooperation Act of 1981, Pub. L. No. 97-113,
                § 731, 95 Stat. 1519, 1557 (“It is the sense of the
                Congress that the administration should continue to
                review, on a case-by-case basis, petitions for extend-
                ed voluntary departure made by citizens of El Salva-
                dor who claim that they are subject to persecution in
                their homeland, and should take full account of the
                civil strife in El Salvador in making decisions on
                such petitions.”).
                    Later, following passage of the Immigration Re-
                form and Control Act of 1986 (“IRCA”), President
                Reagan’s Administration established the Family
                Fairness Program. See Pub. L. No. 99-603, § 201, 100
                Stat. 3359, 3394. At the time, IRCA provided a
                pathway to lawful status for certain people who oth-
                erwise were present illegally in the United States.
                See ibid. But the statute said nothing about the rela-
                tives of people who might qualify for lawful status




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                under IRCA. “What to do when some but not all
                members of an alien family qualify for legalization”
                thus became “a controversial issue.” See Recent De-
                velopments, 67 No. 6 Interpreter Releases 153, 153
                (Feb. 5, 1990), http://bit.ly/2mtPlmh.
                    Confronted with that issue, INS Commissioner
                Alan Nelson acknowledged that there was “nothing
                in [IRCA or the legislative history] that would indi-
                cate Congress wanted to provide immigration bene-
                fits to others who didn’t meet the basic criteria, in-
                cluding the families of legalized aliens.” Alan C. Nel-
                son, Legalization and Family Fairness: An Analysis
                (Oct. 21, 1987), reprinted in 64 No. 41 Interpreter
                Releases 1191 app. I, at 1201. The INS therefore
                lacked express statutory authority to grant lawful
                permanent resident status to anyone who did not
                qualify for it on their own merits. Ibid. That situa-
                tion was indistinguishable from the one addressed by
                DACA.
                    The Reagan Administration, however, knew that
                the INS was not legally required to remove all such
                persons, even if the INS was prohibited from grant-
                ing them legal status. That is, the Reagan Admin-
                istration recognized the distinction between: (a)
                granting individuals lawful permanent resident sta-
                tus, which the Attorney General could not do without
                express statutory authorization, and (b) merely de-
                ferring removal actions against certain persons un-
                lawfully present, which the Attorney General was




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                empowered to do by law. See ibid.
                   As Commissioner Nelson stated: “INS is exercis-
                ing the Attorney General’s discretion by allowing
                minor children to remain in the United States even
                though they do not qualify on their own, but whose
                parents (or single parent in the case of divorce or
                death of spouse) have qualified under the provisions
                of IRCA. The same discretion is to be exercised as
                well in other cases which have specific humanitarian
                considerations.” Ibid.
                    G.H.W. Bush Administration. President George
                H.W. Bush’s Administration then expanded the Fam-
                ily Fairness Program. In 1990, INS Commissioner
                Gene McNary instructed that “[v]oluntary departure
                will be granted to the spouse and to unmarried chil-
                dren under 18 years of age, living with the legalized
                alien” so long as those individuals can establish that
                they meet certain criteria, including residence in the
                United States for a specified period of time and the
                lack of a felony conviction. Gene McNary, INS
                Comm’r, to INS Reg’l Comm’rs, Family Fairness:
                Guidelines for Voluntary Departure Under 8 CFR
                242.5 for the Ineligible Spouses and Children of Le-
                galized Aliens 1 (Feb. 2, 1990), reprinted in 67 No. 6
                Interpreter Releases 153 app. I, at 164–65 (Feb. 5,
                1990) (“McNary Memorandum”). The McNary Mem-
                orandum also made clear that anyone who qualified
                under the Family Fairness Program was eligible to
                work. Ibid. Contemporaneous government estimates




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                indicated that as many as 1.5 million people would
                be eligible under the expanded program.21 See Immi-
                gration Act of 1989 (Part 2): Hearing before the Sub-
                comm. on Immigration, Refugees, and International
                Law of the H. Comm. on the Judiciary at 56, 101st
                Cong. (Feb. 21, 1990) (testimony of INS Commission-
                er Gary McNary); see also id. at 49. It is estimated
                that this figure amounted to approximately forty
                percent of immigrants without documentation in the
                United States at the time.22


                    21 We dispute Petitioners’ claim that the Family Fairness

                Program served only an estimated 100,000 individuals. Pet. Br.
                at 49. As Petitioners themselves note, this is inconsistent with
                contemporaneous accounts by the head of the INS, which esti-
                mated as many as 1.5 million recipients. Ibid. Moreover, the
                authority relied upon by Petitioners in support of the lower es-
                timate appears to be three newspaper articles, which cannot
                overcome the authoritative estimate proffered by the INS. See
                ibid. (citing Recent Developments, 67 No. 6 Interpreter Releases
                153, 153 (Feb. 5, 1990), which itself relies on articles in the Los
                Angeles Times, the New York Times, and the Washington Post
                as authority for the 100,000 figure). But regardless of the exact
                numbers, the point remains: a ruling that DACA is unlawful
                would mean that this program and others like it were illegal
                and should have been struck down by the courts.
                    22 See Jeffrey S. Passel et al., As Growth Stalls, Unauthor-

                ized Immigrant Population Becomes More Settled, Pew Res. Ctr.
                4, 7 (Sept. 3, 2014), https://pewrsr.ch/2m4CK8F (estimating the
                unauthorized-immigrant population in 1990 to be 3.5 million
                people).




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                    President Bush later reaffirmed the executive
                branch’s inherent authority to implement policies
                like deferred action in a signing statement accompa-
                nying his approval of the Immigration Act of 1990.
                The Act authorized the Attorney General to grant
                Temporary Protected Status (“TPS”) to allow other-
                wise removable persons to remain in the United
                States “because of their particular nationality or re-
                gion of foreign state of nationality.” Pub. L. No. 101-
                649, § 302, 104 Stat. 4978, 5035 (1990). President
                Bush objected to language purporting to make this
                the “exclusive” avenue for providing such relief, stat-
                ing: “I do not interpret this provision as detracting
                from any authority of the executive branch to exer-
                cise prosecutorial discretion in suitable immigration
                cases. Any attempt to do so would raise serious con-
                stitutional questions.” See President George H.W.
                Bush, Statement on Signing the Immigration Act of
                1990 (Nov. 29, 1990), http://bit.ly/2mWGaL7.
                    Enactment of the Immigration Act of 1990 was
                significant for an additional reason: it conveyed and
                confirmed Congress’ express approval of the Family
                Fairness Program as it had been implemented to
                that point. Specifically, while the Act codified a tem-
                porary stay of removal and work authorization for
                certain eligible immigrants to preserve “family uni-
                ty,” Congress made clear that this provision would
                not become effective until the following year—and
                that administration of the Family Fairness Program




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                should not be modified in any manner before such
                date. See Immigration Act of 1990, Pub. L. No. 101-
                649, § 301(g), 104 Stat. 4978, 5030 (“[T]he delay in
                effectiveness of this section shall not be construed as
                reflecting a Congressional belief that the existing
                family fairness program should be modified in any
                way before such date.”)
                    Clinton Administration. President Clinton
                provided deferred action for individuals without doc-
                umentation who might later prove eligible for relief
                under the Violence Against Women Act. See Memo-
                randum from Paul W. Virtue, Supplemental Guid-
                ance on Battered Alien Self-Petitioning Process and
                Related Issues 3 (May 6, 1997), http://bit.ly/2mXIcuw
                (noting that “[b]y their nature, VAWA cases general-
                ly possess factors that warrant consideration for de-
                ferred action”). And later, following the end of the
                Liberian civil war and ahead of the looming expira-
                tion of TPS protections for Liberian refugees in 1999,
                President Clinton invoked his “constitutional author-
                ity to conduct the foreign relations of the United
                States” to grant Deferred Enforced Departure
                (“DED”) of Liberian nationals who were present in
                the United States when their TPS expired. See Pres-
                ident William J. Clinton, Memorandum for the At-
                torney General: Measures Regarding Certain Liberi-
                ans in the United States (Sept. 27, 1999),




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                http://bit.ly/2kUd8ew (“Clinton Memorandum”).23
                President Clinton also authorized employment for
                Liberians receiving discretionary relief under this
                policy. See ibid.
                   G.W. Bush Administration. At the start of his
                administration in 2001, President Bush extended
                President Clinton’s DED policy for certain Liberian
                nationals.24 Later, in 2007, the Bush Administration
                granted DED for Liberian nationals a second time,
                again permitting deferred action following expiration
                of TPS (which had been reinstated following a
                change of country conditions in Liberia in 2002). See
                72 Fed. Reg. 53,596 (Sept. 19, 2007).
                    President Bush also granted deferred action to
                foreign students affected by Hurricane Katrina who
                otherwise were removable because of their failure to
                fulfill the requisite F-1 visa full-time student re-
                quirement.25 This included an express grant of eligi-




                   23 See also CRS Analysis at 23.

                    24 See USCIS, Liberia Temporary Protected Status (TPS)

                Questions       and  Answers     2   (Sept.     27,  2002),
                http://bit.ly/2mXOgmM (explaining DED availability).
                   25 USCIS, Interim Relief for Certain Foreign Academic Stu-

                dents Adversely Affected by Hurricane Katrina, Frequently
                Asked Questions 1 (Nov. 25, 2005), http://bit.ly/2mARJr9.




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                bility to apply for work authorization, provided that
                the students could demonstrate economic necessity.26
                    Finally, the George W. Bush Administration en-
                acted regulations that deferred action for individuals
                petitioning for U nonimmigrant status—a classifica-
                tion available to victims of criminal activity who as-
                sist the government’s investigation and prosecution
                of that activity. 72 Fed. Reg. 53,014, 53,027 (Sept. 17,
                2007). The rules allowed these petitioners, like
                DACA recipients, to apply for employment authori-
                zation and excluded the period during which their
                petitions were pending from counting towards the
                accrual of unlawful presence. Ibid.; see 8 C.F.R.
                § 214.14(d)(3).
                    Trump Administration. President Trump’s
                Administration, like at least eight administrations
                before it, also engaged in deferred action—
                contradicting its own stated position that any form of
                deferred action not expressly authorized by statute is
                illegal. See Pet. Br. at 11. For example, from at least
                January 2017 through September 2019, USCIS con-
                tinued to process deferred action renewal requests




                   26 Ibid.




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                                              25




                from individuals who themselves or whose family
                faced life-threatening health crises.27
              II. Allowing Deferred Action Recipients to Apply
                  for Work Authorization Is Consistent With His-
                  torical Practice and Benefits the United States.
                   The Executive’s core authority to prioritize the
                removal of certain individuals above others—
                whether for public safety, national security, or hu-
                manitarian reasons—gives rise to a closely related
                consideration: how to structure discretionary relief
                policies to best serve the American economy.
                    Administration after administration has an-
                swered this question by authorizing recipients of de-
                ferred action to petition the federal government for
                work authorization if the recipients can prove eco-
                nomic necessity. That solution is sensible, as it in-
                creases social security and tax revenues, boosts our
                country’s GDP, and provides better access to work
                protections for discretionary relief recipients. See


                   27  See Camilo Montoya-Galvez, Trump Administration to
                Process Some Deferred Deportation Requests from Sick Immi-
                grants, CBS News (Sept. 2, 2019), https://cbsn.ws/2lt1ash; see
                also Ted Hesson, DHS Walks Back Decision to Halt Medical
                Deportation        Relief,  Politico     (Sept.    19,    2019),
                https://politi.co/2myWK3s (quoting USCIS spokesperson that
                “USCIS is resuming its consideration of non-military deferred
                action requests on a discretionary, case-by-case basis”).




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                                          26




                generally Brief for Professional Economists and
                Scholars in Related Fields as Amici Curiae in Sup-
                port of Petitioners, United States v. Texas, 136 S. Ct.
                2271 (2016) (No. 15-674). It also reduces the likeli-
                hood that a recipient of deferred action will become a
                public charge, thereby furthering the purpose of fed-
                eral immigration law. Immigration Act of 1990
                § 212(a)(4), 8 U.S.C 1182(a)(4) (2018) (aliens are in-
                admissible if they are likely to become a public
                charge).
                    Granting work authorization to recipients of de-
                ferred action is expressly permitted by regulation
                and is a necessary practice for the coherent admin-
                istration of federal immigration law. See 8 C.F.R.
                § 274a.12(c)(14). Ending this policy would present
                not only an unprecedented disruption of the federal
                immigration system, it would upend an employment
                practice upon which the American economy and im-
                migration system have relied for nearly half a centu-
                ry.
                A. Work authorization is permitted under fed-
                   eral law.
                   It is undisputed that federal law permits all
                recipients of deferred action to request work
                authorization based upon a showing of “economic ne-
                cessity.” 8 C.F.R. § 274a.12(c)(14); see Pet. Br. at 44–
                45. Critically, federal law does not permit all recipi-
                ents of deferred action to receive work authorization.




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                Rather, work authorization is available only to those
                deferred action recipients who can demonstrate that
                they are unable to support themselves economically
                without entering the formal economy.
                   Contrary to Petitioners’ claim, Pet. Br. at 44–45,
                this limited right is not a reason to reject DACA’s
                lawfulness. To begin, work authorization is not
                unique to DACA. Rather, it is a product of federal
                regulations that predate DACA by decades, that
                have been invoked by administrations of both parties
                since the 1970s, and that Congress has approved
                since 1986. See 8 U.S.C. § 1324a(h)(3) (recognizing
                executive authority to grant work authorization). See
                generally J.A. 833–35 & n.11 (OLC opinion explain-
                ing the history of this authority). Further, the ac-
                companying effect is modest and beneficial to this
                country. Finally, it also is smart policy: if these indi-
                viduals are to remain in the United States, even for
                short periods of time, immigration officials recognize
                that it is in the national interest to ensure that they
                can be economically self-sufficient.
                B. Work authorization is consistent with his-
                   torical practice.
                   Like deferred action, the grant of work authoriza-
                tion is a long-standing practice of the executive
                branch. DHS and its predecessor agencies have
                granted work authorization to certain immigrants
                since at least 1952. See, e.g., 17 Fed. Reg. 11,488,




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                11,489 (Dec. 19, 1952) (codified at 8 C.F.R. § 214.2(c)
                (1952)) (prohibiting some aliens from working in the
                United States “unless such employment or activity
                has first been authorized by the district director”).
                    The policy of granting work authorization to re-
                cipients of deferred action began in the early 1970s
                and continues today. Congress has endorsed the
                practice throughout this period. See Sam Bernsen,
                Lawful Work for Nonimmigrants, 48 No. 21 Inter-
                preter Releases 168, 315 (June 21, 1971).
                    1970s. In 1975, the INS’s General Counsel ex-
                plained that the INS authorized certain aliens to
                work in cases “when we do not intend or are unable
                to enforce the alien’s departure,” even though such
                work authorization “doesn’t make his illegal stay
                here any less illegal.” Sam Bernsen, Leave to Labor,
                52 No. 35 Interpreter Releases 291, 294–95 (Sept. 2,
                1975). As under DACA, such grants of work authori-
                zation were not given “automatically,” but rather re-
                quired a “request” by the individual. Id. at 295. Ear-
                lier, Congress had recognized and approved this
                practice in the Farm Labor Contractor Registration
                Act Amendments of 1974, Pub. L. No. 93-518, § 7(5),
                88 Stat. 1652, 1655, which made it unlawful for farm
                labor contractors knowingly to employ any “alien not
                lawfully admitted for permanent residence or who
                has not been authorized by the Attorney General to
                accept employment” (emphasis added).




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                    1980s. In 1981, President Reagan’s INS codified
                “the procedures and criteria for the grant of employ-
                ment authorization to aliens in the United States.”
                See 46 Fed. Reg. 25,080–25,081 (May 5, 1981). The
                Reagan Administration stipulated that the Attorney
                General could grant work authorization to certain
                deferred action recipients, as well as other categories
                of individuals who lacked specific statutory authori-
                zation for employment. Id. at 25,081 (codified at 8
                C.F.R. § 109.1(b)(6) (1982) (citing 8 U.S.C. § 1103)).
                Granting deferred action recipients the right to seek
                approval to work was necessary, the INS empha-
                sized, “because humanitarian or economic needs
                warrant administrative action.” Ibid.
                    Five years later, Congress endorsed President
                Reagan’s codification of work authorization. See Im-
                migration Reform and Control Act of 1986, Pub. L.
                No. 99-603, 100 Stat. 3359. By enacting IRCA, Con-
                gress made it unlawful for an employer to hire “an
                unauthorized alien (as defined in subsection (h)(3) of
                this section) with respect to such employment.” 8
                U.S.C. § 1324a(a)(1). In defining “unauthorized al-
                ien,” however, Congress excluded individuals who
                had been “authorized to be so employed by [the INA]
                or by the Attorney General.” 8 U.S.C. § 1324a(h)(3)
                (emphasis added). This language reaffirmed both the
                Attorney General’s authority to grant work authori-




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                zations and the manner in which the INS had been
                exercising that authority.28
                    The following year, the INS reaffirmed the work
                authorization rule (after extensive notice and com-
                ment) and reiterated the important policy goals that
                supported its adoption. In 1987, the Reagan Admin-
                istration denied a petition for rulemaking that
                sought to rescind the rule on grounds that it was “in-
                consistent” with IRCA’s alleged purpose of protecting
                the “American labor force.” 51 Fed. Reg. 39,385–
                39,386 (Oct. 28, 1986); 52 Fed. Reg. 46,092–46,093
                (Dec. 4, 1987) (denying the petition). In rejecting the
                petition, the INS explained that the work authoriza-
                tion rule relates to and supports a variety of IRCA’s
                policy objectives, including because it furthers inter-
                national exchange, encourages family reunion, pro-
                tects those who fear persecution, facilitates diplomat-
                ic relations, fulfills international treaty require-

                   28 At the time Congress enacted IRCA,      it was aware that
                the INS had promulgated work authorization regulations: the
                INS sent a letter to Congress asserting its claimed authority to
                grant work authorization, and Congress included this letter in
                IRCA’s legislative history. See Letter from Robert McConnell,
                Dep’t of Justice, to Rep. Romano Mazzoli (Apr. 4, 1983), includ-
                ed in Immigration Reform and Control Act of 1983: Hearings
                before the Subcomm. on Immigration, Refugees, and Int’l Law of
                the H. Comm. on the Judiciary, 98th Cong. 1441, 1450 (1983)
                (“INS currently has authority to define classes of aliens who
                may be employed in the U.S. . . . .”).




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                ments, provides due process for removable individu-
                als, and affords some humanitarian assistance in
                meritorious cases. 52 Fed. Reg. at 46,092. The INS
                further explained that “the only logical way to inter-
                pret” Section 1324a(h)(3)’s definition of “unauthor-
                ized alien” is to recognize that Congress was fully
                aware of the Attorney General’s practice and wanted
                to exclude both “aliens who have been authorized
                employment by the Attorney General through the
                regulatory process” and “those who are authorized
                employment by statute.” Id. at 46,093. Congress has
                not interfered with or sought to end this process in
                the years since.
                    1990s. The George H.W. Bush and Clinton Ad-
                ministrations granted discretionary relief and work
                authorization in support of their humanitarian and
                foreign policy objectives.
                    In 1991, the George H.W. Bush Administration
                granted voluntary departure to the “ineligible spous-
                es and children of legalized aliens” who did not quali-
                fy for statutory protection under IRCA. McNary
                Memorandum at 165. The Administration also
                granted work authorization to these individuals, rec-
                ognizing that family members of newly legalized in-
                dividuals required both protection from removal and
                the means to economically support themselves. Ibid.
                  In 1996, Congress again preserved the Attorney
                General’s authority to grant work authorization,




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                even as it imposed new limits on the Attorney Gen-
                eral’s ability to do so. For example, Congress provid-
                ed that “[n]o alien ordered removed shall be eligible
                to receive authorization to be employed in the United
                States unless the Attorney General makes a specific
                finding . . . that the alien cannot be removed” or that
                “the removal of the alien is otherwise impracticable
                or contrary to the public interest.” Illegal Immigra-
                tion Reform and Immigrant Responsibility Act of
                1996, Pub. L. No. 104-208, § 305(a)(3), 110 Stat.
                3009-546, 3009-600 (codified as amended at 8 U.S.C.
                § 1231(a)(7)).
                    In late 1997, President Clinton ordered the At-
                torney General to provide certain Haitian nationals
                with DED. See President William J. Clinton, Memo-
                randum on Deferred Enforced Departure for Haitians
                (Dec. 23, 1997), http://bit.ly/2nemnqS. President
                Clinton also granted these Haitian nationals “au-
                thorization for employment,” pursuant to which they
                could seek approval to work. Ibid. Like DACA recipi-
                ents, these Haitian nationals were eligible for de-
                ferred action and employment authorization so long
                as they had been continuously present in the United
                States for a specified period of time. Ibid.
                    Finally, as discussed supra p. 22-23, President
                Clinton in 1999 extended DED to certain Liberian
                nationals based upon “compelling foreign policy rea-
                sons[.]” Clinton Memorandum at 1. President Clin-
                ton supported his foreign policy rationale with an




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                economic one, making work authorization available
                to Liberians who received discretionary relief. Ibid.
                    2000s. During the second Bush Administration,
                the INS continued to grant work authorization to al-
                iens who might qualify as potential trafficking or
                crime victims under the Victims of Trafficking and
                Violence Protection Act of 2000 (VTVPA), Pub. L. No.
                106-386, 114 Stat. 1464. See Memorandum from Mi-
                chael D. Cronin, Acting Exec. Assoc. Comm’r, INS, to
                Michael A. Pearson, Exec. Assoc. Comm’r, Off. of
                Programs, INS, VTVPA of 2000 Policy Memorandum
                #2—“T” and “U” Nonimmigrant Visas 4 (Aug. 30,
                2001), http://bit.ly/2mEG5vA (discussing how poten-
                tial applicants of new VAWA categories could be eli-
                gible for work authorization under 8 C.F.R.
                § 274a.12(c)(11), (c)(14)). After Hurricane Katrina,
                work authorization was similarly extended to stu-
                dents newly eligible for deferred action.29
                    As this history suggests, Congress and the execu-
                tive repeatedly have granted work authorization to
                recipients of deferred action. They have done so be-
                cause economic and humanitarian needs compel it.
                DACA is no different.



                   29 See USCIS, Press Release, USCIS Announces Interim Re-

                lief for Foreign Students Adversely Impacted by Hurricane
                Katrina 1 (Nov. 25, 2005), http://bit.ly/2lHjWfZ.




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                                      CONCLUSION
                      DACA is a lawful and prudent response to chal-
                  lenges inherent in the enforcement of our nation’s
                  immigration laws. It also is entirely consistent with
                  the practice of prior administrations dating back to
                  the 1950s. And while DACA does not create any spe-
                  cific right for young people to work, existing federal
                  law does, and the practice has been accepted by the
                  executive and legislative branches since the 1970s.
                  For these reasons, the judgment of the courts below
                  should be affirmed.
                                            Respectfully submitted,
              JEH C. JOHNSON                  KAREN L. DUNN
              L IZA M. V  ELAZQUEZ            JOSHUA RILEY
              DAVID C. KIMBALL-STANLEY        MENNO GOEDMAN
              PAUL, WEISS, RIFKIND,           ANDREA R. FLORES
                W  HARTON   &G  ARRISON LLP BOIES SCHILLER FLEXNER LLP
              1285 Avenue of the Americas     1401 New York Avenue, NW
              New York, NY 10019              Washington, DC 20005
              (212) 373-3000                  (202) 237-2727

              MASHA G. HANSFORD            ALBERT GIANG
              PAUL, WEISS, RIFKIND,        Counsel of Record
                WHARTON & GARRISON LLP     BOIES SCHILLER FLEXNER LLP
              2001 K Street, NW            725 South Figueroa Street
              Washington, DC 20006         Los Angeles, CA 90017
              (202) 223-7300               (213) 629-9040
                                           agiang@bsfllp.com
                              Counsel for Amici Curiae
                October 4, 2019




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                In the Supreme Court of the United States
                                     __________________
                 DEPARTMENT OF HOMELAND SECURITY, et al., Petitioners,
                                        v.
                   REGENTS OF THE UNIVERSITY OF CALIFORNIA, et al.,
                                   Respondents.
                                __________________
                 DONALD J. TRUMP, PRESIDENT OF THE UNITED STATES, et
                                   al., Petitioners,
                                           v.
                   NATIONAL ASSOCIATION FOR THE ADVANCEMENT OF
                         COLORED PEOPLE, et al., Respondents
                                __________________
                 KEVIN K. MCALEENAN, ACTING SECRETARY OF HOMELAND
                             SECURITY, et al., Petitioners,
                                          v.
                  MARTIN JONATHAN BATALLA VIDAL, et al., Respondents.
                                __________________
                On Writs of Certiorari to the United States Courts of
                 Appeals for the Ninth, District of Columbia, and
                                  Second Circuits
                                     __________________
                     Brief for Amici Curiae Institutions of Higher
                        Education in Support of Respondents
                                     __________________
                                              Bruce V. Spiva
                                                Counsel of Record
                                              Amanda R. Callais
                                              Rebecca K. Mears
                                              PERKINS COIE LLP
                                              700 13th Street, NW, Suite 600
                                              Washington, D.C. 20005
                                              (202) 654-6203
                                              bspiva@perkinscoie.com

                                              Attorneys for Amici Curiae
                Becker Gallagher · Cincinnati, OH · Washington, D.C. · 800.890.5001




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                                            i

                              LIST OF AMICI CURIAE
                   This brief is filed on behalf of the following 165
                institutions of higher education located in 32 states and
                the District of Columbia:
                Adler University
                Agnes Scott College
                Alamo Community College District
                American University
                Amherst College
                Arizona State University
                Augustana College
                Austin Community College District
                Barnard College
                Beloit College
                Benedictine University - Mesa
                Berklee College of Music
                Boston University
                Bowdoin College
                Brandeis University
                Bryn Mawr College
                Bucknell University
                California Community Colleges Board of Governors
                Carleton College
                Carnegie Mellon University
                Case Western Reserve University
                Christian Brothers University
                Claremont Graduate University
                Claremont McKenna College
                Colby College
                Colorado Mountain College




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                                        ii

                Colorado State University System
                   Colorado State University
                   Colorado State University-Global
                   Colorado State University-Pueblo
                Columbia College
                Connecticut College
                Connecticut State Colleges & Universities
                   Asnuntuck Community College
                   Capital Community College
                   Central Connecticut State University
                   Charter Oak State College
                   Eastern Connecticut State University
                   Gateway Community College
                   Housatonic Community College
                   Manchester Community College
                   Middlesex Community College
                   Naugatuck Valley Community College
                   Northwestern Community College
                   Norwalk Community College
                   Quinebaug Valley Community College
                   Southern Connecticut State University
                   Three Rivers Community College
                   Tunxis Community College
                   Western Connecticut State University
                Contra Costa Community College District
                Cornell College
                Dominican University
                Elon University
                Emerson College
                Foothill-De Anza Community College District
                Fort Lewis College
                Franklin & Marshall College
                Gettysburg College
                Goucher College




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                                       iii

                Grand View University
                Grinnell College
                Guilford College
                Hamilton College
                Haverford College
                Illinois Institute of Technology
                Indiana University
                Ithaca College
                Kalamazoo College
                Knox College
                Lafayette College
                Lawrence University
                Lewis and Clark College
                Los Angeles Community College District
                Loyola University of Chicago
                Macalester College
                Maricopa County Community College District
                Marietta College
                Maryland Institute College of Art
                Marymount University
                Massachusetts College of Liberal Arts
                MassBay Community College
                Menlo College
                Metropolitan State University of Denver
                Middlebury College
                Minnesota State Colleges and Universities
                Moravian College
                Mount Holyoke College
                National Louis University
                Nevada System of Higher Education
                    College of Southern Nevada
                    Desert Research Institute
                    Great Basin College
                    Nevada State College




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                                       iv

                   Truckee Meadows Community College
                   University of Nevada, Las Vegas
                   University of Nevada, Reno
                   Western Nevada College
                Northampton Community College
                Northeastern University
                Northern Essex Community College
                Northwestern Community College
                Oberlin College
                Oglethorpe University
                Oregon State University
                Passaic County Community College
                Pima County Community College District
                Pomona College
                Quinsigamond Community College
                Reed College
                Rhode Island School of Design
                Rhodes College
                Rice University
                Riverside Community College District
                Rochester Institute of Technology
                Roosevelt University
                Rutgers University-Camden
                Rutgers University-Newark
                Salisbury University
                San Bernardino Community College District
                Sarah Lawrence College
                School of the Art Institute of Chicago
                Seattle Pacific University
                Seattle University
                Simmons University
                Smith College
                Southeastern University
                Southern New Hampshire University




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                                         v

                St. Edward’s University
                State Center Community College District
                Swarthmore College
                TCS Education System
                    Pacific Oaks College & Children’s School
                    Saybrook University
                    The Chicago School of Professional Psychology
                    The Santa Barbara & Ventura Colleges of Law
                The College of Wooster
                The New School
                The Trustees of the California State University
                Trinity Washington University
                Tufts University
                University of Arkansas
                University of Colorado
                University of Connecticut
                University of Denver
                University of Illinois System
                University of Maryland Baltimore
                University of Maryland College Park
                University of Michigan
                University of New England
                University of Northern Colorado
                University of Puget Sound
                University of San Diego
                University of Utah
                Vassar College
                Virginia Wesleyan University
                Wayne State University
                Weber State University
                Wellesley College
                Wesleyan University
                Western Oregon University
                Western Washington University




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                Westminster College
                Whitman College
                Williams College




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                                               1

                           INTEREST OF AMICI CURIAE1
                   Amici are 165 institutions of higher education
                located in 32 states and the District of Columbia. Amici
                include large public universities, private research
                universities, liberal arts colleges, community colleges,
                and faith-based institutions. We are located in urban
                centers and rural farm areas throughout states that
                span the political spectrum. Collectively, amici have
                taught and employed millions of people.
                   Amici have seen firsthand the positive effects of
                Deferred Action for Childhood Arrivals (“DACA”) on
                their campuses. DACA has facilitated the pursuit of
                higher education by undocumented youth in
                unprecedented numbers, ensuring that once enrolled,
                these students are positioned to succeed. As a result of
                DACA, thousands of talented and hard-working young
                people have made significant and wide-ranging
                contributions to amici’s campuses. They form a key
                part of our campus life and as institutions we benefit


                1
                  The parties have given blanket consent to the filing of amicus
                curiae briefs in this case. Pursuant to Supreme Court Rule 37.6,
                counsel for amici state that no counsel for a party authored this
                brief in whole or in part, and no person other than amici, their
                members, or their counsel made any monetary contribution
                intended to fund the preparation or submission of this brief. Out
                of an abundance of caution, counsel notes that Jenner & Block
                LLP, counsel for Respondents the Trustees of Princeton
                University, Microsoft Corporation, Maria De La Cruz Perales
                Sanchez, represented some of amici in the Second and Ninth
                Circuits and filed a brief similar in some respects to this one.
                However, Jenner & Block played no role in authoring this brief
                beyond the work it had already done in connection with the Second
                and Ninth Circuit briefs.




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                greatly from the energy and academic excellence they
                bring. Amici have also made substantial investments
                in the education of undocumented youth in reliance on
                DACA. Although these students unquestionably benefit
                from being able to attend our institutions—and this is
                something DACA certainly facilitates—we as
                institutions also benefit significantly from the many
                contributions, discussed herein, this remarkable group
                of young people make to our schools and communities.
                    We believe the perspective we bring as institutions
                is relevant to this case because it will demonstrate to
                the Court that another group—beyond DACA
                recipients themselves—will be harmed by the
                Petitioners’ actions. Amici Institutions of Higher
                Education share the Respondents’ interest in a diverse
                student body, and this brief demonstrates that
                Petitioners’ arbitrary and capricious actions will impact
                institutions of all sizes throughout the nation.
                             INTRODUCTION AND
                           SUMMARY OF ARGUMENT
                    American institutions of higher education benefit
                profoundly from the presence of immigrant students on
                our campuses. Whether they attend large public
                universities, private research universities, liberal arts
                colleges, or community colleges, these students
                contribute a perspective and experience that is unique
                and important. That is especially true of
                Dreamers—that is, undocumented young people who
                were brought to the United States as children.
                   Through no choice of their own, Dreamers were
                raised and educated in this country as Americans. They




                                                                            AR5132
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                have worked and studied in American schools; have
                prepared and trained for all manner of careers; and
                have strived to innovate, achieve, and serve their
                communities. Yet, until DACA was announced in 2012,
                they lived under the threat that the government might
                one day come calling and remove them from the
                country that has become their home. Though they
                might have dreamed of bright futures, for many their
                undocumented status stood as an impenetrable
                roadblock to one of the most fundamental tools for a
                successful future: College.
                   DACA changed this and has provided up to 1.3
                million Dreamers with an opportunity to apply for
                temporary protection from removal, to pursue their
                education, and to work legally in the United States.2 To
                qualify for DACA, Dreamers are required to meet strict
                conditions, including, completing high school, obtaining
                a GED, or being currently enrolled in school in the
                United States. In addition, Dreamers are required to
                pay a significant application fee and provide detailed
                personal information to the government—a significant
                request given the hesitancy of undocumented persons
                to have any interaction with the government
                whatsoever. But the students who have signed up and
                placed their trust in the government received in
                exchange the opportunity to pursue higher education.
                And they have done so in unprecedented numbers.
                Indeed, in fall 2017, estimates show that of the close to


                2
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                700,000 then-active DACA recipients, over 120,000
                were in post-secondary education.3
                   On September 5, 2017, Petitioners announced they
                were rescinding DACA. This misguided, arbitrary and
                capricious decision will harm the thousands of
                remarkable young people who are already DACA
                recipients and millions more who would seek to take
                advantage of the opportunities that DACA provides.
                But, critically, it will also harm the country, which will
                be deprived of the many contributions Dreamers would
                otherwise be able to make.
                   Challenges to DACA’s rescission were filed in the
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                Supp. 3d 1011 (N.D. Cal. 2018), the District of
                Columbia, NAACP v. Trump, 298 F. Supp. 3d 209
                (D.D.C. 2018), and the Eastern District of New York,
                Batalla Vidal v. Nielsen, 279 F. Supp. 3d 401 (E.D.N.Y.
                2018). These cases were each appealed to their
                respective circuit courts before the Court granted
                certiorari. The cases were consolidated and are now
                before the Court. In all three cases, lower courts either

                3
                  Jie Zong et al., A Profile of Current DACA Recipients by
                Education, Industry, and Occupation, MIGRATION POLICY INST.
                (Nov. 2017), https://www.migrationpolicy.org/research/profile-
                current-daca-recipients-education-industry-and-occupation (follow
                “DACA Recipients by State” hyperlink to excel document) (The
                data provided comes from a Migration Policy Institute analysis of
                U.S. Census Bureau data from the pooled 2010-2014 American
                Community Surveys and 2008 Survey of Income and Program
                Participation, with legal status assignments by James Bachmeier
                of Temple University and Jennifer Van Hook of the Pennsylvania
                State University, Population Research Institute.).




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                                            5

                enjoined or vacated Petitioners’ decision to rescind
                DACA.
                   Amici collectively have educated thousands of
                DACA beneficiaries, and we have benefited from their
                talents and the passion they bring to our campuses.
                Even those amici who have no DACA beneficiaries
                currently on campus view DACA as core to their
                educational missions. In this brief, amici explain how
                we will be harmed if DACA is rescinded. For that
                reason, amici support Respondents and respectfully
                urge the Court to affirm the judgments of the courts
                below.
                                     ARGUMENT
                I.     DACA HAS ALLOWED TENS OF
                       THOUSANDS     OF PREVIOUSLY
                       UNDOCUMENTED YOUTH TO PURSUE
                       HIGHER EDUCATION.
                    DACA has enabled previously undocumented
                students to pursue higher education in several
                important ways that benefit the amici institutions
                through heightened interest in enrollment, financial
                support, improved diversity, and myriad contributions
                to campus life.
                    First, to qualify for deferred action under DACA, an
                applicant must generally obtain a high school diploma,
                GED certificate, or be enrolled in school. The possibility
                of securing deferred action provides a powerful
                incentive for students to stay in school, increasing the
                likelihood that they will pursue postsecondary
                education and become taxpayers and significant
                contributors to our society.




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                                                6

                    Second, prior to DACA, undocumented students felt
                the need to hide their status from others, which
                constrained their access to academic resources and
                their ability to apply to college.4 Not surprisingly,
                undocumented students who felt the need to hide their
                status from school personnel or peers during high
                school are significantly less likely even to think college
                is a possibility.5 DACA provides hard-working and
                passionate young individuals with the assurance that
                they can attend higher education without fear of
                deportation. In a 2019 survey of more than 1,100 DACA
                recipients by the Center for American Progress (the
                “2019 CAP survey”), 93 percent of those enrolled in
                school stated that DACA allowed them to pursue
                educational opportunities that they previously could
                not.6 In fact, those who receive DACA are almost as
                likely as U.S. citizens of the same age group to be
                enrolled in college; an analysis of U.S. Census data and
                data from the United States Citizenship and
                Immigration Services (“USCIS”) on DACA recipients

                4
                 Caitlin Patler & Jorge A. Cabrera, From Undocumented to
                DACAmented: Impacts of the Deferred Action for Childhood
                Arrivals (DACA) Program Three Years Following its
                Announcement 15 (June 2015), http://www.chicano.ucla.edu/files/
                Patler_DACA_Report_061515.pdf.
                5
                    Id. at 16.
                6
                  Tom K. Wong et al., DACA Recipients’ Livelihoods, Families, and
                Sense of Security Are at Stake This November, CTR. FOR AMERICAN
                PROGRESS (Sept. 19, 2019), https://www.americanprogress.org/
                issues/immigration/news/2019/09/19/474636/daca-recipients-
                livelihoods-families-sense-security-stake-November/ (This study
                included 1,105 DACA recipients in 40 states as well as the District
                of Columbia.).




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                                                 7

                from 2010-2014 indicates that 18 percent of DACA
                recipients were enrolled in college versus 20 percent of
                U.S. citizens of the same age group.7 The 2019 CAP
                survey found that over 53 percent of all respondents
                over the age of 25 reported obtaining a bachelor’s
                degree or higher.8
                   Third, DACA enables students to secure social
                security numbers and photo identification. Something
                as simple as flying on an airplane was previously all
                but impossible for undocumented youth. With DACA,
                they can fly across the country to visit campuses,
                attend school and academic conferences, and even
                obtain authorization to study abroad. Likewise, with a
                social security number, they can apply for financial aid
                and fee waivers that were previously unobtainable and
                secure credit to fund other education-related expenses.
                Given that DACA students come from families whose
                parents lack legal status—and thus frequently are
                unable to secure high-paying jobs—the availability of
                financial aid is all the more crucial to their ability to
                attend college or university.
                   Fourth, DACA enables students to apply for work
                authorization. With the ability to work part-time jobs
                and participate in work-study programs,
                undocumented students can better afford school—
                something previously made difficult or impossible by




                7
                    Zong et al., supra note 3.
                8
                    Wong et al., supra note 6.




                                                                            AR5137
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                                                      8

                the inability to work lawfully.9 Likewise, the ability to
                secure a legitimate job following graduation from
                college provides a powerful incentive to pursue a
                college education; and the inability to secure such a job
                likewise dissuades promising students from pursuing
                higher education. DACA thus increases the value of
                higher education itself for undocumented students.
                    Fifth, DACA has enabled students to overcome state
                laws that impede their ability to pursue higher
                education. For example, DACA recipients may enroll in
                public colleges and universities in states where they
                would otherwise be barred from attending,10 and may
                apply for in-state tuition in others, making it far easier
                for them to afford a college education.11 Over 20 states
                provide access to in-state tuition (at the state,
                institutional, or system level) to undocumented
                students who meet residency requirements.12 The
                continued existence of DACA is essential to allow
                students in these states to utilize these opportunities
                without fear of deportation.

                9
                  See Zenen J. Pérez, How DACA Has Improved the Lives of
                Undocumented Young People, CTR. FOR AMERICAN PROGRESS 5
                (Nov. 19, 2014), https://cdn.americanprogress.org/wp-
                content/uploads/2014/11/BenefitsOfDACABrief2.pdf; Patler &
                Cabrera, supra note 4, at 18.
                10
                     See, e.g., Ala. Code § 31-13-8; S.C. Code Ann. § 59-101-430.
                11
                     See Pérez, supra note 9, at 4.
                12
                 Basic Facts about In-State Tuition for Undocumented Immigrant
                Students, NAT’L IMMIGRATION LAW CTR. (June 21, 2019),
                https://www.nilc.org/wp-content/uploads/2017/11/instate-tuition-
                basicfacts.pdf.




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                                                  9

                    Sixth, DACA enables students to envision a future
                for themselves in this country, providing the incentive
                to pursue a degree, develop skills and expertise, and
                invest in their future here. In an August 2019 survey
                by TheDream.US of over 1,800 of their Dreamer
                scholars (“TheDream.US 2019 survey”), 84 percent
                indicated they intended to complete a master’s,
                doctoral, or professional degree after college; 57 percent
                indicated that they were pursuing a degree that
                required occupational licensing.13 Likewise, DACA also
                enables Dreamers to major in high demand and
                technical career fields. In the 2019 CAP survey, 24
                percent of respondents indicated that they were
                majoring in STEM-related fields, including biology,
                engineering, and computer and information science.
                Similarly, 15 percent of respondents indicated they
                were majoring in health fields, including nursing,
                public health, and biomedical sciences.14 Even more
                telling is that 94 percent of DACA recipients indicated
                that they had at least some concern that being
                undocumented poses a barrier to achieving long-term



                13
                   TheDream.US, 2018-2019 Scholar Survey (Aug. 2019)
                [hereinafter “TheDream.US Survey”] (on file with author).
                TheDream.US is a national college access program that awards
                scholarships to Dreamers to attend college and university. They
                partner with over 70 colleges and universities nation-wide. Ninety-
                three percent of their 3,000 scholars are DACA recipients,
                accordingly, data regarding these scholars is highly informative
                regarding DACA’s higher educational benefits. In August 2019,
                TheDream.US conducted an updated survey of its scholars and
                received over 1,800 responses.
                14
                     Wong et al., supra note 6.




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                                                  10

                career goals, a concern that would likely bear out if
                DACA is rescinded.15
                    Finally, because of DACA, amici have made
                extensive investments in the education of DACA
                beneficiaries, facilitating their access to higher
                education like never before. Among other things, amici
                have provided DACA students with financial aid,
                housing benefits, counseling, faculty time and
                attention, and graduate and research assistant
                positions, all in reliance on DACA. Some amici even
                provide legal services. Amici made these investments
                with the expectation that those students would be able
                to pursue their education and career in this country, in
                furtherance of amici’s educational missions, and the
                public interest.
                   DACA has accomplished what it was intended to do:
                In a 2017 estimate of DACA recipients, the Migration
                Policy Institute estimated that over 120,000 DACA
                recipients were enrolled in post-secondary education.16
                Likewise, the 2019 CAP survey found that 40 percent
                are currently in school.17 Among those who are in
                school, 93 percent said that, because of DACA, they
                “pursued educational opportunities that [they]




                15
                     Zong et al., supra note 3.
                16
                     Id.
                17
                  Wong et al., supra note 6. Another 56 percent of respondents are
                currently employed, meaning in all, 96 percent of respondents are
                currently employed or enrolled in school.




                                                                                     AR5140
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                                                  11

                previously could not.”18 In a different study, nearly
                four-fifths of DACA recipients (78%) reported that
                DACA made it easier to pay for school.19 Three-
                quarters of current students said DACA made it easier
                to attend school and to stay in school.20 These studies
                and amici’s experience confirm the obvious: Once young
                people are able to come out of the shadows and avail
                themselves of programs available to countless other
                American youth, they seize and benefit from the
                opportunity.
                II.        DA C A S TUDE NTS  CONTR IB UTE
                           IMMEASURABLY TO OUR CAMPUSES.
                   American colleges and universities have benefited
                immeasurably from DACA. As amicus Amherst’s
                President, Biddy Martin, wrote in a letter to the
                President of the United States, “[o]ur classrooms at
                Amherst are enriched by the academic talent, hard
                work, and perspectives of DACA students who go on to
                become doctors, teachers, engineers, and artists.”21 And
                President Martin is far from alone. Hundreds of other
                university presidents have echoed those sentiments,
                issuing public statements on DACA’s importance to


                18
                     Id.
                19
                     Patler & Cabrera, supra note 4, at 5, 18.
                20
                     Id. at 18.
                21
                   Letter from Biddy Martin, President, Amherst College, to
                D o n a l d J . T r u m p , P r e s i d e n t ( A u g . 30, 2017) ,
                https://www.amherst.edu/amherst-story/president/statements/
                node/689036.




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                                                       12

                American colleges and universities, including many
                whose institutions have signed this brief as amici.22


                22
                   See, e.g., Pomona Coll., Statement in Support of the Deferred
                Action for Childhood Arrivals (DACA) Program and Our
                Undocumented Students, https://www.pomona.edu/news/2016/
                11/21-college-university-presidents-call-us-uphold-and-continue-
                daca (last visited Sept. 27, 2019) (letter opposing the nonrenewal
                of DACA signed by over 700 university and college presidents and
                chancellors); see also, e.g., California Community Colleges
                Chancellor Eloy Ortiz Oakley’s Statement on the Trump
                Administration’s Action to End DACA for Dreamers (Sept. 5, 2017),
                https://www.cccco.edu/About-Us/News-and-Media/Press-
                Releases/Statement-Ending-DACA; Letter from Andrew D.
                Hamilton, President, New York University to Donald J. Trump,
                President (Sept. 1, 2017), http://www.nyu.edu/content/dam/nyu/
                president/documents/09-01-17-daca-letter.pdf; Letter from Vincent
                E. Price, President, Duke University, to Donald J. Trump,
                President (Aug. 30, 2017), https://today.duke.edu/2017/08/duke-
                university-letter-support-daca; Letter from Drew Gilpin Faust,
                President, Harvard University, to Donald J. Trump, President
                (Aug. 28, 2017), https://www.harvard.edu/president/news/2017/
                letter-to-president-trump-regarding-daca; Letter from Ron
                Liebowitz, President, Brandeis University, to Donald J. Trump,
                President (Sept. 5, 2017), http://www.brandeis.edu/president/
                letters/2017-09-05.html; Univ. of Michigan, Statement on DACA
                from President Mark Schlissel (Sept. 3, 2017),
                https://president.umich.edu/news-communications/statements/
                statement-on-daca-from-president-mark-schlissel/; Letter from
                Adam Falk, President, Williams College, to the Williams
                Community (Nov. 17, 2016), https://president.williams.edu/
                writings/caring-for-our-undocumented-students/; Letter from
                Kathleen McCartney, President, Smith College, to Students, Staff
                and Faculty (Sept. 5, 2017), https://smith.edu/president-kathleen-
                mccartney/letters/2017-18/responding-to-daca-decision; Letter from
                Lee Pelton, President, Emerson College, to Emerson Community
                (Sept. 6, 2017) http://www.emerson.edu/news-events/emerson-
                colle g e - to d ay /pe l t o n - r e a f f i r m s - sup p o rt- e me rso n- daca-
                students#.We5Ui2you70; Resolution of the Board of Governors,




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                                               13

                          A. DACA Students Have Had Great
                             Academic and Co-Curricular Success at
                             Our Schools.
                    Dreamers are invaluable members of our academic
                communities. In TheDream.US 2019 survey, 52 percent
                of respondents indicated that they had an on- or off-
                campus leadership role.23 DACA recipients serve as the
                presidents and vice-presidents of student
                governments,24 publish research in top academic


                California Community Colleges, No. 2017-01,
                https://www.ccleague.org/sites/default/files/federal_advocacy/BO
                G_Election_REVISED-Resolution%20%281%29.pdf (last visited
                Sept. 27, 2019); Statement of Susan Herbst, President, University
                of Connecticut, to the University of Connecticut Community (Sept.
                5, 2017), https://today.uconn.edu/2017/09/president-herbst-
                responds-daca-decision/; Letter from David W. Leebron, President,
                Rice University (Sept. 5, 2017), https://president.rice.edu/daca-
                announcement; Letter of Joseph E. Aoun, President, Northeastern
                University, to all members of the Northeastern Community (Sept.
                4, 2017), http://www.northeastern.edu/president/
                2017/09/04/turning-ideals-into-action/; Ass’n of Vermont Indep.
                Colls., Statement on the Revocation of the Deferred Action for
                Childhood Arrivals (DACA) Program, http://www.vermont-
                icolleges.org/Documents/DACAFinal2017.pdf (last visited Sept. 27,
                2019).
                23
                     TheDream.US Survey, supra note 13.
                24
                  See Jose Herrera, DACA Student Leads by Example, Los Angeles
                Pierce College Roundup (Sept. 13, 2017),
                http://theroundupnews.com/2017/09/13/daca-student-leads-
                example/ (discussing experience as student body president);
                Monica Scott, Undocumented: One immigrant’s story of life under
                DACA, MLive (Aug. 29, 2017), https://www.mlive.com/news/grand-
                rapids/2017/08/one_daca_students_story_about.html (discussing
                experience as vice-president of student body).




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                                                14

                journals,25 innovate and apply for patents,26 earn
                inclusion on the Dean’s List,27 graduate summa cum
                laude,28 and serve as tutors and research assistants.29
                They have won Soros Fellowships and been named
                Gates Cambridge Scholars and Schwarzman Scholars.30
                They take on extra learning opportunities beyond their
                classes as they prepare for their futures—74 percent
                participated in internships.31 They have gone on to
                serve others in the Teach For America and AmeriCorps

                2 5
                      America’s          Voice     (Oct.       3,   2017),
                https://americasvoice.org/blog/name-denisse-rojas-marquez-28-
                years-old-old-proud-undocumented-american-soon-doctor/.
                26
                    American Dreamers: Kok-Leong Seow, N.Y. Times,
                https://www.nytimes.com/interactive/projects/storywall/american-
                dreamers/stories/kok-leong-seow (last visited Sept. 27, 2019).
                27
                   E.g., American Dreamers: Anayancy Ramos, N.Y. Times,
                https://www.nytimes.com/interactive/projects/storywall/american-
                dreamers/stories/anayancy-ramos (last visited Sept. 27, 2019).
                28
                  American Dreamers: Carlos Adolfo Gonzalez Sierra, N.Y. Times,
                https://www.nytimes.com/interactive/projects/storywall/american-
                dreamers/stories/carlos-adolfo-gonzalez-sierra (last visited
                Sept. 27, 2019).
                29
                   E.g., American Dreamers: Gargi Y. Purohit, N.Y. Times,
                https://www.nytimes.com/interactive/projects/storywall/american-
                dreamers/stories/gargiy-purohit (last visited Sept. 27, 2019).
                30
                  American Dreamers: Denisse Rojas Marquez, 2016, N.Y. Times,
                (2016) https://www.pdsoros.org/meet-the-fellows/denisse-rojas-
                marquez (last visited Sept. 27, 2019) (discussing selection as Soros
                Fellow); American Dreamers: Carlos Adolfo Gonzalez Sierra, supra
                note 28 (discussing selection as Gates and Schwarzman Scholars).
                31
                     TheDream.US Survey, supra note 13.




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                                                15

                VISTA programs.32 They have founded national
                organizations to assist other undocumented youth.33
                   The following are but a few examples of current and
                past DACA students at amici and other institutions of
                higher education who are brave enough to share their
                stories, and whose remarkable achievements serve as
                a reminder of why DACA benefits students, the
                institutions lucky enough to have them, and the
                country:
                     • Reyna Montoya was born in Tijuana, Mexico and
                       migrated to Arizona in 2003 while fleeing
                       violence in Mexico. She holds bachelor degrees
                       in Political Science and Transborder Studies
                       from Arizona State University where she also
                       minored in Dance. Reyna also obtained a
                       Masters of Education in Secondary Education

                32
                    American Dreamers: Julia Verzbickis, N.Y. Times,
                https://www.nytimes.com/interactive/projects/storywall/american-
                dreamers/stories/julia-verzbickis (last visited Sept. 27, 2019)
                (discussing selection for Teach for America); American Dreamers:
                Brisa E. Ramirez, N.Y. Times, https://www.nytimes.com/
                interactive/projects/storywall/american-dreamers/stories/brisae-
                ramirez (last visited Sept. 27, 2019) (discussing selection for
                VISTA program).
                33
                   America’s Voice (Oct. 3, 2017), https://americasvoice.org/
                blog/name-denisse-rojas-marquez-28-years-old-old-proud-
                undocumented-american-soon-doctor; see also American Dreamers:
                Jin Park, N.Y. Times, https://www.nytimes.com/interactive/
                projects/storywall/american-dreamers/stories/jin-park (last visited
                Sept. 27, 2019); Penny Schwartz, A Jewish ‘Dreamer’ is Scared, but
                Refuses to Despair, Jewish Telegraphic Agency (Sept. 6, 2017),
                https://www.jta.org/2017/09/06/news-opinion/united-states/a-
                jewish-dreamer-is-scared-but-refuses-to-despair.




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                                                       16

                          from Grand Canyon University. She has
                          engaged in local, statewide, and national
                          platforms to advance justice for immigrant
                          communities. Reyna is a 2016 Soros Justice
                          Fellow, a 2017 Echoing Green Fellow, and a
                          Forbes: 30 Under 30 Social Entrepreneur. She is
                          also a founding member of the first Teach For
                          America DACA Advisory Board.34
                      • Elias Rosenfeld is currently a junior at Brandeis
                        University. Elias was brought to the United
                        States at age six from Venezuela by his mother
                        who was a media executive and came on an L1
                        visa. His mother died when he was in fifth
                        grade, and it was only in high school when he
                        tried to apply for a driver’s license that he
                        learned he was undocumented because his
                        mother’s death voided her (and his) visas. Elias
                        excelled in high school, completing 13 AP
                        classes, and ranked in the top 10 percent of his
                        class. At Brandeis he studies political science,
                        sociology, and law. When asked what America
                        means to him, he responded: “It means my
                        country. It’s my home. There’s a connection. I
                        want to contribute.”35




                34
                      A b o u t t h e Tea m: R ey na Mo nto ya , A L I E N T O ,
                h t tp s : / / w w w . a l i e nto az.o rg /the - te am/x iln91u t x d y j p w k t
                94p3h0icez84l9 (last visited Sept. 27, 2019).
                35
                     See Schwartz, supra note 33.




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                                              17

                     • Anayancy Ramos attended Eastern Connecticut
                       State University with a double major in Biology
                       and Computer Science and a minor in
                       Bioinformatics. Before matriculating at ECSU,
                       she attended a community college where she was
                       a Dean’s List scholar, was inducted into the Phi
                       Theta Kappa honor society, was the president of
                       the Alpha Beta Gamma chapter, and worked full
                       time at an animal hospital. She notes that
                       through DACA she’s been able to achieve an
                       education and a future she never thought
                       possible, but that those dreams will die if DACA
                       forces her to retreat once more into the
                       shadows.36
                     • Carlos Adolfo Gonzalez Sierra came to the
                       United States from the Dominican Republic
                       when he was eleven. Carlos graduated summa
                       cum laude from Amherst and studied as a Gates
                       Scholar at Cambridge University and a
                       Schwarzman Scholar in China. Carlos
                       emphasizes that his desire to stay in the United
                       States is not economic: “The United States is my
                       home. It is where I feel the most comfortable.”
                       Moreover, given the education he’s received, he
                       expresses an “inconsolable desire to contribute
                       to the country that has given me so much.”37


                36
                  See American Dreamers: Anayancy Ramos, supra note 27.
                Amicus Eastern Connecticut State University has provided
                updated details about Ramos’s course of study, with her consent.
                37
                  See American Dreamers: Carlos Adolfo Gonzalez Sierra, supra
                note 28.




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                                              18

                     • Eduardo Solis was brought to the United States
                       from Mexico when he was one month old. At the
                       age of eleven he founded a blog to help fellow
                       children deal with bullying. He has gained over
                       30,000 followers from all over the world and has
                       won awards recognizing his role as a teen
                       activist. He attends UCLA, aspiring to major in
                       either psychology or sociology. Although worried
                       about the end of DACA, Eduardo says that “[f]or
                       now, I will continue on pledging allegiance to the
                       only flag I know and love; the American Flag.”38
                     • Nancy A. was brought to the United States from
                       Togo as a child. When she entered high school at
                       age thirteen, she realized she was
                       undocumented and, shortly thereafter, both she
                       and her parents were put in deportation
                       proceedings. Despite being in these proceedings,
                       she graduated as the valedictorian of her high
                       school class and then became the youngest
                       graduate of her masters’ programs. She is
                       currently due to graduate with her Doctorate at
                       age 27 and is a professor of Political Science and
                       Education at a university and community
                       college. She describes receiving DACA at age 23
                       as being “finally forgiven for a sin I had no
                       control over when I was a child.”39

                38
                   See American Dreamers: Eduardo Solis, N.Y. Times,
                https://www.nytimes.com/interactive/projects/storywall/american-
                dreamers/stories/eduardo-solis (last visited Sept. 27, 2019).
                39
                    See American Dreamers: Nancy A., N.Y. Times,
                https://www.nytimes.com/interactive/projects/storywall/american-
                dreamers/stories/nancy-a (last visited Sept. 27, 2019).




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                                              19

                     • Alfredo Avila was brought to the United States
                       when he was just a child, and despite neither of
                       his parents being able to speak English, they
                       managed to send Alfredo and his siblings to
                       school where they all learned English. Despite
                       having to move around several times out of a
                       fear of deportation, Alfredo excelled in school
                       and attended the Honors College at the
                       University of Texas at San Antonio, where he
                       majored in Electrical Engineering. Alfredo
                       worked part-time as a math and science tutor
                       and was involved with many student
                       organizations, including serving as the President
                       of the professional engineering student
                       organization. His dream is to one day build and
                       manage his own technology company that
                       thrives off diversity and inclusion.40
                     • Dalia Larios is an Arizona State University
                       alum who was born in Mexico and raised in the
                       United States. In high school, Dalia graduated
                       within the top 1 percent of her class. Despite her
                       desire to use her studies to help communities in
                       need, her longing to earn a college degree was
                       threatened by her status as an undocumented
                       immigrant. Nonetheless, she remained
                       determined and graduated from Arizona State
                       University with a major in Biological Sciences
                       (Genetics, Cell and Developmental Biology) and
                       a 4.0 GPA. Dalia recently graduated Harvard


                40
                    See American Dreamers: Alfredo Avila, N.Y. Times,
                https://www.nytimes.com/interactive/projects/storywall/american-
                dreamers/stories/alfredo-avila (last visited Sept. 27, 2019).




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                          Medical School where she continued to advocate
                          for equitable access to education and healthcare
                          in vulnerable populations.41
                      • Isabel (alias) was able to return to school as an
                        adult and finish her Business Management
                        degree at National Louis University upon
                        receiving DACA. She graduated college with a
                        4.0 GPA and is currently working as a technical
                        support specialist for a top financial tech
                        company. Isabel hopes to one day become a
                        successful entrepreneur and to own her own
                        restaurant group. DACA changed her life,
                        allowing her to obtain a state ID, apply for
                        better jobs, and help her family. But, most
                        importantly, it made her feel like a human.42
                      • Erik graduated summa cum laude from Rutgers
                        University - Newark with a bachelor’s degree in
                        Public Administration and Nonprofit
                        Management. He was a member of the Pi Alpha
                        Alpha Honors Society for public administration,
                        and also interned for a member of Congress, a
                        local Assemblyman, and a non-profit. After
                        obtaining his degree, he continued his Rutgers
                        education with a Master’s in Public
                        Administration, concentrating in Public and
                        Nonprofit Performance Management. Erik
                        dreams of going to law school and then working

                41
                  See Arizona State Univ., DREAMzone – DACA Alumni Success
                Stories, https://eoss.asu.edu/access/dreamzone (last visited Sept.
                27, 2019).
                42
                     Interview by TheDream.US with Isabel (alias) (Sept. 2019).




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                          for the government, and possibly even running
                          for office one day. None of which would be
                          possible without DACA.43
                      • Uzair was brought to the United States from
                        Pakistan at just five months old. He received
                        DACA five years ago and is now a student at the
                        University of Houston as well as an aspiring
                        nurse. Uzair wants to become a nurse because
                        he has witnessed firsthand his parents’ struggle
                        to pay astronomical medical bills, resulting from
                        a lack of health benefits due to his and his
                        parents’ undocumented status. Likewise,
                        throughout high school he volunteered with the
                        Red Cross and developed a passion for caring for
                        others and the community. Uzair will be the
                        first in his family to graduate from college, and
                        he is grateful that his status will allow him the
                        opportunity to provide for his parents and give
                        back to his community. 44
                    The success of DACA students in college and
                university should come as no surprise. These students
                have overcome innumerable hardships simply to be
                able to apply and enroll in an institution of higher
                education. For many of our students (whether U.S.
                citizens or from other countries), matriculation in
                college or university is a natural progression after
                attending high school and taking standardized tests.
                But this is not the case for DACA students. Those


                43
                     Interview by TheDream.US with Erik (Sept. 2019).
                44
                     Interview by TheDream.US with Uzair (Sept. 2019).




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                students must perform well in school and on tests
                while at the same time living under the constant threat
                that they and their families may be deported.45
                Moreover, until DACA, these students could not apply
                for work authorization, and most of their parents still
                cannot.46 Thus, DACA students frequently have had to
                work multiple, poorly-paid jobs to help put food on the
                table while at the same time trying to maintain their
                focus and performance in school and apply to college.
                The sacrifices these students and their families have
                had to make simply to enroll as students at our
                institutions are legion, and their commitment to
                bettering themselves and getting the most out of their
                education is unwavering. These extraordinary young
                people should be cherished and celebrated, so that they
                can achieve their dreams and contribute to the fullest
                for our country. Banishing them once more to
                immigration limbo—a predicament they had no part in
                creating—is not merely cruel, but irrational. DACA
                students are the ideal candidates for prosecutorial


                45
                  TheDream.US Survey, supra note 13 (In TheDream.US 2019
                survey 94 percent of scholars indicated that they experience
                anxiety due to their legal status and the potential to lose that
                status, anxiety likely fueled by the administration’s rescission of
                DACA and ongoing litigation.).
                46
                  Most DACA students are raised in households with incomes well
                below the federal poverty line. See Marcelo Suárez-Orozco et al., Inst.
                for Immigration, Globalization, & Educ., In the Shadows of the Ivory
                Tower: Undocumented Undergraduates and the Liminal State of
                Immigration Reform 1 (2015), https://escholarship.org/uc/item/
                2hq679z4 (In a survey of undocumented students, 61.3% had annual
                household incomes below $30,000 and 29% had annual household
                incomes between $30,000 and $50,000).




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                discretion, which the government formerly recognized
                and exercised for those who applied and were accepted
                to DACA. DACA’s rescission is not based on any
                different conclusion about those eligible; rather, it
                appears to reflect an arbitrary and capricious policy
                shift for which talented young people will bear the
                brunt of the harm. If such an unlawful decision is
                allowed to stand—and these young people take their
                tremendous talent, enthusiasm, and skills
                elsewhere—we (both amici and the country as a whole)
                will be the losers.
                       B. DACA Students Contribute to Campus
                          Diversity, A Key Component of the
                          Educational Experience.
                    The Supreme Court has time and again noted the
                myriad benefits that a diverse student body yields for
                institutions of higher education. First, the Court has
                recognized “the educational benefits that flow from
                student body diversity,” Fisher v. Univ. of Texas at
                Austin, 570 U.S. 297, 310 (2013) (Fisher I) (quotation
                marks omitted), namely the deeper understanding
                students and professors achieve when an issue or
                problem is analyzed by individuals who bring differing
                perspectives and backgrounds to the question. See also
                Grutter v. Bollinger, 539 U.S. 306, 330 (2003) (noting
                that the “educational benefits that diversity is designed
                to produce . . . [are] substantial.”). Second, “enrolling a
                diverse student body ‘promotes cross-racial
                understanding, helps to break down racial stereotypes,
                and enables students to better understand persons of
                different races.’” Fisher v. Univ. of Texas at Austin
                (Fisher II), 136 S. Ct. 2198, 2210 (2016) (quoting




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                Grutter, 539 U.S. at 328, 330). While this obviously has
                a direct benefit to students, it also is a key component
                in creating a dynamic and integrated campus
                environment. Third, and “[e]qually important, student
                body diversity promotes learning outcomes, and better
                prepares students for an increasingly diverse workforce
                and society.” Fisher II, 136 S. Ct. at 2210 (internal
                quotation marks omitted).
                   Diversity on campus is amongst the highest
                priorities for amici, and we have seen the benefits in
                practice that the Supreme Court has highlighted in its
                opinions. For example, amicus Rice University’s mission
                statement notes that it seeks to fulfill its mission “by
                cultivating a diverse community of learning and
                discovery that produces leaders across the spectrum of
                human endeavor.”47 Likewise, amicus Middlebury
                College explains its commitment to “full and equal
                participation for all individuals and groups” by noting
                evidence that “groups of people from a variety of
                backgrounds and with differing viewpoints are often
                more resilient and adaptive in solving problems and
                reaching complex goals than more homogenous
                groups.”48 These are but two examples of many.49


                47
                  Rice Univ., Statement of Office of Diversity and Inclusion,
                https://www.rice.edu/mission-values (last visited Sept. 27, 2019).
                48
                     Middlebury Coll., Diversity and Inclusion,
                http://www.middlebury.edu/student-life/community-
                living/diversity-inclusivity (last visited Sept. 27, 2019).
                49
                   See, e.g., Folsom Lake Coll., Strategic Plan 2017-2020,
                https://losrios.edu/docs/lrccd/board/2017/enc/20170614-flc-strat-
                plan.pdf (last visited Sept. 27, 2019); Brandeis Univ., Mission &




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                    The DACA students attending our schools play a
                significant role in fostering the inclusive and diverse
                on-campus atmosphere we strive to create. As reported
                by USCIS, as of April 30, 2019, the 669,080 active
                DACA recipients come from over 150 countries,
                spanning every continent except Antarctica.50 DACA
                recipients are also often the first in their family to have
                the opportunity to attend college. In TheDream.US
                2019 survey, 81 percent of Dreamer scholars identified
                as first-generation college students.51 And as discussed
                supra, DACA recipients often come from households
                with incomes well below the federal poverty line.52
                    This diversity of backgrounds and ethnicities is
                reflected in the thousands of DACA recipients, and
                undocumented students, who study on our campuses.53


                Diversity Statements, http://www.brandeis.edu/about/mission.html
                (last visited Sept. 27, 2019).
                50
                   See DACA Population Data, USCIS (Apr. 30, 2019),
                https://www.uscis.gov/sites/default/files/USCIS/Resources/Repor
                ts%20and%20Studies/Immigration%20Forms%20Data/All%20F
                orm%20Types/DACA/Approximate_Active_DACA_Recipients_D
                emographics_-_Apr_30_2019.pdf.
                51
                     TheDream.US Survey, supra note 13.
                52
                     See Suárez-Orozco et al., supra note 46.
                53
                  Zong et al., supra note 3 (In fall 2017, it was estimated that of
                the close to 700,000 then active DACA recipients, over 120,000
                were currently in post-secondary education, and over 137,000 were
                in secondary school.); see also TheDream.US Survey, supra note 13
                (TheDream.US scholars represent 94 countries across the world,
                demonstrating the link between DACA and increasing diversity at
                college and universities.).




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                In addition to their compelling life stories, they bring a
                wealth of different perspectives to our schools.
                III.   THE RESCISSION OF DACA WILL HARM
                       AMERICAN      COLLEGES       AND
                       UNIVERSITIES.
                   If DACA’s rescission is allowed to stand, the
                greatest harm will of course be suffered by DACA
                recipients and their families. But American colleges
                and universities will be harmed as well.
                    First, and foremost, we will lose important members
                of our academic communities. The few examples cited
                above are not anomalous; rather, they exemplify the
                talent and accomplishment of the thousands of DACA
                students we have on our campuses. As many students
                may be forced to withdraw, amici will be deprived of
                some of our most accomplished students. Additionally,
                a spring 2019 analysis of U.S. Census Bureau data
                indicates that 98,000 Dreamers graduate from high
                school annually in the United States.54 Without DACA
                many of these students will be unable to pursue
                college, depriving amici of thousands of hard-working
                students each year. These students contribute not only
                to the diversity of perspectives in our classrooms but
                also to the student leadership of social action initiatives




                54
                   Jie Zong & Jeanne Batalova, How Many Unauthorized
                Immigrants Graduate form U.S. High Schools Annually?,
                MIGRATION POLICY INST. (Apr. 2019), https://www.migrationpolicy.
                org/research/unauthorized-immigrants-graduate-us-high-schools.




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                in our communities.55 Our campuses will be noticeably
                poorer places without those substantial contributions.
                     Second, the education we provide our students is a
                valuable commodity, and we have finite resources to
                provide it. If DACA students lose their status and, with
                it, the ability to pay for tuition or living expenses, they
                may not be able to continue with their education. And,
                even for those students who have saved enough money
                to continue, the value of an education may decrease if
                they are unable to secure lawful employment upon
                graduation. As a result, amici will almost certainly lose
                students mid-way through their degree programs, and
                the retention rate for this population will drop
                dramatically and beyond what institutions are
                prepared to accommodate through normal attrition
                cycles. Amici have devoted valuable, and in many cases
                limited, enrollment spaces to this student population
                that will not be able to continue in their education and
                cannot be replaced during a mid-point of their
                progression in their degree program.
                    Third, some of our DACA students work in a variety
                of positions on campus, and many are already trained
                for these positions and performing well.56 With the loss
                of the ability of DACA students to apply for work
                authorization, amici will lose these valuable
                contributions. The cost of refilling and retraining for
                these roles, if we can even find adequate replacements,

                55
                     TheDream.US Survey, supra note 13.
                56
                  Id. (TheDream.US survey indicates that 89 percent of scholars
                worked at least 10 hours a week, with 57 percent working at least
                21 hours.).




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                represents measurable harm to the institutions. More
                broadly, the loss of the ability to apply for work
                authorization will also mean that our DACA students
                will be unable to secure stable jobs upon graduation.57
                While of course this is primarily a harm to them, given
                that our DACA students are among the most
                committed of our alumni, we too will lose an important
                source of support (both financial and otherwise).
                    Fourth, DACA’s rescission has already required
                amici to dedicate valuable resources to counsel
                students who are negatively impacted by rescission.
                Many of these students have required mental health
                counseling to deal with the stress and anxiety induced
                by the government’s sudden shift in position, as well as
                legal assistance to determine their range of
                possibilities.58 As institutions of higher education, we
                believe we should be spending our resources on
                educating our students for the bright futures they will
                have, not defending and counseling them against
                unfair and adverse actions by their government for a
                situation in which they have no blame whatsoever.




                57
                  Id. (TheDream.US scholars indicated that their greatest concern
                is an inability to work.).
                58
                 See, e.g., Eleanor J. Bader, As End of DACA Looms, Colleges and
                Organizers Ramp Up Efforts to Protect Undocumented Students,
                NACLA (Jan. 27, 2017), https://nacla.org/news/2017/01/27/end-
                daca-looms-colleges-and-organizers-ramp-efforts-protect-
                undocumented-students; see also TheDream.US Survey, supra
                note 45 and accompanying text.




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                    Fifth, the investments amici have made in DACA
                students and the investments DACA students have
                made in their own education allow these students to
                use college as a pathway out of poverty and into
                careers. DACA alumni enter a variety of careers where
                they give back to amici and the country as a whole;
                these career opportunities would be inaccessible to
                these talented hardworking individuals without DACA.
                As detailed supra,59 DACA alumni work in a variety of
                fields giving back to the country.
                   In the 2019 CAP survey, 89 percent of all
                respondents noted that they were currently employed,
                and 91 percent of respondents age 25 and older were
                employed.60 That same study reports that DACA
                recipients work in a variety of fields—28,000 DACA
                recipients are employed in management and business
                occupations, over 6,000 DACA recipients are self-
                employed in an incorporated business,61 25,000 work in
                nonprofit organizations, and 22,000 in the public
                sector.62 Furthermore, approximately 27,000 DACA
                recipients work as health care practitioners and




                59
                     See discussion supra Part II.A.
                60
                     Wong et al., supra note 6.
                61
                  Nicole Prchal Svajlenka, What We Know about DACA Recipients
                in the United States, CTR. FOR AMERICAN PROGRESS (Sept. 5, 2019),
                https://www.americanprogress.org/issues/immigration/news/201
                9/09/05/474177/know-daca-recipients-united-states/.
                62
                     Id.




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                supporting occupations.63 If DACA is rescinded, amici
                stand to lose the return on their investments in these
                students, and the country as a whole stands to lose
                these students’ long-term contributions to the
                American economy.64
                    Finally, even for those schools without many or
                even any DACA students, supporting DACA is central
                to our mission as educators. Amici are devoted to the
                education of people to help them realize their ambitions
                and potential, and to contribute to their communities,
                to this country, and to the world. We pursue that
                mission on behalf of our students, regardless of
                national origin. Indeed, core to that mission is our
                commitment to equal opportunity. The rescission of



                63
                    Id.; see also America’s Voice (Oct. 3, 2017),
                https://americasvoice.org/blog/name-denisse-rojas-marquez-28-
                years-old-old-proud-undocumented-american-soon-doctor/;
                Ameri can D rea mers: Bel sy Ga rci a, N.Y. Time s,
                https://www.nytimes.com/interactive/projects/storywall/american-
                dreamers/stories/belsy-garcia (last visited Sept. 27, 2019);
                American Dreamers: Isabelle Muhlbauer, N.Y. Times,
                https://www.nytimes.com/interactive/projects/storywall/american-
                dreamers/stories/isabelle-muhlbauer (last visited Sept. 27, 2019).
                64
                  DACA participants have a large impact on the economy given
                their work in a variety of fields, their purchasing power, and the
                fact that they increase state and federal tax bases. According to
                the Center for American Progress’s analysis of ACS microdata,
                “DACA recipients and their households pay $5.7 billion in federal
                taxes and $3.1 billion in state and local taxes annually. In addition
                to this, DACA recipients boost Social Security and Medicare
                through payroll taxes. DACA recipients and their households hold
                a combined $24.1 billion in spending power—or income remaining
                after paying taxes—each year.” Svajlenka, supra note 61.




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                DACA devalues that mission without any rational
                basis. In that respect, it harms all amici.
                                   CONCLUSION
                   DACA is enlightened and humane; it represents the
                very best of America. It provides legal certainty for a
                generation of hard-working, high-achieving, and
                determined young people who love this country and
                were raised here. Once at college or university, DACA
                recipients are among the most engaged students both
                academically and otherwise. They work hard in the
                classroom and become deeply engaged in co-curricular
                activities, supporting communities on and off campus.
                Moreover, our DACA students are deeply committed to
                giving back to their communities and, more broadly,
                the country they love. We should not be pushing them
                out of the country or returning them to a life in the
                shadows. As institutions of higher education, we see
                every day the achievement and potential of these young
                people, and we think it imperative for both us and
                them that they be allowed to remain here and live out
                their dreams. Indeed, it defies rationality to prevent
                the government from utilizing its discretion to protect
                this set of young people from removal. For these
                reasons, we urge the Court to affirm the decisions
                enjoining the rescission of DACA.




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                                         Respectfully submitted,

                                         Bruce V. Spiva
                                           Counsel of Record
                                         Amanda R. Callais
                                         Rebecca K. Mears
                                         PERKINS COIE LLP
                                         700 13th Street, NW
                                         Suite 600
                                         Washington, D.C. 20005
                                         (202) 654-6203
                                         bspiva@perkinscoie.com

                                         Attorneys for Amici Curiae
                Dated: October 4, 2019




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                          Nos. 18-587, 18-588, and 18-589

                                      IN THE



                    DEPARTMENT OF HOMELAND SECURITY, ET AL.,
                                                    Petitioners,
                                         v.
                 REGENTS OF THE UNIVERSITY OF CALIFORNIA, ET AL.,
                                                  Respondents.

                                On Writ of Certiorari
                        to the United States Court of Appeals
                                for the Ninth Circuit

                  BRIEF OF AMICI CURIAE ADMINISTRATIVE
                    LAW PRACTITIONERS IN SUPPORT OF
                              RESPONDENTS


                                              Kevin K. Russell
                                                Counsel of Record
                                              Daniel Woofter
                                              Charles H. Davis
                                              Erica Oleszczuk Evans
                                              GOLDSTEIN &
                                                RUSSELL, P.C.
                                              7475 Wisconsin Ave.
                                              Suite 850
                                              Bethesda, MD 20814
                                              (202) 362-0636
                                              kr@goldsteinrussell.com


                     Additional Captions Listed on Inside Cover




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                                                     Petitioners,
                                         v.
                  NATIONAL ASSOCIATION FOR THE ADVANCEMENT OF
                            COLORED PEOPLE, ET AL.,
                                                   Respondents.

                       On Writ of Certiorari Before Judgment
                       to the United States Court of Appeals
                        for the District of Columbia Circuit

               KEVIN K. MCALEENAN, ACTING SECRETARY OF HOMELAND
                               SECURITY, ET AL.,
                                                     Petitioners,
                                         v.
                      MARTIN JONATHAN BATALLA VIDAL, ET AL.,
                                                   Respondents.

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                       to the United States Court of Appeals
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                                               1
                           INTEREST OF AMICI CURIAE1
                     Amici are practitioners with decades of experience
                litigating cases in this Court and in the lower courts
                addressing questions of administrative law. Alan B.
                Morrison is the Lerner Family Associate Dean for
                Public Interest and Public Service Law at The George
                Washington University Law School. Brian Wolfman
                is Associate Professor of Law at Georgetown
                University Law Center and Director of Georgetown
                Law’s Appellate Courts Immersion Clinic.
                             SUMMARY OF ARGUMENT
                    I. The supplementary memorandum of former
                Department of Homeland Security (DHS) Secretary
                Kirstjen Nielsen is not properly before the Court and
                should not be considered in assessing the lawfulness
                of the repeal of the Deferred Action for Childhood
                Arrivals (DACA) program.
                     A. It is settled law that “in reviewing agency
                action, a court is ordinarily limited to evaluating the
                agency’s contemporaneous explanation in light of the
                existing administrative record.” Dep’t of Commerce v.
                New York, 139 S. Ct. 2551, 2573 (2019) (emphasis
                added) (collecting authorities). Any other rule would
                be unadministrable, making the subject of review a
                moving target for litigants and the courts. Moreover,
                upholding agency decisions on the basis of new
                reasons developed during litigation would undermine


                  1
                     No counsel for any party authored this brief in whole or in
                part, and no person or entity, other than amici curiae, their
                members, or their counsel contributed money to fund the brief’s
                preparation or submission. All parties lodged letters of blanket
                consent to the filing of amicus briefs.




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                public confidence in the administrative process,
                suggesting to the public that the agency deliberative
                process was a sham and that the agency’s initial
                explanation was pretextual.
                    The Nielsen memo is the kind of post-hoc
                explanation that is generally prohibited—issued
                months after the initial decision and self-consciously
                designed to add reasons that were never mentioned in
                the original agency explanation.
                     B. The Court has created a narrow exception to
                the contemporaneous explanation rule, for cases in
                which an agency’s original rationale is so unclear as to
                prevent judicial review. See Camp v. Pitts, 411 U.S.
                138 (1973) (per curiam). But even in that context, the
                Court has prohibited the agency from adding new
                rationales in the guise of clarifying the original basis
                for its decision. See id. at 143. Accordingly, if the
                Court were to consider the Nielsen memo, it should at
                a minimum, consistent with Camp, refuse to consider
                the memo’s attempt to add new “policy” reasons for
                DACA’s withdrawal.
                    II. In any event, even if the Court were to
                consider Secretary Nielsen’s memo, the additional
                reasons it gives are arbitrary and capricious.
                    A. Secretary Nielsen asserts that Congress,
                rather than DHS, should enact programs like DACA.
                But she recognizes that in 6 U.S.C. § 202(5) Congress
                has given DHS the power to establish broad
                enforcement policies and priorities, and ignores the
                Government’s repeated use of that power over the
                decades to create programs like DACA through the
                categorical use of prosecutorial discretion, some of
                which DHS continues to administer to this day. Nor




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                does Secretary Nielsen acknowledge that Congress
                has effectively ratified the use of deferred action to
                create protections for categories of individuals.
                     In the same vein, Secretary Nielsen’s explanation
                that deferral discretion should be exercised only on an
                individualized, case-by-case basis is arbitrary. That
                reasoning ignores that DACA already requires a
                substantial degree of individualized consideration.
                Moreover, the Secretary failed to consider obvious and
                less drastic alternatives to full rescission, such as
                simply directing her employees to implement DACA
                with a greater degree of case-by-case consideration.
                The failure to consider obvious, less-drastic
                alternatives is arbitrary and capricious. Motor Vehicle
                Mfrs. Ass’n of U.S., Inc. v. State Farm Mut. Auto. Ins.
                Co., 463 U.S. 29, 46-48 (1983).
                      Secretary Nielsen also claims that repealing
                DACA is necessary to deter the flow of illegal
                immigration by migrant teens. But she fails to
                acknowledge that DACA is available only to
                individuals who have lived in the United States since
                2007. The Government’s lawyers attempt to provide
                the missing reasoning, arguing that retaining DACA
                would give immigrants hope for other amnesty
                programs in the future. But that explanation is an
                impermissible post-hoc invention of appellate counsel.
                And, in any event, counsel does not explain why an
                immigrant who is willing to come to this country based
                on nothing more than the hope of a future amnesty
                program would be deterred by the repeal of DACA
                when the Secretary herself insists that all comers are
                still entitled to seek deferred status on a case-by-case
                basis and when subsequent administrations and




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                Congress remain free to reinstate or create similar
                programs in the future.
                     The Secretary’s conclusory statement that the
                “asserted reliance interests [do not] outweigh the
                questionable legality of the DACA policy and other
                reasons for ending the policy,” Regents Pet. App. 125a,
                is wholly inadequate as well.        That boilerplate
                assertion is not the kind of consideration of reliance
                interests this Court’s decisions require. That failure
                is not saved by the Secretary’s assertion that DACA
                recipients could still apply for deferred action on a
                case-by-case basis. The memo does not explain what
                the replacement system will entail nor assess whether
                that system will offer a real chance for relief to any
                meaningful number of those presently relying on
                DACA.
                     Finally, having justified her decision on the basis
                of a cost-benefit analysis, the Secretary was obligated
                to engage in a rational weighing of the competing
                interests, which she failed to do. As noted, the memo’s
                assessment of the purported benefits (e.g., deterring
                future unlawful immigration) is irrational.          Its
                consideration of the human and other costs of
                deporting tens of thousands of individuals from the
                only country they’ve ever known is nonexistent.
                     B. If any of Secretary Nielsen’s justifications are
                arbitrary and capricious, the agency’s rescission of
                DACA must be vacated and the matter remanded for
                reconsideration.     Although the memo contains
                boilerplate language asserting that each of the reasons
                set forth is “independently sufficient,” that claim is
                belied by the substance of the memo itself, which
                weighs the costs and benefits of repeal collectively.




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                                    ARGUMENT
                     In September 2017, then-Acting DHS Secretary
                Elaine Duke issued a memorandum ordering an end
                to the DACA program. As respondents and others
                explain, the reasons given in that contemporaneous
                memo are arbitrary and capricious. Perhaps aware of
                the weakness of the original rationale, the
                Government also relies in this Court on a post-hoc
                memo from Acting Secretary Duke’s successor,
                Kirstjen Nielsen, purporting to provide additional
                support for her predecessor’s decision. That memo is
                not properly before the Court and should not be
                considered. Even if the Court were to consider the
                memo, however, the additional reasons it gives are no
                less arbitrary or capricious than the agency’s original
                explanation.
                I.   The Nielsen Memo Should Not Be
                     Considered In Assessing The Lawfulness Of
                     DACA’s Repeal.
                     It is settled that judicial review of agency action
                ordinarily must be based on the explanation the
                agency provided at the time of its decision. The
                Nielsen memo may not be considered in reviewing the
                legality of DACA’s repeal under that principle and
                does not fall under any recognized exception to the
                basic rule. If the Court nonetheless considers the
                memo, it should confine its review to Secretary
                Nielsen’s elaboration of the reasons originally given in
                support of DACA’s repeal and disregard the new
                “policy” reasons given as additional support.




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                                            6
                    A. Post-Hoc Agency Explanations Like The
                       Nielsen Memo Cannot Be Considered In
                       Reviewing An Agency Action Under The
                       APA.
                     1. It is a “settled proposition[]” of administrative
                law that “in reviewing agency action, a court is
                ordinarily limited to evaluating the agency’s
                contemporaneous explanation in light of the existing
                administrative record.” Dep’t of Commerce v. New
                York, 139 S. Ct. 2551, 2573 (2019) (emphasis added)
                (collecting authorities). If the court determines that
                the agency action is arbitrary or capricious based on
                that contemporaneous explanation, it “shall . . . set
                aside” the agency action.            5 U.S.C. § 706(2).
                Ordinarily, the matter is then remanded to the agency,
                which may elect to reopen the administrative record
                and take a new administrative action on the basis of
                new evidence or rationales. See, e.g., Fla. Power &
                Light Co. v. Lorion, 470 U.S. 729, 744 (1985).
                Sometimes, the agency will reach the same decision as
                it did before. In that case, its renewed action is subject
                to judicial review under the Administrative Procedure
                Act (APA), 5 U.S.C. §§ 551-559, 701-706, on the basis
                of the new administrative record and the agency’s
                revised rationale. See, e.g., Mo. Pub. Serv. Comm’n v.
                FERC, 337 F.3d 1066, 1068 (D.C. Cir. 2003).
                    Under this established regime, a court generally
                may not consider additional reasons proffered after
                the fact in defense of the original decision. See Dep’t
                of Commerce, 139 S. Ct. at 2573; see also, e.g., Citizens
                to Preserve Overton Park, Inc. v. Volpe, 401 U.S. 402,
                419 (1971) (citing Burlington Truck Lines, Inc. v.
                United States, 371 U.S. 156, 168-69 (1962); SEC v.
                Chenery Corp., 318 U.S. 80, 87 (1943), and explaining




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                that affidavits presented in litigation that purported
                to explain basis for agency decision were “merely ‘post
                hoc’ rationalizations, which have traditionally been
                found to be an inadequate basis for review”), abrogated
                on other grounds by Califano v. Sanders, 430 U.S. 99
                (1977).
                     There are sound reasons for this standard
                practice. To start, constraining judicial review to the
                “grounds upon which the administrative agency acted
                [and] clearly disclosed” is necessary to preserve the
                “orderly functioning of the process of review.”
                Chenery, 318 U.S. at 94. Otherwise, the subject of
                review could become a moving target, with the agency
                constantly changing its justifications as the weakness
                of the initial rationale becomes apparent when tested
                in litigation. It is in neither the interest of the public
                nor the courts for APA review to become a game of
                whack-a-mole.
                     Moreover, allowing the Government to develop
                new rationales for its actions during litigation could
                reduce agencies’ incentive to think through their
                actions thoroughly in the first instance. Indeed, it
                could even encourage agencies to engage in
                gamesmanship by issuing vague explanations of their
                actions, believing they can develop the rationale
                further during litigation, tailored to the challengers’
                specific objections.
                    But perhaps most importantly, upholding an
                agency decision on the basis of new reasons developed
                during litigation would undermine public confidence
                in the administrative process.        “The reasoned
                explanation requirement of administrative law,” the
                Court recently explained, “is meant to ensure that
                agencies offer genuine justifications for important




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                decisions, reasons that can be scrutinized by courts
                and the interested public.” Dep’t of Commerce, 139
                S. Ct at 2575-76. Allowing an agency to develop new
                reasons for its actions during litigation suggests to the
                public that the agency deliberative process was a sham
                and that the public explanation at the time of the
                decision was just a pretext. Perhaps courts could
                guard against this prospect by inquiring into whether
                the new rationale is genuinely held.           But that
                alternative has its own undesirable effects, as “judicial
                inquiry into ‘executive motivation’ represents a
                ‘substantial intrusion’ into the workings of another
                branch of Government and should normally be
                avoided.” Id. at 2573 (citation omitted).
                     Beyond facilitating public oversight, the APA also
                seeks to further public participation in administrative
                policymaking (e.g., by requiring public notice of certain
                kinds of proposed administrative action and requiring
                the agency to accept and take into account public
                comment). See, e.g., 5 U.S.C. § 553; see also id. §§ 554,
                556. It would make a mockery of that system to allow
                an agency to jettison the rationale emerging from that
                public process in favor of a new explanation developed
                behind closed doors in response to litigation.
                     It is thus far more orderly, more conducive to
                public confidence and participation in the
                Government, and more in line with the Constitution’s
                separation of powers for a court to review the agency
                justifications as given when a decision was made and,
                if the record or rationale is found wanting, vacate the
                order and allow the agency a chance to revise its
                decision, the record, or its explanation on remand.
                    2. The Nielsen memo is the kind of post-hoc
                explanation that is generally prohibited. It was issued




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                more than nine months after the initial decision,
                directly in response to litigation. And it was self-
                consciously designed to add reasons that were never
                mentioned in the original agency explanation. See
                Regents Pet. App. 120a-125a.
                    The Solicitor General insists that the rule against
                post-hoc justification applies only to rationalizations of
                appellate counsel in litigation, not the agency itself.
                See U.S. Br. 29. When the explanation is given by the
                relevant agency official rather than her lawyers, the
                United States argues, the reasoning “is agency action,
                not a post hoc rationalization of it.” Id. (quoting
                Martin v. OSHRC, 499 U.S. 144, 157 (1991)).
                     This Court’s precedents hold otherwise.          In
                Citizens to Preserve Overton Park, for example, the
                Government submitted affidavits representing the
                position of the Secretary of Transportation. See 401
                U.S. at 409. The Court nonetheless rejected them as
                “merely ‘post hoc’ rationalizations” that provided “an
                inadequate basis for review,” id. at 419. Likewise, in
                Camp v. Pitts, 411 U.S. 138 (1973) (per curiam),
                discussed in greater detail below, the Court made a
                limited exception to permit an agency to better explain
                the basis of a prior decision, but forbade the agency
                from adding to the rationale originally given. See id.
                at 143. That limitation would make no sense if the
                Court viewed a subsequent explanation by an agency
                (as opposed to its lawyers) as constituting the relevant
                agency action, as the Government now contends.2

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                     The only authority the Government cites, Martin v. OSHRC,
                is inapposite.   There, the Court deferred to an agency’s
                interpretation of a regulation developed during agency




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                     The situation would be different if Secretary
                Nielsen had revoked the prior order and issued a new
                one, as the District Court for the District of Columbia
                had urged. After finding the repeal arbitrary and
                capricious based on the reasoning in the Duke memo,
                that court “vacate[d] DACA’s rescission but stay[ed]
                its order of vacatur for 90 days.” NAACP Pet. App. 66a.
                The point of the delay was to allow the agency to “cure
                the defects that the court has identified,” id. at 62a, by
                “reissu[ing] a memorandum rescinding DACA, this
                time providing a fuller explanation,” id. at 66a. Had
                Secretary Nielsen done so, her renewed order would be
                the relevant agency action, and the present challenges
                to the old order would likely be moot. But here
                Secretary Nielsen made the strategic decision not to
                replace the original order precisely to avoid mooting
                the litigation challenging the old one. See Regents Pet.
                App. 121a. The Administration may have had legal or
                political reasons for making that choice. But it was a
                strategic decision that has consequences under
                established law.
                    DHS also could have asked the reviewing courts
                for a voluntary remand for further proceedings to
                supplement the administrative record. See generally
                Limnia, Inc. v. U.S. Dep’t of Energy, 857 F.3d 379, 386-
                88 (D.C. Cir. 2017). Doing so would have allowed the
                agency to provide additional support for its decision
                while maintaining the orderliness of APA review. It
                also would have preserved public confidence that any

                enforcement proceedings. Martin, 499 U.S. at 156-57. There is a
                world of difference between deferring to an agency’s
                interpretation of the legal meaning of its prior regulation and
                accepting a new post-hoc, supposedly fact-based policy rationale
                for the issuance of that regulation in the first place.




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                revision in the Administration’s position was the
                result of a genuine, deliberative process. But DHS
                passed up that opportunity as well.
                     Finally, some courts have held that when an
                agency action is arbitrary or capricious on the
                contemporaneous administrative record, but it
                appears likely that the agency will be able to justify its
                existing decision on remand, the court can remand
                without vacating. See, e.g., Comcast Corp. v. FCC, 579
                F.3d 1, 8 (D.C. Cir. 2009); see generally Ronald M.
                Levin, “Vacation” at Sea: Judicial Remedies and
                Equitable Discretion in Administrative Law, 53 Duke
                L.J. 291 (2003). But that did not happen here either.
                In the District of Columbia litigation, the Government
                argued that the district court’s stay of its vacatur order
                amounted to a remand without vacatur. 17-cv-02325
                Doc. 76, at 1-3 (D.D.C. July 27, 2018). But the court
                corrected that misimpression, NAACP Pet. App. 90a-
                91a, and the Government does not challenge that
                explanation here. Instead, on the basis of the Nielsen
                memo, DHS asked the district court to “revise its
                Order to reject Plaintiffs’ challenges” to the original
                decision to rescind DACA. 17-cv-02325 Doc. 74, at 1
                (D.D.C. July 11, 2018). Likewise, in this Court, the
                Solicitor General does not claim that the Nielsen
                memo created a new agency action in response to a
                remand order, but instead argues that the Nielsen
                memo shows that the district court erred in ordering a
                remand in the first place. As discussed, that position




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                runs aground on this Court’s                          established
                contemporaneous explanation rule.3
                      B. Even When Post-Hoc Explanations Are
                         Allowed, They May Not Extend Beyond
                         The Original Rationale Offered For An
                         Agency Decision.
                     This Court has permitted agencies to provide post-
                hoc explanations for their decisions in certain rare
                circumstances. But even then, the agency is limited to
                elucidating its original rationale and may not provide
                new reasons, as the Nielsen memo attempts to do.
                    1. The controlling authority here is Camp v. Pitts.
                There, the Comptroller of the Currency denied the
                respondent a banking charter. In a brief letter, the
                Comptroller explained that he was “unable to reach a
                favorable conclusion as to the need factor,” referring to

                  3
                      The questionable lawfulness of the remand-without-vacatur
                procedure provides additional reason for this Court not to treat
                the Nielsen memo as the product of such a remand. The circuits
                are divided over whether that remedy is appropriate in light of
                the APA’s plain language, which provides that upon finding an
                agency action arbitrary, capricious, or contrary to law, the court
                “shall . . . set aside [the] agency action.” 5 U.S.C. § 706 (emphasis
                added); compare Council Tree Commc’ns, Inc. v. FCC, 619 F.3d
                235, 257-58 (3d Cir. 2010) (remand without vacatur permitted),
                Comcast, 579 F.3d at 8 (same), and Idaho Farm Bureau Fed’n v.
                Babbitt, 58 F.3d 1392, 1405-06 (9th Cir. 1995) (same), with Forest
                Guardians v. Babbitt, 174 F.3d 1178, 1191 (10th Cir. 1999)
                (rejecting remand without vacatur doctrine), Comcast, 579 F.3d
                at 10 (Randolph, J., concurring) (“‘Set aside’ means vacate,
                according to the dictionaries and the common understanding of
                judges, to whom the provision is addressed. And ‘shall’ means
                ‘must.’ I see no play in the joints.”), and Milk Train, Inc. v.
                Veneman, 310 F.3d 747, 757-58 (D.C. Cir. 2002) (Sentelle, J.,
                dissenting) (same).




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                one of the statutory criteria for obtaining a federal
                bank charter. 411 U.S. at 139. The court of appeals
                concluded that the basis of the denial was not spelled
                out with sufficiently clarity to permit judicial review.
                Id. at 140. It therefore ordered the trial court to hold
                a de novo hearing on the respondent’s eligibility. Id.
                This Court reversed. The Court explained that “the
                focal point for judicial review should be the
                administrative record already in existence.” Id. at
                142. For that reason, the court of appeals had erred in
                ordering the district court to decide the case on the
                basis of a record to be developed for the first time in
                court. Id. Instead, this Court held that if
                     there was such failure to explain
                     administrative action as to frustrate effective
                     judicial review, the remedy was not to hold a
                     de novo hearing but, as contemplated by
                     Overton Park, to obtain from the agency,
                     either through affidavits or testimony, such
                     additional explanation of the reasons for the
                     agency decision as may prove necessary.
                Id. at 142-43.
                     The Court then added a critical “caveat.” 411 U.S.
                at 143. It explained that although the original
                decision “may have been curt,” it nonetheless
                “indicated the determinative reason for the final
                action taken,” (i.e., failure to satisfy the “needs”
                requirement under the statute).          Id.   In that
                circumstance, the Court held, the “validity of the
                Comptroller’s action must, therefore, stand or fall on
                the propriety of that finding, judged, of course, by the
                appropriate standard of review.” Id. In other words,
                any new materials must “be explanatory of the
                decisionmakers’ action at the time it occurred. No new




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                rationalizations for the agency’s decision should be
                included, and if included should be disregarded.”
                Sierra Club v. Marsh, 976 F.2d 763, 772-73 (1st Cir.
                1992) (collecting citations); see also, e.g., Envtl. Def.
                Fund, Inc v. Costle, 657 F.2d 275, 285 (D.C. Cir. 1981)
                (“The new materials should be merely explanatory of
                the original record and should contain no new
                rationalizations.”).
                     2. The Government does not claim that the
                Nielsen memo is properly considered under Camp, and
                for good reason. None of the courts below invoked
                Camp or otherwise ordered DHS to submit affidavits
                clarifying the reasoning of the Duke memo. While the
                District Court for the District of Columbia attempted
                to provide DHS an opportunity to cure the defects in
                the original order and memo, it did not do so by
                invoking the Camp procedure, but instead by staying
                its judgment to allow DHS to issue a new order (an
                invitation the agency rejected). See supra at 10.
                     In any event, the extraordinary procedures
                allowed by Camp are permitted only when the
                agency’s original rationale is unclear, not when it is
                clear but unconvincing. See Camp, 411 U.S. at 142-43;
                Cotton Petroleum Corp. v. U.S. Dep’t of Interior, 870
                F.2d 1515, 1528 n.5 (10th Cir. 1989). Here, there’s no
                question what the original order’s rationale was—
                DHS thought DACA was likely illegal. Nielsen did not
                issue her memo to clarify that point, but instead to add
                “policy” reasons why the agency would take the same
                action even if it was wrong in its views of DACA’s




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                lawfulness. See Regents Pet. App. 123a-125a. That is
                exactly what Camp forbids.4
                    3. Accordingly, the Court should not consider the
                Nielsen memo at all. But if the Court does consider
                the memo, it should at least, consistent with Camp,
                refuse to consider the memo’s attempt to add new
                reasons for the agency action.
                     a. The supplementary affidavit procedure
                contemplated by Camp is, and should be, rarely
                invoked. In fact, “[s]ubsequent cases have made clear
                that remanding to the agency in fact is the preferred
                course.” PBGC v. LTV Corp., 496 U.S. 633, 654 (1990);
                see also Lorion, 470 U.S. at 744 (“[I]f the reviewing
                court simply cannot evaluate the challenged agency
                action on the basis of the record before it, the proper
                course, except in rare circumstances, is to remand to
                the agency for additional investigation or
                explanation.”). And, as discussed, in the rare instance
                in which Camp permits an exception to the general
                contemporaneous explanation rule, the agency is still
                prohibited from advancing new reasons for its original


                  4
                      Indeed, Secretary Nielsen was in an especially poor position
                to offer any insight into the reasons motivating the original
                withdrawal. For one thing, she was not the author of the original
                memo. In addition, her predecessor was not, in fact, the principal
                source of the reasoning behind DACA’s withdrawal—the Duke
                memo makes clear that DHS was simply complying with a one-
                page letter then-Attorney General Jefferson B. Sessions III had
                sent the day before, suggesting that DACA be withdrawn in light
                of this Court’s non-precedential summary affirmance of the Fifth
                Circuit’s decision in Texas v. United States, 809 F.3d 134 (5th Cir.
                2015), aff’d, 136 S. Ct. 2271 (2016) (per curiam). See Regents Pet.
                App. 117a.




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                decision. It would be remarkable if an agency could
                avoid that restriction simply by beating a reviewing
                court to the punch, issuing a revised set of rationales
                for its actions before a court orders production of a
                Camp affidavit.5
                     Allowing agencies to issue new explanations for
                their decisions once challenged in litigation would
                have significant practical consequences for courts and
                the administrative process. There should be little
                doubt that if this Court authorizes agencies to
                supplement their reasoning whenever their original
                rationale proves vulnerable in court, agencies will take
                advantage of that rule in many, many cases. And
                doing so will create all of the costs and hazards the
                contemporaneous explanation rule is designed to
                prevent.
                    The effect that would have on public confidence in
                the administrative system should give the Court
                particular pause. Allowing an agency to freely jump
                from one justification to the next in response to legal
                challenges strongly conveys to the public that the
                agency’s deliberative process and the resulting initial
                explanation were shams. Moreover, permitting that


                  5
                     The Government has not cited any case in which an agency
                has been permitted to provide a supplementary explanation
                without being ordered to do so by the reviewing court. In
                Department of Commerce, the agency was permitted to
                voluntarily supplement the administrative record not with an
                additional explanation of the decision, but with underlying
                documentation relating to the explanation the Department had
                publicly given in the first place. See 139 S. Ct. at 2564. When
                that documentation proved that the original explanation was
                pretextual, the district court vacated the agency action and
                remanded, id. at 2564, a ruling this Court affirmed, id. at 2576.




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                tactic would lend the courts’ credibility to the
                enterprise, resulting in judicial affirmance of agency
                decisions on the basis of reasoning that the public will
                (often rightly) perceive as something other than the
                Government’s genuine reasons.            Cf. Dep’t of
                Commerce, 139 S. Ct. at 2575-76 (refusing to uphold
                agency decision based upon alleged rationale that
                “ordinary citizens” would deem pretextual).
                    b. If the Camp rule were applied here, it would
                require this Court to ignore the Nielsen memo
                altogether.
                     To the extent the Nielsen memo addresses the
                grounds advanced in the Duke memo, it adds nothing
                to them. The original memo gave a single reason for
                repealing DACA—its alleged unlawfulness. Regents
                Pet. App. 112a-119a. The Nielsen memo simply
                summarizes that reason and agrees with it. Id. at
                122a-123a.
                     The remainder of the Nielsen memo must be
                ignored under Camp. After rehashing the prior
                memo’s consideration of DACA’s legality, the Nielsen
                memo moves on to additional “reasons of enforcement
                policy” in support of repeal, reasons found nowhere in
                the original memo. Regents Pet. App. 123a-125a. The
                Solicitor General acknowledges as much, separately
                addressing the Duke memo’s concerns about DACA’s
                legality and Secretary Nielsen’s “additional policy
                concerns.” Compare U.S. Br. § II(A) (entitled “The
                Rescission Is Reasonable In Light Of DHS’s Serious
                Doubts About DACA’s Lawfulness”), and id. § II(C)
                (entitled “The Rescission Is Reasonable In Light Of
                DHS’s Conclusion That DACA Is Unlawful”), with id.
                § II(B) (entitled “The Rescission Is Reasonable In
                Light Of DHS’s Additional Policy Concerns”)




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                (emphasis added). In addressing the “policy concerns,”
                the Government cites the Nielsen memo, not Duke’s.
                See id. at 37-43. At the same time, the Solicitor
                General directly rejects the conclusion of the District
                of Columbia District Court that the new policy
                arguments simply rehashed the prior memo’s legality
                concerns. See id. at 29. Instead, the Government
                insists that “Secretary Nielsen could not have been
                clearer that the policy reasons she offered . . . were
                independent from her legal concerns.” Id.
                II. The Reasons Given In The Nielsen Memo Are
                    Arbitrary And Capricious.
                    Were the Court to consider the substance of the
                Nielsen memo, it should conclude that the
                supplemental rationales are no less arbitrary and
                capricious than the agency’s original explanation.
                    A. Secretary Nielsen’s New Policy Reasons
                       Are Each Arbitrary and Capricious.
                    1. Preference for Congressional Action.          The
                Nielsen memo first asserts that DHS “should not
                adopt public policies of non-enforcement . . . for broad
                classes and categories of aliens” because acting on
                such categorical bases should be left to Congress,
                which can create a deferral program with the
                “permanence and detail of statutory law,” which a
                program like DACA lacks. Regents Pet. App. 123a-
                124a. But the memo fails to acknowledge that
                Congress expressly delegated authority to DHS to
                develop programmatic enforcement policies, that DHS
                has long created enforcement policies on a categorical
                basis, that DHS continues to apply its enforcement
                discretion on a categorical basis in other areas, and




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                that Congress has ratified those categorical practices,
                including deferred action programs.
                     The Secretary herself recognizes that Congress
                has given her the power to “[e]stablish[] national
                immigration enforcement policies and priorities.”
                Regents Pet. App. 121a (quoting 6 U.S.C. § 202(5))
                (alterations in original). She fails to acknowledge,
                moreover, that this authority has been used for over
                50 years to exercise prosecutorial discretion on a
                categorical basis, including in programs the
                Administration has retained to this day. For example,
                the agency has made deferred action available to
                victims of human trafficking and domestic violence
                and to surviving spouses of U.S. citizens.6 Moreover,



                  6
                     See Memorandum from Donald Neufeld, Acting Assoc. Dir.,
                Office of Domestic Operations, USCIS, to Field Leadership,
                Guidance Regarding Surviving Spouses of Deceased U.S. Citizens
                and Their Children (Sept. 4, 2009) (deferred action for widows
                and widowers of U.S. citizens); USCIS, Interim Relief for Certain
                Foreign Academic Students Adversely Affected by Hurricane
                Katrina: Frequently Asked Questions (FAQ) (Nov. 25, 2005),
                https://www.uscis.gov/sites/default/files/archive/faq-interim-
                student-relief-hurricane-katrina.pdf (deferred action for foreign
                students affected by Hurricane Katrina); Memorandum from
                Michael D. Cronin, Acting Exec. Assoc. Comm’r, Office of
                Programs, INS, to Michael A. Pearson, Exec. Assoc. Comm’r,
                Office of Field Operations, INS, Victims of Trafficking and
                Violence Protection Act of 2000 (VTVPA) Policy Memorandum #2
                – “T” and “U” Nonimmigrant Visas (Aug. 30, 2001) (deferred
                action for certain victims of human trafficking and their family
                members, and victims of certain other crimes and their family
                members); Memorandum from Paul W. Virtue, Acting Exec.
                Assoc. Comm’r, INS, to Reg’l Dirs. et al., INS, Supplemental
                Guidance on Battered Alien Self-Petitioning Process and Related




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                while the Solicitor General implies that the
                Administration has ended all categorical deferred
                action programs, U.S. Br. 56, this is not, in fact, the
                case.7 And Secretary Nielsen did not explain why she
                believes the programs she has retained are
                appropriate despite Congress’s failure to enact
                legislation permanently enshrining them, while
                DACA is not. Such an “‘[u]nexplained inconsistency’
                in agency policy is ‘a reason for holding an
                interpretation to be an arbitrary and capricious
                change from agency practice.’” Encino Motorcars, LLC
                v. Navarro, 136 S. Ct. 2117, 2126 (2016) (quoting Nat’l
                Cable & Telecomms. Ass’n v. Brand X Internet Servs.,
                545 U.S. 967, 981 (2005)).
                     Nor did the memo even acknowledge that
                Congress has effectively ratified the use of deferred
                action to create protections for certain categories of
                individuals as an exercise of prosecutorial discretion.
                As discussed, that practice has been open and
                longstanding for decades and across administrations.
                Far from disapproving or limiting it, Congress has


                Issues (May 6, 1997) (deferred action for battered aliens under
                the Violence Against Women Act).
                  7
                     See, e.g., USCIS, Battered Spouse, Children & Parents,
                https://www.uscis.gov/humanitarian/battered-spouse-children-
                parents (last updated Feb. 16, 2016) (deferred action program for
                victims of domestic abuse still in place); USCIS, Victims of
                Criminal Activity: U Nonimmigrant Status, https://www.uscis.gov/
                humanitarian/victims-human-trafficking-other-crimes/victims-
                criminal-activity-u-nonimmigrant-status/victims-criminal-
                activity-u-nonimmigrant-status (last updated June 12, 2018)
                (deferred action program for victims of certain crimes still in
                place).




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                enacted several pieces of legislation that have
                assumed that deferred action would be available to
                classes of immigrants in certain circumstances.8 The
                memo’s failure to address this history is all the more
                inexcusable because the Office of Legal Counsel had
                explored it in detail in an opinion addressing deferred
                action programs prior to Secretary Nielsen’s decision.
                See The Department of Homeland Security’s Authority
                to Prioritize Removal of Certain Aliens Unlawfully
                Present in the United States and to Defer Removal of
                Others, 38 Op. O.L.C. __ (Nov. 19, 2014), 2014 WL
                10788677, at *14.9 This failure to consider “an important
                aspect of the problem” renders the Secretary’s decision
                arbitrary and capricious. Motor Vehicle Mfrs. Ass’n of
                U.S., Inc. v. State Farm Mut. Auto. Ins. Co., 463 U.S.
                29, 43 (1983).
                    2. Preference for Case-by-Case Consideration.
                Relatedly, the Nielsen memo asserts that deferral
                discretion should be exercised only on “a truly
                individualized, case-by-case basis.” Regents Pet. App.
                124a. In contrast, the memo insists, DACA has “the

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                      Victims of Trafficking and Violence Protection Act of 2000,
                Pub. L. No. 106-386, § 1503(d)(2), 114 Stat. 1464, 1522 (codified
                at 8 U.S.C. § 1154(a)(1)(D)(i)(II), (IV) ) (expanding the agency’s
                deferred action program in the 2000 Violence Against Women Act
                reauthorization legislation); William Wilberforce Trafficking
                Victims Protection Reauthorization Act of 2008, Pub. L. No. 110-
                457, § 204, 122 Stat. 5044, 5060 (codified at 8 U.S.C. § 1227(d)(2))
                (clarifying that denial of request for administrative stay of
                removal under new authority “shall not preclude the alien from
                applying for . . . deferred action”).
                  9
                     The care exhibited in the prior Office of Legal Counsel
                memorandum stands in sharp contrast with the one-page legal
                analysis from Attorney General Sessions that prompted Acting
                Secretary Duke to repeal DACA. J.A. 877-78.




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                practical effect of inhibiting assessments of whether
                deferred action is appropriate” in light of “individual
                considerations.” Id. Repealing DACA, the memo
                continues, will ensure that deferral remains available
                “in individual cases if circumstances warrant.” Id. at
                125a. The memo again fails the test of reasoned
                decisionmaking.
                    To start, as just discussed, the memo fails to
                acknowledge that DHS has long and routinely created
                enforcement policies that provide deferral eligibility to
                categories of individuals.
                     Further, the memo ignores that DACA does
                require a substantial degree of individualized
                consideration. Memorandum from Janet Napolitano,
                Sec’y, DHS, to David V. Aguilar, Acting Comm’r, CBP,
                et al., Exercising Prosecutorial Discretion with Respect
                to Individuals Who Came to the United States as
                Children 2 (June 15, 2012)10 (requiring that “[a]s part
                of this exercise of prosecutorial discretion, the [DACA
                eligibility] criteria are to be considered” and that
                “requests for relief pursuant to this memorandum are
                to be decided on a case by case basis”) (emphasis
                added); see also USCIS, Deferred Action for Childhood
                Arrivals (DACA) Toolkit: Resources for Community
                Partners 7, 12 (noting that “[e]ach request for
                consideration of deferred action for childhood arrivals




                  10
                     https://www.dhs.gov/xlibrary/assets/s1-exercising-
                prosecutorial-discretion-individuals-who-came-to-us-as-
                children.pdf.




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                will be reviewed on an individual, case-by-case
                basis”).11
                     The memo suggests that the Secretary believes
                that a greater degree of individualized assessment
                would be more appropriate. Regents Pet. App. 124a.
                But it fails to consider whether that concern could be
                addressed through modifications to the program short
                of complete repeal. As the federal district court in D.C.
                put it, “if Secretary Nielsen believes that DACA is not
                being implemented as written, she can simply direct
                her employees to implement it properly.” NAACP Pet.
                App. 100a. The failure even to consider any “obvious
                and less drastic alternatives” is arbitrary and
                capricious. Yakima Valley Cablevision, Inc. v. FCC,
                794 F.2d 737, 746 & n.36 (D.C. Cir. 1986) (the “failure
                of an agency to consider obvious alternatives has led
                uniformly to reversal”) (collecting cases); see, e.g.,
                State Farm Mut. Auto. Ins. Co., 463 U.S. at 48 (failure
                to “even consider the possibility” of “alternative way of
                achieving the objectives of the Act” was arbitrary and
                capricious).
                    3. Avoiding Incentives for Future Unlawful
                Immigration. The Nielsen memo further claims that
                repealing DACA is necessary to deter the flow of “tens
                of thousands of minor aliens [who] have illegally
                crossed or been smuggled across our border in recent
                years and then have been released into the country
                owing to loopholes in our laws.” Regents Pet. App.
                124a. According to the memo, this “pattern continues
                to occur at unacceptably high levels,” and therefore it

                  11
                     https://www.uscis.gov/sites/default/files/USCIS/
                Humanitarian/Deferred%20Action%20for%20Childhood%20
                Arrivals/DACA_Toolkit_CP_072914.pdf (last visited Oct. 3, 2019).




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                is “critically important for DHS to project a message
                that leaves no doubt regarding the clear, consistent,
                and transparent enforcement of the immigration laws
                against all classes and categories of aliens.” Id. That
                justification is arbitrary and capricious for several
                reasons.
                     First, the memo fails to acknowledge that DACA
                is only available to individuals who have lived in the
                United States since 2007. NAACP Pet. App. 102a.
                The memo is silent on how a program that is no longer
                open to new immigrants could create an incentive for
                new immigration. That silence is fatal, for the APA
                requires the Secretary to “articulate” a “rational
                connection between the facts found and the choice
                made.” State Farm Mut. Auto. Ins. Co., 463 U.S. at 43
                (internal quotation marks omitted).
                     The Solicitor General attempts to supply the
                missing analysis, claiming that retaining DACA would
                give future immigrants hope that another, later
                “amnesty” program would apply to them. U.S. Br. 41.
                But the memo says nothing like that, and even the
                Solicitor General acknowledges that the agency’s
                lawyers cannot supplement the agency’s reasoning
                after the fact. See id. at 29; supra at 9. Nor did the
                memo make the predicate factual finding that
                significant numbers of immigrants would, in fact,
                come to this country with the hope that the Trump
                Administration will create a new program that is even
                more generous than DACA, based on their knowledge
                of an existing program for which they do not qualify.
                See Regents Pet. App. 124a-125a; Indus. Union Dep’t,
                AFL-CIO v. Am. Petroleum Inst., 448 U.S. 607, 659
                (1980) (plurality opinion) (“The [agency action] must,
                of course, be supported by findings actually made by




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                the Secretary, not merely by findings that we believe
                he might have made.”). The closest the memo comes
                is to claim that “tens of thousands of minor aliens”
                have been “released into the country owing to
                loopholes in our laws,” and that this “pattern
                continues to occur at unacceptably high levels.”
                Regents Pet. App. 124a. But those statements say
                nothing about what drew the immigrants to the
                United States in the first place, much less that they
                were aware of DACA and hoped for its expansion.
                     Nor does the Solicitor General (let alone the
                Nielsen memo) explain why an immigrant who is
                willing to come to this country based on nothing more
                than the hope of a future amnesty program would be
                deterred by the repeal of DACA when the Secretary
                herself insists that all comers are still entitled to seek
                deferred status on a case-by-case basis. Regents Pet.
                App. 125a. And, of course, to the extent people fleeing
                violence and deprivation in their home countries
                actually think about such things, they would
                understand that the repeal of DACA does nothing to
                prevent another administration, or Congress, from
                reinstating DACA or another program that would
                allow them legal status.
                    4. Reliance Interests. When an agency repeals an
                existing program, the APA compels the agency to take
                adequate account of reliance interests. See, e.g.,
                Encino Motorcars, 136 S. Ct. at 2126; Perez v. Mortg.
                Bankers Ass’n, 135 S. Ct. 1199, 1209 (2015). Enforcing
                that requirement is all the more important when, as
                here, the liberty and safety of tens of thousands of
                people is at stake.
                    The Nielsen memo’s discussion of reliance falls
                short. The memo states that the Secretary is “keenly




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                aware that DACA recipients have availed themselves
                of the policy in continuing their presence in this
                country and pursuing their lives.” Regents Pet. App.
                125a. Regardless, the memo concludes that these
                “asserted reliance interests [do not] outweigh the
                questionable legality of the DACA policy and other
                reasons for ending the policy” presented in the memo.
                Id.
                    That discussion is wholly inadequate. A rational
                agency head cannot just refer to balancing; she must
                actually conduct the balancing in a reasonable,
                reality-based way. Here, although the Secretary
                purported to take reliance interests into account, in
                her next breath she disavowed that responsibility,
                stating that “issues of reliance would best be
                considered by Congress.” Regents Pet. App. 125a.
                Perhaps for that reason, the memo’s only other
                mention of reliance is to suggest (but not explain) that
                DACA recipients have no reasonable reliance interests
                because of the assertedly “temporary” nature of the
                program. Id. But that characterization fails to
                account for the fact that DACA was intended to be
                “temporary” only in the sense that it was expected that
                Congress would provide a permanent solution in the
                near future;12 the memo points to no evidence that it
                was intended to be repealed if Congress failed to act.
                Id. Accordingly, recipients could reasonably expect
                that their status was subject to renewal until a


                  12
                     The White House, President Barack Obama, Remarks by the
                President on Immigration (June 15, 2012), https://obama-
                whitehouse.archives.gov/the-press-office/2012/06/15/remarks-
                president-immigration.




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                permanent solution was reached. Indeed, the current
                Administration shared that expectation when it first
                took office.13
                    The memo also suggests that the harm to reliance
                interests is diminished by the fact that DACA
                recipients can still apply for “deferred action in
                individual cases if circumstances warrant.” Regents
                Pet. App. 125a. But the memo utterly fails to describe
                how that alternative program will function. The
                memo does not say, for example, whether the factors
                that make individuals presumptively eligible for
                deferred action under DACA will regularly,
                sometimes, or rarely make them serious candidates for
                deferred action after DACA is repealed. If the
                Secretary believes that many of those eligible for relief
                under DACA will be entitled to deferral after its
                repeal, she does not square that with other statements
                in the memo—e.g., that only Congress should be
                making such broad determinations and that there is a
                need to deter unlawful immigration by repealing
                programs that could be perceived as a broad amnesty.
                Regents Pet. App. 125a. On the other hand, if the
                Secretary believes that deferral should be rare and for
                idiosyncratic reasons, the memo does not say so

                  13
                      Nolan D. McCaskill, Trump Says He Will Treat Dreamers
                ‘with    Heart’,   Politico   (Feb.    16,    2017,    2:37 PM),
                https://www.politico.com/story/2017/02/trump-press-conference-
                dreamers-heart-235103; Russell Berman, Trump Reverses His
                Stand on DACA, The Atlantic (Sept. 14, 2017),
                https://www.theatlantic.com/politics/archive/2017/09/daca-deal-
                or-no-deal-trump-democrats-dreamers/539784/       (noting   deal
                Trump tentatively reached with Democrats in House and Senate
                to protect Dreamers).




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                explicitly or defend that position.14 And if that were
                the Secretary’s belief, her assertion that the harm to
                reliance interests is mitigated by the possibility of
                individualized deferrals would be arbitrary and
                pretextual, flaws that warrant vacatur and remand.
                See Dep’t of Commerce, 139 S. Ct. at 2575-76.
                    5. Overall Weighing of Costs and Benefits. Going
                beyond reliance interests, the memo announces that
                neither reliance interests “nor the sympathetic
                circumstances of DACA recipients as a class
                overcomes the legal and institutional concerns”
                identified in the memo. Regents Pet. App. 125a.
                Having justified her decision on the basis of a cost-
                benefit analysis, the Secretary was compelled to
                engage in a rational weighing of the competing
                interests. Michigan v. EPA, 135 S. Ct. 2699, 2706-08
                (2015).15 But her brief analysis fails that requirement.
                   As discussed, the memo’s assessment of the
                purported benefits of repeal suffers from multiple

                  14
                     Here, once again, the Government’s lawyers try to fill the
                gap, arguing that Secretary Nielsen preferred a “presumption”
                that DACA recipients “should be removed,” and a “truly
                individualized” approach to deferred action “seeks to identify, on
                a case-by-case basis, individuals who should be excused from that
                presumption.” U.S. Br. 40. Whatever the merits of this
                preference, it comes post hoc, not from the Secretary. In any
                event, it fails to address its inconsistency with other policies or
                the costs/benefits of switching to such a system.
                  15
                     See also, e.g., Mingo Logan Coal Co. v. EPA, 829 F.3d 710,
                732-33 (D.C. Cir. 2016) (Kavanaugh, J., dissenting) (“[A]bsent a
                congressional directive to disregard costs,” which no one argues
                is the case here, “common administrative practice and common
                sense require an agency to consider the costs and benefits of its
                proposed actions, and to reasonably decide and explain whether
                the benefits outweigh the costs.”).




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                flaws, such as its failure to assess in any meaningful
                way whether, and to what extent, repeal will actually
                affect the inflow of migrants. See supra at 23-25. To
                the extent the Secretary views avoidance of litigation
                as a benefit of repeal, see Regents Pet. App. 123a, the
                memo makes no effort to determine whether the repeal
                created more litigation costs than it avoided.
                     Nor does the memo adequately account for the
                costs.    Indeed, beyond suggesting that DACA
                recipients have no reasonable reliance interests, the
                memo’s only acknowledgement of the costs of the
                decision is to refer to the recipients’ “sympathetic
                circumstances.” Regents Pet. App. 125a. It makes no
                effort to assess the real-world consequences of
                deporting thousands of people from the only country
                they’ve ever known. Respondents and others fully
                detail the human cost of that decision on DACA
                recipients, their families, and their communities. The
                memo neither acknowledges nor denies these
                consequences. And having failed to identify the nature
                or extent of the costs of her decision, the Secretary
                failed to rationally weigh those unidentified costs
                against any benefit from DACA’s repeal. See, e.g.,
                Michigan v. EPA, 135 S. Ct. at 2706 (requiring
                consideration of all “relevant factors”); Mingo Logan
                Coal Co. v. EPA, 829 F.3d 710, 732-33 (D.C. Cir. 2016)
                (Kavanaugh, J., dissenting) (discussing importance
                that agency consider all costs in balancing).




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                                          30
                    B. If Any Of The Nielsen Memo
                       Justifications Is  Arbitrary  And
                       Capricious, The Agency Action Must
                       Be Vacated And Remanded For
                       Reconsideration.
                    If any of the Nielsen memo’s justifications are
                found to be arbitrary and capricious, the Court should
                remand for DHS to consider whether the remaining
                justifications are themselves sufficient to uphold
                DACA’s rescission.
                     In general, when “an agency has set out multiple
                independent grounds for a decision, [a reviewing court]
                will affirm the agency so long as any one of the
                grounds is valid.” Fogo De Chao (Holdings) Inc. v.
                DHS, 769 F.3d 1127, 1149 (D.C. Cir. 2014) (emphasis
                added) (internal quotation marks omitted). “Where
                the agency has not afforded individual weight to the
                alternative grounds, however, the court may uphold
                the decision only as long as one ground is valid and the
                agency would clearly have acted on that ground even
                if the other were unavailable.” Id. (emphasis added)
                (internal quotation marks and brackets omitted).
                Thus, an agency action should not be upheld when
                “there is reason to believe the combined force of these
                otherwise independent grounds influenced the
                outcome.” Carnegie Nat. Gas Co. v. FERC, 968 F.2d
                1291, 1294-95 (D.C. Cir. 1992).
                    The memo’s boilerplate statement that each of the
                reasons for repeal are “independently sufficient,”
                Regents Pet. App. 122a, is clearly belied by the
                substance of the memo. For example, the memo
                balances the cost of repeal against the cumulative
                benefits arising from all of the purported




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                justifications, instead of determining whether the
                benefits of each allegedly independent justification
                outweigh the reliance interest of DACA recipients and
                the other costs of repeal. See id. at 125a (“I do not
                believe that the asserted reliance interests outweigh
                the questionable legality of the DACA policy and other
                reasons for ending the policy discussed above.”)
                (emphasis added); id. at 124a-125a (“All of those
                considerations lead me to conclude that [the] decision
                to rescind the DACA policy was, and remains,
                sound[.]”) (emphasis added). The memo does not claim,
                for instance, that the harm to people who arrived in
                this country as children would be justified if the only
                benefit was to save the Government the cost of
                defending DACA in court. Further, the Secretary does
                not claim that total rescission of DACA would be
                appropriate if the only non-arbitrary justification was
                a lack of individualized consideration. Indeed, if the
                Secretary had reached such a conclusion, the decision
                would be arbitrary and capricious.
                    Because the Secretary failed to provide
                independent weight to each of her justifications, and
                did not conduct a separate balancing of the costs and
                benefits based on each supporting consideration, her
                decisions must be vacated if any of her justifications is
                found arbitrary or capricious.




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                                       32
                                  CONCLUSION
                    For the foregoing reasons, the decisions below
                should be affirmed.
                                        Respectfully submitted,

                                            Kevin K. Russell
                                              Counsel of Record
                                            Daniel Woofter
                                            Charles H. Davis
                                            Erica Oleszczuk Evans
                                            GOLDSTEIN &
                                              RUSSELL, P.C.
                                            7475 Wisconsin Ave.
                                            Suite 850
                                            Bethesda, MD 20814
                                            (202) 362-0636
                                            kr@goldsteinrussell.com
                October 4, 2019




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                                   Nos. 18-587, 18-588, 18-589

                      In the Supreme Court of the United States
                                         ————
                   DEPARTMENT OF HOMELAND SECURITY, ET AL., PETITIONERS,
                                             v.
                REGENTS OF THE UNIVERSITY OF CALIFORNIA, ET AL., RESPONDENTS.
                                         ————
                           ON WRIT OF CERTIORARI TO THE UNITED STATES
                             COURT OF APPEALS FOR THE NINTH CIRCUIT
                                          ————
                             DONALD J. TRUMP, PRESIDENT OF THE
                             UNITED STATES, ET AL., PETITIONERS,
                                             v.
                        NATIONAL ASSOCIATION FOR THE ADVANCEMENT OF
                            COLORED PEOPLE, ET AL., RESPONDENTS.
                                          ————
                             ON WRIT OF CERTIORARI BEFORE JUDGMENT
                             TO THE UNITED STATES COURT OF APPEALS
                              FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                        ————
                         KEVIN K. MCALEENAN, ACTING SECRETARY OF
                          HOMELAND SECURITY, ET AL., PETITIONERS,
                                           v.
                    MARTIN JONATHAN BATALLA VIDAL, ET AL., RESPONDENTS.
                                        ————
                             ON WRIT OF CERTIORARI BEFORE JUDGMENT
                             TO THE UNITED STATES COURT OF APPEALS
                                       FOR THE SECOND CIRCUIT
                                          ————
                                 BRIEF OF AMICI CURIAE
                       FORMER NATIONAL SECURITY OFFICIALS
                             IN SUPPORT OF RESPONDENTS
                                          ————
                PHILLIP SPECTOR              HAROLD HONGJU KOH
                MESSING & SPECTOR LLP           Counsel of Record
                1200 Steuart Street          HOPE R. METCALF
                #2112                        PETER GRUBER RULE OF LAW CLINIC
                Baltimore, MD 21230          YALE LAW SCHOOL
                (202) 277-8173               127 Wall Street
                                             P.O. Box 208215
                                             New Haven, CT 06520
                                             (203) 432-4932
                                             harold.koh@ylsclinics.org
                                   Counsel for Amici Curiae
                October 4, 2019
                 WILSON-EPES PRINTING CO., INC. – (202) 789-0096 – WASHINGTON, D. C. 20002




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                                                1
                             STATEMENT OF INTEREST1
                     Amici curiae are former national security, foreign
                policy, homeland security, intelligence, and other pub-
                lic officials who have worked on security matters at
                the senior-most levels of the U.S. government.2 Amici
                have held the highest security clearances in the U.S.
                government and have served in leadership roles in
                presidential administrations of both major political
                parties. Amici have collectively devoted their careers
                to combatting the security threats that the United
                States faces in an interconnected and dynamic world.
                A number of amici were serving in the U.S. govern-
                ment in June 2012, when the now-rescinded Deferred
                Action for Childhood Arrivals (“DACA”) program was
                created. Amici write respectfully to offer the Court
                their perspective on the national security and foreign
                policy issues implicated by this case.
                              SUMMARY OF ARGUMENT
                   Petitioners’ original September 2017 decision to
                rescind DACA did not include a policy rationale based
                on immigration enforcement priorities, or foreign pol-
                icy or national security objectives. Not until nine
                months later, far into the present litigation, did Peti-
                tioners offer such a rationale, in a single sentence near
                the end of then-Secretary Nielsen’s June 2018

                1 No counsel for a party to this case authored this brief in whole

                or in part, and no such counsel or party contributed monetarily
                to the preparation or submission of any portion of this brief. Yale
                Law School’s Peter Gruber Rule of Law Clinic operates as a pub-
                lic interest law firm separate and independent from the school’s
                Jerome N. Frank Legal Services Organization, one of the counsel
                for Respondents in one of the consolidated matters in this case.
                Petitioners and Respondents provided blanket consent to file
                amicus curiae briefs.
                2 A complete list of signatories can be found in the Appendix.




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                                           2
                memorandum (“Nielsen Memo”). That sentence sug-
                gested a “cause and deter” explanation for the rescis-
                sion: DACA causes illegal border crossings, so DACA
                rescission is needed to deter such crossings. The Niel-
                sen Memo offered this post hoc rationale in passing,
                without citations or factual support. Petitioners’ brief
                to this Court now tries to breathe life into this empty
                rationale.
                    The “cause and deter” rationale bears no connec-
                tion to the facts, record, or stated motivation for the
                decision under review. This rationale not only lacks
                an evidentiary basis, but is at odds with the over-
                whelming weight of available evidence. It also fails to
                account for the many ways in which—in amici’s expe-
                rience—DACA rescission would harm the national se-
                curity and foreign policy interests of the United
                States. Accordingly, this Court owes this unsupported
                policy claim no “national security” deference. In
                amici’s judgment, this claim and the defective process
                that gave rise to it bear no resemblance to the consid-
                ered and reasoned professional judgments in which
                amici participated, and that have supported bona fide
                claims to national security deference in the past.




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                                                3
                                        ARGUMENT
                I.   Petitioners’ Rescission of DACA Does Not
                     Serve a “Cause and Deter” Rationale, and in
                     Fact Would Do Serious Harm to U.S. Na-
                     tional Security and Foreign Policy Interests.
                    Many months after their decision to rescind
                DACA, Petitioners introduced, in passing and without
                evidence, an unsubstantiated post hoc rationale: that
                because DACA causes illegal border crossings, rescis-
                sion of DACA is needed to deter such crossings. This
                unsupported claim does not approach the reasoned
                evaluation of the facts that this Court has required to
                uphold agency action. It ignores the many ways in
                which DACA rescission in fact would do grave harm
                to U.S. security and foreign policy concerns.
                     A. Rescission does not serve a “cause and
                        deter” rationale.
                     Under section 706(2)(a) of the Administrative Pro-
                cedure Act (“APA”), a reviewing court must set aside
                agency actions, findings, or conclusions that are “arbi-
                trary, capricious, an abuse of discretion, or otherwise
                not in accordance with the law.” The court must assess
                whether the agency policy resulted from “reasoned de-
                cisionmaking”3 and whether, at the time “it took the
                action,”4 the agency “examine[d] the relevant data and
                articulate[d] a satisfactory explanation for its action
                including a rational connection between the facts
                found and the choice made.”5 When an agency
                3 FCC v. Fox Television Stations, Inc., 556 U.S. 502, 520   (2009).
                4 A court “may uphold agency action only on the grounds that the

                agency invoked when it took the action.” Michigan v. EPA, 135
                S. Ct. 2699, 2710 (2015).
                5 Motor Vehicle Mfrs. Ass’n v. State Farm Mut. Auto. Ins. Co., 463

                U.S. 29, 43 (1983) (internal quotation marks omitted).




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                                               4
                reverses an earlier position, it must “provide a rea-
                soned explanation for the change.”6 These principles
                apply with special force when, as here, hundreds of
                thousands have come to rely on the policy to conduct
                their daily lives.7 In such cases, an agency must iden-
                tify, with more than mere “conclusory statements,”
                the “facts and circumstances that underlay or were
                engendered by the prior policy.”8
                     The “cause and deter” rationale for Petitioners’ de-
                cision to rescind DACA falls well short of this stand-
                ard.
                    Petitioners’ original decision to rescind DACA
                made no mention of an immigration enforcement ra-
                tionale or any security or foreign policy need for the
                change. In her September 5, 2017 memorandum re-
                scinding DACA (“Duke Memo”), then-Acting Secre-
                tary of Homeland Security Elaine Duke did not sug-
                gest that DACA rescission was necessary to deter mi-
                grants, to address a security risk, or to protect the
                homeland in any respect. The sole reason she articu-
                lated for the decision concerned the legality of DACA.9
                     More than nine months later—after the U.S. Dis-
                trict Court for the District of Columbia rejected the

                6 Encino Motorcars, LLC v. Navarro, 136 S. Ct. 2117, 2125

                (2016).
                7 Petitioners do not dispute that hundreds of thousands of DACA

                recipients have come to rely on DACA for the stability of their
                continued presence in this country, the only home that most re-
                cipients have ever known. Pet. Br. at 42-43.
                8 Encino Motorcars, 136 S. Ct. at 2126 (internal quotation marks

                omitted).
                9 Memorandum from Elaine C. Duke, Acting Sec’y of Homeland

                Sec. to James W. McCament, Acting Dir. of U.S. Citizenship and
                Immigration Servs., et al. (Sept. 5, 2017).




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                                              5
                Duke Memo10—then-Secretary of Homeland Security
                Kirstjen Nielsen abruptly introduced a “cause and de-
                ter” explanation for the rescission of DACA, in a single
                sentence near the end of a three-page memorandum.11
                The sentence suggests that, “considering the fact that
                tens of thousands of minor aliens have illegally
                crossed or been smuggled across our border in recent
                years,” and that this “pattern continues to occur at un-
                acceptably high levels to the detriment of the immi-
                gration system,” it is “critically important for DHS to
                project a message that leaves no doubt regarding the
                clear, consistent, transparent enforcement of the im-
                migration laws against all classes and categories of al-
                iens.”12 The Nielsen Memo does not cite any evidence
                either that DACA caused the migration of minors, or
                that rescinding DACA would deter such migration.
                     Petitioners’ brief to this Court now expands this
                rationale, asserting that DACA rescission is needed to
                “discourage illegal immigration,” and to prevent the
                “illegal border crossings” of children “with or without
                their families.”13 Petitioners further insist that
                “[a]mnesty-like policies” such as DACA “encourage
                further illegal conduct” by “creating an expectation of
                future amnesties.”14 As support, Petitioners cite only
                a single law review article from fifteen years ago,



                10 NAACP v. Trump, 298 F. Supp. 3d 209 (D.D.C. 2018).

                11 Memorandum from Kirstjen M. Nielsen, Sec’y of Homeland

                Sec. (June 22, 2018) [hereinafter Nielsen Memo].
                12 Id. at 3.

                13 Pet. Br. at 11, 40.

                14 Id. at 41 (citing Pia Orrenius & Madeline Zavodny, What Are

                the Consequences of an Amnesty for Undocumented Immigrants?,
                9 Geo. Pub. Pol’y Rev. 21, 31 (2004)).




                                                                                 AR5214
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                                               6
                which itself cites no evidence for this claim.15 Later in
                their brief, Petitioners opaquely refer to unspecified
                “foreign-policy considerations” as justifying the policy
                change in this case.16
                     Petitioners’ “cause and deter” rationale has no ba-
                sis in the evidence or record. Even now, nearly two
                years after the original decision to rescind DACA, and
                more than a year after the Nielsen Memo introduced
                the rationale, Petitioners cannot offer a single piece of
                evidence to support this rationale. They do not point
                to any information in the administrative record. In-
                deed, they produced no administrative record for the
                Nielsen Memo at all. They do not claim to be in pos-
                session of supporting classified or sensitive infor-
                mation that they are unable to disclose. They do not
                offer the declaration of a single national security offi-
                cial who is willing to speak to the process or the facts
                that yielded this rationale. Their post hoc rationale is
                not just late, but entirely unmoored from fact.
                    In fact, the overwhelming evidence is to the con-
                trary. Years of data now illuminate the actual impact
                that DACA has had on migrant flows into the United
                States. That data confirms that, as the authors of one
                comprehensive study put it, “DACA did not signifi-
                cantly contribute to the observed increase in unaccom-
                panied minors” apprehended along the U.S.-Mexico
                border.17 A separate analysis found that the Border

                15 Ibid.

                16 Id. at 53.

                17 Catalina Amuedo-Dorantes & Thitima Puttitanun, Was DACA

                Responsible for the Surge in Unaccompanied Minors on the
                Southern Border?, 55 Int’l Migration 12, 12 (2017); see also Cat-
                alina Amuedo-Dorantes & Thitima Puttitanun, DACA and the
                Surge in Unaccompanied Minors at the US-Mexico Border, 54
                Int’l Migration 102 (2016).




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                Patrol’s own figures “show[] unequivocally that all of
                the increase in children coming to the border in 2012
                began before the DACA announcement,” and that
                “UAC [unaccompanied alien children] arrivals have
                fluctuated month-to-month and year-to-year totally
                without regard to the number of new DACA applica-
                tions.”18 These results accord not only with amici’s ex-
                perience, but also with the fact that DACA offers no
                benefits to those migrating today, because its protec-
                tions are only available to people who entered the
                United States on or before June 15, 2007, an eligibility
                that expired more than a decade ago. This robust body
                of evidence does not support, but rather undermines,
                Petitioners’ “cause and deter” rationale.
                     The policy rationale for DACA rescission that Pe-
                titioners now offer arose at least nine months after the
                actual rescission decision, cites no evidence, relies on
                no evidence of which we are aware, and runs counter
                to the available empirical evidence. This passing jus-
                tification was not made at the time the agency “took
                the action.”19 And it reflected no examination of “rele-
                vant data,” offered no “connection” between the facts
                and the choices made, and gave no explanation of any
                “facts and circumstances” that might be engendered
                by the rescinded policy.20 Petitioners’ “cause and de-
                ter” rationale represents the antithesis of the “rea-
                soned decisionmaking” that the law requires, and in-
                stead resembles the kind of “conclusory statement”




                18 David Bier, DACA Definitely Did Not Cause the Child Migrant

                Crisis, Cato Inst. (Jan. 9, 2017) (emphasis added).
                19 Michigan, 135 S. Ct. at 2710 (2015).

                20 Michigan, 135 S. Ct. at 2710; State Farm, 463 U.S. at 43.




                                                                                 AR5216
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                that has been held insufficient under this Court’s
                precedent.21
                    B. Rescission would do serious harm to U.S.
                       security and foreign policy interests.
                    Petitioners’ “cause and deter” rationale not only is
                unsupported by the available evidence, but also fails
                to account for the many ways in which—in amici’s ex-
                perience—the rescission of DACA would do grave
                harm to the security and foreign policy interests of the
                United States.
                    First, rescission would have a devastating human-
                itarian impact on DACA recipients and their families
                and communities. On average, DACA recipients ar-
                rived in the United States at the age of six.22 Deport-
                ing them to places that are unsafe, unfamiliar, and
                unable to support them would gravely harm these in-
                dividuals and signal a deep contempt for human
                rights.23 In amici’s experience, this move would


                21 See Fox Television, 556 U.S. at 520; Encino Motorcars, 136 S.

                Ct. at 2127.
                22 Alan Gomez, Who are the DACA DREAMers and how many are

                here?, USA Today (Feb. 13, 2018); Alicia Parlapiano & Karen
                Yourish, A Typical ‘Dreamer’ Lives in Los Angeles, Is From Mex-
                ico and Came to the U.S. at 6 Years Old, N.Y. Times (Jan. 23,
                2018).
                23 Rescission would place DACA recipients at a genuine risk of

                deportation from the only home that they have known. The Ad-
                ministration’s stated enforcement policy has sharply narrowed
                discretion to exempt any removable aliens from enforcement. See
                Memorandum from John Kelly, Sec’y of Homeland Sec. to Kevin
                McAleenan, Acting Comm’r of U.S. Customs & Border Prot., et
                al. (Feb. 20, 2017). Administration officials have declared that
                those without legal status “should be concerned” and “need to be
                worried.” Geneva Sands, ICE Director: If You Entered the US Il-
                legally, You ‘Should be Concerned’, ABC News (June 16, 2017);




                                                                                   AR5217
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                                                9
                embolden other countries to mistreat their own mi-
                grants. And it would deeply tarnish our image
                throughout the world as a country of promise and tol-
                erance, threatening our influence as a global leader on
                human rights issues, and eroding our capacity to hold
                other governments accountable to their human rights
                obligations.
                     Second, rescission would have a damaging impact
                on the stability of our hemisphere. The countries to
                which DACA recipients would be deported are already
                struggling with deep poverty, crime, and over-
                whelmed and under-resourced social services. The
                countries of the Northern Triangle lack the capacity
                or services to absorb the potential inflow of tens of
                thousands of young people in need of jobs and school-
                ing and lacking familiarity with the region. Even Mex-
                ico, larger and at least somewhat more prosperous,
                would have enormous capacity issues were it to re-
                ceive so many individuals.24 In addition, rescission

                Stephen Dinan, No Apologies: ICE Chief Says Illegal Immigrants
                Should Live in Fear of Deportation, Wash. Times (June 13, 2017).
                24 The majority of the roughly 700,000 DACA recipients are from

                Mexico (561,420 recipients); the next most common countries of
                origin are El Salvador (26,630), Guatemala (18,220), and Hondu-
                ras (16,730). Approximate Active DACA Recipients: Country of
                Birth as of July 31, 2018, U.S. Citizenship & Immigration Servs.
                Over forty percent of the population of Mexico lives in poverty,
                the nation is grappling with widespread crime and corruption,
                and its infrastructure is already overwhelmed by the tens of
                thousands of migrants from other countries who are newly in the
                country due to the Trump Administration’s Migrant Protection
                Protocols and related policies. See World Bank, Poverty & Equity
                Brief: Mexico (Oct. 2019); U.S. Dep’t of State, Country Reports on
                Human Rights Practices for 2018: Mexico (2019); Kevin Sieff,
                Mexico’s Migration Crackdown Overwhelms its Shelters, Antago-
                nizes its Neighbors, Wash. Post (July 1, 2019); Kirk Semple,
                Overflowing Toilets, Bedbugs and High Heat: Inside Mexico’s




                                                                                     AR5218
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                would narrow the flow of remittances into these coun-
                tries, which are critical to many Central American
                economies.25 Depletion of these sources of revenue
                would only further destabilize countries already
                straining to produce enough tax revenues to fund se-
                curity, governance, and anti-poverty programs.
                     Third, the rescission of DACA will undercut our
                military readiness. Hundreds of DACA recipients are
                currently serving in the U.S. Armed Forces through
                the Military Accession Vital to National Interest
                (“MAVNI”) program, which recruits immigrants with
                special, mission-critical skills such as language profi-
                ciency and medical expertise that are urgently needed
                by the military.26 MAVNI recruits have been espe-
                cially valuable to Special Operations Forces, who rely
                heavily on language and cultural competencies to


                Migrant Detention Centers, N.Y. Times (Aug. 3, 2019). Other
                countries that would receive DACA recipients are struggling
                with similar issues. The poverty rate in both Guatemala and
                Honduras, for example, is around sixty percent. See Poverty &
                Equity Brief Guatemala (Oct. 2019); Poverty & Equity Brief Hon-
                duras (Oct. 2019).
                25 See Protecting Dreamers and TPS Recipients: Hearing Before

                the H. Comm. on the Judiciary, 116th Cong. 2015 (2019) (state-
                ment of the American Friends Service Committee); Arnoldo
                Lopez Marmolejo & Marta Ruiz Arranz, The Economic Land-
                scape in Central America and the Dominican Republic: External
                Challenges and Internal Strengths 15 (2019). In 2018, remit-
                tances constituted 22 percent of El Salvador’s GDP, 20 percent
                of Honduras’, and 16 percent of Jamaica’s. See Manuel Orozco,
                Fact Sheet: Family Remittances to Latin America and the Carib-
                bean in 2018, The Dialogue: Leadership for the Americas (Feb.
                8, 2019).
                26 See Gregory Korte et al., Trump administration struggles with

                fate of 900 DREAMers serving in the military, USA Today (Sept.
                7, 2017).




                                                                                   AR5219
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                                              11
                perform their sensitive missions.27 The United States
                faces security challenges throughout the globe that re-
                quire a military force with specialized and diverse
                skills. The rescission of DACA will harm our military
                effectiveness at a moment when our Armed Forces are
                already struggling to attract enough recruits.28
                    Fourth, rescinding DACA will make it more diffi-
                cult for our law enforcement officials to combat crime
                at home and across the region. Law enforcement and
                homeland security professionals agree that DACA
                vastly improved the safety of American cities by de-
                creasing fear of police officers in immigrant communi-
                ties and encouraging immigrants to cooperate with
                law enforcement efforts.29 Nearly sixty percent of
                DACA recipients have stated that they would be will-
                ing to report a crime that they would not have re-
                ported before receiving protected status.30 By remov-
                ing protection against deportation, young DACA re-
                cipients will be unable to obtain work, hold driver’s
                licenses, or participate in many other aspects of

                27 See Alex Horton, How the Pentagon Ending Its Deal with Im-

                migrant Recruits Could Hurt the Military, Wash. Post (July 18,
                2017).
                28 See Robert M. Gates, Robert Gates: Ending DACA Will Hurt

                Immigrant Troops, N.Y. Times (Nov. 8, 2017); John Grady, Panel
                Says U.S. Military Recruitment Pool Must Broaden, U.S.N.I.
                News (June 17, 2019); Meghann Myers, After 2018’s Recruiting
                Shortfall, It Will Take A Lot Longer to Build the Army to 500K,
                Army Times (Mar. 14, 2019).
                29 Brief for Current and Former Prosecutors and Law Enforce-

                ment as Amicus Curiae, Regents of the University of California
                v. Department of Homeland Security, 908 F.3d 476 (9th Cir.
                2018); see also Roberto G. Gonzales, Here’s How DACA Changed
                the Lives of Young Immigrants, According to Research, Vox (Feb.
                16, 2018).
                30 Gonzales, supra note 29.




                                                                                  AR5220
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                                               12
                American society,31 pushing immigrants into the shad-
                ows and eroding trust in law enforcement. Without
                the cooperation of immigrant communities, the ability
                of law enforcement to prevent and disrupt crime will
                be significantly hampered, threatening local, na-
                tional, and cross-border security.
                    Finally, the expense of DACA rescission would di-
                vert significant funds from real and urgent national
                security needs. The cost of deporting all DACA recipi-
                ents is estimated to be $7.5 billion.32 This money is
                urgently needed for other priorities: to combat cross-
                border and international crime, prevent terrorist at-
                tacks, and address other emergent security threats.
                Redirecting such a substantial sum of money toward
                the deportation of DACA recipients would undermine
                these legitimate national security initiatives. Further,
                by one estimate, DACA recipients contribute nearly
                $42 billion to the nation’s economy each year, money
                that can directly and indirectly contribute to initia-
                tives to bolster homeland security.33 Scarce resources
                should not be diverted toward tearing immigrants
                away from their families and livelihoods at the


                31 Nicole Prchal Svajlenka, Amid Court Challenges, Here’s What

                Will Happen if DACA Ends, Center for American Progress (Aug.
                15, 2018).
                32 See Ike Brannon & Logan Albright, The Economic and Fiscal

                Impact of Repealing DACA, Cato Inst. (Jan. 18, 2017); see also
                Ben Gitis, The Budgetary and Economic Costs of Ending DACA,
                American Action Forum (Sept. 7, 2017).
                33 Jacqueline Varas & Usama Zafar, Estimating the Economic

                Contributions of DACA Recipients, Am. Action F. (Dec. 21, 2017);
                see also Brannon & Albright, supra note 32 (estimating the total
                economic and fiscal cost of immediately eliminating the DACA
                program and deporting its participants to be $283 billion over 10
                years).




                                                                                    AR5221
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                                                13
                expense of critical efforts to address the very real se-
                curity threats that we face.
                II. Petitioners’ Unsupported Claims Do Not
                    Warrant National Security Deference.
                    Before this Court, Petitioners make the passing
                claim that “courts are also ‘ill equipped’ to consider the
                authenticity or the adequacy of the foreign-policy con-
                siderations” raised by cases such as this.34 If this is a
                veiled request for national security deference, it is un-
                justified here.
                    This Court has underscored that national security
                deference is owed to the “considered professional judg-
                ment” of national security officials.35 As the Second
                Circuit has explained, “[d]eference to the executive’s
                national security and military judgments is

                34 Pet. Br. at 53.

                35 Goldman v. Weinberger, 475 U.S. 503, 508-509 (1986) (empha-

                sis added); see also Winter v. Nat. Res. Def. Council, 555 U.S. 7,
                24 (2008) (affording “great deference to the professional judg-
                ment of military authorities” (quoting Goldman, 475 U.S. at
                507)). Last Term, this Court afforded deference to the judgment
                of national security officials, but only after finding that “the
                agencies weighed various indicators of national security risk”
                and “had collected and evaluated data regarding all foreign gov-
                ernments” for the specific order the Court considered. Trump v.
                Hawaii, 138 S. Ct. 2392, 2404-2405 (2018). See Doe 2 v. Sha-
                nahan, 917 F.3d 694, 703 (D.C. Cir. 2019) (Wilkins, J., concur-
                ring) (mem.) (“Even when dealing with facially neutral policies,
                Congress and the Executive receive deference only where mili-
                tary policies are based upon the ‘considered professional judg-
                ment’ of ‘appropriate military officials’ and only after finding that
                the policies ‘reasonably and evenhandedly regulate’ the matter
                at issue.” (quoting Goldman, 475 U.S. at 509-510)); Thomasson
                v. Perry, 80 F.3d 915, 921-923 (4th Cir. 1996) (deferring to the
                “considered judgment” of coordinate branches of government af-
                ter an “exhaustive review” by the Department of Defense).




                                                                                        AR5222
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                                               14
                appropriate only where [courts] have sufficient infor-
                mation to evaluate whether those judgments were log-
                ical and plausible.”36 Or as another court recently put
                it after reviewing this Court’s jurisprudence on defer-
                ence, “in the Supreme Court’s opinions granting mili-
                tary and national security deference, a precursor to
                that grant of deference was the finding that reasoned
                decision-making had taken place” and there had been
                a “reasonable evaluation” of the evidence by responsi-
                ble officials.37
                    The Nielsen Memo’s post hoc allusion to the
                “cause and deter” rationale bears no resemblance to
                the sort of “considered” judgment or “reasonable eval-
                uation” of the evidence that have supported claims to
                national security deference in the past.
                     First, as discussed supra, Petitioners do not rest
                their “cause and deter” rationale on any evidence at
                all. The Nielsen Memo cites no evidence for the ra-
                tionale. Petitioners have placed no evidence for the ra-
                tionale in the record. Nor do they point to any actual
                evidence outside the record. And the overwhelming
                evidence in fact contradicts the purported rationale.
                In short, any claim they might make to a security or
                foreign policy imperative bears no connection to the
                evidence, or to any “reasonable evaluation” thereof.38

                36 ACLU v. U.S. Dep’t of Def., 901 F.3d 125, 134 (2d Cir. 2018).

                37 Doe 2 v. Esper, 2019 WL 4394842, at *3 (D.D.C. Sept. 13, 2019)

                (emphasis added) (internal quotation marks omitted); see also id.
                at *2, *9.
                38 See Holder v. Humanitarian Law Project, 561 U.S. 1, 34-36

                (2010) (basing the decision to defer to the executive branch’s na-
                tional security claims on “persuasive evidence” and “adequat[e]
                substantiat[ion]” of those claims); Rostker v. Goldberg, 453 U.S.
                57, 66-68 (1981) (deferring to “reasonable evaluation” of the na-
                tional security evidence by the legislative branch).




                                                                                     AR5223
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                                               15
                     Second, Petitioners first submitted the “cause and
                deter” rationale more than nine months after the de-
                cision to rescind. DACA rescission had already gone
                into effect; had been challenged in multiple courts;
                had been fully briefed and decided in multiple dispos-
                itive motions; and had been enjoined by two courts
                and vacated by a third—all before Secretary Nielsen
                first suggested the “cause and deter” rationale for the
                rescission in her memorandum. An explanation for a
                policy decision cannot fairly be said to reflect the “con-
                sidered professional judgment” of national security
                professionals, without evidence that it was ever “con-
                sidered” until months after the policy decision in ques-
                tion.39
                     Third, Petitioners did not weigh the security costs
                against the perceived benefits of their decision. As de-
                tailed supra, the DACA rescission would do consider-
                able injury to multiple security and foreign policy in-
                terests of the United States.40 Petitioners cannot
                claim to have undertaken a “considered” exercise of
                judgment or “reasonable evaluation” of the national
                security and foreign policy equities, while entirely
                failing to mention—much less consider—these serious
                national security and foreign policy considerations.41
                    Fourth, there is no indication that former Secre-
                tary Nielsen undertook a considered policy-making



                39 Goldman, 475 U.S. at 508; see Doe 2, 917 F.3d at 703-704 (Wil-

                kins, J., concurring) (decision to afford the government deference
                depends on whether its policy action “was a product of” consid-
                ered national security judgment, or was “based upon” that judg-
                ment).
                40 See supra at text accompanying notes 22-33.

                41 Goldman, 475 U.S. at 508; Rostker, 453 U.S. at 68.




                                                                                     AR5224
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                                          16
                process before concluding that DACA rescission was
                needed.
                    Every recent administration to consider an im-
                portant change to security policy has followed an in-
                teragency review process, in which many of the amici
                have participated. That process allows experienced
                national security professionals to ensure that all rele-
                vant uncertainties are addressed by policy and legal
                experts, appropriate preparations are made for imple-
                mentation, and any potential risks are effectively
                identified and mitigated. Before recommendations are
                submitted to the President, the National Security
                Council oversees a policy and legal process that typi-
                cally includes: a review by the career professionals in
                those institutions of the U.S. government charged
                with implementing an order; a review by the career
                lawyers in those institutions to ensure legality and
                consistency in interpretation; and a policy review
                among senior leadership across all relevant agencies,
                including Deputies and Principals at the cabinet level.
                    If national security or foreign policy considera-
                tions were serious factors motivating a major policy
                decision affecting more than 700,000 individuals, one
                would expect to see at least a semblance of such a pro-
                cess. But there is not even a hint of it in this record.
                To the contrary, all that is known about the decision
                points in the opposite direction. The earlier memoran-
                dum of then-DHS Secretary John Kelly rescinding the
                Deferred Action for Parents of Americans (“DAPA”)
                program claimed that he made his decision “after con-
                sulting with” at least one other agency. But when
                DACA was later rescinded, the Nielsen Memo simply
                omitted this claim. Instead, Secretary Nielsen took
                pains to convey that the decision was hers alone, and
                that it was based not on an assessment of security
                facts, but on a consideration of the earlier Duke




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                Memo, the administrative record for the Duke Memo,
                and the various other documents that had been sub-
                mitted to the U.S. District Court for the District of Co-
                lumbia.42
                     This Court has noted that “[d]epartures from the
                normal procedural sequence might afford evidence
                that improper purposes are playing a role” in govern-
                ment action.43 The process Petitioners followed to con-
                clude that the rescission of DACA was needed to deter
                migration was such a departure from the norm as to
                be unrecognizable as a security process. The process
                followed does not reflect the sort of “considered” home-
                land security judgment in which amici participated,
                that is a necessary prerequisite for national security
                deference.
                     Finally, Petitioners should not receive national
                security deference for the simple reason that they
                have not articulated any national security need for the
                rescission. To be sure, concerns about immigration en-
                forcement often are connected to national security im-
                peratives. But Secretary Nielsen’s stated concerns
                manifestly were not. While expressing a desire to de-
                ter “minor aliens” from crossing the border, at no point
                does her memorandum cite any security consequence
                of these child crossings, or claim that DACA or failure
                to rescind DACA would present any identifiable



                42 Nielsen Memo, supra note 11, at 1 (“Having considered the

                Duke memorandum and Acting Secretary Duke’s accompanying
                statement, the administrative record for the Duke memorandum
                that was produced in litigation, and the judicial opinions review-
                ing the Duke memorandum, I decline to disturb * * *”).
                43 Vill. of Arlington Heights v. Metro. Hous. Dev. Corp., 429 U.S.

                252, 267 (1977).




                                                                                     AR5226
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                national security or foreign policy risk.44 Petitioners
                can make no tenable claim to national security defer-
                ence when they are unable to articulate any actual na-
                tional security basis for their change in DACA policy.
                                       CONCLUSION
                     For the foregoing reasons, this Court should af-
                firm the judgments of the U.S. Court of Appeals for
                the Ninth Circuit and the U.S. District Court for the
                District of Columbia, and the orders of the U.S. Dis-
                trict Court for the Eastern District of New York.

                                        Respectfully submitted,

                 PHILLIP SPECTOR                 HAROLD HONGJU KOH
                  Messing & Spector LLP           Counsel of Record
                  1200 Steuart Street            HOPE R. METCALF
                  #2112                           Peter Gruber Rule of Law
                  Baltimore, MD 21230                Clinic
                  (202) 277-8173                  Yale Law School
                                                  127 Wall Street
                                                  P.O. Box 208215
                                                  New Haven, CT 06520
                                                  (203) 432-4932
                                                  harold.koh@ylsclinics.org




                44 Long after the fact, Petitioners’ Brief wrests from the single

                sentence in the Nielsen Memo an alleged concern about the cross-
                ings of the “families” of these children that appears nowhere in
                the Memo itself. See supra text accompanying notes 13-14. But
                even then, Petitioners do not identify a concrete security or for-
                eign policy harm that would plausibly flow from a court order
                blocking the rescission of DACA. See supra text accompanying
                note 15.




                                                                                     AR5227
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                                  APPENDIX




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                                        A-1

                                    APPENDIX

                               List of Amici Curiae

                       1.     Madeleine K. Albright served as Secre-
                tary of State from 1997 to 2001. A refugee and natu-
                ralized American citizen, she served as U.S. Perma-
                nent Representative to the United Nations from 1993
                to 1997. She has also been a member of the Central
                Intelligence Agency External Advisory Board since
                2009 and of the Defense Policy Board since 2011, in
                which capacities she has received assessments of
                threats facing the United States.

                      2.     Rand Beers served as Deputy Homeland
                Security Advisor to the President of the United
                States from 2014 to 2015.

                      3.     John B. Bellinger III served as the Le-
                gal Adviser for the U.S. Department of State from
                2005 to 2009. He previously served as Senior Associ-
                ate Counsel to the President and Legal Adviser to
                the National Security Council from 2001 to 2005.

                      4.     Jarrett Blanc served as State Depart-
                ment Coordinator for Iran Nuclear Implementation
                from 2015 to 2017. He previously served as Principal
                Deputy Special Representative for Afghanistan and
                Pakistan from 2014 to 2015.

                       5.     Antony Blinken served as Deputy Secre-
                tary of State from 2015 to 2017. He previously served
                as Deputy National Security Advisor to the President
                from 2013 to 2015.




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                                         A-2
                      6.     John O. Brennan served as Director of
                the Central Intelligence Agency from 2013 to 2017.
                He previously served as Deputy National Security
                Advisor for Homeland Security and Counterterror-
                ism and Assistant to the President from 2009 to
                2013.

                        7.   William J. Burns served as Deputy Sec-
                retary of State from 2011 to 2014. He previously
                served as Under Secretary of State for Political Af-
                fairs from 2008 to 2011, as U.S. Ambassador to Rus-
                sia from 2005 to 2008, as Assistant Secretary of
                State for Near Eastern Affairs from 2001 to 2005,
                and as U.S. Ambassador to Jordan from 1998 to
                2001.

                      8.     Derek Chollet served as Assistant Sec-
                retary of Defense for International Security Affairs
                from 2012 to 2015.

                       9.     James Clapper served as Director of Na-
                tional Intelligence from 2010 to 2017.

                       10.    Bathsheba N. Crocker served as Assis-
                tant Secretary of State for International Organiza-
                tion Affairs from 2014 to 2017.

                       11.   Rudy DeLeon served as Deputy Secre-
                tary of Defense from 2000 to 2001.

                        12.   Nancy Ely-Raphel served as Senior Ad-
                viser to the Secretary of State and Director of the Of-
                fice to Monitor and Combat Trafficking in Persons
                from 2001 to 2003. She previously served as U.S.
                Ambassador to Slovenia from 1998 to 2001.




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                       13.   John D. Feeley served as U.S. Ambassa-
                dor to Panama from 2015 to 2018. He previously
                served as Principal Deputy Assistant Secretary for
                Western Hemisphere Affairs at the U.S. Department
                of State from 2012 to 2015.

                       14.    Daniel F. Feldman served as U.S. Spe-
                cial Representative for Afghanistan and Pakistan
                from 2014 to 2015, Deputy U.S. Special Representa-
                tive for Afghanistan and Pakistan from 2009 to 2014,
                and previously Director for Multilateral and Human-
                itarian Affairs at the National Security Council.

                       15.    Jonathan Finer served as Chief of Staff
                to the Secretary of State from 2015 to 2017, and Di-
                rector of the Policy Planning Staff at the U.S. De-
                partment of State from 2016 to 2017.

                       16.    Lucas Guttentag served as Senior Coun-
                selor to the Secretary of Homeland Security and pre-
                viously as Senior Counselor to the Director of U.S.
                Citizenship and Immigration Services from 2014 to
                2016.

                       17.   Chuck Hagel served as Secretary of De-
                fense from 2013 to 2015, and previously served as
                Co-Chair of the President’s Intelligence Advisory
                Board. From 1997 to 2009, he served as U.S. Senator
                for Nebraska, and as a senior member of the Senate
                Foreign Relations and Intelligence Committees.




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                       18.   Avril D. Haines served as Deputy Na-
                tional Security Advisor to the President of the
                United States from 2015 to 2017. From 2013 to 2015,
                she served as Deputy Director of the Central Intelli-
                gence Agency.

                      19.    General (ret.) Michael V. Hayden,
                USAF, served as Director of the Central Intelligence
                Agency from 2006 to 2009. From 1995 to 2005, he
                served as Director of the National Security Agency.

                       20.    Kathleen H. Hicks served as Principal
                Deputy Under Secretary of Defense for Policy from
                2012 to 2013, and as Deputy Under Secretary of De-
                fense for Strategy, Plans, and Forces from 2009 to
                2012.

                       21.   Roberta Jacobson served as U.S. Am-
                bassador to Mexico from 2016 to 2018. She previ-
                ously served as Assistant Secretary of State for
                Western Hemisphere Affairs from 2011 to 2016.

                       22.   Nate Jones served as Director of Coun-
                terterrorism at the National Security Council from
                2009 to 2012.

                       23.    Colin H. Kahl served as Deputy Assis-
                tant to the President and National Security Advisor
                to the Vice President from 2014 to 2017. He previ-
                ously served as Deputy Assistant Secretary of De-
                fense for the Middle East from 2009 to 2011.

                       24.  John F. Kerry served as Secretary of
                State from 2013 to 2017.




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                                         A-5
                       25.    Lawrence J. Korb served as Assistant
                Secretary of Defense (manpower, reserve affairs, in-
                stallations, and logistics) from 1981 to 1985.

                       26.   Prem Kumar served as Senior Director
                for the Middle East and North Africa at the National
                Security Council from 2013 to 2015.

                       27.   Kelly E. Magsamen served as Principal
                Deputy Assistant Secretary of Defense for Asian and
                Pacific Security Affairs from 2014 to 2017.

                       28.    David A. Martin served as Principal
                Deputy General Counsel of the U.S. Department of
                Homeland Security from 2009 through 2010, includ-
                ing four months as Acting General Counsel, and as
                General Counsel of the Immigration and Naturaliza-
                tion Service from 1995 to 1998.

                       29.    Denis McDonough served as the Chief
                of Staff to the President from 2013 to 2017. He previ-
                ously served as Deputy National Security Advisor to
                the President from 2010 to 2013.

                        30.  Nancy McEldowney served as Principal
                Deputy Assistant Secretary of State for European Af-
                fairs from 2009 to 2011. She previously served as
                U.S. Ambassador to Bulgaria from 2008 to 2009.




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                                         A-6
                       31.   Brett H. McGurk served as Special
                Presidential Envoy for the Global Coalition to Coun-
                ter the Islamic State of Iraq and the Levant from
                2015 to 2018. Previously, he served as the Deputy
                Assistant Secretary of State for Near Eastern Affairs
                from 2013 to 2015, and as Special Assistant to the
                President and Senior Director for Iraq and Afghani-
                stan from 2007 to 2009.

                      32.    Cecilia Muñoz served as Director of the
                White House Domestic Policy Council from 2012 to
                2017, and as the White House Director of Intergov-
                ernmental Affairs from 2009 to 2012.

                       33.    James C. O’Brien served as Special
                Presidential Envoy for Hostage Affairs from 2015 to
                2017. He served in the U.S. Department of State
                from 1989 to 2001, including as Principal Deputy Di-
                rector of Policy Planning and as Special Presidential
                Envoy for the Balkans.

                      34.    Matthew G. Olsen served as Director of
                the National Counterterrorism Center from 2011 to
                2014.

                      35.    Leon E. Panetta served as Secretary of
                Defense from 2011 to 2013. From 2009 to 2011, he
                served as Director of the Central Intelligence
                Agency.




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                      36.    Anne W. Patterson served as Assistant
                Secretary of State for Near Eastern Affairs from
                2013 to 2017. She previously served as U.S. Ambas-
                sador to Egypt from 2011 to 2013, U.S. Ambassador
                to Pakistan from 2007 to 2010, U.S. Ambassador to
                Colombia from 2000 to 2003, and U.S. Ambassador to
                El Salvador from 1997 to 2000.

                      37.    Thomas R. Pickering served as Under
                Secretary of State for Political Affairs from 1997 to
                2000. He previously served as U.S. Ambassador to El
                Salvador from 1983 to 1985, and U.S. Permanent
                Representative to the United Nations from 1989 to
                1992.

                       38.    Samantha J. Power served as U.S. Per-
                manent Representative to the United Nations from
                2013 to 2017. From 2009 to 2013, she served as Sen-
                ior Director for Multilateral Affairs and Human
                Rights at the National Security Council.

                       39.   Jeffrey Prescott served as Deputy Na-
                tional Security Advisor to the Vice President from
                2013 to 2015, and as Special Assistant to the Presi-
                dent and Senior Director for Iran, Iraq, Syria and the
                Gulf States from 2015 to 2017.

                      40.    Ned Price served as Special Assistant to
                President for National Security Affairs from 2016 to
                2017 and as the National Security Council Spokes-
                person from 2015 to 2017.




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                       41.   Susan E. Rice served as U.S. Perma-
                nent Representative to the United Nations from 2009
                to 2013 and as National Security Advisor to the Pres-
                ident from 2013 to 2017.

                       42.    Eric P. Schwartz served as Assistant
                Secretary of State for Population, Refugees, and Mi-
                gration from 2009 to 2011. From 1993 to 2001, he
                was responsible for refugee and humanitarian issues
                at the National Security Council, ultimately serving
                as Special Assistant to the President for National Se-
                curity Affairs and Senior Director for Multilateral
                and Humanitarian Affairs.

                       43.    Nick Shapiro served as Deputy Chief of
                Staff and Senior Advisor to the Director of the Cen-
                tral Intelligence Agency from 2013 to 2015. He previ-
                ously served as a senior White House counterterror-
                ism and homeland security aide to the President of
                the United States from 2009 to 2013.

                      44.    Wendy R. Sherman served as Under
                Secretary of State for Political Affairs from 2011 to
                2015.

                       45.    Anne-Marie Slaughter served as the Di-
                rector of Policy Planning at the U.S. Department of
                State from 2009 to 2011.

                      46.    Dana Shell Smith served as U.S. Am-
                bassador to Qatar from 2014 to 2017. She previously
                served as Principal Deputy Assistant Secretary of
                Public Affairs.




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                       47.    Jake Sullivan served as National Secu-
                rity Advisor to the Vice President from 2013 to 2014.
                He previously served as Director of Policy Planning
                at the U.S. Department of State from 2011 to 2013.

                       48.    Strobe Talbott served as Deputy Secre-
                tary of State from 1994 to 2001.

                        49.  Arturo A. Valenzuela served as Assis-
                tant Secretary of State for Western Hemisphere Af-
                fairs from 2009 to 2011. He previously served as Spe-
                cial Assistant to the President and Senior Director
                for Inter-American Affairs at the National Security
                Council from 1999 to 2000, and as Deputy Assistant
                Secretary of State for Mexican Affairs from 1994 to
                1996.

                      50.    Douglas Wilson served as Assistant Sec-
                retary of Defense for Public Affairs from 2010 to
                2012.

                      51.    Samuel M. Witten served as Principal
                Deputy Assistant Secretary of State for Population,
                Refugees, and Migration from 2010 to 2017. He pre-
                viously served as Deputy Legal Adviser of the U.S.
                Department of State from 2001 to 2007.




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                 Nos. 18-587, 18-588 and 18-589

                                In the
     Supreme Court of the United States

   DEPARTMENT OF HOMELAND SECURITY, et al.,

                                                         Petitioners,

                                    v.

              REGENTS OF THE UNIVERSITY
                 OF CALIFORNIA, et al.,

                                                        Respondents.

         (For Continuation of Caption See Inside Cover)

         On Writ of Certiorari to the United States
          Court of A ppeals for the Ninth Circuit

BRIEF Amici CURIAE OF THE NATIONAL
EDUCATION ASSOCIATION AND NATIONAL
  PTA IN SUPPORT OF RESPONDENTS

                            A lice O’Brien
                              Counsel of Record
                            Emma Leheny
                            Lubna A. A lam
                            Rebecca Yates
                            National Education A ssociation
                            1201 16th Street, NW
                            Washington, DC 20036
                            (202) 822-7048
                            aobrien@nea.org

                            Counsel for Amici Curiae
October 4, 2019
291673

                             A
                      (800) 274-3321 • (800) 359-6859




                                                                        AR5238
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                               DONALD J. TRUMP, PRESIDENT OF
                                  THE UNITED STATES, et al.,

                                                                  Petitioners,

                                                 v.

                             NATIONAL ASSOCIATION FOR THE
                          ADVANCEMENT OF COLORED PEOPLE, et al.,

                                                                 Respondents.



                          On Writ of Certiorari Before Judgment to the
                          United States Court of A ppeals for the District
                                        of Columbia Circuit




                         KEVIN K. MCALEENAN, ACTING SECRETARY
                              OF HOMELAND SECURITY, et al.,

                                                                  Petitioners,

                                                 v.

                          MARTIN JONATHAN BATALLA VIDAL, et al.,

                                                                 Respondents.


                       On Writ of Certiorari Before Judgment to the United
                          States Court of A ppeals for the Second Circuit




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             Question Presented

This brief addresses the second question accepted for
review by the Court:

    Whether the Department of Homeland Security’s
decision to terminate the Deferred Action for Childhood
Arrivals (“DACA”) policy was arbitrary and capricious.




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                   Interest of Amici1

    National Education Association (“NEA”) is the
largest and oldest educational association in the United
States. Founded in 1857, NEA now represents three
million teachers, counselors, nurses, and education
support professionals throughout the country, including
many DACA educators. Among the millions of public
school students NEA members serve are hundreds of
thousands of DACA recipients. DACA has provided a
foundation for those students’ success both by granting
them the certainty as to their legal status needed to
pursue their educational aspirations and by granting that
same certainty to their teachers who hold DACA status. As
such, DACA meaningfully advances NEA’s core mission,
which is to fulfill the promise of public education for every
student. NEA, The National Education Association
Vision, Mission and Values, 2019 Handbook 7, http://
www.nea.org/assets/docs/2019_NEA_Handbook.pdf. A
rescission of DACA will do real and lasting harm to those
students and teachers, as well as to the entire project of
public education.

    National PTA (“PTA”) is a nationwide network
of nearly 3.5 million families, students, teachers,

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       No counsel for a party authored this brief in whole or in
part, and no such counsel or party made a monetary contribution
intended to fund the preparation or submission of this brief. No
person other than amici curiae, their members, or their counsel
made a monetary contribution to its preparation or submission.
Pursuant to Rule 37.3(a), counsel for amici also represent that all
parties have consented to the filing of this brief; letters reflecting
their blanket consent to the filing of amicus briefs are on file with
the Clerk.




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                       administrators, and business and community leaders
                       devoted to making a difference for the education, health,
                       safety and wellbeing of every child and making every
                       child’s potential a reality. National PTA is comprised of 54
                       state congresses, encompassing all 50 states, the District
                       of Columbia, U.S. Virgin Islands, Puerto Rico and the
                       Department of Defense Schools in Europe. Additionally,
                       there are more than 24,000 local PTA units nationwide.
                       PTA serves 16.5 million students across the country.

                           The overall purpose of PTA is to bring together
                       families, educators and business and community leaders
                       to solve the toughest challenges facing schools and
                       communities and engage and empower families and
                       communities to speak up and take action for every child.
                       For more than 100 years, PTA has been a powerful voice
                       for all children, a relevant resource for families and
                       communities, and a strong advocate for public education.

                                Introduction and Summary
                                       of Argument

                           Since its inception in 2012, the Deferred Action
                       for Childhood Arrivals (“DACA”) program has yielded
                       immeasurable benefits for our nation’s students and
                       educators. For young people who, prior to DACA, had
                       only a limited pathway to college and almost no realistic
                       expectation of long-term employment, the program
                       created new hope and a reason to strive for academic
                       excellence. Since DACA began over seven years ago,
                       many DACA recipients, in reliance on the program,
                       have completed high school, entered four-year colleges
                       and universities, and graduated to embark on careers
                       in public service. And school districts, also relying on
                       DACA, have hired thousands of DACA recipients. DACA




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recipients have helped alleviate the nationwide shortage
of qualified educators, particularly in high needs schools
and communities, and they serve as role models for the
next generation of increasingly diverse students.

    Following the September 5, 2017 decision by the
Trump administration to rescind DACA, the Department
of Homeland Security (“DHS”) immediately stopped
accepting DACA applications and attempted to cut
off renewal applications 30 days later. Memorandum
from Elaine C. Duke, Acting Sec’y, DHS, to James W.
McCament, Acting Dir., USCIS, et al., Memorandum
on Rescission of Defer red Action for Childhood
Arrivals (DACA) (Sept. 5, 2017), https://w w w.dhs.
gov/news/2017/09/05/memorandum-rescission-daca
(“Rescission Memo”). Lawsuits challenging the rescission
quickly followed, including the three now before the
Court. 2 In these cases, the district courts either vacated
or enjoined in large part DHS’s rescission on a nationwide
basis. Regents of Univ. of Cal. v. U.S. Dep’t of Homeland
Sec., 279 F. Supp. 3d 1011, 1049 (N.D. Cal. 2018) (issuing
a nationwide injunction requiring DHS to continue
accepting DACA renewals); Regents of Univ. of Cal. v.
U.S. Dep’t of Homeland Sec., 908 F.3d 476, 512 (9th Cir.
2018) (upholding injunction), cert. granted sub nom. U.S.
Dep’t of Homeland Sec. v. Regents of Univ. of Cal., 139 S.

    2
        In a fourth case, not currently before this Court, a
Maryland District Court held that the decision to rescind DACA
was not arbitrary and capricious. Casa De Md. v. U.S. Dep’t of
Homeland Sec., 284 F. Supp. 3d 758, 772 (D. Md. 2018). The Fourth
Circuit reversed in relevant part. Casa De Md. v. U.S. Dep’t of
Homeland Sec., 924 F.3d 684 (4th Cir. 2019). DHS has petitioned
for a writ of certiorari in that case, which was distributed for the
Court’s October 1, 2019 conference.




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                       Ct. 2779 (2019); Batalla Vidal v. Nielsen, 279 F. Supp. 3d
                       401, 437 (E.D.N.Y. 2018) (issuing a nationwide injunction
                       requiring DHS to continue accepting DACA renewals)
                       cert. granted sub nom. McAleenan v. Vidal, 139 S. Ct.
                       2779 (2019); NAACP v. Trump, 315 F. Supp. 3d 457, 473
                       (D.D.C. 2018) (vacating Rescission Memo), cert. granted
                       sub nom. Trump v. NAACP., 139 S. Ct. 2779 (2019).

                           DHS violated the Administrative Procedure Act
                       (“APA”), 5 U.S.C. § 706(2)(A), when it purported to rescind
                       DACA without providing a reasoned explanation for its
                       decision. The Rescission Memo fails to acknowledge that
                       the elimination of DACA is a drastic change in policy
                       and does not attempt to address the factual record that
                       underlay the creation of DACA, nor the serious reliance
                       interests the policy has created over the past seven years.
                       These shortcomings render the agency’s action arbitrary
                       and capricious.

                           Allowing this unlawful agency action to eliminate
                       DACA would erase the educational and professional
                       gains made by DACA recipients in reliance on DACA and
                       cause lasting harm to the education communities that
                       have invested in and have come to rely on DACA holders.
                       Young children will suffer the abrupt departure of trusted
                       teachers, teacher shortages will worsen as thousands of
                       DACA educators lose their status, immigrant students will
                       lose a lifeline to education mentors, and student learning
                       will be harmed in both the short- and long-term.

                           Therefore, on behalf of millions of education
                       stakeholders, amici urge the Court to affirm the
                       judgments below as the Rescission Memo was an arbitrary
                       and capricious agency action.




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                      Argument

A. DHS Failed to Provide a Reasoned Explanation
   for the Policy Change, Including a Consideration
   of Reliance Interests, as Required by the APA

     The APA instructs courts to hold as unlawful and
set aside agency action that is arbitrary or capricious. 5
U.S.C. § 706(2)(A). “In order to permit meaningful judicial
review, an agency must ‘disclose the basis’ of its action.”
U.S. Dep’t of Commerce v. New York,           U.S. , 139 S.
Ct. 2551, 2573 (2019) (quoting Burlington Truck Lines,
Inc. v. United States, 371 U.S. 156, 167–69 (1962)). That
is, the agency needs to provide a “reasoned explanation”
for its decision. FCC v. Fox Television Stations, Inc., 556
U.S. 502, 515 (2009). When the agency is changing its
policy, rather than writing on a blank slate, that reasoned
explanation must demonstrate that the agency is aware
that it is changing position and that there are good reasons
for the new policy. Encino Motorcars, LLC v. Navarro,
     U.S.     , 136 S. Ct. 2117, 2125 (2016). When the new
policy “rests upon factual findings that contradict those
which underlay its prior policy; or when its prior policy has
engendered serious reliance interests,” the agency must
provide a “more detailed justification.” Fox Television
Stations, 556 U.S. at 515. Ignoring these requirements
constitutes “arbitrary [and] capricious” action. Id.; see
also Nat’l Cable & Telecomm. Ass’n v. Brand X Internet
Servs., 545 U.S. 967, 981–82 (2005) (holding that the
failure of an agency to explain a change in its policy is a
“reason for holding an interpretation to be [] arbitrary
and capricious”).

   DHS’s decision to rescind DACA represents an
enormous shift in policy. When then-Secretary Janet




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                       Napolitano announced the creation of DACA in 2012, she
                       found that DHS needed the policy to “ensure that [its]
                       enforcement resources [were] not expended on these low
                       priority cases.” Memorandum from Janet Napolitano,
                       Sec’y, DHS to David V. Aguilar, Acting Comm’r, CBP, et
                       al., Exercising Prosecutorial Discretion with Respect to
                       Individuals Who Came to the United States as Children,
                       1-2 (June 15, 2012), https://www.dhs.gov/xlibrary/assets/
                       s1-exercising-prosecutorial-discretion-individuals-who-
                       came-to-us-as-children.pdf (“2012 DACA Memo”). She
                       found that, as a group, DACA-eligible individuals “lacked
                       the intent to violate the law,” and were “productive young
                       people,” many of whom had “already contributed to our
                       country in significant ways.” Id.

                            As late as June 2017, DHS had explicitly preserved
                       DACA, even as it dismantled other programs that provided
                       immigrants with relief. Memorandum from John F. Kelly,
                       Sec’y, DHS to Kevin K. McAleenan, Acting Comm’r, CBP,
                       et al., Memorandum on Enforcement of the Immigration
                       Laws to Serve the National Interest (Feb. 20, 2017), Joint
                       Appendix (“J.A.”) at 858; Memorandum from John F.
                       Kelly, Sec’y, DHS to Kevin K. McAleenan, Acting Comm’r,
                       CBP, et al., Memorandum on Rescission Providing for
                       Deferred Action for Parents of Americans [“DAPA”] and
                       Lawful Permanent Residents (June 15, 2017), J.A. at 870-
                       71. At that time, DHS emphasized that it would prioritize
                       enforcement of immigration laws against undocumented
                       immigrants who had criminal backgrounds. J.A. at 859-
                       63. When DHS did announce the rescission of DACA
                       on September 5, 2017, the only basis it provided for its
                       decision was its belief that DACA was unlawful, based
                       on a ruling by the Fifth Circuit that DAPA conflicted
                       with the discretion granted to DHS by the Immigration




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and Nationality Act and a letter by the Attorney General
opining that DACA was unconstitutional. Rescission Memo
at 3-4. 3

    The Rescission Memo did not mention the findings
provided in the 2012 DACA Memo nor did it discuss the
serious reliance interests created by the program over the
past several years, thus providing no reasoned explanation
for why DHS rescinded the policy. As the interviews4 for
this brief amply demonstrate, the explanation given for
the policy in 2012 – that DACA-eligible individuals are
productive young people who contribute to our country
in significant ways – has only grown stronger. And,
when serious reliance interests are at stake such as
here, agencies must provide an explanation that is not
    3
        On June 22, 2018, after the D.C. District Court vacated
the Rescission Memo and remanded the case to DHS, then-
Secretary Kirstjen Nielsen issued a memorandum attempting
to offer some explanation for DHS’s decision. The Court should
not consider this memorandum because its review is limited
to the agency’s contemporaneous explanation, not its post-
hoc rationalization. See U.S. Dep’t of Commerce v. New York,
   U.S. , 139 S. Ct. 2551, 2573 (2019); Vermont Yankee Nuclear
Power Corp. v. Nat. Res. Def. Council, Inc., 435 U.S. 519, 549
(1978); Camp v. Pitts, 411 U.S. 138, 142–43 (1973) (per curiam).
In any event, then-Secretary Nielsen’s cursory consideration of
the reliance interests cannot satisfy the APA’s reasoned decision-
making requirement.
    4
       To provide the Court with an expanded understanding
of how DACA has impacted public education, amici have
interviewed numerous students, graduates, educators, and school
administrators. Where names are used, it is with interviewees’
permission. Others asked not to be named or identifiably described
because of the uncertainty of their DACA status or concern for
their DACA students.




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                       just reasoned, but “more detailed” than one for other
                       types of agency action. See Fox Television Stations, 556
                       U.S. at 515. In reliance on the DACA program, DACA
                       holders furthered their education and began careers as
                       educators. In turn, school districts and communities relied
                       on the many benefits provided by these DACA holders.
                       But DHS failed to consider any of these serious reliance
                       interests. That failure renders DHS’s action arbitrary and
                       capricious, and accordingly unlawful. The Court should
                       therefore affirm the judgments below.

                       B. In Reliance on DACA, Students Pursued Higher
                          Education and Careers in Public Service

                           DACA has motivated countless young people to stay
                       in school and further their education. Without DACA,

                            most unauthorized immigrant youth end their
                            schooling before entering college . . . . [T]he
                            majority of unauthorized students pursuing
                            higher education attend community colleges
                            and struggle to persist and graduate. With
                            access to legal employment and diminished
                            fear of possible deportation [because of DACA],
                            many of the study’s respondents described their
                            newfound motivation and interest in school.

                       Roberto G. Gonzales et al., Ctr. for Am. Progress, Taking
                       Giant Leaps Forward: Experiences of a Range of DACA
                       Beneficiaries at the 5-Year Mark 2 (2017). “DACA has
                       been the impetus for many young people . . . to return to
                       school . . . . Dozens of the respondents who had previously
                       not finished high school told the authors that DACA
                       was an important impetus to re-enroll in school . . . .”




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Id. at 3. Forty percent of respondents in a nationwide
survey of 1,105 DACA recipients reported that they were
currently in school. Tom K. Wong et al., 2019 National
DACA Survey, https://cdn.americanprogress.org/content/
uploads/2019/09/18122133/New-DACA-Survey-2019-
Final-1.pdf. Of those respondents, 83% were already
pursuing a bachelor’s degree or higher, and 93% reported
that DACA allowed them to pursue education opportunities
that had not previously been available. Id. And upon
graduating from high school, many DACA holders pursue
higher education so as to devote their careers to public
service. Some 9,000 DACA holders are now working in
education according to one 2017 estimate by the Migration
Policy Institute. Jie Zong et al., Migration Pol’y Inst.,
A Profile of Current DACA Recipients by Education,
Industry, and Occupation 7-8 (2017).

    DACA holders invested in their education in reliance
on the government’s promise in DACA that they would
be able to pursue educational and job opportunities, and
that those opportunities would not be taken away without
due consideration. However, DHS failed to consider these
serious reliance interests and the massive and irreparable
harm rescinding DACA would have on the hundreds of
thousands of DACA holders, their families, their students,
and their communities. The interviews that follow speak
powerfully to the very issues DHS should have considered.

    “I could finally serve my community.” This was the
reaction of Angelica Reyes upon learning of DACA. As a
public school student in Los Angeles, Reyes dreamed of
becoming an educator, but felt that advanced academic
and professional opportunities were out of reach. During
that time Reyes recalls, “I had done more than 1,000




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                       hours of community service. It was heartbreaking that I
                       couldn’t be part of the system I had tried to enrich.” With
                       DACA, “it felt like an opportunity. I could finally serve
                       my community. And I could be an educator. DACA gave
                       me a clear path to obtain the career I had been working
                       towards.” While earning her teaching credential at the
                       University of California at Los Angeles, Reyes also
                       worked for several non-profit advocacy organizations that
                       assist K-12 students with college preparedness, financial
                       aid, health and nutrition, and recovery from domestic
                       violence. Reyes is now a valued member of the teaching
                       corps in the district where she herself was a student. A
                       former Advanced Placement U.S. History teacher, Reyes
                       now teaches World History and Ethnic Studies. Next,
                       Reyes is hoping to pursue a doctorate in education.

                           “Helping everyday citizens.” A senior at the
                       University of Texas at Austin, Vanessa Rodriguez Minero
                       majors in government. She volunteers in a program that
                       brings college students to underserved high schools to
                       advise on how to pursue higher education. For two years,
                       Rodriguez Minero served as the constituent liaison for
                       an Austin City Councilmember. She enjoyed “helping
                       everyday citizens” navigate through government services
                       to resolve their issues. Her goal is to use her education
                       to give back to her community. In thinking about the
                       potential end of DACA, Rodriguez Minero is concerned
                       about “professional development, what happens after
                       college, what happens with my degree, will I be able to
                       work in a field that I’m very passionate about?”

                           “My dream of working in education.” A graduate
                       of the University of California, DACA-holder Vicente
                       Rodriguez teaches in the San Bernardino City Unified




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School District. This year, Rodriguez works one-on-
one with a student receiving special education services.
Last year, he served as the school’s resident substitute,
an assignment that included three months as a teacher
providing bilingual education to second-graders. The
former Director of Social Services at an after-school
program providing academic support for school-aged
children, Rodriguez has just this month applied for a
master’s program in education. His career goal is to teach
high school students in the areas of English and Ethnic
Studies, his majors in college, but he now feels that “my
dream of working in education is slowly slipping away
despite how far I have come.”

     “DACA gave me access to education.” A Duke
University senior, Axel Herrera is pursuing a double
major in economics and sociology. Herrera has interned
in the U.S. Congress and is applying to work at advocacy
organizations after his graduation from Duke. Herrera
presently volunteers for a STEM program where he has
mentored a group of students since they were in sixth
grade. Herrera receives mentorship, funding toward
tuition, and career placement support through the Golden
Door Scholarship program, which was established to
advance the economic mobility of DACA recipients.
“DACA gave me access to education,” says Herrera, who
sees the termination of DACA as an “extreme disruption,”
not just on a personal level but to schools and employers.

    “I wanted to do something more.” A bilingual
teaching fellow in a school district outside of Seattle,
A.M.P. is pursuing her teaching certification. Before
DACA, she had always been a strong student, but she felt
she had no clear pathway to college. When she received




                                                             AR5261
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                       DACA, she “wanted to do something more.” Working with
                       a mentor teacher, A.M.P. now teaches third grade at the
                       elementary school she attended as a child. Next year, she
                       will have her own classroom and she intends to stay in her
                       home district, but “I know there are a lot of [educators]
                       who are wondering how they’ll be able to renew their
                       DACA” and continue their teaching careers.

                            “The basic sense of human dignity.” Kateri Simpson
                       teaches at a high school in Oakland, California. Simpson
                       has seen first-hand how DACA has motivated students
                       to fully engage in school and work toward graduation
                       because higher education opportunities were now within
                       reach. The students “all of a sudden . . . had agency and
                       advocacy . . . . They were able to work for themselves and
                       that was such a powerful thing.” Her students could afford
                       to stay in school and, with DACA work authorization, hold
                       jobs to support themselves in college. As Simpson says,
                       “the basic sense of human dignity to be able to work for
                       what you want—I don’t think can be underestimated.”

                            “It affects every aspect of my being.” Anayeli Marcos
                       is in her last year of study for a dual master’s degree
                       in social work and science at the University of Texas at
                       Austin. Marcos aims to join a non-profit organization as a
                       counselor or therapist and use her Spanish-language skills
                       to help underserved clients. In addition to her studies,
                       Marcos works 20 hours per week, helping to provide for
                       her three U.S. citizen siblings. When an agency error
                       caused a temporary break in Marcos’s DACA status,
                       she says it “turned my world upside down.” She had to
                       withdraw from UT-Austin for a semester, move back in
                       with her parents, and cease work until the mistake could
                       be corrected. “It affects every aspect of my being. It




                                                                                    AR5262
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not only affects me financially, it also affects my mental
health.”

    “Only take things day by day.” H.A. is an education
support professional at an Arizona high school where he
works as a lab technician and volunteers in the counseling
department, supporting immigrant students and their
parents. He previously assisted students with the college
application process. He himself was accepted to state
university with a scholarship but, lacking DACA at the
time, enrolled in community college, where it took him
seven years to complete his degree while working. H.A. is
witnessing students at his school feel “confusion and panic”
about DACA and related immigration issues, so he has
started an immigrant student support group. He remains
dedicated to his students but due to the uncertainty
around DACA, he can “only take things day by day.”

    “A vehicle to better opportunities.” As a public school
student in Texas, Roberto Valadez dreamed of becoming
an academic, but his immigration status made him feel
that “no matter how hard I try, I can never go to college.”
By high school, Valadez had begun to miss classes and
struggle academically. But when DACA was announced,
Valadez immediately recognized it as “a vehicle to better
opportunities” and applied. He improved his schoolwork
and recently graduated from the University of Texas at El
Paso. He is currently working toward his Masters degree
in Sociology and hopes to someday direct a non-profit
organization and contribute to his community. Valadez
states that “I feel like a new person after DACA.” While
DACA has allowed Valadez to work for a decent wage and
put himself through college, “without DACA, it’s game
over.”




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                            “A new sense of confidence.” Areli Morales attended
                       public schools in New York City where, she states, “I
                       felt voiceless for many years . . . I remember wanting
                       to be invisible . . . .”5 DACA gave Morales “a new sense
                       of confidence to move forward with [her] studies.” She
                       was able to obtain work authorization, a Social Security
                       number, and attend college. Morales graduated from
                       Brooklyn College in 2018. She is currently working as a
                       substitute teacher while pursuing her teaching license. If
                       Morales can renew her DACA status, she declares, “I plan
                       to use my experiences of being undocumented to be an
                       empathic teacher . . . . I hope to create a positive classroom
                       environment that fosters acceptance, understanding, and
                       empowerment to educate future generations of children,
                       so they can strive to reach their greatest potential.”
                       Having relied on DACA and devoted years to her goal of
                       becoming a teacher, the idea that she would not be able
                       to teach, have her own classroom, and prepare her own
                       lesson plans is “devastating.”

                           “DACA was a motivator.” Prior to receiving DACA,
                       recent college graduate Joseph Ramirez would question
                       the need to excel in school because he did not think he
                       could go to college: “What am I going to do with that
                       degree without a Social Security number?” During his
                       senior year of high school, he received DACA. “DACA
                       was a motivator,” Ramirez says. Without it, “I would
                       not have pushed my limits.” Ramirez is the first in his
                       family to graduate from college. “Losing DACA would
                       be devastating” for Ramirez, who is helping his parents
                       open a daycare for children in their community.
                           5
                              Based on a personal interview conducted by amici and
                       excerpts from Tatyana Kleyn et al., Learning from Undocumented
                       Students: Testimonios for Strategies to Support and Resist, 14
                       The New Educator 24, 29 (2018).




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     “What will they have to go through?” Jose Garibay
recently graduated from St. Edwards College with a
degree in political science. While in college, he volunteered
for a college preparedness program for students from low-
income communities. DACA meant Garibay was no longer
afraid to be open and involved in community service. He
hopes to go to law school or pursue a graduate degree in
public policy. Garibay worries about his own career, but
more than that, he worries about how DACA’s rescission
will affect his younger brother, who just started college.
And he is anxious about what college will look like for
the young people he has helped through the college
preparedness program. “What will they have to go
through?”

     These are just a few of the thousands of student and
educator stories around the country. See Gonzales, supra,
at 2; Wong, supra. By opening the door to higher education
and meaningful work in fields of public service, DACA has
provided young people with a powerful reason to engage
and succeed in their K-12 studies and beyond. If they
lose their DACA status, the achievements that they have
worked so hard to attain will be cut short. The nation’s
investment in educating and training DACA holders will
be lost. And for DACA recipients still in high school, the
DACA opportunities that motivated young people—and
improved high school matriculation rates—will summarily
vanish.

C. DHS Failed to Consider the Reliance Interests
   DACA Engendered in This Country’s Public Schools

   The harm caused by the loss of DACA would not be
borne by its recipients alone. Without DACA renewals, the




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                       status of thousands of educators will expire on different
                       dates throughout the school year. Teachers and staff will
                       abruptly disappear from classrooms to the distress of their
                       students and to the measurable detriment of educational
                       outcomes. In addition, educational institutions across the
                       country rely on thousands of DACA educators to help
                       remedy significant teacher shortages, provide mentorship
                       and role models to students, and diversify the teaching
                       corps.

                           i.   Without DACA, Thousands of Educators Would
                                Abruptly Leave Their Students

                            The loss of DACA would mean that our nation’s schools
                       would lose thousands of valued education employees. Zong,
                       supra, at 7-8. Given the individual DACA expiration dates
                       of these educators, no district, school, or classroom can
                       adequately prepare students for the staggered departure
                       of beloved teachers. Departures that occur mid-year or at
                       critical points of educational mastery would irreversibly
                       harm children and their educational outcomes. Teacher
                       Karina Alvarez in San Antonio, Texas experienced this
                       first-hand. While awaiting the delayed renewal of her
                       DACA work permit, Alvarez was forced to temporarily
                       resign from her second grade class. Seven-year-olds
                       cannot comprehend the reasons for such a loss, but
                       research abundantly shows that such abrupt changes
                       can have disruptive impacts on young children. See,
                       e.g., Nat’l Sci. Council on the Developing Child, Young
                       Children Develop in an Environment of Relationships
                       (Harv. Univ. Ctr. on the Developing Child, Working
                       Paper No. 1, 2004), https://developingchild.harvard.edu/
                       wp-content/uploads/2004/04/Young-Children-Develop-in-
                       an-Environment-of-Relationships.pdf. During Alvarez’s
                       absence, her second-graders lost their relationship with




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a trusted teacher and their academic progress lagged.
This would occur on a much larger scale if thousands of
teachers lose the ability to renew their DACA status.

     Teacher turnover has long been shown to harm
student academic achievement. Matthew Ronfeldt et al.,
How Teacher Turnover Harms Student Achievement, 50
Am. Educ. Res. J. 4, 31 (2013). Not only would the students
of lost DACA teachers perform worse academically, all
students would be negatively impacted. Id. Turnover
causes a decline in student achievement school-wide
because it damages faculty morale, increases the workload
of remaining teachers, and diverts district funds away
from student programs to training new hires. Id. at 8, 32.
Moreover, the loss of DACA would cause greater harm in
subjects and at schools most likely to already suffer from
high turnover. The subject with the highest rate of teacher
turnover is English Language Learning (“ELL”). Leib
Sutcher et al., Learning Pol’y Inst., A Coming Crisis in
Teaching? Teacher Supply, Demand, and Shortages in
the U.S. 46, Fig. 24 (2016), https://learningpolicyinstitute.
org/sites/default/files/product-files/A_Coming_Crisis_in_
Teaching_REPORT.pdf. Turnover rates are also higher at
schools with a greater percentage of students of color. Id.
These are schools and subjects in which DACA educators
are particularly impactful.

    Karen Reyes teaches hearing-impaired toddlers.6
When she took a class in this specialized area, she felt
it was the illuminating “light at the end of the tunnel” of
    6
      Based on a personal interview conducted by amici and
excerpts from Erica L. Green, With DACA in Limbo, Teachers
Protected by Program Gird for the Worst, N.Y. Times (Feb. 1,
2018), https://www.nytimes.com/2018/02/01/us/politics/daca-
teachers-trump.html.




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                       her own education. From that class, she knew she wanted
                       to dedicate her life to teaching children with limited
                       communication abilities. Reyes tries to explain the risk
                       that she will be removed from her students’ classroom
                       using pictures and sign language. “They understand
                       when I go on an airplane. Maybe they’ll just think I’m
                       on a never-ending flight.” Reyes’s area of specialization
                       suffers from a teacher shortage. It often takes more
                       than a year to fill a vacancy in her specialty. Were DACA
                       terminated, her students would be left, likely for a long
                       period of time, without an educator adequately trained to
                       teach them. If DACA continues, however, Reyes will not
                       only continue teaching but plans to further her career by
                       acquiring a doctorate with the eventual goal of becoming
                       a school audiologist.

                           ii.   Educational Institutions Rely on Thousands
                                 of DACA Educators to Offset the Nationwide
                                 Teacher Shortage

                            Throughout the country, states face a critical shortage
                       of teachers. The U.S. Department of Education found that
                       every state was “dealing with shortages of teachers in key
                       subject areas” in the 2017-18 school year. Valerie Strauss,
                       Teacher Shortages Affecting Every State as 2017-18 School
                       Year Begins, Wash. Post (Aug. 28, 2017), https://www.
                       washingtonpost.com/news/answer-sheet/wp/2017/08/28/
                       teacher-shortages-affecting-every-state-as-2017-18-
                       school-year-begins/?utm_term%20.0583fbf55b17; see
                       also Off. of Postsecondary Educ., U.S. Dep’t of Educ.,
                       Teacher Shortage Areas Nationwide Listing 1990-1991
                       through 2017-2018 (June 2017), https://www2.ed.gov/about/
                       offices/list/ope/pol/ateachershortageareasreport2017-18.
                       pdf. For the 2018-19 school year, thirty states and the




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District of Columbia had shortages of bilingual and
ELL teachers. Corey Mitchell, Wanted: Teachers as
Diverse as Their Students, Educ. Wk., (Sept. 17, 2019),
https://www.edweek.org/ew/articles/2019/09/18/wanted-
teachers-as-diverse-as-their-students.html. DACA helps
districts ease these shortages. A rescission of DACA would
leave tens of thousands of students in the breach, many of
them in the most underserved schools.

    School administrators shore up this data with first-
hand experience. Heidi Sipe, the superintendent of the
Umatilla School District in eastern Oregon, notes that
her district posts positions for three to six months without
receiving a single application. And Superintendent Matt
Utterback, of the North Clackamas School District in
the suburbs of Portland, Oregon, states that his district
has not been fully staffed for years. In Sacramento,
Superintendent Jorge Aguilar of the Sacramento City
Unified School District reports that his district is
heavily impacted by the teacher shortage that is felt
throughout California. He fears that the end of DACA
would exacerbate the district’s already-critical need for
qualified staff.

    Mike Walsh, Immediate Past President of the
California School Boards Association and a Trustee of
the Butte County Office of Education, observes that the
California Mini-Corps, which provides tutoring services
to K-12 youth in migrant communities, stands to lose
numerous college-student tutors who hold DACA status.
Walsh notes, “About eighty percent of tutors go on to
obtain a teaching credential or permit to continue to be
involved in education.” The Mini-Corps tutors are “in
the pipeline to become teachers, administrators, [and]




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                       superintendents.” If these young people are no longer
                       able to work as tutors, Mini-Corps will lose hard-to-
                       replace staff and the state will lose committed educators.
                       The state’s investment in this training and development
                       pipeline will be lost.

                            Public schools have invested in the K-12 and higher
                       education of these motivated young people whose
                       professional aim is to give back, to educate students
                       like themselves. And in reliance on DACA, educational
                       institutions have hired thousands of DACA educators
                       to fill much needed positions. The termination of DACA
                       would bar these qualified educators from the classrooms
                       that so urgently need them.

                           iii. Educational Institutions Rely on DACA to
                                Provide Essential Diversity in the Teaching
                                Profession

                           Numerous studies have shown that students benefit
                       from teachers who are ethnically and culturally diverse.
                       “Teachers of color are positive role models for all students
                       in breaking down negative stereotypes and preparing
                       students to live and work in a multiracial society.” Off. of
                       Plan., Evaluation & Pol’y Dev., U.S. Dep’t of Educ., The
                       State of Racial Diversity in the Educator Workforce 1
                       (July 2016), https://www2.ed.gov/rschstat/eval/highered/
                       racial-diversity/state-racial-diversity-workforce.pdf.

                           There are “meaningful ‘role model effects’ when
                       minority students are taught by teachers of the same
                       race.” Dan Goldhaber et al., Univ. of Wash. Bothell, The
                       Theoretical and Empirical Arguments for Diversifying
                       the Teacher Workforce: A Review of the Evidence 6 (Ctr.




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for Educ. Data & Res., Working Paper No. 2015-9). These
effects are not subjective, but are quantifiable in making a
“meaningful impact on student test scores.” Id. at 3. For
example, “a larger presence of black and Hispanic teachers
[is linked] to improved treatment or outcomes for black and
Hispanic students along a variety of dimensions, including
lower rates of exclusionary discipline, lower likelihood of
placement in special education, and higher pass rates on
standardized tests.” Jason A. Grissom et al., Teacher and
Principal Diversity and the Representation of Students
of Color in Gifted Programs, 117 Elementary Sch. J. 396,
400 (2017) (internal citations omitted). Similarly, “non-
English proficient Latino children revealed greater gains
on a direct assessment of literacy . . . if their teacher was
also Latino rather than Caucasian.” Jason T. Downer
et al., Teacher-Child Racial/Ethnic Match Within Pre-
Kindergarten Classrooms and Children’s Early School
Adjustment, 36 Early Childhood Res. Q. 26, 38 (2016).

     It is therefore critical for schools to hire teachers
whose backgrounds mirror those of an increasingly
diverse student population. Yet districts have had
difficulty doing so. Between 2003 and 2012, “the increase
in the percentage of Hispanic students [in the U.S.]
far outpaced the modest increase in the percentage of
Hispanic teachers.” Goldhaber et al., supra, at 1. In
the 2011-12 school year, 24% of students were Hispanic,
while only 8% of teachers were Hispanic. Off. of Plan.,
Evaluation & Pol’y Dev., supra, at 6. This disparity is only
expected to grow: “students of color are expected to make
up 56 percent of the student population by 2024.” Id. at 1.

    School districts thus have a pressing need to hire an
increasing number of Latino educators to serve the needs




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                       of their changing student populations. DACA teachers
                       have helped to meet this growing need; over 93% of DACA
                       recipients were born in Latin American countries. U.S.
                       Citizenship & Immigr. Servs., U.S. Dep’t of Homeland
                       Sec., Approximate Active DACA Recipients: Country of
                       Birth 1 (Sept. 4, 2017), https://www.uscis.gov/sites/default/
                       files/USCIS/Resources/Reports%20and%20Studies/
                       Immigration%20Forms%20Data/All%20Form%20Types/
                       DACA/daca_population_data.pdf. Indeed, some districts
                       have specifically recruited DACA recipients for this
                       reason. Tom Boasberg, Superintendent of Denver Public
                       Schools, has advocated for DACA because it “allowed him
                       to find talented bilingual teachers who can connect with his
                       students.” Alexia Fernández Campbell, DACA Immigrants
                       Are Teaching American Children. What Happens
                       After They’re Gone?, Vox (Sept. 15, 2017), https://www.
                       vox.com/policy-and-politics/2017/9/15/16306972/daca-
                       teachers-dreamers. Dallas Independent School District
                       Superintendent Michael Hinojosa spoke highly of the
                       DACA teachers, who “grew up in [the Dallas] community”
                       and spoke both English and Spanish well. Dianne Solis &
                       James Barragan, U.S. Could Lose an Estimated 20,000
                       Teachers, Many Bilingual, as DACA is Phased Out,
                       The Dallas Morning News (Oct. 5, 2017), https://www.
                       dallasnews.com/news/immigration/2017/10/05/u-s-could-
                       lose-an-estimated-20000-teachers-many-bilingual-as-
                       daca-is-phased-out/. Hinojosa said the district employs
                       68 DACA recipients, “including three dozen teachers.” Id.
                       Teach for America actively recruits DACA recipients for
                       its corps, noting that these individuals know “first-hand
                       the concerns that undocumented kids face.” Teach For
                       Am., DACA Recipients, (last visited Oct. 3, 2019), https://
                       www.teachforamerica.org/how-to-join/eligibility/daca.




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     “ Schools need to ref lect our community.”
Administrators recognize the need for a diverse teaching
staff. Matt Charlton, the superintendent of the Manson
School District in Washington State, said that “students
benefit when they have role models and people teaching
them who come from their background.” As a result, his
district is trying to promote Latino para-professionals
to teaching positions because “schools need to reflect our
community.” Thomas Ahart, the superintendent of the
Des Moines School District in Iowa, has witnessed the
importance of a “diversity of points of view and different
perspectives informing what happens in our classrooms,”
and that having diverse educators is important so that “all
students see models of success and leadership that look
like them, so they start imagining different possibilities
for themselves.”

     “It is so important for students to see themselves
in their educators.” Superintendent Utterback observes
that “students can go thirteen years without experiencing
teachers who look like them.” This harms white students
as well, observes Superintendent Utterback since “white
students never experience seeing a person of color in a
professional role.” Superintendent Sipe also emphasizes
the importance of having teachers who reflect the student
body. “It is so important for students to see themselves in
their educators . . . so they can see pathways and futures
they did not see before.” She reports that the student body
in her district is over 70% Latino, but it does not have
enough Latino educators, although the district actively
pursues Latino candidates. Superintendent Theron
Schutte, of the Marshalltown Community School District
in Iowa, notes that his district is majority minority but the
teaching staff is still predominately white. He explains




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                       that his district has “great difficulty in hiring high-quality
                       educators who mirror student demographics.”

                           “Just one less child who felt isolated.” Many DACA
                       educators acknowledge that their background makes them
                       especially important to students, and that they have been
                       drawn to teaching because of their desire to act as role
                       models. Jaime Ballesteros, a California educator with
                       DACA, said that he became a teacher because he knew he
                       could reach immigrant students: “I wanted to amplify the
                       voices of students and families who shared both my story
                       and values. I wanted to ensure that there would be even
                       just one less child who felt isolated and helpless because
                       of his or her immigration status.” Ginette Magaña,
                       DACAmented Teachers: Educating and Enriching Their
                       Communities, Obama White House: Blog (Aug. 4, 2015),
                       https://obamawhitehouse.archives.gov/blog/2015/08/04/
                       dacamented-teachers-educating-and-enriching-their-
                       communities.

                            “A role model who has walked in their shoes.” DACA
                       recipient Karina Alvarez speaks to her students, many of
                       whom are Latino immigrants, about her own experience.
                       Alvarez believes that her students “need to have a role
                       model who has walked in their shoes . . . they need to see
                       that college is in their reach, that it is possible for them to
                       be a teacher or whatever they want to be.” A.M.P., from
                       Washington State, also understands the importance of
                       sharing her experience with her students. She teaches in
                       a district where 37.9% of the student body – but only 8.2%
                       of the teaching staff – is Latino. She explains: “something
                       that has always driven me was to be the person you
                       needed growing up.” Her school had an assembly where
                       she and other immigrant educators talked to students
                       about how they were able to go to college. She noted that




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it was “heartwarming” and the children responded “really
positively.” Angelica Reyes in Los Angeles relates that as
an immigrant herself, she is able to “connect very well with
students because of experiences in common, something
many other teachers lack.” This connection supports
students’ ability to focus on learning rather than becoming
distracted and intimidated by public discourse that is
“scary, it’s in our faces, it’s destructive to our families.”

    iv.   DHS Failed to Consider How DACA Rescission
          Would Undermine Student Learning for All
          Students

    Public school administrators report that the rescission
of DACA has created an atmosphere of anxiety that makes
it more difficult for students to focus on their studies. This
anxiety is not limited to students with DACA or those
taught by DACA educators.

    “Every single student is affected.” Cindy Marten is
the Superintendent of San Diego Unified School District,
in which Latino students make up about 45 percent of
the student body. The September 5, 2017 announcement
of DACA rescission caused great anxiety among San
Diego students. “Kids are worried about what’s going
to happen to them,” says Superintendent Marten. While
non-immigrant students are, in Superintendent Marten’s
words, “not afraid of being deported, they’re afraid about
their best friend or their best friend’s mother. Every
single student is affected.” And for younger children,
who often misunderstand their family’s status or believe
that “immigrant” is synonymous with unauthorized
presence in the U.S., the anxiety and fear that they or
their authorized relatives are in danger of being deported
escalates their anxiety—and that of the classmates




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                       around them. Randy Capps et al., Migration Pol’y Inst.,
                       Implications of Immigration Enforcement Activities
                       for the Well-Being of Children in Immigrant Families:
                       A Review of the Literature 6 (2015). Starting with the
                       Rescission Memo and increasing through the present
                       day, uncertainty about DACA has undermined students’
                       ability to learn, regardless of their immigration status.
                       These significant negative impacts of DACA rescission
                       were neither considered nor analyzed by DHS.

                            “DACA being rescinded takes away the hope from
                       our students.” Superintendent Utterback says “stress has
                       an impact on academics and behavior,” and children’s ability
                       to “concentrate, their ability to excel is being hampered
                       because they are worried about their safety and future
                       and that of their family members.” The same is true in the
                       Highline Public Schools in Washington State, according
                       to Superintendent Susan Enfield. Maile Valu, a counselor
                       in her district, reports that the “constant uncertainty
                       that our DACA students and our students [and] families
                       without legal status face has caused fear, stress, anxiety,
                       [and] hopelessness.” Daniela Laureano Francisco, a family
                       liaison in Highline reports, “DACA being rescinded
                       takes away the hope from our students.” Superintendent
                       Schutte has also seen first-hand the effects of increased
                       immigration-related anxiety on children, including a “lack
                       of ability to focus, more frequent absenteeism, and lesser
                       achievement with coursework and on test performance.”

                           The exper iences of these administrators are
                       confirmed by academic research. A working paper by the
                       Harvard University Center on the Developing Child found
                       that persistent anxiety can change a child’s brain and
                       negatively affect their physical, cognitive, and emotional




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development, which in turn impacts their ability to learn
effectively in school. Nat’l Sci. Council on the Developing
Child, Persistent Fear and Anxiety Can Affect Young
Children’s Learning and Development 5 (Harv. Univ.
Ctr. on the Developing Child, Working Paper No. 9,
2010), http://developingchild.harvard.edu/wp-content/
uploads/2010/05/Persistent-Fear-and-Anxiety-Can-
Affect-Young-Childrens-Learning-and-Development.
pdf. The anxiety and stress caused by the threatened
termination of DACA impacts students’ academic success,
professional prospects, and personal well-being.

     “We cannot tell them that everything will be okay.”
A superintendent in Long Island, New York notes that
since the rescission announcement, he can “definitely
sense an increase in anxiety and stress, both for the
student who fears that the end of DACA means they have
to go back to a country they have not lived in since the
age of two; and for documented students, the worry is in
wondering if their friend will need to go and leave the
U.S.” Superintendent Sipe, whose school district is in a
rural area and serves primarily Latino students, says
“the fear is very real in young students all the way up
to high schoolers.” Sipe observes that the anxiety “puts
educators in a really uncomfortable role because we cannot
tell them that everything will be okay because we cannot
make promises about things that are out of our control.”

     “Students are unable to focus.” Superintendent
Aguilar also reports that the Rescission Memo has caused
considerable student anxiety. Aguilar observes that this
anxiety is “taking a toll on our ability to be able to provide
the academic intervention necessary. Students are unable
to focus on their academic achievement when they are




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                       experiencing the kind of trauma, anxiety, and anguish
                       that comes as a result of the ending of DACA.” Indeed,
                       more than half of DACA recipients surveyed report
                       thinking about being deported at least once a day and
                       almost 45% think about being detained in an immigration
                       detention facility at least once a day. Wong, supra at 10.
                       The repetition of such stark fears, articulated or not,
                       deeply disturbs student learning and family support.
                       Superintendent Charlton notes that in his rural, majority-
                       Latino district, threats to DACA result in a persistent
                       “feeling of angst . . . that translates from families down
                       to the kids . . . which impacts the classroom” and harms
                       children’s ability to learn. Superintendent Marten, from
                       San Diego, observes that “as soon as you destabilize your
                       school, you’re not delivering the quality of education that
                       children deserve.” She emphasized that “the educational
                       outcomes for our students are going to be compromised.”

                           No “light at the end of the tunnel for these kids.”
                       The Rescission Memo has caused many students to
                       abandon their academic and professional goals as they
                       see carefully crafted plans unravel. Arianna Martinez, an
                       Associate Professor at LaGuardia Community College in
                       New York, teaches many DACA recipients. Those college
                       students’ “entire relationship to education and their
                       future” has changed as the students now feel there is no
                       point in obtaining a degree. Through her own academic
                       research, Martinez has found that DACA recipients
                       enrolled in continuing education classes to prepare
                       for college are struggling to envision a way forward.
                       Superintendent Sipe speaks emotionally of a brilliant
                       student who dreams of becoming a pediatrician but may no
                       longer even consider college. She also describes a student
                       with DACA who dropped out of college because of their




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disappointment and feeling of “why bother investing [in
their education] if it does not do any good.” Superintendent
Charlton speaks of how DACA gave students “that hope
and inspiration to reach higher; to rescind that now is not
fair” to his students. Superintendent Schutte expresses
his concern that the termination of DACA will lead to
a “greater challenge to encourage kids to finish school,
a greater challenge to reduce the achievement gap and
drop-out rate . . . there is not a light at the end of the
tunnel for these kids.”

    Kids who “have done everything asked of them.”
In Superintendent Utterback’s district, “high school
counselors and administrators are having conversations
with kids who thought they had an avenue for post-
secondary education” and now do not know how to plan
for the future. “These are really bright kids who have
been in the school system for 13 years and have done
everything asked of them and now they do not have
the same opportunities as their classmates.” The DHS
decision took none of these reliance interests into account.
Hundreds of thousands of “productive young people” who
have “contributed to our country in significant ways” see
nowhere to go from here.

                     Conclusion

     DHS swept away DACA, together with its recipients’
dreams and their communities’ needs, in one curt
memorandum that failed to provide a reasoned explanation
for the agency’s drastic change of course. DACA educators,
students, and administrators can – and do, here in this
brief – attest to the serious reliance interests engendered
by DACA, as well as the disastrous results that will




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                       ensue if the program is terminated. DACA rescission
                       will deprive schools of qualified teachers and mentors,
                       diminish diversity in the teaching corps, and destabilize
                       school environments. By taking away the prospect of
                       advanced learning and gainful employment, hundreds of
                       thousands of young people will have the foundation that
                       DACA provided shattered, and lose the basis on which they
                       and their communities have made so much progress for the
                       last seven years. The result will be damage to them, their
                       families, their communities, and their students, as well as
                       to the public schools in which they now serve. By failing
                       to consider any of these significant reliance interests and
                       impacts, DHS’s decision to rescind DACA was arbitrary
                       and capricious. Accordingly, amici urge the Court to
                       affirm the judgments below.

                                             Respectfully submitted,

                                            A lice O’Brien
                                              Counsel of Record
                                            Emma Leheny
                                            Lubna A. A lam
                                            Rebecca Yates
                                            National Education A ssociation
                                            1201 16th Street, NW
                                            Washington, DC 20036
                                            (202) 822-7048
                                            aobrien@nea.org

                                            Counsel for Amici Curiae




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                                 Nos. 18-587, 18-588, 18-589

                 In the Supreme Court of the United States
                                      __________________
                  DEPARTMENT OF HOMELAND SECURITY, et al., Petitioners,
                                         v.
                    REGENTS OF THE UNIVERSITY OF CALIFORNIA, et al.,
                                    Respondents.
                                 __________________
                  DONALD J. TRUMP, PRESIDENT OF THE UNITED STATES, et
                                    al., Petitioners,
                                            v.
                    NATIONAL ASSOCIATION FOR THE ADVANCEMENT OF
                          COLORED PEOPLE, et al., Respondents
                                 __________________
                  KEVIN K. MCALEENAN, ACTING SECRETARY OF HOMELAND
                              SECURITY, et al., Petitioners,
                                           v.
                   MARTIN JONATHAN BATALLA VIDAL, et al., Respondents.
                                 __________________
                On Writs of Certiorari to the United States Courts of
                 Appeals for the Ninth, District of Columbia, and
                                  Second Circuits
                                      __________________
              Brief for the States of Nevada, Michigan, Wisconsin, Governor
                  Laura Kelly of Kansas, and Governor Steve Bullock of
                  Montana as Amici Curiae in Support of Respondents
                                       __________________
                DANA NESSEL                       AARON D. FORD
                Michigan Attorney General         Attorney General of Nevada
                ERIC J. WILSON                    HEIDI PARRY STERN*
                Deputy Attorney General           Solicitor General
                State of Wisconsin                CRAIG A. NEWBY
                LAURA KELLY                       Deputy Solicitor General
                Governor of Kansas                100 North Carson Street
                STEVE BULLOCK                     Carson City, NV 89701
                Governor of Montana               (775) 684-1100
                Counsel for Amici Curiae          HStern@ag.nv.gov
                                                  * Counsel of Record
              Becker Gallagher · Cincinnati, OH · Washington, D.C. · 800.890.5001




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                                        i

                           QUESTIONS PRESENTED
                   1. Whether the Department of Homeland Security
                (DHS)’s decision to wind down the DACA policy is
                judicially reviewable.
                  2. Whether the DHS’s decision to wind down the
                DACA policy is lawful.




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                                                 1

                           INTEREST OF AMICI CURIAE1
                   Amici curiae are the States of Nevada, Michigan,
                and Wisconsin, Laura Kelly, Governor of Kansas, and
                Steve Bullock, Governor of Montana (“the States”).
                The interest of amici here lies in the positive impact
                DACA and its recipients have had on the States and
                the country as a whole. Rescinding DACA would
                accordingly harm the States and the country as a
                whole.
                                INTRODUCTION AND
                              SUMMARY OF ARGUMENT
                   The Deferred Action for Childhood Arrivals program
                (DACA) has provided the States (and the country)
                significant, calculable benefits. As detailed below,
                these include significant economic contributions,
                improved public health, better public education,
                contribution as employees for the States, and overall
                public safety. Because these calculable benefits are at
                risk, the States join Respondents’ position that DACA’s
                rescission is subject to judicial review and was, in this
                instance, unlawfully rescinded.
                   The categories listed above quantify the significance
                that rescinding DACA would have on the States. The
                deepest injury, however, would be the human toll on
                DACA recipients themselves, which are not so easily
                calculable, yet nonetheless real.



                1
                     Rule 37 statement: All parties issued blanket consents to the
                filing of amicus briefs. No one but amici and their counsel authored
                any of this brief or funded its preparation and submission.




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                                              2

                    For instance, Nevada is home to numerous DACA
                recipients. Astrid Silva is one such recipient. At the age
                of four, Ms. Silva was pulled across the Rio Grande
                River with her mother, carrying a Ken doll.2 Once top-
                of-her-class in her magnet high school, she feared
                deportation if she applied to a university to pursue her
                dream of being an architect.3 Instead of giving up, she
                wrote and delivered letters to then-Senator Harry Reid.4
                   After President Obama implemented DACA, Ms.
                Silva wrote the following to Senator Reid:
                    I sit today holding my work permit and studying
                    for my drivers permit. I turned 25 on March 11
                    and I can tell you that I feel like my life has
                    finally begun. I have so many ideas and dreams
                    to accomplish.... I feel like I am one step closer to
                    being part of this, my country.5
                   As the current President of the United States has
                tweeted, “Does anybody really want to throw out good,
                educated and accomplished young people who have
                jobs, some serving in the military? Really!”6 The


                2
                   Lisa Mascaro, Pen Pal Inspires Sen. Harry Reid on
                Immigration Reform, L.A. TIMES, July 12, 2013.
                3
                    Id.
                4
                    Id.
                5
                    Id.
                6
                    See Ed O’Keefe and David Nakamura, Trump, top Democrats
                agree to work on deal to save ‘dreamers’ from deportation, THE
                WASHINGTON POST (Sept. 14, 2017).




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                                               3

                accomplishment of goals and dreams by DACA
                recipients like Ms. Silva benefit the States and the
                country, and are among the most important intangible
                benefits of DACA.
                   DACA should not be rescinded without judicial
                review and proper legal justification.
                                       ARGUMENT
                    Currently, more than 669,000 DACA recipients
                throughout the United States are able to go to work or
                school and live without fear of deportation while
                pursuing their dreams.7 They are students and
                teachers, military service members, law enforcement
                officers, fire fighters, health care workers, child and
                elder care workers, and treasured friends and
                neighbors. Allowing these individuals to participate in
                American society generates significant positive impacts
                for the States and the country as a whole. We
                recognize not only the economic value of these
                individuals, but also the myriad social benefits that
                result from permitting them to participate fully in our
                communities. As detailed below, in addition to
                contributing sorely needed tax revenue, their
                participation in DACA enriches our colleges and
                universities, reduces the burden on our public health



                7
                    Approximate Active DACA Recipients: As of April 30, 2019,
                U . S .   C I T I ZE N S H I P      A N D    I M M .   S V C . ,
                https://www.uscis.gov/sites/default/files/USCIS/Resources/Repor
                ts%20and%20Studies/Immigration%20Forms%20Data/All%20F
                orm%20Types/DACA/Approximate_Active_DACA_Recipients_-
                _Apr_30_2019.pdf.




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                and social safety net systems, and enhances public
                safety.
                A. The States’ Economies Benefit From DACA.
                    DACA provides recipients with the ability to apply
                for work authorizations, which allow them to work
                legally in the United States. With work authorization,
                many DACA recipients have obtained new or higher-
                paying jobs, allowing them to be productive members
                of our communities. The rescission of DACA nationwide
                could lead to the loss of work authorization for 915
                DACA recipients every day from the time it goes into
                effect.8 Businesses will face an estimated $6.3 billion
                in costs to replace employees if DACA is rescinded.9
                   Businesses throughout the States will face a loss of
                demand for goods and services from the diminished
                purchasing power of the Dreamers and their families,
                while the state and local governments will see reduced
                tax revenues. For instance, DACA recipients in Nevada
                exercised an estimated $261.8 million in spending
                power in 2015, and paid an estimated $19.9 million in




                8
                    Jie Zong, et al., A Profile of Current DACA Recipients by
                Education, Industry, and Occupation, MIGRATION POLICY INST.
                (Nov. 2017), https://www.migrationpolicy.org/research/profile-
                current-daca-recipients-education-industry-and-occupation.
                9
                   See Texas v. United States, 328 F. Supp. 3d 662, 695 (S.D. Tex.
                2018).




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                                                   5

                state and local taxes.10 Approximately 1,500 DACA
                recipients own homes in Nevada.11
                   Wisconsin had 6,720 DACA recipients as of 2017.12
                More than 90 percent of Wisconsin’s DACA recipients
                worked, unless currently in school or the military.13
                Wisconsin’s DACA recipients exercised an estimated
                spending power of $110.7 million in 2015, paying a
                total of $17.6 million in taxes (of which $10.1 million
                were state and local taxes).14 Wisconsin’s DACA
                recipients paid $26.5 million in rent in Wisconsin in
                2017.15
                   In Michigan, according to the Migration Policy
                Institution, there are 13,000 Michigan residents who
                are eligible for deferred action under DACA, and 5,610
                are participating (44%) as of August 2018.16 Consistent


                10
                    NEW AMERICAN ECONOMY RESEARCH FUND, Examining the
                Contributions of the DACA-Eligible Population in Key States, (Nov. 6,
                2017), https://research.newamericaneconomy.org/report/examining-
                the-contributions-of-the-daca-eligible-population-in-key-states/.
                11
                    Nicole Prchal Svajlenka, What We Know About DACA Recipients,
                by State, (Sept. 12, 2019), CENTER FOR AMERICAN PROGRESS,
                https://www.americanprogress.org/issues/immigration/news/2019/0
                9/12/474422/know-daca-recipients-state/.
                12
                     Id.
                13
                     NEW AMERICAN ECONOMY RESEARCH FUND, supra note 10.
                14
                     Id.
                15
                     Svajlenka, supra note 11.
                16
                     Zong, et al., supra note 9.




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                                                 6

                with other states, Michigan’s DACA recipients are
                active in the work force. By one metric, more than 90%
                of Michigan’s DACA-eligible population were
                employed.17 In contrast, only 61.2% of the state’s
                population over the age of 16 was in the work force.18
                   For 2015, the New American Economy Research
                Fund determined that Michigan’s DACA-eligible
                residents earned $182 million in income and paid $13.6
                million in state and local taxes, for a total of $27
                million in taxes generally.19 A September 2019 report
                marked tax payments at $23.3 million in state and
                local taxes for DACA-eligible residents, and a total of
                $42 million in taxes.20 For Michigan, one of only two
                states in the country to lose population in the 2010
                census, the role these residents play in the Michigan
                economy and workforce is vital. Michigan losing these
                hard-working and productive residents would have a
                significant, adverse effect on the Michigan economy.




                17
                   From 2015, the figure was 92.5%, where the state with the
                lowest percentage was still 86%. See NEW AMERICAN ECONOMY
                RESEARCH FUND, supra note 10.
                18
                    See    U.S.     Census        Figures,        2013–2017.
                https://www.census.gov/quickfacts/fact/table/MI .
                19
                     NEW AMERICAN ECONOMY RESEARCH FUND, supra note 10.
                20
                     Svajlenka, supra note 11.




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                   In Kansas, nearly 6,000 DACA recipients21 generate
                $111 million in annual spending power22 and pay $12.6
                million annually in state and local taxes.23 The Cato
                Institute conservatively estimates that rescinding
                DACA will cost the Kansas economy $1.76 billion over
                the next decade,24 while the Center for American
                Progress estimates that the Kansas economy would




                21
                    U.S. C ITI ZE N S HI P A N D I M M I G R A T I O N S E R V I C E S ,
                Approximate Active DACA Recipients – State or Territory of
                Residence          as     of    August             31,     2018,
                https://www.uscis.gov/sites/default/files/USCIS/Resources/Repo
                rts%20and%20Studies/Immigration%20Forms%20Data/All%20
                Form%20Types/DACA/DACA_Population_Data_August_31_20
                18.pdf.
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                    NEW AMERICAN ECONOMY RESEARCH FUND, Overcoming The
                Odds: The Contributions of DACA-Eligible Immigrants and TPS
                Holders to the U.S. Economy, ( June 3, 2019),
                https://research.newamericaneconomy.org/report/overcoming-the-
                odds-the-contributions-of-daca-eligible-immigrants-and-tps-
                holders-to-the-u-s-economy/.
                23
                    Misha Hill & Meg Wiehe, State & Local Tax Contributions of
                Young Undocumented Immigrants, INSTITUTE ON TAXATION &
                E C ON OMI C P OLI C Y , Ap r. 2018, https://itep.org/wp-
                content/uploads/2018DACA.pdf.
                24
                    Ike Brannon, The Economic and Budgetary Cost of Repealing
                DACA at the State Level, THE CATO INSTITUTE (Aug. 31, 2017),
                https://www.cato.org/blog/economic-budgetary-cost-repealing-daca-
                state-level.




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                lose $335 million in annual gross domestic product.25
                This is contrary to claims that the presence of DACA
                recipients imposes significant costs to state budgets
                and social services resources.
                    Kansas is experiencing its lowest unemployment
                rate in 20 years, with only 3.2% of Kansans looking for
                work.26 In this low-unemployment economy, Kansas
                relies on its DACA recipients to fill both high- and low-
                skilled jobs that it could not otherwise fill. For Kansas,
                terminating DACA will prevent it from realizing the
                benefits of its investments in DACA recipients,
                significantly weakening Kansas’s economy.
                   Montana is one of several states in the country that,
                while not boasting a large foreign-born population, is
                increasingly drawing more immigrants. Among them
                are DACA recipients. In 2010, the state was home to
                less than 20,000 foreign-born residents.27 Between
                2010 and 2014, that number grew by 19.1 percent—or
                more than three times as fast as the number of foreign-



                25
                    Nicole Prchal Svajlenka, et al., A New Threat to DACA Could
                Cost States Billions of Dollars, CENTER FOR AMERICAN
                P R O G R E S S ,        ( J u l y        2 1 ,      2 0 1 7 ) ,
                https://www.americanprogress.org/issues/immigration/news/2
                017/07/21/436419/new-threat-daca-cost-states-billions-dollars/.
                26
                    K a nsa s     Labor     Market     Report    (Aug.   2019) ,
                https://klic.dol.ks.gov/gsipub/index.asp?docid=472.
                27
                    See NEW AMERICAN ECONOMY RESEARCH FUND, The
                Contributions of New Americans in Montana (Aug. 2016),
                http://research.newamericaneconomy.org/wp-
                content/uploads/2017/02/nae-mt-report.pdf.




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                born residents increased in the country as a whole.28
                Only three other states had higher rates of growth
                during that period. 29 Today, Montana is home to
                almost 24,000 individuals who were born in another
                country.30   Montana’s immigrants are playing a
                valuable role in helping Montana meet its healthcare
                workforce needs, both now and in the future.31 Should
                DACA be rescinded, Montana would suffer a minimum
                of $3,507,840 in economic loss.32
                   In total, DACA recipients are an overwhelmingly
                beneficial—even essential—part of state economies.
                B. DACA Aids the States in Providing Social
                   Services to Residents.
                    Rescinding DACA would affect the financial security
                and welfare of families that today are supported by
                DACA grantees. Nationwide, 73 percent of DACA
                grantees live with an American citizen spouse, child, or
                sibling.33 In Nevada, 27,600 individuals live in mixed-
                status households with an estimated 4,600 United

                28
                     Id.
                29
                     Id.
                30
                     Id.
                31
                     See NEW AMERICAN ECONOMY RESEARCH FUND. supra note 27.
                32
                     Svajlenka, et al., supra note 25.
                33
                    Dara Lind, 9 facts that explain DACA, the immigration
                program Trump is ending, VOX.COM (Jan. 30, 2018),
                https://www.vox.com/policy-and-politics/2017/8/31/16226934/daca-
                trump-dreamers-immigration.




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                                                 10

                States-born children of DACA recipients.34 Losing
                DACA status threatens to throw families into financial
                chaos, because many depend on the incomes and health
                insurance of the DACA recipients in their families. It
                also threatens to tear families apart, as native-born
                children of DACA recipients could be separated from
                their parents if removal proceedings are instituted
                against them.
                    DACA grantees’ loss of income and health insurance
                will place increased burdens on the States’ public
                health and social safety net programs. Undocumented
                immigrants are more hesitant to seek out and use
                health services and medical treatment.35 Respondents
                in this case have described how they and other
                undocumented immigrants are hesitant to seek
                healthcare treatment when they need it.36 In addition,
                recipients were able to obtain health insurance because
                of DACA, often through their new employers. They will
                likely lose this health insurance because of the
                rescission, leading to worse health outcomes37 and
                greater strain on public health resources from treating
                uninsured patients at state facilities.38




                34
                     Svajlenka, supra note 11.
                35
                     Wong Decl., SER 1159
                36
                     J.A. 934, 962.
                37
                     McLeod Decl., SER 759-760.
                38
                     Lorenz Decl., SER 715.




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                C. Public Colleges and Universities Benefit From
                   DACA.
                   Public colleges and universities in the States benefit
                tremendously from the participation of DACA grantees,
                who as both students and valued employees, contribute
                tuition revenue, skills, and knowledge, while enhancing
                diversity for all students. For example, University of
                Nevada, Reno President Marc Johnson wrote in a
                September 1, 2017 statement to faculty, staff and
                students:
                     Since the Deferred Action for Childhood Arrivals
                     (DACA) program was started in 2012, we have
                     witnessed the critical benefits of this program
                     for our students, and the highly positive impacts
                     on our institution and community. . . We will
                     continue to embrace our mission and support the
                     members of our diverse groups, who are a valued
                     and critical part of our campus community.39
                   In this case, several DACA recipient respondents
                have attested to how DACA enabled them to attend
                universities. Many are exemplary students with great
                academic success.40


                39
                    John Trent, N EVADA T ODAY (Sept. 1, 2017),
                https://www.unr.edu/nevada-today/news/2017/president-johnson-
                daca-statement.
                40
                    See J.A. 921-923, 926-929 (UC Berkeley graduate, USCF med
                student); J.A. 937-938 (UCSD graduate); J.A. 957-960 (UC
                Berkeley graduate, Harvard Law School student); J.A. 967, 969-67,
                973-74 (attended Maryland community college, U.C. Berkeley PhD
                student); SER 543-544 (high school valedictorian, UCLA student);
                SER 556 (UCLA law student); SER 618-619 (high school




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                    Recognizing these successes, leaders of over 600
                colleges and universities, including Nevada State
                College, five University of Wisconsin campuses
                (specifically including the University of Wisconsin-
                Madison flagship campus), Kansas State University,
                Northern Michigan University, and numerous other
                public universities, four-year colleges and community
                colleges from amici joined in a statement describing the
                “critical benefits” of DACA to their educational
                communities. Describing the continuation of DACA as
                a “moral imperative and a national necessity,” they
                wrote: “America needs talent – and these students, who
                have been raised and educated in the United States,
                are already part of our national communities and
                economies.”41
                   Public colleges and universities provide needed
                educational services to DACA students, who often
                cannot afford the tuition and costs of private
                universities, and choose schools close to their home
                communities. Community colleges in particular have
                traditionally served immigrant students, including
                DACA students, as a gateway into higher education.42


                valedictorian, UCSD graduate, UCLA medical school student);
                SER 1112-1113 (UC Irvine PhD student and Ford Fellowship
                recipient).
                41
                    Statement in Support of the Deferred Action for Childhood
                Arrivals (DACA) Program and our Undocumented Immigrant
                Students (Nov. 21, 2016), https://www.pomona.edu/support-daca.
                42
                    Jill Casner-Lotto, Dreaming Big: What Community Colleges
                Can Do to Help Undocumented Immigrant Youth Achieve Their
                Potential, COMMUNITY COLLEGE CONSORTIUM FOR IMMIGRANT




                                                                                 AR5300
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                    Nationwide, 94 percent of DACA grantees currently
                in school report that the grant of deferred action has
                allowed them to pursue education opportunities they
                otherwise would not have been able to pursue.43
                According to one nationwide study, 45% of DACA
                recipients were currently in school, and of that group,
                more than 70% were pursuing a bachelor’s degree or
                higher.44 As a result, the rescission of DACA would
                result in the loss of large sums in tuition revenue.
                    If DACA is rescinded, many of these students, who
                work and support themselves while in school, will be
                forced to drop out before finishing their degrees. In
                addition, because these students have been educated in
                our public primary and secondary schools, our public
                educational system, and our nation as a whole, loses its
                investment in these talented students, “without any
                discernable benefit.”45 As noted by MIT President L.



                EDUCATION (Sept. 1, 2012) at p.1, https://www.cccie.org/wp-
                content/uploads/2010/06/DREAMING_BIG_CCCIE_Report_9-
                2012_final_version.pdf.
                43
                    Tom K. Wong, et al., DACA Recipients’ Economic and
                Educational Gains Continue to Grow, CENTER FOR AMERICAN
                P R O G R E S S ,      ( A u g .       2 8 ,     2 0 1 7 ) ,
                https://www.americanprogress.org/issues/immigration/news/201
                7/08/28/437956/daca-recipients-economic-educational-gains-
                continue-grow/.
                44
                     Id.
                45
                    MIT News Office, President Reif writes to support preservation
                of DACA (Aug. 31, 2017), http://news.mit.edu/2017/president-reif-
                writes-support-preservation-daca-0831.




                                                                                     AR5301
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                                             14

                Rafael Reif, “We should treat these educated, English-
                speaking strivers not as a burden, but as a resource.”46
                    Because some states provide in-state tuition rates
                at public colleges and universities to DACA students,
                but require other immigrants to pay full tuition, many
                of these students will find it unaffordable to continue
                with any form of higher education if DACA is
                rescinded. Likewise, DACA students will lose the
                ability to pay in-state tuition at public colleges and
                universities in at least three states: Virginia,
                Massachusetts, and Ohio. Among the nearly 20,600
                people with DACA status, students in those states are
                at risk of losing their access to public colleges and
                universities because of the prohibitive difference
                between in-state and out-of-state tuition.47
                   At Virginia Commonwealth University, for example,
                out-of-state tuition costs $35,798 per year—$20,000
                more than in-state tuition and fees.48 In addition, in
                February 2017, Angel Cabrera, president of Virginia’s
                George Mason University, estimated that without




                46
                     Id.
                47
                    Silva Mathema, What DACA Recipients Stand to Lose -
                And What States Can Do About It, C ENTER FOR
                AMERICAN         PROGRESS          (Sept.      13,     2018),
                https://www.americanprogress.org/issues/immigration/reports/2
                018/09/13/458008/daca-recipients-stand-lose-states-can/.
                48
                     Id.




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                DACA, between 150 and 300 students might have to
                leave the university due to unaffordable tuition.49
                    For another set of states, losing DACA status will bar
                students from attending public colleges and universities
                altogether. Currently, Alabama and South Carolina bar
                unauthorized immigrants from enrolling in their public
                institutions. Certain universities in Georgia also deny
                enrollment to undocumented students.50
                   Even for those students who find a way to remain in
                school, as well as DACA recipients who serve as faculty
                and staff, their experience as part of the educational
                community will be curtailed without DACA. For
                example, without advance parole, DACA recipients will
                not be able to travel abroad for studies or educational
                meetings, and the colleges and universities will lose the
                ability to select the best candidates to represent the
                institution in these programs and forums.51


                49
                    Tom Jawetz & Nicole Prchal Svajlenka, Thousands of DACA
                Recipients Are Already Losing their Protection from Deportation,
                C ENTER FOR A MERICAN P ROGRESS (Nov. 9, 2017),
                https://www.americanprogress.org/issues/immigration/news/201
                7/11/09/442502/thousands-daca-recipients-already-losing-
                protection-deportation/.
                50
                    NATIONAL CONFERENCE OF STATE LEGISLATURES, Deferred
                Action for Childhood Arrivals/Federal Policy and Examples of
                S t a t e    A c t i o n s     ( A p r .   2 5 ,    2 0 1 8 ) ,
                http://www.ncsl.org/research/immigration/deferred-action.aspx.
                51
                    See, e.g., UNIVERSITY OF WISCONSIN-MADISON, Statement from
                Chancellor Blank on Executive Order on Immigration (Jan. 30,
                2017), https://news.wisc.edu/statement-from-chancellor-blank-on-
                executive-order-on-immigration/.




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                                            16

                D. DACA Grantees are Valued State Employees.
                    DACA grantees serve the States not only in our
                colleges and universities, but also throughout state and
                local government, often serving in roles that make use
                of their unique skills and life experiences. Record
                evidence shows that DACA recipients perform jobs for
                which it can be hard to find a replacement hire, such as
                serving as interpreters at the County of Santa Clara’s
                hospitals.52 Because of their own background and
                ability to speak Spanish, DACA employees are
                uniquely able to connect with and understand the
                struggles these hospital clients face.
                   DACA grantees have also been employed
                throughout state and local government agencies, often
                interacting and serving the communities where they
                themselves live. They are law enforcement officers,
                nurses, fire fighters, special needs teachers, home
                health care workers, and more. If DACA is rescinded
                the States would lose many highly valued, passionate,
                and productive employees, whose skill sets and
                experience would be costly for the States to replace.
                E. DACA Contributes to Public Safety.
                   Many of the undersigned serve as chief law
                enforcement officials in our states, and we recognize
                the important public safety benefits that flow from
                DACA. Residents who live in fear of deportation are
                less likely to report crimes committed against them,
                and less likely to serve as witnesses to crimes they


                52
                   Marquez Decl., SER 744-745; Mendez Decl., SER 781; Duenas
                Decl., SER 424; Melvoin Decl., SER 768-769.




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                encounter, choosing to remain in the shadows. As just
                one of many examples, a DACA respondent stated that
                she did not report when she was robbed at gunpoint
                prior to DACA because of fear she would be deported.53
                   Record evidence in this case supports her
                statement. For instance, in a survey of over 3,000
                DACA recipients, 53% said after the rescission they
                would be less likely to report a crime, 46% said they
                would be less likely to report a crime even if they were
                the victim, and 60% said they would be less likely to
                report wage theft.54 In another survey of DACA
                recipients, 59% said they would report a crime after
                receiving DACA status but would not have before.55
                    Effective law enforcement requires cooperation
                between residents and law enforcement officers. That
                cooperation is lacking when residents live in fear of
                deportation. Indeed, unscrupulous criminals often
                target undocumented residents because they
                understand the particular vulnerability of this
                population. As a result, granting deferred action to
                young community members who themselves pose no
                threat to public safety enhances the safety of the entire
                community. Local prosecutors have observed this
                firsthand in the communities they serve and protect.56



                53
                     J.A. 923.
                54
                     See Wong Decl., SER 1159.
                55
                     See Gonzalez Decl., SER 534.
                56
                     Gascon Decl., SER 504-505; O’Malley Decl., SER 883.




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                                   CONCLUSION
                   DACA grantees, having emerged from the shadows
                into public life, have enriched the Amici States. Forcing
                these productive and industrious young residents out
                of their places in our communities would impose
                significant economic and social costs on our States and
                the country as a whole.
                   For these reasons, the Amici States submit that the
                rescission of DACA is subject to judicial review and
                that the efforts to rescind DACA in this instance are
                unlawful, as adjudicated by the lower courts.

                                            Respectfully submitted,

              DANA NESSEL                   AARON D. FORD
              Michigan Attorney General     Attorney General of Nevada
                                            HEIDI PARRY STERN*
              ERIC J. WILSON                Solicitor General
              Deputy Attorney General       CRAIG A. NEWBY
              State of Wisconsin            Deputy Solicitor General
                                            100 North Carson Street
              LAURA KELLY                   Carson City, NV 89701
              Governor of Kansas            (775) 684-1100
                                            HStern@ag.nv.gov
              STEVE BULLOCK                 * Counsel of Record
              Governor of Montana


                               Counsel for Amici Curiae


                OCTOBER 4, 2019




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                        N ICOLE G.
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                                    BERNER
                                     ERNER                           D EEPAK G
                                                                     DEEPAK    GUPTA
                                                                                 UPTA
                        C LAIRE P RESTEL
                        CLAIRE PRESTEL                                 Counsel
                                                                       Counsel of
                                                                                of Record
                                                                                   Record
                        JOHN M.
                        JOHN  M. D’E
                                 D’ELIA
                                      LIA                            L ARK T
                                                                     LARK   TURNER
                                                                             URNER
                        S
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                                                                             WESSLER    PLLC
                       IINTERNATIONAL
                         NTERNATIONAL U   UNION
                                            NION                     1900
                                                                     1900 L Street, NW,
                                                                           L Street, NW, Suite
                                                                                          Suite 312
                                                                                                312
                        1800
                        1800 Massachusetts Ave.,
                              Massachusetts  Ave., NW
                                                   NW                Washington,   DC  20036
                                                                     Washington, DC 20036
                        Washington,   D.C. 20036
                        Washington, D.C. 20036                       (202)
                                                                     (202) 888-1741
                                                                           888-1741
                        (202)
                        (202) 730-7466
                              730-7466                               deepak@guptawessler.com
                                                                     deepak@guptawessler.com

                       Counsel
                       Counsel for
                               for Amicus
                                   Amicus Curiae
                                          Curiae                     Counsel
                                                                     Counsel for
                                                                             for Amici
                                                                                 Amici Curiae
                                                                                       Curiae
                       SEIU
                       SEIU
                          (additional
                          (additional captions
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                                               and Counsel
                                                   Counsel listed
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                       October
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                                          Mosaic - (301) 927-3800 - Cheverly, MD




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             DONALD J. TRUMP, PRESIDENT OF THE UNITED STATES,
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               NATIONAL ASSOCIATION FOR THE ADVANCEMENT OF
                          COLORED PEOPLE, ET AL.,
                                                  Respondents.

            On Writ of Certiorari Before Judgment to the United States
               Court of Appeals for the District of Columbia Circuit


            KEVIN K. MCALEENAN, ACTING SECRETARY OF HOMELAND
                            SECURITY, ET AL.,
                                                   Petitioners,
                                         v.
                   MARTIN JONATHAN BATALLA VIDAL, ET AL.,
                                                   Respondents.


            On Writ of Certiorari Before Judgment to the United States
                     Court of Appeals for the Second Circuit

             HAROLD C. BECKER                    JUDITH RIVLIN
             MATTHEW J. GINSBURG                 AMERICAN FEDERATION
             AMERICAN FEDERATION OF              OF STATE, COUNTY AND
             LABOR AND CONGRESS OF               MUNICIPAL EMPLOYEES
             INDUSTRIAL ORGANIZATIONS            1625 L Street, NW
             815 Sixteenth Street., NW           Washington, DC 20036
             Washington, D.C. 20006              JRivlin@afscme.org
             cbecker@aflcio.org
             Counsel for Amicus Curiae           Counsel for Amicus Curiae
             AFL-CIO                             AFSCME




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              https://perma.cc/ FYM8-GAEA. .................................18
           Jose Magaña-Salgado,
              Money on the Table: The Economic Cost of
              Ending DACA, Immigrant Legal Resource
              Center (Dec. 2016), https://perma.cc/S4NY-V33Z. ...18
           Milenko Martinovich,
              Rescinding DACA protections on immigrant
              mothers could have negative health impacts on
               their children, Stanford study finds, Stanford
              News (Sept. 7, 2017), https://perma.cc/ZMT5-
              K2MB..............................................................................21




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                            INTRODUCTION AND
                          SUMMARY OF ARGUMENT1
               Through the Deferred Action for Childhood Arrivals
           program, law-abiding undocumented young people in the
           United States have been able to achieve a longstanding
           dream: to become vital, productive, and successful
           members of the society in which they were raised. In just
           five years, DACA recipients have made invaluable contri-
           butions to the American labor force as doctors, lawyers,
           teachers, community health workers, janitors, homecare
           providers, and more. They are the working parents and
           siblings of 200,000 adolescent American citizens,2 provid-
           ing what is often their family’s sole source of income.
               The question before this Court is whether the Trump
           Administration’s abrupt termination of this program was
           lawful. Amici submit this brief to demonstrate—through
           individual stories of DACA recipients and social-science
           data—how rescinding DACA would harm working

               1
                 This brief was not authored in whole or in part by counsel for a
           party and no one other than amici curiae and their counsel made a
           monetary contribution to the preparation or submission of this brief.
           SEIU Local 521 and the American Federation of Teachers, parties to
           this case, are independent organizations affiliated with SEIU and the
           AFL-CIO respectively. SEIU and the AFL-CIO are independent
           legal entities, separate and distinct from the many local, regional, and
           national labor organizations with which they are affiliated. Counsel
           for SEIU are employed solely by SEIU and do not represent SEIU
           Local 521. Likewise, the counsel for the AFL-CIO are employed
           solely by the AFL-CIO and do not represent the American Federa-
           tion of Teachers. All parties have consented to the filing of this brief;
           letters of consent have been lodged with the Clerk.
               2
                Priscilla Alvarez, Will DACA Parents Be Forced to Leave Their
           U.S.-Citizen Children Behind?, The Atlantic, Oct. 21, 2017,
           https://perma.cc/XD7H-282Q.




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            people, their families, and the country in general, while
            doing little to address the need to reform our broken
            immigration system. It is conservatively estimated that
            DACA recipients would increase the gross domestic prod-
            uct of the United States economy by $215 billion and U.S.
            tax revenues by $60 billion over the next decade.3 Termi-
            nating DACA eliminates these gains. It also denies DACA
            recipients the security and confidence in knowing that
            they will return home safely to their families every day.
            That fear is only amplified now that the government has
            gained sensitive information about them through the
            program. Terminating DACA also severely limits their
            educational and employment opportunities. Multiple
            studies establish the obvious and acute negative conse-
            quences of living in such uncertain conditions and how
            DACA has already provided observable relief from those
            consequences. The experiences of individual union
            members and their relatives shared below illustrate this
            research, demonstrating the real human toll that rescind-
            ing DACA will inflict on undocumented young adults,
            their families, their communities, their workplaces, and
            the nation.
                        INTEREST OF AMICI CURIAE
                Amici are two of the nation’s largest labor unions and
            the nation’s largest labor federation: Service Employees
            International Union, the American Federation of Labor
            and Congress of Industrial Organizations, and the Amer-
            ican Federation of State, County and Municipal Employ-
            ees.


               3
                    Ike Brannon & Logan Albright, The Economic and
            Fiscal Impact of Repealing DACA, Cato Institute (Jan. 18, 2017),
            https://perma.cc/ZH57-8D98.




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                Service Employees International Union (SEIU) is a
            labor organization of approximately two million working
            men and women in the United States and Canada. SEIU’s
            members include foreign-born U.S. citizens, lawful
            permanent residents, and undocumented immigrants
            authorized to work in the United States. Many of SEIU’s
            members have mixed-status families. As described below,
            SEIU members will be directly affected by the termina-
            tion of DACA.
                The American Federation of Labor and
            Congress of Industrial Organizations (AFL-CIO) is a
            federation of 55 national and international labor organiza-
            tions with a total membership of more than 12 million
            working men and women. The AFL-CIO’s affiliated
            unions represent workers of all citizenship and immigra-
            tion statuses. This includes many union members who, as
            a result of DACA, are themselves permitted to remain in
            the United States and work to support their families and
            communities, as well as many additional union
            members whose children, grandchildren, or other family
            members benefit from DACA. The termination of DACA
            would directly harm these union members and their
            families, as well as negatively impact the employers,
            community institutions, and local unions that depend on
            these union members’ hard work and volunteer commit-
            ment.
                American Federation of State, County and
            Municipal Employees, AFL-CIO (AFSCME) is a union
            of 1.4 million members in the United States and Puerto
            Rico, both in the public and private sectors, who share a
            commitment to service. AFSCME is participating in this
            case to advance its mission of helping all working people,
            including immigrants and people of color, achieve the
            American dream regardless of their identity. AFSCME is



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            proud to represent members who came to the United
            States as children and who are contributing to our
            communities, states, and country. The public servants of
            AFSCME, and indeed all Americans, deserve better.
                                      ARGUMENT
            I. Union members and their families have become
               vital parts of American society as a direct result of
               the opportunities provided to them by the DACA
               program.
               Millions of workers nationwide are united in the amici
            labor organizations, and many union members and their
            families will be harmed by a repeal of DACA. The experi-
            ences of individual union members and their family mem-
            bers confirm and illustrate the successes of DACA for
            American society and, in turn, the gains that will be lost if
            DACA is terminated.4
                M.R.: Homecare worker for the elderly by day,
                      tutor to his American siblings by night.
                M.R. is a 24-year-old member of SEIU 2015 who came
            to the United States from El Salvador at age eight. He
            lives in San Jose, California with his family, including his
            three U.S.-citizen siblings, aged nineteen, thirteen, and
            nine. M.R. is a homecare worker and has recently enrolled
            in a medical assistant training program at Silicon Valley
            Career Technical Education (SVCTE).
               M.R. enrolled in DACA in 2013. “My parents raised
            me with the idea that I should make something of myself
            and contribute to the community. With DACA I was able

                4
                 The individuals whose stories are told here all consented to
            having their experiences recounted in this brief. Participants chose to
            maintain a measure of anonymity by using initials only.




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            to work at a job that allowed me to make a difference in
            the life of a very ill, elderly patient. I’m a homecare
            worker and I care for an elderly man who is blind,
            diabetic, has kidney failure, a pacemaker, and is on dialy-
            sis. DACA made this meaningful job possible for me.”
               M.R. attended school in California, graduating high
            school from Gunderson High School in 2014. During his
            high school years, M.R. received an honor roll award,
            played varsity soccer and volleyball, and participated in
            the multicultural club and the boxing club.
                M.R. is a conscientious and responsible member of his
            family, his workplace, and his community. He picks up his
            siblings from school, helps them with their homework, and
            does chores around his house. He attends church regu-
            larly and is involved in a leadership development program
            with his co-workers. “I believe that I am responsible for
            more than myself alone. I think that in a democratic soci-
            ety we must care for the needs of our neighbors, friends,
            and co-workers—not just ourselves and our families.
            These are the values that I learned from my parents—you
            have to work hard for what you want, but you must
            respect others and treat them the way that you want to be
            treated.”
                As a child in El Salvador, M.R. faced danger and
            uncertainty. His earliest memories are of hearing warn-
            ings to avoid the gang members who moved freely
            through his neighborhood. M.R.’s family rushed him out
            of the country before the gangs could recruit him. “The
            gangs search for young boys to become members at an
            early age. I was lucky to escape before I was forcibly
            recruited. DACA has allowed me to live in safety and
            security in the U.S.”




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              P.V.: A dedicated public servant prosecuting
                    crime for Travis County, Texas.
               P.V. is an Assistant County Attorney for Travis
           County, Texas, where Austin is located. As a dedicated
           public servant and an AFSCME Local 1624 member, P.V.
           spends his workdays as a criminal prosecutor protecting
           public safety by handling all sorts of traffic-related crimi-
           nal cases from running red lights to DWIs.
               P.V. came to the United States from Mexico when he
           was three years old. He and his family settled in the
           Houston area, but his living situation was difficult when
           he first arrived. His father found work as a dishwasher
           and his mother as a busser, and the family lived with
           various relatives while they got their footing. His father is
           now a bartender and his mother a licensed massage ther-
           apist. After 19 years, his parents became legal permanent
           residents. P.V., however, remains without permanent
           legal status because he aged out of his parents’ application
           during the 19-year wait.
               P.V. knew from a young age that he wanted to create
           a path to success in the United States, and he studied hard
           to make that dream a reality. He graduated from high
           school in 2009 and went on to study sports management at
           the University of Texas at Austin, where he graduated
           with high honors. At first, P.V. thought he wanted to
           pursue a career as a sports agent, “like Jerry Maguire,”
           but decided he enjoyed public service and chose to attend
           The University of Texas School of Law. He graduated
           from law school in 2016 and soon after passed the Texas
           Bar.
               P.V. is a DACA recipient and that status is what
           allows him to be a dedicated public servant and prosecut-




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           ing attorney today. Without DACA, he would not be eligi-
           ble to do the work he does every day for Travis County.
           P.V. is the first member of his family to go to college and
           graduate school, and the first member of his family to
           work as a professional. Without DACA, he would be
           “unemployable” in most workplaces. With it, P.V. can do
           the job he loves, and contribute to the economy and his
           community by supporting himself, paying taxes, and
           contributing to the county retirement plan.
               He also knows that without DACA his community
           would suffer dire consequences. P.V.’s experience as a
           prosecutor has taught him that without legal status, many
           immigrants, fearing deportation, refuse to report crimes
           or avoid testifying when they are victims of assaults and
           other crimes for fear of deportation. As an immigrant
           himself, he knows that many immigrant families’ conduit
           to law enforcement and their broader community is
           through their DACA recipient children who serve as their
           “ambassadors.”
               P.V. wants to continue to be a “positive agent of
           change in the criminal justice system,” but he knows he
           cannot do so without DACA. The ability to achieve work
           status through DACA is what gave him the confidence to
           go to law school in the first place, and make his family and
           community so proud.
              T.W.: From NFL athlete to Harvard-trained
                    orthopedic surgeon.
              Dr. T.W. is a practicing orthopedic surgeon in
           Atlanta, Georgia who recently completed a five-year
           medical residency in Harvard’s orthopedic surgery
           department and a one-year fellowship in orthopedic
           sports medicine at Stanford University. Dr. T.W. is a
           former National Football League (NFL) athlete who




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           participated in DACA for about four years. His wife, a
           U.S. citizen, is an alumnus member of SEIU’s Committee
           of Interns and Residents (CIR).
               Dr. T.W. came to the United States at age three. His
           family settled in California after fleeing political unrest in
           Nigeria. Dr. T.W.’s only memories are of life in the United
           States, and he grew up believing that with hard work and
           commitment, he could do anything. “I saw only the Amer-
           ican Dream and truly believed if I put forth effort and
           determination, there was nothing I could not do.” A bril-
           liant student and a track, wrestling, and football star in
           high school and at Stanford University, Dr. T.W. gradu-
           ated and spent several years playing football on NFL
           teams.
               Throughout his childhood and early adult years, Dr.
           T.W. believed he was American. It was only when he
           needed his passport to travel to Canada for a position with
           the Canadian Football League that he learned that he was
           not a U.S. citizen. “In some ways, the fact that I didn’t
           know my true immigration status freed me from the
           stress and obstacles imposed by undocumented
           status and allowed me to imagine limitless possibilities in
           my life.”
               As Dr. T.W.’s football career ended, he turned to his
           other passion: medicine. He excelled in his studies at
           Northwestern University’s Feinberg School of Medicine,
           but recognized that his undocumented status would
           prevent his acceptance to a medical residency program in
           the United States. “DACA saved me. It rescued me and
           allowed me to pursue my medical residency at the
           Harvard Combined Orthopedic Residency Program at
           Massachusetts General Hospital. Thank God for DACA.”




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               A six-week lapse of Dr. T.W.’s DACA status served as
           a reminder of the critical importance of DACA to his
           medical career. Dr. T.W. had to stop working for 6 weeks
           during his intern year while he waited for the
           extension of his DACA work authorization card. “The
           orthopedic surgery intern functions as a crucial member
           of a team, and when I wasn’t able to work, I let my team
           down. My program could not fill the void, and I was sleep-
           less with anxiety. All of a sudden it didn’t matter that I
           was a doctor. Without DACA I was thrust back into the
           status of an unwelcome, alien intruder.”
               Dr. T.W. completed his training last year and now
           works in an orthopedic surgery practice. He intends to
           continue serving the community and treating muscular
           injuries, broken bones, and a wide range of other condi-
           tions.5
               E.M.: A father supporting his family.
               E.M. is a 33-year-old alumnus member of SEIU 32BJ
           who has lived in Washington, D.C. since he came to the
           United States from Mexico in 1999. He is a husband, a
           father of two U.S. citizen children aged nine and six, an
           active member of his community, and a DACA recipient.
           E.M. has held DACA status for about six years. He
           worked on a janitorial crew represented by SEIU 32BJ
           and is now a supervisor responsible for leading a crew.
              E.M. attended Francis Junior High School and gradu-
           ated from Roosevelt Senior High School in Washington,
           D.C.


               5
                In June of 2017, Dr. T.W.’s application for legal residency was
           approved. Although he no longer relies on DACA, he values the
           program that was vital to his medical career and his life.




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              With DACA he has been able to “step out of the shad-
           ows,” participate in the community, and not be afraid of
           arrest and deportation. “I can’t stand the thought of being
           deported and leaving my kids alone.”
               E.M. wants “to be able to afford a house so that my
           kids can play in our own backyard.” E.M.’s kids are the
           world to him. “I want my kids to grow up to be someone—
           I want them to go to college, have a good future, and be
           better than I am. My nine-year-old son says he wants to
           be a doctor and he wants to buy me a big house. My kids
           are my motivation, they are my anchor, and they keep me
           fighting for a better future.”
                Since E.M. left his hometown of Puebla, Mexico in
           1999, gangs and cartels there have grown dramatically.
           E.M. remembers his sister, his only close family member
           still in Mexico, warning him: “Don’t you ever come back
           here. It’s too dangerous.”
               After 20 years of living in the U.S. and contributing to
           his community through his work and union activities,
           E.M. feels that everything most important to him is in the
           U.S. “I’m not here to hurt anyone—I’m here to work hard
           and make a better life for me and my family. I don’t want
           to go back to living in the shadows.”
              O.S.: 23 and “able to do normal things” like attend
                    college.
               O.S. is a 23-year old citizen of Colombia, the nephew of
           an SEIU 1199 member, and a former DACA recipient who
           is now a legal resident of the United States. He
           resides in Queens, New York and works as a server at the
           Standard Hotel in Manhattan.
              O.S. has lived in New York City since he arrived in the
           United States with his family at age 8 more than 15 years
           ago. He always knew that he was undocumented, and as




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           soon as the DACA program was created, O.S. applied for
           and was granted DACA. “Having DACA meant that I was
           able to do normal things that other people my age were
           doing. I was a sophomore in high school and with DACA,
           I qualified to get my first job through the city Summer
           Youth Employment Program. DACA allowed me to feel
           more confident and more comfortable. I didn’t feel
           ashamed and alien.”
              After O.S. graduated from high school in Queens, he
           enrolled in a bachelor’s degree program at a campus of the
           City College of New York. O.S. hopes to complete his
           bachelor’s degree and work in the marketing and commu-
           nications field.
              O.S. renewed DACA twice and remained in DACA
           until he obtained legal residency in 2017.
               “Although I have a green card now, I’ll never forget
           how much it meant to me to receive DACA. It came at just
           the right time in my life and helped put me on the path to
           college and a better future.”
              F.G.: Living without fear of being deported from
                    his American wife.
              F.G., a citizen of Mexico who came to the United States
           24 years ago at age four, received DACA status in 2014.
           He is a member of SEIU 32BJ and resides in New York
           City with his U.S. citizen wife.
               DACA allowed F.G. to live, work, and participate in
           civic life without worrying that he would be deported.
           Fear of deportation shaped F.G.’s life for years. F.G.
           learned that he was undocumented when he was in high
           school and did everything he could to keep his undocu-
           mented status hidden. “It’s hard to describe the level of
           fear that affects immigrant communities. My own loving
           parents were so frightened that they might be deported,




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           leaving my brother alone, that they gave up their parental
           rights in order to allow my U.S. citizen aunt to adopt us.
           That is the level of fear I lived with until 2014 when I was
           granted DACA. With DACA I could breathe freely for the
           first time.”
               F.G. spent his childhood and teenage years in Fayette-
           ville, a small college town in northwest Arkansas. He
           attended Catholic school and excelled in literature, art,
           and football. He worked on the art magazine in high school
           and acted as a stage manager for high school theatre
           productions. “Despite my fear of deportation, I was
           resolved to continue my education. After I graduated
           from high school in 2010, I attended the University of
           Arkansas for several years with the goal of becoming an
           architect. But without work authorization, I felt that I
           could never get a good job. I left the University discour-
           aged and without a degree.”
               F.G. met his wife at the University of Arkansas and
           lived in Fayetteville until his wife graduated from the
           University. “We moved to Atlanta for a short time while
           my wife worked for CNN, and then to New York City
           where my wife found a job working as a photo editor for a
           national magazine. By the time we moved to New York, I
           had DACA and was able to get a good job.”
               F.G. applied for legal residency in the United States
           and finally received his green card in early 2019. “Now my
           wife and I are making plans to open a business, and for my
           return to college. We are able to take advantage of the
           benefits of living in New York and often go to New York’s
           museums . . . I’ll always be grateful to DACA for giving
           me a sense of confidence, allowing me to work, and giving
           me the belief that I could live my life fully without the
           trauma of possible deportation. After receiving DACA I
           felt that I could finally relax.” F.G. and his wife have now




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           started a family; she recently gave birth to their first
           child.
              C.F.: Living the American dream until 17,
                    regaining it through DACA.
               C.F. is a member of SEIU 32BJ who was brought to
           the United States from Mexico when he was a
           one-year-old child. He worked as a custodian and is now
           in training to become a maintenance technician. C.F. lives
           in Baltimore with his parents and his three U.S.-citizen
           brothers.
              C.F. attended school in Baltimore, completing his
           studies and graduating from Lansdowne High School. His
           favorite subject was math and he participated in the chess
           team in high school. C.F. learned for the first time that he
           was undocumented at age 17, when he sought to apply for
           a Social Security card.
               “I felt like I was as American as anyone else and find-
           ing out that I was undocumented was terrible for me. It
           changed my outlook and undermined my confidence.” C.S.
           felt that he didn’t belong, that he was different, even in his
           own family. “I’m really close to my three U.S. citizen
           brothers. But finding out about my immigration situation
           made me feel like an outsider, different and alone.”
               C.F. also worried that he couldn’t invest in his future.
           He feared he could be deported without warning. “My
           hopes for living the American dream—going to college,
           studying marketing, buying a home someday—the
           belief that I could succeed and build a good life suddenly
           seemed impossible.”
              But shortly after C.F. graduated high school, he heard
           about and applied for the DACA program. “DACA gave
           me permission to work, and with that permission I was
           able to get a steady job and join the union. DACA gave me




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           a chance and the hope for a better future.” With DACA,
           C.F.’s self-assurance returned. He began participating in
           activities to help his community and in activities support-
           ing his co-workers. “There are many people like me who
           just want a chance to work hard and be part of the Amer-
           ican dream. DACA gave me that chance.”
              V.S.: Public servant, psychology graduate, and
                    the caretaker of her American siblings.
              V.S. was born in Mexico City and has resided in the
           United States since infancy. She is the daughter of an
           SEIU 1021 member. Educated entirely in the United
           States, from elementary school through the University of
           California, Santa Cruz, she was granted DACA in 2012.
           V.S. now works in her county’s District Attorney’s office,
           where she provides outreach and support services to
           Spanish-speaking survivors of domestic violence and
           sexual assault.
              “DACA was a game changer for me. It gave me hope
           and allowed me to believe that I always could be a little
           more: that I could graduate from the University of
           California, Santa Cruz, be on the dean’s list, and pursue a
           career in public service. When my parents were forced to
           depart the U.S. and I became the head of my family,
           DACA kept my spirits up and helped me to trust that I
           would be able to support and care for my three younger
           U.S. citizen brother and sisters.”
               V.S. grew up with faith in the power of education and
           the value of community service. In high school she
           maintained a 4.0 average; organized a schoolwide activi-
           ties committee; worked on the yearbook; and volunteered
           at a nursing home, running activities, music lessons,
           exercise sessions, and movie events for the elderly. Dur-
           ing her years at U.C. Santa Cruz, she studied psychology




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           while working as a research assistant in a child develop-
           ment lab, tutoring over 40 students, and interning in a
           special program to advance and support diversity at the
           University. V.S. graduated in 2016 with a B.A. in
           psychology.
               “My mother is a nurse and I watched her care for her
           patients with compassion and diligence. She inspired me
           to care for others who are facing trauma. But while she
           was forced to remain outside of the U.S., I carried the
           responsibility for my younger U.S. citizen siblings. I had
           to make sure everything went smoothly.”
               During her mother’s absence, V.S. attended her
           brother and sisters’ parent-teacher conferences and open
           house nights, oversaw their homework, and made sure
           that they got to school on time. She took her brother and
           sister to the doctor, did the family grocery shopping and
           cooking, and handled finances for her siblings and her
           parents. “We’re a close-knit family, and I can sense if my
           brother and sisters are upset. I know they’re going
           through a lot and I want to be there for them. Our
           community, my mother’s union, and our church have been
           great to us.”
               “I’ve always felt that I was an American,” she says.
           “But DACA has made me feel like my dreams could come
           true and I could have a career that will allow me to give
           something back to my community and my country.”
              I.T.:   A surgical technician uncertain of her
                      future.
              I.T. is a surgical technician at the University Medical
           Center in El Paso, Texas. When President Obama first
           announced the creation of DACA, I.T. began gathering
           her documents to apply. As a child, I.T.’s mother told her
           about her legal status and the limitations that came from




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           not being a citizen. As she began to approach her senior
           year in high school, I.T. knew she did not have the other
           opportunities that her classmates had. She was often
           envious of her classmates who lived with the freedom to
           take drivers’ education courses and work part-time jobs
           in high school.
               Before I.T. became eligible to apply for DACA, she
           couldn’t go to the doctor for annual checkups. Because of
           their immigration status, I.T.’s family didn’t participate in
           many things that other high school students took for
           granted, like going to the dentist or eye doctor. She
           thought she would never be able to get a driver’s license,
           go to college, or get a job. But that all changed in October
           2012 when she applied for and enrolled in DACA.
               Shortly after she received her DACA enrollment
           letter, she began applying for jobs. She applied
           everywhere that was hiring, from retail to fast food to
           entry-level office work. Finally, she landed a job at a small
           law firm as a bilingual receptionist. She was soon
           promoted to a legal assistant position. She learned quickly
           in her new role. Newly employed, I.T. looked forward to
           paying taxes. “I feel like I’m contributing to society every
           time I pay taxes.”
               Being a DACA recipient meant that I.T. could
           continue her studies. She began taking courses at the
           local college in El Paso. While in school, she worked
           full-time and paid for her education. It took her several
           years to finish but in 2015, I.T. became the first person in
           her family to graduate from college. DACA provided her
           with opportunities she thought she would never have.
           Now she’s married and working in the same field she stud-
           ied in college. While DACA has provided her with many
           opportunities, she lives in fear of it being rescinded. “I
           have to renew my DACA status every two years. I can’t




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           make a five-year plan because I’m unsure of how long I
           can live in this country.” She cannot plan for children
           because she is uncertain of how to support them if DACA
           were rescinded. The loss of DACA would place a huge
           financial burden on her husband, because he would
           become the sole monetary provider of the family. She
           would live in fear of deportation to a country she has never
           known. Even now, I.T. lives with constant worries about
           the future. Being a DACA recipient has brought her pride
           in contributing to American society. She cannot bear the
           thought of losing that status.
           II. Rescinding DACA will adversely impact America’s
               workplaces, communities, and national economy.
              Rescinding DACA subjects 800,000 young people to
           the threat of removal while reducing local, state, and
           federal revenues and forcing employers to expend
           significant resources to hire and train new employees.
               The most immediate costs are those imposed on the
           American workplace. One study estimates that for “every
           business day DACA renewals are halted, over 1,400 jobs
           [will be] lost” in the next two years.6 This places a substan-
           tial burden on employers and employees, considering how
           even a short-term loss of DACA work authorization can
           seriously hinder a workplace. Take, for example, the story
           of Dr. T.W. in Part I of this brief. Dr. T.W. is a retired
           NFL athlete and practicing orthopedic surgeon in
           Atlanta. During his intern year, he was forced to abruptly
           stop working for a period of six weeks while waiting for
           the extension of his DACA authorization. This created a
           critical void that threw his surgery team into disarray

              6
                Center for American Progress & FWD.us, Study: The Impact
           of Deferred Action for Childhood Arrivals (DACA) Program Repeal
           on Jobs, FWD.us, 4 (Aug. 23, 2017), https://perma.cc/3X8Q-ZJSM.




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           because his role could not be temporarily filled. In this
           way, rescinding DACA will cause employers to grapple
           with the loss of staff in whom they have invested while also
           forcing them to absorb unnecessary turnover expenses—
           a cost that is projected to total $3.4 billion for the whole-
           sale replacement of employed DACA recipients.7
                Terminating DACA will also mean that $24.6
           billion worth of Medicare and Social Security contribu-
           tions will be lost over the next ten years, as well as most
           of the federal and tax revenues generated from the 91%
           gainfully employed DACA recipients.8 These effects will
           be particularly burdensome for the six states that are
           home to 59% of the undocumented immigrant population
           in the U.S.: California, Texas, Florida, New York, New
           Jersey, and Illinois.9 By contrast, DACA implementation
           has entailed almost no direct cost to taxpayers because
           the program’s overhead is covered by the $495 fee paid by
           each applicant.
              In addition, the federal government’s threat to
           deport DACA recipients would lead to a staggering result:
           a burden of $7.5 billion10 on American taxpayers. The
           public opinion evidence suggests that the American
           people may at some level understand this stark


               7
                Jose Magaña-Salgado, Money on the Table: The Economic Cost
           of Ending DACA, Immigrant Legal Resource Center (Dec. 2016),
           https://perma.cc/S4NY-V33Z.
               8
                   Id.
               9
                Jens Manuel Krogstad, Jeffrey S. Passel & D’Vera Cohn, 5 facts
           about illegal immigration in the U.S., Pew Research Center (Apr. 27,
           2017), https://perma.cc/ FYM8-GAEA.
               10
                 Brannon & Albright, The Economic and Fiscal Impact of Re-
           pealing DACA.




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           cost-benefit calculus: 69% of Republicans, 84% of Demo-
           crats, and 74% of Independents think that DACA recipi-
           ents should be able to stay in the country, whether
           through citizenship or other means.11 Costly, ineffective,
           and unpopular, the deportation of these American-raised
           young adults would not repair our broken immigration
           system in any real way.
           III. Terminating the DACA program inflicts
                irreparable harm on DACA recipients and their
                families, including American-citizen children.
               Undocumented immigrants face a mountain of hard-
           ships. They suffer poverty rates nearly twice that of
           American citizens and have a harder time escaping those
           conditions because of their status.12 Employment oppor-
           tunities are generally limited to low-wage jobs, but even
           those can be difficult to access without a driver’s license.
           Most undocumented immigrants also lack a bank account
           since “financial institutions often request U.S. identifica-
           tion and a Social Security number.” Instead, they carry
           cash, making them targets for robbery.13



               11
                 Edward Graham, Trump’s DACA Move Comes as Most Voters
           Back Citizenship for ‘Dreamers’, Morning Consult (Sept. 5, 2017),
           https://perma.cc/6BX9-J6K5. The statistics given here are calculated
           from the “allow them to become citizens” and “allow them to stay”
           categories of the graph from Morning Consult.
               12
                  Catalina Amuedo-Dorantes & Francisca Antman, Can
           authorization reduce poverty among undocumented immigrants?
           Evidence from the Deferred Action for Childhood Arrivals
           program, Elsevier, 147 Econ. Lett. 1, 1 (2016).
               13
                  Roberto G. Gonzales, et al., Becoming DACAmented:
           Assessing the Short-Term Benefits of Deferred Action for Childhood
           Arrivals (DACA), 58 Am. Behav. Sci. 1852, 1855 (2014).




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              Undocumented youth encounter additional hurdles in
           their education because of their ineligibility for federal
           and state financial aid, paid internships, and study oppor-
           tunities that require identification. On top of all these
           challenges is the constant fear of being deported that
           wreaks havoc on mental health, causing many undocu-
           mented immigrants to suffer from anxiety, depression,
           and suicidal thoughts.
              What makes DACA so significant is that, in just five
           years, it has led to improved socioeconomic and health
           outcomes—including for American-citizen children.
           Researchers have found that the odds of life in poverty in
           households headed by DACA recipients fell by 38%.14
               The story of M.R., presented in Part I above,
           illustrates this finding. M.R. has three U.S.-citizen
           siblings. DACA helped him obtain a driver’s license and
           secure employment as a homecare worker so that he can
           help his parents financially support their family and also
           pick up his siblings from school. DACA has produced
           these kinds of tangible gains for the majority of its
           recipients. According to one survey, the program has led
           to new employment for 59% of recipients, 45% of whom
           also experienced salary growth.15 55% of recipients were
           also able to purchase a vehicle while more than 10%
           purchased their first home.16
              Looking at improved health outcomes, a study from
           Stanford University found that since 2012, the diagnoses

              14
                  Amuedo-Dorantes & Antman, Can authorization reduce
           poverty, at 1.
              15
                   Gonzales et al., Becoming DACAmented, at 1863.
              16
                Center for American Progress & FWD.us, Study: The Impact
           of DACA Program Repeal on Jobs, at 5.




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           of adjustment and anxiety disorders for the American
           children of DACA-eligible parents fell by an astounding
           50%.17 Such “immediate and sizable improvements in the
           mental health of their U.S. citizen children . . . suggests
           that parents’ unauthorized status is a substantial stressor
           that stymies normal child development and . . . transfer[s]
           parental [health] disadvantages to children.”18
               These improvements are likely only preliminary, due
           to DACA’s short existence, and the program can reasona-
           bly be expected to create more observable gains in the
           long term if it continues. As Stanford researcher Jens
           Hainmueller noted, “It’s not every day that public policy
           has such an immediate effect.”19
              But nothing more clearly illustrates the value of
           DACA to its recipients than the fact that 78% of the
           law-abiding, American-raised young people eligible for
           the program have applied20—in spite of its hefty $495 fee
           and two-year limit. Ending DACA threatens all these
           advances, the improvements to come, and the hopes of
           young people like the union members and families
           described above.


               17
                 Jens Hainmueller et al., Protecting unauthorized immigrant
           mothers improves their children’s mental health, 357 Science 1041,
           1043 (2017).
               18
                    Id.
               19
                 Milenko Martinovich, Rescinding DACA protections on immi-
           grant mothers could have negative health impacts on their children,
           Stanford study finds, Stanford News (Sept. 7, 2017),
           https://perma.cc/ZMT5-K2MB.
               20
                 Jens Manuel Krogstad, DACA has shielded nearly 790,000
           young unauthorized immigrants from deportation, Pew Research
           Center (Sept. 1, 2017), https://perma.cc/ A5NW-HKYD.




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                              CONCLUSION
              The judgment below should be affirmed.

                               Respectfully submitted,


                               DEEPAK GUPTA
                                 Counsel of Record
                               LARK TURNER
                               GUPTA WESSLER PLLC
                               1900 L Street, NW, Suite 312
                               Washington, DC 20036
                               (202) 888-1741
                               deepak@guptawessler.com

                               Counsel for Amici Curiae

                               NICOLE G. BERNER
                               CLAIRE PRESTEL
                               JOHN M. D’ELIA
                               SERVICE EMPLOYEES
                               INTERNATIONAL UNION
                               1800 Massachusetts Avenue, NW
                               Washington, DC 20036
                               (202) 730-7466

                               Counsel for Amicus Curiae
                               SEIU




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                              HAROLD C. BECKER
                              MATTHEW J. GINSBURG
                              AMERICAN FEDERATION OF
                              LABOR AND CONGRESS OF
                              INDUSTRIAL ORGANIZATIONS
                              815 Sixteenth Street., NW
                              Washington, D.C. 20006
                              cbecker@aflcio.org

                              Counsel for Amicus Curiae
                              AFL-CIO

                              JUDITH RIVLIN
                              AMERICAN FEDERATION
                              OF STATE, COUNTY AND
                              MUNICIPAL EMPLOYEES
                              1625 L Street, NW
                              Washington, DC 20036
                              JRivlin@afscme.org

                              Counsel for Amicus Curiae
                              AFSCME

           October 4, 2019




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                          Nos.18-587, 18-588, AND 18-589

                                       IN THE
                   Supreme Court of the United States
                     DEPARTMENT OF HOMELAND SECURITY, et al.
                                                          Petitioners,
                                         v.

                   REGENTS OF THE UNIVERSITY OF CALIFORNIA, et al.
                                                         Respondents.


                           On Writ of Certiorari to the
                          United States Court of Appeals
                               for the Ninth Circuit


                         BRIEF OF AMICUS CURIAE
                  NAACP LEGAL DEFENSE & EDUCATIONAL
                  FUND, INC., AND LATINOJUSTICE PRLDEF
                      IN SUPPORT OF RESPONDENTS



                SHERRILYN A. IFILL            DANIEL HARAWA
                  Director-Counsel              Of Counsel
                JANAI S. NELSON               NAACP LEGAL DEFENSE &
                SAMUEL SPITAL                 EDUCATIONAL FUND, INC.
                NATASHA MERLE*                700 14th St, NW Suite 600
                RAYMOND AUDAIN                Washington, DC 20005
                CARA MCCLELLAN
                NAACP LEGAL DEFENSE &
                  EDUCATIONAL FUND, INC.
                40 Rector St., 5th Floor      Counsel for Amicus Curiae
                New York, NY 10006            NAACP Legal Defense &
                (212) 965-2200                Educational Fund, Inc
                nmerle@naacpldf.org

                *Counsel of Record            October 4, 2019




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                        INTERESTS OF AMICUS CURIAE1
                       Amicus NAACP Legal Defense and
                Educational Fund, Inc. (“LDF”) is a non-profit,
                non-partisan law organization established under the
                laws of New York to assist Black people and other
                people of color in the full, fair, and free exercise of
                their constitutional rights. Founded in 1940 under the
                leadership of Thurgood Marshall, LDF focuses on
                eliminating racial discrimination in education,
                economic justice, criminal justice, and political
                participation. For nearly eighty years, LDF has
                fought to enforce the constitutional guarantee of
                equal protection for all persons. LDF represented
                Black parents and their children in Brown v. Board of
                Education, 347 U.S. 483 (1954), the historic case that
                dismantled the “separate but equal” doctrine
                established under Plessy v. Ferguson, 163 U.S. 537
                (1896), which relegated Black people, by law, to a
                position inferior to white citizens. Today, LDF
                continues to work to combat discrimination and
                pernicious racial stereotyping against people of all
                backgrounds. In 2016, LDF argued Buck v. Davis, 137
                S. Ct. 759, 778 (2017), in which this Court condemned
                defense counsel’s introduction of the “toxin” of racial
                bias into Mr. Buck’s capital sentencing hearing. That
                same year, LDF also filed an amicus brief in Peña-
                Rodriguez v. Colorado, 137 S. Ct. 855, 868, 870 (2017),
                                            
                1 Pursuant to Supreme Court Rule 37.6, counsel for amicus
                curiae state that no counsel for a party authored this brief in
                whole or in part and that no person other than amicus curiae, its
                members, or its counsel made a monetary contribution to the
                preparation or submission of this brief. Pursuant to Supreme
                Court Rule 37.3, counsel for amicus curiae state that both
                parties have filed blanket consent to the filing of amicus briefs.




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                in which this Court recognized that a juror’s
                statements assigning pernicious racial stereotypes to
                a Mexican American defendant could, if left
                unchecked, result in the wrongful exercise of power by
                the State.
                       Consistent with amicus curiae’s opposition to
                all forms of discrimination, LDF has a strong interest
                in ensuring that the federal government abides by
                fundamental equal protection principles in its policies
                related to immigrants. LDF filed an amicus brief in
                Jean v. Nelson, 472 U.S. 846 (1985), explaining that
                the Court of Appeals had misapplied this Court’s
                precedent in concluding that a federal immigration
                policy tainted by racial discrimination was not subject
                to judicial review.2 Most recently, in January 2018,
                LDF filed NAACP v. United States Department of
                Homeland Security, on behalf of organizational
                plaintiffs challenging on equal protection grounds the
                Department of Homeland Security’s decision to
                rescind Temporary Protected Status (“TPS”) for
                Haitians in the United States. No. 1:18-cv-00239-
                DKC (D. Md. Jan. 24, 2018).
                       Amicus LatinoJustice PRLDEF, founded in
                1972 as the Puerto Rican Legal Defense & Education
                Fund, is a national not-for-profit civil rights legal
                defense fund that has advocated for and defended the
                constitutional rights and the equal protection of all
                Latinos under the law. LatinoJustice champions an
                equitable society through advancing Latinx civil
                engagement, cultivating leadership, and protecting
                civil rights and equality in the areas of criminal
                                               
                2 See Brief of Amicus Curiae NAACP Legal Defense and
                Educational Fund, Inc. In Support of Petitioners, Jean v. Nelson,
                472 U.S. 846 (1985) (No.84-5240), 1985 WL 670075 at *4.




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                justice,      education,        employment,        fair
                housing, immigrants’ rights, language rights,
                redistricting and voting rights. LatinoJustice
                vehemently opposes the Petitioner’s unlawful actions
                to rescind the Deferred Action for Childhood Arrivals
                (“DACA”) program, which has provided deferred
                status for thousands of Latinx students and
                DREAMers across the country. Thus, LDF and
                LatinoJustice have the experience and expertise to
                assist the Court in its review of this important case.
                               INTRODUCTION AND
                             SUMMARY OF ARGUMENT
                      On June 15, 2012, then-Secretary of Homeland
                Security (“DHS”) Janet Napolitano issued a
                memorandum establishing the DACA program.3
                Under DACA, individuals who were brought to the
                United States as children and meet specific criteria
                may request deferred action for a period of two years,
                subject to renewal. DACA designees must undergo
                rigorous screening, including biometric screening and
                criminal background checks, in order to be eligible for
                the program. In establishing DACA, DHS recognized
                that there are “certain young people who were
                brought to this country as children and know only this
                country as home[,]” and that federal immigration
                laws are not “designed to remove productive young
                people to countries where they may not have lived or
                even speak the language.” DACA Memo. at 1-2. The

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                3 Memorandum from Janet Napolitano, Sec’y of Homeland Sec.

                to David V. Aguilar et al. (June 15, 2012)
                https://www.dhs.gov/sites/default/files/publications/s1-
                exercising-prosecutorial-discretion-individuals-who-came-to-us-
                as-children.pdf [hereinafter DACA Memo].




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                program has allowed nearly 700,000 young people,
                mostly Latinos and persons of Mexican heritage, to
                come out of the shadows, study and work without fear
                of removal.
                       On September 5, 2017, DHS abruptly
                rescinded DACA by announcing that it would cease to
                accept new applications. It also announced it would
                only issue renewals for grantees whose deferrals
                expire before March 5, 2018, and only if they applied
                for renewal within one month of DHS’s
                announcement.4      Respondents     challenged     the
                rescission of DACA under the Administrative
                Procedure Act (APA), 5 U.S.C. § 551 et seq., and on
                constitutional grounds. The district courts for the
                Northern District of California and Eastern District
                of New York denied in relevant part the Government’s
                motion to dismiss Respondents’ APA and
                constitutional claims, and those courts granted
                Respondents’ motions for a preliminary injunction
                based on their APA claims.5 In addition, the District
                of Columbia district court denied in relevant part the
                Government’s motion for summary judgment and
                vacated the rescission of DACA.6


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                4 See Memorandum from Att’y Gen. Sessions to Acting DHS

                Sec’y Duke (Sept. 5, 2017)
                (https://www.dhs.gov/sites/default/files/publications/17_0904_D
                OJ_AG-letter-DACA.pdf) [hereinafter DACA Rescission Memo].
                5 See Regents of Univ. of Calif. v. U.S. Dep’t of Homeland Sec.,

                298 F. Supp. 3d 1304 (N.D. Cal. 2018); Batalla Vidal v. Nielsen,
                291 F. Supp. 3d 260 (E.D.N.Y. 2018); Regents of Univ. of Calif. v.
                U.S. Dep’t of Homeland Sec., 279 F. Supp. 3d 1011 (N.D. Cal.
                2018); Batalla Vidal v. Nielsen, 279 F. Supp. 3d 401 (E.D.N.Y.
                2018).
                6 See Trump v. NAACP, 298 F. Supp. 3d 209 (D.D.C. 2018).




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                        Subsequently, the Ninth Circuit affirmed the
                California district court’s decision on the motion to
                dismiss and the preliminary injunction on APA
                grounds. Regents of the Univ. of Calif. v. U.S. Dep’t of
                Homeland Sec., 908 F.3d 476 (9th Cir. 2018). In a
                concurrence, Judge Owens explained that he would
                have held the APA claim to be not judicially
                reviewable, but that he would have remanded for
                consideration of whether the Plaintiffs’ equal
                protection claim would support a preliminary
                injunction, noting that the claim appeared
                “promising” based on the Plaintiffs’ allegations. Id. at
                523-24 (Owens, J., concurring).
                        This Court granted certiorari on the questions
                of: (1) whether the DHS’s decision to terminate DACA
                is judicially reviewable; and if so (2) whether the
                decision to terminate DACA is lawful. Dep’t of
                Homeland Security v. Regents of the Univ. of Calif.
                (2019) (Nos. 18-587, 18-588, and 18-589).
                        For the reasons stated by Respondents, the
                district courts correctly granted preliminary
                injunctions under the APA. Because those injunctions
                are supported by statutory grounds, this Court need
                not reach Respondents’ constitutional claims. See,
                e.g., United States v. Locke, 471 U.S. 84, 92 (1985).
                Nevertheless, because the Government has sought to
                limit judicial review of its racially discriminatory
                treatment of non-citizen U.S. residents, a response
                from amici is in order.
                        The Government contends this case involves a
                “discriminatory-enforcement claim,” which it claims
                is “not cognizable in the immigration context.” Pet’rs’
                Aug. 19, 2019 Br. at 53 [hereinafter Pet’rs’ Br.]. Thus,
                according to the Government, the Administration’s




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                decision to rescind a program that protects from
                removal 700,000 persons brought to the United States
                as children is not subject to judicial scrutiny even if
                the rescission was motivated by racial animus. That
                is a breathtaking argument. It would mean the
                Article III courts could not review DACA’s rescission
                even if the Administration formally stated that the
                rescission was motivated by a desire to remove as
                many Latinos as possible from our country. Nor could
                the courts review an official federal policy to deport
                only non-citizens of color.
                       That is not, and cannot be, the law. The Fifth
                Amendment protects all persons living in the United
                States. If the equal protection component of that
                Amendment means anything, it means that racial
                discrimination must not infect federal policy
                judgments about whether to deport hundreds of
                thousands of individuals who came to the United
                States as children. And, as LDF pointed out over 30
                years ago in Jean, and as this Court has recognized in
                other contexts, the harms from state-sponsored racial
                discrimination “extend[] beyond the direct victims” of
                the discrimination.7 Such discrimination “corrupt[s]
                our governmental institutions, stigmatize[s] all
                members of the disfavored group and incite[s] further
                discrimination.” Id. If unchecked by the courts, such
                discrimination will also undermine public confidence
                in the courts as neutral arbiters of the rule of law.
                       The Government insists that, even if this claim
                is reviewable, Respondents have not stated an equal
                protection claim. In the Government’s view, this
                Court should ignore the facts that over ninety percent
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                7 See Brief of Amicus Curiae NAACP Legal Defense and

                Educational Fund, Inc., supra note 2, at *9.




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                of DACA’s beneficiaries are Latino—the vast majority
                of whom are of Mexican heritage—and that the
                President has repeatedly made statements evincing
                his animus against Mexican and Latino immigrants.
                But this Court’s precedent does not authorize the
                Government to disregard facts because they are
                detrimental. Instead, the President’s alarming
                statements evincing animus against Latino
                immigrants and other immigrants of color; the
                influence he exerts over the members in his cabinet;
                the fact that the vast majority of DACA’s beneficiaries
                are Latino; and the unusual procedures employed by
                the Administration in rescinding DACA, all support
                an inference that the Administration’s rescission of
                DACA was motivated, at least in part, by racial
                discrimination. Therefore, to the degree this Court
                reaches the issue, it should recognize that
                Respondents’ equal protection claims are “promising,”
                as Judge Owens recognized. They are certainly
                plausible claims, the assertion of which was sufficient
                to defeat the Government’s motion to dismiss.
                                       ARGUMENT
                I. Respondents’       Intentional      Racial
                    Discrimination Claim is Cognizable.
                       The United States has taken the position that
                Respondents’ equal protection challenge to the
                rescission of DACA is “not cognizable.”8 In essence,
                the Government argues that the Administration’s
                policy change, the impact of which falls almost
                completely on Latinos and individuals of Mexican
                heritage, cannot be reviewed by the judiciary for
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                8 Pet’rs’ Br. at 53.




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                discriminatory intent. That argument runs contrary
                to our most fundamental constitutional principles and
                to the rule of law itself. No principle is more sacred to
                our democracy than the prohibition on racial
                discrimination in federal government policy. See City
                of Richmond v. J.A. Croson Co. 488 U.S. 469, 501
                (1989) (citation omitted). The courts are tasked with
                ensuring that state-sponsored discriminatory policies
                are not allowed to stand.
                       The Government attempts to create a category
                of cases that would be immune from equal protection
                review by courts: challenges to immigration policies.
                This has never been true. It is well established that
                equal protection “provisions are universal in their
                application, to all persons within the territorial
                jurisdiction, without regard to any differences of race,
                of color, or of nationality.” Yick Wo v. Hopkins, 118
                U.S. 356, 369 (1886). The country’s extensive history
                of racial classifications suggests that judicial
                deference to executive policies is not compatible with
                the constitutional promise of equal protection. See
                Korematsu v. United States 323 U.S. 214, 235-40
                (1944) (Murphy, J., dissenting).
                       Though the executive has broad discretion in
                implementing immigration policy, that discretion is
                not so broad to allow the executive to engage in that
                which is “odious in all aspects,” Rose v. Mitchell, 443
                U.S. 545, 555 (1979), i.e., government-sponsored
                racial discrimination.
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                    A. Respondents’ Equal Protection Claim
                       Challenges a General Policy Decision,
                       Which Should Be Reviewed Under the
                       Arlington Heights Framework.
                       The Government argues that Respondents’
                equal protection challenge is, in actuality, a selective-
                prosecution claim, and the race discrimination
                alleged by Respondents is not sufficiently
                “outrageous” to warrant review under the selective-
                prosecution standard. See Pet’rs’ Br. at 54. As each
                lower court to address the issue found, this argument
                is without merit. First, Respondents do not raise a
                selective-enforcement claim subject to a higher
                pleading standard, but instead raise an equal
                protection challenge to the executive’s policy
                judgment about how to apply the nation’s
                immigration laws, which should be analyzed under
                the Arlington Heights framework.Second, even if this
                were       a      selective-prosecution       challenge,
                discrimination on the basis of race is the epitome of
                “outrageous” government conduct that presents a
                judicially cognizable claim.
                       The Government’s argument relies on Reno v.
                American-Arab Anti-Discrimination Committee, in
                which this Court stated that selective-enforcement
                claims are rarely viable in the deportation context.
                525 U.S. 471, 488–91 (1999) [hereinafter AADC]. In
                that case, non-citizens claimed that, although they
                had violated the immigration laws, the Government
                had impermissibly targeted and chosen them for
                deportation because of their affiliation with an
                alleged terrorist group. The Court rejected their
                claims, noting that selective-enforcement defenses to




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                deportation proceedings are ill-suited for judicial
                review. See id. at 490–91.
                       Respondents’ challenge to the DACA
                rescission, however, is not raised “as a defense
                against [ ] deportation” and is not a claim of “selective
                enforcement.” Id. Further, as Respondents note, some
                of the plaintiffs in this case are states, and their
                claims plainly do not implicate selective enforcement
                principles. Br. of New York, et al. at 56. Therefore,
                the necessary predicate for the application of AADC’s
                heightened standard is not applicable, and its
                concerns about “invad[ing] a special province of the
                Executive” do not apply. Id. at 489.
                       Respondent’s equal protection allegation is a
                freestanding claim that the Administration,
                motivated by race discrimination, made a sweeping
                policy decision to rescind protections to all
                approximately 700,000 immigrants brought here as
                children. It is not a challenge to a case-by-case
                decision made by DHS as to which immigrants should
                have their cases prosecuted and which should not, but
                a challenge that the Government has made a
                fundamental policy judgment about how to apply our
                nation’s immigration laws in a manner infected by
                racial discrimination. In short, the “substantial
                concerns that make the courts properly hesitant to
                examine” individual prosecutorial decisions do not
                obtain here. Id. at 490 (quoting Wayte v. United
                States, 470 U.S. 598, 607-08 (1985)).
                       Indeed, key factors the AADC Court identified
                as making courts hesitant to review selective-
                prosecution claims have no application when, as here,
                the challenge is to a categorical (and public)
                government policy decision as to how to apply our




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                immigration laws. See id. (referring to the “strength
                of the case,” the “prosecution’s general deterrence
                value,” potentially “revealing the Government’s
                enforcement policy,” and the risk of chilling law
                enforcement by subjecting a prosecutor’s motives to
                outside inquiry, as reasons why courts should be
                hesitant in reviewing selective-enforcement claims).
                        The Government’s argument that this is a case
                of prosecutorial “discretion” fails on the plain
                meaning of that word. Under the DACA policy
                “‘discretion’ was exercised favorably in all cases of a
                certain kind and then, after repeal of the regulation,
                unfavorably in each such case.” U.S. ex rel Parco v.
                Morris, 426 F. Supp. 976, 984 (E.D. Pa 1977). This is
                not discretion; it is a policy concerning a category of
                people. The DACA rescission may eventually lead to
                the prosecution and removal of undocumented
                immigrants, who may challenge the decision to
                prosecute their case in lieu of others, but that day is
                not today. Today, Respondents are challenging
                whether the Administration’s categorical decision to
                end a nationwide immigration program was
                motivated by race discrimination.
                        The Government also makes the half-hearted
                suggestion      that     judicial   review     of    the
                Administration’s discriminatory rescission of DACA
                would “‘[impact] foreign relations.’” Pet’rs’ Br. at 54
                (citation omitted). But the Government has never
                explained what “foreign relations” interest is
                implicated by judicial review of Respondents’ claim
                that the rescission of DACA was motivated by racial
                discrimination.      In    rescinding     DACA,      the
                Administration made no mention of foreign relations
                as a basis for its decision. Notably, this case does not




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                involve decisions about foreign nationals entering the
                United States; indeed, the only beneficiaries of DACA
                are longstanding residents of this country who have a
                Fifth Amendment right not to be subject to racial
                discrimination by the federal government.
                       Each lower court correctly rejected the
                Government’s attempt to import AADC’s heightened
                selective prosecution standard to the DACA
                rescission.9 As one court explained, “Plaintiffs’ claims
                cannot fairly be characterized as selective-
                prosecution claims because they do not ‘implicate the
                Attorney General’s prosecutorial discretion—that is,
                in this context, his discretion to choose to deport one
                person rather than another among those who are
                illegally in this country.’” Regents of the Univ. of Calif.
                v. U.S. Dep’t of Homeland Sec., 298 F. Supp. 3d 1304,
                1314 n.3 (N.D. Cal. 2018) (quoting Kwai Fun Wong v.
                United States, 373 F.3d 952, 970 (9th Cir. 2004)).
                Rather, Respondents “allege[d] that the agency’s
                decision to end a nationwide deferred action program
                was motivated by racial animus towards a protected
                class[,]” an allegation subject to review under the
                traditional Arlington Heights framework. Id.

                    B. Respondents’ Claim of Intentional
                       Racial  Discrimination   Meets    the
                       “Outrageous” Requirement of AADC.
                       Even if this were a selective prosecution case
                (and it is not), that would not end the Court’s inquiry.

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                9 Batalla Vidal v. Nielsen, 291 F. Supp. 3d 260 (E.D.N.Y. 2018);

                CASA de Maryland v. U.S. Dep’t of Homeland Sec., 284 F. Supp.
                3d 758 (D. Md. 2018); and Regents of the Univ. of Calif. v. U.S.
                Dep’t of Homeland Sec., 298 F. Supp. 3d 1304 (N.D. Cal. 2018).




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                AADC does not support the Government’s broad
                assertion that Respondents’ claims are “not
                cognizable” if they are deemed a selective-
                enforcement challenge. Pet’rs’ Br. at 53.
                       The Court in AADC stated that in many cases
                “deportation is sought simply because the time of
                permitted residence in this country has expired . . .”
                and held that the government “does not offend the
                Constitution by deporting [a non-citizen] for the
                additional reason that it believes him to be a member
                of an organization that supports terrorist activity.”
                AADC, 525 U.S. at 491-92. Yet, the Court left open
                “the possibility of a rare case in which the alleged
                basis of discrimination is so outrageous” that a
                selective-enforcement claim could be maintained. Id.
                at 491.
                       In addressing the selective-enforcement claim
                in AADC, this Court drew heavily on its prior case law
                analyzing selective-prosecution claims in the criminal
                law context. And, in that context, this Court has
                expressly recognized that a “prosecutor’s discretion is
                subject to constitutional constraints.” United States v.
                Armstrong, 517 U.S. 456, 464 (1996) (internal
                quotation marks omitted). A prosecutor’s discretion
                may not be “based on an unjustifiable standard such
                as race, religion, or other arbitrary classification.” Id.
                (internal quotation marks omitted); see also Rajah v.
                Mukasey, 544 F.3d 427, 437 (2d Cir. 2008) (stating if
                immigration laws were selectively enforced against
                petitioners because of their religion, ethnicity,
                gender, and race, “selective prosecution based on an
                animus of that kind would call for some remedy”)
                (internal citation removed).




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                       Racial animus represents the paradigmatic
                example of “outrageous” discrimination that requires
                judicial review even under AADC. Indeed, this Court
                has used that very term to describe racially motivated
                prosecutions. See City of Greenwood v. Peacock, 384
                U.S. 808, 828 (1966) (“If, as they allege, [petitioners]
                are being prosecuted on baseless charges solely
                because of their race, then there has been an
                outrageous denial of their federal rights, and the
                federal courts are far from powerless to redress the
                wrongs done to them.”). As this Court has long
                recognized, “[d]iscrimination on the basis of race [is]
                odious in all aspects,” and “was the primary evil” at
                which the Reconstruction Amendments, including the
                Equal Protection Clause, “were aimed.” Rose, 443
                U.S. at 554, 555. The Fifth Amendment’s due process
                clause means the same principles prohibiting racial
                discrimination by state officials apply to the federal
                government. Bolling v. Sharpe, 347 U.S. 497, 499-50
                (1955). Indeed, “it would be unthinkable that the
                same Constitution would impose a lesser duty on the
                Federal Government” not to engage in racial
                discrimination. Id. at 500.
                       Further, as LDF pointed out in Jean v. Nelson,
                the harms from official acts of racial discrimination
                extend beyond the direct victims of that
                discrimination. State-sponsored discrimination on
                the basis of race or ethnicity “corrupt[s] our
                governmental institutions, stigmatize[s] all members
                of the disfavored group and incite[s] further
                discrimination.”10 As Justice Harlan recognized long
                ago, racially discriminatory government policies send
                                           
                10 See Brief of Amicus Curiae NAACP Legal Defense and

                Educational Fund, Inc., supra note 2, at *9.




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                a message that people of color “are . . . inferior and
                degraded” so as to justify the discrimination. Plessy v.
                Ferguson, 163 U.S. at 560 (Harlan, J., dissenting). If
                left unchecked by the courts, such discriminatory
                policies consign people of color to an inferior status
                and reinforce racist ideas about them. See also Miller-
                El v. Dretke, 545 U.S. 231, 237-8 (recognizing that,
                when a prosecutor discriminates against prospective
                jurors on the basis of race, the harm is not only to the
                excluded juror or the defendant; rather, people of
                color “are harmed more generally, for prosecutors
                drawing racial lines in picking juries establish ‘state-
                sponsored group stereotypes rooted in, and reflective
                of, historical prejudice[.]’”) (citation omitted). Thus,
                when the Government is motivated by racial
                discrimination in publicly canceling a program that
                protects hundreds of thousands of people from
                removal, it sends an unmistakable message of racial
                hierarchy to society as a whole.
                       That message of racial hierarchy has particular
                resonance given the overt racism that has long
                plagued our nation’s immigration and naturalization
                laws. In 1790, the country’s first immigration law
                restricted the ability to become naturalized citizens to
                “free white person[s].”11 It was not until 1870 that
                Black people were permitted to naturalize as citizens,
                despite having been brought to the United States as
                slaves beginning in 1619.12 The notorious Chinese
                Exclusion Act of 1882 forbade people of Chinese
                                                
                11 Act of Mar. 26, 1790, ch. 3, § 1, 1 Stat. 103, 103 (repealed by

                act of Jan. 29, 1795, ch. 20; however, this act also limited the
                ability to be naturalized as a citizen to “free white person[s]).
                12 Act of July 14, 1870, ch. 254, §7, 16 Stat. 254, 256.

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                heritage from entering the country entirely,13 and the
                Immigration Act of 1917 expanded that prohibition to
                encompass immigrants from most of Asia.14 In the
                notorious Chinese Exclusion Cases, this Court
                sanctioned such blatant discrimination, holding that
                no court could review the federal government’s
                determinations that “foreigners of a different race in
                this country” were “dangerous” and would not
                “assimilate with us” (the “us” clearly referring to
                white Americans).15
                       Plaintiffs allege the rescission of DACA is
                grounded in the same kind of bigotry that long
                characterized our immigration and naturalization
                laws. Such allegations are entitled to judicial review.
                This is particularly true here, because DACA
                recipients have a substantial interest in not being
                deported and maintaining their DACA protections,
                and because the Government’s interests are “less
                pronounced than in AADC,” given it has not alleged
                any threat to safety and security considerations. See
                Ragbir v. Homan, 923 F.3d 53, 73 (2d Cir. 2019)
                (noting factors that support a claim of “outrageous”
                discrimination).
                       By contrast, the Government’s sweeping
                interpretation of AADC would prohibit a court from
                reviewing an executive branch decision relating to
                immigration, even if that decision displayed blatant
                race discrimination. For example, under the
                Government’s view, even if the Administration were
                to create a policy prioritizing the deportation of Black
                                               
                13 Act of May 6, 1882 (Chinese Exclusion Act), ch. 126, 22 Stat.

                58.
                14 Ch. 29, § 3, 39 Stat. 874, 875-76 (repealed 1952).
                15 See Chae Chan Ping v. United States, 130 U.S. 581, 606 (1889).




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                non-citizens based solely on their race, that decision
                would not be reviewable by any court. But cf. Nino v.
                Johhnson, No. 16-CV-2876, 2016 WL 6995563, at *5
                (N.D. Ill. Nov. 30, 2016) (citing LaGuerre v. Reno, 164
                F.3d 1035, 1040 (7th Cir. 1998) (“Suppose the [Board
                of Immigration Appeals] ordered an alien deported on
                the basis of a criminal conviction that it knew had
                been vacated, but it didn’t care because the alien was
                black. We have expressed doubt that Congress
                intended to forbid such orders to be challenged in
                court”)).
                    The Government’s position is at war with the
                plain text of the Fifth Amendment, and the basic
                principles of the rule of law that underlie our
                constitutional democracy. It must be rejected, and
                forcefully so.

                II. The Lower Courts Correctly Concluded that
                     Respondents Plausibly Alleged an Equal
                     Protection Claim Under Arlington Heights.
                       The lower courts correctly held that
                Respondents plausibly alleged that the rescission of
                DACA violated the equal protection component of the
                Fifth Amendment’s Due Process Clause. See Regents
                of the Univ. of Calif. v. U.S. Dep’t of Homeland Sec.,
                908 F.3d 476 (9th Cir. 2018); Regents of Univ. of Calif.
                v. U.S. Dep’t of Homeland Sec., 298 F. Supp. 3d 1304
                (N.D. Cal. 2018); Batalla Vidal v. Nielsen, 291 F.
                Supp. 3d 260 (E.D.N.Y. 2018). In the Ninth Circuit
                decision, Judge Owens wrote a concurrence
                recognizing that Respondents’ allegations of
                unconstitutional      race     discrimination     were
                “promising” and would likely succeed on remand if the
                Government failed to rebut the presumption of




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                unconstitutional animus. Regents, 908 at 523-24
                (Owens, J., concurring). The Ninth Circuit majority
                noted that it “[did] not disagree” with this
                assessment, stating Respondents’ equal protection
                claim was an alternative ground for affirming the
                injunction. Id. at 520, n.31.
                       In holding Respondents plausibly alleged equal
                protection claims, these courts, applying the
                Arlington Heights16 framework, relied on three key
                factors. Those factors strongly support an inference
                that the rescission of DACA was motivated, at least
                in part, by racial discrimination.
                    A. The Factors Supporting an Inference of
                       Discrimination.
                       First, the lower courts emphasized that
                rescission of DACA would disproportionately impact
                Latinos and individuals of Mexican heritage. See
                Regents, 908 F.3d at 518-19; Regents, 298 F. Supp. 3d
                at 1314; Batalla, 291 F. Supp. 3d at 274-75. Indeed,
                Latinos account for at least 93 percent of DACA
                recipients. Regents, 908 F.3d at 518.
                       Second, the courts highlighted Respondents’
                allegations that before and after the election, the
                President made statements evincing animus towards
                Latinos and persons of Mexican ancestry. See
                Regents, 908 F.3d at 518-19; Regents, 298 F. Supp. 3d
                at 1314; Batalla, 291 F. Supp. 3d at 276. For example,
                the President called Mexican immigrants “criminals,
                drug dealers, and rapists”; the President derided
                people who protested at one of his rallies as “thugs
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                16 Vill. of Arlington Heights v. Metro. Hous. Dev. Corp., 429 U.S.

                252 (1977).
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                who were flying the Mexican flag”;17 the President
                stated a federal judge of Mexican descent could not
                fairly preside over a lawsuit in which he was a party
                because “[h]e’s a Mexican” despite the fact that the
                judge is American18; and the President has repeatedly
                labeled Latino immigrants “criminals, ‘animals,’ and
                ‘bad hombres.’” Batalla, 291 F. Supp. 3d at 276
                (citation omitted).
                        Indeed, beyond these examples, President
                Trump has repeatedly stated a preference for white
                immigrants over immigrants of color. In August 2016,
                then-candidate Trump expressed his desire to return
                to the 1924 quota system to maintain “historical
                norms.”19 The 1924 system was, in the words of its
                proponent, then-Senator Reed of Pennsylvania, “a
                scientific plan for keeping America American,”20 by
                sharply limiting non-white immigration.21 As
                                          
                17 David Sherfinski, Donald Trump: Protesters outside rally

                'thugs who were flying the Mexican flag,' Wash. Times (May 25,
                2016),
                https://www.washingtontimes.com/news/2016/may/25/trump-
                protesters-rally-thugs-waving-mexican-flag/.
                18 See Z. Byron Wolf, Trump’s attacks on Judge Curiel are still

                jarring       to     read,     CNN       (Feb.      27,      2017),
                https://www.cnn.com/2018/02/27/politics/judge-curiel-trump-
                border-wall/index.html (providing an excerpt of the President’s
                interview during which he made the remark).
                19 See, e.g., Jugal K. Patel, Trump Wants Big Changes to Legal

                Immigration, Too — How Big?, NY Times (Oct. 18, 2016),
                https://www.nytimes.com/interactive/2016/10/18/us/politics/tru
                mp-legal-immigration.html.
                20 A. Warner Parker, The Quota Provisions of the Immigration

                Act of 1924, 18 AM. J. INT’L L. 737, 740 (1924).
                21 See Immigration Act of 1924, ch. 190, § 11(a), 43 Stat. 153, 159

                (repealed 1952) (tying immigration quotas to the total number of
                people of each nationality in the United States as of the 1890
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                President, upon learning that 15,000 Haitians and
                40,000 Nigerians had received visas to enter the
                United States, Mr. Trump reportedly exclaimed that
                Haitians “all have AIDS,” and that, upon seeing the
                United States, Nigerians would never return to their
                “huts” in Africa.22 Then, during a meeting with
                several U.S. Senators, the President disparaged a
                draft immigration plan that protected people from
                Haiti, El Salvador, and some African countries,
                asking, “Why are we having all these people from
                shithole countries come here?”23 At the same meeting,
                President Trump expressed his preference for more
                immigrants from places like Norway.24The President
                has even gone so far as to suggest that members of
                Congress who are women of color are not real
                Americans. In August of 2019, at a public rally,
                President Trump said that four United States
                congresswomen of color could “go back” to the
                countries “from which they came,” despite the fact
                that all four women are (of course) U.S. citizens.25 
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                census, thereby sharply limiting quotas for non-white
                immigrants).
                22 Michael Shear, Stoking Fears, Trump Defied Bureaucracy to

                Advance Immigration Agenda, NY Times (Dec. 23, 2017),
                https://www.nytimes.com/2017/12/23/us/politics/trump-
                immigration.html.
                23 Josh Dawsey, Trump derides protections for immigrants from

                ‘shithole’   countries,  Wash.     Post   (Jan.    12,   2018),
                https://www.washingtonpost.com/politics/trump-attacks-
                protections-for-immigrants-from-shithole-countries-in-oval-
                office-meeting/2018/01/11/bfc0725c-f711-11e7-91af-
                31ac729add94_story.html?utm_term=.b56f11cc896f.
                24 Id.
                25 Bianca Quilantan & David Cohen, Trump tells Dem

                congresswomen: Go back where you came from, POLITICO (July
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                        The Trump Administration’s policies are
                consistent with the President’s persistent rhetoric
                employing odious stereotypes to describe immigrants
                of color, and the countries from which they emigrated,
                and questioning the citizenship of non-white public
                officials. In addition to rescinding DACA, the
                Administration rescinded Temporary Protected
                Status (“TPS”)—which provides legal status for
                nationals from other countries to remain in the
                United States as a result of natural disasters, war, or
                other extraordinary conditions in their home
                countries—for nationals of El Salvador, Haiti,
                Nicaragua, Sudan, Nepal and Honduras. As several
                courts have recognized, plaintiffs challenging these
                TPS rescissions have plausibly alleged that the
                Administration       was      motivated   by     racial
                discrimination.26 In one of those cases, after a 4-day
                bench trial, the district court granted a preliminary
                injunction and observed the following with respect to
                the rescission of Haitian TPS:

                       As President John Adams once observed,
                       “Facts are stubborn things; and
                                               
                14,               2019,                09:15                AM),
                https://www.politico.com/story/2019/07/14/trump-congress-go-
                back-where-they-came-from-1415692.
                26 Ramos v. Nielsen, 336 F. Supp. 3d 1075, 1098 (N.D. Cal. 2018)

                (TPS plaintiffs plausibly stated claim that terminations were
                motivated by racial animus); Saget v. Trump, 345 F. Supp. 3d
                287, 303 (E.D.N.Y. 2018) (same); Centro Presente v. U.S. Dep’t of
                Homeland Sec., 332 F. Supp. 3d 393, 413 (D. Mass. 2018) (same);
                CASA de Maryland, Inc. v. Trump, 355 F. Supp. 3d 307, 326 (D.
                Md. 2018) (same); Nat’l Ass’n for the Advancement of
                Colored People v. U.S. Dep’t of Homeland Sec., 364 F. Supp. 3d
                568, 578 (D. Md. 2019) (same).




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                       whatever may be our wishes, our
                       inclinations, or the dictates of our
                       passion, they cannot alter the state of
                       facts and evidence.” Based on the facts
                       on this record, and under the factors
                       prescribed by Arlington Heights, there is
                       both direct and circumstantial evidence
                       [that] a discriminatory purpose of
                       removing non-white immigrants from
                       the United States was a motivating
                       factor behind the decision to terminate
                       TPS for Haiti.

                Saget v. Trump, 375 F. Supp. 3d 280, 374 (E.D.N.Y.
                2019).
                        The Administration has also implemented
                widely condemned family separation policies that
                resulted in thousands of children of tender age—
                many of them babies and toddlers—being forcibly
                removed from their parents and held in detention
                centers, where conditions have been described by
                official observers as “unsanitary” and “dangerous[ly]
                overcrowd[ed].”27 The immigrants affected by these
                policies are overwhelmingly from Mexico and Central
                American countries, and the Administration has
                unapologetically admitted that these policies were
                designed to deter these families from seeking refuge



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                27 Madeline Joung, What Is Happening at Migrant Detention

                Centers?       Here’s     What      to     Know,       TIME,
                https://time.com/5623148/migrant-detention-centers-conditions/
                (last updated July 12, 2019).
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                in the United States.28 In sum, the statements
                pointed to by the courts below represent only a portion
                of the President’s statements expressing animus
                against immigrants of color, and his Administration
                has implemented a variety of policies reflecting that
                animus.
                       Third, the lower courts pointed to the “unusual
                history” leading up to the Government’s decision to
                rescind DACA. See Regents, 908 F.3d at 519; Regents,
                298 F. Supp. 3d at 1315. Namely, “DACA received
                reaffirmation by [the Department of Homeland
                Security] as recently as three months before the
                rescission, only to be hurriedly cast aside on what
                seems to have been a contrived excuse (its purported
                illegality).” Regents, 908 F.3d at 519 (quotation marks
                omitted).
                       These facts together strongly support an
                inference that the Trump Administration’s rescission
                of DACA violated the Fifth Amendment because it
                was motivated, at least in part, by racial
                discrimination against non-white immigrants.

                     B. The Government Cannot Rely on Ipse
                        Dixit to Defeat an Inference of
                        Discrimination.
                       The Government challenges the lower courts’
                rulings on three grounds. See Pet’rs’ Br. at 52-57.
                First, it tries to diminish the import of the disparate
                impact that the rescission of DACA has on Latinos
                and persons of Mexican heritage by arguing that

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                28 See Memo. for Federal Prosecutors Along the Southwest
                Border from the Att’y Gen. Sessions to Fed. Prosecutors Along
                the Sw. Border (Apr. 6, 2018) (https://perma.cc/H5JB-LFG9).




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                “given the United States’ natural immigration
                patterns, the disparate impact of the rescission of
                DACA is neither surprising nor illuminating of the
                agency’s motives.” Id. at 54-55.
                       This argument defies both logic and precedent.
                Disparities do not become less significant because
                they mostly affect minorities. On the contrary,
                “particularly . . . in the case of governmental action,”
                gross disparities such as those here are powerful
                evidence of discrimination because “normally [an]
                actor is presumed to have intended the natural
                consequences of his deeds.” Washington v. Davis, 426
                U.S. 229, 253 (1976) (Stevens, J., concurring). That
                the Government could predict the rescission of DACA
                would overwhelmingly impact Latinos and persons of
                Mexican heritage bolsters the plausibility of
                Respondents’ intentional discrimination claims—
                there was no question about which groups of
                immigrants the Government’s actions would affect.
                       Next, the Government avers that the
                President’s discriminatory “statements are equally
                irrelevant.” Pet’rs’ Br. at 55. This is so, claims the
                Government, because “the relevant decisionmakers
                were Duke and Nielsen [Secretaries of Homeland
                Security].” Id. It goes on to assert that the President’s
                statements do not “even address[] DACA recipients,”
                save for one that “reveals nothing more than the
                obvious fact that DACA has been an important part
                of legislative negotiations on immigration reform”—
                the President’s tweet that “[t]he Democrats have been
                told, and fully understand, that there can be no DACA
                without the desperately needed WALL at the
                Southern Border.” Id. The Government then suggests
                that the President’s statements of animus against




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                immigrants of color do not matter because he “has
                repeatedly praised DACA recipients and urged
                Congress to ‘legalize’ their protection.” Id. (citation
                omitted).
                        The Government’s arguments collapse in on
                themselves. The Government in one breath says that
                the President was not the “relevant decisionmaker,”
                and then in the next admits that he was leveraging
                the rescission of DACA as “part of legislative
                negotiations.” The President has been very clear that
                he would end DACA if Congress did not accede to his
                demand to build a wall on the Southern Border,
                tweeting: “The Democrats have been told, and fully
                understand, that there can be no DACA without the
                desperately needed WALL at the Southern Border . .
                . .” Regents, 908 F.3d at 519 n.30. And in the face of
                evidence that the President was using DACA as a
                bargaining chip, it is certainly plausible that the
                President was the relevant decisionmaker.
                        In fact, the President’s tweets, which are his
                official statements,29 alleviate any doubt. On the
                morning of September 5, 2017, the very same day
                                               
                29 See, e.g., Def.’s Suppl. Submission and Further Resp. to Pl.’s

                Post-Briefing Notices, James Madison Project v. Dep’t of Justice,
                No. 1:17-cv-00144-APM, (D.D.C. Nov. 13, 2017) (DOJ noting that
                the Government is treating the President’s tweets “as official
                statements of the President of the United States”); Elizabeth
                Landers, White House: Trump’s Tweets are ‘Official Statements’,
                CNN                 (June               6,                2017),
                https://www.cnn.com/2017/06/06/politics/trump-tweets-official-
                statements/index.html (recounting the White House Press
                Secretary’s announcing during a press briefing that the
                President’s tweets are “considered official statements by the
                President of the United States”).
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                DHS released its memorandum rescinding DACA,30
                the President tweeted: “Congress, get ready to do your
                job – DACA!”31 And the next day, after the
                Administration announced that it was rescinding
                DACA, the President tweeted he would “revisit this
                issue” if Congress did not act to legalize DACA within
                six months.32 These tweets reveal that the President
                was a driving force behind the rescission decision.
                       More generally, a president has immense
                influence over his cabinet. See Humphrey’s Executor
                v. United States, 295 U.S. 602 (1935). And this
                President is widely known to wield particularly great
                influence over his cabinet.33 Thus, President Trump’s
                                               
                30 DACA Rescission Memo.
                31 Mallory Shelbourne, Trump to Congress: ‘Get ready to do your

                job”     on     DACA,      The     Hill     (Sept.  5,    2017),
                https://thehill.com/homenews/administration/349173-trump-to-
                congress-get-ready-to-do-your-job-on-daca.
                32 Sophie Tatum, Trump: I’ll ‘revisit’ DACA if Congress can’t fix

                in                 6                months,                CNN,
                https://www.cnn.com/2017/09/05/politics/donald-trump-revisit-
                daca/index.html (last updated Sept. 6, 2017).
                33 For example, in Saget, the court found the President “exerted

                significant influence over [the Secretary of Homeland Security’s]
                TPS decision.” 375 F. Supp. 3d at 360. It is reported that the
                President also influenced the Department of Homeland
                Security’s decision to implement a family separation policy. See
                Zack Budryk, Trump’s renewed push for family separations led
                to Nielsen’s ouster: report, The Hill (Apr. 8, 2019),
                https://thehill.com/latino/437830-trump-has-pushed-to-resume-
                child-separations-for-months-report. And a more recent
                example, after the National Weather Service contradicted the
                President’s statement about Hurricane Dorian, the Secretary of
                Commerce reportedly threatened to fire the heads of the
                National Oceanic and Atmospheric Administration (NOAA),
                which led NOAA to disavow the earlier statement. See
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                stated animus towards Latinos and Mexican
                nationals is highly relevant and supports
                Respondents’ intentional discrimination claims. See
                generally McCreary County v. ACLU of Ky., 545 U.S.
                844, 846 (2005) (a court cannot “turn a blind eye to
                the context in which [a] policy arose”) (internal
                quotation marks and citation omitted).
                      In any event, the Government’s argument that
                the President was not the “relevant decisionmaker” is
                premature, given Respondents’ allegations that the
                President himself ordered the rescission of DACA. See
                Regents, 298 F. Supp. 3d at 1315; Batalla, 291 F.
                Supp. 3d at 277. At this stage of the proceedings, this
                Court must accept those allegations as true. See
                Erickson v. Pardus, 551 U.S. 89, 94 (2007) (“[W]hen
                ruling on a defendant’s motion to dismiss, a judge
                must accept as true all of the factual allegations
                contained in the complaint.”).


                                               
                Christopher Flavelle, Lisa Friedman, and Peter Baker,
                Commerce Chief Threatened Firings at NOAA after Trump’s
                Dorian      Tweets,       Sources      Say,      NY      Times,
                https://www.nytimes.com/2019/09/09/climate/hurricane-dorian-
                trump-tweet.html (last updated Sept. 10, 2019). See also Karen
                Tumulty, President Trump isn’t a fan of dissent—inside or
                outside the government, Wash. Post (Feb. 1, 2017),
                https://www.washingtonpost.com/politics/president-trump-
                seeks-to-quash-dissent-inside-the-
                government/2017/02/01/788bdefa-e7ed-11e6-b82f-
                687d6e6a3e7c_story.html; Z. Byron Wolf, The kiss of death in
                Trump’s cabinet is disagreeing with the boss, CNN,
                https://www.cnn.com/2018/04/03/politics/trump-cabinet-kiss-of-
                death/index.html (last updated Apr. 3, 2018); Stephen Collinson,
                The law or the President: The Trump appointees’ dilemma, CNN
                (Apr. 9, 2019), https://www.cnn.com/2019/04/09/politics/donald-
                trump-kirstjen-nielsen-immigration/index.html.




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                                                                                   AR5380
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                       The Government’s assertion that the
                President’s remarks “praising” DACA recipients
                somehow neuters his numerous statements evincing
                animus against immigrants of color must be rejected.
                The President only made those “praising” statements
                while asserting the United States needs to build a
                wall across the Southern border to keep people from
                Central America out of the country. And racist
                remarks cannot be cured by feel-good bromides. The
                President cannot meaningfully say he “loves those
                kids,” referring to DACA recipients (when most of
                them are adults), and then label people from the same
                countries the vast majority of DACA recipients come
                from as animals, drug dealers, rapists, and
                murderers. Simply, Respondents’ allegations of the
                President’s animus support the plausibility of their
                intentional discrimination claims.
                       Finally, the Government claims there was
                “nothing remotely ‘unusual’ about the history of the
                rescission” because shortly after DHS reaffirmed
                DACA, “the Texas34 plaintiffs indicated their intent to
                challenge [DACA], and the Attorney General
                informed the Acting Secretary that he had concluded
                that the policy was unlawful . . .” Pet’r’s Br. at 56.35
                The Government claims that these two “facts provide
                                               
                34 Texas v. United States, 96 F. Supp. 3d 591 (S.D. Tex.), aff’d,

                809 F.3d 134 (5th Cir. 2015), aff’d, 136 S. Ct. 2271 (2016).
                35 Attorney General Sessions also said in his remarks

                announcing that the Administration’s stance that DACA was
                illegal that DACA “denied jobs to hundreds of thousands of
                Americans by allowing those same jobs to go to illegal aliens.”
                U.S. Dep't of Justice, Office of Pub. Affairs, Attorney General
                Sessions Delivers Remarks on DACA (Sept. 5, 2017),
                https://www.justice.gov/opa/speech/attorney-general-sessions-
                delivers-remarks-daca.




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                ample explanation for the policy change and its
                timing.” Id. at 57.
                       However, the fact that the Government can
                give reasons for its decision to rescind DACA does not
                mean that the process leading up to that decision was
                not unusual. As the district court reasoned in Regents,
                the speed at which the Government rescinded DACA
                makes these purported justifications appear
                “contrived”: the “strange about-face, done at lightning
                speed, suggests that the normal care and
                considerations within the agency was bypassed.”
                Regents, 298 F. Supp. 3d at 1315. And the speed of
                this decision is extra curious given just how
                momentous it was. Regents, 908 F.3d at 493. The
                Government does not dispute Respondents’
                allegations that the decision to rescind DACA was
                abrupt, and the Government’s justifications for that
                abruptness do not undercut the inference of
                discrimination at the pleadings stage.
                       The Census case recently decided by this Court
                exemplifies why Respondents’ Equal Protection
                Clause claims cannot be dismissed at the pleadings
                stage. In that case, the Secretary of Commerce
                asserted that the Government was seeking to add a
                citizenship question to the census to better enforce
                the Voting Rights Act (VRA). See Dep’t of Commerce
                v. New York, 139 S. Ct. 2551, 2575 (2019). However,
                the evidence told a “story that did not match the
                explanation the Secretary gave for his decision.” Id.
                The evidence revealed that the VRA explanation was
                “contrived” and “pretextual,” because “the Secretary
                began taking steps to reinstate a citizenship question
                about a week into his tenure” with “no hint that he




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                was considering VRA enforcement in connection with
                that project.” Id.
                       Respondents have plausibly alleged the
                Government’s purported rationales for rescinding
                DACA—its illegality and potential litigation—are
                similarly “contrived” and “pretextual.” Id. This
                likelihood is increased when considering the
                disparate impact the rescission had on Latinos and
                individuals of Mexican ancestry, which are groups the
                President has persistently evinced animus towards,
                and the unusual history behind DACA’s rescission.
                Although the validity of Respondents’ allegations
                must ultimately be tested at trial after they have an
                opportunity for discovery, they have easily met their
                burden at the pleading stage. Indeed, as Judge Owens
                recognized, their allegations that the Government’s
                decision to rescind DACA was motivated by racial
                discrimination are “promising,” and suggest an
                alternative basis to uphold the district courts’
                preliminary injunctions.
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                
                                     CONCLUSION
                    This Court should affirm the lower courts’
                decisions preliminarily enjoining the rescission of
                DACA. If the Court reaches Respondents’
                constitutional claims, it should hold that those claims 

                                               Respectfully submitted,


                SHERRILYN A. IFILL             DANIEL HARAWA
                  Director-Counsel               Of Counsel
                JANAI S. NELSON                NAACP LEGAL DEFENSE &
                SAMUEL SPITAL                  EDUCATIONAL FUND, INC.
                NATASHA MERLE*                 700 14th St, NW Suite 600
                RAYMOND AUDAIN                 Washington, DC 20005
                CARA MCCLELLAN
                NAACP LEGAL DEFENSE &          Counsel for Amicus Curiae
                  EDUCATIONAL FUND, INC.       NAACP Legal Defense &
                40 Rector St., 5th Floor       Educational Fund, Inc
                New York, NY 10006
                (212) 965-2200                 October 4, 2019
                nmerle@naacpldf.org

                *Counsel of Record
                 




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                             Nos. 18-587, 18-588, 18-589

                                       In The

                 DEPARTMENT OF HOMELAND SECURITY, ET AL., Petitioners,
                                          v.
                      REGENTS OF THE UNIVERSITY OF CALIFORNIA,
                                 ET AL., Respondents,

                               ON WRIT OF CERTIORARI
                       TO THE UNITED STATES COURT OF APPEALS
                               FOR THE NINTH CIRCUIT

                      AMICI CURIAE BRIEF OF AMERICAN
                 HISTORICAL ASSOCIATION, ORGANIZATION OF
                  AMERICAN HISTORIANS, 42 HISTORIANS, AND
                  THE FRED T. KOREMATSU CENTER FOR LAW
                 AND EQUALITY IN SUPPORT OF RESPONDENTS

                 Robert S. Chang                Pratik A. Shah
                 Lorraine K. Bannai               Counsel of Record
                 Melissa Lee                    Z.W. Julius Chen
                 Jessica Levin                  AKIN GUMP STRAUSS HAUER &
                 FRED T. KOREMATSU CENTER        FELD LLP
                   FOR LAW AND EQUALITY         2001 K Street, NW
                 RONALD A. PETERSON LAW         Washington, DC 20006
                   CLINIC                       (202) 887-4000
                 SEATTLE UNIVERSITY SCHOOL      pshah@akingump.com
                   OF LAW
                                                  Jessica Weisel
                 1112 East Columbia Street
                                                  AKIN GUMP STRAUSS HAUER &
                 Seattle, WA 98122
                                                   FELD LLP
                 (206) 398-4025
                                                  1999 Avenue of the Stars
                                                  Suite 600
                                                  Los Angeles, CA 90067
                                                  (310) 229-1000
                                     Counsel for Amici Curiae
                       Additional Captions Listed on Inside Cover




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                 DONALD J. TRUMP, PRESIDENT OF THE UNITED STATES, ET
                                   AL., Petitioners,
                                          v.
                   NATIONAL ASSOCIATION FOR THE ADVANCEMENT OF
                        COLORED PEOPLE, ET AL., Respondents,

                      ON WRIT OF CERTIORARI BEFORE JUDGMENT
                      TO THE UNITED STATES COURT OF APPEALS
                       FOR THE DISTRICT OF COLUMBIA CIRCUIT

                 KEVIN K. MCALEENAN, ACTING SECRETARY OF HOMELAND
                             SECURITY, ET AL., Petitioners,
                                         v.
                 MARTIN JONATHAN BATALLA VIDAL, ET AL., Respondents,

                      ON WRIT OF CERTIORARI BEFORE JUDGMENT
                      TO THE UNITED STATES COURT OF APPEALS
                              FOR THE SECOND CIRCUIT




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                           INTEREST OF AMICI CURIAE1
                     The American Historical Association (“AHA”) is
                the largest professional organization in the United
                States devoted to the study and promotion of history
                and historical thinking. It is a non-profit membership
                organization, founded in 1884 and incorporated by
                Congress in 1889 for the promotion of historical
                studies. The AHA provides leadership to the discipline
                on such issues as professional standards, academic
                freedom, access to archives, history education, and the
                centrality of history to public culture. In situations
                involving the rights and careers of individual
                historians, historical practice in diverse venues, or the
                role of history in public culture, the AHA has the
                responsibility to take public stands—including
                participation    in    relevant     legal   proceedings.
                Everything has a history; in this particular case, the
                AHA considers it imperative for the Court to be aware
                of the historical context of current efforts to vilify an
                entire racial group.
                     Founded in 1907, the Organization of American
                Historians (“OAH”) is the largest professional society
                dedicated to the teaching and study of American
                history.   Its distinguished Journal of American
                History, annual meetings, and public service activities
                aim to promote excellence in scholarship, teaching,
                and presentation of American history. The OAH is an


                   1 Pursuant to Supreme Court Rule 37.6, amici state that no

                counsel for any party authored this brief, in whole or in part, and
                no person or entity other than amici contributed monetarily to its
                preparation or submission. The parties consent to the filing of
                this brief.
                                               (1)




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                international, non-profit membership organization,
                whose approximately 7,000 historian members include
                university and college professors in the United States
                and abroad, as well as individuals employed in a
                variety of scholarly and institutional settings, such as
                libraries, museums, and historical societies.
                      The late Kenneth M. Stampp, historian and past
                president of OAH, wrote: “With the historian it is an
                article of faith that knowledge of the past is a key to
                understanding the present.” 2 The OAH adheres to
                this principle, and has an interest—not as an advocate
                of a particular legal standard, but as a steward of
                history—in ensuring that the Court is presented with
                an accurate description of the way that discrimination
                against immigrant groups initially relied upon racially
                explicit attacks, but has more recently relied upon
                coded language. The OAH occasionally submits
                amicus briefs that discuss the history of
                discrimination against certain groups. See, e.g.,
                Obergefell v. Hodges, 135 S. Ct. 2584, 2596 (2015)
                (citing Br. for Org. of Am. Historians as Amicus Curiae
                5-28).
                     The 42 individual amici are academics trained in
                the field of history who study, teach, and write about
                United States history.3
                    The Fred T. Korematsu Center for Law and
                Equality (“Korematsu Center”) is a non-profit
                organization, based at the Seattle University School of


                  2 KENNETH M. STAMPP, THE PECULIAR INSTITUTION:         SLAVERY
                IN THE ANTE-BELLUM SOUTH vii (1956).
                   3 Their names, titles, and institutional affiliations appear in

                the appendix, infra.




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                Law, that works to advance justice through research,
                advocacy, and education. Inspired by the legacy of
                Fred Korematsu, who defied military orders during
                World War II that ultimately led to the unlawful
                incarceration of 120,000 Japanese Americans, the
                Korematsu Center has a special interest in addressing
                government action targeted at classes of persons based
                on race, nationality, or religion. The Korematsu
                Center has developed familiarity with code word
                analysis from its role as co-counsel to high school
                students who successfully challenged a facially
                neutral Arizona statute enacted and enforced to
                terminate a Mexican American Studies Program.
                González v. Douglas, 269 F. Supp. 3d 948 (D. Ariz.
                2017). In addition, the Korematsu Center is keenly
                aware of the use of racially coded (and more explicit)
                language to justify past discriminatory treatment of
                Japanese Americans.
                     In proceedings in the United States District
                Court for the Eastern District of New York, New York
                v. Trump, No. 1:17-cv-5228, an expert report and
                declaration by historian Dr. Stephen Pitti explained
                the historical context and use of racially coded
                expressions or “code words” on the part of President
                Trump and other Administration officials in
                connection with the rescission of the Deferred Action
                for Childhood Arrivals program (“DACA”). Id., ECF
                No. 97-2, Ex. 38 (Dec. 15, 2017) (“Pitti Decl.”). All
                amici submit that Dr. Pitti’s research methods are
                widely accepted as valid in the field of history, and
                agree with his summative opinion:
                     When properly understood within the
                     context of the history and contemporary
                     discrimination directed against Mexicans,




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                     Mexican Americans, and Latinos, ***
                     President Trump and others who worked for
                     his campaign and in his Administration
                     have long expressed animus towards ethnic
                     Mexicans and other Latinos. President
                     Trump and others associated with his
                     presidential campaign and Administration
                     have drawn upon and used racial code
                     words, and have benefitted from racism
                     against Latinos. Racial animus against
                     ethnic Mexicans shaped their decision to
                     terminate DACA.
                Pitti Decl. ¶ 17.
                     Drawing on their collective experience and
                expertise, amici seek to ensure that this Court
                understands the ways in which racially coded
                language has been used by government actors, both
                past and present, to mask illicit discriminatory
                motives—particularly in the immigration context,
                including the rescission of DACA.
                              INTRODUCTION AND
                            SUMMARY OF ARGUMENT
                     Just last Term, this Court held the Department
                of Commerce’s addition of a citizenship question to the
                decennial census lacked the sort of genuine reasoned
                explanation that the Administrative Procedure Act
                (“APA”) demands. Department of Commerce v. New
                York, 139 S. Ct. 2551 (2019). The Court so held even
                though (i) the reason the agency offered was facially
                neutral; and (ii) the agency’s decision was within the
                substantive scope of its authority. The Court relied on
                evidence showing that the agency’s proffered
                explanation was “incongruent with what the record




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                reveals about the agency’s priorities and decision-
                making process.” Id. at 2575.
                     The Department of Homeland Security’s decision
                to rescind DACA suffers from a similar incongruity.
                The proffered reasons, largely post hoc, are likewise
                facially neutral. But as Respondents catalog, there is
                already evidence in the administrative record that
                those reasons were pretextual. See Br. of Univ. of Cal.
                Resp’ts 56-58 (citing Attorney General Sessions’s
                statements, upon announcing rescission, that DACA
                denies Americans jobs and contributes to crime).
                Amici here seek to underscore that accepting the
                Administration’s justifications for rescinding DACA
                requires turning a blind eye not only to that evidence,
                but also to the history and context of the rescission
                decision—including the repeated use of “code words”
                designed to advance political objectives by appealing
                to racist and nativist sentiment.
                     We ought not be surprised that proffered reasons
                for government actions sometimes mask improper
                discrimination. Race-neutral reasons have been
                offered throughout our country’s history to justify all
                manner of discriminatory actions that were, in fact,
                the product of deliberate action and animus. See, e.g.,
                Korematsu v. United States, 323 U.S. 214 (1944),
                abrogated by Trump v. Hawaii, 138 S. Ct. 2392, 2423
                (2018) (“Korematsu was gravely wrong the day it was
                decided, has been overruled in the court of history,
                and—to be clear—‘has no place in law under the
                Constitution.’”). That has been particularly true with
                respect to anti-immigrant measures targeted at
                disfavored minority groups.




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                       The practice of using race-neutral justifications
                 has become more prevalent as overtly racist language
                 has become less accepted over time. But racism has
                 hardly disappeared. In place of overt expressions of
                 animus, politicians have resorted to using code words
                 to convey racial and political messages to appeal to
                 their constituents. This phenomenon is well described
                 in a surprisingly candid confession by Republican
                 political strategist Lee Atwater in 1981:
                      You start out in 1954 by saying, “N****r,
                      n****r, n****r.” By 1968 you can’t say
                      “n****r”—that hurts you, backfires. So you
                      say stuff like *** forced busing, states’
                      rights, and all that stuff, and you’re getting
                      abstract. Now, you’re talking about cutting
                      taxes, and all these things you’re talking
                      about are totally economic things and a
                      byproduct of them is, blacks get hurt worse
                      than whites *** . “We want to cut this,” is
                      much more abstract than even the busing
                      thing *** and a hell of a lot more abstract
                      than “N****r, n****r.”4
                      To assist the Court in evaluating Respondents’
                 claims that DACA rescission violates the APA and the
                 Equal Protection Clause, amici explain that racial
                 animus can be discerned by code word analysis, and
                 that such analysis is a widely accepted methodology in
                 the field of history and is increasingly relied upon by

                    4 Rick Perlstein, Exclusive:   Lee Atwater’s Infamous 1981
                 Interview on the Southern Strategy, THE NATION, Nov. 13, 2012
                 (sixth ellipsis in original), https://www.thenation.com/article/
                 exclusive-lee-atwaters-infamous-1981-interview-southern-strate
                 gy/.




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                 courts. Amici then analyze the history, context, and
                 contemporaneous statements by President Trump
                 that reflect anti-Mexican and anti-Latino sentiment
                 behind the decision to rescind DACA.           Those
                 statements are consistent with racially coded
                 language he used throughout his campaign and
                 presidency, and reveal that the Government’s
                 explanation for rescinding DACA is pretextual.
                                     ARGUMENT
                 I.   HISTORY SHOWS A TRANSITION FROM
                      RACIALLY  EXPLICIT  ATTACKS   TO
                      CODED        LANGUAGE        FOR
                      DISCRIMINATION AGAINST IMMIGRANT
                      GROUPS
                      1. The use of race-based language to advance
                 anti-immigration measures is nothing new. For most
                 of this Nation’s history, populist leaders, politicians,
                 and others did not shy away from overt racial attacks
                 to justify and advance discrimination against a
                 particular immigrant group. The following describes
                 a few notable historical examples that show how racial
                 nativism was exploited explicitly to scapegoat outsider
                 immigrant communities.
                      a. In the 1870s, a major depression in the United
                 States caused widespread unemployment. Labor
                 groups in the western United States blamed their
                 problems on the growing Chinese immigrant
                 population. Stereotypes about Chinese workers were
                 used to justify anti-Chinese actions. A widespread
                 belief that Chinese immigrants had been brought to
                 the country involuntarily fueled the notion that they
                 were willing to tolerate terrible working conditions
                 because they had no choice. Newspapers such as the




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                 San Francisco Chronicle propagated the claim that
                 Chinese immigrants were “as rigidly under the control
                 of the contractor who brought him as ever an African
                 slave was under his master.”5
                      Nativist politicians also raised alarms about
                 Chinese immigrants’ strong work ethic. Senator John
                 F. Miller, a leading advocate of restricting Chinese
                 immigration, alleged that due to overpopulation in
                 China, Chinese laborers had become “by long training
                 and *** heredity *** automatic engines of flesh and
                 blood,” and white laborers could not compete with such
                 “machines.” 6 White Americans thus had to be
                 protected from admission of Chinese “servile labor.”7
                      Opponents of Chinese immigration also seized on
                 racial and cultural theories in support of their
                 arguments against Chinese immigration. Chinese
                 immigrants were supposedly biologically incapable of
                 assimilation. 8 According to Senator Miller, Chinese
                 immigrants could never become American because
                 American and Asian civilizations were “of diverse
                 elements and character, both the result of evolution
                 under different conditions, radically antagonistic,”
                 and this meant that Americans and Chinese were like
                 “oil and water” and would never mix. 9 Other
                 restrictionists warned that Chinese immigrants were
                 “utterly unfit for and incapable of free or self-

                   5 LUCY SALYER, LAWS HARSH AS TIGERS: CHINESE IMMIGRANTS

                 AND THE SHAPING OF MODERN IMMIGRATION LAW 9-10 (1995).
                   6 Id. at 15 (ellipses in original).

                   7 Id.

                   8 Id. at 11.

                   9 Id. at 15-16.




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                 government” because Chinese immigrants              had
                 emigrated from a despotic government.10
                      The restrictionists’ view eventually carried the
                 day as Congress passed the Chinese Exclusion Act of
                 1882, and the United States adopted a policy of
                 excluding immigrants on the basis of race and
                 nationality for the first time in its history.11
                      b.      Congress next drastically restricted
                 immigration in the 1920s to preserve a supposedly
                 past ideal of America from a perceived threat of mass
                 immigration. Strains of anti-Semitism and racial
                 animus were present from the beginning of these
                 efforts.
                       The House Committee on Immigration appended
                 to its 1921 report in favor of suspending immigration
                 a blatantly anti-Semitic screed that America faced an
                 inundation      of    “abnormally      twisted”     and
                 “unassimilable” Jews—“filthy, un-American, and
                 often dangerous in their habits.”12 The rise of eugenics
                 in America aided this racial push to restrict
                 immigration based on national origin. 13 The House
                 Committee appointed an “expert eugenics agent,” who
                 testified on the bad breeding state of immigrants who
                 were entering America and spoiling its inborn national
                 qualities. 14   Future-President Coolidge similarly


                   10 Id. at 16.

                   11 Id. at 17.

                   12 JOHN HIGHAM, STRANGERS IN THE LAND: PATTERNS OF
                 AMERICAN NATIVISM, 1860-1925, at 309 (rev. ed. 2002).
                   13 Id. at 314.

                   14 Id.




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                 warned    of    deterioration  when         immigrants
                 intermarried with white Americans.15
                      These sentiments prompted Congress to pass the
                 Immigration Act of 1924, in order to preserve a
                 “distinct American type” and prevent the “Nordic” race
                 in America from being overrun by immigrants from
                 other parts of the globe.16
                      c.   Concerns about the emerging “Mexican
                 problem” soon followed.17 An editorial in the Saturday
                 Evening Post in 1928 heralded these fears:
                      Mexican laborers often have nine children,
                      or even more. At the nine-child rate, any of
                      these Mexicans who are coming in by the
                      trainload might be expected to average 729
                      great grandchildren. *** No temporary
                      considerations of expediency should carry
                      the smallest weight in preventing the proper
                      economic protection of our own flesh and
                      blood.18
                 Anti-Mexican rhetoric often focused on allegations of
                 ignorance, filth, indolence, and criminality.19
                      The Great Depression served only to increase this
                 racial hostility. 20 Federal and local governments
                 began to pressure Mexican immigrants to return to

                   15 Id. at 318.

                   16 Id. at 321.

                   17 MAE M. NGAI, IMPOSSIBLE SUBJECTS: ILLEGAL ALIENS AND

                 THE MAKING OF MODERN AMERICA 52 (2004).
                   18 Id. at 52-53.

                   19 Id.

                   20 Id. at 71.




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                 Mexico. 21 The Immigration Service created an
                 atmosphere of fear through public round-ups and
                 deportation drives.22 Local governments and private
                 charitable organizations placed additional pressure on
                 Mexicans and Mexican-Americans to repatriate
                 voluntarily by denying or discriminating against them
                 with regard to governmental relief. 23 Over 400,000
                 people from Mexico, including American citizens of
                 Mexican descent, were repatriated from the United
                 States to Mexico during the 1930s.24 It is estimated
                 that 60% were children or American citizens by native
                 birth.25
                       d. Mexican migrants again became the target of
                 nativist sentiment in the 1950s, when a program
                 officially known as “Operation Wetback” began
                 forcibly repatriating hundreds of thousands of them in
                 1954.26 As a Sunday edition of the New York Times
                 then explained, “[t]he term ‘wetback’ was originally
                 applied to Mexicans who entered the U.S. farther east


                   21 Id. at 73.

                   22 Id.

                   23 GEORGE J. SÁNCHEZ, BECOMING MEXICAN AMERICAN:

                 ETHNICITY, CULTURE AND IDENTITY IN CHICANO LOS ANGELES,
                 1900-1945, at 211-212 (1993).
                   24 NGAI, supra note 17, at 72.

                   25 Id.

                   26 See JUAN RAMON GARCÍA, OPERATION WETBACK: THE MASS

                 DEPORTATION OF MEXICAN UNDOCUMENTED WORKERS IN 1954, at
                 228 (1980); see also 150,000 “Wetbacks” Taken in Round-Up, N.Y.
                 TIMES, July 29, 1954, at 7 (reporting numbers apprehended
                 approximately two months after the beginning of Operation
                 Wetback),       https://timesmachine.nytimes.com/timesmachine/
                 1954/07/30/84128756.html?pageNumber=7.




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                 by swimming the Rio Grande,”27 and dates back to the
                 Great Depression.28
                       Over time, “wetback” became a metonym for all
                 unauthorized Mexican migrants, and today there is
                 little doubt of its status as an epithet or slur.29 For
                 present purposes, the historical record makes clear
                 that, at least as far back as Operation Wetback, the
                 term was used in connection with anti-immigration
                 sentiment.     President Eisenhower, for example,
                 affirmed his support of legislation intended to address
                 what was characterized as the “wetback problem.”30

                    27 Fifteen News Questions, N.Y. TIMES, Apr. 2, 1950, at E2, E9,

                 https://timesmachine.nytimes.com/timesmachine/1950/04/02/962
                 14886.html?pageNumber=142; https://timesmachine.nytimes.co
                 m/timesmachine/1950/04/02/96214988.html?pageNumber=149.
                    28 Wetback, 20 THE OXFORD ENGLISH DICTIONARY 173 (2d ed.

                 1989).
                    29 See, e.g., Ortiz v. School Bd. of Broward Cty., No. 18-15305,

                 2019 U.S. App. LEXIS 20554, at *12 (11th Cir. July 11, 2019)
                 (“ethnic slurs like ‘spic’ and ‘wetback’” evidence “severe”
                 harassment); Cerros v. Steel Techs., Inc., 398 F.3d 944, 950-951
                 (7th Cir. 2005) (stating that it was “difficult to imagine epithets
                 more offensive to someone of Hispanic descent” than “spic” and
                 “wetback”); Vigil v. City of Las Cruces, 119 F.3d 871, 871-874
                 (10th Cir. 1997) (Lucero, J., dissenting) (comparing the term to
                 other racial epithets).
                    30 See The President’s News Conference, July 14, 1954,

                 https://www.presidency.ucsb.edu/documents/the-presidents-new
                 s-conference-458 (question by Sarah McClendon, El Paso Times,
                 about two Senate bills “designed to curb the hundreds of
                 thousands of wetbacks coming into this country”); The
                 President’s       News       Conference,     July     21,     1954,
                 https://www.presidency.ucsb.edu/documents/the-presidents-new
                 s-conference-461 (question by John Herling, Editors Syndicate,
                 asking about “the wetback legislation prepared by Attorney
                 General Brownell”).




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                                              13
                 Attorney General Herbert Brownell, Jr. similarly
                 announced in the lead-up to Operation Wetback that
                 he “would go to California next week to study the
                 ‘wetback’ problem.” 31 And most pointedly, General
                 Joseph Swing, upon assuming the post of
                 Commissioner of Immigration and Naturalization,
                 announced that he would “stop this horde of
                 invaders.”32
                      As the architect of Operation Wetback, General
                 Swing made good on his promise. The massive scope
                 of the program and lack of procedural safeguards
                 resulted in many American citizens of Mexican
                 descent being swept up in its dragnet and removed to
                 remote areas of Mexico. 33 One of the ships used to
                 transport such persons was the subject of a
                 congressional investigation, during which the vessel
                 was “likened *** to an ‘eighteenth century slave ship’
                 and a ‘penal hell ship.’”34 Immigration officials also
                 deployed calculated publicity campaigns meant to
                 drum up fear and scare thousands of Mexican
                 migrants into leaving the United States.35
                      2. Over time, the nature of the public discourse
                 underlying     measures    enacted     to     further
                 discrimination has changed. As the use of explicit
                 racial epithets (like “wetback”) has become less

                    31 Brownell Maps Trip for “Wetback” Study, N.Y. TIMES, Aug.

                 7, 1953, at 13, https://timesmachine.nytimes.com/timesmachine/
                 1953/08/08/84417640.html?pageNumber=13.
                    32 KITTY CALAVITA, INSIDE THE STATE:          THE BRACERO
                 PROGRAM, IMMIGRATION, AND THE I.N.S. 51 (1992).
                    33 GARCÍA, supra note 26, at 228.

                    34 NGAI, supra note 17, at 156.

                    35 GARCÍA, supra note 26, at 227-229.




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                 acceptable, racially coded expressions have taken
                 their place.
                      The civil rights movement provides a lesson in
                 how code words can replace overtly racist statements
                 in political appeals. As reflected in the quotation from
                 Lee Atwater noted above (p. 6, supra), common racial
                 slurs used in and before the 1960s became politically
                 toxic. In their stead, politicians began using code
                 words that implicitly appealed to certain voters.
                      Beginning with the presidential campaigns of
                 George Wallace and Barry Goldwater, opponents of
                 integration discovered they could win the support of
                 white middle class voters who resented gains by
                 African-Americans. 36 They used terms like “States’
                 rights,” which were “code words for resistance to the
                 federal government’s efforts to desegregate schools
                 and Civil Rights laws that protected the rights of
                 African Americans.”37
                      To fend off Wallace’s third-party campaign,
                 Richard Nixon’s 1968 presidential campaign adopted
                 similar code words. In addition to appeals to “states’
                 rights,” Nixon championed “law and order” and urged



                    36 IAN HANEY LÓPEZ, DOG WHISTLE POLITICS: HOW CODED

                 RACIAL APPEALS HAVE REINVENTED RACISM AND WRECKED THE
                 MIDDLE CLASS 6-7, 13-22 (2014); TALI MENDELBERG, THE RACE
                 CARD: CAMPAIGN STRATEGY, IMPLICIT MESSAGES, AND THE NORM
                 OF EQUALITY 7 (2001).
                    37 Leland Ware & David C. Wilson, Jim Crow on the “Down

                 Low”: Subtle Racial Appeals in Presidential Campaigns, 24 ST.
                 JOHN’S J.L. COMM. 299, 309 (2009); see also LÓPEZ, supra note 36,
                 at 16; MENDELBERG, supra note 36, at 72-73.




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                 “less government interference.”38 These terms played
                 on targeted white voters’ concerns about racial
                 desegregation and urban civil unrest, and cast
                 African-Americans as criminals.39
                      Ronald Reagan echoed the “states’ rights” mantra
                 in his first major public appearance after becoming the
                 Republican Party presidential nominee. 40 Reagan
                 announced, “I believe in states’ rights,” and promised
                 to “restore to states and local governments the power
                 that properly belongs to them.”41 The setting for the
                 speech—a nearly all-white crowd of 10,000 at a county
                 fair in Neshoba County, Mississippi, where no
                 presidential candidate had previously spoken—itself
                 had historical resonance that dovetailed with
                 Reagan’s message: Neshoba County is where three
                 civil rights workers (James Cheney, Andrew
                 Goodman, and Michael Schwerner) were murdered in
                 1964.42
                      Similarly, in attacking the welfare system
                 throughout his campaign, President Reagan used code

                   38 Ware & Wilson, supra note 37, at 300; see LÓPEZ, supra note

                 36, at 23-24.
                    39 LÓPEZ, supra note 36, at 23-24.

                    40 Douglas E. Kneeland, Reagan Campaigns at Mississippi

                 Fair: Nominee Tells Crowd of 10,000 He Is Backing States’
                 Rights—Attacks Inflation Policy, N.Y. TIMES, Aug. 3, 1980, at 11,
                 https://timesmachine.nytimes.com/timesmachine/1980/08/04/111
                 268554.html?pageNumber=11.
                    41 Id.

                    42 Ware & Wilson, supra note 37, at 310-311; Bob Herbert,

                 Righting Reagan’s Wrongs?, N.Y. TIMES, Nov. 13, 2007, at A29,
                 https://www.nytimes.com/2007/11/13/opinion/13herbert.html?se
                 archResultPosition=1.




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                 words that relied on the public’s impression that most
                 welfare    recipients    were     dishonest    African-
                 Americans.  43 He repeatedly invoked the image of a
                 “Chicago welfare queen” with “eighty names, thirty
                 addresses, [and] twelve Social Security cards [who] is
                 collecting veteran’s benefits on four non-existing
                 deceased husbands. She’s got Medicaid, getting food
                 stamps, and she is collecting welfare under each of her
                 names. Her tax-free cash income is over $150,000.”44
                 He similarly described a “strapping young buck” who
                 used food stamps to buy steak while “you were waiting
                 in line to buy hamburger.” 45 These code words not
                 only relied on stereotypes that African-Americans
                 were lazy and cheating the system, but also cast
                 whites as hard-working taxpayers—all without
                 expressly saying so.
                 II.   CODE WORD ANALYSIS IS A WIDELY
                       ACCEPTED METHODOLOGY EMPLOYED
                       BY HISTORIANS AND RELIED UPON BY
                       COURTS
                       Code word analysis has become increasingly
                 important as politicians and others have developed
                 code words whose racial character is less overt but
                 nonetheless perceptible to desired constituencies. The
                 analysis employs a specific interpretive methodology
                 that looks at public discourse to discern the use of
                 racially coded expressions by government officials,
                 politicians, and members of the public to advance
                 political objectives targeting immigrant or other


                   43 Ware & Wilson, supra note 37, at 311-312.

                   44 LÓPEZ, supra note 36, at 58.

                   45 Id. at 59.




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                 minority communities. As Dr. Pitti explains in his
                 declaration:
                      Historians and other academic experts
                      recognize that animus does not require
                      explicit, public declarations of racial
                      ideology that racism has persisted across the
                      centuries. An attention to history and
                      careful analysis of the use of coded racial
                      appeals in contemporary political discourse
                      provide the keys to understanding the links
                      between racial animus and politics in the
                      twenty-first century.
                 Pitti Decl. ¶ 20.
                       Courts rely on such code word analysis as
                 evidence     in     determining    whether       alleged
                 discriminatory acts are racially motivated. Unlike
                 times past, people today are rarely explicit about their
                 intent or motivation in expressing or acting on racial
                 bias.    Because “officials acting in their official
                 capacities seldom, if ever, announce on the record that
                 they are pursuing a particular course of action because
                 of their desire to discriminate against a racial
                 minority,” it is necessary to determine “whether they
                 have ‘camouflaged’ their intent.” Arce v. Douglas, 793
                 F.3d 968, 978 (9th Cir. 2015); see also Aman v. Cort
                 Furniture Rental Corp., 85 F.3d 1074, 1081-1082 (3d
                 Cir. 1996) (“Anti-discrimination laws and lawsuits
                 have ‘educated’ would-be violators such that extreme
                 manifestations of discrimination are thankfully rare,”
                 but “[d]iscrimination continues to pollute the social
                 and economic mainstream of American life, and is
                 often simply masked in more subtle forms.”). Coded
                 language therefore makes it “easier to coat various




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                 forms of discrimination with the appearance of
                 propriety.” Aman, 85 F.3d at 1082.
                      Today, every federal court of appeals has
                 recognized, in a variety of contexts ranging from
                 employment discrimination to legislative action, that
                 code words or camouflaged expressions can evidence
                 discriminatory intent:
                     First Circuit: Soto v. Flores, 103 F.3d 1056,
                     1067 n.12 (1st Cir. 1997) (“It is rare that
                     discrimination wears its garb openly and it more
                     often comes ‘masked in subtle forms.’ Triers of
                     fact may recognize those more subtle forms for
                     what they are and coded comments may raise
                     inferences of discrimination.”);
                     Second Circuit: MHANY Mgmt., Inc. v. County
                     of Nassau, 819 F.3d 581, 608-612 (2d Cir. 2016)
                     (upholding district court’s finding that opponents
                     used racially charged code words to communicate
                     animus and that city officials acquiesced to this
                     animus in its shift in zoning);
                     Third Circuit: Aman, 85 F.3d at 1082-1083
                     (holding that use of “inherently racist” code words
                     can constitute evidence of a hostile work
                     environment and an intent to discriminate);
                     Fourth Circuit: Smith v. Town of Clarkton, 682
                     F.2d 1055, 1066 (4th Cir. 1982) (evincing concern
                     about the influx of “undesirables” and dilution of
                     public schools and threat to public safety
                     constituted “evidence *** which in a different
                     context might not illustrate racial bigotry, but,
                     against the background of the housing project in
                     Clarkton and the considerable opposition to it,




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                     were interpreted by the trial          court   as
                     ‘camouflaged’ racial expressions”);
                     Fifth Circuit: Jenkins v. Methodist Hosps. of
                     Dall., Inc., 478 F.3d 255, 265 (5th Cir. 2007)
                     (recognizing that code words may provide basis of
                     discriminatory intent);
                     Sixth Circuit:        United States v. City of
                     Birmingham, 727 F.2d 560, 563 (6th Cir. 1984)
                     (affirming injunctive relief on a Fair Housing Act
                     claim based in part on statements that proposed
                     housing would introduce “harmful elements” and
                     bring “those people” to Birmingham, which led
                     trial court to specifically conclude the language
                     was in reference to “black people”);
                     Seventh Circuit: E.E.O.C. v. Board of Regents
                     of Univ. of Wis. Sys., 288 F.3d 296, 303 (7th Cir.
                     2002) (holding that reasonable jury could find use
                     of code words such as “‘pre-electronic’ era and
                     that he would have to be brought ‘up to speed’ on
                     ‘new trends of advertising via electronic means’”
                     to be reflection of age bias);
                     Eighth Circuit: Smith v. Fairview Ridges
                     Hosp., 625 F.3d 1076, 1085-1086 (8th Cir. 2010)
                     (finding reference to the “ghetto,” among other
                     things, to “carry some inferences that they were
                     racially motivated,” and discussing variety of
                     instances in which code words may serve as
                     evidence of racial animus);
                     Ninth Circuit: Avenue 6E Invs., LLC v. City of
                     Yuma, 818 F.3d 493, 506-507 (9th Cir. 2016)
                     (finding that use of code words consisting of
                     stereotypes of Latinos, along with other evidence,




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                      “provide plausible circumstantial evidence that
                      community opposition to Developers’ proposed
                      development was motivated in part by animus,
                      and that the City Council was fully aware of these
                      concerns” when it voted against the zoning
                      commission’s recommendations);
                      Tenth Circuit: Villanueva v. Carere, 85 F.3d
                      481, 488 (10th Cir. 1996) (sharing concern over
                      use of “culture” in response to argument that use
                      of term is a code word for “ethnic minority”);
                      Eleventh Circuit: Underwood v. Hunter, 730
                      F.2d 614, 621 (11th Cir. 1984) (holding that a
                      provision    of   the    Alabama     constitution
                      disenfranchised voters in violation of the
                      Fourteenth Amendment, noting that “the avowed
                      objective of the suffrage committee was to deny
                      the vote to the corrupt and the ignorant,” which
                      defendant’s expert admitted “referred specifically
                      to blacks and lower-class whites”) (emphasis
                      added); and
                      D.C. Circuit: Arnold v. United States Postal
                      Serv., 863 F.2d 994, 1000 (D.C. Cir. 1988) (“There
                      may well be cases in which seniority is simply a
                      code word for age discrimination.”).
                      Broad recognition of the role that code word
                 analysis may play in ferreting out discriminatory
                 intent in government decisionmaking is hardly
                 surprising. Indeed, in light of its oft hidden nature,
                 this Court has long recognized that courts must make
                 “a sensitive inquiry into such circumstantial and
                 direct evidence of intent as may be available.” Village
                 of Arlington Heights v. Metropolitan Hous. Dev. Corp.
                 429 U.S. 252, 266 (1977). Among the relevant factors




                                                                           AR5413
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                 is “[t]he historical background of the decision.” Id. at
                 267-268.
                      This established understanding of the operation
                 of code words is precisely the reason that expert
                 analysis of historians examining current events can be
                 helpful to the Court.
                 III. THE    HISTORY,    CONTEXT,   AND
                      CONTEMPORANEOUS       STATEMENTS
                      ABOUT DACA REVEAL THE USE OF CODE
                      WORDS THAT REFLECT ANTI-MEXICAN
                      AND ANTI-LATINO SENTIMENT
                      Dr. Pitti’s declaration, in conjunction with his 96-
                 page expert report, comprehensively documents and
                 analyzes President Trump’s statements (as candidate
                 and in office), as well as statements made by key
                 advisers and administration officials (including
                 Attorney General Sessions and policy adviser Stephen
                 Miller). Pitti Decl., Ex. B 35-85. Dr. Pitti’s findings—
                 including that President Trump used code words that
                 simultaneously convey and mask anti-immigrant
                 sentiment—are independently corroborated by
                 linguistics expert Dr. Otto Santa Ana, whose team of
                 researchers analyzed 347 of President Trump’s
                 speeches and 6,963 tweets.46
                     In particular, the manner in which President
                 Trump talks about DACA recipients and the way he
                 subverts the name by which they are commonly


                    46 See OTTO SANTA ANA ET AL., DOCUMENTING THE PRESIDENT’S

                 VERBAL ANIMUS AGAINST IMMIGRANTS TO DEFEND DACA
                 GRANTEES: FINAL REPORT OF THE UCLA DACA DEFENSE GROUP
                 9-11 (Jan. 2019) https://www.thepresidentsintent.com/issue-
                 final-report (“FINAL REPORT”).




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                                              22
                 referred—“dreamers”—cannot be ignored. During a
                 campaign forum called the Sunshine Summit, hosted
                 by the Republican Party of Florida, Trump stated:
                      We are going to hire Americans first. We’re
                      going to take care of our workers. Did you
                      ever hear of the Dream Act? The Dream Act
                      isn’t for our children. The Dream Act is for
                      other children that come into the country. I
                      want the Dream Act to be for our children.47
                 Later in the campaign, Trump juxtaposed American
                 children and DACA recipients:
                      Where is the sanctuary city for American
                      children? Where is that sanctuary? The
                      dreamers we never talk about are the young
                      Americans. Why aren’t young Americans
                      dreamers also? I want my dreamers to be
                      young Americans.48
                 In another general campaign speech, he implored,
                 “[l]et our children be dreamers too.”49
                      Once in office, when asked by reporters whether
                 “dreamers” should be worried, President Trump
                 responded: “We love the DREAMers. *** We think the


                   47 Donald J. Trump, Remarks at 2015 Sunshine Summit at

                 17:28-17:43 (Nov. 13, 2015), https://www.c-span.org/video/
                 ?400325-10/donald-trump-remarks-2015-sunshine-summit.
                    48 Donald J. Trump, Remarks at the Mississippi Coliseum in

                 Jackson, Mississippi (Aug. 24, 2016), http://www.presidency.
                 ucsb.edu/ws/index.php?pid=123198.
                    49 Donald J. Trump, Remarks at the Charlotte Convention

                 Center in Charlotte, North Carolina (Aug. 18, 2016),
                 http://www.presidency.ucsb.edu/ws/index.php?pid=119175.




                                                                                 AR5415
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                 DREAMers are terrific.”50 Mere days later, the Trump
                 Administration ended DACA. In doing so, President
                 Trump repeated, “[a]bove all else, we must remember
                 that young Americans have dreams too. *** Our first
                 and highest priority *** must be to improve jobs,
                 wages and security for American workers and their
                 families.”51
                       As explained by Dr. Santa Ana’s declaration,
                 President Trump has co-opted the term “dreamer” and
                 uses it to paint DACA recipients as interlopers whose
                 unlawful presence threatens the rightful economic
                 opportunities of “American” children. “Dreamer” itself
                 becomes a code word that is intended to inflame and
                 exploit negative sentiment based on people’s economic
                 and cultural anxieties. See Regents of the Univ. of Cal.
                 v. United States Dep’t of Homeland Sec., Nos. 18-15068
                 et al. (9th Cir. Mar. 19, 2018), ECF No. 56-3, Ex. 2 ¶ 50
                 (“Santa Ana Decl.”).
                      That is consistent with President Trump’s
                 characterization of Latinos and immigrants generally,
                 conveyed often through (among more explicit
                 references) racially coded expressions and code words.
                 See Pitti Decl. ¶¶ 18-148; Santa Ana Decl. ¶¶ 23-53.

                    50 Donald J. Trump, Remarks on Signing a Proclamation on

                 the National Day of Prayer for the Victims of Hurricane Harvey
                 and for Our National Response and Recovery Efforts and an
                 Exchange       with      Reporters      (Sept.    1,     2017),
                 https://www.presidency.ucsb.edu/documents/remarks-signing-pr
                 oclamation-the-national-day-prayer-for-the-victims-hurricane-h
                 arvey-and.
                    51 Statement from President Donald J. Trump (Sept. 5, 2017),

                 https://www.whitehouse.gov/briefings-statements/statement-pre
                 sident-donald-j-trump-7/ (“DACA Statement”).




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                 Expert analysis demonstrates that President Trump’s
                 assertions about Latinos and immigrants employ a
                 steady narrative, portraying a “calculating enemy who
                 dispatches inhuman forces; colluding agents who have
                 betrayed their country; vulnerable citizens who are
                 preyed upon by the invaders; and the one stalwart
                 leader who can defeat the invaders by deploying the
                 nation’s human and material resources.” 52 The
                 United States is depicted as a “besieged fortress” at
                 war with an “enemy”—Mexico—that “‘push[es]’ [its]
                 ‘worst’ people onto the United States; ‘murderers, drug
                 dealers, and gang members.’”53 A wall is necessary to
                 protect U.S. citizens from this “flood” of criminality.54
                      Similarly, President Trump’s narrative casts
                 Latino immigrants as invaders who drive down wages
                 and steal “the few opportunities that remain[] for
                 longtime residents.” Pitti Decl. ¶ 72. He also has
                 repeatedly suggested that immigrants are drains on
                 the welfare state, abuse the system, and “put great
                 burdens on local schools and hospitals.” Id. ¶¶ 89-92.
                 These statements are inextricably intertwined with
                 his support for immigration reform that would
                 “preven[t] new migrants and new immigrants from
                 collecting welfare and protect[] U.S. workers from
                 being displaced,” id. (first alteration in original), by
                 low-skilled immigrants from Mexico and Central
                 America, id. ¶¶ 104-107. Significantly, during the
                 presidential    campaign,      Trump      promised     a
                 “deportation force” based on President Eisenhower’s

                   52 SANTA ANA, FINAL REPORT, supra note 46, at 11.

                   53 Id. at 12-13.

                   54 Id. at 13-14.




                                                                             AR5417
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                 enforcement of the border—hearkening back to
                 Operation Wetback (see pp. 11-13, supra), which
                 Trump lauded for “[m]ov[ing] them way south” so
                 “[t]hey never came back.”55
                        These narratives are reflected in President
                 Trump’s statement rescinding DACA. He described a
                 “massive surge of accompanied minors” that “in some
                 cases” would “become members of violent gangs
                 throughout our country, such as MS-13.” 56 He also
                 described existing immigration policy as having
                 “predictable and tragic consequences: lower wages
                 and higher unemployment for American workers,
                 substantial burdens on local schools and hospitals, the
                 illicit entry of dangerous drugs and criminal cartels,
                 and many billions of dollars a year in costs paid for by
                 U.S. taxpayers.”57
                      Attorney General Sessions, announcing the
                 reasons, echoed those sentiments that same day. In
                 particular, he stated that DACA “denied jobs to
                 hundreds of thousands of Americans by allowing those
                 same jobs to go to illegal aliens,” and the program’s
                 “wind down” would “strengthen[] *** the rule of law in
                 America,” “save[] lives, protect[] communities and
                 taxpayers,” and avoid “put[ting] our nation at risk of
                 crime, violence and even terrorism.” SER1354-1355,
                 Nos. 18-15068 et al. (9th Cir. Mar. 13, 2018), ECF No.
                 45-6; see also Br. of Univ. of Cal. Resp’ts 56-58.


                    55 Transcript: Republican Presidential Debate, N.Y. TIMES,

                 Nov. 11, 2015, https://www.nytimes.com/2015/11/11/us/politics/
                 transcript-republican-presidential-debate.html.
                    56 DACA Statement, supra note 51.

                    57 Id.




                                                                                  AR5418
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                      At bottom, the Trump Administration’s coded
                 statements—targeting both Latino migrants generally
                 and DACA recipients specifically—amply connect
                 anti-immigrant sentiment to the rescission of DACA.
                 IV. THE TRUMP ADMINISTRATION’S USE OF
                     CODED LANGUAGE IN DISCUSSING
                     DACA UNDERSCORES THE MISMATCH
                     BETWEEN THE PROFFERED REASONS
                     AND DACA’S RESCISSION
                      Pretext is a simple concept. If the reasons offered
                 to justify a government action turn out not to square
                 with the record or underlying facts, then a court need
                 not accept those reasons and may set aside the action.
                 Applying the code word analysis discussed in the prior
                 sections reveals the pretextual nature of the reasons
                 the Administration offered (mostly post hoc) for the
                 rescission of DACA.
                      The Government contends that the President’s
                 narrative surrounding DACA is irrelevant in the
                 absence of evidence that Secretaries Duke and Nielsen
                 harbored similar views.        But courts have long
                 recognized that decisions made in response to coded
                 expressions of racial animus “can support a finding of
                 discriminatory motives by government officials, even
                 if the officials do not personally hold such views.”
                 Avenue 6E Invs., 818 F.3d at 504. Stated differently,
                 courts recognize that discrimination can occur when
                 government officials acquiesce to constituents
                 motivated by animus. See MHANY, 819 F.3d at 610-
                 611 & n.5 (city’s decision to reject building permit “in
                 the face of vocal citizen opposition to changing the
                 character of Garden City represented acquiescence to
                 race-based animus”). As the Second Circuit explained,




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                 “[t]he notion of a code word implies that it will be
                 understood by another” and permits courts to consider
                 the “relevance of code words in the context of
                 legislators acting responsively to citizen animus.” Id.
                 at 609 n.5.
                       If acquiescence to constituents is enough, then
                 acquiescence to superiors must be too. Like the
                 decisionmakers in Avenue 6E Investments and
                 MHANY, it is not necessary for Secretaries Duke and
                 Nielsen to have expressed or harbored racial animus
                 for the DACA rescission to have been so tainted. Just
                 as local officials may make discriminatory decisions in
                 response to pressure from their constituents, the
                 Secretaries serve at the pleasure of the President,
                 whose statements naturally influence agency
                 decisionmaking. See Free Enter. Fund v. Public Co.
                 Accounting Oversight Bd., 561 U.S. 477, 496-497
                 (2010) (recognizing “basic principle” that Article II
                 “makes a single President responsible for the actions
                 of the Executive Branch”). This Court should not
                 adhere to the fiction that the decision to rescind DACA
                 was made in a vacuum, for courts “are not required to
                 exhibit a naiveté from which ordinary citizens are
                 free.” Department of Commerce, 139 S. Ct. at 2575
                 (citation and internal quotation marks omitted).
                      The Government further contends that the
                 (suspect) admiration expressed by the President for
                 DACA recipients somehow forecloses the possibility
                 that illicit motives played a part in the DACA decision.
                 As discussed above, however, the President has co-
                 opted language about “dreamers” to exploit anti-
                 immigrant sentiment. President Trump’s statements,
                 as candidate and in office, reveal his overriding
                 message—playing to his constituencies—that the




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                 American Dream is not for the “dreamers” but for our
                 “American children.” See pp. 21-26, supra.
                       The Government also tries to dismiss the
                 President’s statements as suggesting “nothing more
                 than the obvious fact that DACA has been an
                 important part of legislative negotiations on
                 immigration reform.” Br. of Pet’rs 55. But DACA’s use
                 as a political bargaining chip appears nowhere in
                 either Secretary Duke’s or Secretary Nielson’s
                 explanations. And the Government’s gloss is belied by
                 the historical and other context from which those
                 statements cannot be separated. See Department of
                 Commerce, 139 S. Ct. at 2575-2576 (refusing to accept
                 “contrived reasons” for an agency decision because the
                 APA’s “reasoned explanation requirement *** is
                 meant to ensure that agencies offer genuine
                 justifications for important decisions”). Ample record
                 and public evidence, similar to the evidence that came
                 to light in the census case and buttressed by code word
                 analysis, shows that the Government’s proffered
                 reasons were pretextual.




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                                   CONCLUSION
                     This Court should affirm the decisions below.
                                         Respectfully submitted.

                 Robert S. Chang           Pratik A. Shah
                 Lorraine K. Bannai        Counsel of Record
                 Melissa Lee               Z.W. Julius Chen
                 Lessica Levin             Jessica Weisel
                 FRED T. KOREMATSU         AKIN GUMP STRAUSS
                  CENTER FOR LAW AND        HAUER & FELD LLP
                  EQUALITY
                 RONALD A. PETERSON
                  LAW CLINIC
                 SEATTLE UNIVERSITY
                  SCHOOL OF LAW

                              Counsel for Amici Curiae

                 October 4, 2019




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                                               1a

                                         APPENDIX
                      List of Individual Amici Curiae with Title and
                 Institutional Affiliation for Identification Purposes1


                                                           Institutional
                  Name             Title
                                                           Affiliation

                                   Associate
                                   Professor and
                  Lauren                                   Denison
                                   Chair,
                  Araiza                                   University
                                   Department of
                                   History

                                   Associate
                  Rick Baldoz      Professor and           Oberlin College
                                   Chair of Sociology

                                   Professor and
                  Carlos                                   Texas A&M
                                   Head,
                  Kevin                                    University,
                                   Department of
                  Blanton                                  College Station
                                   History

                                   Professor,              University of
                  Laura
                                   Women, Gender,          Massachusetts
                  Briggs
                                   Sexuality Studies       Amherst

                                   Associate
                  Geraldo L.       Professor of            Northwestern
                  Cadava           History &               University
                                   Latina/o Studies


                     1 None of the individual amici speak for or represent the

                 official views of their respective institutions or departments.




                                                                                   AR5423
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                                         2a

                                Associate
                  Maria                              University of
                                Professor,
                  Raquel                             Nevada, Las
                                Department of
                  Casas                              Vegas
                                History

                                Associate
                                                     Stony Brook
                                Professor,
                  Lori Flores                        University
                                Department of
                                                     (SUNY)
                                History

                                Peter V. and C.
                  Glenda
                                Vann Woodward
                  Elizabeth                          Yale University
                                Professor of
                  Gilmore
                                History Emeritus

                                John B. & Alice R.   University of
                  Ariela
                                Sharp Professor of   Southern
                  Gross
                                Law & History        California

                                Associate            George
                  Thomas
                                Professor of         Washington
                  Guglielmo
                                American Studies     University

                                Associate
                                Professor of
                  Joshua B.                          Princeton
                                History and
                  Guild                              University
                                African American
                                Studies

                               Professor of
                  Matthew      Africana Studies      Brown
                  Pratt Guterl and American          University
                               Studies




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                                          3a

                                Professor, History
                  Leslie M.                          Northwestern
                                and African
                  Harris                             University
                                American Studies

                                Professor,
                                Departments of
                                History and
                                African-American
                                Studies, The
                                                     University of
                  Kelly Lytle   Thomas E. Lifka
                                                     California, Los
                  Hernandez     Endowed Chair of
                                                     Angeles
                                History, and
                                Director, Ralph J.
                                Bunche Center for
                                African American
                                Studies

                                Associate
                                Professor of
                  Daniel
                                Ethnicity, Race &    Yale University
                  HoSang
                                Migration and
                                American Studies

                                Professor,
                                Department of        The University
                  Madeline Y.
                                History and          of Texas at
                  Hsu
                                Center for Asian     Austin
                                American Studies




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                                         4a

                                Associate
                  Michael D.    Professor of
                                                    University of
                  Innis-        American Studies
                                                    Alabama
                  Jiménez       and Director of
                                Graduate Studies

                                William
                  Matthew       Robertson Coe
                  Frye          Professor of        Yale University
                  Jacobson      American Studies
                                and History

                                Allan Nevins
                                                    Columbia
                  Karl Jacoby   Professor of
                                                    University
                                History

                                Chancellor’s
                                                    The University
                                Leadership
                  Ari Kelman                        of California,
                                Professor of
                                                    Davis
                                History

                                Regents Professor
                                of History and
                                Asian American
                                Studies and The     University of
                  Erika Lee
                                Rudolph J. Vecoli   Minnesota
                                Chair in
                                Immigration
                                History




                                                                           AR5426
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                                         5a

                               Associate
                               Professor of
                  Shelley S.
                               History and         Oberlin College
                  Lee
                               Comparative
                               American Studies

                               Professor of
                  Mary Ting
                               American Studies    Yale University
                  Yi Lui
                               and History

                               Associate
                  Joseph       Professor,          University of
                  Lowndes      Political Science   Oregon
                               Department

                               William H. Chafe
                  Nancy        Professor of        Duke
                  MacLean      History and         University
                               Public Policy

                               Associate
                                                   Northwestern
                  Kate Masur   Professor of
                                                   University
                               History

                  John         Associate
                                                   Texas State
                  Mckiernan-   Professor of
                                                   University
                  Gonzalez     History

                               Associate
                               Professor of
                  Ronald L.                        Oregon State
                               Language,
                  Mize                             University
                               Culture and
                               Society




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                                         6a

                               Professor of         University of
                  Natalia
                               American Studies     Southern
                  Molina
                               & Ethnicity          California

                               Professor
                               Emeritus of
                               International and    Columbia
                  Gary Y.
                               Public Affairs,      University,
                  Okihiro
                               and Visiting         Yale University
                               Professor of
                               American Studies

                                                    University of
                  Lorena       Professor, History
                                                    California,
                  Oropeza      Department
                                                    Davis

                               Associate            University of
                  Leigh
                               Professor, African   California,
                  Raiford
                               American Studies     Berkeley

                               Foundation
                  David                             University of
                               Professor of
                  Roediger                          Kansas
                               American Studies




                                                                           AR5428
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                                         7a

                                Robert S.
                                Danforth
                                Professor of
                                Humanities;
                                Chair,
                  Renee C.      Department of
                                                    Oberlin College
                  Romano        History; and
                                Professor of
                                Comparative
                                American Studies
                                and Africana
                                Studies

                                Distinguished
                                Professor
                                                    University of
                  Vicki L.      Emerita, History
                                                    California,
                  Ruiz          and
                                                    Irvine
                                Chicano/Latino
                                Studies

                                Associate
                                                    University of
                  Rachel St.    Professor,
                                                    California,
                  John          Department of
                                                    Davis
                                History

                                Distinguished
                                Professor of
                  Virginia J.                       University of
                                History and
                  Scharff                           New Mexico
                                Director, Center
                                for the Southwest




                                                                           AR5429
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                                         8a

                               Chair and
                  Alexandra    Professor,
                                                  University of
                  Minna        Department of
                                                  Michigan
                  Stern        American Culture
                               and History

                  Timothy      Associate          Rutgers
                  Stewart-     Professor of       University—
                  Winter       History            Newark

                               William R.
                               Kennan, Jr.
                  Penny Von    Professor of       University of
                  Eschen       American Studies   Virginia
                               and Professor of
                               History

                               Associate
                  Julie M.                        University of
                               Professor of
                  Weise                           Oregon
                               History

                               Director of the
                               Humanities
                               Center; Professor University of
                  Judy Tzu-
                               of Asian American California,
                  Chun Wu
                               Studies;          Irvine
                               Chancellor’s
                               Fellow




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                                        IN THE
                 Supreme Court of the United States
                                       _________
                   DEPARTMENT OF HOMELAND SECURITY, ET AL.,
                                                 Petitioners,
                                          v.
                 REGENTS OF THE UNIVERSITY OF CALIFORNIA, ET AL.,
                                               Respondents.
                                       _________
                          On Writ of Certiorari to the
                         United States Court of Appeals
                              for the Ninth Circuit
                                    _________
                           BRIEF FOR AMICI CURIAE
                         ASSOCIATION OF AMERICAN
                         MEDICAL COLLEGES, ET AL.,
                        IN SUPPORT OF RESPONDENTS
                                   _________
               HEATHER J. ALARCON        JONATHAN S. FRANKLIN
               FRANK R. TRINITY           Counsel of Record
               ASSOCIATION OF            DAVID KEARNS
                AMERICAN MEDICAL         NORTON ROSE FULBRIGHT US LLP
                COLLEGES                 799 Ninth Street, N.W.
               655 K Street N.W.         Washington, D.C. 20001
               Suite 100                 (202) 662-4663
               Washington, D.C 20001     jonathan.franklin@
               (202) 478-9939               nortonrosefulbright.com

                                         Counsel for Amici Curiae

                     Additional Captions Listed on Inside Cover




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                                STATES, ET AL.,
                                             Petitioners,
                                        v.
                  NATIONAL ASSOCIATION FOR THE ADVANCEMENT OF
                             COLORED PEOPLE, ET AL.,
                                            Respondents.
                                    _________
                     On Writ of Certiorari Before Judgment
                      to the United States Court of Appeals
                       for the District of Columbia Circuit
                                     _________
                   KEVIN K. MCALEENAN, ACTING SECRETARY OF
                          HOMELAND SECURITY, ET AL.,
                                             Petitioners,
                                        v.
                      MARTIN JONATHAN BATALLA VIDAL, ET AL.,
                                            Respondents.
                                    _________
                     On Writ of Certiorari Before Judgment
                      to the United States Court of Appeals
                              for the Second Circuit
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                            INTEREST OF AMICI CURIAE
                   The Association of American Medical Colleges
                 (“AAMC”) is a non-profit educational association
                 whose members include all 154 accredited U.S.
                 medical schools, nearly 400 major teaching hospitals
                 and health systems, and 80 academic and scientific
                 societies.1 Through these institutions and organiza-
                 tions, the AAMC represents 173,000 faculty members,
                 89,000 medical students, and 129,000 resident
                 physicians. Founded in 1876, the AAMC, through its
                 many programs and services, strengthens the world’s
                 most advanced medical care by supporting the entire
                 spectrum of education, research, and patient care
                 activities conducted by its member institutions.
                   The AAMC is joined in this brief by thirty-two
                 organizations whose members include schools,
                 residency programs, and other institutions involved in
                 educating and training health care providers and
                 administrators:
                  America’s Essential Hospitals, American
                 Academy of Child and Adolescent Psychiatry,
                 American Academy of Family Physicians,
                 American Association of Colleges of Nursing,
                 American Association of Colleges of Pharmacy,
                 American College of Healthcare Executives,
                 American College of Obstetricians and
                 Gynecologists, American College of Physicians,
                 American College of Preventive Medicine,
                 American    Dental   Education    Association,

                   1 No counsel to a party authored this brief in whole or in part,
                 no such counsel or a party made a monetary contribution
                 intended to fund the preparation or submission of the brief, and
                 no person other than the amici curiae made such a monetary con-
                 tribution. The parties have consented to the filing of this brief.




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                 American Medical Association, American
                 Medical Student Association, American Nurses
                 Association, American Psychiatric Association,
                 American Public Health Association, American
                 Society of Hematology, American Society of
                 Nephrology,    American      Thoracic    Society,
                 Association of Academic Health Centers,
                 Association of American Indian Physicians,
                 Association of Schools and Programs of Public
                 Health, Association of Schools of Allied Health
                 Professions,    Association     of    University
                 Programs in Health Administration, California
                 Medical Association, Council on Social Work
                 Education,     Greater New York Hospital
                 Association, National Council of Asian Pacific
                 Islander Physicians, National Hispanic Medical
                 Association, National Medical Association,
                 Physician Assistant Education Association, Pre-
                 Health Dreamers, and Society of General
                 Internal Medicine.        Additional information
                 regarding these organizations is provided in the
                 Addendum to this brief.
                         SUMMARY OF THE ARGUMENT
                   The law is clear that the government cannot rescind
                 a longstanding policy without, at a minimum,
                 seriously considering the reliance interests that would
                 be disrupted by such a change in course. Yet in this
                 case, the government failed to make any serious effort
                 to consider any of the substantial reliance interests
                 affected by the rescission of the Deferred Action for
                 Childhood Arrivals (“DACA”) program.
                   This is particularly true with respect to the health
                 care sector, for which the avoidance of unnecessary
                 harm is a guiding principle. At this moment, an
                 estimated 27,000 health care workers and support




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                 staff depend on DACA for their authorization to work
                 in the United States.2 Among those 27,000 are
                 nurses, dentists, pharmacists, physician assistants,
                 home health aides, technicians, and others. Id.
                   The number also includes nearly 200 medical
                 students, medical residents, and physicians who
                 depend on DACA for their eligibility to practice
                 medicine. If those trainees and physicians retain
                 their work eligibility, each will care for an average of
                 between 1,533 and 4,600 patients a year.3 Together,
                 over the course of their careers, they will touch the
                 lives of 1.7 to 5.1 million U.S. patients.4


                   2 Nicole Prchal Svajlenka, What We Know About DACA
                 Recipients in the United States, Ctr. for Am. Progress (Sept. 5,
                 2019),    https://www.americanprogress.org/issues/immigration/
                 news/2019/09/05/474177/know-daca-recipients-united-states/
                 (estimates based upon occupations under health care
                 practitioners and technical occupations and health care support
                 from the University of Minnesota’s Integrated Public Use
                 Microdata Series (IPUMS) USA 2017 American Community
                 Survey occupational classification data).
                   3 The Physicians Found., 2018 Survey of America’s
                 Physicians at 57 (2018), https://physiciansfoundation.org/wp-
                 content/uploads/2018/09/physicians-survey-results-final-
                 2018.pdf (data indicating physicians see 20 patients per day on
                 average, and work 230 days per year); Mark Murray et al., Panel
                 Size: How Many Patients Can One Doctor Manage?, Family
                 Practice Mgmt. at 47 (April 2007), https://www.aafp.org/fpm/
                 2007/0400/p44.pdf (data indicates each patient is seen by their
                 doctor one to three times a year).
                   4 This calculation is based on 14.3% of patients being new
                 patients during any given year, see Nat’l Ctr. for Health Stat.,
                 Ctr. for Disease Control, National Ambulatory Medical Care
                 Survey:    2016    National     Summary       Tables     (2016),
                 https://www.cdc.gov/nchs/data/ahcd/namcs_summary/2016_nam
                 cs_web_tables.pdf, and an average career length of 35 years,




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                   If DACA is rescinded, however, almost none of these
                 people will be able to serve the American public in
                 their chosen fields. This action would therefore
                 nullify the substantial and long-term investments
                 that DACA recipients, educational institutions, and
                 the public have made in educating and training those
                 recipients to provide needed health care services to
                 the Nation.       Their loss will have potentially
                 devastating effects. It can take a decade or more to
                 educate and train a new physician. As health care
                 professional institutions and organizations, amici
                 know that the resources to competently train capable
                 physicians, nurses, and other medical and public
                 health professionals are subject to substantial
                 limitations. Each year and each dollar that a school
                 spends to train one future physician or other health
                 care worker is a year or dollar not spent training
                 another. The decision to expend vast amounts of time,
                 money, and effort in educating and training DACA
                 recipients in the health care sector was thus made in
                 reliance on the expectation that such individuals
                 would be able to serve the public once educated and
                 trained. Rescinding the program negates all of that
                 substantial time, money, and effort spent.
                   Nor is the country prepared to fill the loss that
                 would result if DACA recipients were excluded from
                 the health care workforce. The number of physicians
                 in the United States has not kept pace with our
                 growing and aging population and a commensurate
                 increase in patients needing care for a variety of
                 chronic health conditions. It is estimated that in the
                 next eleven years, the country will have between

                 using data from the AAMC’s 2019 National Sample Survey of
                 Physicians, (publication forthcoming; data on file with AAMC).




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                 46,900 and 121,900 fewer primary and specialty care
                 physicians than it needs.5 Shortages in other health
                 professions, such as mental health, dentistry, and
                 nursing, are worsening as well.6 These shortages will
                 be felt most keenly in medically underserved areas,
                 such as rural settings and poor neighborhoods—
                 precisely the areas in which DACA recipients are
                 likeliest to work.7
                   The risk of a pandemic also continues to grow, since
                 infectious diseases can spread around the globe in a
                 matter of days due to increased urbanization and
                 international travel.8 These conditions pose a threat
                 to America’s health security—its preparedness for
                 and ability to withstand incidents with public-health
                 consequences. To ensure health security, the country
                 needs a robust health workforce. Rescinding DACA,
                 however, would deprive the public of domestically
                 educated, well-trained, and otherwise qualified health

                  5 Ass’n of Am. Med. Colls., The Complexities of Physician
                 Supply & Demand: Projections from 2017 to 2032 at 2 (Apr.
                 2019), https://tinyurl.com/yxbh2nhv.
                  6 See Henry J. Kaiser Fam. Found., Mental Health Care
                 Health Professional Shortage Areas (HPSAs) (last visited
                 September 24, 2019), https://tinyurl.com/y9u2g69b; Henry J.
                 Kaiser Fam. Found., Dental Care Health Professional Shortage
                 Areas (HPSAs) (last visited September 24, 2019),
                 https://tinyurl.com/yye44kpy.
                  7 Angela Chen, PhD et al., PreHealth Dreamers: Breaking
                 More Barriers Survey Report          at   27    (Sept.   2019),
                 https://tinyurl.com/y436och3.
                  8 Office of the Assistant Sec’y for Preparedness and Response,
                 Dep’t of Health and Human Servs., National Health Security
                 Strategy 2019-2002 at 5-6, (last visited Sept. 24, 2019),
                 https://www.phe.gov/Preparedness/planning/authority/nhss/Doc
                 uments/NHSS-Strategy-508.pdf.




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                 care professionals who have been provided education
                 in reliance on their ability to continue to work in the
                 United States as health care professionals.
                   As the courts below correctly recognized, the govern-
                 ment failed to seriously consider these or any of the
                 other substantial reliance interests engendered by
                 DACA. By rescinding DACA on the basis of a cursory
                 and conclusory analysis that failed to consider real-
                 world effects, the government ignored the significant
                 reliance interests of U.S. health professional schools,
                 hospitals, other institutions, and U.S. patients, as
                 well as those of DACA recipients themselves. The
                 rescission was therefore arbitrary and capricious, and
                 the decisions below should be affirmed.
                                     ARGUMENT
                  I. AGENCIES CANNOT CHANGE POLICIES
                     WITHOUT FAIRLY ADDRESSING
                     RELIANCE INTERESTS.
                   Under the Administrative Procedure Act (“APA”),
                 courts must set aside agency actions that are
                 “arbitrary, capricious, [or] an abuse of discretion.” 5
                 U.S.C. § 706(2)(A). That standard requires an agency
                 to “examine the relevant data and articulate a
                 satisfactory explanation for its action.” Motor Vehicle
                 Mfrs. Ass’n of U.S., Inc. v. State Farm Mut. Auto. Ins.
                 Co., 463 U.S. 29, 43 (1983). An agency acts arbitrarily
                 or capriciously if it “fail[s] to consider an important
                 aspect of the problem” it is addressing. Id.
                   Where—as here—an agency considers reversing or
                 rescinding an existing policy, one “important aspect of
                 the problem,” State Farm, 463 U.S. at 43, is the
                 possibility that segments of the public may have
                 ordered their affairs in reliance on existing rules.
                 This Court has made clear that in such circumstances,




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                 an agency must—at the very least—“display
                 awareness that it is changing position” and “take[]
                 into account” any “serious reliance interests” fostered
                 by the prior policy. FCC v. Fox Television Stations,
                 Inc., 556 U.S. 502, 515 (2009). The agency cannot act
                 in spite of those interests without providing a
                 “reasoned explanation * * * for disregarding facts and
                 circumstances that * * * were engendered by the prior
                 policy.” Id. at 516. To “ignore such matters” violates
                 the APA. Id. at 515.
                   This Court has applied the Fox standard to informal
                 policy statements. In Encino Motorcars, LLC v.
                 Navarro, 136 S. Ct. 2117 (2016), the Court invalidated
                 a regulation that classified certain employees as
                 subject to federal wage-and-hour laws. Id. at 2123,
                 2126. Because that regulation contravened a prior,
                 informal policy statement excluding those same
                 employees, the Court held that the agency needed to
                 provide more than a “summary discussion” before
                 issuing it. Id. at 2126. Indeed, in light of the “serious
                 reliance interests * * * at stake,” any “reasoned
                 explanation” had to justify not only the rule the
                 agency adopted, but also the “decision to depart from
                 its existing enforcement policy.” Id. at 2126-27
                 (agency had “duty to explain why it deemed it
                 necessary to overrule its previous position”). What
                 might “suffice in other circumstances”—i.e., where an
                 agency is writing on a blank slate—is inadequate
                 where an agency decision reflects a departure from
                 prior enforcement policy. Id. at 2126; see also, e.g.,
                 Nat’l Lifeline Ass’n v. FCC, 921 F.3d 1102, 1114 (D.C.
                 Cir. 2019) (agency action “was arbitrary and
                 capricious” in “departing from” a prior non-
                 enforcement policy while “failing to consider * * * the
                 reliance interests” of regulated parties and others).




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                   As the courts below recognized, the government’s
                 decision to end DACA “demonstrates no true
                 cognizance of the serious reliance interests at issue.”
                 NAACP v. Trump, 315 F. Supp. 3d 457, 473 (D.D.C.
                 2018). Respondents have raised this issue in broad
                 terms. See Br. for Regents of Univ. of Cal., at 40-43.
                 As further shown below, the issue is substantial and
                 far-reaching: health professional schools, hospitals,
                 and other institutions have made significant, long-
                 term investments of time and money in the training
                 of DACA recipients wholly in reliance on these
                 individuals’ continued work authorization under
                 DACA. These investments were made amidst severe
                 shortages of trained health care workers, where the
                 nation needs every single one available. Nothing in
                 the record shows that the government considered
                 these or any other disruptions of significant reliance
                 interests at all, much less gave them the serious
                 consideration that the law requires. And because the
                 courts below correctly found that the government did
                 not, this Court should affirm the judgments and hold
                 that DACA’s rescission was arbitrary and capricious.
                  II. LOSS OF DACA STATUS FOR HEALTH
                      CARE TRAINEES AND PROFESSIONALS
                      WOULD NULLIFY SUBSTANTIAL
                      INVESTMENTS MADE BY SCHOOLS,
                      OTHER INSTITUTIONS, AND
                      RECIPIENTS, TO THE PUBLIC’S
                      SIGNIFICANT DETRIMENT.
                    A. Recipients Depend On DACA For Their
                       Work Eligibility.
                  The reliance interests in this case arise because
                 DACA is the sole source of work authorization for




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                 most of its recipients.9 Such authorization is critical
                 to anyone seeking to practice medicine or otherwise
                 work in the health care sector in the United States.
                 Federal law prohibits anyone from hiring or from
                 continuing to employ any person who is not
                 authorized by the federal government to work. See 8
                 U.S.C. §§ 1324a(a)(1)-(2), (h)(3).
                   As relevant here, only three classes of noncitizens
                 are eligible for work authorization: those who are
                 lawfully admitted to the United States, those who
                 have visas, and those eligible to apply for work
                 authorization owing to specific circumstances. See 8
                 C.F.R. § 274a.12. By definition, DACA recipients have
                 entered the country without legal authorization, and
                 thus are only eligible—if at all—for work
                 authorization under the third category.
                   DACA thus provides its recipients with a way to be
                 self-sufficient and contribute to the U.S. workforce
                 and economy. Any noncitizen “who has been granted
                 deferred action” may apply for and receive
                 authorization so long as “the alien establishes an
                 economic necessity for employment.”        8 C.F.R.
                 § 274a.12(c)(14).




                   9 See Shoba Sivaprasad Wadhia, Demystifying Employment
                 Authorization & Prosecutorial Discretion in Immigration Cases,
                 6 Colum. J. Race & L. 1, 3 (2016) (DACA provides a route to work
                 authorization that the “vast majority” of its recipients would
                 otherwise lack).




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                       B. Medical Schools, Teaching Hospitals,
                          And Other Educational And Health
                          Care Institutions Expended Vast
                          Amounts Of Time, Money, And Other
                          Resources In Reliance On DACA.
                   Medical schools, teaching hospitals, and other
                 health care institutions have invested heavily in
                 DACA recipients, in reliance on the premise that they
                 would be legally authorized to perform the jobs for
                 which they have been, or are being, trained. Those
                 investments, moreover, were made to serve the public
                 interest, as the country faces an ever-increasing
                 shortage in the number of health care professionals.
                   Since 1982, students who arrived in the United
                 States without legal authorization as children have
                 been able to benefit from public K-12 education.
                 Plyler v. Doe, 457 U.S. 202, 223 (1982). Some of these
                 children have found ways to pay for college
                 educations. However, prior to DACA, medical school
                 was not a realistic option for undocumented
                 immigrants who were brought to the U.S. as children.
                 Without formal recognition of deferred action status
                 from the government, undocumented immigrants
                 were legally foreclosed from working as licensed
                 physicians and thus could not meet the technical
                 standards for admission into most medical schools.
                 There are a limited number of seats in medical
                 schools, and each medical school takes seriously its
                 responsibility to the public to use every available seat
                 to produce a physician capable of contributing to the
                 health care workforce. Consequently, before 2013 no
                 medical school had any published policy allowing
                 undocumented immigrants to be accepted into their
                 programs.




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                   DACA changed this calculus. As related by one
                 department chair, DACA provided the “missing link”
                 for medical schools to accept qualified noncitizens
                 because it offered a route to work permits for
                 recipients.10 In the autumn of 2013, the first DACA
                 recipients entered medical school, and in the ensuing
                 years the number of DACA applicants and
                 matriculants steadily grew.        As of the 2019
                 application cycle, 65 medical schools across the
                 country have reported admissions policies that
                 include DACA recipients. Those schools include
                 Alpert Medical School at Brown University,
                 Georgetown University School of Medicine, Harvard
                 Medical School, Stritch School of Medicine at Loyola
                 University (“Stritch”), Michigan State University
                 College of Human Medicine, University of Minnesota
                 Medical School, University of Nevada Reno School of
                 Medicine, Medical College of Wisconsin, Yale School
                 of Medicine, and others. According to AAMC data,
                 nearly 200 DACA recipients have matriculated into
                 medical school, and many of them have graduated and
                 entered or completed their medical residencies.
                   It was DACA that allowed medical schools to accept
                 and train nearly all of these students. For example,
                 Rosa Aramburo graduated college with degrees in
                 biology and literature. Id. One of her college advisors
                 wrote to the department chair of medical education at
                 Stritch that “one of the brightest students he had ever
                 encountered was about to slip through the cracks
                 because of her undocumented status.”                Id.


                  10 Sarah Conway & Alex V. Hernandez, Loyola’s DACA
                 Medical Students, Largest Group in the Country, Plagued with
                 Uncertainty,      Chicago   Trib.    (Sept.    13,    2017),
                 https://tinyurl.com/y485wmxu.




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                 Dr. Aramburo’s talent and drive, along with DACA’s
                 extension of work authorization, inspired Stritch to
                 admit her. She has since earned her M.D. and is now
                 in the first year of her Obstetrics and Gynecology
                 residency.
                   More broadly, DACA recipients, like their citizen
                 counterparts, were selected for admission to medical
                 school because of their academic and personal
                 achievements. Many were high school valedictorians.
                 Most have undergraduate degrees in complex sci-
                 ences, such as integrative biology, neurology, physics,
                 and molecular and cellular biology. Many have
                 impressive volunteer and leadership experiences. All
                 scored competitively on the Medical College
                 Admission Test. Moreover, the very fact of their
                 having met the rigorous qualifications for admission
                 to medical school is a testament to their
                 determination and fortitude—precisely the attributes
                 one looks for in a physician.
                   Teaching hospitals have also invested substantial
                 time and money in training residents with DACA-
                 dependent work authorization. There are currently
                 an estimated 41 medical residents with DACA status,
                 including many whose residencies are nearly
                 complete. The direct training costs for these residents
                 has been estimated at $157,602 per resident, per
                 year.11  Based upon available data, the AAMC


                   11 Health Res. & Servs. Admin., U.S. Dep’t of Health & Human
                 Servs., Cost Estimates for Training Residents in a Teaching
                 Health Center at 2 (last visited Sept. 24, 2019),
                 https://bhw.hrsa.gov/sites/default/files/bhw/grants/thc-costing-
                 fact-sheet.pdf. This number does not include indirect costs or
                 those associated with the physical space and equipment
                 retrofitting required to host and train medical residents.




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                 estimates that, as of February 2019, hospitals in the
                 U.S. have invested approximately $5 million training
                 medical      residents     with      DACA      status.12
                 Accompanying this significant financial investment is
                 an investment of tens of thousands of hours in
                 supervision, training, and administration. As with all
                 physicians’ residency training, enormous resources
                 have been expended with the expectation of a return
                 on that investment in the form of highly-trained
                 professionals able to serve the public by practicing
                 medicine independently. These investments would
                 not have been made but for reliance on DACA
                 recipients’ continued eligibility to work in the U.S.
                   Other health professional schools have invested in
                 the training of DACA recipients for the health care
                 workforce. DACA recipients are also pursuing or have
                 obtained graduate degrees in medical sciences. With
                 the support of privately funded fellowships or in
                 collaboration with universities, these individuals are
                 researching radiation sensors, the role of cholesterol
                 regulation in breast cancer cells, the formation of
                 genetic abnormalities associated with cancer, changes
                 in the structure and function of proteins that may
                 result in autoimmune disorders, and cognitive




                  12 According to available self-reported AAMC data, most
                 recently updated in February 2019, there was one DACA
                 resident in 2016-2017, eight DACA residents in 2017-2018, and
                 twenty DACA residents in 2018-2019. Because the AAMC has
                 not collected data on DACA status consistently across programs,
                 these numbers are not comprehensive. The five million dollar
                 figure quoted above does not include costs associated with an
                 additional 20 or more DACA residents who began residencies in
                 2019. (Data on file with AAMC).




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                 neuroscience, among other things.13 As with other
                 health care professionals, these researchers’ ability to
                 continue their work in their fields is contingent upon
                 work authorization.
                    All of these institutions have invested money,
                 time, and other resources into DACA recipients’
                 training and development because of the promise
                 presented by these bright learners, eager to
                 contribute their talents to the health care workforce.
                 Institutions would not have made these investments
                 but for their reliance on the continued work
                 authorization afforded by the DACA program.
                    C. DACA Recipients Relied On Their
                       Eligibility To Work When They Decided
                       To Invest Their Own Time, Effort, And
                       Resources In A Health Care Career.
                   Thousands of DACA recipients have also invested
                 vast amounts of their own time, effort, and resources
                 to be able to serve the United States health care
                 system. Health professional education is expensive,
                 and financing that education presents even greater
                 challenges for most DACA recipients than it does for
                 citizens.
                   The necessary financial investments only increase
                 with medical school. Many DACA recipients patch
                 together tuition with merit-based scholarships and
                 private loans, all provided and accepted with the
                 expectation that they will be eligible for future
                 employment in the field in which they are being


                  13 Evelyn Valdez-Ward, The End of DACA Would Be a Blow to
                 Science, Sci. Am. Blog Network (Dec. 12, 2018),
                 https://blogs.scientificamerican.com/voices/the-end-of-daca-
                 would-be-a-blow-to-science/.




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                 trained.14 Because most DACA students are not
                 eligible for federal loans,15 most finance their
                 education through the private sector. Their only
                 realistic route to repay those loans turns on their
                 ability to practice medicine after residency, which in
                 turn is dependent on their continued work
                 authorization through DACA.
                   Even apart from financial investments, DACA
                 recipients have made substantial investments of both
                 time and effort in the reasonable expectation that
                 they will practice in their chosen field. Physicians, for
                 example, between post-graduate preparatory courses,
                 four years of medical school, and three to nine years
                 in internships, residencies, and fellowships, may
                 spend more than half of their lives in training before
                 being able to independently practice.16 Like others
                 pursuing a career in medicine, DACA recipients who
                 are or will become physicians have delayed making an
                 income for four or more years after graduating college,
                 and may have instead accrued debt, so that they could
                 acquire the skills they will need to treat patients.
                 Other health care workers make similar sacrifices.


                   14 Pre-Health Dreamers, Frequently Asked Questions &
                 Answers about Medical School for Pre-med Undocumented
                 Students Across the Nation at 11-14 (last visited Sept. 24, 2019),
                 https://tinyurl.com/yyhcsqkt.
                   15 See Fed. Student Aid, U.S. Dep’t of Educ., Who Gets Aid:
                 Non-U.S. Citizens (last visited Sept. 24, 2019), https://
                 studentaid.ed.gov/sa/eligibility/non-us-citizens (“Undocumented
                 students, including DACA recipients, are not eligible for federal
                 student aid.”).
                   16 Amy E. Thompson, MD, A Physician’s Education, J. Am.
                 Med. Assoc. (Dec. 10, 2014), https://jamanetwork.com/journals/
                 jama/fullarticle/2020375.




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                       D. Rescinding DACA Will Nullify These
                          Investments And Worsen A Shortage
                          Of Health Care Professionals In The
                          United States.
                   Each DACA recipient in the health care sector
                 embodies a substantial, irreplaceable investment of
                 time and resources made with the reasonable
                 expectation that that recipient would be eligible to put
                 his or her education and training into practice. Every
                 dollar or hour invested in a DACA recipient’s
                 education and training during the past seven years is
                 a dollar or hour not invested in someone else’s.
                   For that reason, the resources expended on DACA
                 recipients’ educations cannot ever be recouped. If
                 those individuals are prevented from working in the
                 U.S., their abrupt absence will leave a critical gap in
                 the health professional workforce. While the medical
                 field has worked to expand its training capacity, it
                 cannot backfill such a significant number of trainees.
                 Even if new resources were suddenly found to educate
                 and train replacement physicians, it would be ten
                 years before any of those physicians had the training
                 and preparation to practice medicine independently.
                 Because of these limitations, medical schools and
                 teaching hospitals strive not to lose a single medical
                 student or resident. The loss of all DACA medical
                 students and residents if DACA is rescinded would
                 mark a concrete and enduring loss to medical schools,
                 teaching hospitals, and the U.S. public at large.
                   In addition to the harm to educational institutions,
                 rescinding DACA also threatens to exacerbate a
                 broader threat facing the country. Over the next
                 decade, the United States will face increased health
                 care challenges arising from its aging population. By
                 2050, adults over the age of 65 will make up 20% of




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                 the population, outnumbering children for the first
                 time in U.S. history.17 Almost half of the population
                 is expected to have at least one chronic disease by
                 2020, and as the population ages this number will
                 increase.18 Due in large part to the aging population,
                 the growth in demand for health care services workers
                 in the next decade is projected to outstrip that of any
                 other occupational group.19
                   This increase in demand will be met by a projected
                 decrease in supply. More than a third of all currently
                 active physicians will be 65 or older within the next
                 decade, and will retire at a rate faster than new
                 graduates can replace them.20 The AAMC’s workforce
                 studies have projected a future shortfall of between
                 46,900 to 121,900 primary and specialty care
                 physicians by 2032.21 Shortages are and will
                 continue to be experienced in other health care
                 professions as well.22

                  17 U.S. Census Bureau, Older People Projected to Outnumber
                 Children for First Time in U.S. History (Sept. 6, 2018).
                   18 Wullianallur Raghupathi & Viju Raghupathi, An Empirical
                 Study of Chronic Diseases in the United States: A Visual
                 Analytics Approach to Public Health, 15 Int’l J. Envtl. Res. &
                 Pub. Health 431, 431 (Mar. 2018), https://www.ncbi.nlm.nih.gov/
                 pmc/articles/PMC5876976/.
                   19 Bureau of Labor Stat., U.S. Dep’t of Labor, Occupational
                 Outlook Handbook: Healthcare Occupations (September 4, 2019),
                 https://www.bls.gov/ooh/healthcare/home.htm.
                   20 Ass’n of Am. Med. Colls., supra note 5, at x, 4.

                   21 Id. at 1-2.

                   22 Ctr. For Health Workforce Studies, SUNY-Albany Sch. of
                 Pub Health, Health Care Employment Projections, 2016-2026: An
                 Analysis of Bureau of Labor Statistics Projections by Setting and
                 by Occupation at 3 (Feb. 2018), https://tinyurl.com/y58hfz6x




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                   These shortages are nationwide.           Texas, for
                 example, has nearly 1,200 health professional
                 shortage areas (HPSAs) that have been designated by
                 the Health Resources and Services Administration
                 (HRSA).23     Nationwide, there are 6,782 dental
                 HPSAs, with 56 million affected people, requiring
                 9,951 additional practitioners to fill the gaps. Over
                 the next decade, thirty-seven states will have a
                 shortage of primary care physicians, seven will face a
                 shortage of nurses, and there will be shortages among
                 cardiologists, gastroenterologists, hematologists,
                 oncologists, and pulmonologists.24 Across the nation,


                 (projecting annual need of 37,000 new physicians, nurse
                 practitioners, and physician assistants). The Henry J. Kaiser
                 Family Foundation similarly estimates a nationwide shortage of
                 6,894 mental-health professionals and 10,635 dental health
                 professionals. Henry J. Kaiser Fam. Found., supra note 6.
                    23 See generally Health Res. & Servs. Admin., U.S. Dep’t of
                 Health & Human Servs., Health Professional Shortage Areas
                 (last visited Sept. 24, 2019), https://bhw.hrsa.gov/shortage-
                 designation/hpsas.
                   24 Nat’l Ctr. For Health Workforce Analysis, U.S. Dep’t of
                 Health & Human Servs., State-Level Projections of Supply and
                 Demand for Primary Care Practitioners: 2013-2025, at 5 (Nov.
                 2016),        https://bhw.hrsa.gov/sites/default/files/bhw/health-
                 workforce-analysis/research/projections/primary-care-state-
                 projections2013-2025.pdf; Nat’l Ctr. For Health Workforce
                 Analysis, U.S. Dep’t of Health & Human Servs., Supply and
                 Demand Projections of the Nursing Workforce: 2014-2030, at 4-5
                 (July 21, 2017), https://bhw.hrsa.gov/sites/default/files/bhw/
                 nchwa/projections/NCHWA_HRSA_Nursing_Report.pdf
                 (identifying shortages of RNs in 7 states and shortages of LPNs
                 in 33 states); Nat’l Ctr. For Health Workforce Analysis, U.S.
                 Dep’t of Health & Human Servs., National and Regional
                 Projections of Supply and Demand for Internal Medicine
                 Subspecialty Practitioners: 2013-2025, at 4 (Dec. 2016),
                 https://bhw.hrsa.gov/sites/default/files/bhw/health-workforce-




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                 HRSA has identified more than 5,000 areas in the
                 U.S. with a shortage of mental-health professionals,
                 which means that less than half of this nation’s need
                 for mental health treatment is being addressed.25 By
                 removing current and expected health professionals
                 from practice, rescinding DACA will only worsen
                 these shortages.
                   DACA health care workers are an important part of
                 the nation’s response to health care shortages in
                 regions and communities with insufficient access to
                 health care or culturally responsive care, as these are
                 the communities where DACA recipients have shown
                 a propensity to work. According to a survey of
                 undocumented youth interested in health careers
                 conducted in 2016, 97% expressed plans to ultimately
                 work in the neighborhoods in which they grew up, or
                 other underserved areas.26 That number is consistent
                 with other studies demonstrating that individuals
                 who are under-represented in medicine are twice as
                 likely to pursue careers working with underserved
                 populations.27



                 analysis/research/projections/internal-medicine-subspecialty-
                 report.pdf.
                   25 See Health Res. & Servs. Admin., U.S. Dep’t of Health &
                 Human Servs., Map Tool—Shortage Areas, (last visited Sept. 24,
                 2019), https://data.hrsa.gov/hdw/tools/MapTool.aspx (showing
                 mental health shortage areas).
                   26 Chen, supra note 7, at 27 .

                   27 Andrea N. Garcia et al., Factors Associated with Medical
                 School Graduates’ Intention to Work with Underserved
                 Populations: Policy Implications for Advancing Workforce
                 Diversity, Acad. Med. (Sept. 2017), https://www.ncbi.nlm.nih.gov
                 /pmc/articles/PMC5743635/.




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                   DACA recipients currently in health professional
                 schools have discussed painful childhood experiences
                 that motivated them to pursue careers in the medical
                 profession: family members unnecessarily suffering—
                 and even dying—from treatable conditions like
                 diabetes, breast cancer, stroke, heart conditions,
                 prostate cancer, and anemia due to a lack of access to
                 care. “The older I got,” says Ali Torabi, a medical
                 student at Stritch, “the more I recognized the
                 disparities between my community and the
                 communities that had access to health care. I’ve had
                 injuries where I’ve avoided going to the
                 hospital * * * because broken bones are expensive.”28
                 Blanca Morales, a fourth-year medical student at
                 Harvard, recalls how some of her family members
                 with diabetes went without medical support. “I
                 remember thinking that we have all this new
                 technology and these new advances in managing
                 diabetes, but we can’t access them.” Id. For these
                 young people, becoming a physician for the
                 underserved is not just a profession but a calling. As
                 Hector Perez, a public health graduate student at
                 Columbia, puts it: “my passion for public health arose
                 from my undocumented immigrant identity.”29
                 “Seeing * * * all the extra hurdles you have to go
                 through when you are underprivileged,” says Sharjeel




                  28 Gabrielle Redford, DACA Students Risk Everything to
                 Become Doctors (Sept. 17, 2018), https://www.aamc.org/news-
                 insights/daca-students-risk-everything-become-doctors.
                  29 Hector Sanchez Perez, Student Blog: I’m a Mailman
                 Dreamer (Feb 20, 2018), https://www.mailman.columbia.edu/
                 public-health-now/news/student-blog-im-mailman-dreamer.




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                 Syed, a medical student at Stanford, “makes me want
                 to * * * create solutions.”30
                   States have recognized the criticality of DACA
                 recipients to health care in rural and underserved
                 areas.     After the Arkansas Board of Nursing
                 announced in 2017 that it would no longer license
                 DACA recipients to practice, the state legislature
                 quickly reversed course in light of the impact of the
                 loss of these trained nurses. The legislature instead
                 recognized that Arkansas was “suffering from a
                 nursing shortage across the state,” such that it was
                 “in the best interest of the State of Arkansas to make
                 full use of the skills and talents in the state by
                 ensuring that an individual who is work-authorized
                 under the [DACA] policy is able to obtain an
                 occupational or professional license and practice his or
                 her occupation or profession.”31 Similar bills have
                 been passed in other states with health care
                 shortages, such as Nebraska, Indiana, and Nevada.32


                   30 Redford, supra note 30.

                   31 H.B. 1552, 92d Gen. Assemb., Reg. Sess., § 1(a)(6) (Ark.
                 2019), http://www.arkleg.state.ar.us/assembly/2019/2019R/Bills/
                 HB1552.pdf.
                    32 A.B. 275, 80th Sess., § 2 (Nev. 2019), https://legiscan.com/
                 NV/text/AB275/id/2030359/Nevada-2019-AB275-Enrolled.pdf
                 (“The Legislature hereby finds and declares that * * * It is in the
                 best interests of this State to make full use of the skills and
                 talents of every resident of this State [and] it is the public policy
                 of this State that each resident of this State, regardless of his or
                 her immigration status, is eligible to receive the benefit of
                 applying for a license, certificate or permit pursuant to 8 U.S.C.
                 1621(d).”); S.E.A. 419, 120th Gen. Assemb., 2d Reg. Sess., § 1(C)
                 (Ind. 2018), http://iga.in.gov/static-documents/3/5/f/f/35ff8b3b/
                 SB0419.05.ENRH.pdf (expands eligibility for professional
                 licensure to individuals who have been “authorized by the federal




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                   Illinois has also applied DACA recipients’
                 willingness to work in underserved communities as
                 part of its strategy to address state health care
                 shortages.     In 2013, Illinois provided financial
                 resources to enable DACA medical and dental
                 students in the State with education and training in
                 order to serve underserved communities in the
                 State.33 Under that program, loan recipients agree to
                 a yearly service obligation that requires them to work
                 in a primary-care specialty in one of several types of
                 underserved areas in the state of Illinois. For each
                 year of funding recipients receive from Illinois, they
                 agree to spend a year serving a population in need. Id.
                 Loan recipients under this program who have
                 graduated medical school are currently in medical
                 residencies and have not yet begun their service
                 obligations. To date, Illinois has invested millions in
                 these students to address its underserved
                 populations. If the administration is permitted to
                 rescind DACA, Illinois will lose not only the money it
                 has already invested (which would otherwise be
                 recouped through loan repayment funded by
                 recipients’ earnings as physicians) but also the
                 promise of needed care in shortage areas.


                 government to work in the United States”); L.B. 947, § 3(a) (Neb.
                 2016), https://nebraskalegislature.gov/FloorDocs/104/PDF/Slip/
                 LB947.pdf (“The Legislature finds that it is in the best interest
                 of the State of Nebraska to make full use of the skills and talents
                 in the state by ensuring that a person who is work-authorized is
                 able to obtain a professional or commercial license and practice
                 his or her profession.”).
                   33 See Ill. Fin. Auth., Board Book, at 53 (July 9, 2013),
                 https://tinyurl.com/yxqa2cjw (describing program); Ill. Fin.
                 Auth.,     Resolution   2013-0709-AD05     (July  9,   2013),
                 https://tinyurl.com/y6o23j96 (approving program).




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                   These states’ investments into DACA health care
                 professionals was made in the context of what was
                 known and projected about shortages. However, if
                 DACA is rescinded, these projections will change, and
                 our nation’s health needs will deepen. A rescission of
                 DACA is a threat to public health: the sudden loss of
                 employment by roughly a million people will likely
                 result in a concomitant reduction in their living
                 conditions, their mental health, and their ability to
                 seek preventative health care.34 The impact will not
                 be contained to the undocumented immigrant
                 community, and will put additional pressure on the
                 nation’s health care infrastructure,35 as the need for
                 health care professionals increases at the same time
                 that tens of thousands of health care professionals are
                 excluded from the workforce.
                   In addition to providing much-needed health care,
                 physicians also contribute to the economies of the
                 communities in which they work. A 2018 study by the
                 American Medical Association showed that, on aver-
                 age, every physician supports the employment of over
                 seventeen other people, generates $3.2 million dollars
                 of economic activity, contributes $1.4 million to
                 workers’ wages and benefits, and generates $126,129


                  34 Atheendar S. Venkataramani, M.D., Ph.D. & Alexander C.
                 Tsai, M.D., Ph.D., Dreams Deferred—The Public Health
                 Consequences of Rescinding DACA, 377 New Eng. J. Med. 1707,
                 1708 (Nov 2, 2017).
                  35 Osea Giuntella & Jakub Lonsky, The Effect of DACA on
                 Health Insurance, Access to Care, and Health Outcomes, at 14,
                 IZA Inst. of Labor Econ. Discussion Paper Series (Apr. 2018)
                 (Concluding that a rescission of DACA could have detrimental
                 effects on DACA recipients, health care providers, and public
                 health officials).




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                 in state and local tax revenue.36 Physicians also act
                 as financial multipliers in the communities they serve
                 by providing cost-efficient preventative care and
                 adding jobs to the local economy. For every DACA
                 student or physician who loses work authorization,
                 cities, states, and the country will lose these
                 significant benefits.
                   The effects of rescinding DACA will extend far
                 beyond the impact on DACA recipients themselves.
                 For years, health professional schools, hospitals, and
                 even states themselves have invested substantially in
                 educating and training DACA recipients under the
                 expectation that they would be able to return that
                 investment with a lifetime of practice that benefits the
                 public in ways that will be crucial over the next
                 decades. These serious reliance interests warranted
                 consideration before the government decided to
                 rescind DACA.
                  III. THE GOVERNMENT ACTED
                      ARBITRARILY AND CAPRICIOUSLY IN
                      FAILING TO TAKE ACCOUNT OF ANY OF
                      THESE AND OTHER SERIOUS RELIANCE
                      INTERESTS.
                   Nothing in the government’s effort to justify its
                 change in position even attempts to take account of
                 the weighty reliance interests set forth above. To the
                 contrary, the government provided only a brief state-
                 ment that to the extent reliance interests exist, they




                  36 Am. Med. Ass’n, 2018 American Medical Association
                 Economic Impact Study, (last visited Sept.    24,   2019),
                 https://www.physicianseconomicimpact.org/.




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                                           25
                 are less important than DACA’s supposedly “question-
                 able legality,” along with unspecified “other reasons
                 for ending” it. NAACP, 315 F. Supp. 3d at 473.
                   Even now, the government all but dismisses reliance
                 interests. In barely more than a page of its brief, the
                 government argues that DACA could not have
                 engendered any reliance interests because it was not
                 intended to confer any “substantive right,” and that
                 whatever reliance interests may have arisen were
                 overcome by the “legal and institutional concerns”
                 arising from DACA itself. See Pet. Br. 42-43; Regents
                 Pet. App. 101a, 125a.
                   Neither of these arguments justifies the
                 government’s failure to consider reliance interests.
                 By definition, where an agency has the ability to
                 reverse an existing regulatory program, that program
                 will not confer permanently vested rights. This Court
                 has made clear, however, that in these circumstances,
                 the agency must still give serious consideration to
                 reliance interests that would be disrupted by that
                 action. This Court has further held that even informal
                 policy statements issued through an opinion letter
                 may suffice to engender serious reliance interests.
                 See, e.g., Encino Motorcars, 136 S. Ct. at 2123, 2126.
                 Likewise here, the government’s reliance on a single,
                 boilerplate statement at the end of a memorandum
                 that accompanied DACA’s issuance, see Regents Pet.
                 App. 101a, does not address any of the practical effects
                 that DACA has had on the medical profession and
                 others over the years since DACA was put in place.
                   Nor has the government adequately addressed
                 reliance issues through its assertion that its “legal
                 and institutional concerns” outweighed those reliance
                 interests. See Pet. Br. 42-43. That argument is no
                 better than the reasoning this Court found




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                 insufficient in Encino Motorcars. Compare Regents
                 Pet. App. 125a, with Encino Motorcars, 136 S. Ct. at
                 2126-27.
                   In any event, to the extent the government
                 acknowledged reliance interests, its consideration
                 was limited to the reliance interests of DACA
                 recipients themselves. See Regents Pet. App. 125a
                 (noting that “neither any individual’s reliance * * * nor
                 the sympathetic circumstances of DACA recipients as
                 a class” sufficed to avoid rescinding DACA). It did not
                 consider the reliance interests of any other group,
                 such as the effects rescinding DACA would have on
                 American health care. This includes the effects on our
                 health professions and educational communities, like
                 the ones amici represent, who have already invested
                 substantial and irreplaceable resources educating and
                 training DACA recipients to care for the American
                 public.37 The government’s analysis therefore does
                 not comport with the requirement to consider reliance
                 interests beyond parties directly subject to a
                 regulatory change. See, e.g., Nat’l Lifeline Ass’n, 921
                 F.3d at 1114-15.
                   In sum, the government’s analysis and stated
                 rationale are plainly deficient. Accordingly, the lower
                 courts were correct that rescinding DACA without



                  37 The institutional expenditures set forth above reflected
                 entirely reasonable reliance on DACA’s continuing viability. As
                 late as April 23, 2017—just months before the current
                 administration attempted to rescind the program—President
                 Trump assured the country that “the dreamers should rest easy,”
                 because he was only “after the criminals.” Interview by Julie
                 Pace with Donald Trump, Associated Press (Apr. 23, 2017),
                 https://tinyurl.com/lr7z7ye.




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                                         27
                 considering weighty, unaddressed reliance interests
                 was arbitrary and capricious.
                                   CONCLUSION
                   For the foregoing reasons and those in the
                 respondent’s brief, the judgment should be affirmed.
                                       Respectfully submitted,
                HEATHER J. ALARCON JONATHAN S. FRANKLIN
                FRANK R. TRINITY       Counsel of Record
                ASSOCIATION OF        DAVID KEARNS
                  AMERICAN MEDICAL NORTON ROSE FULBRIGHT US LLP
                  COLLEGES            799 Ninth Street, N.W.
                655 K Street N.W.     Suite 1000
                Suite 100             Washington, D.C. 20001
                Washington, D.C 20001 (202) 662-4663
                (202) 478-9939

                October 2019           Counsel for Amici Curiae




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                                                                           AR5469
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                                          1a
                                  AMICI CURIAE
                   America’s Essential Hospitals—an association of
                 more than 300 hospitals and health systems dedicated
                 to high-quality care for all, including the most
                 vulnerable, and that provide specialized, lifesaving
                 services, train the health care workforce, advance
                 public health and health equity, and coordinate care.
                   American Academy of Child and Adolescent
                 Psychiatry—a medical membership association
                 established by child and adolescent psychiatrists in
                 1953. With over 9,500 members strong, AACAP is the
                 leading national medical association dedicated to
                 treating and improving the quality of life for the
                 estimated 7-15 million American youth under 18
                 years of age who are affected by emotional,
                 behavioral, developmental and mental disorders.
                   American Academy of Family Physicians—
                 represents 134,600 family physicians, family-
                 medicine residents, and medical students from all
                 fifty states, the District of Columbia, Guam, Puerto
                 Rico, the Virgin Islands, and the Uniformed Services
                 of the United States.
                   American Association of Colleges of Nursing—
                 is the national voice for academic nursing.
                 Representing over 825 member schools offering
                 baccalaureate and graduate programs in nursing at
                 public and private universities nationwide, AACN
                 works to establish quality standards for nursing
                 education; assists schools in implementing those
                 standards; influences the nursing profession to
                 improve health care; and promotes public support for
                 professional nursing education, research, and
                 practice.




                                                                           AR5470
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                                          2a
                   American     Association    of   Colleges  of
                 Pharmacy—represents pharmacy education in the
                 United States to advance pharmacy education,
                 research, scholarship, practice, and service in
                 partnership with members and stakeholders, to
                 improve health for all.
                   American College of Healthcare Executives—
                 an international professional society of more than
                 48,000 healthcare executives who lead hospitals,
                 healthcare     systems,   and   other    healthcare
                 organizations.
                  American College of Obstetricians and
                 Gynecologists—is a not-for-profit educational and
                 professional organization with more than 58,000
                 members dedicated to the healthcare of women.
                   American College of Physicians—represents
                 159,000 internal-medicine physicians (internists),
                 related subspecialists, and medical students.
                  American College of Preventive Medicine—a
                 professional medical society of more than 2,700
                 preventive medicine and public health physicians who
                 manage, research, and influence population health.
                   American Dental Education Association—the
                 “Voice of Dental Education,” with members that
                 include all 68 U.S. dental schools, over 1,000 allied
                 and advanced dental-education programs, 60
                 corporations, and more than 20,000 individuals.
                   American Medical Association—the largest
                 professional association of physicians, residents, and
                 medical students in the United States. The AMA
                 appears on its own behalf and as a representative of
                 the Litigation Center of the American Medical
                 Association and the State Medical Societies.




                                                                           AR5471
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                                          3a
                   American Medical Student Association—
                 represents the concerns of more than 30,000
                 physicians-in-training in the United States.
                   American Nurses Association—represents the
                 interests of the nation's approximately 4 million
                 registered nurses. ANA’s membership consists of both
                 individual members and organizational members,
                 which include over 35 affiliate member specialty
                 nursing organizations and 50 state or constituent
                 nursing associations.     Together, ANA and its
                 members work to find solutions to issues that face the
                 nursing profession.
                   American Psychiatric Association—represents
                 more than 38,500 medical doctors involved in clinical
                 psychiatric practice, research, academia, and
                 education of psychiatrists needed to prevent,
                 diagnose, and treat mental health and substance use
                 disorders. Its membership represents the diversity of
                 the patients for whom they care.
                   American Public Health Association— an
                 organization of nearly 25,000 public health
                 professionals, champions the health of all people and
                 all communities, strengthens the profession of public
                 health, shares the latest research and information,
                 promotes best practices, and advocates for public-
                 health issues and policies grounded in research.
                   American Society of Hematology—the world’s
                 largest professional society of hematologists,
                 including clinicians and researchers, who are
                 dedicated to furthering the understanding, diagnosis,
                 treatment, and prevention of disorders affecting the
                 blood.




                                                                           AR5472
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                                          4a
                   American Society of Nephrology—Since 1966,
                 ASN has been leading the fight to prevent, treat, and
                 cure kidney diseases throughout the world by
                 educating health professionals and scientists,
                 advancing research and innovation, communicating
                 new knowledge, and advocating for the highest
                 quality care for patients. ASN has more than 20,000
                 members representing 131 countries.
                   American       Thoracic      Society—a      medical
                 professional organization of over 16,000 members
                 dedicated to the prevention, detection, treatment, and
                 cure of pulmonary disease, critical care illness and
                 sleep disordered breathing through research,
                 education, clinical care, and advocacy.
                   Association of Academic Health Centers—a
                 not-for-profit association dedicated to advancing the
                 nation’s health and well-being through the vigorous
                 leadership of academic health centers.
                   Association of American Indian Physicians—
                 more than 412 American Indian/Alaskan Native
                 residents, licensed or retired Allopathic or
                 Osteopathic physicians, committed to pursuing
                 excellence in Native American health care by
                 promoting education in the medical disciplines,
                 honoring traditional healing principles and restoring
                 the balance of mind, body, and spirit.
                   Association of American Medical Colleges—
                 represents all 154 accredited U.S. medical schools;
                 nearly 400 major teaching hospitals and health
                 systems, and 80 academic societies.
                  Association of Schools and Programs of Public
                 Health—represents more than 120 schools and




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                                           5a
                 programs accredited by the Council on Education for
                 Public Health.
                   Association of Schools of Allied Health
                 Professions—a national association comprised of
                 127 not-for-profit universities focused on issues
                 impacting allied health education.
                  Association of University Programs in Health
                 Administration—a global network of colleges,
                 universities, faculty, individuals, and organizations
                 dedicated to the improvement of health and
                 healthcare delivery through excellence in healthcare
                 management and policy education and scholarship, by
                 promoting the value of university-based management
                 education for leadership roles in the health sector.
                   California Medical Association—a nonprofit,
                 incorporated professional association for physicians
                 with approximately 45,000 members throughout the
                 state of California. For more than 150 years, CMA has
                 promoted the science and art of medicine, the care and
                 well-being of patients, the protection of public health,
                 and the betterment of the medical profession. CMA’s
                 physician members practice medicine in all specialties
                 and settings, and is dedicated to the health of all
                 patients in California.
                   Council on Social Work Education—represents
                 over 800 accredited baccalaureate and master’s
                 degree social work programs, as well as individual
                 social work educators, practitioners, and agencies
                 dedicated to advancing quality social work education.
                   Greater New York Hospital Association—
                 represents more than 160 hospitals and health
                 systems located throughout New York, New Jersey,
                 Connecticut, Pennsylvania, and Rhode Island. All of




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                                          6a
                 GNYHA’s members are either not-for-profit entities,
                 charitable organizations, or publicly sponsored
                 institutions that provide services that range from
                 state-of-the-art, acute tertiary services to basic
                 primary care, and, with their related medical schools,
                 provide medical education and training and
                 undertake cutting-edge medical research.
                   National Council of Asian Pacific Islander
                 Physicians—represents Asian American, Native
                 Hawaiian, and Pacific Islander physicians committed
                 to the advancement of the health and well-being of
                 their patients and communities, and supports the
                 professional development of Asian American and
                 Pacific Islander medical students and residents.
                   National Hispanic Medical Association—
                 represents the interests and concerns of 50,000
                 licensed physicians committed to the mission to
                 improve the health of Hispanic populations with
                 affiliated Hispanic medical societies, resident and
                 medical-student organizations, and other public and
                 private partners.
                   National Medical Association—the largest and
                 oldest national organization representing the
                 interests of more than 30,000 African-American
                 physicians and the patients they serve.
                   Physician Assistant Education Association—
                 represents over 240 physician assistant programs
                 across the nation.
                   Pre-Health Dreamers—a network and community
                 of over 800 health career bound undocumented
                 students across 42 different states.
                   Society of General Internal Medicine—
                 represents more than 3,300 of the world’s leading




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                                         7a
                 academic general internists, who are dedicated to
                 improving access to care for vulnerable populations,
                 eliminating healthcare disparities, and enhancing
                 medical education.




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                                          In the
                      Supreme Court of the United States
                      DEPARTMENT OF HOMELAND SECURITY, ET AL.,
                                                    Petitioners,
                                         v.
                     REGENTS OF THE UNIVERSITY OF CALIFORNIA, ET AL,
                                                     Respondents.
                 DONALD J. TRUMP, PRESIDENT OF THE UNITED STATES, ET
                                        AL.,
                                                    Petitioners,
                                         v.
                    NATIONAL ASSOCIATION FOR THE ADVANCEMENT OF
                              COLORED PEOPLE, ET AL.,
                                                     Respondents.
                 KEVIN K. MCALEENAN, ACTING SECRETARY OF HOMELAND
                                   SECURITY, ET AL.,
                                                     Petitioners,
                                         v.
                          MARTIN JONATHAN BATALLA VIDAL, ET AL,
                                                     Respondents.
                    On Writ of Certiorari to the United States Court of
                   Appeals for the Ninth Circuit and Writs of Certiorari
                  Before Judgment to the United States Courts of Appeal
                     for the District of Columbia and Second Circuits
                     BRIEF OF NATIONAL SCHOOL BOARDS
                    ASSOCIATION ET AL. AS AMICI CURIAE IN
                         SUPPORT OF RESPONDENTS
                FRANCISCO M. NEGRÓN, JR. RICHARD P. BRESS
                Chief Legal Officer            Counsel of Record
                NATIONAL SCHOOL BOARDS SAMIR DEGER-SEN
                  ASSOCIATION               JESSICA SABA
                1680 Duke St., FL 2         LATHAM & WATKINS LLP
                Alexandria, VA 22314        555 11th St., NW, Ste. 1000
                (703) 838-6722              Washington, DC 20004
                                            (202) 637-2200
                                            richard.bress@lw.com
                                 Counsel for Amici Curiae




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                           INTERESTS OF AMICI CURIAE1
                    Amici curiae are educational organizations deeply
                 concerned about the significant consequences that
                 state and local government agencies will suffer if this
                 Court does not apply its usual standards of judicial
                 review under the Administrative Procedure Act
                 (“APA”) to hold that the actions of the Department of
                 Homeland Security (“DHS”) are arbitrary and
                 capricious. As entities involved in the provision of
                 public education, amici’s members are impacted by
                 complex federal agency regulations and actions.
                 Amici thus have a strong interest in ensuring that
                 federal agencies respect statutory and regulatory
                 limitations and engage in reasoned decision-making,
                 so as not to issue regulations or take actions that
                 unnecessarily harm state and local educational
                 interests. Judicial review ensures that agencies
                 provide transparency to and allow for meaningful
                 participation by organizations such as amici.
                    Amici have grave concerns about DHS’s decision
                 to rescind Deferred Action for Childhood Arrivals
                 (“DACA”). This decision would have severe
                 ramifications and devastating costs for public
                 education and the students it serves—impacting
                 thousands of school districts and their communities.
                 The following education associations respectfully
                 submit this amici curiae brief in support of
                 respondents:

                     1
                         The parties filed blanket consents to the filing of briefs
                 amici curiae. No counsel for a party authored this brief in whole
                 or part; and no such counsel, party, or other person or entity—
                 other than amici and their counsel—made a monetary
                 contribution intended to fund the preparation or submission of
                 this brief.




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                                            2

                     The National School Boards Association
                 (“NSBA”), founded in 1940, is a non-profit
                 organization representing state associations of school
                 boards across the country. Through its member state
                 associations, NSBA represents over 90,000 school
                 board members who govern approximately 13,800
                 local school districts serving nearly 50 million public
                 school students. NSBA regularly represents its
                 members’ interests before Congress and federal and
                 state courts and has participated as amicus curiae in
                 numerous cases before this Court. NSBA’s mission is
                 to promote equity and excellence in public education
                 through school board leadership.             NSBA is
                 particularly concerned about the ramifications for
                 public education and the students it serves that will
                 result from the rescission of DACA.
                     The School Superintendents Association
                 (“AASA”) represents over 13,000 school system
                 leaders and advocates. For over 150 years, AASA has
                 advocated for the highest quality public education for
                 all students, and provided programming to develop
                 and support school system leaders nationwide. The
                 Nation’s superintendents and the districts and
                 students they represent would be harmed by the
                 rescission of DACA. As the largest employer in many
                 communities, school districts will be impacted by the
                 cost of this reversal and it will hinder their ability to
                 provide high quality educational opportunities to
                 children they educate.
                     The National Association of Secondary
                 School Principals (“NASSP”) is the leading
                 organization of and voice for principals and other
                 school leaders across the Nation. NASSP seeks to
                 transform education through school leadership,
                 recognizing that the fulfillment of each student’s




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                 potential relies on great leaders in every school
                 committed to the success of each student. NASSP
                 believes that each child is entitled to an excellent
                 public school education, regardless of their
                 immigration status.
                     The American School Counselor Association
                 (“ASCA”) represents more than 36,000 school
                 counseling professionals. School counselors promote
                 equal opportunity, a safe and nurturing environment,
                 and respect for all individuals regardless of
                 citizenship status, including undocumented students
                 and students with undocumented family members,
                 understanding that this population faces unique
                 stressors. School counselors work to eliminate
                 barriers impeding student development and
                 achievement, and help today’s students become
                 tomorrow’s productive members of society.




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                            SUMMARY OF ARGUMENT
                     For the past half century, as the administrative
                 state has grown more complex and increasingly
                 pervasive, Congress and this Court have cabined the
                 vast power of executive agencies with one
                 fundamental check: that an agency must adequately
                 explain its actions. The government’s position in this
                 case is a frontal attack on that basic requirement.
                     Since DACA was established in 2012, the policy
                 has been relied upon by hundreds of thousands of
                 residents who entered the United States as children,
                 have no criminal records, and meet various
                 educational or military service requirements, to apply
                 for two-year renewable periods of deferred action. On
                 September 5, 2017, DHS rescinded DACA on the
                 ground that the agency believed the policy was
                 unlawful.      But the entirety of the agency’s
                 explanation for that decision was a cross-reference to
                 a threadbare, single-paragraph statement by the
                 Attorney General, which did not cite any statutory or
                 constitutional provision, did not acknowledge the
                 government’s change in position, and did not even
                 mention the reliance interests engendered by the
                 prior policy.
                     Under the ordinary rules governing agency
                 decision-making, that explanation was manifestly
                 deficient. This case can and should be resolved on
                 that ground, without any need for this Court to
                 address either the agency’s substantive discretion to
                 revoke DACA or the legality of the DACA program
                 itself.
                     As this Court has recognized time and again, the
                 APA requires that “[n]ot only must an agency’s
                 decreed result be within the scope of its lawful




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                 authority, but the process by which it reaches that
                 result must be logical and rational.” Michigan v.
                 EPA, 135 S. Ct. 2699, 2706 (2015) (emphasis added)
                 (citation omitted). Even when a court has “no reason
                 to doubt” an agency’s authority to take a challenged
                 action, the action must be vacated if the court “cannot
                 discern” why the agency made the decision it did.
                 Select Specialty Hosp.-Bloomington, Inc. v. Burwell,
                 757 F.3d 308, 314 (D.C. Cir. 2014). Furthermore,
                 when an agency changes position, it must “display
                 awareness” of that change and “show that there are
                 good reasons for the new policy.” FCC v. Fox
                 Television Stations, Inc., 556 U.S. 502, 515 (2009).
                 And when the agency’s prior position has “engendered
                 serious reliance interests,” those interests “must be
                 taken into account.” Encino Motorcars, LLC v.
                 Navarro, 136 S. Ct. 2117, 2126 (2016) (emphasis
                 added) (citation omitted). Here, the whiplash from
                 this dramatic shift in executive branch policy will, as
                 amici can attest, have a devastating impact not only
                 on the young people who have come to rely on DACA,
                 but on schools, school communities and countless
                 other educational and social institutions that
                 depended on the stability of the agency’s
                 interpretation.
                     The APA’s procedural requirements stand apart
                 from whether the agency’s decision was substantively
                 reasonable or even correct. A court assessing a FERC
                 ratemaking decision, for example, evaluates not only
                 whether the particular rate is reasonable, but also the
                 quality of the agency’s explanation for why it
                 approved the particular rate. Interstate Nat. Gas
                 Ass’n of Am. v. FERC, 617 F.3d 504, 508 (D.C. Cir.
                 2010). Even if the figure approved is reasonable, that
                 does not immunize the agency’s decision from legal




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                 challenge if its explanation is inadequate. See United
                 Airlines, Inc. v. FERC, 827 F.3d 122, 131 (D.C. Cir.
                 2016).
                     The subject matter is different but the same rules
                 apply where, as here, an agency purports to act based
                 on its belief that a particular course of action is
                 unlawful. Encino Motorcars, 136 S. Ct. at 2125. The
                 question for a reviewing court is not whether the
                 agency’s view of the law is in fact correct; rather, it is
                 whether the agency has explained its view of the law
                 with sufficient clarity so the “path” to its conclusion
                 may reasonably be “discerned.” Bowman Transp.,
                 Inc. v. Arkansas-Best Freight Sys., Inc., 419 U.S. 281,
                 285-86 (1974).        Irrespective of the ultimate
                 correctness of an agency’s legal view, if the proffered
                 explanation is inadequate, its decision must be
                 vacated. Encino Motorcars, 136 S. Ct. at 2127; United
                 Airlines, Inc., 827 F.3d at 131.
                     Accordingly, this case provides no occasion to
                 assess the ultimate legality of DACA. Rather, this
                 Court can and should hold that DACA’s rescission
                 was invalid because DHS plainly failed to adequately
                 explain its legal position. To hold otherwise would be
                 to fashion a dramatically lower standard of judicial
                 review for agencies when they invoke putative legal
                 rationales for their decisions than when they invoke
                 other rationales. And that, in turn, would create
                 incentives for agencies to invoke the law as a mask for
                 their policy preferences, shirk responsibility for the
                 impact of their decisions, and ultimately shift public
                 accountability onto the federal courts. That result
                 would be inconsistent with the proper division of
                 responsibility in our constitutional order and with
                 core separation of powers principles. The decision of
                 DHS should be vacated.




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                                      ARGUMENT
                 I. THE RESCISSION OF DACA MUST SATISFY
                    NORMAL APA STANDARDS
                     Under the APA, a reviewing court must “hold
                 unlawful and set aside agency action . . . found to
                 be . . . arbitrary, capricious, an abuse of discretion, or
                 otherwise not in accordance with law.” 5 U.S.C.
                 § 706(2)(A). In determining whether an agency
                 decision is lawful, a court must engage in a “searching
                 and careful” inquiry of whether the agency considered
                 the relevant factors and whether a clear error of
                 judgment was made. Citizens to Pres. Overton Park,
                 Inc. v. Volpe, 401 U.S. 402, 416 (1971). “[U]nsupported
                 agency action normally warrants vacatur . . . .”
                 Advocates for Highway & Auto Safety v. Fed. Motor
                 Carrier Safety Admin., 429 F.3d 1136, 1151 (D.C. Cir.
                 2005).
                     The APA’s requirement of reasoned decision-
                 making imposes three core requirements on an
                 agency that are relevant here. First, agency action
                 must be adequately explained, such that the agency’s
                 path to its decision can be reasonably discerned.
                 Second, an agency must display awareness of any
                 change from its prior position, and explain the basis
                 of that change. Third, the agency must take account
                 of the reliance interests created by an existing policy.
                 A failure to meet any of these three requirements
                 justifies a finding that the agency’s decision is
                 arbitrary and capricious.
                     These principles apply with full force when an
                 agency’s purported explanation is that it is compelled
                 to act by law. In such circumstances, an agency must
                 explain its view of the law in sufficient detail to
                 provide assurance that the result was the product of




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                 reasoned decision-making. And it must account for
                 any prior conflicting legal interpretations, and any
                 reliance interests created by those interpretations.
                 Indeed, because stability of interpretation is expected
                 in the law, it is especially important in the legal
                 context that changes in interpretation are explained
                 and reliance interests accounted for. See Encino
                 Motorcars, LLC v. Navarro, 136 S. Ct. 2117, 2127
                 (2016); cf. Kimble v. Marvel Entm’t, LLC, 135 S. Ct.
                 2401, 2409 (2015) (noting the importance of
                 “evenhanded,       predictable,      and     consistent
                 development” of legal interpretations because of the
                 “reliance” they engender (citation omitted)).
                     Finally, regardless of the nature of an agency’s
                 rationale—whether it be driven by policy, technical
                 factors, or law—a reviewing court may not substitute
                 its own alternative explanation for the one actually
                 proffered by the agency itself. Thus, even if a court is
                 inclined to think that an agency’s legal conclusion was
                 correct, it cannot affirm the agency’s action if the
                 agency’s own explanation is deficient. Instead, the
                 court must remand for the agency to explain its
                 reasoning. In that posture, the ultimate legality of
                 the policy would be beyond the scope of the court’s
                 review.
                    A.   Reasoned decision-making requires that
                         an agency’s rationale be adequately
                         explained, that any change in policy be
                         acknowledged,     and    that  reliance
                         interests are accounted for.
                    The most basic procedural requirement of
                 administrative rulemaking is that an agency “give
                 adequate reasons for its decisions.”       Encino
                 Motorcars, 136 S. Ct. at 2125. This means that an




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                 agency must “articulate a satisfactory explanation for
                 its action including a ‘rational connection between the
                 facts found and the choice made.’” Motor Vehicle
                 Mfrs. Ass’n of the U.S., Inc. v. State Farm Mut. Auto.
                 Ins. Co., 463 U.S. 29, 43 (1983) (citation omitted). An
                 agency rule is arbitrary and capricious if the agency
                 has “entirely failed to consider an important aspect of
                 the problem [or] offered an explanation for its decision
                 that runs counter to the evidence before the agency.”
                 Id. On the other hand, an agency satisfactorily
                 explains a decision when its decision-making “path
                 may reasonably be discerned” from the explanation
                 provided. Bowman Transp., Inc. v. Arkansas-Best
                 Freight Sys., Inc., 419 U.S. 281, 285-86 (1974); see also
                 Occidental Petroleum Corp. v. SEC, 873 F.2d 325, 344
                 (D.C. Cir. 1989) (an agency must provide “a decision
                 that permits the reviewing court to trace the path of
                 the agency’s decisionmaking process”).
                     Agencies must also provide a reasoned
                 explanation for any change in policy, including a
                 change based on a purely legal rationale. Encino
                 Motorcars, 136 S. Ct. at 2125-26. Specifically, an
                 agency must “display awareness that it is changing
                 position” and “show that there are good reasons for
                 the new policy.” FCC v. Fox Television Stations, Inc.,
                 556 U.S. 502, 515 (2009); Republic Airline Inc. v. U.S.
                 DOT, 669 F.3d 296, 299 (D.C. Cir. 2012) (“One of the
                 core tenets of reasoned decision-making is that ‘an
                 agency [when] changing its course . . . is obligated to
                 supply a reasoned analysis for the change.’”
                 (alterations in original) (citation omitted)). The
                 failure of an agency to explain a change in its policy
                 is “reason for holding [the agency’s decision] to be an
                 arbitrary and capricious.” Nat’l Cable & Telecomms.




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                 Ass’n v. Brand X Internet Servs., 545 U.S. 967, 981
                 (2005).
                     Finally, “[i]n explaining its changed position, an
                 agency must also be cognizant that longstanding
                 policies may have ‘engendered serious reliance
                 interests that must be taken into account.’” Encino
                 Motorcars, 136 S. Ct. at 2126 (quoting Fox Television
                 Stations, 556 U.S. at 515). An agency’s disregard for
                 such reliance interests is likewise arbitrary and
                 capricious. See Perez v. Mortg. Bankers Ass’n, 135 S.
                 Ct. 1199, 1209 (2015) (“[T]he APA requires an agency
                 to provide more substantial justification . . . ‘when its
                 prior policy has engendered serious reliance interests
                 that must be taken into account.’” (citation omitted)).
                 Agency action that does not meet each of these three
                 criteria is arbitrary and capricious within the
                 meaning of the APA and must be vacated. See id.,
                 Encino Motorcars, 136 S. Ct. at 2125-26; State Farm
                 Mut. Auto. Ins. Co., 463 U.S. at 42-43.
                    B.   The requirements of reasoned decision-
                         making are fully applicable when an
                         agency’s stated basis for its decision is a
                         change in its interpretation of the law.
                     The procedural requirements of the APA apply
                 with full force where, as here, an agency asserts that
                 it was legally compelled to act. Just as with other
                 motivations for agency action, the question for
                 purposes of APA review is not only the substantive
                 reasonableness of the agency’s decision—i.e., whether
                 its view of the law is correct—but also whether the
                 agency “articulate[d] a satisfactory explanation”
                 justifying its legal rationale, State Farm Mut. Auto.
                 Ins. Co., 463 U.S. at 43, taking into account its prior
                 positions and any reliance interests.




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                     For example, in Encino Motorcars, this Court
                 invalidated a 2011 decision of the Department of
                 Labor (“DOL”) interpreting the Fair Labor Standards
                 Act (“FLSA”) to require overtime payments to certain
                 automobile service providers, after decades of
                 treating these employees as exempt. The DOL had
                 interpreted the statutory language of the FLSA
                 permitting an “exemption from [the statute’s]
                 overtime compensation requirement” for “‘any
                 salesman . . . engaged in selling or servicing
                 [vehicles]’” to exclude “service advisors,” who are
                 employees that “sell[] repair and maintenance
                 services but not the vehicle itself.” Encino Motorcars,
                 136 S. Ct at 2122 (emphasis added) (citation omitted).
                     The DOL explained that, in its view, “the statute
                 does not include such position[s].” Id. at 2127
                 (citation omitted); see also Updating Regulations
                 Issued Under the Fair Labor Standards Act, 76 Fed.
                 Reg. 18,832-01 (Apr. 5, 2011). This Court held that
                 this conclusory assessment amounted to “no reason[]
                 at all,” because “the Department did not analyze or
                 explain why the statute should be interpreted” to
                 support the agency’s reading. 136 S. Ct. at 2127.
                 Accordingly, this Court vacated the agency’s decision
                 without deciding whether the agency’s statutory
                 interpretation was in fact correct. Id.
                     Lower courts have similarly applied the APA’s
                 requirement of reasoned decision-making in
                 analyzing agency actions based on purely legal
                 rationales. See, e.g., Tourus Records, Inc. v. Drug
                 Enf’t Admin., 259 F.3d 731, 737 (D.C. Cir. 2001)
                 (agency action was not “the product of reasoned
                 decisionmaking” where it was justified by statement
                 of legal “conclusion” as opposed to a “statement of
                 reasoning”); E. Tex. Med. Ctr.-Athens v. Azar, 337 F.




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                 Supp. 3d 1, 19 (D.D.C. 2018) (agency decision violated
                 APA where the “Secretary has failed to adequately
                 explain his interpretation and application of the
                 [relevant statute] and implementing regulation . . . or
                 the final rules predating it” (citation omitted)); Water
                 Quality Ins. Syndicate v. United States, 225 F. Supp.
                 3d 41, 71-72, 76 (D.D.C. 2016) (setting aside agency
                 decision based on “the insufficiency of its legal
                 analysis” and noting that agency’s “gap in legal
                 analysis” rendered its legal conclusions “shaky at
                 best”).
                     These cases confirm that no special rule applies
                 when an agency anchors its decision in an
                 interpretation of law. A reviewing court must still
                 “examin[e] the reasons for [the agency’s] decisions—
                 or, as the case may be, the absence of such reasons.”
                 Judulang v. Holder, 565 U.S. 42, 53 (2011). And, just
                 as when an agency justifies its decision on non-legal
                 grounds, the lawfulness of agency action depends “on
                 the agency’s ability to demonstrate that it engaged in
                 reasoned decisionmaking.” Animal Legal Def. Fund,
                 Inc. v. Perdue, 872 F.3d 602, 619 (D.C. Cir. 2017).
                    C.   A court’s independent assessment of
                         whether an agency’s policy is unlawful
                         is inappropriate.
                     Finally, as with other types of agency explanation,
                 if an agency’s legal explanation is “inadequate or
                 improper, [a] court is powerless to affirm the
                 administrative action by substituting what it
                 considers to be a more adequate or proper [legal]
                 basis.” SEC v. Chenery Corp., 332 U.S. 194, 196
                 (1947); see also Catholic Healthcare W. v. Sebelius,
                 748 F.3d 351, 354 (D.C. Cir. 2014). Accordingly, even
                 if a reviewing court is inclined to believe the agency




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                 came to the right legal result, it must nonetheless
                 vacate the agency action if its explanation for
                 reaching that result is inadequate. Indeed, to permit
                 a court to supply a different legal rationale through
                 de novo review of a policy’s underlying legality would
                 be to violate the cardinal principle of administrative
                 law that judicial review is limited “solely [to] the
                 grounds invoked by the agency.” See Chenery Corp.,
                 332 U.S. at 196.
                     An explanation proffered at a high level of
                 generality is not an invitation for a court to fill out
                 that explanation with more precise rationales. A
                 court cannot “affirm agency decisions on a legal
                 analysis other than that expressed by the agency”
                 itself—even if that analysis broadly accords with the
                 agency’s proffered explanation. Catholic Healthcare,
                 748 F.3d at 354 (emphasis added).
                     DHS’s assertion that this decision was driven by
                 its view of the law, rather than technical or policy
                 concerns, should make no difference. Regardless of
                 whether the putative rationale is legal, technical, or
                 policy-laden, it will virtually always be the case that
                 a court could convert an agency’s vague assertions
                 into a more sophisticated rationale; but to do so would
                 undercut the core function of APA review, which is to
                 provide a meaningful check on the agency’s own
                 decision-making process. The fact that a court may
                 be able to formulate a reasoned justification for action
                 says nothing about whether the agency itself engaged
                 in reasoned decision-making and provides no check on
                 arbitrary agency action.
                     For this reason, when an agency asserts a legal
                 justification for its action and fails to provide a
                 reasoned basis for its legal conclusion, a court cannot
                 uphold the agency’s action based on its own resolution




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                 of the underlying legal issue. Because the APA
                 imposes distinct procedural requirements that stand
                 apart from the substantive correctness of the agency’s
                 ultimate decision, even if a court believes the agency’s
                 decision correct, it still must vacate the decision when
                 the agency’s explanation is inadequate. And because
                 the absence of reasoned decision-making means the
                 agency’s action must be vacated in any event, any
                 judicial opinion on a policy’s underlying legality
                 would be purely advisory. Worse still, it would be an
                 advisory opinion that violates Chenery by functionally
                 affirming the agency on the basis of a different
                 rationale than the one it proffered.
                     It may appear counter-intuitive for a court to
                 vacate an agency action that the agency claims was
                 required by law, when the court believes the agency’s
                 legal conclusion is correct. But that is the inescapable
                 result of Congress’s decision to impose independent
                 procedural constraints on an agency’s decision-
                 making. Those procedural constraints are much more
                 than empty formalism. Administrative agencies
                 wield enormous power, pervasively impact citizens’
                 lives, and largely operate outside the glare of public
                 scrutiny. In enacting the APA, Congress recognized
                 that, regardless of the substantive reasonableness of
                 agencies’ decisions, that they must also reach those
                 decisions in a way that is transparent, publicly
                 justifiable, and democratically accountable.
                     Those principles have equal—indeed special—
                 force when an agency asserts that its decision was
                 driven by legal concerns, because these circumstances
                 implicate additional separation of powers concerns.
                 Enforcing a lesser degree of scrutiny for agency
                 actions justified by legal rationales would create
                 powerful incentives for agencies to advance




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                 purportedly legal grounds for their actions, shifting
                 accountability for an agency’s most controversial
                 decisions to the federal courts. Making an unelected
                 branch of government the public face of unpopular
                 decisions both undercuts democratic accountability
                 and endangers the public legitimacy of the judiciary.
                 By compelling agencies to publicly explain and justify
                 their decisions, the APA forbids precisely such a
                 maneuver.
                     Applying these principles, this Court should not
                 assess the ultimate legality of DACA unless it first
                 deems DHS’s articulated legal reasoning to be
                 adequate. If that reasoning is inadequate, the
                 agency’s decision should be vacated without any
                 further advisory opinion regarding the scope of the
                 executive branch’s statutory or constitutional power
                 to implement DACA. Here, as in any other context,
                 “[i]t is not the role of the courts to speculate on
                 reasons that might have supported an agency's
                 decision.” Encino Motorcars, 136 S. Ct. at 2127.
                 II. THE DECISION TO RESCIND DACA WAS
                     ARBITRARY AND CAPRICIOUS
                    DHS’s decision to rescind DACA was based solely
                 on the agency’s view that the policy was unlawful. It
                 now seeks to defend that decision by effectively asking
                 this Court to weigh in on DACA’s underlying legality.
                 But, despite three opportunities to do so, DHS
                 provided virtually none of the “reasoning that
                 underlies its conclusion,” as the APA requires. See
                 Transcon. Gas Pipe Line Corp. v. FERC, 54 F.3d 893,
                 898 (D.C. Cir. 1995). To the contrary, even a cursory
                 review of the DHS memorandum rescinding DACA
                 reveals that the rescission “was issued without the
                 reasoned explanation that was required in light of the




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                 Department’s change in position and the significant
                 reliance interests involved.” See Encino Motorcars,
                 136 S. Ct. at 2126.
                     DHS’s explanation is inadequate for three reasons
                 under settled principles of administrative law. First,
                 DHS failed to adequately explain the reasoning that
                 led it to conclude DACA was legally deficient. Second,
                 DHS neglected to acknowledge or explain the change
                 from its prior policy of enforcing DACA. Third, DHS
                 did not take into account the serious reliance interests
                 impacted by the rescission of DACA. Under a neutral
                 application of these settled principles, the agency’s
                 decision must be vacated. This case provides no
                 occasion for this Court to decide the substantive
                 question of DACA’s legality.
                    A.   DHS failed to adequately explain why it
                         believes DACA is unlawful.
                     DHS stated its rationale for rescinding DACA in a
                 single sentence, which cross-referenced a letter by the
                 Attorney General, which itself contained only a single
                 paragraph of reasoning.           Under settled APA
                 precedent, these “conclusory statements will not do.”
                 Amerijet Int’l, Inc. v. Pistole, 753 F.3d 1343, 1350
                 (D.C. Cir. 2014).
                     Recognizing the facial deficiency of these reasons,
                 DHS issued a new memorandum well after this
                 litigation began. A reviewing court may not consider
                 those post-hoc assertions. But even if it could, that
                 memorandum—though more fulsome in its
                 analysis—still fails to satisfy the APA’s requirements
                 for reasoned decision-making.
                     1. On September 5, 2017, then-Acting Secretary
                 of Homeland Security Elaine Duke issued a
                 memorandum          rescinding       DACA       (“Duke




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                 memorandum”2). The Duke memorandum contains
                 background information regarding DACA, DAPA, and
                 the litigation in Texas v. United States, 809 F.3d 134
                 (5th Cir. 2015). However, the only relevant part of
                 the memo, the legal analysis justifying the rescission
                 of DACA, is one sentence long:            “Taking into
                 consideration the Supreme Court’s and the Fifth
                 Circuit’s rulings in the ongoing litigation, and the
                 September 4, 2017, letter from the Attorney General,
                 it is clear that the June 15, 2012, DACA program
                 should be terminated.” Duke memorandum.
                     The Duke memorandum therefore contained no
                 reasoning of its own, and instead rested on the
                 reasoning of three other sources: (1) the Fifth Circuit’s
                 opinion in Texas v. United States, which struck down
                 the related, but different, DAPA policy, (2) the
                 Supreme Court’s 4-4 affirmance of that decision, and
                 (3) the September 4, 2017, letter from Attorney
                 General Sessions (“Attorney General’s letter”3). The
                 Attorney General’s letter, in turn, contained only one
                 paragraph justifying the rescission of DACA:
                        DACA was effectuated by the previous
                        administration through executive action,
                        without proper statutory authority and


                    2
                         Memorandum from Elaine Duke, Acting Secretary,
                 DHS, Rescission of the June 15, 2012 Memorandum Entitled
                 “Exercising Prosecutorial Discretion with Respect to Individuals
                 who Came to the United States as Children” (Sept. 5, 2017),
                 https://www.dhs.gov/news/2017/09/05/memorandum-rescission-
                 daca.
                    3
                         Letter from Jefferson B. Sessions III, U.S. Attorney
                 General, to Acting Secretary Elaine Duke (Sept. 4, 2017),
                 https://www.dhs.gov/sites/default/files/publications/17_0904_D
                 OJ_AG-letter-DACA.pdf




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                       with no established end-date, after
                       Congress’ repeated rejection of proposed
                       legislation that would have accomplished
                       a similar result. Such an open-ended
                       circumvention of immigration laws was an
                       unconstitutional exercise of authority by
                       the Executive Branch.          The related
                       [DAPA] policy was enjoined on a
                       nationwide basis in a decision affirmed by
                       the Fifth Circuit on the basis of multiple
                       legal grounds and then by the Supreme
                       Court by an equally divided vote. . . .
                       Because the DACA policy has the same
                       legal and constitutional defects that the
                       courts recognized as to DAPA, it is likely
                       that potentially imminent litigation would
                       yield similar results with respect to DACA.
                 Attorney General’s letter.
                     The Duke memorandum and the Attorney
                 General’s letter, which together constitute DHS’s
                 entire contemporaneous explanation for the
                 rescission of DACA, fail to provide a “path” from
                 which the agency’s decision “may reasonably be
                 discerned.”    See Bowman, 419 U.S. at 285-86.
                 Instead, the Duke memorandum and the Attorney
                 General’s letter offer five conclusory assertions devoid
                 of “even [a] minimal level of analysis.” See Encino
                 Motorcars, 136 S. Ct. at 2125. These assertions are:
                 (1) DACA was enacted without statutory authority,
                 (2) DACA suffers from the same legal defects as
                 DAPA, (3) DACA is unlawful based on the Fifth
                 Circuit’s ruling with respect to DAPA, (4) this Court
                 affirmed the Fifth Circuit, and (5) DACA is
                 unconstitutional. As explained below, these five




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                 explanations are not “statement[s] of reasoning, but
                 of conclusion,” and thus they “do[] not meet the APA
                 standard” for reasoned decision-making. Tourus
                 Records, 259 F.3d at 737.
                          1.    DHS failed to explain why there was
                                no “statutory authority” for DACA.
                     The Attorney General’s letter summarily asserts
                 that DACA was enacted “without proper statutory
                 authority.”     But that assertion is hardly self-
                 explanatory. The Immigration and Nationality Act
                 (“INA”) broadly delegates to the executive branch the
                 power to “[e]stablish[] national immigration
                 enforcement policies and priorities,” 6 U.S.C. § 202(5),
                 and to carry out the “administration and enforcement
                 of [the INA] and all other laws relating to the
                 immigration and naturalization of aliens,” 8 U.S.C.
                 § 1103(a). “Since the INA was enacted, the Executive
                 Branch has on numerous occasions exercised
                 discretion to extend various forms of immigration
                 relief to categories of aliens for humanitarian, foreign
                 policy, and other reasons.” Office of Legal Counsel
                 (“OLC”) Opinion4 at 6. As part of the authority
                 provided by the INA, “it is well settled that the
                 Secretary can exercise deferred action, a form of
                 prosecutorial discretion whereby the Department of
                 Homeland Security declines to pursue the removal of
                 a person unlawfully present in the United States.”
                 Ariz. Dream Act Coal. v. Brewer, 855 F.3d 957, 967
                 (9th Cir. 2017).


                    4
                         The Department of Homeland Security’s Authority to
                 Prioritize Removal of Certain Aliens Unlawfully Present in the
                 United States and to Defer Removal of Others (Nov. 19, 2014),
                 https://www.justice.gov/file/179206/download (“OLC Opinion”).




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                     The Attorney General’s letter does not discuss, or
                 even display awareness of those statutory provisions,
                 the history of numerous administrations exercising
                 deferred action, or precedent affirming such
                 authority. Simply asserting that the policy “lacks
                 statutory authority,” without more, is no different
                 from describing a policy as “unlawful” without
                 providing any explanation for why that is so. In both
                 situations, there is a “failure to connect the dots”
                 between the conclusion and its underlying reasoning.
                 See Select Specialty Hosp.-Bloomington, Inc. v.
                 Burwell, 757 F.3d 308, 312-13 (D.C. Cir. 2014). And,
                 as this Court recognized in Encino Motorcars, the
                 unadorned conclusion that a particular approach is
                 “unlawful” or not authorized is an inadequate basis
                 for agency action. See 136 S. Ct. at 2127.
                         2.   DHS failed to acknowledge or
                              account for the differences between
                              DACA and DAPA.
                    The Attorney General’s letter asserts that “the
                 DACA policy has the same legal and constitutional
                 defects that the courts recognized as to DAPA.” That
                 explanation is facially inadequate because it fails to
                 identify what “defects” the agency had in mind, and
                 instead tacitly assumes that DACA and DAPA are
                 identical in scope and legal foundation. But that is
                 not so. Indeed, the Fifth Circuit’s opinion in Texas v.
                 United States itself notes that “DACA and DAPA are
                 not identical” and that “any extrapolation from DACA
                 must be done carefully.” Texas, 809 F.3d at 174, 173.
                 Far from extrapolating “carefully,” DHS extrapolated
                 completely—and without any explanation at all.
                    As the Fifth Circuit recognized, DACA impacts “a
                 younger and less numerous population” than DAPA,




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                 “which suggests that DACA applicants are less likely
                 to have backgrounds that would warrant a
                 discretionary denial.” Id. at 174. And, importantly, a
                 critical reason why the Fifth Circuit held DAPA
                 unlawful was that the INA already prescribed “an
                 intricate process” for undocumented parents “to
                 derive a lawful immigration classification from their
                 children’s immigration status.” Id. at 179. There is,
                 however, “no analogous provision in the INA defining
                 how immigration status may be derived by
                 undocumented persons who arrived in the United
                 States as children.” Regents of the Univ. of Cal. v.
                 U.S. DHS, 908 F.3d 476, 508 (9th Cir. 2018).
                     Because some of the grounds for invalidating
                 DAPA do not apply to DACA, it is inadequate for the
                 agency to assert that the policies suffer from the
                 “same” “defects.” Instead, it is incumbent on the
                 agency to explain which of DACA’s “defects” it
                 believes apply to DACA, and provide at least some
                 explanation of why those “defects” alone are sufficient
                 to render DACA illegal. A generalized reliance on
                 problems that certain courts have identified with a
                 materially different policy cannot constitute a
                 reasoned basis for discontinuing a policy on the
                 ground of illegality.
                         3.   DHS’s citation to the Fifth Circuit’s
                              DAPA ruling is inadequate to justify
                              its decision to rescind DACA.
                    Next, the agency attempts to remedy its own lack
                 of reasoning by seeking to incorporate the Fifth
                 Circuit’s  ruling    regarding    DAPA.        Duke
                 memorandum.       That asserted incorporation is
                 inadequate for substantially the same reasons as the
                 agency’s contention that DAPA and DACA have the




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                 “same defects.” The Fifth Circuit did not strike down
                 DACA and expressly recognized that its reasoning did
                 not necessarily apply to DACA. Furthermore, DHS
                 failed to “explain what (if anything) it found
                 persuasive” in that opinion. See Encino Motorcars,
                 136 S. Ct. at 2127. An unexplained citation to a single
                 case by a court of appeals (regarding a materially
                 different policy) is clearly not enough to alone justify
                 an agency decision.
                     For example, in International Union, United Mine
                 Workers of America v. United States DOL, 358 F.3d 40
                 (D.C. Cir. 2004), the United Mine Workers of America
                 challenged the decision of the Mine Safety and Health
                 Administration (“MSHA”) to withdraw a proposed Air
                 Quality rule. MSHA stated that the withdrawal was
                 based, in part, on a decision by the Eleventh Circuit
                 to invalidate a similar, earlier air quality rule. Id. at
                 42. The agency claimed that, in light of this decision,
                 its proposed rule was not “‘a viable means’ of
                 addressing the health risks it had sought to remedy
                 with the proposed Air Quality rule.” Id. at 44 (citation
                 omitted). The D.C. Circuit acknowledged that the
                 Eleventh Circuit opinion was “indeed a caution for an
                 agency embarking upon . . . regulation” in the area.
                 Id. But, the court concluded, MSHA’s decision to
                 withdraw the proposed rule was nonetheless
                 arbitrary and capricious because the agency “did not
                 explain why it came to deem the Eleventh Circuit
                 decision fatal to [its] effort.” Id. Simply citing a court
                 of appeals decision invalidating a similar or related
                 rule does not, the court recognized, satisfy the APA’s
                 requirement of reasoned decision-making.
                     DHS likewise cannot rescind DACA simply by
                 referring to the Fifth Circuit’s holding in Texas v.
                 United States. Instead, DHS must, at the very least,




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                 explain what it was about the decision that would be
                 “fatal” to DACA. The Fifth Circuit invalidated DAPA
                 on multiple alternative grounds, and simply citing to
                 the decision leaves it entirely indeterminate which of
                 those grounds the agency had in mind, making it
                 impossible to the “discern[]” the “path” to the agency’s
                 conclusion. Bowman, 419 U.S. at 286. Moreover, as
                 discussed above, the Fifth Circuit itself recognized the
                 substantive differences between DAPA and DACA
                 and disclaimed any holding as to the latter. Under
                 the circumstances, a simple citation to the Fifth
                 Circuit’s decision cannot alone satisfy the APA’s
                 requirements.
                          4.   The Supreme Court’s affirmance of
                               the Fifth Circuit’s DAPA ruling has
                               no precedential value.
                     DHS also invokes the Supreme Court’s
                 “affirm[ance of] the Fifth Circuit’s ruling” to justify its
                 actions rescinding DACA. Duke memorandum. But
                 that affirmance was by an equally-divided court and
                 therefore is not “entitled to precedential weight.” Neil
                 v. Biggers, 409 U.S. 188, 192 (1972). Reference to this
                 Court’s affirmance also draws the improper inference
                 that the “equally divided vote,” Duke memorandum,
                 was based on the ultimate illegality of DAPA. But the
                 Court’s affirmance could have been rendered on a host
                 of other bases, such as the threshold ground of
                 reviewability. This observation is all the more true
                 where, as here, the Supreme Court affirms the grant
                 of a preliminary injunction motion, which itself is “an
                 exercise of discretion and judgment, often dependent
                 as much on the equities of a given case as the
                 substance of the legal issues it presents.” See Trump




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                 v. Int’l Refugee Assistance Project, 137 S. Ct. 2080,
                 2087 (2017).
                         5.    DHS     fails   to   identify  any
                               constitutional defect of DACA.
                    Finally, DHS claims that DACA suffers from
                 “constitutional defects.” Duke memorandum (citation
                 omitted). But, yet again, DHS fails to explain this
                 assertion or even identify which provision of the
                 Constitution is violated by the continued enforcement
                 of DACA—let alone “cogently explain” any
                 constitutional theory. State Farm Mut. Auto. Ins. Co.,
                 463 U.S. at 48.
                    And the Attorney General’s letter asserts only that
                 the policy suffers “the same . . . constitutional defects”
                 as DAPA.        But no court has identified any
                 “constitutional defects” with DAPA. Indeed, the Fifth
                 Circuit’s Texas decision, which again is the only
                 source of legal reasoning to which the Duke
                 memorandum cites, explicitly declined to address the
                 constitutionality of that policy. See Texas, 809 F.3d
                 at 154 (“We decide this appeal . . . without resolving
                 the constitutional claim.”). As with its bare assertion
                 that DACA is “without statutory authority,” the
                 agency’s     contention     that      the     policy    is
                 “unconstitutional” does not constitute an adequate
                 explanation. Those are conclusions, not reasons, and
                 cannot alone satisfy the APA’s requirements.
                    B.   DHS’s post-hoc explanations should be
                         disregarded and, in any event, do not
                         meet the requirements for reasoned
                         decision-making.
                   In the course of the litigation in the D.C. Circuit,
                 DHS attempted to bolster its bare-bones explanations




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                 for the rescission of DACA by issuing yet another
                 memorandum, this time by Secretary of Homeland
                 Security Kirstejen M. Nielsen (the “Nielsen
                 memorandum”5). Because it is well settled that an
                 agency     cannot      supply    additional     post-hoc
                 explanations for its actions during litigation, the
                 Nielsen memorandum should not be considered by
                 this Court. See Pension Benefit Guar. Corp. v. LTV
                 Corp., 496 U.S. 633, 654 (1990) (agency’s explanation
                 must “enable the court to evaluate the agency’s
                 rationale at the time of decision”); Alpharma, Inc. v.
                 Leavitt, 460 F.3d 1, 6 (D.C. Cir. 2006) (“[P]ost hoc
                 rationalizations ‘have traditionally been found to be
                 an inadequate basis for review’ of agency decisions.”
                 (quoting Citizens to Preserve Overton Park, 401 U.S.
                 at 419). Since review of agency action is limited to the
                 agency’s “rationale at the time of decision,” the
                 Nielsen memorandum is irrelevant. See Pension
                 Benefit Guar. Corp, 496 U.S. at 654.
                     But, even if this Court were to consider the Nielsen
                 memorandum, it adds nothing to DHS’s reasoning.
                 Instead of engaging in “any genuine reconsideration
                 of the issues,” the Nielsen memorandum is no more
                 than “a barren exercise of supplying reasons to
                 support a pre-ordained result,” and should
                 accordingly be rejected. Food Mktg. Inst. v. ICC, 587
                 F.2d 1285, 1290 (D.C. Cir. 1978).
                     The Nielsen memorandum begins by reiterating
                 that “the Duke memorandum . . . remains . . . sound,”
                 and that DACA is “contrary to law.”              Nielsen
                 memorandum at 1-2. It then goes on to list a number

                    5
                         Memorandum from DHS Secretary Kirstjen M. Nielsen
                 (June       22,     2018),    https://www.dhs.gov/sites/default/
                 files/publications/18_0622_S1_Memorandum_DACA.pdf.




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                 of purportedly “separate and independently sufficient
                 reasons” justifying the rescission of DACA. Id. These
                 reasons are: (1) there are risks associated with the
                 enforcement of a “legally questionable” policy,
                 (2) policies like DACA “should be enacted
                 legislatively,” and (3) deferred action should be
                 implemented on a “truly individualized, case-by-case
                 basis.” Id. at 2-3. None of these explanations survive
                 even minimal scrutiny.
                     First, the Nielsen memorandum points to
                 purported harms stemming from DHS’s “doubts”
                 regarding DACA’s legality. These include a “risk that
                 [DACA] may undermine public confidence in and
                 reliance on the agency and the rule of law, and the
                 threat of burdensome litigation that distracts from
                 the agency’s work.” Id. at 2. But in order to invoke
                 litigation risks associated with the enforcement of a
                 “legally questionable” policy, see id., DHS was
                 required to seriously evaluate those risks. That
                 evaluation necessarily involves articulating a
                 plausible basis to believe DACA is unlawful, such that
                 there is a meaningful “risk” of it being struck down.
                 But that is the very thing the agency failed to
                 adequately explain in the first place. As discussed
                 above, the agency failed to provide any reasoned
                 explanation for why DACA is unlawful—and the
                 Nielsen memorandum does not itself even try to
                 provide any additional reasoning on that score.
                 Without properly explaining why DACA is unlawful,
                 the agency, a fortiori, cannot have provided a
                 reasoned basis for why there was a litigation “risk”
                 associated with its continuation.
                     Moreover, when an agency invokes “risk” as a
                 basis for action, it typically must conduct an analysis
                 weighing that risk against the policy’s benefits




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                 (including, here, the protection of substantial reliance
                 interests)—which DHS clearly did not do. See
                 Michigan v. EPA, 135 S. Ct. 2699, 2711 (2015) (an
                 agency did not engage in reasoned decision-making
                 where it “plainly did not” consider relevant benefits);
                 State Farm Mut. Auto. Ins. Co., 463 U.S. at 52, 54
                 (“reasoned decisionmaking” requires agencies to “look
                 at the costs as well as the benefits”). The mere
                 assertion that a particular course of action involves
                 “risk”—without any assessment of the magnitude of
                 that risk, the action’s putative benefits, or the
                 associated      costs    of      discontinuation—cannot
                 constitute reasoned decision-making.
                     Finally, as the various challenges to the rescission
                 itself   demonstrate,       “litigation”   and   “public
                 confidence” “risks” were inevitable whichever option
                 the agency chose.           To provide an adequate
                 explanation, DHS therefore had to explain why there
                 was more risk in enforcing DACA than in rescinding
                 it—a dubious proposition when either action would
                 “predictably le[ad] to [a] lawsuit.” See Organized Vill.
                 of Kake v. U.S. DOA, 795 F.3d 956, 970 (9th Cir. 2015)
                 (invocation of litigation as a rationale for agency
                 decision was inadequate because “[a]t most, the
                 Department deliberately traded one lawsuit for
                 another”).
                     Second, the Nielsen memorandum asserts that
                 DACA “should be enacted legislatively.” Nielsen
                 memorandum at 3. But that normative conclusion is
                 wholly unexplained. When Congress created DHS, it
                 expressly vested the agency with responsibility for
                 “[e]stablishing national immigration enforcement
                 policies and priorities.” Homeland Security Act of
                 2002, Pub. L. No. 107-296, § 402(5), 116 Stat. 2135,
                 2178 (codified at 6 U.S.C. § 202(5)); see also Reno v.




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                 Am.-Arab Anti-Discrimination Comm., 525 U.S. 471,
                 483-84 (1999) (observing the “regular practice (which
                 had come to be known as ‘deferred action’) of
                 exercising that discretion for humanitarian reasons
                 or simply for its own convenience”).           Congress
                 therefore contemplated that at least some forms of
                 deferred action would not be enacted legislatively.
                 The agency’s explanation critically fails to explain
                 why this instance of deferred action “should” have
                 been “enacted legislatively” when others, presumably,
                 “should not.” See Burwell, 757 F.3d at 312-13
                 (agency’s “failure to connect the dots” was not
                 reasoned decision-making).
                     The Nielsen memorandum states only that DACA
                 “lack[s] the permanence and detail of statutory law.”
                 Nielsen memorandum at 2. But that statement
                 provides no basis to rescind the policy; at most, it
                 explains why a legislative solution for DACA
                 recipients would be better than deferred action alone.
                 But that is not a reasoned basis for rescinding
                 deferred action without any such legislative solution.
                     Moreover, it is ultimately Congress, not the
                 agency, that determines which forms of deferred
                 action “should be enacted legislatively.” If Congress
                 had agreed with the agency, it could have responded
                 “by enacting legislation to limit the Executive’s
                 discretion in enforcing the immigration laws,” OLC
                 Opinion at 6, which it did not do. The agency’s
                 substitution of its own judgment for Congress’s as to
                 what policies “should” be enacted legislatively is not a
                 reasoned basis to act.
                     Third, DHS asserts that the agency “should only
                 exercise its prosecutorial discretion not to enforce the
                 immigration laws on a truly individualized, case-by-
                 case basis.” Nielsen memorandum at 3. But the




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                 Nielsen memorandum does not define “truly
                 individualized, case-by-case” adjudication or explain
                 why the agency believes DACA falls short of that goal.
                 It is well understood that the federal government
                 cannot deport the over ten million undocumented
                 persons within the United States. Accordingly. the
                 INA mandates that the executive branch “shall”
                 establish “immigration enforcement priorities and
                 policies” to guide individualized discretion. 6 U.S.C.
                 § 202(5). As with any such policy, DACA guides—but
                 does not remove—the discretion of individual
                 immigration officers.     Memorandum from Janet
                 Napolitano, Secretary of Homeland Security,
                 Exercising Prosecutorial Discretion with Respect
                 to Individuals Who Came to the United States
                 as     Children     at    1     (June     15,     2012),
                 https://www.dhs.gov/sites/default/files/publications/s1
                 -exercising-prosecutorial-discretion-individuals-who-
                 came-to-us-as-children.pdf (“[A]dditional measures
                 are necessary to ensure that our enforcement
                 resources are not expended on these low priority cases
                 but are instead appropriately focused on people who
                 meet our enforcement priorities.”). Indeed, DHS
                 statistics reveal that 17.8% of the DACA initial
                 applications acted upon in 2016 were denied, 16.3%
                 were denied in 2017, and 24.8% were denied in 2018.
                 U.S. Citizenship & Immigration Services, Number of
                 Form I-821D, Consideration of Deferred Action for
                 Childhood Arrivals, by Fiscal Year, Quarter, Intake,
                 Biometrics and Case Status Fiscal Year 2012–2019
                 (Nov. 30, 2018), https://www.uscis.gov/sites/default/
                 files/USCIS/Resources/Reports%20and%20Studies/
                 Immigration%20Forms%20Data/All%20Form%20Ty
                 pes/DACA/DACA_FY19_Q1_Data.pdf.




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                     In calling for “truly individualized, case-by-case”
                 assessment, the Nielsen memorandum might be
                 advocating entirely unguided discretion, which would
                 itself be in stark tension with the INA’s requirements.
                 In addition, the memorandum fails to provide any
                 reasoned explanation why it would be superior to let
                 individual officers make entirely discretionary
                 decisions, rather than setting broad policies to guide
                 that discretion. See Burwell, 757 F.3d at 312 (noting
                 that when “an agency’s failure to state its reasoning
                 or to adopt an intelligible decisional standard is . . .
                 glaring . . . we can declare with confidence that the
                 agency action was arbitrary and capricious” (quoting
                 Checkosky v. SEC, 23 F.3d 452, 463 (D.C. Cir. 1994)).6
                     In short, the Nielsen memorandum fails to explain
                 what “truly case-by-case” discretion means, how it
                 differs from DACA, or why, if it means wholly
                 unguided discretion, it is superior to the guided
                 discretion that has long been a hallmark of
                 immigration law and policy.               The Nielsen
                 memorandum thus fails to provide any reasoned basis
                 to explain DACA’s rescission.




                     6
                         This failure is particularly telling in the immigration
                 context, where policies and statutes commonly prescribe guided
                 discretion. See, e.g., Victims of Trafficking and Violence
                 Protection Act of 2000, Pub. L. No. 106-386, § 1503(d)(2), 114
                 Stat. 1464, 1522 (codified at 8 U.S.C. § 1154(a)(1)(D)(i)(II), (IV));
                 William     Wilberforce     Trafficking     Victims     Protection
                 Reauthorization Act of 2008, Pub. L. No. 110-457, § 204, 122
                 Stat. 5044, 5060 (codified at 8 U.S.C. § 1227(d)(1)).




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                    C.   DHS failed to acknowledge its changed
                         policy position or provide reasons for
                         that change.
                     In addition, none of the proffered explanations
                 discussed above even mentions—let alone provides a
                 “reasoned explanation” for—the Department’s change
                 in policy. See Encino Motorcars, 136 S. Ct. at 2127.
                 An agency is not permitted to “depart from a prior
                 policy sub silentio.” Fox Television Stations, 556 U.S.
                 at 515; see also Manin v. NTSB, 627 F.3d 1239, 1243
                 (D.C. Cir. 2011) (“When an agency departs from its
                 prior precedent without explanation, . . . its judgment
                 cannot be upheld.”). Instead, it was “incumbent” upon
                 DHS to “carefully to spell out the bases of its decision
                 when departing from prior norms.” See Food Mktg.
                 Inst. v. ICC, 587 F.2d at, 1290; State Farm Mut. Auto.
                 Ins. Co., 463 U.S. at 42 (“[A]n agency changing its
                 course by rescinding a rule is obligated to supply a
                 reasoned analysis for the change beyond that which
                 may be required when an agency does not act in the
                 first instance.”).
                     These principles have special force where, as here,
                 the OLC has weighed in on the issue. In 2014, the
                 OLC prepared a detailed 33-page opinion, carefully
                 explaining why DACA and DAPA are lawful. See, e.g.,
                 OLC Opinion at 18 n.8 (noting OLC determination
                 that DACA was “legally permissible”). The Attorney
                 General’s letter, Duke memorandum, and Nielsen
                 memorandum all “completely ignore” the OLC
                 Opinion—and the government’s prior position—and
                 wholly fail to acknowledge the dramatic shift in legal
                 assessment. This flaw is alone fatal. Both this Court
                 and the D.C. Circuit have “never approved an agency’s
                 decision to completely ignore relevant precedent.” See




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                 Jicarilla Apache Nation v. U.S. DOI, 613 F.3d 1112,
                 1120     (D.C.    Cir.   2010)    (emphasis      added);
                 Ramaprakash v. FAA, 346 F.3d 1121, 1125 (D.C. Cir.
                 2003) (an agency is required to “come to grips with
                 conflicting precedent”).
                    The fact that OLC opinions constitute binding law
                 within the executive branch provides all the more
                 reason to vacate the agency’s decision, because “[a]
                 contrary result would permit agencies to toss aside
                 OLC memoranda that contain legal conclusions
                 contrary to the agency’s preferred policy choices.” See
                 Hispanic Affairs Project v. Acosta, 263 F. Supp. 3d
                 160, 178 (D.D.C. 2017), aff’d in part, rev’d in part, 901
                 F.3d 378 (D.C. Cir. 2018). And it is, in the very least,
                 highly suspect that DHS made a decision of enormous
                 national importance—based solely on a legal
                 rationale—without even consulting the office within
                 the Department of Justice charged with determining
                 the legality of executive branch practices. Had DHS
                 truly believed that DACA was unlawful, the agency
                 could have asked OLC to directly address the issue—
                 as it had in 2014. DHS’s failure to do so further
                 underscores the shaky foundation of its legal
                 rationale for rescinding DACA.
                    DHS’s departure from “established precedent”
                 without “a reasoned explanation” cannot be upheld.
                 LePage’s 2000, Inc. v. Postal Regulatory Comm’n, 642
                 F.3d 225, 233 (D.C. Cir. 2011) (citation omitted).
                    D.   DHS did not adequately take into
                         account reliance interests.
                    Finally, DHS’s decision contravened the APA
                 because the agency did not take into account the
                 considerable reliance interests of the parties
                 impacted by DACA’s rescission, including critical




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                 stakeholders like children, public schools, and the
                 affected communities. See Encino Motorcars, 136 S.
                 Ct. at 2126-27. As this Court has emphasized, agency
                 action “engender[s] serious reliance interests”
                 amongst regulated parties who depend on the
                 stability and predictability of agency guidance. Id. at
                 2126 (citation omitted). These reliance interests must
                 be taken into account, even where an agency believes
                 that the policy change is legally mandated. See id. at
                 2125-27 (considering reliance interests where change
                 in agency position was based upon interpretation of
                 governing statute). And “an agency may need to
                 ‘provide a more detailed justification than what would
                 suffice for a new policy created on a blank slate . . .
                 when, for example, . . . its prior policy has engendered
                 serious reliance interests.’”          Altera Corp. &
                 Subsidiaries v. Comm'r, 926 F.3d 1061, 1100 (9th Cir.
                 2019) (alterations in original) (quoting Fox, 556 U.S.
                 at 515).
                     The rescission of DACA will undoubtedly
                 implicate serious reliance interests of regulated
                 parties. For instance, many young people who were
                 forced to prematurely exit the school system because
                 of barriers related to their immigration status have,
                 for years, relied upon DACA in order to maintain a
                 livelihood.   The policy’s work authorization has
                 enabled these young people to take jobs
                 commensurate with their education, and has
                 incentivized investments in such programs. Roberto
                 G. Gonzales et al., Center for American Progress,
                 Taking Giant Leaps Forward: Experiences of a Range
                 of DACA Beneficiaries at the 5-Year Mark (June
                 22, 2017), https://cdn.americanprogress.org/content/
                 uploads/2017/06/21142115/DACAat5-brief2.pdf.




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                     Because of the program, DACA beneficiaries have
                 experienced immediate and continued job mobility.
                 Id. at 4-5. Indeed, many DACA beneficiaries have
                 obtained significant job training and are using these
                 new opportunities as building blocks to careers. The
                 magnitude of DACA’s impact has been most felt by
                 these young people. And the personal success of these
                 DACA beneficiaries has in turn provided them with
                 more purchasing power, allowing them to invest in
                 the United States at the local and state levels. Id. at
                 6.
                     Individual DACA recipients are not the only group
                 with significant reliance interests on the continued
                 viability of the policy. Requiring institutions “to
                 adapt to the Department’s new position could
                 necessitate systemic, significant changes.” Encino
                 Motorcars, 136 S. Ct. at 2126. For example, DACA
                 rescission will cost employers $6.3 billion in employee
                 turnover costs, including recruiting, hiring, and
                 training 720,000 new employees.            David Bier,
                 Rescinding DACA, The Dream Act, Would Impose
                 Massive Costs on Employers, Newsweek.com (Sept.
                 5,    2017),    https://www.newsweek.com/rescinding-
                 dreamers-act-would-impose-massive-costs-employers-
                 659813. If the rescission is allowed to stand, U.S.
                 employers will have to terminate 6,914 employees
                 currently participating in DACA every week for the
                 next two years, at a weekly cost of $61 million. Id.
                     Pertinent to amici, public school districts are
                 collectively the largest employer in the country and
                 will be sharply affected by these costs. Specifically,
                 public elementary schools, high schools, and
                 universities stand to lose thousands of employees.
                 According to one estimate, DACA protects close to
                 9,000 education employees from deportation. Jie




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                 Zong et al., Migration Policy Inst., A Profile of Current
                 DACA Recipients by Education, Industry, and
                 Occupation (2017), https://www.migrationpolicy.org/
                 research/profile-current-daca-recipients-education-
                 industry-and-occupation (download fact sheet). The
                 Migration Policy Institute estimates that there are
                 20,000 immigrants with DACA-protected status
                 working as educators, including 5,000 in California
                 and 2,000 each in New York and Texas. Moriah
                 Balingit, As DACA winds down, 20,000 educators are
                 in    limbo,    Wash.     Post    (Oct.     25,    2017),
                 https://www.washingtonpost.com/local/education/as
                 -daca-winds-down-20000-educators-are-in-limbo/2017/
                 10/25/4cd36de4-b9b3-11e7-a908-a3470754bbb9_
                 story.html. Many of these educators have helped to
                 alleviate the shortage of qualified teachers,
                 particularly in high-needs schools and communities.
                     The rescission of DACA will also have a
                 devastating impact on schools and school
                 communities. An estimated 365,000 high school
                 students are eligible for DACA status, and another
                 241,000 of DACA-eligible students are in college.
                 Together, that number accounts for 51% of the nearly
                 1.2 million DACA-eligible population. Jill Barshay,
                 Counting DACA students, Hechinger Report (Sept. 11,
                 2017),      https://hechingerreport.org/counting-daca-
                 students/ (figures from the Migration Policy Institute
                 based on 2014 census data). Overall, about 690,000
                 immigrants are enrolled in DACA and could face
                 deportation if and when their work permits expire.
                 David Nakamura, How many people will Trump’s
                 DACA rollback affect? About 100,000 fewer than
                 initially reported, Wash. Post (Sept. 7, 2017),
                 https://www.washingtonpost.com/news/post-politics/
                 wp/2017/09/07/how-many-people-will-trumps-daca-




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                 rollback-affect-about-100000-fewer-than-initially-
                 reported/. These people are parents, neighbors,
                 teachers, custodians, administrators, and students in
                 public schools. If they are forced to leave the only
                 country they call home, the communities in which
                 schools do their crucial work will be devastated.
                     In short, DACA has entrenched enormous reliance
                 interests in its seven years of operation and its
                 removal threatens to destabilize virtually every sector
                 of the Nation’s economy and society. Yet, not only did
                 DHS fail to discuss these potential impacts of DACA’s
                 rescission, it failed to even acknowledge any reliance
                 interests at all. DHS’s failure to even mention—let
                 alone account for—the interests created by the prior
                 policy is flatly inconsistent with this Court’s holding
                 in Encino Motorcars. See also Smiley v. Citibank
                 (S.D.), N.A., 517 U.S. 735, 742 (1996) (agency decision
                 that “does not take account of legitimate reliance on
                 prior interpretation” may be arbitrary and
                 capricious). Indeed, the principles espoused in Encino
                 and this Court’s other precedent would be a virtual
                 dead letter if an agency were permitted to rescind a
                 policy upon which so many people rely without even
                 one word acknowledging that reliance.
                                         *****
                    If this Court’s administrative law principles are to
                 mean anything, they must be applied neutrally and
                 impartially in even the most challenging cases. This
                 Court’s most fundamental check on unfettered agency
                 discretion—the       requirement      of     reasoned
                 explanation—would mean nothing if the threadbare
                 explanation here were deemed adequate to invalidate
                 a policy of unquestioned national importance. DHS’s
                 decision to rescind DACA must be vacated.




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                                   CONCLUSION
                    For the foregoing reasons, the Court should vacate
                 the decision of DHS.

                                               Respectfully submitted,
                 FRANCISCO M. NEGRÓN, JR. RICHARD P. BRESS
                 Chief Legal Officer        Counsel of Record
                 NATIONAL SCHOOL BOARDS SAMIR DEGER-SEN
                   ASSOCIATION            JESSICA SABA
                 1680 Duke Street, FL 2   LATHAM & WATKINS LLP
                 Alexandria, VA 22314     555 Eleventh Street, NW
                 (703) 838-6722           Suite 1000
                                          Washington, DC 20004
                                          (202) 637-2200
                                          richard.bress@lw.com

                               Counsel for Amici Curiae

                 October 4, 2019




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                                                 In The
  Supreme Court of the United States
                                  ------------------------------------------------------------------
      DEPARTMENT OF HOMELAND SECURITY, et al.,
                                                                                                       Petitioners,
                                                                   v.
REGENTS OF THE UNIVERSITY OF CALIFORNIA, et al.,
                                                                                                      Respondents.
                                  ------------------------------------------------------------------
DONALD J. TRUMP, President of the United States, et al.,
                                                                                                       Petitioners,
                                                                   v.
                   NATIONAL ASSOCIATION FOR THE
        ADVANCEMENT OF COLORED PEOPLE, et al.,
                                                                                                      Respondents.
                                  ------------------------------------------------------------------
                               KEVIN K. MCALEENAN,
             Acting Secretary of Homeland Security, et al.,
                                                                                                       Petitioners,
                                                                   v.
          MARTIN JONATHAN BATALLA VIDAL, et al.,
                                                                                                      Respondents.
                                  ------------------------------------------------------------------
                        On Writs Of Certiorari To The
             United States Courts Of Appeals For The
    Ninth, District Of Columbia, and Second Circuits
                                  ------------------------------------------------------------------
    BRIEF OF ALIANZA AMERICAS AND 10 OTHER
      IMMIGRATION RIGHTS ORGANIZATIONS AS
   AMICI CURIAE IN SUPPORT OF RESPONDENTS
                                  ------------------------------------------------------------------
                                                                    NEIL V. MCKITTRICK
                                                                       Counsel of Record
                                                                    LORENZO R. CABANTOG
                                                                    OGLETREE, DEAKINS, NASH,
                                                                        SMOAK & STEWART, P.C.
                                                                    One Boston Place, Suite 3500
                                                                    Boston, MA 02108
                                                                    (617) 994-5726
                                                                    neil.mckittrick@ogletree.com
                                                                    Counsel for Amici Curiae
================================================================================================================
                                  COCKLE LEGAL BRIEFS (800) 225-6964
                                   WWW.COCKLELEGALBRIEFS.COM




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        INTEREST OF THE AMICI CURIAE1
      This case involves an enforcement program deci-
sion by the Department of Homeland Security (DHS)
that will potentially impact hundreds of thousands of
immigrants in this country. Amici are organizations
that advocate on behalf of various immigrant popula-
tions, including persons enrolled in the Deferred Ac-
tion for Childhood Arrivals (DACA) program. Amici
have among their members and the populations for
which they advocate DACA recipients and their fami-
lies. As a result of their work with, and advocacy for,
immigrant populations, Amici have a breadth of under-
standing of the significant reliance interests of these
populations on DACA, which DHS failed to consider
when deciding to rescind DACA. (A description of each
of the Amici appears in Appendix A.)
                    ------------------------------------------------------------------

             SUMMARY OF ARGUMENT
     DHS’s decision to rescind DACA was arbitrary
and capricious because it failed to consider the signifi-
cant reliance interests engendered by DACA. DACA
recipients have relied on the program to make major,
life-altering decisions. They have obtained Social Secu-
rity numbers, advanced their education and signed



    1
       All parties issued blanket consents to the filing of amicus
briefs in this matter. See S. Ct. R. 37.2(a). Pursuant to S. Ct. R.
37.6, no one other than Amici and their counsel have authored
any part of this brief or funded its preparation and submission.




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school loans, gained employment, undertaken military
service, purchased homes and entered into mortgages,
and become fully integrated into society. Yet, these
facts and data were conspicuously ignored by DHS in
its decision to rescind DACA.
     In two separate attempts to justify its rescission of
DACA, DHS failed to consider in any meaningful way
the reliance interests DACA had engendered. In 2017,
DHS Acting Secretary Elaine Duke issued a memoran-
dum eliminating DACA. See Elaine C. Duke, Rescission
of the June 15, 2012 Memorandum Entitled “Exercising
Prosecutorial Discretion with Respect to Individuals
Who Came to the United States as Children,” U.S. Dep’t
Homeland Security (Sept. 5, 2017) (available at https://
www.dhs.gov/news/2017/09/05/memorandum-rescission-
daca) (the “Duke Memorandum”). The Duke Memoran-
dum ignored the extent to which DACA recipients
relied on the program to make major life, educational,
financial and employment decisions. The Duke Memo-
randum’s failure to analyze, or even consider, the
significant reliance interests violated Supreme Court
precedent and a basic tenet of administrative law.
     In June 2018, DHS Secretary Kirstjen Nielsen is-
sued a second memorandum attempting to justify her
predecessor’s rescission of DACA. See Kirstjen M. Niel-
sen, Memorandum from Secretary Kirstjen M. Nielsen
on the Rescission of Deferred Action for Childhood
Arrivals (DACA) (June 22, 2018) (available at https://
www.dhs.gov/sites/default/files/publications/18_0622_S1_
Memorandum_DACA.pdf) (the “Nielsen Memorandum”).
The Nielsen Memorandum, published five months




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following the decision by the District Court for the
Northern District of California to enjoin the rescission
of DACA and while the case was pending before the
Ninth Circuit, was a post hoc rationalization of the
DACA rescission, intended to address the administra-
tive decision-making deficiencies identified by the Dis-
trict Court. Indeed, it is not supported by its own
administrative record; instead, it relied on the same
record that was before Acting Secretary Duke. Although
the Nielsen Memorandum mentioned the reliance in-
terest in a conclusory manner, it did not contain any
analysis of those interests.
    DACA’s rescission also potentially represents a
form of entrapment. In exchange for deferred action
and suspension of removal proceedings, DACA recipi-
ents were required to submit personal biographical in-
formation, including date and location of entry into the
United States and all previous and current residential
addresses, along with fingerprints and photographs.
Undocumented immigrants provided this information
on the condition of confidentiality and that DHS would
not share the information with Immigration and Cus-
toms Enforcement in connection with removal proceed-
ings. With DACA eliminated, nothing prevents DHS
from delivering the information to initiate immigrants’
removal.
                ------------------------------------------------------------------




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                             4

                     ARGUMENT
I.     DHS FAILED TO CONSIDER THE SIGNIFI-
       CANT RELIANCE INTERESTS CREATED
       BY THE DACA PROGRAM BEFORE IT DE-
       CIDED TO RESCIND DACA.
     A basic procedural requirement of administrative
rulemaking is that an agency must provide adequate
reasons for its decisions. See Encino Motorcars LLC v.
Navarro, 136 S. Ct. 2117, 2125-26 (2016). If the agency
fails to provide at least a minimal level of analysis, its
action will be found to be arbitrary and capricious. See
id. In cases involving a rescission or reversal of policy,
an agency must provide “a more detailed justification”
in certain circumstances, especially “when its prior pol-
icy has engendered serious reliance interests that
must be taken into account.” FCC v. Fox Television Sta-
tions, Inc., 556 U.S. 502, 515 (2009); accord Encino, 136
S. Ct. at 2125-26 (2016). It would be arbitrary and ca-
pricious to ignore such reliance interests. See Fox, 556
U.S. at 515.
      In its two separate attempts to justify its rescission
of DACA, DHS failed to meet this reasoned decision-
making standard. Initially, the 2017 memorandum is-
sued by DHS Acting Secretary Duke wholly ignored
the fact that DACA recipients relied on the deferred
action program to make major life, educational, finan-
cial and employment decisions. DHS’s subsequent attempt
to rectify the deficiencies of the Duke Memorandum by
issuing a memorandum in June 2018 by Secretary
Nielsen was merely a post hoc rationalization un-
supported by an administrative record. This second




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attempt at establishing a reasoned rationale baldly as-
serted, without any factual analysis, that Secretary
Nielsen considered the reliance interests of DACA
recipients. Neither attempted justification was suffi-
cient to satisfy the reasoned analysis decision-making
standard.


     A. THE 2017 DUKE MEMORANDUM DID
        NOT CONSIDER AT ALL THE RELIANCE
        INTERESTS AT STAKE.
     As the U.S. District Court for the District of Co-
lumbia held in NAACP v. Trump, DHS’s rescission of
DACA was “particularly egregious . . . in light of the
reliance interests involved.” 298 F. Supp. 3d 209, 240
(D.D.C.), denied on reconsideration, 315 F. Supp. 3d
457 (D.D.C. 2018). As the Court noted, these reliance
interests include: the participation by DACA recipients
in international postgraduate research; their appli-
cation for, and receipt of, student loans; employment
opportunities they obtained by virtue of availing them-
selves of DACA; and educational opportunities such as
the pursuit of advanced degrees. Id. at 240 n.24. Al-
though “hundreds of thousands” of DACA recipients
had “structured their education, employment, and other
life activities on the assumption that they would be
able to renew their DACA benefits,” the 2017 Duke
Memorandum made no effort to weigh such interests
in the agency’s decision-making process. Id. at 240.
    In Regents v. DHS, the U.S. District Court for
the Northern District of California likewise held that




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Acting Secretary Duke did not weigh the reliance
interests of DACA recipients in deciding to rescind
DACA. Relying on this Court’s decisions in Encino and
Fox, the court found that the abandonment of DACA
was arbitrary and capricious because “the administra-
tive record includes no consideration to the disruption
a rescission would have on the lives of DACA recipi-
ents, let alone their families, employers and employees,
schools and communities.” Regents of the Univ. of Cal.
v. U.S. Dep’t of Homeland Sec., 279 F. Supp. 3d 1011,
1045-46 (N.D. Cal. 2018).
     As this Court explained in Fox, an agency chang-
ing course on policy “must” account for serious reliance
interests engendered by the previous policy. 556 U.S. at
515. The agency’s failure to consider such interests
renders its decision arbitrary and capricious. Id.
     Fox involved a Federal Communications Commis-
sion (“FCC”) enforcement policy to refrain from prose-
cuting broadcasters for “fleeting expletives,” but instead
only bring enforcement actions against the “deliberate
and repetitive use” of expletives. Id. at 506-08. Justice
Scalia, writing for the Court, initially observed that an
agency is generally not required to provide a more sub-
stantial explanation when it changes a previous policy.
Id. at 514. However, Justice Scalia subsequently ex-
plained that “a more detailed justification” is required
“when its prior policy has engendered serious reliance
interests that must be taken into account.” Id. at 515.
    Encino also emphasized that an agency changing
course must consider “reliance interests” that developed




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under the previous policy. That case involved the De-
partment of Labor’s about-face on its interpretation of
a Fair Labor Standards Act regulation concerning the
application of minimum wage and overtime provisions
to certain car dealership employees. Encino, 136 S. Ct.
at 2121. The Court held:
    In explaining its changed position, an agency
    must also be cognizant that longstanding pol-
    icies may have “engendered serious reliance
    interests that must be taken into account . . .
    In such cases, it is not that further justifica-
    tion is demanded by the mere fact of policy
    change; but that a reasoned explanation is
    needed for disregarding facts and circum-
    stances that underlay or were engendered by
    the prior policy.” Fox, 556 U.S. at 515-16. . . . It
    follows that an “unexplained inconsistency” in
    agency policy is “a reason for holding an inter-
    pretation to be an arbitrary and capricious
    change from agency practice.” National Cable
    & Telecommunication Assn. v. Brand X Inter-
    net Services, 545 U.S. 967, 981 (2005).
Id. at 2126 (other internal citations omitted).
     The reliance interests of the DACA recipients are
even more significant than the business interests at is-
sue in Fox and Encino. The interests at stake here in-
clude major life decisions by approximately 700,000
people, each of whom provided considerable personal
information to the government in reliance on the ex-
pected protections of the DACA program. DHS strayed
from this Court’s precedent in Fox and Encino when it
failed to consider these “serious reliance interests.” The




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rationale of the Duke Memorandum, which eliminated
DACA, came down to one sentence: “Taking into con-
sideration the Supreme Court’s and the Fifth Circuit’s
rulings in the ongoing litigation, and the September 4,
2017 letter from the Attorney General, it is clear that
the June 15, 2012 DACA program should be termi-
nated.” Duke Memorandum at 3.
     Missing from the Duke Memorandum was any
mention or consideration of the significant educa-
tional, employment, and financial decisions made by
DACA recipients in reliance on the DACA program.
Also absent was the consideration of, or even any ref-
erence to, the significant reliance interests of third
parties—including schools and universities, employers
and businesses, families and communities—that will
be affected by the government’s abrupt policy change.
“[T]he interests and investments thereby created de-
serve at least some minimal protection.” Blake Emer-
son, The Claims of Official Reason: Administrative
Guidance on Social Inclusion, 128 Yale L.J. 2122, 2205
(2019). By protecting these expectations, “people and
institutions [can] make plans against a relatively sta-
ble background of rules and official practices.” Id. The
Duke Memorandum considered none of these issues.




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     B. THE JUNE 2018 NIELSON MEMORAN-
        DUM WAS A POST HOC RATIONALIZA-
        TION THAT IS NOT PROPERLY PART
        OF THE ADMINISTRATIVE RECORD AND
        WHICH ALSO FAILED TO CONSIDER
        ADEQUATELY THE SUBSTANTIAL RE-
        LIANCE INTERESTS INVOLVED.
     This Court has repeatedly held that after-the-fact
attempts by agencies to justify their actions “cannot
serve as a sufficient predicate for agency action.” Am.
Textile Mfrs. Inst. v. Donovan, 452 U.S. 490, 539 (1981);
accord Motor Vehicle Mfrs. Ass’n of U.S., Inc. v. State
Farm Mut. Auto. Ins. Co., 463 U.S. 29, 49, 103 S. Ct.
2856, 2870 (1983). Indeed, agency actions are judged
“solely by the grounds invoked by the agency” at the
time the decision is made. Sec. and Exchange Comm’n
v. Chenery Corp., 332 U.S. 194, 196 (1947).
     Courts have been loathe to accept after-the-fact
explanations to justify agency action. See, e.g., Vargas
v. I.N.S., 938 F.2d 358, 363 (2d Cir. 1991) (“Post hoc
explanations—especially those offered by appellate
counsel—are simply an inadequate basis for the exer-
cise of substantive review of an administrative deci-
sion.”); Matter of Bell Petroleum Servs., Inc., 3 F.3d 889,
905 (5th Cir. 1993) (“We will not accept the [agency’s]
post-hoc rationalizations in justification of its decision,
nor will we attempt to supply a basis for its decision
that is not supported by the administrative record.”).
While these cases typically critique arguments made
by agency counsel on appeal, the principle applies with
equal force to any after-the-fact explanation offered by




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an agency that attempts to defend a challenged deci-
sion. Moreover, the timing and circumstances sur-
rounding the publication of the Nielsen Memorandum
demonstrate that it is not itself agency action. See Pe-
titioner’s Brief (“Pet. Br.”) at 29. Indeed, DHS counsel
submitted a letter concerning the Nielsen Memoran-
dum to the Ninth Circuit five months after the North-
ern District of California’s decision in Regents and
while the case was pending on appeal. Regents of the
Univ. of Cal. v. U.S. Dep’t of Homeland Sec., 908 F.3d
476, 510 n.24 (9th Cir. 2018).
     The focal point for judicial review is the adminis-
trative record in existence when the agency made the
decision, not the response provided by an agency after
a court rules on that agency decision. See Camp v. Pitts,
411 U.S. 138, 142 (1973). DHS made the decision to re-
scind DACA in 2017, and it provided the Duke Memo-
randum to justify that decision. There is nothing in the
Duke Memorandum to suggest that the Department
ever considered the significant reliance interests in-
volved at that time.
     If the Nielsen Memorandum was in fact a stand-
alone policy, it would be supported by its own admin-
istrative record. It is not. The entire administrative
record consisted of 256 pages that were submitted to
the district court before DHS issued the Nielsen Mem-
orandum. Regents, 279 F. Supp. 3d at 1028. Nothing in
the 256-page record indicated that either Acting Sec-
retary Duke or Secretary Nielsen considered, in any




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meaningful way, the reliance interests of DACA recip-
ients.2
     The circumstances of the Nielsen Memorandum
suggest that it was created to address the deficiencies
of the Duke Memorandum, as identified by the district
court. Although Secretary Nielsen’s Memorandum as-
serted that she was “keenly aware” of the reliance in-
terests, that she “does not believe that the asserted
reliance interests outweigh the questionable legality of
the DACA policy,” and that she “did not come to these
conclusions lightly,” Nielsen Memorandum at 3, it does
not mean that such interests were actually considered.
Recitation of such buzzwords, absent evidence of ac-
tual consideration in the administrative decision, is
insufficient to satisfy the standard established by
Fox and Encino. As the Court explained in Encino,
“the agency ‘must examine the relevant data and artic-
ulate a satisfactory explanation for its action including
a rational connection between the facts found and
the choice made.’ ” Encino, 136 S. Ct. at 2125 (quoting
State Farm, 463 U.S. at 43) (emphasis added). The
Nielsen Memorandum contains no data or analysis of
facts related to the reliance interests at issue. Instead,
it contains only conclusory statements unsupported by

    2
       The administrative record contains three letters from mem-
bers of Congress, one to Acting Secretary Duke and two to the
President, about DACA recipients, but as noted above, Acting
Secretary Duke did not mention any reliance interests at all, and
Secretary Nielsen merely referred to reliance in a conclusory
manner, without any analysis, or specific discussion of any par-
ticular aspect of reliance and/or the weight, if any, to be accorded
such reliance.




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the record. This Court’s holding in Encino applies
equally well here: “In light of the serious reliance in-
terest at stake, the Department’s conclusory state-
ments do not suffice to explain its decision.” Encino,
136 S. Ct. at 2127 (citing Fox, 556 U.S. at 515-16).
     DHS’s reliance on Martin v. Occupational Safety
& Health Review Comm’n, 499 U.S. 144 (1991), for the
proposition that the Nielsen Memorandum, “is agency
action,” is misplaced for two reasons. First, Martin did
not involve a rescission of policy. As this Court has held
in Fox and Encino, an agency “must” provide a rea-
soned analysis where a previous policy has engendered
serious reliance interests. Second, the agency action at
issue in Martin was the Secretary of Labor’s first-time
interpretation of a safety regulation during an adjudi-
cation before the Occupational Safety and Health Re-
view Commission. In contrast, Secretary Nielsen’s
Memorandum was DHS’s second bite at the apple, an
attempt to salvage her predecessor’s rule-making deci-
sion by claiming that she had considered the relevant
reliance interests.
     Neither the 2017 Duke Memorandum nor the
2018 Nielsen Memorandum adequately considered
the significant reliance interests involved. Accordingly,
DHS failed to satisfy the fundamental principle of Fox
and Encino to evaluate the reliance interests impacted
by the reversal of agency policy.




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II.   THE RELIANCE INTERESTS INVOLVE SIG-
      NIFICANT SOCIAL AND ECONOMIC BEN-
      EFITS TO DACA RECIPIENTS AND THE
      COMMUNITY AT LARGE.
     DACA recipients relied on the deferred action pro-
gram to their detriment. To be eligible for the program,
individuals underwent an extensive background check
and completed USCIS Form I-821D, which requested
personal data, including biographical information, date
and point of entry into the country, immigration status
(or lack thereof ), educational history, and all previous
residential addresses since entering the United States.
See Regents, 279 F. Supp. 3d at 1022. Applicants pro-
vided documented proof of identity and continuous res-
idence in the United States, as well as photographs,
fingerprints and signatures.
    As the Northern District of California recognized
in Regents, DACA conferred significant protections in
exchange for an applicant’s enrolling in the program
and providing significant personal information:
      First, under pre-existing regulations, DACA
      recipients became eligible to receive employ-
      ment authorization for the period of deferred
      action, thereby allowing them to obtain social
      security numbers and to become legitimate
      taxpayers and contributing members of our
      open economy. 8 C.F.R. § 274a.12(c)(14). Sec-
      ond, deferred action provided a measure of
      safety for a period of two years from detention
      and removal, albeit always subject to termina-
      tion at any time in any individual case. Third,
      DACA recipients could apply for “advance




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        parole” to obtain permission to travel overseas
        and be paroled back into the United States.
        8 C.F.R. § 212.5(f ). Fourth, also pursuant to
        pre-existing regulations, DACA recipients
        avoided accrual of time for “unlawful pres-
        ence” under the INA’s bar on re-entry. 8 U.S.C.
        § 1182(a)(9)(B)–(C) (establishing three-year,
        ten-year, and permanent bars on the admis-
        sion of aliens after specified periods of “unlaw-
        ful presence”).
Id. at 1023.
     In addition to the submission of substantial per-
sonal identifying information to the government,
DACA recipients paid significant fees and planned
their lives in reliance on the government’s promises to
provide tangible protections pursuant to DACA. Argu-
ably, the most significant and tangible promises to
DACA recipients included the ability to obtain a tem-
porary Social Security number and a two-year renew-
able employment authorization.3 These protections
increase an immigrant’s potential to improve his or her
incorporation into society and mobility trajectory. See

    3
       The government has only rarely denied a renewal applica-
tion for work authorization. In 2017, for example, the government
received approximately 431,197 renewal applications. It denied
only 3,352, for a renewal rate of approximately 99.3%. See Form
I-765, Application for Employment Authorization, Eligibility Cat-
egory and Filing Type, fiscal years 2003-2018, available at https://
www.uscis.gov/sites/default/files/USCIS/Resources/Reports%20and
%20Studies/Immigration%20Forms%20Data/Employment-based/
I-765_RAD_FY03-18.pdf. Therefore, DACA recipients could rea-
sonably rely on the near-certain expectation that their work au-
thorizations would be renewed.




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Roberto G. Gonzales et al., Becoming DACAmented: As-
sessing the Short-Term Benefits of Deferred Action for
Childhood Arrivals (DACA), 58 Am. Behav. Scientist
1852, 1853 (2014). Sixteen months after DACA was im-
plemented, recipients experienced greater access to ed-
ucation, employment, and societal opportunities. Id. at
1866. Many attend universities and have started in-
ternships which provided them with the opportunity to
be in a “better position to leverage their education to
pursue better jobs with higher earnings.” Id. at 1857.
Without DACA, however, undocumented youth could
not obtain greater access to educational opportunities.
Id. at 1855. Accordingly, they would be “excluded from
work, study opportunities, and paid internships.” Id. at
1854. Indeed, some internships require Social Security
numbers to process background checks, thus “exclud-
ing undocumented youth from gaining applied skills
and expanding professional networks.” Id.
     In addition to vastly improved educational oppor-
tunities, DACA confers significant financial and em-
ployment opportunities. Social Security numbers allow
DACA recipients to open bank accounts and obtain
credit cards, thereby improving their financial stabil-
ity. See id. at 1863.4 DACA recipients are more likely
than undocumented immigrants to obtain drivers’


    4
       An on-line real estate database company estimated that, as
of 2017, 123,000 DACA enrollees were homeowners, paying an es-
timated $380 million per year in property taxes. Alexander Casey,
An Estimated 123,000 “Dreamers” Own Homes and Pay $380M in
Property Taxes, Zillow (Sept. 20, 2017) (available at https://www.
zillow.com/research/daca-homeowners-380M-taxes-16629).




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licenses, which lead to greater educational and em-
ployment opportunities for young immigrants. See id.
     The significant reliance interests also implicate
the interests of DACA recipients’ families, employers,
schools, and communities. As DACA recipients receive
Social Security numbers and obtain employment au-
thorizations, they are deeply integrated into society
through employment and educational opportunities.
This not only benefits DACA recipients but also im-
pacts educational institutions, employers and commu-
nities at large. As the Regents of the University of
California explained, they have “invested considerable
resources in recruiting students and staff who are
DACA recipients,” and the University will “lose signif-
icant intellectual capital and productivity” as a result
of the rescission. Regents, 279 F. Supp. 3d at 1026. In
addition, DACA recipients will lose their work author-
izations, and the various states and counties that em-
ploy them will lose the time and resources in training
these employees. Id. at 1027. Rescission of DACA also
will cause harm to the county and state economies by
decreasing tax revenue and will result in immigrants’
increased dependency on subsidized health care. Id. at
1027, 1034.
     Schools, employers, and the community at-large
have thus relied on the continuation of DACA. A sud-
den about-face will have a significant impact on the en-
tities that employ and educate DACA recipients. In
light of the significant economic reliance interests at
stake, “review of the bases for the rescission should be




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relatively intense.” Emerson, Official Reason, 128 Yale
L.J. at 2205.
     DACA recipients have come to rely on DACA’s ben-
efits to obtain undergraduate and postgraduate educa-
tion, private and public employment, and social and
economic integration.5 Thus, a searching review for the
agency’s reasons for rescission of the program is re-
quired.


III. RESCINDING DACA WOULD POTENTIALLY
     RESULT IN THE ENTRAPMENT OF RECIP-
     IENTS.
     DACA recipients detrimentally relied on the rep-
resentation that information submitted to DHS would
be confidential and would not be used for removal pur-
poses. Regents, 279 F. Supp. 3d at 1022 (citing United
States Citizenship and Immigration Services Form
I-821D). If DACA were rescinded, however, the pro-
tection against the use of incriminating information
would cease to exist. As one legal scholar observed pre-
rescission, “Were the government to change course and

    5
       The Defense Department estimates that, as of 2017, ap-
proximately 900 DACA recipients were serving in the military or
had signed contracts to serve through the Military Accessions Vi-
tal to the National Interest (MAVNI) program which offered a
promise of fast-track review of citizenship application for enrol-
lees. In rescinding DACA, DHS did not even mention MAVNI en-
rollees. See Alex Horton, The military looked to ‘dreamers’ to use
their vital skills. Now the U.S. might deport them. (Sept. 7, 2017)
(available at https://www.washingtonpost.com/news/checkpoint/
wp/2017/09/07/the-military-looked-to-dreamers-to-use-their-vital-
skills-now-the-u-s-might-deport-them/).




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resume enforcement, then these applications could
amount to neatly packaging the immigrants’ information
on a platter for law enforcement officials.” Zachary S.
Price, Reliance on Nonenforcement, 58 Wm. & Mary L.
Rev. 937, 1002 (2017) (quotations omitted). The result
of DACA’s rescission would be the unsuspecting coop-
eration of DACA recipients by providing the govern-
ment with information that would be used against
them.
     When the government obtains information by as-
suring noneforcement, “due process principles of fair
notice should limit the government’s use of that infor-
mation in future enforcement efforts.” Id. at 1001. In
Cox v. Louisiana, 379 U.S. 559 (1965), this Court over-
turned a conviction for picketing where city officials
instructed the defendant to picket. Although the de-
fendant did as instructed, he still was charged and con-
victed. In overturning the conviction on due process
grounds, this Court explained:
    Under all the circumstances of this case, after
    the public officials acted as they did, to sus-
    tain appellant’s later conviction for demon-
    strating where they told him he could “would
    be to sanction an indefensible sort of entrap-
    ment by the State convicting a citizen for
    exercising a privilege which the State had
    clearly told him was available to him.”
Id. at 571, 85 S. Ct. at 484 (quoting Raley v. Ohio, 360
U.S. 423, 426, 79 S. Ct. 1257, 1260 (1959)).




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     The reversal of DACA would likewise involve an
“indefensible sort of entrapment.” As noted above,
DACA required applicants to provide extensive per-
sonal information, with the understanding that such
information would not be used against them. If the
government now uses that information to initiate re-
moval proceedings against DACA recipients, it would
amount to entrapping those persons who “exercis[ed] a
privilege which the [government] has clearly told them
was available.” Id. at 571.
     The promise that information would not be pro-
vided to Immigration and Customs Enforcement likely
led to deferred action recipients to “live more openly in
reliance on the government’s promise.” Price, Reliance
on Nonenforcement, 58 Wm. & Mary L. Rev. at 959. As
one legal scholar observed, “[I]t seems doubtful that
immigrants would have taken this risk without the
perceived assurance that doing so would place them at
reduced, rather than increased, risk of future enforce-
ment.” Id. at 960.
    DHS argues that DACA recipients could not rea-
sonably rely on the promise of DACA because Presi-
dent Obama, in remarks announcing DACA, stated
that it was merely a “temporary stop gap measure” and
not a “permanent fix.” However, in those same re-
marks, President Obama also said that DACA “is tak-
ing steps to lift the shadow of deportation from these
young people.” By lifting the shadow of deportation,
DACA “giv[es] a degree of relief and hope to talented,
driven, patriotic young people.” Remarks by the Pres-
ident on Immigration, June 15, 2012 (available at




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https://obamawhitehouse.archives.gov/the-press-office/
2012/06/15/remarks-president-immigration). President
Obama further explained that “it makes no sense to
expel talented young people, who, for all intents and
purposes are Americans . . . to expel these young peo-
ple who want to staff our labs, or start new businesses,
or defend our country.” Id. As the Northern District of
California observed in Regents, “689,800 young people
. . . had come to rely on DACA to live and to work in
this country.” 279 F. Supp. 3d at 1045.
                 ------------------------------------------------------------------

                        CONCLUSION
    This Court should affirm the judgments of the U.S.
Court of Appeals for the Ninth Circuit, the U.S. District
Court for the District of Columbia, and the orders of
the U.S. District Court for the Eastern District of New
York.
                                       Respectfully submitted,
                                       NEIL V. MCKITTRICK
                                         Counsel of Record
                                       LORENZO R. CABANTOG
                                       OGLETREE, DEAKINS, NASH,
                                         SMOAK & STEWART, P.C.
                                       One Boston Place, Suite 3500
                                       Boston, MA 02108
                                       (617) 994-5726
                                       neil.mckittrick@ogletree.com
Dated: October 4, 2019




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                                Nos. 18-587, 18-588, 18-589

                  In the Supreme Court of the United States
                     DEPARTMENT OF HOMELAND SECURITY, ET AL.,
                                    PETITIONERS,
                                         v.
                   REGENTS OF THE UNIVERSITY OF CALIFORNIA, ET AL.,
                                   RESPONDENTS.

                         DONALD J. TRUMP, PRESIDENT OF THE
                          UNITED STATES, ET AL., PETITIONERS,
                                          v.
                    NATIONAL ASSOCIATION FOR THE ADVANCEMENT OF
                        COLORED PEOPLE, ET AL., RESPONDENTS.

                     KEVIN K. MCALEENAN, ACTING SECRETARY OF
                       HOMELAND SECURITY, ET AL., PETITIONERS,
                                        v.
                 MARTIN JONATHAN BATALLA VIDAL, ET AL., RESPONDENTS.

                   On Writs of Certiorari to the United States Courts of
                    Appeals for the Ninth, D.C., and Second Circuits

                   BRIEF OF AMICI CURIAE PUBLIC CITIZEN, NATURAL
                  RESOURCES DEFENSE COUNCIL, AND AMERICAN CIVIL
                    LIBERTIES UNION IN SUPPORT OF RESPONDENTS

                                    SCOTT L. NELSON
                                     Counsel of Record
                                    ALLISON M. ZIEVE
                                    PUBLIC CITIZEN
                                     LITIGATION GROUP
                                    1600 20th Street NW
                                    Washington, DC 20009
                                    (202) 588-1000
                                    snelson@citizen.org
                                    Attorneys for Amici Curiae
                 October 2019




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                    to Prioritize Removal of Certain Aliens
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                            INTEREST OF AMICI CURIAE1
                    Amicus Curiae Public Citizen, Inc., is a nonprofit
                 advocacy organization founded in 1971. Public Citizen
                 appears on behalf of its nationwide membership be-
                 fore Congress, administrative agencies, and courts on
                 a range of issues, including protection of consumers
                 and workers and fostering open and fair governmental
                 processes.
                    Amicus curiae Natural Resources Defense Council,
                 Inc., (NRDC) is a nonprofit advocacy group that works
                 to protect health and the environment. Since its
                 founding in 1970, NRDC has pursued this goal
                 through science, policy analysis, advocacy before
                 agencies and legislatures, and litigation to enforce en-
                 vironmental laws.
                    The American Civil Liberties Union (ACLU) is a
                 nationwide, nonprofit, nonpartisan organization with
                 nearly 2 million members and supporters dedicated to
                 the principles of liberty and equality embodied in our
                 nation’s Constitution and civil rights laws. The ACLU,
                 through its Immigrants’ Rights Project and state affil-
                 iates, engages in a nationwide program of litigation,
                 advocacy, and public education to enforce and protect
                 the constitutional and civil rights of noncitizens.
                     Amici have litigated hundreds of cases seeking ju-
                 dicial review of government actions under the Admin-
                 istrative Procedure Act (APA), special review provi-
                 sions applicable to particular statutes, and nonstatu-
                 tory mechanisms for review of unlawful government
                 ––––––––––––––––––––––––
                     1 This brief was not authored in whole or part by counsel for

                 a party. No one other than amici curiae made a monetary contri-
                 bution to preparation or submission of the brief. Counsel for all
                 parties have filed blanket consents to the filing of amicus briefs.




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                 action. It is critical to the mission of these organiza-
                 tions that courts adhere to the principle that agency
                 action is presumptively subject to judicial review, with
                 exceptions to reviewability narrowly construed. In
                 their own litigation, amici confront arguments by gov-
                 ernmental defendants that agency actions reflect un-
                 reviewable exercises of enforcement discretion or are
                 otherwise committed to agency discretion by law.
                 Amici therefore have a strong interest in confining to
                 their proper sphere these exceptions to the availabil-
                 ity of judicial review.
                     In this case, the government petitioners argue that
                 their decision to rescind the Deferred Action for Child-
                 hood Arrivals (DACA) program was an exercise of en-
                 forcement discretion that is unreviewable under Heck-
                 ler v. Chaney, 470 U.S. 821 (1985). For a generation
                 since Chaney, however, courts have recognized that
                 that decision bars review of discretionary decisions
                 not to commence particular enforcement actions, not
                 of agencies’ adoption of general policies affecting en-
                 forcement decisions. The government’s brief, however,
                 does not address this body of law. Amici therefore sub-
                 mit this brief to provide a more complete account of
                 the boundaries of Chaney’s exception to the general
                 presumption favoring judicial review.
                            SUMMARY OF ARGUMENT
                     The government’s principal submission in this case
                 is that its decision to rescind DACA “is a quintessen-
                 tial exercise of enforcement discretion” that is unre-
                 viewable under the APA because it is “‘committed to
                 agency discretion by law.’” U.S. Br. 17 (quoting 5
                 U.S.C. § 701(a)(2)). Invoking Heckler v. Chaney’s hold-
                 ing that section 701(a)(2) “precludes review … of an
                 agency’s decision not to institute enforcement




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                 actions,” id. (citing 470 U.S. at 831), the government
                 contends that that holding also extends to agency ac-
                 tions adopting or rescinding a “policy of nonenforce-
                 ment,” id. at 17, 19. As respondents explain, section
                 701(a)(2) cannot apply here because, in rescinding
                 DACA, the Secretary of Homeland Security did not
                 purport to exercise any enforcement discretion, but in-
                 stead bowed to the Attorney General’s determination
                 that DACA was unlawful. See, e.g., D.C. Resp. Br. 22–
                 30. Even leaving that point aside, however, the gov-
                 ernment’s argument depends entirely on its assertion
                 that Heckler v. Chaney is applicable to “a broad and
                 categorical decision to rescind a nonenforcement pol-
                 icy.” Id. at 21. The government’s position that Chaney
                 applies to actions promulgating enforcement policies
                 is contrary to decades of case law in the federal courts
                 recognizing that Chaney’s reasoning does not extend
                 to such agency actions.
                     The APA embodies a broad presumption in favor of
                 judicial review of agency action. Persons aggrieved by
                 final agency action may generally obtain review in the
                 courts unless the action falls within two narrow excep-
                 tions applicable when (1) other statutes “preclude ju-
                 dicial review,” or (2) the action is “committed to agency
                 discretion by law.” 5 U.S.C. § 701(a). The second ex-
                 ception, at issue here, does not apply broadly to all ex-
                 ercises of agency discretion; indeed, the APA else-
                 where explicitly provides for review of discretionary
                 agency actions. See 5 U.S.C. § 706(2)(A). As this Court
                 has repeatedly held, the “committed to agency discre-
                 tion by law” exception applies only to narrow catego-
                 ries of agency actions that have traditionally been ex-
                 cluded from the scope of judicial review because courts
                 have no meaningful standards against which to re-
                 view them.




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                     The kind of action that was the subject of Heckler
                 v. Chaney—an agency decision not to initiate an en-
                 forcement proceeding—is one of the few examples of
                 agency action that this Court has determined falls
                 within that exception. Chaney, however, does not
                 broadly immunize from review all agency actions that
                 arguably implicate an agency’s enforcement discre-
                 tion. Chaney focused narrowly on the longstanding ju-
                 dicial tradition of declining review of agency decisions
                 not to undertake enforcement actions, and on reasons
                 for denying review that are specific to such decisions
                 and inapplicable when an agency adopts a general pol-
                 icy that governs its enforcement decisions. This Court
                 has, therefore, consistently described Chaney as lim-
                 ited to agency decisions not to initiate enforcement
                 proceedings.
                     Based on the limits of Chaney’s holding and rea-
                 soning, the lower federal courts, in the decades since
                 that decision, have elaborated a workable and princi-
                 pled distinction between unreviewable actions declin-
                 ing to initiate particular enforcement proceedings,
                 and reviewable actions promulgating general rules or
                 policies affecting agency enforcement. This case law
                 respects the judicial tradition of noninterference with
                 agency nonenforcement decisions that lies at the heart
                 of Chaney. At the same time, the courts have properly
                 subjected agency actions that fall outside that tradi-
                 tion to review for conformity with law and the APA’s
                 prohibition of arbitrary and capricious agency action.
                 As this body of case law reflects, the promulgation of
                 general policies affecting agency enforcement is well-
                 suited to such judicial review.
                    The government’s arguments for expanding
                 Chaney’s preclusion of review to encompass generally
                 applicable agency policies are unconvincing. The




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                 government points to no tradition against review of
                 agency policies comparable to the one Chaney identi-
                 fied with respect to decisions not to initiate enforce-
                 ment proceedings. And contrary to the government’s
                 characterization, Chaney did not purport to address
                 general, “programmatic” actions. The nonenforcement
                 decision in Chaney may have reflected the agency’s
                 general policy views, but the Court rejected review be-
                 cause of the form the agency’s action took—a decision
                 not to initiate enforcement proceedings—not because
                 enforcement-related policies are inherently unreview-
                 able. General rules or policies are amenable to review
                 not only for conformity to statutory mandates, but also
                 for their adherence to norms of reasoned explanation
                 applicable to agency action generally. Far from in-
                 fringing on separation-of-powers principles, as the
                 government suggests, such review is a proper and im-
                 portant exercise of the courts’ power to confine the ex-
                 ecutive branch to the lawful exercise of authority del-
                 egated by Congress.
                                     ARGUMENT
                 I.   This Court’s decisions, including Chaney,
                      have narrowly construed the APA’s
                      exceptions to judicial review.
                     The starting-point for consideration of the govern-
                 ment’s argument against judicial review is the long-
                 established principle that the APA’s provisions for ju-
                 dicial review, set forth at 5 U.S.C. §§ 701–706, “em-
                 bod[y] a ‘basic presumption of judicial review.’” Dep’t
                 of Commerce v. New York, 139 S. Ct. 2551, 2567 (2019)
                 (citation omitted). That presumption is set forth in
                 section 704, which generally makes “final agency ac-
                 tion … subject to judicial review,” and section 701(a),
                 which creates narrow exceptions to the availability of




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                 review only “to the extent that—(1) statutes preclude
                 judicial review; or (2) agency action is committed to
                 agency discretion by law.”
                     As this Court has repeatedly emphasized, these
                 provisions reflect that “Congress rarely intends to pre-
                 vent courts from enforcing its directives to federal
                 agencies.” Mach Mining, LLC v. EEOC, 135 S. Ct.
                 1645, 1651 (2015). The APA’s language and structure
                 manifest Congress’s choice to provide remedies for the
                 “legal lapses and violations” that are especially likely
                 to occur “when they have no consequence.” Id. at
                 1652–53. “For that reason, this Court applies a ‘strong
                 presumption’ favoring judicial review of administra-
                 tive action.” Id. at 1651 (quoting Bowen v. Mich. Acad.
                 of Family Physicians, 476 U.S. 667, 670 (1986)). Con-
                 sistent with that strong presumption, the Court has
                 read the APA’s exceptions to judicial review narrowly
                 and imposed on agencies “a ‘heavy burden’ in attempt-
                 ing to show that Congress ‘prohibit[ed] all judicial re-
                 view’” of their actions. Id. (citation omitted).
                    In this case, the government suggests only glanc-
                 ingly that applicable statutes “preclude judicial re-
                 view” within the meaning of section 701(a)(1), see U.S.
                 Br. 20–21; it relies principally on section 701(a)(2)’s
                 exception for “agency action … committed to agency
                 discretion by law.” This Court has explained, however,
                 that section 701(a)(2) does not preclude review of all
                 discretionary agency actions: If it did, it would contra-
                 dict “the command in § 706(2)(A) that courts set aside
                 any agency action that is ‘arbitrary, capricious, an
                 abuse of discretion, or otherwise not in accordance
                 with law.’” Weyerhaeuser Co. v. U.S. Fish & Wildlife
                 Serv., 139 S. Ct. 361, 370 (2019). “A court could never
                 determine that an agency abused its discretion if all
                 matters committed to agency discretion were




                                                                             AR5562
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                 unreviewable.” Id. Thus, “[t]o give effect to § 706(2)(A)
                 and to honor the presumption of review, we have read
                 the exception in § 701(a)(2) quite narrowly, restricting
                 it to ‘those rare circumstances where the relevant stat-
                 ute is drawn so that a court would have no meaningful
                 standard against which to judge the agency’s exercise
                 of discretion.’” Id. (quoting Lincoln v. Vigil, 508 U.S.
                 182, 191 (1993)); accord, Dep’t of Commerce, 139 S. Ct.
                 at 2568.
                     In keeping with this narrow reading of section
                 706(a)(2), the Court has restricted it to the types of
                 decisions that courts “traditionally” recognized as un-
                 reviewable under the “common law” of judicial review
                 that preceded the APA’s enactment. Chaney, 470 U.S.
                 at 832. Thus, “[t]he few cases in which [this Court]
                 ha[s] applied the § 701(a)(2) exception involved
                 agency decisions that courts have traditionally re-
                 garded as unreviewable,” not types of actions “that
                 federal courts regularly review.” Weyerhaeuser, 139 S.
                 Ct. at 370. Chaney is one of the rare instances in which
                 the Court identified a narrow type of action—“a deci-
                 sion not to institute enforcement proceedings”—that
                 is “traditionally committed to agency discretion.” Dep’t
                 of Commerce, 139 S. Ct. at 2568. This Court has con-
                 sistently refused to give Chaney a more expansive
                 reading, see, e.g., id.; Weyerhaeuser, 139 S. Ct. at 370;
                 Mach Mining, 135 S. Ct. at 1652; Massachusetts v.
                 EPA, 549 U.S. 497, 527 (2007).
                 II. Chaney’s holding is limited to agency
                     decisions not to initiate enforcement
                     proceedings.
                    Chaney involved a challenge to the failure of the
                 Food and Drug Administration (FDA) to take enforce-
                 ment action against the use of unapproved drugs for




                                                                             AR5563
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                 execution of prisoners facing death sentences. This
                 Court framed the issue before it in accordingly narrow
                 terms as one involving “the extent to which determi-
                 nations by the FDA not to exercise its enforcement au-
                 thority over the use of drugs in interstate commerce
                 may be judicially reviewed.” 470 U.S. at 828. While
                 emphasizing the breadth of the presumption in favor
                 of judicial review under the APA and the narrowness
                 of the exception for actions “committed to agency dis-
                 cretion by law,” 5 U.S.C. § 701(a)(2), the Court held
                 that the presumption was inapplicable to “an agency’s
                 decision not to undertake certain enforcement ac-
                 tions,” 470 U.S. at 831, because of the “general unsuit-
                 ability for judicial review” of such decisions, id. The
                 Court went on to explain that “general unsuitability”
                 in terms that made plain that the decisions it deemed
                 unsuitable for judicial review were decisions to for-
                 bear from taking particular enforcement actions:
                    [A]n agency decision not to enforce often involves
                    a complicated balancing of a number of factors
                    which are peculiarly within its expertise. Thus,
                    the agency must not only assess whether a viola-
                    tion has occurred, but whether agency resources
                    are best spent on this violation or another,
                    whether the agency is likely to succeed if it acts,
                    whether the particular enforcement action re-
                    quested best fits the agency’s overall policies,
                    and, indeed, whether the agency has enough re-
                    sources to undertake the action at all. An agency
                    generally cannot act against each technical viola-
                    tion of the statute it is charged with enforcing.
                 Id. at 831–32 (emphasis added).
                     The Court accordingly held “agency refusals to in-
                 stitute investigative or enforcement proceedings” to be




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                 presumptively unreviewable. Id. at 838. Justice Bren-
                 nan, concurring, agreed that “[t]his general presump-
                 tion is based on the view that, in the normal course of
                 events, Congress intends to allow broad discretion for
                 its administrative agencies to make particular en-
                 forcement decisions, and there often may not exist
                 readily discernible ‘law to apply’ for courts to conduct
                 judicial review of nonenforcement decisions.” Id. at
                 838 (Brennan, J., concurring). The Court recognized,
                 moreover, that situations in which an agency “con-
                 sciously and expressly adopted a general policy” incon-
                 sistent with statutory responsibilities were not con-
                 trolled by its holding. Id. at 833 n.4 (majority). Justice
                 Brennan likewise distinguished such policies from the
                 “[i]ndividual, isolated nonenforcement decisions” that
                 the Court’s holding addressed. Id. at 839 (Brennan, J.,
                 concurring).
                     Thus, this Court’s subsequent decisions have con-
                 sistently characterized Chaney’s holding as narrowly
                 applicable to decisions to forgo enforcement actions,
                 not as establishing a broad exemption from the APA
                 for all agency actions that touch in any way on how an
                 agency exercises enforcement authority. Last Term,
                 for example, the Court described Chaney as making “a
                 decision not to institute enforcement proceedings” pre-
                 sumptively unreviewable. Dep’t of Commerce, 139 S.
                 Ct. at 2568. Likewise, in Massachusetts v. EPA, the
                 Court noted Chaney’s holding “that an agency’s re-
                 fusal to initiate enforcement proceedings is not ordi-
                 narily subject to judicial review.” 549 U.S. at 527. The
                 Court’s decision in Lincoln v. Vigil used an almost
                 identical characterization: “In Heckler itself, we held
                 an agency’s decision not to institute enforcement pro-
                 ceedings to be presumptively unreviewable under
                 § 701(a)(2).” 508 U.S. at 191. Every other case in




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                 which the Court has described Chaney’s holding uses
                 equivalent terms. See, e.g., FEC v. Akins, 524 U.S. 11,
                 26 (1998); Franklin v. Massachusetts, 505 U.S. 788,
                 818 (1992); Webster v. Doe, 486 U.S. 592, 599 (1988).
                     Both in promulgating DACA, and in rescinding it,
                 the government adopted policies concerning criteria
                 determining whether a noncitizen will be permitted to
                 remain in the United States. Those actions were not
                 decisions to forgo specific enforcement actions. Nei-
                 ther Chaney nor any of this Court’s decisions following
                 it has held that the APA precludes review of actions
                 promulgating general policies such as DACA’s rescis-
                 sion. Indeed, as noted above, Chaney itself distin-
                 guished the adoption of general policies from decisions
                 not to institute enforcement proceedings. Likewise,
                 Massachusetts v. EPA explained why similar ac-
                 tions—denials of rulemaking petitions involving
                 whether or not to promulgate policies governing an
                 agency’s enforcement of the statutes it administers—
                 do not fall within Chaney’s ambit: Unlike “an agency’s
                 decision not to initiate an enforcement action,” such
                 actions “are less frequent, more apt to involve legal as
                 opposed to factual analysis,” and involve “a public ex-
                 planation” of the agency’s action. 549 U.S. at 527 (ci-
                 tation omitted). Those features enhance the amenabil-
                 ity of such actions to review aimed at determining
                 whether they are “arbitrary and capricious, an abuse
                 of discretion, or otherwise not in accordance with law.”
                 5 U.S.C. § 706(2)(A).




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                 III. Consistent with Chaney, lower federal
                      courts have held that agency actions
                      promulgating general enforcement-related
                      policies are reviewable.
                     In accordance with the limits on this Court’s ra-
                 tionale in Chaney, the lower courts have for decades
                 developed a workable distinction between discretion-
                 ary decisions declining to initiate enforcement pro-
                 ceedings, which are presumptively unreviewable un-
                 der Chaney, and actions promulgating policies that
                 guide an agency’s enforcement or nonenforcement de-
                 terminations, which fall outside Chaney’s narrow
                 scope. This line of precedent fully respects exercises of
                 discretion not to take enforcement action that are tra-
                 ditionally not subject to judicial review. Where that
                 tradition is inapplicable, however, courts have given
                 effect to the APA’s broad presumption favoring review
                 by allowing agency actions to be tested for abuse of
                 discretion and compliance with law when meaningful
                 standards for review are available.
                    Given its significant role in developing and apply-
                 ing principles of administrative law, the D.C. Circuit
                 has played an active part in fleshing out this distinc-
                 tion. That court has repeatedly held that an agency’s
                 adoption of rules or general policies establishing crite-
                 ria for enforcement is reviewable. See, e.g., Edison
                 Elec. Inst. v. EPA, 996 F.2d 326 (D.C. Cir. 1993); Nat’l
                 Wildlife Fed’n v. EPA, 980 F.2d 765 (D.C. Cir. 1992).
                 In Crowley Caribbean Transport, Inc. v. Peña, 37 F.3d
                 671 (1994), for example, the D.C. Circuit explained
                 that, under Chaney, “an agency’s statement of a gen-
                 eral enforcement policy may be reviewable for legal
                 sufficiency where the agency has expressed the policy
                 as a formal regulation after the full rulemaking




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                 process … or has otherwise articulated it in some form
                 of universal policy statement.” Id. at 676.
                     Crowley identified three reasons why Chaney’s
                 presumption that a decision to forgo initiating an en-
                 forcement proceeding is unreviewable does not apply
                 to an agency’s promulgation of a general enforcement
                 (or nonenforcement) policy. First, because enforce-
                 ment policies are not tied to the particular facts of an
                 individual enforcement action, “they are more likely to
                 be direct interpretations of the commands of the sub-
                 stantive statute rather than the sort of mingled as-
                 sessments of fact, policy, and law that drive an indi-
                 vidual enforcement decision and that are, as Chaney
                 recognizes, peculiarly within the agency’s expertise
                 and discretion.” Id. at 677. Second, an agency’s state-
                 ment of a policy regarding enforcement “poses special
                 risks” that the agency “has consciously and expressly
                 adopted a general policy that is so extreme as to
                 amount to an abdication of its statutory responsibili-
                 ties,” id. (quoting Chaney, 470 U.S. at 833 n.4), ren-
                 dering a presumption of nonreviewability “inappropri-
                 ate.” Id. “Finally, an agency will generally present a
                 clearer (and more easily reviewable) statement of its
                 reasons for acting when formally articulating a
                 broadly applicable enforcement policy, whereas such
                 statements in the context of individual decisions to
                 forego enforcement tend to be cursory, ad hoc, or post
                 hoc.” Id.
                    Based on these considerations, Crowley articu-
                 lated, and the D.C. Circuit has subsequently followed,
                 a generally applicable corollary to Chaney: While
                 “agencies’ nonenforcement decisions are generally un-
                 reviewable under the Administrative Procedure Act,
                 … an agency’s adoption of a general enforcement pol-
                 icy is subject to review.” OSG Bulk Ships, Inc. v.




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                 United States, 132 F.3d 808, 812 (D.C. Cir. 1998)
                 (holding that courts could review the federal Maritime
                 Administration’s policy of not enforcing restrictions on
                 use of ships constructed with federal subsidies).
                    Other circuits have similarly held that Chaney
                 does not extend to “permanent policies or standards.”
                 Kenney v. Glickman, 96 F.3d 1118, 1123 (8th Cir.
                 1996) (rejecting Secretary of Agriculture’s contention
                 that a policy of not enforcing a zero-tolerance standard
                 for contaminated poultry was unreviewable under
                 Chaney); see also Gulf Restoration Network v. McCar-
                 thy, 783 F.3d 227, 236 (5th Cir. 2015) (citing Crowley
                 and holding that EPA’s determination whether to
                 promulgate a “broadly applicable … policy” was not an
                 exercise of unreviewable enforcement discretion un-
                 der Chaney); cf. Texas v. United States, 809 F.3d 134,
                 168 (5th Cir. 2015) (finding DHS’s action creating the
                 Deferred Action for Parents of Americans and Lawful
                 Permanent Residents program to be reviewable under
                 Chaney), aff’d by equally divided Court, 136 S. Ct.
                 2271 (2016).
                     The Second Circuit, in Riverkeeper, Inc. v. Collins,
                 359 F.3d 156, 167 (2004), also approvingly cited the
                 distinction drawn by Crowley between reviewable en-
                 forcement policies and unreviewable individual non-
                 enforcement decisions. Riverkeeper was a challenge to
                 the failure of the Nuclear Regulatory Commission
                 (NRC) to require certain security measures as condi-
                 tions on its licensing of a nuclear power plant. The
                 challenger argued that the NRC’s inaction was re-
                 viewable because it reflected a general policy of failing
                 to enforce adequate security requirements. The court
                 endorsed Crowley’s explanation of why Chaney does
                 not preclude review of an agency’s explicit adoption of
                 an enforcement policy, see id. (quoting Crowley, 37




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                 F.3d at 677), but found that the NRC had not explicitly
                 “express[ed]” a “broad enforcement polic[y],” id. The
                 court then examined the record to see if it could dis-
                 cern a reviewable “policy not to protect adequately
                 public health and safety with respect to nuclear
                 plants,” id. at 168, and, finding no such policy, held
                 that Chaney precluded review of the agency’s failure
                 to take enforcement action in the case before it, id. at
                 170. Riverkeeper thus illustrates that the permissible
                 review of general policies that guide enforcement does
                 not encroach on the space occupied by Chaney.
                     Applying these principles, district courts, in the
                 nearly quarter-century since Crowley, have reviewed
                 agencies’ adoption of express enforcement policies in
                 the relatively infrequent cases where agencies take
                 such actions and face APA challenges. For example, in
                 WildEarth Guardians v. DOJ, 181 F. Supp. 3d 651,
                 665 (D. Ariz. 2015), the court cited Crowley in support
                 of its holding that Chaney did not bar review of the
                 Department of Justice’s formally expressed
                 “McKittrick policy” authorizing prosecutors to request
                 specific intent rather than general intent instructions
                 in certain cases.2 In Chiang v. Kempthorne, 503 F.
                 Supp. 2d 343, 351 (D.D.C. 2007), the court held that
                 guidelines limiting the time periods for which the gov-
                 ernment could seek to recover royalties from mineral
                 lessees constituted a reviewable general enforcement
                 policy rather than an unreviewable decision not to
                 take enforcement action under Chaney. And in Center
                 for Auto Safety, Inc. v. NHTSA, 342 F. Supp. 2d 1

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                    2 The Ninth Circuit ultimately vacated the district court’s

                 later decision granting summary judgment to the plaintiffs, for
                 lack of standing. WildEarth Guardians v. DOJ, 752 F. Appx. 421
                 (9th Cir. 2018). The court of appeals did not address Chaney.




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                 (D.D.C. 2004), aff’d on other grounds, 452 F.3d 798
                 (D.C. Cir. 2006), the court held that Chaney was inap-
                 plicable to a challenge to an agency’s practice of en-
                 forcing auto recalls on a regional but not national ba-
                 sis because it was not a “single-shot non-enforcement
                 decision.” Id. at 12 (quoting Crowley, 37 F.3d at 676).
                 See also, e.g., Ringo v. Lombardi, 706 F. Supp. 2d 952
                 (W.D. Mo. 2010) (holding that Chaney does not pre-
                 clude review of a general policy of nonenforcement of
                 the Controlled Substances Act with respect to lethal-
                 injection drugs); Roane v. Holder, 607 F. Supp. 2d 216,
                 226–27 (D.D.C. 2009) (same). The cases illustrate that
                 the appellate decisions have set forth a workable
                 standard and that application of that standard has
                 neither displaced Chaney from its proper sphere nor
                 resulted in torrents of litigation.
                     The Department of Justice has also recognized the
                 well-established distinction between exercises of dis-
                 cretion to forgo an enforcement action and general en-
                 forcement policies that fall outside Chaney’s holding.
                 In its formal opinion concerning the lawfulness of de-
                 ferred action programs for noncitizens unlawfully pre-
                 sent in the United States, the Department’s Office of
                 Legal Counsel (OLC) extensively discussed Chaney
                 and the limitations of its holding. See OLC, The De-
                 partment of Homeland Security’s Authority to Priori-
                 tize Removal of Certain Aliens Unlawfully Present in
                 the United States and to Defer Removal of Others (Nov.
                 19, 2014), 2014 WL 10788677.
                     OLC’s opinion stressed two points significant here.
                 First, OLC stated that agencies “ordinarily” may not
                 “‘consciously and expressly adopt[] a general policy’”
                 that abdicates statutory responsibilities. Id., 2014 WL
                 10788677, at *6 (quoting Chaney, 470 U.S. at 833 n.4).
                 Second, OLC recognized that “lower courts, following




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                 Chaney, have indicated that non-enforcement deci-
                 sions are most comfortably characterized as judicially
                 unreviewable exercises of enforcement discretion
                 when they are made on a case-by-case basis.” Id. OLC
                 cited both Crowley and Kenney for this proposition and
                 endorsed Crowley’s distinction between unreviewable
                 “single-shot non-enforcement decisions,” id. (quoting
                 Crowley, 37 F.3d at 676), and “general policies” that
                 pose risks that the agency “has exceeded the bounds
                 of its enforcement discretion,” id.
                    The government’s brief does not acknowledge the
                 extensive body of lower-court case law fleshing out
                 Chaney’s boundaries, or its own prior statements dis-
                 tinguishing reviewable general policies from unre-
                 viewable individual exercises of discretion not to take
                 enforcement action. Adopting the government’s cur-
                 rent litigation position that its action rescinding
                 DACA falls within the scope of Chaney’s preclusion of
                 review of decisions not to initiate enforcement pro-
                 ceedings would eliminate this distinction, long recog-
                 nized by courts and by the Justice Department itself.
                 IV. The government’s arguments for extending
                     Chaney are unconvincing.
                    The government’s justification for disregarding the
                 longstanding judicial view that Chaney does not ex-
                 tend to actions of the type at issue here rests largely
                 on an ipse dixit: The government asserts that “DHS’s
                 decision to discontinue the DACA policy is exactly the
                 type of agency decision that traditionally has been un-
                 derstood as unsuitable for judicial review and there-
                 fore ‘committed to agency discretion’ under Section
                 701(a)(2).” U.S. Br. 18–19. But the government cites
                 absolutely nothing to support its assertion that there
                 is a tradition that actions adopting general




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                 enforcement policies are unreviewable. Neither
                 Chaney nor any of this Court’s other decisions invokes
                 such a tradition, and the government offers no exam-
                 ples from other courts and no citations to other au-
                 thorities suggesting that the “common law” of judicial
                 review at the time of the APA’s enactment embodied
                 such a tradition. Instead, the government backs up its
                 statement only with the observation that if “the deci-
                 sion to adopt a policy of nonenforcement” is unreview-
                 able, “the decision whether to retain such a policy”
                 should also be unreviewable. Id. at 19. That might be
                 so; but because the premise that decisions to adopt
                 nonenforcement policies are traditionally unreviewa-
                 ble is unsupported, the government’s syllogism does
                 nothing to advance its argument.
                     The government also insists that “Chaney itself
                 concerned the programmatic determination whether
                 to enforce the FDCA with respect to drugs used to ad-
                 minister the death penalty, not the particular circum-
                 stances of any individual case.” U.S. Br. 21–22. That
                 assertion, however, picks a quarrel with this Court’s
                 own description of the issue and holding in Chaney it-
                 self and in later opinions. As this Court explained in
                 Chaney, the case arose from a request by individuals
                 under sentences of death that the FDA initiate en-
                 forcement proceedings aimed at the manufacturers
                 and end users of the specific drugs to be used in their
                 executions. Those individuals then sought APA review
                 of the agency’s refusal to initiate the requested en-
                 forcement actions. See 470 U.S. at 823–25. Thus, the
                 Court did not treat the case as involving reviewability
                 of a general or “programmatic” action (a term not
                 found in the opinion), but considered instead whether
                 “an agency’s decision not to prosecute or enforce,” id.
                 at 831, is committed to agency discretion under the




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                 APA. And, as explained above, see supra pp. 9–10, the
                 Court has consistently described Chaney as address-
                 ing decisions declining to initiate specific enforcement
                 proceedings, not as applying to actions adopting poli-
                 cies concerning enforcement.
                     To be sure, the agency’s decision in Chaney un-
                 doubtedly reflected broader legal and policy views, see
                 id. at 824—views that might have served as the basis
                 for a different type of action that would have been re-
                 viewable. But Chaney found that there were “good rea-
                 sons” why one type of action—a decision not to initiate
                 an enforcement proceeding—was presumptively un-
                 suitable for review, id. at 832, even if that action
                 rested in part on legal or policy grounds that could be
                 reviewed in the context of a different type of action. As
                 the government itself points out, this Court has “held
                 that agency actions falling within a tradition of non-
                 reviewability do not become reviewable just because
                 the agency gives a reviewable reason” for those ac-
                 tions. U.S. Br. 23 (internal quotation marks and
                 brackets omitted; citing ICC v. B’hood of Locomotive
                 Eng’rs, 482 U.S. 270, 282–83 (1987)). By the same to-
                 ken, reviewable action, such as the promulgation of a
                 generally applicable policy, does not become unre-
                 viewable merely because an individual decision to
                 forgo enforcement might also be based on the same
                 “programmatic” reasons.
                     The government’s observations that enforcement
                 priorities “are, if anything, more susceptible to imple-
                 mentation though broad guidance than through case-
                 by-case enforcement decisions,” and that such guid-
                 ance helps “avoid arbitrariness and ensure con-
                 sistency,” U.S. Br. 22 (citations omitted), do nothing to
                 support its contention that Chaney should be extended
                 to shield such actions from review. That there are




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                 advantages for agencies to proceeding through gen-
                 eral policies rather than case-by-case decisionmaking
                 is hardly a reason to forgo review of the lawfulness
                 and rationality of such policies. Indeed, the very fea-
                 tures of general enforcement policies that render them
                 effective as a means of ordering agency priorities and
                 conforming them to statutory commands and pur-
                 poses also make them suitable for judicial review,
                 which in turn serves to further the desired goal of
                 avoiding arbitrary agency action.
                     The government suggests that review is unwar-
                 ranted here because actions promulgating general en-
                 forcement policies can only be reviewable if they in-
                 volve a specific “statutory directive” that circum-
                 scribes agency enforcement discretion, U.S. Br. 19, or
                 an “interpretation of particular substantive provi-
                 sions” of a statute, id. at 25. As explained above, this
                 argument is unsupported by the Court’s opinion in
                 Chaney. Moreover, questions of statutory authoriza-
                 tion are directly implicated by the action rescinding
                 DACA, which is based on the assertion that DACA vi-
                 olated substantive commands of federal immigration
                 statutes. Indeed, the government’s current claim that
                 its action was justified by a litigation risk that DACA
                 could be held unlawful as a violation of statutory com-
                 mands assumes that the promulgation of DACA was a
                 reviewable action rather than an unreviewable exer-
                 cise of discretion not to initiate a particular enforce-
                 ment proceeding. If that is so, DACA’s rescission is
                 likewise reviewable.
                     In addition, as the D.C. Circuit explained in Crow-
                 ley, the fact that actions promulgating general en-
                 forcement policies often involve direct interpretations
                 of statutes is only one of the reasons that such actions
                 are reviewable. Thus, Crowley observed that actions




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                 promulgating enforcement policies are “more likely”
                 than individual enforcement decisions to involve in-
                 terpretation of express statutory commands, not that
                 they necessarily involve such interpretation. 37 F.3d
                 at 676–77. Such a statement about the generic char-
                 acteristics of general policies that help make them
                 suitable for review by no means suggests that a policy
                 must share each such characteristic to render it re-
                 viewable.
                     Crowley also pointed to other features of general
                 policies that distinguish them from decisions not to in-
                 itiate specific enforcement actions and make them
                 suitable for judicial review—in particular, that the
                 promulgation of general rules and policies, unlike an
                 individual nonenforcement decision, typically involves
                 formal explanation of the agency’s reasons for acting.
                 Crowley, 37 F.3d at 677. That consideration is present
                 here and confirms the reviewability of the action re-
                 scinding DACA against the standards of reasoned ex-
                 planation that apply under the APA when an agency
                 abruptly changes its course. See, e.g., Motor Vehicle
                 Mfrs. Ass’n of U.S., Inc. v. State Farm Mut. Auto. Ins.
                 Co., 463 U.S. 29 (1983); FCC v. Fox Television Sta-
                 tions, Inc., 556 U.S. 502 (2009).
                     Finally, the government’s passing suggestion that
                 APA review of actions promulgating enforcement pol-
                 icies implicates separation-of-powers concerns, U.S.
                 Br. 19, is baseless. Exempting an agency’s exercise of
                 authority delegated by Congress from judicial review
                 is not a matter of constitutional imperative, but of con-
                 gressional choice—which is itself constrained by con-
                 stitutional principles that in some cases require re-
                 view. See Webster, 486 U.S. at 603; INS v. St. Cyr, 533
                 U.S. 289, 308–08 (2001). Thus, Chaney recognized
                 that even the actions it found to be presumptively




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                 unreviewable—agency decisions not to initiate en-
                 forcement actions—are reviewable when Congress so
                 commands. 470 U.S. at 832–33. “Congress may limit
                 an agency’s exercise of enforcement power if it
                 wishes.” Id. at 833. Likewise, in FEC v. Akins, this
                 Court brushed aside any suggestion that agency en-
                 forcement discretion must remain unreviewable even
                 when Congress has authorized review. See 524 U.S. at
                 26. Indeed, statutorily authorized judicial review of
                 the lawfulness of agency action serves rather than un-
                 dermines separation-of-powers values. See Bowen,
                 476 U.S. at 670. Here, where the action at issue falls
                 outside the APA’s limited exception to the presump-
                 tive availability of review, separation-of-powers con-
                 cerns provide no basis for denying review.3
                     In sum, accepting the government’s view that its
                 adoption or rescission of broad policies governing its
                 administration of the immigration laws is unreviewa-
                 ble would substantially expand the reach of Chaney,
                 conflict with its reasoning and that of other decisions
                 of this Court, and upend decades of case law applying
                 Chaney. The Court accordingly should reject the gov-
                 ernment’s contention that its rescission of DACA is
                 unreviewable.
                                        CONCLUSION
                    This Court should affirm the decisions of the courts
                 below.
                 ––––––––––––––––––––––––
                     3 The government’s suggestions in the lower courts (not re-

                 peated in its brief in this Court) that its Chaney arguments are
                 about “justiciability” are also baseless. Section 702(a)(1)’s preclu-
                 sion of review of actions “committed to agency discretion by law”
                 is a limit on the APA right of action, not on the jurisdiction of the
                 federal courts. See Air Courier Conf. of Am. v. Am. Postal Workers
                 Union, 498 U.S. 517, 523 n.3 (1991).




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                                     Respectfully submitted,
                                     SCOTT L. NELSON
                                      Counsel of Record
                                     ALLISON M. ZIEVE
                                     PUBLIC CITIZEN LITIGATION
                                      GROUP
                                     1600 20th Street NW
                                     Washington, DC 20009
                                     (202) 588-1000
                                     snelson@citizen.org
                                     Attorneys for Amici Curiae
                 October 2019




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                        Nos. 18-587, 18-588, and 18-589
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                                                In The
  Supreme Court of the United States
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   DEPARTMENT OF HOMELAND SECURITY, et al.,
                                                                                      Petitioners,
                                                  v.
REGENTS OF THE UNIVERSITY OF CALIFORNIA, et al.,
                                                                                     Respondents.
                 ------------------------------------------------------------------
DONALD J. TRUMP, President of the United States, et al.,
                                                                                      Petitioners,
                                                  v.
         NATIONAL ASSOCIATION FOR THE
    ADVANCEMENT OF COLORED PEOPLE, et al.,
                                                                                     Respondents.
                 ------------------------------------------------------------------
                KEVIN K. MCALEENAN,
      Acting Secretary of Homeland Security, et al.,
                                                                                      Petitioners,
                                                  v.
     MARTIN JONATHAN BATALLA VIDAL, et al.,
                                                                                     Respondents.
                 ------------------------------------------------------------------
             On Writs Of Certiorari To The
  United States Courts Of Appeals For The Ninth,
     District Of Columbia, And Second Circuits
                 ------------------------------------------------------------------
      BRIEF OF TEACH FOR AMERICA, INC.
       AS AMICUS CURIAE IN SUPPORT OF
        RESPONDENTS AND AFFIRMANCE
                 ------------------------------------------------------------------
HARVEY L. ROCHMAN                                              RONALD G. BLUM
ESRA A. HUDSON                                                       Counsel of Record
MICHAEL E. OLSEN                                               JULIAN POLARIS
MARIO CARDONA                                                  MANATT, PHELPS
MANATT, PHELPS                                                        & PHILLIPS, LLP
  & PHILLIPS, LLP                                              7 Times Square
11355 W. Olympic Blvd.                                         New York, NY 10036
Los Angeles, CA 90064                                          (212) 830-7186
                                                               rblum@manatt.com
================================================================================================================
                                 COCKLE LEGAL BRIEFS (800) 225-6964
                                  WWW.COCKLELEGALBRIEFS.COM




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                                 1

          INTEREST OF AMICUS CURIAE1
    For almost three decades, Teach For America, Inc.
has recruited top college graduates and professionals
who commit to teach for at least two years in low-
income communities. More than 6,500 Teach For Amer-
ica corps members currently teach in 2,500 public
schools across the country. Many Teach For America
alumni become lifelong leaders in the effort to end ed-
ucational inequity. They win recognition as teachers,
school principals, and leaders in school systems and
departments of education. Our 62,000 corps members
and alumni include 20,000 teachers working in class-
rooms; nearly 3,000 principals, assistant principals,
and deans; more than 550 system leaders; and over 100
school board members. Eight alumni currently lead
statewide school systems, serving as state education
commissioners, state education secretaries, or state su-
perintendents. Others work outside the education sys-
tem, advocating for policy reforms or pioneering new
approaches for meeting the needs of low-income chil-
dren.
     Teach For America counts almost 250 Deferred Ac-
tion for Childhood Arrivals (“DACA”) recipients among
its corps members and alumni, including Respondent
Miriam Gonzalez Avila, who was a corps member
when she became a party in Garcia v. United States,
No. 3:17-cv-5380 (N.D. Cal.). The organization witnesses

    1
       All parties have consented to the filing of this brief. No
party or party’s counsel authored this brief in whole or in part. No
one but amicus curiae and its counsel made monetary contribu-
tion to its preparation or submission.




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firsthand the leadership, passion, and empathy these
incredible individuals bring to serving their students,
schools, and communities. An end to DACA would end
their ability to work and put them at risk of deporta-
tion—a far cry from the pathway to citizenship these
young people deserve. Ending DACA would undermine
Teach For America’s effort to increase academic suc-
cess among all students, and would severely impact
undocumented students, for whom DACA teachers are
particularly powerful role models. Teach For America
thus has an interest in the continued vitality of DACA,
and seeks to ensure that the program is not unlawfully
rescinded.
                 ------------------------------------------------------------------

             INTRODUCTION AND
           SUMMARY OF ARGUMENT
     Almost four decades ago, this Court confirmed
that undocumented children enjoy a constitutional
right to free public education, “the primary vehicle for
transmitting the values on which our society rests.”
Plyler v. Doe, 457 U.S. 202, 221 (1982) (internal quota-
tion marks omitted). “By denying these children a
basic education,” the Court explained, “we deny them
the ability to live within the structure of our civic in-
stitutions, and foreclose any realistic possibility that
they will contribute in even the smallest way to the
progress of our Nation.” Id. at 223. Especially because
undocumented children may “remain in this country
indefinitely,” the cost of public education is “wholly




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insubstantial” when compared against the benefit “to
these children, the State, and the Nation.” Id. at 230.
     On Plyler’s thirtieth anniversary, President Obama
announced a policy of temporary relief from deporta-
tion for “talented young people, who, for all intents and
purposes, are Americans.” In a tacit acknowledgement
of Plyler’s legacy, President Obama identified DACA’s
beneficiaries as “young people who study in our schools,”
who have “been raised as Americans,” and who “under-
stand themselves to be part of this country.”2
     Over the next five years, hundreds of thousands of
people successfully applied to the United States De-
partment of Homeland Security for temporary depor-
tation relief and work authorization under DACA.
They graduated from high school, pursued higher edu-
cation, served in the military, and worked in their com-
munities.
     Presented with the full range of job opportunities,
many chose to give back to their communities. In par-
ticular, approximately 250 helped educate a new gen-
eration of students by serving as Teach For America
corps members, often working in schools with large
populations of undocumented children who, to this day,
benefit from Plyler’s promise of free public education.
These teachers typically held leadership positions in
their colleges, and are often open about their status
as DACA recipients. They deconstruct stereotypes and

    2
       Remarks by the President on Immigration, The White House
(June 15, 2012), https://obamawhitehouse.archives.gov/the-press-
office/2012/06/15/remarks-president-immigration.




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operate as role models of achievement, possibility, and
service. Their presence is especially valuable for un-
documented students, a vulnerable group that benefits
substantially from having authority figures with whom
they can identify.
    Because of DACA, these Teach For America corps
members have a better chance than ever before to live
out the simple truth, recognized by this Court, that
“education provides the basic tools by which individu-
als might lead economically productive lives to the
benefit of us all.” Plyler, 457 U.S. at 221.
      That chance was abruptly curtailed, however,
when the Department rescinded DACA on September
5, 2017. Acting Secretary Elaine Duke’s memorandum
(the “Duke Memorandum”) articulated unsubstanti-
ated concerns about the legal basis for the DACA pol-
icy, then announced that the Department would “wind
it down in an efficient and orderly fashion.”3
     Without DACA, undocumented youth—including
thousands of schoolchildren—lack a clear path to
higher education, economic mobility, and high-quality
jobs. They risk deportation to countries they do not
know. Even if they avoid removal, they are hampered
in their ability to “lead economically productive lives.”
Without DACA, Teach For America, school districts,
and other organizations lose the investment they have

    3
      Memorandum on Rescission of Deferred Action for Child-
hood Arrivals (Sept. 5, 2017), available at Pet. App. 101a, Dep’t of
Homeland Sec. v. Regents of the Univ. of Cal., No. 18-587 (“Re-
gents”).




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made in recruiting and training talented workers, and
our communities lose teachers, caregivers, healthcare
professionals, and members of the military, all of whom
seek to advance our nation’s ideals.
    In light of the enormous reliance interests at
stake, the Department errs in arguing that this Court
may not review the rescission of DACA even under an
“arbitrary and capricious” standard. The Department
asks this Court to tell DACA recipients, the nation, and
the world that judicial review does not apply to a gov-
ernment decision depriving 700,000 young people of
basic protections for personal safety and the ability to
continue the only life they have ever known. No legal
basis supports the Department’s decision, which would
hobble our moral standing and undermine American
values. See Heckler v. Chaney, 470 U.S. 821, 832 (1985).
    The Duke Memorandum makes no mention of
DACA’s profound impact on hundreds of thousands of
young people, or on the communities where they live,
learn, teach and work. For these reasons, Teach For
America urges this Court to affirm the unanimous
opinions and orders from the lower courts setting aside
the Department’s rescission of DACA as arbitrary and
capricious under the Administrative Procedure Act
(“APA”).
                ------------------------------------------------------------------




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                    ARGUMENT
I.     THE APA REQUIRES AN AGENCY TO CON-
       SIDER “SERIOUS RELIANCE INTERESTS”
       WHEN IMPLEMENTING A POLICY CHANGE
     Congress vested the Department with authority to
implement the DACA policy, and also to amend or re-
scind that policy. 6 U.S.C. § 202(5). Although agencies
are “free to change their existing policies,” they must
“provide a reasoned explanation for the change.” En-
cino Motorcars, LLC v. Navarro, 136 S. Ct. 2117, 2125
(2016). In particular, the agency must acknowledge
cases in which the “prior policy has engendered serious
reliance interests.” F.C.C. v. Fox Television Stations,
Inc., 556 U.S. 502, 515 (2009). “[I]t is not that further
justification is demanded by the mere fact of policy
change,” but the agency must offer “a reasoned expla-
nation” for “disregarding facts and circumstances that
underlay or were engendered by the prior policy.” Id. at
515–16.
     Courts reviewing agency action under the APA
must ensure that an agency’s “decision was based on a
consideration of the relevant factors.” Motor Vehicle
Mfrs. Ass’n of U.S., Inc. v. State Farm Mut. Auto. Ins.
Co., 463 U.S. 29, 43 (1983). A court should set aside an
action as arbitrary and capricious if the agency “en-
tirely failed to consider an important aspect of the
problem.” Ibid. Where “serious reliance interests [are]
at stake,” the agency may not rely on “conclusory state-
ments” to justify its change in position, and must pro-
vide a “reasoned explanation” for reversing course.
Encino Motorcars, 136 S. Ct. at 2127.




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    Teach For America’s experience demonstrates that
the Department violated these well-settled principles
when it rescinded DACA.


II.   DACA HAS ENGENDERED SERIOUS RELI-
      ANCE INTERESTS IN TEACH FOR AMER-
      ICA, TEACHERS, SCHOOLS, AND STUDENTS
    In 2013, Teach For America was among the first
organizations to recruit DACA-eligible college stu-
dents. Starting with two DACA teachers in Denver,
Teach For America’s DACA cohort has grown to 89 cur-
rent members and more than 150 alumni, many of
whom remain active in the education community.
     Teach For America has expended considerable re-
sources to recruit and support these talented young
people on their journey to becoming teachers and lead-
ers in communities nationwide. Their lived experience
as undocumented immigrants enhances their ability to
guide students and spearhead transformative change
in the classroom and beyond, and so advances Teach
For America’s pedagogical mission. Because of these
unique benefits, an end to DACA harms not only DACA
recipients, but also the organizations that recruited
and trained them, the students who depend on them
daily, and the communities they serve.


      A. DACA Freed Undocumented Young Peo-
         ple to Pursue Productive Lives
    Commentary on DACA’s impact has generally—
and rightly—focused on the 700,000 individuals who




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hold temporary relief and work authorization. See, e.g.,
Regents of the Univ. of Cal. v. U.S. Dep’t of Homeland
Sec., 908 F.3d 476, 520 (9th Cir. 2018) (Because of
DACA, Respondent “Dulce Garcia and the hundreds of
thousands of other young dreamers like her may con-
tinue to live productively in the only country they have
ever known.”).
     DACA allows undocumented youth to live without
fear of deportation. One cannot overstate the benefits
of dispelling that ever-present specter. As this Court
has long recognized, involuntary removal may cause
“loss of both property and life, or of all that makes life
worth living.” Ng Fung Ho v. White, 259 U.S. 276, 284
(1922). For a young person who thinks of America as
home and has never known any other, deportation
means “banishment or exile.” Delgadillo v. Carmichael,
332 U.S. 388, 391 (1947); see also Padilla v. Kentucky,
559 U.S. 356, 373 (2010) (recognizing the “severity of
deportation”).
     In addition to providing peace of mind, DACA
opened up opportunities that U.S. citizens take for
granted, like applying for a driver’s license or a job. Al-
most 250 of these accomplished young leaders chose to
participate in the Teach For America program to help
remedy educational inequity and become lifelong lead-
ers who impact societal change. The six described be-
low embody DACA’s benefits and the reliance interests
at stake in this case.




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         1. Alejandro Fuentes Mena
     At age four, Alejandro Fuentes Mena came to
San Diego from Valparaiso, Chile. His undocumented
parents found work, but their low-wage jobs could not
prevent periods of homelessness during Fuentes’s
childhood. He entered his teenage years with near-
failing grades, but encouragement from a dedicated
teacher helped him raise his GPA high enough to earn
a full scholarship at Whitman College in Washington.
As college graduation approached, however, he began
to feel hopeless about his future, fearing that his lack
of documentation would force him into the same low-
wage, under-the-table jobs as his parents.
     DACA changed everything, enabling Fuentes to
join Teach For America as one of the first undocumented
corps members. He wanted to become a teacher because
he’d seen an educator turn around a child’s life. Fuentes
finished his two-year commitment with Teach For
America in 2015 and continues to serve students in
Denver, where he began his seventh year as a middle
school math teacher this fall. After participating in
Moonshot, a school incubator fellowship, Fuentes now
seeks to start his own school with a focus on arts inte-
gration. He aims to help students develop their talents
alongside their academics. Fuentes also continues to
humanize the undocumented community, seeking to
share his narrative in the podcast Shoebox Stories to
contribute to nationwide exposure around the immi-
gration crisis.




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         2. Marissa Molina
     Marissa Molina came from Mexico when she was
nine and grew up in Glenwood Springs, Colorado. Be-
fore her first day of school, she practiced saying, “I don’t
speak English.” Even after learning English, she spent
high school ashamed and isolated by her undocu-
mented status, which her family instructed her to keep
secret. She revealed her status to an empathetic col-
lege counselor, who helped Molina become the first
member of her family to attend college. Paying tuition
was a struggle, however, even though Molina worked
alongside her mother cleaning houses. She considered
dropping out. Without the ability to work legally, she
thought, a college degree was little more than a piece
of paper.
     Then DACA opened new opportunities. Molina
graduated from college and joined Teach For America
in 2014. The following year, the White House honored
her as a “Champion of Change” for developing a cultur-
ally responsive curriculum tailored to native Spanish
speakers. In March 2019, Colorado Governor Jared Po-
lis appointed Molina to the Board of Trustees for the
Metropolitan State University of Denver, acknowledg-
ing her ability to advocate for expanding educational
opportunity.


         3. Vanessa Luna
     Vanessa Luna emigrated from Lima, Peru at age
ten. Like Molina, she grew up fearing social rejection
and removal orders, then became the first of her family




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to graduate from college. She taught in Los Angeles as
a Teach For America corps member and served as a
founding member of the organization’s DACA Advisory
Board.
     After her time in the classroom, Luna drew on her
experiences as an undocumented student and teacher
to found ImmSchools, a non-profit organization that
helps educators create safe and welcoming spaces for
undocumented students and their families. She cre-
ated programming materials that have trained almost
1,000 educators, and devised workshops to help nearly
1,000 immigrant families learn about legal and educa-
tional services. This year, the Forbes “30 Under 30” list
honored Luna for her ongoing impact.


         4. Erik Kwak
     Eric Kwak came to the United States from South
Korea when he was eight and grew up in Koreatown,
Los Angeles. Kwak’s mother faced dim prospects in
South Korea as the fourth daughter in a patriarchal
society, and moved to America hoping to give her fam-
ily a chance at a better life. She was determined to es-
cape poverty and impressed upon her son the value of
education as a tool for upward social mobility.
     Kwak graduated as the valedictorian of his high
school class and went on to the University of Califor-
nia, Berkeley. He then joined Teach For America as a
Head Start teacher in West Garfield Park, Chicago. He
is now pursuing a career in education policy, hoping to
address inequities in our education system. This past




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year, he worked as a Public Policy Fellow at the Ala-
meda County Office of Education to organize and ad-
vocate for a bill increasing funding for public schools
in California. DACA gave him the opportunity to make
his mother’s dream come true.


         5. Denise Panaligan
     Denise Panaligan was born in Mandaluyong in the
Philippines. She came to the United States when she
was nine and, like Kwak, grew up in Koreatown. She
too spent much of her life ashamed and fearful of her
undocumented status, until a resourceful counselor
told her about a conference that connected undocu-
mented students with resources in higher education.
With support from her community, Panaligan gradu-
ated from UCLA with a dual degree in Economics and
Asian American Studies, then earned a master’s de-
gree in urban education from Loyola Marymount Uni-
versity.
     After joining Teach For America, she was honored
as the Urban Educator of the Year for her work with
English Learners and students with disabilities. Pan-
aligan began her fourth year of teaching this fall as a
history teacher, and will be assisting with Teach For
America trainings around diversity, equity, and inclu-
sion. She believes teachers should help break down
systemic injustices and develop equitable policies for
new generations of students. Panaligan is also an ac-
tive member of UPLIFT, a community organization
that advances Asian American and Pacific Islander




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representation in the narrative around immigration in
order to highlight important histories, cultures, and so-
cial justice issues.


         6. Miriam Gonzalez Avila
     Miriam Gonzalez Avila arrived in Los Angeles at
age six. In high school, a formerly undocumented La-
tina teacher became her role model and inspired her to
believe that she could “make it,” even without a formal
immigration status. After graduating with Dean’s
Honors from UCLA, Gonzalez joined Teach For Amer-
ica, hoping that she too could become a role model. She
recalls a student confessing his undocumented status
to her, a secret he had not told any other teacher. After
hearing his family’s story, including their reluctance to
ask for help for fear of being discovered, she organized
a “know your rights” workshop for local immigrant
families.
     Gonzalez was in the middle of teaching a class in
her hometown when the Department announced its re-
scission of DACA. Her students knew that she was a
DACA recipient. They asked what would happen to
her, and whether she would have to leave. She decided
to join the complaint in Garcia v. United States to show
her students the importance of fighting for one’s be-
liefs. She believes, as Teach For America believes, that
to rescind DACA so abruptly, when so many have re-
lied on it to better themselves and their country, is un-
lawful and wrong.
                   *       *        *




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     Dedicated educators inspired these young people
to pursue higher education. Yet their limited post-
college prospects nearly stifled that inspiration. DACA
brought hope and created a legal path to previously
unattainable goals. Their government offered an op-
portunity and they made the most of it, hoping to give
back to the nation that had given them so much. As
five former Secretaries of Education explained, re-
scinding DACA would “violate a promise our nation
made to these earnest young people.”4


        B. DACA Teachers Provide Special Value to
           Students, Schools, and Communities
     Fuentes, Molina, Luna, Kwak, Panaligan, and
Gonzalez exemplify the “outstanding and diverse lead-
ers” that Teach For America places in low-income com-
munities, where they “confront both the challenges and
joys of expanding opportunities for kids.”5 Teach For
America requires strong academic records and leader-
ship skills, attributes often found in DACA students
who engage in advocacy and awareness campaigns
around immigration issues on campus, in the public
square, and in the halls of government. Moreover,


    4
      Arne Duncan et al., Bipartisan Letter to Congress from For-
mer Education Secretaries at 2, https://www.politico.com/f/?id=
0000015e-5b9c-db52-a75e-dffded380001 (last accessed Sept. 29,
2019); see also ibid. (“We must not, we cannot, let these children
down. The stakes are too high for them and for the future of our
country.”).
    5
      Teach For America, What We Do, https://www.teachforamerica.
org/what-we-do (last accessed Sept. 29, 2019).




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DACA enables Teach For America to recruit and part-
ner with teachers who reflect the diverse demographics
in school systems across the country, thereby advanc-
ing Teach For America’s mission in unique and power-
ful ways.


           1. Teacher Diversity Redresses Achieve-
              ment Gaps and Promotes Positive Stu-
              dent Outcomes
     Undocumented youth are a vulnerable group: com-
pared to their U.S.-born peers, they are five times less
likely to finish high school, and those who enroll in col-
lege are far less likely to graduate.6 Black and Hispanic
students, too, continue to lag behind on standardized
test scores, discipline records, and high school gradua-
tion rates.7
    A growing body of research shows that diversity
among educators plays a powerful role in closing these
achievement gaps, in addition to “providing social ad-
vantages for all students.”8 Diverse teachers “break[ ]

    6
       Zenen Jaimes Pérez, Removing Barriers to Higher Educa-
tion for Undocumented Students, Ctr. Am. Progress 8–9 (Dec. 2014),
https://cdn.americanprogress.org/wp-content/uploads/2014/12/Undoc
HigherEd-report2.pdf.
     7
       Status and Trends in the Education of Racial and Ethnic
Groups 2017, Nat’l Ctr. Educ. Statistics, U.S. Dep’t Educ., at iii–v
(July 2017), https://nces.ed.gov/pubs2017/2017051.pdf.
     8
       The State of Racial Diversity in the Educator Workforce
2016, U.S. Dep’t Educ., at 2 (July 2016), https://eric.ed.gov/
?id=ED571989; see also Anna J. Egalite & Brian Kisida, The Ef-
fects of Teacher Match on Students’ Academic Perceptions and At-
titudes. Educational Evaluation and Policy Analysis, 40 Rev. Res.




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                                  16

down negative stereotypes” and serve as “positive role
models” in different ways to different students.9 Teach-
ers who share demographic traits with their students
help upend the tyranny of low expectations, diffuse
conflicts that can lead to disciplinary action, and in-
spire students to be their best selves.
     DACA teachers add to the diversity of Teach For
America’s corps in many ways, including language flu-
ency, national origin, socioeconomic status, race, and
ethnicity. Their lived experience as undocumented
immigrants is uniquely valuable to the 80,000 DACA-
eligible undocumented children who turn 18 each
year.10 A “teacher is often the first adult an undocu-
mented student will ask for help” in overcoming obsta-
cles and planning their future, as the experiences of
Fuentes, Molina, Luna, Kwak, Panaligan, and Gonza-
lez demonstrate.11 DACA teachers “know first-hand
the concerns that undocumented kids face.”12


Educ. 59 (2018); Constance A. Lindsay & Cassandra M. D. Hart,
Exposure to Same-Race Teachers and Student Disciplinary Out-
comes for Black Students in North Carolina, 39 Rev. Res. Educ.
485 (2018); Stephen B. Holt & Nicholas W. Papageorge, Who Be-
lieves in Me? The Effect of Student–Teacher Demographic Match
on Teacher Expectations, Econ. Educ. Rev., Vol. 52, Issue C, at
209 (2016); Anna J. Egalite et al., Representation in the Class-
room: The Effect of Own-Race Teachers on Student Achievement,
Econ. Educ. Rev., Vol. 45, Issue C, at 44 (2015).
     9
        The State of Racial Diversity, supra n.8, at 1.
     10
        Jaimes, supra n.6, at 8.
     11
        DACA Recipients, Teach For America, https://www.teachfor
america.org/how-to-join/eligibility/daca (last accessed Sept. 29, 2019).
     12
        Ibid.




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     DACA teachers’ impact does not stop at the door
to the classroom, however; they also pass their special-
ized knowledge to their peers. Teach For America’s
DACA Advisory Board encouraged the organization to
prepare all corps members for the unique needs of un-
documented students. With the organization’s support
and coordination, undocumented corps members and
alumni worked to develop and implement a training
program for the more than 3,000 teachers who join
Teach For America each year.


          2. Excellent Teachers Offer Great Value,
             Especially in Teacher Shortage Areas
     Teach For America’s commitment to excellence in
hiring supports educational equality for all students.
DACA teachers’ backgrounds and skills, enhanced
with two years of training and experience as Teach
For America corps members, lay the foundation for
a lifetime commitment to education and advocacy.
The White House’s “Champions of Change” series, for
example, recognized nine “DACAmented teachers” as
“extraordinary educators”; five of the nine were Teach
For America corps members or alumni.13
     These wonderful teachers are especially valuable
in the growing number of school districts that face
teacher shortages. A 2016 study found a nationwide
deficit of approximately 64,000 teachers, and predicted

    13
       Champions of Change: Dacamented Teachers, The White
House, https://obamawhitehouse.archives.gov/champions/dacamented-
teachers (last accessed Sept. 29, 2019).




                                                                    AR5603
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an annual teacher shortage of 112,000 in 2018.14 Those
shortages will only increase if America loses the esti-
mated 9,000 education professionals who currently
benefit from DACA’s protection.15
     Teach For America recruits corps members to
serve in high-need, hard-to-staff schools with high con-
centrations of low-income students. The DACA corps
members are no different, and help to fill crucial needs
in these communities. Since 2014, for example, Teach
For America has placed more than a quarter of its
DACA corps members into science, technology, engi-
neering, and math (“STEM”) subjects that represent
teacher shortage areas in almost every state in the
country.16 Most states also report shortages of bilingual
teachers, or specialists in teaching English Learners
or teaching other languages.17 DACA teachers fill
those needs, too, by virtue of their native language


     14
         Leib Sutcher et al., A Coming Crisis in Teaching? Teacher
Supply, Demand, and Shortages in the U.S., Learning Pol’y Inst.
1 (2016), https://learningpolicyinstitute.org/sites/default/files/product-
files/A_Coming_Crisis_in_Teaching_REPORT.pdf.
      15
         Jie Zong et al., A Profile of Current DACA Recipients by
Education, Industry, and Occupation, Migration Pol’y Inst. 2
(Nov. 2017), https://www.migrationpolicy.org/research/profile-current-
daca-recipients-education-industry-and-occupation.
      16
         All states other than Kansas and Ohio identified a STEM
subject as a teacher shortage area. See Teacher Shortage Areas,
U.S. Dep’t of Educ., https://tsa.ed.gov; see also Sutcher et al., supra
n.14, at 10–11 (discussing STEM teacher shortages in prior school
years).
      17
         See Teacher Shortage Areas, supra n.16; Sutcher et al., su-
pra n.14, at 11.




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proficiencies and their experiences learning English as
an additional language.
     Teachers are the lifeblood of a well-functioning
school system. Districts around the country rely on
Teach For America corps members, and the members’
commitment to teach at least two years. That reliance
is especially pronounced in hard-to-staff schools and
subject areas, where each additional loss worsens a
growing crisis.


         C. Teach For America Has Expended Con-
            siderable Resources Recruiting and Sup-
            porting Talented DACA Teachers
     When President Obama announced DACA in
2012, Teach For America immediately recognized the
policy’s potential to promote the organization’s mission
of advancing educational equality. Teach For America
hired staff, built administrative infrastructure, and
raised funds to recruit DACA recipients and support
them during their two years of service and beyond.
    One prominent example is the financial award
available to Teach For America corps members who
complete their two-year commitment. Most corps mem-
bers are eligible for federal education awards to pay
down student debt or pursue additional education.18

    18
        Teach For America is the largest grantee of the Corpora-
tion for National and Community Service, which administers the
AmeriCorps program. Like all AmeriCorps volunteers, Teach For
America corps members who serve a two-year term are eligible
for a Segal AmeriCorps Education Award to pay for student loans




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                                  20

DACA recipients, however, are ineligible for federal fi-
nancial aid.19 Undocumented students often struggle
to pay for school, given their generally low socioeco-
nomic status, their lack of access to federal aid, and
their ineligibility in most states for discounted in-state
tuition rates.20 To mitigate those imbalances, Teach For
America has done extensive fundraising and designed
administrative systems to provide DACA teachers
“with the same opportunities for an education award
as all other corps members.”21
     Teach For America also provides financial re-
sources and free legal assistance to corps members
when they re-apply for DACA status. These services
cost almost $1,500 per renewal application, which re-
quires Teach For America to raise significant funding
from private sources.
   In addition, the organization hired a full-time staff
member dedicated to recruiting and supporting DACA



or further higher education. See AmeriCorps, Teach For Amer-
ica, https://www.teachforamerica.org/life-in-the-corps/salary-and-
benefits/americorps (last accessed Sept. 29, 2019).
     19
        See U.S. Dep’t of Educ. Fed. Student Aid, Financial Aid
and Undocumented Students, https://studentaid.ed.gov/sa/sites/
default/files/financial-aid-and-undocumented-students.pdf (last accessed
Sept. 29, 2019).
     20
        See Jaimes, supra n.6, at 9; Undocumented Student Tui-
tion: Overview, Nat’l Conf. St. Legislatures (Sept. 29, 2019), http://
www.ncsl.org/research/education/undocumented-student-tuition-
overview.aspx.
     21
        DACA Recipients, supra n.11.




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                               21

corps members.22 And each year, Teach For America
hosts a “convening” of DACAmented corps members
and alumni. Participants have commented on how
meaningful it is to be surrounded by talented, high-
achieving people who are committed to educational
excellence and equity. They bond over shared experi-
ences, and discover how their lives have differed be-
cause of local demographics or state policies. This
knowledge and these connections fuel their efficacy as
educators and advocates.
     Teach For America offers these benefits to reward
DACA corps members’ commitment to service. These
extraordinary young people choose to dedicate at least
two years—the same period as their renewable DACA
relief—to serve children and schools in low-income
communities. Teach For America is unreservedly con-
fident in placing these wonderful teachers in parts of
the country where students need them most. That is
why the organization makes such efforts to recruit and
support DACA recipients, efforts that have purpose
only as long as DACA survives.




    22
        DACA Recipients, supra n.11; see also Viridiana Carrizales,
Why TFA Supports DACA and Undocumented Students, Teach
For America (Feb. 28, 2017), https://www.teachforamerica.org/
stories/why-tfa-supports-daca-and-undocumented-students (state-
ment from Teach For America’s former “Managing Director of
DACA Corps Member Support”).




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                          22

III. THE DEPARTMENT ACTED ARBITRARILY
     AND CAPRICIOUSLY BY RESCINDING DACA
     WITHOUT CONSIDERING SERIOUS RELI-
     ANCE INTERESTS
     DACA profoundly altered the lives of 700,000
young people, allowing them to join organizations like
Teach For America for the betterment of communities
nationwide. Most critically, DACA lifted the looming
shadow of deportation and vastly expanded the uni-
verse of potential jobs. Teach For America was among
the first organizations to recruit motivated individuals
from this newly available pool of talent. The organ-
ization sought, trained, and financially supported
high-achieving DACA recipients in furtherance of its
mission to equalize educational opportunity.
     Like all good teachers, Teach For America’s DACA
corps members educate, inspire, and guide their stu-
dents. Many provide vital assistance to school districts
suffering shortages of high-quality teachers in hard-to-
staff subjects. Over and above those crucial benefits,
Teach For America recognized the special value that
DACA recipients offer students and communities by
virtue of their lived experience as undocumented im-
migrants.
     Acting Secretary Duke rescinded DACA without
acknowledging, must less weighing, the rich and varie-
gated reliance interests engendered over DACA’s first
five years. The Duke Memorandum’s abrupt rescission
of DACA “entirely failed to consider” these “important
aspect[s] of the problem” DACA sought to address.




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State Farm, 463 U.S. at 43. The “significant reliance
interests involved” compel the Department to offer “a
more reasoned explanation for its decision to depart
from its existing enforcement policy.” Encino Motor-
cars, 136 S. Ct. at 2127. The agency’s failure to do so,
together with the flaws of law and logic discussed in
Respondents’ briefs, demonstrate that the agency’s de-
cision to “depart from its existing enforcement policy”
was arbitrary and capricious. Id. at 2126. The lower
courts recognized these flaws and properly set aside
the agency action rescinding DACA.23
     There are perhaps no greater examples of DACA’s
importance, and the consequences of its rescission,
than the students and teachers who have relied upon
its relief. Beyond serving as critical role models for un-
documented students, DACA educators benefit all stu-
dents in their schools. Their American story deepens
all students’ understanding of the richness of the di-
versity of our country. This Court has long extolled the
virtues of education, recognizing public schools as
“a principal instrument in awakening the child to
cultural values” and laying the foundation for “later

    23
        Homeland Security Secretary Kirstjen Nielsen offered a
post hoc rationalization in her 2018 memorandum, commenting
in passing that “DACA recipients have availed themselves of the
policy in continuing their presence in this country and pursuing
their lives.” Regents Pet. App. 125a. Even if the Court considers
these perfunctory post hoc statements, the Nielsen memorandum
falls woefully short of acknowledging the profound ways DACA
transformed the lives of undocumented young people. The memo-
randum also ignores the reliance interests that DACA has engen-
dered in organizations like Teach For America.




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professional training.” Brown v. Bd. of Ed. of Topeka,
347 U.S. 483, 493 (1954); see also Bd. of Educ., Island
Trees Union Free Sch. Dist. No. 26 v. Pico, 457 U.S.
853, 864 (1982) (describing public schools as “vehicles
for inculcating fundamental values necessary to the
maintenance of a democratic political system.” (inter-
nal quotation marks omitted)); Plyler, 457 U.S. at 221
(collecting cases). Education at all levels—from pre-K
to post-doctorate—is “pivotal to sustaining our politi-
cal and cultural heritage” and occupies a “fundamental
role in maintaining the fabric of society.” Grutter v. Bol-
linger, 539 U.S. 306, 331 (2003) (internal quotation
marks omitted).
     The pivotal role schools play in shaping our youth
makes all the more important the courts’ role in safe-
guarding the rights of those who sit at desks or stand
at the head of classrooms. “[E]ducation prepares indi-
viduals to be self-reliant and self-sufficient participants
in society,” the Plyler Court wrote, decrying “govern-
mental barriers” that present “unreasonable obstacles
to advancement on the basis of individual merit.” 457
U.S. at 222. Even before that, the Court emphasized
the need for “scrupulous protection” of rights in the
schoolhouse “if we are not to strangle the free mind at
its source and teach youth to discount important prin-
ciples of our government as mere platitudes.” W. Virginia
State Bd. of Educ. v. Barnette, 319 U.S. 624, 637 (1943).
    These admonitions apply with equal force today.
What will impressionable children think upon learn-
ing that their teacher has been sent far away with-
out the government even having to establish that its




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actions were rational? What lessons will children learn
about faith in their government, trust in social institu-
tions, and the rule of law? How will we instill American
values—the importance of keeping promises, the re-
wards that flow from talent and hard work—when the
Department seeks to upend hundreds of thousands of
lives without considering the depth of their loss or the
immediacy of their suffering?
                 ------------------------------------------------------------------

                        CONCLUSION
     Under the Administrative Procedure Act, the De-
partment may rescind DACA only if it offers a suffi-
ciently reasoned explanation, which it did not do. In
light of the serious reliance interests at stake for
DACA recipients, the organizations they work with,
and the communities they serve, the Department’s con-
clusory statements do not suffice to explain its abrupt
rescission. Teach For America urges the Court to affirm
the lower courts’ unanimous judgments and orders in
these consolidated appeals.
                                                 Respectfully submitted,
                                                 RONALD G. BLUM
                                                   Counsel of Record
                                                 JULIAN POLARIS
                                                 MANATT, PHELPS
                                                   & PHILLIPS, LLP
                                                 7 Times Square
                                                 New York, NY 10036
                                                 (212) 830-7186
                                                 rblum@manatt.com




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                       HARVEY L. ROCHMAN
                       ESRA A. HUDSON
                       MICHAEL E. OLSEN
                       MARIO CARDONA
                       MANATT, PHELPS
                         & PHILLIPS, LLP
                       11355 W. Olympic Blvd.
                       Los Angeles, CA 90064
                       Counsel for Amicus Curiae
                         Teach For America, Inc.
October 4, 2019




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                                Nos. 18-587, 18-588, and 18-589

                                                IN THE
                    Supreme Court of the United States

                  DEPARTMENT OF HOMELAND SECURITY, et al.,
                                          Petitioners,
                                   v.
                                REGENTS OF THE
                          UNIVERSITY OF CALIFORNIA, et al.
                                              Respondents.

                                   On Writ of Certiorari
                           to the United States Court of Appeals
                                   for the Ninth Circuit

                           BRIEF OF AMICI CURIAE
                    THE NATIONAL ASSOCIATION OF HOME
                  BUILDERS, THE REAL ESTATE ROUNDTABLE,
                  AND THE ESSENTIAL WORKER IMMIGRATION
                   COALITION IN SUPPORT OF RESPONDENTS

                                                   Gavin R. Villareal
                                                     Counsel of Record
                                                   BAKER BOTTS L.L.P.
                                                   98 San Jacinto Blvd., Suite 1500
                                                   Austin, Texas 78701
                                                   (512) 322-2500
                                                   gavin.villareal@bakerbotts.com

                                Counsel for Amici Curiae
                     [Additional Captions Listed on Inside Cover]

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                          President of the United States, et al.
                                                     Petitioners,
                                           v.
                      NATIONAL ASSOCIATION FOR THE
                   ADVANCEMENT OF COLORED PEOPLE, et al.
                                         Respondents.

                       On Writ of Certiorari Before Judgment
                        to the United States Court of Appeals
                         for the District of Columbia Circuit

                              KEVIN K. MCALEENAN,
                      Acting Secretary of Homeland Security, et al.
                                                   Petitioners,
                                           v.
                    MARTIN JONATHAN BATALLA VIDAL, et al.
                                         Respondents.

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                    Construction Labor Force, NAHB (Jan. 2,
                    2018),
                    https://www.nahbclassic.org/generic.aspx?s
                    ectionID=734&genericContentID=260375 .............3, 4
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                   Eligible Population (Feb. 8, 2018),
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                   eport/spotlight-on-the-daca-eligible-
                   population/ ....................................................................... 6




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                    subcontractor-costs-outpacing-inflation-
                    raising-home-prices/....................................................... 9
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                    (Aug. 5, 2019),
                    http://eyeonhousing.org/2019/08/labor-
                    shortages-still-hurting-affordability/ ........................... 8
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                   Nursing Homes: Key Facts 3 (2019),
                   https://phinational.org/wp-
                   content/uploads/2019/08/US-Nursing-
                   Assistants-2019-PHI.pdf ............................................4, 5
                 PHI, Understanding the Direct Care
                   Workforce: Key Facts & FAQ,
                   https://phinational.org/policy-research/key-
                   facts-faq/ (last visited Oct. 3, 2019) ............................... 5
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                   in July, NAHB: Eye on Housing (Sept. 10,
                   2019),
                   https://eyeonhousing.org/2019/09/constructi
                   on-job-openings-up-in-july/ ........................................... 6
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                   (Aug. 6, 2019),
                   http://eyeonhousing.org/2019/08/job-
                   openings-slow-still-higher-year-over-year/ ................. 7




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                   Care Workforce, PHI Research Br. (June
                   2017), https://phinational.org/wp-
                   content/uploads/2017/06/Immigrants-and-
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                              INTEREST OF AMICI CURIAE1
                      The National Association of Home Builders (NAHB) is
                 a trade federation of more than 700 state and local associ-
                 ations whose mission is to enhance the climate for housing
                 and the building industry. Chief among NAHB’s goals is
                 providing and expanding opportunities for all people to
                 have safe, decent, and affordable housing. About one-
                 third of NAHB’s approximately 140,000 members are
                 home builders or remodelers. NAHB members provide
                 80% of all homes constructed in the United States.
                      The Real Estate Roundtable (the Roundtable) brings
                 together leaders of the nation’s top publicly-held and pri-
                 vately-owned real estate ownership, development, lend-
                 ing, and management firms with the leaders of major na-
                 tional real estate trade associations to jointly address key
                 national policy issues relating to real estate and the overall
                 economy. By identifying, analyzing, and coordinating pol-
                 icy positions, the Roundtable’s business and trade associ-
                 ation leaders seek to ensure a cohesive industry voice is
                 heard by government officials and the public about real es-
                 tate and its important role in the global economy. Collec-
                 tively, the Roundtable members’ portfolios contain over 12
                 billion square feet of office, retail, and industrial proper-
                 ties valued at more than $3 trillion; over two million apart-
                 ment units; and more than three million hotel rooms. Par-
                 ticipating trade associations represent more than two mil-
                 lion people involved in virtually every aspect of the real
                 estate business.


                 1
                     No counsel for any party authored this brief in whole or in part and
                 no entity or person, aside from amici curiae, their members, and their
                 counsel, made any monetary contribution intended to fund the prepa-
                 ration or submission of this brief. The parties have consented to the
                 filing of this brief by blanket consent on file with the Court.
                                                   (1)




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                                              2
                     The Essential Worker Immigration Coalition (EWIC)
                 is a coalition of businesses, trade associations, and other
                 organizations from across the industry spectrum con-
                 cerned with the shortage of both lesser skilled and un-
                 skilled labor. EWIC supports policies that facilitate the
                 employment of essential workers by U.S. companies and
                 organizations, as well as reform of U.S. immigration policy
                 to facilitate a sustainable workforce for the American
                 economy while ensuring our national security and pros-
                 perity.
                     In addition to their respective interests in ensuring the
                 vitality of the nation’s construction workforce, the availa-
                 bility of affordable housing, and the existence of equal em-
                 ployment opportunities, amici each have a particular in-
                 terest in ensuring appropriate judicial review of state and
                 federal government decisions and actions.
                                      INTRODUCTION
                     The U.S. construction industry, and the industries that
                 provide related services to the real estate sector, are suf-
                 fering from a prolonged labor shortage. Among other con-
                 sequences, the labor shortage is increasingly hampering
                 the construction and affordability of new homes. The
                 country is not building enough new homes to keep pace
                 with demand and maintain a healthy housing stock. Build-
                 ers nationwide recognize the problem and report that the
                 labor shortages are getting worse, creating a cascading
                 impact on the pace of home construction and the price of
                 new homes. The labor shortage is having similar negative
                 effects in multiple support service industries, such as food
                 preparation and serving, hotel and hospitality, health and
                 elder care, and building and grounds cleaning and mainte-
                 nance.
                     It is undisputed that immigrants provide a valuable
                 source of construction labor and play a significant role in
                 the workforce that services buildings once constructed.




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                 Taken together, about 41% of DACA recipients work in
                 industries represented by amici.2 The decision to rescind
                 the Deferred Action for Childhood Arrivals (DACA) policy
                 threatens to further exacerbate the ongoing labor short-
                 age and harm the U.S. economy, and make the American
                 dream of homeownership harder than ever to achieve.
                     Courts can and should play a role in such agency deci-
                 sions, as every court below in these consolidated cases ap-
                 propriately concluded (and as many of the amici States
                 otherwise supporting respondents agree). The Court’s
                 decision in Heckler v. Chaney, 470 U.S. 821 (1985), which
                 established a presumption of nonreviewability of certain
                 agency decisions, does not apply to the DACA rescission
                 decision. To the contrary, that decision, based upon an
                 agency’s presumption that it lacked legal authority to act
                 otherwise, is precisely the type of agency determination
                 that courts are well equipped to review.
                                        ARGUMENT
                 I. DACA PROVIDES NECESSARY WORKERS FOR THE
                     STRUGGLING U.S. CONSTRUCTION WORKFORCE
                     A. DACA recipients and other immigrants are a
                         valuable part of the U.S. labor workforce.
                     Immigrants comprise an essential part of the U.S. la-
                 bor workforce. For example, immigrant workers now ac-
                 count for close to one in four workers in the construction
                 industry, a percentage that has been rising since the Great
                 Recession.3 The share of immigrants is even higher in

                 2
                     Jie Zong, et al., A Profile of Current DACA Recipients by Educa-
                 tion, Industry, and Occupation, Migration Policy Inst.: Fact Sheet 7
                 (Nov. 2017), https://www.migrationpolicy.org/sites/default/files/pub-
                 lications/DACA-Recipients-Work-Education-Nov2017-FS-
                 FINAL.pdf.
                 3
                     Natalia Siniavskaia, Immigrant Workers in the Construction La-
                 bor Force, NAHB (Jan. 2, 2018), https://www.nahbclassic.org/ge-
                 neric.aspx?sectionID=734&genericContentID=260375.




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                 construction trades, reaching 30%, and is particularly high
                 in some of the trades needed to build a home and that con-
                 sistently register high labor shortages, such as carpen-
                 ters, painters, drywall/ceiling tile installers, brick masons,
                 and construction laborers.4
                     Reliance on foreign-born workers is pronounced in
                 some states. In 2018, immigrants comprised almost 42%
                 of the construction workforce in California; 41% in Texas;
                 37% in New York and Nevada; and 35% in Florida.5
                     The importance of immigrant laborers extends
                 throughout the national workforce. The role of immi-
                 grants in providing direct health care and working as
                 nursing assistants, who work in our nation’s hospitals, el-
                 der care facilities, and other health care properties, is il-
                 lustrative. In 2017, one in four workers providing hands-
                 on care to older people and people with disabilities nation-
                 wide was an immigrant, and that number continues to
                 grow.6 Including independent providers, about one million
                 immigrants work in direct health care services.7 Similarly,
                 21% of nursing assistants were born outside of the United
                 States, compared to 17% of all U.S. workers.8 The need
                 for such health care workers is growing dramatically.
                 From 2015 to 2050, the population of adults aged 65 and
                 over will almost double, from 47.8 million to 88 million, and
                 the number of adults over 85 will more than triple over the

                 4
                    Ibid.
                 5
                    Ibid.
                 6
                    Robert Espinoza, Immigrants and the Direct Care Workforce,
                 PHI Research Br. (June 2017), https://phinational.org/wp-content/up-
                 loads/2017/06/Immigrants-and-the-Direct-Care-Workforce-PHI-
                 June-2017.pdf.
                 7
                    Ibid.
                 8
                    PHI, U.S. Nursing Assistants Employed in Nursing Homes:
                 Key Facts 3 (2019), https://phinational.org/wp-content/up-
                 loads/2019/08/US-Nursing-Assistants-2019-PHI.pdf.




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                 same time period, from 6.3 million to 19 million.9 As a re-
                 sult, nursing homes will have to fill nearly 680,000 nursing
                 assistant job openings by 2026, primarily as workers leave
                 the field.10 The elder care industry will continue to rely on
                 immigrants to fill that need.
                     Likewise, the sustainability and growth of the U.S.
                 travel industry—estimated to generate $2.5 trillion in eco-
                 nomic output, supporting a total of 15.7 million American
                 jobs, and generating $170.9 billion in tax revenue to sup-
                 port infrastructure and other critical government ser-
                 vices11—depends on the availability of foreign-born talent
                 at all skill levels. Hotel and other lodging real estate as-
                 sets confront serious workforce shortages.12 “Even
                 though immigrants comprise only 13 percent of the US
                 population—they account for 31 percent of the workforce
                 in the hotel and lodging industry and 22 percent in restau-
                 rants.”13
                     DACA-eligible immigrants are a crucial component of
                 the workforce in amici’s industries. Among the top ten
                 industries employing DACA recipients, construction

                 9
                    PHI, Understanding the Direct Care Workforce: Key Facts &
                 FAQ, https://phinational.org/policy-research/key-facts-faq/ (last vis-
                 ited Oct. 3, 2019).
                 10
                    PHI, U.S. Nursing Assistants Employed in Nursing Homes:
                 Key Facts 2 (2019), https://phinational.org/wp-content/up-
                 loads/2019/08/US-Nursing-Assistants-2019-PHI.pdf.
                 11
                    U.S. Travel Ass’n, U.S. Travel Answer Sheet, https://www.us-
                 travel.org/answersheet (last visited Oct. 3, 2019).
                 12
                    Deloitte, 2019 US Travel and Hospitality Outlook,
                 https://www2.deloitte.com/content/dam/Deloitte/us/Docu-
                 ments/consumer-business/us-consumer-2019-us-travel-and-hospi-
                 tality-outlook.pdf. “In 2009, the US Bureau of Labor Statistics esti-
                 mated 353,000 job openings across the leisure and hospitality sector.
                 As of 2018, * * * that number swelled to 1,139,000.” Id. at 3 (footnote
                 omitted).
                 13
                    Id. at 11.




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                 ranks second, employing more than 84,000.14 Of that
                 group, more than 27,000 identify as construction labor-
                 ers.15 A loss of these 84,000 workers amounts to more than
                 20% of the July 2019 job openings in construction.16
                     DACA recipients also account for material percent-
                 ages of workers in a broad range of professions critical to
                 serve the nation’s building infrastructure, where Ameri-
                 cans live, work, shop, recreate, and heal. In a 2017 study,
                 a combined 41% of the DACA recipients worked as labor-
                 ers in construction, food preparation and serving, office
                 and administrative support, building grounds cleaning and
                 maintenance, and transportation and material moving.17
                 The study estimates that 23% of DACA recipients serve
                 the “arts, entertainment, recreation, accommodations and
                 food services” industries, and 14% are in the “retail
                 trade,”18 including personnel who work in malls and brick-
                 and-mortar stores—key sectors that are essential to a
                 thriving U.S. real estate industry.
                     According to one past estimate, if the DACA rescission
                 proceeds, an average of 915 DACA recipients each day will
                 lose their work authorization and protection from



                 14
                     New Am. Econ., Spotlight on the DACA-Eligible Population (Feb.
                 8, 2018), https://research.newamericaneconomy.org/report/spotlight-
                 on-the-daca-eligible-population/.
                 15
                     Ibid.
                 16
                     Robert Dietz, Construction Job Openings Up in July, NAHB: Eye
                 on Housing (Sept. 10, 2019), https://eyeonhousing.org/2019/09/con-
                 struction-job-openings-up-in-july/.
                 17
                     Jie Zong, et al., A Profile of Current DACA Recipients by Educa-
                 tion, Industry, and Occupation, Migration Policy Inst.: Fact Sheet 7
                 (Nov. 2017), https://www.migrationpolicy.org/sites/default/files/pub-
                 lications/DACA-Recipients-Work-Education-Nov2017-FS-
                 FINAL.pdf.
                 18
                     Id. at 6.




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                 deportation.19 Such losses will degrade an already strug-
                 gling U.S. labor market.
                     B. Threats to the immigrant workforce are threats
                         to the U.S. economy, particularly the construc-
                         tion industry.
                     The labor shortages in industries in which immigrants
                 and DACA recipients are a material percentage of the
                 workforce represent a substantial threat to the nation’s
                 economy. While such shortages are troubling for many in-
                 dustries, the lack of available workers is reaching crisis
                 levels for the U.S. construction industry in particular. The
                 number of open construction jobs nationwide has been in-
                 creasing since the end of the Great Recession and reached
                 post-Great Recession highs in 2019.20 The overall trend in
                 this metric signals the ongoing need for additional work-
                 ers in the construction industry.21
                     Given the industry’s labor shortage, it is unsurprising
                 that cost and availability of labor has risen dramatically as
                 an area of significant concern among builders over the
                 past eight years. In 2011, for instance, only 13% of resi-
                 dential builders reported labor as a significant problem
                 that they were currently facing.22 That percentage in-
                 creased in every subsequent year: to 30% in 2012; 53% in
                 2013; 61% in 2014; 71% in 2015; 78% in 2016; 82% in both
                 2017 and 2018.23 In a January 2019 survey, 82% of

                 19
                    Id. at 3.
                 20
                    Robert Dietz, Job Openings Slow, Still Higher Year-over-Year,
                 NAHB: Eye on Housing (Aug. 6, 2019), http://eyeonhous-
                 ing.org/2019/08/job-openings-slow-still-higher-year-over-year/.
                 21
                    Ibid.
                 22
                    Ashok Chaluvadi, Top Challenges for Builders: Materials in 2018,
                 Labor in 2019, NAHB: Eye on Housing (Mar. 18, 2019), http://eyeon-
                 housing.org/2019/03/top-challenges-for-builders-materials-in-2018-
                 labor-in-2019/.
                 23
                    Ibid.




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                 NAHB’s builder members identified cost and availability
                 of labor as an area of expected significant concern for 2019,
                 making it the number one such concern for builders.24
                     In a recent survey of home builders, shortages of labor
                 directly employed by builders were widespread.25 Many
                 of the shortage percentages were little changed from
                 where they were as of the same time in 2018.26 Averaged
                 across nine labor occupations that NAHB has been con-
                 sistently covering since the 1990s, the incidence of labor
                 shortages reached 69% in 2019—the highest number on
                 record.27
                     C. Labor shortages hurt homebuilders and related
                         service industries, and burden the availability of
                         affordable housing.
                     The ongoing and worsening labor and subcontractor
                 shortages continue to impact the homebuilding industry in
                 a number of ways, including placing additional upward
                 pressure on new home prices. In July 2019, more than
                 87% of builders reported the need to pay higher wages and
                 higher subcontractor bids as a result of labor issues, 81%
                 reported that issues with available labor made it difficult
                 to complete projects on time, and 75% reported having to
                 raise home prices as a result.28 Since 2015, rising labor


                 24
                    NAHB, Housing Market Index: Special Questions on Significant
                 Problems Builders Faced in 2018 and Expect to face in 2019, at 2 (Jan.
                 2019), http://eyeonhousing.org/wp-content/uploads/2019/03/HMI-
                 Jan-2019-SplQ-REPORTEXTERNALFINAL.pdf.
                 25
                    Paul Emrath, Labor Shortages Still Hurting Affordability,
                 NAHB: Eye on Housing (Aug. 5, 2019), http://eyeonhous-
                 ing.org/2019/08/labor-shortages-still-hurting-affordability/.
                 26
                    Ibid.
                 27
                    Ibid.
                 28
                    NAHB, Housing Market Index: Special Questions on Labor
                 and Subcontractors’ Availability 16 (July 2019), http://eyeonhous-
                 ing.org/wp-content/uploads/2019/08/July2019-SplQ-REPORT-




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                 costs have outpaced inflationary effects. In 2018, for ex-
                 ample, overall inflation was 2.9%, but labor costs increased
                 by 5.2% over the same period.29
                     Other effects of labor shortages are less common but
                 nevertheless also on the rise. For example, the share of
                 builders indicating that labor shortages have slowed the
                 rate at which they accept incoming orders doubled be-
                 tween 2015 and 2018 (from 16% to 32%).30 Even the least
                 common of the effects—lost or cancelled sales—was up to
                 26% in 2018, suggesting that the shortages are having a
                 significant impact on production levels.31
                     The labor shortages further complicate the unfortu-
                 nate reality that the United States is not building enough
                 housing to meet the country’s needs. According to a study
                 by Freddie Mac, between 2011 and 2018, residential hous-
                 ing construction has increased, but only gradually—and
                 not enough to meet demand.32 Freddie Mac estimated that
                 the annual rate of construction as of the end of 2018 was
                 about 370,000 units below the level required by long-term
                 housing demand.33 After years of low levels of building, a
                 significant shortfall had developed, with between 0.9 and
                 4.0 million too few housing units to accommodate long-
                 term housing demand.34 Freddie Mac predicted that until


                 EXTERNAL.pdf.
                 29
                    Paul Emrath, Labor and Subcontractor Costs Outpacing Infla-
                 tion, Raising Home Prices, NAHB: Eye on Housing (Sept. 10, 2018),
                 http://eyeonhousing.org/2018/09/labor-and-subcontractor-costs-
                 outpacing-inflation-raising-home-prices/.
                 30
                    Ibid.
                 31
                    Ibid.
                 32
                    Freddie Mac, The Major Challenge of Inadequate U.S. Housing
                 Supply 1 (Dec. 2018), http://www.freddiemac.com/fmac-resources/re-
                 search/pdf/201811-Insight-06.pdf.
                 33
                    Id. at 8.
                 34
                    Id. at 2.




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                 construction ramped up, housing costs would likely con-
                 tinue rising above income, constricting household for-
                 mation and preventing homeownership for millions of po-
                 tential households.35 Indeed, housing affordability hov-
                 ered at a ten-year low as of the end of 2018.36 In all, only
                 56.6% of new and existing homes sold in the last quarter
                 of 2018 were affordable to families earning the U.S. me-
                 dian income of $71,900.37
                     The current administration has expressed concern re-
                 garding the issue of housing affordability. In establishing
                 a White House Council on eliminating regulatory barriers
                 to affordable housing, President Trump noted that “[f]or
                 many Americans, access to affordable housing is becoming
                 far too difficult.” Exec. Order No. 13,878, 84 Fed. Reg.
                 30,853 (June 25, 2019). “Rising housing costs are forcing
                 families to dedicate larger shares of their monthly incomes
                 to housing. * * * These rising costs are leaving families
                 with fewer resources for necessities such as food,
                 healthcare, clothing, education, and transportation, nega-
                 tively affecting their quality of life and hindering their ac-
                 cess to economic opportunity.” Ibid.

                                               ***
                     The ongoing labor shortages in construction and re-
                 lated services are negatively affecting the U.S. economy,
                 causing among other problems a decrease in available af-
                 fordable housing. Policy decisions that threaten the avail-
                 ability of immigrant labor, such as the decision to rescind


                 35
                    Id. at 8.
                 36
                    Rose Quint, Housing Affordability Holds Steady at a 10-Year Low
                 in the Fourth Quarter, NAHB: Eye on Housing (Feb. 14, 2019),
                 http://eyeonhousing.org/2019/02/housing-affordability-holds-steady-
                 at-a-10-year-low-in-the-fourth-quarter/.
                 37
                    Ibid.




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                                               11
                 DACA, are likely to further exacerbate the labor short-
                 ages and the negative consequences those shortages are
                 already causing.
                 II. THE DECISION TO TERMINATE DACA IS SUBJECT TO
                     JUDICIAL REVIEW
                     In each of the consolidated cases, petitioners con-
                 tended below and reiterate in this Court that the decision
                 to terminate DACA is not subject to judicial review, in part
                 based on the “committed to agency discretion” exemption
                 under Section 701(a)(2) of the Administrative Procedure
                 Act (APA). 5 U.S.C. § 701(a)(2). Five federal courts, in-
                 cluding the Ninth Circuit, have now rejected that argu-
                 ment, albeit for slightly different reasons. 18-587 Gov’t
                 Supp. Br. App. 23a-45a (9th Cir.); 18-587 Pet. App. 26a-33a
                 (N.D. Cal.); 18-589 Pet. App. 24a-39a (E.D.N.Y); 18-588
                 Pet. App. 19a-21a, 25a-43a (D.D.C.); Casa de Md. v. U.S.
                 Dep’t of Homeland Sec., 284 F. Supp. 3d 758, 769-770 (D.
                 Md. 2018); cf. Texas v. United States, 809 F.3d 134, 163-
                 170 (5th Cir. 2015), cert. granted, 136 S. Ct. 906, and aff’d
                 by an equally divided court, 136 S. Ct. 2271 (2016) (per cu-
                 riam). In addition, although supporting petitioners on the
                 merits of rescinding DACA, amici the States of Texas, Al-
                 abama, Alaska, Arizona, Arkansas, Florida, Kansas, Lou-
                 isiana, Nebraska, South Carolina, South Dakota, and West
                 Virginia, and Mississippi Governor Phil Bryant, all agree
                 with respondents that the decision to terminate the DACA
                 program is subject to judicial review. States of Texas et
                 al. Amicus Br. 30-32. That is indeed the correct conclusion.
                     A. Reviewability under the APA
                     The APA provides for judicial review of “agency ac-
                 tion.” 5 U.S.C. §§ 701-706. Any person “adversely af-
                 fected or aggrieved” by agency action, including a
                 “fail[ure] to act,” is entitled to “judicial review thereof,” as
                 long as the action is a “final agency action for which there
                 is no other adequate remedy in a court.” Id. §§ 702, 704.




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                     This Court has consistently articulated “a ‘strong pre-
                 sumption’ favoring judicial review of administrative ac-
                 tion.” Mach Mining, LLC v. EEOC, 135 S. Ct. 1645, 1651
                 (2015) (quoting Bowen v. Mich. Acad. of Family Physi-
                 cians, 476 U.S. 667, 670 (1986)); see also, e.g., Weyerhau-
                 ser Co. v. U.S. Fish & Wildlife Serv., 139 S. Ct. 361, 370
                 (2018) (noting that this Court has “long applied a strong
                 presumption favoring judicial review of an administrative
                 action” (quoting Mach Mining, 135 S. Ct. at 1653)); Lin-
                 coln v. Vigil, 508 U.S. 182, 190 (1993) (“[W]e have read the
                 APA as embodying a ‘basic presumption of judicial re-
                 view.’” (quoting Abbott Labs. v. Gardner, 387 U.S. 136, 140
                 (1967), abrogated on other grounds by Califano v. Sand-
                 ers, 430 U.S. 99 (1977))). This Court has indicated that the
                 APA’s review provisions are “generous” and that courts
                 “must” give them “a hospitable interpretation.” Abbott
                 Labs., 387 U.S. at 140-141 (citations omitted). The govern-
                 ment carries a “heavy burden” to overcome the presump-
                 tion of judicial review. Mach Mining, 135 S. Ct. at 1651.
                     Section 701(a)(2) of the APA provides an exception to
                 judicial review when “agency action is committed to
                 agency discretion by law.” 5 U.S.C. § 701(a)(2). This
                 Court has instructed that this “is a very narrow excep-
                 tion.” Citizens to Preserve Overton Park, Inc. v. Volpe,
                 401 U.S. 402, 410 (1971), abrogated on other grounds by
                 Califano v. Sanders, 430 U.S. 99 (1977); see also Weyer-
                 haeuser, 139 S. Ct. at 370 (noting that the Court has “read
                 the exception in § 701(a)(2) quite narrowly” in light of the
                 “strong presumption favoring judicial review” (quoting
                 Mach Mining, 135 S. Ct. at 1653)).
                     As this Court has explained, Section 701(a)(2) “is appli-
                 cable in those rare instances where ‘statutes are drawn in
                 such broad terms that in a given case there is no law to
                 apply.’” Overton Park, 401 U.S. at 410 (citation omitted);
                 see also Chaney, 470 U.S. at 830 (“[R]eview is not to be
                 had if the statute is drawn so that a court would have no




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                 meaningful standard against which to judge the agency’s
                 exercise of discretion.”).
                     In Chaney, this Court interpreted the scope of Section
                 701(a)(2) in considering “the extent to which a decision of
                 an administrative agency to exercise its ‘discretion’ not to
                 undertake certain enforcement actions is subject to judi-
                 cial review under the [APA].” 470 U.S. at 823. The case
                 involved a challenge by several death-row inmates to the
                 decision by the Commissioner of the U.S. Food & Drug
                 Administration to exercise discretion not to consider the
                 inmates’ request for an investigation into the safety and
                 effectiveness of lethal injection drugs. Id. at 823-825. The
                 D.C. district court dismissed the lawsuit for lack of juris-
                 diction, holding that “decisions of executive departments
                 and agencies to refrain from instituting investigative and
                 enforcement proceedings are essentially unreviewable by
                 the courts.” Id. at 825 (citation omitted).
                     A divided panel of the D.C. Circuit reversed. Relying
                 in part on this Court’s decision in Overton Park, the D.C.
                 Circuit began with the presumption that Section 701(a)(2)
                 should be narrowly construed and invoked only where the
                 substantive statute left the courts with “no law to apply.”
                 Id. at 826 (citing Overton Park, 401 U.S. at 410). The court
                 determined, however, that judicial review of the FDA
                 Commissioner’s nonenforcement decision was not fore-
                 closed because of an FDA policy statement indicating that
                 the agency was “obligated” to investigate certain unap-
                 proved drug uses. Ibid. Having concluded that the policy
                 statement provided sufficient “law to apply,” and in light
                 of the strong presumption that all agency action is subject
                 to review, the court proceeded to review the decision, con-
                 cluding it was irrational. Id. at 826-827.
                     This Court reversed. Id. at 838. The Court reiterated
                 that Section 701(a)(2) is a “narrow” exemption, ibid., and
                 that it precludes review of agency action “if the statute is




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                 drawn so that a court would have no meaningful standard
                 against which to judge the agency’s exercise of discretion.”
                 Id. at 830. But the Court took issue with the D.C. Circuit’s
                 interpretation of Overton Park: “Overton Park did not in-
                 volve an agency’s refusal to take requested enforcement
                 action. It involved an affirmative act of approval under a
                 statute that set clear guidelines for determining when
                 such approval should be given.” Id. at 831. After discuss-
                 ing several relevant factors why nonenforcement decisions
                 are inapt for judicial review, id. at 831-832, the Court con-
                 cluded that Section 701(a)(2) encompasses and excludes
                 judicial review of “agency refusals to institute investiga-
                 tive or enforcement proceedings, unless Congress has in-
                 dicated otherwise.” Id. at 838.
                     In reaching that conclusion, however, the Court in a
                 footnote expressly disclaimed any opinion as to the review-
                 ability of an agency’s decision not to act because of the
                 agency’s belief that it lacked jurisdiction to act. Id. at 833
                 n.4 (“We do not have in this case a refusal by the agency
                 to institute proceedings based solely on the belief that it
                 lacks jurisdiction,” and expressing no opinion as to
                 “whether such decisions would be unreviewable under
                 § 701(a)(2)”).
                     Following Chaney, both the Ninth and D.C. Circuits
                 concluded that judicial review was appropriate in the situ-
                 ation that the Court reserved in Chaney’s footnote. In
                 Montana Air Chapter No. 29 v. Federal Labor Relations
                 Authority, 898 F.2d 753 (9th Cir. 1990), a union represent-
                 ing civilian technicians employed by the Montana Air Na-
                 tional Guard sued to challenge a decision of the Federal
                 Labor Relations Authority’s General Counsel not to issue
                 an unfair labor practice complaint. Id. at 755. The district
                 court granted FLRA summary judgment on the basis that
                 the court lacked jurisdiction to review the agency’s deci-
                 sion. Id. at 756.




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                     The Ninth Circuit reversed, citing to Chaney’s foot-
                 note and concluding that Chaney’s presumption of nonre-
                 viewability “may be overcome if the refusal is based solely
                 on the erroneous belief that the agency lacks jurisdiction.”
                 Id. at 754-756 (citing Chaney, 470 U.S. at 833 n.4). The
                 court noted that had the FLRA’s General Counsel indi-
                 cated a discretionary refusal to act, the court “would be
                 compelled to deny review.” Id. at 757. But the General
                 Counsel’s communications “strongly indicate[d] a belief
                 that the General Counsel lacked jurisdiction” to consider
                 the alleged unfair labor practice. Ibid. That question of
                 statutory interpretation was subject to review. Id. at 762-
                 763 (agreeing that the decision not to issue an unfair labor
                 practice complaint was presumptively unreviewable, but
                 the mistaken basis for that decision—a lack of jurisdiction
                 to act—was subject to review).
                     The Ninth Circuit noted support from the D.C. Circuit
                 for this conclusion. Id. at 756. (“[T]he D.C. Circuit has rec-
                 ognized two exceptions to the general rule of unreview-
                 ability of agency nonenforcement decisions: 1) agency
                 nonenforcement decisions are reviewable when they are
                 based on a belief that the agency lacks jurisdiction; and
                 2) an agency’s statutory interpretations made in the
                 course of nonenforcement decisions are reviewable.”) (in-
                 ternal citations omitted).38
                     Relatedly, this Court in City of Arlington v. FCC, 569
                 U.S. 290 (2013), has explained that the question of agency
                 jurisdiction to act is inseparable from the question of
                 agency authority to act. City of Arlington involved
                 whether an agency’s determination of its own jurisdiction
                 is entitled to Chevron deference. The Court concluded

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                    The D.C. district court below noted some inconsistency in the D.C.
                 Circuit rulings on the issue of Chaney’s applicability to agency deci-
                 sions based on presumed lack of jurisdiction. See 18-588 Pet. App. 28a
                 (D.D.C.).




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                 that “[t]he reality, laid bare, is that there is no difference,
                 insofar as the validity of agency action is concerned, be-
                 tween an agency’s exceeding the scope of its authority (its
                 ‘jurisdiction’) and its exceeding authorized application of
                 authority that it unquestionably has.” Id. at 299. As the
                 Ninth Circuit below elucidated, “City of Arlington teaches
                 that there is no difference between an agency that lacks
                 jurisdiction to take a certain action, and one that is barred
                 by the substantive law from doing the same; the question
                 ‘is always, simply, whether the agency has stayed within
                 the bounds of its statutory authority.’” 18-587 Gov’t Supp.
                 Br. App. 29a (9th Cir.) (citing City of Arlington, 569 U.S.
                 at 297).
                     A cogent analytical structure emerges from these de-
                 cisions. Under Chaney, an agency’s refusal to enforce the
                 substantive law is presumptively unreviewable because
                 that discretionary nonenforcement function is “committed
                 to agency discretion” within the meaning of the APA. 470
                 U.S. at 828-830. But a nonenforcement decision should be
                 reviewable notwithstanding Chaney if the agency based
                 its decision on its belief that it lacked jurisdiction to act—
                 the issue the Court expressly reserved in Chaney. See id.
                 at 833 n.4. Thus, an agency’s nonenforcement decision is
                 outside the scope of the Chaney presumption—and is
                 therefore presumptively reviewable—if it is based on a be-
                 lief that the agency lacked the lawful authority to do oth-
                 erwise. That is, where the agency’s decision is based not
                 on an exercise of discretion, but instead on a belief that
                 any alternative choice was foreclosed by law, the APA’s
                 “committed to agency discretion” bar to reviewability, 5
                 U.S.C. § 701(a)(2), does not apply.
                     B. The DACA termination decision is reviewable.
                     Petitioners contend that DHS’s decision to terminate
                 the DACA program “is a quintessential exercise of en-
                 forcement discretion” that is exempted from judicial




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                 review under Section 701(a)(2). 18-587 Gov’t Br. 17. Un-
                 der the analytical framework described above, petitioners
                 are incorrect.
                         1. Chaney’s presumption does not extend to pro-
                            grammatic rescissions such as occurred here.
                     Petitioners substantially rely on Chaney as being dis-
                 positive of the reviewability question here. 18-587 Gov’t
                 Br. 17-26. By its terms, however, Chaney involved and ap-
                 plies to agency decisions “not to take enforcement action.”
                 470 U.S. at 832. It strains logic to describe the rescission
                 of an entire policy as an agency decision not to undertake
                 an individual enforcement action. To the contrary, pro-
                 grammatic rescission is fundamentally different than one-
                 off agency enforcement decisions.
                     Several circuits agree, appropriately distinguishing
                 between individualized nonenforcement decisions, which
                 are unreviewable under Chaney, and agency adoptions of
                 general enforcement policies, which are subject to judicial
                 review. See OSG Bulk Ships, Inc. v. United States, 132
                 F.3d 808, 812 (D.C. Cir. 1998) (citing Crowley Caribbean
                 Transp., Inc. v. Pena, 37 F.3d 671, 674-675 (D.C. Cir.
                 1994)); see also Kenney v. Glickman, 96 F.3d 1118, 1123
                 (8th Cir. 1996); Nat’l Treasury Emps. Union v. Horner,
                 854 F.2d 490, 496-497 (D.C. Cir. 1988). Two of the district
                 courts below noted this substantial distinction in rejecting
                 the applicability of Chaney’s presumption to DACA’s re-
                 scission. 18-589 Pet. App. 28a-31a (E.D.N.Y) (“The deci-
                 sion to rescind DACA is unlike the nonenforcement deci-
                 sion at issue in Chaney.”); 18-587 Gov’t Pet. App. 26a-30a
                 (N.D. Cal.) (noting that the DACA termination “is differ-
                 ent from Chaney[, in which] the agency simply refused to
                 initiate an enforcement proceeding”). The D.C. Circuit
                 has noted that broad policy changes “are more likely to be
                 direct interpretations of the commands of the substantive
                 statute rather than the sort of mingled assessments of




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                 fact, policy, and law that drive an individual enforcement
                 decision.” Crowley, 37 F.3d at 677.
                     The Court in Chaney noted several policy considera-
                 tions supporting its conclusion about the nonreviewability
                 of nonenforcement decisions, including that such decisions
                 require balancing factors peculiarly within the agency’s
                 expertise, and that such decisions are akin to the exercise
                 of prosecutorial discretion that is typically the province of
                 the Executive Branch. Chaney, 470 U.S. at 831-832. Such
                 considerations may apply to individual nonenforcement
                 decisions; they do not apply to a broad policy change af-
                 fecting hundreds of thousands of DACA enrollees. The
                 Court noted in Chaney that in making a nonenforcement
                 decision, an agency “does not exercise its coercive power
                 over an individual’s liberty” and thus “does not infringe
                 upon areas that courts often are called upon to protect.”
                 Id. at 832. That rationale supports reviewability here,
                 given that the DACA rescission amounts to the rescission
                 of a nonenforcement commitment made to DACA holders.
                 See 18-587 Gov’t Pet. App. 29(a) (N.D. Cal.) (“In contrast
                 to nonenforcement decisions, ‘rescissions of commitments,
                 whether or not they technically implicate liberty and prop-
                 erty interests as defined under the fifth and fourteenth
                 amendments, exert much more direct influence on the in-
                 dividuals or entities to whom the repudiated commitments
                 were made.’” (quoting Robbins v. Reagan, 780 F.2d 37, 47
                 (D.C. Cir. 1985))).
                     Because the decision to rescind DACA dramatically
                 extends beyond individualized nonenforcement decisions,
                 Chaney’s presumption of nonreviewability simply does not
                 apply.
                         2. Agency decisions not to act based on supposed
                             lack of legal authority are subject to judicial re-
                             view.
                     In any event, as the record demonstrates and the




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                 Ninth Circuit below thoroughly explained, DHS did not
                 base its DACA rescission decision on the type of policy ra-
                 tionales the Court discussed in Chaney, but did so rather
                 on the forthright and solitary position that the DACA pro-
                 gram was unlawful. 18-587 Gov’t Supp. Br. App. 34a-42a
                 (9th Cir.) (noting that Attorney General Sessions advised
                 the DHS Acting Secretary to rescind the program because
                 “DACA was effectuated . . . without proper statutory au-
                 thority,” and that DACA “was an unconstitutional exercise
                 of authority by the Executive Branch”); 18-587 Pet. App.
                 30a (N.D. Cal.) (“The main, if not exclusive, rationale for
                 ending DACA was its supposed illegality.”).
                     That reason for agency decisionmaking—when an
                 agency bases its decision not on an exercise of discretion
                 but rather on its belief that the law forecloses any other
                 alternative—is plainly analogous to the type of situation
                 that the Court explicitly left undecided in Chaney. 470
                 U.S. at 833 n.4 (noting that “[w]e do not have in this case a
                 refusal by the agency to institute proceedings based solely
                 on the belief that it lacks jurisdiction,” and expressing no
                 opinion as to “whether such decisions would be unreview-
                 able under § 701(a)(2)”). Each of the courts below rejected
                 the Chaney presumption of nonreviewability in such cir-
                 cumstances. 18-587 Gov’t Supp. Br. App. 23a-45a (9th
                 Cir.); 18-587 Pet. App. 26a-33a (N.D. Cal.); 18-589 Pet.
                 App. 24a-39a (E.D.N.Y); 18-588 Pet. App. 19a-21a, 25a-43a
                 (D.D.C.); Casa de Md., 284 F. Supp. at 769-770; cf. Texas
                 v. United States, 809 F.3d at 163-170. As one of the district
                 courts below stated, “an official cannot claim that the law
                 ties her hands while at the same time denying the courts’
                 power to unbind her. She may escape political accounta-
                 bility or judicial review, but not both.” 18-588 Pet. App.
                 73a (D.D.C.).
                     That outcome is in line with Ninth Circuit and D.C.
                 Circuit precedent holding that agency inaction caused by
                 an agency’s determination that it lacks jurisdiction to act




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                 is appropriately reviewable by the courts. Montana Air,
                 898 F.2d at 754 (concluding that Chaney’s presumption of
                 nonreviewability “may be overcome if the refusal is based
                 solely upon the erroneous belief that the agency lacks ju-
                 risdiction”); Int’l Longshoremen’s Ass’n, AFL-CIO v.
                 Nat’l Mediation Bd., 785 F.2d 1098, 1100 (D.C. Cir. 1986)
                 (noting that federal courts are empowered to review Na-
                 tional Mediation Board decisions disclaiming jurisdiction).
                     And subjecting such a decision to judicial review ac-
                 cords with this Court’s guidance in Chaney. Section
                 701(a)(2) excludes from review only decisions that are
                 “committed to agency discretion by law.” 5 U.S.C.
                 § 701(a)(2). DHS’s decision to terminate DACA, however,
                 was fundamentally based upon its determination that the
                 program was unlawful, and that the agency had no discre-
                 tion but to act as it did. Such a conclusion—that an agency
                 lacks any discretion to act—is a legal interpretation that
                 is subject to “judicially manageable standards” of review.
                 Chaney, 470 U.S. at 830. Judicial review in such circum-
                 stances does not tread on the agency’s discretion; rather,
                 judicial review appropriately determines whether an
                 agency has correctly interpreted the scope of its own legal
                 authority. That is well within the courts’ wheelhouse.
                 18-587 Pet. App. 30a (N.D. Cal.) (rejecting the presump-
                 tion of nonreviewability when an agency bases its decision
                 on lack of legal authority to act, because “determining il-
                 legality is a quintessential role of the courts”).
                     The Court’s decision in ICC v. Brotherhood of Locomo-
                 tive Engineers, 482 U.S. 270, 283 (1987) (BLE) does not
                 lead to a different conclusion. BLE concerned the review-
                 ability of the Interstate Commerce Commission’s denial of
                 a motion to reopen proceedings on grounds of material er-
                 ror. Id. at 280. The Court concluded such agency action
                 was presumptively unreviewable based upon “a similar
                 tradition of nonreviewability” to nonenforcement deci-
                 sions as arose in Chaney. Id. at 282. The Court thus




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                 rejected the proposition that “if the agency gives a ‘re-
                 viewable’ reason for otherwise unreviewable action, the
                 action becomes reviewable.” Id. at 283.
                     BLE has no applicability here. In Chaney, the Court
                 left open the question of reviewability of agency decisions
                 not to act when the agency based that decision on a lack of
                 legal authority to act. Chaney, 470 U.S. at 833 n.4. For
                 the reasons described above, such decisions are appropri-
                 ately subject to judicial review. Accordingly, BLE’s guid-
                 ance regarding an unreviewable decision is irrelevant
                 here.
                         3. Actions committed to agency discretion re-
                             main subject to constitutionality review.
                     “It is well-established that ‘even where agency action
                 is “committed to agency discretion by law,” review is still
                 available to determine if the Constitution has been vio-
                 lated.’” 18-589 Pet. App. 31a (E.D.N.Y) (citing cases). In
                 Webster v. Doe, 486 U.S. 592 (1988), this Court held that
                 Section 701(a)(2) did not preclude judicial review of consti-
                 tutional claims by a former CIA employee. 486 U.S. at
                 603-604 (rejecting the Government’s arguments that con-
                 stitutional claims were unreviewable under Section
                 701(a)(2) because the National Security Act vested the
                 CIA director with termination decisions, because the Act
                 did not expressly preclude review of such claims). The
                 same result is merited here.
                                      CONCLUSION
                     The judgments of the Ninth Circuit and the District
                 Court for the District of Columbia, as well as the orders of
                 the Eastern District of New York, should be affirmed as
                 to their respective determinations that the termination of
                 the DACA program is subject to judicial review under the
                 APA.




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                                       Respectfully submitted.

                                       Gavin R. Villareal
                                         Counsel of Record
                                       BAKER BOTTS L.L.P.
                                       98 San Jacinto Blvd., Suite 1500
                                       Austin, Texas 78701
                                       (512) 322-2500
                                       gavin.villareal@bakerbotts.com


                                Counsel for Amici Curiae

                 October 2019




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                             Nos. 18-587, 18-588, 18-589

                                       IN THE

                 Supreme Court of the United States
                     DEPARTMENT OF HOMELAND SECURITY, et al.,
                                                    Petitioners,
                                      v.

                  REGENTS OF THE UNIVERSITY OF CALIFORNIA, et al.,
                                                     Respondents.

                           DONALD J. TRUMP, PRESIDENT
                           OF THE UNITED STATES, et al.,
                                                               Petitioners,
                                           v.

                  NATIONAL ASSOCIATION FOR THE ADVANCEMENT OF
                             COLORED PEOPLE, et al.,
                                                     Respondents.

                    KEVIN K. MCALEENAN, ACTING SECRETARY OF
                            HOMELAND SECURITY, et al.,
                                                       Petitioners,
                                      v.

                      MARTIN JONATHAN BATALLA VIDAL, et al.,
                                                  Respondents.

                   ON WRITS OF CERTIORARI TO THE UNITED STATES
                        COURTS OF APPEALS FOR THE NINTH ,
                    DISTRICT OF COLUMBIA, AND SECOND CIRCUITS

                   BRIEF FOR ADMINISTRATIVE LAW SCHOLARS
                  AS AMICI CURIAE IN SUPPORT OF RESPONDENTS

                 ALAN E. SCHOENFELD             SETH P. WAXMAN
                 MARGUERITE COLSON                 Counsel of Record
                 WILMER CUTLER PICKERING        WILMER CUTLER PICKERING
                   HALE AND DORR LLP               HALE AND DORR LLP
                 7 World Trade Center           1875 Pennsylvania Ave., NW
                 250 Greenwich Street           Washington, DC 20006
                 New York, NY 10007             (202) 663-6800
                 (212) 937-7518                 seth.waxman@wilmerhale.com




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                               INTEREST OF AMICI CURIAE1
                     Amici are professors of administrative law and re-
                 lated public law subjects at institutions across the
                 United States. In their scholarship and their teaching,
                 they have carefully considered the legal doctrines im-
                 plicated by this case. They submit this brief to address
                 arguments and precedent that are relevant to a central
                 question presented by this appeal: whether the De-
                 partment of Homeland Security’s decision to rescind
                 the Deferred Action for Childhood Arrivals (DACA)
                 policy is judicially reviewable. Amici join this brief
                 solely on their own behalf and not as representatives of
                 their universities. A full list of amici appears in Ap-
                 pendix A.

                                   INTRODUCTION AND
                                 SUMMARY OF ARGUMENT
                      Under basic precepts of administrative law, the de-
                 cision to rescind DACA is reviewable. Congress draft-
                 ed the Administrative Procedure Act intending that,
                 subject to narrow exceptions, agency actions would be
                 judicially reviewable. Among the narrow exceptions
                 carved out from that presumption are enforcement de-
                 cisions that rest on an agency’s exercise of discretion.
                 As this Court has explained, discretionary enforcement
                 decisions typically reflect a complex balancing of fac-
                 tors that lie within the agency’s expertise. As such,
                 courts lack any meaningful standards to review them.


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                       No party authored this brief in whole or in part, and no one
                 other than amici, their members, and their counsel made a mone-
                 tary contribution intended to fund the preparation or submission
                 of this brief. The parties have consented to the filing of this brief.




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                     By contrast, enforcement decisions that rely on an
                 agency’s view that the law compels a certain course are
                 not insulated from judicial review. They do not rely on
                 the sort of discretionary reasoning that judges are una-
                 ble to assess. Indeed, they proclaim to be entirely non-
                 discretionary. Moreover, the law they construe pro-
                 vides a meaningful standard by which courts may eval-
                 uate them.
                      It is not only permissible under the APA for courts
                 to review agency actions that are purportedly com-
                 pelled by law. It is imperative. Courts abdicate their
                 constitutional duty when they allow the Executive
                 Branch to have the last word on what the law requires.
                 Judicial review of such actions promotes electoral ac-
                 countability—a fundamental principle of administrative
                 of law—and safeguards the separation of powers.
                     In September 2017, the Department of Homeland
                 Security rescinded DACA based on its view that the
                 law left it no other choice. The Department did not
                 reach that view as an exercise of its discretion and none
                 of the belated justifications put forward by the De-
                 partment alters the fact that the agency’s decision was
                 based on its view that DACA was illegal. In keeping
                 with the basic tenets of administrative law, this Court
                 may review the Department’s legal conclusion.

                                      ARGUMENT
                 I.   COURTS MAY REVIEW AN AGENCY’S LEGAL DETERMI-
                      NATION THAT IT LACKS ENFORCEMENT DISCRETION

                     Administrative actions are presumptively reviewa-
                 ble. The exceptions to this rule are narrow and include
                 enforcement decisions that reflect the exercise of agen-
                 cy discretion. Enforcement decisions that rest on an
                 agency’s interpretation of the law, by contrast, are sub-




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                 ject to judicial review. And for good reason. As a prac-
                 tical matter, the final word on what the law says should
                 go to legal experts. More important, judicial review of
                 such actions is vital to preserve principles of constitu-
                 tional and administrative law.

                     A. Judicial Review Is Presumptively Available
                        For Agency Actions
                     The Administrative Procedure Act entitles those
                 aggrieved by agency action to judicial review. 5 U.S.C.
                 § 702. “From the beginning,” this Court has found in
                 the APA a “strong presumption that Congress intends
                 judicial review of administrative action.” Bowen v.
                 Michigan Acad. of Family Physicians, 476 U.S. 667,
                 670 (1986); see also Weyerhaeuser Co. v. U.S. Fish &
                 Wildlife Serv., 139 S. Ct. 361, 370 (2018); Mach Mining
                 LLC v. EEOC, 135 S. Ct. 1645, 1651 (2015) (“Congress
                 rarely intends to prevent courts from enforcing its di-
                 rectives to federal agencies.”). The bedrock presump-
                 tion of reviewability permits few exceptions, and it
                 places the burden on the government to demonstrate
                 that a particular agency action qualifies.
                     Relevant here, the APA draws an exception for an
                 administrative action that is “committed to agency dis-
                 cretion by law.” 5 U.S.C. § 701(a)(2). As this Court has
                 explained, that exception is “very narrow” and pertains
                 only “in those rare instances where … there is no ‘law
                 to apply.’” Citizens to Pres. Overton Park, Inc. v.
                 Volpe, 401 U.S. 402, 410 (1971), abrogated on other
                 grounds by Califano v. Sanders, 430 U.S. 99 (1977).
                 Stated differently, Section 701(a)(2) precludes judicial
                 review of an administrative action when a court has “no
                 meaningful standard against which to judge the agen-
                 cy’s exercise of discretion.” Heckler v. Chaney, 470
                 U.S. 821, 830 (1985).




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                      Included in that narrow exception is the “decision
                 of an administrative agency to exercise its ‘discretion’
                 not to undertake certain enforcement actions.”
                 Chaney, 470 U.S. at 823. In Chaney, inmates sentenced
                 to die by lethal injection petitioned the FDA. They
                 maintained that the use of lethal injection drugs for
                 their executions violated the Federal Food, Drug, and
                 Cosmetic Act, and they asked the agency to initiate en-
                 forcement actions to prevent the alleged statutory vio-
                 lations that would follow from their executions. Id.
                 The FDA Commissioner declined, noting that he was
                 unsure of the agency’s jurisdiction under the Act. Id.
                 at 824. But even were the agency to have jurisdiction,
                 the Commissioner concluded, the FDA would refuse to
                 initiate enforcement proceedings under its “‘inherent
                 discretion to decline to pursue certain enforcement
                 matters.’” Id.
                      The Court held that under Section 701(a)(2) of the
                 APA, an agency’s discretionary decision not to initiate
                 an enforcement action was not reviewable. Emphasiz-
                 ing that such decisions had “traditionally been ‘commit-
                 ted to agency discretion,’” 470 U.S. at 832, the Court
                 likened the FDA’s decision to that of a prosecutor not
                 to indict, an action “long [] regarded as the special prov-
                 ince of the Executive Branch.” Id. Apart from tradi-
                 tion, the Court went on to list other considerations that
                 made discretionary enforcement decisions unsuitable
                 for judicial review. Id. Typically, the Court explained,
                 in a decision not to enforce, the agency’s exercise of dis-
                 cretion reflects “a complicated balancing of a number of
                 factors which are peculiarly within its expertise.” Id. at
                 831. Those factors include how best to allocate the
                 agency’s resources and where the requested enforce-
                 ment action lies on the agency’s list of priorities. Id. at
                 831-832. Hesitant to involve itself in such “administra-




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                 tive concerns” outside its expertise, the Court observed
                 that decisions not to enforce also generally do not entail
                 an exercise of “coercive power over an individual’s lib-
                 erty or property rights,” areas that courts frequently
                 are “called upon to protect.” Id. at 832.
                     Chaney considered Section 701(a)(2) in the cabined
                 context of an enforcement decision resting on the exer-
                 cise of an agency’s discretion. At the same time, the
                 Court left undisturbed the “strong presumption” of ju-
                 dicial review for agency actions that do not reflect an
                 exercise of administrative discretion or a tradition of
                 non-reviewability. Indeed, Chaney expressly stated
                 that the case did not present a situation where an agen-
                 cy had refused to act based only on a non-discretionary
                 legal determination “that it lacks jurisdiction.” 470
                 U.S. at 833 n.4. Since Chaney, the Court has made
                 clear that the “strong presumption” of judicial review
                 endures, narrowly circumscribing the category of non-
                 reviewable actions to those that have historically been
                 entrusted to an agency’s discretion or involve sensitive
                 areas in which courts are loath to intrude. Lincoln v.
                 Vigil, 508 U.S. 182, 191-192 (1993).

                     B. An Enforcement Decision That Rests On An
                        Agency’s Legal Conclusion That It Lacks Au-
                        thority To Act Is Reviewable
                      Where an enforcement decision reflects a legal de-
                 termination that the law affords the agency no discre-
                 tion, judicial review is available. In that instance, the
                 deference to agency discretion that counseled against
                 review in Chaney does not pertain for the simple rea-
                 son that the agency has not exercised any discretion at
                 all. Rather, it has said what the law is, and that is the
                 province and the duty of the judiciary. Marbury v.
                 Madison, 5 U.S. (1 Cranch) 137, 177 (1803). “The rise of




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                 the modern administrative state has not changed that
                 duty.” City of Arlington v. FCC, 569 U.S. 290, 316
                 (2013) (Roberts, C.J., dissenting).
                      Unlike the discretionary enforcement decision in
                 Chaney, enforcement decisions based on an agency’s
                 view of what the law compels are “less frequent” and
                 “more apt to involve legal as opposed to factual analy-
                 sis.” Massachusetts v. EPA, 549 U.S. 497, 527 (2007).
                 They are “more likely to be direct interpretations of the
                 commands of the substantive statute rather than the
                 sort of mingled assessments” of discretionary factors
                 that are, “as Chaney recognizes, peculiarly within the
                 agency’s expertise and discretion.” Crowley Caribbean
                 Transp., Inc. v. Pena, 37 F.3d 671, 677 (D.C. Cir. 1994).
                 Grounded in an analysis of the statute (or some other
                 source of law), these policy-type pronouncements “de-
                 lineat[e] the boundary between enforcement and non-
                 enforcement,” id. at 676-677, and provide a clear and
                 “meaningful standard” against which a court may eval-
                 uate the agency’s action, Chaney, 470 U.S. at 830. All
                 those characteristics are present in this case.
                      Lower courts, too, have long recognized the dis-
                 tinction between legal decisions that an agency lacks
                 authority to enforce and those that reflect the exercise
                 of its enforcement discretion. Where an agency’s “in-
                 terpretation has to do with the substantive require-
                 ments of the law,” the D.C. Circuit has said, “it is not
                 the type of discretionary judgment concerning the allo-
                 cation of enforcement resources that Heckler shields
                 from judicial review.” Edison Elec. Inst. v. EPA, 996
                 F.2d 326, 333 (D.C.Cir.1993); see also Crowley Caribbe-
                 an Transp., 37 F.3d at 676-677; OSG Bulk Ships, Inc. v.
                 United States, 132 F.3d 808, 812 (D.C. Cir. 1998).




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                     Similarly, the Eighth Circuit held reviewable cer-
                 tain poultry processing standards by the Department of
                 Agriculture that were “express general policies” based
                 on the Secretary’s interpretation of the relevant stat-
                 ute. Kenney v. Glickman, 96 F.3d 1118, 1122, 1123 n.4
                 (8th Cir. 1996). And the Ninth Circuit has concluded
                 that “agency nonenforcement decisions are reviewable
                 when they are based on a belief that the agency lacks
                 jurisdiction.” Montana Air Chapter No. 29, Ass’n of
                 Civilian Technicians, Inc. v. Federal Labor Relations
                 Auth., 898 F.2d 753, 756 (9th Cir. 1990).
                      It makes no difference whether an agency’s deci-
                 sion reflects a legal determination about the scope of
                 authority that a statute unquestionably permits (Ken-
                 ney) or a determination that the law strips the agency
                 of any authority to act (Montana Air). As this Court
                 has explained, “the distinction between ‘jurisdictional’
                 and ‘nonjurisdictional’ interpretations is a mirage.”
                 City of Arlington, 569 U.S. at 297. In either event, the
                 agency has made a legal evaluation as to whether it
                 “has stayed within the bounds of its statutory authori-
                 ty,” id., and that sort of evaluation falls squarely within
                 the expertise of the judiciary.2

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                        City of Arlington considered whether Chevron deference
                 applied to an agency’s interpretation of a statutory ambiguity that
                 pertained to “the scope of its regulatory authority (that is, its ju-
                 risdiction).” 569 U.S. at 293. Here, the government does not argue
                 that its legal interpretation of a particular statute is entitled to
                 Chevron deference. Nor would that argument shield its decision
                 from scrutiny, because judicial review is twice baked into Chevron
                 deference. As the Court explained in City of Arlington, a court
                 awards Chevron deference only after (1) a court asks whether the
                 intent of Congress is clear in the statute and, if not, (2) after a
                 court determines that the agency’s construction of an ambiguous
                 statute is permissible. Id; see also id. at 318-319 (Roberts, C.J.,




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                     C. Judicial Review Of Agency Decisions That
                        Rest On Legal Conclusions Is Necessary To
                        Ensure Accountability And The Separation
                        Of Powers
                     It is common that courts review administrative pol-
                 icy decisions that rest on an agency’s interpretation of
                 what the law commands or forbids. And that makes
                 good sense: Experts in the law, judges—not adminis-
                 trators—are best suited to say what, if anything, the
                 law commands or forbids. But judicial review is more
                 than a matter of common sense in this circumstance. It
                 is more than a matter of protecting the province of the
                 judiciary. It is a matter of this Court fulfilling its obli-
                 gation to ensure that the other branches of government
                 are confined to their correct constitutional roles and
                 held accountable to the people.
                      Far from limiting the executive’s discretion, judi-
                 cial review promotes it. Consider an agency decision
                 that does not reflect discretion but instead the agency’s
                 mistaken view that the law denies it any discretion to
                 act. In reviewing the relevant law, a court may correct
                 that misimpression and thereby empower the agency to
                 exercise its discretion to reach an outcome it had previ-
                 ously thought unavailable. See Regents of the Univ. of
                 Cal. v. U.S. Dep’t of Homeland Sec., 908 F.3d 476, 498

                 dissenting) (“We have never faltered in our understanding of this
                 straightforward principle, that whether a particular agency inter-
                 pretation warrants Chevron deference turns on the court’s deter-
                 mination whether Congress has delegated to the agency the au-
                 thority to interpret the statutory ambiguity at issue.” (emphasis
                 added)). If the Court does not take an agency’s word that Chevron
                 deference applies to an ambiguous statute, even less should it take
                 an agency’s word that the law—whether the Constitution or a
                 statute—requires a certain outcome.




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                 (9th Cir. 2018) (“If an agency head is mistaken in her
                 assessment that the law precludes one course of action,
                 allowing the courts to disabuse her of that incorrect
                 view of the law does not constrain discretion, but ra-
                 ther opens new vistas within which discretion can op-
                 erate.”), cert. granted sub nom. Department of Home-
                 land Sec. v. Regents of the Univ. of Cal., 139 S. Ct. 2779
                 (2019).
                      Judicial review is also crucial to promote democrat-
                 ic accountability. A “principal value” of administrative
                 law, the concept of accountability contemplates that
                 voters may hold the President responsible for an un-
                 popular agency action. Kagan, Presidential Admin-
                 istration, 114 Harv. L. Rev. 2245, 2251-2252 (2001).
                 That concept, however, is undermined where an agency
                 claims it was legally required to take that unpopular
                 action and the judiciary is precluded from saying oth-
                 erwise. As the Ninth Circuit succinctly explained be-
                 low, where an agency states that a law deprives it of
                 any discretion to act, it “shifts responsibility for the
                 outcome from the Executive Branch to Congress (for
                 making the law in question) or the courts (for constru-
                 ing it).” 908 F.3d at 499. If the Executive Branch is
                 mistaken in its interpretation of the law and also able to
                 preclude a court from correcting that interpretation,
                 then the agency will have escaped electoral recourse
                 for an unpopular “choice that was the agency’s to make
                 all along.” Id.
                     Judicial review also promotes congressional ac-
                 countability. When Congress has in fact made a deci-
                 sion to impose a legal constraint on an agency, judicial
                 review enforces and safeguards that decision, making
                 clear that Congress—and not the Executive—is re-
                 sponsible for it. No matter where the Court lands on




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                 the correct interpretation of the law, judicial review
                 thus increases transparency and accountability.
                     To force instead the judicial and legislative branch-
                 es to reap what the executive branch has sown strikes
                 at the heart of democratic accountability and the sepa-
                 ration of powers. And yet that is precisely what an
                 administrative official does when she “claim[s] that the
                 law ties her hands while at the same time denying the
                 courts’ power to unbind her.” NAACP v. Trump, 298
                 F. Supp. 3d 209, 249 (D.D.C. 2018), cert. before judg-
                 ment granted, 139 S. Ct. 2779 (No. 18-588). A critical
                 duty of the judiciary is to ensure that the increasing
                 power of the administrative state does not go un-
                 checked. Fulfilling that duty means courts cannot
                 “leave it to the agency to decide when it is in charge.”
                 City of Arlington, 569 U.S. at 327 (Roberts, C.J., dis-
                 senting).

                 II. THE DECISION TO RESCIND DACA IS REVIEWABLE
                     BECAUSE IT RESTS ON A NON-DISCRETIONARY BELIEF
                     ABOUT WHAT THE LAW REQUIRES
                     The decision to universally end deferred status for
                 800,000 people is based on the Department’s view that
                 the law required that result. It does not reflect an ex-
                 ercise of discretion but a legal judgment, which this
                 Court may evaluate by reference to meaningful stand-
                 ards. Even if this Court were to consider the Secre-
                 tary’s supplemental justifications for rescinding DACA,
                 they are not the sort of discretionary justifications that
                 Chaney suggested would be unreviewable. Rather,
                 they stem from (and ratify) the Department’s ultimate
                 legal conclusion. To find that legal conclusion unre-
                 viewable would represent a dramatic expansion of Sec-
                 tion 701(a)(2).




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                     A. The Department Concluded That The Law
                        Required It To Rescind DACA
                     In her memorandum of September 5, 2017, then-
                 acting Secretary of Homeland Security Elaine C. Duke
                 explained that the law required her to rescind DACA.
                 Taking into consideration rulings from the Supreme
                 Court and the Fifth Circuit “in the ongoing litigation,”
                 she wrote, and “the September 4, 2017 letter from the
                 Attorney General, it is clear that the June 15, 2012
                 DACA program should be terminated.” Regents, Pet.
                 App. 117a (Duke memorandum). The letter of the At-
                 torney General itself had been crystal-clear that DACA
                 was illegal: “DACA was effectuated … without proper
                 statutory authority.” It was “an open-ended circum-
                 vention of immigration laws” and an “unconstitutional
                 exercise of authority by the Executive Branch.” JA
                 877 (Sessions letter).
                     What the government calls “litigation risk” cannot
                 serve as the sort of discretionary consideration that
                 precludes judicial review. Pet. Br. 27. As an initial
                 matter, it is unclear what role—if any—“litigation risk”
                 played in the decision to rescind DACA. To be sure,
                 the Sessions letter noted that DAPA had been enjoined
                 nationwide and that DACA would likely face a similar
                 result. JA 877-878. Yet the Duke memorandum, while
                 noting the Attorney General’s prediction, did not ex-
                 pressly include it as a “consideration” driving the Sec-
                 retary’s decision.
                      In any event, the “litigation risk” alluded to in the
                 Duke memorandum is not the type of discretionary
                 consideration discussed in Chaney (i.e., one that takes
                 into account a “complicated balancing of a number of
                 factors … peculiarly within [the Department’s] exper-
                 tise.”). Chaney, 470 U.S. at 831. Instead, the Duke




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                 memorandum tied the threat of litigation to the conclu-
                 sion that DACA suffered the same legal infirmities as
                 DAPA and so would be enjoined. See NAACP, 298 F.
                 Supp. 3d at 234, adhered to on denial of recons., 315 F.
                 Supp. 3d 457 (D.D.C. 2018) (“[T]he Department’s con-
                 clusion that the Fifth Circuit’s decision to uphold a pre-
                 liminary injunction of DAPA suggests that a court
                 would likely also impose a preliminary injunction of
                 DACA necessarily relies on the Department’s legal
                 analysis of the similarities between the two policies—
                 which, like the Department’s view of DACA’s legality
                 itself, does not qualify for Chaney’s presumption of un-
                 reviewability.”). While acting on the consideration of
                 litigation risk could conceivably be a discretionary deci-
                 sion in another context, here the alleged “litigation
                 risk” is no more than an outgrowth of the agency’s legal
                 conclusion about the illegality of DACA. Where that is
                 the case, judicial review is proper.3
                     Even assuming the Court sees fit to consider the
                 belated justifications in then-Secretary Nielsen’s mem-
                 orandum of June 22, 2018, none of her reasons insulates
                 the decision to rescind DACA from judicial review. At
                 the outset, the Nielsen memorandum ratifies the rea-
                 soning given in the Duke memorandum. It “decline[s]
                 to disturb the Duke memorandum,” and notes that the
                 decision of then-acting Secretary Duke to rescind
                 DACA “was, and remains, sound.” Regents, Pet. App.
                 121a. The Nielsen memorandum then goes on to detail

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                       To hold otherwise would insulate from judicial review any
                 agency action based on a legal conclusion, provided the action also
                 includes “as an additional, ‘discretionary’ justification the assertion
                 that a court would likely agree with the agency’s interpretation.”
                 NAACP, 298 F. Supp. 3d at 233.




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                 several justifications for rescinding DACA, which do
                 nothing to convert the rescission of DACA from a legal
                 decision to a discretionary one.
                      First, the Nielsen memorandum considers (again)
                 and finds convincing the Attorney General’s conclusion
                 that DACA was contrary to law. Regents, Pet. App. at
                 122a. Second, the memorandum cites “serious doubts
                 about” the legality of DACA, noting that there are
                 “sound reasons” for an agency not to pursue a legally
                 questionable policy. Id. at 123a. But the stated rea-
                 sons—maintaining public confidence in the rule of law,
                 the “threat of burdensome litigation”—are plainly teth-
                 ered to the legal conclusion about the questionable le-
                 gality of the DACA policy. Id. Indeed, the “threat of
                 burdensome litigation” is no different than the “poten-
                 tially imminent litigation” cited in the Duke memoran-
                 dum. Regents, Pet. App. at 116a.
                     Finally, the Nielsen memorandum includes several
                 “reasons of enforcement policy” that counsel in favor of
                 ending DACA. By and large, these alleged policy rea-
                 sons relate back to the conclusion that DACA is unlaw-
                 ful. The first policy rationale—that DHS should not
                 adopt DACA until that policy is permitted by statute—
                 of course rests on the premise that DACA is not per-
                 mitted by statute. The second stated policy reason—
                 that deferral should be granted only on an individual
                 basis—was discussed in the Duke memorandum as in-
                 dicia of the policy’s unlawfulness. Regents, Pet. App.
                 112a. Leaving no doubt as to the basis for that justifi-
                 cation, the Nielsen memorandum is express that
                 DACA’s blanket deferral approach is not “consistent
                 with the INA.” Id. at 124a.
                     The final stated policy reason in the Nielsen memo-
                 randum—the importance of messaging that the immi-




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                 gration laws will be enforced against “all classes and
                 categories of aliens”—is an impermissible post-hoc jus-
                 tification that this Court should not consider. Regents,
                 Pet. App. 124a. It cannot be traced to any stated ra-
                 tionale in the Duke memorandum or the Sessions letter.
                 But even were it not offered too late, the “solitary sen-
                 tence” about messaging cannot “wholly transmute[] the
                 explanation for DACA’s rescission from an issue of law
                 into an issue of policy.” NAACP, 315 F. Supp. 3d at
                 471.

                     B. This Court Can And Should Review The De-
                        partment’s Conclusion That DACA Violates
                        The Law
                      Guided by the INA, the Executive’s historic discre-
                 tion over immigration, and its own precedent on de-
                 ferred action, this Court has clear standards by which
                 to evaluate the legal conclusion that DACA must be
                 terminated. This is not a “single-shot non-enforcement
                 decision.” Crowley Caribbean Transp., 37 F.3d at 676.
                 It is a sweeping enforcement policy that “purport[s] to
                 speak to a broad class of parties.” Id. at 677. Indeed, it
                 does more than purport to speak; it invokes the coer-
                 cive power of the government against hundreds of
                 thousands of individuals who now stand to lose their
                 deferred action status and its attendant benefits.
                 Chaney, 470 U.S. at 832. “[R]escissions of commit-
                 ments, whether or not they technically implicate liberty
                 and property interests as defined under the fifth and
                 fourteenth amendments, exert much more direct influ-
                 ence on the individuals or entities to whom the repudi-
                 ated commitments were made.” Robbins v. Reagan,
                 780 F.2d 37, 47 (D.C. Cir. 1985).
                     Judicial review is not simply appropriate in this
                 case. It is urgent. Agency decisions about enforcement




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                 typically do not leave aggrieved parties seeking the
                 court’s protection from the coercive power of the gov-
                 ernment. For that reason, they may be understood not
                 to require judicial review. Chaney, 470 U.S. at 832.
                 This case presents precisely the opposite situation.
                 Claiming the law left no choice, the Executive Branch
                 ended a program that granted deferred status to nearly
                 800,000 people brought to the United States as chil-
                 dren, making Dreamers subject to a coercive power
                 from which they were previously exempt absent special
                 individual circumstances. The President himself ex-
                 pressed support for DACA, calling on Congress to le-
                 galize the program and insisting that blame for the Sec-
                 retary’s unpopular action lay with the Legislature.
                 Donald Trump (@realDonaldTrump), Twitter (Sept. 14,
                 2017, 5:28 AM) (“Does anybody really want to throw
                 out good, educated and accomplished young people who
                 have jobs, some serving in the military? Really!”),
                 https://preview.tinyurl.com/y378dsy9; Donald Trump
                 (@realDonaldTrump), Twitter (Sept. 5, 2017, 5:38 PM)
                 (“Congress now has 6 months to legalize DACA”),
                 https://tinyurl.com/y2auprfo.
                      The Executive may not declare that the law re-
                 quires an unpopular outcome, lament that outcome, and
                 then proclaim that outcome to be insulated from judi-
                 cial review. That sort of buck passing is an affront to
                 our constitutional system.




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                                    CONCLUSION
                     The Court should affirm the reviewability of peti-
                 tioners’ decision to rescind DACA.

                                            Respectfully submitted.

                 ALAN E. SCHOENFELD         SETH P. WAXMAN
                 MARGUERITE COLSON             Counsel of Record
                 WILMER CUTLER PICKERING    WILMER CUTLER PICKERING
                   HALE AND DORR LLP           HALE AND DORR LLP
                 7 World Trade Center       1875 Pennsylvania Ave., NW
                 250 Greenwich Street       Washington, DC 20006
                 New York, NY 10007         (202) 663-6800
                 (212) 937-7518             seth.waxman@wilmerhale.com

                 OCTOBER 2019




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                                    APPENDIX A

                                List of Amici Curiae

                 Ash Bhagwat
                 Martin Luther King, Jr. Professor of Law and
                 Boochever and Bird Endowed Chair for the Study
                 and Teaching of Freedom and Equality
                 UC Davis School of Law
                 William W. Buzbee
                 Professor of Law
                 Georgetown University Law Center
                 Cary Coglianese
                 Edward B. Shils Professor of Law
                 University of Pennsylvania Law School
                 Michael C. Dorf
                 Robert S. Stevens Professor of Law
                 Cornell Law School
                 Cynthia R. Farina
                 William G. McRoberts Research Professor in
                 Administrative Law, Emerita
                 Cornell Law School
                 William Funk
                 Lewis & Clark Distinguished Professor of Law
                 Emeritus
                 Lewis & Clark Law School
                 Michael Herz
                 Arthur Kaplan Professor of Law
                 Benjamin N. Cardozo School of Law
                 Ronald M. Levin
                 William R. Orthwein Distinguished Professor of Law
                 Washington University School of Law




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                 Jerry L. Mashaw
                 Sterling Professor Emeritus of Law and Professorial
                 Lecturer
                 Yale Law School
                 Thomas O. McGarity
                 Joe R. and Teresa Lozano Long Endowed Chair in
                 Administrative Law
                 University of Texas School of Law
                 Nina Mendelson
                 Joseph L. Sax Collegiate Professor of Law
                 University of Michigan Law School
                 Jon Michaels
                 Professor of Law
                 UCLA School of Law
                 Richard J. Pierce, Jr.
                 Lyle T. Alverson Professor of Law
                 George Washington University School of Law
                 Arden Rowell
                 Professor of Law
                 University of Illinois College of Law
                 Joshua D. Sarnoff
                 Professor of Law
                 DePaul University College of Law
                 Mark Seidenfeld
                 Patricia A. Dore Professor of Administrative Law
                 The Florida State University College of Law
                 Peter M. Shane
                 Jacob E. Davis and Jacob E. Davis II Chair in Law
                 The Ohio State University Moritz College of Law
                 Peter L. Strauss
                 Betts Professor of Law Emeritus
                 Columbia Law School




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                 Wendy Wagner
                 Richard Dale Endowed Chair
                 University of Texas School of Law




                                                                           AR5667
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                            Nos. 18-587, 18-588, and 18-589


                 In the Supreme Court of the United States
                                       _________________

                     DEPARTMENT OF HOMELAND SECURITY, ET AL.,
                                  PETITIONERS,
                                               v.
                  REGENTS OF THE UNIVERSITY OF CALIFORNIA, ET AL.,
                                  RESPONDENTS
                                  ____________
                               ON WRIT OF CERTIORARI
                       TO THE UNITED STATES COURT OF APPEALS
                               FOR THE NINTH CIRCUIT
                                    ____________
                 BRIEF OF FORMER SERVICE SECRETARIES,
                 MODERN MILITARY ASSOCIATION OF AMER-
                  ICA, AND MILITARY AND VETERAN ADVO-
                 CACY ORGANIZATIONS AS AMICI CURIAE IN
                        SUPPORT OF RESPONDENTS
                                ____________

                 PETER E. PERKOWSKI                 CHARLES B. KLEIN
                 Modern Military                     Counsel of Record
                   Association of America           CLAIRE A. FUNDAKOWSKI
                 P.O. Box. 65301                    Winston & Strawn LLP
                 Washington, DC 20035               1700 K Street, N.W.
                 (202) 328-3244                     Washington, DC 20006
                 peter@modermilitary.org            (202) 282-5000
                                                    cklein@winston.com
                 Counsel for Amicus Curiae
                 Modern Military Association        Counsel for Amici Curiae
                 of America

                            Additional Captions and Counsel
                                 Listed on Inside Cover




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                 DONALD J. TRUMP, PRESIDENT OF THE UNITED STATES,
                               ET AL., PETITIONERS,

                                        v.

                    NATIONAL ASSOCIATION FOR THE ADVANCEMENT
                     OF COLORED PEOPLE, ET AL., RESPONDENTS.

                                   ____________

                     ON WRIT OF CERTIORARI BEFORE JUDGMENT
                     TO THE UNITED STATES COURT OF APPEALS
                      FOR THE DISTRICT OF COLUMBIA CIRCUIT

                                   ____________

                     KEVIN K. MCALEENAN, ACTING SECRETARY OF
                      HOMELAND SECURITY, ET AL., PETITIONERS,
                                        v.

                      MARTÍN JONATHAN BATALLA VIDAL, ET AL.,
                                 RESPONDENTS.
                                   ____________

                     ON WRIT OF CERTIORARI BEFORE JUDGMENT
                     TO THE UNITED STATES COURT OF APPEALS
                             FOR THE SECOND CIRCUIT

                                   ____________


                                        HARVEY WEINER
                                        Peabody & Arnold LLP
                                        600 Atlantic Avenue
                                        Boston, MA 02210
                                        hweiner@peabodyarnold.com
                                        Counsel for Amicus Curiae
                                        Jewish War Veterans of the USA




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                                                 1
                           INTERESTS OF AMICI CURIAE 1
                    The amici curiae are Secretary Eric Fanning, Sec-
                 retary Deborah Lee James, Secretary Ray Mabus, the
                 Modern Military Association of America (MMAA), the
                 National Veterans Legal Services Program (NVLSP),
                 Jewish War Veterans of the USA (JWV), Blue Star
                 Families, Minority Veterans of America (MVA), and
                 Swords to Plowshares. Amici share a common inter-
                 est in policies that enhance the U.S. military’s readi-
                 ness and protect the interests of service members and
                 their families.
                     Secretary Eric K. Fanning served as the 22nd U.S.
                 Secretary of the Army. As Secretary, he had statuto-
                 ry responsibility for all matters related in the United
                 States Army, including manpower, personnel, and
                 reserve affairs. Previously, he served as Chief of
                 Staff to the Secretary of Defense, as Acting Secretary
                 of the Air Force, as Under Secretary of the Air Force,
                 and as Deputy Under Secretary of the Navy/Deputy
                 Chief Management Officer. He is the only person to
                 have held senior appointments in all three military
                 departments and the Office of the Secretary of De-
                 fense.
                    Secretary Deborah Lee James served as the 25th
                 U.S. Secretary of the Air Force. Previously, she
                 served in the Pentagon as the Assistant Secretary of
                 Defense for Reserve Affairs, where she was the Secre-
                 tary of Defense’s Senior Advisor on National Guard

                 1 This brief is filed with the consent of the parties pursuant to
                 Supreme Court Rule 37.3(a). In accordance with Supreme Court
                 Rule 37.6, counsel for amici curiae states that no counsel for any
                 party authored this brief in whole or in part, and no person oth-
                 er than amici curiae, its members, or its counsel made a mone-
                 tary contribution to the preparation or submission of this brief.




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                 and Reserve personnel. As a professional staff mem-
                 ber on the House Armed Services Committee, she
                 served as Senior Advisor to the Military Personnel
                 and Compensation Subcommittee, the NATO Burden
                 Sharing Panel, and the Chairman’s Member Services
                 team.
                    Secretary Ray Mabus served as the 75th U.S. Sec-
                 retary of the Navy from 2009 to 2017, the longest to
                 serve as leader of the Navy and Marine Corps since
                 World War I. Throughout his tenure, he focused on
                 four key priorities—People, Platforms, Power, and
                 Partnerships—that enabled the Navy and Marine
                 Corps’ unique ability to maintain the global presence
                 that reassures our allies and deters our adversaries.
                 Among his achievements, he spearheaded the “21st
                 Century Sailor and Marine” initiative, which was de-
                 signed to build and maintain the most resilient and
                 ready force possible and to prepare service members
                 and their families for the high-tempo operations of
                 today’s military.
                     MMAA is one of the country’s largest non-profit,
                 non-partisan legal services, policy, and watchdog or-
                 ganizations     serving    lesbian,   gay,   bisexual,
                 transgender, and queer (LGBTQ) military personnel,
                 veterans, military spouses, family members, and al-
                 lies, as well as individuals living with HIV. MMAA
                 was formed through the merger of the American Mili-
                 tary Partner Association and OutServe-SLDN, Inc.,
                 and it has over 75,000 members and supporters.
                 MMAA has a unique understanding of the challenges
                 faced by the populations it serves. Since 1993,
                 MMAA and its predecessor entities have assisted
                 over 12,500 clients.




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                                            3
                     MMAA regularly engages in high-profile litigation
                 and participates as amicus curiae to challenge poli-
                 cies that target, stigmatize, or otherwise negatively
                 affect service members and their families—reducing
                 morale and diminishing military readiness by inhibit-
                 ing the military’s efforts at recruiting and retention.
                 For example, MMAA has filed lawsuits challenging
                 laws and regulations that discriminate against and
                 stigmatize LGBTQ service members, including: the
                 former “Don’t Ask, Don’t Tell” law requiring that les-
                 bian, gay, and bisexual service members conceal their
                 sexual orientation; regulations prohibiting same-sex
                 military spouses from receiving spousal benefits; the
                 current ban on openly transgender people serving in
                 the U.S. military; and regulations negatively affect-
                 ing service members with HIV. MMAA has a strong
                 interest in advocating for its members who may be
                 affected by DACA’s rescission as well as an interest
                 in advocating for a ruling in this case that would af-
                 firm the need for government agencies to consider
                 how their policy choices would harm the military by
                 stigmatizing and otherwise negatively affecting ser-
                 vice members and their families.
                     NVLSP is an independent nonprofit organization
                 that has worked since 1981 to ensure that our na-
                 tion’s 22 million veterans and active duty personnel
                 receive the federal benefits they have earned through
                 service to our nation. NVLSP advocates before feder-
                 al agencies, courts, and Congress to protect service
                 members and veterans irrespective of whether they
                 joined the military as citizens or non-citizens.
                 NVLSP has represented thousands of individual ser-
                 vice members and veterans, served as counsel for cer-
                 tified classes of veteran-plaintiffs, and participated as




                                                                             AR5682
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                 amicus curiae in support of service members and vet-
                 erans in numerous agency and court actions.
                     JWV, organized in 1986 by Jewish veterans of the
                 Civil War, is the oldest active national veterans’ ser-
                 vice organization in America. Incorporated in 1924,
                 and chartered by an act of Congress in 1983, see 36
                 U.S.C. § 110103, JWV’s objectives include to “encour-
                 age the doctrine of universal liberty, equal rights, and
                 full justice to all men,” id § 110103(5), “combat the
                 powers of bigotry and darkness wherever originating
                 and whatever the target”, id § 110103(6), and “pre-
                 serve the spirit of comradeship by mutual helpfulness
                 to comrades and their families,” id § 110103(7).
                    JWV has long taken an interest in the right to
                 serve in the military. Jewish immigrants and refu-
                 gees have fought and died for America, particularly
                 in World War II against the Nazis. Over one third of
                 the Jews awarded the Congressional Medal of Honor
                 were born in a foreign country.
                     Blue Star Families is a national, nonprofit organi-
                 zation that exists to support active-duty members,
                 veterans, and their families from all ranks and ser-
                 vices—including National Guard and Reserve. BSF
                 strengthens military families and connects America
                 to the Armed Forces through a robust array of mo-
                 rale, empowerment, education and employment pro-
                 grams. Additionally, BSF’s annual Military Family
                 Lifestyle Survey creates opportunities to support the
                 health and sustainability of our all-volunteer Force
                 by increasing dialogue and understanding between
                 the military community and broader American socie-
                 ty.
                     Blue Star Families exists to support military fami-
                 lies, regardless of their documented legal status. We,




                                                                            AR5683
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                 therefore, join with the MMAA in advocating for a
                 ruling that would affirm the need for government
                 agencies to consider how their policy choices would
                 harm the military by stigmatizing and otherwise
                 negatively affecting service members and their fami-
                 lies.
                     MVA is a nonprofit organization dedicated to cre-
                 ating community belonging and advancing equality
                 for minority veterans, including veterans of color,
                 women       veterans,    LGBTQ        veterans,  and
                 (non)religious minority veterans. MVA is built on
                 four fundamental values: inclusivity, advocacy, ally-
                 ship, and education. By advocating for the needs of
                 veteran communities without a majority voice, MVA
                 strives to improve the lives of veterans who may oth-
                 erwise be forgotten.
                     Swords to Plowshares is a community-based not-
                 for-profit organization that provides needs assess-
                 ment and case management, employment and train-
                 ing, housing, and legal assistance to veterans in the
                 San Francisco Bay Area. Swords to Plowshares pro-
                 motes and protects the rights of veterans through ad-
                 vocacy, public education, and partnerships with local,
                 state, and national entities.

                                    STATEMENT
                     On September 5, 2017, the Government issued a
                 brief memorandum rescinding the Deferred Action for
                 Childhood Arrivals program (DACA). Since 2012,
                 DACA, implemented by the Department of Homeland
                 Security (DHS), has conferred life-changing benefits
                 to nearly 800,000 non-citizens. In addition to DACA’s
                 promise of a reduced likelihood of removal, these
                 benefits include numerous advantages under existing
                 policies, such as the ability to obtain employment




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                 lawfully. See 8 C.F.R. § 274a.12(c)(14). DACA has
                 permitted its recipients to remain in the United
                 States with their families and obtain a 91% employ-
                 ment rate, benefitting not only DACA recipients, but
                 also strengthening and maintaining their families.
                     The American people also rely on DACA to en-
                 hance U.S. national security through military readi-
                 ness. As of September 2017, when the Government
                 rescinded DACA, over 800 DACA recipients were ac-
                 tively serving in the U.S. military under the Military
                 Accessions Vital to the National Interest program
                 (MAVNI). That program allows the military to re-
                 cruit non-citizens who have skills “vital to the na-
                 tional interest,” including health care professionals
                 and individuals with specific language and cultural
                 skills. See 10 U.S.C. § 504(b)(2). The U.S. military
                 has relied on the efforts of these non-citizens, includ-
                 ing DACA recipients, to further such vital national
                 interests that promote national security and protect
                 Americans.
                    The Government overlooked such reliance inter-
                 ests when rescinding DACA. The rescission memo-
                 randum contains just one sentence explaining the
                 Government’s rationale for changing its existing poli-
                 cy: “Taking into consideration the Supreme Court’s
                 and the Fifth Circuit’s rulings in the ongoing litiga-
                 tion, and the September 4, 2017, letter from the At-
                 torney General, it is clear that the June 15, 2012,
                 DACA program should be terminated.” Regents Pet.
                 App. 117a.
                    Numerous parties brought actions alleging that
                 the Government’s decision to rescind DACA was un-
                 lawful on several grounds, including that the rescis-
                 sion was arbitrary and capricious under the Adminis-




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                                            7
                 trative Procedure Act (APA). Three of these cases are
                 now before the Court: Department of Homeland Secu-
                 rity v. Regents of the University of California, No. 18-
                 587 (Regents), in the Ninth Circuit; McAleenan v. Ba-
                 talla Vidal, No. 18-589 (Batalla Vidal), in the East-
                 ern District of New York; and Trump v. NAACP,
                 No. 18-588 (NAACP), in the District Court for the
                 District of Columbia. The courts below have uniform-
                 ly agreed to enjoin or vacate the Government’s deci-
                 sion to rescind DACA.
                    In Regents, the Ninth Circuit affirmed a prelimi-
                 nary injunction requiring, among other things, that
                 the Government “allow[] DACA enrollees to renew
                 their enrollments.” Regents Pet. App. 66a; Regents
                 Pet. Supp. App. 45a-46a. The Eastern District of
                 New York preliminarily enjoined the rescission of
                 DACA on similar terms. Batalla Vidal Pet. App. 126-
                 128a. Both courts concluded that the Government’s
                 rescission of DACA was likely arbitrary and capri-
                 cious, determining that the Government’s sole ra-
                 tionale for rescinding DACA relied on a legally erro-
                 neous premise. Regents Pet. App. 42a; Batalla Vidal
                 Pet. App. 91a. In Batalla Vidal, the court further ex-
                 plained that the Government “acted arbitrarily and
                 capriciously by ending [the DACA] program without
                 taking any account of reliance interests that program
                 has engendered.” Batalla Vidal Pet. App. 113-117a.
                     In NAACP, the District Court for the District of
                 Columbia granted partial summary judgment against
                 the Government and vacated the rescission of DACA,
                 holding that it violated the APA’s substantive re-
                 quirements. The court emphasized that the “De-
                 partment’s failure to give an adequate explanation of
                 its legal judgment was particularly egregious here in
                 light of the reliance interests involved,” which “en-




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                 gendered the reliance of hundreds of thousands of
                 beneficiaries, many of whom had structured their ed-
                 ucation, employment, and other life activities on the
                 assumption that they would be able to renew their
                 DACA benefits.” NAACP Pet. App. 54a. The court
                 stayed its mandate for ninety days “to allow the
                 agency an opportunity to better explain its rescission
                 decision.” Id. at 3a.
                     In response, on June 22, 2018, DHS Secretary
                 Kirstjen M. Nielsen issued a second memorandum
                 “declin[ing] to disturb the Duke memorandum’s re-
                 scission of the DACA policy.” Regents Pet. App. 121a.
                 The Nielsen memorandum stated, “I am keenly
                 aware that DACA recipients have availed themselves
                 of the policy in continuing their presence in this coun-
                 try and pursuing their lives,” but concluded “I do not
                 believe that the asserted reliance interests outweigh
                 the questionable legality of the DACA policy and the
                 other reasons for ending the policy discussed above.”
                 Id. at 125a. Secretary Nielsen’s memorandum did
                 not mention, much less address, the reliance interests
                 of DACA family members, or how the U.S. military
                 relies on DACA to advance national security, which
                 in turn serves the interests of the American people.
                    On August 3, 2018, the NAACP court concluded
                 the Nielsen memorandum did not alter the court’s
                 earlier conclusions. NAACP Pet. App. 80a-109a. The
                 Government petitioned for writs of certiorari in all
                 three cases. The Court granted certiorari and consol-
                 idated the cases for briefing and oral argument.

                            SUMMARY OF ARGUMENT
                    This Court should affirm the decisions below,
                 which correctly enjoined or vacated the Government’s
                 decision to rescind DACA on the basis of arbitrary




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                 and capricious agency action in violation of the APA.
                 The Government provided a legally deficient rescis-
                 sion rationale because, among other reasons, it failed
                 to address how “longstanding [DACA] policies may
                 have engendered serious reliance interests that must
                 be taken into account.” Encino Motorcars, LLC v.
                 Navarro, 136 S. Ct. 2117, 2126 (2016). For example,
                 the Government did not adequately consider the “se-
                 rious reliance interests” of DACA beneficiaries who
                 have enlisted in the military and are pursuing a path
                 to citizenship, the interests of military family mem-
                 bers who are direct or indirect beneficiaries of DACA,
                 and the interests of the American people, who rely on
                 a military that has been significantly strengthened
                 by the DACA program.
                                     ARGUMENT
                    The courts below have uniformly—and correctly—
                 preliminarily or permanently set aside the Govern-
                 ment’s rescission of DACA on the basis of arbitrary
                 and capricious agency action. This Court should af-
                 firm.
                 I. The Government Must Consider Serious Re-
                    liance Interests When Changing Existing
                    Policy.
                    The APA directs that arbitrary and capricious
                 Government actions be set aside as unlawful. 5
                 U.S.C. § 706(2)(A). While “[a]gencies are free to
                 change their existing policies,” they must “provide a
                 reasoned explanation for the change.” Encino, 136 S.
                 Ct. at 2125. If the explanation for the policy change
                 “entirely fail[s] to consider an important aspect of the
                 problem,” it will not survive arbitrary-and-capricious
                 review. Motor Vehicle Mfrs. Ass’n v. State Farm Mut.
                 Auto. Ins. Co., 463 U.S. 29, 43 (1983).




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                     To survive such review, the Government must
                 demonstrate it is “cognizant that longstanding poli-
                 cies may have engendered serious reliance interests
                 that must be taken into account.” Encino, 136 S. Ct.
                 at 2126. The Government also must explain its rea-
                 son “for disregarding facts and circumstances that
                 underlay or were engendered by the prior policy.”
                 FCC v. Fox Television Stations, Inc., 556 U.S. 502,
                 515-16 (2009).
                     In Encino, this Court set aside a policy change for
                 failure to consider serious reliance interests. There,
                 the Court recognized that the retail automobile and
                 truck industry had “significant reliance interests” in
                 an agency’s prior position that service advisors were
                 exempt from certain overtime pay provisions. 136 S.
                 Ct. at 2126. These significant reliance interests in-
                 cluded the compensation plans negotiated between
                 dealerships and service advisors, which the Court
                 recognized “could necessitate systemic, significant
                 changes” under the agency’s revised policy. Ibid.
                 The Court also observed that dealerships who failed
                 to compensate their service advisors under the re-
                 vised policy could face significant liability. Ibid.
                     Where, as in Encino, significant reliance interests
                 are present, the agency must provide “a more rea-
                 soned explanation for its decision to depart from its
                 existing enforcement policy.” Ibid. And where an
                 agency’s proffered rationale “f[a]ll[s] short of the
                 agency’s duty to explain why it deemed it necessary
                 to overrule its previous position,” the agency’s change
                 in position is arbitrary and capricious and therefore
                 unlawful under the APA. Id. at 2126-27.




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                                          11
                 II. DACA Engendered Serious Reliance Inter-
                    ests on the Part of Non-Citizens Enlisted in
                    the Military, Their Families, and the Ameri-
                    can People.
                     DACA offers more than deferred removal, and the
                 program affects more than its direct beneficiaries.
                 DACA recipients and their families benefit from nu-
                 merous pre-exiting policies, which they would not
                 have access to but for DACA. DACA recipients are
                 eligible for employment authorization documents,
                 commonly known as work permits, and recipients
                 with specialized medical or linguistic and cultural
                 skills are eligible to enlist through MAVNI. For
                 those who have enlisted, the military offers the op-
                 portunity to serve their adopted country and a path
                 to citizenship. This policy keeps families with non-
                 citizens together and, as explained in depth below,
                 offers the possibility of deferred action or parole in
                 place regardless of DACA eligibility.
                     For the American people, DACA has facilitated
                 the military readiness on which the country depends,
                 such as enabling the military to approach its recruit-
                 ing and retention goals by leveraging immigrant and
                 minority communities with unique skills vital to the
                 national interest. DACA has promoted these expec-
                 tations for more than five years.
                     A.     Foreign-Born Recruits Are Integral
                            to the U.S. Military and Vital to Its
                            Mission.
                    The United States has long relied on foreign-born
                 recruits to protect our country. From the Revolution-
                 ary War through the 1840s, half of the U.S. military’s




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                 recruits were foreign born. 2 During the Civil War,
                 approximately 300,000 foreign-born members of the
                 military served in the Union Army. Ibid. These and
                 other foreign-born recruits account for half a million
                 of our country’s veterans, more than 700 of whom
                 have received Medals of Honor. Ibid. 3
                     Our country’s reliance on foreign-born recruits—
                 and specifically, non-citizens—has persisted in recent
                 decades. Between 1999 and 2010, “some 80,000 non-
                 citizens enlisted across all four services, accounting
                 for 4 percent of all accessions” among the Army, Na-
                 vy, Air Force, and Marine Corps. 4 As of June 2010
                 alone, approximately 16,500 non-citizens were active-
                 ly serving in the military. Id. at 39. Another 5,255
                 non-citizens first enlisted in the military in 2016. 5
                     In light of our military’s seasoned reliance on the
                 foreign born, it is not surprising that our Government
                 has repeatedly recognized the importance of non-
                 citizen recruits to the U.S. military. Nearly two dec-

                 2 Jie Zong & Jeanne Batalova, Immigrant Veterans in the United

                 States (May 16, 2019), https://www.migrationpolicy.org/article
                 /immigrant-veterans-united-states.
                 3 See also U.S. Citizenship and Immigration Servs., USCIS Fa-

                 cilities Dedicated to the Memory of Immigrant Medal of Honor
                 Recipients, https://www.uscis.gov/about-us/find-uscis-office/uscis

                 -facilities-dedicated-memory-immigrant-medal-honor-recipients
                 (last updated Jan. 24, 2014).
                 4 Dep’t of Def., Population Representation in the Military Ser-

                 vices: Fiscal Year 2010 Summary Report, at 41, available at
                 https://www.cna.org/pop-rep/2010/summary
                 /PopRep10summ.pdf.
                 5 Dep’t of Def., Population Representation in the Military Ser-
                 vices: Fiscal Year 2016 Summary Report, at 41, available at
                 https://www.cna.org/pop-rep/2016/summary/summary.pdf.




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                 ades ago, President George W. Bush issued an Execu-
                 tive Order creating an incentive for non-citizens to
                 serve in the military in exchange for expedited natu-
                 ralization. Exec. Order 13,269, 67 Fed. Reg. 45287
                 (July 3, 2002). Under this program, as of 2018, the
                 U.S. Citizenship and Immigration Services (USCIS)
                 reports that “[s]ince Oct. 1, 2001, USCIS has natural-
                 ized 129,587 members of the military.” 6 In 2008, the
                 Secretary of Defense authorized the MAVNI program,
                 designed to recruit non-citizens who have skills that
                 are “vital to the national interest,” including health
                 care professionals and individuals with specific lan-
                 guage and cultural skills. See 10 U.S.C. § 504(b)(2).
                    Most recently, in 2014, the Department of Defense
                 provided a pathway for DACA recipients to enlist in
                 the military under MAVNI. 7 As of September 2017,
                 more than 800 highly skilled DACA recipients were
                 serving in the U.S. military through MAVNI. 8 Many
                 more await final background checks so that they too
                 can begin serving. These DACA recipients, along
                 with other MAVNI service members, possess “critical
                 skills” and are “vital” to protecting the American peo-
                 ple.



                 6 U.S. Citizenship and Immigration Servs., Military Naturaliza-

                 tion     Statistics,      https://www.uscis.gov/military/military-
                 naturalization-statistics (last updated Dec. 6, 2018).
                 7 Memorandum from Jessica Wright, Undersecretary of Defense

                 for Personnel and Readiness, Military Accessions Vital to the
                 National Interest Program Changes (Sept. 25, 2014).
                 8 Jonah Bennett, Pentagon: Fewer Than 900 DACA Recipients
                 Are Currently Serving In The Military (Sept. 6, 2017),
                 https://stream.org/pentagon-fewer-than-900-daca-recipients-are-
                 currently-serving-in-the-military/.




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                      B.      Enlistees Rely on DACA for Eligibil-
                              ity to be Employed by the Military
                              and for a Path to Citizenship.
                     DACA opened a path for certain non-citizens to
                 obtain work permits and to serve in the military if
                 they possess a “critical skill or expertise” that is both
                 “vital to the national interest” and useful to the
                 armed forces on a daily basis.           See 10 U.S.C.
                 § 504(b)(2). For example, the military’s MAVNI re-
                 cruiting program targets immigrants with critical
                 medical skills or expertise in certain foreign lan-
                 guages and cultures. 9 The program has recruited
                 10,400 immigrants from 2008 to 2016. 10,11 In 2016
                 alone, 359 MAVNI recruits were talented immigrants
                 who could not have participated in the program with-
                 out DACA. 12



                 9    Dep’t      of    Def.,   MAVNI       Fact     Sheet,     1,
                 https://dod.defense.gov/news/mavni-fact-sheet.pdf.
                 10 U.S. Gov’t Accountability Office, Immigration Enforcement:
                 Actions Needed to Better Handle, Identify, and Track Cases In-
                 volving Veterans 7 (2019).
                 11 MAVNI recruiting was indefinitely suspended at the end of

                 fiscal year 2016 pending the implementation of increased securi-
                 ty protocols. See Dep’t of Homeland Security, MAVNI Program
                 Status for Fiscal Year 2017 (Dec. 2, 2016), https://www.ice.gov
                 /doclib/sevis/pdf/bcm-1612-02.pdf. As discussed below, many
                 MAVNI recruits still await the completion of their background
                 checks so that they can begin serving.
                 12 New American Economy, Outside the Wire: How Barring the

                 DACA-Eligible Population from Enlisting Weakens our Military
                 (Nov. 8, 2017), https://research.newamericaneconomy.org/report
                 /outside-the-wire-how-barring-the-daca-eligible-population-from-
                 enlisting-weakens-our-military/; see also Dep’t of Def., MAVNI
                 Fact Sheet, 1.




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                     DACA beneficiaries rely on military service to
                 provide a path to citizenship. The United States has
                 long granted citizenship to non-citizens in exchange
                 for their military service. See Exec. Order 13,269, 67
                 Fed. Reg. 45287 (July 3, 2002). By permitting DACA
                 beneficiaries to enlist in the military, the Govern-
                 ment has provided them the opportunity to earn citi-
                 zenship by serving honorably for one year under 8
                 U.S.C. § 1439(a), or by serving honorably on active
                 duty for a shorter period under 8 U.S.C. § 1440(a). 13
                 More than 129,000 immigrants earned their citizen-
                 ship through military service between the attacks on
                 September 11, 2001, and the end of last year. U.S.
                 Citizenship and Immigration Servs., Military Natu-
                 ralization Statistics.
                     DACA also enables its beneficiaries who have
                 skills vital to the national interest an opportunity to
                 serve in the U.S. military and to become lawful citi-
                 zens of the country in which they were raised. Bene-
                 ficiaries wanting to serve and undertake the benefits
                 and responsibilities of citizenship enlisted. After en-
                 listing, they organized their lives around the com-

                 13 On October 13, 2017, the Department of Defense announced

                 that instead of requiring a single day of active-duty service it
                 would require 180 days before certifying honorable service un-
                 der 8 U.S.C. § 1440(a). Dep’t of Def., DoD Announces Policy
                 Changes to Lawful Permanent Residents and the Military Acces-
                 sions Vital to the National Interest (MAVNI) Pilot Program (Oct.
                 13, 2017), https://www.defense.gov/Newsroom/Releases/Release
                 /Article/1342317/dod-announces-policy-changes-to-lawful-
                 permanent-residents-and-the-military-acc/. Citizenship granted
                 under either 8 U.S.C. § 1439 or 8 U.S.C. § 1440 could be revoked
                 if the soldier was “separated from the Armed Forces under other
                 than honorable conditions before the person ha[d] served honor-
                 ably for a period or periods aggregating five years.” 8 U.S.C.
                 §§ 1439(f), 1440(c).




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                 mitment to hold themselves constantly ready to serve
                 as soon as their background investigations finished.
                     Rescinding DACA undermines the reliance inter-
                 ests inherent in the life-changing demands of military
                 service, as well as the path to citizenship offered
                 through the MAVNI program. Like all non-citizens—
                 including otherwise lawful permanent residents—
                 DACA beneficiaries who enlisted are unable to begin
                 basic training until their background investigations
                 are completed. 14     Less than two months before
                 DACA’s rescission, NPR reported that more than
                 4,000 MAVNI recruits were awaiting basic training. 15
                 Without DACA’s protection, DACA recruits awaiting
                 training or who have not served long enough to apply
                 for citizenship will lose their eligibility to participate
                 in MAVNI. They also risk losing their work permits
                 and a range of military employment benefits, includ-
                 ing health care, home loans, and educational funds,
                 that generally vest only after a recruit begins or com-
                 pletes a specified term of active-duty service. See 38
                 U.S.C. §§ 3311, 3702; 32 C.F.R. § 199.3. In addition
                 to    threatening     enlistees’   ability    to    access
                 these benefits, DACA’s rescission even threatens en-
                 listees with the prospect of being deported.
                    This threat was not eliminated by the grandfa-
                 thering provisions in the DACA rescission memoran-
                 dum. DHS announced that it would not terminate
                 previously issued deferred action determinations or

                 14 See Dep’t of Def., DoD Announces Policy Changes to Lawful

                 Permanent Residents and the Military Accessions Vital to the
                 National Interest (MAVNI) Pilot Program (Oct. 13, 2017).
                 15 Tom Bowman, Citizenship For Military Service Program Un-

                 der Fire, NPR (July 11, 2017), https://www.npr.org/2017/07/11
                 /536630223/citizenship-for-military-service-program-under-fire.




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                 work permits based on the rescission. Regents Pet.
                 App. 118a. It also announced that, if requested with-
                 in 30 days, it would consider a one-time renewal of
                 DACA benefits for individuals whose periods of de-
                 ferred action were set to expire within 180 days.
                 Ibid. But DACA benefits last only two years. Re-
                 gents Pet. App. 99-100a. Military background checks
                 take up to three. See 10 U.S.C. § 513(b)(1)-(3). This
                 means that DACA beneficiaries face a very real pro-
                 spect that they will lose their DACA benefits before
                 obtaining background clearance, getting scheduled
                 for training, and freeing themselves of the need for
                 DACA by completing the term of service necessary to
                 obtain citizenship. 16
                     This fear of deportation after DACA’s rescission is
                 not merely hypothetical. A recent report by the Gov-
                 ernment Accountability Office states that DHS has a
                 system of policies in place for deporting veterans—
                 and that the protections the system offers are not
                 consistently observed. U.S. Gov’t Accountability Of-
                 fice, Immigration Enforcement, 10-12. Although the
                 data is incomplete, available records show that “ap-
                 proximately 250 veterans were placed in removal
                 proceedings or removed from the United States from
                 fiscal years 2013 through 2018.” Id. at 16. At the

                 16 See, e.g., Alex Horton, The military looked to ‘dreamers’ to use

                 their vital skills. Now the U.S. might deport them., Washington
                 Post (Sept. 7, 2017), https://www.washingtonpost.com/news
                 /checkpoint/wp/2017/09/07/the-military-looked-to-dreamers-to-
                 use-their-vital-skills-now-the-u-s-might-deport-them/ (reporting
                 on plight of recruits like Zion Dirgantara, a MAVNI recruit
                 awaiting the completion of his background check who came to
                 the United States at the age of 12, did not know he lacked law-
                 ful status until he applied for a driver’s license, and now finds
                 himself alongside “hundreds of others in a race against time to
                 avoid deportation back to now unfamiliar nations”).




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                 time of the study, about 115 of them had been or-
                 dered removed and only 25 had been granted relief or
                 protection from removal. Ibid. Recruits who have
                 not served are likely to receive less favorable treat-
                 ment. Some have already fled the country to avoid
                 deportation to countries where they believe their lives
                 would be in danger. 17
                      C.      Enlistees’ Families Rely on DACA for
                              the Possibility of Parole in Place or
                              Deferred Action.
                    Enlistees’ families also have relied on DACA. In
                 addition to families’ general interest in policies that
                 protect their relatives from deportation—and conse-
                 quently keep families together—DACA grants family
                 members access to additional benefits as well.
                     USCIS offers consideration for parole in place or
                 deferred action to the families of service men and
                 women, with the goal of “[f]acilitating military morale
                 and readiness and supporting DoD recruitment poli-
                 cies.” U.S. Citizenship and Immigration Services,
                 Adjudicator’s Field Manual, Chapter 21.1(c). Parole
                 in place is a one-year period of authorization to stay
                 in the United States, subject to extensions as appro-
                 priate. Id. at Chapter 21.1(c)(1).

                 17 Alex Horton, Foreign-born recruits, promised citizenship by
                 the Pentagon, flee the country to avoid deportation, Washington
                 Post (July 17, 2017), https://www.washingtonpost.com/news
                 /checkpoint/wp/2017/07/17/foreign-born-recruits-promised-
                 citizenship-by-the-pentagon-flee-the-country-to-avoid-
                 deportation/ (telling story of Ranj Rafeeq, an Iraqi Kurd who
                 translated for the U.S. military in 2005 and came to the United
                 States in 2012 hoping to join the Army after earning a graduate
                 degree in civil engineering but who fled to Canada in fear that
                 his path to citizenship would fail and that he would become a
                 target of the Islamic State if deported to Iraq).




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                     Although a grant of parole in place is discretion-
                 ary, the fact that an immediate family member serves
                 in the U.S. military “ordinarily weighs heavily in fa-
                 vor of parole in place,” so that a grant of parole in
                 place is generally appropriate absent a criminal con-
                 viction or other serious adverse factors. Ibid. Parole
                 in place is available only to individuals who are not
                 lawfully admitted to the United States. Ibid. Parol-
                 ees are eligible to apply for work permits during the
                 period of their parole. Ibid.
                    Deferred action for family members of service
                 members is similar to parole in place, but it is availa-
                 ble only to individuals who have been lawfully admit-
                 ted to the United States and have overstayed their
                 authorized period of admission.        Id. at Chapter
                 21.1(c)(2)(A). Deferred action is available in two-year
                 increments and, like parole in place, makes the recip-
                 ient eligible to apply for work permits. Id. at Chapter
                 21.1(c)(2)(C). Deferred action determinations are
                 “case-by-case, discretionary judgments based on the
                 totality of the evidence.” Id. at Chapter 21.1(c)(2)(A).
                    Although being an immediate family member of a
                 MAVNI recruit or other enlistee awaiting basic train-
                 ing is no guarantee of deferred action, it is considered
                 a strong positive factor. Ibid. On the other hand,
                 USCIS may terminate any period of deferred action
                 awarded to the family members of an enlistee await-
                 ing basic training who later becomes disqualified
                 from military service. Ibid.
                     As explained above, DACA’s rescission placed en-
                 listees at risk of becoming disqualified for employ-
                 ment and for participation in MAVNI. In so doing, it
                 also placed family members of enlistees at risk of los-
                 ing their work permits and even of being deported.




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                 This is true not only of family members who are di-
                 rect beneficiaries of DACA, but also of family mem-
                 bers who are beneficiaries of parole in place or of de-
                 ferred action for families of service men and women.
                 As the USCIS Adjudicator’s Field Manual notes, “the
                 family members of such recruits often lose their law-
                 ful statuses because their statuses depend on those of
                 the recruits.” Ibid.
                    Immigrant families have sacrificed for the United
                 States by supporting their relatives in enlisting for
                 military service. They have counted on staying to-
                 gether and earning a living while their relatives were
                 on duty. Whether directly or indirectly, they relied
                 on DACA—and their reliance interests are serious.
                      D.    The U.S. Military Relies on Non-
                            Citizens, Including DACA Recipients,
                            to Protect the American People.
                     The serious consequences of DACA’s rescission ex-
                 tend to the American people, who rely on having a
                 strong, ready military to promote and defend U.S. na-
                 tional interests. Unraveling DACA will negatively
                 affect the military’s ability to recruit and retain high-
                 ly qualified service members, which in turn jeopard-
                 izes the protection of the American people.
                     1. The American people rely on a strong, ready
                 U.S. military to promote and defend U.S. national in-
                 terests. One critical component of a strong military is
                 ensuring that the military is able to recruit and re-
                 tain enough soldiers, sailors, airmen, Marines, and
                 coast guardsmen to meet the myriad of challenges
                 these men and women are asked to tackle every day.
                 As a result, meeting annual accession goals is a criti-
                 cal component of ensuring military readiness.




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                     In recent years, the U.S. military, and by exten-
                 sion its largest branch, the U.S. Army, has
                 “struggl[ed] to find candidates who meet [its] re-
                 quirements.” 18 Because only 30% of potential re-
                 cruits qualify to join the military, in 2017, the U.S.
                 Army Recruiting Command was “forced to lower its
                 recruiting standards in hopes of reaching its goal of
                 80,000 new soldiers.” Ibid. In 2016, 1.6% of Army
                 recruits placed in the bottom third of military exams,
                 ibid.—scores that typically lead the Army to deny en-
                 listment— and only 56% of Army recruits were
                 deemed “high-quality personnel.” Dep’t of Def., Popu-
                 lation Representation in the Military Services: Fiscal
                 Year 2016 Summary Report, at 3, 17. Yet as difficul-
                 ties with military recruitment have risen, Congress
                 has directed the Army to increase its number of ac-
                 tive-duty soldiers. Fanning, Immigration reform: An
                 Army recruitment opportunity (Jan. 8, 2018).
                    DACA recipients do not just add necessary num-
                 bers to the U.S. military; they also bring necessary
                 skills. As a statutory prerequisite to enlistment as
                 non-citizens without green cards, each of the hun-
                 dreds of DACA recipients enlisted in the military
                 must possess “critical skill[s] . . . vital to the national
                 interest.” 10 U.S.C. § 504(b)(2). These and other
                 MAVNI recruits serve an important role in the mili-
                 tary’s ability to protect the American people. As ex-
                 plained by Air Force Maj. Carla Gleason, a Pentagon
                 spokeswoman, “the unique skill sets these individuals
                 bring is one of the reasons the U.S. military is the


                 18 Eric Fanning, Immigration reform: An Army recruitment op-

                 portunity (Jan. 8, 2018), https://thehill.com/opinion/national-
                 security/367839-immigration-reform-an-army-recruitment-
                 opportunity.




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                 world’s premier fighting force.” 19 Former Secretary of
                 the Army Eric Fanning has likewise explained that
                 MAVNI recipients serve an important role in forming
                 “a skilled, diverse military force with high levels of
                 integrity that can adapt to today’s emerging threats.”
                 Fanning, Immigration reform: An Army recruitment
                 opportunity (Jan. 8, 2018). Removing protections for
                 these vital service members and subjecting such ser-
                 vice members to discharge runs counter to American
                 interests in protecting our country.
                     Research and practice have confirmed that non-
                 citizen service members, such as DACA recipients,
                 meet critical needs for the military. As the Center for
                 Naval Analyses (CNA) observed, “noncitizens are []
                 an attractive recruiting resource” because “a substan-
                 tial share of the recruitable U.S. non-citizen popula-
                 tion comes from diverse backgrounds and potentially
                 possesses language and cultural skills that are of
                 strategic interest to the U.S. military.” 20 Recognizing
                 the importance of such language and cultural skills,
                 Former Secretary of the Air Force Deborah Lee
                 James emphasized, “diversity of background, experi-
                 ence, demographics, perspective, thought and even
                 organization are essential to our ultimate success.” 21
                 Former Secretary of the Navy Ray Mabus echoed this

                 19 Lolita Baldor, Problems for Pentagon’s immigrant recruit pro-

                 gram, AP NEWS (Sept. 30, 2018), https://www.apnews.com
                 /84530d3799004a0a8c15b3d11058e030.
                 20 Molly F. McIntosh et al., Non-Citizens in the Enlisted U.S.

                 Military, at 57 (Nov. 2011), available at https://www.cna.org
                 /CNA_files/PDF/D0025768.A2.pdf.
                 21 Memorandum from Deborah Lee James, Secretary of the Air

                 Force, Air Force Diversity & Inclusion (Mar. 4, 2015), available
                 at               https://www.af.mil/Portals/1/documents/SECAF
                 /FINALDiversity_Inclusion_Memo1.pdf.




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                                               23
                 sentiment, explaining “[a] more diverse force is a
                 stronger force.” 22 As succinctly stated by Secretary
                 Fanning, “[o]ur nation’s military is stronger when it
                 reflects the diversity it aims to defend.” Fanning,
                 Immigration reform: An Army recruitment opportuni-
                 ty (Jan. 8, 2018). Today, the military continues to
                 target recruits who are “more diverse linguistically
                 and culturally than citizen recruits . . . [because they
                 are] particularly valuable as the U.S. faces the chal-
                 lenges of the Global War on Terrorism.” 23
                     CNA projects that non-citizens likely will play a
                 crucial role in meeting recruitment goals in coming
                 years, and thus recommends that “the services should
                 develop strategies to recruit non-citizens more effec-
                 tively.” McIntosh et al., Non-Citizens in the Enlisted
                 U.S. Military, at 2 (Nov. 2011). Notably, “non-citizen
                 recruits are significantly and substantially less likely
                 than citizen recruits to attrite in the first term.” Ibid.
                 After three years, “attrition rates for non-citizens are
                 between nine and 20 percentage points lower than
                 those for white citizens, the largest demographic
                 group in the military.” Air Force News, The U.S. Mil-
                 itary Helps Naturalize Non-Citizens (2019). Other
                 analysts have similarly estimated that the attrition
                 rate for non-citizens is more than 10% lower than for



                 22 Chief of Naval Personnel Public Affairs, SECNAV Releases

                 Updated Diversity, Inclusion Policy Statement (Feb. 25, 2016),
                 available at https://www.navy.mil/submit/display.asp?story_id
                 =93282.
                 23 Air Force News, The U.S. Military Helps Naturalize Non-
                 Citizens        (2019),     https://www.military.com/join-armed-
                 forces/eligibility-requirements/the-us-military-helps-naturlize-
                 non-citizens.html.




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                 citizens, “meaning that noncitizens are more likely to
                 serve in the military for extended periods of time.” 24
                     The Department of Defense’s data has reinforced
                 the significance of the American people’s interest in
                 the military’s ability to recruit and retain non-
                 citizens, including DACA recipients. In 2016, the
                 Department of Defense reported that “the majority of
                 non-citizen [non-prior service] accessions are high-
                 quality recruits, with Tier 1 education credentials
                 and an [Armed Forces Qualification Test] score in the
                 top 50 percentiles.” Dep’t of Def., Population Repre-
                 sentation in the Military Services: Fiscal Year 2016
                 Summary Report, at 42. In the Army, the Depart-
                 ment of Defense observed that 4.8% of accessions in
                 2016 were non-citizens, and “[a] higher percentage of
                 non-citizen accessions in the Army were high quality
                 compared to citizen accessions (66 percent versus 54
                 percent).” Id. at 41-42. That same year, hundreds of
                 DACA recipients newly enlisted in the Army. New
                 American Economy, Outside the Wire: How Barring
                 the DACA-Eligible Population from Enlisting Weak-
                 ens our Military (Nov. 8, 2017).
                    The military’s reliance on programs such as DACA
                 to protect the American people is not limited to those
                 DACA recipients who currently serve in the military.
                 Analysts have estimated that the military could tar-
                 get many more DACA recipients to improve military
                 readiness. Of the 45 languages the military has
                 deemed “vital to military success,” the New American
                 Economy estimated that “[m]ore than 169,000 mem-

                 24 Muzaffar Chishti, et al., Immigrants in the Military: Evolving

                 Recruitment Needs Can Accommodate National Security Con-
                 cerns (May 2019), https://www.migrationpolicy.org/sites/default
                 /files/publications/MPI-Noncitizens-Military-Final.pdf.




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                 bers of the DACA-eligible population—or more than
                 one in seven of them—speak one of these languages
                 at home.” Ibid. This organization further concluded
                 that “a substantial portion of the DACA-eligible popu-
                 lation has language or workforce training that could
                 help address the military’s recruitment challenges.”
                 Ibid. The authors thus concluded that “[t]here is a
                 strategic advantage to having [DACA recipients]
                 serve in the military, as they will have cultural and
                 linguistic expertise which could be of critical im-
                 portance.” Ibid.
                     Unraveling of DACA protections will likely dis-
                 suade these many qualified recipients from enlisting
                 in the military due to the lengthy delays in accession
                 and uncertainty surrounding shipment dates, making
                 it difficult for the military to meet its recruiting
                 goals. Upon rescission of DACA, the military is likely
                 to find that a large number of potential high-quality
                 recruits are ineligible for accession or have left the
                 United States. Thus, a policy with the stated goal of
                 improving the country’s national security is likely to
                 undermine that goal by impairing military readiness.
                    2. In addition to recruitment and retention, an-
                 other key component of a strong military is morale.
                 As precedent has shown in other contexts, however,
                 ignoring the reliance interests of DACA recipients
                 could significantly damage the relationship of cur-
                 rently serving DACA recipients to the military, un-
                 dermining their morale and negatively impacting
                 unit cohesion, thus curbing the military’s ability to
                 recruit and retain additional non-citizens and immi-
                 grants unaffected by DACA.
                    For example, history has shown that discrimina-
                 tory policies such as Don’t Ask Don’t Tell (DADT)—




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                 which prohibited military service by openly lesbian,
                 gay, and bisexual people—diminished morale among
                 active and prospective LGB service members. One
                 analysis studying the negative effects of DADT esti-
                 mated that in 2004 alone, “nearly 1,000 active duty
                 LGB soldiers would have been retained if they had
                 been able to serve and be open about their sexual ori-
                 entation.” 25 Even more would have joined but for
                 DADT. See ibid. And evidence suggests that dis-
                 criminatory policies like DADT affected morale and
                 recruitment and retention even among those who
                 were not directly subject to it, such as service mem-
                 bers or prospective service members with LGB rela-
                 tives. 26 Repeal of DADT corrected this: As explained
                 by then-Secretary of Defense Chuck Hagel upon
                 DADT’s repeal, permitting service members to “serve
                 openly, with full honor, integrity, and respect . . .
                 makes our military and our nation stronger.” 27
                   A discriminatory policy like DACA rescission here
                 would likely have the same detrimental effects on

                 25 See, e.g., Gary J. Gates, The Williams Inst., Effects of “Don’t

                 Ask, Don’t Tell” on Retention Among Lesbian, Gay and Bisexual
                 Military        Personnel        (2007),       available      at
                 https://williamsinstitute.law.ucla.edu/wp-content/uploads/Gates-
                 EffectsOfDontAskDontTellOnRetention-Mar-2007.pdf; accord
                 26 See Paul Vincent Courtney, Prohibiting Sexual Orientation

                 Discrimination in Public Accommodations: A Common Law Ap-
                 proach, 163 U. Pa. L. Rev. 1497, 1534 (2014-2015)
                 (“[D]iscrimination harms not only the dignity of the immediate
                 victim of the discriminatory act but also the dignity and auton-
                 omy of those who, fearing such discrimination, feel forced to
                 comply with heterosexual norms.”).
                 27 Dep’t of Def., Remarks by Secretary Hagel at the Lesbian, Gay,

                 Bisexual, Transgender Pride Month Event in the Pentagon Audi-
                 torium (June 25, 2013), http://archive.defense.gov/transcripts
                 /transcript.aspx?transcriptid=5262.




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                 military morale as DADT did. The negative effects of
                 rescission would spread to a broader population of
                 non-citizens, immigrants, and others who simply seek
                 to serve their Nation with honor and dignity, volun-
                 teering to face extreme hardships, endure lengthy
                 deployments and separation from family and friends,
                 and to willingly make the ultimate sacrifice of their
                 lives.
                    Another insidious effect of declining morale and
                 reduced recruitment and retention of non-citizens
                 will be that fewer foreign-born service members will
                 advance to senior-enlisted positions, resulting in a
                 less diverse military leadership to the military’s det-
                 riment. Ongoing concern over diversity in the mili-
                 tary’s leadership recently prompted Congress to es-
                 tablish what became the Military Leadership Diversi-
                 ty Commission (MLDC), an independent body com-
                 prised of current and former military officers, senior
                 enlisted personnel, and civilians. 28 As the MLDC re-
                 ported, “[i]ncluding a broad range of men and women
                 from different backgrounds can increase the likeli-
                 hood that the U.S. military ‘knows the enemy’ and is
                 better able to work with international partners by
                 adding to the cultural and linguistic knowledge base
                 from which U.S. forces may draw.” Id. at 17. 29



                 28 From Representation to Inclusion: Diversity Leadership for the

                 21st-Century    Military,     Final     Report    xvi    (2011),
                 https://www.hsdl.org/?view&did=11390.
                 29 See also Dep’t of Def., Defense Language Transformation
                 Roadmap       3    (Jan.     2005)   https://apps.dtic.mil/dtic/tr/
                 fulltext/u2/b313370.pdf (describing the need for expertise on
                 “less-commonly-taught languages” in order to sustain coalitions,
                 pursue regional stability, and conduct multi-national missions.).




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                     The U.S. military has shared MLDC’s concerns
                 over the importance of diversity to national security.
                 In describing strategies imperative to military readi-
                 ness, Secretary Mabus observed that “[o]rganizations
                 that embrace myriad backgrounds and perspectives
                 will attract the best talent and remain ready” to pro-
                 tect the American people. Chief of Naval Personnel,
                 SECNAV Releases Updated Diversity, Inclusion Poli-
                 cy Statement (Feb. 25, 2016). Secretary Fanning
                 likewise observed that “most importantly, [the U.S.
                 military] need[s] teams of people who think different-
                 ly from one another and yet are joined together in
                 common cause.” 30 He therefore advised that “we
                 must harness the power of diverse teams and draw
                 further from one of America’s greatest advantages:
                 our diverse population.” Ibid. As Secretary James
                 emphasized, “diversity and inclusion are not pro-
                 grams or initiatives; they are national security im-
                 peratives and critical force multipliers.” Secretary
                 James Memorandum (Mar. 4, 2015).
                     A reduction in the number of leaders acting as
                 prominent immigrant role models in the military
                 would create a negative feedback loop, further inhib-
                 iting the military’s ability to recruit and retain future
                 generations of foreign-born service members. But
                 this population is critical for the future health of the
                 U.S. military: Analysts have observed that immi-
                 grants are an important population to recruit in the
                 military because “immigration is projected to be the
                 only source of net growth in the U.S. population

                 30 Eric Fanning, Secretary of the Army: America’s Diversity is

                 Our Army’s Strength (Oct. 1, 2016), available               at
                 https://www.ausa.org/articles/secretary-army-
                 america%E2%80%99s-diversity-our-army%E2%80%99s-
                 strength.




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                 among 18- to 24-year-olds in the coming decades.”
                 McIntosh et al., Non-Citizens in the Enlisted U.S.
                 Military, at 57. The number of potential recruits
                 multiplies when considering children of immigrants.
                 Nearly 1.9 million veterans are children of immi-
                 grants, accounting for 10% of all veterans. Zong &
                 Batalova, Immigrant Veterans in the United States.
                 Thus in coming years, “the segment of the population
                 most likely to enlist[] will come entirely from immi-
                 grants and the children of immigration.” 31
                    Rescinding policies such as DACA—which relin-
                 quish the protections of active and prospective service
                 members based on their country of origin—will im-
                 pede the military’s ability to retain quality service
                 members for years to come. The immediate and fu-
                 ture harms to the composition of the U.S. military
                 adversely affects military readiness and frustrates it
                 from reaching its goals, contrary to the interests of
                 the American people.
                 III. The Government Violated the APA When It
                      Rescinded DACA Without Considering Seri-
                      ous Reliance Interests.
                    Despite the breadth of reliance by DACA recipi-
                 ents, their families, and the military itself, the Duke
                 memorandum contained a single sentence purported-
                 ly explaining the Government’s rationale for chang-
                 ing its existing policy: “Taking into consideration the
                 Supreme Court’s and the Fifth Circuit’s rulings in the
                 ongoing litigation, and the September 4, 2017, letter
                 from the Attorney General, it is clear that the June

                 31 National Immigration Forum, For Love of Country: New
                 Americans Serving in our Armed Forces: Executive Summary
                 (Nov.   7,   2017),  https://immigrationforum.org/article/love-
                 country-new-americans-serving-armed-forces-2/.




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                 15, 2012, DACA program should be terminated.” Re-
                 gents Pet. App. 117a. No other analysis regarding
                 the interests of those relying on the DACA program
                 were provided. In short, the Government did not
                 consider any reliance interests at all.
                     Secretary Nielsen’s memorandum, published more
                 than nine months after the rescission, merely con-
                 sists of post-hoc rationalizations that cannot over-
                 come the inadequacies of the original rescission
                 memorandum. See Burlington Truck Lines, Inc. v.
                 United States, 371 U.S. 156, 168-69 (1962) (agency
                 action may be “upheld, if at all, on the same basis ar-
                 ticulated in the order by the agency itself”) (citing
                 SEC v. Chenery Corp., 332 U.S. 194, 196 (1947)).
                 Even if the Nielsen memorandum were given weight,
                 the D.C. District Court correctly noted that it failed
                 to offer meaningful consideration of “DACA’s benefits
                 to DACA recipients and to society at large.” NAACP
                 Pet. App. 107a. The memorandum conveys only a
                 blanket recognition “that DACA recipients have
                 availed themselves of the policy in continuing their
                 presence in this country and pursuing their lives.”
                 Regents Pet. App. 125a. Nowhere does it consider the
                 indirect beneficiaries of DACA, the sacrifice and ser-
                 vice of currently enlisted DACA recipients and their
                 families, or the serious risks posed to the American
                 public if the military lost access to a significant num-
                 ber of non-citizen recruits.
                    DACA has engendered serious reliance interests
                 for each of these stakeholders. Their interests de-
                 served due consideration by the Government before
                 deciding to rescind that policy.
                    The Government’s bases for rescinding DACA fall
                 far short of the reasoned explanation the APA re-




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                 quires. As in Encino, “[w]hatever potential reasons
                 the Department might have given, the agency in fact
                 gave almost no reasons at all” for rescinding DACA.
                 136 S. Ct. at 2127. “In light of the serious reliance
                 interests at stake, the [Government’s] conclusory
                 statements do not suffice to explain its decision.”
                 Ibid. The Government’s decision to rescind DACA is
                 entitled to no deference and should be held unlawful
                 under the APA.
                                    CONCLUSION
                    For the foregoing reasons, the Supreme Court
                 should affirm the judgments and orders below.

                                              Respectfully submitted.
                PETER E. PERKOWSKI           CHARLES B. KLEIN
                Modern Military              Counsel of Record
                  Association of America     CLAIRE A. FUNDAKOWSKI
                P.O. Box. 65301              Winston & Strawn LLP
                Washington, DC 20035         1700 K Street, N.W.
                peter@modermilitary.org      Washington, DC 20006
                                             (202) 282-5000
                Counsel for Amicus           cklein@winston.com
                Curiae Modern Military
                Association of America       Counsel for Amici Curiae

                HARVEY WEINER
                Peabody & Arnold LLP
                600 Atlantic Avenue
                Boston, MA 02210
                hweiner@peabodyarnold.com

                Counsel for Amicus Curiae Jewish War Veterans of the USA

                OCTOBER 2019




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                          Nos. 18-587, 18-588, and 18-589

                 In the Supreme Court of the United States

                    DEPARTMENT OF HOMELAND SECURITY, ET AL.,
                                                       Petitioners,
                                       V.
                  REGENTS OF THE UNIVERSITY OF CALIFORNIA, ET AL.,
                                                     Respondents.

                               ON WRIT OF CERTIORARI
                       TO THE UNITED STATES COURT OF APPEALS
                               FOR THE NINTH CIRCUIT



                      BRIEF OF THE UNITED STATES
                   CONFERENCE OF CATHOLIC BISHOPS
                  AND OTHER CHRISTIAN ORGANIZATIONS
                      IN SUPPORT OF RESPONDENTS


                                         CHRISTOPHER J. WRIGHT
                                         STEPHEN W. MILLER
                                           Counsel of Record
                                         HARRIS, WILTSHIRE &
                                           GRANNIS LLP
                                         1919 M Street NW, Fl. 8
                                         Washington, DC 20036
                                         (202) 730-1300
                                         smiller@hwglaw.com

                 October 4, 2019         Counsel for Amici Curiae

                     Additional Captions Listed on Inside Cover




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                 DONALD J. TRUMP, PRESIDENT OF THE UNITED STATES,
                                      ET AL.,
                                                       Petitioners,
                                        V.
                  NATIONAL ASSOCIATION FOR THE ADVANCEMENT OF
                             COLORED PEOPLE, ET AL.,
                                                     Respondents.


                      ON WRIT OF CERTIORARI BEFORE JUDGMENT
                       TO THE UNITED STATES COURT OF APPEALS
                       FOR THE DISTRICT OF COLUMBIA CIRCUIT



                     KEVIN K. MCALEENAN, ACTING SECRETARY OF
                            HOMELAND SECURITY, ET AL.,
                                                       Petitioners,
                                       V.
                      MARTIN JONATHAN BATALLA VIDAL, ET AL.,
                                                     Respondents.


                      ON WRIT OF CERTIORARI BEFORE JUDGMENT
                       TO THE UNITED STATES COURT OF APPEALS
                              FOR THE SECOND CIRCUIT




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                    bizjournals.com/washington/news/2019/09/06/
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                   Ending DACA Threatens Children, Families,
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                                                 1

                             STATEMENT OF INTEREST1
                     Amici cvriae are the Association of Catholic
                 Colleges and Universities (ACCU), Catholic Charities
                 USA (CCUSA), Catholic Health Association (CHA),
                 Catholic Legal Immigration Network, Inc. (CLINIC),
                 the Center for Migration Studies (CMS), the Council
                 for Christian Colleges and Universities (CCCU), the
                 United States Conference of Catholic Bishops
                 (USCCB), and World Relief. A full statement of
                 interest for each organization is provided as an
                 Appendix to this brief.
                     Amici have long watched with pride and
                 admiration as recipients of Deferred Action for
                 Childhood Arrivals (DACA) live out their daily lives
                 with hope and a determination to flourish and
                 contribute to society: continuing to work and provide
                 for their families, serve in the military, and receive an
                 education.2 Amici have long supported and defended
                 DACA recipients, a position grounded in its interest
                 in promoting the defense of human dignity in the
                 country’s immigration laws, particularly as applied to
                 youth and families. And this interest is not abstract;
                 indeed, the most recent data from the Catholic Legal


                 1 All parties have provided blanket consent to the filing of amicus

                 curiae briefs. No counsel for any party authored this brief in
                 whole or in part, and no person or entity, other than amici or
                 their counsel, made a monetary contribution intended to fund the
                 preparation or submission of this brief.
                 2 See Irma Becerra, Note to Congress — it’s time to step up and

                 protect DREAMers, Wash. Bus. J. (Sept. 6, 2019), https://www.
                 bizjournals.com/washington/news/2019/09/06/viewpoint-note-to-
                 congress-it-s-time-to-step-up.html. Dr. Becerra is the president
                 of Marymount University, a member of ACCU.




                                                                                       AR5721
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                                                2

                 Immigration Network Surveys indicates that over the
                 last five years:
                        85–90%     of    Catholic    and   community
                         immigration legal programs (“Programs”)
                         offered legal services for DACA renewals or
                         applications, accounting for 7,000–14,000 such
                         submissions per year;
                        41% of Programs conducted at least one DACA
                         renewal info session as community outreach in
                         the last year;
                        DACA applications made up 18–20% of the
                         total caseload for the Programs.
                     Amici are mindful of the effect DACA’s rescission
                 would have on religious education. For example, over
                 seventy leaders of Catholic educational institutions
                 have explained that their schools share a long history
                 of welcoming students from diverse backgrounds and
                 stressed their hope that “the students in our
                 communities who have qualified for DACA are able to
                 continue their studies without interruption and that
                 many more students in their situation will be welcome
                 to contribute their talents to our campuses.”3
                     Rescinding DACA will also have a significant effect
                 on health care provision in this country. For instance,
                 Catholic health care provides more than 15 percent of
                 hospital services in America. As employers of millions
                 of dedicated health care professionals, Catholic health
                 care has seen firsthand how DACA recipients have

                 3  Carol Zimmermann, Catholic College Presidents Pledge
                 Support for Students with DACA Status, Nat’l Catholic Reporter
                 (Dec. 1, 2016), https://www.ncronline.org/news/politics/catholic-
                 college-presidents-pledge-support-students-daca-status.




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                                                3

                 benefitted its organizations and patients as nurses,
                 physicians, aides, dietary workers and facility
                 professionals, and know how much they contribute to
                 their communities and to the economy. An estimated
                 27,000 health care workers and support staff depend
                 on DACA for their authorization to work in the United
                 States. Rescinding DACA will cause them to lose their
                 authorization to work. This will further contribute to
                 the growing shortage of health care professionals in
                 the United States, thereby reducing access to care
                 across the country and the ability of hospitals and
                 other health care facilities to maintain critical staffing
                 levels.
                    Amici are also familiar with and thankful for the
                 contributions that DACA recipients have made to the
                 pastoral mission of the Catholic Church in the United
                 States. Take, for instance, the story of Father Pineda.
                 Fr. Pineda is a DACA recipient from Mexico who has
                 been living in the United States since he was only two
                 years old. While Fr. Pineda was initially told that he
                 could not be ordained due to his unlawful status in the
                 country, creation of the DACA program provided him
                 with both protection and a path to fulfill his calling.
                 Termination would harm Fr. Pineda and other DACA
                 recipients serving our Church and faith. It would also
                 mean parishes and communities across the country
                 would be at risk of losing their trusted spiritual
                 leaders.4



                 4 Julie Zauzmer, ‘If They Come for You, They Come for Me,’ Wash.

                 Post (Jan. 19, 2018), https://www.washingtonpost.com/news/acts
                 -of-faith/wp/2018/01/19/if-they-come-for-you-they-come-for-me-if
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                                                                                    AR5723
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                                            4

                            SUMMARY OF ARGUMENT
                     This brief addresses the second question
                 presented: whether the rescission of DACA was
                 lawful. It concludes that rescinding DACA without
                 considering crucial facts underlying the program—
                 chief among them that rescinding the program would
                 irreparably harm hundreds of thousands of families
                 by placing them at imminent risk of separation—
                 violates the Administrative Procedure Act (APA) and
                 is thus unlawful.
                     Relatedly, this brief also addresses the
                 preliminary injunction affirmed by the Ninth Circuit.
                 Respondents have brought claims, including one
                 grounded in the Equal Protection clause, that have
                 survived motions to dismiss but have not yet been
                 developed. Should the Court decide that the
                 Department of Homeland Security’s (DHS) decision to
                 rescind DACA did not run afoul of the APA, the cases
                 should return to the lower courts for factual
                 development and trial on the merits of the
                 constitutional claims. In the interim, the preliminary
                 injunction currently in place should continue. While
                 this brief does not address the likelihood of success of
                 the Equal Protection argument, the severe and
                 irreparable personal and social harms of family
                 separation weigh heavily in favor of retaining that
                 injunction.




                                                                            AR5724
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                                                5

                                        ARGUMENT5
                    This case has a direct impact on the nearly 700,000
                 current DACA recipients,6 as well as their families
                 and communities. These individuals, who arrived in
                 this country unlawfully through no fault of their own,
                 contribute significantly to the country’s culture and
                 economy.7 The fundamental promise of DACA is that,
                 for individuals like these, the United States
                 Government will deprioritize prying apart their
                 families and forcing them to leave the only country

                 5 To aid the Court’s assessment of the issues presented here,

                 amici limit their arguments to areas in which they have
                 particular knowledge, interest, and expertise. They express no
                 opinion as to, among other arguments, the reviewability
                 question, nor the likelihood of success of the Equal Protection
                 claim.
                 6 U.S. Citizenship and Immigration Services, Approximate
                 DACA Receipts as of June 30, 2019 (2019), https://www.
                 uscis.gov/sites/default/files/USCIS/Resources/Reports%20and%
                 20Studies/Immigration%20Forms%20Data/Static_files/DACA_
                 Population_Receipts_since_Injunction_Jun_30_2019.pdf;       see
                 also Deferred Action for Childhood Arrivals (DACA) Data Tools,
                 Migration Policy Inst. (Aug. 31, 2018), https://www.migration
                 policy.org/programs/data-hub/deferred-action-childhood-arrivals
                 -daca-profiles.
                 7 Overcoming the Odds: The Contributions of DACA-Eligible
                 Immigrants and TPS Holders to the U.S. Economy, New Am.
                 Econ., (June 3, 2019), https://www.newamericaneconomy. org/wp
                 -content/uploads/2019/05/DACA-TPS_Brief.pdf. (“Our analysis
                 of the most recent data finds that the DACA-eligible population
                 earned $23.4 billion in 2017 alone, up from almost $19.9 billion
                 in 2015. And despite rhetoric claiming they are a drain on the
                 economy, 93.3 percent of DACA-eligible individuals were actively
                 employed in 2017 . . . . In 2017, we estimate that DACA-eligible
                 individuals paid more than $2.2 billion in federal taxes,
                 contributions that helped sustain troubled entitlement programs
                 like Social Security and Medicare.”).




                                                                                    AR5725
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                                           6

                 they have known so long as they contribute and follow
                 the rules.
                    As a product of agency action, of course, DACA is
                 subject to being changed by subsequent agency action.
                 But any change, up to and including rescission, must
                 be accomplished lawfully. The APA requires an
                 agency to engage in reasoned decisionmaking,
                 consider the consequences of a change in policy, and
                 explain its decision in a manner that appropriately
                 accounts for the costs as compared to the benefits of
                 the new policy. Here, the only justification provided
                 for rescinding DACA was a new belief that the
                 program was unlawful. DHS failed utterly to consider
                 and address the drastic consequences of rescission—
                 among them the mass-scale separation of families.
                 This failure to consider the facts underlaying the
                 program violates the APA, and therefore the
                 rescission is unlawful.
                    Should the Court agree with Petitioners and find
                 that the rescission did not violate the APA,
                 Respondents have brought various other claims
                 regarding the illegality of rescission. Due to the
                 accelerated nature of this case before the Court,
                 however, the lower courts have not had the
                 opportunity to develop these claims, including a
                 constitutional challenge. The Court should not disturb
                 the preliminary injunction while these claims remain
                 outstanding. Permitting families to be torn apart
                 while these claims progress through the lower courts
                 is precisely the kind of irreparable harm a
                 preliminary injunction is designed to prevent.
                 Moreover, a future victory by Respondents would be
                 pyrrhic if any of the DACA recipients would have by
                 then been deported and separated from their families.




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                 Maintaining the status quo is in the public interest
                 and works no harm to Petitioners who, under the
                 injunction, remain free to make individualized
                 enforcement decisions against recipients.

                 I.   THE DECISION TO RESCIND DACA IS
                      ARBITRARY AND CAPRICIOUS BECAUSE
                      DHS FAILED TO CONSIDER THE SEVERE
                      INDIVIDUAL AND SOCIAL HARM OF
                      FAMILY SEPARATION.
                     To comply with the Administrative Procedure Act,
                 5 U.S.C. §§ 551–559, before taking action an agency
                 must first “examine the relevant data and articulate
                 a satisfactory explanation for its action.” FCC v. Fox
                 Television Stations, Inc., 556 U.S. 502, 513 (2009)
                 (citation omitted); 5 U.S.C. § 706(2)(A) (courts “shall”
                 set aside agency action that is “not in accordance with
                 law”). The basis for its action must be “set forth with
                 such clarity as to be understandable.” Sec. and Exch.
                 Comm’n v. Chenery Corp., 332 U.S. 194, 196 (1947).
                 The standard is the same for “blank slate” agency
                 action as it is for changes in prior policy. Encino
                 Motorcars, LLC v. Navarro, 136 S. Ct. 2117, 2125
                 (2016) (“Agencies are free to change their existing
                 policies as long as they provide a reasoned
                 explanation for the change.”); Nat’l Cable &
                 Telecomms. Ass’n v. Brand X Internet Servs., 545 U.S.
                 967, 981 (2005) (“For if the agency adequately
                 explains the reasons for a reversal of policy, change is
                 not invalidating, since the whole point of Chevron is
                 to leave the discretion provided by the ambiguities of
                 a statute with the implementing agency.” (internal
                 quotation marks and citation omitted)).




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                                            8

                     Importantly, however, when an agency changes a
                 prior policy, particularly one that has “engendered
                 serious reliance interests,” Fox Television Stations,
                 556 U.S. at 515 (citing Smiley v. Citibank (South
                 Dakota), N.A., 517 U.S. 735, 742 (1996)), “a reasoned
                 explanation is needed for disregarding facts and
                 circumstances that underlay or were engendered by
                 the prior policy,” id. at 516. Agency action without
                 adequate explanation is arbitrary and capricious, and
                 therefore unlawful.
                    The agency explanation for DACA’s rescission is
                 exceptionally brief and bare. The reasoning section in
                 the September 5, 2017 memorandum from Acting
                 Secretary of the Department of Homeland Security,
                 Elaine Duke, supplying the justification for rescinding
                 DACA, states:
                    Taking into consideration the Supreme Court’s
                    and the Fifth Circuit’s rulings in the ongoing
                    litigation, and the September 4, 2017 letter
                    from the Attorney General, it is clear that the
                    June 15, 2012 DACA program should be
                    terminated. In the exercise of my authority in
                    establishing national immigration policies and
                    priorities . . . I hereby rescind the June 15, 2012
                    memorandum. Regents Pet. App. 116a–117a.
                    Thus, the reason actually given for ending the
                 program was DACA’s purported illegality. The
                 memorandum did not acknowledge, let alone weigh,
                 the profound reliance interests and the devastating
                 consequences of the rescission on hundreds of
                 thousands of DACA recipients and the countless other
                 stakeholders who have come to rely on the program.




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                    This fundamental failure by DHS to engage in
                 reasoned decisionmaking, and the paucity of its
                 explanation for its change of position, run afoul of the
                 APA. Similar to Encino Motorcars, here, DHS “gave
                 almost no reasons at all” for its decision. 136 S. Ct. at
                 2127. The Court there continued, holding that given
                 “the serious reliance interests at stake, the
                 Department’s conclusory statements do not suffice to
                 explain its decision. This lack of reasoned explication
                 for a regulation that is inconsistent with the
                 Department’s longstanding earlier position results in
                 a rule that cannot carry the force of law.” Id. (citing
                 Fox Television Stations, 556 U.S. at 515–516). The
                 same is true here.
                    Making the failure more egregious is the
                 substantial body of ignored and widely available
                 evidence dealing with the serious harms of rescission
                 to DACA recipients, their families, and their
                 communities. Families are the building blocks of
                 American society,8 and the “integrity of the family
                 unit has found protection in” our founding document,
                 the Constitution itself. Stanley v. Illinois, 405 U.S.
                 645, 651 (1972). Federal legislation, such as the
                 Family and Medical Leave Act, designed to promote
                 “the stability and economic security of families,” 29
                 U.S.C. § 2601(b)(1), underscores this reality. And
                 federal immigration law has long underscored the

                 8 See, e.g., John DeFrain et al., Why are Families So Important?,

                 NebGuide (Sept. 23, 2008), http://extensionpubs.unl.edu/
                 publication/9000016366318/creating-a-strong-family/
                 (“Families, in all the diverse patterns, sizes, creeds, and colors
                 they come in, are, indeed, the heart and soul of human society.”);
                 Pope John Paul II, Familiaris Consortio 42 (1981) (“The family
                 has vital organic links with society, since it is its foundation and
                 nourishes it continually.”).




                                                                                        AR5729
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                 “intention . . . regarding the preservation of the family
                 unit.” H.R. Rep. No. 101-723(I), at 40 (1990), reprinted
                 in 1990 U.S.C.C.A.N. 6710, 6717 (referring to “family
                 reunification” as “the cornerstone of U.S. immigration
                 policy”); S. Rep. No. 89-748, at 13 (1965), reprinted in
                 1965      U.S.C.C.A.N.      3328,    3332    (describing
                 “[r]eunification of families” as “the foremost
                 consideration”).9 Inflicting harm on families ripples
                 out to all areas of society, as explained below.
                     The devastating impacts on families of harsh
                 immigration enforcement have been documented by
                 the Applied Research Center in its report, Shattered
                 Families: The Perilous Intersection of Immigration
                 Enforcement and the Child Welfare System.10 Most
                 DACA recipients have a mixed-status family
                 situation, where the loss of deferred action threatens
                 to tear families apart. Studies show that 20% of DACA
                 recipients are married,11 25% are parents of US-
                 citizen children, 12 and 70% have family members who


                 9 See also Msgr. Agostino Marchetto, Address in Brussels,
                 Belgium, The Holy See (July 10, 2007), http://www. vatican. va/
                 roman_curia/secretariat_state/2007/documents/rc_seg-st_20070
                 710_migrazione-sviluppo_en.html. (immigrants “are even more
                 in need of their own family, since for those who are far from home
                 family support is indispensable”).
                 10 Seth Freed Wessler, Shattered Families: The Perilous
                 Intersection of Immigration Enforcement and the Child Welfare
                 System, Applied Research Ctr. (Nov. 2, 2011), https:// www. race
                 forward.org/research/reports/shattered-families?arc=1.
                 11 U.S. Citizenship and Immigration Services, supra note 6.

                 12Omolara T. Uwemedimo et al., A Dream Deferred: Ending
                 DACA Threatens Children, Families, and Communities, 140
                 Pediatrics 1 (Dec. 2017), https://pediatrics.aappublications.org/
                 content/pediatrics/140/6/e20173089.full.pdf.




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                 are US citizens.13 A 2018 report from the Kaiser
                 Family Foundation, which interviewed families “that
                 recently [i.e., since the beginning of 2017] had a family
                 member detained or deported,” along with legal
                 service providers, found that “nearly all respondents
                 appeared to be experiencing symptoms of depression,
                 with the majority having a positive score on the
                 clinical depression-screening tool. . . . Several said
                 that chronic conditions like diabetes and hypertension
                 have gotten worse . . . .”14 And while perhaps obvious,
                 these studies also show that “parents’ unauthorized
                 status creates stress for children that can threaten
                 their health, development, and general well-being.”15
                    Indeed, there is significant literature dealing with
                 the unique and trying experiences and needs of
                 separated children and their families. One study from
                 the Center on the Developing Child at Harvard
                 University shows that “persistent stress can change
                 the brain architecture by damaging neurons in the
                 prefrontal cortex and hippo-campus. These are
                 centers of executive function and short-term memory
                 and regulate thoughts, emotions, and actions.”16
                 Another recent study shows that children separated

                 13 Id.

                 14 Samantha Artiga and Barbara Lyons, Family Consequences of

                 Detention/Deportation: Effects on Finances, Health, and Well-
                 Being, Kaiser Family Found., 1–2 (Sept. 18, 2018), https:// www.
                 kff.org/disparities-policy/issue-brief/family-consequences-of-
                 detention-deportation-effects-on-finances-health-and-well-
                 being/.
                 15 Uwemedimo, supra note 12, at 2.

                 16 See Shruti Simha, The Impact of Family Separation on
                 Immigrant and Refugee Families 80 N.C. MEDICAL J. 95 (2019),
                 http:// www. ncmedicaljournal.com/content/80/2/95.full.




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                 from family members following immigration
                 enforcement had “increased mental health issues and
                 behavioral changes that . . . will have long-term
                 negative impacts on their health.”17
                    The trauma of separation has both short- and long-
                 term consequences. In the short term, children
                 experiencing trauma often have problems dealing
                 with such basic functions as sleeping, toileting, and
                 eating.18 They also often have issues with “temper
                 tantrums, detachment, anxiety, aggression, or
                 heightened response to situations.”19 In the long-term,
                 trauma affects “development and learning in young
                 children, cause[s] limitations of working memory,
                 disrupt[s] organizational skills, and affect[s] IQ.”20
                 “Children exposed to toxic stress have higher chances
                 of adopting health risk behaviors in the future,
                 leading to disease, disability, and social problems.”21
                 And the impact of trauma can be “compounded and
                 that children can experience the effects of trauma
                 long-term, across various domains in their lives
                 (education,     physical  health,    mental     health,
                 relationally, etc.).”22



                 17 Artiga and Lyons, supra note 14, at 2.

                 18 Id.

                 19 Simha, supra note 16.

                 20 Id.

                 21 Id.

                 22 Ashley Feasley et al., Serving Separated and Reunited
                 Families: Lessons Learned and the Way Forward to Promote
                 Family Unity, U.S. Conference of Catholic Bishops/Migration
                 and Refugee Services and Lutheran Immigration and Refugee
                 Serv., (Oct. 2018), https://justiceforimmigrants.org/wp-content/
                 uploads/2018/10/Serving-Separated-and-Reunited-Families_




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                     By ignoring these harms when changing its policy,
                 DHS’s action was arbitrary and capricious in violation
                 of the APA. DACA’s rescission is unlawful.

                II.   DISTURBING    THE    PRELIMINARY
                      INJUNCTION BEFORE THE COMPLETION
                      OF LITIGATION WOULD INEQUITABLY
                      CAUSE IRREPARABLE HARM TO DACA
                      RECIPIENTS AND THEIR FAMILIES AND
                      HARM THE PUBLIC INTEREST.
                     To obtain a preliminary injunction, a court must
                 find that the plaintiff “is likely to succeed on the
                 merits, that he is likely to suffer irreparable harm in
                 the absence of preliminary relief, that the balance of
                 equities tips in his favor, and that an injunction is in
                 the public interest.” Winter v. Nat’l Res. Def. Council,
                 Inc., 555 U.S. 7, 20 (2008). Courts “must balance the
                 competing claims of injury and must consider the
                 effect on each party of the granting or withholding of
                 the requested relief.” Amoco Prod. Co. v. Village of
                 Gambell, 480 U.S. 531, 542 (1987). In “exercising their
                 sound discretion, courts of equity should pay

                 Final-Report-10.16.18-updated-2.pdf uploads/2018/10/Serving-
                 Separated-and-Reunited-Families_Final-Report-10.16.18-
                 updated-2.pdf; see also Colleen Kraft, AAP Statement Opposing
                 Separation of Children and Parents at the Border, Am. Acad. of
                 Pediatrics (May 8, 2018), https://www.aap.org/en-us/about-the-
                 aap/aap-press-room/Pages/StatementOpposingSeparationof
                 ChildrenandParents.aspx (“Separating children from their
                 parents contradicts everything we stand for as pediatricians –
                 protecting and promoting children’s health. In fact, highly
                 stressful experiences, like family separation, can cause
                 irreparable harm, disrupting a child's brain architecture and
                 affecting his or her short- and long-term health. This type of
                 prolonged exposure to serious stress - known as toxic stress - can
                 carry lifelong consequences for children.”).




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                 particular regard for the public consequences in
                 employing the extraordinary remedy of injunction.”
                 Weinberger v. Romero–Barcelo, 456 U.S. 305, 312
                 (1982); see also R.R. Comm’n of Tex. v. Pullman Co.,
                 312 U.S. 496, 500 (1941). And the Court may affirm a
                 preliminary injunction on any basis supported by the
                 record. See, e.g., Upper Skagit Indian Tribe v.
                 Lundgren, 138 S. Ct. 1649, 1654 (2018) (“[W]e have
                 discretion to affirm on any ground supported by the
                 law and the record that will not expand the relief
                 granted below . . . .”).
                     Here, the Ninth Circuit affirmed the nationwide
                 preliminary injunction temporarily halting the
                 rescission of DACA that the district court entered
                 upon finding Respondents were likely to succeed on
                 their APA argument.23 The Court here, presumably,
                 will rule that DACA was unlawfully rescinded on APA
                 grounds, that the rescission is not reviewable under
                 the APA, or that DHS complied with the APA. Under
                 either of the latter two scenarios, however,
                 Respondents’ non-APA claims should survive, as they
                 are distinct from the present case. See Fox Television
                 Stations, 556 U.S. at 516 (“If the Commission’s action
                 here was not arbitrary or capricious in the ordinary
                 sense, it satisfies the Administrative Procedure Act’s
                 ‘arbitrary [or] capricious’ standard; its lawfulness
                 under the Constitution is a separate question to be


                 23 The Ninth Circuit panel separately noted that Respondents’

                 “likelihood of success on [their] equal protection claim is a
                 second, alternative ground for affirming the entry of the
                 injunction.” Regents of the Univ. of Cal. v. U.S. Dep't of Homeland
                 Sec., 908 F.3d 476, 520 n. 31 (9th Cir. 2018), cert. granted sub
                 nom. Dep’t of Homeland Sec. v. Regents of the Univ. of Cal., 139
                 S. Ct. 2779 (2019).




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                 addressed in a constitutional challenge.” (footnote
                 omitted)).
                     While amici do not address at this time the
                 likelihood of success of Respondents’ Equal Protection
                 argument, the remaining factors weigh sufficiently in
                 Respondents’ favor that the Court should continue the
                 preliminary injunction during the pendency of the
                 outstanding constitutional claims. Indeed, in the
                 lower courts the Government did not dispute that the
                 likelihood of irreparable harm, the balance of
                 hardships, and the public interest weigh in favor of
                 Respondents. In light of the irreparable harms
                 described above that will result from DACA’s
                 rescission, see supra pp. 9–13, the public interest in
                 maintaining the status quo while the remaining
                 claims are litigated is high, and the Government has
                 not taken the position that its interests will be
                 harmed in any meaningful way. Indeed, the
                 injunction affirmed by the Ninth Circuit does not limit
                 the Government’s ability to remove a DACA
                 participant who “poses a risk to national security or
                 public safety, or otherwise deserves, in its judgment,
                 to be removed.” Regents Pet. App. 67a.
                    As the Court has observed, “[i]f the underlying
                 constitutional question is close, therefore, we should
                 uphold the injunction and remand for trial on the
                 merits.” Ashcroft v. Am. Civil Liberties Union, 542
                 U.S. 656, 664–65 (2004). That should be the result
                 here if Petitioners succeed on the merits of their APA
                 argument.




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                                            *   *    *
                    The Court should not countenance DHS’s
                 disregard for the harm to DACA recipients and their
                 families,24 which renders the rescission of DACA
                 arbitrary and capricious and therefore unlawful. The
                 Court should be mindful now—as DHS failed to be
                 when it rescinded the program—of the harm
                 threatened and on whom it will be inflicted:
                 individuals who faultlessly arrived in this country as
                 children, came forward voluntarily, paid a fee,
                 submitted to a rigorous application process, bettered
                 themselves through education or military service, and
                 worked and paid taxes on any wages they earned; the
                 families from which they will be separated; and the
                 social fabric into which those families are deeply
                 woven. Disregarding so grave a harm would be, in

                 24 Statement from USCCB President Cardinal Daniel N.

                 DiNardo of Galveston-Houston, along with USCCB Vice
                 President, Archbishop José H. Gomez of Los Angeles, Bishop Joe
                 S. Vásquez of Austin, chairman, Committee on Migration, and
                 Bishop Joseph J. Tyson of Yakima, chairman of the
                 Subcommittee on Pastoral Care of Migrants, Refugees, and
                 Travelers, U.S. Conference of Catholic Bishops (Sept. 5, 2017),
                 http://www.usccb.org/news/2017/17-157.cfm (“The cancellation
                 of the DACA program is reprehensible. It causes unnecessary
                 fear for DACA youth and their families. . . . The Church has
                 recognized and proclaimed the need to welcome young people:
                 ‘Whoever welcomes one of these children in my name welcomes
                 me; and whoever welcomes me does not welcome me but the one
                 who sent me’ (Mark 9:37). Today, our nation has done the
                 opposite of how Scripture calls us to respond. It is a step back
                 from the progress that we need to make as a country. Today's
                 actions represent a heartbreaking moment in our history that
                 shows the absence of mercy and good will, and a short-sighted
                 vision for the future. DACA youth are woven into the fabric of
                 our country and of our Church, and are, by every social and
                 human measure, American youth.”).




                                                                                    AR5736
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                 amici’s estimation, not only unlawful, but inhumane,
                 inequitable, and contrary to the dignity of the human
                 person and to the common good. 25
                                       CONCLUSION
                    The judgments of the Ninth Circuit and the
                 District Court for the District of Columbia, as well as
                 the orders of the Eastern District of New York, should
                 be affirmed.

                                                Respectfully submitted,

                                                Christopher J. Wright
                                                Stephen W. Miller
                                                  Counsel of Record
                                                HARRIS, WILTSHIRE &
                                                GRANNIS LLP
                                                1919 M Street NW, Fl. 8
                                                Washington, DC 20036
                                                (202) 730-1300
                                                smiller@hwglaw.com
                                                Counsel for Amici Curiae


                 25 Quotes from Church Teachings on the Rights of Migrants and

                 Refugees, U.S. Conference of Catholic Bishops, http:// www.
                 usccb.org/issues-and-action/human-life-and-dignity/migrants-
                 refugees-and-travelers/quotes-rights-migrants-refugees.cfm
                 (“The reality is that our current system is immoral. While many
                 may condemn the presence of the undocumented in our land, we
                 willingly accept their hard labor, their contributions to our
                 economy, and their cultural and religious spirit which enriches
                 our local communities. While we accept these contributions, we
                 do so at the expense of the human beings who come here not to
                 harm us but to help us. They are often ridiculed, exploited, and
                 abused. This must stop, and this immoral system must be
                 changed.”).




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                                           1a

                              LIST OF AMICI CURIAE
                     The Association of Catholic Colleges and
                 Universities (ACCU), founded in 1899, serves as the
                 collective voice of U.S. Catholic higher education.
                 Through programs and services, the association
                 strengthens and promotes the Catholic identity and
                 mission of its member institutions so that all
                 associated with Catholic higher education can
                 contribute to the greater good of the world and the
                 Church.
                     Catholic Charities USA (CCUSA) is a national
                 membership organization representing more than 167
                 diocesan Catholic Charities member agencies. These
                 member agencies operate more than 2,600 service
                 locations across the 50 states, the District of
                 Columbia, and five U.S. territories. Their diverse
                 array of social services reached more than 10 million
                 individuals in need last year. These services include
                 immigration and refugee services. In 2017, nearly 100
                 Catholic Charities agencies served over 25,000
                 immigrants and refugees through 217 programs. Our
                 Catholic heritage includes a scriptural call to provide
                 hospitality to newcomers as if welcoming Christ
                 Himself. The Catholic Church, like our nation as a
                 whole, finds its identity and roots in various
                 immigrant communities. We affirm the inherent
                 dignity bestowed by God on every human person,
                 including immigrants and refugees, no matter the
                 circumstances that compel a person to begin a new life
                 in our community.
                    The Catholic Health Association of the United
                 States (CHA) is the national leadership organization
                 of the Catholic health ministry, representing the
                 largest not-for-profit provider of health care services




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                 in the nation. The Catholic health ministry includes
                 more than 2,300 hospitals, nursing homes, long-term
                 care facilities, health care systems, sponsors, and
                 related organizations serving the full continuum of
                 health care across our nation. CHA’s Vision for U.S.
                 Health Care calls for health care to be available,
                 affordable and accessible to everyone, regardless of
                 immigration status and paying special attention to
                 poor and vulnerable individuals. CHA works to
                 advance the Catholic ministry’s commitment to a just,
                 compassionate health care system that protects life
                 from conception to natural death.
                     As an organization guided by the social teachings
                 of the Catholic Church, CHA affirms that each person
                 is created in the image of God, and that each human
                 life is sacred and possesses inalienable worth. While
                 we call on our fellow Americans to respect that dignity
                 within every single immigrant, we also should be
                 particularly mindful of those who were brought to this
                 country as children and have known no other home.
                 They have become a part of the fabric of our nation,
                 and deserve our support and respect.
                    The Catholic Legal Immigration Network,
                 Inc. (“CLINIC”), a national religious organization
                 created in 1988 by the United States Conference of
                 Catholic Bishops, embraces the Gospel value of
                 welcoming the stranger and promotes the dignity and
                 protects the rights of immigrants in partnership with
                 a dedicated network of Catholic and community legal
                 immigration programs. CLINIC’s network includes
                 over 380 faith and community-based immigration
                 legal programs in more than 400 cities, and employs
                 over 2,300 legal representatives, including attorneys,
                 Department of Justice-accredited representatives and




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                 paralegals who serve hundreds of thousands of
                 citizens and immigrants each year. CLINIC has a
                 substantial interest in the Court’s resolution of this
                 case because the issues this Court will decide have a
                 direct impact on the work of CLINIC’s network and
                 the immigrants it serves. Within CLINIC’s network,
                 the majority of legal immigration programs provide
                 DACA and related immigration services and have
                 seen the positive benefits of this program on their
                 clients. Further, for many of the programs, DACA
                 services represent a significant amount of program
                 revenue. Consequently, CLINIC has a substantial
                 interest in ensuring that DACA recipients are able to
                 safely remain with their families, in their schools and
                 communities, and employed.
                     The Center for Migration Studies of New
                 York (CMS) is a think tank and an educational
                 institute devoted to the study of international
                 migration, to the promotion of understanding between
                 immigrants and receiving communities, and to public
                 policies that safeguard the dignity and rights of
                 migrants, refugees and newcomers. CMS was
                 established in 1964 by the Congregation of the
                 Missionaries of St. Charles, Scalabrinians, a
                 community of Catholic priests, nuns and lay people
                 dedicated to serving migrants and refugees
                 throughout the world. CMS produces rigorous,
                 evidence-based research and public policy ideas. CMS
                 conducted a nationwide study on implementation of
                 the Deferred Action for Childhood Arrivals (DACA)
                 program, produced an extensive profile and estimates
                 of those eligible for DACA, and has offered technical
                 support to organizations seeking to serve DACA
                 beneficiaries.     CMS’s     study     on    DACA’s
                 implementation found that community-based and




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                                            4a

                 non-governmental         organizations      successfully
                 expanded their capacity to meet the increased
                 demand for their services by DACA applicants. CMS’s
                 estimates show that the DACA-eligible population
                 has deep and longstanding ties the United States.
                 CMS estimates indicate that 85 percent of the DACA-
                 eligible have lived in the country for 10 years or more,
                 89 percent of those in the labor force are employed, 93
                 percent have at least a high school degree, and 91
                 percent speak English well, very well, or exclusively.
                 Other studies have shown that DACA allowed
                 thousands of undocumented immigrants to pursue
                 higher education, better-paying jobs, careers on par
                 with their fields of study, and homeownership.
                    CMS’s research points to individuals who are
                 American in every aspect, except on paper. It believes
                 that DACA recipients have become part of the
                 American fabric, and that allowing them to remain in
                 status will significantly benefit our nation.
                    The Council for Christian Colleges &
                 Universities (CCCU) is a higher education
                 association of more than 180 Christian institutions
                 around the world, including more than 150 in the U.S.
                 and Canada and more than 30 from an additional 18
                 countries. The CCCU’s mission is to advance the
                 cause of Christ-centered higher education and to help
                 our institutions transform lives by faithfully relating
                 scholarship and service to biblical truth.
                    The United States Conference of Catholic
                 Bishops (USCCB) is a nonprofit corporation, the
                 members of which are the active Catholic Bishops in
                 the United States. The Conference advocates and
                 promotes the pastoral teachings of the U.S. Catholic
                 Bishops in such diverse areas of the nation’s life as the




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                 free expression of ideas, the rights of religious
                 organizations and their adherents, fair employment
                 and equal opportunity for the underprivileged,
                 protection of the rights of parents and children, the
                 value of human life from conception to natural death,
                 and care for immigrants and refugees. It is the
                 position of the Catholic Church that pastoral,
                 educational, medical, and social services provided by
                 the Church are never conditioned on legal status—all
                 persons are invited to participate in our parishes,
                 attend our schools, and receive other services offered
                 by our institutions and programs.26 When lawsuits
                 have touched upon central Roman Catholic tenets like
                 these, the Conference has filed amicus curiae briefs to
                 make its view clear, particularly in this Court.
                     World Relief is the international relief and
                 development arm of the National Association of
                 Evangelicals. Based in Baltimore, Maryland World
                 Relief stands with the vulnerable and partners with
                 local churches to end the cycle of suffering, transform
                 lives and build sustainable communities. With over 70
                 years of experience, World Relief works in 20
                 countries worldwide through disaster response,
                 health and child development, economic development
                 and peacebuilding and has 23 offices in the United
                 States that specialize in refugee and immigration
                 services. In 15 offices across the country World Relief
                 provides immigration legal services, including
                 representation to asylum seekers, and technical legal

                 26 Catholic Social Teaching on Immigration and the Movement of

                 Peoples, U.S. Conference of Catholic Bishops, http:// www. usccb
                 .org/issues-and-action/human-life-and-dignity/immigration
                 /catholic-teaching-on-immigration-and-the-movement-of-
                 peoples.cfm.




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                 support to more than 40 churches recognized by the
                 Department of Justice.




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                              Nos. 18-587, 18-588, 18-589
                                          IN THE
                    Supreme Court of the United States
                               ____________________
                    DEPARTMENT OF HOMELAND SECURITY, ET AL.,
                                              Petitioners,
                                        v.
                  REGENTS OF THE UNIVERSITY OF CALIFORNIA, ET AL.,
                                               Respondents.
                               ____________________
                          On Writ of Certiorari to the
                        United States Court of Appeals
                              for the Ninth Circuit
                               ____________________
                    BRIEF OF AMICI CURIAE 109 CITIES,
                  COUNTIES, MUNICIPALITIES, AND LOCAL
                 GOVERNMENT ADVOCACY ORGANIZATIONS
                      IN SUPPORT OF RESPONDENTS
                            ____________________
                 MICHAEL N. FEUER             MARGARET L. CARTER
                  City Attorney               DANIEL R. SUVOR
                 JAMES P. CLARK               DIMITRI D. PORTNOI
                 VALERIE L. FLORES            DANIEL J. TULLY
                 DANIELLE GOLDSTEIN           O’MELVENY & MYERS LLP
                 MICHAEL DUNDAS               400 South Hope Street
                  Counsel of Record           18th Floor
                 200 N. Main Street           Los Angeles, CA 90071
                 Los Angeles, CA 90012        (213) 430-6000
                 (213) 978-8100
                 mike.dundas@lacity.org

                 Counsel for Amicus Curiae Counsel for Amicus Curiae
                 City of Los Angeles, Calif.  County of Los Angeles, Calif.
                        [Additional Captions Listed On Inside Cover]




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                 DONALD J. TRUMP, PRESIDENT OF THE UNITED STATES,
                                      ET AL.,
                                              Petitioners,
                                        v.
                  NATIONAL ASSOCIATION FOR THE ADVANCEMENT OF
                              COLORED PEOPLE, ET AL.,
                                               Respondents.
                               ____________________
                  On Writ of Certiorari Before Judgment to the
                         United States Court of Appeals
                      for the District of Columbia Circuit
                               ____________________

                    KEVIN K. MCALEENAN, ACTING SECRETARY OF
                           HOMELAND SECURITY, ET AL.,
                                              Petitioners,
                                        v.
                     MARTIN JONATHAN BATALLA VIDAL, ET AL.,
                                               Respondents.
                               ____________________
                  On Writ of Certiorari Before Judgment to the
                        United States Court of Appeals
                              for the Second Circuit
                               ____________________




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                                          i
                            QUESTIONS PRESENTED
                    In 2012, the Secretary of Homeland Security an-
                 nounced a policy that would provide a temporary
                 forbearance of removal for certain undocumented
                 immigrants who unwittingly entered the United
                 States as children. Known as Deferred Action for
                 Childhood Arrivals (DACA), the program allows such
                 noncitizens to receive a renewable two-year term of
                 deferred action—a form of prosecutorial discretion
                 whereby the government declines to pursue remov-
                 al—if they have no criminal record and satisfy vari-
                 ous educational or military service requirements.
                 Under longstanding federal regulations, any person
                 subject to deferred action, including DACA recipi-
                 ents, may apply for government work authorization.
                 In the seven years since DACA was implemented,
                 more than 800,000 young people throughout the
                 country have applied for and received deferred ac-
                 tion. In September 2017, the Department of Home-
                 land Security (DHS) announced that it would rescind
                 DACA because it believed the program was unlawful
                 and would likely be struck down by the courts.
                    The questions presented are:
                    1. Whether DHS’s decision to rescind DACA is
                 judicially reviewable.
                    2. Whether DHS’s decision to rescind DACA is
                 unlawful.




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                             STATEMENT OF INTEREST1
                     Amici Curiae are 109 cities, towns, counties, and
                 municipal organizations.2 Amici come from every
                 corner of the country: from rural farming communi-
                 ties to industrial cities to large, urban metropolises.
                 Amici represent a broad, bi-partisan cross-section of
                 American cities and counties with a wide spectrum
                 of economic, political, and cultural perspectives.
                 They include the most populous and diverse cities
                 and counties in the United States, as well as juris-
                 dictions of more modest size. Individuals of every
                 race, ethnicity, culture, and creed call amici home.



                     1 The parties have consented in writing to the filing of this

                 brief, and their letters of consent have been filed with the
                 Clerk. See Sup. Ct. R. 37.3(a). No party’s counsel authored
                 this brief in whole or in part, and no person or entity other than
                 amici or their counsel made a monetary contribution intended
                 to fund the preparation or submission of this brief. See Sup. Ct.
                 R. 37.6.
                     2 A complete list of amici is provided as Appendix A.    Ami-
                 ci include four non-partisan advocacy organizations charged
                 with representing the interests of the nation’s cities, towns, and
                 villages. The National League of Cities advocates for 19,000
                 cities, towns, and villages, representing more than 218 million
                 Americans. The United States Conference of Mayors repre-
                 sents the country’s 1,408 cities with populations of over 30,000.
                 The International Municipal Lawyers Association is a profes-
                 sional organization consisting of more than 2,500 local govern-
                 ment member entities represented by their chief legal officers,
                 state municipal leagues, and individual attorneys. The Inter-
                 national City/County Management Association is an associa-
                 tion of 12,000 city, town, and county managers who oversee the
                 daily operations of the local governments they serve.




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                                              2
                    Though important differences exist between
                 them, amici share a common interest in building
                 communities where all residents, regardless of im-
                 migration status, feel safe and empowered to partic-
                 ipate in civic life. At their core, local governments
                 exist to provide for the health (e.g., public hospitals),
                 safety (e.g., police departments and county sheriffs),
                 and welfare (e.g., social services agencies) of their
                 residents. The Deferred Action for Childhood Arri-
                 vals (DACA) program directly benefits the health,
                 safety and welfare of all of our residents, by encour-
                 aging DACA recipients to openly participate in their
                 communities and interact with local government
                 without fear.
                     Before the program was instituted, many DACA
                 recipients feared the basic tasks of everyday life, like
                 going to work, attending school and church, or simp-
                 ly buying groceries. Many recipients with American
                 citizen children3 stuck Post-it notes to their refriger-
                 ators before they left for the day, instructing their
                 children whom to call in case “Mom and Dad” did not
                 come home. These fears are precisely why DACA
                 was created: to both focus limited immigration en-
                 forcement resources on the removal of serious crimi-
                 nals and to enable young people to contribute to
                 their communities.


                    3 A 2017 study by the Center for American Progress found

                 that 25% of DACA recipients have at least one child who is an
                 American citizen. Tom K. Wong et al., DACA Recipients’ Eco-
                 nomic and Educational Gains Continue to Grow, Ctr. for Am.
                 Progress (Aug. 28, 2017), https://perma.cc/JT3D-6TVR.




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                                               3
                     Amici will suffer substantial harm if DACA is
                 terminated. More than 12% of all active DACA re-
                 cipients live in the Los Angeles metro area alone.4
                 Another 22% reside in the New York, Dallas, Chica-
                 go, or Houston metro regions, while 10% of recipi-
                 ents currently make their homes in Phoenix, Atlan-
                 ta, the San Francisco Bay area, San Diego, or Den-
                 ver.5 All told, 60% of current DACA recipients—
                 nearly 400,000 individuals—live in amici’s commu-
                 nities.6
                     These individuals—most of whom arrived in the
                 United States as children—are no different than the
                 tens of millions of people who live and work along-
                 side them in amici’s cities and counties. DACA re-
                 cipients have made enormous contributions to our
                 communities and to our country. They attend our
                 local schools where they study to become our newest
                 doctors, nurses, and lawyers. As entrepreneurs,
                 they build businesses that revitalize local economies.
                 As teachers, they shape the next generation of lead-
                 ers. As civil servants, they assist and transform the
                 communities that they call home. Without deferred
                 action, none of these contributions would be possible.

                    4 Figures are based on recipients’ residency in a Core Based

                 Statistical Area, as defined by the U.S. Office of Management
                 and Budget, at the time of their most recent DACA application.
                 See Regents of the Univ. of Cal. v. Dep’t of Homeland Sec.,
                 No. 3:17-cv-05211-WHA, Dkt. 292-2, U.S. Citizenship and Im-
                 migration Services DACA Data as of September 30, 2019 (N.D.
                 Cal. Oct. 1, 2019).
                    5 Id.

                    6 Id.




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                                               4
                 Amici are stronger and safer because of the DACA
                 program.
                     As history teaches, our collective success depends
                 on the contributions of all members of society. Our
                 nation’s and amici’s civic, cultural, and economic
                 prosperity in the 20th Century was aided in no small
                 part by the contributions of immigrants, many of
                 whom arrived in the United States as children.7 And
                 our future progress is tied to the full participation of
                 such individuals, including the 800,000 young people
                 who have received deferred action under the DACA
                 program. The rescission of DACA jeopardizes ami-
                 ci’s interests by harming tens of thousands of DACA
                 recipients in amici’s communities.
                                    INTRODUCTION
                     Each day, more than 650,000 DACA recipients
                 work to make the world a better place. They are ed-
                 ucators, administrators, social workers, firefighters,
                 police officers, soldiers, scientists, engineers, entre-
                 preneurs, artists, journalists, service workers, and
                 civic leaders. They make their communities—our
                 communities—safe and prosperous.
                    Since its inception, DACA has allowed more than
                 800,000 hardworking individuals to reach their full
                 potential. The program, which reduces recipients’
                 fear of removal and allows them the opportunity to
                 work for renewable two-year terms, has empowered
                 recipients to participate fully in their communities.
                 These individuals are as much part of the American

                    7 See Barry Moreno, Children of Ellis Island (2005).




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                 fabric that binds us together as are their neighbors
                 with lawful immigration status.
                     The rescission of DACA in the Department of
                 Homeland Security’s (DHS) September 5, 2017
                 Memorandum (September Memorandum) tears at
                 that fabric. Petitioners’ decision to rescind DACA is
                 a violation of trust that forces hundreds of thousands
                 of participants back into lives of fear. Keeping tal-
                 ented young people at the margins threatens to rob
                 amici and the nation of their promise. It is anathe-
                 ma to amici, as it undermines their shared interest
                 in empowering all residents to participate in public
                 life. Amici therefore request that the Court affirm
                 the judgments of the Ninth Circuit and the District
                 Court for the District of Columbia, and the orders of
                 the Eastern District of New York.
                    Amici submit this brief to inform the Court of the
                 profound impact that DACA recipients have had on
                 amici and to highlight the consequences that rescis-
                 sion of DACA will have on amici, our communities,
                 and our residents. Amici also write to address two
                 discrete legal issues—Petitioners’ failure to ade-
                 quately consider reliance interests in the September
                 Memorandum, and Petitioners’ attempted post-hoc
                 rationalization of their decision to rescind DACA.
                 Given the significant harm to amici and their resi-
                 dents from the rescission, Petitioners’ failure to ana-
                 lyze participants’ reliance interests and the harm to
                 society at large is alarmingly inadequate. Their at-
                 tempt to use after-the-fact explanations to prevent
                 the courts from redressing these harms is equally
                 deficient, and was correctly rejected by the courts
                 below.




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                                            6
                    As all amici recognize, our shared future is
                 brighter when opportunities for success are available
                 to all people, regardless of their race, ethnicity, gen-
                 der, or immigration status. DACA recipients have
                 used these opportunities for seven years to strength-
                 en amici’s communities, and should not now have
                 those opportunities taken from them. And their
                 neighbors, coworkers, employers, and local govern-
                 ments should not be denied the countless contribu-
                 tions that DACA recipients have made and will con-
                 tinue to make to our country.
                                     ARGUMENT
                 I.   DACA Recipients Represent the Best of
                      Amici’s Communities.
                    When DACA was first announced, then-DHS Sec-
                 retary Janet Napolitano and current President of
                 Respondent University of California, explained:
                       Our nation’s immigration laws must
                       be enforced in a firm and sensible
                       manner. But they are not designed to
                       be blindly enforced without considera-
                       tion given to the individual circum-
                       stances of each case. Nor are they de-
                       signed to remove productive young
                       people to countries where they may
                       not have lived or even speak the lan-
                       guage. Discretion, which is used in so




                                                                            AR5759
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                                              7
                        many other areas, is especially justi-
                        fied here.8
                    Amici agree: our best interests are advanced by
                 educating and empowering our next generation of
                 leaders, not by tearing students out of their schools
                 and uprooting industrious individuals from their
                 communities. For the last seven years, DACA has
                 advanced our best interests, and amici have wit-
                 nessed hundreds of thousands of young people
                 emerge from the margins to lead productive, exem-
                 plary lives.
                    DACA has allowed recipients to pursue higher
                 education, enhancing their economic productivity
                 and enriching their lives and futures.9
                     For example, Jin Kyu Park arrived in New York
                 City at the age of seven from South Korea. He ex-
                 celled in his studies and matriculated at Harvard.
                 As an undergraduate in Cambridge, Jin Kyu worked
                 as a research assistant at the Koch Institute for In-
                 tegrative Cancer Research at MIT, served as the
                 managing editor of the Harvard Undergraduate Re-
                 search Journal, directed the Phillips Brooks House
                 Association’s Chinatown Citizenship program, and
                 founded a nonprofit to help other undocumented

                     8 Dep’t of Homeland Sec., Secretary Napolitano Announces

                 Deferred Action Process for Young People Who Are Low En-
                 forcement Priorities (June 15, 2012), https://perma.cc/94JC-
                 2293.
                    9 Tom K. Wong et al., Results from Tom K. Wong et al.,
                 2017 National DACA Study 3 (2017), https://perma.cc/R2J8-
                 D57W.




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                 students. Last November, he became the first DACA
                 recipient ever to become a Rhodes Scholar. After
                 completing his studies at Oxford, Jin Kyu plans to
                 become a doctor so that he can serve immigrant
                 communities like the one where he grew up in
                 Queens.
                    Many recipients share similar stories. DACA al-
                 lowed Nelson Magdaleno, who was brought to the
                 United States from Venezuela as a child, to attend
                 Georgia Tech University, one of the nation’s top en-
                 gineering schools. Nelson graduated with honors
                 and has been working in Dallas as an engineer at
                 Texas Instruments since his graduation. Herta
                 Llusho arrived in Detroit from Albania at the age of
                 eleven. She worked tirelessly through high school
                 and college, ultimately receiving a Master’s Degree
                 in robotics and automation engineering. Herta now
                 works as a supervising engineer at Ford Motor Com-
                 pany, and regularly volunteers at her church and in
                 her community.
                     Armed with their high school degrees, college de-
                 grees, and the other building blocks of modern life,
                 recipients have gone on to strengthen their commu-
                 nities by dedicating themselves to them. Hundreds
                 have protected our country by serving in the military
                 as part of a Pentagon pilot program.10 Thousands of
                 recipients, like Chicagoan Cynthia Sanchez and Aus-


                    10 Gregory Korte, et al., Trump Administration Struggles
                 with Fate of 900 DREAMers Serving in the Military, USA To-
                 day (Sept. 7, 2017), https://perma.cc/EH4W-2DSL.




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                                               9
                 tinite Karen Reyes, have taken up teaching, often in
                 underserved communities of color.11
                    Others have made lasting impacts in the arts.
                 Yehimi Cambrón, an art teacher and artist from At-
                 lanta, paints murals with imagery that evoke sur-
                 vival, opportunity, and other common themes of the
                 immigrant experience. In the classroom, she teaches
                 her high school students how to find expression and
                 empowerment in art. Last year, the Atlanta Super-
                 bowl LIII Host Committee commissioned Yehimi to
                 create three murals that highlight Atlanta’s civil
                 rights and social justice journey, a commission that
                 would not have been possible without DACA.
                     Bambadjan Bamba grew up in the South Bronx,
                 worked to put himself through drama school, and
                 now is a successful actor, appearing on NBC’s The
                 Good Place, and in Disney’s Black Panther. Daniela
                 Pierre-Bravo arrived in the United States from Chile
                 at age 11. Today, she is a news producer for MSNBC
                 and NBCUniversal in New York City and recently
                 released a non-fiction motivational book with best-
                 selling author Mika Brzezinski.
                    Still others have made their mark through self-
                 less sacrifice. In times of need or sorrow, congre-


                    11  See George White, Teachers Who Are DACA Recipients
                 Help Ease Anxiety of Undocumented Students, EdSource (Sept.
                 15, 2017), https://perma.cc/PPJ2-KR3P. Although the exact
                 number of DACA recipients employed as teachers is unknown,
                 the Migration Policy Institute estimates that 20,000 “DACA-
                 eligible” individuals are teachers, although some may have at-
                 tained lawful status by other means. Id.




                                                                                  AR5762
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                                             10
                 gants turn to the guidance of DACA-recipient Father
                 Rey Pineda, a Catholic priest at Atlanta’s Cathedral
                 of Christ the King. When emergencies have threat-
                 ened families, friends, and neighbors, DACA recipi-
                 ents have been among the first to answer the call.
                 During Hurricane Harvey, Houston-area paramedic
                 Jesus Contreras worked six straight days to rescue
                 people from the storm. One DACA recipient, Alonso
                 Guillén, was killed while trying to save fellow Tex-
                 ans from perishing in rising floodwaters.12
                    These stories and countless others highlight the
                 lasting impact that the DACA program has had on
                 recipients and on society at large. As amici look to
                 the future, we cannot afford to let some of our best
                 and brightest go.
                 II. Rescinding DACA Harms Amici’s Young
                     People and Communities.
                     DACA has allowed recipients to live without fear
                 and to better contribute to amici’s communities. It
                 has drastically improved recipients’ lives, allowing
                 them to obtain better jobs, more education, and im-
                 proved access to vital services—like healthcare and
                 driver’s licenses13—which allow them to better con-
                 tribute to society. Petitioners’ decision to rescind

                    12 Samantha Schmidt, A ‘Dreamer’ Dies Trying to Save

                 Harvey Victims, Days Before Trump Plans to End DACA, Wash.
                 Post (Sept. 5, 2017), https://perma.cc/YT2Q-9H7P.
                    13 Roberto G. Gonzales & Angie M. Bautista-Chavez, Am.

                 Immigration Council, Two Years and Counting: Assessing the
                 Growing Power of DACA 9 (June 2014), https://perma.cc/K4RB-
                 327Q; Wong, supra note 9.




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                                               11
                 DACA wrests from these young people the protec-
                 tions that have allowed them to better their commu-
                 nities. It will also directly harm amici, particularly
                 their economies and public safety programs, which
                 benefit from the open participation of nearly 400,000
                 resident recipients.
                    A. Rescinding DACA Will Harm the Econo-
                       my.
                     DACA recipients help drive amici’s economies. In
                 Los Angeles alone, they are responsible for approxi-
                 mately $5.5 billion of the annual GDP.14 Nationally,
                 DACA recipients pay an estimated $1.7 billion in
                 state and local taxes every year that go to fund criti-
                 cal programs administered by amici.15
                     DACA’s nationwide impact has been substantial.
                 Adding DACA recipients to the workforce has gener-
                 ated roughly $30 billion in new earnings, which, ac-
                 cording to an op-ed from an analyst at the Cato In-
                 stitute, “ha[d] a job-creating ripple effect on the
                 economy.”16 Recipients have made profound econom-
                 ic gains because of the DACA program. They have
                 entered the work force, purchased their first homes,

                    14 Julia Wick, L.A.-Area DACA Recipients Contribute Ap-
                 proximately $5.5 Billion Annually to Economy, Chamber Esti-
                 mates, LAist (Sept. 21, 2017), https://perma.cc/9VDJ-HEDB.
                     15 State & Local Tax Contributions of Young Undocumented

                 Immigrants, Inst. on Taxation & Econ. Policy (Apr. 30, 2018),
                 https://perma.cc/WKL6-U2HJ.
                    16 Alex Nowrasteh, Don’t End DACA: The Immigration Pro-

                 gram Trump Must Save,         N.Y.   Post   (Aug.   31,   2017),
                 https://perma.cc/9LYT-8895.




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                                             12
                 and built businesses that have revitalized their
                 communities. According to one representative sur-
                 vey, 69% of employed DACA recipients moved to a
                 higher-paying job while receiving deferred action,
                 and 5% of recipients started a new business, a rate of
                 entrepreneurship greater than among the general
                 public.17 The same survey indicated that 50% of
                 surveyed DACA recipients reported that they have
                 bought a car since receiving deferred action and 12%
                 have bought their first home, both of which are ma-
                 jor economic drivers.18 Over the next decade, these
                 workers and business owners are estimated to con-
                 tribute more than $433 billion to the national GDP.19
                    DHS’s decision to rescind DACA will thus have a
                 clear deleterious effect on amici and the nation as a
                 whole. One story illustrates what is at stake for
                 DACA recipients and amici.
                    Angelica Hernandez came to the United States at
                 the age of nine with her mother. Growing up in
                 Phoenix, she fell in love with robotics. While attend-
                 ing Carl Hayden High School, Angelica was a mem-
                 ber of a team of undocumented students that won a
                 national underwater robotics competition, besting
                 teams from other high schools and from elite engi-
                 neering universities like MIT. Angelica’s passion for
                 robotics led her to Arizona State University, where

                    17 Wong, supra note 3.

                    18 Id.

                    19 Silva Mathema, Ending DACA Will Cost States Billions

                 of Dollars, Ctr. for Am.         Progress   (Jan.   9,   2017),
                 https://perma.cc/7NSZ-Y2L7.




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                                          13
                 she graduated summa cum laude, and then to Stan-
                 ford, where she received a Master’s Degree in Civil
                 and Environmental Engineering. Today she works
                 as an engineer on clean energy and energy efficiency
                 programs at Nexant, an energy company in the
                 Phoenix area.
                     Because of DACA, Angelica was able to discover a
                 passion and pursue her dream career. But Angeli-
                 ca’s other teammates were each too old to qualify for
                 DACA. Of the Carl Hayden students, only Angelica
                 works as an engineer. Contrast their story with
                 those of the members of the MIT student team they
                 defeated in competition. A decade after the competi-
                 tion, three of the four MIT team members had gone
                 onto successful careers in underwater robotics, with
                 one working on a project in Antarctica, while the
                 fourth MIT team member was working in product
                 design for Apple, Inc.
                    At a time when our country is facing a shortage of
                 professionals in science, technology, engineering,
                 and mathematics (STEM) fields, programs like
                 DACA give certainty to young people who should not
                 be enforcement priorities, enabling more of them to
                 pursue passions that leave amici and the nation
                 stronger. Petitioners’ rescission of DACA denies
                 hundreds of thousands of recipients the opportunity
                 to pursue their dreams and deprives amici of these
                 young people’s promise.




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                                               14
                    B. Rescinding DACA Will Undermine Ami-
                       ci’s Public Safety Priorities.
                    DACA has helped make amici’s communities saf-
                 er because recipients are able to cooperate more
                 freely and effectively with law enforcement.
                    When undocumented individuals fear interacting
                 with law enforcement, it makes communities less
                 safe and officers’ jobs more difficult. Law enforce-
                 ment agencies report that, as immigration enforce-
                 ment and the threat of deportation increase, undoc-
                 umented immigrants are substantially less likely to
                 report crimes, including violent crimes.20 One study
                 estimates that granting legal status to 1% of undoc-
                 umented immigrants in a county can lower crime
                 rates there by 2 to 6%.21 Although then-Attorney
                 General Sessions insinuated that DACA had “put
                 our nation at risk of crime, violence and even terror-
                 ism,”22 the facts show just the opposite.23

                    20  John Burnett, New Immigration Crackdowns Creating
                 ‘Chilling Effect’ on Crime Reporting, Nat’l Pub. Radio (May 25,
                 2017), https://perma.cc/3VJ3-Q8NK.
                     21 Scott R. Baker, Effects of Immigrant Legalization on

                 Crime: The 1986 Immigration Reform and Control Act, Stan-
                 ford Law and Econ. Olin Working Paper, at 25 (July 28, 2014),
                 https://perma.cc/G5WH-4EX3.
                    22 U.S. Dep’t of Justice, Attorney General Sessions Delivers

                 Remarks on DACA (Sept. 5, 2017), https://perma.cc/482G-
                 5JEA.
                     23 One study by the Cato Institute reported that only 0.25%

                 of DACA recipients have been expelled from the program for
                 criminal activity and that DACA recipients’ native-born coun-
                 terparts were 14% more likely to be incarcerated. See Michel-




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                                               15
                     Community policing strategies in amici cities and
                 counties call for trust and engagement between law
                 enforcement and the people they protect.           As
                 Los Angeles County’s then-Sheriff put it shortly af-
                 ter Petitioners announced the September Memoran-
                 dum, “Public safety is our mission. This requires
                 that people come forward if they are a crime victim
                 or be willing to come forth as a witness to a crime
                 without fear of being deported. When I say that pub-
                 lic trust is our currency, I mean it.”24
                     Amici have prudently considered and created da-
                 ta-driven law enforcement policies to enhance trust
                 with immigrant communities. That trust is under-
                 mined when residents fear interaction with the po-
                 lice, and law enforcement suffers as a result. Exten-
                 sive evidence shows that undocumented immi-
                 grants—and their lawfully present family and
                 neighbors—fear that turning to the police will bring
                 adverse immigration consequences, and thus are less
                 likely to report crimes.25 DACA has promoted com-

                 angelo Landgrave & Alex Nowrasteh, The DREAMer Incarcera-
                 tion     Rate,    Cato   Institute  (Aug.   30,    2017),
                 https://perma.cc/HJA9-L6LP.
                    24  L.A. County Sheriff Jim McDonnell’s Statement About
                 Senate Bill 54 Regarding Immigration, The Signal (Sept. 16,
                 2017), https://perma.cc/XF4Y-DJXT.
                     25 See, e.g., Nik Theodore, Dep’t of Urban Planning & Poli-

                 cy, Univ. of Ill. at Chi., Insecure Communities: Latino Percep-
                 tions of Police Involvement in Immigration Enforcement 5‒6
                 (2013), https://perma.cc/4B5R-7JL4 (finding that 67% of undoc-
                 umented individuals are less likely to offer information to law
                 enforcement as a witness and 70% are less likely to contact law
                 enforcement even if they were victims of a crime); Randy Capps




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                 munity policing and furthered amici’s efforts to en-
                 sure that deferred action recipients and their fami-
                 lies and neighbors are less vulnerable to crime and
                 exploitation. The rescission of DACA will undermine
                 these crucial efforts, making amici’s communities
                 less safe for their tens of millions of residents.
                 III. Petitioners’ Purported Rescission of DACA
                      is Unlawful.
                     Petitioners’ decision to rescind DACA was both a
                 grave policy error and unambiguously unlawful. As
                 each of the courts below correctly concluded, Peti-
                 tioners acted arbitrarily and capriciously in violation
                 of the Administrative Procedure Act (APA) when
                 they abruptly ended DACA based on a cursory, dubi-
                 ous analysis of the program’s legality. See Regents
                 Pet. Supp. App. 1a‒87a; NAACP Pet. App. 1a‒74a;
                 Batalla Vidal Pet. App. 62a‒129a. Respondents
                 deftly address Petitioners’ arguments in their briefs,
                 see Regents Resp. Br. 30‒55; DACA Recipient Resp.
                 Br. 29‒59; State of Cal. Resp. Br. 23‒55; State of
                 N.Y. Resp. Br. 30‒53; D.C. Resp. Br. 34‒61, and ami-
                 ci will not repeat them here.



                 et al., Migration Policy Inst., Delegation and Divergence: A
                 Study of 287(g) State and Local Immigration Enforcement 43
                 (2011), https://perma.cc/T3PR-X4LG (finding in multiple coun-
                 ties that increased local-federal law enforcement cooperation
                 meant “community respondents were likely to report that im-
                 migrants were venturing into public places with less frequency,
                 failing to report crimes or interact with police, interacting less
                 with schools and other institutions, patronizing local business-
                 es less often, and changing their driving patterns”).




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                    Amici instead address two discrete legal issues
                 that are of particular significance to them because of
                 the substantial effects that the rescission of DACA
                 will have on amici and their millions of residents.
                     First, when they decided to rescind DACA, Peti-
                 tioners did not adequately consider the effects of re-
                 scission or the legitimate reliance interests engen-
                 dered by the DACA program, as they were required
                 to do under the Court’s precedent. DACA recipients
                 irrevocably rearranged their lives in reliance on de-
                 ferred action, funding college educations, signing
                 mortgages, enrolling in the military, and starting
                 families. These acts were not just the foreseeable
                 effects of DACA; they were exactly what the program
                 was designed to induce. Petitioners also failed to
                 consider that the hasty decision to rescind DACA
                 will have consequences that reach far beyond DACA
                 recipients to harm amici’s economies and communi-
                 ties.
                     Second, the courts below properly rejected Peti-
                 tioners’ post-hoc attempt in the June 22, 2018 mem-
                 orandum from then-Secretary Kirstjen M. Nielsen
                 (Nielsen Memorandum) to save the arbitrary and
                 capricious decision announced in the September
                 Memorandum. Although courts have, in limited cir-
                 cumstances, permitted an agency to provide a fuller
                 explanation of the agency’s stated rationale after the
                 fact, an agency may not offer new and shifting ra-
                 tionales. The Court should not countenance Peti-
                 tioners’ effort to avoid judicial review and accounta-
                 bility by manufacturing new reasons for the rescis-
                 sion that were not stated in the September Memo-
                 randum.




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                                               18
                    A. Petitioners Did Not Adequately Consider
                       the Harm of Repealing DACA.
                     “Federal administrative agencies are required to
                 engage in ‘reasoned decisionmaking.’” Michigan v.
                 EPA, 135 S. Ct. 2699, 2706 (2015) (quotation omit-
                 ted). An agency “must examine the relevant data
                 and articulate a satisfactory explanation for its ac-
                 tion including a rational connection between the
                 facts found and the choice made.” Motor Vehicle
                 Mfrs. Ass’n of U.S., Inc. v. State Farm Mut. Auto.
                 Ins. Co., 463 U.S. 29, 43 (1983) (quotation omitted).26
                 When an agency seeks to depart from prior policy, it
                 must “demonstrate that the new policy rests upon
                 principles that are rational, neutral, and in accord
                 with the agency’s proper understanding of its au-
                 thority.” FCC v. Fox Television Stations, Inc., 556
                 U.S. 502, 536 (2009) (Kennedy, J., concurring in
                 part). “In explaining its changed position, an agency
                 must also be cognizant that longstanding policies
                 may have engendered serious reliance interests that
                 must be taken into account.” Encino Motorcars, LLC
                 v. Navarro, 136 S. Ct. 2117, 2126 (2016) (quoting Fox
                 Television, 556 U.S. at 515). Petitioners’ explanation
                 for rescinding DACA fails to meet these standards.
                   On September 5, 2017, then-Acting Secretary of
                 Homeland Security Elaine C. Duke issued a memo-


                    26 Cf. Judulang v. Holder, 565 U.S. 42, 53 (2011) (“When

                 reviewing an agency action, we must assess, among other mat-
                 ters, ‘whether the decision was based on a consideration of the
                 relevant factors and whether there has been a clear error of
                 judgment.’”) (quotation omitted).




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                 randum rescinding DACA.          Regents Pet. App.
                 111a‒119a. In the five-page memorandum, Acting
                 Secretary Duke summarized the procedural history
                 of litigation filed by Texas and a coalition of states
                 challenging a separate deferred-action program
                 called Deferred Action for Parents of Americans
                 (DAPA). Id. at 112a‒116a. See also Texas v. United
                 States, 809 F.3d 134 (5th Cir. 2015), aff’d by an
                 equally divided Court, 136 S. Ct. 2271 (2016) (per
                 curiam). The memorandum also incorporated by
                 reference a one-page letter from then-Attorney Gen-
                 eral Sessions, in which the Attorney General in-
                 structed Acting Secretary Duke to rescind DACA be-
                 cause the program’s enactment was purportedly un-
                 lawful (Sessions Letter). Regents Pet. App. 116a; see
                 also J.A. 877‒78 (letter noting that DACA had been
                 “effectuated by the previous administration through
                 executive action [and] without proper statutory au-
                 thority,” and concluding that “[s]uch an open-ended
                 circumvention of immigration laws was an unconsti-
                 tutional exercise of authority by the Executive
                 Branch.”).
                     Based on the outcome of the DAPA litigation and
                 the Sessions Letter, the September Memorandum
                 concluded that “it is clear that the June 15, 2012
                 DACA program should be terminated.” Regents Pet.
                 App. 117a. Although it acknowledges DHS’s depar-
                 ture from existing policy, the September Memoran-
                 dum does not discuss the effects of the rescission,
                 save for a passing reference to unexplained “com-
                 plexities associated with winding down the pro-
                 gram.” Id. The memorandum makes no mention at
                 all of any reliance interests likely to be harmed by




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                 the change in policy. Such cursory treatment of the
                 wide-reaching impacts of rescission does not comply
                 with the APA.
                     Although a decision enacting a new policy gener-
                 ally need not provide more than a “rational connec-
                 tion between the facts found and the choice made,”
                 State Farm, 463 U.S. at 43 (quotation omitted), Act-
                 ing Secretary Duke was not working “on a blank
                 slate” when she issued the September Memorandum:
                 the DACA program had been in place for over half a
                 decade and offered protections and opportunities
                 that have benefited not just individual applicants
                 but also state and local governments and the public
                 at large. See supra Section II. Under these circum-
                 stances, “a more detailed justification” for the policy
                 reversal is required. Fox Television, 556 U.S. at 515
                 (holding that agency must “provide a more detailed
                 justification than what would suffice for a new policy
                 created on a blank slate” when its “prior policy has
                 engendered serious reliance interests that must be
                 taken into account”) (quotation omitted); accord En-
                 cino Motorcars, 136 S. Ct. 2125‒26.
                     Here, the reliance interests are fundamental. As
                 a result of the DACA program, nearly a million indi-
                 viduals, many from amici’s communities, have
                 stepped out of the shadow of fear and begun to lead
                 open and productive lives. Beneficiaries structured
                 their education, employment, housing, and other life
                 activities on the reliance that they would be protect-
                 ed by deferred action and employable because of
                 their work authorization if they continued to satisfy
                 eligibility criteria. J.A. 879‒980. DACA has given
                 recipients of deferred action the encouragement and




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                 comfort to openly enter the work force, take on stu-
                 dent loans, sign mortgages, and even start new
                 businesses.
                    DACA applicants shared intimate details and bi-
                 ometric data with DHS for the opportunity to partic-
                 ipate in the program. Plainly, they would not have
                 provided this information without being able to rely
                 upon the positive impacts of the program. That reli-
                 ance was not merely foreseeable, it was expected by
                 DHS.27 Petitioners’ decision to rescind DACA upsets
                 these interests: it would upend the enriching lives
                 that DACA recipients have built and drive thou-
                 sands of productive members of our communities to
                 the margins of society.
                    The DACA program has also created reliance in-
                 terests beyond individual recipients. When DACA
                 was announced, DHS found that by granting young,
                 long-term immigrants deferred action and offering
                 the opportunity to apply for work authorization, the
                 program would benefit not only the recipients, but
                 society as a whole.28 That is precisely what hap-

                     27 See U.S. Dep’t of Homeland Sec., Letter by Secretary Jeh

                 Johnson to U.S. Representative Judy Chu (Dec. 30, 2016),
                 https://perma.cc/3MVA-6EU5 (“We believe these representa-
                 tions made by the U.S. government, upon which DACA appli-
                 cants most assuredly relied, must continue to be honored.”).
                    28 U.S. Dep’t of Homeland Sec., Memorandum from Secre-

                 tary Janet Napolitano on Exercising Prosecutorial Discretion
                 with Respect to Individuals Who Came to the United States as
                 Children (June 15, 2012), https://perma.cc/B2CW-SPRR; Office
                 of the Press Sec’y, Remarks by the President on Immigration
                 (June 15, 2012), https://perma.cc/H9YP-8869.




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                                               22
                 pened. As detailed above, the DACA program has
                 made our communities more economically robust
                 and discernibly safer. See supra Section II. Rescis-
                 sion will not only deal amici the staggering loss of
                 hundreds of thousands of individual economic con-
                 tributors and cause fear that undermines public
                 health and safety, but it will also force amici to op-
                 erate and fund the social safety net that will be
                 needed to catch recipients’ families when jobs are
                 lost, health insurance plans are discontinued, college
                 educations are forfeited, homes fall into foreclosure,
                 and families are forced apart by low-priority remov-
                 als. Although they may be different in kind from re-
                 cipients’ interests, amici’s interests are no less rele-
                 vant.29 See Encino Motorcars, 136 S. Ct. at 2126
                 (holding that industry reliance on prior policy should
                 be considered by agency).
                    The September Memorandum inexplicably con-
                 tains no mention of these obvious reliance interests.
                 Its passing reference to certain unidentified “com-
                 plexities” associated with rescission, Regents Pet.
                 App. 117a, falls far short of Petitioners’ obligation to
                 provide “a reasoned explanation . . . for disregarding
                 facts and circumstances that underlay or were en-
                 gendered by the prior policy.” Fox Television, 556
                 U.S. at 515‒16; see also Perez v. Mortg. Bankers
                 Ass’n, 135 S. Ct. 1199, 1209 (2015) (“[T]he APA re-
                 quires an agency to provide more substantial justifi-

                    29  Indeed, Congress has also directed that when agencies
                 consider policy changes of this magnitude, they consider impact
                 on small businesses and localities. See Regulatory Flexibility
                 Act, 5 U.S.C. §§ 601, 603‒04.




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                 cation . . . when its prior policy has engendered seri-
                 ous reliance interests that must be taken into ac-
                 count.”) (quotation omitted).
                     Petitioners now assert that “the Secretary suffi-
                 ciently considered the reliance interests of DACA re-
                 cipients” as required by the APA.30 Pet. Br. 42. But
                 Petitioners point to nowhere in the September Mem-
                 orandum where Acting Secretary Duke considered
                 any reliance interests. Instead, they rely exclusively
                 on the Nielsen Memorandum. Pet. Br. 42; see Re-
                 gents Pet. App. 120a‒126a. As discussed below, the
                 Nielsen Memorandum’s post-hoc explanations can-
                 not permissibly be considered in assessing the legali-
                 ty of Petitioners’ decision to rescind DACA. See infra
                 Section III.B.2.
                    Even if the memorandum could be considered,
                 Secretary Nielsen’s after-the-fact explanation does
                 not satisfy Petitioners’ burden. The Nielsen Memo-
                 randum states only that the Secretary did not come
                 to her “conclusions lightly,” and was “keenly aware
                 that DACA recipients have availed themselves of the

                    30 In passing, Petitioners appear to suggest that they were

                 not required to consider reliance interests based on the pres-
                 ence of certain disclaimers in the policy memorandum. See Pet.
                 Br. 42 (“By its own terms, the policy ‘confer[red] no substantive
                 right’ or lawful ‘immigration status.’”). Whether DACA recipi-
                 ents had a constitutionally protected liberty or property inter-
                 est in the existence of the DACA program is wholly different
                 than whether the recipients had reliance interests that Peti-
                 tioners were required to consider. Batalla Vidal Pet. App.
                 115a‒116a; cf. Encino Motorcars, 136 S. Ct. at 2126‒27 (holding
                 that agency required to consider automobile industry’s reliance
                 interests in prior interpretation of Fair Labor Standards Act).




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                                               24
                 policy in continuing their presence in this country
                 and pursuing their lives.” Regents Pet. App. 125a.
                 But that was the extent of the discussion,31 and, in
                 the very next sentence, those reliance interests were
                 found to be outweighed by the “questionable legality”
                 of the DACA program and “other reasons for ending
                 the policy.” Id.
                     Such a “summary discussion . . . f[alls] short of
                 the agency’s duty to explain why it deemed it neces-
                 sary to overrule its previous position.” Encino Mo-
                 torcars, 136 S. Ct. at 2126‒27 (where agency stated
                 that “it had carefully considered all of the comments,
                 analyses, and arguments made for and against the
                 proposed changes,” concluding that “[i]n light of the
                 serious reliance interests at stake, the Department’s
                 conclusory statements do not suffice to explain its
                 decision”) (quotation omitted); accord Perez, 135
                 S. Ct. at 1209 (agency must provide “more substan-
                 tial justification” for departure from past practice).
                    Vacatur is therefore required. Compliance with
                 the APA’s requirements is not a mere formality. Cf.
                 Citizens to Pres. Overton Park, Inc. v. Volpe, 401 U.S.
                 402, 415 (1971) (review of agency action under APA
                 is to be “thorough, probing, [and] in-depth”). An
                 agency’s duty to consider reliance interests and com-
                 peting concerns is a bulwark against arbitrary ad-
                 ministrative action. Here, as elsewhere, the law

                    31 In fact, Secretary Nielsen went so far as to disavow any

                 substantive discussion of reliance interests, stating, instead,
                 that “issues of reliance would best be considered by Congress.”
                 Id.




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                 seeks to protect settled expectations. Cf. Landgraf v.
                 USI Film Prods., 511 U.S. 244, 265 (1994) (“[S]ettled
                 expectations should not be lightly disrupted.”); Hil-
                 ton v. S.C. Pub. Rys. Comm’n, 502 U.S. 197, 202
                 (1991) (“Stare decisis has added force when the legis-
                 lature, in the public sphere, and citizens, in the pri-
                 vate realm, have acted in reliance on a previous de-
                 cision, for in this instance overruling the decision
                 would dislodge settled rights and expectations . . . .”).
                     This case demonstrates precisely why the law
                 imposes such a requirement. Because Petitioners
                 wholly failed to meet it, their decision to rescind
                 DACA is unlawful. See Encino Motorcars, 136 S. Ct.
                 at 2126‒27 (agency policy change was unlawful
                 where the agency did not sufficiently address reli-
                 ance interests); Nat’l Lifeline Ass’n v. FCC, 921 F.3d
                 1102, 1114‒15 (D.C. Cir. 2019) (departure from prior
                 forbearance policy was arbitrary and capricious
                 where commission failed to consider the primary ef-
                 fects of change, including the interests of providers
                 who “had crafted business models and invested sig-
                 nificant resources” in reliance on the prior policy).32




                     32 Accord Fox Television, 556 U.S. at 515 (“It would be arbi-

                 trary or capricious to ignore such matters.”); Smiley v. Citibank
                 (S.D.), N.A., 517 U.S. 735, 742 (1996) (“[C]hange that does not
                 take account of legitimate reliance on prior interpretation . . .
                 may be ‘arbitrary, capricious [or] an abuse of discretion.’”) (quo-
                 tations omitted).




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                                              26
                    B. Post-Hoc Rationalizations Do Not Insu-
                       late Petitioners’ Decision From Review
                       or Render it Lawful.
                     On June 22, 2018, in response to the District of
                 Columbia district court’s order vacating the Septem-
                 ber Memorandum,33 then-Secretary Nielsen issued a
                 memorandum further addressing DHS’s decision to
                 rescind the DACA program. Regents Pet. App.
                 120a‒126a. The Nielsen Memorandum did not pur-
                 port to rescind DACA anew. Id. at 121a (“Having
                 considered the Duke memorandum and Acting Sec-
                 retary Duke’s accompanying statement, the adminis-
                 trative record for the Duke memorandum that was
                 produced in litigation, and the judicial opinions re-
                 viewing the Duke memorandum, I decline to disturb
                 the Duke memorandum’s rescission of the DACA pol-
                 icy . . . .”). Instead, it attempted to elucidate “why
                 the decision to rescind the DACA policy was, and
                 remains, sound.” Id. In explaining her “understand-
                 ing of the Duke memorandum,” Secretary Nielsen
                 offered additional detail supporting Acting Secretary
                 Duke’s conclusion that DACA was unlawful. Id. at
                 121a‒123a. She also set forth new policy rationales
                 not reflected in the September Memorandum that



                    33 The district court concluded that “DACA’s rescission was

                 unlawful and must be set aside” because it was predicated on a
                 judgment of the DACA program’s lawfulness that “was virtual-
                 ly unexplained” and thus arbitrary and capricious. NAACP
                 Pet. App. 73a‒74a. The court, however, stayed its order of va-
                 catur for ninety days “to afford DHS an opportunity to better
                 explain its view that DACA is unlawful.” Id.




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                 are independent of whether DACA is “illegal or le-
                 gally questionable.” Id. at 123a‒125a.
                    Petitioners heavily rely on the Secretary’s new
                 explanations to argue that the September Memoran-
                 dum is unreviewable by this Court, see Pet. Br.
                 26‒32, and in an attempt to bolster the legally
                 flawed and inadequate decision-making that infects
                 the September Memorandum, see Pet. Br. 37‒43, but
                 the Nielsen Memorandum cannot carry either point.
                 “A court may uphold agency action only on the
                 grounds that the agency invoked when it took the
                 action.” Michigan, 135 S. Ct. at 2710 (citing SEC v.
                 Chenery Corp., 318 U.S. 80, 87 (1943)). Accordingly,
                 Secretary Nielsen’s new, after-the-fact explanations
                 provide no basis to disturb the lower courts’ deci-
                 sions.
                    1. The Nielsen Memorandum Does Not Alter the
                       Reviewability Determination Made by the
                       Courts Below.
                     Each of the courts below concluded that Petition-
                 ers’ decision to rescind the DACA program is review-
                 able under the APA. Regents Pet. Supp. App.
                 23a‒45a; NAACP Pet. App. 25a‒43a, 95a‒103a; Ba-
                 talla Vidal Pet. App. 1a‒58a. These decisions are
                 correct, see Regents Resp. Br. 17‒30; DACA Recipi-
                 ent Resp. Br. 17‒29; State of Cal. Resp. Br. 13‒23;
                 State of N.Y. Resp. Br. 16‒30; D.C. Resp. Br. 21‒34,
                 49‒61, and the Nielsen Memorandum provides no
                 basis for disturbing them.
                     “[C]ourts retain a role, and an important one, in
                 ensuring that agencies have engaged in reasoned de-
                 cisionmaking.” Judulang, 565 U.S. at 53. Although




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                 there is a “strong presumption” in favor of judicial
                 review of agency action, Bowen v. Mich. Acad. of
                 Family Physicians, 476 U.S. 667, 670 (1986), the
                 APA bars judicial review of agency action “commit-
                 ted to agency discretion by law.”           5 U.S.C.
                 § 701(a)(2). “This is a very narrow exception” appli-
                 cable only “in those rare instances where statutes
                 are drawn in such broad terms that in a given case
                 there is no law to apply.” Overton Park, 401 U.S. at
                 410.
                     Petitioners argue that the rescission of DACA is
                 the type of enforcement decision that is presumptive-
                 ly unreviewable under the APA. See Pet. Br. 17‒21.
                 In support of this position, they rely on the Court’s
                 decision in Heckler v. Chaney, 470 U.S. 821 (1985).
                 There, the Food and Drug Administration declined
                 to take enforcement action against prison officials for
                 using certain drugs in human executions when they
                 had not been approved for that purpose. Id. at
                 823‒24. In response to a petition from a group of
                 death row inmates, the agency questioned whether it
                 had jurisdiction to prohibit the use of drugs in execu-
                 tions, but concluded that assuming it did have juris-
                 diction, it would “decline to exercise it under [the
                 agency’s] inherent discretion.” Id. at 824. The Court
                 held that the agency’s discretionary decision not to
                 enforce was unreviewable under the APA, conclud-
                 ing that “agency refusals to institute investigative or
                 enforcement proceedings” fall within the narrow
                 general exception to reviewability. Id. at 837‒38.
                 The Court, however, expressly did not reach the
                 question of whether “a refusal by the agency to insti-
                 tute proceedings based solely on the belief that it




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                 lacks jurisdiction” might nonetheless be reviewable.
                 Id. at 833 n.4.
                    Each of the courts below rejected Petitioners’ ar-
                 gument that the rescission of DACA is the type of
                 discretionary decision that enjoys a Chaney-
                 presumption of nonreviewability.
                    The Eastern District of New York rejected Peti-
                 tioners’ assertion that “the decision to rescind the
                 DACA program constitutes ‘an exercise of enforce-
                 ment discretion’ that is ‘entrusted to the agency
                 alone’ and immune from judicial review.” Batalla
                 Vidal Pet. App. 28a. Judge Garaufis reasoned that
                 the “decision to rescind DACA is unlike the non-
                 enforcement decision at issue in Chaney” because the
                 rescission was actually an enforcement decision, not
                 a non-enforcement decision. Id. at 28a‒31a. As the
                 court noted, Respondents did not challenge DHS’s
                 refusal to prosecute certain alleged violations of law
                 or individual non-enforcement decisions, because
                 DHS’s rescission of DACA was a commitment to take
                 enforcement action. Id. The court also reasoned
                 that Petitioners’ decision to rescind DACA was not
                 motivated by a “complicated balancing of . . . factors”
                 within their expertise, as was the case in Chaney,
                 but instead was based on their understanding that
                 the program was unlawful. Id.
                     The Ninth Circuit similarly concluded that Act-
                 ing Secretary Duke’s decision was reviewable under
                 the APA. While acknowledging that Petitioners’ de-
                 cision falls outside the bounds of Chaney because it
                 implicated enforcement action (not nonenforcement
                 action), Regents Pet. Supp. App. 34a‒35a, n.13, the
                 court based its conclusion on circuit precedent that




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                 “directly addressed the question” left open by
                 Chaney’s footnote four. Id. at 26a. The court fol-
                 lowed Montana Air Chapter No. 29 v. Federal Labor
                 Relations Authority, 898 F.2d 753 (9th Cir. 1990),
                 which held that a nonenforcement decision is pre-
                 sumptively reviewable “if it is based solely on a be-
                 lief that the agency lacked the lawful authority to do
                 otherwise,” and concluded that it could review Peti-
                 tioners’ decision because it was based on Petitioners’
                 belief that DACA was unlawful. Id. at 23a‒42a.
                     Finally, the District Court for the District of Co-
                 lumbia also concluded that DHS’s decision was re-
                 viewable under the APA.           NAACP Pet. App.
                 42a‒43a. The court concluded that Petitioners’ deci-
                 sion did not reflect a “discretionary enforcement pol-
                 icy,” but instead represented a “legal interpreta-
                 tion[ ] couched as [a] broad enforcement polic[y],”
                 which fell outside of Chaney and was reviewable. Id.
                 at 34a‒35a (citing OSG Bulk Ships, Inc. v. United
                 States, 132 F.3d 808 (D.C. Cir. 1998)); id. at
                 31a‒43a.
                     Although the courts below employed slightly dif-
                 ferent reasoning, their reviewability analysis shares
                 a common thread—an enforcement decision, particu-
                 larly one based on the agency’s interpretation of the
                 scope of its legal authority, is not a presumptively
                 unreviewable exercise of discretion under Section
                 701. Regents Pet. Supp. App. 29a (“[W]here the
                 agency’s decision is based not on an exercise of dis-
                 cretion, but instead on a belief that any alternative
                 choice was foreclosed by law, the APA’s ‘committed
                 to agency discretion’ bar to reviewability [ ] does not
                 apply.”); NAACP Pet. App. 42a‒43a (rescission solely




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                 supported by “a legal determination which, when
                 made in the context of a general enforcement policy,
                 is not subject to Chaney’s presumption of unreview-
                 ability”); Batalla Vidal Pet. App. 30a‒31a (“Defend-
                 ants stated that they were required to rescind the
                 DACA program because it was unlawful, which sug-
                 gests both that Defendants did not believe that they
                 were exercising discretion when rescinding the pro-
                 gram and that their reasons for doing so are within
                 the competence of this court to review.”). Because
                 the only reasons for rescission in the September
                 Memorandum were Acting Secretary Duke’s and At-
                 torney General Sessions’s conclusions that DACA
                 was unlawful, that decision was reviewable under
                 the APA. Regents Pet. Supp. App. 34a‒42a; NAACP
                 Pet. App. 41a‒43a; Batalla Vidal Pet. App. 28a‒31a.
                    Against this backdrop,34 the irrelevance of the
                 Nielsen Memorandum is clear. Insofar as the mem-
                 orandum offered additional explanation regarding
                 the program’s purported unlawfulness, Regents Pet.
                 App. 122a‒123a (discussing Attorney General’s con-
                 clusion that DACA “was contrary to law” and other
                 “serious doubts about its legality”), it did not change
                 the fact that the Acting Secretary’s decision to re-


                    34  As discussed at length by Respondents, the conclusion
                 reached by the courts below is consistent with the Court’s prec-
                 edent, including its decision in ICC v. Brotherhood of Locomo-
                 tive Engineers, 482 U.S. 270 (1987), and most closely adheres to
                 the concerns animating the Chaney presumption. Regents
                 Resp. Br. 18‒25; DACA Recipient Resp. Br. 21‒24 ; State of Cal.
                 Resp. Br. 15‒21; State of N.Y. Resp. Br. 23‒29; D.C. Resp. Br.
                 26‒30.




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                 scind DACA was based on the belief that the pro-
                 gram was unlawful. Such a decision is reviewable,
                 whether supported only by the September Memo-
                 randum’s bare analysis or Secretary Nielsen’s addi-
                 tional explanation.
                     To the extent the Nielsen Memorandum offered
                 rationales separate and distinct from the sole reason
                 provided in the September Memorandum, id. at
                 123a‒125a (discussing “sound reasons of enforce-
                 ment policy to rescind the DACA policy”), those af-
                 ter-the-fact explanations cannot insulate the Acting
                 Secretary’s decision from review.35 Although the
                 Court has permitted limited remand to an agency for
                 further explanation of previously articulated reason-
                 ing, see Overton Park, 401 U.S. at 420, such a re-
                 mand is “for a fuller explanation of the agency’s rea-
                 soning at the time of the agency action,” Pension Ben-
                 efit Guar. Corp. v. LTV Corp., 496 U.S. 633, 654
                 (1990) (emphasis added). New rationales advanced


                    35 The Ninth Circuit refused to consider the Nielsen Memo-

                 randum because it was not part of the administrative record,
                 but also noted that it constituted an impermissible “post-hoc
                 rationalization” of the decision to rescind DACA. Regents Pet.
                 Supp. App. 57a‒58a, n.24. The District Court for the District of
                 Columbia considered the Nielsen Memorandum, but concluded
                 that certain rationales were new post-hoc rationalizations
                 whereas others built upon Acting Secretary Duke’s reviewable
                 legal conclusion. NAACP Pet. App. 88a‒95a. However you
                 slice it, the Nielsen Memorandum does not provide a basis for
                 altering the lower courts’ reviewability determinations: any
                 further legal analysis does not change the fact that DHS’s legal
                 conclusion is reviewable, and any new rationales should be dis-
                 regarded.




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                 after the fact must be disregarded. Cf. Chenery, 318
                 U.S. at 88 (APA review is based solely on “the
                 grounds upon which the [agency] itself based its ac-
                 tion”).
                    This rule makes perfect sense. The APA is meant
                 to promote accountability of federal agencies to the
                 public. Cf. Franklin v. Massachusetts, 505 U.S. 788,
                 796 (1992) (“The APA sets forth the procedures by
                 which federal agencies are accountable to the public
                 and their actions subject to review by the courts.”);
                 Block v. Cmty. Nutrition Inst., 467 U.S. 340, 348‒49
                 (1984) (discussing presumption in favor of judicial
                 review of agency action). If agencies were permitted
                 to go back to the drawing board and manufacture
                 new rationales for challenged decisions in order to
                 short-circuit judicial review, the APA would be ren-
                 dered impotent. But that is exactly what Petitioners
                 seek to do here.
                    Petitioners argue that the Court need only disre-
                 gard post-hoc explanations offered by counsel. Pet.
                 Br. 29 (“[C]ourts may not accept appellate counsel’s
                 post hoc rationalizations for agency action.”) (quota-
                 tion omitted). This rejoinder misses the mark. The
                 crucial issue is not who provides the subsequent rea-
                 soning, but what that after-the-fact reasoning is (i.e.,
                 whether it provides further explanation of prior stat-
                 ed reasons or supplies new rationales altogether).
                    The post-hoc rationalization rule aims to ensure
                 that an agency action is upheld only on the basis of
                 the grounds that were provided at the time the chal-
                 lenged action was taken. See Camp v. Pitts, 411 U.S.
                 138, 143 (1973) (agency action must “stand or fall”
                 based on “determinative reason” identified in the




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                 agency’s “contemporaneous explanation”) (citing
                 Chenery, 318 U.S. at 80); Food Mktg. Inst. v. ICC,
                 587 F.2d 1285, 1290 (D.C. Cir. 1978) (“Post-hoc ra-
                 tionalizations by the agency on remand are no more
                 permissible than are such arguments when raised by
                 appellate counsel during judicial review.”); cf. Pen-
                 sion Benefit Guar. Corp., 496 U.S. at 654 (remand
                 was limited to explanation of “agency’s reasoning at
                 the time of the agency action”).
                     An agency may of course take new action in re-
                 sponse to a legal challenge. For example, DHS could
                 have rescinded the September Memorandum and is-
                 sued a new decision. Secretary Nielsen could have
                 then contemporaneously “explain[ed] her reasons”
                 for rescinding the DACA program. Pet Br. 29. Peti-
                 tioners expressly refused to do so.
                    Notwithstanding their assertions that the Niel-
                 sen Memorandum “is agency action, not a post hoc
                 rationalization of it,” Pet. Br. 29 (quotation omitted),
                 the memorandum plainly shows that Petitioners ex-
                 pressly refused to take new action. Regents Pet. App.
                 121a (“I decline to disturb the Duke memorandum’s
                 rescission of the DACA policy.”). Whatever Petition-
                 ers’ reasons were for that decision, it came with con-
                 sequences, one of which was that Secretary Nielsen
                 could not offer new rationales for rescission not in-
                 cluded in the September Memorandum. Because the
                 Nielsen Memorandum offered either further reason-
                 ing of DHS’s reviewable legal conclusion or new ex-
                 planations that must be disregarded, it provides no
                 basis to alter the lower courts’ conclusions that Peti-
                 tioners’ rescission of DACA is reviewable under the
                 APA.




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                    2. The Nielsen Memorandum Does Not Save Peti-
                       tioners’ Decision to Rescind DACA From Being
                       Arbitrary and Capricious.
                     Petitioners also assert that the Nielsen Memo-
                 randum establishes that the rescission of DACA was
                 lawful. Pet. Br. 37‒43. But as with the reviewabil-
                 ity analysis, the memorandum cannot shore up Peti-
                 tioners’ inadequate decision-making.
                    Giving “adequate reasons” for an agency’s deci-
                 sion is “[o]ne of the basic procedural requirements of
                 administrative rulemaking.” Encino Motorcars, 136
                 S. Ct. at 2125. In an APA challenge, “an agency’s
                 action must be upheld, if at all, on the basis articu-
                 lated by the agency itself.” State Farm, 463 U.S. at
                 50. As with reviewability, post-hoc rationalizations
                 that do not build on the agency’s contemporaneous
                 explanation but instead provide new reasons for the
                 decision cannot be considered in an arbitrary-and-
                 capricious review of the agency action. See Pension
                 Benefit Guar. Corp., 496 U.S. at 654; Camp, 411 U.S.
                 at 143; Overton Park, 401 U.S. at 419.
                    Either the statements set forth in the Nielsen
                 Memorandum are enlarging on Petitioners’ old legal
                 rationale about DACA’s legality or they are new poli-
                 cy reasons for rescission. But either way, Petition-
                 ers’ decision is arbitrary and capricious.
                    Certain reasons provided in the Nielsen Memo-
                 randum are in the former category: they simply en-
                 large upon the erroneous conclusion in the Septem-
                 ber Memorandum that DACA was unlawful. Secre-
                 tary Nielsen’s reaffirmation of Acting Secretary
                 Duke’s and Attorney General Sessions’s conclusions,




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                 Regents Pet. App. 122a‒123a (noting the Attorney
                 General’s conclusion that “the DACA policy was con-
                 trary to law” and that she was “bound by” that de-
                 termination), and discussion of reasons “to avoid dis-
                 cretionary policies that are legally questionable,” id.
                 at 123a, mirror the legal rationale provided in the
                 September Memorandum, id. at 112a‒116a, and
                 should be rejected for the same reasons. NAACP
                 Pet. App. 103a‒109a (district court considering
                 above-referenced policy rationales from Nielsen
                 Memorandum and finding no basis to alter conclu-
                 sion that rescission was arbitrary and capricious).
                     That legal conclusion was erroneous when Peti-
                 tioners issued the September Memorandum, see Re-
                 gents Resp. Br. 44‒55; DACA Recipient Resp. Br.
                 37‒48; State of Cal. Resp. Br. 25‒41; State of N.Y.
                 Resp. Br. 43‒51; D.C. Resp. Br. 34‒49, and remains
                 so even with Secretary Nielsen’s additional analy-
                 sis.36 Because the decision to rescind DACA was

                     36 Petitioners contend that DHS correctly concluded that

                 DACA was unlawful in part because the DACA program is not
                 an “interstitial matter” of immigration enforcement over which
                 the agency retains authority. Pet. Br. 44 (citing FDA v. Brown
                 & Williamson Tobacco Corp., 529 U.S. 120, 159 (2000)). In-
                 stead, they assert it is an “agency decision[ ] of vast ‘economic
                 and political significance,’” pointing to work authorization,
                 which Petitioners claim “aid [DACA recipients] in their contin-
                 uing unlawful presence.” Pet. Br. 44‒45 (citing Util. Air Regu-
                 latory Grp. v. EPA, 573 U.S. 302, 324 (2014)). Petitioners’ ar-
                 gument is meritless, see, e.g., Regents Resp. Br. 49‒53; DACA
                 Recipient Resp. Br. 37‒40; State of Cal. Resp. Br. 27‒34, and
                 relies on an incorrect premise. The availability of work author-
                 ization is not grounded in the DACA program. Instead, it flows
                 from the Secretary of Homeland Security’s express authority to




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                 based on a faulty legal conclusion, it must be set
                 aside. See Chenery, 318 U.S. at 94 (“[I]f the action is
                 based upon a determination of law as to which the
                 reviewing authority of the courts does come into
                 play, an order may not stand if the agency has mis-
                 conceived the law.”).
                    The other reasons stated in the Nielsen Memo-
                 randum are new and were never previously consid-
                 ered by Acting Secretary Duke. Such after-the-fact
                 justifications are irrelevant to the Court’s arbitrary-
                 and-capricious analysis. See Camp, 411 U.S. at 143;
                 Food Mktg. Inst., 587 F.2d at 1290.
                     Secretary Nielsen discussed various “policy rea-
                 sons of enforcement policy” supporting the rescis-
                 sion, including her belief that DHS should not adopt
                 broad policies of non-enforcement when they were
                 not authorized by Congress, should only exercise its
                 discretion on a case-by-case basis, and should project
                 a clear message about “enforcement of the immigra-
                 tion laws.” Regents Pet. App. 123a‒124a. But the
                 five-page September Memorandum did not discuss
                 these reasons for rescission.37 Id. at 111a‒119a.


                 “authorize” various immigrants for employment who have
                 shown “economic necessity to work.” 8 U.S.C. § 1324a(h)(3);
                 8 C.F.R. § 274.12(c)(14). The Secretary has for decades granted
                 work authorization to certain qualified immigrants and exer-
                 cised her discretion to do so for DACA recipients when the pro-
                 gram was instituted in 2012.
                     37 Petitioners note that the District Court for the District of

                 Columbia concluded that certain of these policy reasons were
                 not “post-hoc rationalizations.” Pet. Br. 29. Even if the policy
                 considerations are viewed as an elaboration of the September




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                    The Nielsen Memorandum’s cursory discussion of
                 recipients’ reliance interests, id. at 125a, likewise
                 had no root in the September Memorandum, id. at
                 111a‒119a, and should be rejected for this reason
                 alone. See Encino Motorcars, 136 S. Ct. at 2126.
                                              ***
                     Petitioners lean heavily on the Nielsen Memo-
                 randum to support their assertions that the decision
                 to rescind the DACA program is not subject to judi-
                 cial review and is substantively valid. See Pet. Br.
                 26‒32, 37‒43, 50‒52. But the three-page Nielsen
                 Memorandum cannot shore up the faulty decision-
                 making in the September Memorandum because it
                 merely restates erroneous legal conclusions or offers
                 new, post-hoc policy rationalizations that cannot be
                 considered. Under this Court’s precedent, such ex-
                 planations provide no basis to disturb the lower
                 courts’ reviewability and merits determinations.
                                       CONCLUSION
                    For the foregoing reasons, the September Memo-
                 randum undermines amici’s interests in fostering
                 safe, prosperous communities where all individu-
                 als—including the hundreds of thousands of resi-
                 dents receiving deferred action under DACA—are
                 given an opportunity to participate and grow. The
                 courts below correctly decided that Petitioners’ deci-


                 Memorandum, they are based on Acting Secretary Duke’s orig-
                 inal legal conclusion, and as explained in the preceding para-
                 graph, do not change the fact that Petitioners’ decision was ar-
                 bitrary and capricious.




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                 sion to rescind DACA is reviewable and unlawful.
                 Accordingly, the Court should affirm the judgments
                 of the Ninth Circuit and the District Court for the
                 District of Columbia, and the orders of the Eastern
                 District of New York.


                 Respectfully submitted,

                 MICHAEL N. FEUER               MARGARET L. CARTER
                  City Attorney                 DANIEL R. SUVOR
                 JAMES P. CLARK                 DIMITRI D. PORTNOI
                 VALERIE L. FLORES              DANIEL J. TULLY
                 DANIELLE GOLDSTEIN             O’MELVENY & MYERS LLP
                 MICHAEL DUNDAS                 400 South Hope Street
                  Counsel of Record             18th Floor
                 200 N. Main Street             Los Angeles, CA 90071
                 Los Angeles, CA 90012          (213) 430-6000
                 (213) 978-8100
                 mike.dundas@lacity.org

                 Counsel for Amicus Curiae      Counsel for Amicus Curiae
                 City of Los Angeles, Calif.    County of Los Angeles, Calif.



                 October 4, 2019




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                                        APPENDIX A

                                  LIST OF AMICI CURIAE

                  MICHAEL N. FEUER              MARGARET L. CARTER
                   City Attorney                DANIEL R. SUVOR
                  JAMES P. CLARK                DIMITRI D. PORTNOI
                  VALERIE L. FLORES             DANIEL J. TULLY
                  DANIELLE GOLDSTEIN            O’MELVENY & MYERS LLP
                  MICHAEL DUNDAS                400 South Hope Street
                  200 N. Main Street            18th Floor
                  Los Angeles, CA 90012         Los Angeles, CA 90071
                  Counsel for Amicus Curiae Counsel for Amicus Curiae
                  City of Los Angeles, Califor- County of Los Angeles, Cali-
                  nia                           fornia

                  EVE V. BELFANCE               DONNA R. ZIEGLER
                   Director of Law               County Counsel
                  161 S. High Street,           1221 Oak Street, Suite 450
                  Suite 202                     Oakland, CA 94612
                  Akron, OH 44308
                                                Counsel for Amicus Curiae
                  Counsel for Amicus Curiae     County of Alameda, Califor-
                  City of Akron, Ohio           nia

                  CRAIG LABADIE                 WILLIAM G. KELLY, JR.
                   City Attorney                 Corporation Counsel
                  1000 San Pablo Avenue         24 Eagle Street
                  Albany, CA 94706              Albany, NY 12207

                  Counsel for Amicus Curiae     Counsel for Amicus Curiae
                  City of Albany, California    City of Albany, New York




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                                              2a
                  ESTEBAN A. AGUILAR, JR. JOANNA C. ANDERSON
                  City Attorney            City Attorney
                  P.O. Box 2248           301 King Street, Suite 1300
                  Albuquerque, NM 87103 Alexandria, VA 22314

                  Counsel for Amicus Curiae    Counsel for Amicus Curiae
                  City of Albuquerque, New     City of Alexandria, Virginia
                  Mexico

                  GREGORY J. SWAIN             STEPHEN A. MACISAAC
                   County Attorney              County Attorney
                  2660 Riva Road,              2100 Clarendon Boulevard,
                  4th Floor                    Suite 403
                  Annapolis, MD 21401          Arlington, VA 22201

                  Counsel for Amicus Curiae Counsel for Amicus Curiae
                  Anne Arundel County, Mar- County of Arlington, Virginia
                  yland

                  SHANNON CHAFFIN              NINA R. HICKSON
                   City Attorney                City Attorney
                  Aleshire & Wynder, LLP       55 Trinity Avenue,
                  2440 Tulare Street,          Suite 5000
                  Suite 410                    Atlanta, GA 30303
                  Fresno, CA 93721
                                               Counsel for Amicus Curiae
                  Counsel for Amicus Curiae    City of Atlanta, Georgia
                  City of Arvin, California




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                                              3a
                  ANNE L. MORGAN                 ANDRE M. DAVIS
                  City Attorney                   City Solicitor
                  PO Box 1546                    100 N. Holliday Street,
                  Austin, TX 78767               Suite 101
                                                 Baltimore, MD 21146
                  Counsel for Amicus Curiae
                  City of Austin, Texas          Counsel for Amicus Curiae
                                                 City of Baltimore, Maryland

                  FARIMAH F. BROWN               JAYME B. SULLIVAN
                   City Attorney                  City Attorney
                  2180 Milvia Street,            150 N. Capitol Boulevard
                  4th Floor                      Boise, ID 83701
                  Berkeley, CA 94704
                                                 Counsel for Amicus Curiae
                  Counsel for Amicus Curiae      City of Boise, Idaho
                  City of Berkeley, California

                  EUGENE O’FLAHERTY              THOMAS A. CARR
                  Corporation Counsel             City Attorney
                  One City Hall Square,          1777 Broadway
                  Room 615                       P.O. Box 791
                  Boston, MA 02201               Boulder, CO 80302

                  Counsel for Amicus Curiae      Counsel for Amicus Curiae
                  City of Boston, Massachu-      City of Boulder, Colorado
                  setts




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                                           4a
                  BEN PEARLMAN                EILEEN BLACKWOOD
                  County Attorney              City Attorney
                  P.O. Box 471                City Hall
                  Boulder, CO 80306           149 Church Street
                                              Burlington, VT 05401
                  Counsel for Amicus Curiae
                  County of Boulder, Colo-    Counsel for Amicus Curiae
                  rado                        City of Burlington, Vermont

                  NANCY E. GLOWA              JUAN A. GONZALEZ
                   City Solicitor              Chief Counsel
                  795 Massachusetts           1100 East Monroe Street
                  Avenue                      Brownsville, Texas 78520
                  Cambridge, MA 02139
                                              Counsel for Amicus Curiae
                  Counsel for Amicus Curiae   County of Cameron, Texas
                  City of Cambridge, Massa-
                  chusetts

                  RALPH KARPINOS              CHERYL WATSON FISHER
                   Town Attorney               City Solicitor
                  405 Martin Luther King      500 Broadway,
                  Jr. Boulevard               Room 307
                  Chapel Hill, NC 27514       Chelsea, MA 02150

                  Counsel for Amicus Curiae Counsel for Amicus Curiae
                  Town of Chapel Hill, North City of Chelsea, Massachu-
                  Carolina                   setts




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                                              5a
                  MARK A. FLESSNER             STEPHEN G. QUINN
                   Corporation Counsel          City Attorney
                  30 N. LaSalle Street,        1055 Rowland Street
                  Suite 800                    Clarkston, GA 30021
                  Chicago, IL 60602
                                               Counsel for Amicus Curiae
                  Counsel for Amicus Curiae    City of Clarkston, Georgia
                  City of Chicago, Illinois

                  WILLIAM R. HANNA             SUELLEN FERGUSON
                   Director of Law              City Attorney
                  40 Severance Circle          4500 Knox Road
                  Cleveland Heights, OH        College Park, MD 20740
                  20740
                                               Counsel for Amicus Curiae
                  Counsel for Amicus Curiae    City of College Park, Mary-
                  City of Cleveland Heights,   land
                  Ohio

                  ZACH KLEIN                   SHARON L. ANDERSON
                   City Attorney                County Counsel
                  77 N. Front Street,          651 Pine Street,
                  4th Floor                    9th Floor
                  Columbus, OH 43214           Martinez, CA 94553

                  Counsel for Amicus Curiae    Counsel for Amicus Curiae
                  City of Columbus, Ohio       County of Contra Costa, Cali-
                                               fornia




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                  KIMBERLY M. FOXX               CAROL A. SCHWAB
                   States Attorney                City Attorney
                  69 W. Washington,              9770 Culver Boulevard
                  32nd Floor                     Culver City, CA 90232
                  Chicago, IL 60602
                                                 Counsel for Amicus Curiae
                  Counsel for Amicus Curiae      City of Culver City, California
                  Cook County, Illinois

                  HEATHER M. MINNER              CHRISTOPHER J. CASO
                   City Attorney                  Interim City Attorney
                  10300 Torre Avenue             1500 Marilla Street,
                  Cupertino, CA 95014            Room 7DN
                                                 Dallas, Texas 75201
                  Counsel for Amicus Curiae
                  City of Cupertino, Califor-    Counsel for Amicus Curiae
                  nia                            City of Dallas, Texas

                  JOHN BUTRUS                    INDER KHALSA
                   Federal Practices              City Attorney
                  Division Chief                 Richards Watson &
                  133 N. Riverfront              Gershon
                  Boulevard, LB 19               44 Montgomery Street,
                  Dallas, TX 75207               Suite 3800
                                                 San Francisco, CA 94104
                  Counsel for Amicus Curiae
                  County of Dallas, Texas        Counsel for Amicus Curiae
                                                 City of Davis, California




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                                              7a
                  BARBARA J. DOSECK            KRISTIN M. BRONSON
                   City Attorney                City Attorney
                  101 West Third Street        1437 Bannock St.,
                  P.O. Box 22                  Room 353
                  Dayton, OH 45401             Denver, CO 80202

                  Counsel for Amicus Curiae    Counsel for Amicus Curiae
                  City of Dayton, Ohio         City and County of Denver,
                                               Colorado

                  LAWRENCE GARCIA              KIMBERLY M. REHBERG
                   Corporation Counsel          City Attorney
                  2 Woodward Avenue            101 City Hall Plaza
                  Detroit, MI 48226            Durham, NC 27701

                  Counsel for Amicus Curiae    Counsel for Amicus Curiae
                  City of Detroit, Michigan    City of Durham, North Caro-
                                               lina

                  ANGELA WHEELER               DOUGLAS T. SLOAN
                   City Attorney                City Attorney
                  1101 S. Saginaw Street       2600 Fresno Street
                  Flint, MI 48502              Fresno, CA 93721

                  Counsel for Amicus Curiae    Counsel for Amicus Curiae
                  City of Flint, Michigan      City of Fresno, California




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                                            8a
                  N. LYNN BOARD          Howard G. Rifkin
                   City Attorney          Corporation Counsel
                  31 S. Summit Avenue    550 Main Street, Room 210
                  Gaithersburg, MD 20877 Hartford, CT 06103

                  Counsel for Amicus Curiae Counsel for Amicus Curiae
                  City of Gaithersburg, Mary- City of Hartford, Connecticut
                  land

                  MICHAEL O. FREEMAN           KATHERINE B. RILEY
                   County Attorney             Board Attorney
                  C-2000 Government            Barrett Law Group, P.A.
                  Center                       P.O. Box 927
                  300 S. Sixth Street          Lexington, MS 39095
                  Minneapolis, MN 55487
                                               Counsel for Amicus Curiae
                  Counsel for Amicus Curiae    County of Holmes, Mississippi
                  County of Hennepin, Minne-
                  sota

                  CRYSTAL BARNES               PAUL S. AOKI
                   Acting City Solicitor        Acting Corporation
                  20 Korean Veterans           Counsel
                  Plaza, # 204                 530 S. King St., Room 110
                  Holyoke, MA 01040            Honolulu, HI 96813

                  Counsel for Amicus Curiae    Counsel for Amicus Curiae
                  City of Holyoke, Massachu-   City and County of Honolulu,
                  setts                        Hawaii




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                                          9a
                  RONALD C. LEWIS             E.I. CORNBROOKS, IV
                   City Attorney              City Attorney
                  900 Bagby, 4th Floor        Karpinski, Colaresi &
                  Houston, Texas 77002        Karp, P.A.
                                              120 East Baltimore Street
                  Counsel for Amicus Curiae   Baltimore, MD 21202
                  City of Houston, Texas
                                              Counsel for Amicus Curiae
                                              City of Hyattsville, Maryland

                  ELEANOR M. DILKES           CLYDE J. ROBINSON
                   City Attorney               City Attorney
                  410 East Washington         241 West South Street
                  Street                      Kalamazoo, MI 49007
                  Iowa City, IA 52240
                                              Counsel for Amicus Curiae
                  Counsel for Amicus Curiae   City of Kalamazoo, Michigan
                  City of Iowa City, Iowa

                  DANIEL T. SATTERBERG        CHARLES W. SWANSON
                   Prosecuting Attorney        City Law Director
                  516 Fourth Avenue,          400 Main Street, Room 699
                  W400                        Knoxville, TN 37901
                  Seattle, WA 98104
                                              Counsel for Amicus Curiae
                  Counsel for Amicus Curiae   City of Knoxville, Tennessee
                  King County, Washington




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                                          10a
                  JIM SMIERTKA                JENNIFER VEGA-BROWN
                  City Attorney               City Attorney
                  124 W. Michigan Avenue      700 North Main
                  Lansing, MI 48933           Las Cruces, NM 88001

                  Counsel for Amicus Curiae   Counsel for Amicus Curiae
                  City of Lansing, Michigan   City of Las Cruces, New Mexico

                  RAQUEL RUANO                CHARLES PARKIN
                   City Attorney               City Attorney
                  City Hall – Room 306        411 W. Ocean Boulevard,
                  200 Common Street           9th Floor
                  Lawrence, MA 01840          Long Beach, CA 90802

                  Counsel for Amicus Curiae   Counsel for Amicus Curiae
                  City of Lawrence, Massa-    City of Long Beach, California
                  chusetts

                  MICHAEL P. MAY              BRIAN E. WASHINGTON
                   City Attorney               County Counsel
                  210 Martin Luther King      3501 Civic Center Drive,
                  Jr. Boulevard, Room 401     Suite 275
                  Madison, WI 53703           San Rafael, CA 94903

                  Counsel for Amicus Curiae Counsel for Amicus Curiae
                  City of Madison, Wisconsin County of Marin, California




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                                            11a
                  RAUL J. AGUILA               SUSAN SEGAL
                   City Attorney               City Attorney
                  1700 Convention Center       350 S. Fifth Street,
                  Drive                        Room #210
                  Miami Beach, FL 33139        Minneapolis, MN 55415

                  Counsel for Amicus Curiae    Counsel for Amicus Curiae
                  City of Miami Beach, Flor-   City of Minneapolis, Minne-
                  ida                          sota

                  LESLIE J. GIRARD             MARC P. HANSEN
                   Acting County Counsel        County Attorney
                  168 West Alisal Street,      101 Monroe Street
                  3rd Floor                    Rockville, MD 20850
                  Salinas, CA 93901
                                               Counsel for Amicus Curiae
                  Counsel for Amicus Curiae Montgomery County, Mary-
                  County of Monterey, Califor- land
                  nia

                  DONALD A. LARKIN             KRISHAN CHOPRA
                   City Attorney                City Attorney
                  17575 Peak Avenue            500 Castro Street
                  Morgan Hill, CA 95307        Mountain View, CA 94041

                  Counsel for Amicus Curiae    Counsel for Amicus Curiae
                  City of Morgan Hill, Cali-   City of Mountain View, Cali-
                  fornia                       fornia




                                                                              AR5803
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                                          12a
                  JOHN ROSE, JR.           KATHLEEN E. GILL
                  Corporation Counsel      Corporation Counsel
                  165 Church Street, # 441 515 North Avenue
                  New Haven, CT 06510      New Rochelle, NY 10801

                  Counsel for Amicus Curiae    Counsel for Amicus Curiae
                  City of New Haven, Con-      City of New Rochelle, New
                  necticut                     York

                  GEORGIA M. PESTANA           JEFF P. H. CAZEAU
                  Acting Corporation           City Attorney
                  Counsel                      776 NE 125 Street
                  100 Church Street            North Miami, FL 33161
                  New York, NY 10007
                                               Counsel for Amicus Curiae
                  Counsel for Amicus Curiae    City of North Miami, Florida
                  City of New York, New York

                  BARBARA J. PARKER            WM. MATTHEW DITZHAZY
                  City Attorney                City Attorney
                  One Frank H. Ogawa           38300 Sierra Highway
                  Plaza, 6th Floor             Palmdale, CA 93550
                  Oakland, CA 94612
                                              Counsel for Amicus Curiae
                  Counsel for Amicus Curiae City of Palmdale, California
                  City of Oakland, California




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                                            13a
                  JEFFREY S. BALLINGER      SAMUEL S. GOREN
                  City Attorney             City Attorney
                  3200 E. Tahquitz Canyon Goren Cherof Doody &
                  Way                       Ezrol, P.A.
                  Palm Springs, CA 92262 3099 East Commercial
                                            Boulevard, Suite 200
                  Counsel for Amicus Curiae Fort Lauderdale, FL 33308
                  City of Palm Springs, Cali-
                  fornia                        Counsel for Amicus Curiae
                                                City of Pembroke Pines, Flor-
                                                ida

                  YVONNE HILTON            MARCEL S. PRATT
                  City Solicitor            City Solicitor
                  313 City-County Building 1515 Arch Street,
                  414 Grant Street         17th Floor
                  Pittsburgh, PA 15219     Philadelphia, PA 19102

                  Counsel for Amicus Curiae Counsel for Amicus Curiae
                  City of Pittsburgh, Pennsyl- City of Philadelphia, Pennsyl-
                  vania                        vania

                  CRIS MEYER                    DAVID MINCHELLO
                   City Attorney                 Corporation Counsel
                  200 W. Washington             515 Watchung Avenue
                  Street, 13th Floor            Plainfield, NJ 07061
                  Phoenix, AZ 85003
                                                Counsel for Amicus Curiae
                  Counsel for Amicus Curiae     City of Plainfield, New
                  City of Phoenix, Arizona      Jersey




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                                            14a
                  TRACY P. REEVE              TRISHA WATERBURY CECIL
                  City Attorney                Municipal Attorney
                  1221 SW Fourth Avenue,      Mason, Griffin & Pierson,
                  Suite 430                   P.C.
                  Portland, OR 97240          101 Poor Farm Road
                                              Princeton, NJ 08540
                  Counsel for Amicus Curiae
                  City of Portland, Oregon    Counsel for Amicus Curiae
                                              Municipality of Princeton,
                                              New Jersey

                  JEFFREY DANA                BRUCE GOODMILLER
                   City Solicitor             City Attorney
                  444 Westminster Street,     450 Civic Center Plaza
                  Suite 220                   Richmond, CA 94804
                  Providence, RI 02903
                                              Counsel for Amicus Curiae
                  Counsel for Amicus Curiae   City of Richmond, California
                  City of Providence, Rhode
                  Island

                  JASON LOOS                  TIMOTHY R. CURTIN
                   City Attorney               Corporation Counsel
                  201 4th Street SE           30 Church Street,
                  Rochester, MN 55904         Room 400A
                                              Rochester, NY 14614
                  Counsel for Amicus Curiae
                  City of Rochester, Minne-   Counsel for Amicus Curiae
                  sota                        City of Rochester, New York




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                                            15a
                  SUSANA ALCALA WOOD         LYNDSEY M. OLSON
                   City Attorney              City Attorney
                  915 I Street, Fourth Floor 15 West Kellogg Boulevard,
                  Sacramento, CA 95814       Suite 400
                                             Saint Paul, MN 55102
                  Counsel for Amicus Curiae
                  City of Sacramento, Califor- Counsel for Amicus Curiae
                  nia                          City of Saint Paul, Minnesota

                  CHRISTOPHER A.                ANDY SEGOVIA
                  CALLIHAN                       City Attorney
                   City Attorney                100 Military Plaza
                  200 Lincoln Avenue            3rd Floor City Hall
                  Salinas, CA 93901             San Antonio, TX 78201

                  Counsel for Amicus Curiae     Counsel for Amicus Curiae
                  City of Salinas, California   City of San Antonio, Texas

                  MARA W. ELLIOTT               DENNIS J. HERRERA
                   City Attorney                City Attorney
                  1200 Third Avenue,            City Hall Room 234
                  Suite 1620                    One Dr. Carlton B.
                  San Diego, CA 92101           Goodlett Place
                                                San Francisco, CA 94102
                  Counsel for Amicus Curiae
                  City of San Diego, Califor-   Counsel for Amicus Curiae
                  nia                           City and County of San Fran-
                                                cisco, California




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                                           16a
                  JOHN C. BEIERS               DANA MCRAE
                   County Counsel               County Counsel
                  Hall of Justice and          701 Ocean Street,
                  Records                      Room 505
                  400 County Center,           Santa Cruz, CA 95060
                  6th Floor
                  Redwood City, CA 94063       Counsel for Amicus Curiae
                                               County of Santa Cruz, Cali-
                  Counsel for Amicus Curiae    fornia
                  County of San Mateo, Cali-
                  fornia

                  ERIN K. MCSHERRY             LANE DILG
                   City Attorney                City Attorney
                  200 Lincoln Avenue           1685 Main Street
                  Santa Fe, NM 98501           Santa Monica, CA 90401

                  Counsel for Amicus Curiae Counsel for Amicus Curiae
                  City of Santa Fe, New Mex- City of Santa Monica, Califor-
                  ico                        nia

                  PETER S. HOLMES              FRANCIS X. WRIGHT, JR.
                   City Attorney                City Solicitor
                  701 Fifth Avenue,            93 Highland Avenue
                  Suite 2050                   Somerville, MA 02143
                  Seattle, WA 98104
                                              Counsel for Amicus Curiae
                  Counsel for Amicus Curiae City of Somerville, Massachu-
                  City of Seattle, Washington setts




                                                                              AR5808
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                                            17a
                  STEPHANIE STEELE              KATHRYN EMMETT
                   Corporation Counsel           Corporation Counsel
                  227 W. Jefferson Boule-       888 Washington Boulevard
                  vard, Suite 1200S             Stamford, CT 06904
                  South Bend, IN 46601
                                                Counsel for Amicus Curiae
                  Counsel for Amicus Curiae     City of Stamford, Connecticut
                  City of South Bend, Indiana

                  JOHN M. LUEBBERKE             WILLIAM FOSBRE
                   City Attorney                 City Attorney
                  425 N. El Dorado Street       747 Market Street,
                  Stockton, CA 95202            Room 1120
                                                Tacoma, WA 98402
                  Counsel for Amicus Curiae
                  City of Stockton, California Counsel for Amicus Curiae
                                               City of Tacoma, Washington

                  DAVID A. ESCAMILLA            RACHEL B. TURPIN
                  County Attorney                City Attorney
                  P.O. Box 1748                 6200 Southcenter Boulevard
                  Austin, TX 78767              Tukwila, WA 98188

                  Counsel for Amicus Curiae     Counsel for Amicus Curiae
                  Travis County, Texas          City of Tukwila, Washington

                  MIKE RANKIN                   ANGELO AUTERI
                  City Attorney                  Corporation Counsel
                  P.O. Box 27210                1100 Valley Brook Avenue
                  Tucson, AZ 85726              Lyndhurst, NJ 07071

                  Counsel for Amicus Curiae     Counsel for Amicus Curiae
                  City of Tucson, Arizona       City of Union City, New
                                                Jersey




                                                                                AR5809
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                                          18a
                  MICHAEL JENKINS             JOHN DANIEL REAVES
                   City Attorney               General Counsel
                  Best Best & Krieger LLP     U.S. Conference of Mayors
                  1230 Rosecrans Avenue,      1200 New Hampshire Ave-
                  Suite 110                   nue NW, Suite 800
                  Manhattan Beach, CA         Washington, DC 20036
                  90266
                                              Counsel for Amicus Curiae
                  Counsel for Amicus Curiae   U.S. Conference of Mayors
                  City of West Hollywood,
                  California

                  CHUCK THOMPSON              International City/County
                   General Counsel            Management Association
                  International Municipal     770 North Capitol Street
                  Lawyers Association         NE,
                  51 Monroe Street,           Suite 500
                  Suite 404                   Washington, DC 20002
                  Rockville, MD 20850

                  Counsel for Amicus Curiae
                  International Municipal
                  Lawyers Association

                  National League of Cities
                  660 North Capitol Street
                  NW
                  Washington, DC 20001




                                                                           AR5810
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                                    No. 18-587

                                       IN THE


                    Supreme Court of the United States

                  DEPARTMENT OF HOMELAND SECURITY, ET AL.,
                                Petitioners,

                                       —v.—

               REGENTS OF THE UNIVERSITY OF CALIFORNIA, ET AL.,
                               Respondents.


                        ON WRIT OF CERTIORARI
                TO THE UNITED STATES COURT OF APPEALS
                        FOR THE NINTH CIRCUIT


                         BRIEF FOR AMICUS CURIAE
                       IMMIGRATION LAW SCHOLARS
                     IN SUPPORT OF THE RESPONDENTS

                                  Harry Lee
                                  Counsel of Record
                                  Johanna Dennehy
                                  STEPTOE & JOHNSON LLP
                                  1330 Connecticut Ave. NW
                                  Washington, D.C. 20036
                                  hlee@steptoe.com
                                  (202) 429 8112


                     Additional Captions Listed on Inside Cover




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                  DONALD J. TRUMP, PRESIDENT OF THE UNITED
                               STATES, ET AL.,
                                Petitioners,

                                    —v.—

               NATIONAL ASSOCIATION FOR THE ADVANCEMENT OF
                          COLORED PEOPLE, ET AL.,
                               Respondents.



                        ON WRIT OF CERTIORARI
                TO THE UNITED STATES COURT OF APPEALS
                 FOR THE DISTRICT OF COLUMBIA CIRCUIT


                  KEVIN K. MCALEENAN, ACTING SECRETARY OF
                         HOMELAND SECURITY, ET AL.,
                                Petitioners,

                                    —v.—

                   MARTIN JONATHAN BATALLA VIDAL, ET AL.,
                               Respondents.



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                          INTEREST OF AMICI CURIAE1

                        Amici are 124 scholars of immigration law who
                 have testified, lectured, researched, written, and
                 advocated at length on immigration issues, including
                 the principal subject of this appeal: The power of the
                 Executive Branch to craft and deploy immigration-
                 related deferred action policies. This brief reflects
                 amici’s long-standing interest in and knowledge
                 regarding the historical use of deferred-action
                 initiatives in immigration enforcement, as well as the
                 legal doctrines and precedent supporting such use.

                       A complete list of amici is set forth in Appendix
                 A.

                            SUMMARY OF ARGUMENT

                        In September 2017, the Department of
                 Homeland Security (DHS) rescinded the agency’s
                 Deferred Action for Childhood Arrivals (“DACA”)
                 policy, purportedly on the basis that the policy was
                 unconstitutional and otherwise unlawful. After
                 unsuccessfully defending that position in court, DHS


                 1     Pursuant to Supreme Court Rule 37.6, amici curiae
                       affirm that no counsel for a party authored this brief in
                       whole or in part; that no party or counsel for a party
                       made a monetary contribution toward the preparation or
                       submission of this brief; and that no person other than
                       the amici curiae or their counsels made a monetary
                       contribution to its preparation or submission. Pursuant
                       to Supreme Court Rule 37.3, each party has consented to
                       the filing of this brief, and copies of the consents are on
                       file with the Clerk of the Court.




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                 issued a second, post-hoc memoranda that offered
                 additional reasons for rescinding DACA, including the
                 assertion that the current administration prefers to
                 determine eligibility for deferred action on an ad hoc,
                 case-by-case basis rather than a policy by which
                 immigrants who meet certain threshold criteria may
                 obtain deferred action after the exercise of case-by-
                 case review by immigration officials.

                        While the parties debate in their briefs DHS’s
                 ability to rely on post-hoc rationalizations for agency
                 decisions, amici respectfully submit this brief for the
                 purpose of demonstrating to the Court that DHS’s
                 originally stated basis for rescission—the purported
                 unconstitutionality and/or illegality of DACA—is not
                 supported by legal precedent or historical practice.
                 Amici can state this conclusion with confidence
                 because they have devoted their careers to studying
                 and researching immigration law, including the
                 means by which the Executive Branch has exercised
                 its discretion to identify which cases present a high
                 priority for removal, and which low-priority
                 immigrants may appropriately be placed at the ‘end of
                 the line.’

                        By submitting this brief, amici seek to provide
                 the Court with the benefit of their expertise and
                 knowledge regarding the long-standing use of
                 deferred action and other forms of prosecutorial
                 discretion in immigration enforcement. Specifically,
                 amici catalogue the numerous instances in which the
                 Executive Branch has exercised its discretion to
                 provide temporary relief to categories of immigrants




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                 who it determines, in its discretion, merit temporary
                 relief from removal. These historical examples reveal
                 that the exercise of discretion in immigration
                 enforcement has long been driven by humanitarian
                 considerations. Amici also identify the legal sources of
                 prosecutorial discretion, and explain the ways in
                 which Congress and the courts have supported and
                 affirmed the validity of the exercise of discretion in
                 setting priorities for immigration enforcement. And in
                 an effort to be as helpful as possible, amici respond to
                 the grounds on which DHS initially relied to rescind
                 DACA, as well as the new arguments DHS has
                 advanced in litigation, and explain why both fail to
                 establish that DACA marks an unlawful departure
                 from historical practice and precedent.

                                     ARGUMENT

                 I.    THE EXECUTIVE BRANCH HAS LONG
                       USED PROSECUTORIAL DISCRETION
                       AND CATEGORY-BASED DEFERRED
                       ACTION INITIATIVES IN SETTING
                       PRIORITIES FOR IMMIGRATION
                       ENFORCEMENT

                        The DACA initiative is a form of prosecutorial
                 discretion, a long-established and well-accepted
                 practice in nearly every area of civil and criminal law
                 enforcement. As a general matter, prosecutorial
                 discretion in immigration enforcement provides a
                 temporary reprieve from removal. But the use of
                 prosecutorial discretion, while broad, has its limits:
                 The Executive Branch does not have the discretion to
                 grant permanent residency or eligibility to naturalize
                 in the United States. Such powers are reserved to




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                 Congress.

                        Where Congress appropriates fewer resources
                 than will permit full enforcement, the use of
                 prosecutorial discretion is unavoidable. DHS does not
                 dispute that it cannot remove every undocumented
                 immigrant who enters the country without
                 authorization or enters under a valid visa that
                 expires. When DACA was first announced, there were
                 approximately 11 million undocumented immigrants
                 living in the United States, yet Congress appropriated
                 funds that allowed executive agencies to remove only
                 400,000 per year—less than 4% of that population.2
                 DHS spends all of the money appropriated to it each
                 year to remove this small percentage, and thus it must
                 decide, within its broad discretion, those who are the
                 highest removal priorities, and those who are not.3 See


                 2     See Memorandum from John Morton, Dir., U.S.
                       Immigration & Customs Enforcement, Civil Immigration
                       Enforcement: Priorities for the Apprehension, Detention,
                       and Removal of Aliens at 1 (Mar. 2, 2011), http://
                       www.ice.gov/doclib/news/releases/2011/110302washingt
                       ondc.pdf, superseded by Memorandum from Jeh Charles
                       Johnson, Sec’y of Homeland Security, Policies for the
                       Apprehension,     Detention,      and     Removal       of
                       Undocumented      Immigrants       (Nov.     20,    2014),
                       https://www.dhs.gov/sites/default/files/publications/14_1
                       120_memo_prosecutorial_discretion.pdf.
                 3     See Unconstitutionality of Obama’s Executive Actions on
                       Immigration: Hearing Before the H. Comm. on the
                       Judiciary, 114th Cong. 61-90 (2015) (written testimony
                       of Stephen H. Legomsky, The John S. Lehmann
                       University Professor at the Washington University
                       School of Law) (hereinafter “Legomsky Written
                       Testimony”); Shoba Sivaprasad Wadhia, The Role of




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                 Arizona v. United States, 567 U.S. 387, 396 (2012) (“A
                 principal feature of the removal system is the broad
                 discretion exercised by immigration officials.”).

                                             A.

                        Given that the resources appropriated to
                 immigration enforcement permit removal of only a
                 small fraction of undocumented immigrants, the
                 Executive Branch has long exercised prosecutorial
                 discretion in setting immigration enforcement
                 priorities, including through the use of deferred
                 action.

                        Prosecutorial discretion played a role in
                 immigration enforcement long before the Executive
                 Branch began its current practice of issuing and
                 publicizing formal memoranda and guidance, such as
                 the 2012 DACA Memorandum. In the 1970s, attorney
                 Leon Wildes learned through his representation of
                 John Lennon and Yoko Ono that the INS had for many
                 years granted “nonpriority status” to prevent the
                 deportation    of   immigrants    who    presented
                 “sympathetic” cases for non-enforcement.4 Shortly



                       Prosecutorial Discretion in Immigration Law, 9 CONN.
                       PUB. INT’L L.J. 243, 268 (2010) (explaining that a just
                       response to limited federal resources for immigration
                       enforcement is to prioritize the removal of bad actors
                       and, conversely, shift removal of noncitizens with
                       desirable qualities to a lower priority).
                 4     Shoba S. Wadhia, BEYOND DEPORTATION: THE ROLE OF
                       PROSECUTORIAL DISCRETION IN IMMIGRATION CASES 14-
                       17 (2015).




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                 after Wildes made this discovery, INS published its
                 first formal, public deferred-action guidance in the
                 form of “Operations Instructions,” which required
                 agents to consider deferred action “[i]n every case
                 where the district director determines that adverse
                 action would be unconscionable because of the
                 existence of appealing humanitarian factors.”5 The
                 instructions identified factors for INS agents and
                 officers to use in determining whether to refer a
                 removal or deportation case for deferred action. These
                 factors included (i) an immigrant’s age; (ii) the
                 number of years he or she had been present in the
                 United States; (iii) whether any health condition
                 required care in the United States; (iv) how removal
                 of the immigrant would affect family remaining in the
                 United States; and (v) the extent to which the
                 immigrant had engaged in criminal or other
                 disfavored conduct.6

                        Long before the Department of Justice’s Office
                 of Legal Counsel issued its 2014 opinion concerning
                 the legality of DACA, extended DACA, and DAPA
                 (Pet’n App. 102a-110a), federal immigration officials
                 issued guidance documents that affirmed the legal
                 basis for using prosecutorial discretion in immigration
                 enforcement and directed officers to exercise
                 discretion judiciously at every stage of enforcement.
                 One of the first publicly available memoranda


                 5     Id. at 17 (citing INS Operations Instructions, O.I.
                       § 103.1(a)(1)(ii) (1975)).
                 6     Id. at 187 n.8(ii) (citing INS Operations Instructions, O.I.
                       § 103.1(a)(1)(ii) (1975)).




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                 promulgated by a federal official was authored in 1976
                 by then-INS General Counsel Sam Bernsen.7 The
                 Bernsen Memorandum explained that prosecutorial
                 discretion is rooted in the common law, and identified
                 the “Take Care” clause of the United States
                 Constitution as a source of authority to exercise
                 prosecutorial discretion over immigration matters.8 In
                 2000, INS Commissioner Doris Meissner expanded
                 upon the Bernsen Memorandum and provided
                 additional guidance regarding the use of prosecutorial
                 discretion in immigration enforcement.9 During the
                 last administration, additional memoranda setting
                 out policies to govern the exercise of prosecutorial
                 discretion were issued by the Director of U.S.
                 Immigration and Customs Enforcement and, later, by
                 the Secretary of DHS.10 Deferred action was


                 7     Memorandum from Sam Bernsen, Gen. Counsel of INS,
                       Legal Opinion Regarding Service Exercise of
                       Prosecutorial      Discretion     (July     15,     1976),
                       https://www.ice.gov/doclib/foia/prosecutorial-
                       discretion/service-exercise-pd.pdf.
                 8     Id.
                 9     Memorandum from Doris Meissner, Comm’r of INS,
                       Exercising Prosecutorial Discretion (Nov. 17, 2000),
                       http://library.niwap.org/wp-content/uploads/2015/IMM-
                       Memo-ProsDiscretion.pdf.
                 10    Memorandum from John Morton, Dir., U.S. Immigration
                       & Customs Enforcement, Policy No. 10075.1, Exercising
                       Prosecutorial Discretion Consistent with the Civil
                       Immigration Enforcement Priorities of the Agency for the
                       Apprehension, Detention, and Removal of Aliens (June
                       17,        2011),       https://www.ice.gov/doclib/secure-
                       communities/pdf/prosecutorial-discretion-memo.pdf;
                       Memorandum from Jeh Charles Johnson, Sec’y of DHS,




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                 mentioned specifically in nearly every one of the
                 aforementioned guidance documents. Moreover, a
                 federal immigration regulation in place since 1981
                 recognizes deferred action as “an act of administrative
                 convenience to the government which gives some
                 cases lower priority.” 8 C.F.R. § 274a.12(c)(14).

                        Since 1960, the INS and its successor, DHS,
                 have adopted at least 20 policies reflecting the use of
                 prosecutorial discretion with respect to large, defined
                 categories of undocumented immigrants.11 Many of
                 these policies included the use of “extended voluntary
                 departure” (now known as “deferred enforced
                 departure”), under which the President may
                 temporarily delay removal of certain classes of
                 individuals.12 Historical policies that applied such
                 prosecutorial discretion to categories of immigrants
                 include:

                         In 1956, Present Dwight D. Eisenhower
                          used prosecutorial discretion in grants of


                          on Policies for the Apprehension, Detention and Removal
                          of Undocumented Immigrants (Nov. 20, 2014),
                          https://www.dhs.gov/sites/default/files/publications/14_1
                          120_memo_prosecutorial_discretion.pdf.
                 11       See Regents v. U.S. Dep’t of Homeland Sec., 908 F.3d 476,
                          488 (9th Cir. 2018) (citing Andorra Bruno et al., Cong.
                          Research Serv., Analysis of June 15, 2012 DHS
                          Memorandum, Exercising Prosecutorial Discretion with
                          Respect to Individuals Who Came to the United States as
                          Children (July 13, 2012)).
                 12       See U.S.C.I.S. Adjudicator’s Field Manual 38.2(a)(2007),
                          https://www.uscis.gov/ilink/docView/AFM/HTML/AFM/0
                          -0-0-1/0-0-0-16606/0-0-0-16764.html#0-0-0-591.




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                          “parole” to authorize thousands of
                          Hungarian “Freedom Fighters” (who had
                          been fighting against Soviet incursions)
                          to enter the United States.13

                         In the same year, the Eisenhower
                          Administration       implemented       an
                          extended voluntary departure program
                          for certain beneficiaries of a program for
                          skilled or other workers.14

                         In 1981, President Ronald Reagan issued
                          temporary relief from deportation
                          through extended voluntary departure to
                          thousands of Polish nationals who were
                          residing in the United States when
                          Poland declared martial law.15

                         In 1987, the Reagan Administration
                          announced the “Family Fairness”
                          executive action to defer deportations of
                          children whose parents were eligible for
                          permanent residency under the newly
                          enacted Immigration Reform and




                 13       See Wadhia, BEYOND DEPORTATION at 29-30.
                 14       See INS Operations Instructions, O.I. § 242.10(a)(6)(i)
                          (1956).
                 15       See Stephen H. Legomsky & Cristina M. Rodriguez,
                          IMMIGRATION AND REFUGEE LAW AND POLICY 1115-17
                          (5th ed. 2009); David Reimers, STILL THE GOLDEN DOOR:
                          THE THIRD WORLD COMES TO AMERICA 202 (1986).




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                          Control Act of 1986 (IRCA).16 Under
                          President George H.W. Bush, the Family
                          Fairness policy was expanded to defer
                          deportations of the spouses and children
                          of immigrants who qualified for
                          permanent residence under the same
                          statute.17 The Bush Administration
                          predicted that the policy would affect 1.5
                          million non-citizen spouses and children
                          of immigrants (expected at the time to
                          affect 40% of the undocumented
                          immigrant population).18

                         Under President William Jefferson
                          Clinton, the INS established a deferred
                          action initiative for survivors of abuse by



                 16       See 64 No. 41 Interpreter Releases 1191 (Oct. 26, 1987);
                          see also Am. Imm. Council, Reagan-Bush Family
                          Fairness: A Chronological History 1-2 (Dec. 2014),
                          https://www.americanimmigrationcouncil.org/sites/defa
                          ult/files/research/reagan_bush_family_fairness_final_0.
                          pdf.
                 17       Marvine Howe, New Policy Aids Families of Aliens, N.Y.
                          TIMES         at      B3        (Mar.      5,      1990),
                          https://www.nytimes.com/1990/03/05/nyregion/new-
                          policy-aids-families-of-aliens.html; 67 No. 8 Interpreter
                          Releases 204 (Feb. 26, 1990); 67 No. 6 Interpreter
                          Releases 153 (Feb. 5, 1990).
                 18       See Memorandum from Gene McNary, Comm’r of INS,
                          Family Fairness: Guidelines for Voluntary Departure
                          Under 8 C.F.R. 242.5 for Ineligible Spouses and Children
                          of Legalized Aliens at 1-2 (Feb. 2, 1990); see also
                          Legomsky Written Testimony at 83–85.




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                          U.S.-citizen spouses.19

                         In 2003, then-INS Director of Operations
                          William Yates published memoranda
                          that directed INS officers to use
                          prosecutorial    discretion    (including
                          deferred action) to protect victims who
                          were eligible for statutory protections
                          such as an “U” visa.20

                         In 2005, President George W. Bush’s
                          administration instituted a deferred-
                          action policy for foreign students affected
                          by Hurricane Katrina.21




                 19       Paul W. Virtue, Acting Exec. Assoc. Comm’r of INS,
                          Supplemental Guidance on Battered Alien Self-
                          Petitioning Process and Related Issues (May 6, 1997).
                 20       Memorandum from William R. Yates, Assoc. Dir. of Ops.,
                          U.S.C.I.S., Centralization of Interim Relief for U
                          Nonimmigrant Status Applicants (Oct. 8, 2003),
                          http:///www.uscis.gov/sites/default/files/USCIS/Laws/Me
                          moranda/Static_Files_Memoranda/Archives%201998-
                          2008/2003/ucntrl100803.pdf;       Memorandum       from
                          William R. Yates, Assoc. Dir. of Ops., U.S.C.I.S.,
                          Assessment of Deferred Action Requests for Interim
                          Relief from U Nonimmigrant Status Aliens in Removal
                          Proceedings            (May             6,        2004),
                          https://www.uscis.gov/sites/default/files/USCIS/Laws/M
                          emoranda/Static_Files_Memoranda/Archives%201998-
                          2008/2004/uprcd050604.pdf.
                 21       Press Release, USCIS Announces Interim Relief for
                          Foreign Students Adversely Impacted by Hurricane
                          Katrina            (Nov.              25,         2005),




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                         Two years later, President Bush’s
                          administration announced a policy of
                          deferred enforced departure applicable
                          to certain Liberians, in recognition of the
                          ongoing Liberian armed conflict. The
                          policy has been extended for periods of
                          twelve to eighteen months at a time,
                          most recently by President Donald J.
                          Trump in March 2019.22

                         And in 2009, President Barack Obama
                          implemented deferred action for widows
                          and widowers whose visa applications
                          had not been adjudicated when their
                          U.S.-citizen spouses died.23

                 As a general matter, agency officials have recognized
                 that prosecutorial discretion should be informed by
                 humanitarian considerations, and have regularly
                 reminded agents to take humanitarian factors into
                 account when deciding which cases may be eligible for



                          https://www.uscis.gov/sites/default/files/files/pressreleas
                          e/F1Student_11_25_05_PR.pdf.
                 22       U.S.C.I.S., Deferred Enforced Departure – Liberia,
                          https://www.uscis.gov/humanitarian/deferred-enforced-
                          departure/ded-granted-country-liberia/ded-granted-
                          country-liberia (last updated Apr. 4, 2019).
                 23       Memorandum from Donald Neufeld, Acting Assoc. Dir. of
                          USCIS, Guidance Regarding Surviving Spouses of
                          Deceased U.S. Citizens and Their Children (Sept. 4,
                          2009), https://www.uscis.gov/sites/default/files/USCIS/
                          Laws/Memoranda/2009/June%202009/surviving-
                          spouses-deferred-action-guidance.pdf.




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                 deferred action.24 Thus, in addition to adopting
                 policies directed at categories of immigrants who may
                 warrant relief based on the same humanitarian
                 considerations, INS and DHS have exercised
                 discretion on a case-by-case basis to grant deferred
                 action to people with serious medical conditions, those
                 who entered the country at a young age, those who
                 have strong family ties to citizens, and those with
                 lengthy terms of residence in the United States.25

                                              B.

                       Congress has effectively delegated to DHS (and
                 INS before) the power and authority to make
                 prosecutorial discretion decisions. It has explicitly
                 charged the Secretary of Homeland Security with the
                 “administration and enforcement of . . . all . . . laws



                 24    See, e.g., Memorandum from Doris Meissner, Comm’r of
                       INS, Exercising Prosecutorial Discretion (Nov. 17, 2000),
                       http://library.niwap.org/wp-content/uploads/2015/IMM-
                       Memo-ProsDiscretion.pdf; see also Memorandum from
                       Johnny N. Williams, Exec. Assoc. Comm’r, Off. of Field
                       Ops., INS, Family Unity Benefits and Unlawful Presence
                       (Jan. 27, 2003) (reminding regional directors that they
                       have authority to refrain from bringing charges on the
                       basis of unlawful presence and may rely on
                       humanitarian factors to make this assessment); see
                       generally Wadhia, BEYOND DEPORTATION at 27-28
                       (collecting examples).
                 25    See Statement of Karen T. Grisez on behalf of the
                       American Bar Association to the U.S. Senate Committee
                       on the Judiciary at 7 (May 18, 2011), available at
                       http:///www.americanbar.org/content/dam/aba/uncatego
                       rized/2011/2011may18_grisezs_t.authcheckdam.pdf.




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                 relating to . . . immigration and naturalization . . . ,” 8
                 U.S.C. § 1103(a)(1), and has made the Secretary
                 “responsible” for “[e]stablishing national immigration
                 enforcement policies and priorities,” 6 U.S.C. § 202(5).

                        Congress has also enacted numerous pieces of
                 immigration legislation that assume that the
                 Executive Branch has the power to grant deferred
                 action to certain classes or categories of otherwise
                 removable immigrants. As the Office of Legal Counsel
                 recognized in 2014, “Congress has long been aware of
                 the practice of granting deferred action, including in
                 its categorical variety” and “has enacted several pieces
                 of legislation that have either assumed that deferred
                 action would be available in certain circumstances, or
                 expressly directed that deferred action be extended to
                 certain categories of aliens.”26 For instance, in Section
                 237(d)(2) of the Immigration and Nationality Act
                 (codified at 8 U.S.C. § 1227(d)(2)), Congress specified
                 that the denial of a request for an administrative stay
                 of an order of removal “shall not preclude the alien
                 from applying for . . . deferred action.” Similarly,
                 Section 1503(d)(3) of the Victims of Trafficking and
                 Violence Protection Act of 2000, Pub. L. No. 106-386,
                 114 Stat. 1464, 1522 (codified at 8 U.S.C.
                 § 1154(a)(1)(D)(i)(II), (IV)), makes certain covered
                 immigrants “eligible for deferred action and work
                 authorization.”



                 26     Office of Legal Counsel, U.S. Dept. of Justice, The
                        Department of Homeland Security’s Authority to
                        Prioritize Removal of Certain Aliens Unlawfully Present
                        in the United States and to Defer Removal of Others at
                        18 (Nov. 19, 2014).




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                       Moreover, members of Congress from both
                 major political parties have urged the Executive
                 Branch to de-prioritize specific categories of removal
                 cases on humanitarian grounds. For instance, after
                 Congress amended the INA in 1996 to mandate that
                 INS detain “arriving aliens” (including asylum
                 seekers) and limit the discretion of immigration
                 judges to release detainees on bond, a bi-partisan
                 group of twenty-eight members of Congress (including
                 some co-sponsors of the 1996 amendments) urged the
                 INS Commissioner to issue guidelines on
                 prosecutorial discretion based on the concern that INS
                 was pursuing the deportation of productive and
                 sympathetic non-citizens “when so many other more
                 serious cases existed.”27

                        In fact, Congress has never curtailed the
                 Executive Branch’s use of deferred action over the
                 almost 50 years such initiatives have been employed,
                 despite amending the INA on numerous occasions and
                 passing annual agency appropriation bills. To the
                 contrary, Congress has made the Executive Branch’s
                 use of deferred action and other forms of prosecutorial
                 discretion unavoidable, by consistently appropriating
                 far less than DHS needs to remove every person
                 eligible for removal.

                                              C.

                       Finally, this Court has repeatedly confirmed

                 27    See Letter from Members of Congress to Janet Reno,
                       Attorney General, Department of Justice, Guidelines for
                       Use of Prosecutorial Discretion in Removal Proceedings
                       (Nov.    4,    1999),    http://www.ice.gov/doclib/foia/ \
                       prosecutorial-discretion/991104congress-letter.pdf.




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                 the Executive Branch’s lawful right and need to
                 employ prosecutorial discretion policies in various
                 contexts, including immigration. See, e.g., Arizona v.
                 United States, 567 U.S. 387, 396 (2012) (“A principal
                 feature of the removal system is the broad discretion
                 exercised by immigration officials”); Heckler v.
                 Chaney, 470 U.S. 821, 831 (1985) (“This Court has
                 recognized on several occasions over many years that
                 an agency’s decision not to prosecute or enforce,
                 whether through civil or criminal process, is a decision
                 generally committed to an agency’s absolute
                 discretion”). Indeed, in Reno v. American-Arab Anti-
                 Discrimination Committee, Justice Scalia, writing for
                 an eight-Justice majority, confirmed that deferred
                 action constituted a “regular practice” by which the
                 INS     exercised    prosecutorial   discretion     “for
                 humanitarian reasons or simply for its own
                 convenience.” 525 U.S. 471, 483-84 (1999).

                 II.   THE DACA INITIATIVE FITS SQUARELY
                       INTO THE EXECUTIVE BRANCH’S
                       LONGSTANDING USE OF CATEGORY-
                       BASED DEFERRED ACTION
                       INITIATIVES

                        DACA fits squarely within the legal, historical
                 practice of identifying categories of immigrants for
                 whom removal is not a high priority, such that
                 “enforcement resources are not expended on these low
                 priority cases but are instead appropriately focused on
                 people who meet our enforcement priorities.” 2012
                 DACA Memorandum at 98a. The policy sets out
                 criteria that must be satisfied before an individual is
                 “considered for an exercise of prosecutorial
                 discretion,” which include age (eligibility is limited to




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                 those thirty years old or under); dates of entry, and, to
                 the extent applicable, re-entry into the United States
                 (the applicant must have first arrived in the United
                 States when he or she was under sixteen years old,
                 must have resided in the United States on a
                 continuous basis for the past five years, and must
                 have been present in the United States as of the date
                 the DACA policy was first promulgated); education
                 (the applicant must be in school, have graduated from
                 high school or have a GED, or have been honorably
                 discharged from the armed services); and threat to
                 public safety (the applicant must not have been
                 convicted of a felony, a significant misdemeanor or
                 multiple misdemeanors, or otherwise pose a threat to
                 national security or public safety). Id. Applicants
                 must also pass a background check. Id. at 99a.

                        The memorandum announcing the DACA
                 initiative specified that satisfying the above criteria
                 would not guarantee relief from removal. Rather,
                 “requests for relief pursuant to this memorandum are
                 to be decided on a case-by-case basis.” Id. at 99a.
                 Then-Secretary Napolitano also confirmed that the
                 memorandum “confers no substantive right,
                 immigration status or pathway to citizenship,” but
                 rather “set[s] forth policy for the exercise of discretion
                 within the framework of the existing law.” Id. at 101a.

                     To date, every court to substantively address
                 DACA has found it to be a lawful exercise of Executive




                                                                              AR5838
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                 Branch discretion.28

                 III.   THE DACA INITIATIVE IS A LAWFUL
                        EXERCISE OF DISCRETION IN
                        IMMIGRATION ENFORCEMENT

                        DHS’s stated reasons for declaring DACA
                 unconstitutional or otherwise unlawful cannot be
                 squared with the broad discretion the Executive
                 Branch has historically exercised over matters of
                 immigration enforcement. DHS acknowledges—as it
                 must—that both Congress and this Court have
                 recognized and affirmed the use of prosecutorial
                 discretion and deferred action as integral to

                 28     The only instance in which a deferred action policy has
                        been found unlawful did not involve a full hearing on the
                        merits. In Texas v. United States, a district court in
                        Brownsville, Texas granted a request by the attorneys
                        general of several states to enjoin the implementation of
                        DAPA and “extended DACA”—deferred-action initiatives
                        that applied to much larger groups of immigrants than
                        DACA—after finding that the states were likely to
                        prevail on the merits of their claims that DHS violated
                        the procedural requirements of the Administrative
                        Procedure Act by adopting these policies. 86 F. Supp. 3d
                        591, 671-72 (S.D. Tex. 2015). The U.S. Court of Appeals
                        for the Fifth Circuit affirmed, and an equally divided
                        Court allowed the ruling to stand. United States v. Texas,
                        136 S. Ct. 2271 (2016) (per curiam). In 2018, the same
                        district court determined that a group of states were
                        likely to prevail on claims that DACA violated the APA,
                        but declined to enjoin the program on the ground that the
                        plaintiff states had not demonstrated that they would
                        suffer irreparable harm if the program were allowed to
                        remain in place for the pendency of the litigation. Texas
                        v. United States, 328 F. Supp. 3d 662, 712-42 (S.D. Tex.
                        2018). The Texas court’s limited-record rulings have no
                        bearing on DACA’s viability.




                                                                                     AR5839
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                 enforcement of the immigration laws. In addition,
                 DHS acknowledges that, because it lacks the
                 resources to remove the entire population eligible for
                 removal at any given time (and, in fact, has the funds
                 to remove only a small fraction of those immigrants),
                 DHS must exercise discretion in deciding who to
                 prioritize for removal. Despite these concessions, DHS
                 has taken the position that the exercise of deferred
                 action embodied by DACA is somehow patently
                 improper. Amici respectfully submit that DHS’s
                 reasons have no support in the historical facts or
                 jurisprudential underpinnings of Executive Branch
                 discretion in the field of immigration enforcement.

                                           A.

                        In announcing and attempting to justify its
                 decision to rescind DACA, DHS relied in significant
                 part on its conclusion that the policy is
                 “unconstitutional.” On September 4, 2017, then-
                 Attorney General Sessions wrote to Acting DHS
                 Secretary Elaine Duke to “advise” that DHS rescind
                 the June 2012 DACA Memorandum. Sessions
                 described DACA as an “unconstitutional exercise of
                 authority by the Executive Branch” based on his
                 conclusion that the policy constituted an “open-ended
                 circumvention of immigration laws.” JA 877. Acting
                 Secretary Duke quoted this portion of the letter in her
                 September 5, 2017 Rescission Memorandum (see
                 Duke Mem. 116a), and concluded, “it is clear that the
                 June 15, 2012 DACA program should be terminated”
                 based on Sessions’s legal analysis as well as the
                 factual findings in a lawsuit in which “the original
                 DACA policy was not challenged.” Duke Mem. 114a &




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                 117a.29

                        DHS has not explained why Acting Secretary
                 Duke concluded that DACA was unconstitutional,
                 either in the appellate courts below or in its merits
                 brief here. Neither Attorney General Sessions nor
                 Acting Secretary Duke pointed to a specific supporting
                 law or doctrine. In fact, the lone case on which the
                 Acting Secretary relied to find DACA unconstitutional
                 did not address DACA’s lawfulness at all, much less
                 the constitutionality of exercising prosecutorial
                 discretion. Texas v. United States, 809 F.3d 134, 178-
                 86 (5th Cir. 2015), aff’d per curiam by an equally
                 divided panel, United States v. Texas, 136 S. Ct. 2271
                 (2016).

                        Prior to the attempt to rescind DACA, those
                 who challenged the constitutionality of the policy
                 generally grounded their objections on the President’s
                 obligation to “take Care that the Laws be faithfully


                 29    Although this brief focuses on whether DACA is a legal
                       exercise of prosecutorial discretion, and leaves it to
                       others to address the extent to which DHS’s rescission of
                       the policy comported with the Administrative Procedure
                       Act, amici note that a court’s review of agency action is
                       generally limited to the record before the agency at the
                       time it made the decision under review, rather than an
                       agency’s post-hoc rationalizations developed for the
                       purpose of litigation. See SEC v. Chenery Corp., 332 U.S.
                       194, 196 (1947). Here, Attorney General Sessions and
                       Acting Secretary Duke both adopted the view that DACA
                       was unconstitutional at the time of their decision. As a
                       result, although DHS does not attempt to defend its
                       original justification for its action, amici will briefly
                       address the extent to which DACA is a constitutional
                       exercise of discretion by the Executive Branch.




                                                                                   AR5841
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                 executed.” U.S. CONST. art. II, § 3. Certain
                 commentators argued that the President’s willingness
                 to temporarily defer pursuit and deportation of
                 successful DACA applicants constitutes a failure to
                 “execute” the immigration laws. But, as the
                 Congressional Research Service observed in 2013, “no
                 court appears to have invalidated a policy of non-
                 enforcement founded upon prosecutorial discretion on
                 the grounds that the policy violated the Take Care
                 Clause.” Kate Manuel & Tom Garvey, Congressional
                 Research Service, Prosecutorial Discretion in
                 Immigration Enforcement at 17 (Dec. 27, 2013). This
                 unbroken pattern has held among the lower courts
                 that have since considered challenges to DACA. See
                 Arpaio v. Obama, 27 F. Supp. 3d 185, 209-10 (D.D.C.
                 2014), aff’d on other grounds, 797 F.3d 11 (D.C. Cir.
                 2015) (rejecting constitutional attack on DACA);
                 Crane v. Johnson, 783 F.3d 244, 251-55 (5th Cir. 2015)
                 (dismissing on standing grounds plaintiff’s claim that
                 DACA is unconstitutional).

                        The exercise of prosecutorial discretion to
                 prioritize which immigrants to remove from the
                 United States is, if anything, a necessary component
                 of the President’s obligation to “take care” to execute
                 faithfully all immigration laws, not an abdication of
                 that responsibility. The law requires the President, as
                 “prosecutor-in-chief” for the immigration enforcement
                 system, to make the hard choices necessary to
                 properly “administer systematic enforcement in the
                 huge gap between the unauthorized population of over
                 eleven million and the annual enforcement capacity of




                                                                           AR5842
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                 [a small percentage] of that figure.”30 The President’s
                 “faithful execution of the immigration laws” therefore
                 “includes prioritizing the deportable population in a
                 cost-effective and conscientious manner and providing
                 benefits to deportable noncitizens when they qualify”
                 under other laws.31

                        In any event, DHS long ago abandoned its
                 argument that DACA constitutes a violation of the
                 President’s Article II obligations under the “Take
                 Care” clause. And DHS does not identify any other
                 constitutional provision that prohibits it from
                 engaging in its long-standing practice of using
                 deferred action to carry out its enforcement
                 priorities.32 As a result, any challenge to DACA’s
                 lawfulness must be based on the notion that this
                 exercise of discretion is inconsistent with federal


                 30    Hiroshi Motomura, The President’s Dilemma: Executive
                       Authority, Enforcement, and the Rule of Law in
                       Immigration Law, 55 WASHBURN L.J. 1, 28 (2015).
                 31    Wadhia, BEYOND DEPORTATION at 107; see also Shoba S.
                       Wadhia, In Defense of DACA, Deferred Action, and the
                       DREAM Act, 91 TEX. L.R. 59, 62-63 (2013).
                 32    An amicus brief filed by the Cato Institute and Professor
                       Jeremy Rabkin “supporting DACA as a matter of policy
                       but petitioners as a matter of law” argues that Attorney
                       General Sessions’s and Acting Secretary Duke’s
                       objections to the constitutionality of the policy can be
                       understood as an application of this Court’s non-
                       delegation or “major questions” precedent. Although a
                       full rebuttal of this argument is outside of the scope of
                       this brief, amici are unaware of any historical or legal
                       precedent that would support curtailing the exercise of a
                       power that is unique to the executive—prosecutorial
                       discretion—on grounds that it constituted an exercise of
                       Congress’s power to legislate.




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                 immigration law.

                                           B.

                       DHS’s remaining reasons for contending that
                 the DACA policy is unlawful are impossible to square
                 with the legal and historical precedent supporting the
                 broad use of prosecutorial discretion in immigration
                 enforcement.

                                           1.

                        First, DHS appears to take the position that
                 DACA impinges on Congress’s authority to legislate
                 the terms under which an otherwise removable
                 immigrant may be permitted to remain in the United
                 States. To this end, DHS points to various provisions
                 of the INA that, in its view, form a “comprehensive,
                 detailed scheme for affording certain aliens relief or
                 reprieve from removal.” DHS Br. at 44. It then
                 suggests that, although DHS retains authority to
                 address “interstitial matters of immigration
                 enforcement,” the INA does not permit the agency to
                 pursue this particular form of deferred action. Id.

                        This argument simply ignores the differences
                 between the limited grounds for relief or reprieve
                 from removal afforded by the INA and the Executive
                 Branch’s right, as reflected in DACA, to make
                 decisions about which cases to prioritize for removal.
                 Statutory provisions that offer durable relief from
                 removal (including the adjustment of status to lawful
                 permanent residency) are fundamentally different
                 from deferred action. Deferred action is an “act of
                 administrative convenience to the government which




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                 gives some cases lower priority.” 8 C.F.R.
                 § 274a.12(c)(14). It is a policy of temporary, time-
                 limited non-enforcement. See DHS Br. at 46; JA 799
                 (2014 OLC Memorandum) (“Deferred action does not
                 confer any lawful immigration status, nor does it
                 provide a path to obtaining permanent residence or
                 citizenship. Grants of deferred action under the
                 proposed programs would, rather, represent DHS’s
                 decision not to seek an alien’s removal for a
                 prescribed period of time.”).

                        There is no indication that, in providing
                 statutory remedies for certain immigrants who might
                 otherwise be removable, Congress intended to prevent
                 the Executive Branch from exercising discretion to set
                 enforcement priorities with respect to removable
                 immigrants who do not qualify for asylum or other
                 forms of statutory relief. To the contrary, Congress
                 has repeatedly recognized that the agencies that
                 enforce immigration laws may exercise prosecutorial
                 discretion (including deferred action) in prioritizing
                 cases for removal, and has noted, for example, the
                 possibility of such temporary relief in the same
                 statutes that contain provisions affording relief to
                 asylum seekers, immigrants eligible for “T” or “U”
                 visas. The provisions DHS identifies as forming a
                 “comprehensive and detailed scheme” do not provide
                 remedies for every immigrant who may warrant relief
                 from removal on humanitarian grounds.33 Indeed,
                 each of the deferred action initiatives identified in


                 33    See, e.g., 8 U.S.C. § 1229b (capping the Attorney
                       General’s authority to adjust the status of immigrants
                       who are eligible for an adjustment under the provision to
                       4,000 immigrants in any fiscal year);




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                 Section I, infra, was pursued at a time when the
                 operative immigration laws included provisions that
                 provided relief or reprieve from removability.

                         Meanwhile, Congress has repeatedly chosen
                 not to provide sufficient funding for DHS to initiate
                 removal proceedings against every immigrant subject
                 to removal. Thus, the temporal order of removal is
                 hardly an area in which Congress intended to occupy
                 the field and leave the agency room only to pursue
                 “interstitial” or “gap-filling” measures. DHS Br. at 44.
                 Instead, it is an area—like many other areas—in
                 which Congress and this Court have recognized the
                 power of the executive branch to decide how to best
                 use the limited resources allocated for enforcement of
                 federal law.

                         Nor does Congress’s failure to legislate a
                 permanent pathway to citizenship for DACA
                 recipients (via so-called DREAM Acts) foreclose DHS
                 from making DACA recipients a lower removal
                 priority. Surely, DHS does not mean to indicate that,
                 in failing to overcome legislative gridlock on possible
                 pathways to permanent citizenship, Congress
                 affirmatively signaled affirmative opposition to
                 placing at the back of the removal line children who
                 were brought to the United States as minors, who
                 obtained an education and/or served in the armed
                 forces, and who do not present a risk to national
                 security or public safety. In any event, regardless of
                 what inferences one might attempt to draw from
                 Congress’s failure to fully pass DREAM Act
                 legislation, DHS, not Congress, is responsible for
                 strategically employing limited resources to enforce
                 the immigration laws.




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                                           26


                                            2.

                        DHS concedes that it has limited resources to
                 devote to removal, and therefore must make choices
                 regarding which immigrants to prioritize in its
                 enforcement efforts. It argues, however, that its
                 discretion is limited to “strategically directing the
                 agency’s resources to the highest priority violators.”
                 DHS Br. at 45. It then contends that DACA goes too
                 far by “informing roughly 1.7 million aliens that they
                 may continue violating federal law without fear of
                 enforcement—while establishing a procedure to make
                 them eligible for additional benefits.” Id. Elsewhere,
                 DHS describes DACA as “affirmatively assisting
                 lower-priority offenders to persist in ongoing illegal
                 activity.” Id. at 46.

                        This argument rests on false premises that find
                 no support in the law governing deferred action or the
                 historical circumstances in which the practice has
                 been used. Indeed, accepting several of DHS’s
                 pronouncements as true would cast doubt on the
                 validity of every past or future use of deferred action—
                 notwithstanding the fact that both Congress and this
                 Court have for decades acknowledged and approved of
                 prosecutorial discretion in enforcing the immigration
                 laws (including through deferred action).

                                            a.

                        Because DHS recognizes that deferred action
                 has been used by previous administrations and
                 appears to concede this use was lawful (or at least
                 does not challenge these previous uses), it must
                 establish here that DACA is fundamentally different
                 from those previous policies and that any such




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                 differences are doctrinally significant. DHS fails on
                 both counts—nearly all of the differences to which it
                 draws the Court’s attention are not supported by the
                 record, and any factually supportable differences do
                 not justify the conclusion that DACA is unlawful.

                        In referring repeatedly to the number of
                 potential DACA beneficiaries (1.7 million) and
                 implicitly comparing the smaller populations that
                 were the subject of certain prior deferred action
                 initiatives, DHS appears to assume that the INA
                 somehow caps the number of immigrants who may be
                 identified as lower priority for removal in an exercise
                 of prosecutorial discretion. There is no legal basis for
                 holding that DHS may only enact policies that apply
                 to a small class of otherwise removable immigrants.
                 Although category-based deferred action has typically
                 been used for groups comprised of fewer immigrants
                 than the 1.7 million who were estimated to meet
                 DACA’s threshold eligibility requirements, this does
                 not mean that DHS acted unlawfully in promulgating
                 a policy that temporarily defers removal of a larger
                 class of immigrants who are each deemed worthy
                 recipients of prosecutorial discretion.34DHS does not


                 34    Although there is no legal or historical support for DHS’s
                       argument that it may not exercise discretion with respect
                       to a group that exceeds a certain number of immigrants,
                       amici note that the actual number of immigrants granted
                       deferred action under DACA is far less than 1.7 million.
                       As of June 2019, the Center for American Progress
                       estimated that there are 660,880 DACA recipients living
                       in the United States. See Nicole Prchal Svajlenka, Center
                       for American Progress, What We Know About DACA




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                 dispute that its resources historically permit removal
                 of only about 400,000 immigrants per year. Thus, even
                 if immigrants who meet the criteria for DACA (1.7
                 million) were taken out of the pool of immigrants
                 eligible for removal (historically about 11 million), the
                 number of removable immigrants still vastly exceeds
                 those DHS could realistically remove at current and
                 historic funding levels.

                         Moreover, in terms of overall anticipated effect,
                 DACA was slated to impact a smaller proportion of
                 removable immigrants than original estimates for the
                 Family Fairness policy in effect during the
                 administrations of Presidents Ronald Reagan and
                 George H.W. Bush. The Family Fairness policy was
                 expected to defer the deportations of approximately
                 1.5 million non-citizen spouses and children of
                 immigrants—i.e., about forty percent of the removable
                 population at the time.35 Although there is some
                 evidence that INS’s estimates regarding program
                 participation exceeded the number of immigrants who
                 ultimately took part in Family Fairness, the fact
                 remains that there were no challenges to the legality
                 of using prosecutorial discretion to afford temporary
                 relief from deportation to a significant portion of the



                       Recipients in the United States (Sept. 5, 2019),
                       https://www.americanprogress.org/issues/immigration/n
                       ews/2019/09/05/474177/know-daca-recipients-united-
                       states/ (summarizing data filed in this litigation).
                 35    See Memorandum from Gene McNary, Comm’r of INS,
                       Family Fairness: Guidelines for Voluntary Departure
                       Under 8 C.F.R. 242.5 for Ineligible Spouses and Children
                       of Legalized Aliens at 1-2 (Feb. 2, 1990); see also
                       Legomsky Written Testimony at 83-85.




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                 removable population.

                        DHS is also incorrect when arguing that the
                 Family Fairness program had a “plausible basis in the
                 INA” because it used the mechanism of extended
                 voluntary departure as opposed to deferred action.
                 DHS Br. at 48-49. The power to grant or deny
                 extended voluntary departure finds its basis in the
                 same sources as the power to grant deferred action—
                 the Attorney General’s “broad latitude” in enforcing
                 the immigration laws implicit in statutes such as 8
                 U.S.C. § 1103(a), as well as the President’s general
                 obligations to “take Care” that the laws be faithfully
                 executed. See Hotel & Rest. Emps. Union, Local 25 v.
                 Smith, 846 F.2d 1499, 1510, 1519 (D.C. Cir. 1988) (en
                 banc) (per curiam) (Mem.) (opinions of Mikva, J. and
                 Silberman, J.).

                        In addition to arguing that the number of
                 recipients somehow renders DACA unlawful, DHS
                 attempts to distinguish DACA from instances in
                 which previous administrations have used deferred
                 action, noting that many of the previous uses were
                 stop-gap measures to forestall deportation while the
                 immigrants pursued statutory remedies. DHS also
                 argues that many initiatives singled out groups who
                 are afforded “special solicitude” by the INA. DHS Br.
                 at 46-48.36 To the extent this is a correct description of


                 36     Although the INA does not currently afford special
                        treatment to DACA recipients, there is broad-based, bi-
                        partisan public support for passing some version of the
                        DREAM Act. Moreover, Congress’s repeated (albeit
                        unsuccessful) attempts to provide a legislative remedy is,




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                 at least some of the previous exercises of deferred
                 action, neither DHS, Congress, nor this Court has
                 ever indicated that DHS lacks discretion to de-
                 prioritize the removal of groups who do not meet
                 either criteria.

                                             b.

                        It is highly misleading for DHS to suggest that
                 DACA is somehow “different” from prior policies
                 because it “affirmatively assist[s] lower-priority
                 offenders to persist in ongoing illegal activity.” DHS
                 Br. at 46. In making this statement, DHS is
                 presumably referencing the fact that DACA recipients
                 are temporarily treated as “lawfully present” and are
                 eligible to apply for work authorization upon a
                 showing of economic need, which, if granted, will lead
                 to the issuance of a Social Security card. But this
                 would be the case for any recipient of deferred action—
                 it is not unique to DACA. Under 8 U.S.C.
                 § 1182(a)(9)(B)(ii) and related regulations, DHS treats
                 recipients of deferred action as “lawfully present”
                 during the temporary “period of stay” in which their
                 status is in effect.37 Further, as DHS itself admits,
                 immigrants who are granted deferred action on any
                 basis may be authorized to work if they establish
                 economic necessity. See DHS Br. at 5. The regulation
                 governing work authorization for recipients of
                 deferred action (8 C.F.R. § 274a.12(c)(14)) has been in


                       at the very least, evidence of Congress’s concern for
                       children and young adults who were brought to the
                       United States as children and who are productive
                       members of their communities.
                 37    See 8 C.F.R. § 214.14(d)(3); 28 C.F.R. § 1100.35(b)(2).




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                 place since 1981, and implements a similar statutory
                 directive. See 8 U.S.C. § 1324a(h)(3) (noting that a
                 person is ‘authoriz[ed] to work in this country if he or
                 she is permitted to work “by [the INA] or by the
                 Attorney General”). Thousands of deferred action
                 recipients have applied for and received employment
                 authorization pursuant to this regulation.38 Moreover,
                 obtaining work authorization permits recipients of
                 deferred action to obtain temporary social security
                 cards under Section 205(c)(2)(B)(ii)(I) of the Social
                 Security Act, not under the INA.39 DHS fails to
                 explain how the application of these statutes and
                 regulations renders DACA unlawful while other
                 deferred action policies are allowed to proceed.

                        Moreover, DHS’s references to the receipt of
                 “benefits,” the “deploy[ment] [of] limited resources in
                 a manner that facilitates ongoing violation of federal
                 law,” and “affirmative[] assist[ance]” are themselves
                 misleading, to the extent that this rhetoric suggests
                 DACA impermissibly directs scarce enforcement
                 resources directly into the pockets of recipients. Work
                 authorization is not a “benefit” as that term is
                 typically understood under public law—although it
                 permits recipients to earn money, the wages are paid
                 by an employer rather than the taxpayer, and the
                 recipient in turn pays taxes to the United States. To


                 38    See, e.g., Legomsky Written Testimony at 76-78; Shoba
                       Sivaprasad     Wadhia,    Demystifying    Employment
                       Authorization    and   Prosecutorial   Discretion   in
                       Immigration Cases, 6 COLUM. J. RACE & LAW 1 (2016).
                 39    See Legomsky Written Testimony at 67.




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                 the extent DHS intended to refer here to the costs of
                 administering DACA, there is no evidence of these
                 costs in the record, much less evidence that DHS
                 relied on the initiative’s costs as a ground to rescind.
                 To the contrary, there is forceful evidence that DACA
                 recipients, on a net basis, contribute healthily to
                 (rather than burden) the federal tax base.40

                        DHS’s references to DACA recipients’ “ongoing
                 violation” of federal law are similarly misleading.
                 Although prosecutorial discretion cannot be used to
                 grant “lawful status,” recipients of deferred action are
                 treated as “lawfully present” while deferred action is
                 in effect,41 and, thus, cannot be said to be violating
                 statutes governing removal on an “ongoing” basis.
                 Again, lawful presence is the result of a generally
                 applicable statute, rather than a feature of DACA in
                 particular. Moreover, it cannot be the case that DHS
                 believes rationally that DACA recipients are violating
                 the law in other ways, given that immigrants who
                 have committed felonies, “significant” misdemeanors,


                 40    See Nicole Prchal Svajlenka, Center for American
                       Progress, What We Know About DACA Recipients in the
                       United         States        (Sept.        5,         2019),
                       https://www.americanprogress.org/issues/immigration/n
                       ews/2019/09/05/474177/know-daca-recipients-united-
                       states/ (summarizing evidence of financial contributions
                       of DACA recipients based on 2017 1-year American
                       Community Survey microdata).
                 41    See U.S. Citizenship & Imm. Servs., DHS DACA FAQs
                       Q1 (“An individual who has received deferred action is
                       authorized by DHS to be present in the United States,
                       and is therefore considered by DHS to be lawfully present
                       during the period deferred action is in effect.”); see also 8
                       U.S.C. § 1182(a)(9)(B)(ii); 8 C.F.R. § 214.14(d)(3); 28
                       C.F.R. 1100.35(b)(2).




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                 or multiple misdemeanors are categorically ineligible
                 for DACA. The DACA policy also requires recipients
                 to apply for renewal every two years, thereby assuring
                 that criminal activity, if any, can be taken into
                 account.

                                            c.

                        Finally, to the extent DHS believes DACA is
                 unlawful on grounds that it is a “categorical deferred-
                 action policy” (DHS Br. at 43), this broad objection
                 does not align with the long-standing practice of
                 adopting prosecutorial discretion strategies that
                 identify categories of immigrants who may warrant
                 temporary relief rather than exercising discretion on
                 a purely case-by-case basis.

                        Indeed, DHS does not raise a meaningful
                 challenge to its own ability to identify a category of
                 immigrants eligible to receive individualized
                 consideration for deferred action. Instead, DHS posits
                 that DACA’s high acceptance rate “plainly creates an
                 implicit presumption that requestors who meet its
                 eligibility criteria will be granted deferred action,”
                 and then offers the previously unstated view that the
                 current administration prefers to exercise its
                 discretion to grant requests for deferred action only on
                 a “truly individualized, case-by-case basis. DHS Br. at
                 39. While DHS’s ability to rely on post-hoc policy
                 preferences is beyond the scope of this brief, amici
                 seek to clarify the extent to which DACA already
                 requires case-by-case enforcement.

                        DACA expressly mandates that DHS make
                 individualized,     case-by-case,     discretionary
                 evaluations as to applicants who meet the threshold




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                 criteria for eligibility. Then-Secretary Napolitano
                 drafted the DACA policy to explicitly require DHS
                 adjudicators to exercise individualized discretion
                 consistent with the administration’s stated view that
                 there were not “whole categories that we will, by
                 executive fiat, exempt from the current immigration
                 system, as sympathetic as we feel towards them.”42
                 Under DACA, if young people meet certain criteria
                 relating to their residence in the United States, such
                 as age at arrival, education, and good behavior, they
                 are eligible for an individualized assessment, but the
                 discretionary grant of temporary relief is only a
                 possible outcome—it is not guaranteed.43

                       DACA’s initial eligibility criteria also explicitly
                 preclude approval of applicants who pose a threat to
                 national security or public safety, which itself requires
                 an exercise of individualized discretion. Whether an
                 applicant endangers the public safety is not simply a
                 box-checking exercise. Assessing the extent to which
                 an individual may pose a threat to national security
                 or public safety requires officials to exercise subjective
                 judgment.

                      The record developed in Texas II—the only case
                 DHS emphasized in its revocation decision—reflects


                 42     See Elise Foley, Officials Refuse to Budge on Deportation
                        of Students, Families, THE HUFFINGTON POST (updated
                        June     1,   2011),      http://www.huffingtonpost.com\
                        2011\04\01\obama–administration–
                        refu_1_in_843729.html.
                 43     See Jennifer M. Chacón, Producing Liminal Legality, 92
                        DENVER L. R. 709, 727 (2015).




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                 that the agency in fact exercises its discretion when
                 reviewing DACA applications.44 The evidence
                 established that as of December 5, 2014, 36,860
                 requests for deferred action under DACA had been
                 denied on the merits (in addition to those that were
                 rejected for other reasons, such as lack of the required
                 fee and failure to sign the application).45 Moreover,
                 the government provided a number of examples of
                 applications denied on discretionary grounds, even
                 though the applicants met all of the threshold criteria.
                 These examples were in addition to denials based on
                 the discretion inherent in some of the threshold
                 criteria themselves, such as not posing a threat to
                 public safety.46

                        The U.S. District Court for the District of
                 Columbia specifically considered and rejected the
                 current administration’s claim that DHS personnel
                 are not evaluating the facts of each individual case
                 when applying DACA. See Arpaio, 27 F. Supp. 3d 185.
                 After considerable factual analysis, the court found
                 not only that DACA “retain[s] provisions for
                 meaningful case-by-case review,” but also that
                 “[s]tatistics provided by the defendants reflect that
                 such case-by-case review is in operation.” Id. at 209.
                 The court specifically noted the unrebutted fact that



                 44    For a thorough discussion of the evidence developed in
                       Texas II, see Brief for Texas v. United States Defendant-
                       Intervenors DACA Recipients and State of New Jersey in
                       Support of Respondents (filed Sept. 26, 2019).
                 45    See Decl. of Donald W. Neufeld ¶ 23, Texas v. United
                       States, 86 F. Supp. 3d 591 (S.D. Tex. 2015) (No. B-14-
                       254), ECF No. 130 att. 11.
                 46    Id. ¶ 18.




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                 through 2014, more than 38,000 DACA applications
                 had been denied on the merits as the result of case-by-
                 case decision making. See id. at 209 n.13.

                        The fact that DACA has a relatively high rate
                 of acceptance—91%, according to DHS’s brief, which
                 is down from the 95% rate that pertained at the time
                 of Texas II—does not mean that agents are “rubber-
                 stamping” applications. To the contrary, a high
                 acceptance rate is the natural result of self-selected
                 candidates—young people willing to spend the time
                 needed to complete the detailed application, gather
                 the necessary documentation, and pay the relatively
                 high application fee ($495) because, based on the
                 published eligibility criteria and discretionary factors,
                 they could judge before-hand whether they were likely
                 to be approved. See JA 713-14.

                        The published eligibility criteria also caused
                 potential applicants not to file an application at all,
                 because they knew ahead of time that their less-than-
                 perfect backgrounds might diminish their chances,
                 whether fairly or unfairly. Among their reasons for
                 not applying was the risk—despite contrary
                 representations by DHS—that if their applications
                 were rejected, they would be immediately detained
                 and removed because they would have disclosed all of
                 their personal information during the application
                 process. As a result of these candidates absenting
                 themselves from the application process altogether
                 (even though they might have been successful), the
                 group of well-informed children and young adults who
                 elected to submit applications was comprised of
                 individuals who, on the whole, presented strong cases
                 for temporary relief from removal. As one immigration




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                 scholar succinctly concludes: “A denial rate of 5%,
                 therefore, provides no legitimate basis for the belief
                 that DACA requests are being rubber-stamped; to the
                 contrary, it shows that thousands of denials occur
                 even among this highly self-selected group.”47

                                    CONCLUSION

                        DACA is a lawful exercise of prosecutorial
                 discretion in a field in which the Executive Branch is
                 granted broad latitude to set and carry out removal
                 priorities. Although the current administration may
                 now seek to offer after-the-fact reasons to exercise its
                 discretion differently, there is no legal or historical
                 basis for its officially-stated conclusion that DACA is
                 unconstitutional or otherwise unlawful. Amici
                 respectfully urge the Court to affirm the judgments
                 below.




                 47    Legomsky Written Testimony at 72 n.10.




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                                  Respectfully submitted,

                                  /s/
                                  Harry Lee
                                  Counsel of Record
                                  Johanna Dennehy
                                  STEPTOE & JOHNSON LLP
                                  1330 Connecticut Ave. NW
                                  Washington, D.C. 20036
                                  hlee@steptoe.com
                                  (202) 429 8112

                                  Counsel for Amici Curiae
                                  Immigration Law Scholars




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                                           1a


                                      APPENDIX

                               LIST OF AMICI CURIAE

                 Evangeline G. Abriel
                 Clinical Professor of Law
                 Santa Clara University School of Law

                 Saba N. Ahmed
                 Visiting Assistant Professor of Law
                 CUNY School of Law

                 Raquel E. Aldana
                 Associate Vice Chancellor for Academic Diversity
                 and Professor of Law
                 UC Davis School of Law

                 Sabrineh Ardalan
                 Assistant Clinical Professor and Assistant Director,
                 Harvard Immigration and Refugee Clinic
                 Harvard Law School

                 Lauren R. Aronson
                 Associate Clinical Professor
                 Immigration Law Clinic Director
                 University of Illinois College of Law

                 David C. Baluarte
                 Associate Dean for Academic Affairs and Associate
                 Clinical Professor of Law
                 Washington and Lee School of Law




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                                         2a


                 Caitlin Barry
                 Associate Professor of Law
                 Director, Farmworker Legal Aid Clinic
                 Villanova University Charles Widger School of Law

                 Jon Bauer
                 Clinical Professor of Law and Richard D. Tulisano
                 ’69 Scholar in Human Rights
                 University of Connecticut School of Law

                 Lenni B. Benson
                 Professor of Law and Founder and Senior Advisor,
                 Safe Passage Project
                 New York Law School

                 Linda S. Bosniak
                 Distinguished Professor of Law
                 Rutgers Law School

                 Jason A. Cade
                 J. Alton Hosch Associate Professor of Law
                 University of Georgia School of Law

                 Janet M. Calvo
                 Professor
                 CUNY School of Law

                 Kristina M. Campbell
                 Jack & Lovell Olendor Professor of Law and Co-
                 Director, Immigration and Human Rights Clinic
                 University of the District of Columbia David A.
                 Clarke School of Law




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                                           3a


                 Stacy Caplow
                 Associate Dean of Experiential Education &
                 Professor of Law
                 Brooklyn Law School

                 Jennifer M. Chacón
                 Professor of Law
                 University of California-Los Angeles

                 Howard F. Chang
                 Earle Hepburn Professor of Law
                 University of Pennsylvania Law School

                 Stewart Chang
                 Professor of Law
                 UNLV William S. Boyd School of Law

                 Violeta Chapin
                 Associate Clinical Professor of Law
                 University of Colorado Law School

                 Ming H. Chen
                 Associate Professor of Law
                 Faculty-Director, Immigration and Citizenship Law
                 Program
                 University of Colorado Law School

                 Gabriel J. Chin
                 Edward L. Barrett Jr. Chair of Law, Martin Luther
                 King Jr. Professor of Law, Director of Clinical Legal
                 Education
                 UC Davis School of Law




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                                           4a


                 Michael J. Churgin
                 Raybourne Thompson Centennial Professor in Law
                 The University of Texas at Austin School of Law

                 Marisa S. Cianciarulo
                 Professor
                 Doy & Dee Henley Chair in Law
                 Associate Dean for Academic Affairs
                 Chapman University Dale E. Fowler School of Law

                 Fernando Colon-Navarro
                 Professor of Law and Director of LL.M &
                 Immigration Development
                 Texas Southern University Thurgood Marshall
                 School of Law

                 Jenny-Brooke Condon
                 Professor of Law
                 Seton Hall University School of Law

                 Erin B. Corcoran
                 Executive Director, Kroc Institute of International
                 Peace Studies and Concurrent Faculty at the Keough
                 School of Global Affairs
                 University of Notre Dame

                 Susan Coutin
                 Professor of Criminology, Law and Society and
                 Anthropology and Associate Dean for Academic
                 Programs
                 University of California, Irvine School of Social
                 Ecology




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                                          5a


                 Evelyn H. Cruz
                 Clinical Law Professor and Director, Immigration
                 Law and Policy Clinic
                 Arizona State University Sandra Day O’Connor
                 College of Law

                 Rose Cuison-Villazor
                 Vice Dean, Professor of Law, Chancellor’s Social
                 Justice Scholar
                 Rutgers Law School

                 Julie A. Dahlstrom
                 Clinical Associate Professor and Director,
                 Immigrants’ Rights & Human Trafficking Program
                 Boston University School of Law

                 Alina Das
                 Professor of Clinical Law and Co-Director,
                 Immigrant Rights Clinic
                 New York University School of Law

                 Kate Evans
                 Clinical Professor of Law and Director, Immigrant
                 Rights Clinic
                 Duke Law School

                 Jill E. Family
                 Commonwealth Professor of Law and Government
                 and Director, Law and Government Institute
                 Widener University Commonwealth Law School




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                                          6a


                 Richard H. Frankel
                 Associate Professor of Law and Director, Federal
                 Litigation and Appeals Clinic
                 Drexel University Thomas R. Kline School of Law

                 Denise L. Gilman
                 Clinical Professor and Co-Director, Immigration
                 Clinic
                 The University of Texas at Austin School of Law

                 Joanne Gottesman
                 Clinical Professor of Law, Director of the Immigrant
                 Justice Clinic, and Chair for Clinical Programs
                 Rutgers Law School

                 Anjum Gupta
                 Professor of Law and Director of the Immigration
                 Rights Clinic
                 Rutgers Law School

                 Jean Han
                 Director and Practitioner-in-Residence
                 American University Washington College of Law

                 Lindsay M. Harris
                 Assistant Professor of Law and Co-Director of the
                 Immigration and Human Rights Clinic
                 University of the District of Columbia David A.
                 Clarke School of Law

                 Kayleen R. Hartman
                 Supervising Attorney/Clinical Teaching Fellow
                 Loyola Marymount University Law School




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                                          7a


                 Sheila N. Hayre
                 Visiting Associate Professor of Law, Carmen and
                 Waring Partridge Faculty Fellow
                 Quinnipiac University School of Law

                 Susan Hazeldean
                 Associate Professor of Law
                 Brooklyn Law School

                 Laura A. Hernández
                 Associate Professor of Law
                 Baylor University Sheila & Walter Umphrey Law
                 Center

                 Julia Hernandez
                 Assistant Professor of Law
                 CUNY School of Law

                 Laila L. Hlass
                 Professor of Practice
                 Tulane University Law School

                 Geoffrey A. Hoffman
                 Clinical Professor of Law and Director, Immigration
                 Clinic
                 University of Houston Law Center

                 Mary Holper
                 Associate Clinical Professor and Director,
                 Immigration Clinic
                 Boston College Law School




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                                         8a


                 Alan Hyde
                 Distinguished Professor of Law and Sidney Reitman
                 Scholar
                 Rutgers Law School

                 Erin Jacobsen
                 Assistant Professor of Law
                 University of Vermont Law School

                 Eisha Jain
                 Assistant Professor of Law
                 University of North Carolina School of Law

                 Kevin R. Johnson
                 Dean and Mabie-Apallas Professor of Public Interest
                 Law and Chicana/o Studies
                 UC Davis School of Law

                 Anil Kalhan
                 Professor of Law
                 Drexel University Thomas R. Kline School of Law

                 Katherine Kaufka Walts
                 Director, Center for the Human Rights of Children
                 Loyola University Chicago

                 Elizabeth Keyes
                 Associate Professor of Law and Director, Immigrant
                 Rights Clinic
                 University of Baltimore School of Law

                 Kathleen C. Kim
                 Professor of Law
                 Loyola University Law School




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                                          9a


                 Jennifer Lee Koh
                 Visiting Professor of Law
                 University of California, Irvine School of Law

                 Daniel M. Kowalski
                 Managing Partner of Ware|Immigration
                 Centennial, Colorado

                 Krista Kshatriya
                 Lecturer – International Studies Program
                 School of Global Policy and Strategy at University of
                 California San Diego

                 Hiroko Kusuda
                 Clinic Professor and Director of Immigration Law
                 Section
                 Loyola University New Orleans College of Law,
                 Stuart H. Smith Law Clinic and Center for Social
                 Justice

                 Christopher N. Lasch
                 Professor of Law
                 University of Denver Sturm College of Law

                 Jennifer J. Lee
                 Associate Clinical Professor of Law and Director,
                 Social Justice Lawyering Clinic at the Sheller Center
                 for Social Justice
                 Temple University Beasley School of Law

                 Stephen H. Legomsky
                 John S. Lehman University Professor Emeritus
                 Washington University in St. Louis School of Law




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                                         10a


                 Theo Liebmann
                 Clinical Professor of Law and Director of Clinical
                 Programs
                 Hofstra University Maurice A. Deane School of Law

                 Beth Lyon
                 Clinical Professor of Law and Founder of
                 Farmworker’s Legal Assistance Clinic
                 Cornell Law School

                 Randi Mandelbaum
                 Distinguished Clinical Professor of Law, Annamay
                 Sheppard Scholar, and Founding Director of the
                 Child Advocacy Clinic
                 Rutgers Law School

                 Lynn Marcus
                 Clinical Professor of Law and Co-Director,
                 Immigrant Justice Clinic
                 University of Arizona James E. Rogers College of
                 Law

                 Dr. Susan Martin
                 Donald G. Herzberg Professor Emerita of
                 International Migration
                 Georgetown University

                 Miriam H. Marton
                 Director, Tulsa Immigrant Resource Network
                 University of Tulsa College of Law




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                                          11a


                 Amelia S. McGowan
                 Adjunct Professor and Clinical Supervising Attorney
                 of the Immigration Clinic
                 Mississippi College School of Law

                 M. Isabel Medina
                 Ferris Family Distinguished Professor of Law
                 Loyola University New Orleans College of Law

                 Vanessa H. Merton
                 Professor of Law and Director of Immigration Justice
                 Clinic
                 Pace University School of Law

                 Richard T. Middleton IV
                 Associate Professor of Political Science
                 University of Missouri – St. Louis
                 Adjunct Assistant Professor of Law
                 St. Louis University School of Law

                 Donald Mooers
                 Lecturer
                 The Catholic University of America Columbus School
                 of Law

                 Jennifer Moore
                 Professor of Law
                 University of New Mexico School of Law

                 Andrew F. Moore
                 Professor of Law
                 University of Detroit Mercy School of Law




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                                         12a


                 Nancy Morawetz
                 Professor of Clinical Law
                 New York University School of Law

                 Hiroshi Motomura
                 Susan Westerberg Prager Distinguished Professor of
                 Law
                 University of California Los Angeles School of Law

                 Rev. Craig B. Mousin
                 Adjunct Faculty
                 DePaul University College of Law

                 Elora Mukherjee
                 Jerome L. Greene Clinical Professor of Law
                 Director, Immigrants’ Rights Clinic
                 Columbia Law School

                 Raquel Muñiz, J.D., Ph.D.
                 Assistant Professor and Liaison to the Law School
                 Boston College Lynch School of Education and
                 Human Development

                 Karen Musalo
                 Professor and Chair in International Law
                 University of California Hastings College of the Law

                 Lindsay Nash
                 Clinical Assistant Professor of Law
                 Co-Director, Kathryn O. Greenberg Immigration
                 Justice Clinic
                 Yeshiva University Benjamin N. Cardozo School of
                 Law




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                                          13a


                 Lori A. Nessel
                 Professor of Law and Director of Center for Social
                 Justice
                 Seton Hall University School of Law

                 Mariela Olivares
                 Professor of Law
                 Howard University School of Law

                 Michael Olivas
                 William B. Bates Distinguished Chair in Law
                 Director, Institute for Higher Education Law &
                 Governance
                 University of Houston Law Center

                 María Mercedes Pabón
                 Professor of Law
                 Loyola University New Orleans College of Law

                 Sarah H. Paoletti
                 Practice Professor of Law
                 Director, Transnational Legal Clinic
                 University of Pennsylvania Law School

                 Helen Parsonage
                 Adjunct Professor of Law
                 Wake Forest University School of Law

                 Talia Peleg
                 Associate Professor of Law, Immigrant and Non-
                 Citizen Rights Clinic
                 CUNY School of Law




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                                          14a


                 Huyen Pham
                 Professor of Law
                 Texas A&M University School of Law

                 Polly J. Price
                 Asa Griggs Candler Professor of Law
                 Emory University School of Law

                 Anam Rahman
                 Adjunct Professor at Law
                 Georgetown University Law Center

                 Andrea Ramos
                 Clinical Professor of Law and Director of the
                 Immigration Law Clinic
                 Southwestern Law School

                 Shruti Rana
                 Professor of International Law Practice
                 Indiana University Bloomington Hamilton Lugar
                 School of Global and International Studies

                 Renee C. Redman
                 Adjunct Professor of Law
                 University of Connecticut School of Law

                 Victor C. Romero
                 Professor of Law & Maureen B. Cavanaugh
                 Distinguished Faculty Scholar
                 Penn State Law

                 Carrie Rosenbaum
                 Adjunct Professor
                 Golden Gate University School of Law




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                                          15a


                 Rachel E. Rosenbloom
                 Professor of Law and Co-Director, Immigration
                 Justice Clinic
                 Northeastern University School of Law

                 Rubén G. Rumbaut
                 Distinguished Professor of Sociology
                 University of California Irvine School of Social
                 Sciences

                 Irene Scharf
                 Professor of Law
                 Director, Immigration Law Clinic
                 University of Massachusetts School of Law

                 Andrew I. Schoenholtz
                 Professor from Practice
                 Director, Human Rights Institute
                 Drictor, Center for Applied Legal Studies
                 Georgetown Law

                 Erica B. Schommer
                 Clinical Associate Professor of Law
                 St. Mary’s School of Law

                 Philip G. Schrag
                 Delaney Family Professor of Public Interest Law
                 Director, Center for Applied Legal Studies
                 Georgetown Law

                 Ragini Shah
                 Clinical Professor of Law
                 Suffolk University Law School




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                                           16a


                 Rebecca Sharpless
                 Professor of Law and Director, Immigration Clinic
                 University of Miami School of Law

                 Sarah R. Sherman-Stokes
                 Associate Director, Immigrants’ Rights and Human
                 Trafficking Program
                 Boston University School of Law

                 Gemma Solimene
                 Clinical Associate Professor of Law
                 Fordham University School of Law

                 Elissa C. Steglich
                 Clinical Professor
                 The University of Texas at Austin School of Law

                 Juliet P. Stumpf
                 Robert E. Jones Professor of Advocacy and Ethics
                 Lewis & Clark Law School

                 Maureen A. Sweeney
                 Professor of Law and Director of Immigration Clinic
                 University of Maryland Carey School of Law

                 Margaret H. Taylor
                 Professor of Law
                 Wake Forest University School of Law

                 Claire R. Thomas
                 Director, Asylum Clinic
                 New York Law School




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                                          17a


                 Veronica T. Thronson
                 Clinical Professor of Law
                 Michigan State University College of Law

                 David B. Thronson
                 Alan S. Zekelman Professor of International Human
                 Rights Law and Director, Talsky Center for Human
                 Rights of Women and Children
                 Michigan State University College of Law

                 Scott C. Titshaw
                 Associate Professor of Law
                 Mercer University School of Law

                 Enid Trucios-Haynes
                 Professor of Law
                 University of Louisville Louis D. Brandeis School of
                 Law

                 Diane Uchimiya
                 Professor of Law
                 Director, Justice and Immigration Clinic
                 University of La Verne College of Law

                 Julia Vázquez
                 Associate Clinical Professor of Law
                 Southwestern Law School

                 Alexander Vernon
                 Assistant Professor of Law
                 Director, Immigration Law Clinic
                 University of Detroit Mercy School of Law




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                                          18a


                 Susannah Volpe
                 Visiting Assistant Clinical Professor
                 Seton Hall University School of Law

                 Leti Volpp
                 Robert D. and Leslie Kay Raven Professor of Law in
                 Access to Justice
                 University of California Berkeley School of Law

                 Shoba Sivaprasad Wadhia
                 Samuel Weiss Faculty Scholar
                 Clinical Professor of Law
                 Director, Center for Immigrants’ Rights Clinic
                 Penn State Law

                 Jonathan Weinberg
                 Associate Dean for Research & Faculty Development
                 and Professor of Law
                 Wayne State University Law School

                 Lauris Wren
                 Clinical Professor of Law and Founder, Political
                 Asylum Clinic
                 Hofstra University Maurice A. Deane School of Law

                 Stephen Yale-Loehr
                 Professor of Immigration Law Practice
                 Cornell Law School




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                                 Nos. 18-587, 18-588, 18-589


                 In the Supreme Court of the United States
                             __________________
                  DEPARTMENT OF HOMELAND SECURITY, et al., Petitioners,
                                               v.
                      REGENTS OF THE UNIVERSITY OF CALIFORNIA, et al.,
                                         Respondents.
                                     __________________
                    DONALD J. TRUMP, PRESIDENT OF THE UNITED STATES,
                                      et al., Petitioners,
                                               v.
                      NATIONAL ASSOCIATION FOR THE ADVANCEMENT OF
                            COLORED PEOPLE, et al., Respondents
                                     __________________
                   KEVIN K. MCALEENAN, ACTING SECRETARY OF HOMELAND
                                 SECURITY, et al., Petitioners,
                                               v.
                    MARTIN JONATHAN BATALLA VIDAL, et al., Respondents.
                                     __________________
               On Writs of Certiorari to the United States Courts of Appeals
                 for the Ninth, District of Columbia, and Second Circuits
                                       __________________
               BRIEF OF AMICI CURIAE PUBLIC INTEREST LAW CENTER,
               WASHINGTON LAWYERS’ COMMITTEE FOR CIVIL RIGHTS
                AND URBAN AFFAIRS, AND THE MISSISSIPPI CENTER
                    FOR JUSTICE IN SUPPORT OF RESPONDENTS
                                       __________________

                THOMAS W. HAZLETT             WILLIAM ALDEN MCDANIEL, JR.
                  Counsel of Record           BALLARD SPAHR LLP
                STEPHEN J. KASTENBERG         300 East Lombard Street
                JULIANA B. CARTER             18th Floor
                MANSI G. SHAH                 Baltimore, MD 21202
                BALLARD SPAHR LLP             (410) 528-5600
                1735 Market St., 51st Fl.
                Philadelphia, PA 19103
                (215) 665-8500
                HazlettT@ballardspahr.com
                                  Counsel for Amici Curiae
                  Becker Gallagher · Cincinnati, OH · Washington, D.C. · 800.890.5001




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                            INTEREST OF AMICI CURIAE1
                    Amici curiae are The Public Interest Law Center of
                 Philadelphia, Pennsylvania, The Washington Lawyers’
                 Committee for Civil Rights and Urban Affairs of
                 Washington, D.C., and The Mississippi Center for
                 Justice, all nonpartisan, nonprofit organizations whose
                 shared roots date to 1963, when President John F.
                 Kennedy enlisted the private bar’s leadership and
                 resources in combating racial discrimination, and the
                 resulting inequality of opportunity, through creation of
                 The Lawyers’ Committee for Civil Rights Under Law.
                 These independently funded and governed
                 organizations battle injustice in its many forms and
                 create systemic reform.
                    Amici work on some of the most important national
                 issues of our times, including voting rights;
                 employment discrimination; healthcare; fair housing
                 and community development; environmental health
                 and justice; educational opportunity; rights of persons
                 with disabilities; and immigration. Together these
                 amici are part of the largest network of private lawyers
                 in America focused primarily on civil rights issues.
                    One of the underlying issues in the cases on appeal
                 is a federal court’s ability to issue a nationwide


                 1
                  The parties submitted blanket consents to submissions of amicus
                 curiae briefs in this case, and, pursuant to this Court’s Rule
                 37.3(a), amici are filing this brief based on such consents. In
                 accordance with Rule 37.6, amici affirm that no counsel for any
                 party authored this brief, and no person other than amici, their
                 members, or their counsel made a monetary contribution to the
                 preparation or submission of this brief.




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                 injunction. For the most vulnerable communities
                 represented by amici, including the poor, and
                 historically disenfranchised people of color, nationwide
                 injunctions are often critical for achieving justice.
                 Nationwide injunctions are vital tools in advancing the
                 cause of equal justice under law in a wide range of
                 litigation. Their legality directly affects the mission
                 and work of amici curiae.
                                  INTRODUCTION
                    Amici submit this brief to address the legality of
                 nationwide injunctions, should that become a matter
                 under consideration by the Court in this instance.
                    As do the district court decisions in the cases under
                 review here, the Court’s recent decision in Trump v.
                 Hawaii, 585 U.S. ___, 138 S. Ct. 2392 (2018), involved
                 appeals from two federal district courts that “entered
                 nationwide preliminary injunctions barring
                 enforcement of the” federal government’s conduct. Id.
                 at 2404. The injunctions there were “nationwide” in
                 that they “barred the Government from enforcing the
                 President’s Proclamation against anyone, not just the
                 plaintiffs.” Id. at 2424 (Thomas, J., concurring). The
                 Court vacated the two injunctions, but did so without
                 addressing the propriety in that case—or in general—of
                 injunctions with a national scope. Because amici
                 believe national injunctions are not only a lawful form
                 of equitable relief, but also serve a vital role in the
                 enforcement of justice, we submit this amicus brief
                 directed to the issue of nationwide injunctions.




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                            SUMMARY OF ARGUMENT
                    Contrary to recent suggestions that so-called
                 nationwide injunctions are a recent phenomenon, that
                 go beyond the traditional powers of equity invested in
                 the courts of the United States, courts of equity in
                 England before the founding of the United States, and
                 in state and federal courts in the early days of the
                 Republic, frequently granted relief that extended well
                 beyond the parties before the court. These decisions
                 support the granting of injunctive relief with
                 nationwide application. This brief provides the Court
                 with the historical record that demonstrates
                 nationwide injunctions are well within the scope of the
                 traditional equity powers of the United States courts,
                 and therefore a Constitutional form of relief.
                                     ARGUMENT
                 I. FEDERAL COURTS HAVE AUTHORITY TO
                    GRANT EQUITABLE RELIEF THAT APPLIES
                    NATIONWIDE, TO PARTIES BEYOND THOSE
                    BEFORE THE COURT
                     When government acts wrongfully, the impact can
                 be felt throughout the community, the state, or the
                 country. Providing effective remedies to cure serious,
                 wide-reaching wrongs is not only a well-settled use of
                 the judicial power, it also may be the only remedy
                 available to courts to redress adequately the threat of
                 immediate, irreparable harm.         Arguments that
                 nationwide injunctions are a “modern” invention,
                 calling into question whether such a form of equitable
                 relief is consistent with historical practice and the
                 Constitution, are based on an incorrect premise.




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                     ARTICLE III of the Constitution provides that “[t]he
                 judicial Power” of the federal courts “shall extend to all
                 Cases, in Law and Equity, arising under this
                 Constitution [and] the Laws of the United States[.]”
                 U.S. CONST., ART. III, SEC. 2. As to such “judicial
                 Power” in equity cases, “settled doctrine . . . is, that the
                 remedies in equity are to be administered . . . according
                 to the practice of courts of equity in the parent
                 country . . . ; subject, of course, . . . to such alterations
                 and rules as . . . the courts of the United States may,
                 from time to time, prescribe.” Boyle v. Zacharie, 32
                 U.S. (6 Pet.) 648, 658 (1832) (Story, J.) (emphasis
                 added); see also Grupo Mexicano de Desarrollo, S.A. v.
                 Alliance Bond Fund, Inc., 527 U.S. 308, 318 (1999)
                 (“authority to administer” equity suits consistent with
                 “principles of the system of judicial remedies . . .
                 devised and . . . administered by the English Court of
                 Chancery at the time of the separation of the two
                 countries”); Vattier v. Hinde, 33 U.S. (7 Pet.) 252 (1833)
                 (Marshall, C.J.) (equitable powers of federal courts
                 “generally understood to adopt the principles, rules and
                 usages of the court of chancery of England”); A. Dobie,
                 HANDBOOK OF FEDERAL JURISDICTION AND PROCEDURE,
                 at 660 (1928) (“equity jurisdiction of the federal courts
                 is the jurisdiction in equity exercised by the High Court
                 of Chancery in England at the time of the adoption of
                 the Constitution and the enactment of the original
                 Judiciary Act”).
                    Nationwide injunctions—that is, injunctions issued
                 by federal courts enjoining a party’s conduct, and
                 protecting parties and non-parties affected throughout
                 the United States—are entirely consistent with
                 historical practice in English courts before the adoption




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                 of the Constitution, and with early precedents in the
                 United States, and thus are within the “judicial Power”
                 granted by the Constitution.
                     Justice Thomas’s recent concurrence in Trump v.
                 Hawaii expressed skepticism to whether courts have
                 authority to impose “universal injunctions.” Trump,
                 138 S. Ct. at 2425 (Thomas, J. concurring). Relying on
                 one law review article, Justice Thomas wrote that
                 nationwide injunctions against the government do not
                 comport with historic English equity practice in two
                 ways: first, the English courts of equity “had no
                 authority to enjoin” the King, id. at 2427 (citing
                 S. Bray, Multiple Chancellors: Reforming the National
                 Injunction, 131 HARV. L. REV. 417 (2017)); and second,
                 “as a general rule, American courts of equity did not
                 provide relief beyond the parties to the case.” Id. In
                 his article, Bray argues that, while English courts in
                 equity did sometimes protect the rights of persons not
                 before the court, they did not afford relief as broad as
                 a national injunction in modern America. See Bray,
                 131 HARV. L. REV. at 426.
                    But there can be no dispute: long-standing English
                 and early American precedents establish that, as of the
                 time of the Constitution’s adoption, courts of equity
                 could issue broad injunctions that affected the rights or
                 duties of parties not before the court. The exercise of
                 this authority by English courts of equity had been
                 settled by at least the 17th Century, and American
                 courts frequently exercised this authority from 1789,
                 and thereafter through today (including in cases
                 against federal, state, or local governments). These
                 courts did so, as one American state supreme court put




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                 it in 1854, to prevent “irreparable mischief, or such
                 multiplied vexations, and such constantly recurring
                 causes of litigation” as would arise if courts were
                 limited to issuing decrees that bound only the parties
                 before them. Knight v. Carrollton R. Co., 9 La. Ann.
                 284, 286 (1854). That court further identified the
                 reason English and American courts of equity imposed
                 broad-reaching relief: “If indeed courts of equity did
                 not interfere in such like cases, the justice of the
                 country would be very lame and inadequate.” Id.
                    English practice during the pre-Constitution era,
                 and United States courts thereafter, consistently
                 exercised equity jurisdiction whenever a party’s
                 wrongful conduct would do harm to others, and, where
                 necessary, extended that jurisdiction well beyond the
                 parties.
                    A. “Principles, Rules, and Usages” of English
                       Equity Before 1789 Included Granting
                       Injunctions that Extended Beyond the
                       Parties Before the Court.
                     A federal court’s authority to provide equitable
                 relief, including an injunction with nationwide scope,
                 accords with “the principles of the system of judicial
                 remedies which had been devised and was being
                 administered by the English Court of Chancery at the
                 time of the separation of the two countries.” Atlas Life
                 Ins. Co. v. W. I. Southern, Inc., 306 U.S. 563, 568
                 (1939); see also, e.g., Grupo Mexicano de Desarrollo,
                 S.A., 527 U.S. at 319. Justice Thomas’s concurrence
                 and Bray’s article address English equity precedents in
                 cursory fashion, but at the time of the adoption of the
                 Constitution, English decisions had long recognized




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                 that the decrees of an equity court could broadly bind
                 non-parties. American courts have followed this
                 precedent from the earliest days of the country.
                        1. English equity decisions before 1789.
                    English practice on these issues had been well-
                 established by the 1676 decision in Brown v.
                 Vermuden, 1 Ch. Cas. 272 & 283, 22 E.R. 796 & 802
                 (1676).2   Brown sued to enforce a decree “against
                 certain Persons Workers and Owners of Lead Mines in
                 Derbyshire” requiring defendants to pay a certain
                 amount based on the quantity of lead ore mined. Id. at
                 283, 22 E.R. at 802. The original suit proceeded
                 against four defendants, but the Chancellor entered a
                 judgment in favor of Brown’s predecessor, and his
                 successors, “whereby a certain manner of tithing of
                 Lead [Ore] was decreed, not only against the particular
                 Persons named Defendants, but all other Owners and
                 Workers.” Id. at 272, 283, 22 E.R. at 797, 802.
                     Brown’s predecessor served the decree on
                 Vermuden, “who owned and wrought a Mine there.”
                 Id. at 273, 22 E.R. at 797. Vermuden “insisted that he
                 [was] not bound by the Decree, for that he was not
                 Party to” the original suit, and was not in privity with
                 a party. Id. Vermuden argued that he “could have no
                 Bill of Review of [the decree] if it be erroneous, and
                 therefore ought not to be bound” by its terms. Id.; see
                 also id. at 283, 22 E.R. at 802 (“Vermuden pleaded . . .
                 That he was a Stranger”).


                 2
                  The Chancellor issued two decisions in Brown v. Vermuden; both
                 addressed whether an equitable decree applied to non-parties.




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                     The Lord Chancellor overruled Vermuden’s plea,
                 holding, the “Decree passed against the four”
                 defendants in the original case brought by Brown’s
                 predecessor required not just “that the Defendants,”
                 but that “all the Miners should pay.” Id. at 273, 22
                 E.R. at 797. “If [Vermuden] should not be bound, Suits
                 of this Nature . . . would be infinite, and impossible to
                 be ended.” Id. (emphasis added). The Chancellor thus
                 enforced the decree against Vermuden, though he had
                 not been a party to the original action, or in privity
                 with the parties. Id. at 273, 22 E.R. at 797; id. at 283,
                 22 E.R. at 802. Numerous other courts of equity in
                 early England reached the same result. See, e.g.,
                 Ewelme Hospital v. Andover, 1 Vern. 266, 267, 23 E.R.
                 460, 461 (1684) (allowing action in equity to proceed
                 without all parties in interest); Fitton v. Macclesfield,
                 1 Vern. 287, 292-93, 23 E.R. 474, 476 (1684) (denying
                 “bill of review” and finding court had equitable
                 jurisdiction over prior matter despite failure to have
                 before it all parties in interest); How v. Tenants of
                 Bromsgrove, 1 Vern. 22, 23 E.R. 277 (1681) (concluding
                 “Bills of peace” applicable to non-parties “are proper in
                 equity” “to prevent multiplicity of suits”).
                     The House of Lords, in City of London v. Perkins, 3
                 Bro. P. C. 602, 1 E.R. 1524 (1734), discussed the
                 rationale for the broad reach of this practice. Perkins
                 involved serial disputes over the right of London to
                 collect a duty, to be “applied to the use of the lord
                 mayor for the time being, for supporting the dignity of
                 his office.” Id. at 603, 1 E.R. at 1524. In a later
                 dispute, London instituted an equity action in the
                 Court of Exchequer, pleading the prior decrees as
                 grounds to require payment of the duties. On appeal,




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                 the House of Lords recognized that “the duty in
                 question was a demand against the common rights and
                 freedom of every subject of England.” Id. at 606, 1 E.R.
                 at 1527 (emphasis added). The Lords, on this ground,
                 enforced the earlier decrees against defendants, none
                 of whom had been parties in those earlier cases. Thus,
                 equity jurisdiction extended in England to cases
                 involving matters of broad public importance, where
                 the decree would bind many members of the public not
                 before the court as parties. See also Blagrave v.
                 Blagrave, 1 De Gex & Smale 252, 258, 63 E.R. 1056,
                 1058 (1847) (clarifying that issue in Perkins was
                 equitable relief applying to “the public”); Mayor of York
                 v. Pilkington, 1 Atk. 282, 26 E.R. 180 (1737) (“all the
                 king’s subjects” could be bound by decree in equity in a
                 case, even where only few subjects were parties).
                    These cases, among others, establish that “the
                 system of judicial remedies which had been devised and
                 was being administered by the English Court of
                 Chancery at the time of the separation of the two
                 countries,” Grupo Mexicano de Desarrollo, S.A., 527
                 U.S. at 318, and the “principles, rules and usages of the
                 court of chancery of England” at that time, Vattier, 33
                 U.S. (7 Pet.) at 274, included broad authority to issue
                 decrees that bound parties not before the Chancellor.
                 This authority applied where the dispute involved “a
                 general exclusive right,” Lord Tenham v. Herbert, 2
                 Atk. 483, 484, 26 E.R. 692, 692 (1742); where “all the
                 king’s subjects may be concerned in this right,”
                 Pilkington, 1 Atk. at 284, 26 E.R. at 181; where the suit
                 was between government and “the public,” Blagrave, 1
                 De Gex & Smale at 258, 63 E.R. at 1058; “to prevent
                 multiplicity of suits,” Ewelme Hospital, 1 Vern. at 267,




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                 23 E.R. at 461; where “one general right was liable to
                 invasion by all the world,” Dilly v. Doig, 2 Ves. junr.
                 486, 487, 30 E.R. 738, 738 (1794), or where individual
                 suits “would be infinite, and impossible to be ended,”
                 Brown, 1 Ct. Ch. at 274, 22 E.R. at 797. In short,
                 whenever parties otherwise “must [go] all round the
                 compass to” settle the issues in dispute. Lord Tenham,
                 2 Atk. at 484, 26 E.R. at 692.
                        2. Calvert’s treatise also demonstrates that
                           equitable relief applied broadly under
                           English law.
                    The leading English treatise addressing the scope of
                 equity practice prior to the establishment of the
                 Constitution is A TREATISE UPON THE LAW RESPECTING
                 PARTIES TO SUITS IN EQUITY (2d ed. 1847), by Frederic
                 Calvert (“PARTIES IN EQUITY”).3 Calvert began by
                 stating the general rule regarding parties to equitable
                 actions: “whether the relief sought in the bill, in other
                 words, the equity of the bill touches any particular
                 person, so as to obtain from him a benefit, or to fasten
                 upon him a duty,” such a person is a “necessary party.”
                 PARTIES IN EQUITY at 16, 21. But he noted that, this
                 rule “is founded upon general convenience,” and is
                 subject to numerous “occasions for the relaxation of the
                 rule.” Id. at 21. Calvert explained that “relaxation” is
                 necessary in equity because:

                 3
                  Justice Joseph Story wrote that no “comprehensive and accurate”
                 treatment of this subject existed before PARTIES IN EQUITY. See
                 J. Story, COMMENTARIES ON EQUITY PLEADINGS, AND THE
                 INCIDENTS THEREOF, ACCORDING TO THE PRACTICE OF THE COURTS
                 OF EQUITY, OF ENGLAND AND AMERICA (3d. 1844) (“STORY’S EQUITY
                 PLEADINGS”) at xi.




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                    The complication of human affairs has, however,
                    become such, that it is impossible always to act
                    strictly on this general rule. Cases arise, in
                    which if you hold it necessary to bring before the
                    court every person having an interest in the
                    question, the suit could never be brought to a
                    conclusion. The consequence would be that if
                    the court adhered to the strict rule, there would
                    in many cases be a denial of justice.
                 Id. at 21-22 (emphasis added; internal quotation,
                 citation omitted). Calvert discussed over a dozen
                 “instances of relaxation” for various circumstances, id.
                 at 22-54, each of which Calvert supported by citations
                 to numerous cases decided before the establishment of
                 the United States. All of the “relaxations” of the
                 general rule, and the English cases cited in support of
                 them, illustrate the great flexibility the English equity
                 courts had before 1789 to permit bills that affected the
                 rights of persons or entities not before the court as
                 parties.
                     Calvert rooted the “relaxations” of the general rule
                 regarding parties in fundamental principles of the
                 courts of equity in England: “A Court of Law decides
                 some one individual question, which is brought before
                 it,” whereas “a Court of Equity not merely makes a
                 decision to that extent but also arranges all the rights,
                 which the decision immediately affects.” Id. at 3
                 (emphasis added). Calvert added that a “‘Court of
                 Equity, in all cases, delights to do complete justice, and
                 not by halves’; to put an end to litigation, and to give
                 decrees of such a nature, that the performance of them
                 may be perfectly safe to all who obey them: interest




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                 reipublicae ut sit finis litium [it is in the interest of the
                 public that litigation come to an end].” Id. (emphasis
                 added; translated from Latin; quoting Knight v. Knight,
                 3 P. Wms. 331, 333, 24 E.R. 1088, 1089 (1734)).
                    Calvert’s analysis in PARTIES IN EQUITY supports
                 the conclusion that English courts possessed the
                 equitable authority to bind persons who were not
                 parties to the action, notably in cases involving general
                 interests, and the rights of the public. English equity
                 practice as of 1789 fully supports the use of equitable
                 power by federal courts in this country to issue
                 injunctions with nationwide scope.
                    B. Early American Equity Practice Granted
                       Relief that Applied Beyond the Parties to a
                       Litigation
                    These principles of English practice carried over to
                 early American equity courts, as demonstrated by both
                 the leading 19th and 20th Century treatises on the
                 subject, and federal and state equity decisions.
                        1. STORY’S EQUITY PLEADINGS establishes
                           that equitable relief in United States
                           courts never was limited to the parties
                           before the court.
                    The leading American treatise on equity in the 19th
                 Century was STORY’S EQUITY PLEADINGS, by Justice
                 Joseph Story. Justice Story analyzed at length the
                 usages, rules, and practices that the English cases
                 established in equity before 1789, and illustrated how
                 American courts had adopted and applied these
                 principles in the early days of the United States.
                 Justice Story wrote that he aimed his book especially




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                 to address “the principles, which govern . . . the subject
                 of the proper and necessary Parties to Bills.” STORY’S
                 EQUITY PLEADINGS at xi; see also J. Pomeroy, A
                 T REATISE U PON E QUITY J URISPRUDENCE AS
                 ADMINISTERED IN THE UNITED STATES OF AMERICA, VOL.
                 I (3rd ed. 1905) (“POMEROY”) §§ 243-275, at pp. 356-458
                 (state and federal cases applied approaches of cases
                 such as Perkins, Pilkington, and other English
                 decisions regarding scope of equitable relief).
                     Justice Story’s work tracked Calvert’s research and
                 conclusions: after stating the general rule that all
                 persons materially interested in the subject matter of
                 a suit in equity should be made parties to it, STORY’S
                 EQUITY PLEADINGS § 72, at p. 83, the Justice recognized
                 an “exception to the general rule[.]” Id. § 94, at
                 pp. 114-15. Where such persons “are exceedingly
                 numerous, and it would be impracticable to join them
                 without almost interminable delays and other
                 inconveniences, which would obstruct, and probably
                 defeat the purposes of justice,” they need not be parties
                 to the case, even though the decree would be binding
                 upon them. Id. He observed, “the doctrine above
                 stated as to the necessity of all persons being made
                 actual parties” was riddled with so “many
                 qualifications” that it was questionable whether it was
                 “maintainable at all in its general signification.” Id.
                 § 94, at p. 116.
                    The exceptions derive from the fact that “there
                 always exists a common interest, or a common right,
                 which the Bill seeks to establish and enforce, or a
                 general claim or privilege, which it seeks to establish,
                 or to narrow, or take away.” Id. § 120, at p. 146




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                 (emphasis added). “It is obvious,” he stated, “that,
                 under such circumstances, the interest of persons, not
                 actual parties to the suit, may be in some measure
                 affected by the decree; but the suit is nevertheless
                 permitted to proceed without them, in order to prevent
                 a total failure of justice.” Id. (emphasis added). Justice
                 Story cited English cases that antedated the
                 Constitution, including Pilkington and Perkins. Id.
                 § 120, at p. 146, nn. 1-4.
                     Justice Story cited Perkins as an example of a case
                 allowing a bill in equity “where there has been a
                 general right claimed by the plaintiff,” id. § 124, at
                 p. 150, emphasizing that, in Perkins, the Chancery
                 Court had allowed the bill to go forward
                 “notwithstanding the objection, that all the subjects of
                 the realm might be concerned in the right.” Id. § 124,
                 at pp. 149-50 (emphasis added). This was because,
                 “[i]n such a case, a great number of actions might
                 otherwise be brought, and almost interminable
                 litigation would ensue; and, therefore, the Court
                 suffered the Bill to proceed, although the defendants
                 might make distinct defences, and although there was
                 no privity between them and the city.” Id. § 124, at
                 p. 150 (emphasis added).
                    Justice Story also analyzed Pilkington. He wrote
                 that the Chancellor had sustained the action because
                 “such a Bill, under the circumstances, . . . furnish[ed]
                 a ground to quiet the general right, not only as to the
                 persons before the Court, but as to all others in the
                 same predicament.” Id. § 125, at p. 150 (emphasis
                 added); see also, e.g., id. § 125, at pp. 150-51, n.3.
                 Justice Story summarized the law on this point:




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                    In all these classes of cases, it is apparent, that
                    all the parties stand, or are supposed to stand, in
                    the same situation, and have one common right,
                    or one common interest, the operation and
                    protection of which will be for the common
                    benefit of all[.]
                 Id. § 126, at pp. 151-52 (emphasis added).
                       2. Early federal and state decisions in
                          equity granted relief that applied
                          beyond the parties to the litigation.
                    Justice Story also addressed equity practice as to
                 absent parties as Circuit Justice in West v. Randall, 2
                 Mason 181, 29 F. Cases 718 (C. Ct. D.R.I. 1820). In
                 West, plaintiff instituted in federal court “a bill [in
                 equity] against the defendants, as survivors of four
                 trustees, for a discovery and account of certain real and
                 personal estate, alleged to have been conveyed to them
                 by one William West[.]” 2 Mason at 189, 29 F. Cases at
                 721. West had died, and plaintiff was one of his heirs.
                 Plaintiff did not name as parties West’s other heirs or
                 West’s personal representative, and one defendant
                 sought dismissal for failure to name them. Id. at 189-
                 90, 29 F. Cases at 721.
                     Justice Story began by acknowledging the “general
                 rule in equity that all persons materially interested,
                 either as plaintiffs or defendants in the subject matter
                 of the bill ought to be made parties to the suit, however
                 numerous they may be.” Id. at 190, 29 F. Cases at 721.
                 But this “being a general rule, established for the
                 convenient administration of justice,” Justice Story
                 said, “it must not be adhered to in cases, to which




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                 consistently with practical convenience it is incapable
                 of application.” Id. at 193, 29 F. Cases at 722.
                    Justice Story gave two illustrations when the
                 exception comes into play: “where the parties are very
                 numerous, and the court perceives, that it will be
                 almost impossible to bring them all before the court; or
                 where the question is of general interest, and a few
                 may sue for the benefit of the whole.” Id. (emphasis
                 added). Accordingly, “[i]n these and analogous cases of
                 general right,” a court of equity will:
                    dispense with having all the parties, who claim
                    the same right, before it, from the manifest
                    inconvenience, if not impossibility of doing it,
                    and is satisfied with bringing so many before it,
                    as may be considered as fairly representing that
                    right, and honestly contesting in behalf of the
                    whole, and therefore binding, in a sense, that
                    right.
                 Id. at 195, 29 F. Cases at 723 (emphasis added).
                     In Elmendorf v. Taylor, 25 U.S. (10 Wheat.) 152
                 (1825), Chief Justice Marshall, writing for a unanimous
                 Court, recognized the flexibility that federal courts of
                 equity have in administering the rules as to parties in
                 equity actions before them. In that case, defendants
                 argued that plaintiff in the equitable action was “a
                 tenant in common with others, and ought not to be
                 permitted to sue in equity, without making his co-
                 tenants parties to the suit,” which he had not done. Id.
                 at 166. The Court noted that “[t]his objection does not
                 affect the jurisdiction” of the federal court, “but
                 addresses itself to the policy of the Court” to the effect




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                 that in an action in equity, “all parties concerned shall
                 be brought before them, that the matter in controversy
                 may be finally settled.” Id. (emphasis added).
                     But “[t]his equitable rule,” the Court said, “is
                 framed by the Court itself, and is subject to its
                 discretion.” Id. at 166-67. The rule is not “inflexible,”
                 such that “a failure to observe [it] turns the party out
                 of Court, because it has no jurisdiction over his cause.”
                 Id. at 167. “[B]eing introduced by the Court itself, for
                 the purposes of justice,” the Court held, the rule “is
                 susceptible of modification for the promotion of those
                 purposes.” Id. The Court observed that “it may be
                 proper to say, that the rule which requires that all
                 persons concerned in interest, however remotely,
                 should be made parties to the suit, though applicable to
                 most cases in the Courts of the United States, is not
                 applicable to all,” and that the federal courts had
                 discretion to apply, or not apply, the rule depending on
                 the circumstances of the case. Id.; see also Vattier, 33
                 U.S. (7 Pet.) at 265 (“a general rule, established for the
                 convenient administration of justice,” “is subject to
                 some exceptions, introduced from necessity, or with a
                 view to practical convenience”) (emphasis added).
                     In Cherokee Nation v. Georgia, 30 U.S. 1 (1831), the
                 Court again considered a request for injunctive relief
                 that extended beyond the actual parties to the case,
                 and, in fact, applied to the entire state government.
                 Although the Court found that it did not have
                 jurisdiction over the Cherokee Nation’s request to
                 prevent enforcement of Georgia state law within the
                 Nation’s territory, Cherokee Nation, 30 U.S. at 19-20,
                 a dissent authored by Justice Thompson, and joined by




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                 Justice Story, concluded that, as a matter of equity, it
                 was within the courts’ powers to grant the requested
                 injunction. Id. at 77-80.
                     These decisions illustrate Justice Story’s statement
                 that “Courts of Equity do not require, that all persons,
                 having an interest in the subject-matter, should, under
                 all circumstances, be before the Court as parties.”
                 STORY’S EQUITY PLEADINGS § 142, at p. 176. “On the
                 contrary,” both English and American equity decisions
                 established that “there are cases, in which certain
                 parties before the Court are entitled to be deemed the
                 full representatives of all other persons, or at least so
                 far as to bind their interests under the decree, although
                 they are not, or cannot be made parties.” Id. at 177
                 (emphasis added).
                       3. Pomeroy’s TREATISE UPON EQUITY
                          JURISPRUDENCE and additional early
                          American decisions.
                    The leading 20th Century treatise on equity rules,
                 POMEROY, concluded that the possibility of a
                 multiplicity of suits alone “shows that the legal
                 remedies are inadequate, and cannot meet the ends of
                 justice, and therefore a court of equity interferes” on
                 that ground to provide “some specific equitable remedy,
                 which gives, perhaps in one proceeding, more
                 substantial relief than could be obtained in numerous
                 actions at law.” POMEROY § 244, at p. 358 (emphasis
                 added).
                    POMEROY identified several “classes” of cases in
                 which English and American courts of equity had
                 exercised jurisdiction for the purpose of avoiding a




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                 multiplicity of actions. Id. § 245, at pp. 359-61. These
                 cases included “[w]here a number of persons have
                 separate and individual claims and rights of action
                 against the same party,” all of which “arise from some
                 common cause, are governed by the same legal rule,
                 and involve similar facts, and the whole matter might
                 be settled in a single suit brought by all these persons
                 uniting as co-plaintiffs, or one of the persons suing on
                 behalf of the others, or even by one person suing for
                 himself alone.” Id. § 245, at p. 360 (emphasis added);
                 see also id. § 255, at p. 390 (common interests “may
                 perhaps be enforced by one equitable suit” alone).
                     POMEROY listed “the equitable relief which might be
                 obtained by the single plaintiff in the one case, or by all
                 the plaintiffs united in the other” as including “a
                 perpetual injunction . . . or the declaration and
                 establishment of some common right or duty affecting
                 all the parties.” Id. § 250, at p. 367 (emphasis added).
                 The treatise noted that “[t]he decisions are full of
                 examples illustrating this most important feature of
                 the doctrine.” Id.
                    Finally, POMEROY cited “the very numerous recent
                 cases illustrating” equitable relief being granted to
                 avoid repetitious litigation. Id. § 261, at 411, n.(b).
                 These included cases where the court enjoined: a
                 defendant from bringing actions at law against
                 numerous parties; “the enforcement of an invalid
                 municipal ordinance affecting many persons”; wrongful
                 acts affecting numerous persons; a defendant from
                 breaching a contract where many other parties had a
                 right to enforce it; enforcing promissory notes made by
                 numerous persons; and a defendant to provide




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                 pecuniary relief to many people. See id. § 261, at
                 pp. 414-15, n.(b).
                    The cases POMEROY cited illustrate that English
                 precedents such as Perkins and Pilkington, recognizing
                 the authority of a court of equity to bind persons not
                 before it to the requirements of its decree, maintained
                 their vitality in America into the 20th Century. For
                 example, in Bailey v. Tillinghast, 99 F. 801 (6th Cir.
                 1900), the court of appeals held that “to bring a case
                 within the jurisdiction” of a federal court of equity
                 involving the rights of parties not before the court, all
                 that was necessary was that there existed a common
                 interest among the persons not before the court and the
                 parties to the action regarding “the question involved
                 and the kind of relief sought.” 99 F. at 806 (citing
                 Perkins, Pilkington, and Lord Tenham).
                    In a decision by a leading state court judge in the
                 early years of the Republic, Brinkerhoff v. Brown, 6
                 Johns. Ch. 139 (N.Y. Ch. 1822) (Kent, Ch.), the court
                 found it well settled that, when general rights are at
                 issue, a court of equity would exercise jurisdiction “for
                 the sake of peace, and to prevent a multiplicity of
                 suits.” Id. at 155 (citing Pilkington). The court
                 explained “[t]he rules of pleading in chancery are not so
                 precise and strict as at law,” but “are more flexible in
                 their modification, and can more readily be made to suit
                 the equity of the case and the policy of the court.” Id. at
                 157 (emphasis added).
                     The principle of equity applying beyond the parties
                 to a case also is seen in numerous cases regarding tax
                 disputes in the 1800s. See, e.g., Carlton v. Newman, 1
                 A. 194 (Me. 1885); McTwiggan v. Hunter, 30 A. 962




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                 (R.I. 1895); see also POMEROY § 260, at pp. 391-410
                 (equity suits by one taxpayer could enjoin enforcement
                 of tax against all). In these cases, courts found that the
                 taxes to be imposed were improper, and enjoined the
                 government from collecting them from plaintiffs, and
                 others subject to the taxes.
                     As POMEROY found, “[u]nder the greatest diversity
                 of circumstances, and the greatest variety of claims
                 arising from unauthorized public acts, private tortious
                 acts, invasion of property rights, [and] violation of
                 contract obligations,” the “weight” of American
                 “authority is simply overwhelming that” the authority
                 of a court of equity:
                    may and should be exercised, either on behalf of
                    a numerous body of separate claimants against
                    a single party, or on behalf of a single party
                    against a numerous body . . . where there is and
                    because there is merely a community of interest
                    among them in the questions of law and fact
                    involved in the general controversy, or in the
                    kind and form of relief demanded and obtained[.]
                 POMEROY § 269, at p. 445 (emphasis added).
                    Early American equity decisions were thus entirely
                 consistent with “the principles, rules and usages which
                 belonged to’” the “court of Chancery England” in 1789.
                 American courts (both state and federal) have always
                 had the ability to issue equitable decrees binding
                 persons not before them as parties to the litigation, so
                 as to ensure that American justice is not “lame and
                 inadequate.” In cases involving the general interest,
                 the public’s rights, or the prospect of a multiplicity of




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                 lawsuits, courts of equity in England had enjoyed that
                 authority since at least the 17th century. Federal (and
                 state) courts of equity in the new United States
                 recognized that authority from the start of the new
                 nation in 1789, and well into the 20th Century.
                    C. The Civil Rights Era Provided Widespread
                       Injunctive Relief to Address Harm to Broad
                       Populations.
                     During the period from Reconstruction through (and
                 after) passage of the Civil Rights Act of 1968, civil
                 rights plaintiffs asked courts to apply their equitable
                 authority broadly to end unconstitutionally
                 discriminatory practices and policies. In these cases,
                 plaintiffs needed both a declaration of illegality, and a
                 vehicle to provide a basis for strong enforcement—
                 injunctions applied broadly to parties and non-parties
                 alike. See J. Altman, Implementing a Civil Rights
                 Injunction: A Case Study of NAACP v. Brennan, 78
                 COLUM. L. REV. 739, 739-40 (1978) (summarizing use of
                 injunctions to address civil rights violations in variety
                 of settings).
                    For example, plaintiffs in Bailey v. Patterson, 323
                 F.2d 201 (5th Cir. 1963), alleged that Mississippi
                 unlawfully discriminated against African Americans by
                 enacting and enforcing state and local statutes and
                 ordinances mandating racial segregation in public
                 accommodations. Several transportation carriers—
                 including local, interstate, and international carriers—
                 also allegedly discriminated against African Americans
                 by requiring racial segregation in their facilities. Id. at
                 203, n.2. Residents of Jackson, Mississippi sought a
                 declaratory judgment that the statutes and ordinances




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                 violated the United States Constitution and the
                 Interstate Commerce Act, and sought an order
                 enjoining the carriers from continuing their unlawful
                 segregation. Id. at 203.
                     The district court granted declaratory relief, but
                 declined to issue an injunction, reasoning that, because
                 the suit was not a class action, no relief could be
                 granted beyond that which each named plaintiff was
                 specifically entitled. Id. at 202, 204. On appeal, the
                 Fifth Circuit itself enjoined the City of Jackson and its
                 officials from “seeking to enforce or encouraging” racial
                 segregation in the transportation facilities, and granted
                 injunctions against the transportation carrier
                 defendants. Id. at 202, 204, 207-08. Importantly, the
                 Fifth Circuit declined to limit relief simply because the
                 case was not a class action:
                    Appellants . . . seek the right to use facilities
                    which have been desegregated, that is, which
                    are open to all persons, appellants and others,
                    without regard to race. The very nature of the
                    rights appellants seek to vindicate requires that
                    the decree run to the benefit not only of
                    appellants but also for all persons similarly
                    situated.
                 Id. at 205-06 (emphasis added). The court further held
                 that denying the injunction was improper given the
                 “threat of continued or resumed violations of
                 appellant’s federally protected rights remains actual.”
                 Id. (citing United States v. W. T. Grant Co., 345 U.S.
                 629 (1953)); see also Vulcan Soc’y of N.Y.C. Fire Dept.,
                 Inc. v. Civil Service Com., 360 F. Supp. 1265, 1278, n.8
                 (S.D.N.Y. 1973) (granting injunction, and holding “any




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                 equitable relief . . . should take the form of an
                 injunction prohibiting further use of those procedures
                 determined to be unconstitutional, which would
                 automatically benefit all individuals similarly
                 situated”), aff’d, 490 F.2d 387 (2d Cir. 1973).
                    These are but exemplars of the many cases in more
                 recent times granting injunctions as a remedy that
                 applied to parties and non-parties; nationwide
                 injunctions are one variety of such equitable relief.
                 These remedies are well established as appropriate and
                 available.
                                        *   *    *
                    The power to grant equitable relief that applies
                 beyond the parties before the court, through local,
                 regional, or, indeed, national injunctions, is consistent
                 with the scope of equitable powers recognized by
                 English courts, American courts, and respected
                 authorities, and is necessary to afford complete justice
                 as a matter of equity. This Court should affirm the
                 injunctive relief granted by the district courts in these
                 cases on this basis.




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                                     CONCLUSION
                     The power to grant broad equitable relief, including
                 relief that will apply to parties beyond those before the
                 courts, is well-within the traditional powers of courts of
                 equity. The district courts’ entries of nationwide
                 injunctions were appropriate forms of relief.
                                         Respectfully submitted,
               THOMAS W. HAZLETT             WILLIAM ALDEN MCDANIEL, JR.
                 Counsel of Record           BALLARD SPAHR LLP
               STEPHEN J. KASTENBERG         300 East Lombard Street
               JULIANA B. CARTER             18th Floor
               MANSI G. SHAH                 Baltimore, MD 21202
               BALLARD SPAHR LLP             (410) 528-5600
               1735 Market Street
               51st Floor
               Philadelphia, PA 19103
               (215) 665-8500
               hazlettt@ballardspahr.com



                Counsel for Amici Curiae The Public Interest Law Center,
                The Washington Lawyers’ Committee for Civil Rights and
                 Urban Affairs, and The Mississippi Center for Justice

                 OCTOBER 4, 2019




                                                                              AR5909
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                        Nos. 18-587, 18-588, and 18-589
================================================================================================================
                                                 In The
  Supreme Court of the United States
                                  ------------------------------------------------------------------
    DEPARTMENT OF HOMELAND SECURITY, ET AL.,
                                                                                                       Petitioners,
                                                                   v.
                   REGENTS OF THE UNIVERSITY OF
                                  CALIFORNIA, ET AL.,
                                                                                                      Respondents.
                                  ------------------------------------------------------------------
              DONALD J. TRUMP, PRESIDENT OF THE
                              UNITED STATES, ET AL.,
                                                                                                       Petitioners,
                                                                   v.
 NATIONAL ASSOCIATION FOR THE ADVANCEMENT
                        OF COLORED PEOPLE, ET AL.,
                                                                                                      Respondents.
                                  ------------------------------------------------------------------
      KEVIN K. McALEENAN, ACTING SECRETARY OF
                       HOMELAND SECURITY, ET AL.,
                                                                                                       Petitioners,
                                                                   v.
        MARTIN JONATHAN BATALLA VIDAL, ET AL.,
                                                                                                      Respondents.
                                  ------------------------------------------------------------------
                        On Writs Of Certiorari To The
     United States Courts Of Appeals For The Ninth,
           District Of Columbia, And Second Circuits
                                  ------------------------------------------------------------------
              AMICI CURIAE BRIEF OF EMPIRICAL
       SCHOLARS IN SUPPORT OF RESPONDENTS
                                  ------------------------------------------------------------------
OSSAI MIAZAD                                                              NIKOLAS BOWIE
MICHAEL N. LITROWNIK                                                      Counsel of Record
CHAUNIQUA D. YOUNG                                                        OREN NIMNI
OUTTEN & GOLDEN LLP                                                       IVAN ESPINOZA-MADRIGAL
685 Third Avenue, 25th Floor OREN SELLSTROM
New York, NY 10017                                                        LAWYERS FOR CIVIL RIGHTS
RACHEL WILLIAMS DEMPSEY                                                   61 Batterymarch Street,
OUTTEN & GOLDEN LLP                                                              5th Floor
One California Street, 12th Floor                                         Boston,                  MA 02110
San Francisco, CA 94111                                                   (617)            988-0606
                                                                          nbowie@law.harvard.edu
================================================================================================================
                                  COCKLE LEGAL BRIEFS (800) 225-6964
                                   WWW.COCKLELEGALBRIEFS.COM




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                                 1

           INTEREST OF AMICI CURIAE1
     Amici curiae are fourteen academic social scien-
tists who have conducted significant research on immi-
gration, specifically the Deferred Action for Childhood
Arrivals (“DACA”) population and the long-term ef-
fects of formal legal status and deferred action on the
lives of immigrants and their families, including their
children and grandchildren.2 Amici curiae are affili-
ated with leading universities across the country and
their research has been funded by major foundations,
including the National Science Foundation, and pub-
lished in respected journals.
     Robert Courtney Smith is Professor in the Aus-
tin W. Marxe School of Public and International Af-
fairs, Baruch College, and Sociology Department,
Graduate Center, CUNY. He authored Mexican New
York: Transnational Worlds of New Immigrants (Cali-
fornia, 2006), and Horatio Alger Lives in Brooklyn, But
Check His Papers (under contract, University of Cali-
fornia press), which analyze how immigration status
and other factors affect intergenerational individual
and family mobility. His current project, the DACA Ac-
cess Project, studies the long-term effects of having,

    1
       Rule 37 statement: All parties issued blanket consents to
the filing of amicus briefs. Nobody but amici and their counsel
authored any portion of this brief or funded its preparation and
submission.
    2
       This Court has often relied on social science research to in-
form its decisions. See, e.g., Hall v. Florida, 134 S. Ct. 1986, 1993
(2014); Roper v. Simmons, 543 U.S. 551, 569–70 (2005); Atkins v.
Virginia, 536 U.S. 304, 318 (2002).




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                            2

lacking, gaining, or losing formal immigration status
or deferred action, especially DACA.
    Caitlin Patler is Assistant Professor of Sociology
at the University of California, Davis, where her re-
search analyzes the origins and reproduction of ine-
quality in the United States, with a special focus on
how laws, legal statuses, and law enforcement institu-
tions drive socioeconomic and health disparities. Dr.
Patler is the Principal Investigator of the DACA Lon-
gitudinal Study, an original survey and in-depth inter-
view study that follows 502 DACA recipients and
undocumented non-recipients in California over time.
     Cecilia Menjívar holds the Dorothy L. Meier
Chair in Social Equities and is Professor of Sociology
at the University of California, Los Angeles. Her re-
search on immigration examines the effects of immigra-
tion laws and policies on various aspects of immigrants’
lives, especially family dynamics, access to institutions,
and citizenship and belonging.
    Douglas S. Massey is the Henry G. Bryant Pro-
fessor of Sociology and Public Affairs at Princeton
University, where he also directs the Office of Popula-
tion Research. He is the Co-Director of the Mexican
Migration Project, which annually since 1987 has
gathered data from representative community sam-
ples on documented and undocumented migrants to
the United States. Since 1998 he has also Co-Directed
the Latin American Migration Project, which uses the
same methodology to gather data on documented and




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undocumented migrants from other nations in Latin
America and the Caribbean.
    James D. Bachmeier is Associate Professor of
Sociology at Temple University and a non-resident Fel-
low at the Migration Policy Institute. His research is
focused on immigration and the integration of immi-
grants in the United States. He co-authored, with
Frank D. Bean and Susan K. Brown, Parents without
Papers: The Progress and Pitfalls of Mexican American
Integration (2015, Russell Sage), and has published his
research in Social Forces, Demography, International
Migration Review, and the ANNALS of the American
Academy of Political and Social Science.
     Elizabeth Aranda is Professor of Sociology at the
University of South Florida. Her work has been
supported by the National Science Foundation. Her
primary field of interest is immigrant emotional well-
being. She has conducted influential research on issues
of immigrant integration, such as psychological well-
being and emotional adaptation, contributing to the
improvement of our understanding of the subjective
experience of migration and settlement in a new coun-
try. She is co-author on several articles and books on
immigrant youth and young adults (with and without
DACA) and their subjective well-being.
    Mary C. Waters is the PVK Professor of Arts and
Sciences and the John Loeb Professor of Sociology at
Harvard University. A demographer and sociologist,
Waters is an expert on the assimilation of immigrants,
specializing in the socioeconomic outcomes of young




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adults whose parents are immigrants. A member of the
National Academy of Sciences, Waters chaired the in-
terdisciplinary NAS Committee of 17 immigration ex-
perts who produced the 2015 report on The Integration
of Immigrants into American Society (National Acade-
mies Press).
     Frank D. Bean is Distinguished Professor of
Sociology (and Education and Economics) at the Uni-
versity of California, Irvine. A demographer who is a
leading senior researcher on the estimation of unau-
thorized and legal status from survey data and on the
assessment of the educational effects of migration
status on the descendants of immigrants, he both co-
directed the Urban Institute/RAND national evalua-
tion of the 1986 IRCA’s effects and the large-scale 2004
IIMMLA survey of second-generation immigrant inte-
gration in Los Angeles.
    Susan K. Brown is Professor of Sociology at the
University of California, Irvine. Her work examines
immigrant integration, population distribution, and
educational inequalities. She is co-author of Parents
Without Papers: The Progress and Pitfalls of Mexican
American Integration, winner of an outstanding schol-
arship award. She is a co-investigator of “Immigration
and Intergenerational Mobility in Metropolitan Los
Angeles,” a survey in 2004 of the immigrant second
generation.
     Catalina Amuedo-Dorantes is Professor of Eco-
nomics at University of California, Merced, a Research
Fellow at CReAM, FEDEA and IZA, an Advisory




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committee member of the Americas Center Advisory
Council at the Federal Reserve Bank of Atlanta, and
the Western Representative in the Committee for the
Status of Women in the Economics Professions
(CSWEP) since 2015. Her areas of interest include la-
bor economics, international migration and remit-
tances. She has published scholarship on contingent
work contracts, the informal work sector, international
remittances, as well as on immigrant savings, health
care and labor market outcomes. Her current research
broadly focuses on immigration policy and its conse-
quences.
     Leisy J. Abrego is Professor in the Chicana and
Chicano Studies Department at the University of Cal-
ifornia, Los Angeles. Over two decades, she has re-
searched how local, state, and federal U.S. immigration
policies and practices have affected the day-to-day
lives of migrants and their families. Her research
analyzes how young people—undocumented and 1.5
generation immigrants, and DACA recipients—inter-
nalize and respond to immigration policies and prac-
tices. In her current project, she interviews DACA
recipients and their relatives to analyze the family-
level consequences of DACA.
     Joanna Dreby is Associate Professor of Sociology
at the University at Albany—SUNY. A leading quali-
tative methodologist, Dr. Dreby is an expert on the im-
pacts of migration, family separation, and immigration
enforcement on children and gender and generational
relationships in families. She is author of two award-
winning books, Divided by Borders: Mexican Migrants




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and their Children (University of California Press
2010) and Everyday Illegal: When Policies Undermine
Immigrant Families (University of California Press
2015).
     Francesc Ortega is the Dina A. Perry Professor
in Economics at the Queens College of the City Univer-
sity of New York. Dr. Ortega’s main area of research is
the analysis of the economic effects of immigration,
with a focus on labor market and macroeconomic out-
comes. Much of his recent work has been devoted to
quantifying the economic contribution of unauthorized
workers to the U.S. economy and to the evaluation of
the potential impact of policy proposals aimed at
providing legal status.
     Amy Hsin is Associate Professor of Sociology at
Queens College, City University of New York (CUNY),
and faculty affiliate at CUNY Institute of Demo-
graphic Research. She has researched the determi-
nants of Asian American achievement in education,
and the effect of aggressive policing on the educational
performance of immigrant youth and Black/Latino
youth. She is a principal investigator on a large study
of DACA funded by the W.T. Grant Foundation, which
analyzes DACA’s effects on college attendance and
work, and analyzes DACA recipients’ strong academic
trajectories.
     As scholars who conduct empirical research on the
DACA population, amici have a substantial interest in
this matter. In this brief, they present social science re-
search relevant to the legal questions before this




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Court, including research concerning: the demographic
and socioeconomic characteristics of the DACA popu-
lation; how those individuals benefit from DACA; how
their United States citizen relatives, including chil-
dren, benefit from having parents or family members
with DACA; and how DACA recipients and their
United States citizen relatives would be harmed if
DACA were ended.
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       INTRODUCTION AND SUMMARY
            OF THE ARGUMENT
     Research on DACA, as well as more general schol-
arship on the effects of having, gaining, lacking, and
losing deferred action or legal status in the United
States, shows unequivocally the strong reliance inter-
ests in DACA, both on the part of DACA recipients and
on the part of their U.S.-citizen children and families.
Rescinding DACA would cause harm to a particularly
hardworking and high-achieving segment of U.S. soci-
ety, and its effects would reverberate through genera-
tions.
    Social science research on the DACA population
reveals that DACA recipients are successful, long-term
residents of the United States who are deeply embed-
ded in American life, and who, in the seven years since
DACA’s inception, have come to rely on its promises of
increased stability and economic security for them-
selves and their relatives. Most DACA recipients have
attended and graduated from American schools and




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many live with U.S.-citizen children or immediate fam-
ily members. DACA protects its recipients in a number
of important ways, including by increasing their earn-
ings and labor market participation, improving their
ability to continue their education, and facilitating
their ability to function without fear in daily life, such
as by enabling them to get drivers’ licenses to drive to
work or to pick up their children. DACA also decreases
the harms attached to undocumented status, including
heightened anxiety and stress, or fear of separation
from children or family.
     U.S.-citizen children and immediate family mem-
bers of DACA recipients also benefit significantly from
DACA, because of DACA recipients’ increased incomes,
ability to continue their education and training, in-
creased ability to function without fear, and decreased
risk of harm due to undocumented status. For example,
U.S.-citizen children whose parents received deferred
action experienced reduced rates of adjustment and
anxiety disorders, compared to children whose parents
did not. DACA further protects U.S.-citizen children
and other immediate family members from substantial
harms that result from having a family member, espe-
cially the primary breadwinner, removed or living un-
der the constant threat of removal.
    In sum, seven years of research into the DACA
population, as well as studies of other populations that
have gained and lost legal status or deferred action in
the United States, show that DACA recipients and
their family members strongly rely on the protections




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of DACA, the loss of which could ripple deeply out-
ward.
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                           ARGUMENT
I.     Immigrant legal status and work authoriza-
       tion have a critical impact on the lives of in-
       dividuals and their children and families.
       A. Overview of DACA and DACA Recipients.
     DACA was initiated to address the legal and social
limbo in which its recipients found themselves: On one
hand, they had grown up in the United States and saw
this country as home, attended U.S. schools, and con-
tributed to the country with their taxes. On the other
hand, they were often prevented from continuing their
education due to eligibility and tuition-related barriers
and were unable to find legal employment. In then
President Obama’s words, DACA was created to help
the young people who “want to staff our labs, or start
new businesses, or defend our country.” He observed
that DACA recipients were “Americans in their heart,
in their minds, in every single way but one: on paper.”
Press Release, The White House, Office of the Press
Sec’y, Remarks by the President on Immigration (June
15, 2012), https://obamawhitehouse.archives.gov/the-press-
office/2012/06/15/remarks-president-immigration.
    As would be expected given the DACA initiative’s
central mission, the DACA population is young, and
deeply settled in the U.S. Two-thirds were under age
25 in 2017, when the average age was 24; only 24%




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were ages 26–30, and only 11% were 31–36. U.S. Citi-
zenship and Immigration Services (USCIS) data from
2017 showed that 20% of DACA recipients were still
in high school. Some 83% of DACA recipients were un-
married when applying, and only 15% were married.
See Gustavo López & Jens Manuel Krogstad, Key Facts
About Unauthorized Immigrants Enrolled in DACA
(2017), https://www.pewresearch.org/fact-tank/2017/09/
25/key-facts-about-unauthorized-immigrants-enrolled-
in-daca; see also Roberto G. Gonzales et al., Becoming
DACAmented: Assessing the Short-Term Benefits of De-
ferred Action for Childhood Arrivals (DACA), 58 Am.
Behavioral Scientist 1852, 1862 (2014) (reporting the
average age of DACA recipients in study sample was
22.6 years in 2014). All DACA recipients have been in
the U.S. at least 12 years (since June 15, 2007, to qual-
ify for DACA), but many have been here longer—16
years on average according to one field-based study.3
See Robert Courtney Smith, DACA Access Project (in
field study of 1,707 interviews of DACA recipients in
New York state, finding average age of arrival of 6.8
years old).
   As a group, DACA recipients are high achievers.
Due to the initiative’s educational requirements,
DACA recipients generally have at least a high school

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       U.S. Citizenship & Immigration Servs. (USCIS) reported
the average age of DACA recipients as 24.2 years in August 2018,
which yields an average stay of 16–18 years. See U.S. Citizenship
and immigration services (USCIS), https://www.uscis.gov/sites/default/
files/USCIS/Resources/Reports%20and%20Studies/Immigration%20
Forms%20Data/All%20Form%20Types/DACA/DACA_Population_
Data_August_31_2018.pdf.




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diploma, a GED, or are pursuing adult education. As of
2014, DACA recipients were enrolled in college at
nearly the same rate as all Americans (18% for DACA
versus 20% for the overall U.S. population). Jie Zong,
Ariel Ruiz Soto, Jeanne Batalova, Julia Gelatta, &
Randy Capps, A Profile of Current DACA Recipients
by Education, Industry, and Occupation. (2017),
https://www.migrationpolicy.org/research/profile-current-
daca-recipients-education-industry-and-occupation. An-
other 15% of DACA recipients had completed some col-
lege, and 4% had earned a bachelor’s degree or higher.
Id. In total, some 37% had attended at least some col-
lege, and those numbers have undoubtedly risen in the
last five years, as DACA recipients have relied on de-
ferred action to access higher education. Id. Moreover,
DACA recipients have become more deeply settled in
the U.S., increasingly forming their own families.
USCIS data from April 30, 2019 show that 20.6% of
DACA recipients are now married (up from 15% on in-
itial application). U.S. Citizenship and Immigration
Servs., Approximate Active DACA Recipients Demo-
graphics—Apr. 30, 2019 (2019), https://www.uscis.gov/
sites/default/files/USCIS/Resources/Reports%20and%20
Studies/Immigration%20Forms%20Data/All%20Form
%20Types/DACA/Approximate_Active_DACA_Recipients_
Demographics_-_Apr_30_2019.pdf.


     B. Effect of obtaining legal status and work
        authorization.
    The impact of attaining legal status or work au-
thorization is broad and far-reaching, has dramatic




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effects on entire families, and extends through multi-
ple generations.
     Immigrant legal status is a central axis of stratifi-
cation in contemporary U.S. society and is linked to a
range of inequities for youth. Joanna Dreby, Everyday
Illegal, (2015); Roberto G. Gonzales, Lives in Limbo:
Undocumented and Coming of Age in America (2016);
Elizabeth Aranda et al., Personal and Cultural
Trauma and the Ambivalent National Identities of Un-
documented Young Adults in the U.S., 36 J. Intercul-
tural Stud. 600, 603–04 (2015); Cecilia Menjívar,
Liminal Legality: Salvadoran and Guatemalan Immi-
grants’ Lives in the United States, 111 Am. J. Soc. 999,
1000 (2006). Undocumented status promotes “member-
ship exclusion” and inhibits integration by, for exam-
ple, preventing access to key American institutions,
such as schools, jobs, healthcare, and childcare institu-
tions. Frank D. Bean et al., Parents Without Papers:
The Progress and Pitfalls of Mexican American Inte-
gration, 6–9 (2015). A key example of how these effects
are transmitted through a generation is that having
undocumented parents decreases second-generation
children’s educational attainment by 1.24 years, com-
pared to those whose parents were citizens or entered
the U.S. with authorization. Id. at 86. Having parents
who came to the U.S. without authorization but later
obtained permanent legal status did not have the same
negative effect as having parents who remained un-
documented. Rather, children whose parents obtained
permanent legal status displayed educational out-
comes similar to their counterparts whose parents had




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always had legal status. Similarly, second-generation
adult male children of unauthorized parents had de-
creased earnings compared to those whose parents had
always had legal status. Id. at 108–119.
     Membership exclusion becomes particularly acute
in adolescence, when undocumented youth start to be-
come excluded from key institutions, rituals, and iden-
tity documents—for example, getting a driver’s license
or an internship, attending school trips, or obtaining
financial aid for college. Simultaneously, many increas-
ingly feel a duty to help their parents financially and
begin to work in the informal economy. Roberto G. Gon-
zales, Learning to be Illegal: Undocumented Youth and
Shifting Legal Contexts in the Transition to Adulthood,
76 Am. Soc. Rev. 602, 612–13 (2011); Cecilia Menjívar
& Daniel Kanstroom, Constructing Immigrant “Ille-
gality”: Critiques, Experiences, and Responses (2014);
Robert Courtney Smith, Horatio Alger Lives in Brook-
lyn, But Check His Papers, Published Materials, https://
www.baruch.cuny.edu/mspia/faculty-and-staff/full-time-
faculty/amicusbrief.html. The end result is that college
and the better life prospects it leads to become false
promises. This pushes many, as early adults, to relin-
quish their dreams of college and accept a life where
they work for low wages, in hard jobs with little chance
for advancement, where injury and wage theft are com-
mon. Id. Later, as early adults, undocumented people
feel they must conceal the shameful secret of their lack
of legal status from others. Gonzales, Learning to be Il-
legal, supra, at 610–11; see also Perreira, K. M., Fuligni,
A., & Potochnick, S., Fitting In: The Roles of Social Ac-
ceptance and Discrimination in Shaping the Academic




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Motivations of Latino Youth in the U.S. Southeast, 66 J.
Soc. Issues 173, 185–188 (2010). They fear the police,
as a routine traffic stop could lead to removal. Amada
Armenta, Protect, Serve, and Deport: The Rise of Polic-
ing as Immigration Enforcement (2017). As a result,
many experience depression and anxiety. See Gonzales,
Learning to be Illegal, supra, at 610–15; Hirokazu Yo-
shikawa et al., Unauthorized Status and Youth Devel-
opment in the United States: Consensus Statement of
the Society for Research on Adolescence, 27 J. Res. Ado-
lescence 4 (2016); Hirokazu Yoshikawa, Carola Suárez-
Orozco & Roberto Gonzales, Unauthorized Status and
Youth Development in the United States: Consensus
Statement of the Society for Research on Adolescence,
27 J. Res. Adolescence 4 (2016); Caitlin Patler & Whit-
ney Laster Pirtle, From undocumented to lawfully pre-
sent: Do changes in legal status impact psychological
wellbeing among Latino immigrant young adults?, Soc.
Sci. & Med. (2017), www.sciencedirect.com/science/article/
pii/S027795361730148X?np=y&npKey=cd0a5382554ee2
2e26ffd1accf5c9a82cdd84c6a794d2bab0323cb930f528
107.
     Even high-achieving undocumented youth face
these negative effects. By their early twenties, the lives
of these high achievers (in terms of jobs, income, and
opportunity) converge with similarly situated youth
who dropped out of high school. Gonzales, Lives in
Limbo, supra. While their U.S.-citizen peers can get
driver’s licenses, jobs, internships, or student loans to
help them go to college, undocumented status be-
comes a “master status” that excludes even the most




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academically successful undocumented youth from
pursuing educational and professional opportunities.
Id.; Leisy Abrego, Renewed Optimism and Spatial Mo-
bility: Legal Consciousness of Latino Deferred Action
for Childhood Arrivals Recipients and their Families in
Los Angeles, Ethnicities, 18 Ethnicities 192–207 (2018);
cf. Patler & Pirtle, supra, at 39–48, www.sciencedirect.com/
science/article/pii/S027795361730148X?np=y&npKey=
cd0a5382554ee22e26ffd1accf5c9a82cdd84c6a794d2bab
0323cb930f528107. The end result is that the opportu-
nities these youth have are greatly limited, even if they
are able to attend college despite their status. Id.
     Perhaps unsurprisingly given this research, hav-
ing or gaining legal status and work authorization has
a strong positive effect on intra-family mechanisms
that promote upward mobility among immigrant fam-
ilies. For example, one study followed a set of children
of Mexican immigrants for over a decade as they
moved from later adolescence into early adulthood
(ages 18–25) and middle adulthood (late-20s to mid-
30s) found that families who had or obtained legal im-
migration status achieved higher levels of yearly in-
come compared to families who did not. Robert
Courtney Smith, Horatio Alger Lives in Brooklyn, But
Check His Papers, Published Materials, https://www.
baruch.cuny.edu/mspia/faculty-and-staff/full-time-faculty/
amicusbrief.html; see also Robert Courtney Smith, Ho-
ratio Alger Lives in Brooklyn: Extra-Family Support,
Intra-Family Dynamics, and Socially Neutral Operat-
ing Identities in Exceptional Mobility Among Children
of Mexican Immigrants, 620 Annals of Am. Acad. of Pol.




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& Soc. Sci. 270 (2008); Philip Kasinitz, John H. Mollen-
kopf, Mary C. Waters, Jennifer Holdaway, Inheriting
the City: The Children of Immigrants Come of Age
(2009). For “always documented families” (where par-
ents and older children always had formal legal immi-
gration status or were U.S. citizens) and “legal status
category changer” families (where parents or older
children had been undocumented, but later gained
formal status), family income rose more as the older
children began to work than it did in “always undocu-
mented” families (where parents and older children re-
mained undocumented). This difference was dramatic:
at the start of the study, the difference in yearly income
between “always undocumented” families and the
other families was less than $4,000 per person, but this
number rose to $15,000–20,000 per person by the time
the study was complete.
     These exclusions have large, negative, intergener-
ational consequences on the children of immigrants
(including U.S.-citizen children). Due to these member-
ship exclusions, the poverty rate of children with un-
documented parents is twice the rate of children of
U.S.-born parents, and undocumented youth are far
less likely to graduate high school and attend college
than documented immigrants and native-born youth.
Emily Greenman & Matthew Hall, Legal Status and
Educational Transitions for Mexican and Central
American Immigrant Youth, 91 Social Forces 1475,
1475–98, 1486 (2013). Jefferey Passel & D’vera Cohn,
A Portrait of Unauthorized Immigrants in the United
States (2009), https://www.pewresearch.org/hispanic/




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2009/04/14/a-portrait-of-unauthorized-immigrants-in-
the-united-states; see also Randy Capps et al., A Pro-
file of U.S. Children with Unauthorized Immigrant
Parents, Migration Policy Inst., at 2 (2016), https://
www.migrationpolicy.org/research/profile-us-children-
unauthorized-immigrant-parents. Although poverty
levels decreased for all children in older age groups
within the U.S. population, they decreased less for
those with undocumented parents. Capps et al., supra,
at 6. Thus, children of undocumented parents are more
likely to grow up in poverty, and suffer its ill effects.
     While DACA, as deferred action, only gives tempo-
rary access to work authorization and reprieve from
removal, and to work authorization enables recipients
to convert educational effort into better future life
chances for oneself and one’s family. It also gives access
to “gateway identity documents” such as a driver’s li-
cense. Gonzales et al., supra, at 612–13. Hence, while
DACA does not confer the full protections of institu-
tional inclusion that permanent legal immigration sta-
tus does, individuals’ ability under DACA to obtain
temporary reprieve from removal, access to the labor
market, and documents, such as a driver’s license, pro-
mote financially stronger families that would facilitate
intergenerational upward mobility in ways that end-
ing DACA would inhibit. Moreover, DACA also helps
its recipients and their families by decreasing other
negative effects of lacking legal status, such as chil-
dren’s increased anxiety due to the fear their parents
will be removed.




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II.   DACA has positive effects on the lives of its
      recipients and their families, including
      U.S.-citizen children.
     DACA has improved the lives of recipients and
their families, including their U.S.-citizen children and
family members, in various ways. These improvements
include increased earnings and better jobs, increased
motivation in school and ability to attend college, and
decreased anxiety and related mental health problems
for themselves and their U.S.-citizen children.
     Various studies find that DACA is associated with
improved socioeconomic outcomes. Analyses of data
from the federal American Community Survey using
advanced regression techniques show that DACA in-
creased the probability of being employed and being in
the labor force, reduced the likelihood of unemploy-
ment, and increased the hours worked per week for
likely-eligible noncitizens, compared to noncitizens
ineligible for DACA. Nolan G. Pope, The Effects of
DACAmentation: The Impact of Deferred Action for
Childhood Arrivals on Unauthorized Immigrants, 143
J. Pub. Econ. 98, 99 (2016). These findings are sup-
ported and developed by studies that have directly
surveyed DACA recipients. For example, one study
found that 84% of DACA recipients were working, ver-
sus 68% of undocumented respondents, that 79% of
DACA recipients reported getting a better job, and 64%
reported earning more money. Caitlin Patler et al.,
From Undocumented to DACAmented: Impacts of the
Deferred Action for Childhood Arrivals (DACA) Pro-
gram, Inst. for Research Lab. & Emp. 6, 19, 20 (2015),




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https://escholarship.org/uc/item/3060d4z3. Some 77%
of DACA recipients reported it was easier to cover bills
after obtaining DACA, while 78% reported it was eas-
ier to contribute to household expenses. Id. at 6. An-
other study found that 59% of DACA recipients had
obtained a new job, 21% had obtained internships, 57%
had obtained driver’s licenses, and 45% had increased
their earnings after gaining DACA. Gonzales et al.,
Becoming DACAmented, supra, at 1861. These higher
earnings increase DACA recipients’ incomes and, in
turn, their families’ incomes, helping their siblings, es-
pecially younger siblings, many of whom are likely to
be U.S.-citizens. Such increased earnings also help the
American economy. Professors Francesc Ortega, Ryan
Edwards, and Amy Hsin estimate that DACA in-
creased GDP by about $3.5 billion, or $7,454 per legal-
ized worker. Francesc Ortega et al., The Economic
Effects of Providing Legal Status to DREAMers 2–3
(2018), http://ftp.iza.org/dp11281.pdf.
     In addition to its financial effects, DACA positively
affected educational attainment for many recipients.
Some scholars have found that obtaining DACA was
linked to increases in high school attendance and grad-
uation; Elira Kuka et al., Do Human Capital Decisions
Respond to the Returns to Education? Evidence from
DACA, (2018), https://www.nber.org/papers/w24315.pdf.
Others found it increased the number of Latinos tak-
ing the GED (General Educational Development cer-
tificate; Pope, supra, at 99; or that it made it easier
to attend college. Patler et al., supra. Some research
detects a drop in college attendance. Amy Hsin &




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Francesc Ortega, The Effects of Deferred Action for
Childhood Arrivals on Educational Outcomes of Un-
documented Students, 55 Demography 1487, 1487–1506
(2018). But Hsin and Ortega do not posit a general ten-
dency towards dropping out of college permanently,
but rather theorize there may be a more zero-sum
trade-off between going to four-year college and work-
ing. Id. Once DACA recipients acquire work permits,
they are able to work legally and earn more money,
making work more attractive than school. That same
study’s finding that those who remain enrolled in four-
year colleges continue to attend full time is consistent
with the more positive reports of the survey- and case-
based research. See, e.g., Patler et al., supra. Similarly,
the lack of an increase in dropout rates for community
college students, but a decrease in full-time enroll-
ment, likely reflects an increase in the number of hours
these DACA recipients in community college worked.
Id. at 8. This would signal more of a “stop-out” (leaving
school to work, when earnings are higher) than a drop
out (leaving school permanently.). This is true for at
least two reasons. One, DACA permits recipients to
benefit from their current hard work in school with
better jobs in the formal economy in the future (which
would be harder to get without work authorization).
Gonzales et al., Becoming DACAmented, supra, at
1867; Smith, supra note 14; Patler et al., supra, at 20.
Moreover, the potential to earn more money makes it
easier for some students to stay in college. Ortega et
al., supra; see also Patler et al., supra, at 5. For exam-
ple, one study found that DACA increased high school
attendance and graduation rates and closed the




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citizen/noncitizen graduation gap by 40%. Elira Kuka
et al., Do Human Capital Decisions Respond to the
Returns to Education? Evidence from DACA (2018),
https://www.nber.org/papers/w24315.pdf. That DACA
encourages school persistence in high school is espe-
cially important because high school is a life turning
point—dropping out of high school closes many educa-
tional and professional doors, while graduating keeps
them open. This is consistent with research finding
that obtaining deferred action at a younger age pro-
motes stronger educational engagement and continua-
tion. Roberto G. Gonzales et al., (Un)Authorized
Transitions: Illegality, DACA, and the Life Course, 15
Res. Hum. Dev. 345, 346–58 (2018).
     Case-oriented research further shows that the
earnings of many DACA recipients increased substan-
tially within a few years after obtaining work authori-
zation through DACA. This improvement occurs along
two separate paths: those who began working without
work authorization had access to better paying jobs,
and those who obtained their first job after receiving a
work authorization entered the workforce with higher
starting incomes.
     For example, an ongoing study conducted by Pro-
fessor Robert Courtney Smith tracks students like the
following, all of whom illustrate the many ways in
which recipients have relied on DACA to shape their
life paths:




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     •   Lionel4 had been working as a self-employed
         consultant after getting his B.A. since his lack
         of work authorization made it harder to get
         work in larger organizations with more insti-
         tutionalized hiring processes. After getting
         DACA, he applied for jobs at larger organiza-
         tions, and landed one making $60,000/year, up
         from the $24,000 he had made before. Within
         a few years, he was asked to apply for, and re-
         ceived, a job with more leadership opportuni-
         ties and a salary of $77,000 at another
         organization that liked his work.
     •   Laxmi, a college student, was able to get her
         first full-time job working in youth services
         making $46,000/year at a nonprofit, rather
         than working in a restaurant or other job
         where work authorization would less likely be
         an issue. This meant she could pay for her tu-
         ition for college, which her parents would
         have found difficult.
     •   Orestes had started cutting high school, and
         was in danger of failing, when his mother
         brought him to get DACA. After getting
         DACA, he made up the credits he had missed
         the prior year, and graduated from high
         school, and was working and planned to at-
         tend community college. DACA dramatically
         increased his effort at school, because he saw
         the chance to get a better job and go to col-
         lege.



 4
     Names have been changed for confidentiality.




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    •    Magda had been a high-performing, undocu-
         mented high school student, but feared that
         she would not be able to go to college. Getting
         DACA made it possible for her to go to college,
         after which she wants to become a pediatric
         nurse.
    •    Armando enrolled in and then took a break
         from college because his work authorization
         enabled him to work more, for better pay. Get-
         ting DACA, Armando reported, enabled him
         to make concrete plans about his future, and
         act on them, and to help his family.
     Robert Courtney Smith, Horatio Alger Lives in
Brooklyn, But Check His Papers, Published Materials,
https://www.baruch.cuny.edu/mspia/faculty-and-staff/
full-time-faculty/amicusbrief.html.
    For young people like Lionel, Laxmi, Orestes,
Magda, and Armando, getting DACA and employment
authorization brought their earnings more in line with
where we would otherwise expect them to be.
     DACA also decreases psychological stress on its
recipients. Id.; see also Patler & Pirtle, supra, at 42–46.
The stressors that DACA may lessen include removal
fear, lack of ontological security (i.e., one’s sense of re-
liance on material surroundings and trust of what one
knows to be true), and economic precariousness. Patler
& Pirtle, supra, at 42–46. Elizabeth Vaquera, Elizabeth
Aranda & Isabel Sousa-Rodriguez, Emotional Chal-
lenges of Undocumented Young Adults: Ontological Se-
curity, Emotional Capital, and Well-Being, 64 Social
Problems 298–314 (2017). Gonzales, et al., Becoming




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DACAmented, supra, at 1852–1872; Patler, et al., From
Undocumented to DACAmented, supra. For example,
undocumented respondents are four times more likely
to fear removal than DACA recipients (40% versus
9%). Id.; see also Patler & Pirtle From Undocumented
to Lawfully Present, supra at 44 (“Receiving DACA re-
duced the odds of distress, negative emotions, and
worry about self-deportation by 76–87%, compared to
respondents without DACA.”). Drawing from 100 in-
depth interviews with DACA recipients and their fam-
ily members in Los Angeles, a 2018 study found that
DACA led to many more opportunities for entire fami-
lies to “achieve their goals [and] experience spatial mo-
bility,” and “shifted entire families’ legal consciousness
toward a stronger sense of pride and belonging in the
United States.” Abrego, supra, at 192–207.
     Beyond the positive effects of DACA on recipients
themselves, the children of DACA recipients (many of
whom are U.S. citizens) have a strong reliance interest
in their parents retaining DACA. Children’s health
and well-being are sensitive to family stress, and
prior studies have shown that children are aware of
and affected by removal threats their parents face.
Landale, et al., Behavioral Functioning Among Mexi-
can-Origin Children: Does Parental Legal Status Mat-
ter?, 56 J. Health & Soc. Behav. 2, 2–18 (2015); Edward
Vargas & Vickie Ybarra, U.S.-Citizen Children of Un-
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tion Policy and the Health of Latino Children, 19 J.
Immigrant & Minority Health 913, 918–20 (2017)
https://www.ncbi.nlm.nih.gov/pmc/articles/PMC5236009;




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Mapp & Hornung, Irregular Immigration Status Im-
pacts for Children in the USA, 1 J. Hum. Rights & Soc.
Work 61, 61–70 (2016) https://link.springer.com/content/
pdf/10.1007%2Fs41134-016-0012-1.pdf; Alexander Or-
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Wallace & Maira Inkela, Documentation Status and
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Health: Measurement Dilemmas in Studies of Mexican-
Origin Children, 138 Soc. Sci. Med. 57, 57–67 (2015)
https://www.ncbi.nlm.nih.gov/pmc/articles/PMC4498967;
Enriquez, Multigenerational Punishment: Shared Ex-
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Mixed-Status Families, 77 J. Marriage & Fam. 939–53
(2015); R.S. Oropesa, et al., How Does Legal Status
Matter for Oral Health Care Among Mexican-Origin
Children in California? 3 SSM Population Health 730,
730–39 (2017) https://www.ncbi.nlm.nih.gov/pmc/articles/
PMC5607870; R.S. Oropesa, et al., Legal Status and
Health Care: Mexican-Origin Children in California,
2001–2014, 35 Population Research & Policy Rev. 651,
651–84 (2016) https://www.ncbi.nlm.nih.gov/pmc/articles/
PMC5114005. One study of Medicaid data in Oregon,
published in Science in 2017, showed that, among chil-
dren of DACA-eligible parents, diagnoses of adjust-
ment and anxiety disorders decreased significantly
after 2012 compared with the ten-year period before
the initiative was put in place. Jens Hainmueller et al.,
Protecting Unauthorized Immigrant Mothers Im-
proves Their Children’s Mental Health, 357 Science
1041, 1041–44 (2017) https://science.sciencemag.org/




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content/357/6355/1041. Another study that drew from
representative statewide survey data from the Califor-
nia Health Interview Survey found that mothers’
DACA eligibility significantly increased reports of
“good,” “great,” or “excellent” health among children,
compared to reports of “fair” or “poor” health. Caitlin
Patler et al., Uncertainty About DACA May Under-
mine Its Positive Impact on Health for Recipients and
Their Children, 38 Health Affairs 738, 738–45 (2019)
https://www.healthaffairs.org/doi/full/10.1377/hlthaff.
2018.05495. While 79% of children of DACA-eligible
mothers were reported to have good health during the
period prior to DACA, this percentage rose to 99% from
2012–15. Id. The average age of the affected children
in the California study was 4.9 years old. Id.


III. DACA protects against the harms experi-
     enced by U.S.-citizen children when a parent
     or relative is undocumented or removed.
     While DACA promotes positive outcomes for its
recipients, such as helping their U.S.-citizen children
or siblings have better life chances, it also protects
against the negative effects of having a parent (or sib-
ling, or other immediate family member) who is undoc-
umented, or has been removed. This is because:
    Policies designed to block the integration of
    undocumented immigrants or individuals
    with a temporary status can have the unin-
    tended effect of halting or hindering the inte-
    gration of U.S. citizens and lawful permanent
    residents in mixed status families. Laws are




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        often designed to apply to individuals, but
        their effects ripple through households, fami-
        lies, and communities, with measurable
        long-term, negative impacts on children who
        are lawful U.S.-citizens. Nat’l Acads. of Scis.,
        Eng’g & Med., Comm. on Population, Div. of
        Behavioral & Soc. Sci. & Educ., The Integra-
        tion of Immigrants into American Society 10
        (Mary C. Waters & Marisha Gerstein Pineau
        eds., 2015), www.nap.edu/catalog/21746/the-
        integration-of-immigrants-into-american-society).
    The family members of DACA recipients therefore
have a strong reliance interest in the continuation of
DACA.
     The numbers of U.S. citizens and legal permanent
residents potentially affected by ending DACA are
enormous. As of 2017, there were 5.8 million U.S.-born
children who lived with an undocumented family
member in the same household, including 1 million in
Texas alone.5 Silva Mathema, Keeping Families To-
gether: Why All Americans Should Care What Happens
to Unauthorized Immigrants, Center for American Pro-
gress (2017), https://www.americanprogress.org/issues/
immigration/reports/2017/03/16/428335/keeping-families-
together/; Manuel Pastor, Jared Sanchez & Vanessa
Carter, The Kids Aren’t Alright – But They Could Be
(2015), https://dornsife.usc.edu/csii/dapa-impacts-children.
In 2013, there were about 4.1 million children living
with an undocumented parent, an estimated 4% of
whom had parents who would have immediately

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        Mathema, supra, at Table 3.




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qualified for DACA in 2013, including 9% of 0–2 year
old children and 7% of 3–4 year old children. Randy
Capps, Michael Fix, & Jie Zong, A Profile of U.S. Chil-
dren with Unauthorized Immigrant Parents, Migration
Policy Inst. 1 (2016) https://www.migrationpolicy.org/
research/profile-us-children-unauthorized-immigrant-
parents (hereinafter Capps, Fix & Zong). This yields
some 202,000 children whose parents were immedi-
ately eligible for DACA. Id. at 10. This number will
have increased since 2013 because DACA recipients,
who were of or entering childbearing age when DACA
began, are now all six years older. One study found that
44% of DACA-eligible people reported having children;
95% of these children were U.S. citizens, while only
3.7% were undocumented. Of 1,707 screened persons
in amicus curiae Professor Robert Smith’s DACA Ac-
cess Project, some 367 persons met the conditions re-
quired for DACA. Of these 367 persons, 161 (44%) told
us they had children. The study has formal immigrant
status data on 135 of those children. Of these 135, 128
(95%) were U.S.-citizens; 2 (1.5%) had other immigra-
tion status (e.g. TPS); and 5 (3.7%) were undocu-
mented. Some 126 of these children were born in the
United States, while 7 were born in Mexico, and 1 was
born in Guatemala.
     The potential negative impacts of DACA rescis-
sion upon U.S.-citizen or lawful permanent resident
family members may occur along several dimensions.
First, because DACA offers protection against removal,
it also protects the U.S.-citizen children of DACA re-
cipient parents from the loss in family income that




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removal causes. Several studies of families of people in
removal proceedings or who have been removed re-
port extremely negative effects. For example, families
where a father is removed experienced a dramatic drop
in family income—an average of 70% in one study of
85 families with a parent in immigration detention or
removal proceedings. Ajay Chaudry et al., Facing Our
Future: Children in the Aftermath of Immigration En-
forcement, Urb. Inst. (2010), https://www.urban.org/
sites/default/files/publication/28331/412020-Facing-Our-
Future.PDF.
     Second, DACA protects the U.S.-citizen children
of DACA recipients from the emotional impact caused
by the removal or possible removal of an undocu-
mented parent. Children with undocumented parents
live in constant fear that their parents will be removed,
and they will be permanently separated, with negative
educational and psychological consequences. Children
whose parents are in removal proceedings or have been
removed experience similarly profound harms. These
include trauma, post-traumatic stress syndrome; self-
harm; and difficulty forming strong emotional attach-
ments, and adapting to significant changes in family
structure, (reporting a case of a family where the main
breadwinner had an immediate order of removal that
resulted in his daughter harming herself by cutting
her hands). Lisseth Rojas-Flores, Mari Clements, J.
Hwang Koo & Judy London, Trauma and Psychologi-
cal Distress in Latino Citizen Children Following Pa-
rental Detention and Deportation, 9 Psychol. Trauma
352, 352–361 (2016), https://www.researchgate.net/




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profile/Lisseth_Rojas-Flores/publication/306025305_
Trauma_and_Psychological_Distress_in_Latino_Citizen_
Children_Following_Parental_Detention_and_Deportation/
links/599483b7458515c0ce65300a/Trauma-and-Psychological-
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pmc/articles/PMC4667551; Chaudry et al., supra, at
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386, 386–392 (2013); see also Venkataramani et al.,
Health Consequences of the US Deferred Action for
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175 (2017), https://www.thelancet.com/journals/lanpub/




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Aranda & Elizabeth Vaquera, Immigrant Family Sep-
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(2018).
     Finally, “[p]arents’ unauthorized status is . . . a
substantial barrier to normal child development and
perpetuates health inequalities through the intergen-
erational transmission of disadvantage.” Jens Hain-
mueller et al., Protecting Unauthorized Immigrant
Mothers Improves Their Children’s Mental Health,
357:6355 Science 1041–1044 (Sept. 8, 2017), https://
science.sciencemag.org/content/357/6355/1041.long; see
Patler & Pirtle, supra, at 39–48. Abrego, supra, at 192–
207; Patler et al., Uncertainty About DACA, supra, at
738–45. DACA allows the children of DACA recipients
to take advantage of education and health programs
that will affect their well-being. Undocumented par-
ents are less likely to make use of services or institu-
tions for which their U.S.-citizen children are eligible,
because they fear exposing themselves as undocu-
mented persons, which might impair their chances to
legalize their status in the future. Hirokazu Yoshikawa
& Ariel Kalil, The Effects of Parental Undocumented
Status on the Developmental Contexts of Young Chil-
dren in Immigrant Families, Child Development Per-
spectives 291–297 (2011); Hirokazu Yoshikawa,
Immigrants Raising Citizens: Undocumented Parents
and Their Children (2011); Menjívar & Cervantes, Am.
Psychol. Ass’n, The Effects of Parental Undocumented
Status on Families and Children: Influence of Parental




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Undocumented Status on the Development of U.S.-Born
Children in Mixed-Status Families (2016), https://
www.apa.org/pi/families/resources/newsletter/2016/11/
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likely to see the doctor or dentist, or be enrolled in pre-
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programs. Kalina Brabeck, Erin Sibley, M. Brinton
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Conference (Oct. 14–15, 1999), https://www.academia.edu/
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     In fact, the negative effects of a potential rescis-
sion are already being felt. One recent study found that
improvements to health during the first three years of
DACA disappeared for both DACA-eligible immigrants
and the children of DACA-eligible mothers after the
first formal threats were made to the initiative during
the lead-up to the 2016 election. Patler et al., Uncer-
tainty About Daca May Undermine Its Positive Impact
on Health for Recipients and Their Children, 38(5)
Health Affairs 738–45, 743. This study posited that
“the observed declines in health after mid-2015 were a
response to the stressful and painful experiences of
fearing the termination of DACA, not knowing what
the future held, and imagining a return to undocu-
mented status.” Id. Other studies have drawn similar
conclusions, finding that the September 2017 attempt
to rescind DACA may have led to worsening health
outcomes for DACA recipients. Marie Mallet and Lisa
García Bedolla, Transitory Legality: The Health Impli-
cation of Ending DACA, 11(2) Cal. J. Pol. & Pol’y,
https://escholarship.org/uc/item/84f6g2qj. These stud-
ies suggest that revoking DACA will likely be linked
with severe threats to the health of both DACA recipi-
ents and their family members.
                 ------------------------------------------------------------------

                        CONCLUSION
     Empirical research demonstrates that DACA has
had very positive effects on the lives both of its recipi-
ents, and, intergenerationally, on the lives of their U.S.-
citizen children and family members. DACA helps its




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recipients earn more money and continue their educa-
tions, it also helps reduce anxiety and other mental
health challenges for its recipients, their children, and
their family members, including U.S.-citizen family
members. DACA also protects both its recipients and
their U.S.-citizen children and family members from
the dramatic and negative consequences of having a
family member, especially a parent, removed. Our re-
search shows that such benefits can have long lasting,
intergenerational effects. For these reasons, the judg-
ments below should be affirmed.
Respectfully submitted,
OSSAI MIAZAD                    NIKOLAS BOWIE
MICHAEL N. LITROWNIK            Counsel of Record
CHAUNIQUA D. YOUNG              OREN NIMNI
OUTTEN & GOLDEN LLP             IVAN ESPINOZA-MADRIGAL
685 Third Avenue, 25th Floor    OREN SELLSTROM
New York, NY 10017              LAWYERS FOR CIVIL RIGHTS
                                61 Batterymarch Street,
RACHEL WILLIAMS DEMPSEY
                                5th Floor
OUTTEN & GOLDEN LLP
                                Boston, MA 02110
One California Street,
  12th Floor
San Francisco, CA 94111




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                            Nos. 18-587, 18-588, 18-589

                                           IN THE
                 Supreme Court of the United States
                                 _________________________________


                     DEPARTMENT OF HOMELAND SECURITY, ET AL.,
                                                    Petitioners,
                                      v.
                  REGENTS OF THE UNIVERSITY OF CALIFORNIA, ET AL.,
                                                     Respondents.
                                 _________________________________


                   ON WRIT OF CERTIORARI TO THE UNITED STATES
                    COURT OF APPEALS FOR THE NINTH CIRCUIT
                                 _________________________________


                       [Caption Continued on Following Page]
                                 _________________________________


                 BRIEF FOR THE AMERICAN PROFESSIONAL
                  SOCIETY ON THE ABUSE OF CHILDREN,
                 THE AMERICAN ACADEMY OF PEDIATRICS,
                    THE CENTER FOR LAW AND SOCIAL
                     POLICY, AND 33 CHILD ADVOCACY
                        ORGANIZATIONS, MEDICAL
                       PROFESSIONALS, AND CHILD
                 DEVELOPMENT EXPERTS AS AMICI CURIAE
                      IN SUPPORT OF RESPONDENTS
                                 _________________________________


                  Kelsi Brown Corkran      Mary Kelly Persyn
                  Melanie R. Hallums         Counsel of Record
                  ORRICK, HERRINGTON       PERSYN LAW & POLICY
                     & SUTCLIFFE LLP       912 Cole Street
                  1152 15th Street, N.W. San Francisco, CA 94117
                  Washington, DC 20005 (628) 400-1254
                  (202) 339-8400           marykelly@persynlaw.com
                               Counsel for Amici Curiae




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                                 _________________________________


                        DONALD J. TRUMP, PRESIDENT OF THE
                             UNITED STATES, ET AL.,
                                                      Petitioners,
                                       v.
                   NATIONAL ASSOCIATION FOR THE ADVANCEMENT OF
                             COLORED PEOPLE, ET AL.,
                                                     Respondents.
                                 _________________________________


                   ON WRIT OF CERTIORARI TO THE UNITED STATES
                     COURT OF APPEALS FOR THE D.C. CIRCUIT
                                 _________________________________


                     KEVIN K. MCALEENAN, ACTING SECRETARY OF
                            HOMELAND SECURITY, ET AL.,
                                                       Petitioners,
                                       v.
                      MARTIN JONATHAN BATALLA VIDAL, ET AL.,
                                                   Respondents.
                                 _________________________________


                   ON WRIT OF CERTIORARI TO THE UNITED STATES
                    COURT OF APPEALS FOR THE SECOND CIRCUIT
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                              INTRODUCTION AND
                           INTEREST OF AMICI CURIAE 1

                     The government’s decision to end the Deferred Ac-
                 tion for Childhood Arrivals (DACA) policy has endan-
                 gered the mental and physical health of hundreds of
                 thousands of children—mostly U.S. citizens—whose
                 parents are DACA recipients. As organizations dedi-
                 cated to supporting children and promoting their
                 well-being, amici are deeply concerned about the im-
                 mediate and long-term effects of ending the DACA
                 policy on this population. Since the Trump Admin-
                 istration announced the rescission of DACA, children
                 of DACA recipients live with the fear that their par-
                 ents will be taken away, and that fear negatively im-
                 pacts all aspects of their lives, including their health,
                 education, and overall family stability.

                     The American Professional Society on the Abuse
                 of Children (APSAC) is the leading national organiza-
                 tion for professionals serving children and families af-
                 fected by child maltreatment. A multidisciplinary
                 group, APSAC achieves its mission through expert
                 training and educational activities, policy leadership
                 and collaboration, and consultation emphasizing the-
                 oretically sound, evidence-based principles. For 30
                 years, APSAC has played a central role in developing
                 guidelines that address child maltreatment. It is
                 qualified to inform the Court about the damage that

                      1 The parties have consented to the filing of this amicus

                 brief. No counsel for a party authored the brief in whole or in
                 part. No party, counsel for a party, or any person other than
                 amici and their counsel made a monetary contribution intended
                 to fund the preparation or submission of the brief.




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                 maltreatment can inflict on children’s brain develop-
                 ment and cognitive ability. APSAC submits this brief
                 to assist the Court in understanding the impact of pa-
                 rental detention and deportation on children’s physi-
                 cal, emotional, and mental development.

                     The American Academy of Pediatrics (AAP) is a
                 non-profit professional membership organization of
                 67,000 primary care pediatricians and pediatric med-
                 ical subspecialists, and pediatric surgical specialists
                 dedicated to the health and well-being of infants, chil-
                 dren, adolescents, and young adults. AAP believes
                 that the future prosperity and well-being of the
                 United States depends on the health and vitality of
                 all of its children, without exception. Pediatricians
                 have seen the negative effects that family separation
                 and the threat of deportation have on child health. As
                 such, AAP is uniquely positioned to understand the
                 impact of the rescission of the DACA policy on the
                 health of children.

                     The Center for Law and Social Policy (CLASP) is
                 a national, nonpartisan anti-poverty nonprofit organ-
                 ization advancing policy solutions for low-income peo-
                 ple in the United States. CLASP develops practical
                 yet visionary strategies for reducing poverty, promot-
                 ing economic opportunity, and addressing barriers
                 faced by people of color. CLASP has expertise in early
                 care and education, early childhood development,
                 child welfare, mental health, and immigration policy.
                 CLASP recognizes the important role DACA has
                 played in strengthening families and communities,
                 and we are deeply concerned with the harmful impact
                 that rescinding DACA will have on thousands of




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                 young children with DACA parents, including possi-
                 ble separation from parents, weakened economic se-
                 curity, and poor developmental outcomes. CLASP
                 strongly urges the Court to consider the long-term im-
                 plications for children’s health and well-being and up-
                 hold DACA protections.

                      The Academy on Violence and Abuse is a national
                 organization of health care professionals whose mis-
                 sion is to advance health education and research on
                 the recognition, treatment, and prevention of the
                 health effects of violence and abuse across the
                 lifespan.

                     Advocates for Children of New Jersey (ACNJ) is
                 the independent, trusted voice for children in New
                 Jersey, including the estimated 16,830 DACA recipi-
                 ents brought to New Jersey as young children, and
                 their 5,200 U.S. born children.

                     The American Academy of Child and Adolescent
                 Psychiatry (AACAP) is the leading national medical
                 association dedicated to treating and improving the
                 quality of life for the estimated 7-15 million American
                 youth under 18 years of age who are affected by emo-
                 tional, behavioral, developmental and mental disor-
                 ders.

                      The American Academy of Pediatrics, California
                 is a nonprofit association committed to promoting and
                 protecting the health and well-being of children in
                 California, including more than 188,000 DACA recip-
                 ients and more than 72,600 US-born children with a
                 DACA parent in California.




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                     The American Nurses Association (ANA), repre-
                 senting the interests of the nation’s approximately 4
                 million registered nurses, has unique interest and ex-
                 pertise in patient-centered and holistic health care.

                     The Arizona Chapter of the American Academy of
                 Pediatrics (AzAAP), representing approximately
                 1,100 Arizona pediatricians and other child health
                 specialists, is committed to improving the health and
                 wellness of all Arizona children, including 24,700
                 DACA recipients and 12,200 US citizen children of
                 DACA recipients residing in Arizona.

                     Warren Binford is an internationally recognized
                 children’s rights scholar, author, and advocate both
                 nationally and internationally. Professor Binford has
                 served as a licensed foster parent, Court Appointed
                 Special Advocate for abused and neglected children,
                 and inner city teacher.

                     The Center for Youth Wellness is a pediatric
                 health care and advocacy organization dedicated to
                 improving the health of children and adolescents ex-
                 posed to early adversity and toxic stress by advancing
                 public awareness of, medical research on, and treat-
                 ment practices for Adverse Childhood Experiences, or
                 ACEs.

                     Dr. Priscilla Chan, Co-Founder and Board Chair
                 of The Primary School and co-founder of the Chan
                 Zuckerberg Initiative, is a pediatrician and an educa-
                 tion entrepreneur who designs and implements inter-
                 ventions addressing adverse childhood experiences.




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                     The Child Welfare League of America (CWLA), a
                 coalition of hundreds of private and public agencies
                 that has worked to serve children and families since
                 1920, opposes the repeal of DACA because it will
                 harm countless families and children, running coun-
                 ter to our practices and standards.

                     Children Now is a nonpartisan whole-child re-
                 search, policy development, communications, and ad-
                 vocacy organization working on all key kids’ issues,
                 and is dedicated to promoting children’s health, edu-
                 cation and well-being in California.

                     Children’s Action Alliance (CAA), an independent
                 voice for Arizona children, including the children of
                 24,700 DACA recipients living in our state, urges the
                 court to uphold the DACA injunction.

                     The Children’s Defense Fund is a national non-
                 profit child advocacy organization that has worked re-
                 lentlessly for more than 40 years to ensure a level
                 playing field for all children and champions policies
                 that lift children out of poverty, protect them from
                 abuse and neglect, and ensure their access to health
                 care, quality education, and a moral and spiritual
                 foundation.

                     Children’s Defense Fund–Texas, working dili-
                 gently for more than 20 years to ensure that all the
                 children of Texas have a good start in life and a suc-
                 cessful passage to adulthood with the help of caring
                 families and communities, supports upholding protec-
                 tions for DACA recipients and their children (of whom
                 there are 46,700 living in Texas).




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                     Children’s Institute, a statewide, non-profit, early
                 childhood advocacy and policy organization that sup-
                 ports cost-effective investments in health, education,
                 and social services for babies and children to eight
                 years old, supports Oregon’s 9,910 DACA recipients
                 and 5,500 U.S. born children of DACA recipients.

                     Colorado Children’s Campaign, the leading voice
                 for Colorado’s children, supports ensuring the contin-
                 uation of the protection that DACA has provided to
                 nearly 15,000 fellow Coloradoans who, on average,
                 have lived in our state for over 20 years.

                     First Focus on Children, a bipartisan advocacy or-
                 ganization dedicated to making children and families
                 the priority in federal policy and budget decisions, be-
                 lieves the decision to rescind the DACA program con-
                 tinues to cause trauma and stress for both DACA
                 recipients and their children who rightfully fear their
                 parents may be deported in the near future.

                     The Florida Chapter of the American Academy of
                 Pediatrics (FCAAP) represents more than 2,600 pedi-
                 atricians in the State of Florida and is committed to
                 promoting the health and welfare of Florida’s chil-
                 dren, no matter where they or their parents were
                 born. We oppose elimination of DACA protection be-
                 cause it would directly and negatively impact the lives
                 of 25,500 Florida DACA recipients and would put
                 their 7,200 Florida US citizen children in severe jeop-
                 ardy.

                      Lisa R. Fortuna, MD, MPH, M.Div., is the Direc-
                 tor of Child and Adolescent Psychiatry at Boston Med-
                 ical Center, Boston University School of Medicine. A




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                 co-founder of the Refugee and Immigrant Assistance
                 Center Community Counseling program, she cur-
                 rently serves as a member of the American Academy
                 of Child and Adolescent Psychiatry Resource Group
                 on Youth at the Border and has been a member of the
                 Physicians for Human Rights Asylum Network since
                 2007.

                     For 50 years, Illinois Action for Children has
                 championed the cause of high-quality, accessible
                 early care and education in Illinois. Ending—or even
                 threatening to end—DACA adds uncertainty to the
                 lives of 85,000 people in Illinois living in DACA house-
                 holds, including 15,200 U.S.-born children, placing
                 children’s growth, health, and educational develop-
                 ment at risk.

                     The Illinois Chapter, American Academy of Pedi-
                 atrics (ICAAP), recognizes the approximately 72,600
                 U.S. born children of DACA recipients living in Illi-
                 nois. ICAAP supports upholding protections for
                 DACA recipients and their children, recognizing that
                 serious health consequences they currently suffer
                 would only worsen if DACA were rescinded.

                     March of Dimes is a nonprofit organization that
                 leads the fight for the health of all mothers and ba-
                 bies. As the leader in ensuring the health of all moms
                 and babies, we recognize the irreparable harm to the
                 health and well-being of children and families that
                 would result from rescinding DACA, and we stand
                 firm on keeping moms and babies heathy and safe —
                 regardless of their citizenship status.




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                      The National Association of Hispanic Nurses
                 (NAHN) is a non-profit professional membership or-
                 ganization of 2,500 nurses and affiliated nursing spe-
                 cialists dedicated to advancing the health in Hispanic
                 communities and to lead, promote and advocate the
                 educational, professional, and leadership opportuni-
                 ties for Hispanic nurses. As the only national organi-
                 zation representing Hispanic nurses who provide
                 bilingual and culturally competent care, we are trou-
                 bled by the mental and physical health effects that
                 ending the policy has on children of DACA recipients.
                 NAHN calls for the continuation of the DACA policy.

                     The National Association of Social Workers
                 (NASW) is the largest association of professional so-
                 cial workers in the United States, with over 110,000
                 members in 55 chapters that represent regions with
                 over 250,000 US-born children of DACA recipients.

                     NC Child is a non-profit organization whose mis-
                 sion is to build a strong North Carolina by advancing
                 policies to ensure that all children — regardless of
                 race, ethnicity, or place of birth — have the oppor-
                 tunity to thrive. NC Child strongly supports uphold-
                 ing protections for DACA recipients and their
                 children, including more than 50,000 in North Caro-
                 lina.

                     New York State American Academy of Pediatrics
                 represents more than 5,500 pediatricians across New
                 York State. NYSAAP is committed to supporting and
                 enhancing the health, safety, and well-being of all in-
                 fants, children, adolescents, and young adults in New
                 York State, no matter where they or their parents
                 were born. We oppose the proposed elimination of




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                 DACA protection, which would directly and nega-
                 tively impact the lives of 29,390 New York State
                 DACA recipients and would put 6,900 New York US
                 citizen children, whose parents are currently DACA
                 recipients, in severe jeopardy.

                      The Ounce of Prevention is committed to giving
                 children in poverty the best chance for success in
                 school and in life by advocating for and providing the
                 highest quality care and education for children from
                 birth to age five, including attention to the compre-
                 hensive development and well-being of young chil-
                 dren. The harmful effects of the trauma imposed on
                 children as a result of separation from their family
                 members will have a lasting impact throughout their
                 lifetime.

                      The Partnership for America’s Children’s mission
                 is to support its network of 52 state and community
                 child advocacy organizations in 41 states that advo-
                 cate to improve policies for children at the state, local
                 and federal level. Members have long been leaders in
                 efforts to secure access to essential benefits and ser-
                 vices for children in immigrant families.

                     Jack P. Shonkoff, M.D., is the Julius B. Richmond
                 FAMRI Professor of Child Health and Development
                 at the Harvard T.H. Chan School of Public Health and
                 Harvard Graduate School of Education; Professor of
                 Pediatrics at Harvard Medical School and Boston
                 Children’s Hospital; and Director of the university-
                 wide Center on the Developing Child at Harvard. He
                 currently chairs the National Scientific Council on the
                 Developing Child, whose mission is to bring credible
                 science to bear on public policy affecting children and




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                 families, and The JPB Research Network on Toxic
                 Stress, which is developing new measures of stress ef-
                 fects and resilience in young children.

                     The Society for Research in Child Development
                 (SRCD) is a professional research organization estab-
                 lished in 1933 by the National Research Council of the
                 National Academy of Sciences. SRCD concurs with
                 the compelling evidence that termination of DACA
                 poses risks to the health and development of children
                 whose parents are DACA recipients and other immi-
                 grant communities, with negative and long lasting ef-
                 fects on future generations of Americans, particularly
                 children.

                      The Texas Pediatric Society (TPS), the Texas
                 Chapter of the American Academy of Pediatrics
                 (AAP), represents over 4,200 primary care pediatri-
                 cians, pediatric medical subspecialists, surgical spe-
                 cialists, and medical students who believe that the
                 most important resource of the State of Texas is its
                 children, and pledges its efforts to promote their
                 health and welfare. TPS has consistently and firmly
                 stated that children who are citizens should not be
                 subjected to the separation, or fear of separation from
                 non-citizen parents or their caregivers.

                     The Children’s Partnership (TCP) is a California-
                 based children’s advocacy organization committed to
                 improving the lives of underserved children where
                 they live, learn, and play with breakthrough solutions
                 at the intersection of research, policy, and community
                 engagement. TCP believes programs like DACA will
                 help ensure the healthy development of thousands of




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                 California children and ensure a stronger future for
                 the entire state.

                     ZERO TO THREE (ZTT) is a national nonprofit,
                 nonpartisan organization founded over 40 years ago
                 to promote the well-being of all infants and toddlers,
                 translating the science of early childhood develop-
                 ment for policymakers, practitioners, and parents.
                 ZERO TO THREE is concerned that separating young
                 adults covered by DACA from the young families they
                 have now formed, or increasing the families’ stress
                 levels through the fear of separation and deportation,
                 will inflict immense trauma on the young children as
                 well as their parents.

                     Amici submit this brief to assist the Court in its
                 review by providing key facts about how DACA status
                 and its rescission might impact the children of DACA
                 recipients. The rescission of DACA plunges recipients
                 into immediate uncertainty and stress. Recipients are
                 at risk of immediate detention and deportation when
                 their current protection expires. Even the threat of
                 separation from their parents can cause children to
                 suffer significant physiological stress that threatens
                 their mental and physical health and their overall de-
                 velopment, not to mention the harm to them caused
                 by the actual detention and deportation of their par-
                 ents.

                      The Executive Branch’s long-standing recognition
                 of its legal and moral responsibility to avoid inflicting
                 harm on children is nowhere apparent in its arbitrary
                 and capricious decision to end DACA. In explaining
                 the Department of Homeland Security’s decision to
                 rescind DACA, then-Secretary Nielsen stated that




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                 “neither any individual’s reliance on the expected con-
                 tinuation of the DACA policy nor the sympathetic cir-
                 cumstances of DACA recipients as a class” outweigh
                 the reasons to end the policy. Regents Pet. App. 125a.
                 Amici disagree.

                      The DACA policy was created to protect young
                 people brought to this country as children. Rescinding
                 the policy will harm not only those whom DACA ini-
                 tially sought to help, but also will harm hundreds of
                 thousands of their U.S. citizen children by triggering
                 short- and long-term health impacts during their crit-
                 ically important developmental years. This human
                 toll must be considered.

                            SUMMARY OF ARGUMENT

                     The September 2017 Memorandum on Rescission
                 of Deferred Action for Childhood Arrivals (Rescission
                 Memo) issued by the Department of Homeland Secu-
                 rity (DHS) arbitrarily and capriciously ignores the
                 human impact of ending DACA protections. The Re-
                 scission Memo does not even consider the detrimental
                 impact this action will have both on DACA recipients
                 and their children. See Pet. Br. 7-8, citing Regents Pet.
                 App. 111a-119a. In listing the factors underlying its
                 decision to rescind the policy, DHS considered only
                 the relevant litigation, not the immense personal im-
                 pact on hundreds of thousands of people. The district
                 court noted this failure in finding the rescission arbi-
                 trary and capricious:

                     In terminating DACA, the administrative rec-
                     ord failed to address the 689,800 young people
                     who had come to rely on DACA to live and to




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                     work in this country. These individuals had
                     submitted substantial personal identifying
                     information to the government, paid hefty
                     fees, and planned their lives according to the
                     dictates of DACA. The administrative record
                     includes no consideration to the disruption a
                     rescission would have on the lives of DACA
                     recipients, let alone their families, employers
                     and employees, schools and communities.

                 Regents of the Univ. of Cal. v. U.S. Dep’t of Homeland
                 Sec., 279 F. Supp. 3d 1011, 1045 (N.D. Cal. 2018).

                     Amici focus here on the most vulnerable class of
                 affected persons disregarded by the Rescission Memo:
                 the hundreds of thousands of children of DACA recip-
                 ients. Because DACA recipients are at immediate risk
                 of detention and deportation if DACA is rescinded, the
                 danger to their children also is immediate.

                     Indeed, these children are endangered not only by
                 the actual detention and deportation of their parents,
                 but also the looming fear of deportation. The immi-
                 nent threat of losing DACA protection places children
                 at risk of losing parental nurturance, as well losing
                 income, food security, housing, access to health care,
                 educational opportunities, and the sense of safety and
                 security that is the foundation of healthy child devel-
                 opment.

                      The mental health benefits to children whose
                 mothers are protected by DACA, and therefore pro-
                 tected from the fear of deportation, are large and clin-
                 ically significant. Jens Hainmueller et al., Protecting




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                 unauthorized immigrant mothers improves their chil-
                 dren’s mental health, 357 Science 1041-44 (2017),
                 https://tinyurl.com/y46cf7be. Children who did not
                 live in fear that their parent might be detained and
                 deported saw significantly decreased adjustment and
                 anxiety disorder diagnoses. Id. Conversely, exposure
                 to immigration enforcement actions, such as raids,
                 negatively impacts birth outcomes. Infants born to
                 Latina mothers had a 24% greater risk of low birth-
                 weight after an immigration raid when compared
                 with the same period one year earlier. Nicole L. No-
                 vak et al., Change in birth outcomes among infants
                 born to Latina mothers after a major immigration
                 raid, 46 Int’l J. Epidemiology 839 (2017), https://ti-
                 nyurl.com/y5ehbjs7.

                     In addition to the children of DACA recipients,
                 children of other immigrant parents and in affected
                 school communities also suffer increased stress.
                 DACA recipients live in households with an average
                 of four members, often of different immigration sta-
                 tuses, and within larger communities. The effects of
                 deportation touch neighbors, friends, and family.
                 Children who witness arrests often share their stories
                 with friends and classmates. “[F]or every two adults
                 deported, one citizen-child is directly affected.” Luis
                 H. Zayas & Laurie Cook Heffron, Disrupting young
                 lives: How detention and deportation affect US-born
                 children of immigrants, Am. Psych. Ass’n (Nov. 2016),
                 https://tinyurl.com/l6ro2ql.

                     As the American Academy of Pediatrics recently
                 explained, “[t]he immigration status of children and
                 their parents relates directly to their subsequent ac-
                 cess to and use of health care, perceived health status,




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                 and health outcomes. Family immigration status is
                 intertwined with other social determinants of health,
                 including poverty, food insecurity, housing instabil-
                 ity, discrimination, and health literacy.” Julie M. Lin-
                 ton et al., Providing Care for Children in Immigrant
                 Families, 144 Pediatrics 1, 4 (Sept. 2019), https://ti-
                 nyurl.com/y6ghwfkr.

                                      ARGUMENT

                 I.   Rescinding DACA Places Children At Risk
                      Of Immediate Harm.

                     The Rescission Memo reaches far into the homes,
                 schools, churches, and communities of hundreds of
                 thousands of children across the country. Although
                 the nearly 700,000 DACA recipients arrived in the
                 United States as children, many of them are now
                 adults and have children of their own. According to
                 recent estimates, more than 250,000 U.S.-born chil-
                 dren have at least one parent who is a DACA recipi-
                 ent, and about 1.5 million people in the United States
                 live with a DACA recipient. Nicole Prchal Svajlenka,
                 What We Know About DACA Recipients in the United
                 States, Ctr. for Am. Progress (Sept. 5, 2019), https://ti-
                 nyurl.com/y4xc6sf4.

                     Once DACA protections are rescinded, these chil-
                 dren’s parents will be eligible for detention and depor-
                 tation, and they will also be forced out of the lawful
                 labor market. DHS’s position is clear: “Recipients of
                 DACA are currently unlawfully present in the U.S.
                 with their removal deferred. When their period of de-
                 ferred action expires or is terminated, their removal
                 will no longer be deferred and they will no longer be




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                 eligible for lawful employment.” U.S. Dep’t of Home-
                 land Security, Frequently Asked Questions: Rescission
                 of Deferred Action for Childhood Arrivals (DACA),
                 https://tinyurl.com/y9ptpepg (last visited Oct. 2,
                 2019).

                     In its opening brief, the government states that “a
                 decision to abandon an existing nonenforcement pol-
                 icy will not, by itself, bring to bear the agency’s coer-
                 cive power over any individual; that will occur only if
                 any resulting enforcement proceeding leads to a final
                 adverse order.” Pet. Br. 19. This is an empty assur-
                 ance for DACA recipients and their children, for sev-
                 eral reasons.

                     To begin, DHS holds extensive identifying infor-
                 mation for every DACA recipient. While DHS states
                 that for the time being it will not “proactively” use this
                 information for deportation purposes, U.S. Dep’t of
                 Homeland Security, Frequently Asked Questions, su-
                 pra, reports of recent detentions suggest otherwise.
                 See, e.g., Carlos Ballesteros, She’s a DACA recipient.
                 ICE agents still arrested her. Then they went after her
                 parents, Chicago Sun Times (May 21, 2019), https://ti-
                 nyurl.com/y2x3x7cd; Reis Thebault, How a flight at-
                 tendant from Texas ended up in an ICE detention
                 center for six weeks, Washington Post (Mar. 23, 2019),
                 https://tinyurl.com/yxar27pu.

                     Moreover, although DHS does not keep robust
                 data on DACA revocations and does not track DACA
                 detentions, advocates report that numerous DACA re-
                 cipients have been detained and issued Notices to Ap-
                 pear. DHS officials have then asserted that these
                 Notices to Appear automatically cancel DACA status,




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                 even though advocates argue that this contradicts the
                 government’s own rules. Rep. Marc Veasey (D-Texas),
                 who has called for an investigation of the Administra-
                 tion’s enforcement actions against DACA recipients,
                 reported that post-rescission, many of his DACA con-
                 stituents began living in fear and had been held at
                 border checkpoints for prolonged periods. Nicole Ro-
                 driguez, Trump Administration Has Illegally At-
                 tempted to Deport DACA Recipients, Advocates Say,
                 Newsweek        (Dec.     2,      2017),     https://ti-
                 nyurl.com/y69w92ya.

                      Given the Administration’s current immigration
                 priorities, it appears likely these detention and depor-
                 tation efforts will intensify. On January 25, 2017,
                 President Trump issued an Executive Order expand-
                 ing the priority list of noncitizens subject to deporta-
                 tion to anyone charged with even minor criminal
                 offenses and to anyone who may have misrepresented
                 their status to obtain work. Exec. Order No. 13768,
                 Enhancing Public Safety in the Interior of the United
                 States, 82 Fed. Reg. 8799 (Jan. 30, 2017). A July 2019
                 analysis of Immigration and Customs Enforcement
                 (ICE) data by the American Immigration Council
                 shows that ICE has cast a wider deportation net un-
                 der the current administration than under previous
                 administrations. Rather than prioritizing individuals
                 who may present a threat to public safety, “the ad-
                 ministration has issued policies that treat all infrac-
                 tions of the law as equally deserving of enforcement
                 action.” Guillermo Cantor et al., Changing Patterns of
                 Interior Immigration Enforcement in the United
                 States, 2016-2018, Am. Immigration Council (July 1,
                 2019), https://tinyurl.com/y6ccpqwk. As a result,
                 “[i]ncreasingly, individuals with no criminal records




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                 have been apprehended, regardless of their social and
                 economic ties to U.S. families, communities, and em-
                 ployers.” Id.

                     The Administration is also taking steps to deport
                 unauthorized immigrants faster, stoking widespread
                 fear in immigrant communities. In July 2019, it an-
                 nounced that it would expedite the removal of undoc-
                 umented immigrants who cannot prove that they
                 have been in the United States continuously for two
                 years or more. “The change dramatically expands the
                 ability of the Department of Homeland Security to
                 quickly deport certain immigrants without any of the
                 due-process protections granted to most other people,
                 including the right to an attorney and to a hearing
                 before a judge … and is the latest escalation of the
                 Trump administration’s immigration crackdown.”
                 Vanessa Romo, Trump Administration Moves To
                 Speed Up Deportations With Expedited Removal Ex-
                 pansion,    NPR     (July   22,   2019),    https://ti-
                 nyurl.com/y4lrblfm.

                      The Administration has also increased the num-
                 ber of major raids targeting undocumented immi-
                 grants. In July 2019, for example, immigration
                 officials targeted more than 2,000 people who were in
                 the United States illegally in widely publicized raids
                 (called Operation Border Resolve) that took place in
                 over a dozen U.S. cities. Caitlin Dickerson & Zolan
                 Kanno-Youngs, Thousands Are Targeted as ICE Pre-
                 pares to Raid Undocumented Migrant Families, N.Y.
                 Times (July 11, 2019), https://tinyurl.com/y5nggr9p.
                 And in August 2019, more than 600 Latino workers
                 were detained at poultry plants in Mississippi. Lau-
                 ren Camera, ICE Raids Send Schools Scrambling,




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                 U.S. News & World Report (Aug. 8, 2019), https://ti-
                 nyurl.com/yymuf33f. This raid followed other large-
                 scale immigration raids that took place last year in
                 Ohio and Tennessee. John Minchillo & Elliot Spagat,
                 Immigration agents arrest 114 at Ohio landscaper, AP
                 (June 5, 2018), https://tinyurl.com/y5pwduhb.

                     In sum, whether DACA recipients are detained
                 immediately, sometime in the future, or not at all, the
                 Rescission Memo inflicts fear and anxiety not only on
                 the recipients, but also their children, at significant
                 cost to their long-term health and well-being. Loss of
                 DACA protection also subjects recipients to immedi-
                 ate job loss and the risk factors associated with unau-
                 thorized status, potentially impacting parents’ ability
                 to provide and care for their children.

                  II.     Ending DACA Protection Will Likely
                          Damage Children’s Mental And Physical
                          Health.

                        A. Even the threat of detention and
                           deportation can cause children to suffer
                           symptoms of traumatic stress and post-
                           traumatic stress disorder and impacts
                           birth outcomes.

                     The deportation of a parent is devastating for a
                 child and can cause severe trauma. As a result, chil-
                 dren may experience anxiety, depression, and insom-
                 nia, and exhibit signs of fear. They also may suffer
                 from social isolation, self-stigma, and aggression, and
                 may experience separation anxiety, attachment disor-
                 ders, and post-traumatic stress disorders. Zayas &




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                 Heffron, supra, at 3. For young children, these im-
                 pacts are even greater because they are more physi-
                 cally and emotionally dependent on their caregivers
                 and because they are at a crucial developmental stage
                 where interactions with their primary caregiver pro-
                 vide the framework for health and well-being. See
                 Ajay Chaudry et al., Facing Our Future: Children in
                 the Aftermath of Immigration Enforcement, Urban
                 Inst. (Feb. 2010), https://tinyurl.com/y2vv8aro; Randy
                 Capps et al., Implications of Immigration Enforce-
                 ment Activities for the Well-Being of Children in Im-
                 migrant Families: A Review of the Literature,
                 Migration Policy Inst. (Sept. 2015), https://ti-
                 nyurl.com/ybm62mqa.

                     “[T]he children of the unauthorized live under
                 constant threat that their parents might be arrested
                 and deported, leaving them vulnerable to family sep-
                 aration, instability, economic hardship, dramatic
                 changes in their life courses, and potentially severe
                 psychological and behavioral impacts.” Chaudry, su-
                 pra, at 1. The arrest, detention, and deportation of a
                 parent often accumulates on top of children’s other
                 stress and can “detrimentally impact their mental
                 health.” Zayas & Heffron, supra, at 1. And these chil-
                 dren will likely suffer from depression, negative self-
                 esteem, and anxiety, whether they accompany their
                 parents out of the country or stay behind in the
                 United States. Id. at 3.

                     Moreover, research shows that this trauma is not
                 limited to children whose parents are ultimately de-
                 ported. Even the threat of deportation is highly trau-
                 matic for children. “As parents’ risk of deportation




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                 rises, so too does the stress of their children. The lin-
                 gering possibility of deportation of parents leaves chil-
                 dren with constant anxiety and vigilance about the
                 potential becoming real.” Id. at 2 (citations omitted).
                 A 2013 study of family unity and health among
                 mixed-status families (families with at least one un-
                 documented parent and at least one U.S.-citizen
                 child) found that almost 75% of undocumented par-
                 ents reported signs of PTSD in their children, com-
                 pared with 40% of documented parents. Sara
                 Satinsky et al., Family Unity, Family Health: How
                 Family-Focused Immigration Reform Will Mean Bet-
                 ter Health for Children and Families 2, 8 (2013),
                 https://tinyurl.com/y437qu3s. A 2017 study across six
                 states found that children as young as three years old
                 are expressing fear about losing a parent to deporta-
                 tion and demonstrating those fears through words
                 and troubling behaviors. Wendy Cervantes et al., Our
                 Children’s Fear: Immigration Policy’s Effects on
                 Young Children, CLASP 8 (Mar. 2018), https://ti-
                 nyurl.com/yas57ql2.

                     High levels of anxiety and stress experienced by
                 young children during the early formative years can
                 have serious and lasting effects on their physical and
                 emotional development. Persistent and substantial
                 exposure to fear and anxiety—sometimes called “toxic
                 stress”—can do immense damage to children’s health.
                 This level of stress can interfere with young children’s
                 physical brain development, altering how they learn
                 and their ability to manage their emotions. It can also
                 lead to physical and mental health problems that last
                 into adulthood. See Jack P. Shonkoff & Andrew S.
                 Garner et al., The Lifelong Effects of Early Childhood
                 Adversity and Toxic Stress, 129 Pediatrics e232-46




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                 (Jan. 2012), https://tinyurl.com/y38kyr9y; Nat’l Sci.
                 Council on the Developing Child, Persistent Fear and
                 Anxiety Can Affect Young Children’s Learning and
                 Development        (Feb.        2010),      https://ti-
                 nyurl.com/y2lw82qa.

                     A child’s earliest years are a critical period for in-
                 fluencing their healthy development, with implica-
                 tions for lifelong physical and emotional well-being.
                 Experiences during a child’s earliest years affect the
                 development of their brain—including the cognitive,
                 linguistic, social, and emotional abilities—and build a
                 healthy foundation for life. The well-being of the par-
                 ents has an important impact on children’s social-
                 emotional, physical, and economic well-being. See
                 Shonkoff & Garner, supra; Nat’l Sci. Council on the
                 Developing Child, The Science of Early Childhood De-
                 velopment: Closing the Gap Between What We Know
                 and What We Do (Jan. 2007), https://ti-
                 nyurl.com/y3x43yvr.

                     A key reason why even the threat of rescission
                 damages child health is because family instability
                 and parental stress can undermine parent-child at-
                 tachment and child well-being. Further, if families ex-
                 perience increased housing and economic instability
                 due to avoidance of immigration enforcement actions,
                 children can suffer great harm to their developing
                 minds and bodies. Sharon H. Bzostek & Audry N.
                 Beck, Familial instability and young children’s phys-
                 ical health, 73 Soc. Sci. & Med. 282-92 (July 2011).
                 Children’s mental health and social-emotional devel-
                 opment is inextricably linked to that of their parents
                 and caregivers, and their parents’ stress has a collat-
                 eral impact on them. There is “strong consensus on




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                 the central importance of child-caregiver relation-
                 ships,” and “[e]motional problems such as depression,
                 economic stress, and marital conflict can interfere
                 with sensitive and responsive parenting, be disrup-
                 tive of secure attachments, and constitute a signifi-
                 cant source of instability over time in attachment
                 security.” Nat’l Research Council & Inst. of Med.,
                 From Neurons to Neighborhoods: The Science of Early
                 Childhood Development 234, 353 (Jack P. Shonkoff &
                 Deborah A. Phillips eds., Nat’l Acad. Press 2000).

                     The fear of deportation and exposure to immigra-
                 tion raids negatively impacts birth outcomes, putting
                 babies at risk for adverse health outcomes. In one
                 study, infants born to Latina mothers had a 24 per-
                 cent greater risk of low birthweight after an immigra-
                 tion raid when compared with the same period one
                 year earlier, Novak, supra, increasing the risk for
                 subnormal growth, illnesses, and neurodevelopmen-
                 tal problems. Maureen Hack et al., Long-Term Devel-
                 opmental Outcomes of Low Birth Weight Infants, 5
                 The Future of Children 176-96 (1995). In another
                 study of women in New York City pre- and post-inau-
                 guration in 2017, the relative risk of preterm birth
                 among Hispanic women increased 1.15% due to se-
                 vere sociopolitical stressors such as heightened fear of
                 deportation. Nancy Krieger et al., Severe sociopoliti-
                 cal stressors and preterm births in New York City: 1
                 September 2015 to 31 August 2017, 72 J. Epidemiol-
                 ogy & Cmty. Health 1147 (2018), https://ti-
                 nyurl.com/y5gv7mxk.




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                     B. DACA rescission will likely cause income
                        and food insecurity.

                     Without DACA protection, recipients will lose
                 their work authorizations, which means that they will
                 no longer be able to work legally and likely will lose
                 income from employment. As a result, their children
                 and families will face poverty and food insecurity.

                     Poverty has a significantly corrosive impact on
                 child development and well-being. It causes negative
                 outcomes across numerous health, mental health, and
                 other indicators during childhood, as well as lower ed-
                 ucational attainment and earnings into adulthood.
                 Nat’l Acad. of Scis., Eng’g, & Med., A Roadmap to Re-
                 ducing Child Poverty 20 (Greg Duncan & Suzanne Le
                 Menestrel eds.), Nat’l Acads. Press 2019, https://ti-
                 nyurl.com/yyvwcu9z. Poverty also affects children by
                 stressing their parents, which impairs their ability to
                 effectively parent their children. Caroline Ratcliffe &
                 Signe-Mary McKernan, Child Poverty and Its Lasting
                 Consequence, Urban Inst. (Sept. 2012), https://ti-
                 nyurl.com/y254aa6x.

                     “Regardless of legal status, children of undocu-
                 mented immigrants more often suffer from food inse-
                 curity than children of US citizens.” Zayas & Heffron,
                 supra, at 2. Unauthorized immigrant parents “also
                 may not use social services and public programs such
                 as food stamps and child care subsidies, for which
                 their citizen-children are eligible.” Id. Moreover, the
                 actual detention of a family member can leave a
                 household without enough food. According to one
                 study, more than 80% of households ran out of food
                 six months after the detention of a family member




                                                                           AR5996
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                 and did not have the money to get more. Satinsky, su-
                 pra, at 32-33.

                      Unauthorized parents often experience poor or ex-
                 ploitative work conditions, such as extended work
                 hours without overtime pay, pay below the minimum
                 wage, and little-to-no benefits, such as paid sick
                 leave—all conditions that could negatively impact
                 their children’s lives. Research has found that the
                 above conditions result in high levels of parental
                 stress and increased economic insecurity. Children
                 living in households under these stresses often expe-
                 rience poor cognitive development, which can be seen
                 as early as age two. Hirokazu Yoshikawa, Immigrants
                 Raising Citizens: Undocumented Parents and Their
                 Young Children (Russell Sage Found. 2011).

                     C. DACA rescission threatens to cut off
                        access to reliable health care.

                     Access to reliable health care is critical to child
                 health and development. Although unauthorized im-
                 migrants, including DACA recipients, are not eligible
                 for Affordable Care Act coverage, many DACA recipi-
                 ents have obtained health insurance through their
                 employers or through college or university health
                 plans. One survey found that about 60% of individu-
                 als eligible for DACA had health insurance, mostly
                 through their employers. Kaiser Family Found., Key
                 Facts on Individuals Eligible for the Deferred Action
                 for Childhood Arrivals (DACA) Program 2 (Feb.
                 2018), https://tinyurl.com/yxtnmxwr. Rescinding
                 DACA will cut off much of this access to health insur-
                 ance—former recipients will no longer be authorized
                 to work, and their access to higher education will be




                                                                           AR5997
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                 significantly reduced. “Employers would likely termi-
                 nate individuals as they lose work authorization,
                 leading to job loss along with loss of health coverage.
                 Job losses may also result in coverage losses for their
                 children, who are often U.S.-born citizens.” Id. at 3.

                      In addition to losing health insurance coverage,
                 parents no longer protected by DACA may be too fear-
                 ful of deportation to seek medical care for their chil-
                 dren. “In spite of the fact that citizen-children have
                 the right to health care, their parents may avoid en-
                 counters with providers for fear of discovery.” Zayas
                 & Heffron, supra, at 2. As a result, “undocumented
                 immigrants make fewer visits to health care provid-
                 ers than citizens with authorized immigrant status.”
                 Id. “Increased fears about the use of public programs
                 and immigration status has deterred immigrants
                 from accessing programs regardless of eligibility. In
                 addition, immigration enforcement activities that oc-
                 cur at or near sensitive locations, such as hospitals,
                 may prevent families from accessing needed medical
                 care.” Linton, supra, at 8. Indeed, one study found
                 that one-seventh of all adults in immigrant families
                 reported avoiding non-cash public benefits during the
                 past year because of fear that their legal immigration
                 status would be harmed. Hamutal Bernstein et al.,
                 One in Seven Adults in Immigrant Families Reported
                 Avoiding Public Benefit Programs in 2018, Urban
                 Inst. 2 (May 2019), https://tinyurl.com/y2fhwgg3.
                 Low-income members of immigrant families reported
                 even higher rates of avoidance. Id. Of this group that
                 avoided benefits, 46% avoided nutrition benefits
                 (SNAP), 42% avoided medical benefits (Medicaid and
                 CHIP), and 33% avoided public housing subsidies. Id.
                 at 8.




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                     Even though doctors and health care providers
                 are required by law to protect patient information,
                 many people in immigrant communities avoid visiting
                 clinics or hospitals for fear of being reported to immi-
                 gration officials. In a 2018 survey of health care pro-
                 viders in California, for example, 67% noted an
                 increase in parents’ concerns about enrolling their
                 children in public health and nutritional programs,
                 and 42% reported an increase in skipped scheduled
                 health care appointments. The Children’s P’ship, Cal-
                 ifornia Children in Immigrant Families: The Health
                 Provider        Perspective       (2018),      https://ti-
                 nyurl.com/y2rdf4fp. As one policy analyst explained,
                 “[m]any undocumented immigrants ‘say fear of depor-
                 tation for themselves or family members is a barrier
                 in terms of signing up for coverage and accessing
                 healthcare services.’” Lisa Zamosky, Health care op-
                 tions for undocumented immigrants, L.A. Times (Apr.
                 27, 2014), https://tinyurl.com/huvcplj.

                     In fact, the number of children without health in-
                 surance increased to 5.5% in 2018, an increase of 0.6%
                 from the previous year, largely because of a decline in
                 children’s Medicaid and CHIP coverage rates. Ed-
                 ward R. Berchick et al., Health Insurance Coverage in
                 the United States: 2018, U.S. Census Bureau 2-3
                 (Sept. 2019), https://tinyurl.com/y53cpsvt. “Hispanic
                 children were more likely to be uninsured than chil-
                 dren from other races and non-Hispanic origin
                 groups,” and “the uninsured rate increased 1.0 per-
                 centage point for Hispanic children” between 2017
                 and 2018. Id. at 9.

                     In addition, “a political climate that tolerates mi-
                 gration criminalization rhetoric has served to create




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                 what’s been called a chilling effect—reduction, due to
                 fear rather than eligibility changes, in the number of
                 undocumented immigrants willing to interact with
                 staff at public agencies or enroll themselves or their
                 children in health plans or other benefits.” Isha Ma-
                 rina Di Bartolo, Immigration, DACA, and Health
                 Care, 21 AMA J. of Ethics 1, E4 (Jan. 2019), https://ti-
                 nyurl.com/y394f85p.

                     Children will lose health coverage—whether due
                 to chilling effects or their households being directly
                 affected by the rescission of DACA—to potentially dis-
                 astrous effects. Michael Karpman & Genevieve M.
                 Kenney, Health Insurance Coverage for Children and
                 Parents: Changes Between 2013 and 2017, Urban
                 Inst. (Sept. 7, 2017), https://tinyurl.com/yy2xn87s.
                 One study found that disenrollment of children in
                 need of medical care would likely contribute to child
                 deaths and future disability. Leah Zallman et al., Im-
                 plications of Changing Public Charge Immigration
                 Rules for Children Who Need Medical Care, 173
                 JAMA Pediatrics E4-E5 (July 1, 2019). Foregoing reg-
                 ular treatment for such children will likely lead to in-
                 creased health care costs and disastrous outcomes.
                 See id. For these vulnerable children, the loss of
                 health coverage would be catastrophic.

                     While the loss of health coverage by parents has
                 a significant negative impact on their children’s
                 health coverage, the converse is also true. When par-
                 ents gain access to health coverage, their children also
                 gain access to health coverage. Julie L. Hudson &
                 Asako S. Moriya, Medicaid Expansion For Adults
                 Had Measurable ‘Welcome Mat’ Effects On their Chil-
                 dren, 36 Health Affairs 1643-51 (Sept. 2017). When




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                 parents have health insurance coverage, children are
                 more likely to access routine and preventative health
                 care. Maya Venkataramani et al., Spillover Effects of
                 Adult Medicaid Expansions on Children’s Use of Pre-
                 ventive Services, 140 Pediatrics 1, 6 (Dec. 2017),
                 https://tinyurl.com/yxwv5v2x.

                     D. DACA rescission puts children at risk of
                        parental separation and reduced access
                        to educational opportunities.

                     Of course, parental separation itself causes signif-
                 icant psychological and emotional harm to children.
                 Separations are especially difficult for children when
                 they do not know where their parents are, whether
                 they are safe, or when they will return. “Chronic sep-
                 aration from a caregiver can be extremely overwhelm-
                 ing to a child. Depending on the circumstances and
                 their significance, the child can experience these sep-
                 arations as traumatic. They may be sudden, unex-
                 pected, and prolonged, and can be accompanied by
                 additional cumulative stressful events.” Nat’l Child
                 Traumatic Stress Network, Children with Traumatic
                 Separation: Information for Professionals 1 (2016),
                 https://tinyurl.com/y2k2sqg7.

                     With DACA rescinded, the children of recipients
                 will also face more barriers to educational opportuni-
                 ties as the result of prolonged exposure to highly
                 stressful situations without the buffering support of a
                 parent, also known as toxic stress. The anxiety, de-
                 pression, and other symptoms that children will expe-
                 rience interfere with cognitive ability and focus, and
                 behavioral issues like aggression that results from ex-
                 periencing trauma can interfere with concentration




                                                                            AR6001
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                 and attendance. “Children in families under the
                 threat of detention or deportation will achieve fewer
                 years of education than children of citizens, and they
                 face challenges in focusing on schoolwork, potentially
                 translating into less income as adults.” Satinsky, su-
                 pra, at 17.

                     Finally, children face additional risks from the re-
                 vived practice of large-scale immigration raids, in-
                 cluding worksite raids. In August 2019, on the first
                 day of school for children in Mississippi’s Scott
                 County, U.S. immigration officials raided seven Mis-
                 sissippi chicken processing plants and arrested 680
                 workers. Camera, supra. The superintendent for the
                 Scott County School District said that some longtime
                 teachers told him that the raid in their community
                 “was by far the worst day they have ever spent as ed-
                 ucators.” Jeff Amy & Rogelio V. Solis, Immigration
                 raids to have long-term effects on poultry towns, Jour-
                 nal     Gazette      (Aug.      9,   2019),    https://ti-
                 nyurl.com/yx9x4gjl. The raids affected 15 families
                 and about 30 to 35 students in Scott County. “[T]he
                 overall chilling effect of the event meant 150 students
                 were absent from school” the next day. Camera, su-
                 pra; see also, e.g., Minchillo & Spagat, supra (immi-
                 gration raid of a landscaping company in northern
                 Ohio and a meatpacking plant in eastern Tennessee).

                     These immigration raids have an effect through-
                 out communities, including on children’s education.
                 “Immigration policies create a climate of fear that af-
                 fects children’s academic performance, even if their
                 family is not directly impacted by detention and de-
                 portation.” Satinsky, supra, at 16. One study of immi-
                 gration raids in six different locations found that




                                                                              AR6002
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                 about 20% of children had difficulty keeping up in
                 school after the raids. Id.

                     Moreover, although ICE currently maintains a
                 policy of avoiding enforcement actions at “sensitive lo-
                 cations,” such as schools, churches, and hospitals, see
                 U.S. Imm. & Customs Enforcement, FAQ on Sensitive
                 Locations and Courthouse Arrests, https://ti-
                 nyurl.com/y9ul6mfo (last visited Oct. 2, 2019), par-
                 ents have been arrested while taking their children to
                 school. See, e.g., Gary Klein, Marin man arrested in
                 ICE bust while dropping off child at school, Marin In-
                 dep. J. (Mar. 15, 2018), https://tinyurl.com/y38xje2n;
                 Amy B. Wang, US immigration authorities arrest
                 chemistry professor after he finishes getting his chil-
                 dren ready for school, The Independent (Feb. 5, 2018),
                 https://tinyurl.com/y38dzfeu; Andrea Castillo, Immi-
                 grant arrested by ICE after dropping daughter off at
                 school, sending shockwaves through neighborhood,
                 L.A.     Times      (Mar.    3,     2017),   https://ti-
                 nyurl.com/j26wswx.

                     In a 2010 study of immigration-related parental
                 arrests, researchers found that “[i]n the short term,
                 six months or less after a raid or other arrest, about
                 two-thirds of children experienced changes in eating
                 and sleeping habits.” Chaudry, supra, at ix. “More
                 than half of children in our study cried more often and
                 were more afraid, and more than a third were more
                 anxious, withdrawn, clingy, angry, or aggressive. A
                 majority of children experienced four or more of these
                 behavior changes.” Id. “Younger children experienced
                 greater difficulties eating and sleeping, excessive cry-
                 ing, and clinging to parents, while aggressive and




                                                                            AR6003
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                 withdrawn behavior was more common among the
                 older children.” Id.

                     E. DACA rescission puts children at risk of
                        traumatic stress, causing immediate and
                        long-term damage.

                     As described above, the risk of parental detention
                 and deportation puts children at serious risk of harm,
                 including increased risk to their mental and physical
                 health, income and food security, and separation from
                 their parents. Each of these experiences contributes
                 to the development of child traumatic stress. Begin-
                 ning with a landmark study published by Kaiser Per-
                 manente and the Centers for Disease Control and
                 Prevention in 1998, numerous studies have confirmed
                 that “adverse childhood experiences” can significantly
                 impact physical and mental health well into the adult
                 years, especially when the stress is chronic. See Cen-
                 ters for Disease Control & Prevention, Adverse Child-
                 hood Experiences, https://tinyurl.com/y8fc6qok.

                     As the American Academy of Pediatrics explained
                 in response to executive orders calling for tougher im-
                 migration enforcement:

                     Far too many children in this country already
                     live in constant fear that their parents will be
                     taken into custody or deported, and the mes-
                     sage these children received today from the
                     highest levels of our federal government exac-
                     erbates that fear and anxiety. No child should
                     ever live in fear. When children are scared, it
                     can impact their health and development. In-
                     deed, fear and stress, particularly prolonged




                                                                           AR6004
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                     exposure to serious stress—known as toxic
                     stress—can harm the developing brain and
                     negatively impact short- and long-term
                     health.

                 Am. Academy of Pediatrics, AAP Statement on Pro-
                 tecting Immigrant Children (Jan. 25, 2017), https://ti-
                 nyurl.com/y526he2n.

                     Without a network of supportive relationships,
                 toxic stress can disrupt normal development and neg-
                 atively affect the immune system and other biological
                 functions in children—potentially for life. Pediatri-
                 cian Alan Shapiro notes the amplified effect of toxic
                 stress for children with unauthorized immigrant par-
                 ents: “In this bio-ecological framework, parental de-
                 portation becomes a double whammy for children,
                 compounding the negative effect on a child’s health
                 and well-being by increasing their risk for exposure to
                 stressors and removing a key buffer to that stress,
                 their parent.” Alan Shapiro, Immigration: deporting
                 parents negatively affects kids’ health, The Hill
                 (May 13, 2016), https://tinyurl.com/y5np9s83.

                     The long-term, disruptive effects of toxic stress on
                 the developing brains of children are particularly con-
                 cerning. “Toxic stress damages developing brain ar-
                 chitecture, which can lead to life-long problems in
                 learning, behavior, and physical and mental health.”
                 Center on the Developing Child at Harvard Univer-
                 sity, InBrief: The Science of Early Childhood Develop-
                 ment, https://tinyurl.com/y6n3g894. The stress is
                 cumulative, such that “[t]he more adverse experi-
                 ences in childhood, the greater the likelihood of devel-
                 opmental delays and other problems.” Center on the




                                                                            AR6005
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                 Developing Child at Harvard University, InBrief: The
                 Impact of Early Adversity on Children’s Development,
                 https://tinyurl.com/yyjxt72b.

                      Children who experience toxic stress are at signif-
                 icant risk for negative consequences that can last a
                 lifetime. Rescinding DACA will cause the children of
                 recipients unrelenting fear of losing either their coun-
                 try or their parents and will also create additional
                 hardships for their economic and social well-being.
                 And the cumulative effect of that fear and additional
                 hardships can lead to worse health outcomes, lower
                 productivity, and less quality of life for hundreds of
                 thousands of American children.

                     F. DACA protection          benefits    children’s
                        health.

                      While DACA rescission has devastating conse-
                 quences for children, DACA protection affirmatively
                 helps them. Recent evidence demonstrates the
                 health-promoting effects of DACA protection. For ex-
                 ample, a 2016 survey of immigrant young adults
                 showed that DACA status predicted psychological
                 wellness. Caitlin Patler & Whitney Laster Pirtle,
                 From undocumented to lawfully present: Do changes
                 to legal status impact psychological wellbeing among
                 latino immigrant young adults?, 199 Soc. Sci. & Med.
                 39 (2017), https://tinyurl.com/y6f85wdm. DACA low-
                 ered the likelihood of psychological distress, and re-
                 cipients reported “better health” and “reduced fear.”
                 Id. at 44. Specifically, “[r]eceiving DACA reduced the
                 odds of distress, negative emotions, and worry about
                 self-deportation by 76-87%, compared to respondents
                 without DACA.” Id.




                                                                            AR6006
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                     Likewise, a 2017 study found significant mental
                 health benefits among DACA-eligible individuals.
                 Atheendar S. Venkataramani et al., Health conse-
                 quences of the US Deferred Action for Childhood Arri-
                 vals (DACA) immigration programme: a quasi-
                 experimental study, 2 Lancet Public Health e175 (Apr.
                 2017), https://tinyurl.com/yyj5nhgk. Researchers
                 found that the “effects on mental health were large
                 and clinically significant, with the DACA programme
                 significantly reducing the odds of individuals report-
                 ing moderate or worse psychological distress.” Id. at
                 e179. The authors further noted that these results
                 should be expected, given other studies that show an
                 increase in anxiety and depression symptoms when
                 immigration policies raise the risk of deportation.
                 Id. The American Academy of Pediatrics agrees: “Pol-
                 icies that offer protection from deportation, such as
                 DACA, may confer large mental health benefits for
                 youth and for the children of parenting youth.” Lin-
                 ton, supra, at 8.

                     Another recent study showed that the DACA eli-
                 gibility of mothers had a positive impact on the phys-
                 ical and mental health of their children. By
                 evaluating their health information, researchers
                 found that adjustment and anxiety disorders were
                 significantly reduced among the children of DACA-
                 eligible mothers. Hainmueller, supra, at 1041. The
                 authors chose to study mental health disorders be-
                 cause the effects were immediately observable after
                 DACA was established. “Moreover, examining mental
                 health disorders that originate in childhood is im-
                 portant because they are associated with long-term
                 health issues, low education, and welfare dependence,




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                 which generate considerable private and social costs.”
                 Id. at 1042.

                      In sum, “favorable immigration policies can have
                 a ‘warming effect’ on vulnerable children’s access of
                 critical social services,” and “rolling back DACA or in-
                 stituting policies which raise the threat of deportation
                 could result in a ‘chilling effect’ that could adversely
                 affect child health.” Rebecka Rosenquist, The ‘Warm-
                 ing Effect’ of DACA on American Children, Penn LDI,
                 Leonard Davis Inst. of Health Econ. 2 (June 4, 2018),
                 https://tinyurl.com/yys7sbj7.

                 III. It Is In Society’s Interest To Protect
                      Children From Harm.

                     As the Court has recognized, it is in “the interests
                 of society to protect the welfare of children.” Prince v.
                 Massachusetts, 321 U.S. 158, 165 (1944). “It is the in-
                 terest of youth itself, and of the whole community,
                 that children be both safeguarded from abuses and
                 given opportunities for growth into free and inde-
                 pendent well-developed men and citizens.” Id.; see
                 generally Brown v. Board of Educ. of Topeka, Shaw-
                 nee Cty., Kan., 347 U.S. 483, 494 (1954) (holding that
                 racial segregation in schools deprived children of
                 equal educational opportunities); Ginsberg v. New
                 York, 390 U.S. 629, 640 (1968) (“The State also has an
                 independent interest in the well-being of its youth.”);
                 Brown v. Entm’t Merchants Ass’n, 564 U.S. 786, 794
                 (2011) (recognizing that a state “possesses legitimate
                 power to protect children from harm”).

                    The Court has also recognized the importance of
                 family. “Our decisions establish that the Constitution




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                 protects the sanctity of the family precisely because
                 the institution of the family is deeply rooted in this
                 Nation’s history and tradition. It is through the fam-
                 ily that we inculcate and pass down many of our most
                 cherished values, moral and cultural.” Moore v. East
                 Cleveland, 431 U.S. 494, 503-04 (1977).

                      Indeed, these principles of family unity and child
                 protection have animated laws across the United
                 States that make family preservation a priority of
                 child welfare agencies. The U.S. Department of
                 Health and Human Services notes that laws in all
                 states “require that child welfare agencies make rea-
                 sonable efforts to provide services that will help fam-
                 ilies remedy the conditions that brought the child and
                 family into the child welfare system ... [such as] ac-
                 cessible, available, and culturally appropriate ser-
                 vices that are designed to improve the capacity of
                 families to provide safe and stable homes for their
                 children.” U.S. Dep’t of Health and Human Servs.,
                 Reasonable Efforts to Preserve or Reunify Families
                 and Achieve Permanency for Children 1 (Mar. 2016),
                 https://tinyurl.com/y4xgdygj.

                      Acknowledging the vital importance of family
                 unity, on February 9, 2018, President Trump signed
                 into law the Family First Prevention Services Act, as
                 part of Division E in the Bipartisan Budget Act of
                 2018. P.L. 115-123 (H.R. 1892). This law makes com-
                 prehensive changes to child welfare laws in an effort
                 to keep families together: “The purpose of this subtitle
                 is to enable States to use Federal funds … to provide
                 enhanced support to children and families and pre-
                 vent foster care placements through the provision of
                 mental health and substance abuse prevention and




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                 treatment services, in-home parent skill-based pro-
                 grams, and kinship navigator services.” P.L. 115-123.
                 As one of cosponsors of the legislation explained, “this
                 new law has the power to better the lives of hundreds
                 of thousands of children and their families. It will for
                 the first time allow States to invest Federal foster
                 care dollars in evidence-based services, like substance
                 use treatment and mental health and parenting pro-
                 grams, to prevent the need for foster care by keeping
                 families safely together.” 164 Cong. Rec. S1731 (daily
                 ed. Mar. 14, 2018) (statement of Sen. Wyden). Family
                 First represents an intentional shift to a more up-
                 stream system that can prevent unnecessary foster
                 care through services for vulnerable families. The
                 strain on child welfare systems resulting from DACA
                 rescission will come at a time when those systems are
                 moving toward an evidence-based model even more
                 incongruous with addressing the needs of children of
                 DACA recipients.

                     The United States is also a signatory to the
                 United Nations Convention on the Rights of the
                 Child. Although the United States has not ratified the
                 Convention, its signature “creates an obligation to re-
                 frain, in good faith, from acts that would defeat the
                 object and the purpose of the treaty.” United Nations,
                 What is the difference between signing, ratification
                 and accession of UN treaties? (citing Arts. 10 and 18,
                 Vienna Convention on the Law of Treaties 1969),
                 https://tinyurl.com/y3j2c84l. The Convention empha-
                 sizes the importance of protecting child safety and
                 family unity and establishes that a child has “the
                 right to know and be cared for by his or her parents.”
                 Convention on the Rights of the Child, Arts. 7, 18. It
                 also requires parties to “ensure that a child shall not




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                 be separated from his or her parents against their
                 will.” Id., Art. 9.

                     The well-being of children and the importance of
                 family preservation are fundamental values in our so-
                 ciety. DACA recipients were brought here as children
                 and given no other choice of home. Many of these re-
                 cipients are now parents of U.S.-born children. Re-
                 scinding DACA puts these children at immediate risk
                 and threatens their families with forced separation,
                 in direct contravention of our nation’s core commit-
                 ment to protect children. At a minimum, the govern-
                 ment should weigh these concerns carefully in
                 considering whether to rescind DACA.

                                   CONCLUSION

                     For the foregoing reasons, the Court should affirm
                 the orders and judgments of the Ninth Circuit and the
                 District Courts for the District of Columbia and the
                 Eastern District of New York.

                                            Respectfully submitted,

                  Kelsi Brown Corkran       Mary Kelly Persyn
                  Melanie R. Hallums          Counsel of Record
                  ORRICK, HERRINGTON &      PERSYN LAW & POLICY
                     SUTCLIFFE LLP          912 Cole Street
                  1152 15th Street, N.W.    San Francisco, CA 94117
                  Washington, DC 20005      (628) 400-1254
                  (202) 339-8400            marykelly@persynlaw.com

                 October 9, 2019




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                                   Nos. 18-587, 18-588, 18-589

                      In the Supreme Court of the United States
                                          ————
                    DEPARTMENT OF HOMELAND SECURITY, ET AL., PETITIONERS,
                                              v.
                 REGENTS OF THE UNIVERSITY OF CALIFORNIA, ET AL., RESPONDENTS.
                                          ————
                           ON WRIT OF CERTIORARI TO THE UNITED STATES
                             COURT OF APPEALS FOR THE NINTH CIRCUIT
                                          ————
                             DONALD J. TRUMP, PRESIDENT OF THE
                             UNITED STATES, ET AL., PETITIONERS,
                                             v.
                        NATIONAL ASSOCIATION FOR THE ADVANCEMENT OF
                            COLORED PEOPLE, ET AL., RESPONDENTS.
                                          ————
                             ON WRIT OF CERTIORARI BEFORE JUDGMENT
                             TO THE UNITED STATES COURT OF APPEALS
                              FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                        ————
                         KEVIN K. MCALEENAN, ACTING SECRETARY OF
                          HOMELAND SECURITY, ET AL., PETITIONERS,
                                           v.
                    MARTIN JONATHAN BATALLA VIDAL, ET AL., RESPONDENTS.
                                        ————
                             ON WRIT OF CERTIORARI BEFORE JUDGMENT
                             TO THE UNITED STATES COURT OF APPEALS
                                       FOR THE SECOND CIRCUIT
                                    ————
                    BRIEF FOR LAWYERS’ COMMITTEE FOR CIVIL
                    RIGHTS UNDER LAW, THE ANTI-DEFAMATION
                    LEAGUE, THE LEADERSHIP CONFERENCE ON
                  CIVIL AND HUMAN RIGHTS, AND 42 OTHER SOCIAL
                     JUSTICE ORGANIZATIONS AS AMICI CURIAE
                          IN SUPPORT OF RESPONDENTS
                                    ————
                 KRISTEN CLARKE                       WILLIAM D. COSTON
                 JON GREENBAUM                           Counsel of Record
                 DARIELY RODRIGUEZ                    MARTIN L. SAAD
                 DORIAN SPENCE                        SAMEER P. SHEIKH
                 PHYLICIA H. HILL                     VENABLE LLP
                 MARYUM JORDAN                        600 Massachusetts Ave NW
                 LAWYERS’ COMMITTEE FOR               Washington, DC 20001
                    CIVIL RIGHTS UNDER LAW            (202) 344-4813
                 1500 K Street NW, Suite 900          wdcoston@venable.com
                 Washington, DC 20005
                 (202) 662-8600
                                      Counsel for Amici Curiae
                 October 4, 2019

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                                                                                             AR6012
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                           QUESTIONS PRESENTED
                   1. Whether DHS’s decision to wind down the DACA
                 policy is judicially reviewable.
                   2. Whether DHS’s decision to wind down the DACA
                 policy is lawful.




                                        (i)




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                            INTEREST OF AMICI CURIAE1
                   Amici, the Lawyers’ Committee for Civil Rights Under
                 Law, the Anti-Defamation League, the Leadership
                 Conference on Civil and Human Rights, and 42 other
                 social justice organizations,2 are national and regional
                 civil rights groups and equal justice organizations, each
                 committed to the promotion of civil liberties through-
                 out the country and the elimination of discrimination
                 in any form.
                   The Lawyers’ Committee for Civil Rights Under
                 Law (“Lawyers’ Committee”) is a nonpartisan, non-
                 profit civil rights organization formed in 1963, at the
                 request of President John F. Kennedy, to enlist the
                 American bar’s leadership and resources in defending
                 the civil rights of racial and ethnic minorities.
                 Through the Lawyers’ Committee, attorneys have
                 represented thousands of clients in civil rights cases
                 across the country challenging discrimination in
                 virtually all aspects of American life. In furtherance
                 of its commitment to challenge policies that discrimi-
                 nate against immigrants and refugees, the Lawyers’




                   1
                     Pursuant to Supreme Court Rule 37.6, counsel for amici
                 represent that they authored this brief in its entirety and that
                 none of the parties or their counsel, nor any other person or entity
                 other than amici or their counsel, made a monetary contribution
                 intended to fund the preparation or submission of this brief.
                    Pursuant to Rule 37.3(a), counsel for amici also represent that
                 all parties have consented to the filing of this brief; letters
                 reflecting their blanket consent to the filing of amicus briefs are
                 on file with the Clerk.
                   2
                     A list of the 42 other social justice organizations as amici
                 curiae is set forth below in the Appendix at 1a.




                                                                                        AR6021
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                                           2
                 Committee has filed numerous lawsuits and submit-
                 ted six amicus briefs in in support of challenges to
                 DACA’s rescission, including in all three cases cur-
                 rently before the Court.
                   Anti-Defamation League (“ADL”), founded in 1913,
                 is an anti-hate organization that seeks to stop the
                 defamation of the Jewish people, and secure justice
                 and fair treatment to all. Its 25 regional offices further
                 this mission with programmatic support to promote
                 civil rights and combat all forms of bigotry. ADL is
                 rooted in a community that has experienced the plight
                 of living as refugees throughout its history. ADL has
                 advocated for fair and humane immigration policy
                 since its founding and has been a leader in exposing
                 anti-immigrant and anti-refugee fervor that has
                 poisoned our nation’s debate. Consistent with its
                 principles and values, ADL joins this brief.
                    The Leadership Conference on Civil and Human
                 Rights (“The Leadership Conference”) is a diverse coa-
                 lition of more than 200 national organizations charged
                 with promoting and protecting the civil and human
                 rights of all persons in the United States, including
                 immigrants. It is the nation’s largest and most diverse
                 civil and human rights coalition. For more than half
                 a century, The Leadership Conference, based in
                 Washington, D.C., has led the fight for civil and
                 human rights by advocating for federal legislation and
                 policy, securing passage of every major civil rights
                 statute since the Civil Rights Act of 1957. The
                 Leadership Conference works to build an America that
                 is inclusive and as good as its ideals.
                   Amici are particularly well suited to offer assistance
                 to the Court based on their experience working with
                 and in immigrant communities of color including
                 those affected by the rescission of DACA. Amici have




                                                                              AR6022
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                                           3
                 observed firsthand the ways in which DACA has
                 improved the lives of undocumented young people and
                 enabled them to make significant social and economic
                 contributions that have made our country greater.
                                  INTRODUCTION
                   The Department of Homeland Security (“DHS” or
                 the “Department”) failed to consider serious reliance
                 interests engendered by the Deferred Action for
                 Childhood Arrivals (“DACA”) program prior to termi-
                 nation, in violation of the Administrative Procedures
                 Act (“APA”). In this brief, amici seek to highlight some
                 of the significant commitments in education, invest-
                 ments in home ownership, and service to our military
                 program that participants have made in reliance on
                 DACA.
                    The DACA program, announced on June 15, 2012,
                 provided eligible undocumented immigrants protec-
                 tion from deportation and made them eligible for work
                 authorization subject to approval of an initial applica-
                 tion and renewal every two years thereafter. The
                 policy’s coverage was limited in scope to individuals
                 under the age of thirty-one present in the country on
                 or after June 12, 2012 who arrived in the United
                 States before the age of sixteen. Thus, while the DACA
                 program was available to only eligible individuals in
                 the United States prior to June 2012, foreign-born
                 persons who entered after this time are ineligible.
                   Imbued with the spirit of the American dream, and
                 in reliance on the DACA program, enrollees have
                 made substantial investments in themselves, their
                 families, and their communities. Contrary to the
                 government’s assertion in its brief to this Court (e.g.,
                 Pet. Br. 46), the DACA enrollees are not engaged in




                                                                            AR6023
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                                             4
                 “ongoing illegal activity” or “ongoing violation of
                 federal law.” To the contrary, under DACA and with
                 the government’s permission, enrollees are legally
                 engaged in educational, tax-paying, teaching, and mili-
                 tary activities. See, e.g., Case No. 18-589 Pet. App.
                 115a (“[H]undreds of thousands of DACA recipients
                 and those close to them planned their lives around the
                 program.”).
                   Without any consideration for these substantial
                 reliance interests engendered by DACA over the last
                 several years, the Department abruptly terminated
                 the program. In doing so, the government upended
                 the lives of nearly 700,000 productive young adults,
                 their families, and their communities. These DACA
                 recipients, in an effort to play by the rules, came out of
                 the shadows to enroll in the program.
                    The APA’s requirements are designed to protect
                 against arbitrary and capricious reversals or termina-
                 tions of policies and programs that induce serious
                 reliance interests of the type found here. With the
                 government’s encouragement, DACA enrollees invested
                 in job-specific training programs, enrolled in universi-
                 ties, obtained jobs as educators, purchased homes, and
                 enlisted in the military in service of our country. In
                 turn, educational institutions, local communities, and
                 employers invested in and have come to rely on the
                 substantial benefits provided by DACA enrollees. Yet
                 the administrative record is void of any mention, let
                 alone consideration of these interests.
                   The government’s complete failure to consider such
                 serious reliance interests before abruptly rescinding
                 DACA is the hallmark of arbitrary and capricious
                 conduct.




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                                          5
                                      ARGUMENT
                    I. THE GOVERNMENT WAS REQUIRED TO
                       CONSIDER RELIANCE INTERESTS PRIOR
                       TO TERMINATING DACA
                    In its opening brief, the government argues that the
                 decision to rescind DACA is an unreviewable discre-
                 tionary act, even though the justification offered was
                 that the program lacked proper statutory authority
                 and was therefore illegal. This argument is unavail-
                 ing. “[A]n official cannot claim that the law ties her
                 hands while at the same time denying the courts’
                 power to unbind her.” NAACP v. Trump, 298 F. Supp.
                 3d 209, 249 (D.D.C. 2018). Indeed, Acting Secretary
                 of Homeland Security Duke’s proffered rationale for
                 the rescission of DACA – that DHS did not have the
                 authority to institute DACA in the first place – placed
                 its decision squarely within the bounds of an “agency
                 action” reviewable under the APA. Regents of Univ. of
                 Cal. v. DHS, 908 F.3d 476, 494-498 (9th Cir. 2018)
                 (citing City of Arlington v. FCC, 569 U.S. 290 (2013)).
                   Under Section 706(2)(A) of the APA, federal courts
                 may review and set aside agency action found to be
                 “arbitrary, capricious, an abuse of discretion, or other-
                 wise not in accordance with law.” 5 U.S.C. § 706(2)(A).
                   Here, DHS violated core principles governing its
                 actions under the APA. The Department abused its
                 discretion because it “entirely failed to consider an
                 important aspect of the problem,” namely the impact
                 of its policy change on the hundreds of thousands of
                 DACA enrollees who would be directly affected by the
                 decision. See Motor Vehicle Mfrs. Ass’n of U.S., Inc. v.
                 State Farm Mut. Auto. Ins. Co., 463 U.S. 29, 43 (1983).




                                                                             AR6025
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                                            6
                   Although agencies are free to change their existing
                 policies, they must provide a reasoned explanation for
                 a policy change, where that change implicates serious
                 reliance interests:
                     In explaining its changed position, an agency
                     must also be cognizant that longstanding
                     policies may have engendered serious reliance
                     interests that must be taken in account. In
                     such cases it is not that further justification
                     is demanded by the mere fact of policy
                     change; but that a reasoned explanation is
                     needed for disregarding facts and circum-
                     stances that underlay or were engendered by
                     the prior policy. It follows that an unex-
                     plained inconsistency in agency policy is a
                     reason for holding an interpretation to be an
                     arbitrary and capricious change from agency
                     practice.
                 Encino Motor Cars, LLC v. Navarro, 136 S. Ct. 2117,
                 2125-2126 (2016) (emphasis added).
                   This Court’s opinion in Perez v. Mortgage Bankers
                 Association is also instructive on the importance of
                 reliance in APA cases:
                     The APA contains a variety of constraints on
                     agency decision making—the arbitrary and
                     capricious standard being among the most
                     notable. . . . [T]he APA requires an agency
                     to provide more substantial justification when
                     ‘its new policy rests upon factual findings that
                     contradict those which underlay its prior
                     policy; or when prior policy has engendered
                     serious reliance interests that must be taken
                     into account. It would be arbitrary and




                                                                           AR6026
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                                          7
                     capricious to ignore such matters (citations
                     omitted).
                 135 S. Ct. 1199, 1209 (2015) (emphasis added). See
                 also Smiley v. Citibank (South Dakota), NA, 517 U.S.
                 735, 742 (U.S. 1996) (citations and quotations omitted)
                 (“Sudden and unexplained change or change that
                 does not take account of legitimate reliance on prior
                 interpretation may be arbitrary, capricious or an
                 abuse of discretion.”).
                    Here, as the lower courts repeatedly found, DHS
                 failed entirely to consider the reliance interests of the
                 DACA enrollees, their employers, and their communi-
                 ties. See Case No. 18-587, Pet. App. 60a (“As [in Encino],
                 the administrative record here includes no analysis
                 of the ‘significant reliance issues involved.’. . . The
                 administrative record includes no consideration to the
                 disruption a rescission would have on the lives of
                 DACA recipients, let alone their families, employers
                 and employees, schools and communities.”) (Alsup, J.);
                 Case No. 18-588, Pet. App. 54a (“The Rescission Memo
                 made no mention of the fact that DACA had been in
                 place for five years and had engendered the reliance
                 of hundreds of thousands of beneficiaries, many of
                 whom had structured their education, employment,
                 and other life activities on the assumption that they
                 would be able to renew their DACA benefits.”) (Bates,
                 J.); Case No. 18-589, Pet. App. 114a (“The record does
                 not indicate that Defendants acknowledged, let alone
                 considered, these or any other reliance interests
                 engendered by the DACA program. That alone is
                 sufficient to render their supposedly discretionary




                                                                              AR6027
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                                             8
                 decision to end the DACA program arbitrary and
                 capricious.”) (Garaufis, J.).3
                    The reliance by DACA enrollees was certainly reason-
                 able. DACA did not guarantee a “substantive right,
                 immigration status or pathway to citizenship” as the
                 government emphasizes. Pet. Br. 5. But deferred
                 action enabled and incentivized individuals to pursue
                 schooling, jobs, investments, tax-payment, military
                 service, and home ownership. These are not “ongoing
                 illegal activit[ies],” Pet. Br. 46, but rather the activities
                 that DACA enrollees have earned under the program.
                 No court has determined that the reliance under
                 DACA to do these things was unreasonable. Indeed, as
                 Judge Nicholas Garaufis of the U.S. District Court for
                 the Eastern District of New York found, “it is obvious
                 that hundreds of thousands of DACA recipients and
                 those close to them planned their lives around the
                 program.” Case No. 18-589, Pet. App. 115a.
                   The original DACA policy: (i) was not challenged in
                 the DAPA litigation before this divided Court; (ii) was
                 supported by an opinion of the Office of Legal Counsel4;
                 and (iii) has not been found to violate the Constitution.

                   3
                      The Texas court, which previously ruled that DAPA was
                 illegal, concluded that reliance interests were so significant that
                 a preliminary injunction should not issue against DACA. Texas
                 v. United States, 328 F. Supp. 3d 662, 742 (S.D. Tex. 2018) (“[T]he
                 reality of the situation is that [DACA] conferred lawful presence
                 and numerous other benefits, and many DACA recipients and
                 others nationwide have relied upon it for the last six years.”). The
                 court specifically noted (a) DACA recipients’ loss of benefits that
                 flow from lawful presence, and (b) loss of employees to various
                 schools, states, municipalities, employers and industries. Id.
                   4
                     See Dep’t of Justice Office of Legal Counsel, The Department
                 of Homeland Security’s Authority to Prioritize Removal of Certain
                 Aliens Unlawfully Present in the United States and to Defer
                 Removal of Others, 38 Op. O.L.C. (2014).




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                                           9
                 These observations further support the recipients’
                 reasonable reliance on the program to build successful
                 lives in this country.
                    In its opening brief, the government argues that
                 DHS “sufficiently considered the reliance interests of
                 DACA recipients” in rescinding the program. Pet. Br.
                 42. Specifically, it points to the wind-down period
                 set out in the Duke Memorandum, which permitted
                 existing DACA grants “to expire according to their
                 stated two-year terms” and purportedly “allow[ed] a
                 limited window for additional renewals.” Id. But
                 neither those provisions of the Duke Memorandum
                 nor any others reference the serious reliance interests
                 engendered by DACA. See Case No. 18-587, Pet. App.
                 117a-118a. Indeed, nowhere in the administrative
                 record are the reliance interests of the nearly 700,000
                 DACA enrollees mentioned. There are no studies,
                 calculations, or analyses. And in fact, the “wind-down”
                 period appears to have been designed to benefit the
                 Department, not DACA enrollees, whose interests are
                 not mentioned anywhere in the Duke Memorandum.
                 See Joint App. 878 (Sessions Memorandum recom-
                 mending a wind-down to address the “costs and burdens
                 that will be imposed on DHS associated with rescind-
                 ing this [DACA] policy.”) (Emphasis added); see also
                 Case No. 18-589, Pet. App. 117a (“While the Acting
                 Secretary stated that she ‘[r]ecogniz[ed] the complexi-
                 ties associated with winding down the program,’ the
                 Sessions Letter makes clear that these complexities
                 referred to the burdens on DHS of winding down the
                 DACA program.”).
                   The government also points to Secretary Nielsen’s
                 subsequent memorandum in which she stated that
                 she did not take the DACA rescission “lightly” and
                 referenced “sympathetic circumstances” of DACA




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                 recipients. Pet. Br. 42. But lip service in a post-hoc
                 rationalization does not provide the reasoned analysis
                 of the serious reliance interests engendered by the
                 DACA program, as required by the APA. See Case
                 No. 18-587, Pet. App. 125a; see also, e.g., FCC v. Fox
                 Television Stations, Inc., 556 U.S. 502, 515-16 (2009)
                 ((“[A] reasoned explanation is needed for disregarding
                 facts and circumstances that underlay . . . the prior
                 policy.”).
                   As Judge Bates explained astutely:
                     [T]he Nielsen Memo—like the Duke Memo
                     before it—fails to engage meaningfully with
                     the reliance interests and other countervail-
                     ing factors that weigh against ending the
                     program . . . .
                     Although this time around the Nielsen Memo
                     at least “acknowledge[s] how heavily DACA
                     beneficiaries had come to rely on” the pro-
                     gram, id., it does little more than that. Instead
                     of considering DACA’s benefits to DACA
                     recipients and to society at large, Secretary
                     Nielsen simply states that “the asserted reli-
                     ance interests” are outweighed by DACA’s
                     “questionable legality . . . and the other
                     reasons for ending the policy,” and then goes
                     on to suggest that she should not even have
                     to consider those interests . . . .
                     Like the Duke Memo, the Nielsen Memo
                     demonstrates no true cognizance of the serious
                     reliance interests at issue here—indeed, it does
                     not even identify what those interests are.
                 Case No. 18-588, Pet. App. 106a-107a. Such
                 “[a]n ‘unexplained inconsistency’ in agency policy
                 indicates that the agency’s action is arbitrary and




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                 capricious, and therefore unlawful.” Jimenez–Cedillo
                 v. Sessions, 885 F.3d 292, 298 (4th Cir. 2018) (quoting
                 Encino Motor Cars, 136 S. Ct. at 2125).
                   The following section sets forth several serious
                 reliance interests engendered by DACA enrollees that
                 the government was required to consider prior to
                 rescinding the DACA policy, but instead ignored.
                       II. DACA ENGENDERED SERIOUS RELIANCE
                           INTERESTS THAT THE GOVERNMENT
                           FAILED TO CONSIDER
                   Since its inception, nearly 800,000 DACA enrollees
                 invested in their education and job training, pur-
                 chased homes, and enlisted in the military in reliance
                 on the understanding that their right to remain in the
                 United States would not be rescinded without proper
                 consideration of the consequences of rescission – or
                 used solely as a political bargaining chip.5 See Pet.
                 App. 12a–13a (793,026 enrollees, with 689,800 active
                 as of September 2017).
                    The Department is the responsible agency for adju-
                 dicating the rights of persons to remain on American
                 soil, and “the rulings, interpretations and opinions of
                 the responsible agency, while not controlling upon the
                 courts by reason of their authority, do constitute a
                 body of experience and informed judgment to which
                 litigants may properly resort for guidance.” U.S. v.

                   5
                      Annie Karni and Sheryl Gay Stolberg, Trump Offers
                 Temporary Protections for ‘Dreamers’ in Exchange for Wall Funding,
                 N.Y. Times (Jan. 9, 2019), https://www.nytimes.com/2019/01/19/
                 us/politics/trump-proposal-daca-wall.html. The government’s brief
                 to this Court acknowledges that DACA is a possible tradeoff in a
                 deal with Congress (see Pet. Br. 32 and 39), although the
                 Administration has hardly exercised “executive restraint” on
                 many matters pertaining to immigration.




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                 Penn. Indus. Chem. Corp., 411 U.S. 655 (1973) (quota-
                 tions omitted). It was around this guidance that the
                 DACA recipients planned their lives moving forward
                 in the United States.
                   By explicitly targeting “productive young people,”6
                 the federal government plainly contemplated that
                 DACA enrollees would be contributing members of our
                 society and that the nation would benefit from their
                 social and economic efforts. With the opportunity to
                 advance their lives through education, employment,
                 and homeownership, DACA enrollees have been induced
                 by the promise of being able to achieve financial
                 security for themselves and their families – and to be
                 part of the fabric of America. And it is on the basis of
                 this promise that childhood arrivals revealed them-
                 selves to the government and submitted to a rigorous
                 application and background check process, the cost of
                 which was borne by the applicant. Indeed, there were
                 individuals who opted not to apply to the DACA
                 program on the basis that they could not afford the
                 significant application fee or because of the program
                 requirement to provide personal and private infor-
                 mation to the federal government.7
                    The states and the federal government, in turn,
                 would benefit from an increased population of produc-
                 tive, legally employable workers, who pay taxes and

                   6
                     See Memorandum from Janet Napolitano, Sec’y of Homeland
                 Sec., Exercising Prosecutorial Discretion with Respect to
                 Individuals Who Came to the United States as Children (June 15,
                 2012), https://www.dhs.gov/xlibrary/assets/s1-exercising-prosecu
                 torial-discretion-individuals-who-came-to-us-as-children.pdf.
                   7
                      See New American Economy, Overcoming the Odds: The
                 Contributions of DACA-Eligible Immigrants and TPS Holders to
                 the U.S. Economy (May 2019), https://www.newamericanecon
                 omy.org/wp-content/uploads/2019/05/DACA-TPS_Brief.pdf.




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                                            13
                 make significant contributions to the economy. And,
                 indeed, they have. “DACA enrollees and their house-
                 holds pay $5.7 billion in federal taxes and $3.1 billion
                 in state and local taxes annually.”8 The termination of
                 DACA will only place further strain on states and local
                 communities that were already under economic pressure.
                    The Department’s failure to consider such reliance
                 interests, let alone provide an “analysis” of its action
                 “is arbitrary and capricious and so cannot carry the
                 force of law.” Encino Motor Cars, 136 S. Ct. at 2125.
                        A. Reliance Interests of DACA Students,
                           Educators and Educational Institutions
                    It is indisputable that access to education is vitally
                 important to all persons in the United States—whether
                 citizens, lawful resident aliens, or undocumented per-
                 sons. See Plyler v. Doe, 457 U.S. 202, 226 (1982). In
                 Plyler, this Court ruled that undocumented school age
                 children had a constitutional right to a free public
                 education. Id. (“Education provides the basic tools by
                 which individuals might lead economically productive
                 lives to the benefit of us all . . . “[e]ducation has a
                 fundamental role in maintaining the fabric of our
                 society.” Because of Plyler, generations of undocu-
                 mented persons have succeeded in school and
                 integrated into the American culture.
                   The DACA program has had the practical effect of
                 extending the rationale of Plyler to post-secondary
                 education. By relying on the rights granted by DACA,
                 tens of thousands of undocumented persons have

                   8
                     Nicole Svjlenka, What We Know About DACA Recipients in
                 the United States, Ctr. for Amer. Progress, (Sept. 5, 2019),
                 https://www.americanprogress.org/issues/immigration/news/2019/
                 09/05/474177/know-daca-recipients-united-states/.




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                                            14
                 gained access to and invested substantial time and
                 money in a college education. And many of those
                 persons, once educated, have entered the workforce as
                 teachers, giving back to their communities.
                   DACA teachers, in particular, are a significant asset
                 to our nation’s public schools, especially in cities with
                 large, immigrant student populations. An estimated
                 20,000 DACA recipients are employed as educators
                 throughout the U.S., and many of them possess in-
                 demand bilingual language skills.9 There is currently
                 a severe shortage nationally of teachers in the public
                 education sector, estimated to be as high as 327,000.10
                 The consequences of a shortage in public educators are
                 well known: larger class sizes, fewer teacher aides,
                 fewer guidance counselors, and fewer extra-curricular
                 activities.
                   Further, in the past few decades, the racial makeup
                 of the country’s student population has drastically
                 shifted, but the overwhelming majority of public school
                 teachers continue to be white.11 Public schools have

                   9
                     Moriah Balingit, As DACA Winds Down, 20,000 Educators
                 Are in Limbo, Wash. Post (Oct. 25, 2017), https://www.
                 washingtonpost.com/local/education/as-daca-winds-down-20000-
                 educators-are-in-limbo/2017/10/25/4cd36de4-b9b3-11e7-a908-a34
                 70754bbb9_story.html (citing data provided by the Migration
                 Policy Institute); see also Greg Toppo, 20,000 DACA Teachers At
                 Risk — and Your Kids Could Feel the Fallout, Too, USA Today
                 (Oct. 11, 2017,), https://www.usatoday.com/story/news/2017/10/
                 11/thousands-daca-teachers-risk/752082001/.
                   10
                      Elise Gould, Local Public Education Employment May Have
                 Weathered Recent Storms, But Schools Are Still Short 327,000
                 Public Educators, Econ. Pol’y. Inst. (Oct. 6, 2017), http://www.
                 epi.org/publication/teacher-employment-may-have-weathered-sto
                 rms-but-schools-are-still-short-327000-public-educators/.
                   11
                     “Racial and ethnic minorities accounted for 20% of all public
                 elementary and secondary school teachers in the United States




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                                           15
                 seen increased enrollment by students of color,
                 especially by Latinos.12 By 2025, it is expected that a
                 majority of high school graduates will be students of
                 color.13 DACA has allowed schools to recruit qualified
                 teachers serving students of diverse backgrounds.
                   DACA teachers do much more than just fill available
                 positions; they also serve as mentors and role models.
                 For many communities, DACA teachers mirror the
                 experiences of their immigrant students, which informs
                 their teaching with cultural competence, helps develop
                 positive relationships with students, and creates
                 more welcoming school environments.14 “Foreign-born
                 teachers not only educate Americans, but also serve as
                 cultural ambassadors for immigrant students who
                 may not be as familiar with American traditions,
                 customs, and social norms.”15



                 during the 2015-16 school year.” A.W. Geiger, America’s Public
                 School Teachers Are Far Less Racially And Ethnically Diverse
                 Than Their Students, Pew Research Center (Aug. 27, 2018),
                 https://www.pewresearch.org/fact-tank/2018/08/27/americas-pub
                 lic-school-teachers-are-far-less-racially-and-ethnically-diverse-th
                 an-their-students/.
                   12
                      Alice Yin, Education by the Numbers, N.Y. Times (Sept. 8,
                 2017), https://www.nytimes.com/2017/09/08/magazine/education-
                 by-the-numbers.html.
                   13
                        Id.
                   14
                      Lisette Partelow, America Needs More Teachers of Color, Ctr.
                 for Amer. Progress (Sept. 14, 2017), https://www.americanprog
                 ress.org/issues/education-k-12/reports/2017/09/14/437667/america-
                 needs-teachers-color-selective-teaching-profession/.
                   15
                     Yukiko Furuya et al., A Portrait of Foreign-Born Teachers In
                 The United States, George Mason University, Institute for
                 Immigration Research (Jan. 2019), https://www.immigration
                 research.org/system/files/Teacher_Paper.pdf.




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                                           16
                   Viridiana Carrizales, who led the DACA Initiative
                 at Teach or America, aptly noted that “[w]e cannot
                 afford to lose so many teachers and impact so many
                 students . . . [e]very time a student loses a teacher,
                 that is a disruption in the student’s learning.” 16
                 As Vanessa Luna, a DACA recipient who taught as
                 a Teach for America teacher and now serves as the
                 Co-Founder and Chief Programming Officer at
                 ImmSchools, explains: “We’re going to lose leaders
                 and lose teachers – it’s not only their presence, but
                 having a teacher that can share the same experiences
                 that you possibly had growing up. . . . Their advocacy,
                 their leadership, their resilience is extraordinary
                 because of their own personal journey.”17
                   School environments with DACA educators help
                 reflect the diversity of communities, the country, and
                 the world, which, in turn, helps open students’ minds
                 to new perspectives and actively engage them in
                 learning. Prejudice and bias are countered in schools
                 and communities when respect for diversity is taught,
                 modeled, and experienced firsthand by children.18 The
                 loss of 20,000 DACA teachers will cause severe and
                 lasting harm to students and their educational trajec-
                 tories, and more broadly our country, which depends
                 on the great talent of future generations.




                   16
                        See Toppo, supra n.9.
                   17
                       Liz Robbins, For Teachers Working Through DACA, a
                 Bittersweet Start to the School Year, N.Y. Times (Sept. 7, 2017),
                 https://www.nytimes.com/2017/09/07/nyregion/daca-teachers.html.
                   18
                       Anti-Defamation League (ADL), Creating an Anti-Bias
                 Learning Environment, https://www.adl.org/education/resources/
                 tools-and-strategies/creating-an-anti-bias-learning-environment.




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                                          17
                   In Plyler, the Court made an observation that is apt
                 for the present DACA revocation:
                        In determining the rationality of § 21.031
                        [denying access to school to undocumented
                        persons], we may appropriately take into
                        account its costs to the Nation and to the
                        innocent children who are its victims. In light
                        of these countervailing costs, the discrimina-
                        tion contained in §21.031 can hardly be
                        considered rational unless it furthers some
                        substantive goal of the State.
                   Here, as in Plyler, the federal government failed to
                 consider the profound reliance interests and costs to
                 DACA recipients and their educational communities
                 around the nation resulting from the rescission of
                 DACA.
                          B. DACA Enrollees Purchased Homes and
                             Lending Institutions Extended Loans
                             in Reliance on DACA
                    Homeownership has long been recognized as an
                 integral part of the American dream. Indeed, the
                 federal government and its agencies have developed
                 programs and marketing around that well-accepted
                 precept.19 DACA put that dream within reach for
                 enrollees and provided them an opportunity to achieve
                 financial security for themselves and their families
                 and contribute to the economic stability of their
                 communities through homeownership. They made
                 these significant and life changing investments in
                 reliance on DACA.

                   19
                     See, e.g., U.S. Dep’t of Housing and Urb. Dev., The National
                 Homeownership Strategy: Partners in the American Dream
                 (1995).




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                                          18
                   The online real estate database company Zillow
                 estimates that 123,000 DACA enrollees are home-
                 owners and, indeed, purchased their homes after their
                 DACA applications had been approved.20 Similarly, a
                 survey of DACA recipients conducted by the Center for
                 American Progress found that 19 percent of respond-
                 ents age 25 and older purchased their first home after
                 being granted DACA.21
                   DACA made it possible for these individuals to
                 establish roots and purchase homes thanks to access
                 to credit, which was previously unavailable to them.
                 Lending institutions extended this credit and offered
                 mortgages to enrollees in complete reliance on DACA.
                 In relying on the same, DACA participants make
                 $613.8 million in annual mortgage payments. These
                 transactions and their underlying commitments were
                 based on the fundamental understanding that the
                 government would not, without due consideration,
                 terminate the program and upend the lives of tens of
                 thousands of individuals.
                   Further, through homeownership, DACA recipients
                 “pay an estimated $380 million a year in property
                 taxes to their communities.”22 As tenants, DACA



                   20
                      Alexander Casey, An Estimated 123,000 ‘Dreamers’ Own
                 Homes and Pay $380M in Property Taxes, Zillow (Sept. 20, 2017),
                 https://www.zillow.com/research/daca-homeowners-380m-taxes-
                 16629/.
                   21
                      Tom K. Wong et al., DACA Recipients’ Livelihoods, Families,
                 and Sense of Security Are at Stake This November, Ctr. For Am.
                 Progress (Sept. 19, 2019), https://www.americanprogress.org/iss
                 ues/immigration/news/2019/09/19/474636/daca-recipients-livelih
                 oods-families-sense-security-stake-november/.
                   22
                        See Casey, supra n.20.




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                                          19
                 enrollees contribute $2.3 billion in rental payments
                 annually. Communities that benefit, even depend, on
                 the property tax revenues from these DACA recipient
                 homeowners will, in turn, be financially upended.
                    Creating a pathway to homeownership is particu-
                 larly important for communities of color that continue
                 to suffer as a result of the widening racial and ethnic
                 wealth gap in this country. Owning a home is often
                 the largest investment families make. Yet, only 47
                 percent of Hispanics own a home compared to 73 percent
                 of whites.23 DACA allowed undocumented immigrants
                 who had previously faced barriers to homeownership
                 because of their status to accumulate long-term wealth
                 and security in reliance on the government’s represen-
                 tations and DACA’s promulgation. The government’s
                 decision to rescind DACA threatens to strip these
                 individuals of their most valuable investments without
                 any consideration of their reliance interests.
                        C. Promises of “Expedited Citizenship”
                           for DACA Enrollees Serving Vital
                           Military Interests
                   DACA enrollees have also relied on a military
                 program established in 2008 that provides the promise
                 of “expedited citizenship” opportunities in exchange
                 for service vital to the national interest. The Military
                 Accessions Vital to the National Interest (“MAVNI”)
                 program offers fast-tracked citizenship review for
                 enrollees, “whose skills are considered to be vital to the
                 national interest,” such as “physicians, nurses, and



                   23
                    U.S. Census Bureau, Quarterly Residential Vacancies And
                 Homeownership, Fourth Quarter 2017 (Jan. 30, 2018), https://
                 www.census.gov/housing/hvs/files/currenthvspress.pdf.




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                                          20
                 certain experts in language with associated cultural
                 backgrounds.”24
                    The Defense Department’s MAVNI materials entice
                 recruits with the “opportunity of early citizenship” to
                 “recognize their contribution and sacrifice.” Id. at 2.
                 According to a Defense Department MAVNI fact sheet,
                 “[t]the Law ensures” that such contribution and
                 sacrifice be recognized. Id. In testimony to Congress,
                 the Defense Department made clear the benefit from
                 service in the MAVNI program: “This program recruits
                 legal non-citizens with critical foreign language and
                 cultural skills, as well as licensed healthcare profes-
                 sionals, and as an additional incentive, they receive
                 expedited U.S. citizenship processing in return for
                 their service.”25
                   Beginning in 2014, the Defense Department granted
                 DACA enrollees eligibility to apply for the MAVNI
                 program.26 At the time of rescission, the Defense
                 Department estimated that up to 900 DACA recipients
                 were either serving or had signed contracts to serve
                 through MAVNI.27


                   24
                      See Dep’t of Def., Military Accessions Vital to National
                 Interest (MAVNI) Recruitment Pilot Program, https://www.defe
                 nse.gov/news/MAVNI-Fact-Sheet.pdf.
                   25
                      Statement of Nancy E. Weaver, Department of Defense
                 Senior Language Authority, Before the House Armed Services
                 Committee Subcommittee on Oversight and Investigations, June
                 29, 2010, http://prhome.defense.gov/Portals/52/Documents/RFM/
                 Readiness/DLNSEO/docs/Weaver%20Testimony%20062910.pdf
                 (emphasis added).
                   26
                        See MAVNI Fact Sheet, supra n. 24.
                   27
                      Alex Horton, The Military Looked to ‘Dreamers’ to Use Their
                 Vital Skills. Now the U.S. Might Deport Them. Wash. Post (Sept.
                 7, 2017), https://www.washingtonpost.com/news/checkpoint/wp/




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                                             21
                    DACA enlistees in the MAVNI program have been
                 left in limbo by the government’s decision to rescind
                 DACA, not knowing whether they will be permitted to
                 carry out their service or be deported, let alone receive
                 early citizenship review as promised. Moreover,
                 DACA enlistees in MAVNI have provided extensive
                 information to the federal government through the
                 enrollment process and are in constant contact with
                 the military (or are already in service), making them
                 particularly vulnerable to deportation proceedings.
                 Worse still, deportation could result in enrollees facing
                 the most serious of consequences, including “harsh
                 treatment or interrogation” by foreign adversaries.28
                   The administrative record is devoid of any consid-
                 eration whatsoever of the military’s promises and the
                 reliance thereon by DACA enrollees in the MAVNI
                 program. Termination of the DACA program without
                 consideration of these serious reliance interests and
                 those described above is arbitrary and capricious
                 under the APA.




                 2017/09/07/the-military-looked-to-dreamers-to-use-their-vital-skills-
                 now-the-u-s-might-deport-them/.
                   28
                        See id.




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                                          22
                                      CONCLUSION
                   For the foregoing reasons, amici urge this Court to
                 affirm the decisions of the lower courts to enjoin the
                 rescission of DACA.

                                                 Respectfully Submitted,

                 KRISTEN CLARKE                  WILLIAM D. COSTON
                 JON GREENBAUM                     Counsel of Record
                 DARIELY RODRIGUEZ               MARTIN L. SAAD
                 DORIAN SPENCE                   SAMEER P. SHEIKH
                 PHYLICIA H. HILL                VENABLE LLP
                 MARYUM JORDAN                   600 Massachusetts Ave NW
                 LAWYERS’ COMMITTEE FOR          Washington, DC 20001
                   CIVIL RIGHTS UNDER LAW        (202) 344-4813
                 1500 K Street NW, Suite 900     wdcoston@venable.com
                 Washington, DC 20005
                 (202) 662-8600
                                   Counsel for Amici Curiae
                 October 4, 2019




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                                   APPENDIX




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                                      1a
                        APPENDIX: LIST OF AMICI CURIAE
                       42 Other Social Justice Organizations
                 1.   Advocates for Youth
                 2.   Andrew Goodman Foundation
                 3.   Arab American Institute
                 4.   Asian & Pacific Islander American Health Forum
                 5.   The Asian American Legal Defense and
                      Education Fund
                 6.   Bend the Arc: A Jewish Partnership for Justice
                 7.   Center for Responsible Lending
                 8.   Center for the Study of Hate & Extremism
                 9.   Coalition for Disability Health Equity
                 10. Disability Rights Education & Defense Fund
                 11. Equal Justice Society
                 12. Equality California
                 13. Farmworker Justice
                 14. Hispanic National Bar Association
                 15. Human Rights Campaign
                 16. In Our Own Voice: National Black Women’s
                     Reproductive Justice Agenda
                 17. Jewish Council for Public Affairs
                 18. Juvenile Law Center
                 19. League of Women Voters of the United States
                 20. Legal Aid at Work
                 21. Matthew Shepard Foundation
                 22. The Mississippi Center for Justice




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                                          2a
                 23. National Association of Human Rights Workers
                 24. National Center for Lesbian Rights
                 25. National Coalition for Asian Pacific American
                     Community Development
                 26. National Council on Independent Living
                 27. National Employment Law Project
                 28. National Employment Lawyers Association
                 29. National Heath Law Program
                 30. National Hispanic Media Coalition
                 31. National Partnership for Women & Families
                 32. National Women’s Law Center
                 33. OCA - Asian Pacific American Advocates
                 34. People For the American Way Foundation
                 35. Self-Help Federal Credit Union
                 36. Silver State Equality-Nevada
                 37. The Southern Poverty Law Center
                 38. The Employee Rights Advocacy Institute for Law
                     & Policy
                 39. The Sikh Coalition
                 40. UnidosUS
                 41. Voto Latino
                 42. Young Women’s Christian Association USA




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                  d
                 Nos. 18-587, 18-588, 18-589

                             IN THE

Supreme Court of the United States
         DEPARTMENT OF HOMELAND SECURITY, et al.,
                             —v.—                     Petitioners,

      REGENTS OF THE UNIVERSITY OF CALIFORNIA, et al.,
                                                    Respondents.
             (Caption continued on inside cover)

        ON WRITS OF CERTIORARI TO THE UNITED STATES COURT
OF APPEALS FOR THE NINTH, DISTRICT OF COLUMBIA AND SECOND CIRCUITS


      BRIEF OF AMICI CURIAE 127 RELIGIOUS
   ORGANIZATIONS IN SUPPORT OF RESPONDENTS


                                   STEVEN A. ZALESIN
                                     Counsel of Record
                                   ADEEL A. MANGI
                                   MICHAEL N. FRESCO
                                   MOHAMMED A. BADAT
                                   PATTERSON BELKNAP WEBB
                                     & TYLER LLP
                                   1133 Avenue of the Americas
                                   New York, New York 10036
                                   (212) 336-2000
                                   sazalesin@pbwt.com
                                   FARHANA KHERA
                                   JUVARIA KHAN
                                   MUSLIM ADVOCATES
                                   P.O. Box 34440
                                   Washington, DC 20043
                                   (202) 897-2622
                                   Attorneys for Amici Curiae




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                    DONALD J. TRUMP, PRESIDENT OF THE UNITED STATES, et al.,

                                             —v.—                 Petitioners,

                                 NATIONAL ASSOCIATION FOR
                         THE ADVANCEMENT OF COLORED PEOPLE, et al.,
                                                                 Respondents.

                          KEVIN K. MCALEENAN, ACTING SECRETARY OF
                                  HOMELAND SECURITY, et al.,
                                                               Petitioners,
                                           —v.—

                             MARTIN JONATHAN BATALLA VIDAL, et al.,
                                                                 Respondents.




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                           INTERESTS OF AMICI CURIAE1

                     Led by the Muslim Bar Association of New York,
                 amici are more than 100 U.S. religious or religiously-
                 affiliated organizations who represent a wide array
                 of faiths and denominations.          Amici include
                 congregations and houses of worship as well as
                 professional, civil liberties, and immigrant rights
                 groups who work with or represent faith
                 communities (“Religious Organizations”).        Amici
                 have long supported Deferred Action for Childhood
                 Arrivals (“DACA”) as a compassionate and
                 appropriate response to the humanitarian crisis
                 posed by the hundreds of thousands of
                 undocumented people brought to this country as
                 children, before they could make choices of their own.
                 Amici believe that the arbitrary rescission of DACA
                 will indelibly harm the vitality of their spiritual
                 communities, including by forcing committed
                 members of their congregations and organizations to
                 leave the country or return to the shadows. Indeed,
                 certain amici have committed to providing sanctuary
                 to those targeted for deportation.

                    Amici are:     Albuquerque Mennonite Church;
                 Albuquerque Monthly Meeting of the Religious
                 Society of Friends (Quakers); The American
                 Association of Jewish Lawyers and Jurists; American
                 1 Pursuant to Sup. Ct. R. 37.6, counsel for amici curiae
                 represent that they have authored the entirety of this brief, and
                 that no person other than the amici curiae or their counsel has
                 made a monetary contribution to the preparation or submission
                 of this brief. All parties in each of the three cases have
                 provided consent for amici curiae to file this brief.




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                 Baptist Church of the Rochester/Genesee Region;
                 American Baptist Churches of Metropolitan New
                 York; American Friends Service Committee; Ansche
                 Chesed, New York City; American Jewish
                 Committee; Arch Street United Methodist Church;
                 Association of Muslim American Lawyers; Cabrini
                 Immigrant Services of NYC; Campus Ministry of
                 Roman Catholic Archdiocese of New York at Hostos
                 and Bronx Community College of City University of
                 New York; Capital Area Muslim Bar Association;
                 Catholic Charities Community Services of the
                 Archdiocese of New York; Catholic Charities,
                 Trenton, NJ; Catholic Legal Services, Archdiocese of
                 Miami, Inc.; Central Conference of American Rabbis;
                 Church Council of Greater Seattle; Church of Our
                 Redeemer in Lexington, Massachusetts; Church of
                 Our Saviour/La Iglesia de Nuestro Salvador
                 (Cincinnati, Ohio); Congregation Action Network;
                 Congregation B’nai Jeshurun (New York City);
                 Congregation Beit Simchat Torah; Congregation
                 Shaarei     Shamayim       (Madison,     Wisconsin);
                 Congregation of Our Lady of Charity of the Good
                 Shepherd, US Provinces; Council of Churches of the
                 City of New York; Council on American-Islamic
                 Relations (National); Council on American-Islamic
                 Relations – California Chapter; Council on
                 American-Islamic Relations – Michigan Chapter;
                 Council of American-Islamic Relations – New Jersey
                 Chapter; Council of American-Islamic Relations –
                 New York Chapter; Council on American-Islamic
                 Relations – Oklahoma Chapter; Cuba Presbyterian
                 Church (Presbyterian Church, USA), Cuba, New
                 Mexico; Daughters of Charity of St. Vincent de Paul;
                 Degrees of Change; Dominican Development Center;
                 East End Temple (New York City); El Paso Monthly




                                                                           AR6055
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                                           3

                 Meeting of the Religious Society of Friends; Emgage;
                 Episcopal City Mission; Episcopal Diocese of Long
                 Island; Episcopal Diocese of Massachusetts;
                 Episcopal Diocese of New York; Episcopal Diocese of
                 Rochester;    Episcopal     Dioceses    of    Western
                 Massachusetts;     Episcopal    Society    of   Christ
                 Church/The Christ Church Cathedral, Cincinnati,
                 Ohio; Faith in New Jersey; First Congregational
                 Church of Kalamazoo; First Congregational United
                 Church of Christ (Albuquerque, New Mexico); First
                 Unitarian Church of Portland, Oregon; First
                 Unitarian Congregational Society in Brooklyn; New
                 Mexico; Franciscan Friars of the Province of St.
                 Barbara; Global Justice Institute; Ignatian Solidarity
                 Network; Hawaii Conference of the United Church of
                 Christ; Hyattsville Mennonite Church; ICNA Council
                 for Social Justice; Interfaith Alliance of Iowa; Iowa
                 Conference of the United Church of Christ; Islamic
                 Circle of North America; Islamic Society of Central
                 Jersey; Jewish Center for Justice; Keshet; Lab/Shul;
                 Leadership Conference of Women Religious; Legal
                 Advocacy    Project    of    Unitarian    Universalist
                 FaithAction of New Jersey; Living Interfaith Church
                 of Lynnwood, WA; Lutheran Immigration and
                 Refugees Service; Maryknoll Office for Global
                 Concerns; Metropolitan New York Synod of the
                 Evangelical Lutheran Church in America; Men of
                 Reform Judaism; Muslim Advocates; Muslim Bar
                 Association of New York; Muslim Public Affairs
                 Council; Muslim Urban Professionals (Muppies);
                 Muslims for Progressive Values; National Advocacy
                 Center of the Sisters of the Good Shepherd; National
                 Council of Jewish Women; NETWORK Lobby for
                 Catholic Social Justice; New Mexico Faith Coalition
                 for Immigrant Justice; New Sanctuary Coalition;




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                 New York Annual Conference Immigration Task
                 Force of the United Methodist Church; New York
                 Board of Rabbis; New York Conference United
                 Church of Christ; New York State Council of
                 Churches; New York Yearly Meeting, the Religious
                 Society of Friends (Quakers); Northern California
                 Nevada Conference of the United Church of Christ;
                 Oregon Interfaith Movement for Immigrant Justice;
                 Pacific Northwest Conference of the United Church
                 of Christ; Pax Christi Metro New York; Pax Christi,
                 USA; Presbyterian Church (U.S.A.); Presentation
                 Sisters at Caminando Juntos; Province of St. Mary of
                 the Capuchin Order; Queens Federation of Churches;
                 The Rabbinic Call for Human Rights; The Reform
                 Temple of Forest Hills; Religious Institute; Romemu;
                 San Bernardino Community Service Center, Inc.;
                 Santa Fe Monthly Meeting of the Religious Society of
                 Friends (Quakers); Sisterhood of Salaam Shalom,
                 Society for the Advancement of Judaism; Southwest
                 Conference of the United Church of Christ; St.
                 Andrew Presbyterian Church in Albuquerque, New
                 Mexico; St. Francis Community Services / Catholic
                 Legal Assistance Ministry; St. Luke’s Episcopal
                 Church in Long Beach; St. Peter’s Church,
                 Evangelical Lutheran Church in America;           St.
                 Stephen’s Episcopal Church in Boston; Stephen Wise
                 Free Synagogue; Synod of the Northeast PCUSA;
                 T’ruah: Temple Israel of Hollywood (CA); Temple Ner
                 Tamid of Bloomfield, New Jersey; Temple Sinai
                 (Washington, DC); Town and Village Synagogue,
                 New York, New York; Trinity Church Wall Street;
                 Union for Reform Judaism, including Reform Jewish
                 Voice of New York State; Unitarian Universalist
                 Mass Action Network; Unitarian Universalist
                 Service Committee; Unitarian Universalists for




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                 Social Justice; United Methodist Women; University
                 Christian Ministry at Northwestern University;
                 Visitation    BVM      Church    in  Philadelphia,
                 Pennsylvania; West End Synagogue (New York City);
                 Westminster Presbyterian Church of Santa Fe;
                 Women of Reform Judaism; and The Workmen’s
                 Circle.

                         SUMMARY OF THE ARGUMENT

                     Since DACA’s inception in 2012, American
                 religious communities of many faiths have supported
                 the program as a just and compassionate response to
                 a moral and humanitarian crisis. The children and
                 young adults eligible for and currently receiving the
                 benefits of DACA status (often referred to as
                 “Dreamers”) were, in most cases, brought to this
                 country as children by their parents. They have
                 lived most of their lives in the United States,
                 typically with no memory of any other home. Only
                 young people who have pursued education or served
                 in our military, and have no significant criminal
                 record, are eligible for DACA status. Yet they now
                 face deportation to often dangerous and unfamiliar
                 places, or a life in the undocumented shadows.

                     Amici believe, on the basis of faith and morality,
                 that these children and young adults must be
                 protected. Amici therefore offer this brief in support
                 of Respondents in order to address how, in their
                 view, the Government’s proposed termination of
                 DACA (the “Termination Memo”) would cause
                 irreparable harm and constitute a severe detriment
                 to the public. Amici have firsthand knowledge of the
                 valuable contributions to faith and community made




                                                                           AR6058
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                 by DACA recipients and understand all too well the
                 harm that the termination of DACA would cause.
                 For example, ending DACA would put Nancy, an
                 Associate Rector at amicus St. Luke’s Episcopal
                 Church in Long Beach, California, who came to the
                 United States from Mexico at age seven, at risk of
                 deportation. Amici detail the stories of Nancy and
                 others like her in Section II(A) below to provide the
                 Court with a sample of the lives that are at risk of
                 being upended. Amici also know, because of their
                 religious and charitable work in Latin America and
                 other regions, the challenges and dangers these
                 young people face if they are deported.

                    Amici also have a direct stake in these issues
                 beyond their religious concerns and the protection of
                 their congregants. First, amici stand to lose the
                 substantial benefits they currently enjoy as a result
                 of the varied contributions that DACA recipients
                 make to their congregations and institutions.

                    Second, if the Termination Memo is carried out
                 and DACA recipients and DACA-eligible individuals
                 are forced into hiding, amici will suffer an
                 impairment of their ability to carry out their core
                 mission to provide spiritual guidance and general
                 assistance to people of all backgrounds and faiths.

                    Third, many amici have and will continue to offer
                 sanctuary to those facing deportation.         Amici’s
                 churches, mosques, and synagogues are ostensibly
                 designated by U.S. Immigration and Customs
                 Enforcement (“ICE”) as sensitive locations to be
                 avoided by enforcement officials, but ICE has shown a
                 growing willingness to target and exploit, rather than




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                 avoid, sensitive locations. Amici will be on the front
                 line of this conflict if DACA is rescinded: honoring
                 their convictions to protect DACA recipients will risk
                 ICE raids on or around their houses of worship.

                    For the reasons set forth herein and in
                 Respondents’ and other amici’s briefs, amici urge the
                 Court to affirm the lower courts’ decisions enjoining
                 the implementation of the Termination Memo and
                 holding that it was unlawful.

                                     ARGUMENT

                     The lower courts prohibited the Government from
                 proceeding with its planned termination of DACA. In
                 Case Nos. 18-587 and 18-589, the lower courts found
                 that Respondents demonstrated (1) a likelihood of
                 success on the merits of their claims under the
                 Administrative Procedure Act, (2) irreparable harm,
                 and (3) that the balance of equities and the public
                 interest favored injunctive relief. In Case No. 18-588,
                 the lower court vacated the Termination Memo, finding
                 that it was arbitrary and capricious. Amici endorse the
                 lower courts’ holdings and the arguments set forth by
                 Respondents, and submit this brief to further illustrate
                 the irreparable harm that implementation of the
                 Termination Memo would cause.

                 I. RELIGIOUS ORGANIZATIONS SUPPORT
                    DACA AS A JUST RESPONSE TO
                    A HUMANITARIAN CRISIS

                      Amici object to the Government’s arbitrary and
                 ill-reasoned decision to rescind DACA on moral,
                 spiritual, and religious grounds. Although they




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                 represent different faiths and denominations, amici
                 are in unequivocal agreement that DACA is a force
                 for good in our society that should be protected. As
                 amicus Catholic Charities Community Services of
                 the Archdiocese of New York explains, “DACA is an
                 important first step to acknowledging and growing
                 the human and social contributions and needs of
                 young immigrants and of our own communities.”2
                 Those who are eligible for DACA or who already
                 benefit from it “were brought to the United States”
                 by their parents, “now have established roots, have
                 built families, have contributed to their communities
                 of faith, work, and family,” and their “energy, spirit,
                 life, and heart are part of this nation, which can only
                 benefit from their continued participation.”

                    For many amici, these convictions are deeply
                 rooted in their faith and moral principles. Temple
                 Sinai of Washington D.C., for example, believes that
                 “as a Jewish institution, Biblical texts and our
                 Jewish history inform our position on modern day
                 immigration policy. Leviticus 19 explicitly says,
                 ‘When a stranger sojourns with you in your land, you
                 shall do him no wrong.’” St. Luke’s Episcopal
                 Church in Long Beach, California, similarly states
                 that “for us, this is a biblical rather than a political
                 issue.” And as the Catholic mission Maryknoll
                 attests, “recognizing the hardships and struggles of
                 immigrant families, and the tremendous economic

                 2 Quotes from amici herein are drawn from interviews
                 conducted by counsel in November and December 2017 to
                 provide the Court with a fuller understanding of how DACA has
                 impacted American religious communities.




                                                                                 AR6061
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                 and social contributions Dreamers make to the
                 United States, we feel it is unethical to send
                 Dreamers back to countries they hardly know, as
                 well as a senseless loss to our nation.”

                    For others still, supporting DACA is part of their
                 social justice mission. Christ Church Cathedral in
                 Cincinnati has, in light of the Government’s
                 immigration policy priorities, “focused its social
                 justice concerns on matters of immigration and the
                 impact that deportations or the repeal of DACA will
                 have on God’s children.”

                    Amici and groups like them have, accordingly,
                 objected vocally to the arbitrary repeal of the DACA
                 program.     On September 5, 2017, when the
                 Government announced its decision to terminate
                 DACA, countless religious groups and leaders
                 released statements of condemnation. The United
                 States Conference of Catholic Bishops publicly called
                 the decision “reprehensible,” “unacceptable,” and “a
                 heartbreaking moment in our history that shows the
                 absence of mercy and good will.”3 Amicus Council on
                 American-Islamic Relations described the move as a
                 “heartless action [that] will only serve to create fear
                 and anxiety for the Dreamers and their loved ones,
                 and will force them back to living in the shadows,
                 rendering them unable to contribute to our nation’s

                 3 United States Conference of Catholic Bishops, USCCB
                 President, Vice President and Committee Chairmen Denounce
                 Administration’s Decision to End DACA and Strongly Urge
                 Congress        to      Find       Legislative        Solution,
                 http://www.usccb.org/news/2017/17-157.cfm (Sept. 5, 2017).




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                                               10

                 economy.”4 And amici Union for Reform Judaism
                 and Central Conference of American Rabbis declared
                 it “morally misguided and poor public policy,” noting
                 that “Judaism demands that we welcome the
                 stranger and compels us to work for a just
                 immigration system.”5

                     Amici   agree     wholeheartedly       with    these
                 statements. Rev. Robin Hynicka of amicus Arch
                 Street United Methodist Church (“UMC”) in
                 Philadelphia, for example, describes the “mythology
                 surrounding why people migrate” as a campaign to
                 “criminalize immigration” and to paint all
                 immigrants as “bad,” when in fact the “the real
                 reasons for these migrations are not listened to,
                 considered, or understood.” He explains: “From a
                 faith perspective, we take a baptismal vow that
                 states we will resist evil, injustice, and oppression in
                 any form in which it presents itself. The current
                 immigration system and the move to end DACA
                 create unjust circumstances, made manifest in
                 human suffering. The attempt to crack down on
                 Dreamers is a serious, cynical, evil action that has

                 4 Council on American-Islamic Relations, CAIR Condemns
                 Trump’s Termination of DACA Program as ‘Pandering to Anti-
                 Immigrant      Extremists’,  https://www.cair.com/press-center/
                 press-releases/14582-cair-condemns-trump-s-termination-of-
                 daca-program-as-pandering-to-anti-immigrant-extremists.html
                 (Sept. 5, 2017).

                 5 Religious Action Center of Reform Judaism, Reform Jewish
                 Movement Assails White House Targeting of Immigrant Youth,
                 https://rac.org/reform-jewish-movement-assails-white-house-
                 targeting-immigrant-youth (Sept. 5, 2017).




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                 nothing to do with safety or justice. We have a
                 theological and moral obligation to oppose these
                 forces.”

                     Amici include entities that have taken active
                 steps to protect Dreamers. A nation-wide, interfaith
                 network of communities and congregations known as
                 the New Sanctuary Movement, of which many amici
                 are a part, have pledged to stand in solidarity with
                 immigrants facing deportation.6         These groups
                 provide preparedness training and legal counseling
                 and referrals; accompany individuals to immigration
                 hearings; run awareness programs and panel
                 discussions; and conduct advocacy aimed at
                 supporting immigrant communities through the lens
                 of faith. Amicus New Mexico Faith Coalition for
                 Immigrant Justice, for example, provides these
                 services “in order to create better immigration laws
                 and a more just system that supports the well-being
                 of all,” and employs two DACA recipients in their
                 three-person office.        Similarly, amicus New
                 Sanctuary Coalition is an interfaith network working
                 “to reform immigration enforcement practices and
                 policies, both locally and nationally, with a special
                 focus on preserving family unity.” As explained
                 below, many amici and congregations like them have
                 offered themselves as places of sanctuary, providing
                 shelter to those targeted for deportation actions.

                   Amici thus oppose with deep conviction the
                 Government’s arbitrary decision to terminate DACA.

                 6 See Sanctuary Movement,

                 http://www.sanctuarynotdeportation.org/.




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                 As institutions of faith with a special interest in
                 serving vulnerable immigrant populations, amici
                 have direct knowledge of the harm that the
                 Government’s actions will cause to them and the
                 people with whom they live, work, and worship.

                 II. TERMINATION OF DACA WILL CAUSE
                     AMICI, THEIR CONGREGATIONS, AND
                     THEIR COMMUNITIES IRREPARABLE
                     HARM AND POSES A GRAVE THREAT TO
                     PUBLIC WELFARE

                    The arbitrary termination of DACA will not only
                 imperil Respondents, it will directly harm amici and
                 their congregants, clergy members, staff, clients, and
                 communities.      In the words of amicus Church
                 Council of Greater Seattle, “DACA-recipients are our
                 brothers and sisters, relatives, service-providers,
                 congregational members, initiators of small business,
                 and protectors of our communities and nation,” and
                 the Government’s actions would “deprive hopeful and
                 patriotic men and women of the opportunity to
                 exercise their hopes and dreams, to the detriment of
                 the common good.” Like our society at large, faith
                 communities, according to the Albuquerque Monthly
                 Meeting of the Religious Society of Friends
                 (Quakers), “stand to lose the tremendous investment
                 made over many years to bring DACA recipients into
                 adulthood with skills and multicultural perspectives
                 that are sorely needed by the larger community and
                 the nation.”

                    The Government’s planned actions would cause
                 harm on various levels. First, DACA recipients are
                 vital members of amici’s congregations and




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                 workforces whose loss of status will not only disrupt
                 their lives, but harm amici who benefit from their
                 participation. Second, termination of the DACA
                 program will impair the ability of amici and other
                 religiously-affiliated organizations to carry out their
                 missions to help people of all backgrounds and faiths.
                 Third, as institutions of faith and sensitive locations
                 for immigration enforcement purposes, many amici
                 face the grim prospect that following their spiritual
                 calling to provide sanctuary for targeted Dreamers
                 will result in the religious entities themselves being
                 targeted by immigration enforcement authorities, a
                 concern that would increase dramatically with the
                 termination of DACA.

                    A. Direct Harm to Amici and Their
                       Congregants

                    To illustrate the irreparable harm at issue in this
                 case, amici provide the Court with the following
                 examples of individual DACA recipients brought to
                 this country as children who have enriched their
                 communities, organizations and congregations.

                    Nancy.7 Nancy, Associate Rector at amicus St.
                 Luke’s Episcopal Church in Long Beach, California,
                 came to the United States from Mexico at age seven.
                 Like many Dreamers, Nancy did not know she was
                 undocumented until her junior year of high school,
                 when she applied to college and learned what a social
                 7 Declarations from the individual DACA recipients attesting to

                 the information presented here are on file with counsel. The
                 last names of these individuals have been withheld here to
                 protect their privacy.




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                 security number was—and that she did not have one.
                 Nancy describes her life after learning her
                 immigration status as “in the shadows”; she could
                 not get a driver’s license, and could not drive a car
                 for fear of getting pulled over and risking
                 deportation. For a teenager in Los Angeles, this was
                 no idle fear.

                    Nonetheless, Nancy was active in her community.
                 The Episcopal Church served as an extended family
                 during her childhood, and by the time she turned 17
                 Nancy led the largest youth group in the Episcopal
                 Diocese of Los Angeles. So great was her dedication
                 that the Church paid for her tuition to college and
                 seminary school, where she obtained a Master’s of
                 Divinity degree.     After obtaining DACA status,
                 Nancy was able to fulfill her dream of becoming an
                 ordained Episcopal minister. Today, Nancy is the
                 associate rector at amicus St. Luke’s Episcopal
                 Church, and the Diocese of Los Angeles’s first Latina
                 leader to have grown up in a Spanish-speaking
                 Episcopal Church and gone on to pursue ordination.
                 At St. Luke’s, she is actively involved in immigrants’
                 rights activism and education initiatives.

                    For Nancy, the Government’s announcement on
                 September 5, 2017 was “a moment of complete fear
                 and hopelessness.” She and others like her have
                 “made a life here, trusted the system and tried to do
                 things the right way,” but now “run the risk that we
                 will be hunted down and sent to a country that we do
                 not know.”

                    Rafael. Brought to Los Angeles at three years
                 old, Rafael, an office assistant with amicus New




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                 Mexico Faith Coalition for Immigrant Justice, was
                 born in Guanajuato, Mexico.        Rafael’s parents,
                 having risked everything to bring him to the United
                 States, sought to instill in him the values of hard
                 work and education.        They succeeded.    Rafael
                 completed a Bachelor’s Degree with a double major
                 in History and Chicano Studies from California State
                 University Dominguez Hills while working full time
                 to pay his tuition and support himself.        After
                 obtaining DACA status, Rafael went on to obtain a
                 Master’s Degree in American Studies at the
                 University of New Mexico, where he is now a Ph.D.
                 candidate and an instructor.

                    Rafael’s parents also instilled in him the values of
                 Catholicism.       He believes that faith-based
                 organizations “fill the gaps of social justice and
                 service that many times nation-states do not offer.”
                 As such, he works for amicus New Mexico Faith
                 Coalition for Immigrant Justice as an office
                 assistant. Rafael is proud to contribute to their
                 work, which he sees as fulfilling community needs
                 and a natural expression of his Catholic faith.

                     For Rafael, the end of DACA represents drastic
                 and dangerous change. It spells the end of access to
                 the work that he loves and a halt to his career after
                 graduation. Moreover, it means “going back to living
                 in the reality of survival mode,” forever uncertain of
                 his place and permanence in his own home, and
                 without opportunity to flourish and grow.

                    Andrea. Andrea is a legal assistant at amicus
                 American Friends Service Committee. Andrea was
                 born and baptized in Ecuador, but brought to New




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                 Jersey by her parents when she was a year and a
                 half old. Andrea grew up in the Catholic Church.
                 She went to Sunday school, took First Communion,
                 and received Confirmation at her church in the
                 Newark area, where she continues to volunteer in
                 youth groups and for fundraising activities.

                    Andrea’s parents, like many parents of Dreamers,
                 prioritized her education. Knowing she could not
                 obtain financial aid, Andrea’s parents, both union
                 members, carefully saved. After Andrea earned a
                 paralegal degree from community college, her
                 parents put her through Rutgers University’s
                 undergraduate program. Nonetheless, until DACA,
                 Andrea’s life was one of fear and constraint. She
                 kept her undocumented status secret, and had to
                 refrain from the normal day-to-day activities and
                 jobs that her friends freely engaged in.

                    Andrea graduated from Rutgers summa cum
                 laude. After she obtained DACA status, she was
                 hired as a paralegal at a law firm, and was proud to
                 have a job and a salary. Andrea’s dream is to go to
                 law school in the United States. For her, the end of
                 DACA puts her dream in doubt and threatens to
                 send her to Ecuador, a place in which she has never
                 set foot since she was an infant. In the face of this
                 peril, Andrea maintains, “I love this country and I
                 can’t imagine living elsewhere.”

                                       *   *    *

                    The harm that these individuals would suffer as a
                 result of their loss of DACA status is readily
                 apparent. See Nunez v. Boldin, 537 F. Supp. 578,




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                 587 (S.D. Tex. 1982) (“Deportation to a country
                 where one’s life would be threatened obviously would
                 result in irreparable injury.”); Kalaw v. Ferro, 651 F.
                 Supp. 1163, 1167 (W.D.N.Y. 1987) (enjoining
                 deportation proceeding and finding irreparable harm
                 because “petitioner’s deportation would make her
                 ineligible for any subsequent application for
                 legalization”). Amici would be harmed as well; not
                 only do people like Nancy, Rafael, and Andrea
                 contribute richly to religious and faith-based
                 organizations through their own individual efforts,
                 they serve as mentors and inspire others to give back
                 to institutions from which they have benefitted. If
                 the Termination Memo goes into effect, nearly
                 800,000 Dreamers—many with stories similar to the
                 three detailed above—will be forced out of the
                 country or into hiding. Amici will suffer incalculable
                 harm if they are deprived of the contributions and
                 talents of these young congregants and community
                 members.

                    Moreover, as amici know from their work in other
                 parts of the world, Dreamers deported would face
                 tremendous challenges and even physical danger.
                 For example, Gerry Lee and others from amicus
                 Maryknoll Office for Global Concerns have lived and
                 worked with impoverished families in Mexico, El
                 Salvador, Guatemala, and other countries to which
                 DACA recipients face deportation. In Haiti, for
                 example, “Maryknoll Sisters have witnessed the bare
                 struggle for post-disaster survival in the massive
                 slums of Cite Soleil, where they help residents
                 subsist from gardens grown in discarded tires on turf
                 fought over by rival gangs.” In El Salvador, a
                 Maryknoll Lay Missioner witnessed “the anger and




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                 pain that pervades communities preyed upon by
                 powerful gangs, where immediate survival forces
                 youth to face grim choices between lives of drugs and
                 guns—or escape.”       In Guatemala, a Maryknoll
                 Father reports on the “rising rates of femicide” and
                 sums up what motivates millions of rural migrants
                 in a single word: “desperation.” And along the U.S.-
                 Mexico border, Maryknoll Missioners hear daily the
                 “stories of desperation from the countries to which
                 many Dreamers might be returned,” namely, that
                 “poverty, starvation, extortion, sexual assault, gang
                 violence, and political oppression are among the
                 conditions cited as triggers to leave.” In one such
                 encounter in Nogales, Sonora, “a man travelling
                 north with his son from Honduras merely pointed
                 south and said, ‘There is no life there anymore.’”
                 Children raised in America knowing no other country
                 should not have to face deportation into such
                 conditions.

                     As the D.C. District Court concluded, in
                 rescinding DACA, the Government failed to consider
                 the important reliance interests of Dreamers.
                 Dreamers have relied on the protected status
                 afforded by DACA to build their futures in the
                 United States, make meaningful contributions to
                 their communities, and develop important, lifelong
                 relationships with others in this country.       The
                 Government broke its end of the bargain it struck
                 with Dreamers by abruptly rescinding DACA. The
                 accounts detailed above highlight how Dreamers
                 have relied on DACA and the profoundly disruptive
                 impact that rescission would have on Dreamers’
                 lives.     The Termination Memo and the
                 administrative record are devoid of any consideration




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                 of these facts. For this reason, and the reasons set
                 forth in Respondents’ brief, the Government’s
                 rescission of DACA is arbitrary and capricious.

                    B. Impairment of Amici’s Ability to Carry
                       out Their Missions

                     It goes without saying that religious and faith-
                 affiliated organizations such as amici play a vital
                 role in society. Countless lives have been uplifted
                 and enriched by the spiritual guidance as well as the
                 material and legal assistance these institutions
                 provide. Immigrants and their families—including
                 children brought to this country at a young age—are
                 among the groups that have benefitted most from the
                 support     furnished   by    amici    and    similar
                 organizations.       By aiding such vulnerable
                 individuals, faith-based organizations including
                 amici have helped to make their entire communities
                 more prosperous, united, and civically engaged than
                 they otherwise would be.

                     Implementation of the Termination Memo would
                 undermine these efforts by making it virtually
                 impossible for amici to continue their outreach to
                 Dreamers and their families, causing amici
                 irreparable harm. See Hawaii v. Trump, 859 F.3d
                 741, 782-83 (finding the “State’s inability to assist in
                 refugee resettlement” to be irreparable harm) (9th
                 Cir.), vacated on other grounds by Trump v. Hawaii,
                 138 S. Ct. 377 (2017); Valle Del Sol Inc. v. Whiting,
                 732 F.3d 1006, 1029 (9th Cir. 2013) (finding
                 irreparable harm where “organizational plaintiffs
                 have shown ongoing harms to their organizational
                 missions”).




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                    Amici cannot reach people in need if those people
                 are hiding in the shadows or have been deported. If
                 the Termination Memo is implemented, amici and
                 similarly-situated organizations will lose their ability
                 carry out their core mission to assist those in the
                 greatest need of help. This will result in the needless
                 suffering not only of at-risk individuals, but of their
                 communities as a whole.

                    C. As Sensitive Locations for Immigration
                       Enforcement Purposes, Some Amici Will
                       Be Called upon to Provide Sanctuary
                       While at the Same Time Risking Being
                       Targeted for Immigration Raids

                     Finally, religiously-affiliated organizations like
                 amici occupy a unique position in matters of
                 immigration enforcement, particularly with respect
                 to DACA.          Pursuant to an October 2011
                 memorandum by then-ICE Director John Morton,
                 ICE is not to engage in immigration enforcement
                 actions such as arrests, interviews, searches, or
                 surveillance at churches, synagogues, mosques, or
                 other    houses     of    worship,    unless   exigent
                 circumstances or other law enforcement purposes
                 exist, or if prior approval is obtained (the “ICE
                 sensitive locations policy”).8 In 2016, while the prior
                 administration was still in office, then-Secretary of
                 8 Memorandum from John Morton, Director, U.S. Immigration

                 and Customs Enforcement to Field Office Directors, Special
                 Agents in Charge, and Chief Counsel (Oct. 24, 2011),
                 https://www.ice.gov/doclib/ero-outreach/pdf/10029.2-policy.pdf.
                 The sensitive locations policy puts the same restrictions on
                 raids at schools, hospitals, and other public settings.




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                 Homeland Security Jeh C. Johnson publicly
                 reiterated that “when enforcing the immigration
                 laws, our personnel will not, except in emergency
                 circumstances, apprehend an individual at a place of
                 worship, a school, a hospital or doctor’s office or other
                 sensitive location.”9 The ICE sensitive locations
                 policy remains in effect today, at least as an official
                 matter.10

                    The ICE sensitive locations policy recognizes that
                 houses of worship are sacred spaces of sanctuary and
                 peace, where community members can go and be
                 without fear of harassment or arrest. Many amici
                 and others like them proudly fulfill that role and
                 have pledged to offer their churches, synagogues, and
                 mosques as sanctuaries to those at risk of
                 deportation.   Temple Sinai DC, Christ Church
                 Cathedral in Cincinnati, St. Luke’s in Long Beach,
                 Arch Street UMC in Philadelphia, Albuquerque
                 Friends Meeting, the many members of amici New
                 Mexico Faith Coalition for Immigrant Justice and
                 New Sanctuary Coalition, and others have publicly
                 declared their status as sanctuary congregations.
                 These organizations maintain dedicated, furnished


                 9  U.S. Dep’t of Homeland Security, Statement by Secretary
                 Jeh     C.   Johnson   on    Southwest       Border Security,
                 https://www.dhs.gov/news/2016/02/02/statement-secretary-jeh-
                 c-johnson-southwest-border-security (Feb. 2, 2016).

                 10 See U.S. Immigration and Customs Enforcement, FAQ
                 on Sensitive Locations and Courthouse Arrests: Does ICE’s
                 policy sensitive locations policy remain in effect?,
                 https://www.ice.gov/ero/enforcement/sensitive-loc.




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                 space for visitors who need protection, and rely on
                 their congregants for support in doing so.

                     In each case, the decision to become a sanctuary
                 congregation is made after careful discussion among
                 congregations and communities, and reflects broad
                 religious consensus on this issue. The Albuquerque
                 Friends Meeting, for example, when called upon to
                 respond to an urgent need for sanctuary by a
                 community member, convened their members and
                 attenders. “Through a process of deep discernment
                 together—and in commitment to our Quaker values
                 of Equality and Community—we were led to a
                 profound sense of Spiritual Unity, meaning we were
                 ‘One in the Spirit,’” and the Meeting collectively
                 committed to providing sanctuary. Many amici
                 reported that these decisions, while weighty, were
                 not difficult to make. When Arch Street UMC was
                 called upon to house a man in danger of immigration
                 detention, “the conversation among the congregation
                 wasn’t ‘will we do this,’ but how?” They provided
                 sanctuary to the man in question for 11 months. In
                 Phoenix, Shadow Rock United Church of Christ
                 provided sanctuary to a man facing deportation
                 whose wife was pregnant and young son was in the
                 midst of leukemia treatment. The church’s reverend
                 stated in a public interview that the man “shouldn’t
                 be prosecuted,” but rather “lifted up, used as an
                 example of what it means to be a father.”11



                 11 CBS News, Undocumented immigrant, father of leukemia
                 patient,     takes    refuge    in    Phoenix     church,
                 https://www.cbsnews.com/news/undocumented-immigrant-
                                                         (footnote continued …)




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                    Under the current administration, however, the
                 parameters and application of the ICE sensitive
                 locations policy are increasingly in doubt. ICE has
                 already begun to target areas adjacent to places of
                 worship for enforcement actions, to worrisome effect.
                 For example, in 2017, on a freezing cold morning in
                 Alexandria, Virginia, a dozen ICE agents surrounded
                 a group of Latino men as they emerged from a
                 church hypothermia shelter where they had spent
                 the night. Six men were arrested and taken away in
                 vans.12 After church leaders demanded and were
                 refused the names and locations of the men taken,
                 Governor Terry McAuliffe and Senator Tim Kaine
                 both sent letters to ICE inquiring about the raid and
                 their enforcement policies near churches.         ICE
                 responded to neither.13 In suburban Illinois, ICE
                 agents tricked a worshiper into leaving a church
                 service—by texting him from his cousin’s cell phone
                 about a fictional car accident—and arrested him at a
                 neighboring McDonald’s. They arrived in unmarked

                 father-of-leukemia-patient-takes-refuge-in-phoenix-church/
                 (Feb. 12, 2018, 7:20 AM).
                 12 Julie Carey, NBC Washington, ICE Agents Arrest Men
                 Leaving      Fairfax      County       Church       Shelter,
                 https://www.nbcwashington.com/news/local/ICE-Agents-Arrest-
                 Men-Leaving-Alexandria-Church-Shelter-413889013.html (Feb.
                 15, 2017).

                 13Alex Emmons, The Intercept, Targeting a Sanctuary: After
                 ICE Stakes Out a Church Homeless Shelter, Charities Worry
                 Immigrants          Will       Fear          Getting        Help,
                 https://theintercept.com/2017/02/27/after-ice-stakes-out-a-
                 church-homeless-shelter-charities-worry-immigrants-will-fear-
                 getting-help/ (Feb. 27, 2017).




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                 cars and wore vests that said “Police.” A retired ICE
                 supervisor, interviewed after the fact, praised this
                 strategy as “actually . . . quite creative.”14

                    ICE has shown a propensity to target sensitive or
                 controversial   locations    other   than   religious
                 institutions as well. In Charlotte, North Carolina,
                 ICE conducted raids and arrests within two miles of
                 a predominantly Latino elementary school.15
                 Students witnessed the arrests as they passed by in
                 school busses.16 In El Paso, Texas, a Latina woman
                 was taken into custody by ICE agents dressed in
                 plain clothes after she left a courtroom in a county
                 courthouse. The criminal complaint filed against her


                 14 Odette Yousef, WBEZ 95.1 Chicago, Amid Deportation Push,

                 Suburban       Church         Grapples       with       Loss,
                 https://www.wbez.org/shows/wbez-news/amid-deportation-push-
                 suburban-church-grapples-with-loss/3d269fc3-04e7-4604-bae4-
                 a376a37410c9 (Feb. 15, 2016).

                 15 Tina Vasquez, Rewire, Have Trump’s Mass Deportations
                 Begun? Immigration Arrests Reported Around the Country,
                 https://rewire.news/article/2017/02/10/trumps-mass-
                 deportations-begin-immigration-arrests-reported-around-
                 country/ (Feb. 10, 2017).

                 16 Qué Pasa Mi Gente, Arrestos de ICE cerca de escuela
                 elemental             de             mayoría            hispana,
                 https://charlotte.quepasanoticias.com/noticias/ciudad/local/arres
                 tos-de-ice-cerca-de-escuela-elemental-de-mayoria-hispana (Feb.
                 9,         2017),         translation        available         at
                 https://translate.google.com/translate?hl=en&sl=es&tl=en&u=h
                 ttps%3A%2F%2Fcharlotte.quepasanoticias.com%2Fnoticias%2
                 Fciudad%2Flocal%2Farrestos-de-ice-cerca-de-escuela-
                 elemental-de-mayoria-hispana.




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                 indicates that ICE knew she was living at a domestic
                 and sexual abuse resource center.17

                    These incidents indicate that instead of abiding
                 by     the    spirit  of   the    sensitive-locations
                 memorandum—that is, to avoid immigration
                 enforcement at sensitive locations—ICE is using
                 houses of worship and other locations as lures for
                 easy, unsuspected surveillance and arrest. This puts
                 amici in the untenable and unacceptable position of
                 at once heeding their faith-based calling to provide
                 sanctuary while at the same time attracting the
                 attention of those who would do harm to the people
                 amici seek to protect. This crisis of conscience has
                 sewn fear and anxiety among amici and their
                 congregants and supporters. These concerns will be
                 greatly exacerbated if the Termination Memo goes
                 into effect and the DACA program is terminated.

                                      CONCLUSION

                     For the reasons set forth above, the Court should
                 affirm the judgments of the United States District
                 Court for the District of Columbia and the Court of
                 Appeals for the Ninth Circuit and the orders of the
                 Eastern District of New York.




                 17  ABC-7 KVIA, Which places are considered ‘sensitive
                 locations’?,       http://www.kvia.com/crime/which-places-are-
                 considered-sensitive-locations/338319025 (Feb. 16, 2017).




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                 October 4, 2019            Respectfully submitted,
                                            STEVEN A. ZALESIN
                                              Counsel of Record
                                            ADEEL A. MANGI
                                            MICHAEL N. FRESCO
                                            MOHAMMED A. BADAT
                                            PATTERSON BELKNAP
                                            WEBB & TYLER LLP
                                            1133 Avenue of the Americas
                                            New York, NY 10036
                                            (212) 336-2000
                                            sazalesin@pbwt.com
                                            FARHANA KHERA
                                            JUVARIA KHAN
                                            MUSLIM ADVOCATES
                                            P.O. BOX 34440
                                            WASHINGTON, DC 20043
                                            (202) 897-2622
                                            Attorneys for Amici Curiae




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                          CERTIFICATE OF COMPLIANCE

                       I hereby certify, pursuant to Rule 33.1(g), that
                 the attached brief is proportionally spaced; uses a
                 typeface (Century Schoolbook) of 12 points; and
                 contains 5,682 words, as counted by Microsoft Office
                 Word 2010, which was used to produce this brief.

                 Dated:       New York, New York
                              October 4, 2019



                                    /s/ Steven A. Zalesin
                                    Steven A. Zalesin
                                    Patterson Belknap Webb &
                                      Tyler LLP
                                    1133 Avenue of the Americas
                                    New York, New York 10036
                                    (212) 336-2000
                                    Attorneys for Amici Curiae




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                              Nos. 18-587, 18-588, 18-589
                                        IN THE
                   Supreme Court_________
                                  of the United States
                      DEPARTMENT OF HOMELAND SECURITY, ET AL.,
                                                 Petitioners,
                                          v.
                   REGENTS OF THE UNIVERSITY OF CALIFORNIA, ET AL.,
                                                 Respondents.
                                      _________
                 DONALD J. TRUMP, PRESIDENT OF THE UNITED STATES, ET AL.,
                                                 Petitioners,
                                          v.
                   NATIONAL ASSOCIATION FOR THE ADVANCEMENT OF
                               COLORED PEOPLE, ET AL.,
                                                 Respondents.
                                      _________
                 KEVIN K. MCALEENAN, ACTING SECRETARY OF HOMELAND
                                   SECURITY, ET AL.,
                                                 Petitioners,
                                          v.
                       MARTIN JONATHAN BATALLA VIDAL, ET AL.,
                                                 Respondents.
                                      _________
                            On Writs of Certiorari to the
                   United States Courts of Appeals for the Ninth,
                     District of Columbia, and Second Circuits
                                      _________
                 BRIEF OF AMERICAN COUNCIL ON EDUCATION AND
                  43 OTHER HIGHER EDUCATION ASSOCIATIONS AS
                    AMICI CURIAE IN SUPPORT OF RESPONDENTS
                                        _________
                                           NEAL K. KATYAL
                                             Counsel of Record
                                           JESSICA L. ELLSWORTH
                                           STEPHANIE J. GOLD
                                           MITCHELL P. REICH
                                           HOGAN LOVELLS US LLP
                                           555 Thirteenth Street, N.W.
                                           Washington, D.C. 20004
                                           (202) 637-5600
                                           neal.katyal@hoganlovells.com
                   Counsel for Amici Curiae American Council on Educa-
                    tion and 43 Other Higher Education Associations




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                              STATEMENT OF INTEREST
                   Amici are 44 associations of colleges, universities,
                 educators, trustees, and other representatives of
                 several thousand institutions of higher education in
                 the United States. Amici represent public, inde-
                 pendent, large, small, urban, rural, denominational,
                 non-denominational, graduate, and undergraduate
                 institutions and faculty. Each amicus is deeply
                 concerned about the harms that the rescission of the
                 Deferred Action for Childhood Arrivals (“DACA”)
                 policy will inflict on America’s institutions of higher
                 education, their students, and the global standing
                 and reputation of the country’s colleges and universi-
                 ties.
                   Amicus American Council on Education (“ACE”) is
                 the major coordinating body for American higher
                 education. Its more than 1,700 members reflect the
                 extraordinary breadth and contributions of four-year,
                 two-year, public and private colleges and universi-
                 ties. ACE members educate two out of every three
                 students in accredited, degree-granting U.S. institu-
                 tions. ACE participates as amicus curiae on occa-
                 sions such as this where a case presents issues of
                 substantial importance to higher education in the
                 United States.
                  The Addendum contains information on the other
                 amici on this brief.1


                 1
                   No party or counsel for a party authored this brief in whole or
                 in part. No party, counsel for party, or person other than amici
                 curiae or counsel made any monetary contribution intended to
                 fund the preparation or submission of this brief. All parties
                 have consented to the filing of this brief.


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                                           2
                              INTRODUCTION AND
                            SUMMARY OF ARGUMENT
                   America’s colleges and universities are among the
                 finest in the world. They help preserve our country’s
                 democratic values; ensure its economic strength; and
                 contribute to our Nation’s influence and global
                 standing. One of the central reasons for the excel-
                 lence of our postsecondary schools is their ability to
                 attract and enroll talented, motivated, and curious
                 students, regardless of their circumstances, whether
                 born in this country or born abroad.
                   Yet, prior to DACA, colleges and universities were
                 effectively unable to enroll hundreds of thousands of
                 the most deserving and meritorious students in the
                 United States.      The “Dreamers”—undocumented
                 immigrants brought here as children, through no
                 fault of their own, who attended high school or
                 served in the military and have amassed no serious
                 criminal record—faced a battery of severe impedi-
                 ments to attending or completing college or graduate
                 school. Unable to receive federal loans, work legally,
                 or qualify for most state tuition benefits, Dreamers
                 were foreclosed from nearly every avenue for financ-
                 ing their education. Without driver’s licenses or
                 work permits, Dreamers could not easily commute to
                 school or complete many courses of study. Forced to
                 live in the shadows, they often had to bear the seri-
                 ous emotional strains and anxiety of their undocu-
                 mented status alone.
                   DACA has not removed all of these barriers, but it
                 has made it newly possible for countless Dreamers to
                 get a postsecondary education and unlock the poten-
                 tial such an education affords. Dreamers can now
                 qualify for many work-study programs, take on high-




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                 quality jobs, receive a range of state tuition benefits,
                 and otherwise find the means to pay for tuition.
                 They can drive to work, school, and internships.
                 When they graduate, they can qualify for occupa-
                 tional licenses and work legally in high-quality
                 sectors. In short, while policymakers and politicians
                 remain unwilling or unable to address their predic-
                 ament legislatively, DACA has offered Dreamers
                 cautious hope that they can live the American
                 Dream, and become part of this country’s ever-
                 evolving story of innovators, inventors, entrepre-
                 neurs, and leaders.
                   The statistics bear out the profound difference
                 DACA has made for its recipients, for U.S. colleges
                 and universities, and for the country as a whole.
                 College enrollment rates have increased dramatically
                 for DACA-eligible individuals, and completion rates
                 have skyrocketed. Amici have seen up-close the
                 tremendous contributions these individuals have
                 made to our campuses as they prepare for and live
                 lives of impact across America.
                   Dreamers are Rhodes Scholars, scientists, and
                 campus leaders; they are sources of inspiration and
                 insight for their peers; and they are unparalleled
                 ambassadors for our schools abroad. In the words of
                 one college president: “Dreamers set the bar very
                 high academically, inspiring other students to reach
                 higher as well.” Dreamers are also highly productive
                 members of the Nation’s economy, contributing over
                 a quarter of a trillion dollars in economic growth,
                 thanks in large part to their ability to earn an ad-
                 vanced education.
                  The rescission of DACA would reverse all of these
                 gains. In an instant, it would send a message of




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                 exclusion that would irreparably harm our institu-
                 tions’ ability to recruit and retain foreign-born stu-
                 dents. It would tear at the fabric of our campus
                 communities. Most importantly, it would pull the
                 rug out from under the Dreamers themselves, who
                 have upended their lives—taking out loans, earning
                 degrees, and taking the risk of revealing their un-
                 documented status—in reliance on DACA. As one
                 DACA recipient stated, rescission would mean that
                 “all the hard work I have put into my goals would be
                 for nothing, and I would be back to the bottom where
                 I started.”
                   There are many problems with the government’s
                 legal defense of this harsh and destructive policy.
                 But the higher education community is particularly
                 troubled by the government’s threshold claim that its
                 decision is wholly exempt from judicial review.
                 Sanctioning that remarkable argument would
                 threaten to immunize from legal scrutiny numerous
                 other major decisions disguised as “enforcement
                 policies” that impact our higher education system.
                   The government’s nonreviewability argument is
                 untenable. The narrow “tradition of nonreviewabil-
                 ity” for civil non-enforcement actions does not extend
                 to the rescission of DACA, which (1) is not an indi-
                 vidual non-enforcement action (or a non-enforcement
                 action at all); (2) rests on a legal conclusion amena-
                 ble to judicial review; and (3) will result in the revo-
                 cation of tangible benefits, such as work authoriza-
                 tion. Indeed, it is logically incoherent for the gov-
                 ernment to claim that DACA itself was reviewable—
                 and to endorse the Fifth Circuit’s holding to that
                 effect—but that DACA’s rescission is somehow
                 exempt from judicial scrutiny. The government’s




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                 attempt to cram its rescission action into the narrow
                 limitations on judicial review embodied in 8 U.S.C.
                 § 1252(b)(9) and (g) is equally unavailing: Its argu-
                 ment is flatly irreconcilable with those provisions’
                 text and ignores the limited construction this Court
                 has given both statutes.
                    The Court should not write the Administration a
                 blank check to make this monumental policy choice
                 without even a patina of judicial review. DACA has
                 been an unmitigated good for this country, its higher
                 education system, and the young persons whom it
                 has benefited. The lower courts’ judgments should
                 be affirmed.
                                          ARGUMENT
                     I. THE RESCISSION OF DACA WILL
                        INFLICT  PROFOUND   HARMS    ON
                        COLLEGES AND UNIVERSITIES, THEIR
                        STUDENTS, AND THE COUNTRY AS A
                        WHOLE.
                      A. America’s Colleges and Universities
                         Thrive on a Diverse Student Body and a
                         Reputation for Inclusiveness.
                   America’s higher education system is one of the
                 crown jewels of our democracy. The country’s colleg-
                 es and universities regularly rank among the finest
                 in the world. See World University Rankings 2020,
                 Times Higher Educ.2 Americans of every background
                 have gained enrichment, social mobility, and eco-


                 2
                        https://www.timeshighereducation.com/world-university-
                 rankings/2020/world-ranking#!/page/0/length/25/sort_by/rank/
                 sort_order/asc/cols/stats (all websites last visited Oct. 3, 2019).




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                                              6
                 nomic advancement by attending our postsecondary
                 schools. And, for decades now, the world’s leaders in
                 the sciences, humanities, arts, and politics have
                 come to the United States to be educated, work, and
                 contribute to our country’s progress.
                   One central ingredient in the success of our higher
                 education system is its historic openness and diversi-
                 ty. That openness is nowhere more evident than in
                 our tradition of enrolling and educating persons born
                 outside the United States. “The history of the Unit-
                 ed States is in part made of the stories, talents, and
                 lasting contributions of those who crossed oceans and
                 deserts to come here.” Arizona v. United States, 567
                 U.S. 387, 416 (2012). Many of the leading graduates
                 of our country’s colleges and universities were born
                 abroad. And today, more than 1 million enrollees in
                 our colleges and universities are international stu-
                 dents. Enrollment Trends, Inst. for Int’l Educ.
                 (2018).3
                   Admitting and enrolling students born outside the
                 United States benefits colleges, universities, and the
                 country at large in numerous ways. For one, it
                 ensures that our colleges and universities enroll the
                 best, brightest, most motivated and curious under-
                 graduate and graduate students. Schools can build
                 the strongest possible student body when they close
                 their doors to no one, and can select from the country
                 (and the world) as a whole, rather than being limited
                 to a subset of the population.



                 3
                    https://www.iie.org/Research-and-Insights/Open-Doors/Data/
                 International-Students/Enrollment.




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                   Furthermore, enrolling a diverse class helps colleg-
                 es and universities provide a better education to all
                 of their students. This Court has repeatedly recog-
                 nized the “educational benefits that flow from a
                 diverse student body.” Fisher v. Univ. of Texas at
                 Austin, 570 U.S. 297, 308 (2013). Campus diversity
                 helps to create and maintain an “atmosphere which
                 is most conducive to speculation, experiment, and
                 creation.” Id. (internal quotation marks omitted). It
                 opens up students to new ideas and perspectives, and
                 breaks down “isolation and stereotypes.” Id. In
                 practical terms, it helps give students “the skills
                 needed in today’s increasingly global marketplace,”
                 which “major American businesses have made clear
                 * * * can only be developed through exposure to
                 widely diverse people, cultures, ideas, and view-
                 points.” Grutter v. Bollinger, 539 U.S. 306, 330
                 (2003).
                   Enrolling foreign-born students is also critical in
                 enabling American schools to compete in the “global
                 competition” for international students and scholars.
                 NAFSA: Ass’n of Int’l Educators, Restoring U.S.
                 Competitiveness for International Students and
                 Scholars 1 (June 2006). 4 The finest international
                 students and scholars are most interested in coming
                 to a country when its schools are perceived as wel-
                 coming and open-minded. See id. at 5. For that
                 reason, other countries have made a concerted effort
                 in recent decades to attract the leading minds from
                 around the world into their universities. Id. at 4.

                 4
                   https://www.nafsa.org/sites/default/files/ektron/uploadedFiles/
                 NAFSA_Home/Resource_Library_Assets/Public_Policy/restorin
                 g_u.s.pdf.




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                 Policies that welcome the immigrants who reside
                 within our borders are critical to preserving our
                 higher education system’s reputation for openness
                 and inclusion.
                   Moreover, attracting and enrolling foreign-born
                 students is greatly in the interest of the country at
                 large.    Foreign-born students contribute tens of
                 billions of dollars to the U.S. economy and support
                 hundreds of thousands of jobs each year. NAFSA
                 International Student Economic Value Tool, NAFSA
                 (estimating that foreign-born students contributed
                 $39 billion and supported 455,000 jobs during the
                 2017-2018 academic year).5 Many of these interna-
                 tional students remain in our country to live, work,
                 and found businesses. See Xueying Han & Richard
                 P. Applebaum, Ewing Marion Kauffman Found., Will
                 They Stay or Will They Go? International STEM
                 Students Are Up for Grabs (July 2016). 6 Others
                 return home inculcated with American values of
                 democracy, tolerance, education, and the rule of law,
                 helping spread American ideals and strengthening
                 our country’s influence and national security.
                     B. Prior to DACA, Many of the Nation’s Most
                        Promising Students Faced Severe Chal-
                        lenges to Enrollment in or Completion of
                        Undergraduate and Graduate Programs.
                   For many years, American colleges and universities
                 faced a severe gap in their ability to include the more
                 than one million foreign-born “Dreamers” in their

                 5
                     https://www.nafsa.org/policy-and-advocacy/policy-resources/
                 nafsa-international-student-economic-value-tool.
                 6
                     https://files.eric.ed.gov/fulltext/ED570660.pdf.




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                 student bodies and communities. Dreamers are
                 individuals who were brought to the United States as
                 children, resided here continuously, and attended
                 high school or served in the armed forces without
                 committing any serious crime. No. 18-587 Pet. App.
                 97a-98a; see Deferred Action for Childhood Arrivals
                 (DACA) Data Tools, Migration Policy Inst.7 These
                 individuals include countless students whose enroll-
                 ment would markedly enrich college and university
                 campuses: high school valedictorians; promising
                 STEM candidates, leaders, or artists; and persons
                 who “embod[y] the American dream.” No. 18-587
                 Supp. Br. App. 5a.
                   Like “[m]ost young adults in the United States,”
                 Dreamers typically “aspire to some type of postsec-
                 ondary education.” Roberto G. Gonzales et al.,
                 Becoming DACAmented: Assessing the Short-Term
                 Benefits of Deferred Action for Childhood Arrivals
                 (DACA), 58 Am. Behavioral Scientist 1852, 1854
                 (Nov. 2014) [hereinafter, “Becoming DACAmented”].
                 But prior to DACA, severe structural barriers made
                 it punishingly difficult for many Dreamers to afford,
                 enroll in, or successfully complete college or graduate
                 school.
                   The most daunting impediment many Dreamers
                 faced was financial. The vast majority of high school
                 graduates—and nearly every undocumented immi-
                 grant—cannot afford college without some form of
                 tuition assistance, financial aid, or part-time em-



                 7
                   https://www.migrationpolicy.org/programs/data-hub/deferred-
                 action-childhood-arrivals-daca-profiles.




                                                                                 AR6102
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                                              10
                 ployment. But prior to DACA, each of those avenues
                 was largely foreclosed to Dreamers.
                   Dreamers were largely barred from the most
                 straightforward path to college affordability: enrol-
                 ling in a public college or university and paying the
                 lower rate charged for in-state residents. More than
                 30 States categorically prohibited undocumented
                 immigrants from qualifying as residents for in-state
                 tuition purposes. Zenen Jaimes Pérez, Ctr. for Am.
                 Progress, Removing Barriers to Higher Education for
                 Undocumented Students 5-6 (Dec. 2014) [hereinafter,
                 “Removing Barriers”].8 While a minority of States
                 permitted undocumented students to qualify for the
                 in-state rate, Dreamers often could not establish
                 their eligibility without providing their Social Securi-
                 ty numbers or disclosing information that risked
                 revealing their undocumented status. Id. at 19, 24.
                 In practice, many undocumented immigrants were
                 thus compelled to pay the out-of-state rate at state
                 schools, which is on average 61% higher, and some-
                 times seven times as high, as the rate charged for in-
                 state residents. Id. at 5; see Neeta Kantamneni et
                 al., Academic and Career Development of Undocu-
                 mented College Students: The American Dream?, 64
                 Career Development Quarterly 318, 319 (2016)
                 [hereinafter, “Academic and Career Development”].9

                 8
                     https://www.luminafoundation.org/files/resources/removing-
                 barriers-for-undocumented-students.pdf.
                 9
                  In two states, even that higher rate was not an option: South
                 Carolina and Alabama banned undocumented students from
                 attending many public colleges altogether. See Sejal Zota,
                 Unauthorized Immigrants’ Access to Higher Education: Fifty
                 States, Different Directions, 79 Popular Gov’t 46, 50 (2009).




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                   Nor could Dreamers qualify for federal or state
                 financial aid to fill the gap. Undocumented students
                 are “ineligible for all forms of federal financial aid,
                 including Pell Grants, the Federal Work-Study
                 Program, and federal loans.” Removing Barriers at
                 20. And nearly every State makes undocumented
                 immigrants ineligible for state education grants, too.
                 Id. at 6; see Alene Russell, Am. Ass’n of State Colls.
                 and Univs., State Policies Regarding Undocumented
                 College Students: A Narrative of Unresolved Issues,
                 Ongoing Debate and Missed Opportunities 4 (Mar.
                 2011).10
                   Private banks presented no better an option for
                 most undocumented students. Before DACA, few
                 financial institutions were willing to extend loans to
                 undocumented students and their parents. Remov-
                 ing Barriers at 21. And those that were would often
                 impose difficult-to-meet conditions, such as finding a
                 co-signer who was a U.S. citizen or lawful permanent
                 resident, and charging interest rates in excess of
                 twice the rate for federal student loans. Id.; see John
                 Coyle, The Legality of Banking the Undocumented,
                 22 Geo. Immigr. L.J. 21, 23 (2007) (“[U]ndocumented
                 immigrants * * * pay disproportionately more to
                 access basic financial services.”).
                   That left working part-time as the only realistic
                 way for most Dreamers to finance their education.
                 But before DACA, Dreamers could not legally work
                 in the United States. See Becoming DACAmented at


                 10
                           https://www.aascu.org/uploadedFiles/AASCU/Content/
                 Root/PolicyAndAdvocacy/PolicyPublications/PM_Undocumented
                 Students-March2011.pdf.




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                                          12
                 1854. They were thus “generally limited to low-wage
                 jobs,” where they were afforded minimal legal protec-
                 tions and few opportunities for advancement. Id.; see
                 Neeta Kantamneni et al., DREAMing Big: Under-
                 standing the Current Context of Academic and Career
                 Decision-Making for Undocumented Students, 43 J.
                 Career Dev. 483, 489 (2016) [hereinafter, “DREAM-
                 ing Big”]. Getting to and from these jobs also was
                 not easy: Dreamers could not qualify for driver’s
                 licenses, and so, for many, a daily commute meant
                 exposing oneself to the risk of arrest, apprehension,
                 and deportation. Becoming DACAmented at 1855.
                   Moreover, even when Dreamers did have some
                 narrow pathway to college affordability open to
                 them, students often lacked the information and
                 institutional support necessary to capitalize on it.
                 Undocumented immigrants generally do not have the
                 “social networks [that] play an all-important role in
                 relaying key information” about schools, tuition
                 assistance, and work-study jobs. Id. As aspiring
                 “first-generation college students,” they usually
                 cannot rely on members of their immediate family to
                 provide such information. Removing Barriers at 19.
                 Moreover, high school college and career counselors
                 often “lack the training to navigate the specific
                 barriers faced by undocumented students,” and, prior
                 to DACA, most Dreamers were reluctant to share
                 with their counselors that they were undocumented
                 in the first place. Id. at 17-18, 23-24; see DREAMing
                 Big at 489-490.
                   Those Dreamers who could finance a postsecondary
                 education continued to face serious and unique
                 challenges upon arriving on campus. Removing
                 Barriers at 24-25. Many undocumented students




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                                          13
                 were told that they needed a second form of identifi-
                 cation to acquire a student ID, and had their admis-
                 sions revoked when they were unable to provide one.
                 See DREAMing Big at 488. Without driver’s licens-
                 es, Dreamers could not easily travel to and from
                 school, or take advantage of off-campus academic
                 and career opportunities. Id. at 489. When the
                 financial support they had relied on to enroll in
                 school dried up, many Dreamers found that they
                 needed to take semesters off to earn or save money to
                 finance more of their education. Removing Barriers
                 at 25.
                   Dreamers’ academic options were also constrained.
                 Many majors and fields of study “require hands-on
                 participation outside the classroom.”     Becoming
                 DACAmented at 1854. But, because of their undoc-
                 umented status, Dreamers were excluded from many
                 study opportunities and nearly all paid internships.
                 Id. Some Dreamers reported changing majors be-
                 cause they found that background checks were
                 needed to gain practical training necessary to suc-
                 ceed in their chosen field of study. Academic and
                 Career Development at 323-324.
                   Dreamers also had to contend with the psychologi-
                 cal and emotional toll of attending school in the
                 shadows. Id. at 324-325. Many Dreamers experi-
                 enced deep anxiety or fear while grappling with the
                 financial, practical, and academic challenges of
                 attending school as an undocumented immigrant.
                 But many such students feared sharing their status
                 with peers or school administrators, and few institu-
                 tional programs were in place to provide them sup-
                 port. Id.




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                                                 14
                   The effects of these impediments were severe.
                 Before DACA, out of approximately 65,000 undocu-
                 mented immigrants who graduated from high school
                 each year, only 7,000 to 13,000 individuals—or less
                 than 20%—enrolled in college. Id. at 319. That rate
                 was less than one-third the rate of college enrollment
                 among the general population of high school gradu-
                 ates. See Economic News Release, Bureau of Labor
                 Statistics, U.S. Dep’t of Labor, College Enrollment
                 and Work Activity of Recent High School and College
                 Graduates Summary (Apr. 25, 2019).11 One study
                 found that the likelihood of a high school graduate
                 from Mexico or Central America enrolling in college
                 was nearly four times higher if the graduate was a
                 documented rather than undocumented immigrant.
                 Emily Greenman & Matthew Hall, Legal Status and
                 Educational Transitions for Mexican and Central
                 American Immigrant Youth, 91 Social Forces 1475,
                 1490-92 (2013).12
                   Furthermore, those undocumented students who
                 did enroll in college had markedly worse outcomes
                 than their peers. Undocumented students were more
                 than three times as likely as their peers to “stop out”
                 of school (i.e., temporarily leave college with the
                 intention of returning). Roberto G. Gonzales &
                 Angie M. Bautista-Chavez, Am. Immigration Coun-
                 cil, Two Years and Counting: Assessing the Growing
                 Power of DACA 7-8 (June 2014) [hereinafter, “Two



                 11
                      https://www.bls.gov/news.release/hsgec.nr0.htm.
                 12
                     https://www.ncbi.nlm.nih.gov/pmc/articles/PMC3816545/pdf/
                 sot040.pdf.




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                                                15
                 Years and Counting”].13 And at the time DACA was
                 announced in 2012, only 8% of Dreamers had com-
                 pleted a postsecondary education and received an
                 associate’s, bachelor’s, or advanced degree.      See
                 Jeanne Batalova et al., Migration Policy Inst., DACA
                 at the Two-Year Mark: A National and State Profile
                 of Youth Eligible and Applying for Deferred Action 16
                 (Aug. 2014).14
                   These grim prospects had profoundly negative con-
                 sequences on Dreamers beginning as early as high
                 school.   Many Dreamers spent their childhoods
                 believing themselves to be largely or fully American.
                 See Becoming DACAmented at 1855. But upon
                 learning of the web of legal and practical snares that
                 would flow from their “illegality”—or witnessing
                 siblings and peers trying and failing to attend or
                 complete college—many Dreamers lost the motiva-
                 tion to learn. Leisy Janet Abrego, “I Can’t Go to
                 College Because I Don’t Have Papers”: Incorporation
                 Patterns of Latino Undocumented Youth, 4 Latino
                 Stud. 212, 220-224 (2006) [hereinafter “Incorporation
                 Patterns”].15



                 13
                    http://www.immigrationpolicy.org/sites/default/files/research/
                 two_years_and_counting_assessing_the_growing_power_of_dac
                 a_final.pdf.
                 14
                        https://www.migrationpolicy.org/research/daca-two-year-
                 mark-national-and-state-profile-youth-eligible-and-applying-
                 deferred-action.
                 15
                       https://www.academia.edu/3684916/Abrego_Leisy._2006._
                 I_can_t_go_to_college_because_I_don_t_have_papers_Incorpora
                 tion_Patterns_of_Latino_Undocumented_Youth._Latino_Studie
                 s_4_3_212-231.




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                                             16
                   For some, the experience of “discover[ing]” their
                 illegality was akin to “awakening to a nightmare.”
                 Roberto G. Gonzales & Leo R. Chavez, “Awakening to
                 a Nightmare”: Abjectivity and Illegality in the Lives
                 of Undocumented 1.5-Generation Latino Immigrants
                 in the United States, 53 Current Anthropology 255,
                 262 (2012).16 It meant realizing that they, unlike the
                 peers with whom they spent their childhoods, would
                 be barred from unlocking the opportunities that only
                 a college education can afford, and living as full and
                 productive members of American society. Id.
                      C. DACA Has Made It Substantially Easier for
                         Dreamers to Enroll in Postsecondary Insti-
                         tutions and Has Carried Enormous Bene-
                         fits for Colleges, Universities, and the
                         Country.
                   DACA has not removed every impediment that
                 previously stood in the way of Dreamers, but it has
                 dramatically improved the educational outcomes for
                 DACA students, and it has carried enormous benefits
                 for colleges, universities, and the country as a whole.
                   DACA has made it newly possible for many
                 Dreamers to afford, attend, and complete college and
                 graduate school. DACA makes it possible for recipi-
                 ents to apply for work authorization and apply for a
                 Social Security card. In all 50 States and the Dis-
                 trict of Columbia, it also enables recipients to apply
                 for driver’s licenses. See Nat’l Immigration Law Ctr.,
                 Access to Driver’s Licenses for Immigrant Youth


                 16
                    https://pdfs.semanticscholar.org/4515/9747881c9cd7961b282
                 a9066c3e7f4b1a93a.pdf.




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                                                17
                 Granted DACA.17 And it allows Dreamers to come
                 out of the shadows and reveal their undocumented
                 status without immediate fear of deportation. Id.
                   Together, these benefits have opened up vital new
                 avenues for Dreamers to fund their education. Most
                 significantly, DACA has enabled Dreamers to pay for
                 their tuition with earnings from part-time employ-
                 ment, institutional work-study jobs, or paid intern-
                 ships. DREAMing Big at 486. Having a driver’s
                 license also means that DACA recipients can com-
                 mute to work and school and select from a wider
                 range of job prospects. Two Years and Counting at 3.
                 Taken together, these tools have had a dramatic
                 effect on Dreamers’ ability to pay for college: 80% of
                 DACA recipients report that DACA enabled them to
                 earn more money to help pay for their tuition, Tom
                 K. Wong et al., 2019 National DACA Study, at 2
                 (Sept. 2019), 18 and 72.3% of DACA recipients en-
                 rolled in college now report that they have paid work
                 experience, as compared with 28% of undocumented
                 college students who are not DACA recipients, The
                 UndocuScholars Project, Inst. for Immigration,
                 Globalization, & Educ., Univ. of California, Los
                 Angeles, In the Shadows of the Ivory Tower: Undoc-
                 umented Undergraduates and the Liminal State of




                 17
                     https://www.nilc.org/issues/drivers-licenses/daca-and-drivers-
                 licenses/ (last updated May 31, 2015).
                 18
                   https://cdn.americanprogress.org/content/uploads/2019/09/181
                 22133/New-DACA-Survey-2019-Final-1.pdf.




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                                              18
                 Immigration Reform 9 (2015) [hereinafter, “In the
                 Shadows of the Ivory Tower”].19
                   DACA has also improved Dreamers’ financial aid
                 options. Although DACA recipients remain ineligible
                 for federal student financial aid, they can now fill out
                 the Free Application for Federal Student Aid and
                 receive a calculation of their Estimated Family
                 Contribution, which enables students to apply for
                 need-based institutional aid that was previously
                 unavailable. Removing Barriers at 12. Some States
                 have changed their residency requirements to permit
                 all undocumented students, or all DACA recipients,
                 to qualify for in-state tuition or education grants. Id.
                 In addition, some scholarship organizations have
                 expanded their eligibility criteria to include DACA
                 recipients. United We Dream, A Portrait of Deferred
                 Action for Childhood Arrivals Recipients: Challenges
                 and Opportunities Three-Years Later 22 (Oct. 2015)
                 [hereinafter, “Portrait of DACA Recipients”].20 This
                 too has made an appreciable difference: Over 31% of
                 DACA recipients have reported that DACA enabled
                 them to qualify for education support, scholarships,
                 and financial aid. Id. at 21.
                  DACA has also made private education loans a
                 more viable option. Banks are far more willing to
                 open bank accounts for individuals with a Social
                 Security number. Becoming DACAmented at 1863.



                 19
                       https://www.luminafoundation.org/files/resources/in-the-
                 shadows.pdf.
                 20
                       https://unitedwedream.org/wp-content/uploads/2015/10/
                 DACA-report-final-1.pdf.




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                                             19
                 And almost half of DACA recipients have obtained
                 their first bank account since receiving DACA. Id.
                   DACA has improved Dreamers’ opportunities while
                 in college, as well. Because DACA recipients can
                 legally work and drive, it is possible for them to
                 pursue internships and other hands-on programs
                 critical for academic success. Over 40% of DACA
                 recipients have obtained internships, as compared to
                 16% of the non-DACA undocumented population. In
                 the Shadows of the Ivory Tower at 10; see also Becom-
                 ing DACAmented at 1863. In addition, most DACA
                 recipients are now able to obtain driver’s licenses
                 and safely drive to and from campus, shortening
                 their weekly commutes by an average of two hours.
                 In the Shadows of the Ivory Tower at 10-11. DACA
                 recipients can also study abroad without fear that on
                 return to the United States they will be denied entry.
                 See Am. Council on Educ., Immigration Post-Election
                 Q&A: DACA Students, “Sanctuary Campuses,” and
                 Institutional or Community Assistance 4 (Dec.
                 2016).21
                   DACA has reduced the emotional toll of college
                 enrollment for Dreamers, too. For the first time,
                 many Dreamers can speak openly about their undoc-
                 umented status, increasing their sense of belonging,
                 and reducing the pressures and anxieties previously
                 endemic to enrollment in college without legal sta-
                 tus. In the Shadows of the Ivory Tower at 11; Becom-
                 ing DACAmented at 1866.



                 21
                           https://www.acenet.edu/Documents/ACE-Issue-Brief-
                 Immigration-DACA-Sanctuary-Campus.pdf.




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                                              20
                   Finally, DACA has improved Dreamers’ job pro-
                 spects upon graduation. It has made it newly possi-
                 ble for Dreamers to receive occupational licensing.
                 In many States, DACA recipients are now eligible to
                 become members of the legal bar, to be certified as
                 teachers, and to be licensed as physicians—all ave-
                 nues previously closed to them. See Silva Mathema,
                 What DACA Recipients Stand to Lose—and What
                 States Can Do About It, Ctr. for Am. Progress (Sept.
                 13, 2018) [hereinafter, “What DACA Recipients
                 Stand to Lose”].22 And, of course, Dreamers can now
                 work legally when they graduate postsecondary
                 school, enabling them to take full advantage of their
                 degrees and move upward on the social and economic
                 ladder.
                   The bottom-line effect of these improvements has
                 been dramatic. The percentage of DACA recipients
                 enrolled in postsecondary school is reportedly almost
                 40%, up from approximately 20% of DACA-eligible
                 students at the time the policy was announced. See
                 2019 National DACA Study at 5; Am. Council on
                 Educ., Protect Dreamers Higher Education Coalition:
                 Who Are the Dreamers?.23 The percentage of DACA
                 recipients with associate’s, bachelor’s, or master’s
                 degrees has also markedly increased, with one study
                 reporting that as many as 60% of DACA recipients
                 have postsecondary degrees, as compared to 8% of
                 the DACA-eligible population in 2012. 2019 Nation-
                 al DACA Study at 6. Indeed, a staggering 95% of

                 22
                   https://www.americanprogress.org/issues/immigration/reports
                 /2018/09/13/458008/daca-recipients-stand-lose-states-can/.
                 23
                    https://www.acenet.edu/Policy-Advocacy/Pages/Immigration/
                 Protect-Dreamers-Higher-Education-Coalition.aspx.




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                 DACA recipients report that they intend to pursue
                 more education because of DACA, or have already
                 done so. Id. at 5.
                   Colleges and universities have reaped innumerable
                 benefits from the markedly increased presence of
                 Dreamers on their campuses. As Princeton Presi-
                 dent Christopher Eisgruber has explained, “DACA
                 recipients are among our most accomplished and
                 respected students.” Letter from President Eis-
                 gruber and Microsoft President Smith to Congress
                 Regarding the Deferred Action for Childhood Arri-
                 vals (DACA) Program (Jan. 11, 2018).24 “Colleges
                 and universities have seen these remarkable people
                 up close, in our classrooms and as our colleagues and
                 friends. Despite the challenges they face, they have
                 made incredible contributions to our country and its
                 economy and security.” Letter from More than 800
                 Colleges and Universities to Speaker Ryan et al., at 1
                 (Oct. 19, 2017).25
                   Countless stories bear out that statement. Sheila,
                 a DACA recipient, graduated summa cum laude and
                 at the top of her class at Rutgers, and went on to
                 work as a digital strategist at IBM. TheDream.US,
                 2018 Progress Report, at 3 (2018). 26 Jin Park, a
                 Harvard senior with a concentration in molecular
                 biology, became the first DACA recipient to win a


                 24
                           https://president.princeton.edu/blogs/letter-president-
                 eisgruber-and-microsoft-president-smith-congress-regarding-
                 deferred-action.
                 25
                     https://www.acenet.edu/Documents/Letter-to-Congress-on-
                 DACA-Oct-2017.pdf.
                 26
                      https://www.thedream.us/impact/ourdata/.




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                                                   22
                 Rhodes Scholarship. Alexandra A. Chaidez & Sanja-
                 na L. Narayana, Harvard Senior Becomes First
                 DACA Recipient to Win Rhodes Scholarship, Harvard
                 Crimson (Nov. 19, 2018). Carlos Mendez-Dorantes,
                 who was brought to the United States from Mexico
                 when he was ten years old, is a PhD student and
                 Ford Foundation Fellow studying cancer treatments
                 at the City of Hope Comprehensive Cancer Center in
                 Duarte, California. Evelyn Valdez-Ward, The End of
                 DACA Would Be a Blow to Science, Sci. Am.: Voices
                 (Dec. 12, 2018).27
                   These stories could easily be multiplied. See Pro-
                 tect Dreamers Higher Education Coalition: Faces of
                 Dreamers, Am. Council on Educ.: Higher Educ.
                 Today (Oct. 5, 2017) (collecting stories of Dreamers
                 and their accomplishments) 28 ; TheDream.US, Fea-
                 tured Scholar Stories (collecting stories of DACA
                 recipients who have received academic scholar-
                 ships) 29 ; Nat’l Immigration Law Ctr., Stories in
                 Defense of Deferred Action for Childhood Arrivals
                 [hereinafter, “Stories in Defense of DACA”] (collecting
                 additional stories of DACA recipients).30 President
                 Pat McGuire of Trinity Washington University—a
                 school at which 70% of Dreamers have Latin honors,
                 and where Dreamers make up more than half of the


                 27
                     https://blogs.scientificamerican.com/voices/the-end-of-daca-
                 would-be-a-blow-to-science/.
                 28
                    https://www.higheredtoday.org/2017/10/05/protect-dreamers-
                 higher-education-coalition-faces-dreamers/.
                 29
                      https://www.thedream.us/impact/our-scholar-stories-2/.
                 30
                             https://www.nilc.org/issues/daca/daca-fifth-anniversary-
                 stories/.




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                 Phi Beta Kappa class—put the point succinctly:
                 “Dreamers set the bar very high academically, in-
                 spiring other students to reach higher as well.” 2018
                 Progress Report at 10.
                   Attending school alongside Dreamers improves the
                 education of their classmates in numerous ways.
                 Dreamers invariably overcame daunting obstacles to
                 reach campus: Their families fled poverty, violence,
                 or persecution; they often grew up in households that
                 spoke little English; they struggled with the legal
                 and practical impediments endemic to life as an
                 undocumented immigrant; and they had the courage
                 to disclose their status in order to achieve their
                 ambitions and attain a better life. Attending school
                 with these remarkable individuals exposes other
                 students to global challenges of which they may have
                 been unaware, supplies them perspectives they never
                 before encountered, and helps imbue in them values
                 of tolerance, respect, and compassion.           One
                 Georgetown University student wrote:
                  I never interacted much with undocumented immi-
                  grants growing up, but since college I have. Sever-
                  al of my good friends at Georgetown University are
                  undocumented, and I can never imagine all the fear
                  and hurt their families have been through because
                  of their status. * * * I can’t imagine what
                  Georgetown would be like without them. Certainly
                  a worse place to go to school.
                 Stories in Defense of DACA.
                   Finally, increasing enrollment of DACA recipients
                 in colleges and universities has had positive effects
                 for the U.S. economy at large. DACA recipients with
                 postsecondary degrees have greater purchasing
                 power: They are able to buy cars, take out mortgag-




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                 es, and invest in the economy. See 2019 National
                 DACA Study at 2. They are also more productive
                 members of the U.S. workforce, filling better and
                 higher-paying jobs. See Jie Zong et al., Migration
                 Policy Inst., A Profile of Current DACA Recipients by
                 Education, Industry, and Occupation, at 8 (Nov.
                 2017) (comparing job profiles of DACA recipients and
                 other similarly aged undocumented immigrants). 31
                 In total, the Cato Institute has estimated that DACA
                 will add $60 billion in tax revenue and $280 billion
                 in economic growth over the next decade, in large
                 part because it has enabled DACA recipients to build
                 skills through college and graduate school. Ike
                 Brannon & Logan Albright, The Economic and Fiscal
                 Impact of Repealing DACA, Cato Inst.: Cato At
                 Liberty (Jan. 18, 2017).32
                      D. The Rescission of DACA Would Reverse the
                         Gains the Program Has Enabled.
                   If the rescission of DACA is permitted to go into
                 effect, these gains would be reversed almost immedi-
                 ately, and our colleges and universities, their stu-
                 dents, and the country at large would severely suffer.
                   First, DACA’s rescission would irreparably damage
                 the reputation of America’s higher education system
                 in the eyes of the world. DACA has been a symbol of
                 tolerance and openness of our university campuses.
                 It has shown other foreign-born students that they
                 are welcome on our campuses, and that our colleges

                 31
                        https://www.migrationpolicy.org/research/profile-current-
                 daca-recipients-education-industry-and-occupation.
                 32
                     https://www.cato.org/blog/economic-fiscal-impact-repealing-
                 daca.




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                 and universities value and celebrate the contribu-
                 tions of those individuals who overcome adversity to
                 come to this country. The rescission of DACA would
                 serve as a profound symbol of exclusion, sending a
                 message that the United States does not value even
                 the most deserving and sympathetic foreign-born
                 individuals within its own borders.
                   Rescinding DACA would also upset the lives of tens
                 of thousands of DACA recipients who have relied on
                 this program. DACA recipients reordered their lives
                 with the legitimate expectation that they would be
                 able to live and work in this country legally. These
                 young people came out of the shadows, enrolled in
                 school, took out private student loans, worked hard
                 to earn advanced degrees, started jobs, started
                 families, and made countless other life decisions of
                 tremendous import, all in reliance on DACA. The
                 rescission would subvert all of that. Many Dreamers
                 would once again be rendered unable to pay for their
                 education or pay off the private loans they have
                 taken out. DACA recipients would immediately be
                 disqualified from employment, the principal means
                 by which most DACA recipients have paid tuition.
                 DACA recipients would lose their access to in-state
                 tuition rates in at least three States—Virginia,
                 Massachusetts, and Ohio—and become categorically
                 barred from attending public college in South Caro-
                 lina and Alabama. See What DACA Recipients Stand
                 to Lose.
                  Rescission would also result in the revocation of
                 many Dreamers’ driver’s licenses. Only 13 States
                 and the District of Columbia make driver’s licenses
                 available to undocumented immigrants who are not
                 beneficiaries of some form of relief from deportation.




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                 See Gilbert Mendoza & Chesterfield Polkey, States
                 Offering Driver’s Licenses to Immigrants, Nat’l
                 Conference of State Legislatures (July 25, 2019).33
                 Those driver’s licenses cannot qualify as REAL IDs
                 under federal law, and so are of limited use; starting
                 in October 2020, for example, they will not permit
                 recipients to board commercial airlines. See REAL
                 ID Frequently Asked Questions, Dep’t of Homeland
                 Sec.34 With limited geographic mobility, many DACA
                 recipients would once again be unable to complete
                 school, continue their jobs, or fulfill many day-to-day
                 tasks.
                   Rescission would also dramatically devalue the
                 education Dreamers have worked diligently to at-
                 tain. Dreamers with advanced degrees—doctors,
                 lawyers, scientists, engineers, MBAs, teachers, and
                 more—would be unable to work legally in this coun-
                 try and unable to qualify for occupational licenses in
                 most States. See What DACA Recipients Stand to
                 Lose. Years of education would be squandered.
                 Many Dreamers would once again be forced to return
                 to low-paying, low-quality jobs, often in service
                 industries or jobs requiring manual labor. See
                 Becoming DACAmented at 1854, 1863.
                  One DACA recipient wrote that, if DACA is re-
                 voked, “all the hard work I have put into my goals
                 would be for nothing, and I would be back to the
                 bottom where I started.” TheDream.US, In Their


                 33
                        http://www.ncsl.org/research/immigration/states-offering-
                 driver-s-licenses-to-immigrants.aspx.
                 34
                   https://www.dhs.gov/real-id-frequently-asked-questions (last
                 updated Aug. 14, 2018).




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                 Own Words: Higher Education, DACA, and TPS, at 8
                 (Oct. 2018).35 Said another: “I will have to go back to
                 hiding in the shadows. I will not be able to work,
                 drive, or go to school. I will not be able to feed my-
                 self. I will not be able to continue my pursuit of
                 happiness, essentially, I will not have [a] part in the
                 American Dream.” Id. at 13.
                   Rescission would also tear at the fabric of our aca-
                 demic communities. Many students would under-
                 standably be demoralized if their peers were forced
                 to leave campus, or faced the risk of being appre-
                 hended and deported at any moment. Individuals
                 who have become leaders on campus—student body
                 presidents, Rhodes Scholars, political activists—
                 would immediately face the Hobson’s choice of re-
                 turning to the shadows or exposing themselves to the
                 threat of removal from the only country they have
                 ever known.
                   Rescission would radiate negative consequences
                 throughout the U.S. economy, as well. The wholesale
                 revocation of employment authorization for nearly
                 700,000 individuals, many of them now highly edu-
                 cated and highly sought-after by their employers,
                 would cause industries to suffer economic and fiscal
                 shocks. Id. at 5. And the country as a whole would
                 lose approximately a quarter of a trillion dollars in
                 economic growth and tens of billions of dollars in tax
                 revenue over the next decade. The Economic and
                 Fiscal Impact of Repealing DACA.



                 35
                         https://www.thedream.us/wp-content/uploads/2018/10/
                 TheDream.US-In-Their-Own-Words-Report-Oct-2018-1-2.pdf.




                                                                               AR6120
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                 II.   THE RESCISSION IS REVIEWABLE.
                   In light of the profound harms that DACA’s rescis-
                 sion would inflict, it is critical that the Court subject
                 that decision to full judicial scrutiny. Yet the Gov-
                 ernment has advanced the remarkable proposition
                 that the decision is entirely unreviewable.
                   This claim is particularly concerning to the higher
                 education community for reasons that extend beyond
                 this litigation. Administrations often attempt to
                 enact sweeping policies of great significance to
                 colleges and universities through documents denom-
                 inated as enforcement decisions. For instance, both
                 the current Administration and prior administra-
                 tions have issued “Dear Colleague” letters that
                 effectively state the government’s legal position on a
                 question of education policy, backed by the threat of
                 legal sanctions or funding revocations. Courts have
                 regularly reviewed these policies. See, e.g., United
                 Student Aid Funds, Inc. v. DeVos, 237 F. Supp. 3d 1
                 (D.D.C. 2017); Gill v. Paige, 226 F. Supp. 2d 366
                 (E.D.N.Y. 2002). It is vital that the Court not im-
                 munize actions of this nature from judicial scrutiny.
                   Fortunately, the law does not support the govern-
                 ment’s claim that its decision is exempt from judicial
                 review. The Administrative Procedure Act (“APA”)
                 does not revoke judicial authority to scrutinize the
                 rescission’s compliance with the law. And the gov-
                 ernment’s suggestion that the Immigration and
                 Nationality Act (“INA”) withdraws jurisdiction to
                 consider such claims is baseless.




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                  A. The APA Does Not Make the Rescission
                     Unreviewable.
                   The government claims that the decision to rescind
                 DACA is unreviewable under 5 U.S.C. § 701(a)(2)
                 because it is “committed to agency discretion by law.”
                 U.S. Br. 17. This Court has “read the § 701(a)(2)
                 exception for action committed to agency discretion
                 ‘quite narrowly,’ ” so as to “to give effect to the com-
                 mand that courts set aside agency action that is an
                 abuse of discretion, and to honor the presumption of
                 judicial review.” Dep’t of Commerce v. New York, 139
                 S. Ct. 2551, 2567-69 (2019) (citation omitted).
                 Review is unavailable under this provision, the
                 Court has held, only where there is “no law to apply”
                 and “no meaningful standard against which to judge
                 the agency’s exercise of discretion.” Id. at 2568-69
                 (quoting Citizens to Preserve Overton Park, Inc. v.
                 Volpe, 401 U.S. 402, 410 (1971); Weyerhauser Co. v.
                 U.S. Fish & Wildlife Serv., 139 S. Ct. 361, 370
                 (2018)).
                   Here, there plainly is “law to apply.” Plaintiffs
                 argue that the government’s decision to rescind
                 DACA is arbitrary and capricious because it rests on
                 the erroneous conclusion that DACA is unlawful.
                 The prohibition on arbitrary and capricious deci-
                 sionmaking is a foundational principle of administra-
                 tive law. And determining whether DACA exceeds
                 the scope of DHS’s statutory authority is a “familiar
                 judicial exercise” well within this Court’s cognizance.
                 Zivotofsky ex rel. Zivotofsky v. Clinton, 566 U.S. 189,
                 196 (2012). Resolving plaintiffs’ claims would thus
                 involve reviewing a decision “for compliance with
                 * * * provisions of the [Immigration and Nationality]
                 Act, according to the general requirements of rea-




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                 soned agency decisionmaking.” Dep’t of Commerce,
                 139 S. Ct. at 2569. That is a decision “subject to
                 judicial review.” Id. Indeed, this Court granted
                 certiorari, received briefing, and heard argument on
                 the legality of another broad deferred action policy
                 four Terms ago. See United States v. Texas, 136 S.
                 Ct. 2271 (2016) (mem.) (per curiam).
                   The government nonetheless claims that review is
                 unavailable on the strength of Heckler v. Chaney,
                 470 U.S. 821 (1985). In that case, this Court held
                 that the “decision not to take enforcement action * * *
                 has traditionally been ‘committed to agency discre-
                 tion,’ ” and that “the Congress enacting the APA did
                 not intend to alter that tradition.” Id. at 832-833. In
                 the government’s view, DACA is akin to a decision
                 “not to institute enforcement actions,” the decision to
                 issue that policy was thus unreviewable, and the
                 decision to revoke that policy is therefore also an
                 enforcement decision immune from judicial scrutiny.
                 U.S. Br. 17. Each step of that analysis is faulty.
                   First, the Chaney Court identified a “tradition” of
                 exempting individual non-enforcement decisions
                 from judicial review. 470 U.S. at 832. It identified
                 no comparable tradition of exempting policies of non-
                 enforcement like DACA from judicial scrutiny; on the
                 contrary, the Court suggested that “general
                 polic[ies]” of non-enforcement are reviewable, at least
                 where it is contended that those policies are an
                 “abdication of [the agency’s] statutory responsibili-
                 ties.” Id. at 833 n.4 (internal quotation marks omit-
                 ted).36 It was in part for this reason that the Fifth

                 36
                   The government suggests that the plaintiffs in Chaney
                 challenged a “programmatic determination” not to enforce a




                                                                              AR6123
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                 Circuit held—in a decision affirmed 4-4 by this
                 Court—that a policy of granting deferred action was
                 reviewable. Texas v. United States, 809 F.3d 134,
                 165-168 (5th Cir. 2015). If that reviewability holding
                 was correct—and the government has said that it
                 “agrees with the robust analysis in the Fifth Circuit’s
                 * * * decision,” U.S. Br. 52—then neither DACA nor
                 its revocation is exempt from judicial review either.
                   Second, the logic and holding of Chaney have no
                 purchase where, as here, an agency rests its decision
                 on the view that it lacks legal authority. Chaney
                 explained that “an agency decision not to enforce” is
                 unreviewable principally because it “involves a
                 complicated balancing of a number of factors which
                 are peculiarly within its expertise.” 470 U.S. at 831.
                 The Court reasoned that “[t]he agency is far better
                 equipped than the courts to deal with the many
                 variables involved in the proper ordering of its
                 priorities.” Id. at 831-832. But evaluating an agen-
                 cy’s legal conclusion that it lacks authority to retain
                 a deferred action policy does not involve “balancing
                 * * * factors” or “ordering * * * priorities.” It entails a
                 straightforward judicial task. Likely for that reason,
                 Chaney itself indicated that its holding would not
                 extend to “a refusal by the agency to institute pro-
                 ceedings based solely on the belief that it lacks
                 jurisdiction.” Id. at 833 n.4; see id. at 839 (Brennan,


                 statute. U.S. Br. 21. That is simply incorrect. In Chaney, the
                 petitioners “requested the FDA to take various investigatory
                 and enforcement actions” against the States of Oklahoma and
                 Texas; when the FDA refused, they asked the courts for an
                 order requiring FDA “to take the same enforcement actions
                 requested in the prior petition.” 470 U.S. at 824-825.




                                                                                  AR6124
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                 J., concurring); id. at 841 n.1 (Marshall, J., concur-
                 ring in judgment).
                   Third, the fact that a non-enforcement decision is
                 unreviewable does not necessarily (or even usually)
                 imply that the revocation of that decision is unre-
                 viewable, as well. In the ordinary course, decisions
                 to enforce and not to enforce differ in the most fun-
                 damental respect—most notably, the enforcement of
                 a statute entails the bringing to bear of the govern-
                 ment’s coercive power. See id. at 832 (“when an
                 agency does act to enforce, that action itself provides
                 a focus for judicial review, inasmuch as the agency
                 must have exercised its power in some manner”). An
                 enforcement decision may involve other intrusions on
                 an individual’s liberty. Here, for instance, the revo-
                 cation will have the consequence of withdrawing
                 tangible benefits, including work authorization, from
                 hundreds of thousands of undocumented immi-
                 grants, and disrupting the affairs of a wide swathe of
                 American society. The government has identified no
                 “tradition” of exempting decisions of this nature from
                 judicial review.
                   The government invokes the principle that an oth-
                 erwise unreviewable action does not “become[ ]
                 reviewable” merely because the agency “gives a
                 ‘reviewable’ reason” for its decision. U.S. Br. 23
                 (quoting ICC v. Bhd. of Locomotive Eng’rs, 482 U.S.
                 270, 283 (1987)). But that argument assumes as its
                 starting premise that the decision to issue or retain a
                 sweeping deferred action policy falls within the
                 “tradition of nonreviewability” as described in
                 Chaney. See Locomotive Eng’rs, 482 U.S. at 282. As
                 the Fifth Circuit and at least four Justices evidently
                 concluded in Texas, it does not.         Furthermore,




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                 Chaney itself made clear that the tradition of nonre-
                 viewability applicable to civil non-enforcement
                 decisions does not extend to cases in which an agen-
                 cy’s “refusal * * * to institute proceedings [is] based
                 solely on the belief that it lacks jurisdiction.” 470
                 F.3d at 833 n.4. Far from retreating from that
                 statement, subsequent decisions of this Court have
                 reviewed the legal basis for agencies’ refusal to act.
                 See, e.g., Massachusetts v. EPA, 549 U.S. 498, 527-
                 528 (2007).
                  B. The INA Does Not Withdraw Jurisdiction
                     to Consider the Rescission.
                   The government also suggests that principles of
                 nonreviewability “apply with particular force” to this
                 case because it involves “enforcement of the immi-
                 gration laws.” U.S. Br. 20. That is incorrect. The
                 only statutory provisions the government cites to
                 support this statement are 8 U.S.C. § 1252(g) and
                 (b)(9), and both are plainly inapplicable here.
                   Section 1252(g) channels jurisdiction over “any
                 cause or claim by or on behalf of any alien arising
                 from the decision or action * * * to commence pro-
                 ceedings, adjudicate cases, or execute removal orders
                 against any alien.” 8 U.S.C. § 1252(g). This provi-
                 sion is expressly limited to claims “by or on behalf of
                 any alien.” Id. It is therefore inapplicable to claims
                 brought by universities and States to vindicate their
                 own interests. Moreover, the Court has held that
                 Section 1252(g) “applies only to three discrete actions
                 that the Attorney General may take: her ‘decision or
                 action’ to ‘commence proceedings, adjudicate cases, or
                 execute removal orders.’ ” Reno v. Am.-Arab Anti-
                 Discrimination Comm. (AADC), 525 U.S. 471, 482
                 (1999) (emphases in original). The revocation of a




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                 broad policy of granting deferred action is plainly not
                 one of the “three discrete actions” listed in AADC.
                 Indeed, it is farther removed from the three listed
                 actions than the examples the Court gave of deci-
                 sions not covered by Section 1252(g), such as
                 “open[ing] an investigation” and “surveil[ing] the
                 suspected violator.” Id.
                   Section 1252(b)(9) is similarly irrelevant. That
                 provision states that “[j]udicial review of all ques-
                 tions of law and fact * * * arising from any action
                 taken or proceeding brought to remove an alien from
                 the United States under this subchapter shall be
                 available only in judicial review of a final order
                 under this section.” 8 U.S.C. § 1252(b)(9). In two
                 recent cases, the Court has rejected “expansive
                 interpretation[s]” of this provision that would have
                 “cramm[ed] judicial review” of any removal-related
                 actions “into the review of final removal orders.”
                 Jennings v. Rodriguez, 138 S. Ct. 830, 840 (2018); see
                 Nielsen v. Preap, 139 S. Ct. 954, 962 (2019). The
                 Court clarified that this provision is inapplicable at
                 least where aliens “are not asking for review of an
                 order of removal; they are not challenging the deci-
                 sion to detain them in the first place or to seek
                 removal; and they are not even challenging any part
                 of the process by which their removability will be
                 determined.” Jennings, 138 S. Ct. at 841; Nielsen,
                 139 S. Ct. at 962.
                   Respondents’ challenge to the DACA rescission
                 falls into none of those buckets. They are not chal-
                 lenging an “order of removal.” They are not chal-
                 lenging a “decision to detain them * * * or to seek
                 removal.” And the DACA rescission is not “even * * *
                 part of the process by which their removability will




                                                                           AR6127
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                 be determined”; it is a deferred action policy that has
                 no bearing on “removability” at all, but rather ad-
                 dresses whom the government may seek to remove.
                 Indeed, it is difficult to comprehend how the rescis-
                 sion policy could “aris[e] from any action * * * to
                 remove an alien,” given that it precedes the initiation
                 of any removal action against a DACA recipient.37
                   Perhaps recognizing that its textual argument is
                 meritless, the government quickly pivots to purpose:
                 “[E]ven if those provisions do not directly preclude
                 review here,” it writes, they “confirm[ ] the im-
                 portance Congress placed on shielding DHS’s discre-
                 tion decisions from review.” U.S. Br. 21. It scarcely
                 needs repeating, however, that this Court does not
                 “disregard clear language simply on the view that
                 * * * Congress ‘must have intended’ something
                 broader.” Michigan v. Bay Mills Indian Cmty., 572
                 U.S. 782, 794 (2014). That admonition applies with
                 heightened force when it comes to limiting the
                 courts’ authority to review agency action or to exer-
                 cise jurisdiction. Limitations on judicial review must

                 37
                    Contrary to the government’s suggestion (at 21), the rescis-
                 sion also falls outside the construction of Section 1252(b)(9)
                 espoused by Justice Thomas in his Jennings concurrence.
                 Justice Thomas argued that Section 1252(b)(9) “must at least
                 cover congressionally authorized portions of the deportation
                 process that necessarily serve the purpose of ensuring an alien’s
                 removal.” 138 S. Ct. at 854 (Thomas, J., concurring). The
                 rescission of DACA, however, does not “necessarily serve the
                 purpose of ensuring an alien’s removal”; on the contrary, it is
                 undisputed that many former DACA recipients will not be
                 removed or placed into removal proceedings. Nor is the rescis-
                 sion of DACA a “portion[ ] of the deportation process,” given
                 that it precedes even “the decision[ ] to open an investigation”
                 into an alien’s removability. AADC, 525 U.S. at 482.




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                 be clearly expressed, not implied. Mach Mining,
                 LLC v. EEOC, 135 S. Ct. 1645, 1651 (2015) (describ-
                 ing the “ ‘strong presumption’ favoring judicial re-
                 view of administrative action”). And as Justice
                 Scalia wrote when rejecting a previous effort to
                 strain Section 1252(g) beyond its textual limits: “It
                 is implausible that [this provision] was a shorthand
                 way of referring to all claims arising from deporta-
                 tion proceedings. Not because Congress is too unpo-
                 etic to use synecdoche, but because that literary
                 device is incompatible with the need for precision in
                 legislative drafting.” AADC, 525 U.S. at 482.
                   So too here, had Congress truly placed “importance
                 * * * on shielding” policies like this one from judicial
                 review, it would have enacted a statute that accom-
                 plished that objective. It did not, and this Court
                 should not shield this consequential and profoundly
                 harmful policy decision from review based on vague
                 inferences of congressional purpose.




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                                          37
                                   CONCLUSION
                  For the foregoing reasons, the judgments in Nos.
                 18-587, 18-588, and 18-589 should be affirmed.
                                           Respectfully submitted,
                                           NEAL K. KATYAL
                                             Counsel of Record
                                           JESSICA L. ELLSWORTH
                                           STEPHANIE J. GOLD
                                           MITCHELL P. REICH
                                           HOGAN LOVELLS US LLP
                                           555 Thirteenth Street, N.W.
                                           Washington, D.C. 20004
                                           (202) 637-5600
                                           neal.katyal@hoganlovells.com
                   Counsel for Amici Curiae American Council on Educa-
                    tion and 43 Other Higher Education Associations
                 OCTOBER 2019




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                                  ADDENDUM




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                       ADDENDUM—LIST OF AMICI CURIAE
                 American Council on Education
                 The Accreditation Council for Pharmacy Education
                 Accrediting Commission for Community and Junior
                 Colleges
                 ACT
                 American Association of Community Colleges
                 American Association of Colleges of Nursing
                 American Association of State Colleges and Universi-
                 ties
                 American Association of University Professors
                 American Indian Higher Education Consortium
                 American Speech-Language-Hearing Association
                 Association of American Colleges and Universities
                 Association of American Universities
                 Association of Community College Trustees
                 Association of Governing Boards of Universities and
                 Colleges
                 Association of Jesuit Colleges and Universities
                 Association of Public and Land-grant Universities
                 Coalition of Urban and Metropolitan Universities
                 College and University Professional Association for
                 Human Resources
                 College Board
                 Consortium of Universities of the Washington Met-
                 ropolitan Area
                 Council for Advancement and Support of Education
                 Council for Christian Colleges & Universities
                 Council for Opportunity in Education
                                           1a




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                 Council of Graduate Schools
                 Council of Independent Colleges
                 Council on Social Work Education
                 Educational Testing Service
                 EDUCAUSE
                 Higher Learning Commission
                 Hispanic Association of Colleges and Universities
                 Middle States Commission on Higher Education
                 National Association for College Admission Counsel-
                 ing
                 NAFSA: Association of International Educators
                 National Association of College and University
                 Business Officers
                 National Association of Diversity Officers in Higher
                 Education
                 National Association of Independent Colleges and
                 Universities
                 National Association of Student Financial Aid Ad-
                 ministrators
                 National Collegiate Athletic Association
                 New England Commission of Higher Education
                 Northwest Commission on Colleges and Universities
                 Phi Beta Kappa
                 Student Affairs Administrators in Higher Education
                 The University Risk Management & Insurance
                 Association
                 WASC Senior College and University Commission




                                           2a




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                           Nos. 18-587, 18-588, & 18-589
================================================================================================================
                                                In The
  Supreme Court of the United States
                 ------------------------------------------------------------------
          UNITED STATES DEPARTMENT OF
            HOMELAND SECURITY, ET AL.,
                                                                                     Petitioners,
                                                  v.
 REGENTS OF THE UNIVERSITY OF CALIFORNIA, ET AL.
                 ------------------------------------------------------------------
        DONALD J. TRUMP, PRESIDENT OF THE
               UNITED STATES, ET AL.,
                                                                                     Petitioners,
                                                  v.
          NATIONAL ASSOCIATION FOR THE
    ADVANCEMENT OF COLORED PEOPLE, ET AL.
                 ------------------------------------------------------------------
     KEVIN K. MCALEENAN, ACTING SECRETARY
          OF HOMELAND SECURITY, ET AL.,
                                                                                     Petitioners,
                                                  v.
     MARTIN JONATHAN BATALLA VIDAL, ET AL.
                 ------------------------------------------------------------------
            On Writs Of Certiorari To The
           United States Courts Of Appeals
       For The Ninth, D.C., And Second Circuits
                 ------------------------------------------------------------------
     BRIEF OF NONPROFIT LEGAL SERVICES
         ORGANIZATIONS AS AMICI CURIAE
          IN SUPPORT OF RESPONDENTS
                 ------------------------------------------------------------------
JONATHAN S. KOLODNER                                  MAUREEN P. ALGER
JESSA DEGROOTE                                             Counsel of Record
DAVID Z. SCHWARTZ                                     MONIQUE R. SHERMAN
ABBEY GAUGER                                          COOLEY LLP
CLEARY GOTTLIEB STEEN                                 3175 Hanover Street
  & HAMILTON LLP                                      Palo Alto, CA 94304
One Liberty Plaza                                     (650) 843-5000
New York, NY 10006                                    malger@cooley.com
(212) 225-2000
                                                         Counsel for Amici Curiae
              [Additional Counsel Listed On Inside Cover]
================================================================================================================
                                 COCKLE LEGAL BRIEFS (800) 225-6964
                                  WWW.COCKLELEGALBRIEFS.COM




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MARY KATHRYN KELLEY
COOLEY LLP
4401 Eastgate Mall
San Diego, CA 92121
KYLE C. WONG
COOLEY LLP
101 California Street
5th Floor
San Francisco, CA 94111




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                                 1

           INTEREST OF AMICI CURIAE1
     Amici curiae are nonprofit legal services organiza-
tions that provide legal assistance on immigration is-
sues to low-income immigrants. Amici include 47
organizations, listed and described in the Appendix.
Many of amici’s clients are eligible for Deferred Action
for Childhood Arrivals (“DACA”). Cumulatively, amici
helped thousands of young people apply for DACA be-
tween 2012 and 2017 and have provided legal counsel-
ing to many of these same youth in an effort to help
them understand their immigration options since the
Department of Homeland Security (“DHS”) decided to
rescind DACA in September 2017. When DHS re-
scinded DACA, eligible recipients initially had only
four weeks to apply for renewal. As a result, amici
scrambled to help their clients meet the new deadline
and to consider whether there were any newly-availa-
ble options to gain immigration status.2 Staff at many
of the amici organizations worked around the clock to

    1
       All parties have filed blanket consents to the filing of ami-
cus briefs. Blanket Consents filed by Petitioner and Respondents,
Dep’t of Homeland Security v. Regents of the Univ. of California
(No. 18-587) (July 10, 2019, July 17, 2019, July 23, 2019, July 29,
2019, July 30, 2019, July 31, 2019, and Aug. 1, 2019). Pursuant
to Supreme Court Rule 37.6, counsel for amici represent that this
brief was not authored in whole or in part by counsel for a party
and that none of the parties or their counsel, nor any other person
or entity other than amici, their members, or their counsel, made
a monetary contribution intended to fund the preparation or sub-
mission of this brief.
     2
       Amici regularly screened clients for eligibility for forms of
immigration relief that would lead to permanent immigration sta-
tus before assisting clients with applications for DACA.




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                                                  2

contact and counsel as many clients subject to the new
deadline as possible and to quickly organize legal clin-
ics to meet their clients’ legal needs. Amici have ob-
served firsthand the profound negative effects the
Government’s decision to rescind DACA has had on
their clients and the uncertainty their clients now face
in every aspect of their lives. As a result of their work
with undocumented immigrants generally, and DACA-
eligible individuals in particular, amici are well-posi-
tioned to articulate the nature of the reliance interests
engendered by DACA, the legal framework DACA-eli-
gible individuals must navigate if DACA is rescinded,
and the effects rescission would have on their clients,
their organizations, and the communities they serve.3
                   ------------------------------------------------------------------

             SUMMARY OF ARGUMENT
    In applying for DACA, hundreds of thousands of
brave young people raised their hands and announced
their presence in the United States, encouraged by the
federal government’s assurances that they would be
considered for protection from immigration enforce-
ment action. Relying on these assurances, DACA recip-
ients applied for work authorization, pursued their
educations, planned for their families’ futures, and im-
proved their lives in ways they had dreamed of for

    3
       Counsel for amici have interviewed and/or received infor-
mation from the legal services organizations that are filing this
brief. Information throughout the brief that relates to these or-
ganizations’ clients was obtained through these interviews and/or
related requests for information.




                                                                                         AR6143
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                           3

years. Then, on September 5, 2017, DHS abruptly re-
scinded DACA, causing immediate chaos, uncertainty,
and fear. If the judgments below are reversed and the
rescission of DACA is reinstated, hundreds of thou-
sands of young people will face a frightening and
uncertain future, despite assurances from the Govern-
ment that enticed them to come forward in the first
place. Nearly all DACA recipients will lose the ability
to apply for work authorization (likely leading them to
lose their jobs and health insurance) and countless
other resources they have worked hard to acquire. Los-
ing DACA will leave most DACA recipients without
any protection from deportation and force them either
to leave the only country they have known since early
childhood or to live in constant fear of removal. The re-
scission of DACA would also harm many family mem-
bers of DACA recipients, including U.S.-citizen
children, who rely on them for support.
     If DACA is rescinded, amici—legal services organ-
izations that serve these young people and other vulner-
able immigrant populations—would also be harmed.
They would struggle to meet the needs of an enormous
population of immigrants suddenly in need of immedi-
ate legal advice and assistance. Amici already experi-
enced this situation once, when they were thrown into
chaos after the Government issued its decision to re-
scind DACA in September 2017, during the one-month
window originally imposed for filing renewal applica-
tions. At the same time that demands on their time
would greatly increase, amici would also lose valuable




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                                                4

DACA-recipient staff, whom amici hired and trained in
reliance on DACA.
     Despite all this, DHS did not consider, let alone ad-
dress, the dire consequences its decision would have.
Not only is it reckless for an administrative agency to
play fast and loose with people’s lives in this way, it is
also unlawful. This Court has made clear that, under
the Administrative Procedure Act (“APA”), when an ad-
ministrative agency changes policy it must consider,
among other things, the reliance interests engendered
by the previous policy. It must also provide an expla-
nation for the change that is cogent and consistent.
Where, as here, an agency neither considers reliance
interests nor provides a cogent and consistent expla-
nation for its decision, that decision is arbitrary and
capricious. The reliance interests at stake here are
substantial because hundreds of thousands of DACA
recipients have no choice other than to rely upon the
continuation of DACA. The rescission of DACA would
inflict very real, tangible damage on hundreds of thou-
sands of people who came forward to be counted and to
contribute to this nation, on their dependents, and on
the legal services organizations that work tirelessly to
serve this community. The Government’s failure to
even consider these foreseeable and significant conse-
quences of its change in policy renders the rescission
unlawful.
                 ------------------------------------------------------------------




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                          5

                    ARGUMENT
I.     The Government Completely Failed to Con-
       sider How Rescinding DACA Would Affect
       Those Who Reasonably Relied on DACA
       and, as a Result, the Rescission Is Arbitrary
       and Capricious.
     If the Government’s decision to rescind DACA is
upheld, the effects on DACA recipients will be severe.
Most have no other available path to obtain work au-
thorization, earn a living, or pursue an education, and
will find themselves in legal uncertainty and without
the means to support themselves and their families.
The organizations that support them will lose the sig-
nificant investments they have made in hiring and
training their DACA-recipient employees and in devel-
oping DACA-related programs. At the same time, these
organizations will likely be overwhelmed with thou-
sands of new requests for assistance as DACA recipi-
ents struggle to find ways to protect what they have
achieved since 2012. The Government’s decision to re-
scind DACA without considering any of these harms to
the individuals’ and organizations’ reliance interests
was arbitrary and capricious.




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                              6

        A. The Government Induced DACA Recipi-
           ents to Rely on DACA and Then Ignored
           Their Reliance Interests, in Violation of
           the APA.
     The abrupt announcement that DHS was termi-
nating DACA upended the lives of hundreds of thou-
sands of DACA recipients, yet the agency had not even
considered the effects its decision would have on their
reliance interests. Through the implementation and
continuation of DACA, the Government induced young
undocumented immigrants brought to the United
States as children to rely on DACA. Through DACA,
they had new opportunities to obtain students loans to
attend college, apply for work authorization so that
they could work for living wages, obtain driver’s li-
censes, and otherwise fully participate in society with-
out fear of removal. During this period, DACA
recipients have become even more integral to their
communities, to which they have been making signifi-
cant, positive contributions for years. Their reliance on
DACA only increased over the five years that DACA
remained in existence without adverse action by the
Administration or the courts.4
    Despite the enormous reliance interests created
by the incentives and opportunities the Government
presented to recipients of DACA, upon which the Gov-
ernment knew DACA recipients extensively relied, the
Government nevertheless failed to consider these

    4
      See, e.g., Crane v. Johnson, 783 F.3d 244, 255 (5th Cir.
2015); Arpaio v. Obama, 797 F.3d 11, 25 (D.C. Cir. 2015).




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reliance interests when it rescinded DACA, plunging
hundreds of thousands of young people into legal, edu-
cational, financial, and familial uncertainty. Rescind-
ing DACA would strip recipients of the ability to plan
for their futures in the only country they have known
since early childhood and eliminate their ability to
support themselves and those who rely on them—in-
cluding their parents, spouses, and U.S.-citizen chil-
dren. Instead of considering these interests—or even
acknowledging them—DHS moved ahead with an ill-
conceived policy change affecting hundreds of thou-
sands of young people, overnight. That is not only bad
policy, it is also unlawful because it renders the deci-
sion arbitrary and capricious under the APA.
     When an agency has not engaged in a reasoned
decision-making process, which, among other things,
must include consideration of “serious reliance inter-
ests” engendered by the previous policy, the agency’s
decision is arbitrary and capricious and will not be up-
held. FCC v. Fox Television Stations, Inc., 556 U.S. 502,
514–15 (2009); see also Encino Motorcars, LLC v. Na-
varro, 136 S. Ct. 2117, 2125–27 (2016). This is so even
if the parties have no constitutionally-protected liberty
or property interests in the continuation of the previ-
ous policy. The agency cannot simply disregard reli-
ance interests when changing policy. See Encino
Motorcars, 136 S. Ct., at 2126 (explaining that an
agency must articulate a reason for a changed position
and take into account that “longstanding policies may
have engendered serious reliance interests”).




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     The record establishes that DHS paid no attention
to the reliance interests of DACA recipients or others
affected by its decision until months after the decision
was made. DHS only acknowledged these interests at
all after courts began holding that the agency was re-
quired to consider such reliance interests. Indeed, the
Duke Memorandum rescinding DACA made no refer-
ence whatsoever to the rescission’s effect on DACA re-
cipients. Memorandum from Acting Secretary Elaine
C. Duke on Rescission of Deferred Action for Childhood
Arrivals (DACA) (Sept. 5, 2017), available at https://
www.dhs.gov/news/2017/09/05/memorandum-rescission-
daca (hereinafter the “Duke Memorandum”). Four
months later, in January 2018, the U.S. District Court
for the Northern District of California noted that the
Secretary should have weighed “DACA’s programmatic
objectives as well as the reliance interests of DACA re-
cipients,” but failed to do so. Regents of Univ. of Cali-
fornia v. United States Dep’t of Homeland Security, 279
F. Supp. 3d 1011, 1044 (N.D. Cal. 2018). Similarly, in
February 2018, when the U.S. District Court for the
Eastern District of New York enjoined the Government
from rescinding DACA, it determined that there was
no evidence whatsoever in the record that DHS had
considered how rescission would affect DACA recipi-
ents. New York v. Trump, 17-CV-5228 (NGG) (JO)
(E.D.N.Y. Feb. 13, 2018) (slip op., at 43) (“The record
does not indicate that Defendants acknowledged, let
alone considered, these or any other reliance interests
engendered by the DACA program.” (emphasis added)).




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A few months later, in April 2018, the U.S. District
Court for the District of Columbia “vacated” the Duke
Memorandum but stayed its decision to allow the Gov-
ernment an opportunity to more fully explain its deci-
sion. Order, Nat’l Ass’n for the Advancement of Colored
People v. Trump, Civ. Action No. 17-1907 (JDB) (D.D.C.
Apr. 24, 2018) (hereinafter the “D.D.C. Order”) (“Be-
cause DHS failed to even acknowledge how heavily
DACA beneficiaries had come to rely on the expecta-
tion that they would be able to renew their DACA ben-
efits, its barebones legal interpretation was doubly
insufficient and cannot support DACA’s rescission.”).
     It was not until June 2018, nine months after the
Duke Memorandum, and six months after the Northern
District of California enjoined the DACA rescission,
that DHS paid lip-service to the idea of considering
DACA recipients’ reliance interests in a memorandum
issued in response to an order from the D.C. District
Court. See Memorandum from Secretary Kirstjen M.
Nielsen on the Rescission of Deferred Action for Child-
hood Arrivals (DACA) at 3 (June 22, 2018) (hereinafter
the “Nielsen Memorandum”). Even then, the Secretary
merely asserted, without providing any reasoning,
analysis, or explanation, that any reliance interests
that existed were outweighed by the allegedly ques-
tionable legality of DACA and “other reasons for end-
ing the policy.” Id. This perfunctory nod to reliance
interests is insufficient, especially in light of DHS’s
earlier contention in the litigation that any reliance




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interests were not longstanding or serious enough to
even require consideration. See Memorandum of Law
in Opp’n Pl.’s Mots. Prelim. Injunction, New York v.
Trump, 1:17-CV-5228 (NGG) (JO) (E.D.N.Y. Jan. 13,
2018) at 16–17. “[A]bsent any good explanation, a
party should not be allowed to gain an advantage by
litigation on one theory, and then seek an inconsistent
advantage by pursuing an incompatible theory.” New
Hampshire v. Maine, 532 U.S. 742, 749 (2001) (citing 18
C. Wright, A. Miller, & E. Cooper, Federal Practice and
Procedure § 4477 at 782 (1981)).
     In its opening brief, the Government does not even
meaningfully contest its failure to consider reliance in-
terests. Pet. Br. at 42–43. Instead, it argues that Secre-
tary Nielsen need not have considered any reliance
interests held by stakeholders because DACA was a
“temporary stop-gap measure” that “confer[red] no sub-
stantive right.” Id. But, merely asserting that DACA
was not intended to create reliance interests does not
demonstrate that those interests did not exist, let
alone that the agency may ignore such interests. See
Encino Motorcars, 136 S. Ct. at 2126. The Eastern Dis-
trict of New York noted as much when it correctly dis-
missed DHS’s argument, explaining that a substantive
right need not exist for the agency to be required to
consider reliance interests engendered by a policy the
agency seeks to change. New York v. Trump, 17-CV-
5228 (NGG) (JO) (slip op., at 4) (citing Encino Motorcars,
136 S. Ct., at 2124–26); see also D.D.C. Order (“Because
DHS failed to even acknowledge how heavily DACA
beneficiaries had come to rely on the expectation that




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they would be able to renew their DACA benefits, its
barebones legal interpretation was doubly insufficient
and cannot support DACA’s rescission.”). Even Secre-
tary Nielsen explicitly acknowledged that “recipients
have availed themselves of [DACA] in continuing their
presence in this country and pursuing their lives.”
Nielsen Memorandum at 3.
     The Government also failed to consider any other
reliance interests, including those of amici, who have
worked tirelessly to assist DACA recipients and have
built extensive programs and infrastructure within
their organizations in reliance on DACA. They have
also hired and trained DACA recipients in reliance on
DACA. Even if the Secretary’s statements constituted
adequate consideration of the reliance interests of
DACA recipients—and they do not—there is nothing
in the record that indicates the Government gave any
consideration to reliance interests of amici or the harm
they would suffer upon DACA’s rescission.
     The rescission of DACA and its effects on both re-
cipients and the organizations who serve and employ
them would mean that hundreds of thousands of peo-
ple may suddenly face the complicated immigration re-
moval system alone and without legal assistance,
given the serious limitations on resources many amici
(and other organizations like them) will face, described
infra. Given the enormity of the interests at stake and
the profound reliance interests generated over the
course of years, DHS’s failure to consider these inter-
ests when it rescinded DACA renders that decision ar-
bitrary and capricious.




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        B. DACA Recipients’ Reliance Interests Are
           Significant Because Most Do Not Qualify
           for Other Forms of Immigration Relief.
     Amici routinely screened DACA-eligible immi-
grants to determine whether they qualified for immi-
gration relief under any available program. The vast
majority of their DACA-eligible clients do not qualify
for permanent immigration status or any other form of
protection from removal from the United States.5
Moreover, contrary to popular perception, there is no
provision that protects DACA recipients from removal
based on how long they have lived in the United States,
even if they have been here nearly all their lives, con-
tributed positively to their communities, and excelled
academically. Additionally, despite arguments made in
other contexts, such as the ongoing litigation in the
U.S. District Court for the Southern District of Texas,
DACA did not create a “loophole” by which DACA re-
cipients could “cut in line” to obtain immigration relief
or citizenship ahead of those applicants who applied
from their home countries. See, e.g., Pl.’s Mot. Prelim.
Injunction and Memorandum in Support, Texas v.
United States, 1:18-cv-68 (S.D. Tex. 2018) at 3. Rather,

    5
       As Respondents note, DACA is consistent with various Acts
of Congress that view undocumented immigrants who came here
as children or have been in the United States for a long time as
low enforcement priorities. See Brief of Respondents the States of
California, et al. at 32 n. 11, Dep’t of Homeland Security v. Regents
of the Univ. of California, Nos. 18-587, 18-588, 18-589 (U.S. Sept.
27, 2019). As set forth in the Office of Legal Counsel opinion cited
therein, DACA is consistent with this legislation. Id. at 4, 43; J.A.
827 n. 8.




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DACA provided young people who had no choice
whether to immigrate to the United States with a path
to obtain immigration relief that is entirely distinct
from DHS’s visa-granting programs. The tiny fraction
of DACA recipients who have obtained lawful immi-
gration status were eligible for such status inde-
pendently of DACA.
     Amici’s experience, based upon years of screening
and advising DACA-eligible clients, is that most have
not suffered the requisite harm to be eligible for hu-
manitarian forms of immigration relief, and do not
have qualifying relatives through whom they can ap-
ply for family-based relief. Academic research confirms
amici’s experience. See, e.g., Tom K. Wong, et al., Paths
to Lawful Immigration Status: Results and Implications
from the PERSON Survey, 2 J. Migration and Hum. Se-
curity 4, 287–304 (2014). The rescission of DACA there-
fore would leave the vast majority of DACA recipients
without any protection from deportation.
     Humanitarian-based immigration options, such as
asylum, Special Immigrant Juvenile Status (“SIJS”),
and U and T visas, are narrowly-tailored forms of relief
that typically require applicants to have survived per-
secution; parental neglect, abandonment, or abuse; a
serious crime; or a severe form of human trafficking.6



    6
       See 8 U.S.C. § 1158 (asylum) (based on past persecution or
a well-founded fear for future persecution); 8 U.S.C. § 1101(a)(27)
(SIJS); 8 U.S.C. § 1101(a)(15)(U) (U visas); 8 U.S.C. § 1101(a)(15)(T)
(T visas); 8 U.S.C. § 1101(a)(51) (VAWA).




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Most DACA recipients have not experienced these
hardships and do not qualify for these forms of relief.
     Most DACA recipients are also not eligible for
family-based immigration relief because they do not
have a qualifying relative. Even those very few DACA
recipients who might have a qualifying relative would
typically have to leave the country to apply for a fam-
ily-based visa at a U.S. consulate abroad. Moreover,
most would face strict bars to re-entry because their
original entry (even though they were children at the
time) was unlawful, resulting in the accrual of “unlaw-
ful presence” between the age of 18 and receipt of
DACA.7 8 U.S.C. § 1182(a)(9)(B)–(C). The average DACA
recipient who applied in 2012 was 20 years old and
thus had already accrued two years of unlawful pres-
ence before receiving DACA, which results in a ten-
year bar to re-entering the United States. See Tom K.
Wong, et al., 2017 National DACA Study, Ctr. for Am.
Progress (Aug. 28, 2017) at 12 (hereinafter the “2017
National DACA Study”); 8 U.S.C. § 1182(a)(9)(B)(i)(II).
DACA recipients would have to abandon their families,
jobs, and schools, and leave the only country most of
them have ever known since early childhood, to wait
out this ten-year period in their country of birth. Al-
though unlawful presence may be waived, the stand-
ards are so difficult to meet that few DACA recipients

    7
      DACA recipients who have accrued unlawful presence
and depart the United States are barred from re-entry for varying
lengths of time, depending on their length of unlawful presence
and number of entries. 8 U.S.C. §§ 1182(a)(9)(B)(i)(I)–(II);
1182(a)(9)(C).




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are likely to qualify. In practice, then, these time bars
act as complete barriers to relief.
     Given how few DACA recipients qualify for immi-
gration status or relief from removal, and the legal
and practical hurdles they face even if they do qualify,
the reality is that rescinding DACA would strip most
recipients of the ability to work legally and obtain pro-
tection from deportation—and therefore will inevita-
bly result in real and profound damage to the reliance
interests that DACA recipients have nurtured since
DACA’s inception.


     C. Most DACA Recipients Will Lose the Abil-
        ity to Work, Drive, Pay for College, and
        Plan for Their Lives if DACA Is Re-
        scinded.
    The reliance interests that DHS so blithely ig-
nored in deciding to rescind DACA involve matters
that are fundamental to DACA recipients’ lives—in-
deed, they are matters fundamental to nearly all
Americans. Because the vast majority of DACA recipi-
ents are not eligible for most other forms of immigra-
tion relief, they rely on DACA for their educational,
professional, financial, and familial stability. Without
DACA, families, workplaces, and communities will be
disrupted and torn apart.
     The revocation of DACA would strip its recipients
of the ability to live and work legally in this country
and would remove any protection from deportation.
But the elimination of DACA would strike at




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opportunities that “reverberate far beyond th[e] privi-
leges” of legally living and working in the United
States. Caitlin Dickerson, For DACA Recipients, Losing
Protection and Work Permits Is Just the Start, The New
York Times (Sept. 7, 2017), https://www.nytimes.com/
2017/09/07/us/daca-losses-immigration.html (herein-
after “Losing Protection”). DACA recipients have been
able to participate fully in economic life and pursue
higher educational opportunities more readily. For ex-
ample, DACA recipients who are now able to work le-
gally have been paying Social Security taxes with the
expectation that they will be eligible for Social Secu-
rity benefits upon retirement, which they will lose if
DACA is rescinded.8 And 69% of DACA recipients
“earn[ed] more money [after qualifying for DACA],
which . . . helped [them] become financially independ-
ent.” 2017 National DACA Study at 3. As a result of
their employment, many DACA recipients also ob-
tained employer-based health insurance. See Jessica
Ferger, Rescinding DACA Could Spur a Public Health
Crisis, from Lost Services to Higher Rates of Depression,
Substance Abuse, Newsweek (Sept. 6, 2017), https://
www.newsweek.com/daca-immigration-heath-care-
access-mental-health-660539. After the implementa-
tion of DACA, approximately 80% of DACA recipients

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       Soc. Sec. Admin., Social Sec. No. and Card-Deferred Action for
Childhood Arrivals, https://www.ssa.gov/pubs/deferred_action.pdf
(last visited Sept. 25, 2019); Jose Magaña-Salgado & Tom K.
Wong, Draining the Trust Funds: Ending DACA and the Conse-
quences to Social Security and Medicare, Immigrant Legal Re-
source Center (Oct. 2017), https://www.ilrc.org/sites/default/files/
resources/2017-09-28_draining_the_trust_funds.pdf.




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obtained driver’s licenses for the first time and approx-
imately 65% of recipients pursued educational opportu-
nities they previously could not pursue. 2017 National
DACA Study at 7, 9.
     DACA recipients not only benefitted from opportu-
nities newly available to them, but undertook obliga-
tions in reliance on DACA as well. They made “life
decisions such as buying homes, pursuing graduate de-
grees, and starting families. Those decisions came with
major obligations that may be unmanageable without
a steady job or benefits, but that cannot be canceled or
renegotiated.” Dickerson, Losing Protection. If DACA is
rescinded, investments in student loans, business
start-up costs, employment opportunities, cars, and
homes will lose most—if not all—of their value. Count-
less DACA recipients, heeding advice that education is
the key to advancement, undertook significant student
loan debt to earn degrees they trusted would lead to
better, high-paying jobs, but which, without DACA, are
worthless. For example, one DACA recipient who took
out $100,000 in student loans to get through college,
reported that, without work authorization, she will
likely not even “be able to renew her apartment lease,”
let alone “fulfill her dreams of attending law school.”
See Maria Sacchetti, Patricia Sullivan and Ed O’Keefe,
DACA Injunction Adds to Limbo for “Dreamers” as
Trump Crackdown, Hill Talks Continue, The Washing-
ton Post (Jan. 10, 2018). And another DACA recipient,
who in 2017 had already borrowed approximately
$40,000 to cover her law school expenses—and ex-
pected to borrow at least $20,000 more to complete her
degree—feared that, without DACA, she would be




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unable to practice law and would have to rely on much
lower-paying jobs to make ends meet. Dickerson, Los-
ing Protection. Many of amici’s clients are students
with similar experiences, having taken out loans and
worked hard to put themselves through school to be-
come police officers, psychologists, and dentists. Oth-
ers, who were finally able to apply for mortgages and
buy homes—“the pinnacle of the American Dream”—
feared they would be unable to pay for the homes they
had purchased when they were able to work legally.
See Parija Davilanz, For Dreamers, DACA’s End Could
Mean Losing Their Homes, CNN (Jan. 24, 2018), https://
money.cnn.com/2018/01/24/news/economy/daca-dreamers-
homeowners/index.html.
     Moreover, DACA recipients made life-altering de-
cisions about their family lives in reliance on DACA.
These choices will be upended if DACA is rescinded;
the effects will be terribly disruptive and will deeply
impact U.S. citizens as well. Many DACA recipients
will be forced to make heart-breaking decisions about
the future of their families, and in particular about the
future of their U.S.-citizen children. DACA recipients
who are parents will have to decide whether to take
their U.S.-citizen children with them if they leave or
are deported (separating their children from the com-
munities they know and significantly disrupting their
lives) or face long-term and possibly permanent sepa-
ration from their children. Priscilla Alvarez, Will
DACA Parents Be Forced to Leave Their U.S.-Citizen
Children Behind?, The Atlantic (Oct. 21, 2017), https://




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www.theatlantic.com/politics/archive/2017/10/donald-
trump-daca/543519/ (explaining that, because of the
rescission of DACA, an estimated 200,000 U.S.-citizen
children are at risk of being separated from their
DACA-recipient parents). As of 2017, approximately
25% of DACA recipients had a child who is a U.S. citi-
zen. Id. If these DACA recipients decide to leave their
U.S.-citizen children in the United States, they will
need to make legal, practical, and financial arrange-
ments for the care and custody of those children.
     These harms are not speculative. One study pro-
filed a DACA recipient who “was born in Mexico, but
came to the United States at the age of nine. She re-
ceived DACA when she was studying for a master’s de-
gree at Stanford. She bought a house, married another
DACA recipient, and has two children who are U.S. cit-
izens.” Julia Carrie Wong, Fear and Uncertainty for
Dreamers as DACA Ends: ‘Where am I going to go?’,
The Guardian (Sept. 5, 2017), https://www.theguardian.
com/us-news/2017/sep/05/dreamers-daca-trump-ends-
program-fears-for-future. This DACA recipient is not
eligible for other immigration relief, so she and her
partner must consider options “to protect [their]
daughters in case [they] are deported.” Id. Amici are
aware of countless similar situations among their cli-
ents, which cause their clients a significant amount of
stress and anxiety. See generally Forum: Monday Po-
litical News Roundup, KQED (Feb. 26, 2018), https://
www.kqed.org/forum/2010101864021/monday-political-
news-roundup (discussing “state of limbo” faced by
DACA recipients).




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     The reliance interests of DACA recipients in
DACA’s continuation implicate every facet of their lives
and their communities. These interests are substantial,
and the consequences of rescinding DACA would be
dire for DACA recipients and their families. Nonethe-
less, the record indicates the Government ignored
these interests, and went so far as to claim they were
too insubstantial to warrant consideration, despite the
Government’s obligation to consider reliance interests
as part of its reasoned decision-making. The decision
to rescind the policy without even acknowledging these
interests was thus arbitrary and capricious.


     D. Rescinding DACA Will Also Harm Organ-
        izations that Represent DACA-Eligible
        Individuals.
     Given amici’s role in providing services to their
DACA-recipient clients, amici understand that the pri-
mary harm that would occur if DACA were rescinded
would be to DACA recipients. However, DACA’s rescis-
sion would also have countless ripple effects in myriad
communities throughout the country. The harm caused
to amici represents just one, albeit grave, example of
these harms. If DACA is rescinded, amici and similar
organizations will lose the benefit of the significant in-
vestment of time and resources that have been ex-
pended in reliance on DACA’s existence. They will be
overwhelmed with client needs resulting from the re-
scission and face those needs with depleted staff as
their DACA-recipient employees become ineligible for
work permits. Many amici are leanly staffed and




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funded and will not have the resources needed to meet
the emergent legal needs of thousands of new and ex-
isting clients who will be plunged into crisis if DACA
is rescinded. This effect on the legal services organiza-
tions will in turn cause additional harm to DACA re-
cipients, as they try to find legal assistance in a
community of overwhelmed legal services providers.
     The rescission of DACA would upend the pro-
grams and resources crafted by amici in reliance on
the guidelines, and it would render moot amici’s in-
vestment of substantial time and funding in the years
following announcement of the guidelines. Amici’s re-
liance on DACA increased as the eligible population
became more comfortable coming forward. As hun-
dreds of thousands successfully received deferred ac-
tion and the few legal challenges that were brought
failed without this Court granting further review,
amici organizations shifted and increased program-
ming to meet community needs. Since DACA’s incep-
tion in 2012, amici and similar organizations have
played a critical role in counseling candidates eligible
for DACA and ensuring they receive the step-by-step
legal assistance they need to apply for DACA. Many or-
ganizations spent significant resources educating the
community about DACA after it was first announced.
When the guidelines were initially implemented, eligi-
ble immigrants were hesitant to apply out of fear the
Government would use their application information
to remove them from the United States. For instance,
staff at Church World Service (“CWS”) recall that fear
was so rampant that, initially, no participants would




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show up to DACA informational sessions or clinics.
CWS and other amici expended considerable time and
effort to assuage these fears and help clients build the
courage to apply for DACA, which eventually came to
be understood as a reliable and safe path for young
adults brought here as children to obtain deferred ac-
tion and work authorization.
     As those education efforts succeeded, the organi-
zations shifted to providing large-scale legal assis-
tance. Amici and similar organizations screened
candidates for eligibility for DACA as well as for more
permanent forms of immigration relief. They helped
those who were eligible for DACA apply in the first in-
stance and later helped DACA recipients apply to re-
new. Amici’s role has included: (i) screening interested
candidates for DACA eligibility criteria, including tak-
ing account of each applicant’s unique circumstances;
(ii) assisting eligible candidates to complete and file
DACA applications—a complicated process that U.S.
Citizenship and Immigration Services (“USCIS”) itself
has recognized often requires legal assistance;9 (iii) as-
sisting with follow-up, including responding to USCIS
requests for evidence; (iv) handling renewal applica-
tions, including giving additional legal advice resulting
from a change in an applicant’s circumstances; and (v)
aiding DACA applicants and recipients in applying for

    9
       See Find Legal Services, USCIS, https://www.uscis.gov/
avoid-scams/find-legal-services (last visited Sept. 26, 2019) (“If
[applicants] are not sure . . . which USCIS forms to submit, then
[they] may need immigration legal advice from an authorized ser-
vice provider.”).




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employment authorization, which involves filing a
seven-page application and analyzing over twenty-five
pages of instructions.10
     To keep up with demand, amici gradually in-
creased DACA-related programs, trainings, and staff
positions. For example, the Legal Aid Society in New
York City (the “Society”) handles several hundred
DACA cases per year. The Society works on individual
DACA renewals on an ongoing basis, and holds group
application assistance clinics at pro bono law firms
where they can counsel numerous applicants in a sin-
gle day. In order to keep up with demand, paralegal
staff became Department of Justice-accredited repre-
sentatives so that they could assist with DACA renew-
als, as well as with other immigration matters. As a
part of their training, the Society began providing par-
alegal case managers with DACA-specific training be-
cause, given the volume of its DACA practice, nearly
all case managers were working on DACA cases. All of
these shifts required investments of time and money.
For the Society and many other amici, the rescission of
DACA means that the resources invested in providing
DACA-specific training to case managers and develop-
ing application assistance clinics over the past seven
years will all be lost.
    Since 2012, amici have also been committed to
outreach activities aimed at ensuring that information
about DACA reaches its intended beneficiaries. Amici

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     See I-765, Application for Employment Authorization,
USCIS, https://www.uscis.gov/i-765 (last visited Sept. 26, 2019).




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have devoted substantial time and resources to provid-
ing young immigrants with accessible and reliable
information about DACA by, for example, creating
know-your-rights pamphlets, hosting clinics and infor-
mation sessions, promoting information through social
media, and counseling members of their communities.
Many organizations have dedicated significant re-
sources toward this effort, and have been forced to de-
vote even more since September 2017 to keep their
clients well-informed.
     Rescission of DACA would also cause legal ser-
vices organizations to be inundated with calls from
new and prospective clients with questions and con-
cerns about their immigration status. Amici would be
forced to divert their already-strained resources to tri-
age this influx of need, much like they experienced dur-
ing the one-month renewal period following issuance
of the Duke Memo. See infra Section II.B. Many amici
would also be faced with the difficult process of re-
screening almost all of their DACA-eligible clients, and
likely others who did not come forward for legal assis-
tance when they initially applied for DACA, to identify
any forms of relief that may now be available to them.
Many amici have served hundreds and even thousands
of DACA clients and will be overwhelmed with the in-
creased need. For example, the Society has assisted
thousands of DACA recipients over the last seven
years. When initial applications began in August 2012,
the demand for services far outpaced the agency’s abil-
ity to meet the need, with the result that desperate
young would-be applicants spent the night camped




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outside its Brooklyn office in the hopes of being among
the people served the next morning. Should DACA be
rescinded, similar demands are anticipated.11 If in the
end there is no alternative form of relief available to
specific DACA recipients, it will be impossible for amici
to represent them all in removal proceedings given
that there are nearly 700,000 potentially affected indi-
viduals.12 This will leave DACA-recipient clients, who
will have significant legal needs, with very limited op-
tions.
     Finally, rescission of DACA would prevent DACA
recipients from renewing employment authorization,
so amici may lose valuable employees who rely on
DACA. Staff of amici who are DACA recipients have
desirable language skills and cultural competency to
work with immigrant communities. Their experiences,
knowledge, existing networks, and trust within their
communities render them uniquely suited to meet the
needs of such communities. The loss of these staff
would not only disrupt amici’s ability to provide


    11
        Volunteers of Legal Service (“VOLS”), for example, which
has only three full-time immigration staff, would need to re-
screen the more than 600 DACA recipients they served.
     12
        Beyond the burden placed on amici and their clients if re-
moval proceedings were initiated against 700,000 individuals,
immigration courts would also be tremendously burdened by add-
ing this number of removal proceedings to the over 1 million pro-
ceedings that are currently backlogged. See Michelle Hackman,
U.S. Immigration Courts’ Backlog Exceeds One Million Cases, The
Wall Street Journal (Sept. 18, 2019), https://www.wsj.com/articles/
u-s-immigration-courts-backlog-exceeds-one-million-cases-115688
45885.




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compassionate, informed services, but also could inca-
pacitate some amici through the sudden loss of these
employees. The individual clients of DACA-recipient
employees will lose their advocates, and this work will
be difficult for amici to transition to others in their or-
ganizations, given that most amici are leanly staffed.
The loss of staff at exactly the same time when demand
for their services increases substantially would be dev-
astating to amici and all of their clients.
     Amicus organization Immigrant Justice Corps
(“IJC”), for example, employs DACA recipients as part
of its fellowship program, the mission of which is to re-
cruit, train, and populate the immigration field with
high-quality legal advocates. Attorneys and non-attor-
neys (who become Department of Justice-accredited
representatives) represent immigrants before DHS
and in court through the fellowship program in a vari-
ety of immigration matters, including DACA applica-
tions. These fellows, including DACA recipients, have
served more than 60,000 clients since the fellowship
program’s inception in 2014. The DACA-recipient fel-
lows, as individuals directly affected by immigration
policies, bring a unique and invaluable perspective on
the immigration system and its impact on individuals
and families. The loss of these fellows would substan-
tially harm both the program and the clients the pro-
gram serves.
    Given amici’s reliance interests, even were DHS’s
statements to constitute evidence of adequate consid-
eration of the reliance interests of the DACA recipi-
ents—and they do not—there is nothing in the record




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that indicates the Government gave any consideration
to reliance interests of amici that provide services and
employment to DACA recipients or the harm they
would face from rescission. See Fox Television Stations,
556 U.S. at 515–16 (explaining that when a “prior pol-
icy has engendered serious reliance interests . . . [i]t
would be arbitrary or capricious to ignore such mat-
ters,” and an agency seeking to change the policy must
provide a “reasoned explanation for disregarding facts
and circumstances that underlay or were engendered
by the prior policy”). The Government’s complete fail-
ure to consider or acknowledge any of these important
reliance interests renders the decision to rescind
DACA arbitrary and capricious.


II.   The Government’s Justifications for Re-
      scinding DACA Are Belied by the Nature of
      Its Implementation.
     The Government’s decision to rescind DACA was
internally inconsistent because allowing some DACA
recipients to renew, but requiring them to do so on an
arbitrarily short timeline, runs counter to the Govern-
ment’s stated justifications for rescission and its own
policy statements. First, despite its arguments in this
litigation that DACA was unlawful, the Government
implemented a narrow exception when it rescinded
DACA, allowing a small number of DACA recipients to
renew during a short window. If DHS believed that
DACA was unlawful, it should not have allowed renew-
als at all. Second, when it rescinded DACA, DHS im-
posed a one-month window for applying for renewal,




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while also declaring that its goal was an “orderly” end
to DACA. If DHS truly intended an orderly wind-down
of DACA, it would not have imposed an arbitrary and
unreasonably short deadline on the complicated re-
newal process, and the chaos that ensued proves this
point.
     When DACA was adopted in 2012, young undocu-
mented immigrants brought to the United States as
children were told by DHS that they could apply to re-
main and work lawfully in the United States. See Mem-
orandum from Janet Napolitano, Sec’y of Homeland
Security, U.S. Dep’t of Homeland Security, to David V.
Aguilar, Acting Comm’r, U.S. Customs and Border
Prot., et al., at 2–3 (June 15, 2012). The policy’s intent
was to avoid “expel[ling] talented young people, who,
for all intents and purposes, are Americans.” President
Barack Obama, Remarks by the President on Immigra-
tion (June 15, 2012), https://obamawhitehouse.archives.
gov/the-press-office/2012/06/15/remarks-president-
immigration. Even after DHS rescinded DACA, Presi-
dent Trump referenced allowing DACA recipients to be
able to remain safely in the country:
    We’re looking at allowing people to stay here.
    We’re working with everybody. . . . Everybody
    is on board. . . . We’re not talking about am-
    nesty. We’re talking about . . . taking care of
    people, people that were brought here, people
    that have done a good job, and were not
    brought here of their own volition.




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Sheryl Gay Stolberg and Yamiche Alcindor, Trump’s
Support for Law to Protect ‘Dreamers’ Lifts Its Chances,
The New York Times (Sept. 14, 2017), https://www.nytimes.
com/2017/09/14/us/politics/trump-daca-dreamers.html.
President Trump also indicated that he would revisit
the continuation of DACA if a deal did not pass Con-
gress within six months. Sophie Tatum, Trump: I’ll ‘Re-
visit’ DACA if Congress Can’t Fix In 6 Months, CNN
(Sept. 6, 2017), https://www.cnn.com/2017/09/05/politics/
donald-trump-revisit-daca/index.html. The rescission
of DACA and the rescission’s devastating effects were
not consistent with these kinds of statements.


         A. The Government’s Justification for Re-
            scission that DACA Was Illegal Was In-
            consistent With Allowing Some DACA
            Recipients to Renew.
     Although the Duke Memorandum claimed that
DACA contained “legal and constitutional defects,” it
provided an exception to total rescission for a limited
set of DACA recipients. This opportunity was limited
to individuals whose status was expiring between Sep-
tember 5, 2017 and March 5, 2018, despite USCIS’s
past practice of allowing a one-year renewal grace pe-
riod (which in many cases was utilized because candi-
dates were unable to afford the $495 filing fee given
the financial strains experienced by many DACA recip-
ients).13 Any renewals filed subject to the exception

    13
       Prior to the announcement of the exception to the rescis-
sion, USCIS had in its written guidance that DACA provided a
one-year grace period for DACA recipients to renew their status




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were required to be physically received by USCIS on
or before October 5, 2017. Duke Memorandum. Indi-
viduals eligible for this exception could renew their
work authorization for an additional two years, assum-
ing they could quickly file before the renewal window
closed on October 5, 2017.
     The Government’s decision to allow for renewal of
DACA status without explaining how, if DACA were
truly unlawful, it could continue to violate the law, is
itself arbitrary and capricious. See Encino Motorcars,
136 S. Ct. at 2126 (“[A]n ‘unexplained inconsistency’ in
agency policy ‘is a reason for holding an interpretation
to be an arbitrary and capricious change. . . .’ ” (inter-
nal citation omitted)). The lower courts correctly recog-
nized this. See D.D.C. Order, Civ. Action No. 17-1907
(JDB) (slip op., at 41–45); Regents, 279 F. Supp. 3d,
1011 at 1045–46; New York v. Trump, 17-CV-5228
(NGG) (JO) (slip op., at 37–39).
     Without any statements from the Government in
the record on this point, there is no basis on which to
come to any other conclusion. See also Motor Vehicle
Mfrs. Ass’n of U.S., Inc. v. State Farm Mut. Auto. Ins.
Co., 463 U.S. 29, 48 (1983) (explaining that this Court


after it expired. See https://www.uscis.gov/archive/frequently-
asked-questions (“If you file after your most recent DACA period
expired, but within one year of its expiration, you may submit a
request to renew your DACA.”). The Government failed to account
for the fact that certain individuals were within that one-year
grace period and waiting to renew in reliance on the USCIS guid-
ance. Based on the way the exception was implemented, these in-
dividuals could not reapply.




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has “frequently reiterated that an agency must co-
gently explain why it has exercised its discretion in a
given manner” in order to pass arbitrary and capri-
cious review). Ultimately, the Government articulated
no good reasons whatsoever for how it handled this im-
portant decision, which negatively affected so many
people and organizations. As a result, the Govern-
ment’s actions were arbitrary and capricious.


     B. The Chaotic Nature of the Rescission’s
        Implementation Refutes the Govern-
        ment’s Purported Desire for an “Orderly
        Wind-Down” of DACA.
     The Government argues that it rescinded DACA
in order to bring about an “orderly wind-down” of
DACA rather than having DACA ended through litiga-
tion. Pet. Br. at 34–35. However, the way in which the
Government implemented the rescission supports the
findings of every lower court decision before the Court
that the rescission was arbitrary and capricious. Once
the rescission was announced, USCIS set an unprece-
dented and arbitrary one-month window—from Sep-
tember 5, 2017 to October 5, 2017—for eligible
individuals, subject to the exception discussed above,
to renew DACA. The chaos this would cause was clear
from the beginning—when the rescission was an-
nounced, members of Congress repeatedly warned
USCIS that a one-month window for renewals was un-
realistic, particularly given the economic realities for




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many DACA recipients and the logistics of processing
a large volume of applications by mail.14
     This manner of implementing the alleged “careful”
and “gradual[ ]” rescission, Pet. Br. at 56, did, in fact,
result in chaos for amici and their clients. The termi-
nation of DACA and the arbitrary one-month window
for renewal applications forced amici—who serve as a
critical bridge in communicating information from
USCIS to thousands of intended beneficiaries—to
scramble. Amici had less than one month to both de-
velop and implement a comprehensive response, in-
cluding engaging in extensive community outreach

    14
        On September 26, 2017, ninety-two members of Congress
wrote a letter to Secretary Duke stating that “the decision to re-
quire all DACA recipients whose permits expire in the next six
months to have their renewal submitted by October 5th is a dead-
line that is arbitrary and puts an undue financial burden on many
law-abiding people within the program.” Letter from Members of
Congress to Elaine C. Duke, Acting Sec’y, Dep’t Homeland Secu-
rity (Sept. 26, 2017), https://newhouse.house.gov/sites/newhouse.
house.gov/files/DACA%20Deadline%20Extension%20Letter_0.pdf.
     The Congressional Hispanic Caucus, on September 28, asked
the administration to “exercise common sense” and extend the
deadline. Press Release, Congressman Gutiérrez, Reps. Roybal-
Allard, Lujan Grisham, Gutiérrez Statement on October 5th
DACA Deadline (Sept. 28, 2017), https://roybal-allard.house.gov/news/
documentsingle.aspx?DocumentID=398344.
     The Caucus wrote a final letter, on October 3, stating that
50,000 recipients—nearly one third of those eligible—had not
submitted their applications due to tight timeframes and the sub-
stantial application fee. It again urged an extension. Press Re-
lease, Congressional Hispanic Caucus, CHC Request Reset of
DACA Renewal Deadline (Oct. 3, 2017), https://congressional
hispaniccaucus-castro.house.gov/media-center/press-releases/
chc-requests-reset-of-daca-renewal-deadline.




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and counseling candidates who were immediately and
adversely impacted by the rescission. This included an
emergency outreach process, wherein lawyers and
staff made efforts to identify and contact previous
DACA clients to notify them of the upcoming renewal
deadline. For many clients this required individualized
outreach by telephone and other means, which con-
sumed considerable resources and required the diver-
sion of staff and other resources from other important
programs.
     The sudden and unanticipated rescission also
generated fear and mistrust, which compounded the
difficulties amici experienced conducting outreach.
Otherwise eligible individuals became reluctant to ac-
cess legal services or provide information to USCIS. In
some instances, guidance counselors and social work-
ers called amici on behalf of DACA applicants fearful
of meeting with lawyers and staff. This need to liaise
with intermediaries before being able to reach affected
individuals further complicated the outreach process
and forced amici to expend even more resources. For
instance, amici were forced to postpone other client ap-
pointments in an attempt to triage among DACA re-
newal clients and other immigration cases, deferring
work on other cases until after the renewal deadline.
     In light of these harms, the Government’s asser-
tion that it was trying to accomplish an “orderly wind-
down” of DACA strains credulity. Pet. Br. at 34–35. The
predictable scramble and the harm caused by imple-
mentation of the renewal window showed that the Gov-
ernment’s decision was not “the product of reasoned




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decisionmaking.” See Motor Vehicle Mfrs. Ass’n of U.S.,
463 U.S. at 43, 52. Instead, the implementation is in-
dicative of the haphazard and thoughtless way in
which the Government handled the rescission as a
whole. The Government has not provided any evidence
to support its decision to rescind DACA, especially on
such an expedited timeline. See Perez v. Mortg. Bankers
Ass’n, 135 S. Ct. 1199, 1209 (2015) (“[T]he APA requires
an agency to provide more substantial justification
when . . . its prior policy has engendered serious reli-
ance interests that must be taken into account.” (em-
phasis added) (internal citations and quotations
omitted)). The Government’s decision to give appli-
cants and the organizations that serve them only one
month to conduct thousands of attorney-client consul-
tations and prepare tens of thousands of applications
provides insight into the capricious nature of the deci-
sion-making process that went into the decision to re-
scind DACA, and it therefore cannot be upheld.
                ------------------------------------------------------------------

                       CONCLUSION
     DACA recipients relied on DACA to develop their
family, educational, financial, and professional lives,
and they stand to lose all they have invested in this
process if DACA is rescinded. Amici organizations
have worked tirelessly to serve these deserving youth,
but will be stretched far beyond capacity if DACA is, in
fact, rescinded. They will lose staff and resources and
their clients will suffer. The Government failed to con-
sider the profound effects rescinding DACA would




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have on the reliance interests of those who had relied
on DACA, and this failure renders the rescission arbi-
trary and capricious. For all of these reasons, the judg-
ments of the U.S. Court of Appeals for the Ninth
Circuit, the U.S. District Court for the Eastern District
of New York, and the U.S. District Court for the District
of Columbia should be affirmed.
                                Respectfully submitted,
JONATHAN S. KOLODNER            MAUREEN P. ALGER
JESSA DEGROOTE                    Counsel of Record
DAVID Z. SCHWARTZ               MONIQUE R. SHERMAN
ABBEY GAUGER                    COOLEY LLP
CLEARY GOTTLIEB STEEN           3175 Hanover Street
  & HAMILTON LLP                Palo Alto, CA 94304
One Liberty Plaza               (650) 843-5000
New York, NY 10006              malger@cooley.com
(212) 225-2000
                                MARY KATHRYN KELLEY
                                COOLEY LLP
                                4401 Eastgate Mall
                                San Diego, CA 92121
                                KYLE C. WONG
                                COOLEY LLP
                                101 California Street
                                5th Floor
                                San Francisco, CA 94111
                                Counsel for Amici Curiae




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                    APPENDIX
     Amici include the following legal services organi-
zations:
    1.   African Services Committee
    2.   American Gateways
    3.   Asian Law Alliance
    4.   Brooklyn Defender Services
    5.   Canal Alliance
    6.   Catholic Charities of Southern New Mexico
    7.   Central American Resource Center of
         California
    8.   Central West Justice Center
    9.   Centro Legal de la Raza
    10. Children’s Law Center of Massachusetts
    11. Church World Service
    12. Community Legal Center
    13. Community Legal Services in East Palo Alto
    14. Diocesan Migrant & Refugee Services, Inc.
    15. Dolores Street Community Services
    16. East Bay Sanctuary Covenant
    17. Empire Justice Center
    18. Equal Justice Center
    19. Heartland Alliance’s National Immigrant
        Justice Center
    20. Hebrew Immigrant Aid Society (HIAS)
        Pennsylvania




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                      2a

 21. Immigrant Justice Corps
 22. Immigrant Law Center of Minnesota
 23. Immigrant Legal Advocacy Project
 24. Immigrant Legal Center
 25. Immigrant Legal Resource Center
 26. Just Neighbors
 27. Justice Center of Southeast Massachusetts
 28. The Latin American Association
 29. La Union del Pueblo Entero
 30. Legal Aid Justice Center
 31. The Legal Aid Society in New York City
 32. Legal Aid Society of San Mateo County
 33. Legal Services for Children
 34. Massachusetts Law Reform Institute
 35. MinKwon Center for Community Action
 36. National Justice for Our Neighbors
 37. New Mexico Immigrant Law Center
 38. New York Legal Assistance Group
 39. Northern Manhattan Improvement
     Corporation
 40. Northwest Immigrant Rights Project
 41. OneJustice
 42. Refugee and Immigrant Center for
     Education and Legal Services
 43. Rocky Mountain Immigrant Advocacy
     Network




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 44. Safe Horizon
 45. Services, Immigrant Rights, and Education
     Network
 46. UnLocal, Inc.
 47. Volunteers of Legal Service




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                                              June 22, 2020

   President Donald Trump
   The White House
   1600 Pennsylvania Avenue, NW
   Washington, D.C. 20500

   Dear President Trump:

   Following the Supreme Court’s landmark decision rejecting your repeal of Deferred Action for
   Childhood Arrivals (DACA), we strongly urge you to change course and use your executive
   authority to protect, not deport, the young immigrants who are eligible for DACA.

   Eight years ago, following bipartisan requests from Congress, President Obama used his legal
   authority to establish DACA. DACA provides temporary protection from deportation on an
   individualized basis to immigrants who arrived in the United States as children if they register
   with the government, pay a fee, and pass criminal and national security background checks. The
   young people who are eligible for DACA, known as Dreamers, are American in every way
   except for their immigration status. More than 800,000 Dreamers have come forward and
   received DACA. DACA has unleashed the full potential of Dreamers, who are contributing to
   our country as soldiers, nurses, teachers, and small business owners, and in many other ways.

   In the midst of the COVID-19 pandemic, more than 200,000 DACA recipients are working in
   occupational areas that your Administration’s Department of Homeland Security (DHS)
   identifies as part of the “essential critical infrastructure workforce.” This includes an estimated
   41,700 DACA recipients working in the health care industry, including physicians and
   physicians in training, intensive care nurses, paramedics, respiratory therapists, nursing
   assistants, and health technicians. It makes no sense to continue your efforts to deport these
   essential workers to countries they barely remember even as our nation grapples with the
   COVID-19 pandemic.

   When you announced your repeal of DACA, you called on Congress to “legalize DACA,” but
   since then, you have rejected numerous bipartisan deals to protect Dreamers. For example, on
   January 11, 2018, in a meeting in the Oval Office, you profanely rejected a bipartisan
   immigration agreement that included protection for Dreamers and a large down payment on your
   beloved border wall. On February 15, 2018, the Senate considered a bipartisan amendment
   offered by Senators Mike Rounds (R-SD) and Angus King (I-ME) which included a path to
   citizenship for Dreamers. A bipartisan majority supported the amendment, but it failed to reach
   the 60 votes needed to pass because your Administration issued a strident statement of
   opposition. On the same day, the Senate rejected your hardline immigration proposal by a
   bipartisan supermajority of 39-60.




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   On June 4, 2019, the House of Representatives passed H.R. 6, the American Dream and Promise
   Act, legislation that would give Dreamers a path to citizenship, on a strong bipartisan vote of
   237-187. The American Dream and Promise Act has now been pending in the Senate for more
   than a year. Without your support, it is unlikely that Senate Republican Leader Mitch
   McConnell will schedule it for a vote.

   Mr. President, it is not too late for you to do the right thing. Specifically, we call on you to
   immediately:

      1. Publicly announce that you will not make another attempt to repeal DACA;

      2. Comply with the Supreme Court’s decision by directing DHS to follow the June 15,
         2012, memo issued by then-Secretary of Homeland Security Janet Napolitano called,
         Exercising Prosecutorial Discretion with Respect to Individuals Who Came to the United
         States as Children; and

      3. Endorse the American Dream and Promise Act, which would pass the Senate on a strong
         bipartisan vote if you simply called on Leader McConnell to bring it to a vote.

   As the Supreme Court has recognized, our nation can continue to protect Dreamers. By contrast,
   your Administration’s efforts to deport DACA recipients are needlessly cruel and would weaken
   our nation’s essential workforce. While only Congress can provide a pathway to citizenship for
   Dreamers, it is up to you whether that process is done as smoothly and as harmlessly as possible
   so that these young immigrants who have benefitted from America in countless ways can also
   continue contributing to our nation.

   It would be an American tragedy to deport DACA recipients who are saving lives in the midst of
   this pandemic. We must ensure these talented young immigrants are not forced to stop working
   when the need for their public service has never been greater. And we must give them the
   chance they deserve to become American citizens.

   We, and hundreds of thousands of Dreamers, await your response.

                                                 Sincerely,
           Joaquin Castro                                                   Lucille Roybal-Allard
         Member of Congress                                                 Member of Congress
         A. Donald McEachin                 Adam B. Schiff                     Adam Smith
         Member of Congress                Member of Congress                Membr of Congress
          Adriano Espaillat                    Al Green                      Alan Lowenthal
         Member of Congress                Member of Congress               Member of Congress
            Albio Sires                     Alcee L. Hastings             Alexandria Ocasio-Cortez
         Member of Congress                Member of Congress               Member of Congress
        Alma S. Adams, Ph.D.                Ami Bera, M.D.                    André Carson
        Member of Congress                 Member of Congress               Member of Congress


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           Andy Kim               Ann Kirkpatrick          Anna G. Eshoo
        Member of Congress       Member of Congress      Member of Congress
         Antonio Delgado          Ayanna Pressley           Barbara Lee
        Member of Congress       Member of Congress      Member of Congress
          Ben Ray Luján          Bennie G. Thompson       Betty McCollum
        Member of Congress       Member of Congress      Member of Congress
           Bill Foster             Bobby L. Rush       Bonnie Watson Coleman
        Member of Congress       Member of Congress     Member of Congress
        Brenda L. Lawrence       Carolyn B. Maloney      Cedric L. Richmond
        Member of Congress       Member of Congress      Member of Congress
        Donald M. Payne, Jr.      Danny K. Davis            Darren Soto
        Member of Congress       Member of Congress      Member of Congress
          David E. Price          David N. Cicilline        David Scott
        Member of Congress       Member of Congress      Member of Congress
          Deb Haaland              Debbie Dingell      Debbie Mucarsel-Powell
        Member of Congress       Member of Congress     Member of Congress
           Dina Titus              Doris Matsui           Earl Blumenauer
        Member of Congress       Member of Congress      Member of Congress
       Eleanor Holmes Norton       Eliot L. Engel        Emanuel Cleaver, II
        Member of Congress       Member of Congress      Member of Congress
          Filemon Vela            Frank Pallone, Jr.     Frederica S. Wilson
        Member of Congress       Member of Congress      Member of Congress
         G. K. Butterfield       Gerald E. Connolly     Gilbert R. Cisneros, Jr.
        Member of Congress       Member of Congress      Member of Congress
        Grace F. Napolitano         Grace Meng             Greg Stanton
        Member of Congress       Member of Congress      Member of Congress
        Gregory W. Meeks           Gwen Moore             Hakeem Jeffries
        Member of Congress       Member of Congress      Member of Congress
      Henry C. "Hank" Johnson,
                 Jr.               J. Luis Correa          Jackie Speier
        Member of Congress       Member of Congress      Member of Congress
          Jahana Hayes           James P. McGovern       James R. Langevin
        Member of Congress       Member of Congress      Member of Congress
          Jamie Raskin            Jan Schakowsky           Jared Huffman
        Member of Congress       Member of Congress      Member of Congress




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           Jason Crow             Jerrold Nadler         Jesús G. "Chuy" García
        Member of Congress      Member of Congress        Member of Congress
           Jim Costa              Jimmy Panetta              Joe Neguse
        Member of Congress      Member of Congress        Member of Congress
         John Garamendi           José E. Serrano        Joseph P. Kennedy, III
        Member of Congress      Member of Congress        Member of Congress
           Juan Vargas             Judy Chu                 Julia Brownley
        Member of Congress      Member of Congress        Member of Congress
           Karen Bass            Katherine Clark           Linda T. Sánchez
        Member of Congress      Member of Congress        Member of Congress
        Lisa Blunt Rochester      Lloyd Doggett              Lori Trahan
        Member of Congress      Member of Congress        Member of Congress
         Madeleine Dean           Marc Veasey               Marcy Kaptur
        Member of Congress      Member of Congress        Member of Congress
           Mark Pocan             Mark Takano            Nanette Diaz Barragán
        Member of Congress      Member of Congress       Member of Congress
         Norma J. Torres        Nydia M. Velázquez          Paul D. Tonko
        Member of Congress      Member of Congress        Member of Congress
          Pete Aguilar           Peter A. DeFazio          Pramila Jayapal
        Member of Congress      Member of Congress        Member of Congress
        Raja Krishnamoorthi       Rashida Tlaib             Raúl Grijalva
        Member of Congress      Member of Congress        Member of Congress
           Ro Khanna             Rosa L. DeLauro            Ruben Gallego
        Member of Congress      Member of Congress        Member of Congress
         Salud O. Carbajal      Sanford D. Bishop, Jr.      Scott H. Peters
        Member of Congress      Member of Congress        Member of Congress
         Steven Horsford          Susan A. Davis           Suzanne Bonamici
        Member of Congress      Member of Congress        Member of Congress
         Sylvia R. Garcia         Ted W. Lieu                 TJ Cox
        Member of Congress      Member of Congress        Member of Congress
          Tony Cárdenas          Val B. Demings            Veronica Escobar
        Member of Congress      Member of Congress        Member of Congress
         Vicente Gonzalez        Yvette D. Clarke           Zoe Lofgren
        Member of Congress      Member of Congress        Member of Congress
          Joyce Beatty           Raul Ruiz, M.D.          Sheila Jackson Lee
        Member of Congress      Member of Congress        Member of Congress


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                                                      July 1, 2020
   Kenneth T. Cuccinelli
   Senior Official Performer Duties of the Director
   U.S. Citizenship and Immigration Services
   U.S. Department of Homeland Security
   20 Massachusetts Avenue NW M.S. 2090
   Washington, D.C. 20529
   Dear Mr. Cuccinelli,
   We are writing to urge U.S. Citizenship and Immigration Services (USCIS) to immediately begin
   accepting new applications for the Deferred Action for Childhood Arrivals (DACA) program.
   On June 18, 2020, in an opinion authored by Chief Justice Roberts, the Supreme Court ruled that
   the Trump administration’s attempted rescission of DACA was arbitrary and capricious, in
   violation of the Administrative Procedure Act. This conclusion rests on the well-settled principle
   of administrative law that “[a]n agency must defend its actions based on the reasons it gave when
   it acted,” a principle that the Department of Homeland Security violated in its haste to deport
   hundreds of thousands of Dreamers.1
   We were disturbed to see that the USCIS website includes a statement that the recent U.S.
   Supreme Court decision “has no basis in law.” 2 As noted above, the Court correctly held that
   the Trump administration violated fundamental tenets of administrative law in its eagerness to
   end DACA. We should not need to tell you that under our Constitution, the U.S. Supreme Court,
   not the Administration, determines whether the rescission of DACA was lawful. 3 USCIS and
   the Administration must faithfully administer our nation’s immigration laws by providing clear
   guidance implementing the Court’s order.
   The Supreme Court’s decision was also a moral victory for the hundreds of thousands of
   Dreamers across our country, for their families and communities, and for our core values as a
   nation of immigrants. We were extremely disappointed to see Administration officials ignore
   their mandate and use USCIS’s public platform to make a political attack undermining the rule
   of law and Dreamers.



   1
     Department of Homeland Security v. Regents of the University of California, 2020 WL 321746 at * 14 , 17 (June
   18, 2020) (noting that the Department had “entirely failed” to consider obvious alternatives to complete rescission
   od DACA and had refused to consider the important reliance interests that DACA had engendered)( quoting Motor
   Vehicle Mfrs. Ass’n of US., Inc. v. State Farm Mut. Auto. Ins. Co. 463 U.S. 29, 43 (1983)).
   2
     USCIS STATEMENT ON SUPREME COURT’S DACA DECISION , USCIS, June 19, 2020, available at
   https://www.uscis.gov/news/news-releases/uscis-statement-supreme-courts-daca-decision
   3
     See U.S. CONST., art. VI, § 2 and Marbury v. Madison, 5 U.S. 137, 175–78 (1803).

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   We ask that you not only remove the statement, but also provide clear guidance to the public and
   USCIS employees that you will immediately begin accepting new DACA applications, and will
   resume accepting and adjudicating applications for advance parole for DACA recipients.
                                              Sincerely,

         Joaquin Castro               Lucille Roybal-Allard             Jerrold Nadler
       Member of Congress             Member of Congress              Member of Congress
                                        Zoe Lofgren
                                      Member of Congress
        Adam B. Schiff                   Adam Smith                    Adriano Espaillat
       Member of Congress              Membr of Congress              Member of Congress
           Al Green                    Alan Lowenthal                    Albio Sires
       Member of Congress             Member of Congress              Member of Congress
     Alexandria Ocasio-Cortez        Alma S. Adams, Ph.D.              Ami Bera, M.D.
       Member of Congress            Member of Congress               Member of Congress
         André Carson                  Ann Kirkpatrick                  Anna G. Eshoo
       Member of Congress             Member of Congress              Member of Congress
       Anthony G. Brown                 Ayanna Pressley                  Barbara Lee
       Member of Congress              Member of Congress             Member of Congress
         Ben Ray Luján                Bennie G. Thompson                Bobby L. Rush
       Member of Congress             Member of Congress              Member of Congress
     Bonnie Watson Coleman            Brenda L. Lawrence              Carolyn B. Maloney
      Member of Congress              Member of Congress              Member of Congress
       Cedric L. Richmond              Danny K. Davis                    Darren Soto
       Member of Congress             Member of Congress              Member of Congress
        David N. Cicilline               David Scott                    David Trone
       Member of Congress             Member of Congress              Member of Congress
         Deb Haaland                Debbie Mucarsel-Powell             Diana DeGette
       Member of Congress            Member of Congress               Member of Congress
          Dina Titus                  Donald M. Payne, Jr.              Doris Matsui
       Member of Congress             Member of Congress              Member of Congress
         Dwight Evans                  Earl Blumenauer               Eleanor Holmes Norton
       Member of Congress             Member of Congress              Member of Congress
         Eliot L. Engel               Emanuel Cleaver, II               Filemon Vela
       Member of Congress             Member of Congress              Member of Congress
        Frank Pallone, Jr.            Gerald E. Connolly             Gilbert R. Cisneros, Jr.
       Member of Congress             Member of Congress              Member of Congress
                                                  2

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       Grace F. Napolitano            Grace Meng            Greg Stanton
       Member of Congress          Member of Congress     Member of Congress
       Gregory W. Meeks              Gwen Moore            Hakeem Jeffries
       Member of Congress          Member of Congress     Member of Congress
    Henry C. "Hank" Johnson, Jr.      Ilhan Omar            J. Luis Correa
       Member of Congress          Member of Congress     Member of Congress
         Jackie Speier               Jahana Hayes         James P. McGovern
       Member of Congress          Member of Congress     Member of Congress
       James R. Langevin             Jamie Raskin          Jan Schakowsky
       Member of Congress          Member of Congress     Member of Congress
         Jared Huffman                Jason Crow           Jennifer Wexton
       Member of Congress          Member of Congress     Member of Congress
     Jesús G. "Chuy" García          Jimmy Gomez            Jimmy Panetta
      Member of Congress           Member of Congress     Member of Congress
          Joe Neguse                 José E. Serrano      Joseph P. Kennedy, III
       Member of Congress          Member of Congress      Member of Congress
          Juan Vargas                 Judy Chu              Julia Brownley
       Member of Congress          Member of Congress     Member of Congress
          Karen Bass               Katherine M. Clark      Kathleen M. Rice
       Member of Congress          Member of Congress     Member of Congress
        Linda T. Sánchez           Lisa Blunt Rochester     Lloyd Doggett
       Member of Congress          Member of Congress     Member of Congress
          Lori Trahan               Madeleine Dean          Marc Veasey
       Member of Congress          Member of Congress     Member of Congress
          Mark Pocan                 Mark Takano          Nanette Diaz Barragán
       Member of Congress          Member of Congress     Member of Congress
          Nita Lowey                Norma J. Torres       Nydia M. Velázquez
       Member of Congress          Member of Congress     Member of Congress
         Pete Aguilar               Peter A. DeFazio       Pramila Jayapal
       Member of Congress          Member of Congress     Member of Congress
       Raja Krishnamoorthi           Rashida Tlaib         Raúl M. Grijalva
       Member of Congress          Member of Congress     Member of Congress
        Raul Ruiz, M.D.             Rosa L. DeLauro         Ruben Gallego
       Member of Congress          Member of Congress     Member of Congress
        Salud O. Carbajal            Scott H. Peters       Steven Horsford
       Member of Congress          Member of Congress     Member of Congress
                                              3

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        Susan A. Davis          Suzanne Bonamici        Sylvia R. Garcia
      Member of Congress       Member of Congress      Member of Congress
        Ted W. Lieu              Terri A. Sewell           TJ Cox
      Member of Congress       Member of Congress      Member of Congress
        Tony Cárdenas           Veronica Escobar        Vicente Gonzalez
      Member of Congress       Member of Congress      Member of Congress
                                Yvette D. Clarke
                               Member of Congress




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                                 STATE OF WASHINGTON




   July 1, 2020



   The Honorable Donald J. Trump
   President of the United States
   The White House
   1600 Pennsylvania Avenue NW
   Washington, D.C. 20500

   Dear Mr. President:

   As elected officials from across the state of Washington, we write to you united in our support
   for the more than 16,000 young people covered by the Deferred Action for Childhood Arrival
   (DACA) program who call our state home.

   These aspiring Washingtonians who contribute to our state and economy have built their lives
   here and are part of the fabric of our communities. They are students, teachers, doctors, and
   small-business professionals who are working, studying, and raising families. Their great
   courage, grit, and determination embody the American Dream. We are proud that they have
   given Washington the honor of being their home.

   We are heartened by the Supreme Court’s June 18 decision ensuring that DACA recipients can
   continue to live their lives free from the fear and uncertainty they have shouldered since your
   decision to terminate the program in 2017. Particularly at a time when immigrant communities
   are facing disproportionate health and economic impacts from the COVID-19 pandemic, this
   new measure of security is sorely needed.

   However, in their ruling, the Court remanded the issue back to the U.S. Department of Homeland
   Security (DHS) and left open the possibility that your administration may continue to pursue
   termination of the DACA program. If you were to proceed down that path, we are confident that
   you would cause staggering costs to our economy and substantial injury to employers across our
   state. More importantly, it would carry a devastating human toll for the thousands of DACA
   recipients we represent. These young people know no other place as their home and would be
   torn apart from their lives, their families, their jobs, and their communities. We hope you
   recognize that these costs are far too great to pursue further action on this issue.




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   We strongly encourage you to abandon any efforts to terminate a program that directly benefits
   thousands of Washingtonians who we are proud to serve. Instead, it is our fervent hope that you
   choose the path of empathy and reason by ensuring that these young people remain here at home,
   in America, where they belong.

   Very truly yours,




    Jay Inslee                                     Speaker Laurie Jinkins
    Governor                                       Washington State House of Representatives




    Senator Andy Billig                            Senator Marko Liias
    Majority Leader, Wasington State Senate        Washington State Senate




    Representative Alex Ramel                      Representative Frank Chopp
    Washington State House of Representatives      Washington State House of Representatives




    Senator Jamie Pedersen                         Senator Lisa Wellman
    Washington State Senate                        Washington State Senate




    Representative My-Linh Thai                    Representative Strom Peterson
    Washington State House of Representatives      Washington State House of Representatives




    Senator Karen Keiser                           Senator Joe Nguyen
    Washington State Senate                        Washington State Senate




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    Senator Dean Takko                          Representative Mike Sells
    Washington State Senate                     Washington State House of Representatives




    Representative Tana Senn                    Representative Jake Fey
    Washington State House of Representatives   Washington State House of Representatives




    Senator Liz Lovelett                        Senator Claire Wilson
    Washington State Senate                     Washington State Senate




    Representative Christine Kilduff            Senator Reuven Carlyle
    Washington State House of Representatives   Washington State Senate




    Representative Mia Gregerson                Representative Vandana Slatter
    Washington State House of Representatives   Washington State House of Representatives




    Representative Gerry Pollet                 Representative Timm Ormsby
    Washington State House of Representatives   Washington State House of Representatives




    Representative Mari Leavitt                 Representative Steve Tharinger
    Washington State House of Representatives   Washington State House of Representatives




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    Representative Amy Walen                    Representative Lisa Callan
    Washington State House of Representatives   Washington State House of Representatives




    Representative Dave Paul                    Senator Derek Stanford
    Washington State House of Representatives   Washington State Senate




    Representative Joe Fitzgibbon               Representative Eileen Cody
    Washington State House of Representatives   Washington State House of Representatives




    Representative Cindy Ryu                    Representative Roger Goodman
    Washington State House of Representatives   Washington State House of Representatives




    Representative Sharon Tomiko Santos         Senator Patty Kuderer
    Washington State House of Representatives   Washington State Senate




    Senator Mona Das                            Senator Steve Conway
    Washington State Senate                     Washington State Senate




    Representative Sharon Wylie                 Representative Debra Lekanoff
    Washington State House of Representatives   Washington State House of Representatives




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    Representative Sharon Shewmake              Representative Mike Chapman
    Washington State House of Representatives   Washington State House of Representatives




    Senator Sam Hunt                            Senator Rebecca Saldaña
    Washington State Senate                     Washington State Senate




    Representative Lauren Davis                 Representative Pat Sullivan
    Washington State House of Representatives   Washington State House of Representatives




    Representative Tina Orwall                  Representative Marcus Riccelli
    Washington State House of Representatives   Washington House of Representatives




    Senator David Frockt                        Representative Javier Valdez
    Washington State Senate                     Washington State House of Representatives




    Senator Emily Randall                       Representative Davina Duerr
    Washington State Senate                     Washington State House of Representatives




    Representative Nicole Macri                 Representative Jesse Johnson
    Washington State House of Representatives   Washington State House of Representatives




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    Representative Beth Doglio                  Representative John Lovick
    Washington State House of Representatives   Washington State House of Representatives




    Representative Steve Kirby                  Representative Brian Blake
    Washington State House of Representatives   Washington State House of Representative




    Senator June Robinson                       Senator Manka Dhingra
    Washington State Senate                     Washington State Senate




    Senator Bob Hasegawa                        Representative Lillian Ortiz-Self
    Washington State Senate                     Washington State House of Representatives




    Senator Annette Cleveland                   Representative Zack Hudgins
    Washington State Senate                     Washington State House of Representatives




    Representative Eric Pettigrew               Representative Bill Ramos
    Washington State House of Representatives   Washington State House of Representatives



    Senator Steve Hobbs                         Senator Christine Rolfes
    Washington State Senate                     Washington State Senate




                                                                                            AR6193
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    Representative Sherry Appleton              Represenative Monica Jurado Stonier
    Washington State House of Representatives   Washington State House of Representatives




    Represenatative Melanie Morgan              Represenative Debra Entenman
    Washington State House of Represenatives    Washington State House of Representatives




    Representative Noel Frame                   Representative Laurie Dolan
    Washington State House of Represenatives    Washington State House of Representatives




    Representative Shelley Kloba                Representative Mike Pellicciotti
    Washington State House of Representatives   Washington State House of Representatives




    Representative Gael Tarleton                Representative Emily Wicks
    Washington State House of Representatives   Washington State House of Representastives




    Representative Jared Mead                   Senator Jeannie Darneille
    Washington State House of Representatives   Washington State Senate



    Senator Jesse Salomon                       Representative Larry Springer
    Washington State Senate                     Washington State House of Representatives




                                                                                            AR6194
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    Senator Kevin Van De Wege
                                                Senator Mark Mullet
    Washington State Senate
                                                Washington State Senate




    Representative Steve Berquist               Representative Drew Hansen
    Washington State House of Representatives   Washington State House of Representatives




    Representative Brian Blake
    Washington State House of Representatives




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Bitta Mostofi            July 6, 2020
Commissioner                                                By ESEC External at 11:42 am, Jul 07, 2020


253 Broadway
                         Chad F. Wolf
14th Floor               Acting Secretary
New York, NY 10007       U.S. Department of Homeland Security
                         245 Murray Lane, S.W.
212-788-7654 tel
212-788-9389 fax
                         Washington, D.C. 20528

www.nyc.gov/immigrants   Joseph Edlow
                         Deputy Director for Policy
                         U.S. Citizenship and Immigration Services
                         Department of Homeland Security
                         20 Massachusetts Avenue, N.W.
                         Washington, D.C. 20529


                         Dear Acting Secretary Wolf and Deputy Director Edlow,

                         As the Commissioner of the New York City Mayor’s Office of Immigrant
                         Affairs, I write today to urge the U.S. Department of Homeland Security
                         (“DHS”) and U.S. Citizenship and Immigration Services (“USCIS”) to honor
                         the Supreme Court’s June 18, 2020, decision in Department of Homeland
                         Security et al. v. Regents of the University of California et al and restore the
                         Deferred Action for Childhood Arrivals (“DACA”) program to how it was
                         being administered before DHS’s 2017 decision to terminate the program.

                         New York City has long supported the DACA program, as DACA recipients
                         and DACA eligible individuals are integral to our communities and have
                         significantly contributed to our City’s culture and economy. In our City
                         alone, there are approximately 30,000 young immigrants who have benefited
                         from the program as well as an additional 45,000 who could become eligible
                         to apply. The City has had the privilege of witnessing firsthand the enormous
                         contributions of DACA recipients and eligible individuals—including as our
                         public school teachers, nurses at our hospitals, business owners, and as City
                         government employees.

                         The Supreme Court recognized in its decision that not only have individual
                         DACA recipients relied on the program—but further, this reliance has
                         “radiate[d] outward” to encompass families, schools, businesses, and cities
                         like ours. DHS v. Regents of the University of California, 591 U.S. ___, *24
                         (2020). The decision rightfully restores the DACA program to its original
                         state in 2012. DHS and USCIS must abide by this decision and immediately
                         reinstate the DACA program by accepting and processing initial applications
                         as well as advance parole applications.


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                    As part of the reinstatement, USCIS must immediately issue clear guidance
                    and accompanying instructions on how it plans to accept and process initial
                    DACA and advance parole applications. USCIS must also conduct
                    extensive outreach and education about its plans to current DACA
                    recipients, DACA eligible individuals, and others impacted by this decision
                    such as local governments, educational institutions, and employers. Such
                    outreach efforts should include mechanisms for addressing feedback like
                    stakeholder calls and a stakeholder roundtable with legal services providers
                    and members of the impacted community.

                    The Supreme Court’s decision leaves no room for doubt that the DACA
                    program must be reinstated fully and entirely to its original condition . DHS
                    and USCIS must commit to following and implementing this clear decision
                    immediately not only because the rule of law demands it, but also because
                    the DACA program is an incredibly successful policy that improves the
                    lives of young immigrants and benefits employers, communities, and cities
                    across the nation.

                    Sincerely,




                    Bitta Mostofi
                    Commissioner, Mayor’s Office of Immigrant Affairs




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Bethany Christian Services     July 8, 2020

Council for Christian
Colleges and Universities
                               Dear President Trump,

Ethics and Religious
Liberty Commission of the
Southern Baptist               Last month, while the U.S. Supreme Court ruled on the Deferred Action for
Convention                     Childhood Arrival (DACA) case in such a way that maintains it for the moment,
                               the Court also affirmed the authority of your administration to terminate DACA
Faith and Community            via a different process. We are writing to urge you, consistent with the request of
Empowerment                    Evangelical Immigration Table leaders in August 2017, to leave DACA in place
                               until such time as Congress has passed legislation to permanently protect
National Association of        Dreamers, and to encourage you to sign such legislation into law.
Evangelicals
                               As we have communicated to our congressional leaders, we continue to believe
National Latino                that this situation merits a permanent, legislative solution for these young
Evangelical Coalition          immigrants who consider America their home and are contributing to our
                               communities in so many ways, including in the response to and recovery from the
World Relief                   COVID-19 pandemic. As president, you have an important role to play – not only
                               in signing legislation that reaches your desk, but in signaling your support and
                               urging Congress to act.

                               We ask you to publicly and consistently urge congressional leaders to urgently
                               pass legislation to create a pathway for those who arrived in the U.S. as children
                               and who meet other necessary and appropriate qualifications to earn permanent
                               legal status and, eventually, citizenship. Polls show such pathway legislation is
                               supported by the majority of evangelical Christians as well as the majority of
                               those who voted for you in 2016. Permanence for Dreamers has robust support
                               among all Americans.

                               Consistent with your past comments affirming your concern and “great love” for
                               this population, we plead with you to work toward good faith compromise that
                               would both be compassionate to immigrants and respect the rule of law. As
                               always, we are committed to praying for you and your administration, as well as
                               for the immigrant individuals and families whose lives and livelihoods are
                               directly affected by your deliberations.




                        Sincerely,

                                                  The Evangelical Immigration Table
                                                www.EvangelicalImmigrationTable.com


                                                                                                                AR6199
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               Scott Arbeiter, President, World Relief

               Shirley Hoogstra, President, Council for Christian Colleges and Universities

               Hyepin Im, President & CEO, Faith and Community Empowerment

               Walter Kim, President, National Association of Evangelicals

               Russell Moore, President, Ethics & Religious Liberty Commission of the Southern
               Baptist Convention

               Chris Palusky, President & CEO, Bethany Christian Services

               Gabriel Salguero, President, National Latino Evangelical Coalition




                                  The Evangelical Immigration Table
                                www.EvangelicalImmigrationTable.com


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   July 9, 2020

      An Open Letter to the President and Congress on Dreamers from America’s Mayors

   Dear Mr. President and Members of the U.S. House of Representatives and the U.S. Senate:

   We write on behalf of the nation’s mayors to urge that the Administration fully maintain the
   Deferred Action for Childhood Arrivals (DACA) program until Congress passes legislation that
   would enable Dreamers – people who have lived in America since they were children and built
   their lives here – to earn lawful permanent residence and eventually American citizenship, if they
   meet certain criteria. And we urge Congress to seize the moment and pass this legislation as
   quickly as possible. We pledge to work with you in this effort and do whatever we can to assist
   you in seeing this important legislation enacted into law this year.

   The United States Conference of Mayors has had strong policy supporting permanent legal status
   for Dreamers and extension of the DACA program for many years, and our bipartisan
   organization has adopted this policy because it is the right thing to do – for Dreamers, for our
   communities and for our country. The cultural, economic, and social contributions of the
   800,000 DACA recipients and their families to their communities cannot be overstated,
   particularly during a global pandemic where over 200,000 DACA recipients are working in
   essential roles, including 27,000 in health care positions.

   The decision by the U.S. Supreme Court to uphold the DACA program provided a reprieve to
   DACA recipients. It delivered a powerful message to Dreamers: this country belongs to you
   today and will remain your home tomorrow. Dreamers are our neighbors, colleagues, essential
   workers, entrepreneurs, students, and soldiers. For hundreds of thousands nationwide, this ruling
   was life-changing — a source of relief and a reason for celebration.

   For these young people and every immigrant who strengthens America’s economy, communities,
   and future, Congress must deliver on the promise of a long-term and humane legislative solution,
   so nobody's status hangs in the balance of uncertainty again. And, until it does so, the
   Administration must maintain the DACA program and continue to accept new applicants as they
   become eligible for it.

   It is incumbent upon you to remove Dreamers’ fears of deportation and allow them to contribute
   even more to the country they love, which for many is the only country they have known. They
   would be able to reach their full potential in many ways, including serving in the military. The
   U.S. Conference of Mayors pledges to work with you to make this happen.




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   Sincerely,


   Greg Fischer                         Nan Whaley                  Francis X. Suarez
   Mayor of Louisville                  Mayor of Dayton             Mayor of Miami
   President                            Vice President              Second Vice President

   Bryan K. Barnett                     Stephen Benjamin            Elizabeth B. Kautz
   Mayor of Rochester Hills, MI         Mayor of Columbia, SC       Mayor of Burnsville
   Past President                       Past President              Past President

   Eric Garcetti                        John Giles                  Jorge Elorza
   Mayor of Los Angeles                 Mayor of Mesa               Mayor of Providence
   Chair, USCM Latino Alliance          Co-chair, Immigration       Co-Chair, Immigration
                                        Reform Task Force           Reform Task Force

   Lori E. Lightfoot                    Dee Margo                    Tom Cochran
   Mayor of Chicago                     Mayor of El Paso             CEO and Executive Director
   Chair, Criminal and Social Justice   Vice Chair for Border Policy
   Committee                            Criminal and Social Justice
                                        Committee




                                                                                             AR6202
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                                     COALITION for the
                                    AMERICAN DREAM

   July 11, 2020

   President Donald J. Trump
   The White House
   1600 Pennsylvania Avenue, NW
   Washington, DC 20050

   Dear Mr. President:

   The Coalition for the American Dream is an organization of business leaders
   supporting Deferred Action for Childhood Arrivals (DACA) recipients and pursuing a
   bipartisan, permanent legislative solution for Dreamers. Our membership includes more
   than 140 employers and trade associations spanning a variety of U.S. industries, from
   retail to manufacturing to tech, that represent more than half of American private sector
   workers.

   As large American employers and employer organizations, we strongly urge you to
   leave the DACA program in place. DACA recipients have been critical members of our
   workforce, industries, and communities for years now, and they have abided by the laws
   and regulations of our country in order to maintain their DACA status. Their work and
   commitment to our companies, their families and communities are critical to our nation’s
   strength, especially since there are tens of thousands of DACA recipients working as
   front line doctors and nurses and in other critical industries fighting COVID-
   19. Moreover, poll after poll has shown that the overwhelming majority of Americans of
   all political backgrounds agree that we should protect DACA recipients from
   deportation.

   This is no time to disrupt the economic recovery of our companies and communities, nor
   time to jeopardize the health and safety of these vulnerable individuals. We ask that
   you leave DACA in place and refrain from taking any additional administrative actions
   that would negatively impact the DACA program.

   Respectfully,
   The Coalition for the American Dream




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